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      ATTORNEYS FOR PLAINTIFFS
 11                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 12

 13   CHINA CENTRAL TELEVISION, a China ) Case No.
      company; CHINA INTERNATIONAL              ) CV 15-1869 SVW (AJWx)
 14   COMMUNICATIONS CO., LTD., a China )
      company; TVB HOLDINGS (USA), INC., a ) COMPENDIUM OF
      California corporation; and DISH          )
      NETWORK L.L.C., a Colorado corporation, ) EVIDENCE
 15

 16                         Plaintiffs,         ) IN SUPPORT OF
                                                  PLAINTIFFS’    MOTION FOR
             vs.                                ) DEFAULT JUDGMENT
 17   CREATE NEW TECHNOLOGY (HK)                ) AGAINST ASHA MEDIA
      LIMITED, a Hong Kong company; HUA         ) GROUP INC. VOL. 1 OF 4
 18   YANG INTERNATIONAL TECHNOLOGY ))
      LIMITED, a Hong Kong company;               [[Proposed] Order; Motion For
 19   SHENZHEN GREATVISION NETWORK )) Default Judgment concurrently
      TECHNOLOGY CO. LTD., a China                submitted]
 20   company; CLUB TVPAD, INC., a California ))
      corporation; BENNETT WONG, an             ) Date: November 7, 2016
 21   individual, ASHA MEDIA GROUP INC.
      d/b/a TVPAD.COM, a Florida corporation; )) Time: 1:30 p.m.
 22   AMIT BHALLA, an individual;
      NEWTVPAD LTD. COMPANY d/b/a               ) Courtroom: 6
 23   NEWTVPAD.COM a/k/a TVPAD USA, a           ) Judge:       Hon. Stephen V.
      Texas corporation; LIANGZHONG ZHOU, )     )
 24
                                                               Wilson
      an individual; HONGHUI CHEN d/b/a E-
      DIGITAL, an individual; JOHN DOE 1 d/b/a )) Complaint Filed: March 13, 2015
 25   BETV; JOHN DOE 2 d/b/a YUE HAI; JOHN )
      DOE 3 d/b/a 516; JOHN DOE 4 d/b/a HITV; )
 26   JOHN DOE 5 d/b/a GANG YUE; JOHN
      DOE 6 d/b/a SPORT ONLINE; JOHN DOE 7 ))
 27   d/b/a GANG TAI WU XIA; and JOHN DOES)
      8-10,                                     )
 28                         Defendants.

      COMPENDIUM OF EVIDENCE
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  6   Declaration of Shuk Kuen “Lily” Lau
  7   Declaration of Samuel P. Tsang
  8   Declaration of Chunguang Lu
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 10   Exhibit 1
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                              WUKOSON DECLARATION
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  1                           DECLARATION OF GEORGE P. WUKOSON
  2           I, George P. Wukoson, declare as follows:
  3           1.       I am an attorney licensed to practice law in the State of New York and
  4   before the bars of the Southern and Eastern Districts of New York. I am an associate
  5   with the law firm of Davis Wright Tremaine LLP (“DWT”), counsel to the Plaintiffs
  6   in this action, admitted pro hac vice. I submit this Declaration in support of
  7   Plaintiffs’ Motion for Default Judgment Against Defendant Asha Media Group Inc.
  8   (“Motion for Default Judgment”). I have personal knowledge of the facts contained
  9   herein, and, if called upon as a witness, I could and would testify competently about
 10   these facts, except for those matters stated expressly upon information and belief,
 11   which matters are believed to be true.
 12           2.       On March 13, 2015, Plaintiffs initiated the instant lawsuit against the
 13   manufacturers of the TVpad, a set-top television box that retransmits unauthorized
 14   television programming from China to viewers in the United States. In addition to
 15   naming the manufacturers of the device, Plaintiffs also named as defendants various
 16   U.S. distributors of the TVpad device, including Defendant Asha Media Group Inc.
 17   (“Asha Media”) and its President and sole shareholder Defendant Amit Bhalla.
 18           3.      Asha Media is the last remaining active defendant in this lawsuit, as all
 19   other defendants have either been dismissed, judgment has been entered against
 20   them, or, in the case of Mr. Bhalla, the action is stayed pursuant to the filing of a
 21   bankruptcy proceeding. See Dkt. No. 141 (dismissal of GVTV); Dkt. No. 158
 22   (judgment as to Create New Technology and Hua Yang Technology; Dkt. No. 175
 23   (judgment as to Honghui Chen); Dkt. No. 182 (judgment as to Club TVpad Inc. and
 24   Bennett Wong; Dkt. No. 107 (judgment as to Newtvpad and Liangzhong Zhou); Dkt.
 25   No. 168 (bankruptcy notice of Mr. Balla).
 26           4.      On September 22, 2015, Plaintiffs propounded a First Set of Requests for
 27   Production on Asha Media. Among other requests, Plaintiffs sought documents
 28   reflecting Asha Media’s sales of TVpad Devices and Asha Media’s gross revenue

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  1   relating to those sales. Asha Media provided written responses on November 24,
  2   2015. True and correct copies of excerpts of Asha Media’s written responses to
  3   Plaintiffs’ document demands concerning Asha Media’s sales and gross revenue are
  4   attached hereto as Exhibit 1.
  5           5.      On January 12, 2016, Asha Media produced a series of documents in
  6   response to Plaintiffs’ document requests, including three Excel spreadsheets in
  7   response to Request No. 29. Those Excel spreadsheets are entitled
  8   “Asha_Media_Group-2013 – Sales_History”, “Asha_Media_Group-2014 –
  9   Sales_Order_History” and “Asha_Media_Group-2015 – Sales_Order_History”. True
 10   and correct copies of printouts of these Excel spreadsheets produced by Asha Media
 11   are attached hereto as Exhibit 2.
 12           6.      I reviewed the Excel spreadsheets produced by Asha Media in order to
 13   determine Asha Media’s admitted total gross sales and number of TVpad devices. I
 14   determined that Asha Media’s sales records reflect sales of TVpad devices from
 15   September 2013 through June 15, 2015. After summing gross sales and then
 16   subtracting all amounts refunded to customers according to Asha Media’s records, I
 17   determined that Asha Media’s gross sales of TVpad devices totaled $458,227.96 in
 18   2013, $1,373,735.56 in 2014, and $313,270.70 in 2015, for a grand total of gross
 19   sales equal to $2,145,234.22. I also summed the total number of units of TVpad
 20   devices distributed by Asha Media from 2013 through 2015, and determined that
 21   Asha Media sold 8,123 TVpad devices over that time period.
 22           7.      Asha Media’s sales records indicate that Asha Media sold 4036 TVpad
 23   devices from November 21, 2014 onward—after Asha Media received an emailed
 24   copy of DISH’s cease and desist letter on November 20, 2014. Sales records further
 25   indicate that 2737 of Asha Media’s TVpad sales occurred after Asha Media received
 26   a second cease and desist letter from DISH on December 19, 2014, which again
 27   reiterated to Asha Media that, as a distributor and seller of the TVpad device, it was
 28   liable for copyright infringement.

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  1           8.      Asha Media’s sales records also indicate that Asha Media was selling
  2   TVpad devices as late as June 15, 2015—four days after the Court entered a
  3   preliminary injunction in this action on June 11, 2015. (See Dkt. No. 98.)
  4           9.      On December 8, 2015, Plaintiffs served an amended notice of deposition
  5   to Asha Media and its President and sole shareholder, Amit Bhalla, setting their
  6   depositions for January 15, 2016. Before I could take Mr. Bhalla’s deposition in this
  7   action, Mr. Bhalla filed for personal bankruptcy on January 13, 2016, which operated
  8   to stay proceedings in this action as to Mr. Bhalla. (Dkt. No. 168). Mr. Bhalla did
  9   not appear at the deposition noticed for Asha Media, and I took a non-appearance at
 10   Asha Media’s deposition on January 15, 2016.
 11           10. On June 1, 2016, I served a Notice of rule 2004 Examination Duces
 12   Tecum on Amit Bhalla in his personal bankruptcy proceeding. Thereafter, I
 13   examined Mr. Bhalla in the matter of In Re: Amit Bhalla, Case No. 8:16-bk-00265-
 14   KRM on July 12, 2016 and July 13, 2016. A true and correct copy of excerpts from
 15   the transcript of Mr. Bhalla’s examination is attached hereto as Exhibit 3.
 16           11. During his deposition, Mr. Bhalla confirmed the following facts relevant
 17   to this proceeding, and which Plaintiffs offer pursuant to Federal Rules of Civil
 18   Procedure 32(a)(8):
 19                              a. Mr. Bhalla began to sell TVpads after he purchased Asha
 20                                   Media in July 2013 (Tr. 21:17-22, 54:17-22.)
 21                              b. Asha Media’s primary revenue-generating business was to
 22                                   sell TVpads (Tr. 23:8-14)
 23                              c. Asha Media maintained inventory of TVpads in warehouses
 24                                   in Los Angeles and Philadelphia. (Tr. 56:1-9)
 25                              d. Asha Media continued to sell TVpads even after receiving
 26                                   two cease and desist letters from Plaintiff DISH on November
 27                                   20, 2014 and December 19, 2014. (Tr. 65:12-66:5, 67:8-17
 28                                   and Depo. Ex. 10.)

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  1                              e. Bhalla prepared sales record and refund documents detailing
  2                                   Asha Media’s gross sales for 2013 through 2015 and
  3                                   produced those documents to counsel. Although the image of
  4                                   the exhibit used at deposition is difficult to read, Deposition
  5                                   Exhibit 17 is the same series of documents that Plaintiffs
  6                                   received in discovery from Asha Media and which are
  7                                   attached to my declaration as Exhibit 2. (Tr. 94:10-95:8,
  8                                   140:11-19 and Depo. Ex. 17.)
  9                              f. Bhalla admitted that Asha Media provided USB storage
 10                                   devices (also known as “flash drives”) along with the TVpads
 11                                   it sold to consumers, and that those USB storage devices
 12                                   contained TVpad apps that consumers could download to the
 13                                   TVpad device; Bhalla stated that he provided these USB
 14                                   devices in order to entice customers to buy the TVpad. (Tr.
 15                                   181:1-9.)
 16                              g. Bhalla also admitted that he used the alias Charles Franco in
 17                                   order to send emails, and he authenticated an email he sent as
 18                                   Franco to Plaintiffs’ investigator in which he attached a
 19                                   channel listing featuring Plaintiffs’ television channels and
 20                                   trademarks and advertising various Infringing TVpad Apps to
 21                                   access Plaintiffs’ programming. (Tr. 181:10-24; 182:18-
 22                                   184:18 and Depo. Ex. 33.)
 23           12.      After initially making an appearance and filing an Answer in this action
 24   on April 23, 2015 (Dkt. No. 58), Asha Media subsequently filed a Florida state court
 25   liquidation proceeding on or about August 28, 2015. On April 12, 2016, Asha
 26   Media’s counsel requested leave to withdraw as counsel of record in the instant
 27   action, which this Court granted. On May 19, 2016, the Court ordered Asha Media
 28   to locate substitute counsel or have its answer stricken and default entered. (Dkt.

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                              MCCAULEY DECLARATION
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   1                           DECLARATION OF CARLA A. MCCAULEY
   2           I, Carla A. McCauley, declare as follows:
   3           1.       I am licensed to practice law before all the courts in the State of
   4   California and am admitted to the Central District of California. I am a partner at
   5   Davis Wright Tremaine LLP (“DWT”), counsel for Plaintiffs China Central
   6   Television, China International Communications Co., Ltd., TVB Holdings (USA),
   7   Inc., and DISH Network L.L.C. (collectively “Plaintiffs”) in the above-entitled
   8   matter. I submit this Declaration in support of Plaintiffs’ Motion for Default
   9   Judgment Against Defendant Asha Media Group Inc. (“Motion for Default
  10   Judgment”). I have personal knowledge of the facts contained herein, and, if called
  11   upon as a witness, I could and would testify competently about these facts, except for
  12   those matters stated expressly upon information and belief, which matters are
  13   believed to be true.
  14           2.       In conjunction with the Motion for Default Judgment, Plaintiffs request
  15   all attorneys’ fees incurred in connection with preparing the instant Motion, as well
  16   as those fees associated with investigating Asha Media’s liability in this action,
  17   including all attorneys’ fees associated with pre-complaint filing investigation,
  18   discovery, the successful preliminary injunction, court conferences and mediation
  19   preparation. Below is a summary of the background of the attorneys for whom
  20   Plaintiffs seek attorneys’ fees in connection with the instant motion as well as a
  21   discussion of the invoiced time and pending time requested in conjunction with entry
  22   of judgment.
  23                                   Background of Timekeeping Attorneys
  24           3.       Given the widespread and national nature of the infringement of the
  25   TVpad devices involved in this action, DWT’s New York attorneys have been, since
  26   the outset of this action, the lead timekeepers who have handled litigation strategy.
  27   My partners Lacy H. Koonce and Robert Balin, both of whom are licensed to
  28   practice law in New York and have been admitted pro hac vice in this action, have

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   1   been lead counsel for this action since DWT’s early investigation into the TVpad,
   2   before Plaintiffs determined the proper venue for this litigation.
   3           4.       Specifically, in February 2014, China Central Television (“CCTV”) and
   4   China International Communications Co., Ltd. (“CICC”) (collectively “CCTV”)
   5   engaged DWT to investigate the TVpad device, its manufacturer and distributors, and
   6   to research CCTV’s legal options with respect to the TVpad’s broadcast of CCTV’s
   7   unlicensed television programming. In July 2014, TVB Holdings (USA), Inc.
   8   (“TVB”) and DISH Network L.L.C. (“DISH”) joined CCTV in retaining DWT for
   9   purposes of this investigation. Collectively, CCTV, TVB and DISH are referred to
  10   as “Plaintiffs”. The New York timekeepers who have assisted in this action also
  11   include associates Samuel Bayard and George P. Wukoson, and New York-based
  12   paralegals, Omar Johnny and Megan Duffy.
  13           5.       I have been involved in this action since November 2014, once it was
  14   determined that the Central District of California was the appropriate venue for the
  15   action by Plaintiffs. Prior to and during my maternity leave in 2016, Sean Sullivan,
  16   who is of counsel in DWT’s Los Angeles office, stepped in to assist Mr. Koonce and
  17   Mr. Balin in this matter.
  18           6.       For those timekeepers whose time is accounted for and requested as part
  19   of the attorneys’ fees incurred by Plaintiffs in connection with their prosecution of
  20   Defendant Asha Media in this action, background details regarding each attorney are
  21   set forth below.
  22           7.       Robert Balin is a 1984 magna cum laude graduate of Temple University
  23   School of Law. For more than 30 years, Mr. Balin has represented media clients in
  24   intellectual property litigation and in a broad array of other cases. Among many other
  25   copyright matters, Mr. Balin represented a group of 20 American magazine
  26   publishers (including Time, Inc., The McGraw-Hill Companies, Inc., Newsweek,
  27   Inc., Forbes Magazine, LLC, US News & World Report, LLC, Hearst Corporation
  28   and Playboy Enterprises, Inc.) in securing injunctive relief and a consent order

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   1   prohibiting a pirate Canadian website called Mygazines from copying plaintiffs’
   2   magazines without authorization (Time, Inc., et al v. Budd, et al, 1:08-cv-07392
   3   (S.D.N.Y.) and Time, Inc., et al v. Budd, et al, Court File No. 08-CV-00361126
   4   (Ontario Superior Court of Justice)); represented CNN in successfully obtaining
   5   dismissal on fair use grounds of a copyright infringement suit challenging CNN’s use
   6   of short film clips in a television news obituary of actor Robert Mitchum, together
   7   with an award of attorneys’ fees (Video Cinema Films, Inc. v. CNN, Inc., 2001 WL
   8   1518264 (S.D.N.Y. Nov. 28, 2001) and Video Cinema Films, Inc. v. CNN, Inc., 2004
   9   WL 213032 (S.D.N.Y. Feb. 3, 2004)); represented book publisher Henry Holt in
  10   successfully securing dismissal of copyright infringement claims on the ground that
  11   plaintiff’s unpublished manuscript was not substantially similar to the children’s
  12   book published by defendant (Lewinson v. Henry Holt and Co., LLC, 7:07-cv-
  13   10955 (S.D.N.Y. Sep. 23, 2009) (Dkt. No. 30)); and defended book publisher Farrar,
  14   Straus & Giroux and author Thomas Friedman in a copyright infringement suit
  15   arising from use of plaintiff's artwork on the cover of Friedman’s best-selling book,
  16   “The World is Flat.” (Miracle v. Galasso, et al, 1:05-cv-09980 (S.D.N.Y.)). For the
  17   past 8 years, Mr. Balin has also taught copyright and media law as an adjunct
  18   professor at Columbia University School of Law. In addition, he frequently lectures
  19   on intellectual property law issues, including making annual presentations on
  20   copyright law to visiting Chinese book and magazine publishers at the State
  21   University of New York’s Levin Institute (and before that at New York University’s
  22   Center for Publishing). Mr. Balin has also lectured on comparative US/China
  23   intellectual property law at the Shantou University School of Journalism in Shantou,
  24   China (April 2006) and at the Cheung Kong Graduate School of Business in Beijing
  25   China (April 2006); and, most recently, made presentations on Copyright, Trademark
  26   and Patents in the Digital Age to Chinese publishers in Shanghai and Nanjing (April
  27   2014) at the invitation of China’s State Administration of Press, Publication, Radio,
  28   Television and Film. Among several other publications, Mr. Balin is the co-author of

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   1   “Navigating Media Rules in China”, published in GC New York (American Lawyer
   2   Media Nov. 13, 2006). Mr. Balin currently co-chairs the Media Law Committee of
   3   the International Bar Association, co-chairs the International Media Law Committee
   4   of the Media Law Resource Center and is a past chair of DWT’s media practice
   5   group. He has received numerous professional accolades for his legal work,
   6   including being named one of “America’s Leading Lawyers for Business” in First
   7   Amendment Litigation (Nationwide) by Chambers USA for the years 2012-2015;
   8   being named one of the “Best Lawyers in America” in Media Law by Best Lawyers
   9   for the years 2011-2015; and being selected to “New York Super Lawyers” in the
  10   area of Media and Advertising by Thompson Reuters for the years 2006-2009, 2011
  11   and 20013-2015. Among other awards for his legal work, Mr. Balin received the
  12   Kenneth P. McLaughlin Award of Merit from the National Press Photographers
  13   Association in 2014 and the NAACP Presidential Award from the NAACP of New
  14   Jersey in 2003.
  15           8.       Lance Koonce is an intellectual property litigator with two decades of
  16   experience representing, inter alia, companies in the television and film industries,
  17   including broadcasters, producers and distributors. Mr. Koonce graduated with
  18   honors from the University of North Carolina School of Law in 1996, and was
  19   involved in some of the earliest legal disputes regarding digital set-top devices. Mr.
  20   Koonce has litigated an array of high-profile cases under the Copyright Act and the
  21   Lanham Act, including the Mygazines.com copyright infringement case with Mr.
  22   Balin discussed supra at Paragraph 9, as well as: Steinbeck v. McIntosh & Otis, Inc.
  23   (C.D. Cal. 2015 and Second Circuit 2010), a series of copyright litigations in which
  24   Mr. Koonce defended the literary agent for John Steinbeck’s literary properties;
  25   Poquito Mas v. Taco Bell (C.D. Cal. 2014), the defense of a trademark infringement
  26   action concerning Taco Bell’s “LIVE MÁS” slogan; Oracle America, Inc. v. Google
  27   Inc. (Fed. Cir. 2013), in which Mr. Koonce submitted an amicus brief on behalf of
  28   former Register of Copyrights Ralph Oman supporting Oracle's position in an

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   1   infringement action that the menu command structure of software is protectable
   2   under Copyright Act; Willagirl LLC v. The Wella Corporation (S.D.N.Y. 2011), in
   3   which Mr. Koonce represented Procter & Gamble subsidiary in a trademark
   4   infringement suit arising out of plaintiff’s proposed use of the “Willa” trademark;
   5   Clifton Mallery v. NBC Universal (2d Cir. 2010), in which Mr. Koonce represented
   6   NBC in a copyright action claiming that the television program “Heroes” infringed
   7   plaintiffs’ copyright in a documentary and manuscript about their lives; Salinger v.
   8   Colting (2d Cir. 2010), in which Mr. Koonce represented J.D. Salinger in a copyright
   9   infringement action against the author, publisher and distributor of a self-proclaimed
  10   sequel to “The Catcher in the Rye.”; Jonesfilm v. Lions Gate Entertainment (9th Cir.
  11   2008), defense of an infringement claim involving the motion picture “9 1/2 Weeks”;
  12   Shine v. David M. Childs and Skidmore, Owings & Merrill (S.D.N.Y. 2006), in
  13   which Mr. Koonce represented architectural firm that designed original Freedom
  14   Tower in action involving alleged copyright infringement of architectural
  15   design. Mr. Koonce is a frequent speaker and writer on intellectual property issues,
  16   including recent articles on the Second Circuit’s decision in The Authors Guild v.
  17   Google, Inc. the Ninth Circuit’s decision in Lenz v. Universal Music Corp. on
  18   copyright fair use. Mr. Koonce is the current chair of the Law & Technology
  19   Committee of the New York County Lawyers Association, and the former chair of
  20   the Grants Committee of the Copyright Society of the United States.
  21           9.       Samuel Bayard graduated summa cum laude from Cornell Law School
  22   in 2001. Since 2010, Mr. Bayard has been an associate at DWT, focusing his
  23   litigation practice on media and intellectual property law, assisting clients in a range
  24   of matters including copyright, trademark, libel, privacy, right of publicity, and First
  25   Amendment litigation. Prior to his work with DWT, Mr. Bayard was an associate at
  26   Wachtell, Lipton, Rosen & Katz, a fellow at the Berkman Center for Internet &
  27   Society at Harvard University, and a Lecturer on Law at Harvard Law School. Mr.
  28   Bayard also clerked for Judge Lewis Kaplan in the United States District Court

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   1   Southern District of New York from September 2001 to September 2002. Mr.
   2   Bayard has extensive litigation experience in federal and state courts, at both the trial
   3   and appellate levels, and has assisted with a jury trial in a high-profile copyright case
   4   in 2013. Mr. Bayard was selected as a “New York Rising Star” by Thomson Reuters
   5   in 2012.
   6           10.      Sean Sullivan is a 2003 graduate of the University of Southern
   7   California, Gould School of Law and was admitted to practice law in the State of
   8   California in 2003. Mr. Sullivan has been Counsel at DWT since 2015. Mr. Sullivan
   9   has had extensive experience throughout his career with intellectual property,
  10   complex commercial litigation, and class-action defense. Mr. Sullivan has been
  11   selected as a “Southern California Rising Star” from 2009-2011 and 2013 in the area
  12   of Intellectual Property Litigation.
  13           11.      George Wukoson is a 2008 graduate of the New York University School
  14   of Law. He was admitted to practice law in the State of New York in 2008. He has
  15   been an associate at DWT since 2012. Prior to Mr. Wukoson’s work with DWT, he
  16   was an associate with Dechert LLP in New York, New York. Mr. Wukoson has over
  17   seven years litigation experience, has second chaired and assisted with evidentiary
  18   hearings, assisted with appeals before the New York Court of Appeals and the
  19   Second Circuit, and litigated numerous matters across a wide array of commercial
  20   litigation, intellectual property and criminal matters in federal court for clients in a
  21   number of industries. Mr. Wukoson’s substantive experience spans trademark,
  22   copyright, cybersquatting, entertainment, advertising, and a broad range of
  23   commercial/business litigation matters. He was awarded the Legal Aid Society’s Pro
  24   Bono Publico Award in 2009, 2011 and 2013.
  25           12.      I am a 2002 graduate of the University of California, Berkeley, Boalt
  26   Hall School of Law. I was admitted to practice law in the State of California in 2002.
  27   I have been a partner at DWT since 2014. Prior to my work with DWT, I was an
  28   associate with Steptoe & Johnson in Century City, California; Alschuler Grossman

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   1   Stein & Kahan LLP in Santa Monica, California, and with Irell & Manella in Century
   2   City, California. In 2002, I clerked for the Honorable Alicemarie H. Stotler for the
   3   Central District of California. In 2004, I clerked for the Honorable Pamela A. Rymer
   4   for the Court of Appeals for the Ninth Circuit. In addition to my experience clerking
   5   in the federal courts, I have over a decade of litigation experience, have second
   6   chaired and assisted with jury and bench trials, argued and assisted with appeals
   7   before the California Court of Appeals and the Court of Appeals for the Ninth
   8   Circuit, and litigated numerous matters across a wide array of commercial litigation
   9   and intellectual property matters in federal court for clients in a number of industries.
  10   My substantive experience spans intellectual property, entertainment, advertising,
  11   privacy, unfair competition law, and a broad range of commercial/business litigation
  12   matters. I have been selected as a “Southern California Rising Star” from 2007
  13   through 2008 and 2013, and as a “SuperLawyer” from 2014 through 2016. I was
  14   awarded the ACLU’s Artistic Freedom Award on June 8, 2012.
  15                                   Reasonableness of Timekeeper Rates
  16           13.      The billing rates for Robert Balin, a partner in DWT’s New York office,
  17   were $562.50 per hour in 2014, $585 per hour in 2015, and $616.50 per hour in 2016
  18   for this matter. The billing rates for Lacy H. Koonce, a partner in DWT’s New York
  19   office, was $472.50 per hour in 2014, $495 per hour in 2015 and $522 per hour in
  20   2016 for this matter. The billing rates for Carla A. McCauley, a partner in DWT’s
  21   Los Angeles office, were $441 in 2014, $459 per hour in 2015 and $486 per hour in
  22   2016 for this matter. The billing rate for Sean Sullivan, of counsel in DWT’s Los
  23   Angeles office, was $468 per hour for this matter. The billing rate for Samuel
  24   Bayard, an associate in DWT’s New York office, was $436.50 for this matter. The
  25   billing rates for George Wukoson, an associate in DWT’s New York office, were
  26   $382.50 per hour in 2014, $414 per hour in 2015 and $450 per hour in 2016 for this
  27   matter. The billing rates for DWT’s New York paralegals, Omar Johnny and Megan
  28

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   1   Duffy, were $144 per hour in 2015 and $153 to $238.50 per hour in 2016 for this
   2   matter.
   3           14.      The hourly rates of Plaintiffs’ litigation team reflect discounted rates
   4   from DWT’s customary rates and are consistent with prevailing market rates in Los
   5   Angeles and New York. As measured by the National Law Journal’s 2014 Billing
   6   Survey, a copy of which is attached as Exhibit 4, the average 2014 partner billing
   7   rate for partners at comparable New York-based firms include: Curtis, Mallet-
   8   Prevost, Cost & Mosle ($800 average); Davis Polk & Wardell ($975 average);
   9   Debevoise & Plimpton ($1055 average); Dechert ($900 average); Dentons ($700
  10   average); DLA Piper ($765 average); Fried, Frank, Harris, Shriver & Jacobson
  11   ($1000); Gibson Dunn & Crutcher ($980 average); Greenberg Traurig ($763
  12   average); Jones Day ($745 average); Kaye Scholer ($860 average); Kelley Drye &
  13   Warren ($640); Kramer Levin Naftalis & Frankel ($921 average); Orrick Herrington
  14   & Sutcliffe ($845 average); Paul Hastings ($815 average); Paul Weiss, Rifkind,
  15   Wharton & Garrison ($1040 average); Skadden, Arps, Slate, Meagher & Flom
  16   ($1035 average); Stroock, Stroock & Lavan ($960 average); White & Case ($875
  17   average); Willkie Farr & Gallagher ($950 average). California-based firms further
  18   confirm the reasonableness of DWT’s rates for its partners and of counsel: Jeffer,
  19   Mangels, Butler & Mitchell ($690 average); Manatt, Phelps & Phillips ($740
  20   average); Nossaman ($579 average); O’Melveny & Myers ($715 average); Quinn
  21   Emanuel Urquart & Sullivan ($915 average); Sedgwick ($425 average); and
  22   Sheppard Mullin Richter & Hampton ($685 average).
  23           15.      As measured by the National Law Journal’s 2014 Billing Survey, the
  24   average 2014 associate billing rate for the comparable New York-based firms
  25   include: Curtis, Mallet-Prevost, Cost & Mosle ($480 average); Davis Polk & Wardell
  26   ($615 average); Debevois & Plimpton ($490 average); Dechert ($530 average);
  27   Dentons ($425 average); DLA Piper ($510 average); Fried, Frank, Harris, Shriver &
  28   Jacobson ($595 average); Gibson Dunn & Crutcher ($590 average); Greenberg

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   1   Traurig ($470 average); Jones Day ($435 average); Kaye Scholer ($597 average);
   2   Kelley Drye & Warren ($430 average); Kramer Levin Naftalis & Frankel ($675
   3   average); Orrick Herrington & Sutcliffe ($560 average); Paul Hastings ($540
   4   average); Paul Weiss, Rifkind, Wharton & Garrison ($678 average); Skadden, Arps,
   5   Slate, Meagher & Flom ($620 average); Stroock, Stroock & Lavan ($549 average);
   6   White & Case ($525) average; Willkie Farr & Gallagher ($580 average). California-
   7   based firms further confirm the reasonableness of DWT’s rates for its associates:
   8   Quinn Emanuel Urquart & Sullivan ($410 average); Sedgwick ($325 average); and
   9   Sheppard Mullin Richter & Hampton ($415 average). A true and correct copy of the
  10   National Law Journals’ 2014 Billing Survey is attached as Exhibit 4.
  11           16.      Based on my experience working in the Los Angeles market for over a
  12   decade, DWT’s Los Angeles and New York paralegal rates invoiced in this matter,
  13   which range from $144 to $153 per hour are also reasonable and consistent with
  14   typical rates charged by comparable law firm paralegals in Los Angeles.
  15                                       Analysis of Invoices
  16           17.      I am familiar with DWT’s record keeping and billing system and am
  17   aware of the methods by which DWT tracks attorney time, including with respect to
  18   this matter. In this action, given the involvement of several plaintiffs, the total
  19   invoiced time in this matter has been apportioned by party, with DISH responsible
  20   for 40% of billed time, CCTV responsible for 30% of billed time, TVB responsible
  21   for 30% of billed time. Each of the Plaintiffs’ invoices show daily entries from each
  22   timekeeper with descriptions of all of the work performed by each attorney on each
  23   day and the increments of total time for the day spent by each attorney on each task
  24   for the entire TVpad litigation matter. Each invoice, in turn, apportions the total
  25   charged time for each monthly invoice by the 40/30/30 split prior to billing to the
  26   individual plaintiff.
  27           18.      Attached hereto as Exhibit 5 are true and correct copies of excerpts
  28   from invoices billed to CCTV from January 31, 2015 through July 20, 2016 with

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   1   those entries for time billed from December 1, 2014 through July 28, 2016, where
   2   such time reflects time associated with tasks relating to Asha Media’s liability in this
   3   action. I also reviewed DISH and TVB’s invoices for this period of time, and those
   4   invoices are identical in terms of the time entries; the only difference appears in the
   5   final bill amount, which reflects the parties’ apportioned amount. To avoid filing
   6   identical and unnecessary amounts of paper, only relevant excerpts from CCTV’s
   7   complete invoices are attached to my declaration, with inapplicable time and
   8   confidential or privileged communications redacted.
   9           19.      The total amount of time spent on specific tasks associated with Asha
  10   Media’s liability in this action and which are detailed in the invoices attached as
  11   Exhibit 5 are totaled in the Excel spreadsheet attached hereto as Exhibit 6, which
  12   was prepared under my direction and control.
  13           20.      I reviewed each of the invoices attached as Exhibit 5. All invoices were
  14   generated by the firm’s computerized billing program, and the legal services
  15   described in the invoices were actually and necessarily performed. As to each
  16   invoice, either the fees and costs have been paid or the obligation for payment has
  17   been incurred and remains outstanding. In total, the total hours billed to date to
  18   Plaintiffs for the prosecution of Asha Media in this action equals 182 total
  19   timekeeper hours with billed fees of $82,329.
  20           21.      In addition, I and my colleagues have spent additional time in August
  21   and September that has not yet been billed to Plaintiffs for work associated with
  22   preparing this default judgment motion. I have spent approximately 56 hours
  23   preparing the Motion for Default Judgment, along with all supporting documentation
  24   and declarations. My colleague George Wukoson has spent 12 hours and Robert
  25   Balin spent 1.1 hours on the instant motion. In total, pending time incurred for this
  26   Motion totals $33,296.
  27   ///
  28

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   1           22.      Plaintiffs therefore request that the Court award total attorneys’ fees
   2   against Asha Media in the amount of $115,625.
   3

   4           I declare under penalty of perjury under the laws of the United States of
   5   America that the foregoing is true and correct.
   6   Executed this 22nd day of September, 2016.
                                                                      /s/ Carla A. McCauley
                                                                ________________________
   7
                                                                     Carla A. McCauley
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                               BRAAK DECLARATION
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                                  #:20304

   1                              DECLARATION OF NICHOLAS BRAAK
   2   I, Nicholas Braak, declare as follows:
   3           1.       I am a licensed private investigator, and have worked as a computer
   4   forensics investigator for more than nine years. I am employed by the Mintz Group
   5   LLC (“Mintz”), a corporate research and investigations firm based in New York,
   6   with offices in Washington D.C., London, Hong Kong, Beijing, Nairobi, and six
   7   other cities throughout the world. I have worked for Mintz since January 2014.
   8   During my career in information security and digital forensics, I have participated in
   9   hundreds of investigations involving intellectual property rights, cybercrime, Internet
  10   forensics, and other matters. I make this declaration in support of Plaintiffs’ motion
  11   for a preliminary injunction. I have personal knowledge of the facts contained herein
  12   and, if called upon as a witness, I could and would testify competently about these
  13   facts, except for those matters stated expressly upon information and belief, which
  14   matters I believe to be true.
  15                                   Mintz’s Engagement by Plaintiffs
  16           2.       Mintz has extensive experience conducting computer and Internet
  17   forensics investigations for a wide variety of clients in various types of matters,
  18   including intellectual property matters. In 2014, China Central Television (“CCTV”)
  19   and China International Communications Co., Ltd. (“CICC”) engaged Mintz to
  20   investigate a television set-top box device known as “TVpad” and the unlicensed
  21   international television programming accessible to U.S. consumers through the
  22   TVpad (the “TVpad Retransmission Service”). In July 2014, TVB Holdings (USA),
  23   Inc. (“TVB (USA)”) and DISH Network L.L.C. (“DISH”) joined CICC and CCTV in
  24   retaining Mintz for purposes of this investigation. (I will refer to CCTV, CICC, TVB
  25   (USA), and DISH collectively as “Plaintiffs”.) Our services have included forensic
  26   analysis of the TVpad device and the TVpad Retransmission Service, and
  27   investigation into the origin, distribution, and sale into and within the United States
  28   of the TVpad.
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   1           3.       I managed the Internet forensic investigation for this matter and
   2   conducted research at the direction of Christopher Weil, the lead investigator. I
   3   personally have been involved with all of the activities described herein. I have
   4   personally viewed and tested, by the means described herein, each TVpad device our
   5   investigators purchased in the course of this investigation. I have personally viewed
   6   and caused to be recorded streamed content delivered by those devices.
   7           4.       The TVpad device is manufactured by Defendant Create New
   8   Technology (HK) Ltd. (“CNT”). The TVpad delivers television programming to
   9   customers through the Internet without customers paying subscription fees to an
  10   authorized cable, satellite, or other television services provider. Rather, users
  11   purchase the TVpad for a price ranging from $199-$299. Users then connect the
  12   TVpad to their broadband Internet service and connect the device to their television
  13   with a cable. When the TVpad device is connected to the Internet, software
  14   applications or “apps”1 available through the device’s “TVpad Store” permit users to
  15   view streaming2 video programs on their televisions. In particular, the TVpad allows
  16   viewers to watch television programs that are broadcast in mainland China, Hong
  17   Kong, Korea, and other countries in Asia.
  18           5.       As discussed below, a number of apps available through the TVpad
  19   Store allow users in the United States to view Chinese-language television programs
  20   broadcast by CCTV in mainland China and broadcast by TVB (USA)’s Hong Kong-
  21   based parent company Television Broadcasts Limited (“TVB”) in Hong Kong and
  22   Taiwan. I am informed by my clients that none of the Plaintiffs authorize any parties
  23

  24

  25
       1
       An “app” is a small, specialized software program, often downloaded onto a mobile
  26
     device or computer.
     2
  27   “Streaming” refers to a method of transmitting or receiving data (especially video
     and audio material) over a computer network as a steady, continuous flow, allowing
  28
     playback to proceed while subsequent data is being received.
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   1   to provide their television programming to consumers in the United States through
   2   the TVpad device or TVpad Retransmission Service.
   3           6.       We forensically tested TVpad devices and TVpad apps to understand the
   4   operation of the device, the functioning of TVpad apps, and the source of infringing
   5   video streams of TVB and CCTV programming. I personally conducted this forensic
   6   examination.
   7                                   Summary of Key Investigative Findings
   8           7.       The TVpad is a set-top box designed to deliver video content. The
   9   TVpad, as distinct from cable television and satellite television boxes, delivers video
  10   content over the Internet.
  11           8.       The TVpad device delivers this content by means of individual apps that
  12   users download with one click of their remote control from the “TVpad Store”
  13   interface on the TVpad device. Many of TVpad’s most popular and most heavily
  14   promoted apps are designed to stream CCTV and TVB copyrighted television
  15   programming to users of the TVpad (the “Infringing TVpad Apps”). Through our
  16   investigation, we identified a total of 15 of these Infringing TVpad Apps across two
  17   models of the TVpad device. The Infringing TVpad Apps stream infringing content
  18   to users via four different streaming modes: “live” streaming, “time-shifted”
  19   streaming, and two forms of “video-on-demand” streaming.
  20           9.       The TVpad Store is designed to promote the Infringing TVpad Apps and
  21   make them easy to locate and install. CNT appears to exert total control over which
  22   apps are featured on the TVpad Store, and appears to control the servers from which
  23   apps are downloaded to TVpad devices.
  24           10.      Our forensic testing of the Infringing TVpad Apps revealed the
  25   following:
  26                    a. Live Streaming Apps: Those Infringing TVpad Apps that stream
  27                         CCTV and TVB television programs “live,” i.e., at the same time
  28                         they are broadcast in Asia, do so by means of a “peer-to-peer”
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   1                         network, in which TVpad users not only receive the television
   2                         programs but also simultaneously retransmit those programs to many
   3                         other TVpad users. These Infringing TVpad Apps also make use of
   4                         commercial servers to stream live content to TVpad users.
   5                    b. Video-on-Demand Apps: Those Infringing TVpad Apps that make
   6                         TVB and CCTV programs available in video-on-demand format do
   7                         so by streaming programs to TVpad users directly from commercial
   8                         servers in the United States and elsewhere. Our investigation reveals
   9                         that these servers contain digital copies of the television programs
  10                         that are streamed to TVpad users.
  11                    c. Time-Shifted Apps: Some of the Infringing TVpad Apps stream
  12                         CCTV and TVB programs to TVpad users in the United States about
  13                         12 hours after the programs are first broadcast in Asia. These “time-
  14                         shifted” apps stream programs to TVpad users using both
  15                         commercial servers as well as a peer-to-peer network in which each
  16                         TVpad user retransmits programs to many other TVpad users.
  17                    d. Replay Live Apps: Lastly, some of the Infringing TVpad Apps allow
  18                         TVpad users to select for viewing, through a menu system, specific
  19                         recorded programming for a specific time frame, such as the past
  20                         three days. These “replay live” apps function in the same way as the
  21                         infringing video-on-demand apps: They stream CCTV and TVB
  22                         programs to TVpad users directly from commercial servers and those
  23                         servers contain copies of the television programs that are streamed to
  24                         TVpad users.
  25           11.      Regardless of the mode it employs (live, video-on-demand, time-shifted,
  26   or replay live), each of the Infringing TVpad Apps communicates on a continuous
  27   basis with a network of servers set up to ensure constant delivery of video content.
  28   We have identified numerous leased commercial servers used to facilitate the
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   1   activities of the Infringing TVpad Apps. Many of these servers are located in the
   2   United States, including in Southern California.
   3                      General Overview of TVpad Technology and Network
   4           12.      Before setting forth in detail the results of our forensics review of the
   5   TVpad technology, I will briefly describe the general architecture of the TVpad
   6   device and network, based on our investigation.
   7           The TVpad Device
   8           13.      The TVpad is an Internet-connected set-top box device with an
   9   operating system based on Google’s Android mobile operating system, which is used
  10   in conjunction with a television or other video monitor. The TVpad is marketed and
  11   used to deliver OTT video content. As such, TVpad is similar to Apple TV or the
  12   Roku Streaming Player, both of which are set-top boxes that deliver OTT video
  13   content. TVpad is different, however, because it delivers OTT video content—
  14   including CCTV and TVB programs—without the authorization of content owners.
  15   The models of the TVpad that are currently being sold are the TVpad3 and TVpad4.
  16   A detailed discussion of the TVpad device can be found below at Paragraphs 18 – 36.
  17           The TVpad Store
  18           14.      The TVpad Store is an embedded software application that acts as a user
  19   interface for the TVpad device; its primary function is to allow users to select and
  20   download apps onto the TVpad. The word “Store” is a misnomer, as all of the
  21   Infringing TVpad Apps we have tested are available free of charge. The TVpad Store
  22   is organized into categories, with each Infringing TVpad App represented by a
  23   graphic icon, allowing users to easily find a specific app they may want to use, and to
  24   download and install the app simply by clicking on the icon. When apps are
  25   downloaded from the TVpad Store, they then reside on the TVpad device and can be
  26   accessed directly by the user by clicking the corresponding icon. A detailed
  27   discussion of the TVpad Store, as it appears on the TVpad3 and TVpad4 devices, can
  28   be found below at Paragraphs 37 – 50.
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   1           The Infringing TVpad Apps
   2           15.      For each of the Infringing TVpad Apps that stream CCTV and TVB
   3   programs, the user interface on the TVpad resembles an onscreen television program
   4   guide. The Infringing TVpad App displays a list of channels or, for video-on-
   5   demand, a list of particular programs. A user selects a particular channel or program
   6   and the content begins streaming. A detailed discussion of the operation of the
   7   Infringing TVpad Apps is found below at Paragraphs 52 – 63.
   8           16.      In consultation with CICC, CCTV, and TVB (USA) and through
   9   investigators fluent in Mandarin and Cantonese, I have identified the following
  10   Infringing TVpad Apps that stream CCTV and TVB programming:
  11
                                                TVpad3                          TVpad4
  12

  13     Infringing TVpad App            Plaintiffs’ Programming        Plaintiffs’ Programming
                and icon                         and Mode                       and Mode
  14

  15            BETV PLUS                                            CCTV 1 (live & replay live),
                                                                     CCTV 2 (live), CCTV 3 (live &
  16
                                                                     replay live), CCTV 4 (live &
  17                                                                 replay live), CCTV6 (live &
                                                                     replay live), CCTV 10 (live),
  18                                                                 CCTV 11 (live), CCTV12 (live),
                                                                     CCTV13 (live & replay live),
  19                                                                 CCTV14 (live & replay live)
  20

  21             BETV_HD               CCTV 1 HD (live), CCTV 5 HD
                                       (live)
  22

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   1
                                                 TVpad3                          TVpad4
   2

   3     Infringing TVpad App             Plaintiffs’ Programming        Plaintiffs’ Programming
                and icon                          and Mode                       and Mode
   4

   5
                   BETV II             CCTV 1 (live & replay live),
   6                                   CCTV 2 (live), CCTV 3 (live &
                                       replay live), CCTV 4 (live &
   7                                   replay live), CCTV 5 (live &
                                       replay live), CCTV 5+ (live),
   8                                   CCTV6 (live & replay live),
                                       CCTV 10 (live), CCTV 11
   9
                                       (live), CCTV12 (live), CCTV13
  10                                   (live & replay live), CCTV14
                                       (live & replay live), CCTV风云
  11                                   足球（CCTV fengyun soccer)
  12                                   (live)

  13
                    BETV               CCTV 1, CCTV 2, CCTV 3,
  14                                   CCTV 4, CCTV 5+, CCTV6,
                                       CCTV 10, CCTV 11, CCTV12,
  15                                   CCTV13, CCTV14, CCTV风云
  16                                   足球（CCTV fengyun soccer)
                                       (all live)
  17

  18             粵海時移                  JADE HD, JADE (both time-       JADE HD, JADE (both time-
              (Yue Hai Shi Yi)         shifted by 12 hours)            shifted by 12 hours)
  19

  20

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  23            粵海寬頻                   JADE HD, JADE HD, J2,
            (Yue Hai Kuan Pin)         JADE, PEARL, iNews (all live)
  24

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   1
                                                 TVpad3                          TVpad4
   2

   3     Infringing TVpad App             Plaintiffs’ Programming       Plaintiffs’ Programming
                and icon                          and Mode                      and Mode
   4

   5
                粵海寬頻2                  JADE HD, JADE, J2 (Live and
   6       (Yue Hai Kuan Pin 2)        replay live) PEARL, iNews
                                       (live)
   7

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   9

  10
              港粤網絡電視                   JADE HD, JADE, J2 (live and   JADE HD, JADE, J2, PEARL
  11       (Gang Yue Wang Luo          replay live); PEARL, iNews    (live and replay live); iNews
                Dian Shi)              (live)                        (live)
  12
                                       TVB programs on demand        TVB programs on demand
  13

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  16
                粵海直播                   iNews, J2, PEARL, JADE,
  17         (Yue Hai Zhi Bo)          JADE HD (live)

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  21
                    516TV              TVBS (live)
  22

  23

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   1
                                                 TVpad3                        TVpad4
   2

   3     Infringing TVpad App             Plaintiffs’ Programming      Plaintiffs’ Programming
                and icon                          and Mode                     and Mode
   4

   5
                516網路電視                CCTV4 (live)                 CCTV4 (live)
   6          (516 Online TV)
                                       TVBS (live)                  TVBS (live)
   7
                                                                    TVBS News (live)
   8

   9

  10
                    HITV               JADE HD, J2, JADE, PEARL,
  11                                   iNews (live)

  12

  13

  14

  15             体育online              CCTV 1, CCTV 5, CCTV 5+,     CCTV 5, CCTV 5+, CCTV风云
               (Sport Online)          CCTV风云足球（CCTV                足球 (CCTV fengyun soccer),
  16                                   fengyun soccer) (all live)   CCTV 高尔夫. 网球 (CCTV
                                                                    Golf/ Tennis) (all live)
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  20            港粵快看                   TVB programs on demand
           (Gang Yue Kuai Kan)
  21

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   1
                                                TVpad3                       TVpad4
   2

   3     Infringing TVpad App            Plaintiffs’ Programming     Plaintiffs’ Programming
                and icon                         and Mode                    and Mode
   4

   5
         港台武俠(Gang Tai Wu              TVB programs on demand      TVB programs on demand
   6         Xia)

   7

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  11           The TVpad Retransmission Service
  12           17.      Distribution of video content to TVpad devices in the U.S. takes place
  13   through a large network of dedicated computer servers both here and overseas. Some
  14   of these servers perform administrative functions, such as authenticating a device as
  15   an “official” TVpad when it is first initialized. The same servers also facilitate
  16   downloading of the various Infringing TVpad Apps by TVpad users. The same
  17   and/or different servers then provide video or other content to those Infringing
  18   TVpad Apps, including streaming live video content. Still other servers store digital
  19   copies of CCTV and TVB programs for Infringing TVpad Apps that provide video-
  20   on-demand playback. Because the Infringing TVpad Apps deliver programming
  21   originally broadcast in mainland China and Hong Kong, there also must be
  22   computers in or near the broadcast origination points that capture and convert the
  23   broadcasts and then deliver them to the servers that relay the programming to TVpad
  24   devices. That is, someone is using a video capture device to convert a broadcast
  25   signal for each CCTV and TVB channel in China into digital video data that is then
  26   placed on an originating computer and streamed through a server network and/or a
  27   peer-to-peer network to TVpads in the U.S.—thereby allowing live video content to
  28   stream to U.S. TVpad users within moments after it is broadcast in Asia. Attached
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   1   hereto as Exhibit 45 is a list of leased U.S. commercial servers that I personally
   2   observed are involved in the operation of the TVpad Retransmission Service.
   3                                   Detailed Review of TVpad Operation
   4           18.      Based on publicly available information, there have been several
   5   “generations” of the TVpad, as described in the accompanying Weil Declaration at
   6   Paragraph 17. The TVpad4 (M418) is the current model, and the older TVpad3
   7   (M358) is still being sold by some distributors.
   8           Purchases of the TVpad Device
   9           19.      We ordered one TVpad3 device from an Amazon Marketplace seller. As
  10   shipped and as shown in the photographs below that I took of the packaging, the
  11   TVpad arrived packaged in a white retail box, the underside of which reads
  12   “Manufacturer: CREATE NEW TECHNOLOGY (HK) LIMITED,” and contains a
  13   serial number and a unique “MAC” address, which is used for locating the TVpad
  14   device on a network:
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  22              TVpad3 Packaging (Front)                  TVpad3 Packaging (Underside)
  23           20.      The TVpad package we received contained instruction documents, a
  24   TVpad3 set-top box device, a remote control, a USB cord to supply power (along
  25   with a USB-to-2 prong AC power plug adapter), an HDMI cable for transmitting
  26   video and audio signals to a television, and RCA audio/video cables for transmitting
  27   the same. From April 18, 2014 to early December 2014, we performed extensive
  28

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   1   forensic testing on this device and other TVpad3 devices that Mintz investigators
   2   purchased from U.S. TVpad distributors (see Paragraphs 64 – 73 below).
   3           21.      On December 1, 2014, CNT announced the release of a new model, the
   4   TVpad4 (M418).3 Shortly thereafter, we purchased a TVpad4, GCN edition, directly
   5   from CNT through its website. Although the packaging of the TVpad4 differed from
   6   the TVpad3, the accessories were similar. We undertook forensic testing of the
   7   TVpad4 to identify any material technical differences between that device and the
   8   TVpad3. Below is a photograph I took of the TVpad4 device that we examined
   9   forensically:
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                                          TVpad4 Set-Top Box
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  20           Forensic Analysis of TVpad Initialization, Authentication, and Operation
  21           22.      We performed forensics on the TVpad devices using “packet capture”
  22   software that monitors data communications to and from a networked device, and
  23   documented our work using “video screen capture” software. My descriptions of the
  24

  25
       3
       After we purchased the TVpad4 device, CNT began advertising two editions of the
  26
     TVpad4: One that makes available apps that stream Mandarin-language television
  27 programming for $199 (the CN edition), and one that makes available apps that
     stream television programming from Hong Kong, Taiwan, and mainland China for
  28
     $299 (the GCN edition). See Weil Decl. ¶ 18.
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   1   TVpad’s operation are based on this forensic testing. I personally captured all of the
   2   images below of TVpad screen displays. Attached hereto as Exhibit 46 are true and
   3   correct, full-sized copies of those screen display images.
   4           23.      Our testing confirmed that the TVpad4 device and network function
   5   similarly to that of the TVpad3, although some of the underlying architecture has
   6   changed. In this declaration, references to the TVpad will be to both models, unless
   7   otherwise specified.
   8           24.      Our analysis of the TVpad device revealed that once the TVpad has
   9   been connected to the Internet, but before the user performs any actions with the
  10   device, the device automatically performs Internet domain name server (DNS)
  11   lookups, in order to locate one or more servers with which it needs to communicate
  12   in order to properly authenticate itself as a valid TVpad (“DNS Lookup Servers”).
  13   The device then contacts the identified servers and authenticates itself by sending
  14   unique identifying information to that server (“Authentication Servers”). See
  15   Exhibit 45 (list of U.S. servers involved in TVpad operations, including the DNS
  16   Lookup Servers and Authentication Servers).
  17           25.      Our forensic analysis demonstrated that the TVpad then automatically
  18   downloads operational support content such as the TVpad Store menu of apps and
  19   thumbnail graphic images (icons) for those apps, from another set of servers (the
  20   “TVpad Store Servers”). See Exhibit 45. The device regularly contacts the TVpad
  21   Store Servers to update the contents of the TVpad Store. While the TVpad device is
  22   in operation, it also contacts a number of different leased commercial servers for
  23   operational assistance and content (the “Operational Servers”). See Exhibit 45.
  24           26.      When users download Infringing TVpad Apps from the TVpad Store for
  25   installation to their TVpad devices, those apps are downloaded from the TVpad Store
  26   Servers. During operation of the Infringing TVpad Apps, those Apps download
  27   operational content such as program guides and thumbnail graphics from certain of
  28   the TVpad Operational Servers.
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   1           Initial Onscreen Displays
   2           27.      Once the TVpad is connected to a television or other video monitor and
   3   turned on, and the above automatic functions occur, a welcome screen appears:
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  12                                     TVpad4 Welcome Screen
  13           28.      Next, onscreen prompts appear requiring a user (a) to select the
  14   language the device will use for menus and to display text, and (b) to set the time
  15   zone:
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  24                                   TVpad4 User Settings Screens

  25           29.      After selecting a few additional technical settings, depending on the
  26   model, the user is then prompted to read and accept mandatory terms of service
  27   (titled “TVpad Legal Information and User Agreement”):
  28

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                                  #:20318

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  11
                                       The TVpad4 User Agreement Screen
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  13             30.    Among other things, the TVpad Legal Information and User Agreement
  14   states:
  15             “1.1. TVpad products (hereinafter referred to as “TVpad”) are supplied by
  16             Create New Technology (Hong Kong) Limited (hereinafter referred to as
  17             “CNT”).
  18             ***
  19             1.2.   TVpad Store is the platform that allows you to browse, search,
  20             download and install software applications of interest . . . that TVpad supports.
  21             ...
  22             ***
  23             3.1.1. CNT does not recommend software applications other than those
  24             provided through the TVpad Store be installed into the TVpad. If user installs
  25             any software application not provided through the TVpad Store into the
  26             TVpad, the user herein agrees to be responsible and to assume all risks and
  27             liabilities resulted from the installation and use of the software application.
  28             ***
                                                    15                         DAVIS WRIGHT TREMAINE LLP
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   1           3.2.     You agree not to access (or try to access) TVpad in any ways other than
   2           through the interface provided by CNT, unless otherwise specifically permitted
   3           by the separate agreement between you and CNT. You shall agree not to
   4           access (or try to access) TVpad in any automatic ways (including script,
   5           crawlers or similar techniques), and ensure to comply with instructions (in
   6           electronic and/or written form) provided with the TVpad.
   7           ***
   8           3.8.     CNT reserves the right to preview, examine, report, filter, modify,
   9           refuse or delete any or all software applications in the TVpad Store . . .
  10           3.9.     You agree that the TVpad product, the TVpad Store, the Products
  11           accessible through the TVpad Store, contain proprietary information and
  12           material . . . that is owned by CNT and/or the Publishers of the Products . . .
  13           3.10. Notwithstanding any other provision of this Agreement, CNT and the
  14           Publishers reserve the right to change, suspend, remove, or disable access to
  15           any Products, content, or other materials accessible through the TVpad Store at
  16           any time without notice.
  17           ***
  18           7.4.     . . . CNT reserves the right to modify, suspend, or discontinue the
  19           TVpad Store (or any part or content thereof) at any time with or without notice
  20           to you.”
  21   Attached hereto as Exhibit 47 are true and correct photographs of the TVpad Legal
  22   Information and User Agreement as displayed on the TVpad3, which I personally
  23   captured.
  24           31.      After the user accepts the terms of use, on the TVpad4 a series of four
  25   promotional screens appear as a slideshow on the device.4 The first promotional
  26

  27

  28   4
           This slideshow does not appear on the TVpad3 device.
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   1   slide displays several apps with the caption “Watch TV shows, movies, VOD and
   2   Live TV whenever you like.”
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  14                                    Promotional Screen No. 1
  15

  16   Notably, this first promotional slide features an icon for what appears to be a version

  17   of one of the “Yue Hai” Infringing TVpad Apps.

  18           32.      The second promotional slide on the TVpad device promotes “Massive

  19   apps for your choice.”

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                                  #:20321

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  12                                    Promotional Screen No. 2
  13   This promotional slide features an icon for a “516” app, one of the Infringing TVpad
  14   Apps.
  15           33.      On both the TVpad3 and TVpad4, a menu screen for the device appears
  16   next; this screen is the device’s primary or “home” screen. For the TVpad3, this
  17   contains a menu bar on the left side that a user can use to navigate to the “TVpad
  18   Store,” “My TVpad,”5 and “Settings.” For the TVpad4, the menu screen has a hidden
  19   menu bar on the left with the same three options, and an onscreen button (denoted by
  20   a plus symbol) that provides a shortcut to the TVpad Store. The Tvpad4 menu screen
  21   also includes three promotional banners or advertisements. The TVpad4 menu
  22   screen, as of January 13, 2015, included a banner advertisement promoting the Gang
  23   Yue Wang Luo Dian Shi Infringing TVpad App, and a banner advertisement
  24   promoting the BETV Plus Infringing TVpad App. Attached hereto as Exhibit 48 is a
  25   true and correct copy of an image of the TVpad4 menu screen, as of January 13,
  26   2015, displaying these two banners advertisements (along with a third banner
  27

  28   5
           Selecting the “My TVpad” option takes a user to a user account screen.
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   1   advertisement touting the TVpad device itself), which I personally captured, and a
   2   certified translation of these two banner advertisements.6
   3

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  13
                                       The TVpad4 Menu Screen
  14

  15           34.      Clicking on the Gang Yue Wang Luo Dian Shi banner ad or the BETV
  16   Plus banner ad takes the user directly to the download page for the respective
  17   Infringing TVpad App, bypassing the TVpad Store home page:
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  25
               Gang Yue Wang Luo Dian Shi                  BETV Plus Download Page
  26                 Download Page
  27
       6
        The BETV Plus banner ad contains Chinese language characters that I understand
  28
       expressly state that the app provides live, VOD and replay live streaming.
                                                    19                  DAVIS WRIGHT TREMAINE LLP
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   1           35.      To reach the TVpad Store, a user can click on the shortcut button on the
   2   TVpad4 screen, or use the menu button on the left side of the menu screen on either
   3   model of the device:
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  12
                                TVpad4 Menu Screen With Menu Bar Revealed
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  14
               36.      Although the TVpad Store functions similarly on the TVpad3 and the

  15
       TVpad4, the apps available in the Store, and how the apps are organized, differ. I

  16
       discuss the organization of the TVpad Store for each model of the device separately,

  17
       below.

  18           The TVpad Store on the TVpad3 Device
  19           37.      On the TVpad3, the left side of the home screen of the TVpad Store
  20   displays a menu bar that provides several optional views: “Hot,” a list of popular
  21   apps; “App Category,” a list of apps by type (such as “Live TV” and “TV Dramas”);
  22   “Search,” a tool to find apps by name; and “App Manager,” a tool to manage
  23   installed apps. When the TVpad user accesses the TVpad Store for the first time, the
  24   user automatically sees pre-selected app icons labeled “New Apps” and “Hot Apps”
  25   on the screen, in two rows on the right side of the screen:
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  12                                   TVpad Store Home Screen (TVpad3)
  13   In the example above from May 13, 2014, the Infringing TVpad Apps BETVII,
  14   BETV_HD, and Sport Online were listed as “New Apps.”
  15           38.      When I selected “App Category” on the TVpad 3 device, I observed
  16   several Infringing TVpad Apps on the right two-thirds of the screen:
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  28                        TVpad Store with “App Category” Selected (TVpad3)

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   1           39.      When I selected the “Live TV” category in the TVpad Store on the
   2   TVpad3, I observed the following Infringing TVpad Apps: BETV, BETV HD,
   3   BETV II, Sport Online, and 516.
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  15                   TVpad Store with the “Live TV” Category Selected (TVpad3)
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  17           40.      Similarly, when I selected the “TV Dramas” category in the TVpad

  18   Store on the TVpad3, I observed the Gang Tai Wu Xia app, an Infringing TVpad

  19   App that streams TVB Kung Fu dramas in video-on-demand mode.

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  15                 TVpad Store with the “TV Dramas” Category Selected (TVpad3)
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  17           41.      By selecting an app from the TVpad Store and then pressing OK on the
  18   remote control, a user may download Infringing TVpad Apps free of charge. For
  19   example, during our testing of the TVpad3, we downloaded and installed the
  20   following Infringing TVpad Apps: BETV, BETVII, BETVHD, 516, and Sport
  21   Online, as well as the N+ app, discussed in Paragraphs 44-45 below. Our testing
  22   showed that for each app we selected for installation, the app was downloaded from
  23   the same TVpad Store Servers from which the TVpad device had automatically
  24   downloaded the TVpad Store menu of apps and app icons (see Paragraph 26 above;
  25   see also Exhibit 45).
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   1           42.      Examples of user interfaces of Infringing TVpad Apps appear below:
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                 BETV Live TV Mode Menu                    BETV Replay Live Mode Menu
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  14           43.      Initiating a download of a particular Infringing TVpad App does not
  15   produce onscreen prompts requiring a user to review any terms and conditions for the
  16   app itself. We also did not observe and were unable to locate, for any Infringing
  17   TVpad App we downloaded, any information provided within the app or anywhere
  18   else (including online) that adequately identify the owner, creator, or distributor of
  19   such app.
  20           44.      One particular app available in the TVpad Store on the TVpad3 model
  21   merits further explanation. The app called “N+” is itself another “store” offering
  22   multiple infringing apps for free download. The user interface of this “N+ Store”
  23   resembles the user interface of the TVpad Store, displaying a menu bar that provides
  24   users with several different optional views: “Hot Apps,” a list of popular TVpad
  25   Apps available through the N+ app store; “Recommends,” a list of recommended
  26   apps; “Search;” and “Download.” The TVpad3 device shows the N+ store on the
  27   TVpad user’s television screen, with the default “Hot Apps” category appearing first,
  28   as follows:

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  14                                   N+ App Interface on TVpad3

  15   When I opened the N+ Store app on the TVpad3 device, I observed icons for the
  16   following Infringing TVpad Apps (as shown in the above image): BETV, Gang Yue
  17   Kuai Kan, Yue Hai Kuan Pin, Yue Hai Shi Yi, BETVII, and Yue Hai Kuan Pin 2.
  18           45.      A user may download individual TVpad apps or entire TVpad app
  19   collections using the N+ Store. Notably, the Hot Apps option on the N+ store
  20   includes a collection of Infringing TVpad Apps titled “CN&HK TV Shows”, which I
  21   interpreted to mean “Chinese and Hong Kong TV Shows”. During our testing, we
  22   downloaded the “CN&HK TV Shows” collection from the N+ Store, which resulted
  23   in installation on the TVpad3 device of the following Infringing TVpad Apps:
  24   BETV, BETVII, Yue Hai Kuan Pin 23, Yue Hai Shi Yi 3, Yue Hai Kuan Pin 3, and
  25   Gang Yue Kuai Kan.
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   1           The TVpad Store on the TVpad4 Device
   2           46.      The home screen on the TVpad4 has a menu bar at the top of the screen
   3   that contains the following options: “Picks”, “Top”, “Categories”, “Search”, and
   4   “Management.” The selected option is highlighted, and the others are dimmed.
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  17                    Home Screen of TVpad Store on TVpad4 (“Picks” Selected)
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  19   The home screen of the TVpad4 defaults to the “Picks” option, and this screen
  20   automatically shows icons under “New” and “Hot” categories of apps, just as on the
  21   home screen of the TVpad Store on the TVpad3 but arranged in blocks of six icons.
  22   When I opened the home screen on the TVpad4, I observed the following six
  23   Infringing TVpad Apps (shown in the image above): Gang Yue Wang Luo Dian Shi,
  24   BETV Plus, 516 Online TV, Sports Online, Gang Tai Wu Xia, and Yue Hai Shi Yi.
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   1           47.      Selecting the “Top” option yields another screen with what appear to be
   2   curated app selections, divided into “Apps” and “Games”:
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  16                                   “Top” Screen on TVpad Store (TVpad4)
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       The above image shows two Infringing TVpad Apps under the “Apps” category:

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       Gang Yue Wang Luo Dian Shi and BETV Plus.

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   1           48.      Selecting the “Categories” option yields a screen with seven app
   2   categories, including “VOD” and “Live TV”:
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  14                             “Categories” Screen on TVpad Store (TVpad4)
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  16   Clicking on a particular category takes a user to a screen or series of screens
  17   displaying multiple apps for the selected category.
  18           49.      When I viewed the first screen of the VOD category, I observed three
  19   Infringing TVpad Apps (shown in the image below): the Gang Yue Wang Luo Dian
  20   Shi, BETV Plus, and Gang Tai Wu Xia apps.
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                         First Screen in “VOD” Category in TVpad Store (TVpad4)
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  17           50.      Similarly, when I selected the “Live TV” category in the TVpad Store
  18   on the TVpad4, I observed three Infringing TVpad Apps on the first screen:
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                       First Screen in “Live TV” Category in TVpad Store (TVpad4)
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  17   The Infringing TVpad Apps that appear on this screen are the 516 Online TV, Sports
  18   Online, and Yue Hai Shi Yi apps.
  19           No Procedures for Reporting Infringement
  20           51.      On both the TVpad3 and TVpad4, the TVpad Store has no posted policy
  21   or statement instructing users how to report activity that they believe infringes
  22   copyrights. Nor are there any informal procedures or mechanisms (such as a “Report
  23   This App” button) that would enable users of the TVpad device to report activity that
  24   they believe infringes copyrights. Based on information available on the United
  25   States Copyright Office’s website, I have determined that CNT has not appointed an
  26   agent to receive notifications of claimed copyright infringement relating to the
  27   TVpad Store.
  28

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   1    Methods by Which Infringing TVpad Apps Stream CCTV and TVB Programs
   2           52.      My forensics investigation showed that Infringing TVpad Apps stream
   3   CCTV and TVB programming through four modes familiar to users of contemporary
   4   cable and satellite television set-top boxes. As noted above, these modes deliver:
   5                    • live television programming as it is broadcast, subject to minor delay
   6                         due to the video capture and streaming process (“Live TV Mode”);
   7                    • time-delayed live television programming, such that programming is
   8                         streamed around the same time of day in the U.S. as it originally
   9                         aired in China, depending on respective time zones (“Time-Shifted
  10                         Mode”);
  11                    • specific recorded programming chosen through a menu system, often
  12                         known as video-on-demand (“VOD Mode”); and
  13                    • specific recorded programming chosen through a menu system for a
  14                         specific time frame, such as the last three days (“Replay Live
  15                         Mode”).
  16           TVpad Live Television Mode: Peer-to-Peer Streaming
  17           53.      The live television video data streamed through Infringing TVpad Apps
  18   in Live TV Mode is delivered to TVpad users through a peer-to-peer network. In
  19   Live TV Mode, each TVpad user connects to a group of many other TVpad users,
  20   and receives data from those peers that is assembled to view video. That TVpad user,
  21   in turn, transmits data out to numerous other TVpad users to perpetuate the peer-to-
  22   peer network. In other words, TVpad users who use Infringing TVpad Apps to
  23   watch live CCTV and TVB programming not only receive that programming, but
  24   also simultaneously retransmit that programming to large numbers of other TVpad
  25   users in the United States and elsewhere.
  26           54.      Our investigation showed that, in addition to transmitting and receiving
  27   content from other TVpads, Infringing TVpad Apps in Live TV Mode also connect
  28   to a set of leased commercial servers that the apps treat as peers (“Live TV Servers”).
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   1   These Live TV Servers also stream content to the TVpad devices, presumably to add
   2   stability to the peer-to-peer network, especially when few TVpad peers are online. A
   3   number of these Live TV Servers are located in the United States, including Los
   4   Angeles, California. See Exhibit 45 (list of U.S. servers).
   5           55.      In the case of the TVpad4, when operating in Live TV Mode, each
   6   TVpad “peer” communicates with an unknown central server on the public Internet
   7   that learns and manages the peers’ IP addresses and methods needed for the peers to
   8   find each other and to act as upload points. In the case of the TVpad3, Infringing
   9   TVpad Apps in Live TV Mode retrieve an encrypted file (from a server on the
  10   SopCast P2P network at sopserv.com), readable only by TVpad Live TV apps, that
  11   provides locations in the peer-to-peer network so that the Live TV Apps can establish
  12   connections to peers.
  13           56.      Although the peer-to-peer network utilized by the Infringing TVpad
  14   Apps in Live TV Mode exists on the “open” Internet, these Apps make use of a
  15   private network of TVpad device peers, each of which must be authenticated by
  16   central servers in order to operate on the network (the “TVpad Peer-to-Peer
  17   Network”). Also, the video streams themselves used by the TVpad Peer-to-Peer
  18   Network are encoded at the upstream end (in Hong Kong or mainland China), and
  19   then decoded by the Infringing TVpad Apps on the TVpad devices downstream,
  20   which means that the party who encodes the stream must provide the decoding key to
  21   the party controlling the Infringing TVpad App in order for TVpad devices to view
  22   the content, thus keeping the entire process private. By analogy, the public Internet is
  23   like a neighborhood, and the TVpad Peer-to-Peer Network is like an adjacent gated
  24   community, to which only TVpad apps have access.
  25           57.      While starting up and throughout the playback of live content,
  26   Infringing TVpad Apps in Live TV Mode connect to one or more of the TVpad
  27   Operational Servers to download content such as program guides for use with those
  28   apps. See Exhibit 45 (list of U.S. servers).
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   1           58.      Our review of Internet discussion board posts shows that some TVpad
   2   users are aware that Infringing TVpad Apps in Live TV Mode receive and upload
   3   streamed video content through a peer-to-peer network. True and correct copies of
   4   printouts of such Internet discussion board posts are attached hereto as Exhibit 49,
   5   which printouts I personally confirmed accurately reflect the contents of those
   6   Internet discussion board posts on February 5, 2015. Other TVpad users are aware
   7   that watching television programming through the TVpad device uses a significant
   8   amount of the upload capacity or bandwidth of the user’s Internet connection.
   9   Attached hereto as Exhibit 50 are true and correct copies of printouts of two Internet
  10   discussion board posts and one blog post, in which users discuss the TVpad device’s
  11   consumption of upload bandwidth, which printouts I personally confirmed accurately
  12   reflect the contents of those posts on February 19, 2015.
  13           59.      TVpad users also complain generally about the quality of the TVpad
  14   viewing experience, including complaints regarding slow downloads, failed
  15   downloads, unavailable channels, unavailable programs, low video quality, and poor
  16   sound quality. Attached hereto as Exhibit 51 are true and correct copies of examples
  17   of such Internet discussion board posts, which printouts I personally confirmed (with
  18   the assistance of a Mintz investigator fluent in Chinese) accurately reflect the
  19   contents of those Internet discussion board posts on February 5, 2015, and certified
  20   translations of those posts. During our investigation, I personally observed numerous
  21   problems with the TVpad viewing experience, such as video failing to stream or
  22   download, video freezing while playing, video terminating in the middle of a
  23   program, low video quality, blurring of video, pixelation, and soundtrack out of sync
  24   with video.
  25           TVpad VOD and Replay Live Modes: Direct Streaming
  26           60.      Our investigation has demonstrated that Infringing TVpad Apps in VOD
  27   Mode and Replay Live Mode function in the same manner as one another, though
  28   they access different servers.
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   1           61.      Infringing TVpad Apps in VOD Mode and Replay Live Modes allow
   2   the user to select an available television program (such as a specific episode from a
   3   CCTV or TVB television series) to view “on demand”—that is, commencing from
   4   the beginning of the program and playing the program whenever the user chooses.
   5   Infringing TVpad Apps in VOD Mode and Replay Live Mode receive video streams
   6   from servers in the U.S., including in Los Angeles, California (“VOD Servers” and
   7   “Replay Live Servers”, respectively). See Exhibit 45 (list of U.S. servers).
   8           62.      We have determined through forensic analysis that Infringing TVpad
   9   Apps in VOD Mode and Replay Live Mode specifically request video files from the
  10   above (and other) servers, indicating that such video files reside on those servers.
  11   Further, the Infringing TVpad Apps in VOD Mode and Replay Live Mode receive
  12   data packets from these servers that are of a size indicating they contain recorded
  13   video data. The Infringing TVpad Apps also establish connections and begin
  14   streaming sufficiently quickly, as compared with live streaming mode, to indicate
  15   that the TVpad VOD and Replay Live Servers store copies of CCTV and TVB
  16   programs.
  17           TVpad Time-Shifted Mode: Peer-to-Peer and Direct Streaming
  18           63.      Sometimes Infringing TVpad Apps in Time-Shifted Mode stream video
  19   content by means of a combination of peer-to-peer streaming (through the TVpad
  20   Peer-to-Peer Network) and direct streaming, while at other times, they stream video
  21   content exclusively through direct streaming from servers. Time-Shifted direct
  22   streams of television programming appear to originate with servers in China and in
  23   California.
  24                 Analysis of TVpad Devices Purchased from U.S. Distributors
  25           64.      We also examined TVpad3 devices purchased from certain U.S.
  26   Distributors by my colleague Shuk Kuen “Lily” Lau. The purchases of these devices
  27   are described in the accompanying Declaration of Ms. Lau.
  28

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   1           ClubTVpad
   2           65.      One of the TVpad3 devices I examined was purchased from Defendant
   3   Club TVpad, Inc. (“Club TVpad”). Shipping materials accompanying the package
   4   indicated that the TVpad device was shipped from 4101 Dublin Blvd Suite F,
   5   PMB#18, Dublin, CA 94568 on October 31, 2014. Attached hereto as Exhibit 52 is a
   6   true and correct copy of a photograph I took of the shipping materials that
   7   accompanied the TVpad device Ms. Lau purchased from Club TVpad, with the street
   8   address and contact information Mintz uses in investigations redacted because the
   9   redacted information reflects confidential and proprietary business information.
  10           66.      The TVpad device Ms. Lau purchased from Club TVpad appears to
  11   have been configured by Club TVpad before it was shipped to her. When I connected
  12   the TVpad device to the Internet and turned it on, instead of displaying the user
  13   agreement and the new user questions, the TVpad device had been set up with the
  14   following Infringing TVpad Apps already pre-installed: the Gang Yue Wang Luo
  15   Dian Shi app, three BETV apps, the HITV app, the Sport online app, three Yue Hai
  16   apps, and the Gang Yue Kuai Kan app. Even had these Infringing TVpad Apps not
  17   been pre-installed by Club TVpad, I could have downloaded the Infringing TVpad
  18   Apps through the TVpad Store; but Club TVpad facilitated this process by already
  19   downloading the infringing TVpad Apps prior to shipping the TVpad device to Ms.
  20   Lau.
  21           67.      Using the Infringing TVpad Apps that Club TVpad had pre-installed on
  22   that device, I viewed CCTV and TVB television programs on the TVpad device we
  23   received from Club TVpad.
  24           Asha Media
  25           68.      I examined two TVpad3 devices Ms. Lau purchased through the
  26   TVpad.com website. As set forth in the accompanying Lau Declaration, which I
  27   have reviewed, Ms. Lau has determined that the TVpad.com website is operated by
  28   Defendant Asha Media Group Inc. (“Asha Media”). For the first device received
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   1   from TVpad.com, which arrived on June 9, 2014, the shipping materials
   2   accompanying the package indicated that the TVpad had been shipped from
   3   “TVPAD.COM” at 1409 South Lilac Avenue, Bloomington, California 92316 on
   4   June 3, 2014. Attached hereto as Exhibit 53 are true and correct copies of
   5   photographs I took of the shipping materials that accompanied the first TVpad3
   6   device Ms. Lau purchased from TVpad.com, with the street address Mintz uses in
   7   investigations redacted because the redacted information reflects confidential and
   8   proprietary business information.
   9           69.      The shipping materials accompanying this TVpad included a sealed
  10   padded envelope containing a postcard offering a $20 discount on future purchases
  11   from the TVpad.com website and a USB flash drive. The USB flash drive contained
  12   Infringing TVpad Apps and software used by the TVpad device to help load these
  13   applications onto the TVpad device. The Infringing TVpad Apps on the USB flash
  14   drive included: a 516 app, three BETV apps, the Sport Online app, the Gang Yue
  15   Kuai Kan app, and three Yue Hai apps. Attached hereto as Exhibit 54 are true and
  16   correct copies of photographs I took of the envelope contents and a screenshot of the
  17   file contents of the USB flash drive.
  18           70.      Based on Mintz’s other purchases of TVpad devices, the flash drive
  19   shipped by TVpad.com along with the device is not part of the TVpad device as
  20   shipped from the manufacturer. The flash drive is not necessary to load these
  21   Infringing TVpad Apps onto the TVpad because all of these Infringing TVpad Apps
  22   are available for download through the TVpad Store; but TVpad.com facilitated this
  23   process by providing a flash drive that contained Infringing TVpad Apps.
  24           71.      Using the Infringing TVpad Apps TVpad.com supplied on the flash
  25   drive, I viewed CCTV and TVB television programs on the first TVpad device we
  26   received from TVpad.com.
  27           72.      In October 2014, I examined a second TVpad3 device Ms. Lau
  28   purchased from TVpad.com, which was shipped from the same Bloomington,
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   1   California address as the first device. Attached hereto as Exhibit 55 are true and
   2   correct copies of photographs I took of the shipping materials accompanying the
   3   second TVpad device Ms. Lau purchased from TVpad.com, with the street address
   4   Mintz uses in investigations redacted because the redacted information reflects
   5   confidential and proprietary business information. The shipping materials for this
   6   TVpad device again included a sealed padded envelope containing a postcard
   7   offering a $20 discount and a USB flash drive containing the same Infringing TVpad
   8   Apps and software as provided with the first TVpad device, along with several
   9   additional apps. Attached hereto as Exhibit 56 are true and correct copies of a
  10   photograph of the envelope contents and a screenshot of the file contents of the USB
  11   flash drive.
  12           73.      Using the Infringing TVpad Apps TVpad.com supplied on the flash
  13   drive, I viewed CCTV and TVB television programs on the second TVpad device we
  14   received from TVpad.com.
  15      Recording of Infringing TVpad Apps Streaming CCTV and TVB Programs
  16           74.      To memorialize examples of infringement of CCTV and TVB programs,
  17   Mintz recorded video of CCTV and TVB programs being streamed through various
  18   Infringing TVpad Apps operating on the TVpad device in multiple modes. I made
  19   these recordings using a digital recording device on the same local network as the
  20   TVpad, which received an exact copy of the streaming content being received by the
  21   TVpad, and displayed the content simultaneously on a video monitor also set up in
  22   the room. I was present during each recording and viewed these broadcasts being
  23   played on the television monitor.
  24           75.      Specifically, the details regarding these recordings—including program
  25   name, number of airings recorded, air date, CCTV or TVB channel, Infringing
  26   TVpad App used, and app mode used—are as follows:
  27

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   1                                       Streaming of CCTV Programs
   2     Program (number of              Air date(s)         CCTV         Infringing
          airings recorded)               (in 2014)         Channel      TVpad App(s)            Mode
   3    Across the Strait (8)          Sept. 22-25,       CCTV-4         BETV3,              Live TV Mode,
                                       27-28; Oct. 4-5                   BETVII3, 516        Replay Live
   4
                                                                                             Mode
   5    Around China (8)               Sept. 22-25,       CCTV-4         BETV3,              Live TV Mode,
                                       27-28; Oct. 4-5                   BETVII3, 516        Replay Live
   6                                                                                         Mode
        Art life (2)                   Sept. 25; Oct. 3   CCTV-3         BETVII3             Replay Live
   7                                                                                         Mode
   8    Echo Clear (3)                 Sept. 26; Oct.     CCTV-3         BETVII3             Replay Live
                                       3, 5                                                  Mode
   9    Fashion Infinite (2)           Sept. 28; Oct. 5   CCTV-4         BETVII3, 516        Live TV Mode,
                                                                                             Replay Live
  10                                                                                         Mode
        I Want to Go to the            Sept. 28; Oct. 5   CCTV-3         BETVII3             Replay Live
  11
        Spring Festival Gala (2)                                                             Mode
  12    Star Walk (3)                  Sept. 25, Oct.     CCTV-3         BETVII3             Replay Live
                                       3-4                                                   Mode
  13    To A Happy Departure           Sept. 22           CCTV-3         BETVII3             Replay Live
        (1)                                                                                  Mode
  14    Variety Festival (1)           Sept. 23           CCTV-3         BETVII3             Replay Live
  15                                                                                         Mode

  16
                                            Streaming of TVB Programs
  17     Program (number of             Air date(s)
  18      airings recorded)              (in 2014)         TVB Channel       App(s)              Mode
        A Closer Look (1)              Oct. 6             interactive    Yue Hai Zhi         Live TV Mode
  19                                                      News           Bo
        All That is Bitter is          Sept. 29-Oct. 2    Jade           Yue Hai Kuan        Live TV Mode,
  20    Sweet (4)                                                        Pin 23, HITV,       Replay Live
                                                                         Yue Hai Kuan        Mode
  21
                                                                         Pin 3
  22    Big Boys Club (7)              Sept. 29-Oct.      J2             Yue Hai Kuan        Live TV Mode,
                                       3; Oct. 7                         Pin 23, HITV,       Replay Live
  23                                                                     Yue Hai Kuan        Mode
                                                                         Pin 3
  24    Come Home Love (5)             Sept. 29-30;       Jade, JadeHD   Yue Hai Kuan        Live TV Mode,
  25                                   Oct. 2-3; Oct. 8                  Pin 23, Yue         Replay Live
                                                                         Hai Kuan Pin 3      Mode
  26    Line Walker (5)                Sept. 29-Oct. 3    Jade, JadeHD   Yue Hai Kuan        Live TV Mode,
                                                                         Pin 23, HITV,       Replay Live
  27                                                                     Yue Hai Kuan        Mode
                                                                         Pin 3
  28

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  1      Progtam (numb~r of             Air dafe(s)
          airings recorded)              (in2014)       TVB Channel      App(s)                Mode
  2     Pearl News (4)                Sept 29-0ct. 1;   Pearl         Yue Hai Kuan      Replay Live
                                      Oct. 9                          Pin23             Mode
  3
       Pleasure & Leisure (5)         Sept. 30-0ct.     Jade          Yue Hai Kuan      Replay Live
  4                                   2; Oct. 8-9                     Pin23, Gang       Mode
                                                                      YueWangLuo
  5                                                                   Dian Shi
  6            76.      I am informed by Plaintiff DISH that all of the CCTV and TVB
  7   programs we recorded using Infringing TVpad Apps on the TVpad device also are
  8   broadcast in the United States through DISH's satellite and OTT television service.
  9
      I declare under penalty of perjury under the laws of the United States of America that
 10
      the foregoing is true and correct.
 11
      Executed this ~ay ofMarch 2015 in New York, New York.
 12                      ~



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 15                                                             Nicholas Braak
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                               LAU DECLARATION
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   1                         DECLARATION OF SHUK KUEN “LILY” LAU
   2   I, Shuk Kuen “Lily” Lau, declare as follows:
   3           1.       I am a licensed private investigator with the Mintz Group LLC
   4   (“Mintz”), a corporate research and investigations firm headquartered in New York.
   5   For more than 20 years, I have worked as a legal translator—working with (among
   6   others) the Manhattan District Attorney’s office, the office of the United States
   7   Attorney for the Southern District of New York, and various federal agencies
   8   (including U.S. Immigration and Customs Enforcement, the Drug Enforcement
   9   Administration, and the Federal Bureau of Investigation) on a variety of matters,
  10   including Chinese organized-crime investigations and prosecutions. I am fluent in
  11   and a court certified translator of the Mandarin, Cantonese, and Fujianese dialects. I
  12   make this declaration in support of the motion of plaintiffs China Central Television
  13   (“CCTV”), China International Communications Co., Ltd (“CCIC”), TVB Holdings
  14   (USA), Inc. (“TVB (USA)”), and DISH Network L.L.C. (“DISH” and collectively
  15   with CCTV, CICC, and TVB (USA), “Plaintiffs”) for a preliminary injunction. I
  16   have personal knowledge of the facts contained herein and, if called upon as a
  17   witness, I could and would testify competently about these facts, except for those
  18   matters stated expressly upon information and belief, which matters I believe to be
  19   true.
  20           2.       In 2014, Plaintiffs engaged Mintz to investigate a television set-top box
  21   device known as “TVpad” and the unlicensed international television programming
  22   accessible to U.S. consumers through the TVpad device. Under the direction of lead
  23   Mintz investigator Christopher Weil, I was charged with investigating the
  24   distribution and sale of the TVpad device into and within the United States. Among
  25   other things, I and other investigators under the direction and control of Mr. Weil
  26   researched the activities of two companies that distribute the TVpad device in the
  27   United States: Defendants Club TVpad, Inc. (“Club TVpad”) and Asha Media
  28   Group Inc. d/b/a TVpad.com (“Asha Media”).

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   1                                                     Club TVpad
   2           3.       As part of my investigation of Club TVpad, I reviewed the company’s
   3   website and other publicly available materials compiled by Mintz investigators
   4   regarding its location, ownership, and activities as a distributor of TVpad devices.
   5   Mintz investigators under the direction and control of my supervisor Christopher
   6   Weil also reviewed Club TVpad’s website and Facebook page to determine the
   7   extent to which Club TVpad advertises, promotes, and encourages the use of TVpad
   8   applications or “apps” that illegally stream the television programming of CCTV and
   9   TVB (USA)’s Hong Kong-based parent company Television Broadcasts Limited
  10   (“TVB”) to TVpad users in the United States. (I shall refer to these apps collectively
  11   as the “Infringing TVpad Apps”.) Finally, I purchased a TVpad device from Club
  12   TVpad and engaged in communications with Club TVpad personnel regarding the
  13   TVpad device. The results of my investigation are set forth in detail below.
  14           4.       Club TVpad is a California corporation. The “Business Entity Detail”
  15   page on the California Secretary of State’s website identifies Bennett Wong as Club
  16   TVpad’s agent for service of process and lists 3240 Shawn Way in Hayward,
  17   California as Club TVpad’s business address. Attached hereto as Exhibit 57 is a true
  18   and correct copy of a printout of the Business Entity Detail webpage for Club TVpad
  19   from http://kepler.sos.ca.gov/, which printout I personally confirmed accurately
  20   reflects the contents of that webpage on February 5, 2015.
  21           5.       Club TVpad operates a website at the domain name clubtvpad.com.
  22   According to archived domain registration records, as of July 2012, the registrant of
  23   the domain for Club TVpad’s website was Bennett Wong, 225 W. Santa Clara Street,
  24   Suite 600, in San Jose, California. By September 2012, the domain registration had
  25   been transferred to a third-party domain-name privacy service named Domains by
  26   Proxy, which is the current registrant, according to archived domain registration
  27   records. Attached hereto as Exhibit 58 is a true and correct copy of a DomainTools
  28   domain report for clubtvpad.com, which includes archived domain registration

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   1   records. DomainTools is a website that provides publicly-available information
   2   regarding current and past domain name registrants, sometimes referred to as
   3   WHOIS registration information. One obtains records from DomainTools by
   4   searching for a given domain name at domaintools.com and selecting the type of
   5   records one wishes to view. I personally confirmed on February 5, 2015 that Exhibit
   6   58 reflects the live domain registration records for clubtvpad.com on
   7   DomainTools.com.
   8           6.       Club TVpad is listed as an authorized U.S. distributor of the TVpad
   9   device on itvpad.com, the website operated by the manufacturer of the TVpad device,
  10   Create New Technology (HK) Ltd. (“CNT”). Attached hereto as Exhibit 59 is a true
  11   and correct copy of a printout of the webpage at
  12   http://www.itvpad.com/serviceNetwork.html, which printout I personally confirmed
  13   accurately reflects the contents of that webpage on February 5, 2015, and a certified
  14   translation of that printout.
  15           7.       Club TVpad operates a Facebook page at https://www.facebook.com
  16   /pages/ToyzMore4u-Club-TVpad/212039942176662. Club TVpad advertises and
  17   promotes the TVpad device on this Facebook page. Attached hereto as Exhibit 60
  18   are true and correct copies of the Timeline and About Us webpages from Club
  19   TVpad’s Facebook page, which printouts I personally confirmed accurately reflect
  20   the contents of those webpages on February 5, 2015.
  21           8.       A June 25, 2012 post on Club TVpad’s Facebook Page includes an
  22   image of a “Regional Reseller Authorization” certificate from CNT for Club TVpad.
  23   Attached hereto as Exhibit 61 is a true and correct copy of a printout of the January
  24   25, 2012 Club TVpad Facebook posting, which printout I personally confirmed
  25   accurately reflects the contents of that Facebook posting on February 5, 2015
  26           9.       Club TVpad advertises and offers TVpad devices for sale to consumers
  27   through its website, including to consumers in the United States, the State of
  28   California, and the Los Angeles area. Club TVpad sells the TVpad3 device on its

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   1   website for $249.99. Attached hereto as Exhibit 62 is a true and correct copy of a
   2   printout of the product webpage for the TVpad3 device at
   3   http://clubtvpad.com/main/shop/tvpad3-m58/, which I personally confirmed
   4   accurately reflects the contents of that webpage on February 5, 2015.
   5           10.      On both its website and its Facebook page, Club TVpad promotes the
   6   Infringing TVpad Apps and the availability on the TVpad device of CCTV and TVB
   7   television programming streamed from Asia at no charge to consumers, as detailed
   8   below:
   9                    a.       Club TVpad states on its homepage that TVpad users may
  10   “Access tons of content with no monthly charge! It’s a set top box (IPTV) that lets
  11   you access Chinese, Vietnamese and Korean TV and movies with no additional
  12   charge!!” Attached hereto as Exhibit 63 is a true and correct copy of a screenshot of
  13   the webpage at http://clubtvpad.com/main/, which screenshot I personally confirmed
  14   accurately reflects the contents of that webpage on February 5, 2015.
  15                    b.       In an April 26, 2013 post on Club TVpad’s Facebook page, a
  16   Club TVpad administrator stated: “For those who want to use TVpad to watch the
  17   NBA Playoffs. Here is CCTV5 schedule.” When a user then asked which TVpad
  18   app to use to watch CCTV5, a Club TVpad Administrator stated “BETV or BETV
  19   HD.” As a result of our investigation, Mintz has determined that the BETV and
  20   BETV HD apps are Infringing TVpad Apps that stream CCTV television
  21   programming. Attached hereto as Exhibit 64 is a true and correct copy of a printout
  22   of the April 26, 2013 Club TVpad Facebook post, which printout I personally
  23   confirmed accurately reflects the contents of that Facebook post on February 5, 2015.
  24                    c.       In a June 5, 2013 post on Club TVpad’s Facebook page, a Club
  25   TVpad administrator posted a picture of the icon for the BETV II app and stated:
  26   “Here’s the icon to look for when searching for the BETV2.” As a result of our
  27   investigation, Mintz has determined that the BETV II app is an Infringing TVpad
  28   App that streams CCTV television programming. Attached hereto as Exhibit 65 is a

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   1   true and correct copy of a printout of the June 5, 2013 Club TVpad Facebook post,
   2   which printout I personally confirmed accurately reflects the contents of that
   3   Facebook post on February 5, 2015.
   4                    d.       In a November 12, 2012 post on Club TVpad’s Facebook page,
   5   Club TVpad posted the following message: “Are you a Direct TV subscriber? Then
   6   you might be aware that they are removing TVB from their line up at the end of the
   7   month. Meaning Direct TV subscribers will no longer receive TVB channels with
   8   Direct TV. This is the best time to get a TVpad to replace Direct TV.” In the
   9   responses to that post, a user asked whether TVpad users will get in “trouble” for
  10   using the TVpad device, and a Club TVpad administrator assured the user to the
  11   contrary, pointing to the many people using torrents to download movies for free.
  12   Attached hereto as Exhibit 66 is a true and correct copy of a printout of these
  13   November 12, 2012 Club TVpad Facebook posts, which printout I personally
  14   confirmed accurately reflects the contents of those Facebook posts on February 5,
  15   2015.
  16           11.      The homepage of Club TVpad’s website contains a graphic of the
  17   TVpad’s interface that displays icons for seven Infringing TVPad Apps, specifically
  18   the Gang Yue Kuai Kan app, Yue Hai Shi Yi app, Yue Hai Kuan Pin app, 516 Online
  19   TV app, BETV app, HITV app and Sport Online app. A screenshot of this graphic
  20   on Club TVpad’s homepage follows:
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   1   Attached hereto as Exhibit 67 is a true and correct screenshot of the webpage
   2   containing this graphic at http://clubtvpad.com/main/, which printout I personally
   3   confirmed accurately reflects the contents of that webpage on February 5, 2015.
   4           12.      Club TVpad’s website also includes a discussion board (or “forum”)
   5   section, in which TVpad users solicit advice from Club TVpad on how to view
   6   CCTV and TVB television programming using the Infringing TVpad Apps. A Club
   7   TVpad site administrator under the screen name “clubtvpad” provides that advice.
   8   For example, an exchange of posts on the discussion board section of the Club
   9   TVpad website beginning on July 8, 2014 included the following statements:
  10                    DarkKnight22: “The TVB drama app does not load at all. It
  11                    is the one with the disc Icon….”
  12                    Clubtvpad: “Sounds like you are not running the latest
  13                    version of the app. Go to the app manager and see if there
  14                    is an update. Also check to make sure one on [sic] the
  15                    latest firmware. All VOD and live TV is working on
  16                    Tvpad.”
  17   Our investigation also located numerous exchanges where Club TVpad
  18   administrators promoted the Infringing TVpad Apps and/or the availability of CCTV
  19   and TVB programming on the TVpad device, including the TVB series “Divas in
  20   Distress” and the NBA Playoffs on CCTV5. Attached hereto as Exhibit 68 are true
  21   and correct copies of printouts of the July 2014 forum thread and of other
  22   representative forum threads from the Club TVpad forum at
  23   http://clubtvpad.com/main/forums/, which printouts I personally confirmed
  24   accurately reflect the contents of those forum threads on February 5, 2015, and
  25   certified translations of selected portions of those printouts.
  26           13.      In numerous other threads on Club TVpad’s forum, Club TVpad
  27   administrators provide technical assistance to TVpad users to help them access
  28   infringing content, including CCTV and/or TVB programming. Attached hereto as

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   1   Exhibit 69 are true and correct copies of printouts of representative forum threads
   2   from the Club TVpad forum at http://clubtvpad.com/main/forums/, which printouts I
   3   personally confirmed accurately reflect the contents of those forum threads on
   4   February 5, 2015.
   5           14.      Several other threads on Club TVpad’s forum involving Club TVpad
   6   administrators and moderators demonstrate knowledge by Club TVpad and its
   7   customers that the TVpad makes use of a peer-to-peer network to provide streaming
   8   video content. Attached hereto as Exhibit 70 are true and correct copies of printouts
   9   of representative forum threads from the Club TVpad forum at
  10   http://clubtvpad.com/main/forums/, which printouts I personally confirmed
  11   accurately reflect the contents of those forum threads on February 5, 2015.
  12           15.      An entire section of the Club TVpad forum is dedicated to “TVB Drama
  13   Discussion.” Attached hereto as Exhibit 71 are true and correct copies of printouts of
  14   webpages from the Club TVpad forum showing the “TVB Drama Discussion”
  15   section, which printouts I personally confirmed accurately reflect the contents of
  16   those webpages on February 5, 2015.
  17           16.      Club TVpad also provides customer support and assistance on its
  18   Facebook page to help its customers access infringing television programming. For
  19   example, on December 16, 2014, a TVpad user in Arcadia, California stated that he
  20   had not been able to watch TVB drama series for two days. An administrator asked
  21   the user “on what platform” the user was attempting to watch the TVB drama series,
  22   and the user identified the Infringing TVpad App Gang Yue Kuai Kan in Chinese.
  23   An administrator then responded “They tend to be a bit slow in updating content
  24   during the holidays. Just have to wait.” Attached hereto as Exhibit 72 is a true and
  25   correct copy of a printout of the Facebook post at
  26   https://www.facebook.com/permalink.php?story_fbid=
  27   760421907338460&id=212039942176662, which printout I personally confirmed
  28   accurately reflects the contents of that Facebook post on February 5, 2015.

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   1           17.      On October 26, 2014, I called Club TVpad at the Oakland, California-
   2   area telephone number Bennett Wong used to register the domain name
   3   clubtvpad.com. An individual identifying himself as Bennett Wong answered the
   4   phone. During our phone conversation, Mr. Wong stated that there is no monthly
   5   charge to access Chinese television programming on the TVpad. He explained that
   6   the one-time, up-front purchase price of the TVpad device is the only cost to access
   7   television programming, which is part of what makes the TVpad device so popular.
   8   He stated that the TVpad device is similar to a Roku set-top box but with more Asian
   9   television stations and indicated that the television channels available on the TVpad
  10   device include TVB’s TVBS and Jade channels. He instructed me about how to
  11   connect the TVpad device to the Internet, about how to open the TVpad Store on the
  12   TVpad device, and about how to download apps that provide access to television
  13   programming. Mr. Wong also provided me with a discount coupon code to decrease
  14   the cost of the TVpad device to $220.
  15           18.      On October 26, 2014, I purchased a TVpad device from Club TVpad on
  16   its clubtvpad.com website for a total cost of $238.71. On October 26, 2014, I
  17   personally received an email confirming my purchase from orders@clubtvpad.com.
  18   A true and correct copy of that confirmation email is attached hereto as Exhibit 73,
  19   with the street address and telephone number Mintz used for this investigation
  20   redacted because the redacted information reflects confidential and proprietary
  21   business information. On November 3, 2014, a package addressed to me containing
  22   the TVpad device was received at a Mintz address in West Hills, California, and was
  23   forwarded to my colleague Nicholas Braak in New York for review.
  24           19.      Subsequently, Mr. Braak informed me that several Infringing TVpad
  25   Apps were pre-installed on the TVpad device I purchased from Club TVpad, as set
  26   forth in the accompanying Braak Declaration, which I have reviewed.
  27           20.      On November 20, 2014, I called Club TVpad and again spoke with the
  28   individual identifying himself as Bennett Wong. During our conversation, Mr. Wong

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   1   stated that he had directed his staff to install several apps because I had stated in our
   2   previous phone conversation that I wanted to watch television programs from Hong
   3   Kong. Mr. Wong instructed me to use the Infringing TVpad App Gang Hai Kuai
   4   Kan and stated that it would provide Hong Kong television series going back three
   5   years, including drama series and movies on demand. With respect to live
   6   programming, Mr. Wong advised me that I could use the Infringing TVpad App Yue
   7   Hai Kuan Pin to view live television channels from Hong Kong, including TVB
   8   channels, and that the Infringing TVpad App Yue Hai Kuan Pin 2 would provide live
   9   and pre-recorded programs going back three days, including on TVB’s Jade channel.
  10   Mr. Wong stated that, based on feedback from other customers, he had instructed his
  11   staff to install the most popular TVpad apps at the top of the TVpad Store and less
  12   popular ones at the bottom on the device that was shipped to me.
  13                                                     Asha Media
  14           21.      I also investigated Asha Media, another U.S. distributor of TVpad
  15   devices. During my investigation, I reviewed publicly available materials to
  16   determine Asha Media’s location, ownership, and its activities as a distributor of
  17   TVpad devices. I also reviewed the website at http://www.tvpad.com/en/
  18   (“TVpad.com”), which, based on Mintz’s investigation, we have concluded is
  19   operated by Asha Media. I also called Asha Media and spoke with Asha Media
  20   personnel directly. Finally, I purchased two TVpad devices from TVpad.com and
  21   engaged in communications with TVpad.com personnel regarding the devices. The
  22   results of my investigation are set forth in detail below.
  23           22.      Asha Media is a Florida corporation with a registered business address
  24   in Green Cove Springs, Florida. According to records on file with the Florida
  25   Secretary of State, Amit Bhalla is the President of Asha Media, and Rena Mehta is
  26   Asha Media’s registered agent for service of process. Attached hereto as Exhibit 74
  27   are true and correct copies of records on file with the Florida Secretary of State
  28   pertaining to Asha Media, printed from the Florida Secretary of State’s website,

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   1   which printed copies I personally confirmed accurately reflect live records on the
   2   Florida Secretary of State’s website on February 10, 2015.
   3           23.      Based on Mintz’s investigation, we have concluded that Asha Media
   4   operates the TVpad.com website. This conclusion is based on the following facts:
   5                    a.       A Mintz investigator under my supervisor Christopher Weil’s
   6   direction and control used the Wayback Machine website from the Internet
   7   Archive—a non-profit organization that archives historical copies of other websites,
   8   identified by web address and date—to access archived historical copies of the
   9   TVpad.com website. According to these historical copies of TVpad.com for
  10   February 9, 2014 and October 20, 2013, the “About Us” webpage on TVpad.com
  11   stated:
  12                    TVPad Store is owned and managed by Asha Media Group Inc., a
  13                    Florida, U.S based company. Our management and customer service
  14                    departments are located in U.S, while the factory and shipping units are
  15                    in China.
  16   Attached hereto as Exhibit 75 are true and correct copies of printouts of these
  17   archived historical copies of the above-quoted webpage from the Wayback Machine
  18   at https://web.archive.org/web/20140209102717/http://www.tvpad.com/en/about-us
  19   and https://web.archive.org/web/20131020050516/http://www.tvpad.com/en/about-
  20   us, which printouts I personally confirmed on February 5, 2015 accurately reflect the
  21   contents of those archived historical copies.
  22                    b.       Mintz investigators located a profile webpage for Amit Bhalla
  23   (screen name AmBhalla) on the website Brownbook.net, an online business
  24   directory. That profile states that Amit Bhalla operates the “TVpad Store” and lists
  25   an email address of sales@tvpad.com. Another webpage on Brownbook.net
  26   identifies the “TVpad Store” as www.tvpad.com. Attached hereto as Exhibit 76 are
  27   true and correct copies of printouts of the above-mentioned webpages on
  28

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   1   Brownbook.net, which printouts I personally confirmed accurately reflect the
   2   contents of those webpages on February 5, 2015.
   3                    c.       Mintz investigators also located a profile webpage for Amit
   4   Bhalla on the website Mylot.com, which is a discussion board and blogging
   5   community. The profile states that Amit Bhalla is “[a]n entrepreneur in the TVpad
   6   business, enabling people to watch Chinese, Japanese, and Korean TV from
   7   anywhere in the world” and lists Amit Bhalla’s website as www.tvpad.com/.
   8   Attached hereto as Exhibit 77 is a true and correct copy of a printout from the
   9   webpage at http://www.mylot.com/abhalla, which printout I personally confirmed
  10   accurately reflects the contents of that webpage on February 5, 2015.
  11                    d.       Mintz investigators also located a post on cloudytags.com, an
  12   “adult social bookmarking” website. A user going by the name “abhalla” posted on
  13   the website: “Why is TvPad so awesome? – Because you can watch Chinese, Korean
  14   or Japanese TV from anywhere in the world with this awesome device.” The post
  15   provided a link to a blog post on the TVpad.com website. Attached hereto as Exhibit
  16   78 is a true and correct copy of a printout of the webpage at
  17   www.cloudytags.com/linkdetails/471437.html, which printout I personally confirmed
  18   accurately reflects the contents of that webpage on February 5, 2015
  19           24.      TVpad.com offers TVpad devices for sale to consumers, including to
  20   consumers in the United States, the State of California, and the Los Angeles area.
  21   TVpad.com sells the TVpad3 model for $259 and the TVpad4 model for $329.
  22   Attached hereto as Exhibit 79 is a true and correct copy of a printout of the product
  23   webpage for TVpad devices at http://www.tvpad.com/en/tvpad-store.html, which
  24   printout I personally confirmed accurately reflects the contents of that webpage on
  25   February 5, 2015.
  26           25.      The TVpad.com website contains both Chinese- and English-language
  27   web pages. The English-language homepage of TVpad.com states that the website is
  28   an “Authorized TVpad store that ships Genuine and Authentic TVpad products,

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   1   directly from the factory.” Attached hereto as Exhibit 80 is a true and correct copy of
   2   a printout of the webpage at http://www.tvpad.com/en/, which printout I personally
   3   confirmed accurately reflects the contents of that webpage on February 10, 2015.
   4           26.      The TVpad.com website advertises and promotes the TVpad device as
   5   permitting customers to watch television programing from Asia. For instance, the
   6   English-language homepage of TVpad.com states:
   7                    TVpad is the most popular streaming smart box that offers
   8                    the best access to Chinese, Korean, and Japanese TV from
   9                    anywhere in the world. If you live abroad and miss your
  10                    favorite shows, including dramas, sports, gameshows,
  11                    news, movies, and music, then TVpad can keep you
  12                    connected to it all. TVpad is the perfect streaming
  13                    entertainment solution for students, ex-pats, travelers, and
  14                    business people that want to turn on the TV and feel like
  15                    they’re back home.
  16   A checklist on the TVpad.com homepage further promotes the availability of “High
  17   Definition Live TV,” “Time-Shift Live TV Playback,” “Video On Demand Service,”
  18   and “No Monthly Fees.” Exhibit 80.
  19           27.      A FAQ (Frequently Asked Questions) on TVpad.com boasts about the
  20   TVpad’s use of a peer-to-peer network to stream content to TVpad users, stating that
  21   “[t]he pictures are high in quality and stable due to the upgraded P2P service [the
  22   TVpad device] uses.” Elsewhere, the same FAQ notes: “Most of the apps require
  23   streaming, whether it is video or audio, and is it [sic] based on streaming and sharing
  24   the data online.” (Emphasis added). Attached hereto as Exhibit 81 is a true and
  25   correct copy of a printout of the webpage at http://www.tvpad.com/en/tvpad-
  26   frequently-asked-questions.html, which printout I personally confirmed accurately
  27   reflects the contents of that webpage on February 5, 2015.
  28

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   1           28.      A blog on TVpad.com routinely promotes the TVpad device as
   2   providing customers free access to Chinese television programming and encourages
   3   customers to use Infringing TVpad Apps to view CCTV and TVB programs. For
   4   example:
   5                    a.       A December 18, 2014 blog post on TVpad.com, entitled “TVpad4
   6           On Sale Now!”, states:
   7                    Not wanting to pay for streaming television? TVpad4 still streams live
   8                    news, sports, and television programming from stations like SoLive,
   9                    CCTV and many, many more. On TVpad4 you’ll be able to watch live
  10                    Chinese (Mandarin and Cantonese ) television. Popular shows like The
  11                    Voice: China, Red Sorghum, and Where are We Going, Dad are all
  12                    available streaming live in HD. And, with the new H.265 streaming
  13                    technology, you can be sure to see them in crystal clear HD (emphasis
  14                    added).
  15           Attached hereto as Exhibit 82 is a true and correct copy of a printout of the
  16           website at http://www.tvpad.com/en/tvpad-store-blog/tvpad4-on-sale-
  17           now.html, which printout I personally confirmed accurately reflects the
  18           contents of that webpage on February 5, 2015.
  19                    b.       A July 31, 2014 blog post on TVpad.com states:
  20                    There are more than 30,000 episodes of Chinese television
  21                    dramas produced every year in China, which gives
  22                    audiences a large range of viewing options. Now the
  23                    television dramas are beginning to gain an overseas
  24                    following, and include shows that were originally broadcast
  25                    years ago. With a set on top TV box, it is now even easier
  26                    for Asians and other foreign audiences to watch all of the
  27                    popular Chinese dramas.
  28                    Watch Popular Chinese Television Dramas with TVpad

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   1                    TVpad is a set on top box that gives users hundreds of
   2                    viewing options. Streaming live channels directly from the
   3                    Chinese mainland, foreign audiences can watch episodes of
   4                    all of the most popular Chinese dramas. There are more
   5                    than 100 channels to choose from, including some that are
   6                    dedicated to playing only the best Chinese TV dramas.
   7

   8                    Not only does TVpad feature more channels than other set
   9                    on top boxes, but it also includes the “on demand” feature.
  10                    Users now can play back any of their favorite dramas and
  11                    TV shows up to three days, and never have to worry about
  12                    missing a single nail biting moment. TVpad also features
  13                    one of the largest online video libraries, which includes
  14                    apps just for Chinese dramas.
  15           Attached hereto as Exhibit 83 is a true and correct copy of a printout of the
  16           webpage at http://www.tvpad.com/en/tvpad-store-blog/the-10-most-popular-
  17           overseas-chinese-dramas.html, which printout I personally confirmed
  18           accurately reflects the contents of that webpage on February 5, 2015.
  19                    c.       A blog post from TVpad.com entitled “Watch the Latest Movies
  20           and More With TVpad” dated June 30, 2014 stated:
  21                    With hundreds of channels to choose from, Asians living
  22                    overseas can still watch all of their favorite Chinese and
  23                    Japanese movies with a TVpad. Older Asians can enjoy
  24                    watching American movies on HBO, with easy to read
  25                    Chinese subtitles. Now the language barrier is no longer an
  26                    issue for TVpad users with an interest in English movies
  27                    and television programs.
  28

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   1                    TVpad also streams live BETV channels [sic] straight from
   2                    the Chinese mainland, including movies in Cantonese.
   3                    Viewers will also have access to CCTV which is broadcast
   4                    directly from the People’s Republic of China. Watch
   5                    reports on the latest Asian movies being released, and stay
   6                    current with all of the stars and directors (emphasis added).
   7           As a result of our investigation, Mintz has determined that the BETV apps are
   8           Infringing TVpad Apps that stream CCTV programming. Attached hereto as
   9           Exhibit 84 is a true and correct copy of a printout of the archived historical
  10           copy of the above-quoted blog post retrieved from the Wayback Machine
  11           website from the Internet Archive at
  12           https://web.archive.org/web/20140816002455/http://www.
  13           tvpad.com/en/tvpad-store-blog/watch-the-latest-movies-and-more-with-
  14           tvpad.html, which printout I personally confirmed on February 5, 2015
  15           accurately reflects the contents of that archived historical copy. By January 3,
  16           2015, TVpad.com had altered this blog post so that it no longer specifically
  17           mentions CCTV or the infringing BETV app, but still promotes more generally
  18           the availability of infringing television programming on the TVpad device.
  19           Attached as Exhibit 85 is a true and correct copy of a printout of the webpage
  20           at http://www.tvpad.com/en/tvpad-store-blog/watch-the-latest-movies-and-
  21           more-with-tvpad.html, which printout I personally confirmed accurately
  22           reflects the contents of that webpage on February 5, 2015.
  23                    d.       A blog post from TVpad.com entitled “Which TVpad App Is
  24           Right For You?” dated June 19, 2014 promoted use of the Infringing TVpad
  25           apps on the TVpad device to view CCTV programs and programming from
  26           Hong Kong:
  27                    One App for All Sporting Events
  28

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   1                    Broadcast live from the Chinese mainland is the Chinese
   2                    Central Television or CCTV 5. Found in the TVpad app
   3                    store as BETV/Oneline [sic] sports, this app can satisfy
   4                    every sports lover. Follow the Chinese national men’s and
   5                    women’s soccer teams throughout their seasons, and watch
   6                    in wonder as China enters onto the international basketball
   7                    court.
   8                    ...
   9                    Dramas, Documentaries, and More
  10                    There are over 100 different Asian channels and apps to
  11                    choose from, but lovers of television shows will certainly
  12                    want to install the HITV app. Viewers can watch hundreds
  13                    of live shows from Hong Kong, including all of their
  14                    favorite dramas. Catch up with recent storylines and
  15                    favorite characters, and playback missed episodes anytime.
  16

  17                    With live TV from Hong Kong, Asian viewers living
  18                    abroad can also stay up to date on all of the latest news and
  19                    events on the Chinese mainland. See news reports from
  20                    different provinces, and travel documentaries too [sic]
  21                    unique and interesting places. See reports on finances and
  22                    current affairs, and stay in touch with world events. With
  23                    all of the different Asian television programming available
  24                    with this app, there will always be something fun and
  25                    entertaining to watch on TV (emphasis added).
  26           As a result of our investigation, Mintz has determined that the BETV and
  27           Online Sports apps are Infringing TVpad Apps that stream CCTV
  28           programming, and that the HITV app is an Infringing TVpad App that streams

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   1           TVB programming. A Mintz investigator under the direction and control of my
   2           supervisor Christopher Weil used the Wayback Machine website from the
   3           Internet Archive to access an archived historical copy of the above blog post.
   4           Attached hereto as Exhibit 86 is a true and correct copy of a printout of an
   5           archived historical copy of the above-quoted blog post from the Wayback
   6           Machine at
   7           https://web.archive.org/web/20140702095142/http://www.tvpad.com/en/tvpad
   8           -store-blog/which-tvpad-app-is-right-for-you.html, which printout I personally
   9           confirmed on February 5, 2015 accurately reflects the contents of that archived
  10           historical copy. As of approximately January 3, 2015, this page was no longer
  11           accessible on TVpad.com.
  12                    e.       A blog post on TVpad.com entitled “Zhou Xun Crowned China’s
  13           Favorite Celebrity” and dated December 8, 2014 stated that the TVpad device
  14           provides “complete access to CCTV.” Attached hereto as Exhibit 87 is a true
  15           and correct copy of a printout of Google’s cached copy of the webpage at
  16           webpage at http://www.tvpad.com/en/tvpad-store-blog/zhou-xun-crowned-
  17           chinas-favorite-celebrity.html, which printout I personally confirmed on
  18           February 5, 2015 accurately reflects the contents of Google’s cached copy of
  19           that webpage.
  20           29.      In addition to the research by Mintz investigators of statements found on
  21   the TVpad.com website, I also purchased two TVpad devices from TVpad.com, and
  22   had phone calls with representatives of TVpad.com.
  23           30.      In May 2014, prior to making my first TVpad purchase from
  24   TVpad.com, I located a New Jersey telephone number listed for Asha Media on a
  25   Better Business Bureau website. On May 30, 2014, I called the New Jersey
  26   telephone number listing and spoke to an individual identifying himself as Amit. I
  27   believe “Amit” is Amit Bhalla, the President of Asha Media, based on information
  28   recounted above tying Amit Bhalla to Asha Media and statements made by the Amit

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   1   with whom I spoke by phone. During the course of our phone conversation, Amit
   2   stated that his company is a large distributor of TVpads and he is an “account
   3   manager” who sells wholesale to retailers, electronics stores, and supermarkets.
   4   Stating that he cannot deal with individual sales, Amit directed me to make
   5   individual purchases through the website at TVpad.com and provided me with a
   6   coupon code for a $20 discount. Amit stated that the TVpad device relies on apps for
   7   streaming of media, but that TVpad.com also provides a USB flash drive with the
   8   TVpad device pre-loaded with popular apps. When I asked whether there were any
   9   subscription fees associated with the TVpad device or its apps, Amit said “no” and
  10   that there is only a one-time payment, which is the purchase of the TVpad. When I
  11   asked Amit about available Chinese-language channels, Amit told me he did not
  12   speak or read Chinese, but he offered to email me a list of Chinese-language channels
  13   available on the device. During our phone conversation, Amit confirmed that CCTV
  14   channels were available on the TVpad device and mentioned that the World Cup was
  15   coming up and would be available on a CCTV channel.
  16           31.      On June 2, 2014, I used the TVpad.com website to purchase a TVpad
  17   device for a total cost of $239. On June 2, 2014, I personally received an email
  18   confirming my purchase from support@tvpad.com. Attached hereto as Exhibit 88 is
  19   a true and correct copy of that email, with the street address and telephone number
  20   Mintz used for this investigation redacted because the redacted information reflects
  21   confidential and proprietary business information. On June 9, 2014, I received a
  22   package addressed to me containing a TVpad device at an address in New York, New
  23   York. As set forth more fully in the Braak Declaration, my colleague Mr. Braak
  24   picked up this TVpad device from the address in New York and reviewed the
  25   operation of the TVpad device I purchased from TVpad.com.
  26           32.      On June 3, 2014, I again called the number I had for Asha Media and
  27   spoke to the same individual identifying himself as Amit. During my phone
  28   conversation with Amit, I stated I had not received from him the email with Chinese-

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   1   language television channel listings and provided Amit with my email address.
   2   Shortly thereafter, I personally received an email from an individual using the email
   3   address support@tvpad.com who identified himself as “Charles Franco.” Attached
   4   to the email was a Chinese-language Excel spreadsheet listing CCTV, TVB, and
   5   other Chinese-language television channels available through the TVpad device and
   6   listing the Infringing TVpad Apps that access those channels. Attached hereto as
   7   Exhibit 89 are true and correct copies of the email and Chinese-language spreadsheet
   8   I received from Charles Franco on June 3, 2014, and a certified translation of that
   9   spreadsheet.
  10           33.      On October 15, 2014, I emailed a written request to speak with a
  11   customer representative through a contact form available on the TVpad.com website.
  12   I provided my email address in the contact form, wrote that I had a question about
  13   “HK television,” and asked for a telephone number I could call. On October 15,
  14   2014, an individual using the email address support@tvpad.com who identified
  15   herself as “Abby Zhou (Your Awesome Customer Support Agent)” responded by
  16   email to me. In her email, Ms. Zhou stated in part, “The attachment is the channels
  17   list of tvpad3.pls [sic] know more hk channels details from it.” Ms. Zhou attached to
  18   her email a Chinese-language Excel spreadsheet identical to the spreadsheet sent to
  19   me by “Charles Franco” on June 3, 2014. The spreadsheet included the same CCTV
  20   and TVB channels and corresponding Infringing TVpad Apps listed in the previous
  21   spreadsheet I had received from Mr. Franco. The email contained a telephone
  22   number for TVpad.com customer support, which was a mobile telephone in
  23   Mainland China. Attached hereto as Exhibit 90 are true and correct copies of the
  24   email and spreadsheet I received from Abby Zhou, and a certified translation of that
  25   spreadsheet.
  26           34.      On October 16, 2014, I called the same New Jersey telephone number
  27   for Asha Media I had used to speak with “Amit” on May 30, 2014 and June 3, 2014.
  28   I again spoke with the same individual identifying himself as Amit. Amit directed

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   1   me to make individual TVpad purchases through the website at TVpad.com and
   2   provided me with a coupon code for a $20 discount. He stated that the TVpad device
   3   does not require monthly fees and can be used as long as the customer wants to use
   4   it. He also stated the TVpad device has all of the Hong Kong channels. In response
   5   to my questions, Amit could not provide me with specifics on what Hong Kong
   6   channels can be viewed on the TVpad device, but he asked for my email address. I
   7   provided Amit with the email address slau1014@yahoo.com. Amit then stated that
   8   Abby Zhou had already responded to my email. He said Ms. Zhou was the support
   9   representative based in China and that for any future questions, I could also contact
  10   her. When I asked how long it would take to ship the TVpad device, Amit stated that
  11   his company has two warehouses—one in Philadelphia, Pennsylvania and the other
  12   in Los Angeles, California.
  13           35.      On October 17, 2014, I used the TVpad.com website to purchase a
  14   second TVpad device for a total cost of $239. On October 17, I personally received
  15   an email confirming my purchase from support@tvpad.com. Attached hereto as
  16   Exhibit 91 is a true and correct copy of the email confirmation, with the street
  17   address and telephone number Mintz used for this investigation redacted because the
  18   redacted information reflects confidential and proprietary business information. On
  19   October 21, 2014, a package addressed to me containing the TVpad device was
  20   received at a Mintz address in West Hills, California, and was then forwarded to my
  21   colleague Nicholas Braak in New York for review.
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                                                     "


     1                                             Chart of TVJ!ad Purchases
     2            36.      In summary, I purchased TVpad devices from Defendants Club TVpad
     3   and Asha Media as follows:
     4   Defendant (and Date                        Date                      Shipped              Shipped
         website)       Purchased                   Received       Cost       From                 To
     5

     6   AshaMedia                 June 2,          June 9,        $239.00 Bloomington, New
         (tvpad.com)               2014             2014                   CA           York, NY
     7
                                   October          October 21,    $239.00 Bloomington, West
     8
                                   17,2014          2014                   CA           Hills, CA
     9
         Club TVpad      October                    November       $238.71    Dublin, CA           West
    10   (clubtvpad.com) 26,2014                    3,2014                                         Hills, CA
    11                                                                    "
    12
                           I declare under penalty of perjury under the laws of the United States of
    13
         America that the foregoing is true and correct.
    14                                       ~
                           Executed this '1. day of March 2015 in New York, New York.
    15

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                                              ~iW
                                               ~huk ~en              "Lily" Lau
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                               TSANG DECLARATION
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   1

   2                             DECLARATION OF SAMUEL P. TSANG
   3

   4           I, Samuel P. Tsang, declare as follows:
   5           1.       I am the Vice President, Operations for Plaintiff TVB Holdings (USA),
   6   Inc. (“TVB (USA)”). I have personal knowledge of the facts contained herein, and,
   7   if called upon as a witness, I could and would testify competently about these facts,
   8   except for those matters stated expressly upon information and belief, which matters
   9   are believed to be true. I make this declaration in support of Plaintiffs’ motion for a
  10   preliminary injunction.
  11           2.       I have worked for TVB (USA) in various roles since 2000. In 2002,
  12   I was promoted to Vice President. In my current role as Vice President, Operations,
  13   I am responsible for overseeing the functions of Subscription Sales and Customer
  14   Service, U.S. News Production, Television Production, Engineering, and
  15   Information Technology. As a result of my experience working for TVB (USA)
  16   since 2000 and in my different roles as Customer Service Manager, Vice President,
  17   Marketing, and now Vice President, Operations, I am familiar with TVB (USA)’s
  18   business, including its history as a company, its programming, its programming
  19   distribution models, and its agreements with other companies to distribute its
  20   television programming within the United States. I am also familiar with the
  21   TVpad device, the infringing television programming available on that device, and
  22   TVB (USA)’s investigation of the manufacturer and distributors of the TVpad.
  23                                     TVB (USA)’s Parent Company
  24           3.       TVB (USA) is a wholly owned indirect subsidiary of Television
  25   Broadcasts Limited (“TVB”), the largest and most popular producer of Cantonese-
  26   language television programming in the world. In Hong Kong, TVB operates five
  27   over-the-air television channels—Jade, J2, Jade HD, iNews (Cantonese), and Pearl
  28   (English)—and 13 pay TV channels. TVB also has operations in Taiwan, owning

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   1   the popular TVBS, TVBS-News, and TVBS-G channels. (Hereafter, I shall refer to
   2   TVB’s Hong Kong channels together with its Taiwan channels collectively as the
   3   “TVB Channels”).
   4           4.       Under a series of written license agreements, TVB (USA) and its
   5   affiliates broadcast and distribute TVB programming in the United States.
   6                                       TVB’s Television Programs
   7           5.       TVB produces and distributes a wide variety of television
   8   programming including episodic dramas, comedies, news programs, sports, and
   9   other programs that are initially broadcast in Hong Kong and subsequently or
  10   simultaneously distributed internationally (“TVB Programs”). TVB Programs
  11   include the highly popular prime-time drama “Triumph in the Skies II,” over 600
  12   episodes of the highly successful situation comedy “Come Home Love,” and variety
  13   shows such as the Anniversary Gala and the Miss Hong Kong Pageant Final.
  14           6.       TVB spends substantial sums of money each year producing or
  15   acquiring rights to its content, including episodic dramas, sporting events, and news
  16   programs.
  17           7.       TVB’s wholly owned subsidiary, TVBO Production Limited
  18   (“TVBO”), and TVBO’s predecessor-in-interest, TVB (Overseas) Limited (“TVB
  19   (Overseas)”), have obtained United States copyright registrations for the television
  20   programs listed in Exhibit 92 (the “Registered TVB Programs”). The Registered
  21   TVB Programs are only a small subset of the total programming that TVB produces
  22   and that TVB (USA) and its affiliates distribute in the United States.
  23           8.       Under a co-production agreement, TVB and TVBO have agreed to co-
  24   produce TVB television programs and that the copyrights subsisting in the co-
  25   produced programs throughout the world except Hong Kong vest in and are owned
  26   by TVBO. TVBO, through its affiliate, TVBI Company Limited, has granted TVB
  27   (USA) the exclusive right to reproduce, publicly perform, and transmit TVB
  28   Programs in all media in the United States. In turn, TVB (USA) has sublicensed

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   1   certain of those rights to its affiliate, TVB (USA), Inc., which, in turn, has
   2   sublicensed certain rights to TVB Satellite Platform, Inc. (“TVB Satellite
   3   Platform”).
   4           9.       Although TVB (USA) has licensed certain rights in the United States,
   5   TVB (USA) retains and owns the exclusive rights to reproduce, publicly perform,
   6   and transmit TVB programming, including but not limited to the Registered TVB
   7   Programs, in the United States on platforms other than satellite and OTT (linear
   8   channel only).1 These exclusive rights retained and owned by TVB (USA) include
   9   the exclusive rights to reproduce, publicly perform, and transmit TVB
  10   programming, including but not limited to the Registered TVB Programs, in the
  11   United States via Internet Protocol Television (IPTV)2 and OTT in video-on-
  12   demand format.
  13                U.S. Distribution of TVB Programs Through Lawful Channels
  14           10.      Certain TVB Programs that originally aired in Hong Kong are
  15   broadcast by TVB (USA) in the United States on the following channels: TVB1,
  16   TVB2, TVBe, TVB Pearl, TVBHD, TVB8, TVB Drama, TVBS, Jade SF, Jade NY,
  17   and Jade LA (collectively, the “TVB U.S. Channels”). TVB (USA)’s most popular
  18   television package is called the Jadeworld Package, which includes TVB1, TVB2,
  19   TVBe, and TVBS.
  20           11.      TVB (USA) and its affiliates distribute the TVB U.S. Channels and the
  21   TVB Programs carried on those channels through license agreements with a limited
  22   number of cable television systems, satellite television services, and other multi-
  23   channel distributors, including Plaintiff DISH Network L.L.C. (“DISH”), Time-
  24
               1
  25          For purposes of this motion, “Over-the-Top” or “OTT” refers to the
     delivery of video programming using an Internet connection that is not owned,
  26 managed, or operated by the party delivering the programming (e.g., Netflix).
            2
  27          For purposes of this motion, “IPTV” refers to electronic delivery of video
     programming via Internet protocol over a service provider’s own infrastructure
  28 (e.g., AT&T’s U-verse).

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   1   Warner Cable, Comcast Cable, AT&T U-Verse, and Verizon FiOs (collectively, the
   2   “U.S. Distribution Partners”). These U.S. Distribution Partners pay TVB (USA) or
   3   its affiliates licensing fees for the right to broadcast or transmit the TVB U.S.
   4   Channels and the TVB Programs carried on those channels to their customers in the
   5   United States.
   6           12.      In 2012, Plaintiff DISH entered into a license agreement with TVB
   7   Satellite Platform. Pursuant to the license agreement, DISH owns the exclusive
   8   right to transmit via satellite in the United States certain TVB U.S. Channels and the
   9   TVB Programs comprising those channels. The license agreement also grants to
  10   DISH the exclusive right to transmit certain TVB U.S. Channels and the TVB
  11   Programs comprising those channels in the United States via OTT television
  12   services, except for video-on-demand content.
  13           13.      The U.S. Distribution Partners carry various TVB U.S. Channels and
  14   TVB Programs, depending on the terms of their license agreements. In general,
  15   there is a twelve-hour delay (referring to the U.S. East Coast time schedule)
  16   between the first transmission of TVB Programs in Hong Kong and their initial
  17   retransmission in the United States on the TVB U.S. Channels. This delay accounts
  18   for the time difference between Asia and the United States and permits TVB
  19   Programs to air on TVB U.S. Channels at approximately the same time of day as
  20   they air in Asia. Thus, if a TVB Program is first transmitted in Hong Kong at 8PM
  21   local time, the same program generally will be aired in the United States twelve
  22   hours after that, i.e., at 8PM Eastern time on the same calendar day.
  23           14.      The U.S. Distribution Partners charge their subscribers subscription
  24   fees to access one or more TVB U.S. Channels, including the Jadeworld Package,
  25   and the TVB Programs carried on those channels. Typically, the licensing
  26   agreements of TVB (USA) and its affiliates require that the U.S. Distribution
  27   Partners split some portion of their revenues from subscription fees with TVB
  28   (USA) or one of its affiliates.

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   1           15.      TVB maintains a website at www.tvb.com through which consumers in
   2   Hong Kong can access some of its programming over the Internet. Only users with
   3   Hong Kong IP addresses can access this TVB programming because geo-blocking
   4   prevents users outside of Hong Kong from receiving anything other than certain
   5   promotional clips. This geo-blocking protects the exclusive copyright interests of
   6   TVB (USA) in the United States.
   7           16.      TVB has also launched several mobile applications, including myTV,
   8   GOTV, TVB News, TVB Finance, TVB Zone, TVB fun, and myEPG, which allow
   9   users to access streaming video of certain TVB Programs. Those applications are
  10   also geo-blocked outside of Hong Kong.
  11           17.      TVB (USA) spends substantial sums of money each year on the
  12   facilities, equipment, and the labor necessary to distribute the TVB U.S. Channels
  13   and TVB Programs in the United States. These costs include the costs associated
  14   with creating and maintaining a dedicated point-to-point data fiber from Hong Kong
  15   to Norwalk, California (where TVB (USA) is located); complex, state-of-the-art
  16   broadcasting systems; and expert personnel responsible for overseeing the process
  17   of creating a unique feed of TVB programming for distribution in the United States,
  18   editing those programs, and overseeing the technical logistics of that distribution.
  19                       Infringement of TVB Channels and TVB Programs
                               Through the TVpad Retransmission Service
  20

  21           18.      As part of my job responsibilities, I have led TVB (USA)’s
  22   investigation of the TVpad device and the unlicensed international television
  23   programming accessible to U.S. consumers through the TVpad device (the “TVpad
  24   Retransmission Service”).3 I personally have inspected several TVpad devices
  25
               3
  26          TVB (USA) previously filed a lawsuit against Tai Lake Communication
     Inc., a Los Angeles distributor of the TVpad device, alleging violations of the anti-
  27 circumvention provisions of the Digital Millennium Copyright Act, contributory
     copyright infringement, false endorsement under the Lanham Act, and unfair
  28 competition. See TVB Holdings (USA), Inc. v. Tai Lake Communication Inc., 12-
     cv-9809 (C.D. Cal.). The Tai Lake case was stayed by Tai Lake’s bankruptcy.
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   1   acquired by TVB (USA) in the course of its investigation. In addition, I personally
   2   have viewed the streamed video content delivered by the TVpad Retransmission
   3   Service. Also, I personally have inspected the software applications or “apps”
   4   available through the TVpad device’s “TVpad Store” to determine which apps
   5   illegally stream TVB Channels and TVB Programs without authorization.
   6           19.      In June 2014, TVB (USA) and DISH joined co-Plaintiffs China Central
   7   Television (“CCTV”) and China International Communications Co., Ltd. (“CICC”)
   8   in their anti-piracy efforts involving the TVpad device and the TVpad
   9   Retransmission Service, including working with the Mintz Group, Inc. (“Mintz”) in
  10   its private investigation.
  11           20.      The TVpad device is a set-top box. When a TVpad user connects the
  12   TVpad device to the Internet and then to a television, apps downloaded from the
  13   device’s TVpad Store stream television channels and programs from Asia to the
  14   user in the United States for viewing. There are currently two models of the TVpad
  15   device—TVpad3 and TVpad4—that are being sold to consumers in the United
  16   States.
  17           21.      Based on TVB (USA)’s own investigation, as well as Mintz’s
  18   investigation in preparation for this lawsuit, I know that infringing applications
  19   available through the TVpad Store on the TVpad device provide television content
  20   to TVpad customers by capturing TVB Channels from Hong Kong and Taiwan, as
  21   well as capturing other Asian television programming from China, Korea, Japan,
  22   and Vietnam, and streaming that pirated content to TVpad users in the United
  23   States.
  24           22.      Some TVpad applications stream live broadcasts of TVB Channels
  25   from Asia at the same time they air in Asia. (I shall hereafter refer to this
  26

  27 Thereafter, TVB filed suit against Tai Lake’s principal, Kenny Chen, alleging the
     same claims. TVB Holdings (USA), Inc. v. Kenny Chen, 2:14-cv-03064 (C.D. Cal.).
  28 The Chen case recently settled.

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   1   application function as the “live” function.) Some TVpad applications stream
   2   broadcasts of TVB Channels from Asia with a 12-hour time delay from the time
   3   they air in Asia. (I shall hereafter refer to this application function as the “time-
   4   shift” function.) Some TVpad applications also permit users of the TVpad device to
   5   play broadcasts of TVB Channels from Asia for up to three days after they air in
   6   Asia. (I shall hereafter refer to this application function as the “replay live”
   7   function.) Finally, some TVpad applications stream previously aired TVB
   8   Programs “on-demand.” (I shall hereafter refer to this TVpad function as the
   9   “video-on-demand” function.) I shall refer collectively to the TVpad applications
  10   that stream TVB Channels and TVB Programs without authorization as the
  11   “Infringing TVpad Apps”.
  12           23.      Neither TVB (USA) nor any of its affiliates have granted the
  13   Defendants in this action or any other party a license or other permission to
  14   perform, stream, transmit, reproduce, display, exhibit, or distribute TVB Channels
  15   or TVB Programs through the Infringing TVpad Apps in the United States, and
  16   TVB (USA) and its affiliates receive no revenue for this unauthorized streaming.
  17           24.      Through my own investigation of the TVpad device and consultation
  18   with Mintz, TVB (USA) has identified the following Infringing TVpad Apps with
  19   live, time-shift, video-on-demand, and/or replay live functions that stream the
  20   following TVB Channels and TVB Programs to TVpad users in the United States
  21   without authorization:
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   1

   2                                                  TVpad3                TVpad4

   3

   4       Infringing TVpad                 TVB’s Programming         TVB’s Programming
             App and icon                       and Mode                  and Mode
   5

   6            粵海海海                      JADE HD, JADE (both       JADE HD, JADE (both time-
            (Yue Hai Shi Yi)              time-shifted by 12 hours) shifted by 12 hours)
   7

   8

   9

  10

  11       粵海寬頻 (Yue Hai                  JADE HD, JADE HD, J2,
             Kuan Pin)                    JADE, PEARL, iNews
  12                                      (all live)
  13

  14

  15
          粵海寬頻2 (Yue Hai                  JADE HD, JADE, J2
  16        Kuan Pin 2)                   (Live and replay live)
                                          PEARL, iNews (live)
  17

  18

  19

  20     港粤網絡電視 (Gang                     JADE HD, JADE, J2 (live JADE HD, JADE, J2,
         Yue Wang Luo Dian                and replay live); PEARL, PEARL (live and replay
  21           Shi)                       iNews (live)             live); iNews (live)
  22                                      TVB programs on          TVB programs on demand
                                          demand
  23

  24

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                                                           8                DAVIS WRIGHT TREMAINE LLP
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   1                                                  TVpad3              TVpad4
   2

   3
           Infringing TVpad                 TVB’s Programming       TVB’s Programming
   4         App and icon                       and Mode                and Mode

   5
          粵海直播 (Yue Hai                   iNews, J2, PEARL,
   6         Zhi Bo)                      JADE, JADE HD (live)
   7

   8

   9

  10
                   516TV                  TVBS (live)
  11

  12

  13

  14
             516網網網網 (516                 TVBS (live)            TVBS (live)
  15           Online TV)
                                                                 TVBS News (live)
  16

  17

  18

  19                HITV                  JADE HD, J2, JADE,
                                          PEARL, iNews (live)
  20

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  23     港粵快看 (Gang Yue                   TVB programs on
           Kuai Kan)                      demand
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                                                           9              DAVIS WRIGHT TREMAINE LLP
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   1                                                 TVpad3              TVpad4
   2

   3
           Infringing TVpad                 TVB’s Programming      TVB’s Programming
   4         App and icon                       and Mode               and Mode

   5
          港台武俠 (G ang Tai                 TVB programs on       TVB programs on demand
   6         Wu Xia)                      demand
   7

   8

   9

  10

  11           25.      One of the Mintz investigators with whom TVB (USA) has worked as
  12   part of our TVpad investigation is Nicholas Braak. As detailed in the
  13   accompanying Braak Declaration, which I have reviewed, between September 29
  14   and October 9, 2014, Mr. Braak recorded infringing public performances of 23
  15   episodes of TVB Programs streamed through certain of the Infringing TVpad Apps
  16   in live, time-shift, and replay live modes. TVBO has United States copyright
  17   registrations for those 23 episodes of TVB Programs. See Exhibit 92, part 1,
  18   entitled “Registered TVB Programs (Live),” for a list of those 23 Registered TVB
  19   Programs. The unauthorized streaming of these 23 Registered TVB Programs
  20   represent only a small fraction of the infringing public performances of TVB
  21   Programs transmitted without authorization through the TVpad. Each and every
  22   day, 24 hours a day, the Infringing TVpad Apps stream to U.S. TVpad users all of
  23   the copyrighted content on TVB Channels from Asia without permission and
  24   without any fees being paid to TVB (USA) or the U.S. Distribution Partners.
  25           26.      In October and November 2014, I personally reviewed the infringing
  26   Gang Yue Kuai Kan app, Gang Yue Wang Luo Dian Shi app, and Gang Tai Wu Xia
  27   apps (collectively, the “VOD Apps”) using a TVpad3 device in TVB (USA)’s
  28   office in Norwalk, California, and in my home in Irvine, California. The purpose of
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   1   my review was to determine which TVB Programs the VOD Apps offer for video-
   2   on-demand streaming in the United States. I opened each VOD App and personally
   3   observed what TVB series and episodes were available for streaming by that VOD
   4   App. I took photographs of what appeared on the television screen, documenting
   5   the TVB program titles and episodes available on each of the VOD Apps. Attached
   6   hereto as Exhibit 93 are true and correct copies of the photographs I took during my
   7   review of the VOD Apps.
   8           27.      Because of the large number of TVB Programs offered for video-on-
   9   demand streaming through the VOD Apps, I did not open and stream each and
  10   every TVB episode offered by those apps. Instead, I spot checked the streaming
  11   function of the infringing VOD Apps by streaming and recording portions of
  12   episodes of certain TVB Programs. I personally observed and recorded excerpts of
  13   a total of 406 episodes of TVB Programs for which TVBO and TVB (Overseas)
  14   have U.S. copyright registrations. See Exhibit 92, part 2, entitled “Registered TVB
  15   Programs (VOD),” for a list of those 406 Registered TVB Programs.
  16                             Irreparable Harm to TVB (USA)’s Business
  17           28.      Defendants’ infringing conduct in providing, inducing, and facilitating
  18   unauthorized streaming of TVB Channels and TVB Programs in the United States
  19   has caused and, unless enjoined, will continue to cause serious and irreparable
  20   injury to TVB (USA) in at least the following ways, all of which are inherently and
  21   practically difficult to measure.
  22           29.      First, Defendants’ infringing conduct in providing and facilitating
  23   unauthorized streaming of TVB Channels and TVB Programs significantly reduces
  24   a valuable revenue stream to TVB (USA) and its affiliates. Through the TVpad
  25   Retransmission Service, Defendants compete directly with TVB (USA) and its U.S.
  26   Distribution Partners in distributing TVB Channels and TVB Programs in the
  27   United States. In substance, Defendants are operating a wholly unauthorized and
  28   free TVB retransmission service in the United States. This has caused and will

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   1   continue to cause TVB (USA)’s U.S. Distribution Partners to lose an unknown
   2   number of subscribers who otherwise would be willing to pay subscription fees for
   3   access to TVB U.S. Channels and TVB Programs. When the U.S. Distribution
   4   Partners lose paying subscribers, it reduces the licensing revenues that TVB (USA)
   5   and its affiliates receive from the U.S. Distribution Partners because revenue
   6   payments are based on the number of their subscribers who subscribe to TVB U.S.
   7   Channels or packages.
   8           30.      Although it is difficult to calculate the amount of revenue TVB (USA)
   9   has lost in this way because Plaintiffs do not know how many customers TVB
  10   (USA)’s U.S. Distribution Partners have lost as a result of Defendants’ unlawful
  11   activities, I can explain the magnitude of the loss based on my knowledge and
  12   experience. Prior to the launch of TVpad in 2011, TVB (USA)’s U.S. distribution
  13   revenue had been increasing every year. But since the launch of the TVpad device,
  14   our annual U.S. distribution revenue has been dropping, especially in the last two
  15   years. From 2011 to December 2014, our U.S. distribution revenue has decreased
  16   by more than 40%, totaling millions of dollars in lost revenues.
  17           31.      I have personally observed the popularity of the TVpad device. I know
  18   many Chinese-Americans who have purchased a TVpad device to watch TVB
  19   programming. I have also observed that U.S. TVpad distributors advertise the
  20   TVpad device in major Chinese-language newspapers in the United States, online,
  21   and at events in the Chinese-American community. Based on my personal
  22   experience, my understanding of the ethnic Chinese television market in the United
  23   States, and my experience working for TVB(USA), I conclude that a substantial
  24   factor in the precipitous drop in our subscriber base has been and continues to be
  25   unfair competition from the TVpad device and TVpad Retransmission Service,
  26   which can (and do) make TVB programming available to U.S. customers with no
  27   monthly fees solely because Defendants do not pay program license fees to us or
  28   anyone else. As noted above, it is difficult to calculate the amount of revenue TVB

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   1   (USA) has lost in this way because we do not know how many subscribers and
   2   prospective subscribers TVB (USA) has lost due to the TVpad device and TVpad
   3   Retransmission Service.
   4           32.      In addition, by providing the live, time-shift, video-on-demand, and
   5   replay live functions found in the Infringing TVpad Apps, the TVpad device
   6   basically encompasses all the different functions there are to allow any TVpad user
   7   to watch TVB Channels and TVB Programs at any time the user desires. Each of
   8   these functions represents a potential revenue stream to TVB (USA), but
   9   Defendants have usurped this legitimate market. This unfair competition
  10   undermines TVB (USA)’s U.S. Distribution Partners’ competitive position in the
  11   market, and thus diminishes TVB (USA)’s existing as well as potential revenue.
  12   The precise scope of the harm is difficult to quantify, but I am certain that the
  13   magnitude of the harm has already affected TVB (USA)’s stability and standing in
  14   the market.
  15           33.      Second, Defendants’ infringing conduct in providing and facilitating
  16   unauthorized streaming undermines TVB (USA)’s strategic choices about where,
  17   when, and how to distribute its programs, particularly because TVB (USA) has
  18   chosen to limit distribution of TVB programming to a small number of U.S.
  19   Distribution Partners. TVB (USA) also carefully controls the timing and location of
  20   the distribution of TVB’s television programs in the United States to create the
  21   maximum incentive for U.S. customers to purchase access to TVB U.S. Channels
  22   through their cable, satellite, or telecommunications providers.
  23           34.      For example, in the United States, TVB (USA) generally broadcasts its
  24   popular dramas based on the East Coast time schedule approximately twelve hours
  25   after they first air in Hong Kong, so that United States viewers may watch new
  26   episodes during the traditional prime time scheduling block between 6PM and
  27   11PM on weeknights. In turn, our U.S. Distribution Partners value the right to
  28   broadcast new episodes in this prime time scheduling block. These U.S.

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   1   Distribution Partners rely on the understanding that, in their particular time zone,
   2   they—along with other authorized U.S. Distribution Partners—all will air a new
   3   episode at exactly the same time so that their customers get access to fresh, timely
   4   content at the same time as their competitors’ customers. This is particularly
   5   important for TVB’s popular dramas, many of which are “cliff hangers” that create
   6   a great deal of anticipation and excitement from episode to episode.
   7           35.      By streaming live broadcasts of TVB Channels from Asia at the same
   8   time those broadcasts air in Asia, Defendants destroy TVB (USA)’s programming
   9   strategies and upset the legitimate expectations of our U.S. Distribution Partners.
  10   For example, if a popular drama airs at 8PM on TVB’s Jade Channel in Hong
  11   Kong, the Infringing TVpad Apps that stream live television will show that TVB
  12   drama at approximately 4AM Los Angeles time. A TVpad user living in Los
  13   Angeles can watch the TVB drama at 4AM rather than having to wait until later that
  14   day to see the show on an authorized TVB U.S. Channel. Equally damaging, the
  15   TVpad user in Los Angeles could use an Infringing Application with a replay live
  16   function or video-on-demand function to watch the show at a more convenient
  17   time—for example, the following morning or during a break from work the next
  18   day—but still several hours before the show is aired on a TVB U.S. Channel by one
  19   of our authorized U.S. Distribution Partners.
  20           36.      In addition, Defendants’ unlawful conduct deprives TVB (USA) of its
  21   right not to retransmit the TVB Channels in the United States in their original form,
  22   as well as to limit or curate the TVB Programs that will air in the United States.
  23   TVB (USA) does not distribute all of the programming from TVB’s Hong-Kong
  24   and Taiwan channels in the United States, and for that reason it creates a unique
  25   feed for the TVB U.S. Channels. TVB (USA) carefully chooses the content
  26   distributed on the TVB U.S. Channels to fit the tastes of the U.S. market.
  27   Defendants’ unauthorized streaming of all TVB Channels and TVB Programs aired
  28   in Asia deprives TVB (USA) of its ability to curate its television programming for a

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   1   United States audience. This loss of control threatens to hurt TVB (USA)’s
   2   goodwill with U.S. audiences and U.S. Distribution Partners, and the precise scope
   3   of the harm is difficult to quantify.
   4           37.      Third, Defendants’ unlawful conduct significantly reduces the value of
   5   video-on-demand rights that TVB (USA) can offer its U.S. Distribution Partners. In
   6   addition to licensing the TVB U.S. Channels, TVB (USA) can also license to cable,
   7   satellite, and other television providers the right to offer subscribers access to either
   8   previously aired TVB Programs or classic/popular TVB Programs for “on demand”
   9   viewing on standard televisions and mobile devices. The free availability in the
  10   TVpad Store of Infringing TVpad Apps that provide a video-on-demand function
  11   undermines TVB (USA)’s ability to grant a lucrative exclusive license for video-on-
  12   demand content because our prospective licensees’ potential customers can get the
  13   same video-on-demand service through the TVpad for free.
  14           38.      Fourth, Defendants’ infringing conduct in providing and facilitating
  15   unauthorized streaming of TVB Channels and TVB Programs in the United States
  16   interferes with TVB (USA)’s ability to develop and exploit a lawful market for
  17   Internet distribution of its television programs in the United States. As noted above,
  18   DISH is our U.S. Distribution Partner for delivery of TVB content to subscribers
  19   via OTT (linear) streaming over the Internet. The TVpad Retransmission Service
  20   competes directly with DISH’s Internet-based streaming service (called
  21   “DishWorld,” soon to be rebranded as “Sling International”) because of the
  22   similarity of the technology, damaging TVB (USA)’s relationship and goodwill
  23   with DISH. In addition, the TVpad Retransmission Service threatens to confuse
  24   consumers about Internet-based distribution channels more generally, including
  25   about what constitutes lawful Internet-based exploitation and whether payment is
  26   required for access to TVB Channels and TVB Programs through the Internet.
  27           39.      Fifth, Defendants’ infringing conduct in providing and facilitating
  28   unauthorized streaming of TVB Channels and TVB Programs in the United States

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   1   threatens TVB (USA)’s ability to negotiate favorable license agreements with its
   2   U.S. Distribution Partners in the United States. As noted above, our U.S.
   3   Distribution Partners pay fees to TVB (USA) and its affiliates for the right to
   4   transmit TVB U.S. Channels and certain TVB Programs in the United States. As
   5   further noted above, Defendants’ unauthorized streaming of TVB Programs in the
   6   United States competes directly with our U.S. Distribution Partners, potentially
   7   undercutting the value of their license agreements. If Defendants are permitted to
   8   continue competing directly with our U.S. Distribution Partners by illegally stealing
   9   and streaming TVB’s own content, it inevitably will reduce the amount that U.S.
  10   Distribution Partners are willing to pay TVB (USA) and its affiliates, thereby
  11   significantly reducing TVB (USA)’s revenues through license agreements for
  12   retransmission in the United States.
  13           40.      In addition, the unlicensed availability of TVB Channels and TVB
  14   Programs undermines TVB (USA)’s relationships with its U.S. Distribution
  15   Partners and damages TVB (USA)’s goodwill with them.
  16           41.      Sixth, Defendants’ infringing conduct impairs TVB (USA)’s brand,
  17   reputation, and goodwill with consumers by associating TVB programming with
  18   poor quality viewing experiences on the TVpad device. TVB (USA) takes steps to
  19   safeguard its reputation with respect to the quality of the viewing experience that
  20   viewers can expect when they watch TVB Channels and TVB Programs. Many of
  21   the license agreements that TVB (USA) and its affiliates have with U.S.
  22   Distribution Partners require that certain quality standards be met. TVB (USA) has
  23   no contract with any of the Defendants and therefore lacks any way to ensure that
  24   they provide viewers with a quality viewing experience. As set forth in detail in the
  25   accompanying Braak Declaration, which I have reviewed, Mintz investigators have
  26   documented numerous problems with the TVpad viewing experience. In addition,
  27   Mintz investigators have reviewed popular TVpad forums and discovered that
  28   posters on those forums frequently complain about technical problems with the

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       TVpad device, including poor image quality and interruptions in service.
   2   Associating TVB Channels and TVB Programs w ith Defendants' poor-quality
   3   TVpad service threatens to harm TVB (USA)'s brand and reputation, depriving it of
   4   customer goodwill. The harm associated with this injury to reputation and loss of
   5   customer goodw ill is di fficult to quantify.
   6            42.      In short, through their infringing activity, Defendants have stripped
   7   TVB (USA) of control over its own copyrighted works and use those same
   8   copyrighted works to co mpete directly with TVB (USA) and its U.S. Distribution
   9   Partners, injuring their business models and depriving them of customer goodwill,
  10   causing TVB (USA) harm that is virtually impossible to calculate or quantify.
  ll

  12   I declare und er penalty of perjury under the laws ofthe United States of America
  13   that the foregoing is true and correct.
  14   Executed this /31~ day of March, 2015.
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  17                                                             Samuel P. Tsang
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                               LU DECLARATION
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   1                               DECLARATION OF CHUNGUANG LU
   2

   3           I, Chunguang Lu, declare as follows:
   4           1.       I am the President of Plaintiff China International Communications Co.,
   5   Ltd. (“CICC”), an affiliate of Plaintiff China Central Television (“CCTV”). I have
   6   personal knowledge of the facts contained herein, and, if called upon as a witness, I
   7   could and would testify competently about these facts, except for those matters stated
   8   expressly upon information and belief, which matters are believed to be true. I make
   9   this declaration in support of Plaintiffs’ motion for a preliminary injunction.
  10           2.       I have worked for CICC in various roles since 2006. In 2013, I was
  11   promoted to President. In my role as President, I am responsible for overseeing the
  12   entire business operations of CICC, including marketing, customer relations, and
  13   licensing relationships with CICC’s distribution partners. As a result of my
  14   experience working for CICC since 2006 and in my role as President, I am familiar
  15   with CICC’s business and history as a company, and its licensing of CCTV
  16   programming in the United States. I am also familiar with the TVpad device, the
  17   infringing television programming available on that device, and CICC’s investigation
  18   of the manufacturers and distributors of the TVpad device.
  19                                               CCTV’s Business
  20           3.       Plaintiff CCTV is the predominant state television broadcaster in
  21   mainland China. CCTV has 42 television channels. CCTV’s flagship over-the-air
  22   channels in China are CCTV1 through CCTV14 (collectively, the “CCTV
  23   Channels”). CCTV’s television programming reaches more than a billion viewers,
  24   more than every major television network in the United States and Europe combined.
  25   CCTV is China’s most influential and prolific television program producer, creating
  26   and broadcasting a wide variety of television programs, including news, dramas,
  27   comedies, sports, documentaries, and entertainment programming. In addition to its
  28

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   1   television programs, CCTV has also built up a multimedia broadcasting platform and
   2   business operation, which includes movies, newspapers, and the Internet.
   3           4.       CICC is a wholly owned subsidiary of China International Television
   4   Corporation (“CITVC”), which, in turn, is a wholly owned subsidiary of CCTV.
   5   CICC is responsible for the overseas distribution and promotion of CCTV’s “Great
   6   Wall Package.”
   7           5.       CCTV’s Great Wall Package consists of programming from 22 Chinese
   8   television channels including the following CCTV channels: CCTV-4, CCTV-E,
   9   CCTV-Entertainment, CCTV-News, CCTV Movies (distributed as “China Movie
  10   Channel (CMC)”), and CCTV-Opera. CICC licenses and distributes the Great Wall
  11   Package in the United States, Canada, Latin America, Asia, Europe and Southeast
  12   Asia. The Great Wall Package is the only package of Chinese television programs
  13   approved for overseas broadcast by China’s State Administration of Radio Film and
  14   Television. (Hereafter, I shall refer to the CCTV channels included in the Great Wall
  15   Package, as distributed in the United States, collectively as the “CCTV U.S.
  16   Channels”.)
  17                                       CCTV’s Television Programs
  18           6.       CCTV produces, distributes, and owns the copyrights to a wide variety
  19   of television programming, including episodic dramas, comedies, news programs,
  20   sports, and other programs that are initially broadcast in China (“CCTV Programs”).
  21   CCTV Programs include episodes of highly successful programs such as “Across the
  22   Strait,” “Star Walk,” and “Art Life.”
  23           7.       CCTV spends substantial sums of money each year producing or
  24   acquiring rights to its content, including episodic dramas, sporting events, and news
  25   programs. CCTV and its affiliates spend millions of dollars a year advertising and
  26   promoting CCTV Programs.
  27           8.       CCTV has obtained United States copyright registrations for the
  28   television programs listed in Exhibit 94 (collectively, the “Registered CCTV

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   1   Programs”). The Registered CCTV Programs are only a small subset of the total
   2   programming that CCTV produces and distributes internationally, including in the
   3   United States.
   4                      Distribution of CCTV Programs Through Lawful Channels
   5           9.       On behalf of CCTV, CICC distributes the Great Wall Package in the
   6   United States through three authorized distribution partners: Plaintiff DISH Network
   7   L.L.C. (“DISH”), iTalk TV, and Kylin TV (collectively, the “Authorized U.S.
   8   Providers”). DISH is a satellite television and “Over-the-Top” (OTT) 1 services
   9   provider of the Great Wall Package. iTalk TV and Kylin TV are OTT providers of
  10   the Great Wall Package.
  11           10.      On behalf of CCTV, CICC enters into license agreements with the
  12   Authorized U.S. Providers that give the Authorized U.S. Providers the right to
  13   transmit the Great Wall Package, including the CCTV U.S. Channels and the CCTV
  14   programs carried on those channels, in the United States. The Authorized U.S.
  15   Providers pay CICC licensing fees for the right to transmit CCTV U.S. Channels and
  16   certain CCTV Programs to their customers. A portion of the licensing fees that CICC
  17   receives from the Authorized U.S. Providers are then paid to CCTV.
  18           11.      Although CICC licenses certain rights to CCTV programming in the
  19   United States, CCTV retains and owns the exclusive right to reproduce, publicly
  20   perform, and transmit CCTV channels and programs over the Internet in the United
  21   States.
  22           12.      In 2004, Plaintiff DISH’s predecessor-in-interest, EchoStar Satellite
  23   L.L.C., entered into a license agreement with CITVC, which at the time handled U.S.
  24   licensing of CCTV television programs before CICC took responsibility for that role.
  25

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  27         For purposes of this motion, “Over-the-Top” or “OTT” refers to the delivery
     of video programming using an Internet connection that is not owned, managed, or
  28 operated by the party delivering the programming (e.g., Netflix).

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   1   That license agreement granted to EchoStar the exclusive right to transmit CCTV’s
   2   Great Wall Package in the United States via satellite.
   3           13.      DISH and CICC, as successors-in-interest to the original parties to the
   4   licensing agreement, have amended and renewed this licensing agreement
   5   periodically since 2004. Under the license agreement, as amended, DISH continues
   6   to own the exclusive right to transmit the Great Wall Package via satellite in the
   7   United States. In 2008, CICC also granted DISH the non-exclusive right to distribute
   8   the Great Wall Package via OTT television in the United States.
   9           14.      Only a small subset of all CCTV Programs that air in China are
  10   retransmitted on the CCTV U.S. Channels. For those programs, generally there is at
  11   least a twelve-hour delay between the first transmission of a CCTV Program in China
  12   and its initial retransmission in the United States on the CCTV U.S. Channels. This
  13   delay accounts for the time difference between China and the East Coast of the
  14   United States and permits CCTV Programs to air on the CCTV U.S. Channels at
  15   approximately the same time of day as they air in China.
  16           15.      The Authorized U.S. Providers in the United States charge their
  17   subscribers subscription fees to access the Great Wall Package. Typically, CICC’s
  18   licensing agreements require the Authorized U.S. Providers to split some portion of
  19   their revenues from subscription fees with CICC.
  20           16.      Another CCTV affiliate, China Network Television (CNTV), streams
  21   CCTV television programming over the Internet from its website at http://tv.cntv.cn/.
  22   CNTV’s webcasts offer interactive audiovisual services, integrating features of
  23   Internet-based operations with those of television programming. These include live
  24   video, video-on-demand, file upload, search and videocast services that make CNTV
  25   a popular online video platform for public information and entertainment.
  26           17.      CNTV also distributes a number of mobile applications that offer
  27   streaming video of certain CCTV Programs, including CCTV SPORTS and CCTV
  28

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   1   NEWS. CNTV makes these apps available for download through the iTunes and
   2   Google Play stores, among other authorized sites.
   3           18.      CICC spends substantial sums of money each year on the facilities,
   4   equipment, and labor necessary to distribute the CCTV U.S. Channels and CCTV
   5   Programs in the United States. These costs include system building, satellite
   6 transponder rent, system maintenance, equipment purchases, and labor.
                  Infringement of CCTV Channels and CCTV Programs
   7
                         Through the TVpad Retransmission Service
   8

   9           19.      In 2014, CCTV and CICC retained the Mintz Group, Inc. (“Mintz”), a
  10   global private investigation company, to investigate Defendants’ operations and to
  11   conduct forensic analysis of the TVpad device and of the unlicensed international
  12   television programming accessible to U.S. consumers through the TVpad device (the
  13   “TVpad Retransmission Service”). Thereafter, TVB Holdings (USA), Inc. and DISH
  14   joined CCTV and CICC in their anti-piracy efforts involving the TVpad device and
  15   the TVpad Retransmission Service.
  16           20.      The TVpad device is a set-top box. When a user connects the TVpad
  17   device to both the Internet and a television, applications or “apps” available through
  18   a built-in software application called the “TVpad Store” on the TVpad device permit
  19   the user to view streaming television programs in the United States. There are
  20   currently two TVpad models—TVpad3 and TVpad4—that are being sold to
  21   consumers in the United States.
  22           21.      Based on Mintz’s investigation, I understand that infringing applications
  23   available through the TVpad Store on the TVpad device intercept CCTV Channels
  24   and CCTV Programs from mainland China, as well as other television programming
  25   from Asia, and stream that pirated content to TVpad users in the United States and
  26   elsewhere around the world.
  27           22.      Based on Mintz’s investigation, I know that some TVpad applications
  28   stream live broadcasts of CCTV Channels from China at the same time they air in
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   1   China. (I shall hereafter refer to this application function as the “live” function.)
   2   Some TVpad applications permit users of the TVpad device to play broadcasts of
   3   CCTV Channels from China for up to three days after they air in China. (I shall
   4   hereafter refer to this application function as the “replay live” function.) I shall refer
   5   collectively to the TVpad applications that stream CCTV Channels and CCTV
   6   Programs without authorization as the “Infringing TVpad Apps”.
   7           23.      None of CICC, CCTV, or any of their affiliates have granted the
   8   Defendants in this action or any other party a license or other permission to stream,
   9   transmit or retransmit, or otherwise display, exhibit, perform, copy, and/or distribute
  10   CCTV Channels or CCTV Programs through the Infringing TVpad Apps in the
  11   United States, and CCTV and CICCC receive no revenue for this unauthorized
  12   streaming.
  13           24.      In consultation with Mintz, CICC has identified the following Infringing
  14   TVpad Apps with live and/or replay live functions that stream the following CCTV
  15   Channels to TVpad users in the United States without authorization:
  16

  17                                                    TVpad3              TVpad4
  18

  19        Infringing TVpad                CCTV’s Programming      CCTV’s Programming
              App and icon                      and Mode                and Mode
  20

  21            BETV PLUS                                        CCTV 1 (live & replay live),
  22
                                                                 CCTV 2 (live), CCTV 3 (live
                                                                 & replay live), CCTV 4 (live
  23
                                                                 & replay live), CCTV6 (live
                                                                 & replay live), CCTV 10
  24
                                                                 (live), CCTV 11 (live),
                                                                 CCTV12 (live), CCTV13
  25
                                                                 (live & replay live), CCTV14
                                                                 (live & replay live)
  26

  27

  28

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   1                                                    TVpad3                   TVpad4
   2

   3
            Infringing TVpad                CCTV’s Programming            CCTV’s Programming
   4          App and icon                      and Mode                      and Mode

   5
                 BETV_HD                   CCTV 1 HD (live),
   6                                       CCTV 5 HD (live)
   7

   8

   9

  10                                       CCTV 1 (live & replay
                   BETV II                 live), CCTV 2 (live),
  11                                       CCTV 3 (live & replay
                                           live), CCTV 4 (live &
  12                                       replay live), CCTV 5 (live
                                           & replay live), CCTV 5+
  13                                       (live), CCTV6 (live &
                                           replay live), CCTV 10
  14                                       (live), CCTV 11 (live),
                                           CCTV12 (live), CCTV13
  15                                       (live & replay live),
                                           CCTV14 (live & replay
  16                                       live), CCTV风云足球（
                                           CCTV fengyun soccer)
  17                                       (live)
  18                 BETV                  CCTV 1, CCTV 2, CCTV
                                           3, CCTV 4, CCTV 5+,
  19                                       CCTV6, CCTV 10,
                                           CCTV 11, CCTV12,
  20                                       CCTV13, CCTV14,
                                           CCTV风云足球（CCTV
  21                                       fengyun soccer) (all live)
  22

  23          516網路電視(516                  CCTV4 (live)                 CCTV4 (live)
                Online TV)
  24

  25

  26

  27

  28

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   1                                                    TVpad3              TVpad4
   2

   3
            Infringing TVpad                CCTV’s Programming       CCTV’s Programming
   4          App and icon                      and Mode                 and Mode

   5
             体育online (Sport               CCTV 1, CCTV 5, CCTV    CCTV 5, CCTV 5+, CCTV
   6           Online)                     5+, CCTV风云足球            风云足球（CCTV fengyun
                                           (CCTV fengyun soccer)   soccer), CCTV 高尔夫. 网球
   7                                       (all live)              （CCTV Golf/ Tennis）(all
                                                                   live)
   8

   9

  10

  11

  12           25.      One of the Mintz investigators with whom CICC has worked is Nicholas
  13   Braak. As detailed in the accompanying Braak Declaration, between September 29
  14   and October 9, 2014, Mr. Braak recorded infringing public performances of 30
  15   episodes of CCTV Programs streamed through these Infringing TVpad Apps on the
  16   TVpad device. CCTV has obtained United States copyright registrations for those 30
  17   episodes. See Exhibit 94 for the list of Registered CCTV Programs. Based on
  18   Mintz’s investigation, I know that the unauthorized streaming of the 30 Registered
  19   CCTV Programs represents only a small fraction of the infringing public
  20   performances of CCTV Programs transmitted without authorization through the
  21   TVpad device. Each and every day, 24 hours a day, these Infringing TVpad Apps on
  22   the TVpad device stream to U.S. TVpad users all of the copyrighted content on the
  23   CCTV Channels from China without authorization and without any fees being paid
  24   to CCTV or its Authorized U.S. Providers.
  25                        Irreparable Harm to CICC’s and CCTV’s Business
  26           26.      Defendants’ infringing conduct in providing and facilitating
  27   unauthorized streaming of CCTV Channels and CCTV Programs in the United States
  28   has caused and, unless enjoined, will continue to cause serious and irreparable injury
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   1   to CCTV and CICC in at least the following ways, all of which are inherently and
   2   practically difficult to measure.
   3           27.      First, Defendants’ infringing conduct in providing and facilitating
   4   unauthorized streaming of CCTV Channels and CCTV Programs significantly
   5   reduces a valuable revenue stream to CCTV and CICC. Through the TVpad
   6   Retransmission Service, Defendants compete directly with CCTV, CICC, and their
   7   Authorized U.S. Providers in distributing the Great Wall Package in the United
   8   States. This has caused and will continue to cause CCTV’s Authorized U.S.
   9   Providers to lose an unknown number of subscribers who otherwise would be willing
  10   to pay subscription fees for access to the Great Wall Package. When the Authorized
  11   U.S. Providers lose paying subscribers, it reduces the licensing revenues that CICC
  12   and CCTV receive from the Authorized U.S. Providers, which revenue payments are
  13   based on the number of their subscribers who subscribe to the Great Wall Package.
  14           28.      It is difficult to calculate the amount of U.S. licensing revenue CICC
  15   and CCTV have lost because Plaintiffs do not know how many subscribers and
  16   potential subscribers to the Great Wall Package the Authorized U.S. Providers have
  17   lost as a result of Defendants’ unlawful activities. However, based on my experience
  18   and understanding of our business, the revenue losses suffered by CCTV and CICC
  19   have been substantial. Since the launch of the TVpad device in 2011, CICC’s annual
  20   U.S. licensing revenue has decreased by 41%, totaling millions of dollars in lost
  21   revenues. Based on my knowledge and experience as President of CICC, I conclude
  22   that a substantial factor in this decline in our subscriber base has been and continues
  23   to be unfair competition from the TVpad Retransmission Service, which provides
  24   pirated CCTV programming to TVpad users for free without paying program license
  25   fees to CCTV, CICC, or anyone else.
  26           29.      Second, Defendants’ infringing conduct in providing and facilitating
  27   unauthorized streaming of CCTV Channels and CCTV Programs in the United States
  28   threatens CICC’s ability to negotiate favorable license agreements on behalf of

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   1   CCTV with the Authorized U.S. Providers and other distributors in the United States.
   2   As noted above, the Authorized U.S. Providers pay fees to CICC for the right to
   3   transmit the Great Wall Package. As noted above, the TVpad Retransmission
   4   Service competes directly with the Authorized U.S. Providers, potentially
   5   undercutting the value of their license agreements. If Defendants are permitted to
   6   continue competing directly with the Authorized U.S. Providers using CCTV’s own
   7   content, it will reduce the amount that Authorized U.S. Providers are willing to pay
   8   CICC, thereby significantly reducing the revenues received by CICC and CCTV
   9   through license agreements for retransmission in the United States.
  10           30.      In addition, the unlicensed availability of CCTV Channels and CCTV
  11   Programs undermines CCTV’s and CICC’s relationships with the Authorized U.S.
  12   Providers and damages our goodwill with them.
  13           31.      Third, Defendants’ infringing conduct undermines CICC’s and CCTV’s
  14   strategic choices about where, when, and how to distribute their programs,
  15   particularly because CCTV and CICC have chosen to limit distribution of CCTV
  16   programming to a small number of Authorized U.S. Providers. This loss of control
  17   harms CCTV’s and CICC’s goodwill with U.S. audiences and the Authorized U.S.
  18   Providers. CICC carefully controls the timing and location of the distribution of
  19   CCTV Programs in foreign markets, including the United States, to create the
  20   maximum incentive for customers in those markets to purchase access to the Great
  21   Wall Package through the Authorized U.S. Providers.
  22           32.      For example, in the United States, CCTV’s popular television shows are
  23   generally retransmitted approximately twelve hours after they first air in China, so
  24   that United States viewers can watch new episodes during the traditional prime time
  25   scheduling block between 6PM and 10PM on weeknights. In turn, the Authorized
  26   U.S. Providers in the United States value the right to retransmit new episodes in this
  27   prime time scheduling block. The Authorized U.S. Providers rely on the
  28   understanding that, in their particular time zone, they—along with other Authorized

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   1   U.S. Providers—all will air a new episode at exactly the same time so that their
   2   customers get access to fresh, timely content at the same time as their competitors’
   3   customers.
   4           33.      By streaming live broadcasts of CCTV Channels from China at the same
   5   time as those broadcasts air in China, the TVpad Retransmission Service upsets the
   6   legitimate expectations of the Authorized U.S. Providers by preemptively
   7   retransmitting CCTV Programs before those programs are first aired in the United
   8   States by the Authorized U.S. Providers.
   9           34.      In addition, Defendants’ unauthorized streaming deprives CCTV and
  10   CICC of their right not to retransmit most of the CCTV Channels in the United States
  11   at all, as well as to limit the CCTV Programs that will air in the United States. CICC
  12   carefully chooses the content distributed on the CCTV U.S. Channels to fit the tastes
  13   of the U.S. market. Defendants’ unauthorized streaming of all CCTV programs aired
  14   in China deprives CCTV and CICC of their ability to curate their television
  15   programming for a United States audience. This loss of control threatens to hurt
  16   CCTV’s and CICC’s goodwill with U.S. audiences and the Authorized U.S.
  17   Providers. The precise scope of the harm is difficult to quantify.
  18           35.      Fourth, Defendants’ infringing conduct in providing and facilitating
  19   unauthorized streaming of CCTV Channels and CCTV Programs in the United States
  20   interferes with CCTV’s and CICC’s ability to develop and exploit a lawful market
  21   for Internet distribution of their television programs in the United States. As noted
  22   above, on behalf of CCTV, CICC enters into licensing agreements with Authorized
  23   U.S. Providers, including DISH, that provide Internet-based streaming services. The
  24   TVpad Retransmission Service competes directly with those services because of the
  25   similarity of the technology, damaging CCTV’s and CICC’s relationship and
  26   goodwill with legitimate Internet-based licensees. In addition, the TVpad
  27   Retransmission Service threatens to confuse consumers about Internet-based
  28   distribution channels more generally, including about what constitutes lawful

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          Internet-based exploitation and whether payment is required for access to CCTV
      2   Channels and CCTV Programs.
      3            36.      Fifth, Defendants ' infringing conduct impairs CCTV' s brand,
      4   reputation, and goodwill with consumers by associating its programming with poor
      5   quality viewing experiences on the TVpad device. CCTV and CICC take steps to
      6   safeguard CCTV' s reputation with respect to the quality of the viewing experience
      7   that U.S. viewers can expect when they watch CCTV Channels and CCTV Programs.
      8 Many of CICC 's license agreements with the Authorized U.S. Providers require that
      9   certain quality standards be met. CICC has no contract with any of the Defendants
     1o and therefore lacks any way to ensure that they provide viewers with a quality

     11   viewing experience. As set forth in detail in the accompanying Braak Declaration,
    12    Mintz investigators have documented numerous problems with the TVpad viewing
     13   experience. In addition, Mintz investigators have reviewed popular TVpad forums
    14    and discovered that posters on those forums frequently complain about technical
    15    problems with the TV pad device, including poor image quality and interruptions in
    16    service. Associating CCTV Channels and CCTV Programs with Defendants ' poor-
     17   quality service threatens to harm CCTV 's and CICC ' s brand and reputation,
    18    depriving them of customer goodwill. The harm associated with this injury to
    19    reputation and loss of customer goodwill is difficult to quantify.
    20
                  I declare under penalty of perjury under the laws of the United States of
    21
          America that the foregoing is true and correct.
    22
    23
          Executed this      _d_ day of February, 2015.
    24

    25
                                                        ~~       Chunguang Lu
    26
    27
    28

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                               KUELLING DECLARATION
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   1                       DECLARATION OF CHRISTOPHER KUELLING
   2

   3           I, Christopher Kuelling, declare as follows:
   4           1.       I am Senior Vice President, International Business & Legal Affairs at
   5   DISH Network L.L.C. (“DISH”). I have personal knowledge of the facts contained
   6   herein, and, if called upon as a witness, I could and would testify competently about
   7   these facts, except for those matters stated expressly upon information and belief,
   8   which matters are believed to be true. I make this declaration in support of Plaintiffs’
   9   motion for a preliminary injunction.
  10           2.       I have been employed by DISH since April 2002. I became the Senior
  11   Vice President, International Business & Legal Affairs at DISH in May 2014. Prior
  12   to this recent promotion, I served as Vice President, International Programming for
  13   approximately five years and my responsibilities included all content acquisition,
  14   marketing and sales of foreign language channels for DISH. Prior to that role I
  15   served in various capacities including as senior attorney for DISH’s programming
  16   department, head of content acquisition for a DISH affiliate in Taiwan, and head of
  17   international sports rights acquisition for the same affiliate while based for three
  18   years in Europe. In my current role, I have responsibility for certain aspects of
  19   DISH’s international channel business, including content rights acquisition and
  20   overseeing anti-piracy efforts with regard to unauthorized distribution of video
  21   content for which DISH holds exclusive distribution rights. I am familiar with
  22   DISH’s business, its history as a company, its video programming offerings, and its
  23   programming distribution models, including its agreements with other companies to
  24   obtain programming content from both within and outside the United States.
  25                                                DISH’s Business
  26           3.       DISH is the nation’s third-largest pay television service, delivering
  27   video services to approximately 14 million customers nationwide through both
  28   satellite and Internet platforms. DISH’s primary service is satellite television, which

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   1   DISH provides to subscribers in return for subscription fees. Through its satellite
   2   service, DISH also offers approximately 75 international programming packages
   3   containing close to 300 international channels.
   4           4.       Separately, DISH offers many of the same international packages and
   5   channels through its Over-the-Top (“OTT”)1 television service called “DishWorld”
   6   (soon to be rebranded as “Sling International”). DishWorld is an OTT subscription
   7   service that provides international television programming on numerous viewing
   8   devices including, but not limited to, Apple iPhones and iPads, Android phones and
   9   tablets, Samsung Smart TVs, Amazon Fire, Blu-Ray devices, personal computers,
  10   and the Roku Streaming Player. The DishWorld OTT service is a standalone service
  11   separate from DISH’s satellite delivery business, and a subscriber to the OTT service
  12   is not required to also subscribe to satellite service. New subscribers to the DISH
  13   satellite service are required to sign a two-year commitment, while new subscribers
  14   to the DishWorld service are not required to do so.
  15                          DISH’s Rights to Transmit CCTV Programming
  16           5.       In 2004, DISH’s predecessor-in-interest, EchoStar Satellite L.L.C.
  17   (“EchoStar”), entered into a license agreement with China International Television
  18   Corporation (“CITVC”), a wholly owned subsidiary of China Central Television
  19   (“CCTV”). That agreement granted to EchoStar the exclusive right to transmit
  20   CCTV’s “Great Wall Package” of television channels in the United States via
  21   satellite. The Great Wall Package includes content from 22 Chinese television
  22   channels, including the following CCTV channels: CCTV-4, CCTV-E, CCTV-
  23   Entertainment, CCTV-News, CCTV Movies (distributed as “China Movie Channel
  24   (CMC)”), and CCTV-Opera (collectively, the “CCTV U.S. Channels”).
  25

  26
       1
  27  For purposes of this motion, “Over-the-Top” or “OTT” refers to the delivery of
     video programming using an Internet connection that is not owned, managed, or
  28 operated by such distributor (e.g., Netflix).

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   1           6.       DISH and China International Communication Co., Ltd. (“CICC”), as
   2   successors-in-interest to the original parties to the license agreement, have amended
   3   and renewed the license agreement periodically since 2004. Under the license
   4   agreement, as amended, DISH continues to own the exclusive right to transmit the
   5   Great Wall Package in the United States via satellite. In 2008, CICC also granted
   6   DISH the non-exclusive right to distribute CCTV’s Great Wall Package via OTT in
   7   the United States.
   8           7.       Until recently, DISH charged its subscribers $22.99 per month for the
   9   Great Wall Package on its satellite service in the United States. In October 2014, as
  10   a result of competitive pressure from unauthorized distribution of the Great Wall
  11   Package, DISH reduced its price for new customers to $14.99 per month.
  12           8.       DISH also charges its subscribers $14.99 per month for the Great Wall
  13   Package on its DishWorld OTT service in the United States.
  14                           DISH’s Rights to Transmit TVB Programming
  15           9.       In 2012, DISH entered into a license agreement with TVB Satellite
  16   Platform, Inc., an affiliate of Television Broadcasts Limited (“TVB”) and Plaintiff
  17   TVB Holdings (USA), Inc. (“TVB (USA)”). Pursuant to the license agreement,
  18   DISH owns the exclusive right to transmit via satellite in the United States the
  19   following TVB television channels and the TVB television programs comprising
  20   those channels: TVB1, TVB2, TVBe, TVBS, TVB8, TVBV, TVB Pearl, TVB
  21   Drama, and TVBHD (collectively, the “TVB U.S. Channels”). The license
  22   agreement also grants to DISH the exclusive right to transmit the TVB U.S. Channels
  23   and the TVB television programs comprising those channels in the United States via
  24   OTT, except for video-on-demand content.
  25           10.      DISH offers its subscribers access to certain of the TVB U.S. Channels
  26   through a television package called the “Jadeworld” Package, which includes TVB1,
  27   TVB2, TVBe, TVBS, and CCTV’s CCTV-4.
  28

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   1           11.      DISH generally charges its subscribers $29.99 per month for the
   2   Jadeworld Package on its satellite and DishWorld OTT services in the United States.
   3                           Infringement of CCTV and TVB Programming
   4                             Through the TVpad Retransmission Service
   5           12.      As part of my job responsibilities, I oversee DISH’s anti-piracy efforts

   6   concerning international programming, including the investigation of “rogue”

   7   television services that deliver unlicensed international television programming to

   8   U.S. customers, such as the infringing international programming accessible through

   9   the TVpad device (the “TVpad Retransmission Service”). In July 2014, DISH

  10   (together with TVB (USA)) joined co-Plaintiffs CCTV and CICC in their anti-piracy

  11   efforts involving the TVpad device and the TVpad Retransmission Service, including

  12   retaining the Mintz Group, Inc. (“Mintz”) in its private investigation of the TVpad

  13   device, the TVpad Retransmission Service, and of the Defendants named in this

  14   action.

  15           13.      The TVpad device is a set-top box. When a user connects the TVpad

  16   device to both the Internet and a television, applications or “apps” available through

  17   a built-in software application called the “TVpad Store” permit users in the United

  18   States to view streaming television programs from mainland China, Hong Kong, and

  19   other parts of Asia.

  20           14.      One of the Mintz investigators with whom DISH has worked is Nicholas

  21   Braak. As detailed in the accompanying Braak declaration, which I have reviewed,

  22   several applications available in the TVpad Store stream CCTV and TVB channels

  23   and television programs from Asia to TVpad users in the United States (the

  24   “Infringing TVpad Apps”). DISH has not authorized anyone to stream CCTV or

  25   TVB channels or individual programming content comprising such channels through

  26   the Infringing TVpad Apps to TVpad users in the United States.

  27

  28

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       DWT 25450641v5 0094038-000021                                                   Fax: (213) 633-6899
Case 2:15-cv-01869-SVW-AJW Document 201-1 Filed 09/22/16 Page 119 of 245 Page ID
                                  #:20401

   1                                   Defendants Refuse to Cease and Desist
   2           15.      On or about November 21, 2014, I sent cease-and-desist letters by
   3   Federal Express on behalf of DISH, TVB, and CCTV to Defendant Create New
   4   Technology (HK) Ltd. (“CNT”), the manufacturer of the TVpad device, and to
   5   Defendants Asha Media Group Inc. d/b/a TVpad.com (“Asha Media”), and Club
   6   TVpad, Inc. (“Club TVpad,” together with Asha Media, the “U.S. Distributors”).
   7   Federal Express confirmed delivery of the cease-and-desist letter to Club TVpad on
   8   November 24, 2014. Federal Express confirmed delivery of the cease-and-desist
   9   letter to Asha Media on November 26, 2014. On November 23, 2014, Federal
  10   Express informed DISH that delivery of the cease-and-desist letter to CNT at its
  11   registered address in Hong Kong was attempted but refused by CNT because no
  12   specific individual’s name was listed on the package. I then provided Federal
  13   Express with the name of CNT’s sole shareholder Zhang Wenwei, but Federal
  14   Express informed DISH on November 30, 2014 that CNT had refused delivery with
  15   that name as well. True and correct copies of my November 2014 cease-and-desist
  16   letters to CNT and the U.S. Distributors are attached hereto as Exhibit 95. True and
  17   correct copies of the emails from Federal Express to me and to a DISH employee
  18   working under my direction confirming delivery of the cease-and-desist letters to the
  19   U.S. Distributors, redacted to remove attorney-client communications, are attached
  20   hereto as Exhibit 96. True and correct copies of emails from Federal Express to
  21   DISH employees working under my direction evidencing attempts by Federal
  22   Express to deliver the cease-and-desist letter to CNT are attached hereto as Exhibit
  23   97.
  24           16.      On December 8, 2014, I sent emails to CNT and the U.S. Distributors
  25   which attached copies of the cease-and-desist letters addressed to each of them. I
  26   have not received any notifications (such as an “undeliverable” message) that would
  27   suggest that my email delivery of the cease-and-desist letters to CNT or the U.S.
  28   Distributors was unsuccessful. True and correct copies of my emails to CNT and the

                                                              5                DAVIS WRIGHT TREMAINE LLP
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                                  #:20402

   1   U.S. Distributors, with the attached cease-and-desist letters, are attached hereto as
   2   Exhibit 98.
   3           17.      On December 8, 2014, in response to my November cease-and-desist
   4   2014 letter to Asha Media, I received an email from an individual identifying himself
   5   as “Amit” from the email address tvboxplayer@gmail.com “On Behalf of TVPad
   6   Authorized Store.” I believe that “Amit” is Amit Bhalla, President of Asha Media.
   7   The email stated: “I believe you are trying to contact the manufacturer which is
   8   www.itvpad.com. We are only a reseller . . . just like amazon, rakutan and sears also
   9   selling the product. All legal matters go to the manufacturer. Let me know if I can
  10   be of assistance.” A true and correct copy of this email is attached hereto as Exhibit
  11   99.
  12           18.      On December 16, 2014, after determining that the exhibits to my
  13   previous cease-and-desist letters were inadvertently omitted, I resent my November
  14   2014 cease-and-desist letters with the exhibits to CNT and Club TVpad via email.
  15   True and correct copies of my emails with their attached cease-and-desist letters and
  16   exhibits are attached hereto as Exhibits 100 and 101.
  17           19.      On December 19, 2014, I emailed another cease-and-desist letter to
  18   Amit Bhalla at Asha Media, responding to his December 8, 2014 email and attaching
  19   the exhibits that were omitted from my previous cease-and-desist letter to Asha
  20   Media. A true and correct copy of my email with its attached cease-and-desist letter
  21   and exhibits is attached hereto as Exhibit 102.
  22           20.      On or about January 12, 2015, I received a letter dated December 17,
  23   2014 from a lawyer for Club TVpad responding to my November cease-and-desist
  24   letter by pointing out a typographical error, but otherwise ignoring the substantive
  25   issues raised in my letter. On January 14, 2015, I sent a corrected version of my
  26   cease-and-desist letter to Club TVpad by email to fix the typos in the body of the
  27   letter. A true and correct copy of my email with its attached cease-and-desist letter
  28   and exhibits is attached hereto as Exhibit 103.

                                                              6            DAVIS WRIGHT TREMAINE LLP
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                                  #:20403

   1           21.      My November 2014 cease-and-desist letter to CNT, as updated on
   2   December 16, 2014, notified CNT that “we have cause to believe that CNT and/or
   3   persons acting in concert with CNT are directly infringing the copyrights in
   4   television programming for which DISH, CCTV and/or TVB own exclusive rights,
   5   as well as inducing, materially contributing to, and failing to control the blatant
   6   infringing activities of others through the TVpad device.” The cease-and-desist
   7   letter, as updated, provided CNT with a list of the Infringing TVpad Apps, a list of
   8   the CCTV and TVB channels transmitted through those apps, and a representative
   9   list of 145 CCTV and TVB programs streamed through the Infringing TVpad Apps
  10   without authorization. The cease-and-desist letter demanded that “CNT and any
  11   parties acting in concert with CNT, or pursuant to CNT’s direction or control,”
  12   immediately (a) cease and desist from “providing CCTV and TVB content through
  13   the TVpad and its affiliated network”; and (b) cease and desist from “providing the
  14   [Infringing TVpad Apps], and any similar infringing applications, through the TVpad
  15   app store or otherwise.” See Exhibits 95, 98, 100.
  16           22.      I have received no response from CNT to my cease-and-desist letter, and
  17   our investigators have confirmed that CCTV and TVB channels and programs
  18   continue to be streamed through the TVpad device despite my cease-and-desist letter.
  19           23.      My November 2014 cease-and-desist letters to the U.S. Distributors
  20   notified those distributors that they were subject to liability for “secondary copyright
  21   infringement because of [their] involvement in the sale and distribution of TVpad
  22   devices, [their] inducement of customers to infringe CCTV and TVB programming,
  23   and [their] material contribution to the infringing activities of others.” The cease-
  24   and-desist letters, as updated, provided the U.S. Distributors with a list of Infringing
  25   TVpad Apps, a list of the CCTV and TVB channels transmitted through those apps,
  26   and a representative list of 145 CCTV and TVB programs streamed through the
  27   Infringing TVpad Apps without authorization. The cease-and-desist letters
  28   demanded that the U.S. Distributors immediately (a) cease and desist from “selling

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                                  #:20404

   1   TVpad devices that offer the [Infringing TVpad Apps], or any similar infringing
   2   applications, through the TVpad app store”; (b) cease and desist from “providing the
   3   [Infringing TVpad Apps], and any similar applications”; and (c) cease and desist
   4   from “marketing and promoting the availability of CCTV and TVB content on the
   5   TVpad, and encouraging consumers to access such content through the TVpad.” See
   6   Exhibits 95, 98, 101-103.
   7           24.      My December 19, 2014 response to Asha Media further stated in
   8   relevant part: “We strongly disagree with your statement that Asha Media is ‘only a
   9   reseller’ of the TVpad device. In addition to selling a device that delivers pirated
  10   content, Asha Media actively induces and encourages customers to purchase and use
  11   the TVpad device in order to access and infringe copyrighted Chinese-language
  12   television programs, including CCTV and TVB programs. In light of these activities,
  13   Asha Media is secondarily liable for the infringing conduct of its customers who use
  14   the TVpad device, as well as for the infringing conduct of other parties streaming
  15   pirated CCTV and TVB content to the TVpad device.” See Exhibit 102.
  16           25.      I received no subsequent response from Asha Media to my December
  17   19, 2014 letter, and our investigators have confirmed that Asha Media continues to
  18   promote the Infringing TVpad Apps and the availability of infringing television
  19   programming on the TVpad device. In February 2015, I received a letter from Club
  20   TVpad’s lawyer denying that Club TVpad is engaged in infringing conduct, and our
  21   investigators have confirmed that Club TVpad continues to promote the Infringing
  22   TVpad Apps and the availability of infringing television programming on the TVpad
  23   device.
  24

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                                                              8          DAVIS WRIGHT TREMAINE LLP
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   1                                   Irreparable Harm to DISH’s Business
   2           26.      Defendants’ infringing conduct in providing, inducing, and facilitating
   3   unauthorized streaming of CCTV and TVB channels and programs through the
   4   TVpad device competes directly with DISH’s satellite and OTT pay television
   5   services in the United States.
   6           27.      Defendants provide CCTV and TVB television programming to U.S.
   7   customers that satisfies the same demand for that programming as DISH’s
   8   Chinese-language television packages including the Great Wall and Jadeworld
   9   Packages. Because Defendants pay no license fees to the copyright owners for the
  10   TVpad Retransmission Service, they can provide CCTV and TVB channels and
  11   programs without assessing monthly fees to their customers, making their services
  12   cheaper and thus more attractive to potential consumers than DISH’s competing
  13   services. Moreover, as explained in more detail in the accompanying Declarations of
  14   Samuel P. Tsang and Lu Chunguang, which I have reviewed, Infringing TVpad
  15   Apps on the TVpad device stream CCTV and TVB programming before it is
  16   available on DISH in the United States, compounding the competitive harm.
  17           28.      The competitive harm is readily apparent when it comes to the
  18   DishWorld OTT service, which DISH markets to customers interested in
  19   international programming and provides that programming over the Internet to users
  20   of connected devices such as iPhones, Android devices, and the Roku set-top box.
  21   Users of authorized devices must pay a subscription fee for the DishWorld service to
  22   access CCTV and TVB content, while users of the TVpad get illegally streamed
  23   CCTV and TVB content for free. This difference places our DishWorld service at a
  24   significant and unfair disadvantage vis-à-vis the TVpad device and TVpad
  25   Retransmission Service.
  26           29.      I have a good-faith belief that, as a result of Defendants’ unlawful
  27   activities described above, DISH has lost or failed to acquire many subscribers who
  28   otherwise would have been willing to pay subscription fees for access to DISH’s

                                                              9              DAVIS WRIGHT TREMAINE LLP
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   1   Great Wall Package of CCTV channels and Jadeworld Package of TVB channels.
   2   For instance, with respect to the Great Wall Package, the total number of DISH
   3   subscribers and monthly gross activations has been steadily declining from 2011 to
   4   the present. With respect to the Jadeworld Package, DISH launched the package in
   5   November 2012 and fell well short of meeting the number of subscribers anticipated.
   6   Moreover, most of the subscribers to the Jadeworld package on DISH’s satellite
   7   service had their two year commitments end in the last three months and, in just
   8   those three months alone, the number of subscribers has declined significantly.
   9           30.      Based on my knowledge of the industry and my experience overseeing
  10   DISH’s anti-piracy efforts, I conclude that this decline in DISH’s subscriber base to
  11   the Great Wall and Jadeworld packages is attributable, at least in part, to the
  12   availability of CCTV and TVB programming for free on the TVpad device. That
  13   conclusion is buttressed by feedback from our DISH retailers in the local markets,
  14   who see the TVpad being advertised in newspapers and other media.
  15           31.      In addition, as noted above, DISH has reduced its monthly subscription
  16   fee for new customers of the Great Wall Package of CCTV channels from $22.99 to
  17   $14.99 per month because of competitive pressure from infringing television services
  18   like the TVpad Retransmission Service.
  19           32.      This subscriber and price erosion has diminished and will continue to
  20   diminish DISH’s revenues unless enjoined. It is difficult to calculate the amount of
  21   revenue DISH has lost in this way because DISH does not know how many
  22   customers it has lost or failed to acquire as a result of Defendants’ infringing
  23   activities.
  24           33.      Defendants’ infringing activities also diminish the value of the exclusive
  25   rights conveyed to DISH by license agreements with TVB (USA)’s affiliate and
  26   CICC, placing a strain on DISH’s business relationships in a manner that is difficult
  27   to calculate.
  28

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   1   I declare under penalty of perjury under the laws of the United States of America that

   2   the foregoing is true and correct.
                           ~~~
   3   Executed this
                                           6
                                   day ofMarch, 2015 .
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                                                          ~her
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                                                              11                  DAVIS WRIGHT TREMAINE LLP
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                                  EXHIBIT 1
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                                   #:20409




1

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12

13
     Attorneys for Defendants Asha Media and Bhalla

14

15                   UNITED STATES DISTRICT COURT FOR
                    THE CENTRAL DISTRICT OF CALIFORNIA
16

17   CHINA CENTRAL TELEVISION,
     a China company, et al.
18

19   Plaintiffs,
                                              Case No. 2:15-cv-01869-MMM
20
     v.                                       Hon. Margaret M. Morrow
21
     CREATE NEW TECHNOLOGY, (HK) DEFENDANTS ASHA MEDIA
22
     LIMITED, A Hong Kong Company, et GROUP, INC., AND AMIT
23   al.,                             BHALLA’S RESPONSES TO
24
                                      PLAINTIFFS’ FIRST SET OF
     Defendants.                      REQUESTS FOR PRODUCTION
25

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                                                                 EXHIBIT 1
 Case 2:15-cv-01869-SVW-AJW Document 201-1 Filed 09/22/16 Page 128 of 245 Page ID
                                   #:20410




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2
       DEFENDANTS ASHA MEDIA GROUP, INC., AND AMIT BHALLA’S
3         RESPONSES TO PLAINTIFFS’ FIRST SET OF REQUESTS
4                       FOR PRODUCTION
5

6          Pursuant to Federal Rule of Civil Procedure 34, NOW COME Defendants
7
     Asha Media Group Inc., d/b/a TVpad.com and Amit Bhalla (“Defendants”) by and
8

9    through their counsel, Traverse Legal, PLC, and for their Responses to Plaintiffs’
10
     First Set of Requests for Production, respond as follows:
11

12
                                    GENERAL OBJECTIONS

13
              1.    These General Objections are applicable to each specific

14     document request and are incorporated by reference in each answer,
15     response and objection thereto.
16            2.    Obligations Beyond Civil Rules or Local Rules:
17     Defendants object to the Document Requests to the extent that they
18     purport to impose upon Defendants requirements beyond those
19     authorized by the Federal Rules of Civil Procedure and by the Local Rules
20     of this Court.
21
              3.    Privilege: Defendants object to the Document Requests to
22
       the extent that they may be construed as calling for the disclosure of
23
       documents subject to a claim o privilege or immunity, including without
24
       limitation the attorney-client privilege, the work product doctrine, or any
25
       other applicable privilege. To the extent any request can be construed as
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                                              2
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1    REQUEST FOR PRODUCTION NO. 28:
2
           All DOCUMENTS evidencing, reflecting or referring to YOUR
3
     purchases of TVPAD DEVICES, including but not limited to business and
4
     accounting records, bank records and tax returns.
5
           RESPONSE: Defendants object to the information requested as
6
     containing confidential and private information. With respect to Defendant
7
     Bhalla, Defendant also objects to the production of personal tax returns on
8
     the basis of relevance and that it is being requested to annoy and harass
9
     Defendant Bhalla. Without waiving said objections, Defendant Asha Media
10
     is producing documents as marked under Production No. 28 and will
11
     provide financial information including tax return information after the
12
     entry of an appropriate Protective Order.
13

14   REQUEST FOR PRODUCTION NO. 29:
15         All DOCUMENTS (including but not limited to business and accounting
16   records, bank records and tax returns) evidencing, reflecting or referring to
17   YOUR sales, distribution or other disposal of TVPAD DEVICES by any means,
18   including but not limited to direct Internet sales, sales through INTERNET
19   SALES CHANNELS, sales through retail channels and wholesaling.
20
           RESPONSE:        Defendants object to the information requested as
21
     containing confidential and private information. With respect to Defendant
22   Bhalla, Defendant also objects to the production of personal tax returns on
23   the basis of relevance and that it is being requested to annoy and harass
24   Defendant Bhalla. Without waiving said objections, Defendant Asha Media
25   is producing documents as marked under Production No. 29 and will
26
                                              13
27

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 Case 2:15-cv-01869-SVW-AJW Document 201-1 Filed 09/22/16 Page 130 of 245 Page ID
                                   #:20412




1    provide financial information including tax return information after the
2    entry of an appropriate Protective Order.
3

4
     REQUEST FOR PRODUCTION NO. 30:
5
         DOCUMENTS sufficient to IDENTIFY all persons or parties who have
6
     purchased TVPAD DEVICES from YOU.
7
           RESPONSE: See documents that are submitted herein as marked
8
     under Production No. 30.
9

10

11
     REQUEST FOR PRODUCTION NO. 31:
           DOCUMENTS sufficient to IDENTIFY all persons or parties who have
12
     purchased COMPARABLE SYSTEMS from YOU.
13

14         RESPONSE: Defendants have no documents pertaining to this
15   request.
16

17   REQUEST FOR PRODUCTION NO. 32:
18         All DOCUMENTS evidencing, reflecting or referring to the storage and
19   shipment of TVPAD DEVICES, including but not limited to invoices, waybills,
20   bills of lading, customs records and warehouse records.
21         RESPONSE: See documents that are submitted herein as marked
22   under Production No. 32.
23

24
     REQUEST FOR PRODUCTION NO. 33:
25
           All DOCUMENTS evidencing, reflecting or referring to the storage
26
                                            14
27

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                                   #:20413




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3    REQUEST FOR PRODUCTION NO. 46:
4         All DOCUMENTS reflecting, referencing or evidencing
5    COMMUNICATIONS with any other defendant relating to or concerning the
6    LAWSUIT (excluding attorney-client privileged COMMUNICATIONS).
7         RESPONSE: No communications were made with any Defendant
8    concerning this lawsuit.
9
     REQUEST FOR PRODUCTION NO. 47:
10

11         All DOCUMENTS reflecting, referencing or evidencing
12   COMMUNICATIONS with any third party relating to or concerning the
13   LAWSUIT (excluding attorney- client privileged COMMUNICATIONS).
14        RESPONSE: No communications were made with any Defendant or
15   third party concerning this lawsuit.

16
     Respectfully submitted this 24th day of November, 2015.
17

18
                                            /s/ Mark G. Clark__________
19
                                            Mark G. Clark (Pro Hac Vice)
20                                          TRAVERSE LEGAL, PLC
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21
                                            Traverse City, Michigan 49684
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                                   #:20414




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                                   #:20415




1                                 CERTIFICATE OF SERVICE
2
            I hereby certify that on the 24th day of November, 2015, I electronically
3    sent the foregoing document to all counsel of record to their respective email
4    addresses as indicated on the CACD ECF Service List as follows.
5    Adrianos Matthew Facchetti     adrianos@facchettilaw.com, reagan.facchettilaw@gmail.com
6
     Carla A McCauley      carlamccauley@dwt.com, frankromero@dwt.com
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13   jflee@ltpacificlaw.com, ktanji@yahoo.com

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15   Lacy H Koonce , III    lancekoonce@dwt.com
16
     Robert D Balin    robbalin@dwt.com
17
     Samuel M Bayard       samuelbayard@dwt.com
18

19
                                                /s/ Mark G. Clark__________
20                                              Mark G. Clark (Pro Hac Vice)
21                                              TRAVERSE LEGAL, PLC
                                                                                               _
22                                              Attorneys for Defendant Asha and Bhalla
23

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                                  EXHIBIT 2

  Document2
 Case 2:15-cv-01869-SVW-AJW Document 201-1 Filed 09/22/16 Page 135 of 245 Page ID
                                   #:20417
OrderNo      Invoice CreateDate     OrderStatus   BillingFirstName   BillingLastName    BillingCountryCode   ShippingFirstName   ShippingLastName   ShippingCountryCode
                                                                                                                                                               PaymentMethod          OrderCurrencyCode
                                                                                                                                                                                            Sku         ItemPrice      Discount Amount
                                                                                                                                                                                                                                  QtyOrdered
                                                                                                                                                                                                                                         RowTotal      ProductOptions                PurchasedWebsite
 100001334              7/18/2013   complete      Kenneth            Sun                AU                   Amy                 Hsieh              AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001335              7/18/2013   canceled      Minh               Lam                GB                   Minh                Lam                GB        Credit Card or Paypal   USD   m233                   0           0      1            0   Warranty Period: 1 Year       Legacy Opencart Store
 100001350              7/19/2013   complete      Sai                Yin Leung          IE                   Sai                 Yin Leung          IE        Credit Card or Paypal   EUR   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001356              7/19/2013   complete      Wei                Guo                AU                   Wei                 Guo                AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001359              7/19/2013   complete      kelly              lim                US                   kelly               lim                US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001364              7/20/2013   complete      Alan               Chan               US                   Alan                Chan               US        Credit Card or Paypal   USD   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001365              7/20/2013   complete      Heloisa            Chang              US                   C/o - Cris          (Current Guest)    US        Credit Card or Paypal   USD   m233                220            0      4         880    Warranty Period: 1 Year       Legacy Opencart Store
 100001370              7/21/2013   complete      Sai                Leung              IE                   Sai                 Leung              IE        Credit Card or Paypal   EUR   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001371              7/21/2013   complete      Kwok               Chan               GB                   Kwok                Chan               GB        Credit Card or Paypal   USD   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001375              7/21/2013   complete      Tinh               Huynh              US                   Tinh                Huynh              US        Credit Card or Paypal   USD   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001376              7/22/2013   complete      Dong               Zhang              AU                   Dong                Zhang              AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001377              7/22/2013   complete      Yonghui            Chen               US                   Yonghui             Chen               US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001381              7/22/2013   complete      Ho Shing           Lo                 NZ                   Ho Shing            Lo                 NZ        Credit Card or Paypal   AUD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001382              7/22/2013   complete      Yuchao             Qiu                DE                   Yuchao              Qiu                DE        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001385              7/22/2013   complete      Tak Shing          Yuen               FR                   Tak Shing           Yuen               FR        Credit Card or Paypal   EUR   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001386              7/22/2013   canceled      SOO                YUET KUAN          MY                   SOO                 YUET KUAN          MY        Credit Card or Paypal   EUR   m233                   0           0      1            0   Warranty Period: 1 Year       Legacy Opencart Store
 100001388              7/22/2013   complete      Brian              Cho                AU                   Brian               Cho                AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001392              7/22/2013   complete      Wendy              Liu                CA                   Wendy               Liu                CA        Credit Card or Paypal   CAD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001396              7/23/2013   complete      MOON               LOK                GB                   MOON                LOK                GB        Credit Card or Paypal   GBP   GameCtrler         29.99           0      1        29.99   Warranty Period: 3 Months     Legacy Opencart Store
 100001396              7/23/2013   complete      MOON               LOK                GB                   MOON                LOK                GB        Credit Card or Paypal   GBP   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001405              7/23/2013   complete      Thuy               Huynh              US                   Thuy                Huynh              US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001407              7/23/2013   complete      MAURICE            YEUNG              CA                   MAURICE             YEUNG              CA        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001408              7/23/2013   complete      robert             ma                 US                   robert              ma                 US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001415              7/23/2013   canceled      Cheng              Zhu                AU                   Cheng               Zhu                AU        Credit Card or Paypal   USD   m233                   0           0      1            0   Warranty Period: 1 Year       Legacy Opencart Store
 100001416              7/23/2013   complete      Jun Jie            Ng                 MY                   Jun Jie             Ng                 MY        Credit Card or Paypal   USD   m233                215            0      5        1075    Warranty Period: 1 Year       Legacy Opencart Store
 100001418              7/23/2013   complete      cheng              zhu                AU                   cheng               zhu                AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001419              7/24/2013   complete      Victor             Ly                 DK                   Victor              Ly                 DK        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001421              7/24/2013   complete      Wai                Tsang              GB                   Khai Soon           Ng                 SG        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001424              7/24/2013   complete      jenny              lee                US                   jenny               lee                US        Credit Card or Paypal   USD   m233              258.99           0      1       258.99   Warranty Period: 2 Year       Legacy Opencart Store
 100001425              7/24/2013   complete      Frankie            So                 IE                   Frankie             So                 IE        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001426              7/25/2013   complete      Baolin             Li                 AU                   Baolin              Li                 AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001428              7/25/2013   complete      Li                 Zheng              AU                   Li                  Zheng              AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001429              7/25/2013   complete      Henry              Wan                US                   Henry               Wan                US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001433              7/25/2013   complete      Jolene             Wong               GB                   Jolene              Wong               GB        Credit Card or Paypal   GBP   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001434              7/25/2013   complete      Rita               Yung               US                   Rita                Yung               US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001436              7/25/2013   complete      HAI Xuan           Xie                CA                   HAI Xuan            Xie                CA        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001440              7/26/2013   complete      Hong               Kim                AU                   Ed                  Kim                AU        Credit Card or Paypal   USD   m233                215            0      5        1075    Warranty Period: 1 Year       Legacy Opencart Store
 100001441              7/26/2013   complete      robby              kang               US                   robby               kang               US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001444              7/26/2013   complete      xiaoqing           wu                 AU                   xiaoqing            wu                 AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001447              7/27/2013   complete      Trinh              Hua                AU                   Trinh               Hua                AU        Credit Card or Paypal   USD   m233                215            0      5        1075    Warranty Period: 1 Year       Legacy Opencart Store
 100001448              7/27/2013   complete      Kaang              Yoon               NL                   Kaang               Yoon               NL        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001451              7/27/2013   complete      Philip             Tsang              CA                   Philip              Tsang              CA        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001458              7/28/2013   complete      Gihwan             Kim                CA                   Gihwan              Kim                CA        Credit Card or Paypal   CAD   m233                220            0      5        1100    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001459              7/28/2013   complete      Lai                Mak                CA                   Lai                 Mak                CA        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001460              7/29/2013   complete      Kwok Biu           chang              GB                   Kwok Biu            chang              GB        Credit Card or Paypal   USD   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001461              7/29/2013   complete      Michael            Tang               GB                   Michael             Tang               GB        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001463              7/29/2013   complete      Vicky              Yang               US                   Vicky               Yang               US        Credit Card or Paypal   USD   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001464              7/29/2013   complete      KUI                YANG               CA                   KUI                 YANG               CA        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001466              7/29/2013   complete      Wendy              Chan               GB                   Wendy               Chan               GB        Credit Card or Paypal   GBP   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001467              7/29/2013   complete      barbara            chow               AU                   barbara             chow               AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001468              7/29/2013   complete      Jiemiao            Chen               AU                   Jiemiao             Chen               AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001469              7/29/2013   complete      Richard            Lam                AU                   Richard             Lam                AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001471              7/29/2013   canceled      Byron              Liu                US                   Byron               Liu                US        Credit Card or Paypal   USD   m233                   0           0      1            0   Warranty Period: 1 Year       Legacy Opencart Store
 100001472              7/30/2013   complete      Hong               Lui                AU                   Hong                Lui                AU        Credit Card or Paypal   AUD   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001475              7/30/2013   complete      Sai                Yin Leung          IE                   Sai                 Yin Leung          IE        Credit Card or Paypal   EUR   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001476              7/30/2013   complete      Dennis             Sin                GB                   Dennis              Sin                GB        Credit Card or Paypal   GBP   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001477              7/30/2013   complete      wanhua             wu                 BR                   wanhua              wu                 BR        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001477              7/30/2013   complete      wanhua             wu                 BR                   wanhua              wu                 BR        Credit Card or Paypal   USD   GameCtrler            55           0      1           55   Warranty Period: 3 Months     Legacy Opencart Store
 100001478              7/30/2013   complete      Tim                Leung              GB                   Tim                 Leung              GB        Credit Card or Paypal   GBP   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001481              7/30/2013   complete      Baolin             Li                 AU                   Baolin              Li                 AU        Credit Card or Paypal   AUD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001482              7/31/2013   complete      Duncan             CHENG              AU                   Duncan              CHENG              AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001483              7/31/2013   complete      Chong              IEONG              FR                   Chong               IEONG              FR        Credit Card or Paypal   USD   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001484              7/31/2013   complete      Liang              Chen               AU                   Liang               Chen               AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001490              7/31/2013   complete      Tom                Chang              US                   Tom                 Chang              US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001491              7/31/2013   complete      Eric               Yim                US                   Che                 Yim                US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001494              7/31/2013   complete      PAUL               CHI                AU                   PAUL                CHI                AU        Credit Card or Paypal   AUD   m233                229            0      1         229    Warranty Period: 2 Year       Legacy Opencart Store
 100001502               8/1/2013   complete      Huipeng            Qiu                NZ                   Huipeng             Qiu                NZ        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001504               8/1/2013   complete      Jack               Woo                US                   Jack                Woo                US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001507               8/1/2013   complete      P                  Chen               ZA                   P                   Chen               ZA        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001508               8/1/2013   complete      Alan               Tom                US                   Alan                Tom                US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001511               8/2/2013   complete      Paul               Vong               US                   Paul                Vong               US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001516               8/3/2013   complete      kin yip            cheng              GB                   kin yip             cheng              GB        Credit Card or Paypal   GBP   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001518               8/3/2013   complete      ligun              chung-xie          AW                   ligun               chung-xie          AW        Credit Card or Paypal   USD   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001519               8/3/2013   complete      Janet              Hui                GB                   Janet               Hui                GB        Credit Card or Paypal   GBP   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001521               8/3/2013   complete      Allan              Cheng              AU                   Allan               Cheng              AU        Credit Card or Paypal   USD   m233              249.99           0      1       249.99   Warranty Period: 2 Year       Legacy Opencart Store
 100001521               8/3/2013   complete      Allan              Cheng              AU                   Allan               Cheng              AU        Credit Card or Paypal   USD   m233                220            0      1         220    Warranty Period: 1 Year       Legacy Opencart Store
 100001522               8/3/2013   canceled      liyan              pan                US                   liyan               pan                US        Credit Card or Paypal   USD   m233                   0           0      1            0   Warranty Period: 1 Year       Legacy Opencart Store
 100001523               8/4/2013   complete      Ian                Saunders           AU                   Ian                 Saunders           AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001524               8/4/2013   complete      AARON              WONG               GB                   AARON               WONG               GB        Credit Card or Paypal   GBP   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001526               8/4/2013   complete      Winnie             Lun                US                   Winnie              Lun                US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001532               8/4/2013   complete      Dan                Zhang              AU                   Dan                 Zhang              AU        Credit Card or Paypal   AUD   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001536               8/4/2013   complete      Jie                Chen               NL                   Jie                 Chen               NL        Credit Card or Paypal   EUR   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001541               8/5/2013   complete      Gary               Ng                 SG                   Gary                Ng                 SG        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001546               8/5/2013   complete      Yiqun              Mao                AU                   Yiqun               Mao                AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001547               8/5/2013   complete      Pui Hang           Ku                 AU                   Pui Hang            Ku                 AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001548               8/6/2013   complete      Hui                Ren                NL                   Hui                 Ren                NL        Credit Card or Paypal   EUR   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001549               8/6/2013   complete      Alice              HO                 KM                   Alice               HO                 KM        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001552               8/7/2013   complete      Yuan               Yuan               AU                   Yuan                Yuan               AU        Credit Card or Paypal   AUD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001554               8/7/2013   complete      Charles            Chan               US                   Charles             Chan               US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001557               8/7/2013   complete      fang               gao                CA                   fang                gao                CA        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001560               8/7/2013   complete      Fung Yee           Ho                 AU                   Fung Yee            Ho                 AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001561               8/7/2013   complete      Fung Yee           Ho                 AU                   Fung Yee            Ho                 AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001562               8/8/2013   complete      Bruno              Vuong              FR                   Bruno               Vuong              FR        Credit Card or Paypal   EUR   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001568               8/8/2013   complete      Amy                Ng                 ZA                   Amy                 Ng                 ZA        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001569               8/8/2013   complete      Lisa               Wong               US                   Lisa                Wong               US        Credit Card or Paypal   USD   m233              258.99           0      1       258.99   Warranty Period: 2 Year       Legacy Opencart Store
 100001573               8/9/2013   complete      Kham               Khamma             CH                   Kham                Khamma             CH        Credit Card or Paypal   USD   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001583               8/9/2013   complete      Chik Yin           So                 NZ                   Chik Yin            So                 NZ        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001584              8/10/2013   complete      Terence            Kwan               US                   Terence             Kwan               US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001585              8/10/2013   complete      Kiet               Nguyen             AU                   Van                 Nguyen             AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001587              8/10/2013   complete      Jack I             Lee                US                   Jack I              Lee                US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001589              8/10/2013   complete      Johnny             Wong               CA                   Johnny              Wong               CA        Credit Card or Paypal   CAD   m233                220            0      3         660    Warranty Period: 1 Year       Legacy Opencart Store
 100001590              8/10/2013   complete      Joyce              Chu                US                   Joyce               Chu                US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001591              8/10/2013   complete      hwa                lu                 US                   hwa                 lu                 US        Credit Card or Paypal   USD   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001593              8/11/2013   complete      Ryan               Cheng              AU                   Ryan                Cheng              AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001598              8/11/2013   complete      Wai                Tsang              GB                   Wai                 Tsang              GB        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001606              8/11/2013   complete      J.                 Taing              CA                   J.                  Taing              CA        Credit Card or Paypal   USD   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001610              8/11/2013   complete      Chi Pang           Yau                GB                   Chi Pang            Yau                GB        Credit Card or Paypal   GBP   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001612              8/11/2013   complete      hui fang           dong               US                   hui fang            dong               US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001612              8/11/2013   complete      hui fang           dong               US                   hui fang            dong               US        Credit Card or Paypal   USD   GameCtrler         29.99           0      1        29.99   Warranty Period: 3 Months     Legacy Opencart Store
 100001615              8/12/2013   complete      julie              duong              US                   julie               duong              US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001617              8/12/2013   complete      Hee                Lee                US                   Hee                 Lee                US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001618              8/12/2013   complete      Winnie             Jim                CA                   Winnie              Jim                CA        Credit Card or Paypal   CAD   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001620              8/12/2013   complete      tc                 chan               US                   tc                  chan               US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001631              8/13/2013   complete      Edward             Louey              AU                   Kee Tim             Ng                 AU        Credit Card or Paypal   AUD   m233                220            0      3         660    Warranty Period: 1 Year       Legacy Opencart Store
 100001633              8/13/2013   complete      Zhong Yuan         Liu                AU                   Zhong Yuan          Liu                AU        Credit Card or Paypal   AUD   m233                220            0      3         660    Warranty Period: 1 Year       Legacy Opencart Store
 100001635              8/13/2013   complete      Ka Chi             Ho                 GB                   Ka Chi              Ho                 GB        Credit Card or Paypal   GBP   m233                220            0      3         660    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001638              8/13/2013   complete      Tony               Chu                CA                   Tony                Chu                CA        Credit Card or Paypal   CAD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001639              8/13/2013   complete      Lisa               Wong               US                   Lisa                Wong               US        Credit Card or Paypal   USD   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001644              8/13/2013   canceled      Lin Fung           To                 IE                   Lin Fung            To                 IE        Credit Card or Paypal   EUR   m233                   0           0      1            0   Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001646              8/13/2013   complete      hui fang           dong               US                   hui fang            dong               US        Credit Card or Paypal   USD   GameCtrler         29.99           0      1        29.99   Warranty Period: 3 Months     Legacy Opencart Store
 100001649              8/14/2013   complete      jenny              lee                US                   jenny               lee                US        Credit Card or Paypal   USD   m233              258.99           0      1       258.99   Warranty Period: 2 Year       Legacy Opencart Store
 100001653              8/14/2013   complete      kam                so                 GB                   kam                 so                 GB        Credit Card or Paypal   GBP   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001655              8/14/2013   complete      TOM CHI TONG       CHOY               AU                   TOM CHI TONG        CHOY               AU        Credit Card or Paypal   USD   GameCtrler            27           0      2           54   Warranty Period: 3 Months     Legacy Opencart Store
 100001656              8/15/2013   complete      Kai                Liu                GB                   Kai                 Liu                GB        Credit Card or Paypal   GBP   m233                229            0      1         229    保: 1年保修（含）,                   Legacy Opencart Store
 100001656              8/15/2013   complete      Kai                Liu                GB                   Kai                 Liu                GB        Credit Card or Paypal   GBP   GameCtrler         29.99           0      1        29.99   Warranty Period: 3 Months     Legacy Opencart Store
 100001666              8/15/2013   complete      evita              yee                AU                   evita               yee                AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001667              8/15/2013   complete      Yuhua              Niu                US                   Yuhua               Niu                US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001668              8/16/2013   complete      Eric               Joe                NZ                   Eric                Joe                NZ        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001669              8/16/2013   canceled      Patrick            Chia               SG                   Patrick             Chia               SG        Credit Card or Paypal   USD   m233                   0           0      1            0   Warranty Period: 2 Year       Legacy Opencart Store
 100001672              8/16/2013   complete      Wing               Chieng             DK                   Wing                Chieng             DK        Credit Card or Paypal   USD   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001673              8/16/2013   complete      YEE TAI            LAM                SE                   YEE TAI             LAM                SE        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001674              8/16/2013   complete      Thanh              Tai thai           DK                   Thanh               Tai thai           DK        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001675              8/16/2013   complete      Rita               Ling               AU                   Rita                Ling               AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001676              8/16/2013   complete      Feng               Su                 NZ                   Feng                Su                 NZ        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001680              8/17/2013   complete      Tay Yong           Peng               MY                   Tay Yong            Peng               MY        Credit Card or Paypal   USD   m233                220            0      2         440    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001681              8/17/2013   complete      tc                 chan               US                   tc                  chan               US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001682              8/17/2013   complete      Jimmy              Kan                US                   Jimmy               Kan                US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001690              8/18/2013   complete      Kuo                Wong               GB                   Kuo                 Wong               GB        Credit Card or Paypal   GBP   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001693              8/18/2013   complete      Hung               Wong               US                   Hung                Wong               US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001694              8/18/2013   complete      Frank              Yan                AU                   Frank               Yan                AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001698              8/19/2013   complete      Wen                Yang               CA                   Wen                 Yang               CA        Credit Card or Paypal   CAD   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001698              8/19/2013   complete      Wen                Yang               CA                   Wen                 Yang               CA        Credit Card or Paypal   CAD   GameCtrler         29.99           0      1        29.99   Warranty Period: 3 Months     Legacy Opencart Store
 100001700              8/19/2013   complete      MA                 PAW YOUN Patrick   RE                   MA                  PAW YOUN Patrick   RE        Credit Card or Paypal   EUR   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001702              8/19/2013   complete      james              lee                DE                   james               lee                DE        Credit Card or Paypal   EUR   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001704              8/19/2013   complete      Jing               Li                 AU                   Jing                Li                 AU        Credit Card or Paypal   AUD   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001705              8/19/2013   complete      Anna               Thai               US                   Anna                Thai               US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001707              8/19/2013   complete      Kong Thai          Chan               AU                   Kong Thai           Chan               AU        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001709              8/19/2013   complete      sangwook           kim                CA                   sangwook            kim                CA        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001709              8/19/2013   complete      sangwook           kim                CA                   sangwook            kim                CA        Credit Card or Paypal   USD   GameCtrler         29.99           0      1        29.99   Warranty Period: 3 Months     Legacy Opencart Store
 100001711              8/19/2013   complete      Cindy              Lin                US                   Cindy               Lin                US        Credit Card or Paypal   USD   m233                220            0      2         440    Warranty Period: 1 Year       Legacy Opencart Store
 100001712              8/20/2013   complete      Siew               Lim                GB                   Siew                Lim                GB        Credit Card or Paypal   GBP   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001712              8/20/2013   complete      Siew               Lim                GB                   Siew                Lim                GB        Credit Card or Paypal   GBP   GameCtrler         29.99           0      1        29.99   Warranty Period: 3 Months     Legacy Opencart Store
 100001713              8/20/2013   complete      Chui Shan          Chan               GB                   Darren              Naylor             GB        Credit Card or Paypal   GBP   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001715              8/20/2013   complete      Quang              TRANG              FR                   Quang               TRANG              FR        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001716              8/20/2013   complete      sie ale an         tang               BE                   sie ale an          tang               BE        Credit Card or Paypal   EUR   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001717              8/20/2013   complete      KK                 Man                NL                   KK                  Man                NL        Credit Card or Paypal   EUR   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001719              8/20/2013   complete      Ching              Tsang              US                   Ching               Tsang              US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001721              8/21/2013   complete      PAUL               CHAN               US                   PAUL                CHAN               US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001722              8/21/2013   complete      yu cheng           chou               US                   yu cheng            chou               US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001723              8/21/2013   complete      Jane               Hardy              US                   Jane                Hardy              US        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty Period: 1 Year       Legacy Opencart Store
 100001725              8/21/2013   complete      Michelle           HO CHOU YEE        GF                   Michelle            CHEUNG             FR        Credit Card or Paypal   USD   m233                229            0      1         229    Warranty: 1 Year Warranty (   Legacy Opencart Store




                                                                                                                                                                                                                                                                                     EXHIBIT 2
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                                   #:20418
 100001726      8/21/2013   complete   Kit                        Sheung            AU   Kit                        Sheung            AU   Credit Card or Paypal   AUD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001730      8/21/2013   complete   Young-Jin                  Chung             CA   Young-Jin                  Chung             CA   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001732      8/22/2013   complete   Walter                     Kling             NL   Walter                     Kling             NL   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001734      8/22/2013   complete   Clement                    Lee               TW   Clement                    Lee               TW   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001736      8/22/2013   complete   KIN CHUNG                  WONG              AU   Susan                      Wan               AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001737      8/22/2013   complete   Irene                      Tang              IE   Irene                      Tang              IE   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001743      8/22/2013   complete   Tracy                      Luong             GB   Tracy                      Luong             GB   Credit Card or Paypal   GBP   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001745      8/22/2013   complete   Sung Jin                   Lim               AU   Sung Jin                   Lim               AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001746      8/23/2013   complete   Ron                        He                US   Ron                        He                US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001747      8/24/2013   complete   Jonathan                   Chirk             FR   Jonathan                   Chirk             FR   Credit Card or Paypal   EUR   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001748      8/24/2013   complete   dusanh                     Huynh             SE   dusanh                     Huynh             SE   Credit Card or Paypal   USD   m233             220     0    2     440    Warranty Period: 1 Year       Legacy Opencart Store
 100001749      8/24/2013   complete   Seung Yeon                 Park              SG   Seung Yeon                 Park              SG   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001750      8/24/2013   complete   Suzanne                    Tsang             GB   Suzanne                    Tsang             GB   Credit Card or Paypal   GBP   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001752      8/24/2013   complete   Jacky                      Lee               AU   Jacky                      Lee               AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001753      8/25/2013   complete   Binh                       Tong              GB   Binh                       Tong              GB   Credit Card or Paypal   GBP   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001754      8/25/2013   complete   Yu                         Bi                US   Yu                         Bi                US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001755      8/25/2013   complete   Yong                       Choi              CL   Yong                       Choi              CL   Credit Card or Paypal   USD   m233             220     0    2     440    Warranty Period: 1 Year       Legacy Opencart Store
 100001756      8/25/2013   complete   Vi                         Luong             FI   Vi                         Luong             FI   Credit Card or Paypal   EUR   m233             220     0    2     440    Warranty Period: 1 Year       Legacy Opencart Store
 100001760      8/25/2013   complete   David                      Ho                GB   David                      Ho                GB   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001762      8/25/2013   complete   Andrew                     Mui               CA   Andrew                     Mui               CA   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001766      8/25/2013   canceled   Danny                      Lo                CA   Danny                      Lo                CA   Credit Card or Paypal   CAD   m233                0    0    1        0   Warranty Period: 1 Year       Legacy Opencart Store
 100001767      8/25/2013   complete   xiaowei                    wang              AU   xiaowei                    wang              AU   Credit Card or Paypal   AUD   m233             220     0    2     440    Warranty Period: 1 Year       Legacy Opencart Store
 100001768      8/26/2013   complete   Woo Suk                    Bae               AU   Woo Suk                    Bae               AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001772      8/26/2013   complete   maxime                     tran              FR   maxime                     tran              FR   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001778      8/26/2013   complete   kelen                      alim              AU   kelen                      alim              AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001779      8/26/2013   complete   BI                         LIANG             AU   BI                         LIANG             AU   Credit Card or Paypal   AUD   m233             229     0    1     229    保: 1年保修（含）,                   Legacy Opencart Store
 100001780      8/26/2013   complete   Ma Kiu                     Lee               GB   Ma Kiu                     Lee               GB   Credit Card or Paypal   GBP   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001782      8/26/2013   complete   Cindy                      Ku                US   Cindy                      Ku                US   Credit Card or Paypal   USD   m233           258.99    0    1   258.99   Warranty Period: 2 Year       Legacy Opencart Store
 100001782      8/26/2013   complete   Cindy                      Ku                US   Cindy                      Ku                US   Credit Card or Paypal   USD   GameCtrler         27    0    2       54   Warranty Period: 3 Months     Legacy Opencart Store
 100001783      8/26/2013   complete   Ling                       Zong              CA   Ling                       Zong              CA   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001784      8/26/2013   complete   Yixian                     Pu                US   Yixian                     Pu                US   Credit Card or Paypal   USD   m233             229     0    1     229    保: 1年保修（含）,                   Legacy Opencart Store
 100001785      8/26/2013   complete   Mark                       Lei               US   Mark                       Lei               US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001792      8/26/2013   complete   Jun hyung                  Cho               CA   Jun hyung                  Cho               CA   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001799      8/27/2013   complete   DONGCHAN                   LEE               SG   DONGCHAN                   LEE               SG   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001800      8/27/2013   complete   Yee Tai                    Lam               SE   Yee Tai                    Lam               SE   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001801      8/27/2013   complete   Hwan                       Lee               US   Hwan                       Lee               US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001802      8/27/2013   complete   William                    Wong              GB   William                    Wong              GB   Credit Card or Paypal   GBP   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001803      8/27/2013   complete   Joanne                     Yue               HK   Joanne                     Yue               HK   Credit Card or Paypal   USD   m233           249.99    0    2   499.98   Warranty Period: 2 Year       Legacy Opencart Store
 100001805      8/28/2013   complete   Ninh                       Trinh             GB   Ninh                       Trinh             GB   Credit Card or Paypal   USD   m233             220     0    2     440    Warranty Period: 1 Year       Legacy Opencart Store
 100001808      8/28/2013   complete   Jonathan                   Louie             CA   Jonathan                   Louie             CA   Credit Card or Paypal   CAD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001810      8/28/2013   complete   zhui                       zheng             US   zhui                       zheng             US   Credit Card or Paypal   USD   m233             220     0    2     440    Warranty Period: 1 Year       Legacy Opencart Store
 100001815      8/28/2013   complete   Man                        Li                AU   Man                        Li                AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001815      8/28/2013   complete   Man                        Li                AU   Man                        Li                AU   Credit Card or Paypal   USD   GameCtrler      29.99    0    1    29.99   Warranty Period: 3 Months     Legacy Opencart Store
 100001816      8/29/2013   complete   Sing Hung                  Cheng             AU   Sing Hung                  Cheng             AU   Credit Card or Paypal   AUD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001817      8/29/2013   complete   christine                  mak               US   christine                  mak               US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001819      8/29/2013   complete   Kevin                      Cheung            US   Kevin                      Cheung            US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001819      8/29/2013   complete   Kevin                      Cheung            US   Kevin                      Cheung            US   Credit Card or Paypal   USD   GameCtrler      29.99    0    1    29.99   Warranty Period: 3 Months     Legacy Opencart Store
 100001822      8/29/2013   complete   Lisa                       Thai              AU   Lisa                       Thai              AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001823      8/29/2013   complete   Wanlan                     Xiao              US   Wanlan                     Xiao              US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001824      8/30/2013   complete   Valentin                   KAO               FR   Valentin                   KAO               FR   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001825      8/30/2013   complete   alex                       ma                US   alex                       ma                US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001827      8/30/2013   complete   Guo Ying                   Huang             US   Guo Ying                   Huang             US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001831      8/31/2013   complete   Martin                     Mok               US   Martin                     Mok               US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001832      8/31/2013   complete   eric                       chin              AU   eric                       chin              AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001832      8/31/2013   complete   eric                       chin              AU   eric                       chin              AU   Credit Card or Paypal   USD   GameCtrler      29.99    0    1    29.99   Warranty Period: 3 Months     Legacy Opencart Store
 100001833       9/1/2013   complete   Steven                     Chow              US   Steven                     Chow              US   Credit Card or Paypal   USD   m233             220     0    2     440    Warranty Period: 1 Year       Legacy Opencart Store
 100001834     10/15/2013   complete   Gerlinde                   Cheung            AT   Gerlinde                   Cheung            AT   Credit Card or Paypal   EUR   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001835       9/1/2013   complete   Son                        Ly                US   Son                        Ly                US   Credit Card or Paypal   USD   GameCtrler         27    0    2       54   Warranty Period: 3 Months     Legacy Opencart Store
 100001835       9/1/2013   complete   Son                        Ly                US   Son                        Ly                US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001837       9/2/2013   complete   cam                        tran              GB   cam                        tran              GB   Credit Card or Paypal   GBP   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001838       9/2/2013   complete   Li                         Xue               NL   Li                         Xue               NL   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001840       9/2/2013   complete   Quang                      Trang             FR   Quang                      Trang             FR   Credit Card or Paypal   USD   m233             220     0    2     440    Warranty Period: 1 Year       Legacy Opencart Store
 100001848       9/2/2013   complete   Rainer                     Han               US   Rainer                     Han               US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001851       9/2/2013   canceled   Arnold                     Wilson            US   Arnold                     Wilson            US   Credit Card or Paypal   USD   m233                0    0   10        0   Warranty Period: 1 Year       Legacy Opencart Store
 100001852       9/3/2013   complete   Anders                     Luk               US   Anders                     Luk               US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001859       9/3/2013   complete   Janet                      Li                US   Janet                      Li                US   Credit Card or Paypal   USD   GameCtrler      29.99    0    1    29.99   Warranty Period: 3 Months     Legacy Opencart Store
 100001859       9/3/2013   complete   Janet                      Li                US   Janet                      Li                US   Credit Card or Paypal   USD   m233           258.99    0    1   258.99   Warranty Period: 2 Year       Legacy Opencart Store
 100001861       9/4/2013   complete   richard                    tang              GB   richard                    tang              GB   Credit Card or Paypal   GBP   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001862       9/4/2013   complete   Francis                    FOCK-SI-MING      FR   Francis                    FOCK-SI-MING      FR   Credit Card or Paypal   EUR   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001863       9/4/2013   complete   Jackie                     Ho                GB   Jackie                     Ho                GB   Credit Card or Paypal   GBP   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001863       9/4/2013   complete   Jackie                     Ho                GB   Jackie                     Ho                GB   Credit Card or Paypal   GBP   GameCtrler      29.99    0    1    29.99   Warranty Period: 3 Months     Legacy Opencart Store
 100001867       9/4/2013   complete   Benny                      Wong              US   Benny                      Wong              US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001869       9/5/2013   complete   jason                      wong              NZ   jason                      wong              NZ   Credit Card or Paypal   USD   m233             220     0    2     440    Warranty Period: 1 Year       Legacy Opencart Store
 100001872       9/5/2013   complete   Ai                         TA                GB   ON YIN                     LUNG              BE   Credit Card or Paypal   GBP   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001874       9/5/2013   complete   SUNG                       HUR               US   SEAN                       HUR               US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001875       9/6/2013   complete   Phong                      Truong            US   Phong                      Truong            US   Credit Card or Paypal   USD   m233             220     0    3     660    Warranty Period: 1 Year       Legacy Opencart Store
 100001878       9/6/2013   complete   Jia                        Guo               GB   Yuan                       Huang             GB   Credit Card or Paypal   GBP   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001879       9/6/2013   complete   Yan                        Yang              AU   Yan                        Yang              AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001881       9/7/2013   complete   youngjoo                   lee               GB   youngjoo                   lee               GB   Credit Card or Paypal   GBP   m233             220     0    5    1100    Warranty Period: 1 Year       Legacy Opencart Store
 100001882       9/7/2013   complete   Junliang                   Wang              AU   Junliang                   Wang              AU   Credit Card or Paypal   AUD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001883       9/7/2013   complete   Lily                       Wong              US   Ben                        Tung              US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001884       9/7/2013   complete   Cori                       Hyung             SG   Ok Hee                     Kim               KR   Credit Card or Paypal   USD   m233             220     0    2     440    Warranty Period: 1 Year       Legacy Opencart Store
 100001889       9/8/2013   complete   Alphonso                   Ng                CA   Charn Fong                 Sue               NZ   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001893       9/8/2013   complete   Chi-Vinh                   NGUY              FR   Chi-Vinh                   NGUY              FR   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001899       9/8/2013   complete   Ivy                        Huang             CA   Ivy                        Huang             CA   Credit Card or Paypal   CAD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001900       9/9/2013   complete   Gary Liu (Perfect Specs)   Liu               AU   Gary Liu (Perfect Specs)   Liu               AU   Credit Card or Paypal   USD   m233             229     0    1     229    保: 1年保修（含）,                   Legacy Opencart Store
 100001901       9/9/2013   complete   Ding Yuan                  Cao               AU   Ding Yuan                  Cao               AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001903       9/9/2013   complete   phung                      matthieu          FR   phung                      matthieu          FR   Credit Card or Paypal   EUR   m233             220     0    2     440    Warranty Period: 1 Year       Legacy Opencart Store
 100001905       9/9/2013   complete   THOMAS                     CHEUNG            GB   THOMAS                     CHEUNG            GB   Credit Card or Paypal   GBP   m233             220     0    2     440    Warranty Period: 1 Year       Legacy Opencart Store
 100001906       9/9/2013   complete   alan                       lee               US   alan                       lee               US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001907       9/9/2013   complete   kwok man                   fung              GB   kwok man                   fung              GB   Credit Card or Paypal   GBP   m233             220     0    2     440    Warranty Period: 1 Year       Legacy Opencart Store
 100001908       9/9/2013   complete   Zirong                     Yu                US   Zirong                     Yu                US   Credit Card or Paypal   USD   m233             229     0    1     229    保: 1年保修（含）,                   Legacy Opencart Store
 100001910       9/9/2013   complete   Foon Kit                   Yuen              US   Foon Kit                   Yuen              US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001911       9/9/2013   complete   kenny                      shin              US   kenny                      shin              US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001912      9/10/2013   complete   Mark                       Lee               US   Mark                       Lee               US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001913      9/10/2013   complete   Ivy                        Huang             CA   Ivy                        Huang             CA   Credit Card or Paypal   CAD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001914      9/10/2013   complete   TU                         DANIEL            FR   TU                         DANIEL            FR   Credit Card or Paypal   EUR   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001918      9/10/2013   complete   Warren                     Tsang             GB   Warren                     Tsang             GB   Credit Card or Paypal   GBP   m233             220     0    2     440    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001919      9/10/2013   complete   YI LIN                     LI                US   YI LIN                     LI                US   Credit Card or Paypal   USD   m233             220     0    3     660    Warranty Period: 1 Year       Legacy Opencart Store
 100001923      9/11/2013   complete   Fengjing                   Mao               AU   Fengjing                   Mao               AU   Credit Card or Paypal   AUD   m233             229     0    1     229    Warranty Period: 2 Year       Legacy Opencart Store
 100001925      9/11/2013   complete   Gavin                      Wong              GB   Gavin                      Wong              GB   Credit Card or Paypal   GBP   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001926      9/11/2013   complete   Quan                       Hoang             US   Quan                       Hoang             US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001928      9/11/2013   complete   Jack                       Liu               US   Ben                        Liu               US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001930      9/12/2013   complete   zhenzu                     hu                US   John                       Hu                US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001931      9/12/2013   complete   Matthew                    Wong              GB   Matthew                    Wong              GB   Credit Card or Paypal   GBP   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001932      9/12/2013   complete   Hock Chye                  Ching             KY   Hock Chye                  Ching             KY   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001933      9/12/2013   complete   Yongqian                   Wang              US   Yongqian                   Wang              US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001935      9/13/2013   complete   Simon                      Truong            AU   Simon                      Truong            AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001938      9/13/2013   complete   Siew                       Lim               GB   Siew                       Lim               GB   Credit Card or Paypal   GBP   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001939      9/13/2013   complete   paul                       lai               AU   paul                       lai               AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001940      9/14/2013   complete   R                          Mak               NL   R                          Mak               NL   Credit Card or Paypal   EUR   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001942      9/14/2013   complete   Jacky                      Wu                GB   Jacky                      Wu                GB   Credit Card or Paypal   GBP   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001944      9/14/2013   complete   Jordan                     Yuen              AU   Jordan                     Yuen              AU   Credit Card or Paypal   USD   m233             220     0    2     440    Warranty Period: 1 Year       Legacy Opencart Store
 100001945      9/14/2013   complete   Le Van                     Dam               NZ   Le Van                     Dam               NZ   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001951      9/15/2013   complete   Chan Sik Wo                Marie Gabrielle   RE   Chan Sik Wo                Marie Gabrielle   RE   Credit Card or Paypal   EUR   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001952      9/15/2013   complete   Zhong Yuan                 Liu               AU   Zhong Yuan                 Liu               AU   Credit Card or Paypal   AUD   m233             220     0    2     440    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001954      9/15/2013   complete   Carol                      Wong              GB   Carol                      Wong              GB   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001956      9/16/2013   complete   Wan Chin                   Yeoh              AU   Wan Chin                   Yeoh              AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001958      9/16/2013   complete   Colin                      Lam               GB   Colin                      Lam               GB   Credit Card or Paypal   GBP   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001960      9/16/2013   complete   wonhee                     park              AU   wonhee                     park              AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001960      9/16/2013   complete   wonhee                     park              AU   wonhee                     park              AU   Credit Card or Paypal   USD   GameCtrler      29.99    0    1    29.99   Warranty Period: 3 Months     Legacy Opencart Store
 100001961      9/16/2013   complete   Thomas                     Ching             AU   Thomas                     Ching             AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001962      9/16/2013   complete   Li-Ting                    Chen              US   Li-Ting                    Chen              US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001962      9/16/2013   complete   Li-Ting                    Chen              US   Li-Ting                    Chen              US   Credit Card or Paypal   USD   GameCtrler      29.99    0    1    29.99   Warranty Period: 3 Months     Legacy Opencart Store
 100001966      9/16/2013   complete   Melissa                    Foo               AU   Melissa                    Foo               AU   Credit Card or Paypal   AUD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001967      9/16/2013   complete   Weiwei                     Li                NZ   Weiwei                     Li                NZ   Credit Card or Paypal   AUD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001968      9/17/2013   complete   James                      Jeong             SG   James                      Jeong             SG   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001970      9/17/2013   complete   Iris                       Ying              AU   Iris                       Ying              AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty: 1 Year Warranty (   Legacy Opencart Store
 100001972      9/17/2013   complete   sang kyu                   ahn               CL   sang kyu                   ahn               CL   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001974      9/17/2013   complete   Dave                       Cho               CA   Dave                       Cho               CA   Credit Card or Paypal   CAD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001975      9/17/2013   complete   MAK                        ALEX              FR   ASUS FRANCE                MAK ALEX          FR   Credit Card or Paypal   EUR   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001976      9/17/2013   complete   Ray                        Son               US   Ray                        Son               US   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
 100001979      9/17/2013   complete   wei min                    yu                CA   wei min                    yu                CA   Credit Card or Paypal   USD   m233             220     0    2     440    Warranty Period: 1 Year       Legacy Opencart Store
 100001979      9/17/2013   complete   wei min                    yu                CA   wei min                    yu                CA   Credit Card or Paypal   USD   GameCtrler      29.99    0    1    29.99   Warranty Period: 3 Months     Legacy Opencart Store
TVP-13091013    9/18/2013   complete   CHUN                       CHUN              US   CHUN                       CHUN              US   authorizenet            USD   TVPAD-001        220     0    2     440    Warranty Period: 1 Year       TV Pad Website - TV Pad Store - English
TVP-13091013    9/18/2013   complete   CHUN                       CHUN              US   CHUN                       CHUN              US   authorizenet            USD   TVPAD-GM-001        0    0    2        0                                 TV Pad Website - TV Pad Store - English
 100001981      9/18/2013   complete   WenWen                     Miao              AU   WenWen                     Miao              AU   Credit Card or Paypal   USD   m233             229     0    1     229    Warranty Period: 1 Year       Legacy Opencart Store
TVP-13091014    9/18/2013   complete   Jin                        Gee               US   Jin                        Gee               US   authorizenet            USD   TVPAD-001        229     0    1     229    Warranty Period: 1 Year       TV Pad Website - TV Pad Store - English
TVP-13091014    9/18/2013   complete   Jin                        Gee               US   Jin                        Gee               US   authorizenet            USD   TVPAD-GM-001        0    0    1        0                                 TV Pad Website - TV Pad Store - English
TVP-13091015    9/18/2013   complete   Wilson                     Hui               CA   Wilson                     Hui               CA   authorizenet            CAD   TVPAD-001        229     0    1     229    Warranty Period: 1 Year       TV Pad Website - TV Pad Store - English
TVP-13091015    9/18/2013   complete   Wilson                     Hui               CA   Wilson                     Hui               CA   authorizenet            CAD   TVPAD-GM-001        0    0    1        0                                 TV Pad Website - TV Pad Store - English
TVP-13091016    9/18/2013   complete   Yee                        Wong              NL   Yee                        Wong              NL   authorizenet            EUR   TVPAD-001        229     0    1     229    Warranty Period: 1 Year       TV Pad Website - TV Pad Store - English
TVP-13091016    9/18/2013   complete   Yee                        Wong              NL   Yee                        Wong              NL   authorizenet            EUR   TVPAD-GM-001        0    0    1        0                                 TV Pad Website - TV Pad Store - English
TVP-13091017    9/19/2013   complete   Fung                       Lam               CA   Fung                       Lam               CA   authorizenet            USD   TVPAD-001        229     0    1     229    Warranty Period: 1 Year       TV Pad Website - TV Pad Store - English
TVP-13091017    9/19/2013   complete   Fung                       Lam               CA   Fung                       Lam               CA   authorizenet            USD   TVPAD-GM-001        0    0    1        0                                 TV Pad Website - TV Pad Store - English
TVP-13091018    9/18/2013   complete   Chai                       Chiu              US   Chai                       Chiu              US   paypal_standard         USD   TVPAD-001        229     0    1     229    Warranty Period: 1 Year       TV Pad Website - TV Pad Store - English
TVP-13091018    9/18/2013   complete   Chai                       Chiu              US   Chai                       Chiu              US   paypal_standard         USD   TVPAD-GM-001        0    0    1        0                                 TV Pad Website - TV Pad Store - English
TVP-13091019    9/19/2013   complete   Gia                        Tang              AT   Gia                        Tang              AT   authorizenet            EUR   TVPAD-001        229     0    1     229    Warranty Period: 1 Year       TV Pad Website - TV Pad Store - English
TVP-13091019    9/19/2013   complete   Gia                        Tang              AT   Gia                        Tang              AT   authorizenet            EUR   TVPAD-GM-001        0    0    1        0                                 TV Pad Website - TV Pad Store - English
TVP-13091020    9/19/2013   complete   Nicholas                   Soo Yam           US   Nicholas                   Yam               US   paypal_standard         USD   TVPAD-001        229     5    1     224    Warranty Period: 1 Year       TV Pad Website - TV Pad Store - English
TVP-13091020    9/19/2013   complete   Nicholas                   Soo Yam           US   Nicholas                   Yam               US   paypal_standard         USD   TVPAD-GM-001        0    0    1        0                                 TV Pad Website - TV Pad Store - English
TVP-13091021    9/20/2013   complete   Dawn                       Liu               US   Dawn                       Liu               US   authorizenet            USD   TVPAD-001        229     0    1     229    Warranty Period: 1 Year       TV Pad Website - TV Pad Store - English
TVP-13091021    9/20/2013   complete   Dawn                       Liu               US   Dawn                       Liu               US   authorizenet            USD   TVPAD-GM-001        0    0    1        0                                 TV Pad Website - TV Pad Store - English
TVP-13091022    9/20/2013   complete   Eric                       Teoh              US   Eric                       Teoh              US   authorizenet            USD   TVPAD-002        258     0    1     258    Warranty Period: 2 Year       TV Pad Website - TV Pad Store - English
TVP-13091022    9/20/2013   complete   Eric                       Teoh              US   Eric                       Teoh              US   authorizenet            USD   TVPAD-GM-001        0    0    1        0                                 TV Pad Website - TV Pad Store - English
TVP-13091023    9/20/2013   complete   Edward                     Leung             CA   Edward                     Leung             CA   paypal_standard         USD   TVPAD-001        229    10    1     219    Warranty Period: 1 Year       TV Pad Website - TV Pad Store - English
TVP-13091023    9/20/2013   complete   Edward                     Leung             CA   Edward                     Leung             CA   paypal_standard         USD   TVPAD-GM-001        0    0    1        0                                 TV Pad Website - TV Pad Store - English
TVP-70011010    9/21/2013   complete   miao                       jing              CH   miao                       jing              CH   authorizenet            USD   TVPAD-001        220     0    2     440    保修期: 1年保修（含）,                 TV Pad Website - TV Pad Store - Chinese
TVP-70011010    9/21/2013   complete   miao                       jing              CH   miao                       jing              CH   authorizenet            USD   TVPAD-GM-001        0    0    2        0                                 TV Pad Website - TV Pad Store - Chinese
TVP-13091024    9/21/2013   complete   alan                       cheung            AU   alan                       cheung            AU   authorizenet            USD   TVPAD-AC-001    15.99    0    1    15.99                                 TV Pad Website - TV Pad Store - English
TVP-13091025    9/21/2013   complete   Panda                      PANYANOUVONG      AU   Panda                      panyanouvong      AU   authorizenet            AUD   TVPAD-001        229     0    1     229    Warranty Period: 1 Year       TV Pad Website - TV Pad Store - English
TVP-13091025    9/21/2013   complete   Panda                      PANYANOUVONG      AU   Panda                      panyanouvong      AU   authorizenet            AUD   TVPAD-GM-001        0    0    1        0                                 TV Pad Website - TV Pad Store - English
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TVP-13091027   9/21/2013   complete   Evelyne     LAM         FR   Evelyne    LAM         FR   paypal_standard   EUR   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091029   9/22/2013   complete   Yun         Son         US   Yun        Son         US   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091029   9/22/2013   complete   Yun         Son         US   Yun        Son         US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091028   9/22/2013   complete   Jun hyung   Cho         CA   Jun        Cho         CA   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091028   9/22/2013   complete   Jun hyung   Cho         CA   Jun        Cho         CA   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091030   9/22/2013   complete   Ling        Ngai        AU   Ling       Ngai        AU   paypal_standard   AUD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091030   9/22/2013   complete   Ling        Ngai        AU   Ling       Ngai        AU   paypal_standard   AUD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091031   9/22/2013   complete   Alex        Lau         US   Alex       Lau         US   paypal_standard   USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091031   9/22/2013   complete   Alex        Lau         US   Alex       Lau         US   paypal_standard   USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091032   9/23/2013   complete   Sally       Chan        GB   Sally      Chan        GB   paypal_standard   USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091032   9/23/2013   complete   Sally       Chan        GB   Sally      Chan        GB   paypal_standard   USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091033   9/23/2013   complete   Colin       Lam         GB   Colin      Lam         GB   authorizenet      GBP   TVPAD-001       220     5   2    435    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091034   9/23/2013   complete   Hai         Huang       AU   Hai        Huang       AU   authorizenet      USD   TVPAD-001       220     0   2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091034   9/23/2013   complete   Hai         Huang       AU   Hai        Huang       AU   authorizenet      USD   TVPAD-GM-001       0    0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13091035   9/23/2013   complete   Ted         Hong        US   Ted        Hong        US   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091035   9/23/2013   complete   Ted         Hong        US   Ted        Hong        US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091037   9/23/2013   complete   Wei         Chen        PA   Wei        Ceng        PA   paypal_standard   USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091037   9/23/2013   complete   Wei         Chen        PA   Wei        Ceng        PA   paypal_standard   USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091038   9/23/2013   complete   Laurie      Lau         US   Laurie     Lau         US   authorizenet      USD   TVPAD-001       229     5   1    224    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091038   9/23/2013   complete   Laurie      Lau         US   Laurie     Lau         US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091038   9/23/2013   complete   Laurie      Lau         US   Laurie     Lau         US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091040   9/23/2013   complete   rong        lu          US   rong       lu          US   authorizenet      USD   TVPAD-001       220     0   2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091040   9/23/2013   complete   rong        lu          US   rong       lu          US   authorizenet      USD   TVPAD-GM-001       0    0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13091041   9/23/2013   closed     Calvin      Wan         US   Calvin     Wan         US   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091041   9/23/2013   closed     Calvin      Wan         US   Calvin     Wan         US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091042   9/23/2013   complete   Cate        Lee         AU   Cate       Lee         AU   authorizenet      USD   TVPAD-AC-001   15.99    0   2   31.98                             TV Pad Website - TV Pad Store - English
TVP-13091042   9/23/2013   complete   Cate        Lee         AU   Cate       Lee         AU   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091042   9/23/2013   complete   Cate        Lee         AU   Cate       Lee         AU   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091043   9/23/2013   complete   Jeanus      Ko          US   Jeanus     Ko          US   paypal_standard   USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091043   9/23/2013   complete   Jeanus      Ko          US   Jeanus     Ko          US   paypal_standard   USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091044   9/24/2013   complete   Jason       Wang        US   Jason      Wang        US   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091044   9/24/2013   complete   Jason       Wang        US   Jason      Wang        US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091045   9/24/2013   complete   James       Lai         US   James      Lai         US   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091045   9/24/2013   complete   James       Lai         US   James      Lai         US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091047   9/24/2013   complete   Stephen     Pong        US   Stephen    Pong        US   authorizenet      USD   TVPAD-001       229     5   1    224    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091047   9/24/2013   complete   Stephen     Pong        US   Stephen    Pong        US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091048   9/24/2013   complete   Yue         Hong        US   Yue        Hong        US   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091048   9/24/2013   complete   Yue         Hong        US   Yue        Hong        US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091049   9/24/2013   complete   Sooi        Wong        NZ   Sooi       Wong        NZ   authorizenet      USD   TVPAD-001       220     0   2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091049   9/24/2013   complete   Sooi        Wong        NZ   Sooi       Wong        NZ   authorizenet      USD   TVPAD-GM-001       0    0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13091050   9/24/2013   complete   Zheyu       Zhou        US   Zheyu      Zhou        US   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091050   9/24/2013   complete   Zheyu       Zhou        US   Zheyu      Zhou        US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091051   9/24/2013   complete   Un          Laux        US   Un         Laux        US   authorizenet      USD   WRNTY-001         29    0   1      29                             TV Pad Website - TV Pad Store - English
TVP-13091051   9/24/2013   complete   Un          Laux        US   Un         Laux        US   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091051   9/24/2013   complete   Un          Laux        US   Un         Laux        US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091053   9/24/2013   complete   Johnny      Liu         US   Johnny     Liu         US   paypal_standard   USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091053   9/24/2013   complete   Johnny      Liu         US   Johnny     Liu         US   paypal_standard   USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091054   9/24/2013   complete   Guo         Feng        US   Guo        Feng        US   authorizenet      USD   TVPAD-001       220     0   2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091054   9/24/2013   complete   Guo         Feng        US   Guo        Feng        US   authorizenet      USD   TVPAD-GM-001       0    0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13091056   9/24/2013   complete   Dillon      Chan        GB   Dillon     Chan        GB   paypal_standard   GBP   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091056   9/24/2013   complete   Dillon      Chan        GB   Dillon     Chan        GB   paypal_standard   GBP   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091057   9/24/2013   complete   Simon       Moy         NZ   Simon      Moy         NZ   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091057   9/24/2013   complete   Simon       Moy         NZ   Simon      Moy         NZ   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091058   9/24/2013   complete   arnaud      lam         GB   arnaud     lam         GB   paypal_standard   GBP   TVPAD-001       229     5   1    224    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091058   9/24/2013   complete   arnaud      lam         GB   arnaud     lam         GB   paypal_standard   GBP   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091059   9/25/2013   complete   Jacky       TRANG       FR   Jacky      TRANG       FR   authorizenet      EUR   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091059   9/25/2013   complete   Jacky       TRANG       FR   Jacky      TRANG       FR   authorizenet      EUR   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091060   9/25/2013   complete   lang        luu         FR   lang       luu         FR   authorizenet      USD   TVPAD-001       220     0   2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091060   9/25/2013   complete   lang        luu         FR   lang       luu         FR   authorizenet      USD   TVPAD-GM-001       0    0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13091061   9/25/2013   complete   roland      kaye        FR   roland     kaye        FR   paypal_standard   EUR   TVPAD-001       258     0   1    258    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13091061   9/25/2013   complete   roland      kaye        FR   roland     kaye        FR   paypal_standard   EUR   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-70011011   9/25/2013   complete   fenge       zhen        GB   fenge      zhen        GB   authorizenet      GBP   TVPAD-GM-001      29    0   1      29                             TV Pad Website - TV Pad Store - Chinese
TVP-70011011   9/25/2013   complete   fenge       zhen        GB   fenge      zhen        GB   authorizenet      GBP   TVPAD-001       229     0   1    229    保修期: 1年保修（含）,             TV Pad Website - TV Pad Store - Chinese
TVP-70011011   9/25/2013   complete   fenge       zhen        GB   fenge      zhen        GB   authorizenet      GBP   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - Chinese
TVP-13091062   9/26/2013   complete   Rongmin     Qin         GB   Rongmin    Qin         GB   authorizenet      GBP   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091062   9/26/2013   complete   Rongmin     Qin         GB   Rongmin    Qin         GB   authorizenet      GBP   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091064   9/26/2013   complete   Sung        CHOI        AU   Sung       CHOI        AU   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091064   9/26/2013   complete   Sung        CHOI        AU   Sung       CHOI        AU   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-70011012   9/27/2013   complete   Mei         Tang        GB   Mei        Tang        GB   authorizenet      GBP   TVPAD-002       258     0   1    258    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - Chinese
TVP-70011012   9/27/2013   complete   Mei         Tang        GB   Mei        Tang        GB   authorizenet      GBP   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - Chinese
TVP-70011013   9/27/2013   complete   Yini        Liang       GB   Yini       Liang       GB   authorizenet      GBP   TVPAD-003       309     0   1    309    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - Chinese
TVP-70011013   9/27/2013   complete   Yini        Liang       GB   Yini       Liang       GB   authorizenet      GBP   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - Chinese
TVP-13091065   9/27/2013   complete   Chun        Lam         AU   Chun       Lam         AU   authorizenet      AUD   TVPAD-002       258     0   1    258    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13091065   9/27/2013   complete   Chun        Lam         AU   Chun       Lam         AU   authorizenet      AUD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091066   9/27/2013   complete   Yijie       Wang        AU   Lisa       Wang        AU   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091066   9/27/2013   complete   Yijie       Wang        AU   Lisa       Wang        AU   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091068   9/27/2013   complete   LI          FA          GF   LI         CARLOS      GF   paypal_standard   EUR   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091069   9/27/2013   complete   Jack        Wang        AU   Jack       Wang        AU   authorizenet      AUD   TVPAD-001       220     0   2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091069   9/27/2013   complete   Jack        Wang        AU   Jack       Wang        AU   authorizenet      AUD   TVPAD-GM-001       0    0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13091070   9/28/2013   complete   Tang        Irene       IE   Irene      Tang        IE   authorizenet      EUR   TVPAD-001       220     0   2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091070   9/28/2013   complete   Tang        Irene       IE   Irene      Tang        IE   authorizenet      EUR   TVPAD-GM-001       0    0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13091071   9/28/2013   complete   Anita       Zhang       NZ   Anita      Zhang       NZ   authorizenet      AUD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091071   9/28/2013   complete   Anita       Zhang       NZ   Anita      Zhang       NZ   authorizenet      AUD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091072   9/28/2013   complete   sang        kim         US   sang       kim         US   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091072   9/28/2013   complete   sang        kim         US   sang       kim         US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091073   9/28/2013   complete   Yan         chang       AU   Yan        chang       AU   paypal_standard   USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091073   9/28/2013   complete   Yan         chang       AU   Yan        chang       AU   paypal_standard   USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091074   9/28/2013   complete   Brian       Lau         GB   Brian      Lau         GB   paypal_standard   GBP   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-70011014   9/28/2013   complete   Tak         Li          GB   Leo        Li          GB   paypal_standard   GBP   TVPAD-001       220     0   3    660    保修期: 1年保修（含）,             TV Pad Website - TV Pad Store - Chinese
TVP-70011014   9/28/2013   complete   Tak         Li          GB   Leo        Li          GB   paypal_standard   GBP   TVPAD-GM-001       0    0   3       0                             TV Pad Website - TV Pad Store - Chinese
TVP-13091075   9/28/2013   complete   Tho         Vong        DE   Tho        Vong        DE   paypal_standard   USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091075   9/28/2013   complete   Tho         Vong        DE   Tho        Vong        DE   paypal_standard   USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-70011016   9/28/2013   complete   Kuan        Cheang      GB   Na         He          GB   paypal_standard   GBP   TVPAD-001       229     0   1    229    保修期: 1年保修（含）,             TV Pad Website - TV Pad Store - Chinese
TVP-70011016   9/28/2013   complete   Kuan        Cheang      GB   Na         He          GB   paypal_standard   GBP   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - Chinese
TVP-13091076   9/28/2013   complete   Gary        Leung       GB   Gary       Leung       GB   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091076   9/28/2013   complete   Gary        Leung       GB   Gary       Leung       GB   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091077   9/29/2013   complete   Lai         Fung        US   Lai        Fung        US   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091077   9/29/2013   complete   Lai         Fung        US   Lai        Fung        US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091078   9/29/2013   complete   Lili        Zhong       AU   Lili       Zhong       AU   authorizenet      AUD   TVPAD-001       229    10   1    219    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091078   9/29/2013   complete   Lili        Zhong       AU   Lili       Zhong       AU   authorizenet      AUD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091079   9/30/2013   complete   Grace       Chong       CA   Grace      Chong       CA   authorizenet      CAD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091079   9/30/2013   complete   Grace       Chong       CA   Grace      Chong       CA   authorizenet      CAD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091080   9/29/2013   complete   DEQIANG     LU          AU   DEQIANG    LU          AU   authorizenet      AUD   TVPAD-001       220     5   2    435    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091080   9/29/2013   complete   DEQIANG     LU          AU   DEQIANG    LU          AU   authorizenet      AUD   TVPAD-GM-001       0    0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13091081   9/30/2013   complete   Por         Tse         US   Por        Tse         US   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091081   9/30/2013   complete   Por         Tse         US   Por        Tse         US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091082   9/30/2013   complete   Hue Kinh    Truong      DE   Hue-Kinh   Truong      DE   authorizenet      EUR   TVPAD-003       309    10   1    299    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13091082   9/30/2013   complete   Hue Kinh    Truong      DE   Hue-Kinh   Truong      DE   authorizenet      EUR   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091083   9/30/2013   complete   Joyce       Chiou       US   Joyce      Chiou       US   authorizenet      USD   TVPAD-001       229     5   1    224    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091083   9/30/2013   complete   Joyce       Chiou       US   Joyce      Chiou       US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091084   10/1/2013   complete   Noora       Almenhali   AE   Noora      Almenhali   AE   authorizenet      USD   TVPAD-003       305     0   1    305    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091085   10/8/2013   complete   Anna        Thai        US   Anna       Thai        US   authorizenet      USD   TVPAD-001       215     5   6   1285    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091085   10/8/2013   complete   Anna        Thai        US   Anna       Thai        US   authorizenet      USD   TVPAD-GM-001       0    0   6       0                             TV Pad Website - TV Pad Store - English
TVP-13091086   9/30/2013   complete   William     Yau         GB   William    Yau         GB   authorizenet      GBP   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091086   9/30/2013   complete   William     Yau         GB   William    Yau         GB   authorizenet      GBP   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091087   9/30/2013   complete   Ingrid      Chan        AU   Ingrid     Chan        AU   authorizenet      AUD   TVPAD-002       258     0   1    258    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13091087   9/30/2013   complete   Ingrid      Chan        AU   Ingrid     Chan        AU   authorizenet      AUD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091088   10/4/2013   complete   Jennifer    Rong        GB   Jennifer   Rong        GB   authorizenet      GBP   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091088   10/4/2013   complete   Jennifer    Rong        GB   Jennifer   Rong        GB   authorizenet      GBP   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091089   10/4/2013   complete   Iris        DePriest    US   Iris       DePriest    US   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091089   10/4/2013   complete   Iris        DePriest    US   Iris       DePriest    US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091090   10/1/2013   complete   Paul        Cheng       US   Paul       Cheng       US   paypal_standard   USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091090   10/1/2013   complete   Paul        Cheng       US   Paul       Cheng       US   paypal_standard   USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091091   10/4/2013   complete   Chun-I      CHEN        US   Chun-I     CHEN        US   authorizenet      USD   TVPAD-001       229     5   1    224    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091091   10/4/2013   complete   Chun-I      CHEN        US   Chun-I     CHEN        US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13091092   10/4/2013   complete   Kaang       Yoon        NL   Kaang      Yoon        NL   authorizenet      EUR   TVPAD-001       220     0   2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091092   10/4/2013   complete   Kaang       Yoon        NL   Kaang      Yoon        NL   authorizenet      EUR   TVPAD-GM-001       0    0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13091093   10/4/2013   complete   Sam         Zhao        US   Sam        Zhao        US   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13091093   10/4/2013   complete   Sam         Zhao        US   Sam        Zhao        US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101011   10/4/2013   complete   Tony        Wang        NZ   Tony       Wang        NZ   authorizenet      USD   TVPAD-001       229     5   1    224    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101011   10/4/2013   complete   Tony        Wang        NZ   Tony       Wang        NZ   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101012   10/4/2013   complete   rob         glover      US   rob        glover      US   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101013   10/4/2013   complete   Kim         Bodman      NZ   Kim        Bodman      NZ   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101013   10/4/2013   complete   Kim         Bodman      NZ   Kim        Bodman      NZ   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101014   10/4/2013   complete   TaeHoon     Kim         AU   TaeHoon    Kim         AU   authorizenet      AUD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101014   10/4/2013   complete   TaeHoon     Kim         AU   TaeHoon    Kim         AU   authorizenet      AUD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101015   10/2/2013   complete   LO          Daniel      FR   LO         Daniel      FR   paypal_standard   EUR   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101015   10/2/2013   complete   LO          Daniel      FR   LO         Daniel      FR   paypal_standard   EUR   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101016   10/2/2013   complete   Matthew     Lam         AU   Matthew    Lam         AU   paypal_standard   USD   TVPAD-001       229     5   1    224    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101016   10/2/2013   complete   Matthew     Lam         AU   Matthew    Lam         AU   paypal_standard   USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101017   10/4/2013   complete   Judy        Lui         US   Judy       Lui         US   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101017   10/4/2013   complete   Judy        Lui         US   Judy       Lui         US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101018   10/3/2013   complete   Yanwei      JIA         BE   Yanwei     JIA         BE   paypal_standard   USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101018   10/3/2013   complete   Yanwei      JIA         BE   Yanwei     JIA         BE   paypal_standard   USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101019   10/4/2013   complete   Mui         Chow        IE   Mui        Chow        IE   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101019   10/4/2013   complete   Mui         Chow        IE   Mui        Chow        IE   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101020   10/4/2013   complete   Trent       Do          US   Trent      Do          US   authorizenet      USD   TVPAD-003       309     5   1    304    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13101020   10/4/2013   complete   Trent       Do          US   Trent      Do          US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101021   10/4/2013   complete   byung       yun         US   byung      yun         US   authorizenet      USD   TVPAD-001       215     5   5   1070    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101021   10/4/2013   complete   byung       yun         US   byung      yun         US   authorizenet      USD   TVPAD-GM-001       0    0   5       0                             TV Pad Website - TV Pad Store - English
TVP-13101022   10/4/2013   complete   quach       van         US   tich       quach       AU   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101023   10/3/2013   complete   Yecheng     li          GB   Yecheng    li          GB   paypal_standard   USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101023   10/3/2013   complete   Yecheng     li          GB   Yecheng    li          GB   paypal_standard   USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101024   10/3/2013   complete   Chad        Lai         AU   Chad       Lai         AU   paypal_standard   USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101024   10/3/2013   complete   Chad        Lai         AU   Chad       Lai         AU   paypal_standard   USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101026   10/4/2013   complete   Tony        Lam         AU   Tony       Lam         AU   authorizenet      AUD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101026   10/4/2013   complete   Tony        Lam         AU   Tony       Lam         AU   authorizenet      AUD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101027   10/4/2013   complete   Chung       Kum-Tong    SG   Chung      Kum-Tong    SG   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101027   10/4/2013   complete   Chung       Kum-Tong    SG   Chung      Kum-Tong    SG   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101028   10/4/2013   complete   tsui        lai         US   tsui       lai         US   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101028   10/4/2013   complete   tsui        lai         US   tsui       lai         US   authorizenet      USD   TVPAD-GM-001       0    0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101029   10/4/2013   complete   Jimmy       Yue         AU   Jimmy      Yue         AU   authorizenet      USD   TVPAD-001       229     0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
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TVP-13101030    10/7/2013   complete   Tak         chow           GB   Tak         chow           GB   authorizenet      GBP   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101030    10/7/2013   complete   Tak         chow           GB   Tak         chow           GB   authorizenet      GBP   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101033    10/7/2013   complete   Siu         Chu            US   Siu         Chu            US   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101033    10/7/2013   complete   Siu         Chu            US   Siu         Chu            US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101034    10/7/2013   complete   Nicholas    Sung           US   Nicholas    Sung           US   authorizenet      USD   TVPAD-001       220      5   2    435    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101034    10/7/2013   complete   Nicholas    Sung           US   Nicholas    Sung           US   authorizenet      USD   TVPAD-GM-001       0     0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13101035    10/7/2013   complete   Terry       Chen           US   Terry       Chen           US   authorizenet      USD   TVPAD-001       229      5   1    224    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101035    10/7/2013   complete   Terry       Chen           US   Terry       Chen           US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101037    10/7/2013   complete   Jimmy       Lee            US   Jimmy       Lee            US   authorizenet      USD   TVPAD-002       258     10   1    248    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13101037    10/7/2013   complete   Jimmy       Lee            US   Jimmy       Lee            US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101038    10/7/2013   complete   Lisa        Kuai           AU   Lisa        Kuai           AU   authorizenet      AUD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101038    10/7/2013   complete   Lisa        Kuai           AU   Lisa        Kuai           AU   authorizenet      AUD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101040    10/7/2013   complete   Michael     Qiu            AU   Michael     Qiu            AU   authorizenet      AUD   TVPAD-002       258      0   1    258    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13101040    10/7/2013   complete   Michael     Qiu            AU   Michael     Qiu            AU   authorizenet      AUD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101041    10/6/2013   complete   LI          FA             GF   LI          CARLOS         GF   paypal_standard   USD   TVPAD-AC-001   15.99     0   2   31.98                             TV Pad Website - TV Pad Store - English
TVP-13101041    10/6/2013   complete   LI          FA             GF   LI          CARLOS         GF   paypal_standard   USD   TVPAD-AC-002   15.99     0   1   15.99   Type: European,           TV Pad Website - TV Pad Store - English
TVP-13101042    10/7/2013   complete   Gordon      Yee            US   Gordon      Yee            US   authorizenet      USD   TVPAD-001       220      0   2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101042    10/7/2013   complete   Gordon      Yee            US   Gordon      Yee            US   authorizenet      USD   TVPAD-GM-001       0     0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13101043    10/7/2013   complete   Yong        teong          GB   Yong        teong          GB   authorizenet      GBP   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101043    10/7/2013   complete   Yong        teong          GB   Yong        teong          GB   authorizenet      GBP   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101044    10/7/2013   complete   Harry       Chen           US   Harry       Chen           US   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101044    10/7/2013   complete   Harry       Chen           US   Harry       Chen           US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101045    10/7/2013   complete   Flannan     Lum            US   Flannan     Lum            US   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101045    10/7/2013   complete   Flannan     Lum            US   Flannan     Lum            US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101047    10/8/2013   complete   Xiaoling    Lu             US   Xiaoling    Lu             US   authorizenet      USD   TVPAD-001       220      0   2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101047    10/8/2013   complete   Xiaoling    Lu             US   Xiaoling    Lu             US   authorizenet      USD   TVPAD-GM-001       0     0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13101048    10/7/2013   complete   carl        engebretsen    US   carl        engebretsen    US   paypal_standard   USD   TVPAD-001       220      0   2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101048    10/7/2013   complete   carl        engebretsen    US   carl        engebretsen    US   paypal_standard   USD   TVPAD-GM-001       0     0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13101049    10/7/2013   complete   Evelyne     LAM            FR   Evelyne     LAM            FR   paypal_standard   USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101049    10/7/2013   complete   Evelyne     LAM            FR   Evelyne     LAM            FR   paypal_standard   USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-70011017    10/8/2013   complete   Guangming   Liu            CA   Guangming   Liu            CA   authorizenet      CAD   TVPAD-001       229      0   1    229    保修期: 1年保修（含）,             TV Pad Website - TV Pad Store - Chinese
TVP-70011017    10/8/2013   complete   Guangming   Liu            CA   Guangming   Liu            CA   authorizenet      CAD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - Chinese
TVP-13101050    10/8/2013   complete   Charlie     Li             US   Charlie     Li             US   authorizenet      USD   TVPAD-001       229      5   1    224    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101050    10/8/2013   complete   Charlie     Li             US   Charlie     Li             US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101051    10/7/2013   complete   Ru          Jin            NL   Ru          Jin            NL   paypal_standard   USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101051    10/7/2013   complete   Ru          Jin            NL   Ru          Jin            NL   paypal_standard   USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101052   10/12/2013   closed     Yiu         Pang           GB   Kim         Soi            SE   authorizenet      GBP   TVPAD-001       215      0   5   1075    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101052   10/12/2013   closed     Yiu         Pang           GB   Kim         Soi            SE   authorizenet      GBP   TVPAD-GM-001       0     0   5       0                             TV Pad Website - TV Pad Store - English
TVP-13101053    10/8/2013   complete   Luxin       sun            US   Luxin       sun            US   paypal_standard   USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101053    10/8/2013   complete   Luxin       sun            US   Luxin       sun            US   paypal_standard   USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101054    10/8/2013   complete   Jing        He             US   Jing        He             US   authorizenet      USD   TVPAD-001       220      0   2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101054    10/8/2013   complete   Jing        He             US   Jing        He             US   authorizenet      USD   TVPAD-GM-001       0     0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13101055    10/8/2013   complete   Cindy       Tjauw          US   Cindy       Tjauw          US   paypal_standard   USD   TVPAD-001       220      0   2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101055    10/8/2013   complete   Cindy       Tjauw          US   Cindy       Tjauw          US   paypal_standard   USD   TVPAD-GM-001       0     0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13101056    10/9/2013   complete   Andrew      Yeoh           AU   Andrew      Yeoh           AU   authorizenet      USD   TVPAD-001       249      0   2    498    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13101056    10/9/2013   complete   Andrew      Yeoh           AU   Andrew      Yeoh           AU   authorizenet      USD   TVPAD-GM-001       0     0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13101057    10/9/2013   complete   Gang        Jiang          CA   Gang        Jiang          CA   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101057    10/9/2013   complete   Gang        Jiang          CA   Gang        Jiang          CA   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101058    10/9/2013   complete   Calen       Lopata         US   Calen       Lopata         US   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101058    10/9/2013   complete   Calen       Lopata         US   Calen       Lopata         US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101059    10/9/2013   complete   Istella     Ko             US   Istella     Ko             US   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101059    10/9/2013   complete   Istella     Ko             US   Istella     Ko             US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101060    10/8/2013   complete   Jenny       Ng             AU   Jenny       Ng             AU   paypal_standard   USD   TVPAD-001       220      0   3    660    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101060    10/8/2013   complete   Jenny       Ng             AU   Jenny       Ng             AU   paypal_standard   USD   TVPAD-GM-001      29     0   1      29   Warranty Period: 3 Months TV Pad Website - TV Pad Store - English
TVP-13101060    10/8/2013   complete   Jenny       Ng             AU   Jenny       Ng             AU   paypal_standard   USD   TVPAD-GM-001       0     0   3       0                             TV Pad Website - TV Pad Store - English
TVP-13101061    10/9/2013   complete   Eddy        Shek           GB   Eddy        Shek           GB   authorizenet      GBP   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101061    10/9/2013   complete   Eddy        Shek           GB   Eddy        Shek           GB   authorizenet      GBP   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101062    10/9/2013   complete   PHILIP      HSU            US   PHILIP      徐粹修            TW   authorizenet      USD   TVPAD-AC-001   15.99     0   1   15.99                             TV Pad Website - TV Pad Store - English
TVP-13101063    10/9/2013   complete   Minh        Trinh          GB   Kien        Trinh          GB   paypal_standard   GBP   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101063    10/9/2013   complete   Minh        Trinh          GB   Kien        Trinh          GB   paypal_standard   GBP   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101064    10/9/2013   complete   mike        chan           NL   mike        chan           NL   authorizenet      EUR   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101064    10/9/2013   complete   mike        chan           NL   mike        chan           NL   authorizenet      EUR   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-70011018    10/9/2013   complete   zong-       ping           US   zong-       ping           US   authorizenet      USD   TVPAD-001       220      0   2    440    保修期: 1年保修（含）,             TV Pad Website - TV Pad Store - Chinese
TVP-70011018    10/9/2013   complete   zong-       ping           US   zong-       ping           US   authorizenet      USD   TVPAD-GM-001       0     0   2       0                             TV Pad Website - TV Pad Store - Chinese
TVP-13101065    10/9/2013   complete   haiyan      zhong          US   haiyan      zhong          US   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101066    10/9/2013   complete   Kevin       Cheung         US   Kevin       Cheung         US   paypal_standard   USD   TVPAD-002       258     10   1    248    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13101066    10/9/2013   complete   Kevin       Cheung         US   Kevin       Cheung         US   paypal_standard   USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101067   10/10/2013   complete   Qun         Lin            US   Qun         Lin            US   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101067   10/10/2013   complete   Qun         Lin            US   Qun         Lin            US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101068   10/10/2013   complete   lian        zhang          US   lian        zhang          US   authorizenet      USD   TVPAD-001       220      0   3    660    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101068   10/10/2013   complete   lian        zhang          US   lian        zhang          US   authorizenet      USD   TVPAD-GM-001       0     0   3       0                             TV Pad Website - TV Pad Store - English
TVP-13101070    10/9/2013   complete   Ella        Hau            NL   Ella        Hau            NL   paypal_standard   EUR   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101070    10/9/2013   complete   Ella        Hau            NL   Ella        Hau            NL   paypal_standard   EUR   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-70011019    10/9/2013   complete   yuhui       li             AU   yuhui       li             AU   paypal_standard   AUD   TVPAD-003       309      0   1    309    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - Chinese
TVP-70011019    10/9/2013   complete   yuhui       li             AU   yuhui       li             AU   paypal_standard   AUD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - Chinese
TVP-13101071   10/10/2013   complete   Reagan      Chan           AU   Reagan      Chan           AU   authorizenet      AUD   TVPAD-002       258      0   1    258    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13101071   10/10/2013   complete   Reagan      Chan           AU   Reagan      Chan           AU   authorizenet      AUD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101072   10/10/2013   complete   Ngoc        Dam            US   Ngoc        Dam            US   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101072   10/10/2013   complete   Ngoc        Dam            US   Ngoc        Dam            US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101073   10/10/2013   complete   tony        chiu           AU   tony        chiu           AU   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101073   10/10/2013   complete   tony        chiu           AU   tony        chiu           AU   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101074   10/10/2013   complete   Lanyun      Lin            US   Lanyun      Lin            US   authorizenet      USD   TVPAD-001       229      5   1    224    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101074   10/10/2013   complete   Lanyun      Lin            US   Lanyun      Lin            US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101076   10/10/2013   complete   Paul        Wong           GB   Paul        Wong           GB   authorizenet      USD   TVPAD-004       318      0   1    318    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13101077   10/11/2013   complete   yoo         kwon,kim       US   yoo         kwon,kim       US   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101077   10/11/2013   complete   yoo         kwon,kim       US   yoo         kwon,kim       US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101078   10/11/2013   complete   Irene       Han            US   Irene       Han            US   authorizenet      USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101079   10/11/2013   complete   jw          ing            NL   j           ing            NL   authorizenet      EUR   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101080   10/11/2013   complete   Nate        Jang           NL   Nate        Jang           NL   authorizenet      EUR   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101081   10/11/2013   complete   Stella      bing           US   Stella      bing           US   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101081   10/11/2013   complete   Stella      bing           US   Stella      bing           US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101083   10/11/2013   complete   Frank       Xing           AU   Frank       Xing           AU   authorizenet      USD   TVPAD-004       269      0   3    807    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101084   10/11/2013   complete   Van         Luong          US   Van         Luong          US   authorizenet      USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101085   10/11/2013   complete   Kin         YEUNG          NZ   Kin         YEUNG          NZ   authorizenet      USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101086   10/11/2013   complete   Hao         Liu            AU   Hao         Liu            AU   paypal_standard   AUD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101087   10/11/2013   complete   LI          FA             GF   LI          CARLOS         GF   paypal_standard   USD   TVPAD-AC-001   15.99     0   2   31.98                             TV Pad Website - TV Pad Store - English
TVP-13101087   10/11/2013   complete   LI          FA             GF   LI          CARLOS         GF   paypal_standard   USD   TVPAD-AC-002   15.99     0   2   31.98   Type: European,           TV Pad Website - TV Pad Store - English
TVP-13101087   10/11/2013   complete   LI          FA             GF   LI          CARLOS         GF   paypal_standard   USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101087   10/11/2013   complete   LI          FA             GF   LI          CARLOS         GF   paypal_standard   USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101088   10/11/2013   complete   Brian       JEONG          NZ   Brian       JEONG          NZ   authorizenet      AUD   TVPAD-005       318      0   1    318    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13101089   10/11/2013   complete   Owen        Li             US   Owen        Li             US   authorizenet      USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101090   10/11/2013   complete   Ken         Rong           AU   Ken         Rong           AU   authorizenet      AUD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101091   10/13/2013   complete   Yu          Chen           US   Yu          Chen           US   authorizenet      USD   TVPAD-004       269      0   2    538    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101092   10/12/2013   complete   Ng          Geok           SG   Ng          Geok           SG   paypal_standard   USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101093   10/12/2013   complete   TJON        FELIX          GF   TJON        FELIX          GF   paypal_standard   USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101093   10/12/2013   complete   TJON        FELIX          GF   TJON        FELIX          GF   paypal_standard   USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101094   10/13/2013   complete   Ada         Wong           GB   Ada         Wong           GB   authorizenet      GBP   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101094   10/13/2013   complete   Ada         Wong           GB   Ada         Wong           GB   authorizenet      GBP   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-70011022   10/13/2013   complete   Zeyu        Zheng          US   Zeyu        Zheng          US   authorizenet      USD   TVPAD-001       229      0   1    229    保修期: 1年保修（含）,             TV Pad Website - TV Pad Store - Chinese
TVP-70011022   10/13/2013   complete   Zeyu        Zheng          US   Zeyu        Zheng          US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - Chinese
TVP-13101095   10/13/2013   complete   Kwok        Ng             US   Kwok        Ng             US   paypal_standard   USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101096   10/13/2013   complete   Wai         Tsang          AU   Wai         Tsang          AU   authorizenet      USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101097   10/13/2013   complete   Seungho     Bang           AU   Seungho     Bang           AU   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101097   10/13/2013   complete   Seungho     Bang           AU   Seungho     Bang           AU   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-70011023   10/13/2013   complete   Yifeng      Chen           AU   Yifeng      Chen           AU   authorizenet      AUD   TVPAD-004       279      0   1    279    保修期: 1年保修（含）,             TV Pad Website - TV Pad Store - Chinese
TVP-13101098   10/13/2013   complete   LY          Melanie        FR   LY          Melanie        FR   paypal_standard   USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101098   10/13/2013   complete   LY          Melanie        FR   LY          Melanie        FR   paypal_standard   USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101099   10/13/2013   complete   YuJin,      Tan            AU   YuJin,      Tan            AU   paypal_standard   AUD   TVPAD-004       318      0   1    318    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13101100   10/14/2013   closed     Jianfeng    Liu            US   Jianfeng    Liu            US   authorizenet      USD   TVPAD-AC-002   15.99     0   1   15.99   Type: US,                 TV Pad Website - TV Pad Store - English
TVP-13101101   10/14/2013   complete   Kim         Kong           FR   Kim         Kong           FR   authorizenet      USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101102   10/14/2013   complete   Yi-Hsiang   Wu             US   Yi-Hsiang   Wu             US   paypal_standard   USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101103   10/14/2013   complete   bin         du             US   bin         du             US   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101103   10/14/2013   complete   bin         du             US   bin         du             US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101104   10/14/2013   complete   Kon         Chon           US   Kon         Chon           US   paypal_standard   USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101105   10/14/2013   complete   Sandy       Ung            US   Sandy       Ung            US   authorizenet      USD   TVPAD-004       318      0   1    318    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13101107   10/14/2013   complete   Betty       SooHoo         US   Betty       SooHoo         US   paypal_standard   USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101108   10/15/2013   complete   Joey        Wu             US   Joey        Wu             US   authorizenet      USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101109   10/15/2013   complete   Andy        Chiu           DE   Andy        Chiu           DE   authorizenet      EUR   TVPAD-005       318      0   1    318    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13101110   10/14/2013   complete   Bailey      Gin            US   Bailey      Gin            US   paypal_standard   USD   TVPAD-004       269      0   2    538    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101112   10/15/2013   complete   Kun         Zhong          US   Kun         Zhong          US   paypal_standard   USD   TVPAD-004       269      0   2    538    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101113   10/15/2013   complete   Félix       SOUVANNAVONG   FR   Félix       SOUVANNAVONG   FR   paypal_standard   USD   TVPAD-001       220      0   2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101113   10/15/2013   complete   Félix       SOUVANNAVONG   FR   Félix       SOUVANNAVONG   FR   paypal_standard   USD   TVPAD-GM-001       0     0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13101114   10/15/2013   complete   Michael     Siu            US   Michael     Siu            US   authorizenet      USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101115   10/15/2013   complete   Ashley      Wu             US   April       Wu             US   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101115   10/15/2013   complete   Ashley      Wu             US   April       Wu             US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101117   10/15/2013   complete   ta          soa            VN   ta          soa            VN   authorizenet      USD   TVPAD-004       269      0   2    538    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101118   10/15/2013   complete   Dave        Lin            US   Dave        Lin            US   authorizenet      USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101119   10/15/2013   complete   Quanwei     Li             US   Quanwei     Li             US   paypal_standard   USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101120   10/15/2013   complete   Trung       Man            US   Trung       Man            US   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101120   10/15/2013   complete   Trung       Man            US   Trung       Man            US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101121   10/15/2013   complete   Terry       Lay            AU   Terry       Lay            AU   paypal_standard   AUD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101122   10/15/2013   complete   Aaron       Tan            AU   Aaron       Tan            AU   authorizenet      AUD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-70011025   10/15/2013   complete   Ruomin      Sun            AU   Ruomin      Sun            AU   paypal_standard   AUD   TVPAD-001       229      0   1    229    保修期: 1年保修（含）,             TV Pad Website - TV Pad Store - Chinese
TVP-70011025   10/15/2013   complete   Ruomin      Sun            AU   Ruomin      Sun            AU   paypal_standard   AUD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - Chinese
TVP-13101123   10/16/2013   complete   jing        gao            GB   jing        gao            GB   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101123   10/16/2013   complete   jing        gao            GB   jing        gao            GB   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101124   10/17/2013   complete   BILL        LUM            CN   Bill        Lum            US   authorizenet      USD   TVPAD-002       258      0   1    258    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13101124   10/17/2013   complete   BILL        LUM            CN   Bill        Lum            US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101125   10/16/2013   complete   Xiao        Hong           US   Xiao        Hong           US   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101125   10/16/2013   complete   Xiao        Hong           US   Xiao        Hong           US   authorizenet      USD   TVPAD-GM-001       0     0   1       0                             TV Pad Website - TV Pad Store - English
TVP-13101126   10/16/2013   complete   fnu         robinson       US   fnu         robinson       US   authorizenet      USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101128   10/16/2013   complete   Antonio     Qiu            US   Antonio     Qiu            US   paypal_standard   USD   TVPAD-004       269      0   2    538    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101129   10/16/2013   complete   Waiman      Lo             GB   Waiman      Lo             GB   paypal_standard   GBP   TVPAD-004       279     10   1    269    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101130   10/16/2013   complete   Lisa        Kuai           AU   Lisa        Kuai           AU   authorizenet      USD   TVPAD-001       220      0   2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101130   10/16/2013   complete   Lisa        Kuai           AU   Lisa        Kuai           AU   authorizenet      USD   TVPAD-GM-001       0     0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13101131   10/16/2013   complete   Anson       Kan            AU   ANSON       KAN            AU   authorizenet      AUD   TVPAD-005       318      0   1    318    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13101132   10/16/2013   complete   Fung Yee    Ho             AU   Fung        Ho             AU   authorizenet      USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101134   10/16/2013   complete   jingyu      liang          US   jingyu      liang          US   authorizenet      USD   TVPAD-001       220      0   2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101134   10/16/2013   complete   jingyu      liang          US   jingyu      liang          US   authorizenet      USD   TVPAD-GM-001       0     0   2       0                             TV Pad Website - TV Pad Store - English
TVP-13101136   10/16/2013   complete   Zhenxing    Nie            AU   Zhenxing    Nie            AU   authorizenet      USD   TVPAD-004       279      0   1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101137   10/16/2013   complete   David       Pang           GB   David       Pang           GB   authorizenet      USD   TVPAD-001       229      0   1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101141   10/17/2013   complete   Stephany    Soi            SE   Kim         Soi            SE   authorizenet      USD   TVPAD-004       259    125   5   1170    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
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TVP-13101142   10/17/2013   complete   Chieh         Yang           US   Chieh         Yang           US   authorizenet      USD   TVPAD-004       279      0    1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101143   10/17/2013   complete   Yexue         Song           US   Jin           Yu             US   authorizenet      USD   TVPAD-001       229      0    1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101144   10/17/2013   complete   Eun           Cho            US   Eun           Cho            US   authorizenet      USD   TVPAD-004       279      0    1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101145   10/17/2013   complete   Stella        Ng             US   Stella        Ng             US   authorizenet      USD   TVPAD-004       279      0    1    279    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101146   10/17/2013   complete   Miao          Seto           US   Miao          Seto           US   paypal_standard   USD   TVPAD-004       269      0    2    538    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101147   10/17/2013   complete   Phong         Truong         US   Phong         Truong         US   authorizenet      USD   TVPAD-001       229      0    1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101148   10/18/2013   complete   Frances       Lee            US   Frances       Lee            US   authorizenet      USD   TVPAD-004       279     10    1    269    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101149   10/18/2013   complete   Siew          Lim            GB   Siew          Lim            GB   authorizenet      GBP   TVPAD-001       229      0    1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-70011026   10/18/2013   complete   baiyong       xie            US   baiyong       xie            US   paypal_standard   USD   TVPAD-004       279      0    1    279    保修期: 1年保修（含）,             TV Pad Website - TV Pad Store - Chinese
TVP-13101152   10/19/2013   complete   Yui           Law            GB   Yui           Law            GB   authorizenet      GBP   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101153   10/19/2013   complete   Andrew        Yuen           CA   Andrew        Yuen           CA   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101154   10/19/2013   complete   XINHUA        Chen           US   XINHUA        Chen           US   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101154   10/19/2013   complete   XINHUA        Chen           US   XINHUA        Chen           US   authorizenet      USD   WRNTY-001         39     0    1      39   TVpad Version: M358,      TV Pad Website - TV Pad Store - English
TVP-13101155   10/19/2013   complete   Matthew       Li             US   Matthew       Li             US   authorizenet      USD   TVPAD-001       220      5    2    435    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101157   10/19/2013   complete   Thomas        Lok            CA   Thomas        Lok            CA   paypal_standard   USD   TVPAD-004       250      0    2    500    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101158   10/19/2013   complete   robin         young          NZ   robin         young          NZ   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101159   10/19/2013   complete   JOE           TAM            AU   JOE           TAM            AU   paypal_standard   AUD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101160   10/19/2013   complete   Terry         Ip             GB   Terry         Ip             GB   paypal_standard   GBP   TVPAD-004       245      0    5   1225    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101161   10/19/2013   complete   Lo            Pai            AT   Gia           Tang           AT   authorizenet      USD   TVPAD-001       229      0    1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101162   10/19/2013   complete   Steven        Lee            US   Steven        Lee            US   authorizenet      USD   TVPAD-001       229      0    1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101163   10/21/2013   complete   Chi           Tam            GB   Chi           Tam            GB   authorizenet      GBP   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101164   10/21/2013   complete   Zhenggeng     huang          AU   Zhenggeng     huang          AU   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101165   10/21/2013   complete   Phillip       Yang           US   Phillip       Yang           US   authorizenet      USD   TVPAD-004       259      5    1    254    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-70011027   10/21/2013   complete   huining       Gu             US   huining       Gu             US   authorizenet      USD   TVPAD-AC-001   15.99     0    1   15.99                             TV Pad Website - TV Pad Store - Chinese
TVP-13101166   10/21/2013   complete   LONGYI        LI             SG   LONGYI        LI             SG   authorizenet      USD   TVPAD-005       298      0    1    298    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13101167   10/21/2013   complete   Tat           Ko             US   Tat           Ko             US   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101169   10/20/2013   complete   Alice         HO             KM   Alice         HO             KM   paypal_standard   USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101170   10/21/2013   complete   Jonathan      Lu             AU   Jonathan      Lu             AU   authorizenet      USD   TVPAD-004       250      0    2    500    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101171   10/21/2013   complete   Feng          Meng           US   Feng          Meng           US   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101173   10/21/2013   complete   Andy          Wong           GB   Andy          Wong           GB   authorizenet      GBP   TVPAD-001       229      0    1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-70011028   10/21/2013   complete   cong          he             US   cong          he             US   authorizenet      USD   TVPAD-004       259      0    1    259    保修期: 1年保修（含）,             TV Pad Website - TV Pad Store - Chinese
TVP-13101174   10/21/2013   complete   Choi          Lui            NL   Choi          Lui            NL   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-70011029   10/21/2013   complete   yeefan        wong           NL   yeefan        wong           NL   authorizenet      EUR   TVPAD-004       259      0    1    259    保修期: 1年保修（含）,             TV Pad Website - TV Pad Store - Chinese
TVP-13101175   10/21/2013   complete   Michelle      Mai            US   Michelle      Mai            US   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101176   10/21/2013   complete   Raymond       Chung          AU   Raymond       Chung          AU   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-70011030   10/21/2013   complete   Guangjian     Liu            AU   Guangjian     Liu            AU   authorizenet      USD   TVPAD-004       259      0    1    259    保修期: 1年保修（含）,             TV Pad Website - TV Pad Store - Chinese
TVP-13101177   10/21/2013   closed     YKS           Chan           GB   YukShim       Li             HK   authorizenet      GBP   TVPAD-001       229      0    1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101181   10/21/2013   complete   Ling          Zhang          AU   Ling          Zhang          AU   paypal_standard   AUD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101182   10/21/2013   complete   Nelson        Cheung         US   Nelson        Cheung         US   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101183   10/21/2013   complete   Brent         Chen           US   Brent         Chen           US   authorizenet      USD   TVPAD-004       250      0    2    500    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101184   10/21/2013   complete   leung         kei            AU   leung         kei            AU   authorizenet      USD   TVPAD-001       229      0    1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101185   10/21/2013   complete   lana          luk            US   lana          luk            US   authorizenet      USD   TVPAD-001       220      0    2    440    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101186   10/21/2013   complete   Kim           Bodman         NZ   Kim           Bodman         NZ   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101187   10/21/2013   complete   RONGFU        ZHEN           US   RONGFU        ZHEN           US   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101188   10/21/2013   complete   david         yin            AU   david         yin            AU   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101189   10/21/2013   complete   Marianne      Chau           AU   Marianne      Chau           AU   paypal_standard   AUD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101190   10/21/2013   complete   WENDY         CHENG          AU   WENDY         CHENG          AU   authorizenet      AUD   TVPAD-004       250      0    2    500    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101191   10/21/2013   complete   fnu           robinson       US   fnu           robinson       US   paypal_standard   USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101193   10/22/2013   complete   KUN           XU             US   KUN           XU             US   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101194   10/22/2013   complete   Kenny         Lai            US   Kenny         Lai            US   authorizenet      USD   TVPAD-004       249      0    1    249    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101195   10/22/2013   complete   Tom           Thammakhoune   US   Tom           Thammakhoune   US   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101196   10/22/2013   complete   Silvia        Hofmann        DE   Silvia        Hofmann        DE   paypal_standard   EUR   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101197   10/22/2013   complete   nina          ho             US   nina          ho             US   authorizenet      USD   TVPAD-001       229      0    1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101198   10/22/2013   complete   Yiu           Chau           US   Yiu           Chau           US   paypal_standard   USD   TVPAD-004       245      0    5   1225    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101199   10/22/2013   complete   christopher   siow           US   christopher   siow           US   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101200   10/22/2013   complete   Angie         Jim            US   Angie         Jim            US   authorizenet      USD   TVPAD-001       229      0    1    229    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101201   10/22/2013   complete   Eung          Kim            US   Eung          Kim            US   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101204   10/22/2013   complete   Wei           Chen           PA   Wei           Ceng           PA   paypal_standard   USD   TVPAD-004       259     10    1    249    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101205   10/22/2013   complete   Vicky         Lu             US   Vicky         Lu             US   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101208   10/22/2013   complete   kevin         chan           CA   kevin         chan           CA   authorizenet      CAD   TVPAD-004       245    100   10   2350    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101209   10/22/2013   complete   Kun           Qian           CA   Kun           Qian           CA   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101212   10/22/2013   complete   Dave          Lin            US   Dave          Lin            US   authorizenet      USD   TVPAD-004       250      0    2    500    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101213   10/22/2013   complete   Quyen         Luu            US   Quyen         Luu            US   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101214   10/22/2013   complete   Byung         Lee            US   David         Lee            US   authorizenet      USD   TVPAD-001       229      5    1    224    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101215   10/23/2013   complete   Tze           Chung          GB   Tze           Chung          GB   authorizenet      GBP   TVPAD-004       250      0    2    500    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101216   10/23/2013   complete   Angie         Wong           US   Angie         Wong           US   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101217   10/23/2013   complete   Danny         Tat            US   Danny         Tat            US   authorizenet      USD   TVPAD-004       259      5    1    254    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101218   10/23/2013   complete   Joyce         Sang           US   Joyce         Sang           US   authorizenet      USD   TVPAD-004       298      0    1    298    Warranty Period: 2 Year   TV Pad Website - TV Pad Store - English
TVP-13101219   10/23/2013   complete   THUONG        TO             US   THUONG        TO             US   authorizenet      USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101220   10/23/2013   complete   Joey          Cheung         US   Joey          Cheung         US   paypal_standard   USD   TVPAD-004       259      0    1    259    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-70011031   10/23/2013   complete   Iong          Chan           GB   Iong          Chan           GB   paypal_standard   USD   TVPAD-004       259      5    1    254    保修期: 1年保修（含）,             TV Pad Website - TV Pad Store - Chinese
TVP-13101221   10/23/2013   complete   han           oh             US   han           oh             US   authorizenet      USD   TVPAD-003       280      0    1    280    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101222   10/23/2013   complete   Jan           zhong          US   Jan           zhong          US   authorizenet      USD   TVPAD-004       259     10    1    249    Warranty Period: 1 Year   TV Pad Website - TV Pad Store - English
TVP-13101224   10/23/2013   complete   Sai           Chu            CA   Sai           Chu            CA   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101225   10/23/2013   complete   Bailey        Gin            US   Bailey        Gin            US   paypal_standard   USD   TVPAD-004       245      0    6   1470                              TV Pad Website - TV Pad Store - English
TVP-13101226   10/23/2013   complete   LA            SHUNDE         FR   LA            SHUNDE         FR   authorizenet      EUR   TVPAD-001       229      0    1    229                              TV Pad Website - TV Pad Store - English
TVP-70011032   10/23/2013   complete   Guangxi       Qiu            US   Guangxi       Qiu            US   authorizenet      USD   TVPAD-001       229      0    1    229                              TV Pad Website - TV Pad Store - Chinese
TVP-70011033   10/23/2013   complete   Qi            ma             US   Qi            ma             US   authorizenet      USD   TVPAD-001       229      0    1    229                              TV Pad Website - TV Pad Store - Chinese
TVP-13101228   10/23/2013   complete   Steve         Lam            GU   Steve         Lam            GU   authorizenet      USD   TVPAD-004       250      0    2    500                              TV Pad Website - TV Pad Store - English
TVP-13101229   10/23/2013   complete   Rui           Meiluo         NL   Rui           Meiluo         NL   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101230   10/23/2013   complete   Phong         Amu            FR   Phong         Amu            FR   authorizenet      EUR   TVPAD-004       250      0    2    500                              TV Pad Website - TV Pad Store - English
TVP-13101231   10/23/2013   complete   Linda         Ooi            GB   Linda         Ooi            GB   paypal_standard   GBP   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101232   10/24/2013   complete   Calvin        Cheung         US   Calvin        Cheung         US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101233   10/24/2013   complete   Po-Wen        Lu             US   Po-Wen        Lu             US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101234   10/24/2013   complete   K.            Lo             NL   K.            Lo             NL   authorizenet      EUR   TVPAD-001       229      0    1    229                              TV Pad Website - TV Pad Store - English
TVP-13101235   10/24/2013   complete   Peter         Jeong          US   Peter         Jeong          US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101236   10/24/2013   complete   Sherry        Chen           AU   Sherry        Chen           AU   paypal_standard   USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101237   10/24/2013   complete   Yui           Ng             US   Yui           Ng             US   paypal_standard   USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101238   10/24/2013   complete   sanna         yeung          US   sanna         yeung          US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101239   10/24/2013   complete   phyllis       seah           AU   phyllis       seah           AU   paypal_standard   USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101240   10/24/2013   complete   Anna          Lee            US   Anna          Lee            US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101241   10/24/2013   complete   leung         kei            AU   leung         kei            AU   authorizenet      USD   TVPAD-001       229      0    1    229                              TV Pad Website - TV Pad Store - English
TVP-13101243   10/24/2013   complete   Raymond       Ho             GB   Raymond       Ho             GB   paypal_standard   GBP   TVPAD-004       259      5    1    254                              TV Pad Website - TV Pad Store - English
TVP-13101244   10/24/2013   complete   Dave          Lin            US   Dave          Lin            US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101245   10/24/2013   complete   Eunice        Lai            AU   Eunice        Lai            AU   authorizenet      USD   TVPAD-004       245    100   11   2595                              TV Pad Website - TV Pad Store - English
TVP-13101247   10/25/2013   complete   Christine     Xu             US   Christine     Xu             US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-70011034   10/25/2013   complete   ken           lai            US   ken           lai            US   paypal_standard   USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - Chinese
TVP-70011035   10/25/2013   complete   SHU           TSAI           US   SHU           TSAI           US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - Chinese
TVP-13101248   10/25/2013   complete   yufang        cheng          US   yufang        cheng          US   paypal_standard   USD   TVPAD-001       220      0    2    440                              TV Pad Website - TV Pad Store - English
TVP-13101249   10/25/2013   complete   Piu           cheung         US   Piu           Cheung         US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101250   10/25/2013   complete   Albert        Chan           AU   Albert        Chan           AU   paypal_standard   USD   TVPAD-004       250      0    2    500                              TV Pad Website - TV Pad Store - English
TVP-13101251   10/26/2013   complete   G             Lo             GB   gary          lo             GB   authorizenet      USD   TVPAD-004       250      0    2    500                              TV Pad Website - TV Pad Store - English
TVP-13101253   10/26/2013   complete   Ping          Lu             NZ   Ping          Lu             NZ   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101255   10/26/2013   complete   Song          Digiacomo      US   Song          Digiacomo      US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101256   10/26/2013   complete   Sophia        Wong           GB   Sophia        Wong           GB   authorizenet      GBP   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101257   10/26/2013   complete   Kwong         Szeto          US   Ivan          Bank           US   paypal_standard   USD   TVPAD-004       250      0    2    500                              TV Pad Website - TV Pad Store - English
TVP-13101258   10/26/2013   complete   Vincent       Chan           GB   Vincent       Chan           GB   authorizenet      GBP   TVPAD-001       229      0    1    229                              TV Pad Website - TV Pad Store - English
TVP-70011036   10/26/2013   complete   ChaoHuo       Li             US   ChaoHuo       Li             US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - Chinese
TVP-13101259   10/26/2013   complete   Judy          Choong         GB   Judy          Choong         GB   paypal_standard   GBP   TVPAD-001       215      0    5   1075                              TV Pad Website - TV Pad Store - English
TVP-13101260   10/26/2013   complete   Kelvin        Park           NZ   Kelvin        Park           NZ   paypal_standard   USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101261   10/26/2013   complete   Yeuk          Leung          AU   Yeuk          Leung          AU   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101262   10/27/2013   complete   Kenneth       Lau            US   Kenneth       Lau            US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-70011037   10/27/2013   complete   sun           yugang         NZ   sun           yugang         NZ   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - Chinese
TVP-13101263    11/1/2013   complete   wilson        hwang          US   wilson        hwang          US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101264   10/27/2013   complete   Pouson        Cheang         US   Pouson        Cheang         US   paypal_standard   USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101267   10/27/2013   complete   ZHONGLIAN     XIAO           AU   ZHONGLIAN     XIAO           AU   authorizenet      AUD   TVPAD-001       220      0    2    440                              TV Pad Website - TV Pad Store - English
TVP-13101268   10/27/2013   complete   Frank         Yang           NZ   Frank         Yang           NZ   paypal_standard   USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101269   10/27/2013   complete   Andy          Lam            AU   Andy          Lam            AU   paypal_standard   AUD   TVPAD-001       229      0    1    229                              TV Pad Website - TV Pad Store - English
TVP-13101270   10/27/2013   complete   BAO           LY             NO   BAO           LY             NO   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101271   10/28/2013   complete   Tran-Cui      Chumei         CH   Tran-Cui      Chumei         CH   authorizenet      USD   TVPAD-004       250      0    2    500                              TV Pad Website - TV Pad Store - English
TVP-13101272   10/28/2013   complete   LY            Melanie        FR   YANG          ANNIE          FR   paypal_standard   USD   TVPAD-001       229      0    1    229                              TV Pad Website - TV Pad Store - English
TVP-13101273   10/28/2013   complete   chan          kwong          FR   chan          kwong          FR   authorizenet      EUR   TVPAD-001       215      0    5   1075                              TV Pad Website - TV Pad Store - English
TVP-13101274   10/28/2013   complete   Hongtao       SHAO           FR   Hongtao       SHAO           FR   authorizenet      EUR   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101275   10/28/2013   complete   Ken           Wong           GB   Ken           Wong           GB   authorizenet      GBP   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101276   10/28/2013   complete   KK            Man            NL   KK            Man            NL   authorizenet      EUR   TVPAD-001       220      0    2    440                              TV Pad Website - TV Pad Store - English
TVP-13101277   10/28/2013   complete   Kin           Cheung         NL   Kin           Cheung         NL   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101278   10/28/2013   complete   Chieh         Yang           US   Chieh         Yang           US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101279   10/28/2013   complete   Chieh         Yang           US   Tony          Yang           GB   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-70011038   10/28/2013   complete   hong          ren            US   hong          ren            US   authorizenet      USD   TVPAD-001       229      0    1    229                              TV Pad Website - TV Pad Store - Chinese
TVP-13101280   10/28/2013   complete   Tze           Chong          AU   Tze           Chong          AU   paypal_standard   USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101281   10/28/2013   complete   Jennifer      Leon           US   Jennifer      Leon           US   authorizenet      USD   TVPAD-004       250      0    2    500                              TV Pad Website - TV Pad Store - English
TVP-13101282   10/28/2013   complete   MAO           LEI            US   SAMSON        LEI            US   authorizenet      USD   TVPAD-GM-001      29     0    1      29                             TV Pad Website - TV Pad Store - English
TVP-13101282   10/28/2013   complete   MAO           LEI            US   SAMSON        LEI            US   authorizenet      USD   TVPAD-001       229      0    1    229                              TV Pad Website - TV Pad Store - English
TVP-13101283   10/28/2013   complete   Jennifer      Zhang          AU   Jennifer      Zhang          AU   authorizenet      AUD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101284   10/28/2013   complete   Kang-hyun     choi           US   Kang-hyun     choi           US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101285   10/28/2013   complete   Hong-young    Jung           SG   Hong-young    Jung           SG   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101286   10/28/2013   complete   EMMA          KWONG          GB   EMMA          KWONG          GB   authorizenet      USD   TVPAD-001       229      0    1    229                              TV Pad Website - TV Pad Store - English
TVP-13101287   10/29/2013   complete   Ko            Wang           US   Ko            Wang           US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101288   10/29/2013   complete   gezi          lai            US   CHARLENE      LAI            CA   authorizenet      USD   TVPAD-001       229      0    1    229                              TV Pad Website - TV Pad Store - English
TVP-13101289   10/29/2013   complete   William       Fung           US   William       Fung           US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101290   10/29/2013   complete   Edmond        Sung           GB   Edmond        Sung           GB   authorizenet      GBP   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101291   10/29/2013   complete   Jason         Lau            GB   Jason         Lau            GB   authorizenet      GBP   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101292   10/29/2013   complete   Jesslyn       Wong           GB   Jesslyn       Wong           GB   paypal_standard   GBP   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101293   10/29/2013   complete   Hui-ling      huang          US   Hui-ling      huang          US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101294   10/29/2013   complete   gigi          chan           US   gigi          chan           US   paypal_standard   USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101295   10/29/2013   complete   Michael       Tan            AU   Michael       Tan            AU   paypal_standard   AUD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101296   10/30/2013   complete   Valery        Quach          US   Valery        Quach          US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101297   10/30/2013   complete   Song          Lee            US   Song          Lee            US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101298   10/29/2013   complete   Jonathan      Chung          GB   Jonathan      Chung          GB   paypal_standard   GBP   TVPAD-AC-001   15.99     0    1   15.99                             TV Pad Website - TV Pad Store - English
TVP-13101299   10/30/2013   complete   Victor        Voong          SE   Victor        Voong          SE   paypal_standard   USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101300   10/30/2013   complete   Won           Lee            US   Won           Lee            US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101302   10/30/2013   complete   Evelyn        Quek           US   Evelyn        Quek           US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101303   10/30/2013   complete   Alexander     Chiu           US   Alexander     Chiu           US   authorizenet      USD   TVPAD-001       229      0    1    229                              TV Pad Website - TV Pad Store - English
TVP-13101304   10/30/2013   complete   quay          sung           US   quay          sung           US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101305   10/30/2013   complete   Mr            Law            GB   Mr            Law            GB   authorizenet      GBP   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101306   10/30/2013   complete   Harry         Choi           AU   Harry         Choi           AU   authorizenet      AUD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101307   10/31/2013   complete   hyeoge        kweon          US   hyeoge        kweon          US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101308   10/31/2013   complete   SACKILL       CHOI           US   sackill       choi           US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101309   10/31/2013   complete   Dyvanno       Uk             FR   Dyvanno       Uk             FR   authorizenet      EUR   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101310   10/31/2013   complete   Chung         Wong           NL   Chung         Wong           NL   authorizenet      EUR   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101311   10/31/2013   complete   Juan          Chong          US   Juan          Chong          US   authorizenet      USD   TVPAD-004       259      0    1    259                              TV Pad Website - TV Pad Store - English
TVP-13101312   10/31/2013   complete   Jonathan      Chung          GB   Jonathan      Chung          GB   paypal_standard   GBP   TVPAD-001       229      0    1    229                              TV Pad Website - TV Pad Store - English
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TVP-13101313   10/31/2013   complete   Chun        Lam         CA   Chun        Lam         CA   authorizenet      USD   TVPAD-004       259     5   1    254    TV Pad Website - TV Pad Store - English
TVP-70011039   10/31/2013   complete   dayu        wu          CA   dayu        wu          CA   paypal_standard   CAD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - Chinese
TVP-13101315   10/31/2013   complete   Frankie     Lai         US   Frankie     Lai         US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13101031   10/31/2013   complete   MAISIE      HALLIWELL   GB   GEOFF       HALLIWELL   GB   paypal_standard   USD   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13101031   10/31/2013   complete   MAISIE      HALLIWELL   GB   GEOFF       HALLIWELL   GB   paypal_standard   USD   TVPAD-001       229     9   1    220    TV Pad Website - TV Pad Store - English
TVP-13101039    11/1/2013   complete   Ka          Sin         AU   Ka          Sin         AU   authorizenet      AUD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13101069    11/1/2013   complete   ALEX        CHAN        AU   ALEX        CHAN        AU   authorizenet      AUD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13101133    11/1/2013   complete   Eric        TRAN        FR   Eric        TRAN        FR   authorizenet      EUR   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13101266    11/1/2013   complete   Katie       Shum        GB   Katie       Shum        GB   paypal_standard   GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13101317    11/1/2013   complete   Richard     Lim         US   Richard     Lim         US   authorizenet      USD   TVPAD-004       259     5   1    254    TV Pad Website - TV Pad Store - English
TVP-13101318    11/1/2013   complete   HUIMIN      HUANG       AU   HUIMIN      HUANG       AU   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13101319    11/1/2013   complete   Ting        KeeBing     MY   Ting        KeeBing     MY   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13101320    11/1/2013   complete   Jong        Kim         AU   Jong        Kim         AU   authorizenet      USD   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13111010    11/1/2013   complete   Joe         Choy        AU   Joe         Choy        AU   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111011    11/1/2013   complete   Peter       Verhelst    BE   Peter       Verhelst    BE   authorizenet      EUR   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111012    11/1/2013   complete   Tze         Chung       GB   Tze         Chung       GB   authorizenet      GBP   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13111013    11/1/2013   complete   leung       kei         AU   leung       kei         AU   authorizenet      AUD   TVPAD-GM-001      29    0   1      29   TV Pad Website - TV Pad Store - English
TVP-13111013    11/1/2013   complete   leung       kei         AU   leung       kei         AU   authorizenet      AUD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111014    11/2/2013   complete   Luen        Tam         US   Luen        Tam         US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111015    11/1/2013   complete   Yun         chan        GB   Yun         chan        GB   paypal_standard   GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-70011040    11/2/2013   complete   Brenda      Au          US   Brenda      Au          US   authorizenet      USD   TVPAD-001       229     0   1    229    TV Pad Website - TV Pad Store - Chinese
TVP-13111016    11/2/2013   complete   Cheap       Lao         US   Cheap       Lao         US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111017    11/2/2013   complete   Ted         Chung       CA   Ted         Chung       CA   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111019    11/2/2013   complete   Jackman     Cheung      US   Jackman     Cheung      US   authorizenet      USD   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13111020    11/2/2013   complete   Jing        He          US   Jing        He          US   authorizenet      USD   TVPAD-001       229    18   2    440    TV Pad Website - TV Pad Store - English
TVP-13111021    11/2/2013   complete   fei         mai         AU   Jimmy       Mai         AU   authorizenet      USD   TVPAD-001       229    18   2    440    TV Pad Website - TV Pad Store - English
TVP-13111022    11/2/2013   complete   ERIC        CHUNG       US   ERIC        CHUNG       US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111023    11/2/2013   complete   Alex        Dai         CA   April       Ha          CA   authorizenet      USD   TVPAD-004       259    27   3    750    TV Pad Website - TV Pad Store - English
TVP-13111024    11/2/2013   complete   Adam        Bang        US   Adam        Bang        US   authorizenet      USD   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13111025    11/2/2013   complete   Pouson      Cheang      US   Pouson      Cheang      US   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111026    11/2/2013   complete   Elaine      Li          US   Elaine      Li          US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111028    11/2/2013   complete   Sun         Crisp       US   Sun         Crisp       US   paypal_standard   USD   TVPAD-001       229     0   1    229    TV Pad Website - TV Pad Store - English
TVP-13111029    11/3/2013   complete   jason       nguyen      US   jason       nguyen      US   authorizenet      USD   TVPAD-AC-001   15.99    0   1   15.99   TV Pad Website - TV Pad Store - English
TVP-13111030    11/3/2013   complete   Tse         Tsui        GB   Tse         Tsui        GB   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111031    11/3/2013   complete   Peter       Borsje      NL   Peter       Borsje      NL   authorizenet      EUR   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111032    11/3/2013   complete   mei         li          US   mei         li          US   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111033    11/3/2013   complete   Shiu        Tin         AU   Shiu        Tin         AU   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111034    11/4/2013   complete   Michael     Qiu         AU   Michael     Qiu         AU   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111035    11/4/2013   complete   Nelson      Tan         SG   Nelson      Tan         SG   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111036    11/4/2013   complete   Thons       julie       FR   Thons       julie       FR   authorizenet      USD   TVPAD-001       229    18   2    440    TV Pad Website - TV Pad Store - English
TVP-70011041    11/4/2013   complete   Junhao      Shan        US   Junhao      Shan        US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - Chinese
TVP-13111037    11/4/2013   complete   Cuong       Tang        US   Cuong       Tang        US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111038    11/4/2013   complete   Miriam      Tam         CA   Miriam      Tam         CA   paypal_standard   USD   TVPAD-AC-001   15.99    0   1   15.99   TV Pad Website - TV Pad Store - English
TVP-13111038    11/4/2013   complete   Miriam      Tam         CA   Miriam      Tam         CA   paypal_standard   USD   TVPAD-GM-001      29    0   1      29   TV Pad Website - TV Pad Store - English
TVP-13111039    11/4/2013   complete   Susan       Tam         GB   Susan       Tam         GB   authorizenet      GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111040    11/4/2013   complete   Jong        Kim         US   Jong        Kim         US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111041    11/4/2013   complete   Phong       Truong      US   Phong       Truong      US   authorizenet      USD   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13111043    11/4/2013   complete   Yue         Hong        US   Yue         Hong        US   authorizenet      USD   TVPAD-001       229     5   1    224    TV Pad Website - TV Pad Store - English
TVP-13111044    11/4/2013   complete   Jerrett     Chang       US   Jerrett     Chang       US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111045    11/4/2013   complete   polun       liu         GB   polun       liu         GB   paypal_standard   GBP   TVPAD-001       229    18   2    440    TV Pad Website - TV Pad Store - English
TVP-13111046    11/4/2013   complete   guoding     lei         AU   guoding     lei         AU   paypal_standard   USD   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13111047    11/4/2013   complete   XIAOLIANG   LI          AU   XIAOLIANG   LI          AU   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111048    11/4/2013   complete   Eunseong    Ko          DE   Eunseong    Ko          DE   paypal_standard   USD   TVPAD-001       229    70   5   1075    TV Pad Website - TV Pad Store - English
TVP-13111049    11/4/2013   complete   LO          Daniel      FR   LO          Daniel      FR   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111050    11/5/2013   complete   Christine   Wong        GB   Christine   Wong        GB   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-70011042    11/5/2013   complete   jing        yang        US   jing        yang        US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - Chinese
TVP-13111051    11/5/2013   complete   PAUL        SHUI        US   PAUL        SHUI        US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111052    11/5/2013   complete   Jonathan    Chung       GB   Jonathan    Chung       GB   paypal_standard   GBP   TVPAD-001       229    18   2    440    TV Pad Website - TV Pad Store - English
TVP-13111053    11/5/2013   complete   Qu-Choul,   Kyoung      CA   Qu-Choul,   Kyoung      CA   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111054    11/5/2013   complete   XUEHUA      AN          US   XUEHUA      AN          US   authorizenet      USD   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13111055    11/5/2013   complete   Calvin      Cheung      US   Calvin      Cheung      US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111056    11/5/2013   complete   Calvin      Cheung      US   Calvin      Cheung      US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111057    11/5/2013   complete   Stephen     Lowe        US   Stephen     Lowe        US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111058    11/6/2013   complete   Young       Moon        HK   Young       Moon        HK   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111059    11/5/2013   complete   Jenny       Leung       US   Jenny       Leung       US   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111061    11/5/2013   complete   jason       ho          GB   jason       ho          GB   paypal_standard   GBP   TVPAD-004       259    27   3    750    TV Pad Website - TV Pad Store - English
TVP-13111062    11/5/2013   complete   Victor      Voong       SE   Victor      Voong       SE   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111063    11/5/2013   complete   Phu         Lieu        AT   Phu         Lieu        AT   paypal_standard   EUR   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111064    11/6/2013   complete   Kam         Lai         US   Kam         Lai         US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111065    11/6/2013   complete   my van      thang       CH   My          Thang       CH   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111066    11/6/2013   complete   Tjan        Siu         NL   Tjan        Siu         NL   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111067    11/6/2013   complete   Zhensheng   zhou        SE   Zhensheng   zhou        SE   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111069    11/6/2013   complete   Geoffery    So          CA   Geoffery    So          CA   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111070    11/6/2013   complete   Margaret    Mak         GB   Margaret    Mak         GB   paypal_standard   GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111071    11/6/2013   complete   Josh        Nathan      AU   Josh        Nathan      AU   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111071    11/6/2013   complete   Josh        Nathan      AU   Josh        Nathan      AU   paypal_standard   USD   TVPAD-AC-001   15.99    0   1   15.99   TV Pad Website - TV Pad Store - English
TVP-13111072    11/7/2013   complete   Eric        Leung       US   Eric        Leung       US   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111073    11/7/2013   complete   Chi         Ng          DE   Chi         Ng          DE   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111074    11/7/2013   complete   Taku        Toyoshima   GB   Taku        Toyoshima   GB   paypal_standard   GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111075    11/7/2013   complete   Haodong     Zhang       US   Haodong     Zhang       US   authorizenet      USD   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13111076    11/7/2013   complete   Dong        Kim         CA   Francis     Kim         CA   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111077    11/7/2013   complete   yan         huang       US   Yan         Huang       US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111078    11/7/2013   complete   jang        woo         CL   jang        woo         CL   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111078    11/7/2013   complete   jang        woo         CL   jang        woo         CL   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111078    11/7/2013   complete   jang        woo         CL   jang        woo         CL   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111079    11/8/2013   complete   Sung        Hong        US   Sung        Hong        US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111079    11/8/2013   complete   Sung        Hong        US   Sung        Hong        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111079    11/8/2013   complete   Sung        Hong        US   Sung        Hong        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111080    11/8/2013   complete   Kan         Lin         BE   Kan         Lin         BE   paypal_standard   EUR   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111080    11/8/2013   complete   Kan         Lin         BE   Kan         Lin         BE   paypal_standard   EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111081    11/8/2013   complete   Philip      Tang        GB   Philip      Tang        GB   paypal_standard   GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111081    11/8/2013   complete   Philip      Tang        GB   Philip      Tang        GB   paypal_standard   GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111081    11/8/2013   complete   Philip      Tang        GB   Philip      Tang        GB   paypal_standard   GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011043    11/8/2013   complete   Nan         Li          AU   Nan         Li          AU   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - Chinese
TVP-70011043    11/8/2013   complete   Nan         Li          AU   Nan         Li          AU   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011043    11/8/2013   complete   Nan         Li          AU   Nan         Li          AU   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13111082    11/8/2013   complete   TZE         SO          US   TZE         SO          US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111082    11/8/2013   complete   TZE         SO          US   TZE         SO          US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111082    11/8/2013   complete   TZE         SO          US   TZE         SO          US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111083    11/8/2013   complete   Wing        Szeto       US   Wing        Szeto       US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111083    11/8/2013   complete   Wing        Szeto       US   Wing        Szeto       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111083    11/8/2013   complete   Wing        Szeto       US   Wing        Szeto       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111084    11/8/2013   complete   Niki        Wong        US   Niki        Wong        US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111084    11/8/2013   complete   Niki        Wong        US   Niki        Wong        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111084    11/8/2013   complete   Niki        Wong        US   Niki        Wong        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111085    11/8/2013   complete   Bevan       Chuang      NZ   Bevan       Chuang      NZ   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111085    11/8/2013   complete   Bevan       Chuang      NZ   Bevan       Chuang      NZ   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111086    11/8/2013   complete   Jonathan    Chung       GB   Jonathan    Chung       GB   paypal_standard   GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111086    11/8/2013   complete   Jonathan    Chung       GB   Jonathan    Chung       GB   paypal_standard   GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111086    11/8/2013   complete   Jonathan    Chung       GB   Jonathan    Chung       GB   paypal_standard   GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111087    11/8/2013   complete   Lok         Law         AU   Lok         Law         AU   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111087    11/8/2013   complete   Lok         Law         AU   Lok         Law         AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111087    11/8/2013   complete   Lok         Law         AU   Lok         Law         AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111088    11/8/2013   complete   Ramadan     Nevzat      AU   Ramadan     Nevzat      AU   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111088    11/8/2013   complete   Ramadan     Nevzat      AU   Ramadan     Nevzat      AU   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111088    11/8/2013   complete   Ramadan     Nevzat      AU   Ramadan     Nevzat      AU   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111089    11/8/2013   complete   A           chai        GB   Vicky       chai        GB   authorizenet      GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111089    11/8/2013   complete   A           chai        GB   Vicky       chai        GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111089    11/8/2013   complete   A           chai        GB   Vicky       chai        GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111090    11/8/2013   complete   Quoc        Diep        DK   Quoc        Diep        DK   authorizenet      USD   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13111090    11/8/2013   complete   Quoc        Diep        DK   Quoc        Diep        DK   authorizenet      USD   TVPAD-GM-001      27   18   2      36   TV Pad Website - TV Pad Store - English
TVP-13111090    11/8/2013   complete   Quoc        Diep        DK   Quoc        Diep        DK   authorizenet      USD   HGIFT2             0    0   4       0   TV Pad Website - TV Pad Store - English
TVP-13111090    11/8/2013   complete   Quoc        Diep        DK   Quoc        Diep        DK   authorizenet      USD   HGIFT1             0    0   4       0   TV Pad Website - TV Pad Store - English
TVP-13111091   11/10/2013   complete   william     chen        US   william     chen        US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111091   11/10/2013   complete   william     chen        US   william     chen        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111091   11/10/2013   complete   william     chen        US   william     chen        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111092   11/10/2013   complete   xiaoyu      susol       GB   xiaoyu      susol       GB   authorizenet      GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111092   11/10/2013   complete   xiaoyu      susol       GB   xiaoyu      susol       GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111092   11/10/2013   complete   xiaoyu      susol       GB   xiaoyu      susol       GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111093   11/10/2013   complete   Tony        Ngo         AU   Tony        Ngo         AU   authorizenet      AUD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111093   11/10/2013   complete   Tony        Ngo         AU   Tony        Ngo         AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111093   11/10/2013   complete   Tony        Ngo         AU   Tony        Ngo         AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111094   11/10/2013   complete   Joe         Ng          US   Joe         Ng          US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111094   11/10/2013   complete   Joe         Ng          US   Joe         Ng          US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111094   11/10/2013   complete   Joe         Ng          US   Joe         Ng          US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111095   11/10/2013   complete   yabing      huang       US   Yabing      Huang       US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111095   11/10/2013   complete   yabing      huang       US   Yabing      Huang       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111095   11/10/2013   complete   yabing      huang       US   Yabing      Huang       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111097   11/10/2013   complete   Y.W.        Poll-Ho     NL   Y.W.        Poll-Ho     NL   authorizenet      EUR   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111097   11/10/2013   complete   Y.W.        Poll-Ho     NL   Y.W.        Poll-Ho     NL   authorizenet      EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111097   11/10/2013   complete   Y.W.        Poll-Ho     NL   Y.W.        Poll-Ho     NL   authorizenet      EUR   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111099   11/10/2013   complete   Jonathan    Yu          NL   Jonathan    Yu          NL   authorizenet      EUR   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111099   11/10/2013   complete   Jonathan    Yu          NL   Jonathan    Yu          NL   authorizenet      EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111099   11/10/2013   complete   Jonathan    Yu          NL   Jonathan    Yu          NL   authorizenet      EUR   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111100    11/9/2013   complete   villard     liu         CA   villard     liu         CA   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111100    11/9/2013   complete   villard     liu         CA   villard     liu         CA   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111100    11/9/2013   complete   villard     liu         CA   villard     liu         CA   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111101   11/10/2013   complete   YUNG        WING        US   Vincent     Wing        US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111101   11/10/2013   complete   YUNG        WING        US   Vincent     Wing        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111101   11/10/2013   complete   YUNG        WING        US   Vincent     Wing        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111102   11/10/2013   complete   Bou         LAM         FR   Bou         LAM         FR   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111102   11/10/2013   complete   Bou         LAM         FR   Bou         LAM         FR   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111102   11/10/2013   complete   Bou         LAM         FR   Bou         LAM         FR   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111103   11/10/2013   complete   Beaumont    Hung        US   Beaumont    Hung        US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111103   11/10/2013   complete   Beaumont    Hung        US   Beaumont    Hung        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111105   11/10/2013   complete   Su          Tak         US   Su          Tak         US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111105   11/10/2013   complete   Su          Tak         US   Su          Tak         US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111105   11/10/2013   complete   Su          Tak         US   Su          Tak         US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111106   11/10/2013   complete   Su          Tak         US   Su          Tak         US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111106   11/10/2013   complete   Su          Tak         US   Su          Tak         US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111106   11/10/2013   complete   Su          Tak         US   Su          Tak         US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111107   11/10/2013   complete   Wonda       Wong        US   Wonda       Wong        US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
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                                   #:20423
TVP-13111107   11/10/2013   complete   Wonda         Wong           US   Wonda         Wong           US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111107   11/10/2013   complete   Wonda         Wong           US   Wonda         Wong           US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111108   11/10/2013   complete   Brandon       Fang           US   Brandon       Fang           US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111108   11/10/2013   complete   Brandon       Fang           US   Brandon       Fang           US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111108   11/10/2013   complete   Brandon       Fang           US   Brandon       Fang           US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111109   11/10/2013   complete   Y             Chung          GB   Y             Chung          GB   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111109   11/10/2013   complete   Y             Chung          GB   Y             Chung          GB   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111109   11/10/2013   complete   Y             Chung          GB   Y             Chung          GB   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011044   11/10/2013   complete   jin           huang          US   jin           huang          US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - Chinese
TVP-70011044   11/10/2013   complete   jin           huang          US   jin           huang          US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011044   11/10/2013   complete   jin           huang          US   jin           huang          US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13111110   11/10/2013   complete   Christopher   Dixon          AU   Christopher   Dixon          AU   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111110   11/10/2013   complete   Christopher   Dixon          AU   Christopher   Dixon          AU   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111110   11/10/2013   complete   Christopher   Dixon          AU   Christopher   Dixon          AU   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111111   11/10/2013   complete   Frank         Ru             AU   Frank         Ru             AU   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111111   11/10/2013   complete   Frank         Ru             AU   Frank         Ru             AU   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111111   11/10/2013   complete   Frank         Ru             AU   Frank         Ru             AU   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111112   11/10/2013   complete   Ivy           Joe            NZ   Ivy           Joe            NZ   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111112   11/10/2013   complete   Ivy           Joe            NZ   Ivy           Joe            NZ   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111112   11/10/2013   complete   Ivy           Joe            NZ   Ivy           Joe            NZ   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111113   11/11/2013   complete   xiaojiang     Cao            NZ   xiaojiang     Cao            NZ   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111113   11/11/2013   complete   xiaojiang     Cao            NZ   xiaojiang     Cao            NZ   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111113   11/11/2013   complete   xiaojiang     Cao            NZ   xiaojiang     Cao            NZ   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011045   11/11/2013   complete   CHUNWEI       LOU            SG   CHUNWEI       LOU            SG   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - Chinese
TVP-70011045   11/11/2013   complete   CHUNWEI       LOU            SG   CHUNWEI       LOU            SG   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011045   11/11/2013   complete   CHUNWEI       LOU            SG   CHUNWEI       LOU            SG   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13111114   11/10/2013   complete   Chad          Lai            AU   Chad          Lai            AU   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111114   11/10/2013   complete   Chad          Lai            AU   Chad          Lai            AU   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111114   11/10/2013   complete   Chad          Lai            AU   Chad          Lai            AU   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111115   11/11/2013   complete   Miho          wakatsuki      AU   Miho          wakatsuki      AU   authorizenet      AUD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111115   11/11/2013   complete   Miho          wakatsuki      AU   Miho          wakatsuki      AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111115   11/11/2013   complete   Miho          wakatsuki      AU   Miho          wakatsuki      AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111116   11/10/2013   complete   T             Sham           GB   T             Sham           GB   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111116   11/10/2013   complete   T             Sham           GB   T             Sham           GB   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111116   11/10/2013   complete   T             Sham           GB   T             Sham           GB   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111117   11/11/2013   complete   lu            hai            SE   lu            hai            SE   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111117   11/11/2013   complete   lu            hai            SE   lu            hai            SE   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111117   11/11/2013   complete   lu            hai            SE   lu            hai            SE   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011046   11/11/2013   complete   Tien          Huynh          US   Tien          Huynh          US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - Chinese
TVP-70011046   11/11/2013   complete   Tien          Huynh          US   Tien          Huynh          US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011046   11/11/2013   complete   Tien          Huynh          US   Tien          Huynh          US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13111121   11/11/2013   complete   CHENG         LEWES          HK   lewes         cheng          GB   authorizenet      GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111121   11/11/2013   complete   CHENG         LEWES          HK   lewes         cheng          GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111121   11/11/2013   complete   CHENG         LEWES          HK   lewes         cheng          GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111122   11/11/2013   complete   Ramanan       sivasundaram   CA   Ramanan       sivasundaram   CA   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111122   11/11/2013   complete   Ramanan       sivasundaram   CA   Ramanan       sivasundaram   CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111122   11/11/2013   complete   Ramanan       sivasundaram   CA   Ramanan       sivasundaram   CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111123   11/11/2013   complete   Mr            Fung           GB   Mr            Fung           GB   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111123   11/11/2013   complete   Mr            Fung           GB   Mr            Fung           GB   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111123   11/11/2013   complete   Mr            Fung           GB   Mr            Fung           GB   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111124   11/11/2013   complete   Michael       wang           US   Cindy         wang           US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111124   11/11/2013   complete   Michael       wang           US   Cindy         wang           US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111124   11/11/2013   complete   Michael       wang           US   Cindy         wang           US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111125   11/11/2013   complete   WEN           HUANG          CA   Wayne         Huang          CA   authorizenet      USD   TVPAD-GM-001      29    0   1      29   TV Pad Website - TV Pad Store - English
TVP-13111126   11/11/2013   complete   Ying          Guan           CA   Ying          Guan           CA   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111126   11/11/2013   complete   Ying          Guan           CA   Ying          Guan           CA   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111126   11/11/2013   complete   Ying          Guan           CA   Ying          Guan           CA   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111127   11/11/2013   complete   edward        lee            GB   edward        lee            GB   paypal_standard   GBP   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13111127   11/11/2013   complete   edward        lee            GB   edward        lee            GB   paypal_standard   GBP   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111127   11/11/2013   complete   edward        lee            GB   edward        lee            GB   paypal_standard   GBP   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111128   11/11/2013   complete   leung         kei            AU   leung         kei            AU   authorizenet      AUD   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13111128   11/11/2013   complete   leung         kei            AU   leung         kei            AU   authorizenet      AUD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111128   11/11/2013   complete   leung         kei            AU   leung         kei            AU   authorizenet      AUD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111129   11/11/2013   complete   PETER         WU             AU   PETER         WU             AU   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111129   11/11/2013   complete   PETER         WU             AU   PETER         WU             AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111129   11/11/2013   complete   PETER         WU             AU   PETER         WU             AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111130   11/11/2013   complete   Tu            Lee            GB   Tu            Lee            GB   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111130   11/11/2013   complete   Tu            Lee            GB   Tu            Lee            GB   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111130   11/11/2013   complete   Tu            Lee            GB   Tu            Lee            GB   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111131   11/11/2013   complete   Celine        Lim            MY   Soon          Yung           AU   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111131   11/11/2013   complete   Celine        Lim            MY   Soon          Yung           AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111131   11/11/2013   complete   Celine        Lim            MY   Soon          Yung           AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111132   11/11/2013   complete   Yusaku        Toyozumi       AU   Yusaku        Toyozumi       AU   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111132   11/11/2013   complete   Yusaku        Toyozumi       AU   Yusaku        Toyozumi       AU   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111132   11/11/2013   complete   Yusaku        Toyozumi       AU   Yusaku        Toyozumi       AU   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111133   11/11/2013   complete   Douglas       Lee            AU   Douglas       Lee            AU   paypal_standard   AUD   TVPAD-004       259    23   2    495    TV Pad Website - TV Pad Store - English
TVP-13111133   11/11/2013   complete   Douglas       Lee            AU   Douglas       Lee            AU   paypal_standard   AUD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111133   11/11/2013   complete   Douglas       Lee            AU   Douglas       Lee            AU   paypal_standard   AUD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111134   11/11/2013   complete   Yen           Chen           AU   Yen           Chen           AU   authorizenet      AUD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111134   11/11/2013   complete   Yen           Chen           AU   Yen           Chen           AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111134   11/11/2013   complete   Yen           Chen           AU   Yen           Chen           AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111135   11/11/2013   complete   David         Ng             CA   David         Ng             CA   authorizenet      USD   TVPAD-004       259     5   1    254    TV Pad Website - TV Pad Store - English
TVP-13111135   11/11/2013   complete   David         Ng             CA   David         Ng             CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111135   11/11/2013   complete   David         Ng             CA   David         Ng             CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111136   11/12/2013   complete   Borden        Liu            US   Borden        Liu            US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111136   11/12/2013   complete   Borden        Liu            US   Borden        Liu            US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111136   11/12/2013   complete   Borden        Liu            US   Borden        Liu            US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111137   11/12/2013   complete   Ya            Lu             CA   Ya            Lu             CA   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111137   11/12/2013   complete   Ya            Lu             CA   Ya            Lu             CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111137   11/12/2013   complete   Ya            Lu             CA   Ya            Lu             CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111138   11/11/2013   complete   Ray           Cheung         AU   Ray           Cheung         AU   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111138   11/11/2013   complete   Ray           Cheung         AU   Ray           Cheung         AU   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111138   11/11/2013   complete   Ray           Cheung         AU   Ray           Cheung         AU   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111139   11/11/2013   complete   Newton        Garland        GB   Newton        Garland        GB   paypal_standard   GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111139   11/11/2013   complete   Newton        Garland        GB   Newton        Garland        GB   paypal_standard   GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111139   11/11/2013   complete   Newton        Garland        GB   Newton        Garland        GB   paypal_standard   GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111140   11/12/2013   complete   YINGWEN       WU             US   YINGWEN       WU             US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111140   11/12/2013   complete   YINGWEN       WU             US   YINGWEN       WU             US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111140   11/12/2013   complete   YINGWEN       WU             US   YINGWEN       WU             US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011048   11/12/2013   complete   David         Yuen           US   David         Yuen           US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - Chinese
TVP-70011048   11/12/2013   complete   David         Yuen           US   David         Yuen           US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011048   11/12/2013   complete   David         Yuen           US   David         Yuen           US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13111141   11/12/2013   complete   TRANG         David          FR   David         TRANG          FR   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111141   11/12/2013   complete   TRANG         David          FR   David         TRANG          FR   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111141   11/12/2013   complete   TRANG         David          FR   David         TRANG          FR   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111142   11/12/2013   complete   Phu           Lieu           AT   Trieu         Tao            AT   paypal_standard   EUR   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111142   11/12/2013   complete   Phu           Lieu           AT   Trieu         Tao            AT   paypal_standard   EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111142   11/12/2013   complete   Phu           Lieu           AT   Trieu         Tao            AT   paypal_standard   EUR   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111143   11/12/2013   complete   Damen         Ng             CA   Damen         Ng             CA   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111143   11/12/2013   complete   Damen         Ng             CA   Damen         Ng             CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111143   11/12/2013   complete   Damen         Ng             CA   Damen         Ng             CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111144   11/12/2013   complete   Raymond       Chan           US   Raymond       Chan           US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111144   11/12/2013   complete   Raymond       Chan           US   Raymond       Chan           US   authorizenet      USD   TVPAD-GM-001      29    0   1      29   TV Pad Website - TV Pad Store - English
TVP-13111144   11/12/2013   complete   Raymond       Chan           US   Raymond       Chan           US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111144   11/12/2013   complete   Raymond       Chan           US   Raymond       Chan           US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111147   11/12/2013   complete   Jonathan      Yu             AU   Jonathan      Yu             AU   paypal_standard   AUD   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13111147   11/12/2013   complete   Jonathan      Yu             AU   Jonathan      Yu             AU   paypal_standard   AUD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111147   11/12/2013   complete   Jonathan      Yu             AU   Jonathan      Yu             AU   paypal_standard   AUD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111148   11/12/2013   complete   guo           li             US   guo           li             US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111148   11/12/2013   complete   guo           li             US   guo           li             US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111148   11/12/2013   complete   guo           li             US   guo           li             US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111149   11/12/2013   complete   tammy         poon           US   tammy         poon           US   authorizenet      USD   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13111149   11/12/2013   complete   tammy         poon           US   tammy         poon           US   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111149   11/12/2013   complete   tammy         poon           US   tammy         poon           US   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111146   11/13/2013   complete   jay           kim            US   jay           kim            US   authorizenet      USD   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13111146   11/13/2013   complete   jay           kim            US   jay           kim            US   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111146   11/13/2013   complete   jay           kim            US   jay           kim            US   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111150   11/13/2013   complete   andy          wong           US   andy          wong           US   authorizenet      USD   TVPAD-AC-001   15.99    0   1   15.99   TV Pad Website - TV Pad Store - English
TVP-13111152   11/13/2013   complete   Kar Min       Pang           NL   Kar           Pang           NL   authorizenet      EUR   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111152   11/13/2013   complete   Kar Min       Pang           NL   Kar           Pang           NL   authorizenet      EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111153   11/13/2013   complete   Christina     Liu            US   Christina     Liu            US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111153   11/13/2013   complete   Christina     Liu            US   Christina     Liu            US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111153   11/13/2013   complete   Christina     Liu            US   Christina     Liu            US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011049   11/12/2013   complete   Jianqing      He             AU   Jianqing      He             AU   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - Chinese
TVP-70011049   11/12/2013   complete   Jianqing      He             AU   Jianqing      He             AU   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011049   11/12/2013   complete   Jianqing      He             AU   Jianqing      He             AU   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13111154   11/13/2013   complete   richard       park           US   richard       park           US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111154   11/13/2013   complete   richard       park           US   richard       park           US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111154   11/13/2013   complete   richard       park           US   richard       park           US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111155   11/13/2013   complete   Philip        Tran           GB   Philip        Tran           GB   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111155   11/13/2013   complete   Philip        Tran           GB   Philip        Tran           GB   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111155   11/13/2013   complete   Philip        Tran           GB   Philip        Tran           GB   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111156   11/13/2013   complete   Buu           Truong         GB   Buu           Truong         GB   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111156   11/13/2013   complete   Buu           Truong         GB   Buu           Truong         GB   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111156   11/13/2013   complete   Buu           Truong         GB   Buu           Truong         GB   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111157   11/13/2013   complete   Kelvin        Liu            CA   Kelvin        Liu            CA   authorizenet      CAD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111157   11/13/2013   complete   Kelvin        Liu            CA   Kelvin        Liu            CA   authorizenet      CAD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111157   11/13/2013   complete   Kelvin        Liu            CA   Kelvin        Liu            CA   authorizenet      CAD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111158   11/13/2013   complete   You           Yao            US   You           Yao            US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111158   11/13/2013   complete   You           Yao            US   You           Yao            US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111158   11/13/2013   complete   You           Yao            US   You           Yao            US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111159   11/13/2013   complete   JOSEPH        FOK            US   JOSEPH        FOK            US   paypal_standard   USD   TVPAD-004       259    18   2    500    TV Pad Website - TV Pad Store - English
TVP-13111159   11/13/2013   complete   JOSEPH        FOK            US   JOSEPH        FOK            US   paypal_standard   USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111159   11/13/2013   complete   JOSEPH        FOK            US   JOSEPH        FOK            US   paypal_standard   USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111160   11/13/2013   complete   Travis        Chen           NZ   Travis        Chen           NZ   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111160   11/13/2013   complete   Travis        Chen           NZ   Travis        Chen           NZ   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111160   11/13/2013   complete   Travis        Chen           NZ   Travis        Chen           NZ   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111161   11/13/2013   complete   Lucy          Phung          GB   Lucy          Phung          GB   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111161   11/13/2013   complete   Lucy          Phung          GB   Lucy          Phung          GB   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111161   11/13/2013   complete   Lucy          Phung          GB   Lucy          Phung          GB   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111162   11/13/2013   complete   YU            SHI            BE   YU            SHI            BE   paypal_standard   EUR   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111162   11/13/2013   complete   YU            SHI            BE   YU            SHI            BE   paypal_standard   EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
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                                   #:20424
TVP-13111162   11/13/2013   complete   YU         SHI       BE   YU         SHI       BE   paypal_standard   EUR   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111163   11/13/2013   complete   Vincent    Lau       GB   Vincent    Lau       GB   authorizenet      GBP   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111163   11/13/2013   complete   Vincent    Lau       GB   Vincent    Lau       GB   authorizenet      GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111163   11/13/2013   complete   Vincent    Lau       GB   Vincent    Lau       GB   authorizenet      GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111164   11/13/2013   complete   Mrs        Cheung    AU   Jena       Cheung    AU   authorizenet      AUD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111164   11/13/2013   complete   Mrs        Cheung    AU   Jena       Cheung    AU   authorizenet      AUD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111164   11/13/2013   complete   Mrs        Cheung    AU   Jena       Cheung    AU   authorizenet      AUD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-70011050   11/13/2013   complete   Young      li        US   Young      li        US   authorizenet      USD   TVPAD-GM-001      29    0   1      29             TV Pad Website - TV Pad Store - Chinese
TVP-13111166   11/13/2013   complete   DIEN       DO        US   dien       do        US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111166   11/13/2013   complete   DIEN       DO        US   dien       do        US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111166   11/13/2013   complete   DIEN       DO        US   dien       do        US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111167   11/13/2013   complete   sam        yuen      AU   sam        yuen      AU   paypal_standard   USD   TVPAD-004       259    18   2    500              TV Pad Website - TV Pad Store - English
TVP-13111167   11/13/2013   complete   sam        yuen      AU   sam        yuen      AU   paypal_standard   USD   HGIFT2             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13111167   11/13/2013   complete   sam        yuen      AU   sam        yuen      AU   paypal_standard   USD   HGIFT1             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13111168   11/13/2013   closed     BINBIN     DONG      AU   BINBIN     DONG      AU   authorizenet      AUD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111168   11/13/2013   closed     BINBIN     DONG      AU   BINBIN     DONG      AU   authorizenet      AUD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111168   11/13/2013   closed     BINBIN     DONG      AU   BINBIN     DONG      AU   authorizenet      AUD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111169   11/13/2013   complete   alan       li        AU   alan       li        AU   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111169   11/13/2013   complete   alan       li        AU   alan       li        AU   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111169   11/13/2013   complete   alan       li        AU   alan       li        AU   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111170   11/13/2013   complete   thomas     tjeuw     AU   thomas     tjeuw     AU   authorizenet      AUD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111170   11/13/2013   complete   thomas     tjeuw     AU   thomas     tjeuw     AU   authorizenet      AUD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111170   11/13/2013   complete   thomas     tjeuw     AU   thomas     tjeuw     AU   authorizenet      AUD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111171   11/14/2013   complete   Gary       Au        GB   Anita      Wong      GB   authorizenet      GBP   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111171   11/14/2013   complete   Gary       Au        GB   Anita      Wong      GB   authorizenet      GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111171   11/14/2013   complete   Gary       Au        GB   Anita      Wong      GB   authorizenet      GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111172   11/14/2013   complete   Hok Kay    Tang      GB   Hok        Tang      GB   authorizenet      GBP   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111172   11/14/2013   complete   Hok Kay    Tang      GB   Hok        Tang      GB   authorizenet      GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111172   11/14/2013   complete   Hok Kay    Tang      GB   Hok        Tang      GB   authorizenet      GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111173   11/14/2013   complete   Gordon     Fung      US   Gordon     Fung      US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111173   11/14/2013   complete   Gordon     Fung      US   Gordon     Fung      US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111173   11/14/2013   complete   Gordon     Fung      US   Gordon     Fung      US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111174   11/14/2013   complete   Joan       Rubin     US   Joan       Rubin     US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111174   11/14/2013   complete   Joan       Rubin     US   Joan       Rubin     US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111174   11/14/2013   complete   Joan       Rubin     US   Joan       Rubin     US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111176   11/14/2013   complete   Wai        Tsang     GB   Khai       Ng        SG   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111176   11/14/2013   complete   Wai        Tsang     GB   Khai       Ng        SG   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111176   11/14/2013   complete   Wai        Tsang     GB   Khai       Ng        SG   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111178   11/14/2013   complete   Hon        Lee       CA   Hon        Lee       CA   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111178   11/14/2013   complete   Hon        Lee       CA   Hon        Lee       CA   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111178   11/14/2013   complete   Hon        Lee       CA   Hon        Lee       CA   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111179   11/14/2013   complete   Euihwan    Si        US   Peter      Si        US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111179   11/14/2013   complete   Euihwan    Si        US   Peter      Si        US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111179   11/14/2013   complete   Euihwan    Si        US   Peter      Si        US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111184   11/15/2013   complete   Andy       Choi      CA   Andy       Choi      CA   authorizenet      USD   TVPAD-004       259    10   1    249              TV Pad Website - TV Pad Store - English
TVP-13111184   11/15/2013   complete   Andy       Choi      CA   Andy       Choi      CA   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111184   11/15/2013   complete   Andy       Choi      CA   Andy       Choi      CA   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111185   11/15/2013   complete   KYUNG      KIM       KW   KYUNG      KIM       KW   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111185   11/15/2013   complete   KYUNG      KIM       KW   KYUNG      KIM       KW   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111185   11/15/2013   complete   KYUNG      KIM       KW   KYUNG      KIM       KW   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111186   11/15/2013   complete   Philip     diep      GB   Philip     Diep      GB   authorizenet      GBP   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111186   11/15/2013   complete   Philip     diep      GB   Philip     Diep      GB   authorizenet      GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111186   11/15/2013   complete   Philip     diep      GB   Philip     Diep      GB   authorizenet      GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111187   11/15/2013   complete   Peter      Shi       US   Peter      Shi       US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111187   11/15/2013   complete   Peter      Shi       US   Peter      Shi       US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111187   11/15/2013   complete   Peter      Shi       US   Peter      Shi       US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111189   11/15/2013   complete   Katy.      Du        US   Katy.      Du        US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111189   11/15/2013   complete   Katy.      Du        US   Katy.      Du        US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111189   11/15/2013   complete   Katy.      Du        US   Katy.      Du        US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111192   11/15/2013   complete   Yuxuan     Li        US   Yuxuan     Li        US   paypal_standard   USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111192   11/15/2013   complete   Yuxuan     Li        US   Yuxuan     Li        US   paypal_standard   USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111192   11/15/2013   complete   Yuxuan     Li        US   Yuxuan     Li        US   paypal_standard   USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111193   11/15/2013   complete   Boum       Kim       US   Boum       Kim       US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111193   11/15/2013   complete   Boum       Kim       US   Boum       Kim       US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111193   11/15/2013   complete   Boum       Kim       US   Boum       Kim       US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111195   11/15/2013   complete   Choiyee    Poon      NL   Kayi       Poon      NL   paypal_standard   EUR   TVPAD-AC-001   15.99    0   1   15.99             TV Pad Website - TV Pad Store - English
TVP-13111196   11/15/2013   complete   Thu        Wu        DE   Thu        Wu        DE   paypal_standard   USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111196   11/15/2013   complete   Thu        Wu        DE   Thu        Wu        DE   paypal_standard   USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111196   11/15/2013   complete   Thu        Wu        DE   Thu        Wu        DE   paypal_standard   USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111197   11/15/2013   complete   David      Fang      AU   David      Fang      AU   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111197   11/15/2013   complete   David      Fang      AU   David      Fang      AU   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111197   11/15/2013   complete   David      Fang      AU   David      Fang      AU   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111198   11/15/2013   complete   Xiaogang   Yao       AU   Xiaogang   Yao       AU   authorizenet      AUD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111198   11/15/2013   complete   Xiaogang   Yao       AU   Xiaogang   Yao       AU   authorizenet      AUD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111198   11/15/2013   complete   Xiaogang   Yao       AU   Xiaogang   Yao       AU   authorizenet      AUD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111199   11/17/2013   complete   S          chai      GB   Dylan      lim       GB   authorizenet      GBP   TVPAD-004       250     0   3    750              TV Pad Website - TV Pad Store - English
TVP-13111199   11/17/2013   complete   S          chai      GB   Dylan      lim       GB   authorizenet      GBP   HGIFT2             0    0   3       0             TV Pad Website - TV Pad Store - English
TVP-13111199   11/17/2013   complete   S          chai      GB   Dylan      lim       GB   authorizenet      GBP   HGIFT1             0    0   3       0             TV Pad Website - TV Pad Store - English
TVP-13111200   11/17/2013   complete   XU         XIOALI    BE   TAN        BENG      BE   authorizenet      EUR   TVPAD-004       250     0   2    500              TV Pad Website - TV Pad Store - English
TVP-13111201   11/17/2013   complete   Kevin      Keisner   US   Kevin      Keisner   US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111201   11/17/2013   complete   Kevin      Keisner   US   Kevin      Keisner   US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111201   11/17/2013   complete   Kevin      Keisner   US   Kevin      Keisner   US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111202   11/16/2013   complete   Yong       Lin       US   Yong       Lin       US   paypal_standard   USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111202   11/16/2013   complete   Yong       Lin       US   Yong       Lin       US   paypal_standard   USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111202   11/16/2013   complete   Yong       Lin       US   Yong       Lin       US   paypal_standard   USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111203   11/17/2013   complete   Will       Helmick   US   Will       Helmick   US   authorizenet      USD   TVPAD-004       250     0   2    500              TV Pad Website - TV Pad Store - English
TVP-13111203   11/17/2013   complete   Will       Helmick   US   Will       Helmick   US   authorizenet      USD   HGIFT2             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13111203   11/17/2013   complete   Will       Helmick   US   Will       Helmick   US   authorizenet      USD   HGIFT1             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13111204   11/17/2013   complete   Candace    Chow      US   Candace    Chow      US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111204   11/17/2013   complete   Candace    Chow      US   Candace    Chow      US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111204   11/17/2013   complete   Candace    Chow      US   Candace    Chow      US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111205   11/17/2013   complete   Todd       Chu       US   Todd       Chu       US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111205   11/17/2013   complete   Todd       Chu       US   Todd       Chu       US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111205   11/17/2013   complete   Todd       Chu       US   Todd       Chu       US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111206   11/17/2013   complete   Lin        Gan       US   Lin        Gan       US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111206   11/17/2013   complete   Lin        Gan       US   Lin        Gan       US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111206   11/17/2013   complete   Lin        Gan       US   Lin        Gan       US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111208   11/19/2013   complete   HIP        EVELYNE   CN   HIP        EVELYNE   CN   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111208   11/19/2013   complete   HIP        EVELYNE   CN   HIP        EVELYNE   CN   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111208   11/19/2013   complete   HIP        EVELYNE   CN   HIP        EVELYNE   CN   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111209   11/17/2013   complete   Terence    Leong     US   Terence    Leong     US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111209   11/17/2013   complete   Terence    Leong     US   Terence    Leong     US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111209   11/17/2013   complete   Terence    Leong     US   Terence    Leong     US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111210   11/17/2013   complete   Megan      Chen      AU   Megan      Chen      AU   authorizenet      AUD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111210   11/17/2013   complete   Megan      Chen      AU   Megan      Chen      AU   authorizenet      AUD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111210   11/17/2013   complete   Megan      Chen      AU   Megan      Chen      AU   authorizenet      AUD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111211   11/17/2013   complete   Wai-Lan    Wan       GB   Wai-Lan    Wan       GB   authorizenet      GBP   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111211   11/17/2013   complete   Wai-Lan    Wan       GB   Wai-Lan    Wan       GB   authorizenet      GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111211   11/17/2013   complete   Wai-Lan    Wan       GB   Wai-Lan    Wan       GB   authorizenet      GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111212   11/17/2013   complete   Yoke       Lee       AU   Yoke       Lee       AU   authorizenet      AUD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111212   11/17/2013   complete   Yoke       Lee       AU   Yoke       Lee       AU   authorizenet      AUD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111212   11/17/2013   complete   Yoke       Lee       AU   Yoke       Lee       AU   authorizenet      AUD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-70011051   11/17/2013   complete   kam po     Chau      CH   kam po     Chau      CH   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - Chinese
TVP-70011051   11/17/2013   complete   kam po     Chau      CH   kam po     Chau      CH   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - Chinese
TVP-70011051   11/17/2013   complete   kam po     Chau      CH   kam po     Chau      CH   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - Chinese
TVP-13111213   11/17/2013   complete   Won        Kim       MX   Won        Kim       MX   authorizenet      USD   TVPAD-004       250     0   2    500              TV Pad Website - TV Pad Store - English
TVP-13111213   11/17/2013   complete   Won        Kim       MX   Won        Kim       MX   authorizenet      USD   HGIFT2             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13111213   11/17/2013   complete   Won        Kim       MX   Won        Kim       MX   authorizenet      USD   HGIFT1             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13111214   11/17/2013   complete   Robert     Yu        AU   Robert     Yu        AU   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111214   11/17/2013   complete   Robert     Yu        AU   Robert     Yu        AU   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111214   11/17/2013   complete   Robert     Yu        AU   Robert     Yu        AU   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111216   11/17/2013   complete   Carol      Wong      US   Carol      Wong      US   paypal_standard   USD   TVPAD-004       250     0   2    500              TV Pad Website - TV Pad Store - English
TVP-13111216   11/17/2013   complete   Carol      Wong      US   Carol      Wong      US   paypal_standard   USD   HGIFT2             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13111216   11/17/2013   complete   Carol      Wong      US   Carol      Wong      US   paypal_standard   USD   HGIFT1             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13111216   11/17/2013   complete   Carol      Wong      US   Carol      Wong      US   paypal_standard   USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111216   11/17/2013   complete   Carol      Wong      US   Carol      Wong      US   paypal_standard   USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111216   11/17/2013   complete   Carol      Wong      US   Carol      Wong      US   paypal_standard   USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111219   11/17/2013   complete   Teng       Li        AU   Teng       Li        AU   paypal_standard   USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111219   11/17/2013   complete   Teng       Li        AU   Teng       Li        AU   paypal_standard   USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111219   11/17/2013   complete   Teng       Li        AU   Teng       Li        AU   paypal_standard   USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111220   11/17/2013   complete   Fang       Liang     CA   Fang       Liang     CA   paypal_standard   CAD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111220   11/17/2013   complete   Fang       Liang     CA   Fang       Liang     CA   paypal_standard   CAD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111220   11/17/2013   complete   Fang       Liang     CA   Fang       Liang     CA   paypal_standard   CAD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111221   11/17/2013   complete   WaiKeen    Phang     AU   WaiKeen    Phang     AU   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111221   11/17/2013   complete   WaiKeen    Phang     AU   WaiKeen    Phang     AU   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111221   11/17/2013   complete   WaiKeen    Phang     AU   WaiKeen    Phang     AU   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111222   11/17/2013   complete   David      Steicke   AU   David      Steicke   AU   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111222   11/17/2013   complete   David      Steicke   AU   David      Steicke   AU   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111222   11/17/2013   complete   David      Steicke   AU   David      Steicke   AU   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111223   11/17/2013   complete   Zhong      Liu       AU   Zhong      Liu       AU   authorizenet      AUD   TVPAD-004       250     0   2    500              TV Pad Website - TV Pad Store - English
TVP-13111223   11/17/2013   complete   Zhong      Liu       AU   Zhong      Liu       AU   authorizenet      AUD   HGIFT2             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13111223   11/17/2013   complete   Zhong      Liu       AU   Zhong      Liu       AU   authorizenet      AUD   HGIFT1             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13111224   11/17/2013   complete   David      Hong      TW   David      Hong      TW   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111224   11/17/2013   complete   David      Hong      TW   David      Hong      TW   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111224   11/17/2013   complete   David      Hong      TW   David      Hong      TW   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111225   11/17/2013   complete   Hoa        Gieng     SE   Hoa        Gieng     SE   authorizenet      USD   TVPAD-004       250     0   3    750              TV Pad Website - TV Pad Store - English
TVP-13111225   11/17/2013   complete   Hoa        Gieng     SE   Hoa        Gieng     SE   authorizenet      USD   HGIFT2             0    0   3       0             TV Pad Website - TV Pad Store - English
TVP-13111225   11/17/2013   complete   Hoa        Gieng     SE   Hoa        Gieng     SE   authorizenet      USD   HGIFT1             0    0   3       0             TV Pad Website - TV Pad Store - English
TVP-13111227   11/18/2013   complete   Billy      Tse       US   Billy      Tse       US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111227   11/18/2013   complete   Billy      Tse       US   Billy      Tse       US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111227   11/18/2013   complete   Billy      Tse       US   Billy      Tse       US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111228   11/18/2013   complete   Kwok       Mun       NL   Kwok       Mun       NL   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111228   11/18/2013   complete   Kwok       Mun       NL   Kwok       Mun       NL   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111228   11/18/2013   complete   Kwok       Mun       NL   Kwok       Mun       NL   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111229   11/18/2013   complete   Sunita     Szeto     US   Sunita     Szeto     US   authorizenet      USD   TVPAD-AC-002   15.99    0   1   15.99 Type: US,   TV Pad Website - TV Pad Store - English
TVP-13111230   11/18/2013   complete   Terence    Chong     AU   Terence    Chong     AU   paypal_standard   AUD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111230   11/18/2013   complete   Terence    Chong     AU   Terence    Chong     AU   paypal_standard   AUD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111230   11/18/2013   complete   Terence    Chong     AU   Terence    Chong     AU   paypal_standard   AUD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111231   11/18/2013   complete   Edmund     Chiu      GB   Edmund     Chiu      GB   authorizenet      GBP   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13111231   11/18/2013   complete   Edmund     Chiu      GB   Edmund     Chiu      GB   authorizenet      GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111231   11/18/2013   complete   Edmund     Chiu      GB   Edmund     Chiu      GB   authorizenet      GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13111232   11/18/2013   complete   Vincent    Lo        AU   Vincent    Lo        AU   authorizenet      USD   TVPAD-004       250     0   2    500              TV Pad Website - TV Pad Store - English
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                                   #:20425
TVP-13111232   11/18/2013   complete   Vincent       Lo         AU   Vincent       Lo         AU   authorizenet      USD   HGIFT2           0    0   2      0                             TV Pad Website - TV Pad Store - English
TVP-13111232   11/18/2013   complete   Vincent       Lo         AU   Vincent       Lo         AU   authorizenet      USD   HGIFT1           0    0   2      0                             TV Pad Website - TV Pad Store - English
TVP-13111233   11/18/2013   complete   Amitty        Tam        US   Amitty        Tam        US   authorizenet      USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111233   11/18/2013   complete   Amitty        Tam        US   Amitty        Tam        US   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111233   11/18/2013   complete   Amitty        Tam        US   Amitty        Tam        US   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111234   11/18/2013   complete   Alex          Lee        AU   Alex          Lee        AU   authorizenet      AUD   TVPAD-004      259   10   1    249                             TV Pad Website - TV Pad Store - English
TVP-13111234   11/18/2013   complete   Alex          Lee        AU   Alex          Lee        AU   authorizenet      AUD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111234   11/18/2013   complete   Alex          Lee        AU   Alex          Lee        AU   authorizenet      AUD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111235   11/18/2013   complete   liang         shen       AU   liang         shen       AU   paypal_standard   USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111235   11/18/2013   complete   liang         shen       AU   liang         shen       AU   paypal_standard   USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111235   11/18/2013   complete   liang         shen       AU   liang         shen       AU   paypal_standard   USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111236   11/18/2013   complete   Shing         Chan       NO   Shing         Chan       NO   paypal_standard   USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111236   11/18/2013   complete   Shing         Chan       NO   Shing         Chan       NO   paypal_standard   USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111237   11/19/2013   complete   Va            Vong       GB   Va            Vong       GB   authorizenet      GBP   TVPAD-004      250    0   3    750                             TV Pad Website - TV Pad Store - English
TVP-13111237   11/19/2013   complete   Va            Vong       GB   Va            Vong       GB   authorizenet      GBP   HGIFT2           0    0   3      0                             TV Pad Website - TV Pad Store - English
TVP-13111237   11/19/2013   complete   Va            Vong       GB   Va            Vong       GB   authorizenet      GBP   HGIFT1           0    0   3      0                             TV Pad Website - TV Pad Store - English
TVP-13111238   11/19/2013   complete   Robert        Brown      GB   Robert        Brown      GB   authorizenet      GBP   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111238   11/19/2013   complete   Robert        Brown      GB   Robert        Brown      GB   authorizenet      GBP   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111238   11/19/2013   complete   Robert        Brown      GB   Robert        Brown      GB   authorizenet      GBP   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111239   11/19/2013   complete   chu           Wang       US   chu           Wang       US   authorizenet      USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111239   11/19/2013   complete   chu           Wang       US   chu           Wang       US   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111239   11/19/2013   complete   chu           Wang       US   chu           Wang       US   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111240   11/19/2013   complete   Kelvin        Chen       US   Kelvin        Chen       US   authorizenet      USD   TVPAD-004      259   10   1    249                             TV Pad Website - TV Pad Store - English
TVP-13111240   11/19/2013   complete   Kelvin        Chen       US   Kelvin        Chen       US   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111240   11/19/2013   complete   Kelvin        Chen       US   Kelvin        Chen       US   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111241   11/19/2013   complete   Rambo         Duong      SE   Rambo         Duong      SE   paypal_standard   USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111241   11/19/2013   complete   Rambo         Duong      SE   Rambo         Duong      SE   paypal_standard   USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111241   11/19/2013   complete   Rambo         Duong      SE   Rambo         Duong      SE   paypal_standard   USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111242   11/19/2013   complete   Hung          Kwan       CA   Hung          Kwan       CA   paypal_standard   USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111242   11/19/2013   complete   Hung          Kwan       CA   Hung          Kwan       CA   paypal_standard   USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111242   11/19/2013   complete   Hung          Kwan       CA   Hung          Kwan       CA   paypal_standard   USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111243   11/19/2013   complete   Wing          Phung      DK   Wing          Phung      DK   authorizenet      USD   TVPAD-004      250    0   2    500                             TV Pad Website - TV Pad Store - English
TVP-13111243   11/19/2013   complete   Wing          Phung      DK   Wing          Phung      DK   authorizenet      USD   HGIFT2           0    0   2      0                             TV Pad Website - TV Pad Store - English
TVP-13111243   11/19/2013   complete   Wing          Phung      DK   Wing          Phung      DK   authorizenet      USD   HGIFT1           0    0   2      0                             TV Pad Website - TV Pad Store - English
TVP-13111244   11/19/2013   complete   Phil          Howard     GB   Phil          Howard     GB   authorizenet      GBP   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111244   11/19/2013   complete   Phil          Howard     GB   Phil          Howard     GB   authorizenet      GBP   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111244   11/19/2013   complete   Phil          Howard     GB   Phil          Howard     GB   authorizenet      GBP   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111245   11/19/2013   complete   YU            SHI        BE   YU            SHI        BE   paypal_standard   EUR   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111245   11/19/2013   complete   YU            SHI        BE   YU            SHI        BE   paypal_standard   EUR   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111245   11/19/2013   complete   YU            SHI        BE   YU            SHI        BE   paypal_standard   EUR   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-70011052   11/19/2013   complete   JiaXiang      Li         US   JiaXiang      Li         US   authorizenet      USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - Chinese
TVP-70011052   11/19/2013   complete   JiaXiang      Li         US   JiaXiang      Li         US   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - Chinese
TVP-70011052   11/19/2013   complete   JiaXiang      Li         US   JiaXiang      Li         US   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - Chinese
TVP-13111246   11/19/2013   complete   Jiann-shiun   Tseng      SE   Jiann-shiun   Tseng      SE   authorizenet      USD   TVPAD-004      250    0   4   1000                             TV Pad Website - TV Pad Store - English
TVP-13111246   11/19/2013   complete   Jiann-shiun   Tseng      SE   Jiann-shiun   Tseng      SE   authorizenet      USD   HGIFT2           0    0   4      0                             TV Pad Website - TV Pad Store - English
TVP-13111246   11/19/2013   complete   Jiann-shiun   Tseng      SE   Jiann-shiun   Tseng      SE   authorizenet      USD   HGIFT1           0    0   4      0                             TV Pad Website - TV Pad Store - English
TVP-70011053   11/19/2013   complete   youde         zheng      US   youde         zheng      US   authorizenet      USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - Chinese
TVP-70011053   11/19/2013   complete   youde         zheng      US   youde         zheng      US   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - Chinese
TVP-70011053   11/19/2013   complete   youde         zheng      US   youde         zheng      US   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - Chinese
TVP-13111247   11/19/2013   complete   Anita         Kwok       GB   Anita         Kwok       GB   authorizenet      GBP   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111247   11/19/2013   complete   Anita         Kwok       GB   Anita         Kwok       GB   authorizenet      GBP   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111247   11/19/2013   complete   Anita         Kwok       GB   Anita         Kwok       GB   authorizenet      GBP   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111248   11/19/2013   complete   Kam           Lai        US   Kam           Lai        US   authorizenet      USD   TVPAD-004      259    5   1    254                             TV Pad Website - TV Pad Store - English
TVP-13111248   11/19/2013   complete   Kam           Lai        US   Kam           Lai        US   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111248   11/19/2013   complete   Kam           Lai        US   Kam           Lai        US   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111250   11/19/2013   complete   Matthew       Tredwell   AU   Matthew       Tredwell   AU   authorizenet      USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111250   11/19/2013   complete   Matthew       Tredwell   AU   Matthew       Tredwell   AU   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111250   11/19/2013   complete   Matthew       Tredwell   AU   Matthew       Tredwell   AU   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111251   11/19/2013   complete   Zongbing      You        US   Zongbing      You        US   authorizenet      USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111251   11/19/2013   complete   Zongbing      You        US   Zongbing      You        US   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111251   11/19/2013   complete   Zongbing      You        US   Zongbing      You        US   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-70011054   11/19/2013   complete   lap           Thong      GB   lap           Thong      GB   authorizenet      GBP   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - Chinese
TVP-70011054   11/19/2013   complete   lap           Thong      GB   lap           Thong      GB   authorizenet      GBP   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - Chinese
TVP-70011054   11/19/2013   complete   lap           Thong      GB   lap           Thong      GB   authorizenet      GBP   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - Chinese
TVP-13111252   11/19/2013   complete   Bin           Liu        AU   Bin           Liu        AU   authorizenet      USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111252   11/19/2013   complete   Bin           Liu        AU   Bin           Liu        AU   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111252   11/19/2013   complete   Bin           Liu        AU   Bin           Liu        AU   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111253   11/19/2013   complete   Toan          vuong      AU   Toan          vuong      AU   paypal_standard   AUD   TVPAD-004      250    0   2    500                             TV Pad Website - TV Pad Store - English
TVP-13111253   11/19/2013   complete   Toan          vuong      AU   Toan          vuong      AU   paypal_standard   AUD   HGIFT2           0    0   2      0                             TV Pad Website - TV Pad Store - English
TVP-13111253   11/19/2013   complete   Toan          vuong      AU   Toan          vuong      AU   paypal_standard   AUD   HGIFT1           0    0   2      0                             TV Pad Website - TV Pad Store - English
TVP-13111254   11/19/2013   complete   Ivy           Yan        US   Ivy           Yan        US   authorizenet      USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111254   11/19/2013   complete   Ivy           Yan        US   Ivy           Yan        US   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111254   11/19/2013   complete   Ivy           Yan        US   Ivy           Yan        US   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111255   11/19/2013   complete   JEONG         JIN        SG   Jeong         Jin        SG   authorizenet      USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111255   11/19/2013   complete   JEONG         JIN        SG   Jeong         Jin        SG   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111255   11/19/2013   complete   JEONG         JIN        SG   Jeong         Jin        SG   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111257   11/19/2013   complete   Elsa          Lo         AU   Peter         Chan       AU   paypal_standard   USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111257   11/19/2013   complete   Elsa          Lo         AU   Peter         Chan       AU   paypal_standard   USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111257   11/19/2013   complete   Elsa          Lo         AU   Peter         Chan       AU   paypal_standard   USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111258   11/19/2013   complete   Ming          Lam        US   Ming          Lam        US   paypal_standard   USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111258   11/19/2013   complete   Ming          Lam        US   Ming          Lam        US   paypal_standard   USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111258   11/19/2013   complete   Ming          Lam        US   Ming          Lam        US   paypal_standard   USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111259   11/20/2013   complete   Lunshu        Lu         US   Lunshu        Lu         US   authorizenet      USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111259   11/20/2013   complete   Lunshu        Lu         US   Lunshu        Lu         US   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111259   11/20/2013   complete   Lunshu        Lu         US   Lunshu        Lu         US   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111260   11/19/2013   complete   Leonard       Adkins     US   Leonard       Adkins     US   paypal_standard   USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111260   11/19/2013   complete   Leonard       Adkins     US   Leonard       Adkins     US   paypal_standard   USD   TVPAD-GM-001    29    0   1     29                             TV Pad Website - TV Pad Store - English
TVP-13111260   11/19/2013   complete   Leonard       Adkins     US   Leonard       Adkins     US   paypal_standard   USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111260   11/19/2013   complete   Leonard       Adkins     US   Leonard       Adkins     US   paypal_standard   USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111261   11/20/2013   complete   Lih-Lih       Gau        US   Lih-Lih       Gau        US   authorizenet      USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111261   11/20/2013   complete   Lih-Lih       Gau        US   Lih-Lih       Gau        US   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111261   11/20/2013   complete   Lih-Lih       Gau        US   Lih-Lih       Gau        US   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111262   11/20/2013   complete   wee           fong       GB   wee           fong       GB   paypal_standard   GBP   TVPAD-004      245    0   5   1225                             TV Pad Website - TV Pad Store - English
TVP-13111262   11/20/2013   complete   wee           fong       GB   wee           fong       GB   paypal_standard   GBP   HGIFT2           0    0   5      0                             TV Pad Website - TV Pad Store - English
TVP-13111262   11/20/2013   complete   wee           fong       GB   wee           fong       GB   paypal_standard   GBP   HGIFT1           0    0   5      0                             TV Pad Website - TV Pad Store - English
TVP-13111263   11/20/2013   complete   Kwok          wing       GB   Kwok          wing       GB   paypal_standard   USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111263   11/20/2013   complete   Kwok          wing       GB   Kwok          wing       GB   paypal_standard   USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111263   11/20/2013   complete   Kwok          wing       GB   Kwok          wing       GB   paypal_standard   USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111264   11/20/2013   complete   Bernie        Sun        US   Bernie        Sun        US   paypal_standard   USD   TVPAD-004      259    5   1    254                             TV Pad Website - TV Pad Store - English
TVP-13111264   11/20/2013   complete   Bernie        Sun        US   Bernie        Sun        US   paypal_standard   USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111264   11/20/2013   complete   Bernie        Sun        US   Bernie        Sun        US   paypal_standard   USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111265   11/20/2013   complete   Si            Chen       US   Si            Chen       US   paypal_standard   USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111265   11/20/2013   complete   Si            Chen       US   Si            Chen       US   paypal_standard   USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111265   11/20/2013   complete   Si            Chen       US   Si            Chen       US   paypal_standard   USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111266   11/20/2013   complete   Sylvia        Ching      US   Sylvia        Ching      US   authorizenet      USD   TVPAD-004      250    0   2    500                             TV Pad Website - TV Pad Store - English
TVP-13111266   11/20/2013   complete   Sylvia        Ching      US   Sylvia        Ching      US   authorizenet      USD   HGIFT2           0    0   2      0                             TV Pad Website - TV Pad Store - English
TVP-13111266   11/20/2013   complete   Sylvia        Ching      US   Sylvia        Ching      US   authorizenet      USD   HGIFT1           0    0   2      0                             TV Pad Website - TV Pad Store - English
TVP-13111267   11/20/2013   complete   Man           Ling       GB   Man           Ling       GB   paypal_standard   GBP   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111267   11/20/2013   complete   Man           Ling       GB   Man           Ling       GB   paypal_standard   GBP   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111267   11/20/2013   complete   Man           Ling       GB   Man           Ling       GB   paypal_standard   GBP   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111268   11/20/2013   complete   Dominic       Chan       CA   Dominic       Chan       CA   authorizenet      USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111268   11/20/2013   complete   Dominic       Chan       CA   Dominic       Chan       CA   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111268   11/20/2013   complete   Dominic       Chan       CA   Dominic       Chan       CA   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111269   11/20/2013   complete   Takashi       Aomori     AU   Takashi       Aomori     AU   authorizenet      USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111269   11/20/2013   complete   Takashi       Aomori     AU   Takashi       Aomori     AU   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111271   11/21/2013   complete   Kin           yuen       US   Kin           yuen       US   authorizenet      USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111271   11/21/2013   complete   Kin           yuen       US   Kin           yuen       US   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111271   11/21/2013   complete   Kin           yuen       US   Kin           yuen       US   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111272   11/21/2013   complete   Pak           Ng         CA   Pak           Ng         CA   paypal_standard   CAD   TVPAD-004      259    5   1    254                             TV Pad Website - TV Pad Store - English
TVP-13111272   11/21/2013   complete   Pak           Ng         CA   Pak           Ng         CA   paypal_standard   CAD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111272   11/21/2013   complete   Pak           Ng         CA   Pak           Ng         CA   paypal_standard   CAD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111273   11/21/2013   complete   Hui           Luo        US   Hui           Luo        US   authorizenet      USD   TVPAD-004      250    0   2    500                             TV Pad Website - TV Pad Store - English
TVP-13111273   11/21/2013   complete   Hui           Luo        US   Hui           Luo        US   authorizenet      USD   HGIFT2           0    0   2      0                             TV Pad Website - TV Pad Store - English
TVP-13111273   11/21/2013   complete   Hui           Luo        US   Hui           Luo        US   authorizenet      USD   HGIFT1           0    0   2      0                             TV Pad Website - TV Pad Store - English
TVP-13111274   11/21/2013   complete   Anthony       Ho         GB   Anthony       Ho         GB   authorizenet      GBP   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111274   11/21/2013   complete   Anthony       Ho         GB   Anthony       Ho         GB   authorizenet      GBP   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111274   11/21/2013   complete   Anthony       Ho         GB   Anthony       Ho         GB   authorizenet      GBP   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111275   11/21/2013   complete   grace         la         US   grace         la         US   authorizenet      USD   TVPAD-004      259    5   1    254                             TV Pad Website - TV Pad Store - English
TVP-13111275   11/21/2013   complete   grace         la         US   grace         la         US   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111275   11/21/2013   complete   grace         la         US   grace         la         US   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111276   11/21/2013   complete   Wai           Lee        US   Tim           Lee        US   authorizenet      USD   TVPAD-004      259    5   1    254                             TV Pad Website - TV Pad Store - English
TVP-13111276   11/21/2013   complete   Wai           Lee        US   Tim           Lee        US   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111276   11/21/2013   complete   Wai           Lee        US   Tim           Lee        US   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111277   11/21/2013   complete   xiaoshuang    luo        CA   Selina        Luo        CA   authorizenet      CAD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111277   11/21/2013   complete   xiaoshuang    luo        CA   Selina        Luo        CA   authorizenet      CAD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111277   11/21/2013   complete   xiaoshuang    luo        CA   Selina        Luo        CA   authorizenet      CAD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111279   11/21/2013   complete   Stanley       Tran       US   Stanley       Tran       US   authorizenet      USD   TVPAD-004      259    5   1    254                             TV Pad Website - TV Pad Store - English
TVP-13111279   11/21/2013   complete   Stanley       Tran       US   Stanley       Tran       US   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111279   11/21/2013   complete   Stanley       Tran       US   Stanley       Tran       US   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111278   11/21/2013   complete   SHUYI         YANG       AU   SHUYI         YANG       AU   authorizenet      USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111278   11/21/2013   complete   SHUYI         YANG       AU   SHUYI         YANG       AU   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111278   11/21/2013   complete   SHUYI         YANG       AU   SHUYI         YANG       AU   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111280   11/21/2013   complete   Matthew       Wang       US   Matthew       Wang       US   authorizenet      USD   TVPAD-004      250    0   2    500                             TV Pad Website - TV Pad Store - English
TVP-13111280   11/21/2013   complete   Matthew       Wang       US   Matthew       Wang       US   authorizenet      USD   HGIFT2           0    0   2      0                             TV Pad Website - TV Pad Store - English
TVP-13111280   11/21/2013   complete   Matthew       Wang       US   Matthew       Wang       US   authorizenet      USD   HGIFT1           0    0   2      0                             TV Pad Website - TV Pad Store - English
TVP-13111281   11/21/2013   complete   Thomas        Tse        AU   Thomas        Tse        AU   paypal_standard   AUD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
TVP-13111281   11/21/2013   complete   Thomas        Tse        AU   Thomas        Tse        AU   paypal_standard   AUD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111281   11/21/2013   complete   Thomas        Tse        AU   Thomas        Tse        AU   paypal_standard   AUD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111282   11/21/2013   complete   Clement       Yan        US   Clement       Yan        SG   authorizenet      USD   TVPAD-004      259   10   1    249                             TV Pad Website - TV Pad Store - English
TVP-13111282   11/21/2013   complete   Clement       Yan        US   Clement       Yan        SG   authorizenet      USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111282   11/21/2013   complete   Clement       Yan        US   Clement       Yan        SG   authorizenet      USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111283   11/22/2013   complete   Chong         Liang      MY   Chong         Liang      MY   authorizenet      USD   TVPAD-004      250    0   2    500                             TV Pad Website - TV Pad Store - English
TVP-13111283   11/22/2013   complete   Chong         Liang      MY   Chong         Liang      MY   authorizenet      USD   TVPAD-GM-001    27    0   2     54 Warranty Period: 3 Months   TV Pad Website - TV Pad Store - English
TVP-13111283   11/22/2013   complete   Chong         Liang      MY   Chong         Liang      MY   authorizenet      USD   HGIFT2           0    0   2      0                             TV Pad Website - TV Pad Store - English
TVP-13111283   11/22/2013   complete   Chong         Liang      MY   Chong         Liang      MY   authorizenet      USD   HGIFT1           0    0   2      0                             TV Pad Website - TV Pad Store - English
TVP-13111284   11/21/2013   complete   Shang         Jiang      US   Shang         Jiang      US   paypal_standard   USD   TVPAD-004      259   10   1    249                             TV Pad Website - TV Pad Store - English
TVP-13111284   11/21/2013   complete   Shang         Jiang      US   Shang         Jiang      US   paypal_standard   USD   HGIFT2           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111284   11/21/2013   complete   Shang         Jiang      US   Shang         Jiang      US   paypal_standard   USD   HGIFT1           0    0   1      0                             TV Pad Website - TV Pad Store - English
TVP-13111285   11/26/2013   complete   Amanda        Chan       GB   Maria         Cheung     GB   authorizenet      GBP   TVPAD-004      245    0   5   1225                             TV Pad Website - TV Pad Store - English
TVP-13111285   11/26/2013   complete   Amanda        Chan       GB   Maria         Cheung     GB   authorizenet      GBP   HGIFT2           0    0   5      0                             TV Pad Website - TV Pad Store - English
TVP-13111285   11/26/2013   complete   Amanda        Chan       GB   Maria         Cheung     GB   authorizenet      GBP   HGIFT1           0    0   5      0                             TV Pad Website - TV Pad Store - English
TVP-13111286   11/22/2013   complete   Cyrille       Morelle    US   Cyrille       Morelle    US   authorizenet      USD   TVPAD-004      259    0   1    259                             TV Pad Website - TV Pad Store - English
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TVP-13111286   11/22/2013   complete   Cyrille     Morelle     US   Cyrille     Morelle     US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111286   11/22/2013   complete   Cyrille     Morelle     US   Cyrille     Morelle     US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111287   11/22/2013   complete   Tang        Ty          CH   Tang        Ty          CH   authorizenet      USD   TVPAD-004       250     0   2    500    TV Pad Website - TV Pad Store - English
TVP-13111287   11/22/2013   complete   Tang        Ty          CH   Tang        Ty          CH   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111287   11/22/2013   complete   Tang        Ty          CH   Tang        Ty          CH   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111288   11/22/2013   complete   Ching       Lai         AU   Ching       Lai         AU   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111288   11/22/2013   complete   Ching       Lai         AU   Ching       Lai         AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111288   11/22/2013   complete   Ching       Lai         AU   Ching       Lai         AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111289   11/22/2013   complete   Sylvie      Ma          CA   Sylvie      Ma          CA   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111289   11/22/2013   complete   Sylvie      Ma          CA   Sylvie      Ma          CA   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111289   11/22/2013   complete   Sylvie      Ma          CA   Sylvie      Ma          CA   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111290   11/22/2013   closed     Daogui      Hu          US   Daogui      Hu          US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111290   11/22/2013   closed     Daogui      Hu          US   Daogui      Hu          US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111290   11/22/2013   closed     Daogui      Hu          US   Daogui      Hu          US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011055   11/23/2013   complete   Vincent     Cheng       AU   Vincent     Cheng       AU   authorizenet      AUD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - Chinese
TVP-70011055   11/23/2013   complete   Vincent     Cheng       AU   Vincent     Cheng       AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13111291   11/22/2013   complete   LIUU        CATHERINE   FR   LIUU        CATHERINE   FR   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111291   11/22/2013   complete   LIUU        CATHERINE   FR   LIUU        CATHERINE   FR   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111291   11/22/2013   complete   LIUU        CATHERINE   FR   LIUU        CATHERINE   FR   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111292   11/23/2013   complete   Tae         Chung       US   Tae         Chung       US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111292   11/23/2013   complete   Tae         Chung       US   Tae         Chung       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111292   11/23/2013   complete   Tae         Chung       US   Tae         Chung       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111293   11/23/2013   complete   Philip      Kwan        US   Philip      Kwan        US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111293   11/23/2013   complete   Philip      Kwan        US   Philip      Kwan        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111293   11/23/2013   complete   Philip      Kwan        US   Philip      Kwan        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111294   11/23/2013   complete   Van         Hong        GB   Van         Hong        GB   authorizenet      GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111294   11/23/2013   complete   Van         Hong        GB   Van         Hong        GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111294   11/23/2013   complete   Van         Hong        GB   Van         Hong        GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111295   11/23/2013   complete   dongsheng   li          US   dongsheng   li          US   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111295   11/23/2013   complete   dongsheng   li          US   dongsheng   li          US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111295   11/23/2013   complete   dongsheng   li          US   dongsheng   li          US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111296   11/23/2013   complete   Sang-Ah     Shim        DE   Sang-Ah     Shim        DE   authorizenet      EUR   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111296   11/23/2013   complete   Sang-Ah     Shim        DE   Sang-Ah     Shim        DE   authorizenet      EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111297   11/23/2013   complete   Steve       Baek        AU   Steve       Baek        AU   authorizenet      AUD   TVPAD-AC-001   15.99    0   1   15.99   TV Pad Website - TV Pad Store - English
TVP-13111302   11/23/2013   complete   Yong        Zhao        NZ   Yong        Zhao        NZ   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111302   11/23/2013   complete   Yong        Zhao        NZ   Yong        Zhao        NZ   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111302   11/23/2013   complete   Yong        Zhao        NZ   Yong        Zhao        NZ   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111303   11/23/2013   complete   Jack        Huang       US   Jack        Huang       US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111303   11/23/2013   complete   Jack        Huang       US   Jack        Huang       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111303   11/23/2013   complete   Jack        Huang       US   Jack        Huang       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111305   11/23/2013   complete   Samuel      Chung       CA   Samuel      Chung       CA   authorizenet      CAD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111305   11/23/2013   complete   Samuel      Chung       CA   Samuel      Chung       CA   authorizenet      CAD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111305   11/23/2013   complete   Samuel      Chung       CA   Samuel      Chung       CA   authorizenet      CAD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111306   11/23/2013   complete   Simon       Kong        AU   Simon       Kong        AU   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111306   11/23/2013   complete   Simon       Kong        AU   Simon       Kong        AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111306   11/23/2013   complete   Simon       Kong        AU   Simon       Kong        AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111308   11/23/2013   complete   tiangong    li          AU   tiangong    li          AU   authorizenet      AUD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111308   11/23/2013   complete   tiangong    li          AU   tiangong    li          AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111308   11/23/2013   complete   tiangong    li          AU   tiangong    li          AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111310   11/23/2013   complete   Johnny      wong        US   Johnny      wong        US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111310   11/23/2013   complete   Johnny      wong        US   Johnny      wong        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111310   11/23/2013   complete   Johnny      wong        US   Johnny      wong        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111312   11/24/2013   complete   Fung        Ng          CA   Fung        Ng          CA   authorizenet      CAD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111312   11/24/2013   complete   Fung        Ng          CA   Fung        Ng          CA   authorizenet      CAD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111312   11/24/2013   complete   Fung        Ng          CA   Fung        Ng          CA   authorizenet      CAD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111313   11/24/2013   complete   Anthony     Lai         US   Anthony     Lai         US   authorizenet      USD   TVPAD-004       250     0   2    500    TV Pad Website - TV Pad Store - English
TVP-13111313   11/24/2013   complete   Anthony     Lai         US   Anthony     Lai         US   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111313   11/24/2013   complete   Anthony     Lai         US   Anthony     Lai         US   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111314   11/24/2013   complete   Kendrick    Ng          US   Kendrick    Ng          US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111314   11/24/2013   complete   Kendrick    Ng          US   Kendrick    Ng          US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111314   11/24/2013   complete   Kendrick    Ng          US   Kendrick    Ng          US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111315   11/24/2013   complete   Jack        Duis        NL   Jack        Duis        NL   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111315   11/24/2013   complete   Jack        Duis        NL   Jack        Duis        NL   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111315   11/24/2013   complete   Jack        Duis        NL   Jack        Duis        NL   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111316   11/24/2013   complete   Carol       ng          US   Carol       ng          US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111316   11/24/2013   complete   Carol       ng          US   Carol       ng          US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111316   11/24/2013   complete   Carol       ng          US   Carol       ng          US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111319   11/24/2013   complete   Shirgie     Chan        US   Shirgie     Chan        US   authorizenet      USD   TVPAD-AC-001   15.99    0   1   15.99   TV Pad Website - TV Pad Store - English
TVP-13111320   11/24/2013   complete   Wai         Tsang       AU   Wai         Tsang       AU   authorizenet      USD   TVPAD-004       245     0   5   1225    TV Pad Website - TV Pad Store - English
TVP-13111320   11/24/2013   complete   Wai         Tsang       AU   Wai         Tsang       AU   authorizenet      USD   HGIFT2             0    0   5       0   TV Pad Website - TV Pad Store - English
TVP-13111320   11/24/2013   complete   Wai         Tsang       AU   Wai         Tsang       AU   authorizenet      USD   HGIFT1             0    0   5       0   TV Pad Website - TV Pad Store - English
TVP-13111322   11/24/2013   complete   Jun         Song        NZ   Jun         Song        NZ   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111322   11/24/2013   complete   Jun         Song        NZ   Jun         Song        NZ   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111322   11/24/2013   complete   Jun         Song        NZ   Jun         Song        NZ   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111323   11/24/2013   complete   Jonathan    Tey         AU   Jonathan    Tey         AU   paypal_standard   AUD   TVPAD-004       250     0   3    750    TV Pad Website - TV Pad Store - English
TVP-13111323   11/24/2013   complete   Jonathan    Tey         AU   Jonathan    Tey         AU   paypal_standard   AUD   HGIFT2             0    0   3       0   TV Pad Website - TV Pad Store - English
TVP-13111323   11/24/2013   complete   Jonathan    Tey         AU   Jonathan    Tey         AU   paypal_standard   AUD   HGIFT1             0    0   3       0   TV Pad Website - TV Pad Store - English
TVP-13111324   11/24/2013   complete   Elliot      Lee         US   Elliot      Lee         US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111324   11/24/2013   complete   Elliot      Lee         US   Elliot      Lee         US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111324   11/24/2013   complete   Elliot      Lee         US   Elliot      Lee         US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111328   11/24/2013   complete   Carol       Wong        US   Carol       Wong        US   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111328   11/24/2013   complete   Carol       Wong        US   Carol       Wong        US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111328   11/24/2013   complete   Carol       Wong        US   Carol       Wong        US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111329   11/24/2013   complete   Min         lee         GB   Min         lee         GB   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111329   11/24/2013   complete   Min         lee         GB   Min         lee         GB   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111329   11/24/2013   complete   Min         lee         GB   Min         lee         GB   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111330   11/25/2013   complete   mengshi     yuan        GB   mengshi     yuan        GB   authorizenet      GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111330   11/25/2013   complete   mengshi     yuan        GB   mengshi     yuan        GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111330   11/25/2013   complete   mengshi     yuan        GB   mengshi     yuan        GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111331   11/25/2013   complete   yunqin      xue         GB   yunqin      xue         GB   authorizenet      GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111331   11/25/2013   complete   yunqin      xue         GB   yunqin      xue         GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111331   11/25/2013   complete   yunqin      xue         GB   yunqin      xue         GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111332   11/25/2013   complete   stephen     cheung      GB   stephen     cheung      GB   paypal_standard   GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111332   11/25/2013   complete   stephen     cheung      GB   stephen     cheung      GB   paypal_standard   GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111332   11/25/2013   complete   stephen     cheung      GB   stephen     cheung      GB   paypal_standard   GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111333   11/25/2013   complete   Maureen     Tham        US   Maureen     Tham        US   authorizenet      USD   TVPAD-AC-001   15.99    0   1   15.99   TV Pad Website - TV Pad Store - English
TVP-13111334   11/25/2013   complete   Tony        Lam         AU   Tony        Lam         AU   authorizenet      AUD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111334   11/25/2013   complete   Tony        Lam         AU   Tony        Lam         AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111334   11/25/2013   complete   Tony        Lam         AU   Tony        Lam         AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111335   11/25/2013   complete   Norman      Pang        GB   Norman      Pang        GB   authorizenet      GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111335   11/25/2013   complete   Norman      Pang        GB   Norman      Pang        GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111335   11/25/2013   complete   Norman      Pang        GB   Norman      Pang        GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111336   11/25/2013   complete   Tak         Choi        AU   Tak         Choi        AU   paypal_standard   USD   TVPAD-004       259     5   1    254    TV Pad Website - TV Pad Store - English
TVP-13111336   11/25/2013   complete   Tak         Choi        AU   Tak         Choi        AU   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111336   11/25/2013   complete   Tak         Choi        AU   Tak         Choi        AU   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111337   11/25/2013   complete   Vi-Nghi     Trinh       CA   Vi-Nghi     Trinh       CA   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111337   11/25/2013   complete   Vi-Nghi     Trinh       CA   Vi-Nghi     Trinh       CA   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111337   11/25/2013   complete   Vi-Nghi     Trinh       CA   Vi-Nghi     Trinh       CA   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111338   11/25/2013   complete   Chang       Shu         US   Chang       Shu         US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111338   11/25/2013   complete   Chang       Shu         US   Chang       Shu         US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111338   11/25/2013   complete   Chang       Shu         US   Chang       Shu         US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111339   11/25/2013   complete   Jialiang    Huang       AU   Jialiang    Huang       AU   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111339   11/25/2013   complete   Jialiang    Huang       AU   Jialiang    Huang       AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111339   11/25/2013   complete   Jialiang    Huang       AU   Jialiang    Huang       AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111340   11/25/2013   complete   chen        chen        NZ   chen        chen        NZ   authorizenet      AUD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111340   11/25/2013   complete   chen        chen        NZ   chen        chen        NZ   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111340   11/25/2013   complete   chen        chen        NZ   chen        chen        NZ   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111309   11/25/2013   complete   qiwen       zhu         US   qiwen       zhu         US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111309   11/25/2013   complete   qiwen       zhu         US   qiwen       zhu         US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111309   11/25/2013   complete   qiwen       zhu         US   qiwen       zhu         US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111341   11/25/2013   complete   Ruomin      Sun         AU   Ruomin      Sun         AU   authorizenet      AUD   TVPAD-004       250     0   2    500    TV Pad Website - TV Pad Store - English
TVP-13111341   11/25/2013   complete   Ruomin      Sun         AU   Ruomin      Sun         AU   authorizenet      AUD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111341   11/25/2013   complete   Ruomin      Sun         AU   Ruomin      Sun         AU   authorizenet      AUD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111342   11/25/2013   complete   Kai         Wong        US   Kai         Wong        US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111342   11/25/2013   complete   Kai         Wong        US   Kai         Wong        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111342   11/25/2013   complete   Kai         Wong        US   Kai         Wong        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111343   11/25/2013   complete   Chun        Lam         CA   KWOK        LO          CA   authorizenet      USD   TVPAD-004       259     5   1    254    TV Pad Website - TV Pad Store - English
TVP-13111343   11/25/2013   complete   Chun        Lam         CA   KWOK        LO          CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111343   11/25/2013   complete   Chun        Lam         CA   KWOK        LO          CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111346   11/26/2013   complete   Sabina      Cho         CA   Sabina      Cho         CA   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111346   11/26/2013   complete   Sabina      Cho         CA   Sabina      Cho         CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111346   11/26/2013   complete   Sabina      Cho         CA   Sabina      Cho         CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111347   11/26/2013   complete   Nathan      Lam         GB   Nathan      Lam         GB   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111347   11/26/2013   complete   Nathan      Lam         GB   Nathan      Lam         GB   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111347   11/26/2013   complete   Nathan      Lam         GB   Nathan      Lam         GB   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111348   11/26/2013   complete   qiang       hua liu     GB   Qiang       liu         GB   authorizenet      USD   TVPAD-004       250     0   2    500    TV Pad Website - TV Pad Store - English
TVP-13111348   11/26/2013   complete   qiang       hua liu     GB   Qiang       liu         GB   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111348   11/26/2013   complete   qiang       hua liu     GB   Qiang       liu         GB   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111349   11/26/2013   complete   wendy       lam         GB   wendy       lam         GB   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111349   11/26/2013   complete   wendy       lam         GB   wendy       lam         GB   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111349   11/26/2013   complete   wendy       lam         GB   wendy       lam         GB   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111350   11/26/2013   complete   Kitty       Tse         US   Kitty       Tse         US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111350   11/26/2013   complete   Kitty       Tse         US   Kitty       Tse         US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111350   11/26/2013   complete   Kitty       Tse         US   Kitty       Tse         US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111351   11/26/2013   complete   Ha          Tran        US   My          Tran        US   paypal_standard   USD   TVPAD-004       259     5   1    254    TV Pad Website - TV Pad Store - English
TVP-13111351   11/26/2013   complete   Ha          Tran        US   My          Tran        US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111351   11/26/2013   complete   Ha          Tran        US   My          Tran        US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111352   11/26/2013   complete   Michael     Li          US   Michael     Li          US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111352   11/26/2013   complete   Michael     Li          US   Michael     Li          US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111352   11/26/2013   complete   Michael     Li          US   Michael     Li          US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111353   11/26/2013   complete   Deuk        Lee         US   Deuk        Lee         US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111353   11/26/2013   complete   Deuk        Lee         US   Deuk        Lee         US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111353   11/26/2013   complete   Deuk        Lee         US   Deuk        Lee         US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111354   11/26/2013   complete   Veronica    Lee         SG   Veronica    Lee         SG   authorizenet      USD   TVPAD-004       259     5   1    254    TV Pad Website - TV Pad Store - English
TVP-13111354   11/26/2013   complete   Veronica    Lee         SG   Veronica    Lee         SG   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111354   11/26/2013   complete   Veronica    Lee         SG   Veronica    Lee         SG   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111355   11/26/2013   closed     Scott       Ng          US   Scott       Ng          US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111355   11/26/2013   closed     Scott       Ng          US   Scott       Ng          US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111355   11/26/2013   closed     Scott       Ng          US   Scott       Ng          US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111356   11/26/2013   complete   Simon       Cheuk       AU   Simon       Cheuk       AU   authorizenet      AUD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111356   11/26/2013   complete   Simon       Cheuk       AU   Simon       Cheuk       AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111356   11/26/2013   complete   Simon       Cheuk       AU   Simon       Cheuk       AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
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                                   #:20427
TVP-13111358   11/26/2013   complete   Kiki          Law        GB   Kiki       Law        GB   authorizenet      GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111358   11/26/2013   complete   Kiki          Law        GB   Kiki       Law        GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111359   11/26/2013   complete   Randy         Cohn       US   Randy      Cohn       US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111359   11/26/2013   complete   Randy         Cohn       US   Randy      Cohn       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111359   11/26/2013   complete   Randy         Cohn       US   Randy      Cohn       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111360   11/27/2013   complete   Henry         leung      US   Henry      leung      US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111360   11/27/2013   complete   Henry         leung      US   Henry      leung      US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111360   11/27/2013   complete   Henry         leung      US   Henry      leung      US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111361   11/27/2013   complete   Lian          Tong       US   Lian       Tong       US   authorizenet      USD   TVPAD-AC-004   15.99    0   1   15.99   TV Pad Website - TV Pad Store - English
TVP-13111361   11/27/2013   complete   Lian          Tong       US   Lian       Tong       US   authorizenet      USD   TVPAD-GM-002      58    0   1      58   TV Pad Website - TV Pad Store - English
TVP-13111363   11/27/2013   complete   Mandy         Ting       US   Mandy      Ting       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111363   11/27/2013   complete   Mandy         Ting       US   Mandy      Ting       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111363   11/27/2013   complete   Mandy         Ting       US   Mandy      Ting       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111364   11/27/2013   complete   motokazu      uematsu    US   motokazu   uematsu    US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111366   11/27/2013   complete   Alfred        Huang      US   Alfred     Huang      US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111366   11/27/2013   complete   Alfred        Huang      US   Alfred     Huang      US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111366   11/27/2013   complete   Alfred        Huang      US   Alfred     Huang      US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111367   11/27/2013   complete   Kuk           Han        AU   Kuk        Han        AU   authorizenet      AUD   TVPAD-004       245    10   5   1215    TV Pad Website - TV Pad Store - English
TVP-13111367   11/27/2013   complete   Kuk           Han        AU   Kuk        Han        AU   authorizenet      AUD   HGIFT2             0    0   5       0   TV Pad Website - TV Pad Store - English
TVP-13111367   11/27/2013   complete   Kuk           Han        AU   Kuk        Han        AU   authorizenet      AUD   HGIFT1             0    0   5       0   TV Pad Website - TV Pad Store - English
TVP-13111368   11/27/2013   complete   jun           ham        US   jun        ham        US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111368   11/27/2013   complete   jun           ham        US   jun        ham        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111368   11/27/2013   complete   jun           ham        US   jun        ham        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111369   11/27/2013   complete   T             Sham       GB   MR.C       TAM        GB   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111369   11/27/2013   complete   T             Sham       GB   MR.C       TAM        GB   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111369   11/27/2013   complete   T             Sham       GB   MR.C       TAM        GB   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111370   11/27/2013   complete   Ann           Teh        SG   Ann        Teh        SG   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111370   11/27/2013   complete   Ann           Teh        SG   Ann        Teh        SG   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111370   11/27/2013   complete   Ann           Teh        SG   Ann        Teh        SG   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111371   11/27/2013   complete   Andy          Pan        AU   Andy       Pan        AU   paypal_standard   AUD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111371   11/27/2013   complete   Andy          Pan        AU   Andy       Pan        AU   paypal_standard   AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111371   11/27/2013   complete   Andy          Pan        AU   Andy       Pan        AU   paypal_standard   AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111372   11/27/2013   complete   Hyungmo       Nam        US   Hyungmo    Nam        US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111372   11/27/2013   complete   Hyungmo       Nam        US   Hyungmo    Nam        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111372   11/27/2013   complete   Hyungmo       Nam        US   Hyungmo    Nam        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111373   11/28/2013   complete   Yuji          Watanabe   AU   Yuji       Watanabe   AU   authorizenet      AUD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111373   11/28/2013   complete   Yuji          Watanabe   AU   Yuji       Watanabe   AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111373   11/28/2013   complete   Yuji          Watanabe   AU   Yuji       Watanabe   AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111375   11/27/2013   complete   Eugene        Tewarrie   GB   Euge       Tewarrie   GB   paypal_standard   GBP   TVPAD-004       259     5   1    254    TV Pad Website - TV Pad Store - English
TVP-13111375   11/27/2013   complete   Eugene        Tewarrie   GB   Euge       Tewarrie   GB   paypal_standard   GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111375   11/27/2013   complete   Eugene        Tewarrie   GB   Euge       Tewarrie   GB   paypal_standard   GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111376   11/28/2013   complete   Siu           wan        GB   Siu        wan        GB   authorizenet      GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111376   11/28/2013   complete   Siu           wan        GB   Siu        wan        GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111376   11/28/2013   complete   Siu           wan        GB   Siu        wan        GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011057   11/28/2013   complete   cuiwei        zhong      US   cuiwei     zhong      US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - Chinese
TVP-70011057   11/28/2013   complete   cuiwei        zhong      US   cuiwei     zhong      US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011057   11/28/2013   complete   cuiwei        zhong      US   cuiwei     zhong      US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13111377   11/28/2013   complete   Wei           Ang        AU   Wei        Ang        AU   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111377   11/28/2013   complete   Wei           Ang        AU   Wei        Ang        AU   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111377   11/28/2013   complete   Wei           Ang        AU   Wei        Ang        AU   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111378   11/28/2013   complete   Les           Rodgers    AU   Les        Rodgers    AU   authorizenet      AUD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111378   11/28/2013   complete   Les           Rodgers    AU   Les        Rodgers    AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111378   11/28/2013   complete   Les           Rodgers    AU   Les        Rodgers    AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111379   11/28/2013   complete   Byung         Jeon       US   Byung      Jeon       US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111379   11/28/2013   complete   Byung         Jeon       US   Byung      Jeon       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111379   11/28/2013   complete   Byung         Jeon       US   Byung      Jeon       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111382   11/28/2013   complete   Jin           Ma         DK   Jin        Ma         DK   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111382   11/28/2013   complete   Jin           Ma         DK   Jin        Ma         DK   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111382   11/28/2013   complete   Jin           Ma         DK   Jin        Ma         DK   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111383   11/28/2013   complete   JinLian       Ma         DK   JinLian    Ma         DK   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111383   11/28/2013   complete   JinLian       Ma         DK   JinLian    Ma         DK   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111383   11/28/2013   complete   JinLian       Ma         DK   JinLian    Ma         DK   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111384   11/28/2013   complete   Lex           Legal      AU   Lex        Legal      AU   authorizenet      AUD   TVPAD-004       250     0   3    750    TV Pad Website - TV Pad Store - English
TVP-13111384   11/28/2013   complete   Lex           Legal      AU   Lex        Legal      AU   authorizenet      AUD   HGIFT2             0    0   3       0   TV Pad Website - TV Pad Store - English
TVP-13111384   11/28/2013   complete   Lex           Legal      AU   Lex        Legal      AU   authorizenet      AUD   HGIFT1             0    0   3       0   TV Pad Website - TV Pad Store - English
TVP-13111385   11/29/2013   complete   Susie         Casanova   US   Mun        Chen       US   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111385   11/29/2013   complete   Susie         Casanova   US   Mun        Chen       US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111385   11/29/2013   complete   Susie         Casanova   US   Mun        Chen       US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111386   11/29/2013   complete   Andrea        Wong       GB   Andrea     Wong       GB   authorizenet      GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13111386   11/29/2013   complete   Andrea        Wong       GB   Andrea     Wong       GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111386   11/29/2013   complete   Andrea        Wong       GB   Andrea     Wong       GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111387   11/29/2013   complete   Yiu           Chan       AU   Yiu        Chan       AU   authorizenet      AUD   TVPAD-004       250     0   3    750    TV Pad Website - TV Pad Store - English
TVP-13111387   11/29/2013   complete   Yiu           Chan       AU   Yiu        Chan       AU   authorizenet      AUD   HGIFT2             0    0   3       0   TV Pad Website - TV Pad Store - English
TVP-13111387   11/29/2013   complete   Yiu           Chan       AU   Yiu        Chan       AU   authorizenet      AUD   HGIFT1             0    0   3       0   TV Pad Website - TV Pad Store - English
TVP-13111388   11/29/2013   complete   siu           sung       US   siu        sung       US   authorizenet      USD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13111388   11/29/2013   complete   siu           sung       US   siu        sung       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111388   11/29/2013   complete   siu           sung       US   siu        sung       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111390   11/29/2013   complete   Man           Lau        US   Man        Lau        US   authorizenet      USD   TVPAD-004       259    15   1    244    TV Pad Website - TV Pad Store - English
TVP-13111390   11/29/2013   complete   Man           Lau        US   Man        Lau        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111390   11/29/2013   complete   Man           Lau        US   Man        Lau        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111391   11/29/2013   complete   Cammy         Fong       AU   Cammy      Fong       AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111391   11/29/2013   complete   Cammy         Fong       AU   Cammy      Fong       AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111391   11/29/2013   complete   Cammy         Fong       AU   Cammy      Fong       AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111392   11/29/2013   complete   Yuet          Chan       AU   Yuet       Chan       AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111392   11/29/2013   complete   Yuet          Chan       AU   Yuet       Chan       AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111392   11/29/2013   complete   Yuet          Chan       AU   Yuet       Chan       AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111393   11/29/2013   complete   Mei           Li         US   Zijiang    Huang      US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111393   11/29/2013   complete   Mei           Li         US   Zijiang    Huang      US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111393   11/29/2013   complete   Mei           Li         US   Zijiang    Huang      US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111394   11/29/2013   complete   YF            Wong       NL   Hayden     Wong       NL   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111394   11/29/2013   complete   YF            Wong       NL   Hayden     Wong       NL   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111394   11/29/2013   complete   YF            Wong       NL   Hayden     Wong       NL   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111395   11/29/2013   complete   marie paule   LAW-YEN    RE   marie      LAW-YEN    RE   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111395   11/29/2013   complete   marie paule   LAW-YEN    RE   marie      LAW-YEN    RE   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111395   11/29/2013   complete   marie paule   LAW-YEN    RE   marie      LAW-YEN    RE   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111397   11/29/2013   complete   Sangkyu       Park       AU   Sangkyu    Park       AU   authorizenet      AUD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111397   11/29/2013   complete   Sangkyu       Park       AU   Sangkyu    Park       AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111397   11/29/2013   complete   Sangkyu       Park       AU   Sangkyu    Park       AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111398   11/29/2013   complete   Cynthia       Fong       US   Cynthia    Fong       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111398   11/29/2013   complete   Cynthia       Fong       US   Cynthia    Fong       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111398   11/29/2013   complete   Cynthia       Fong       US   Cynthia    Fong       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111399   11/30/2013   complete   guy           hee        CA   guy        hee        CA   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111399   11/30/2013   complete   guy           hee        CA   guy        hee        CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111399   11/30/2013   complete   guy           hee        CA   guy        hee        CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111400   11/30/2013   complete   Alvin         Lin        US   Alvin      Lin        US   authorizenet      USD   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13111400   11/30/2013   complete   Alvin         Lin        US   Alvin      Lin        US   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111400   11/30/2013   complete   Alvin         Lin        US   Alvin      Lin        US   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111401   11/30/2013   complete   Wanjuan       wu         GB   Wanjuan    wu         GB   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111401   11/30/2013   complete   Wanjuan       wu         GB   Wanjuan    wu         GB   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111401   11/30/2013   complete   Wanjuan       wu         GB   Wanjuan    wu         GB   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111402   11/30/2013   complete   Nicholas      Fu         CA   Nicholas   Fu         CA   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111402   11/30/2013   complete   Nicholas      Fu         CA   Nicholas   Fu         CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111402   11/30/2013   complete   Nicholas      Fu         CA   Nicholas   Fu         CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111403   11/30/2013   complete   daniel        kim        US   daniel     kim        US   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111403   11/30/2013   complete   daniel        kim        US   daniel     kim        US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111403   11/30/2013   complete   daniel        kim        US   daniel     kim        US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111404   11/30/2013   complete   Angie         Keaton     US   Angie      Keaton     US   authorizenet      USD   TVPAD-004       259    15   1    244    TV Pad Website - TV Pad Store - English
TVP-13111404   11/30/2013   complete   Angie         Keaton     US   Angie      Keaton     US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111404   11/30/2013   complete   Angie         Keaton     US   Angie      Keaton     US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111405   11/30/2013   complete   Benny         Szeto      US   Benny      Szeto      US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111405   11/30/2013   complete   Benny         Szeto      US   Benny      Szeto      US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111405   11/30/2013   complete   Benny         Szeto      US   Benny      Szeto      US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111406   11/30/2013   complete   Yong          Chen       US   Yong       Chen       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111406   11/30/2013   complete   Yong          Chen       US   Yong       Chen       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111406   11/30/2013   complete   Yong          Chen       US   Yong       Chen       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111407   11/30/2013   complete   George        Ho         GB   George     Ho         GB   authorizenet      GBP   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13111407   11/30/2013   complete   George        Ho         GB   George     Ho         GB   authorizenet      GBP   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111407   11/30/2013   complete   George        Ho         GB   George     Ho         GB   authorizenet      GBP   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111410   11/30/2013   complete   Manfai        Wong       US   Manfai     Wong       US   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111410   11/30/2013   complete   Manfai        Wong       US   Manfai     Wong       US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111410   11/30/2013   complete   Manfai        Wong       US   Manfai     Wong       US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111412   11/30/2013   complete   Donald        Liu        US   Donald     Liu        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111412   11/30/2013   complete   Donald        Liu        US   Donald     Liu        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111412   11/30/2013   complete   Donald        Liu        US   Donald     Liu        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111413   11/30/2013   complete   Lawrence      Chu        US   Lawrence   Chu        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111413   11/30/2013   complete   Lawrence      Chu        US   Lawrence   Chu        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111413   11/30/2013   complete   Lawrence      Chu        US   Lawrence   Chu        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111414   11/30/2013   complete   SIMON         ZHONG      AU   SIMON      ZHONG      AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111414   11/30/2013   complete   SIMON         ZHONG      AU   SIMON      ZHONG      AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111414   11/30/2013   complete   SIMON         ZHONG      AU   SIMON      ZHONG      AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111415   11/30/2013   complete   yuping        Gong       US   yuping     Gong       US   paypal_standard   USD   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13111415   11/30/2013   complete   yuping        Gong       US   yuping     Gong       US   paypal_standard   USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111415   11/30/2013   complete   yuping        Gong       US   yuping     Gong       US   paypal_standard   USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111416   11/30/2013   complete   Duanhua       lei        US   Steven     lei        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111416   11/30/2013   complete   Duanhua       lei        US   Steven     lei        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111416   11/30/2013   complete   Duanhua       lei        US   Steven     lei        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111417   11/30/2013   complete   Phung         tran       US   Phung      tran       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111417   11/30/2013   complete   Phung         tran       US   Phung      tran       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111417   11/30/2013   complete   Phung         tran       US   Phung      tran       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111418   11/30/2013   complete   Da-Li         Yu         US   Da-Li      Yu         US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111418   11/30/2013   complete   Da-Li         Yu         US   Da-Li      Yu         US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111418   11/30/2013   complete   Da-Li         Yu         US   Da-Li      Yu         US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111419   11/30/2013   complete   Henry         Zhao       AU   Henry      Zhao       AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111419   11/30/2013   complete   Henry         Zhao       AU   Henry      Zhao       AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111419   11/30/2013   complete   Henry         Zhao       AU   Henry      Zhao       AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111420   11/30/2013   complete   Fun           Yeung      US   Fun        Yeung      US   authorizenet      USD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13111420   11/30/2013   complete   Fun           Yeung      US   Fun        Yeung      US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111420   11/30/2013   complete   Fun           Yeung      US   Fun        Yeung      US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111421   11/30/2013   complete   Zizhong       Chen       US   Zizhong    Chen       US   authorizenet      USD   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13111421   11/30/2013   complete   Zizhong       Chen       US   Zizhong    Chen       US   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111421   11/30/2013   complete   Zizhong       Chen       US   Zizhong    Chen       US   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111422   11/30/2013   complete   JOOMI         SON        AU   Kiwon      (Daniel)   AU   authorizenet      AUD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
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                                   #:20428
TVP-13111422   11/30/2013   complete   JOOMI      SON         AU   Kiwon      (Daniel)    AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111422   11/30/2013   complete   JOOMI      SON         AU   Kiwon      (Daniel)    AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111423   11/30/2013   complete   Wei-Teng   Yu          GB   Wei-Teng   Yu          GB   authorizenet      GBP   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111423   11/30/2013   complete   Wei-Teng   Yu          GB   Wei-Teng   Yu          GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111423   11/30/2013   complete   Wei-Teng   Yu          GB   Wei-Teng   Yu          GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111424    12/1/2013   complete   TAN        BENG        BG   TAN        BENG        BE   authorizenet      EUR   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111424    12/1/2013   complete   TAN        BENG        BG   TAN        BENG        BE   authorizenet      EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111424    12/1/2013   complete   TAN        BENG        BG   TAN        BENG        BE   authorizenet      EUR   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111425    12/2/2013   complete   william    vu          GB   william    vu          GB   authorizenet      GBP   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13111425    12/2/2013   complete   william    vu          GB   william    vu          GB   authorizenet      GBP   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111425    12/2/2013   complete   william    vu          GB   william    vu          GB   authorizenet      GBP   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13111426    12/1/2013   complete   John       Wong        HK   Paul       Wong        GB   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111426    12/1/2013   complete   John       Wong        HK   Paul       Wong        GB   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111426    12/1/2013   complete   John       Wong        HK   Paul       Wong        GB   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111427    12/1/2013   complete   Quoc       Nguyen      GB   Quoc       Nguyen      GB   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111427    12/1/2013   complete   Quoc       Nguyen      GB   Quoc       Nguyen      GB   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111427    12/1/2013   complete   Quoc       Nguyen      GB   Quoc       Nguyen      GB   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111428    12/1/2013   complete   elaine     wong        US   elaine     wong        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111428    12/1/2013   complete   elaine     wong        US   elaine     wong        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111428    12/1/2013   complete   elaine     wong        US   elaine     wong        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111429   11/30/2013   complete   Min        Zou         CA   Min        Zou         CA   paypal_standard   USD   TVPAD-004       259    15   1    244    TV Pad Website - TV Pad Store - English
TVP-13111429   11/30/2013   complete   Min        Zou         CA   Min        Zou         CA   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111429   11/30/2013   complete   Min        Zou         CA   Min        Zou         CA   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111430    12/1/2013   complete   Connie     Kelly       US   Connie     Kelly       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111430    12/1/2013   complete   Connie     Kelly       US   Connie     Kelly       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111430    12/1/2013   complete   Connie     Kelly       US   Connie     Kelly       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111431    12/1/2013   complete   Yee        Mok         GB   Yee        Mok         GB   authorizenet      GBP   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111431    12/1/2013   complete   Yee        Mok         GB   Yee        Mok         GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111431    12/1/2013   complete   Yee        Mok         GB   Yee        Mok         GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111432    12/2/2013   complete   kent       wong        GB   kent       wong        GB   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111432    12/2/2013   complete   kent       wong        GB   kent       wong        GB   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111432    12/2/2013   complete   kent       wong        GB   kent       wong        GB   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111433    12/1/2013   complete   Michael    Ng          AU   Michael    Ng          AU   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13111433    12/1/2013   complete   Michael    Ng          AU   Michael    Ng          AU   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111433    12/1/2013   complete   Michael    Ng          AU   Michael    Ng          AU   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111434    12/2/2013   complete   Shannon    Burford     AU   Shannon    Burford     AU   authorizenet      USD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13111434    12/2/2013   complete   Shannon    Burford     AU   Shannon    Burford     AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13111434    12/2/2013   complete   Shannon    Burford     AU   Shannon    Burford     AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121010    12/2/2013   complete   Arthur     IP          AU   Arthur     IP          AU   authorizenet      AUD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13121010    12/2/2013   complete   Arthur     IP          AU   Arthur     IP          AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121010    12/2/2013   complete   Arthur     IP          AU   Arthur     IP          AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121011    12/2/2013   complete   Benson     Au-Yeung    GU   Benson     Au-Yeung    GU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121011    12/2/2013   complete   Benson     Au-Yeung    GU   Benson     Au-Yeung    GU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121011    12/2/2013   complete   Benson     Au-Yeung    GU   Benson     Au-Yeung    GU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121012    12/2/2013   complete   Lin-Fat    Lam         SE   Lin-Fat    Lam         SE   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121012    12/2/2013   complete   Lin-Fat    Lam         SE   Lin-Fat    Lam         SE   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121012    12/2/2013   complete   Lin-Fat    Lam         SE   Lin-Fat    Lam         SE   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121013    12/1/2013   complete   B.J.       Opdam       NL   B.J.       Opdam       NL   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121013    12/1/2013   complete   B.J.       Opdam       NL   B.J.       Opdam       NL   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121013    12/1/2013   complete   B.J.       Opdam       NL   B.J.       Opdam       NL   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121014    12/2/2013   complete   Wu         shanguang   AT   Wu         shanguang   AT   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121014    12/2/2013   complete   Wu         shanguang   AT   Wu         shanguang   AT   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121014    12/2/2013   complete   Wu         shanguang   AT   Wu         shanguang   AT   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121015    12/2/2013   complete   Siu        Leong       DE   Siu        Leong       DE   authorizenet      EUR   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121015    12/2/2013   complete   Siu        Leong       DE   Siu        Leong       DE   authorizenet      EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121015    12/2/2013   complete   Siu        Leong       DE   Siu        Leong       DE   authorizenet      EUR   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121017    12/2/2013   complete   Siew       Lim         GB   Siew       Lim         GB   authorizenet      GBP   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121017    12/2/2013   complete   Siew       Lim         GB   Siew       Lim         GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121017    12/2/2013   complete   Siew       Lim         GB   Siew       Lim         GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121016    12/2/2013   complete   Roland     Chua        AU   Roland     Chua        AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121016    12/2/2013   complete   Roland     Chua        AU   Roland     Chua        AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121016    12/2/2013   complete   Roland     Chua        AU   Roland     Chua        AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121018    12/2/2013   complete   Thaisanh   huynh       SE   dusanh     Huynh       SE   paypal_standard   USD   TVPAD-004       250    10   4    990    TV Pad Website - TV Pad Store - English
TVP-13121018    12/2/2013   complete   Thaisanh   huynh       SE   dusanh     Huynh       SE   paypal_standard   USD   HGIFT2             0    0   4       0   TV Pad Website - TV Pad Store - English
TVP-13121018    12/2/2013   complete   Thaisanh   huynh       SE   dusanh     Huynh       SE   paypal_standard   USD   HGIFT1             0    0   4       0   TV Pad Website - TV Pad Store - English
TVP-13121019    12/2/2013   complete   Chun       Shum        GB   Chun       Shum        GB   authorizenet      GBP   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121020    12/2/2013   complete   Jason      Lam         GB   Jason      Lam         GB   authorizenet      USD   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121020    12/2/2013   complete   Jason      Lam         GB   Jason      Lam         GB   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121020    12/2/2013   complete   Jason      Lam         GB   Jason      Lam         GB   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121021    12/2/2013   complete   Tyng       Yang        US   Tyng       Yang        US   authorizenet      USD   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121021    12/2/2013   complete   Tyng       Yang        US   Tyng       Yang        US   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121021    12/2/2013   complete   Tyng       Yang        US   Tyng       Yang        US   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121022    12/2/2013   complete   tc         chan        US   tc         chan        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121022    12/2/2013   complete   tc         chan        US   tc         chan        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121022    12/2/2013   complete   tc         chan        US   tc         chan        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121023    12/2/2013   complete   Sophie     Chen        US   Feng       Chen        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121023    12/2/2013   complete   Sophie     Chen        US   Feng       Chen        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121023    12/2/2013   complete   Sophie     Chen        US   Feng       Chen        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121024    12/2/2013   complete   steven     chan        US   steven     chan        US   authorizenet      USD   TVPAD-AC-004   15.99    0   2   31.98   TV Pad Website - TV Pad Store - English
TVP-13121025    12/2/2013   complete   Takahiko   Kiso        GB   Takahiko   Kiso        GB   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121025    12/2/2013   complete   Takahiko   Kiso        GB   Takahiko   Kiso        GB   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121026    12/2/2013   complete   Minh       Ha          US   Minh       Ha          US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121026    12/2/2013   complete   Minh       Ha          US   Minh       Ha          US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121026    12/2/2013   complete   Minh       Ha          US   Minh       Ha          US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121028    12/2/2013   complete   james      ng          GB   james      ng          GB   authorizenet      GBP   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121028    12/2/2013   complete   james      ng          GB   james      ng          GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121028    12/2/2013   complete   james      ng          GB   james      ng          GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121030    12/2/2013   complete   Wai        Lam         GB   Wai        Lam         GB   paypal_standard   GBP   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121030    12/2/2013   complete   Wai        Lam         GB   Wai        Lam         GB   paypal_standard   GBP   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121030    12/2/2013   complete   Wai        Lam         GB   Wai        Lam         GB   paypal_standard   GBP   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121031    12/2/2013   complete   sufun      wong        GB   sufun      wong        GB   authorizenet      GBP   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121031    12/2/2013   complete   sufun      wong        GB   sufun      wong        GB   authorizenet      GBP   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121031    12/2/2013   complete   sufun      wong        GB   sufun      wong        GB   authorizenet      GBP   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121032    12/2/2013   complete   Koon       Cheung      US   Koon       Cheung      US   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121032    12/2/2013   complete   Koon       Cheung      US   Koon       Cheung      US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121032    12/2/2013   complete   Koon       Cheung      US   Koon       Cheung      US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121033    12/2/2013   complete   Sam        Kim         US   Chynsoo    Kim         US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121033    12/2/2013   complete   Sam        Kim         US   Chynsoo    Kim         US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121033    12/2/2013   complete   Sam        Kim         US   Chynsoo    Kim         US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121034    12/2/2013   complete   kenny      chen        US   kenny      chen        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121034    12/2/2013   complete   kenny      chen        US   kenny      chen        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121034    12/2/2013   complete   kenny      chen        US   kenny      chen        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121035    12/2/2013   complete   Andy       Pan         AU   Andy       Pan         AU   paypal_standard   AUD   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121035    12/2/2013   complete   Andy       Pan         AU   Andy       Pan         AU   paypal_standard   AUD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121035    12/2/2013   complete   Andy       Pan         AU   Andy       Pan         AU   paypal_standard   AUD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121036    12/3/2013   complete   Kailing    Chen        US   Kailing    Chen        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121036    12/3/2013   complete   Kailing    Chen        US   Kailing    Chen        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121036    12/3/2013   complete   Kailing    Chen        US   Kailing    Chen        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121037    12/3/2013   complete   Steven     Ting        US   Steven     Ting        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121037    12/3/2013   complete   Steven     Ting        US   Steven     Ting        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121037    12/3/2013   complete   Steven     Ting        US   Steven     Ting        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121038    12/2/2013   complete   Si         Chen        US   Si         Chen        US   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121038    12/2/2013   complete   Si         Chen        US   Si         Chen        US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121041    12/3/2013   complete   chris      leong       IE   chris      leong       IE   authorizenet      EUR   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121041    12/3/2013   complete   chris      leong       IE   chris      leong       IE   authorizenet      EUR   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121041    12/3/2013   complete   chris      leong       IE   chris      leong       IE   authorizenet      EUR   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121042    12/2/2013   complete   Zen        Chan        AU   Zen        Chan        AU   paypal_standard   AUD   TVPAD-004       250    20   2    480    TV Pad Website - TV Pad Store - English
TVP-13121042    12/2/2013   complete   Zen        Chan        AU   Zen        Chan        AU   paypal_standard   AUD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121042    12/2/2013   complete   Zen        Chan        AU   Zen        Chan        AU   paypal_standard   AUD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-70011058    12/3/2013   complete   Leo        Zhu         NZ   Leo        Zhu         NZ   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - Chinese
TVP-70011058    12/3/2013   complete   Leo        Zhu         NZ   Leo        Zhu         NZ   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011058    12/3/2013   complete   Leo        Zhu         NZ   Leo        Zhu         NZ   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13121043    12/3/2013   complete   BIN        (MIKE)      AU   BIN        (MIKE)      AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121043    12/3/2013   complete   BIN        (MIKE)      AU   BIN        (MIKE)      AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121043    12/3/2013   complete   BIN        (MIKE)      AU   BIN        (MIKE)      AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121044    12/3/2013   complete   Kha How    Hoe         AU   Kha        Hoe         AU   authorizenet      AUD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121044    12/3/2013   complete   Kha How    Hoe         AU   Kha        Hoe         AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121044    12/3/2013   complete   Kha How    Hoe         AU   Kha        Hoe         AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121045    12/2/2013   complete   Zhixiong   Zhong       CA   Zhixiong   Zhong       CA   paypal_standard   CAD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121045    12/2/2013   complete   Zhixiong   Zhong       CA   Zhixiong   Zhong       CA   paypal_standard   CAD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121045    12/2/2013   complete   Zhixiong   Zhong       CA   Zhixiong   Zhong       CA   paypal_standard   CAD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121046    12/2/2013   complete   CHENGYI    SHIH        US   CHENGYI    SHIH        US   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121046    12/2/2013   complete   CHENGYI    SHIH        US   CHENGYI    SHIH        US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121046    12/2/2013   complete   CHENGYI    SHIH        US   CHENGYI    SHIH        US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121047    12/3/2013   complete   Claude     Chow        US   Claude     Chow        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121047    12/3/2013   complete   Claude     Chow        US   Claude     Chow        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121047    12/3/2013   complete   Claude     Chow        US   Claude     Chow        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121048    12/3/2013   complete   chi        wang        NL   chi        wang        NL   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121048    12/3/2013   complete   chi        wang        NL   chi        wang        NL   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121048    12/3/2013   complete   chi        wang        NL   chi        wang        NL   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121049    12/2/2013   complete   Alan       Chan        US   Alan       Chan        US   paypal_standard   USD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13121049    12/2/2013   complete   Alan       Chan        US   Alan       Chan        US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121049    12/2/2013   complete   Alan       Chan        US   Alan       Chan        US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121050    12/3/2013   complete   Cathy      Chen        US   Luong      Nhu         US   authorizenet      USD   TVPAD-004       259    15   1    244    TV Pad Website - TV Pad Store - English
TVP-13121050    12/3/2013   complete   Cathy      Chen        US   Luong      Nhu         US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121050    12/3/2013   complete   Cathy      Chen        US   Luong      Nhu         US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121051    12/3/2013   complete   Kevin      Leung       US   Kevin      Leung       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121051    12/3/2013   complete   Kevin      Leung       US   Kevin      Leung       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121051    12/3/2013   complete   Kevin      Leung       US   Kevin      Leung       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121052    12/3/2013   complete   Scott      Miao        US   Scott      Miao        US   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121052    12/3/2013   complete   Scott      Miao        US   Scott      Miao        US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121052    12/3/2013   complete   Scott      Miao        US   Scott      Miao        US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121053    12/3/2013   complete   Daniel     Wong        US   Daniel     Wong        US   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121053    12/3/2013   complete   Daniel     Wong        US   Daniel     Wong        US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121053    12/3/2013   complete   Daniel     Wong        US   Daniel     Wong        US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121054    12/3/2013   complete   jason      hong        US   jason      hong        US   authorizenet      USD   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121054    12/3/2013   complete   jason      hong        US   jason      hong        US   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121054    12/3/2013   complete   jason      hong        US   jason      hong        US   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121055    12/3/2013   complete   darren     dong        US   darren     dong        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121055    12/3/2013   complete   darren     dong        US   darren     dong        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121055    12/3/2013   complete   darren     dong        US   darren     dong        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121057    12/3/2013   complete   LIUU       CATHERINE   FR   LIUU       CATHERINE   FR   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
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                                   #:20429
TVP-13121057   12/3/2013   complete   LIUU          CATHERINE   FR   LIUU        CATHERINE   FR   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121057   12/3/2013   complete   LIUU          CATHERINE   FR   LIUU        CATHERINE   FR   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121058   12/3/2013   complete   Tristan       Liu         US   Tristan     Liu         US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121058   12/3/2013   complete   Tristan       Liu         US   Tristan     Liu         US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121058   12/3/2013   complete   Tristan       Liu         US   Tristan     Liu         US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121059   12/3/2013   complete   Guanhao       Li          NZ   Guanhao     Li          NZ   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121059   12/3/2013   complete   Guanhao       Li          NZ   Guanhao     Li          NZ   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121059   12/3/2013   complete   Guanhao       Li          NZ   Guanhao     Li          NZ   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121060   12/3/2013   complete   Robert        Hoskin      AU   Robert      Hoskin      AU   paypal_standard   USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121060   12/3/2013   complete   Robert        Hoskin      AU   Robert      Hoskin      AU   paypal_standard   USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121060   12/3/2013   complete   Robert        Hoskin      AU   Robert      Hoskin      AU   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121061   12/3/2013   complete   eleanor       ho          US   eleanor     ho          US   authorizenet      USD   TVPAD-AC-002   15.99    0   1   15.99 Type: US,                 TV Pad Website - TV Pad Store - English
TVP-13121062   12/3/2013   complete   Po            Lui         US   Po          Lui         US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121062   12/3/2013   complete   Po            Lui         US   Po          Lui         US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121062   12/3/2013   complete   Po            Lui         US   Po          Lui         US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-70011059   12/3/2013   complete   Bo            Li          NZ   Bo          Li          NZ   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - Chinese
TVP-70011059   12/3/2013   complete   Bo            Li          NZ   Bo          Li          NZ   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - Chinese
TVP-70011059   12/3/2013   complete   Bo            Li          NZ   Bo          Li          NZ   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - Chinese
TVP-13121063   12/3/2013   complete   Paul          Zhu         NZ   Paul        Zhu         NZ   authorizenet      USD   TVPAD-004       245    10   5   1215                            TV Pad Website - TV Pad Store - English
TVP-13121063   12/3/2013   complete   Paul          Zhu         NZ   Paul        Zhu         NZ   authorizenet      USD   HGIFT2             0    0   5       0                           TV Pad Website - TV Pad Store - English
TVP-13121063   12/3/2013   complete   Paul          Zhu         NZ   Paul        Zhu         NZ   authorizenet      USD   HGIFT1             0    0   5       0                           TV Pad Website - TV Pad Store - English
TVP-70011060   12/3/2013   complete   KL            Wat         GB   KL          Wat         GB   authorizenet      GBP   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - Chinese
TVP-70011060   12/3/2013   complete   KL            Wat         GB   KL          Wat         GB   authorizenet      GBP   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - Chinese
TVP-70011060   12/3/2013   complete   KL            Wat         GB   KL          Wat         GB   authorizenet      GBP   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - Chinese
TVP-13121064   12/3/2013   complete   Dawei         Wu          US   Dawei       Wu          US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121064   12/3/2013   complete   Dawei         Wu          US   Dawei       Wu          US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121064   12/3/2013   complete   Dawei         Wu          US   Dawei       Wu          US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121066   12/3/2013   complete   Tiffany       Shu         US   Tiffany     Shu         US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121066   12/3/2013   complete   Tiffany       Shu         US   Tiffany     Shu         US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121066   12/3/2013   complete   Tiffany       Shu         US   Tiffany     Shu         US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121067   12/3/2013   complete   Kam           ng          US   Kam         ng          US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121067   12/3/2013   complete   Kam           ng          US   Kam         ng          US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121067   12/3/2013   complete   Kam           ng          US   Kam         ng          US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121068   12/4/2013   complete   SENO          PRAMONO     ID   SENO        PRAMONO     ID   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121068   12/4/2013   complete   SENO          PRAMONO     ID   SENO        PRAMONO     ID   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121068   12/4/2013   complete   SENO          PRAMONO     ID   SENO        PRAMONO     ID   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121069   12/4/2013   complete   Kimi          Nishimura   AU   Kimi        Nishimura   AU   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121069   12/4/2013   complete   Kimi          Nishimura   AU   Kimi        Nishimura   AU   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121069   12/4/2013   complete   Kimi          Nishimura   AU   Kimi        Nishimura   AU   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121070   12/4/2013   complete   Vincent       Cheng       AU   Vincent     Cheng       AU   authorizenet      AUD   TVPAD-004       250    10   2    490                            TV Pad Website - TV Pad Store - English
TVP-13121070   12/4/2013   complete   Vincent       Cheng       AU   Vincent     Cheng       AU   authorizenet      AUD   HGIFT2             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121070   12/4/2013   complete   Vincent       Cheng       AU   Vincent     Cheng       AU   authorizenet      AUD   HGIFT1             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121072   12/4/2013   complete   Nadia         Tran        AU   Nadia       Tran        AU   authorizenet      AUD   TVPAD-004       259    20   1    239                            TV Pad Website - TV Pad Store - English
TVP-13121072   12/4/2013   complete   Nadia         Tran        AU   Nadia       Tran        AU   authorizenet      AUD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121072   12/4/2013   complete   Nadia         Tran        AU   Nadia       Tran        AU   authorizenet      AUD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121073   12/4/2013   complete   Jennifer      Tran        US   Jennifer    Tran        US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121073   12/4/2013   complete   Jennifer      Tran        US   Jennifer    Tran        US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121073   12/4/2013   complete   Jennifer      Tran        US   Jennifer    Tran        US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121074   12/4/2013   complete   Bing          Mei         US   Bing        Mei         US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121074   12/4/2013   complete   Bing          Mei         US   Bing        Mei         US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121074   12/4/2013   complete   Bing          Mei         US   Bing        Mei         US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121075   12/4/2013   complete   VICTOR        PEARCE      US   VICTOR      PEARCE      US   authorizenet      USD   TVPAD-006       375    10   1    365 Game Controllers: 2 Game   TV Pad Website - TV Pad Store - English
TVP-13121075   12/4/2013   complete   VICTOR        PEARCE      US   VICTOR      PEARCE      US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121075   12/4/2013   complete   VICTOR        PEARCE      US   VICTOR      PEARCE      US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121076   12/4/2013   complete   Jerry         Yu          US   Jerry       Yu          US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121076   12/4/2013   complete   Jerry         Yu          US   Jerry       Yu          US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121076   12/4/2013   complete   Jerry         Yu          US   Jerry       Yu          US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121077   12/4/2013   complete   Christine     Cheung      AU   Christine   Cheung      AU   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121077   12/4/2013   complete   Christine     Cheung      AU   Christine   Cheung      AU   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121077   12/4/2013   complete   Christine     Cheung      AU   Christine   Cheung      AU   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121078   12/4/2013   complete   Trai          Truong      CA   Trai        Truong      CA   authorizenet      USD   TVPAD-004       250    10   2    490                            TV Pad Website - TV Pad Store - English
TVP-13121078   12/4/2013   complete   Trai          Truong      CA   Trai        Truong      CA   authorizenet      USD   HGIFT2             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121078   12/4/2013   complete   Trai          Truong      CA   Trai        Truong      CA   authorizenet      USD   HGIFT1             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121079   12/4/2013   complete   johan         su          US   johan       su          US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121079   12/4/2013   complete   johan         su          US   johan       su          US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121079   12/4/2013   complete   johan         su          US   johan       su          US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121080   12/4/2013   complete   harpreet      Singh       AU   harpreet    Singh       AU   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121080   12/4/2013   complete   harpreet      Singh       AU   harpreet    Singh       AU   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121080   12/4/2013   complete   harpreet      Singh       AU   harpreet    Singh       AU   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121081   12/4/2013   complete   David         Cushing     US   David       Cushing     US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121081   12/4/2013   complete   David         Cushing     US   David       Cushing     US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121082   12/4/2013   complete   Patrick       Yim         US   Patrick     Yim         US   paypal_standard   USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121082   12/4/2013   complete   Patrick       Yim         US   Patrick     Yim         US   paypal_standard   USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121082   12/4/2013   complete   Patrick       Yim         US   Patrick     Yim         US   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121083   12/4/2013   complete   steve         chan        US   steve       chan        US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121083   12/4/2013   complete   steve         chan        US   steve       chan        US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121083   12/4/2013   complete   steve         chan        US   steve       chan        US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121084   12/4/2013   complete   LEI           XING        AU   LEI         XING        AU   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121084   12/4/2013   complete   LEI           XING        AU   LEI         XING        AU   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121084   12/4/2013   complete   LEI           XING        AU   LEI         XING        AU   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121085   12/4/2013   complete   Kong          Tam         US   Kong        Tam         US   paypal_standard   USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121085   12/4/2013   complete   Kong          Tam         US   Kong        Tam         US   paypal_standard   USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121085   12/4/2013   complete   Kong          Tam         US   Kong        Tam         US   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121086   12/4/2013   complete   Boum          Kim         US   Boum        Kim         US   authorizenet      USD   TVPAD-004       259     0   1    259                            TV Pad Website - TV Pad Store - English
TVP-13121086   12/4/2013   complete   Boum          Kim         US   Boum        Kim         US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121086   12/4/2013   complete   Boum          Kim         US   Boum        Kim         US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121087   12/4/2013   complete   Christopher   Wong        GB   Susann      Yung        GB   authorizenet      GBP   TVPAD-004       259     5   1    254                            TV Pad Website - TV Pad Store - English
TVP-13121087   12/4/2013   complete   Christopher   Wong        GB   Susann      Yung        GB   authorizenet      GBP   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121087   12/4/2013   complete   Christopher   Wong        GB   Susann      Yung        GB   authorizenet      GBP   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121088   12/5/2013   complete   Hyunmin       Bae         AE   Hyunmin     Bae         AE   authorizenet      USD   TVPAD-004       259     0   1    259                            TV Pad Website - TV Pad Store - English
TVP-13121088   12/5/2013   complete   Hyunmin       Bae         AE   Hyunmin     Bae         AE   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121088   12/5/2013   complete   Hyunmin       Bae         AE   Hyunmin     Bae         AE   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121089   12/4/2013   complete   Tin           Chen        NL   Tin         Chen        NL   authorizenet      USD   TVPAD-004       259     0   1    259                            TV Pad Website - TV Pad Store - English
TVP-13121089   12/4/2013   complete   Tin           Chen        NL   Tin         Chen        NL   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121089   12/4/2013   complete   Tin           Chen        NL   Tin         Chen        NL   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121090   12/4/2013   complete   Lee Man       Hong        NO   Lee         hong        NO   authorizenet      USD   TVPAD-004       259     0   1    259                            TV Pad Website - TV Pad Store - English
TVP-13121090   12/4/2013   complete   Lee Man       Hong        NO   Lee         hong        NO   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121090   12/4/2013   complete   Lee Man       Hong        NO   Lee         hong        NO   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121091   12/4/2013   complete   Hock          Tan         US   Hock        Tan         US   authorizenet      USD   TVPAD-004       259     0   1    259                            TV Pad Website - TV Pad Store - English
TVP-13121091   12/4/2013   complete   Hock          Tan         US   Hock        Tan         US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121091   12/4/2013   complete   Hock          Tan         US   Hock        Tan         US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121092   12/4/2013   complete   Jennifer      Liang       BE   Jennifer    Liang       BE   authorizenet      USD   TVPAD-004       259     0   1    259                            TV Pad Website - TV Pad Store - English
TVP-13121092   12/4/2013   complete   Jennifer      Liang       BE   Jennifer    Liang       BE   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121092   12/4/2013   complete   Jennifer      Liang       BE   Jennifer    Liang       BE   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121093   12/5/2013   complete   MALEI         WONG        GB   MALEI       WONG        GB   authorizenet      USD   TVPAD-004       259    20   1    239                            TV Pad Website - TV Pad Store - English
TVP-13121093   12/5/2013   complete   MALEI         WONG        GB   MALEI       WONG        GB   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121093   12/5/2013   complete   MALEI         WONG        GB   MALEI       WONG        GB   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121094   12/5/2013   complete   Ming          Yang        US   Ming        Yang        US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121094   12/5/2013   complete   Ming          Yang        US   Ming        Yang        US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121094   12/5/2013   complete   Ming          Yang        US   Ming        Yang        US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121095   12/4/2013   complete   Oai           Tran        US   Oai         Tran        US   paypal_standard   USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121095   12/4/2013   complete   Oai           Tran        US   Oai         Tran        US   paypal_standard   USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121095   12/4/2013   complete   Oai           Tran        US   Oai         Tran        US   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121096   12/5/2013   complete   Xi            zhang       GB   Xi          zhang       GB   paypal_standard   GBP   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121096   12/5/2013   complete   Xi            zhang       GB   Xi          zhang       GB   paypal_standard   GBP   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121096   12/5/2013   complete   Xi            zhang       GB   Xi          zhang       GB   paypal_standard   GBP   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121097   12/5/2013   complete   M             Chiu        GB   M           Chiu        GB   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121097   12/5/2013   complete   M             Chiu        GB   M           Chiu        GB   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121097   12/5/2013   complete   M             Chiu        GB   M           Chiu        GB   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121098   12/5/2013   complete   Zhuo          Chen        GB   Zhuo        Chen        GB   authorizenet      GBP   TVPAD-004       259    15   1    244                            TV Pad Website - TV Pad Store - English
TVP-13121098   12/5/2013   complete   Zhuo          Chen        GB   Zhuo        Chen        GB   authorizenet      GBP   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121098   12/5/2013   complete   Zhuo          Chen        GB   Zhuo        Chen        GB   authorizenet      GBP   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121099   12/5/2013   complete   Mike          Wong        CA   Mike        Wong        CA   paypal_standard   USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121099   12/5/2013   complete   Mike          Wong        CA   Mike        Wong        CA   paypal_standard   USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121099   12/5/2013   complete   Mike          Wong        CA   Mike        Wong        CA   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-70011061   12/5/2013   complete   Qianmin       Huo         GB   Qianmin     Huo         GB   authorizenet      GBP   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - Chinese
TVP-70011061   12/5/2013   complete   Qianmin       Huo         GB   Qianmin     Huo         GB   authorizenet      GBP   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - Chinese
TVP-70011061   12/5/2013   complete   Qianmin       Huo         GB   Qianmin     Huo         GB   authorizenet      GBP   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - Chinese
TVP-13121100   12/5/2013   complete   Hui           Zhong       AU   Hui         Zhong       AU   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121100   12/5/2013   complete   Hui           Zhong       AU   Hui         Zhong       AU   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121100   12/5/2013   complete   Hui           Zhong       AU   Hui         Zhong       AU   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121101   12/5/2013   complete   Kevin         Chan        US   Kevin       Chan        US   paypal_standard   USD   TVPAD-AC-004   15.99    0   1   15.99                           TV Pad Website - TV Pad Store - English
TVP-13121101   12/5/2013   complete   Kevin         Chan        US   Kevin       Chan        US   paypal_standard   USD   TVPAD-AC-003   15.99    0   1   15.99 Type: US,                 TV Pad Website - TV Pad Store - English
TVP-13121102   12/5/2013   complete   James         Cann        AU   James       Cann        AU   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121102   12/5/2013   complete   James         Cann        AU   James       Cann        AU   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121102   12/5/2013   complete   James         Cann        AU   James       Cann        AU   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121103   12/5/2013   complete   Zhong         Peng        US   Zhong       Peng        US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121103   12/5/2013   complete   Zhong         Peng        US   Zhong       Peng        US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121103   12/5/2013   complete   Zhong         Peng        US   Zhong       Peng        US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121105   12/5/2013   complete   ANGEL         NEGRON      US   ANGEL       NEGRON      US   paypal_standard   USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121105   12/5/2013   complete   ANGEL         NEGRON      US   ANGEL       NEGRON      US   paypal_standard   USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121105   12/5/2013   complete   ANGEL         NEGRON      US   ANGEL       NEGRON      US   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121106   12/5/2013   closed     My            Van         US   My          Van         US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121106   12/5/2013   closed     My            Van         US   My          Van         US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121106   12/5/2013   closed     My            Van         US   My          Van         US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121107   12/5/2013   complete   Ling          Shao        AU   Ling        Shao        AU   authorizenet      USD   TVPAD-004       259    20   1    239                            TV Pad Website - TV Pad Store - English
TVP-13121107   12/5/2013   complete   Ling          Shao        AU   Ling        Shao        AU   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121108   12/5/2013   complete   Alwin         Wong        CA   Alwin       Wong        CA   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121108   12/5/2013   complete   Alwin         Wong        CA   Alwin       Wong        CA   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121108   12/5/2013   complete   Alwin         Wong        CA   Alwin       Wong        CA   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121109   12/5/2013   complete   Maan          Cheang      US   Maan        Cheang      US   authorizenet      USD   TVPAD-004       250    10   2    490                            TV Pad Website - TV Pad Store - English
TVP-13121109   12/5/2013   complete   Maan          Cheang      US   Maan        Cheang      US   authorizenet      USD   HGIFT2             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121109   12/5/2013   complete   Maan          Cheang      US   Maan        Cheang      US   authorizenet      USD   HGIFT1             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121110   12/5/2013   complete   John          Tse         US   John        Tse         US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121110   12/5/2013   complete   John          Tse         US   John        Tse         US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121110   12/5/2013   complete   John          Tse         US   John        Tse         US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121111   12/5/2013   complete   Derek         Pang        GB   Derek       Pang        GB   paypal_standard   GBP   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121111   12/5/2013   complete   Derek         Pang        GB   Derek       Pang        GB   paypal_standard   GBP   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121111   12/5/2013   complete   Derek         Pang        GB   Derek       Pang        GB   paypal_standard   GBP   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121112   12/5/2013   complete   Timothy       Toishi      CA   Timothy     Toishi      CA   paypal_standard   USD   TVPAD-004       259    15   1    244                            TV Pad Website - TV Pad Store - English
TVP-13121112   12/5/2013   complete   Timothy       Toishi      CA   Timothy     Toishi      CA   paypal_standard   USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121112   12/5/2013   complete   Timothy       Toishi      CA   Timothy     Toishi      CA   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
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                                   #:20430
TVP-13121113   12/5/2013   complete   Ghar       Cheung      GB   Ghar       Cheung      GB   authorizenet      GBP   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121113   12/5/2013   complete   Ghar       Cheung      GB   Ghar       Cheung      GB   authorizenet      GBP   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121113   12/5/2013   complete   Ghar       Cheung      GB   Ghar       Cheung      GB   authorizenet      GBP   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121114   12/5/2013   complete   Ying       Li          NZ   Ying       Li          NZ   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121114   12/5/2013   complete   Ying       Li          NZ   Ying       Li          NZ   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121114   12/5/2013   complete   Ying       Li          NZ   Ying       Li          NZ   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121115   12/5/2013   complete   Edward     Han         US   Edward     Han         US   paypal_standard   USD   TVPAD-004   259   20   1   239   TV Pad Website - TV Pad Store - English
TVP-13121115   12/5/2013   complete   Edward     Han         US   Edward     Han         US   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121115   12/5/2013   complete   Edward     Han         US   Edward     Han         US   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121116   12/5/2013   complete   yang       xu          NZ   yang       xu          NZ   authorizenet      USD   TVPAD-004   259   20   1   239   TV Pad Website - TV Pad Store - English
TVP-13121116   12/5/2013   complete   yang       xu          NZ   yang       xu          NZ   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121116   12/5/2013   complete   yang       xu          NZ   yang       xu          NZ   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121117   12/5/2013   complete   Yen        Yeoh        AU   Yen        Yeoh        AU   paypal_standard   AUD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121117   12/5/2013   complete   Yen        Yeoh        AU   Yen        Yeoh        AU   paypal_standard   AUD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121117   12/5/2013   complete   Yen        Yeoh        AU   Yen        Yeoh        AU   paypal_standard   AUD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121118   12/5/2013   complete   chung      son         US   chung      son         US   authorizenet      USD   TVPAD-004   259   20   1   239   TV Pad Website - TV Pad Store - English
TVP-13121118   12/5/2013   complete   chung      son         US   chung      son         US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121118   12/5/2013   complete   chung      son         US   chung      son         US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121119   12/6/2013   complete   Yu-Ting    Wong        GB   Jennifer   Wong        GB   authorizenet      GBP   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121119   12/6/2013   complete   Yu-Ting    Wong        GB   Jennifer   Wong        GB   authorizenet      GBP   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121119   12/6/2013   complete   Yu-Ting    Wong        GB   Jennifer   Wong        GB   authorizenet      GBP   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121120   12/6/2013   complete   Kai        Cheng       CA   Kai        Cheng       CA   authorizenet      CAD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121120   12/6/2013   complete   Kai        Cheng       CA   Kai        Cheng       CA   authorizenet      CAD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121120   12/6/2013   complete   Kai        Cheng       CA   Kai        Cheng       CA   authorizenet      CAD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121121   12/6/2013   complete   Eric       Lam         US   Eric       Lam         US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121121   12/6/2013   complete   Eric       Lam         US   Eric       Lam         US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121121   12/6/2013   complete   Eric       Lam         US   Eric       Lam         US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121122   12/6/2013   complete   homing     kaneko      US   homing     kaneko      US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121122   12/6/2013   complete   homing     kaneko      US   homing     kaneko      US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121122   12/6/2013   complete   homing     kaneko      US   homing     kaneko      US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121123   12/6/2013   complete   Jim        Zhou        NZ   Jim        Zhou        NZ   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121123   12/6/2013   complete   Jim        Zhou        NZ   Jim        Zhou        NZ   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121123   12/6/2013   complete   Jim        Zhou        NZ   Jim        Zhou        NZ   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121124   12/6/2013   complete   cheng      zhen        US   cheng      zhen        US   authorizenet      USD   TVPAD-004   250   10   2   490   TV Pad Website - TV Pad Store - English
TVP-13121124   12/6/2013   complete   cheng      zhen        US   cheng      zhen        US   authorizenet      USD   HGIFT2        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121124   12/6/2013   complete   cheng      zhen        US   cheng      zhen        US   authorizenet      USD   HGIFT1        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121125   12/6/2013   complete   Kevin      Fung        CA   Kevin      Fung        CA   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121125   12/6/2013   complete   Kevin      Fung        CA   Kevin      Fung        CA   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121125   12/6/2013   complete   Kevin      Fung        CA   Kevin      Fung        CA   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121126   12/6/2013   complete   hiep       ly          US   hiep       ly          US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121126   12/6/2013   complete   hiep       ly          US   hiep       ly          US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121126   12/6/2013   complete   hiep       ly          US   hiep       ly          US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121127   12/6/2013   complete   tony       chin        US   tony       chin        US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121127   12/6/2013   complete   tony       chin        US   tony       chin        US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121127   12/6/2013   complete   tony       chin        US   tony       chin        US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121128   12/6/2013   complete   Jonathan   Shao        CA   Jonathan   Shao        CA   paypal_standard   CAD   TVPAD-004   250   15   2   485   TV Pad Website - TV Pad Store - English
TVP-13121128   12/6/2013   complete   Jonathan   Shao        CA   Jonathan   Shao        CA   paypal_standard   CAD   HGIFT2        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121128   12/6/2013   complete   Jonathan   Shao        CA   Jonathan   Shao        CA   paypal_standard   CAD   HGIFT1        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121129   12/6/2013   complete   Daniel     Sam         EC   Daniel     ChuSam      US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121129   12/6/2013   complete   Daniel     Sam         EC   Daniel     ChuSam      US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121129   12/6/2013   complete   Daniel     Sam         EC   Daniel     ChuSam      US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121131   12/6/2013   complete   HUA        Ni          CA   HUA        Ni          CA   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121131   12/6/2013   complete   HUA        Ni          CA   HUA        Ni          CA   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121131   12/6/2013   complete   HUA        Ni          CA   HUA        Ni          CA   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121132   12/6/2013   complete   Julie      Lee         US   Julie      Lee         US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121132   12/6/2013   complete   Julie      Lee         US   Julie      Lee         US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121132   12/6/2013   complete   Julie      Lee         US   Julie      Lee         US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121135   12/6/2013   complete   Jimmy      Van         AU   Jimmy      Van         AU   authorizenet      AUD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121135   12/6/2013   complete   Jimmy      Van         AU   Jimmy      Van         AU   authorizenet      AUD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121135   12/6/2013   complete   Jimmy      Van         AU   Jimmy      Van         AU   authorizenet      AUD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121136   12/6/2013   complete   JingTang   Zeng        US   JingTang   Zeng        US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121136   12/6/2013   complete   JingTang   Zeng        US   JingTang   Zeng        US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121136   12/6/2013   complete   JingTang   Zeng        US   JingTang   Zeng        US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121137   12/6/2013   complete   Alvin      Leung       CA   Alvin      Leung       CA   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121137   12/6/2013   complete   Alvin      Leung       CA   Alvin      Leung       CA   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121137   12/6/2013   complete   Alvin      Leung       CA   Alvin      Leung       CA   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121138   12/6/2013   complete   Zhong      shimin      SE   Zhong      shimin      SE   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121138   12/6/2013   complete   Zhong      shimin      SE   Zhong      shimin      SE   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121138   12/6/2013   complete   Zhong      shimin      SE   Zhong      shimin      SE   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121139   12/8/2013   complete   Jack       Chong       NL   Jack       Chong       NL   authorizenet      USD   TVPAD-004   259   20   1   239   TV Pad Website - TV Pad Store - English
TVP-13121139   12/8/2013   complete   Jack       Chong       NL   Jack       Chong       NL   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121139   12/8/2013   complete   Jack       Chong       NL   Jack       Chong       NL   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121140   12/6/2013   complete   Fergus     Tse         AU   Fergus     Tse         AU   paypal_standard   AUD   TVPAD-004   259   20   1   239   TV Pad Website - TV Pad Store - English
TVP-13121140   12/6/2013   complete   Fergus     Tse         AU   Fergus     Tse         AU   paypal_standard   AUD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121140   12/6/2013   complete   Fergus     Tse         AU   Fergus     Tse         AU   paypal_standard   AUD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121141   12/7/2013   complete   Ivy        Yip         US   Ivy        Yip         US   paypal_standard   USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121141   12/7/2013   complete   Ivy        Yip         US   Ivy        Yip         US   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121141   12/7/2013   complete   Ivy        Yip         US   Ivy        Yip         US   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121142   12/8/2013   complete   Raymond    Ti          CA   Raymond    Ti          CA   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121142   12/8/2013   complete   Raymond    Ti          CA   Raymond    Ti          CA   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121142   12/8/2013   complete   Raymond    Ti          CA   Raymond    Ti          CA   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121143   12/7/2013   complete   Amelia     Wong        AU   Amelia     Wong        AU   paypal_standard   USD   TVPAD-004   250   10   2   490   TV Pad Website - TV Pad Store - English
TVP-13121143   12/7/2013   complete   Amelia     Wong        AU   Amelia     Wong        AU   paypal_standard   USD   HGIFT2        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121143   12/7/2013   complete   Amelia     Wong        AU   Amelia     Wong        AU   paypal_standard   USD   HGIFT1        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121144   12/7/2013   complete   David      Smyth       AU   David      Smyth       AU   paypal_standard   USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121144   12/7/2013   complete   David      Smyth       AU   David      Smyth       AU   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121144   12/7/2013   complete   David      Smyth       AU   David      Smyth       AU   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121145   12/8/2013   complete   Mika       Tabata      AU   Mika       Tabata      AU   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121145   12/8/2013   complete   Mika       Tabata      AU   Mika       Tabata      AU   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121145   12/8/2013   complete   Mika       Tabata      AU   Mika       Tabata      AU   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121147   12/7/2013   complete   Hua        Peng        AU   Hua        Peng        AU   paypal_standard   USD   TVPAD-004   259   20   1   239   TV Pad Website - TV Pad Store - English
TVP-13121147   12/7/2013   complete   Hua        Peng        AU   Hua        Peng        AU   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121147   12/7/2013   complete   Hua        Peng        AU   Hua        Peng        AU   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121148   12/8/2013   complete   Mona       Cai         US   Mona       Cai         US   paypal_standard   USD   TVPAD-004   259   15   1   244   TV Pad Website - TV Pad Store - English
TVP-13121148   12/8/2013   complete   Mona       Cai         US   Mona       Cai         US   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121148   12/8/2013   complete   Mona       Cai         US   Mona       Cai         US   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121149   12/8/2013   complete   Eung       Kim         US   Heather    Lee         US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121149   12/8/2013   complete   Eung       Kim         US   Heather    Lee         US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121149   12/8/2013   complete   Eung       Kim         US   Heather    Lee         US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121151   12/8/2013   complete   Allan      Hsiao       AU   Ivan       Hsiao       US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121151   12/8/2013   complete   Allan      Hsiao       AU   Ivan       Hsiao       US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121151   12/8/2013   complete   Allan      Hsiao       AU   Ivan       Hsiao       US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121153   12/8/2013   complete   David      Tang        US   David      Tang        US   paypal_standard   USD   TVPAD-004   250   15   2   485   TV Pad Website - TV Pad Store - English
TVP-13121153   12/8/2013   complete   David      Tang        US   David      Tang        US   paypal_standard   USD   HGIFT2        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121153   12/8/2013   complete   David      Tang        US   David      Tang        US   paypal_standard   USD   HGIFT1        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121155   12/8/2013   complete   Candy      Chan        GB   Candy      Chan        GB   authorizenet      GBP   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121155   12/8/2013   complete   Candy      Chan        GB   Candy      Chan        GB   authorizenet      GBP   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121155   12/8/2013   complete   Candy      Chan        GB   Candy      Chan        GB   authorizenet      GBP   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121156   12/8/2013   complete   JAMES      WANG        US   JAMES      WANG        US   paypal_standard   USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121156   12/8/2013   complete   JAMES      WANG        US   JAMES      WANG        US   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121156   12/8/2013   complete   JAMES      WANG        US   JAMES      WANG        US   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121154   12/8/2013   complete   Stanley    Yung        US   Stanley    Yung        US   authorizenet      USD   TVPAD-004   259   20   1   239   TV Pad Website - TV Pad Store - English
TVP-13121154   12/8/2013   complete   Stanley    Yung        US   Stanley    Yung        US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121157   12/8/2013   complete   Sek        Wong        US   Sek        Wong        US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121157   12/8/2013   complete   Sek        Wong        US   Sek        Wong        US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121157   12/8/2013   complete   Sek        Wong        US   Sek        Wong        US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121158   12/8/2013   complete   Dean       Sherriff    AU   Dean       Sherriff    AU   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121158   12/8/2013   complete   Dean       Sherriff    AU   Dean       Sherriff    AU   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121158   12/8/2013   complete   Dean       Sherriff    AU   Dean       Sherriff    AU   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121159   12/8/2013   complete   ZHIMIN     YE          NZ   ZHIMIN     YE          NZ   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121159   12/8/2013   complete   ZHIMIN     YE          NZ   ZHIMIN     YE          NZ   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121159   12/8/2013   complete   ZHIMIN     YE          NZ   ZHIMIN     YE          NZ   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121160   12/8/2013   complete   Louis      Cheung      US   Raymond    Cheung      US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121160   12/8/2013   complete   Louis      Cheung      US   Raymond    Cheung      US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121160   12/8/2013   complete   Louis      Cheung      US   Raymond    Cheung      US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121161   12/8/2013   complete   Daniel     Cheung      GB   Daniel     Cheung      GB   authorizenet      GBP   TVPAD-004   250   10   2   490   TV Pad Website - TV Pad Store - English
TVP-13121161   12/8/2013   complete   Daniel     Cheung      GB   Daniel     Cheung      GB   authorizenet      GBP   HGIFT2        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121161   12/8/2013   complete   Daniel     Cheung      GB   Daniel     Cheung      GB   authorizenet      GBP   HGIFT1        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121162   12/8/2013   complete   Jason      Tey         AU   Jason      Tey         AU   paypal_standard   USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121162   12/8/2013   complete   Jason      Tey         AU   Jason      Tey         AU   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121162   12/8/2013   complete   Jason      Tey         AU   Jason      Tey         AU   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121163   12/8/2013   complete   Dennis     Bleeser     NL   Dennis     Bleeser     NL   authorizenet      EUR   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121163   12/8/2013   complete   Dennis     Bleeser     NL   Dennis     Bleeser     NL   authorizenet      EUR   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121163   12/8/2013   complete   Dennis     Bleeser     NL   Dennis     Bleeser     NL   authorizenet      EUR   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121164   12/8/2013   complete   william    olsson      SE   william    olsson      SE   paypal_standard   USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121164   12/8/2013   complete   william    olsson      SE   william    olsson      SE   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121164   12/8/2013   complete   william    olsson      SE   william    olsson      SE   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121165   12/8/2013   complete   Shangjie   Yang        AU   Shangjie   Yang        AU   authorizenet      AUD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121165   12/8/2013   complete   Shangjie   Yang        AU   Shangjie   Yang        AU   authorizenet      AUD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121165   12/8/2013   complete   Shangjie   Yang        AU   Shangjie   Yang        AU   authorizenet      AUD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121166   12/9/2013   complete   chor       wong        GB   wah        wan         GB   authorizenet      GBP   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121166   12/9/2013   complete   chor       wong        GB   wah        wan         GB   authorizenet      GBP   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121166   12/9/2013   complete   chor       wong        GB   wah        wan         GB   authorizenet      GBP   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121167   12/8/2013   complete   Arthur     Binder      US   Arthur     Binder      US   paypal_standard   USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121167   12/8/2013   complete   Arthur     Binder      US   Arthur     Binder      US   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121167   12/8/2013   complete   Arthur     Binder      US   Arthur     Binder      US   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121168   12/9/2013   complete   LIN        Richard     FR   LIN        Richard     FR   paypal_standard   USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121168   12/9/2013   complete   LIN        Richard     FR   LIN        Richard     FR   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121168   12/9/2013   complete   LIN        Richard     FR   LIN        Richard     FR   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121169   12/9/2013   complete   Lilyanna   Lo          GB   Lilyanna   Lo          GB   authorizenet      GBP   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121169   12/9/2013   complete   Lilyanna   Lo          GB   Lilyanna   Lo          GB   authorizenet      GBP   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121169   12/9/2013   complete   Lilyanna   Lo          GB   Lilyanna   Lo          GB   authorizenet      GBP   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121170   12/9/2013   complete   Gary       DeCreny     US   Gary       DeCreny     US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121170   12/9/2013   complete   Gary       DeCreny     US   Gary       DeCreny     US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121170   12/9/2013   complete   Gary       DeCreny     US   Gary       DeCreny     US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121171   12/9/2013   complete   Wing       Yau         GB   Wing       Yau         GB   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121171   12/9/2013   complete   Wing       Yau         GB   Wing       Yau         GB   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121171   12/9/2013   complete   Wing       Yau         GB   Wing       Yau         GB   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121172   12/9/2013   complete   Simon      Lambert     GB   Simon      Lambert     GB   authorizenet      GBP   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121172   12/9/2013   complete   Simon      Lambert     GB   Simon      Lambert     GB   authorizenet      GBP   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121172   12/9/2013   complete   Simon      Lambert     GB   Simon      Lambert     GB   authorizenet      GBP   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121173   12/9/2013   complete   Yuki       Kularatne   AU   Yuki       Kularatne   AU   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
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                                   #:20431
TVP-13121173    12/9/2013   complete   Yuki             Kularatne    AU   Yuki             Kularatne     AU   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121173    12/9/2013   complete   Yuki             Kularatne    AU   Yuki             Kularatne     AU   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121174    12/9/2013   complete   Pui              Chung        GB   Pui              Chung         GB   authorizenet      GBP   TVPAD-004       259    10   1    249              TV Pad Website - TV Pad Store - English
TVP-13121174    12/9/2013   complete   Pui              Chung        GB   Pui              Chung         GB   authorizenet      GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121174    12/9/2013   complete   Pui              Chung        GB   Pui              Chung         GB   authorizenet      GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121175    12/9/2013   complete   Steven           Chu          GB   Steven           Chu           GB   paypal_standard   GBP   TVPAD-004       259    10   1    249              TV Pad Website - TV Pad Store - English
TVP-13121175    12/9/2013   complete   Steven           Chu          GB   Steven           Chu           GB   paypal_standard   GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121175    12/9/2013   complete   Steven           Chu          GB   Steven           Chu           GB   paypal_standard   GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121176    12/9/2013   complete   Jonathan         Chan         US   Jonathan         Chan          US   paypal_standard   USD   TVPAD-004       250    10   2    490              TV Pad Website - TV Pad Store - English
TVP-13121176    12/9/2013   complete   Jonathan         Chan         US   Jonathan         Chan          US   paypal_standard   USD   HGIFT2             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13121176    12/9/2013   complete   Jonathan         Chan         US   Jonathan         Chan          US   paypal_standard   USD   HGIFT1             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13121177    12/9/2013   complete   Daniel           Kwon         SG   Daniel           Kwon          SG   paypal_standard   USD   TVPAD-004       259    10   1    249              TV Pad Website - TV Pad Store - English
TVP-13121177    12/9/2013   complete   Daniel           Kwon         SG   Daniel           Kwon          SG   paypal_standard   USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121177    12/9/2013   complete   Daniel           Kwon         SG   Daniel           Kwon          SG   paypal_standard   USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121178    12/9/2013   complete   Alan             Ee           SG   Alan             Ee            SG   authorizenet      USD   TVPAD-004       259    10   1    249              TV Pad Website - TV Pad Store - English
TVP-13121178    12/9/2013   complete   Alan             Ee           SG   Alan             Ee            SG   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121178    12/9/2013   complete   Alan             Ee           SG   Alan             Ee            SG   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121179    12/9/2013   complete   Yung             Feng         US   Yung             Feng          US   authorizenet      USD   TVPAD-004       259    10   1    249              TV Pad Website - TV Pad Store - English
TVP-13121179    12/9/2013   complete   Yung             Feng         US   Yung             Feng          US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121179    12/9/2013   complete   Yung             Feng         US   Yung             Feng          US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121181    12/9/2013   complete   KING             LAI          GB   KING             LAI           GB   authorizenet      GBP   TVPAD-004       259    10   1    249              TV Pad Website - TV Pad Store - English
TVP-13121181    12/9/2013   complete   KING             LAI          GB   KING             LAI           GB   authorizenet      GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121183    12/9/2013   complete   Joe              Kau          SG   Joe              Kau           SG   authorizenet      USD   TVPAD-004       259    10   1    249              TV Pad Website - TV Pad Store - English
TVP-13121183    12/9/2013   complete   Joe              Kau          SG   Joe              Kau           SG   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121183    12/9/2013   complete   Joe              Kau          SG   Joe              Kau           SG   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121184    12/9/2013   complete   Xuan             Zhang        CH   xuan             zhang         CH   authorizenet      GBP   TVPAD-004       259    10   1    249              TV Pad Website - TV Pad Store - English
TVP-13121184    12/9/2013   complete   Xuan             Zhang        CH   xuan             zhang         CH   authorizenet      GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121184    12/9/2013   complete   Xuan             Zhang        CH   xuan             zhang         CH   authorizenet      GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-70011062    12/9/2013   complete   Raymond          Chung        NL   Raymond          Chung         NL   authorizenet      EUR   TVPAD-004       259    10   1    249              TV Pad Website - TV Pad Store - Chinese
TVP-70011062    12/9/2013   complete   Raymond          Chung        NL   Raymond          Chung         NL   authorizenet      EUR   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - Chinese
TVP-70011062    12/9/2013   complete   Raymond          Chung        NL   Raymond          Chung         NL   authorizenet      EUR   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - Chinese
TVP-13121185    12/9/2013   complete   Fui              lee          GB   Fui              lee           GB   authorizenet      USD   TVPAD-004       259    10   1    249              TV Pad Website - TV Pad Store - English
TVP-13121185    12/9/2013   complete   Fui              lee          GB   Fui              lee           GB   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121185    12/9/2013   complete   Fui              lee          GB   Fui              lee           GB   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121186   12/10/2013   complete   winnie           lam          GB   winnie           lam           GB   authorizenet      GBP   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121186   12/10/2013   complete   winnie           lam          GB   winnie           lam           GB   authorizenet      GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121186   12/10/2013   complete   winnie           lam          GB   winnie           lam           GB   authorizenet      GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121187   12/10/2013   complete   Jacques          Vandeperre   BE   Jacques          Vandeperre    BE   paypal_standard   EUR   TVPAD-004       259    10   1    249              TV Pad Website - TV Pad Store - English
TVP-13121187   12/10/2013   complete   Jacques          Vandeperre   BE   Jacques          Vandeperre    BE   paypal_standard   EUR   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121187   12/10/2013   complete   Jacques          Vandeperre   BE   Jacques          Vandeperre    BE   paypal_standard   EUR   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121188   12/10/2013   complete   Eric             Wean         FR   Eric             Wean          FR   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121188   12/10/2013   complete   Eric             Wean         FR   Eric             Wean          FR   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121188   12/10/2013   complete   Eric             Wean         FR   Eric             Wean          FR   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121189   12/10/2013   complete   Nhi              Ly           NO   Nhi              Ly            NO   authorizenet      USD   TVPAD-004       245     0   5   1225              TV Pad Website - TV Pad Store - English
TVP-13121189   12/10/2013   complete   Nhi              Ly           NO   Nhi              Ly            NO   authorizenet      USD   HGIFT2             0    0   5       0             TV Pad Website - TV Pad Store - English
TVP-13121189   12/10/2013   complete   Nhi              Ly           NO   Nhi              Ly            NO   authorizenet      USD   HGIFT1             0    0   5       0             TV Pad Website - TV Pad Store - English
TVP-13121190   12/10/2013   complete   Khang            Phang        GB   Po               Chung         GB   authorizenet      GBP   TVPAD-004       259     5   1    254              TV Pad Website - TV Pad Store - English
TVP-13121190   12/10/2013   complete   Khang            Phang        GB   Po               Chung         GB   authorizenet      GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121190   12/10/2013   complete   Khang            Phang        GB   Po               Chung         GB   authorizenet      GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121191   12/10/2013   complete   Hiroyuki         Nishigori    CA   Hiroyuki         Nishigori     CA   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121191   12/10/2013   complete   Hiroyuki         Nishigori    CA   Hiroyuki         Nishigori     CA   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121191   12/10/2013   complete   Hiroyuki         Nishigori    CA   Hiroyuki         Nishigori     CA   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121192   12/10/2013   complete   Keenan           Yang         US   Keenan           Yang          US   paypal_standard   USD   TVPAD-AC-001   15.99    0   1   15.99             TV Pad Website - TV Pad Store - English
TVP-13121194   12/10/2013   complete   TSONG-YUAN       CHEN         TH   TSONG-YUAN       CHEN          TH   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121194   12/10/2013   complete   TSONG-YUAN       CHEN         TH   TSONG-YUAN       CHEN          TH   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121194   12/10/2013   complete   TSONG-YUAN       CHEN         TH   TSONG-YUAN       CHEN          TH   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121195   12/10/2013   complete   Yunhui           Tan          AU   Yunhui           Tan           AU   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121195   12/10/2013   complete   Yunhui           Tan          AU   Yunhui           Tan           AU   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121195   12/10/2013   complete   Yunhui           Tan          AU   Yunhui           Tan           AU   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121196   12/10/2013   complete   Jonathon         Liew         AU   Jonathon         Liew          AU   paypal_standard   USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121196   12/10/2013   complete   Jonathon         Liew         AU   Jonathon         Liew          AU   paypal_standard   USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121196   12/10/2013   complete   Jonathon         Liew         AU   Jonathon         Liew          AU   paypal_standard   USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121197   12/10/2013   complete   Hui              Zhang        NZ   Hui              Zhang         NZ   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121197   12/10/2013   complete   Hui              Zhang        NZ   Hui              Zhang         NZ   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121197   12/10/2013   complete   Hui              Zhang        NZ   Hui              Zhang         NZ   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121198   12/10/2013   complete   CHUN             Pierre       FR   CHUN             Pierre        FR   paypal_standard   USD   TVPAD-004       250     0   2    500              TV Pad Website - TV Pad Store - English
TVP-13121198   12/10/2013   complete   CHUN             Pierre       FR   CHUN             Pierre        FR   paypal_standard   USD   HGIFT2             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13121198   12/10/2013   complete   CHUN             Pierre       FR   CHUN             Pierre        FR   paypal_standard   USD   HGIFT1             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13121199   12/10/2013   complete   Raymond          Truong       AU   Raymond          Truong        AU   paypal_standard   USD   TVPAD-004       259    10   1    249              TV Pad Website - TV Pad Store - English
TVP-13121199   12/10/2013   complete   Raymond          Truong       AU   Raymond          Truong        AU   paypal_standard   USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121200   12/11/2013   complete   Cindy            wang         US   Cindy            wang          US   authorizenet      USD   TVPAD-004       259    30   1    229              TV Pad Website - TV Pad Store - English
TVP-13121201   12/11/2013   complete   Simon            Shiu         US   Simon            Shiu          US   paypal_standard   USD   TVPAD-AC-004   15.99    0   1   15.99             TV Pad Website - TV Pad Store - English
TVP-13121202   12/11/2013   complete   Georgina         Kahl         US   Georgina         Kahl          US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121202   12/11/2013   complete   Georgina         Kahl         US   Georgina         Kahl          US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121202   12/11/2013   complete   Georgina         Kahl         US   Georgina         Kahl          US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121203   12/11/2013   complete   sun              chan         GB   sun              chan          GB   authorizenet      GBP   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121203   12/11/2013   complete   sun              chan         GB   sun              chan          GB   authorizenet      GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121203   12/11/2013   complete   sun              chan         GB   sun              chan          GB   authorizenet      GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121204   12/11/2013   complete   Adam             Ma           US   Adam             Ma            US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121204   12/11/2013   complete   Adam             Ma           US   Adam             Ma            US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121204   12/11/2013   complete   Adam             Ma           US   Adam             Ma            US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121205   12/11/2013   complete   Donna            Chan         US   Donna            Chan          US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121205   12/11/2013   complete   Donna            Chan         US   Donna            Chan          US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121205   12/11/2013   complete   Donna            Chan         US   Donna            Chan          US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121206   12/11/2013   complete   Shirong          Huang        US   Shirong          Huang         US   paypal_standard   USD   TVPAD-004       259    10   1    249              TV Pad Website - TV Pad Store - English
TVP-13121206   12/11/2013   complete   Shirong          Huang        US   Shirong          Huang         US   paypal_standard   USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121206   12/11/2013   complete   Shirong          Huang        US   Shirong          Huang         US   paypal_standard   USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121207   12/11/2013   complete   Jingxian         Jian         NL   Jingxian         Jian          NL   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121207   12/11/2013   complete   Jingxian         Jian         NL   Jingxian         Jian          NL   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121207   12/11/2013   complete   Jingxian         Jian         NL   Jingxian         Jian          NL   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121208   12/12/2013   complete   Thong            Trieu        DE   Thong            Trieu         DE   authorizenet      EUR   TVPAD-004       259    10   1    249              TV Pad Website - TV Pad Store - English
TVP-13121208   12/12/2013   complete   Thong            Trieu        DE   Thong            Trieu         DE   authorizenet      EUR   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121208   12/12/2013   complete   Thong            Trieu        DE   Thong            Trieu         DE   authorizenet      EUR   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121209   12/11/2013   complete   tzi              wong         GB   tzi              wong          GB   paypal_standard   GBP   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121209   12/11/2013   complete   tzi              wong         GB   tzi              wong          GB   paypal_standard   GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121209   12/11/2013   complete   tzi              wong         GB   tzi              wong          GB   paypal_standard   GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121210   12/12/2013   complete   the              la           GB   the              la            GB   authorizenet      GBP   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121210   12/12/2013   complete   the              la           GB   the              la            GB   authorizenet      GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121210   12/12/2013   complete   the              la           GB   the              la            GB   authorizenet      GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121212   12/12/2013   complete   Phu              Lieu         AT   Pension          Schottentor   AT   paypal_standard   EUR   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121212   12/12/2013   complete   Phu              Lieu         AT   Pension          Schottentor   AT   paypal_standard   EUR   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121212   12/12/2013   complete   Phu              Lieu         AT   Pension          Schottentor   AT   paypal_standard   EUR   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121213   12/12/2013   complete   Minh             Huynh        US   Minh             Huynh         US   authorizenet      USD   TVPAD-004       250     0   2    500              TV Pad Website - TV Pad Store - English
TVP-13121213   12/12/2013   complete   Minh             Huynh        US   Minh             Huynh         US   authorizenet      USD   HGIFT2             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13121213   12/12/2013   complete   Minh             Huynh        US   Minh             Huynh         US   authorizenet      USD   HGIFT1             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13121214   12/12/2013   complete   Mr               Hanlon       GB   Honsang          Chung         GB   authorizenet      GBP   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121214   12/12/2013   complete   Mr               Hanlon       GB   Honsang          Chung         GB   authorizenet      GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121214   12/12/2013   complete   Mr               Hanlon       GB   Honsang          Chung         GB   authorizenet      GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121216   12/12/2013   complete   Miriam           Tam          CA   Miriam           Tam           CA   paypal_standard   CAD   TVPAD-004       259    10   1    249              TV Pad Website - TV Pad Store - English
TVP-13121216   12/12/2013   complete   Miriam           Tam          CA   Miriam           Tam           CA   paypal_standard   CAD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121216   12/12/2013   complete   Miriam           Tam          CA   Miriam           Tam           CA   paypal_standard   CAD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121217   12/12/2013   complete   Vicky            Chen         US   Vicky            Chen          US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121217   12/12/2013   complete   Vicky            Chen         US   Vicky            Chen          US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121217   12/12/2013   complete   Vicky            Chen         US   Vicky            Chen          US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121218   12/12/2013   complete   Michael          Ng           US   Michael          Ng            US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121218   12/12/2013   complete   Michael          Ng           US   Michael          Ng            US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121218   12/12/2013   complete   Michael          Ng           US   Michael          Ng            US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121219   12/12/2013   complete   Yong             cho          US   Yong             cho           US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121219   12/12/2013   complete   Yong             cho          US   Yong             cho           US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121219   12/12/2013   complete   Yong             cho          US   Yong             cho           US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121220   12/12/2013   complete   Yohana           Setiati      AU   Yohana           Setiati       AU   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121220   12/12/2013   complete   Yohana           Setiati      AU   Yohana           Setiati       AU   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121220   12/12/2013   complete   Yohana           Setiati      AU   Yohana           Setiati       AU   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121221   12/12/2013   complete   Sinh             Quan         GB   Sinh             Quan          GB   paypal_standard   GBP   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121221   12/12/2013   complete   Sinh             Quan         GB   Sinh             Quan          GB   paypal_standard   GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121221   12/12/2013   complete   Sinh             Quan         GB   Sinh             Quan          GB   paypal_standard   GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121222   12/12/2013   complete   Julien           TU           FR   Julien           TU            FR   paypal_standard   USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121222   12/12/2013   complete   Julien           TU           FR   Julien           TU            FR   paypal_standard   USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121222   12/12/2013   complete   Julien           TU           FR   Julien           TU            FR   paypal_standard   USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121223   12/13/2013   complete   Swee             Leong        GB   Swee             Leong         GB   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121223   12/13/2013   complete   Swee             Leong        GB   Swee             Leong         GB   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121223   12/13/2013   complete   Swee             Leong        GB   Swee             Leong         GB   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121224   12/13/2013   complete   masaaki          watanabe     US   Masaaki          Watanabe      US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121224   12/13/2013   complete   masaaki          watanabe     US   Masaaki          Watanabe      US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121224   12/13/2013   complete   masaaki          watanabe     US   Masaaki          Watanabe      US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121225   12/13/2013   complete   Hsin             Lu           GB   Hsin             Lu            GB   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121225   12/13/2013   complete   Hsin             Lu           GB   Hsin             Lu            GB   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121225   12/13/2013   complete   Hsin             Lu           GB   Hsin             Lu            GB   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121226   12/13/2013   complete   Pak              Chan         CA   Pak              Chan          CA   paypal_standard   USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121226   12/13/2013   complete   Pak              Chan         CA   Pak              Chan          CA   paypal_standard   USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121226   12/13/2013   complete   Pak              Chan         CA   Pak              Chan          CA   paypal_standard   USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121227   12/13/2013   complete   Katie            Fong         GB   Katie            Fong          GB   paypal_standard   GBP   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121227   12/13/2013   complete   Katie            Fong         GB   Katie            Fong          GB   paypal_standard   GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121227   12/13/2013   complete   Katie            Fong         GB   Katie            Fong          GB   paypal_standard   GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121228   12/13/2013   complete   Herman           Chou         US   Herman           Chou          US   authorizenet      USD   TVPAD-AC-001   15.99    0   1   15.99             TV Pad Website - TV Pad Store - English
TVP-13121229   12/13/2013   complete   xiang            lin          US   xiang            lin           US   authorizenet      USD   TVPAD-AC-001   15.99    0   1   15.99             TV Pad Website - TV Pad Store - English
TVP-13121230   12/13/2013   complete   Hsi              Isenhour     US   Hsi              Isenhour      US   authorizenet      USD   TVPAD-AC-003   15.99    0   1   15.99 Type: US,   TV Pad Website - TV Pad Store - English
TVP-13121232   12/13/2013   complete   po               Tam          GB   po               Tam           GB   paypal_standard   GBP   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121232   12/13/2013   complete   po               Tam          GB   po               Tam           GB   paypal_standard   GBP   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121232   12/13/2013   complete   po               Tam          GB   po               Tam           GB   paypal_standard   GBP   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121233   12/13/2013   complete   phonethipsvads   pascal       FR   phonethipsvads   pascal        FR   authorizenet      USD   TVPAD-004       250     0   2    500              TV Pad Website - TV Pad Store - English
TVP-13121233   12/13/2013   complete   phonethipsvads   pascal       FR   phonethipsvads   pascal        FR   authorizenet      USD   HGIFT2             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13121233   12/13/2013   complete   phonethipsvads   pascal       FR   phonethipsvads   pascal        FR   authorizenet      USD   HGIFT1             0    0   2       0             TV Pad Website - TV Pad Store - English
TVP-13121234   12/13/2013   complete   Xiaoling         ruan         US   Xiaoling         ruan          US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121234   12/13/2013   complete   Xiaoling         ruan         US   Xiaoling         ruan          US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121234   12/13/2013   complete   Xiaoling         ruan         US   Xiaoling         ruan          US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121235   12/13/2013   complete   Zhenyu           Zhu          AU   Zhenyu           Zhu           AU   authorizenet      AUD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121235   12/13/2013   complete   Zhenyu           Zhu          AU   Zhenyu           Zhu           AU   authorizenet      AUD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121235   12/13/2013   complete   Zhenyu           Zhu          AU   Zhenyu           Zhu           AU   authorizenet      AUD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121236   12/15/2013   complete   Gary             Tam          US   Karman           Tam           US   authorizenet      USD   TVPAD-004       259     0   1    259              TV Pad Website - TV Pad Store - English
TVP-13121236   12/15/2013   complete   Gary             Tam          US   Karman           Tam           US   authorizenet      USD   HGIFT2             0    0   1       0             TV Pad Website - TV Pad Store - English
TVP-13121236   12/15/2013   complete   Gary             Tam          US   Karman           Tam           US   authorizenet      USD   HGIFT1             0    0   1       0             TV Pad Website - TV Pad Store - English
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                                   #:20432
TVP-13121237   12/19/2013   complete   Cecilia    Chong       BN   Chong      Cecilia   MY   authorizenet      USD   TVPAD-004       250     0   2    500    TV Pad Website - TV Pad Store - English
TVP-13121237   12/19/2013   complete   Cecilia    Chong       BN   Chong      Cecilia   MY   authorizenet      USD   TVPAD-GM-002      58    0   2    116    TV Pad Website - TV Pad Store - English
TVP-13121237   12/19/2013   complete   Cecilia    Chong       BN   Chong      Cecilia   MY   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121237   12/19/2013   complete   Cecilia    Chong       BN   Chong      Cecilia   MY   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121238   12/13/2013   complete   vince      cheung      GB   vince      cheung    GB   paypal_standard   GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13121238   12/13/2013   complete   vince      cheung      GB   vince      cheung    GB   paypal_standard   GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121238   12/13/2013   complete   vince      cheung      GB   vince      cheung    GB   paypal_standard   GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121239   12/15/2013   complete   Bowman     Wong        CA   Bowman     Wong      CA   authorizenet      CAD   TVPAD-004       250     0   2    500    TV Pad Website - TV Pad Store - English
TVP-13121239   12/15/2013   complete   Bowman     Wong        CA   Bowman     Wong      CA   authorizenet      CAD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121239   12/15/2013   complete   Bowman     Wong        CA   Bowman     Wong      CA   authorizenet      CAD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121240   12/14/2013   complete   HOI        LEE         GB   HOI        LEE       GB   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13121240   12/14/2013   complete   HOI        LEE         GB   HOI        LEE       GB   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121240   12/14/2013   complete   HOI        LEE         GB   HOI        LEE       GB   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121241   12/15/2013   complete   Sunye      Scott       US   Sunye      Scott     US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13121241   12/15/2013   complete   Sunye      Scott       US   Sunye      Scott     US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121241   12/15/2013   complete   Sunye      Scott       US   Sunye      Scott     US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121242   12/15/2013   complete   Frank      chai        US   Frank      chai      US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13121242   12/15/2013   complete   Frank      chai        US   Frank      chai      US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121242   12/15/2013   complete   Frank      chai        US   Frank      chai      US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121243   12/15/2013   complete   Daniel     Chan        US   Kok        Chan      US   authorizenet      USD   TVPAD-004       259     5   1    254    TV Pad Website - TV Pad Store - English
TVP-13121243   12/15/2013   complete   Daniel     Chan        US   Kok        Chan      US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121243   12/15/2013   complete   Daniel     Chan        US   Kok        Chan      US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121244   12/15/2013   complete   Richard    Lau         US   Richard    Lau       US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13121244   12/15/2013   complete   Richard    Lau         US   Richard    Lau       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121244   12/15/2013   complete   Richard    Lau         US   Richard    Lau       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121245   12/15/2013   complete   Tony       Wu          AU   Tony       Wu        AU   authorizenet      AUD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13121245   12/15/2013   complete   Tony       Wu          AU   Tony       Wu        AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121245   12/15/2013   complete   Tony       Wu          AU   Tony       Wu        AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121246   12/15/2013   complete   Wan        Lau         GU   Kwok       Lau       GU   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13121246   12/15/2013   complete   Wan        Lau         GU   Kwok       Lau       GU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121246   12/15/2013   complete   Wan        Lau         GU   Kwok       Lau       GU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121247   12/15/2013   complete   Roger      Yeung       US   Roger      Yeung     US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13121247   12/15/2013   complete   Roger      Yeung       US   Roger      Yeung     US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121247   12/15/2013   complete   Roger      Yeung       US   Roger      Yeung     US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121248   12/15/2013   complete   Cha        Kwon        AU   Cha        Kwon      AU   authorizenet      AUD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13121248   12/15/2013   complete   Cha        Kwon        AU   Cha        Kwon      AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121248   12/15/2013   complete   Cha        Kwon        AU   Cha        Kwon      AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121249   12/15/2013   complete   Jenny      Tsui        GB   Jenny      Tsui      GB   authorizenet      GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13121249   12/15/2013   complete   Jenny      Tsui        GB   Jenny      Tsui      GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121249   12/15/2013   complete   Jenny      Tsui        GB   Jenny      Tsui      GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121250   12/15/2013   complete   Ya-Lan     Do          GU   Ya-Lan     Do        GU   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13121250   12/15/2013   complete   Ya-Lan     Do          GU   Ya-Lan     Do        GU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121250   12/15/2013   complete   Ya-Lan     Do          GU   Ya-Lan     Do        GU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121251   12/15/2013   complete   Quyen      Vu          DK   Quyen      Vu        DK   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13121251   12/15/2013   complete   Quyen      Vu          DK   Quyen      Vu        DK   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121251   12/15/2013   complete   Quyen      Vu          DK   Quyen      Vu        DK   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121252   12/15/2013   complete   Kwok       Liu         GB   Kwok       Liu       GB   authorizenet      GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13121252   12/15/2013   complete   Kwok       Liu         GB   Kwok       Liu       GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121252   12/15/2013   complete   Kwok       Liu         GB   Kwok       Liu       GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121253   12/15/2013   complete   Chung      Lam         GB   Chung      Lam       GB   authorizenet      GBP   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121253   12/15/2013   complete   Chung      Lam         GB   Chung      Lam       GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121253   12/15/2013   complete   Chung      Lam         GB   Chung      Lam       GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121256   12/14/2013   complete   Kin        Fung        US   Kin        Fung      US   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121256   12/14/2013   complete   Kin        Fung        US   Kin        Fung      US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121256   12/14/2013   complete   Kin        Fung        US   Kin        Fung      US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121257   12/15/2013   complete   Y.F        Tang-Wong   NL   Patrick    Leung     NL   authorizenet      EUR   TVPAD-004       250     0   3    750    TV Pad Website - TV Pad Store - English
TVP-13121257   12/15/2013   complete   Y.F        Tang-Wong   NL   Patrick    Leung     NL   authorizenet      EUR   HGIFT2             0    0   3       0   TV Pad Website - TV Pad Store - English
TVP-13121257   12/15/2013   complete   Y.F        Tang-Wong   NL   Patrick    Leung     NL   authorizenet      EUR   HGIFT1             0    0   3       0   TV Pad Website - TV Pad Store - English
TVP-13121258   12/15/2013   complete   David      Manton      GB   David      Manton    GB   authorizenet      GBP   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13121258   12/15/2013   complete   David      Manton      GB   David      Manton    GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121258   12/15/2013   complete   David      Manton      GB   David      Manton    GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121259   12/15/2013   complete   Hoc        thong       CA   Hoc        thong     CA   authorizenet      USD   TVPAD-AC-001   15.99    0   1   15.99   TV Pad Website - TV Pad Store - English
TVP-13121260   12/15/2013   complete   Ka         Chan        US   Ka         Chan      US   authorizenet      USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13121260   12/15/2013   complete   Ka         Chan        US   Ka         Chan      US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121260   12/15/2013   complete   Ka         Chan        US   Ka         Chan      US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121261   12/15/2013   complete   Nancy      Lin         US   Nancy      Lin       US   authorizenet      USD   TVPAD-004       245     0   5   1225    TV Pad Website - TV Pad Store - English
TVP-13121261   12/15/2013   complete   Nancy      Lin         US   Nancy      Lin       US   authorizenet      USD   HGIFT2             0    0   5       0   TV Pad Website - TV Pad Store - English
TVP-13121261   12/15/2013   complete   Nancy      Lin         US   Nancy      Lin       US   authorizenet      USD   HGIFT1             0    0   5       0   TV Pad Website - TV Pad Store - English
TVP-13121262   12/15/2013   complete   Benny      Lee         US   Benny      Lee       US   authorizenet      USD   TVPAD-AC-001   15.99    0   1   15.99   TV Pad Website - TV Pad Store - English
TVP-13121263   12/15/2013   complete   David      Ligh        US   David      Ligh      US   paypal_standard   USD   TVPAD-004       259     0   1    259    TV Pad Website - TV Pad Store - English
TVP-13121263   12/15/2013   complete   David      Ligh        US   David      Ligh      US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121263   12/15/2013   complete   David      Ligh        US   David      Ligh      US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121264   12/15/2013   complete   roger      thi         US   roger      thi       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121264   12/15/2013   complete   roger      thi         US   roger      thi       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121264   12/15/2013   complete   roger      thi         US   roger      thi       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121265   12/15/2013   complete   thomas     lee         CA   thomas     lee       CA   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121265   12/15/2013   complete   thomas     lee         CA   thomas     lee       CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121265   12/15/2013   complete   thomas     lee         CA   thomas     lee       CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121266   12/15/2013   complete   thuc co    trieu       FR   thuc       trieu     FR   paypal_standard   EUR   TVPAD-006       375    20   1    355    TV Pad Website - TV Pad Store - English
TVP-13121266   12/15/2013   complete   thuc co    trieu       FR   thuc       trieu     FR   paypal_standard   EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121266   12/15/2013   complete   thuc co    trieu       FR   thuc       trieu     FR   paypal_standard   EUR   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121267   12/15/2013   complete   TOM D      CHO         SG   TOM        CHO       SG   authorizenet      USD   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121267   12/15/2013   complete   TOM D      CHO         SG   TOM        CHO       SG   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121267   12/15/2013   complete   TOM D      CHO         SG   TOM        CHO       SG   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121268   12/15/2013   complete   Andy       Lin         AU   Andy       Lin       AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121268   12/15/2013   complete   Andy       Lin         AU   Andy       Lin       AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121268   12/15/2013   complete   Andy       Lin         AU   Andy       Lin       AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121269   12/15/2013   complete   Sam        Wang        US   Sam        Wang      US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121269   12/15/2013   complete   Sam        Wang        US   Sam        Wang      US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121269   12/15/2013   complete   Sam        Wang        US   Sam        Wang      US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121270   12/15/2013   complete   kain       yang        NZ   kain       yang      NZ   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121270   12/15/2013   complete   kain       yang        NZ   kain       yang      NZ   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121270   12/15/2013   complete   kain       yang        NZ   kain       yang      NZ   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121271   12/15/2013   complete   Chen       Lin         US   Chen       Lin       US   paypal_standard   USD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13121271   12/15/2013   complete   Chen       Lin         US   Chen       Lin       US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121271   12/15/2013   complete   Chen       Lin         US   Chen       Lin       US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121272   12/15/2013   complete   Alaine     Poon        SG   Alaine     Poon      SG   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121272   12/15/2013   complete   Alaine     Poon        SG   Alaine     Poon      SG   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121272   12/15/2013   complete   Alaine     Poon        SG   Alaine     Poon      SG   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121273   12/15/2013   complete   Andy       Chen        NL   Andy       Chen      NL   paypal_standard   EUR   TVPAD-004       259    15   1    244    TV Pad Website - TV Pad Store - English
TVP-13121273   12/15/2013   complete   Andy       Chen        NL   Andy       Chen      NL   paypal_standard   EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121273   12/15/2013   complete   Andy       Chen        NL   Andy       Chen      NL   paypal_standard   EUR   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121274   12/16/2013   complete   quay       sung        US   quay       sung      US   authorizenet      USD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13121274   12/16/2013   complete   quay       sung        US   quay       sung      US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121274   12/16/2013   complete   quay       sung        US   quay       sung      US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121275   12/16/2013   complete   Carsten    Raschke     DE   Carsten    Raschke   DE   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121275   12/16/2013   complete   Carsten    Raschke     DE   Carsten    Raschke   DE   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121275   12/16/2013   complete   Carsten    Raschke     DE   Carsten    Raschke   DE   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011065   12/16/2013   complete   John       Yu          US   John       Yu        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - Chinese
TVP-70011065   12/16/2013   complete   John       Yu          US   John       Yu        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011065   12/16/2013   complete   John       Yu          US   John       Yu        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13121277   12/16/2013   complete   E-yih      Chern       US   E-yih      Chern     US   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121277   12/16/2013   complete   E-yih      Chern       US   E-yih      Chern     US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121277   12/16/2013   complete   E-yih      Chern       US   E-yih      Chern     US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121278   12/16/2013   complete   Jillian    Chung       GB   Jillian    Chung     GB   paypal_standard   GBP   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121278   12/16/2013   complete   Jillian    Chung       GB   Jillian    Chung     GB   paypal_standard   GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121278   12/16/2013   complete   Jillian    Chung       GB   Jillian    Chung     GB   paypal_standard   GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121279   12/16/2013   complete   HOA        HANG        GB   HOA        HANG      GB   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121279   12/16/2013   complete   HOA        HANG        GB   HOA        HANG      GB   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121279   12/16/2013   complete   HOA        HANG        GB   HOA        HANG      GB   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121280   12/16/2013   complete   ying       lu          AU   ying       lu        AU   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121280   12/16/2013   complete   ying       lu          AU   ying       lu        AU   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121280   12/16/2013   complete   ying       lu          AU   ying       lu        AU   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121282   12/16/2013   complete   TJON       FELIX       GF   TJON       FELIX     GF   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121282   12/16/2013   complete   TJON       FELIX       GF   TJON       FELIX     GF   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121282   12/16/2013   complete   TJON       FELIX       GF   TJON       FELIX     GF   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121283   12/16/2013   complete   Jonathan   Shao        CA   Jonathan   Shao      CA   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121283   12/16/2013   complete   Jonathan   Shao        CA   Jonathan   Shao      CA   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121283   12/16/2013   complete   Jonathan   Shao        CA   Jonathan   Shao      CA   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121284   12/16/2013   complete   TU         DANIEL      FR   TU         DANIEL    FR   paypal_standard   EUR   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121284   12/16/2013   complete   TU         DANIEL      FR   TU         DANIEL    FR   paypal_standard   EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121284   12/16/2013   complete   TU         DANIEL      FR   TU         DANIEL    FR   paypal_standard   EUR   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121285   12/16/2013   complete   Henry      Zhou        NZ   Henry      Zhou      NZ   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121285   12/16/2013   complete   Henry      Zhou        NZ   Henry      Zhou      NZ   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121285   12/16/2013   complete   Henry      Zhou        NZ   Henry      Zhou      NZ   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121286   12/16/2013   complete   Tai        Yeh         AU   Tai        Yeh       AU   authorizenet      USD   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121286   12/16/2013   complete   Tai        Yeh         AU   Tai        Yeh       AU   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121286   12/16/2013   complete   Tai        Yeh         AU   Tai        Yeh       AU   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121287   12/16/2013   complete   eric       yu          US   Eric       Yu        US   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121287   12/16/2013   complete   eric       yu          US   Eric       Yu        US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121287   12/16/2013   complete   eric       yu          US   Eric       Yu        US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121288   12/16/2013   complete   mandy      chen        AU   mandy      chen      AU   paypal_standard   AUD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121288   12/16/2013   complete   mandy      chen        AU   mandy      chen      AU   paypal_standard   AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121288   12/16/2013   complete   mandy      chen        AU   mandy      chen      AU   paypal_standard   AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121289   12/16/2013   complete   Nan        Chen        AU   Nan        Chen      AU   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121289   12/16/2013   complete   Nan        Chen        AU   Nan        Chen      AU   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121291   12/16/2013   complete   Jaeean     Yim         AU   Jaeean     Yim       AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121291   12/16/2013   complete   Jaeean     Yim         AU   Jaeean     Yim       AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121291   12/16/2013   complete   Jaeean     Yim         AU   Jaeean     Yim       AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121292   12/16/2013   complete   Yu-Sing    Chan        GB   Wai-Sze    Lo        GB   authorizenet      GBP   TVPAD-004       259    15   1    244    TV Pad Website - TV Pad Store - English
TVP-13121292   12/16/2013   complete   Yu-Sing    Chan        GB   Wai-Sze    Lo        GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121292   12/16/2013   complete   Yu-Sing    Chan        GB   Wai-Sze    Lo        GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121293   12/16/2013   complete   Jean       lee         AU   Jean       lee       AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121293   12/16/2013   complete   Jean       lee         AU   Jean       lee       AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121293   12/16/2013   complete   Jean       lee         AU   Jean       lee       AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121294   12/16/2013   complete   lin        lin         AU   lin        lin       AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121294   12/16/2013   complete   lin        lin         AU   lin        lin       AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121294   12/16/2013   complete   lin        lin         AU   lin        lin       AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121295   12/16/2013   complete   Hosun      Ching       NL   Hosun      Ching     NL   authorizenet      EUR   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121295   12/16/2013   complete   Hosun      Ching       NL   Hosun      Ching     NL   authorizenet      EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121295   12/16/2013   complete   Hosun      Ching       NL   Hosun      Ching     NL   authorizenet      EUR   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121296   12/16/2013   complete   chen       zheng       AU   chen       zheng     AU   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
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                                   #:20433
TVP-13121296   12/16/2013   complete   chen        zheng            AU   chen        zheng            AU   paypal_standard   USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121296   12/16/2013   complete   chen        zheng            AU   chen        zheng            AU   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121297   12/16/2013   complete   Long        Man              NL   Long        Man              NL   paypal_standard   EUR   TVPAD-006       375    10   1    365 Game Controllers: 2 Game   TV Pad Website - TV Pad Store - English
TVP-13121297   12/16/2013   complete   Long        Man              NL   Long        Man              NL   paypal_standard   EUR   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121297   12/16/2013   complete   Long        Man              NL   Long        Man              NL   paypal_standard   EUR   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121299   12/17/2013   complete   Chaki       Tsang            NL   Chaki       Tsang            NL   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121299   12/17/2013   complete   Chaki       Tsang            NL   Chaki       Tsang            NL   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121299   12/17/2013   complete   Chaki       Tsang            NL   Chaki       Tsang            NL   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121300   12/17/2013   complete   Ki          Um               US   Ki          Um               US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121300   12/17/2013   complete   Ki          Um               US   Ki          Um               US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121300   12/17/2013   complete   Ki          Um               US   Ki          Um               US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121301   12/17/2013   complete   JIUN        CHIN             US   JIUN        CHIN             US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121301   12/17/2013   complete   JIUN        CHIN             US   JIUN        CHIN             US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121301   12/17/2013   complete   JIUN        CHIN             US   JIUN        CHIN             US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121303   12/17/2013   complete   Susana      Yuen             GB   Susana      Yuen             GB   authorizenet      GBP   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121303   12/17/2013   complete   Susana      Yuen             GB   Susana      Yuen             GB   authorizenet      GBP   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121303   12/17/2013   complete   Susana      Yuen             GB   Susana      Yuen             GB   authorizenet      GBP   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121304   12/17/2013   complete   Justin      Luk              US   Justin      Luk              US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121304   12/17/2013   complete   Justin      Luk              US   Justin      Luk              US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121304   12/17/2013   complete   Justin      Luk              US   Justin      Luk              US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121305   12/17/2013   complete   C           HUANG            ZA   C           HUANG            ZA   paypal_standard   USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121305   12/17/2013   complete   C           HUANG            ZA   C           HUANG            ZA   paypal_standard   USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121305   12/17/2013   complete   C           HUANG            ZA   C           HUANG            ZA   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121306   12/17/2013   complete   Trent       Do               US   Trent       Do               US   authorizenet      USD   TVPAD-004       250    20   2    480                            TV Pad Website - TV Pad Store - English
TVP-13121306   12/17/2013   complete   Trent       Do               US   Trent       Do               US   authorizenet      USD   HGIFT2             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121306   12/17/2013   complete   Trent       Do               US   Trent       Do               US   authorizenet      USD   HGIFT1             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121307   12/17/2013   complete   Tingting    yu               GB   Tingting    yu               GB   authorizenet      GBP   TVPAD-004       259    15   1    244                            TV Pad Website - TV Pad Store - English
TVP-13121307   12/17/2013   complete   Tingting    yu               GB   Tingting    yu               GB   authorizenet      GBP   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121307   12/17/2013   complete   Tingting    yu               GB   Tingting    yu               GB   authorizenet      GBP   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121308   12/17/2013   complete   Lily        Chen             AU   Lily        Chen             AU   authorizenet      AUD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121308   12/17/2013   complete   Lily        Chen             AU   Lily        Chen             AU   authorizenet      AUD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121308   12/17/2013   complete   Lily        Chen             AU   Lily        Chen             AU   authorizenet      AUD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121309   12/17/2013   complete   Antony      Yau              GB   Antony      Yau              GB   authorizenet      GBP   TVPAD-004       245    10   5   1215                            TV Pad Website - TV Pad Store - English
TVP-13121309   12/17/2013   complete   Antony      Yau              GB   Antony      Yau              GB   authorizenet      GBP   HGIFT2             0    0   5       0                           TV Pad Website - TV Pad Store - English
TVP-13121309   12/17/2013   complete   Antony      Yau              GB   Antony      Yau              GB   authorizenet      GBP   HGIFT1             0    0   5       0                           TV Pad Website - TV Pad Store - English
TVP-13121310   12/17/2013   complete   Karen       Jo               US   Karen       Jo               US   authorizenet      USD   TVPAD-004       250    10   2    490                            TV Pad Website - TV Pad Store - English
TVP-13121310   12/17/2013   complete   Karen       Jo               US   Karen       Jo               US   authorizenet      USD   HGIFT2             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121310   12/17/2013   complete   Karen       Jo               US   Karen       Jo               US   authorizenet      USD   HGIFT1             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121311   12/17/2013   complete   Kenneth     Chan             US   Kenneth     Chan             US   authorizenet      USD   TVPAD-004       259    15   1    244                            TV Pad Website - TV Pad Store - English
TVP-13121311   12/17/2013   complete   Kenneth     Chan             US   Kenneth     Chan             US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121311   12/17/2013   complete   Kenneth     Chan             US   Kenneth     Chan             US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121312   12/17/2013   complete   Adam        Christofferson   US   Adam        Christofferson   US   authorizenet      USD   TVPAD-004       259    15   1    244                            TV Pad Website - TV Pad Store - English
TVP-13121312   12/17/2013   complete   Adam        Christofferson   US   Adam        Christofferson   US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121312   12/17/2013   complete   Adam        Christofferson   US   Adam        Christofferson   US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-70011066   12/17/2013   complete   Pong        Leung            US   Pong        Leung            US   authorizenet      USD   TVPAD-004       250    10   4    990                            TV Pad Website - TV Pad Store - Chinese
TVP-70011066   12/17/2013   complete   Pong        Leung            US   Pong        Leung            US   authorizenet      USD   HGIFT2             0    0   4       0                           TV Pad Website - TV Pad Store - Chinese
TVP-70011066   12/17/2013   complete   Pong        Leung            US   Pong        Leung            US   authorizenet      USD   HGIFT1             0    0   4       0                           TV Pad Website - TV Pad Store - Chinese
TVP-13121313   12/17/2013   complete   jw          ing              NL   j           ing              NL   authorizenet      EUR   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121313   12/17/2013   complete   jw          ing              NL   j           ing              NL   authorizenet      EUR   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121313   12/17/2013   complete   jw          ing              NL   j           ing              NL   authorizenet      EUR   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121314   12/17/2013   complete   Paul        Tsang            AU   Paul        Tsang            AU   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121314   12/17/2013   complete   Paul        Tsang            AU   Paul        Tsang            AU   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121314   12/17/2013   complete   Paul        Tsang            AU   Paul        Tsang            AU   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121315   12/17/2013   complete   Chu         Jen              US   Charley     Jen              US   authorizenet      USD   TVPAD-004       259    20   1    239                            TV Pad Website - TV Pad Store - English
TVP-13121315   12/17/2013   complete   Chu         Jen              US   Charley     Jen              US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121315   12/17/2013   complete   Chu         Jen              US   Charley     Jen              US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121316   12/17/2013   complete   Connie      Wong             US   Frank       Wong             US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121316   12/17/2013   complete   Connie      Wong             US   Frank       Wong             US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121316   12/17/2013   complete   Connie      Wong             US   Frank       Wong             US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121317   12/17/2013   complete   Albert      Chee             US   Albert      Chee             US   authorizenet      USD   TVPAD-004       259    20   1    239                            TV Pad Website - TV Pad Store - English
TVP-13121317   12/17/2013   complete   Albert      Chee             US   Albert      Chee             US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121317   12/17/2013   complete   Albert      Chee             US   Albert      Chee             US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121318   12/17/2013   complete   Albert      Chee             US   Albert      Chee             US   authorizenet      USD   TVPAD-004       259    20   1    239                            TV Pad Website - TV Pad Store - English
TVP-13121318   12/17/2013   complete   Albert      Chee             US   Albert      Chee             US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121318   12/17/2013   complete   Albert      Chee             US   Albert      Chee             US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121319   12/17/2013   complete   Albert      Chee             US   Albert      Chee             US   authorizenet      USD   TVPAD-004       259    20   1    239                            TV Pad Website - TV Pad Store - English
TVP-13121319   12/17/2013   complete   Albert      Chee             US   Albert      Chee             US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121319   12/17/2013   complete   Albert      Chee             US   Albert      Chee             US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121320   12/17/2013   complete   Gary        Chan             AU   Gary        Chan             AU   paypal_standard   USD   TVPAD-004       250    10   2    490                            TV Pad Website - TV Pad Store - English
TVP-13121320   12/17/2013   complete   Gary        Chan             AU   Gary        Chan             AU   paypal_standard   USD   HGIFT2             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121320   12/17/2013   complete   Gary        Chan             AU   Gary        Chan             AU   paypal_standard   USD   HGIFT1             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121321   12/17/2013   complete   Jun         Yeh              NO   Jun         Yeh              NO   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121321   12/17/2013   complete   Jun         Yeh              NO   Jun         Yeh              NO   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121321   12/17/2013   complete   Jun         Yeh              NO   Jun         Yeh              NO   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121322   12/18/2013   complete   Lay         Fung             GB   Lay         Fung             GB   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121322   12/18/2013   complete   Lay         Fung             GB   Lay         Fung             GB   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121322   12/18/2013   complete   Lay         Fung             GB   Lay         Fung             GB   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121323   12/17/2013   complete   Yau         So               NL   Yau         So               NL   paypal_standard   EUR   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121323   12/17/2013   complete   Yau         So               NL   Yau         So               NL   paypal_standard   EUR   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121323   12/17/2013   complete   Yau         So               NL   Yau         So               NL   paypal_standard   EUR   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121324   12/17/2013   complete   Jenny       Ung              US   Jenny       Ung              US   paypal_standard   USD   TVPAD-004       259    20   1    239                            TV Pad Website - TV Pad Store - English
TVP-13121324   12/17/2013   complete   Jenny       Ung              US   Jenny       Ung              US   paypal_standard   USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121324   12/17/2013   complete   Jenny       Ung              US   Jenny       Ung              US   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121326   12/18/2013   complete   Chris       Kuelling         US   Chris       Kuelling         US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121326   12/18/2013   complete   Chris       Kuelling         US   Chris       Kuelling         US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121326   12/18/2013   complete   Chris       Kuelling         US   Chris       Kuelling         US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121327   12/18/2013   complete   Hoi         Tang             GB   Hoi         Tang             GB   authorizenet      GBP   TVPAD-004       250    10   2    490                            TV Pad Website - TV Pad Store - English
TVP-13121327   12/18/2013   complete   Hoi         Tang             GB   Hoi         Tang             GB   authorizenet      GBP   HGIFT2             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121327   12/18/2013   complete   Hoi         Tang             GB   Hoi         Tang             GB   authorizenet      GBP   HGIFT1             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121328   12/18/2013   complete   David       Burton           AU   David       Burton           AU   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121328   12/18/2013   complete   David       Burton           AU   David       Burton           AU   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121328   12/18/2013   complete   David       Burton           AU   David       Burton           AU   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121329   12/18/2013   complete   Dehua       Liang            DK   Dehua       Liang            DK   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121329   12/18/2013   complete   Dehua       Liang            DK   Dehua       Liang            DK   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121329   12/18/2013   complete   Dehua       Liang            DK   Dehua       Liang            DK   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121330   12/18/2013   complete   Wei         Guan             US   Wei         Guan             US   paypal_standard   USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121330   12/18/2013   complete   Wei         Guan             US   Wei         Guan             US   paypal_standard   USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121330   12/18/2013   complete   Wei         Guan             US   Wei         Guan             US   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121331   12/18/2013   complete   James       Poon             CA   James       Poon             CA   paypal_standard   USD   TVPAD-004       250    10   2    490                            TV Pad Website - TV Pad Store - English
TVP-13121331   12/18/2013   complete   James       Poon             CA   James       Poon             CA   paypal_standard   USD   HGIFT2             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121331   12/18/2013   complete   James       Poon             CA   James       Poon             CA   paypal_standard   USD   HGIFT1             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121332   12/18/2013   complete   Cindy       Lam              US   Cindy       Lam              US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121332   12/18/2013   complete   Cindy       Lam              US   Cindy       Lam              US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121332   12/18/2013   complete   Cindy       Lam              US   Cindy       Lam              US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121333   12/18/2013   complete   David       Tsang            NZ   David       Tsang            NZ   authorizenet      USD   TVPAD-004       259     0   1    259                            TV Pad Website - TV Pad Store - English
TVP-13121333   12/18/2013   complete   David       Tsang            NZ   David       Tsang            NZ   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121333   12/18/2013   complete   David       Tsang            NZ   David       Tsang            NZ   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121335   12/18/2013   complete   Sow         Yip              MY   Sow-Ha      Yip              MY   paypal_standard   USD   TVPAD-004       259     0   1    259                            TV Pad Website - TV Pad Store - English
TVP-13121335   12/18/2013   complete   Sow         Yip              MY   Sow-Ha      Yip              MY   paypal_standard   USD   TVPAD-AC-001   15.99    0   1   15.99                           TV Pad Website - TV Pad Store - English
TVP-13121335   12/18/2013   complete   Sow         Yip              MY   Sow-Ha      Yip              MY   paypal_standard   USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121335   12/18/2013   complete   Sow         Yip              MY   Sow-Ha      Yip              MY   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121336   12/18/2013   complete   peter       chiu             GB   peter       chiu             GB   authorizenet      USD   TVPAD-004       259     5   1    254                            TV Pad Website - TV Pad Store - English
TVP-13121336   12/18/2013   complete   peter       chiu             GB   peter       chiu             GB   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121336   12/18/2013   complete   peter       chiu             GB   peter       chiu             GB   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121337   12/18/2013   complete   Bernard     Lo               AU   Bernard     Lo               AU   authorizenet      USD   TVPAD-004       259     0   1    259                            TV Pad Website - TV Pad Store - English
TVP-13121337   12/18/2013   complete   Bernard     Lo               AU   Bernard     Lo               AU   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121337   12/18/2013   complete   Bernard     Lo               AU   Bernard     Lo               AU   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121338   12/19/2013   complete   Lau         Lai              HK   Lau         Lai              HK   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121338   12/19/2013   complete   Lau         Lai              HK   Lau         Lai              HK   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121338   12/19/2013   complete   Lau         Lai              HK   Lau         Lai              HK   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121339   12/19/2013   complete   Kwan        Ng               AU   Kwan        Ng               AU   authorizenet      AUD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121339   12/19/2013   complete   Kwan        Ng               AU   Kwan        Ng               AU   authorizenet      AUD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121339   12/19/2013   complete   Kwan        Ng               AU   Kwan        Ng               AU   authorizenet      AUD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121340   12/19/2013   complete   kim         chin             BE   kim         chin             BE   authorizenet      EUR   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121340   12/19/2013   complete   kim         chin             BE   kim         chin             BE   authorizenet      EUR   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121340   12/19/2013   complete   kim         chin             BE   kim         chin             BE   authorizenet      EUR   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-70011067   12/19/2013   complete   Di          Li               US   Di          Li               US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - Chinese
TVP-70011067   12/19/2013   complete   Di          Li               US   Di          Li               US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - Chinese
TVP-70011067   12/19/2013   complete   Di          Li               US   Di          Li               US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - Chinese
TVP-13121341   12/19/2013   complete   Scott       Redgwell         GB   Scott       Redgwell         GB   authorizenet      GBP   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121341   12/19/2013   complete   Scott       Redgwell         GB   Scott       Redgwell         GB   authorizenet      GBP   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121341   12/19/2013   complete   Scott       Redgwell         GB   Scott       Redgwell         GB   authorizenet      GBP   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121342   12/19/2013   complete   BO          ZHU              AU   BO          ZHU              AU   authorizenet      AUD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121342   12/19/2013   complete   BO          ZHU              AU   BO          ZHU              AU   authorizenet      AUD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121342   12/19/2013   complete   BO          ZHU              AU   BO          ZHU              AU   authorizenet      AUD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121343   12/19/2013   complete   Wai         Cheung           GB   Wai         Cheung           GB   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121343   12/19/2013   complete   Wai         Cheung           GB   Wai         Cheung           GB   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121343   12/19/2013   complete   Wai         Cheung           GB   Wai         Cheung           GB   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121345   12/19/2013   complete   Preston     Li               US   Preston     Li               US   paypal_standard   USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121345   12/19/2013   complete   Preston     Li               US   Preston     Li               US   paypal_standard   USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121345   12/19/2013   complete   Preston     Li               US   Preston     Li               US   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121346   12/19/2013   complete   WingChing   Wang             AU   WingChing   Wang             AU   authorizenet      AUD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121346   12/19/2013   complete   WingChing   Wang             AU   WingChing   Wang             AU   authorizenet      AUD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121346   12/19/2013   complete   WingChing   Wang             AU   WingChing   Wang             AU   authorizenet      AUD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121347   12/19/2013   complete   Chia        Kwong            US   Chia        Kwong            US   authorizenet      USD   TVPAD-004       250    15   2    485                            TV Pad Website - TV Pad Store - English
TVP-13121347   12/19/2013   complete   Chia        Kwong            US   Chia        Kwong            US   authorizenet      USD   HGIFT2             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121347   12/19/2013   complete   Chia        Kwong            US   Chia        Kwong            US   authorizenet      USD   HGIFT1             0    0   2       0                           TV Pad Website - TV Pad Store - English
TVP-13121348   12/19/2013   complete   Tony        Ong              CA   Tony        Ong              CA   paypal_standard   USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121348   12/19/2013   complete   Tony        Ong              CA   Tony        Ong              CA   paypal_standard   USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121348   12/19/2013   complete   Tony        Ong              CA   Tony        Ong              CA   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121349   12/19/2013   complete   C.          Ling             NZ   C.          Ling             NZ   paypal_standard   USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121349   12/19/2013   complete   C.          Ling             NZ   C.          Ling             NZ   paypal_standard   USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121349   12/19/2013   complete   C.          Ling             NZ   C.          Ling             NZ   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121350   12/19/2013   complete   Raymond     Ho               US   Raymond     Ho               US   authorizenet      USD   TVPAD-004       259    20   1    239                            TV Pad Website - TV Pad Store - English
TVP-13121350   12/19/2013   complete   Raymond     Ho               US   Raymond     Ho               US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121350   12/19/2013   complete   Raymond     Ho               US   Raymond     Ho               US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121351   12/19/2013   complete   Michael     Tse              US   Chin        Lou              US   authorizenet      USD   TVPAD-004       259    10   1    249                            TV Pad Website - TV Pad Store - English
TVP-13121351   12/19/2013   complete   Michael     Tse              US   Chin        Lou              US   authorizenet      USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121351   12/19/2013   complete   Michael     Tse              US   Chin        Lou              US   authorizenet      USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121352   12/19/2013   complete   Larry       Lo               CA   Larry       Lo               CA   paypal_standard   USD   TVPAD-004       259    15   1    244                            TV Pad Website - TV Pad Store - English
TVP-13121352   12/19/2013   complete   Larry       Lo               CA   Larry       Lo               CA   paypal_standard   USD   HGIFT2             0    0   1       0                           TV Pad Website - TV Pad Store - English
TVP-13121352   12/19/2013   complete   Larry       Lo               CA   Larry       Lo               CA   paypal_standard   USD   HGIFT1             0    0   1       0                           TV Pad Website - TV Pad Store - English
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                                   #:20434
TVP-13121353   12/19/2013   complete   Kaang       Yoon       NL   Kaang       Yoon       NL   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121353   12/19/2013   complete   Kaang       Yoon       NL   Kaang       Yoon       NL   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121353   12/19/2013   complete   Kaang       Yoon       NL   Kaang       Yoon       NL   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121354   12/19/2013   complete   PAUL        CHI        AU   PAUL        CHI        AU   authorizenet      AUD   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121354   12/19/2013   complete   PAUL        CHI        AU   PAUL        CHI        AU   authorizenet      AUD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121354   12/19/2013   complete   PAUL        CHI        AU   PAUL        CHI        AU   authorizenet      AUD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121355   12/19/2013   complete   Fui         lee        GB   Fui         lee        GB   authorizenet      GBP   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121355   12/19/2013   complete   Fui         lee        GB   Fui         lee        GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121355   12/19/2013   complete   Fui         lee        GB   Fui         lee        GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121357   12/19/2013   complete   Brian       Fung       US   Brian       Fung       US   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121357   12/19/2013   complete   Brian       Fung       US   Brian       Fung       US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121357   12/19/2013   complete   Brian       Fung       US   Brian       Fung       US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121359   12/19/2013   complete   Kyung-      Lee        DE   Whan-       Lee        DE   paypal_standard   EUR   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13121359   12/19/2013   complete   Kyung-      Lee        DE   Whan-       Lee        DE   paypal_standard   EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121359   12/19/2013   complete   Kyung-      Lee        DE   Whan-       Lee        DE   paypal_standard   EUR   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121360   12/20/2013   complete   Flora       Wang       US   Flora       Wang       US   paypal_standard   USD   TVPAD-004       259    15   1    244    TV Pad Website - TV Pad Store - English
TVP-13121360   12/20/2013   complete   Flora       Wang       US   Flora       Wang       US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121360   12/20/2013   complete   Flora       Wang       US   Flora       Wang       US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121361   12/20/2013   complete   xinhua      liang      NZ   xinhua      liang      NZ   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121361   12/20/2013   complete   xinhua      liang      NZ   xinhua      liang      NZ   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121361   12/20/2013   complete   xinhua      liang      NZ   xinhua      liang      NZ   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121362   12/20/2013   complete   Wang        Annie      FR   Wang        Annie      FR   paypal_standard   EUR   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121362   12/20/2013   complete   Wang        Annie      FR   Wang        Annie      FR   paypal_standard   EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121362   12/20/2013   complete   Wang        Annie      FR   Wang        Annie      FR   paypal_standard   EUR   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011068   12/20/2013   complete   Jackie      Chen       MX   Jackie      Chen       MX   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - Chinese
TVP-70011068   12/20/2013   complete   Jackie      Chen       MX   Jackie      Chen       MX   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011068   12/20/2013   complete   Jackie      Chen       MX   Jackie      Chen       MX   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13121363   12/20/2013   complete   Feng        Qi         AU   Feng        Qi         AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121363   12/20/2013   complete   Feng        Qi         AU   Feng        Qi         AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121363   12/20/2013   complete   Feng        Qi         AU   Feng        Qi         AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121364   12/20/2013   complete   eunhee      park       US   eunhee      park       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121364   12/20/2013   complete   eunhee      park       US   eunhee      park       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121364   12/20/2013   complete   eunhee      park       US   eunhee      park       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121366   12/20/2013   complete   Paul        Shek       US   Paul        Shek       US   authorizenet      USD   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121366   12/20/2013   complete   Paul        Shek       US   Paul        Shek       US   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121366   12/20/2013   complete   Paul        Shek       US   Paul        Shek       US   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121367   12/20/2013   complete   cheng       chen       US   cheng       chen       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121367   12/20/2013   complete   cheng       chen       US   cheng       chen       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121367   12/20/2013   complete   cheng       chen       US   cheng       chen       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121368   12/20/2013   complete   Grace       Hui        US   Grace       Hui        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121368   12/20/2013   complete   Grace       Hui        US   Grace       Hui        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121368   12/20/2013   complete   Grace       Hui        US   Grace       Hui        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121369   12/20/2013   complete   Yuen        Lau        AU   Yuen        Lau        AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121369   12/20/2013   complete   Yuen        Lau        AU   Yuen        Lau        AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121369   12/20/2013   complete   Yuen        Lau        AU   Yuen        Lau        AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121344   12/20/2013   complete   Yong        cho        US   Yong        cho        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121344   12/20/2013   complete   Yong        cho        US   Yong        cho        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121344   12/20/2013   complete   Yong        cho        US   Yong        cho        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121370   12/23/2013   complete   Chion       CHan       US   Chion       CHan       US   authorizenet      USD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13121370   12/23/2013   complete   Chion       CHan       US   Chion       CHan       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121370   12/23/2013   complete   Chion       CHan       US   Chion       CHan       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121371   12/23/2013   complete   Paul        Kan        CA   Paul        Kan        CA   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121371   12/23/2013   complete   Paul        Kan        CA   Paul        Kan        CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121371   12/23/2013   complete   Paul        Kan        CA   Paul        Kan        CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011069   12/20/2013   complete   Wing        Chan       US   Wing        Chan       US   paypal_standard   USD   TVPAD-AC-001   15.99    0   1   15.99   TV Pad Website - TV Pad Store - Chinese
TVP-13121372   12/23/2013   complete   Wenzhi      Liu        US   Wenzhi      Liu        US   authorizenet      USD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13121372   12/23/2013   complete   Wenzhi      Liu        US   Wenzhi      Liu        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121372   12/23/2013   complete   Wenzhi      Liu        US   Wenzhi      Liu        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121374   12/23/2013   complete   Taka        Nukumizu   AU   Taka        Nukumizu   AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121374   12/23/2013   complete   Taka        Nukumizu   AU   Taka        Nukumizu   AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121374   12/23/2013   complete   Taka        Nukumizu   AU   Taka        Nukumizu   AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121373   12/23/2013   complete   yan         fu         AU   yan         fu         AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121375   12/23/2013   complete   Paul        Ho         CA   Vemi        Ho         CA   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121375   12/23/2013   complete   Paul        Ho         CA   Vemi        Ho         CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121375   12/23/2013   complete   Paul        Ho         CA   Vemi        Ho         CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121376   12/23/2013   complete   Tomoyuki    honda      CA   Tomoyuki    honda      CA   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121376   12/23/2013   complete   Tomoyuki    honda      CA   Tomoyuki    honda      CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121376   12/23/2013   complete   Tomoyuki    honda      CA   Tomoyuki    honda      CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121377   12/23/2013   complete   Bibi        Chong      ES   Bibi        Chong      ES   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121377   12/23/2013   complete   Bibi        Chong      ES   Bibi        Chong      ES   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121377   12/23/2013   complete   Bibi        Chong      ES   Bibi        Chong      ES   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121378   12/23/2013   complete   Chong       Su         AU   Chong       Su         AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121378   12/23/2013   complete   Chong       Su         AU   Chong       Su         AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121378   12/23/2013   complete   Chong       Su         AU   Chong       Su         AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121380   12/23/2013   complete   Patrick     Wong       GB   Patrick     Wong       GB   authorizenet      GBP   TVPAD-004       259    15   1    244    TV Pad Website - TV Pad Store - English
TVP-13121380   12/23/2013   complete   Patrick     Wong       GB   Patrick     Wong       GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121380   12/23/2013   complete   Patrick     Wong       GB   Patrick     Wong       GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121381   12/23/2013   complete   Francis     Leung      GB   Francis     Leung      GB   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121381   12/23/2013   complete   Francis     Leung      GB   Francis     Leung      GB   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121381   12/23/2013   complete   Francis     Leung      GB   Francis     Leung      GB   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121383   12/23/2013   complete   CHERRIE     WONG       US   Cherrie     Wong       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121383   12/23/2013   complete   CHERRIE     WONG       US   Cherrie     Wong       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121383   12/23/2013   complete   CHERRIE     WONG       US   Cherrie     Wong       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121384   12/23/2013   complete   Ke          Lu         SE   Ke          Lu         SE   authorizenet      USD   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121384   12/23/2013   complete   Ke          Lu         SE   Ke          Lu         SE   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121384   12/23/2013   complete   Ke          Lu         SE   Ke          Lu         SE   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121385   12/23/2013   complete   Shirine     Sing       US   Shirine     Sing       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121385   12/23/2013   complete   Shirine     Sing       US   Shirine     Sing       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121385   12/23/2013   complete   Shirine     Sing       US   Shirine     Sing       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121386   12/23/2013   complete   Ken         Pang       GB   Ken         Pang       GB   authorizenet      GBP   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121386   12/23/2013   complete   Ken         Pang       GB   Ken         Pang       GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121386   12/23/2013   complete   Ken         Pang       GB   Ken         Pang       GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121388   12/23/2013   complete   Guoxin      Liu        NZ   Guoxin      Liu        NZ   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121388   12/23/2013   complete   Guoxin      Liu        NZ   Guoxin      Liu        NZ   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121388   12/23/2013   complete   Guoxin      Liu        NZ   Guoxin      Liu        NZ   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121389   12/23/2013   complete   Chu         Luong      NO   Chu         Luong      NO   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121389   12/23/2013   complete   Chu         Luong      NO   Chu         Luong      NO   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121389   12/23/2013   complete   Chu         Luong      NO   Chu         Luong      NO   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121390   12/22/2013   complete   Seah        Tee        US   Seah        Tee        US   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121390   12/22/2013   complete   Seah        Tee        US   Seah        Tee        US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121390   12/22/2013   complete   Seah        Tee        US   Seah        Tee        US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121391   12/22/2013   complete   Randy       Gong       NL   Randy       Gong       NL   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121391   12/22/2013   complete   Randy       Gong       NL   Randy       Gong       NL   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121391   12/22/2013   complete   Randy       Gong       NL   Randy       Gong       NL   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121392   12/23/2013   complete   Alan        Ly         GB   Alan        Ly         GB   authorizenet      GBP   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121392   12/23/2013   complete   Alan        Ly         GB   Alan        Ly         GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121392   12/23/2013   complete   Alan        Ly         GB   Alan        Ly         GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011071   12/23/2013   complete   wei xian    zou        US   wei         zou        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - Chinese
TVP-70011071   12/23/2013   complete   wei xian    zou        US   wei         zou        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011071   12/23/2013   complete   wei xian    zou        US   wei         zou        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13121393   12/23/2013   complete   Karly       Louie      US   Karly       Louie      US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121393   12/23/2013   complete   Karly       Louie      US   Karly       Louie      US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121393   12/23/2013   complete   Karly       Louie      US   Karly       Louie      US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121395   12/23/2013   complete   James       Leung      CA   James       Leung      CA   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121395   12/23/2013   complete   James       Leung      CA   James       Leung      CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121395   12/23/2013   complete   James       Leung      CA   James       Leung      CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121396   12/22/2013   complete   sze         chan       AU   sze         chan       AU   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121396   12/22/2013   complete   sze         chan       AU   sze         chan       AU   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121396   12/22/2013   complete   sze         chan       AU   sze         chan       AU   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121397   12/23/2013   complete   Wai-Tong    Cheung     GB   Wai-Tong    Cheung     GB   authorizenet      GBP   TVPAD-004       259    15   1    244    TV Pad Website - TV Pad Store - English
TVP-13121397   12/23/2013   complete   Wai-Tong    Cheung     GB   Wai-Tong    Cheung     GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121397   12/23/2013   complete   Wai-Tong    Cheung     GB   Wai-Tong    Cheung     GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121398   12/22/2013   complete   Simin       Li         AU   Simin       Li         AU   paypal_standard   USD   TVPAD-004       250    15   2    485    TV Pad Website - TV Pad Store - English
TVP-13121398   12/22/2013   complete   Simin       Li         AU   Simin       Li         AU   paypal_standard   USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121398   12/22/2013   complete   Simin       Li         AU   Simin       Li         AU   paypal_standard   USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121399   12/23/2013   complete   Barry       Tosleu     AU   Barry       Tosleu     AU   authorizenet      AUD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121399   12/23/2013   complete   Barry       Tosleu     AU   Barry       Tosleu     AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121399   12/23/2013   complete   Barry       Tosleu     AU   Barry       Tosleu     AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121400   12/23/2013   complete   Christian   Tran       FR   Christian   Tran       FR   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121400   12/23/2013   complete   Christian   Tran       FR   Christian   Tran       FR   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121400   12/23/2013   complete   Christian   Tran       FR   Christian   Tran       FR   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121401   12/23/2013   complete   Amy         Hon        AU   Amy         Hon        AU   authorizenet      USD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13121401   12/23/2013   complete   Amy         Hon        AU   Amy         Hon        AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121401   12/23/2013   complete   Amy         Hon        AU   Amy         Hon        AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121403   12/22/2013   complete   Brian       Tse        GB   Brian       Tse        GB   paypal_standard   GBP   TVPAD-004       259    15   1    244    TV Pad Website - TV Pad Store - English
TVP-13121403   12/22/2013   complete   Brian       Tse        GB   Brian       Tse        GB   paypal_standard   GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121403   12/22/2013   complete   Brian       Tse        GB   Brian       Tse        GB   paypal_standard   GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121404   12/23/2013   complete   Hsiao Yen   Wan        US   Hsiao       Wan        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121404   12/23/2013   complete   Hsiao Yen   Wan        US   Hsiao       Wan        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121404   12/23/2013   complete   Hsiao Yen   Wan        US   Hsiao       Wan        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121406   12/23/2013   complete   Bing        Wong       US   Sidney      Wong       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121406   12/23/2013   complete   Bing        Wong       US   Sidney      Wong       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121406   12/23/2013   complete   Bing        Wong       US   Sidney      Wong       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121407   12/23/2013   complete   Bobby       Siu        CA   Martina     Siu        CA   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121407   12/23/2013   complete   Bobby       Siu        CA   Martina     Siu        CA   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121407   12/23/2013   complete   Bobby       Siu        CA   Martina     Siu        CA   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121408   12/23/2013   complete   Lucile      Lee        CA   Lucile      Lee        CA   paypal_standard   USD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13121408   12/23/2013   complete   Lucile      Lee        CA   Lucile      Lee        CA   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121408   12/23/2013   complete   Lucile      Lee        CA   Lucile      Lee        CA   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121410   12/23/2013   complete   Jay         cho        US   Jay         cho        US   authorizenet      USD   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121410   12/23/2013   complete   Jay         cho        US   Jay         cho        US   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121410   12/23/2013   complete   Jay         cho        US   Jay         cho        US   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121412   12/23/2013   complete   Chu         Leung      US   Chu         Leung      US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121412   12/23/2013   complete   Chu         Leung      US   Chu         Leung      US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121412   12/23/2013   complete   Chu         Leung      US   Chu         Leung      US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121413   12/23/2013   complete   Jeffrey     Chan       US   Jeffrey     Chan       US   authorizenet      USD   TVPAD-004       259    15   1    244    TV Pad Website - TV Pad Store - English
TVP-13121413   12/23/2013   complete   Jeffrey     Chan       US   Jeffrey     Chan       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121413   12/23/2013   complete   Jeffrey     Chan       US   Jeffrey     Chan       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121414   12/23/2013   complete   Mark        Tang       CA   Mark        Tang       CA   authorizenet      USD   TVPAD-004       259    15   1    244    TV Pad Website - TV Pad Store - English
TVP-13121414   12/23/2013   complete   Mark        Tang       CA   Mark        Tang       CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121414   12/23/2013   complete   Mark        Tang       CA   Mark        Tang       CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121415   12/23/2013   complete   Yan         Chen       AU   Yan         Chen       AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
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                                   #:20435
TVP-13121415   12/23/2013   complete   Yan          Chen            AU   Yan         Chen            AU   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121415   12/23/2013   complete   Yan          Chen            AU   Yan         Chen            AU   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121416   12/23/2013   complete   khai         lee             AU   khai        lee             AU   paypal_standard   USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121416   12/23/2013   complete   khai         lee             AU   khai        lee             AU   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121416   12/23/2013   complete   khai         lee             AU   khai        lee             AU   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121417   12/24/2013   complete   Mrs          Poon            GB   Mr          Mo              GB   authorizenet      GBP   TVPAD-004   259   20   1   239   TV Pad Website - TV Pad Store - English
TVP-13121417   12/24/2013   complete   Mrs          Poon            GB   Mr          Mo              GB   authorizenet      GBP   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121417   12/24/2013   complete   Mrs          Poon            GB   Mr          Mo              GB   authorizenet      GBP   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121418   12/24/2013   complete   w            poon            GB   stephanie   poon            GB   authorizenet      GBP   TVPAD-004   259   20   1   239   TV Pad Website - TV Pad Store - English
TVP-13121418   12/24/2013   complete   w            poon            GB   stephanie   poon            GB   authorizenet      GBP   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121418   12/24/2013   complete   w            poon            GB   stephanie   poon            GB   authorizenet      GBP   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121419   12/24/2013   complete   SHI          LI              US   SHI         LI              US   authorizenet      USD   TVPAD-004   259   20   1   239   TV Pad Website - TV Pad Store - English
TVP-13121419   12/24/2013   complete   SHI          LI              US   SHI         LI              US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121419   12/24/2013   complete   SHI          LI              US   SHI         LI              US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121420   12/24/2013   complete   Shilling     Gao             GB   Shilling    Gao             GB   paypal_standard   GBP   TVPAD-004   250   10   2   490   TV Pad Website - TV Pad Store - English
TVP-13121422   12/24/2013   complete   Byoung Joo   Kim             US   Byoung      Kim             GU   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121423   12/24/2013   complete   Andy         Cheung          NL   Andy        Cheung          NL   authorizenet      EUR   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121423   12/24/2013   complete   Andy         Cheung          NL   Andy        Cheung          NL   authorizenet      EUR   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121423   12/24/2013   complete   Andy         Cheung          NL   Andy        Cheung          NL   authorizenet      EUR   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121424   12/24/2013   complete   Ohlisa       Gutierrez       US   Ohlisa      Gutierrez       US   authorizenet      USD   TVPAD-004   250   10   2   490   TV Pad Website - TV Pad Store - English
TVP-13121424   12/24/2013   complete   Ohlisa       Gutierrez       US   Ohlisa      Gutierrez       US   authorizenet      USD   HGIFT2        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121424   12/24/2013   complete   Ohlisa       Gutierrez       US   Ohlisa      Gutierrez       US   authorizenet      USD   HGIFT1        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121426   12/24/2013   complete   Yun          Guan            AU   Yun         Guan            AU   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121426   12/24/2013   complete   Yun          Guan            AU   Yun         Guan            AU   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121426   12/24/2013   complete   Yun          Guan            AU   Yun         Guan            AU   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121427   12/24/2013   complete   Robert       Wong            AU   Robert      Wong            AU   authorizenet      AUD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121427   12/24/2013   complete   Robert       Wong            AU   Robert      Wong            AU   authorizenet      AUD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121427   12/24/2013   complete   Robert       Wong            AU   Robert      Wong            AU   authorizenet      AUD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121428   12/26/2013   complete   john         lau             US   john        lau             US   authorizenet      USD   TVPAD-004   250   10   2   490   TV Pad Website - TV Pad Store - English
TVP-13121428   12/26/2013   complete   john         lau             US   john        lau             US   authorizenet      USD   HGIFT2        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121428   12/26/2013   complete   john         lau             US   john        lau             US   authorizenet      USD   HGIFT1        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121429   12/26/2013   complete   Peng         Zhou            US   Peng        Zhou            US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121429   12/26/2013   complete   Peng         Zhou            US   Peng        Zhou            US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121429   12/26/2013   complete   Peng         Zhou            US   Peng        Zhou            US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121430   12/26/2013   complete   TIAN         LIAN,LIN        US   TIAN        LIN             US   authorizenet      USD   TVPAD-004   250   10   2   490   TV Pad Website - TV Pad Store - English
TVP-13121430   12/26/2013   complete   TIAN         LIAN,LIN        US   TIAN        LIN             US   authorizenet      USD   HGIFT1        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121431   12/26/2013   complete   Ida          Yu              AU   Ida         Yu              AU   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121431   12/26/2013   complete   Ida          Yu              AU   Ida         Yu              AU   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121431   12/26/2013   complete   Ida          Yu              AU   Ida         Yu              AU   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121432   12/24/2013   complete   Ramonty      LIM             FR   Ramonty     LIM             FR   paypal_standard   USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121432   12/24/2013   complete   Ramonty      LIM             FR   Ramonty     LIM             FR   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121433   12/24/2013   complete   Senita       Tang            NL   Senita      Tang            NL   paypal_standard   EUR   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121433   12/24/2013   complete   Senita       Tang            NL   Senita      Tang            NL   paypal_standard   EUR   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121433   12/24/2013   complete   Senita       Tang            NL   Senita      Tang            NL   paypal_standard   EUR   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121434   12/26/2013   complete   Wen          Lin             US   Wen         Lin             US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121434   12/26/2013   complete   Wen          Lin             US   Wen         Lin             US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121434   12/26/2013   complete   Wen          Lin             US   Wen         Lin             US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121435   12/26/2013   complete   Edward       Liu             US   Edward      Liu             US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121435   12/26/2013   complete   Edward       Liu             US   Edward      Liu             US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121435   12/26/2013   complete   Edward       Liu             US   Edward      Liu             US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121436   12/26/2013   complete   Quanjing     Li              NL   Quanjing    Li              NL   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121436   12/26/2013   complete   Quanjing     Li              NL   Quanjing    Li              NL   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121436   12/26/2013   complete   Quanjing     Li              NL   Quanjing    Li              NL   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121437   12/25/2013   complete   Michael      Ha              DE   Michael     Ha              DE   paypal_standard   EUR   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121437   12/25/2013   complete   Michael      Ha              DE   Michael     Ha              DE   paypal_standard   EUR   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121437   12/25/2013   complete   Michael      Ha              DE   Michael     Ha              DE   paypal_standard   EUR   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121438   12/26/2013   complete   Jun          Yeh             NO   Jun         Yeh             NO   authorizenet      USD   TVPAD-004   250   10   2   490   TV Pad Website - TV Pad Store - English
TVP-13121438   12/26/2013   complete   Jun          Yeh             NO   Jun         Yeh             NO   authorizenet      USD   HGIFT2        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121438   12/26/2013   complete   Jun          Yeh             NO   Jun         Yeh             NO   authorizenet      USD   HGIFT1        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121439   12/26/2013   complete   Candy        Chung           CA   Candy       Chung           CA   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121439   12/26/2013   complete   Candy        Chung           CA   Candy       Chung           CA   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121439   12/26/2013   complete   Candy        Chung           CA   Candy       Chung           CA   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121440   12/26/2013   complete   Johan        Vanherreweghe   SG   Johan       Vanherreweghe   SG   authorizenet      EUR   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121440   12/26/2013   complete   Johan        Vanherreweghe   SG   Johan       Vanherreweghe   SG   authorizenet      EUR   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121440   12/26/2013   complete   Johan        Vanherreweghe   SG   Johan       Vanherreweghe   SG   authorizenet      EUR   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121441   12/26/2013   complete   eric         kong            US   eric        kong            US   authorizenet      USD   TVPAD-004   259   20   1   239   TV Pad Website - TV Pad Store - English
TVP-13121441   12/26/2013   complete   eric         kong            US   eric        kong            US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121441   12/26/2013   complete   eric         kong            US   eric        kong            US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121442   12/25/2013   complete   Betty        Yuen            US   Yiu         Yuen            US   paypal_standard   USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121442   12/25/2013   complete   Betty        Yuen            US   Yiu         Yuen            US   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121442   12/25/2013   complete   Betty        Yuen            US   Yiu         Yuen            US   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121443   12/26/2013   complete   Zeting       Liang           AU   Zeting      Liang           AU   authorizenet      USD   TVPAD-004   259   15   1   244   TV Pad Website - TV Pad Store - English
TVP-13121443   12/26/2013   complete   Zeting       Liang           AU   Zeting      Liang           AU   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121443   12/26/2013   complete   Zeting       Liang           AU   Zeting      Liang           AU   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121444   12/26/2013   complete   Zeting       Liang           AU   Zeting      Liang           AU   authorizenet      USD   TVPAD-004   259   15   1   244   TV Pad Website - TV Pad Store - English
TVP-13121444   12/26/2013   complete   Zeting       Liang           AU   Zeting      Liang           AU   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121444   12/26/2013   complete   Zeting       Liang           AU   Zeting      Liang           AU   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121445   12/25/2013   complete   Frank        Leung           CA   Frank       Leung           CA   paypal_standard   CAD   TVPAD-004   259   15   1   244   TV Pad Website - TV Pad Store - English
TVP-13121445   12/25/2013   complete   Frank        Leung           CA   Frank       Leung           CA   paypal_standard   CAD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121445   12/25/2013   complete   Frank        Leung           CA   Frank       Leung           CA   paypal_standard   CAD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121446   12/26/2013   complete   Jenny        Wan             GB   Jenny       Wan             GB   authorizenet      GBP   TVPAD-004   250   10   2   490   TV Pad Website - TV Pad Store - English
TVP-13121446   12/26/2013   complete   Jenny        Wan             GB   Jenny       Wan             GB   authorizenet      GBP   HGIFT2        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121446   12/26/2013   complete   Jenny        Wan             GB   Jenny       Wan             GB   authorizenet      GBP   HGIFT1        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121447   12/26/2013   complete   Helen        Chan            US   Helen       Chan            US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121447   12/26/2013   complete   Helen        Chan            US   Helen       Chan            US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121447   12/26/2013   complete   Helen        Chan            US   Helen       Chan            US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121449   12/26/2013   complete   Chan         Kwong           US   Chan        Kwong           US   authorizenet      USD   TVPAD-004   259   20   1   239   TV Pad Website - TV Pad Store - English
TVP-13121449   12/26/2013   complete   Chan         Kwong           US   Chan        Kwong           US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121449   12/26/2013   complete   Chan         Kwong           US   Chan        Kwong           US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121450   12/26/2013   complete   Andrew       Wong            GB   Georgina    Wu              CA   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121450   12/26/2013   complete   Andrew       Wong            GB   Georgina    Wu              CA   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121450   12/26/2013   complete   Andrew       Wong            GB   Georgina    Wu              CA   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121451   12/26/2013   complete   Hong         Gan             GB   Hong        Gan             GB   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121451   12/26/2013   complete   Hong         Gan             GB   Hong        Gan             GB   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121451   12/26/2013   complete   Hong         Gan             GB   Hong        Gan             GB   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121452   12/26/2013   complete   Ms           Lam             GB   Ms          Lam             GB   authorizenet      GBP   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121452   12/26/2013   complete   Ms           Lam             GB   Ms          Lam             GB   authorizenet      GBP   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121452   12/26/2013   complete   Ms           Lam             GB   Ms          Lam             GB   authorizenet      GBP   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-70011072   12/26/2013   complete   Jan          Tram            SE   Jan         Tram            SE   authorizenet      EUR   TVPAD-004   259   20   1   239   TV Pad Website - TV Pad Store - Chinese
TVP-70011072   12/26/2013   complete   Jan          Tram            SE   Jan         Tram            SE   authorizenet      EUR   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - Chinese
TVP-70011072   12/26/2013   complete   Jan          Tram            SE   Jan         Tram            SE   authorizenet      EUR   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - Chinese
TVP-13121453   12/25/2013   complete   Paul         Fung            SG   Paul        Fung            SG   paypal_standard   USD   TVPAD-004   259   20   1   239   TV Pad Website - TV Pad Store - English
TVP-13121453   12/25/2013   complete   Paul         Fung            SG   Paul        Fung            SG   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121453   12/25/2013   complete   Paul         Fung            SG   Paul        Fung            SG   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121456   12/26/2013   complete   IA           Ty              FR   IA          Ty              FR   authorizenet      USD   TVPAD-004   250   10   2   490   TV Pad Website - TV Pad Store - English
TVP-13121456   12/26/2013   complete   IA           Ty              FR   IA          Ty              FR   authorizenet      USD   HGIFT2        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121456   12/26/2013   complete   IA           Ty              FR   IA          Ty              FR   authorizenet      USD   HGIFT1        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121458   12/26/2013   complete   Christian    Tang            US   Christian   Tang            US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121458   12/26/2013   complete   Christian    Tang            US   Christian   Tang            US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121458   12/26/2013   complete   Christian    Tang            US   Christian   Tang            US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121459   12/26/2013   complete   Lin          Xia             NO   Lin         Xia             NO   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121459   12/26/2013   complete   Lin          Xia             NO   Lin         Xia             NO   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121459   12/26/2013   complete   Lin          Xia             NO   Lin         Xia             NO   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-70011073   12/26/2013   complete   QU           XIAOCHUAN       FR   QU          XIAOCHUAN       FR   authorizenet      EUR   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - Chinese
TVP-70011073   12/26/2013   complete   QU           XIAOCHUAN       FR   QU          XIAOCHUAN       FR   authorizenet      EUR   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - Chinese
TVP-70011073   12/26/2013   complete   QU           XIAOCHUAN       FR   QU          XIAOCHUAN       FR   authorizenet      EUR   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - Chinese
TVP-13121460   12/26/2013   complete   Steven       Neo             AU   Steven      Neo             AU   paypal_standard   USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121460   12/26/2013   complete   Steven       Neo             AU   Steven      Neo             AU   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121460   12/26/2013   complete   Steven       Neo             AU   Steven      Neo             AU   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121461   12/26/2013   complete   Robert       Man             GB   Robert      Man             GB   paypal_standard   USD   TVPAD-004   250   10   2   490   TV Pad Website - TV Pad Store - English
TVP-13121461   12/26/2013   complete   Robert       Man             GB   Robert      Man             GB   paypal_standard   USD   HGIFT2        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121461   12/26/2013   complete   Robert       Man             GB   Robert      Man             GB   paypal_standard   USD   HGIFT1        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121462   12/26/2013   complete   cuong        chau            US   cuong       chau            US   paypal_standard   USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121462   12/26/2013   complete   cuong        chau            US   cuong       chau            US   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121462   12/26/2013   complete   cuong        chau            US   cuong       chau            US   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-70011074   12/26/2013   complete   Kuen         Li              US   Kuen        Li              US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - Chinese
TVP-70011074   12/26/2013   complete   Kuen         Li              US   Kuen        Li              US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - Chinese
TVP-70011074   12/26/2013   complete   Kuen         Li              US   Kuen        Li              US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - Chinese
TVP-13121463   12/26/2013   complete   Gat          Yee             US   Gat         Yee             US   authorizenet      USD   TVPAD-004   259   20   1   239   TV Pad Website - TV Pad Store - English
TVP-13121463   12/26/2013   complete   Gat          Yee             US   Gat         Yee             US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121463   12/26/2013   complete   Gat          Yee             US   Gat         Yee             US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121464   12/26/2013   complete   Franky       Low             US   Franky      Low             US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121464   12/26/2013   complete   Franky       Low             US   Franky      Low             US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121464   12/26/2013   complete   Franky       Low             US   Franky      Low             US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121466   12/26/2013   complete   Kihoon       Kim             CA   Kihoon      Kim             CA   paypal_standard   USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121466   12/26/2013   complete   Kihoon       Kim             CA   Kihoon      Kim             CA   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121466   12/26/2013   complete   Kihoon       Kim             CA   Kihoon      Kim             CA   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121467   12/26/2013   complete   SENO         PRAMONO         ID   SENO        PRAMONO         ID   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121467   12/26/2013   complete   SENO         PRAMONO         ID   SENO        PRAMONO         ID   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121467   12/26/2013   complete   SENO         PRAMONO         ID   SENO        PRAMONO         ID   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121468   12/26/2013   complete   Jack         Kwong           US   Jack        Kwong           US   authorizenet      USD   TVPAD-004   250   10   2   490   TV Pad Website - TV Pad Store - English
TVP-13121468   12/26/2013   complete   Jack         Kwong           US   Jack        Kwong           US   authorizenet      USD   HGIFT2        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121468   12/26/2013   complete   Jack         Kwong           US   Jack        Kwong           US   authorizenet      USD   HGIFT1        0    0   2     0   TV Pad Website - TV Pad Store - English
TVP-13121469   12/26/2013   complete   Guo          Chen            AU   Guo         Chen            AU   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121469   12/26/2013   complete   Guo          Chen            AU   Guo         Chen            AU   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121469   12/26/2013   complete   Guo          Chen            AU   Guo         Chen            AU   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121470   12/26/2013   complete   Raymond      Liew            AU   Raymond     Liew            AU   paypal_standard   USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121470   12/26/2013   complete   Raymond      Liew            AU   Raymond     Liew            AU   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121470   12/26/2013   complete   Raymond      Liew            AU   Raymond     Liew            AU   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121471   12/26/2013   complete   Fernando     Masis           GB   Fernando    Masis           GB   authorizenet      GBP   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121471   12/26/2013   complete   Fernando     Masis           GB   Fernando    Masis           GB   authorizenet      GBP   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121471   12/26/2013   complete   Fernando     Masis           GB   Fernando    Masis           GB   authorizenet      GBP   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121472   12/26/2013   complete   Scott        Yiu             GB   Scott       Yiu             GB   authorizenet      GBP   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121472   12/26/2013   complete   Scott        Yiu             GB   Scott       Yiu             GB   authorizenet      GBP   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121472   12/26/2013   complete   Scott        Yiu             GB   Scott       Yiu             GB   authorizenet      GBP   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121473   12/26/2013   complete   N            Lee             GB   N           Lee             GB   paypal_standard   USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121473   12/26/2013   complete   N            Lee             GB   N           Lee             GB   paypal_standard   USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121473   12/26/2013   complete   N            Lee             GB   N           Lee             GB   paypal_standard   USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121474   12/27/2013   complete   Stephen      OKeefe          US   Stephen     OKeefe          US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
TVP-13121474   12/27/2013   complete   Stephen      OKeefe          US   Stephen     OKeefe          US   authorizenet      USD   HGIFT2        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121474   12/27/2013   complete   Stephen      OKeefe          US   Stephen     OKeefe          US   authorizenet      USD   HGIFT1        0    0   1     0   TV Pad Website - TV Pad Store - English
TVP-13121475   12/27/2013   complete   lei          shen            US   lei         shen            US   authorizenet      USD   TVPAD-004   259   10   1   249   TV Pad Website - TV Pad Store - English
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                                   #:20436
TVP-13121475   12/27/2013   complete   lei        shen       US   lei        shen       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121475   12/27/2013   complete   lei        shen       US   lei        shen       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121476   12/27/2013   complete   Bun-Ny     TAN        FR   Bun-Ny     TAN        FR   authorizenet      EUR   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121476   12/27/2013   complete   Bun-Ny     TAN        FR   Bun-Ny     TAN        FR   authorizenet      EUR   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121476   12/27/2013   complete   Bun-Ny     TAN        FR   Bun-Ny     TAN        FR   authorizenet      EUR   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121425   12/27/2013   complete   Karen      Darling    CA   Karen      Darling    CA   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121425   12/27/2013   complete   Karen      Darling    CA   Karen      Darling    CA   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121425   12/27/2013   complete   Karen      Darling    CA   Karen      Darling    CA   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121478   12/27/2013   complete   Kin        Sit        US   Kin        Sit        US   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121478   12/27/2013   complete   Kin        Sit        US   Kin        Sit        US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121478   12/27/2013   complete   Kin        Sit        US   Kin        Sit        US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011075   12/27/2013   complete   Steven     Zhang      US   Steven     Zhang      US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - Chinese
TVP-70011075   12/27/2013   complete   Steven     Zhang      US   Steven     Zhang      US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011075   12/27/2013   complete   Steven     Zhang      US   Steven     Zhang      US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13121479   12/27/2013   complete   Herr       Teo        US   Herr       Teo        US   authorizenet      USD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13121479   12/27/2013   complete   Herr       Teo        US   Herr       Teo        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121479   12/27/2013   complete   Herr       Teo        US   Herr       Teo        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121480   12/27/2013   complete   Gerald     Chau       US   Gerald     Chau       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121480   12/27/2013   complete   Gerald     Chau       US   Gerald     Chau       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121480   12/27/2013   complete   Gerald     Chau       US   Gerald     Chau       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011076   12/27/2013   complete   Mina       Yan        NZ   Mina       Yan        NZ   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - Chinese
TVP-70011076   12/27/2013   complete   Mina       Yan        NZ   Mina       Yan        NZ   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011076   12/27/2013   complete   Mina       Yan        NZ   Mina       Yan        NZ   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13121481   12/27/2013   complete   Vincent    Lee        US   Vincent    Lee        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121481   12/27/2013   complete   Vincent    Lee        US   Vincent    Lee        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121481   12/27/2013   complete   Vincent    Lee        US   Vincent    Lee        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121482   12/27/2013   complete   YukLin     Yau        GB   YukLin     Yau        GB   authorizenet      GBP   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121482   12/27/2013   complete   YukLin     Yau        GB   YukLin     Yau        GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121482   12/27/2013   complete   YukLin     Yau        GB   YukLin     Yau        GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121483   12/27/2013   complete   Yan        Fang       AU   Yan        Fang       AU   authorizenet      AUD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13121483   12/27/2013   complete   Yan        Fang       AU   Yan        Fang       AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121483   12/27/2013   complete   Yan        Fang       AU   Yan        Fang       AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121487   12/28/2013   complete   wei        lee        GB   Wei        Lee        GB   authorizenet      GBP   TVPAD-004       250    15   2    485    TV Pad Website - TV Pad Store - English
TVP-13121487   12/28/2013   complete   wei        lee        GB   Wei        Lee        GB   authorizenet      GBP   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121487   12/28/2013   complete   wei        lee        GB   Wei        Lee        GB   authorizenet      GBP   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121488   12/28/2013   complete   Angela     Hodgson    GB   Angela     Hodgson    GB   authorizenet      GBP   TVPAD-004       259    15   1    244    TV Pad Website - TV Pad Store - English
TVP-13121488   12/28/2013   complete   Angela     Hodgson    GB   Angela     Hodgson    GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121488   12/28/2013   complete   Angela     Hodgson    GB   Angela     Hodgson    GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121489   12/28/2013   complete   Po         Lam        CA   Po         Lam        CA   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121489   12/28/2013   complete   Po         Lam        CA   Po         Lam        CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121489   12/28/2013   complete   Po         Lam        CA   Po         Lam        CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121490   12/28/2013   complete   Ping       Zhou       US   Ping       Zhou       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121490   12/28/2013   complete   Ping       Zhou       US   Ping       Zhou       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121490   12/28/2013   complete   Ping       Zhou       US   Ping       Zhou       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121491   12/28/2013   complete   Kyung      Yoon       CA   Kyung      Yoon       CA   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121491   12/28/2013   complete   Kyung      Yoon       CA   Kyung      Yoon       CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121491   12/28/2013   complete   Kyung      Yoon       CA   Kyung      Yoon       CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121492   12/28/2013   complete   Sau        Ho         US   Sau        Ho         US   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121492   12/28/2013   complete   Sau        Ho         US   Sau        Ho         US   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121492   12/28/2013   complete   Sau        Ho         US   Sau        Ho         US   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121494   12/28/2013   complete   Nhu        Diec       CA   Nhu        Diec       CA   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121494   12/28/2013   complete   Nhu        Diec       CA   Nhu        Diec       CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121494   12/28/2013   complete   Nhu        Diec       CA   Nhu        Diec       CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121495   12/30/2013   complete   Ying       Chung      CA   Ying       Chung      CA   authorizenet      USD   TVPAD-AC-001   15.99    0   1   15.99   TV Pad Website - TV Pad Store - English
TVP-13121496   12/28/2013   complete   zhuang     lu         NO   zhuang     lu         NO   authorizenet      USD   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121496   12/28/2013   complete   zhuang     lu         NO   zhuang     lu         NO   authorizenet      USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121496   12/28/2013   complete   zhuang     lu         NO   zhuang     lu         NO   authorizenet      USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121497   12/28/2013   complete   Guang      Choi       US   Guang      Choi       US   authorizenet      USD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13121497   12/28/2013   complete   Guang      Choi       US   Guang      Choi       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121497   12/28/2013   complete   Guang      Choi       US   Guang      Choi       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121498   12/28/2013   complete   Byung-Ho   An         DE   Byung-Ho   An         DE   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121498   12/28/2013   complete   Byung-Ho   An         DE   Byung-Ho   An         DE   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121498   12/28/2013   complete   Byung-Ho   An         DE   Byung-Ho   An         DE   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121499   12/28/2013   complete   Tak        Kwan       US   Tak        Kwan       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121499   12/28/2013   complete   Tak        Kwan       US   Tak        Kwan       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121499   12/28/2013   complete   Tak        Kwan       US   Tak        Kwan       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121500   12/28/2013   complete   Kin        Yung       US   Kin        Yung       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121500   12/28/2013   complete   Kin        Yung       US   Kin        Yung       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121500   12/28/2013   complete   Kin        Yung       US   Kin        Yung       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121501   12/28/2013   complete   Meng       yap        GB   Meng       yap        GB   authorizenet      GBP   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121501   12/28/2013   complete   Meng       yap        GB   Meng       yap        GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121501   12/28/2013   complete   Meng       yap        GB   Meng       yap        GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011077   12/28/2013   complete   Wanjuan    wu         GB   Wanjuan    wu         GB   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - Chinese
TVP-70011077   12/28/2013   complete   Wanjuan    wu         GB   Wanjuan    wu         GB   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011077   12/28/2013   complete   Wanjuan    wu         GB   Wanjuan    wu         GB   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13121502   12/28/2013   complete   Ricky      Wong       US   Ricky      Wong       US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121502   12/28/2013   complete   Ricky      Wong       US   Ricky      Wong       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121502   12/28/2013   complete   Ricky      Wong       US   Ricky      Wong       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121503   12/28/2013   complete   Raymond    Kwan       CA   Raymond    Kwan       CA   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121503   12/28/2013   complete   Raymond    Kwan       CA   Raymond    Kwan       CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121503   12/28/2013   complete   Raymond    Kwan       CA   Raymond    Kwan       CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121504   12/28/2013   complete   Keith      Choy       GB   Keith      Choy       GB   authorizenet      GBP   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121504   12/28/2013   complete   Keith      Choy       GB   Keith      Choy       GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121504   12/28/2013   complete   Keith      Choy       GB   Keith      Choy       GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121505   12/28/2013   complete   Shu        Mai        US   Shu        Mai        US   authorizenet      USD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13121505   12/28/2013   complete   Shu        Mai        US   Shu        Mai        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121505   12/28/2013   complete   Shu        Mai        US   Shu        Mai        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121506   12/28/2013   complete   Tony       Lai        AU   Tony       Lai        AU   authorizenet      USD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13121506   12/28/2013   complete   Tony       Lai        AU   Tony       Lai        AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121506   12/28/2013   complete   Tony       Lai        AU   Tony       Lai        AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121507   12/29/2013   complete   byong      kim        AU   byong      kim        AU   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121507   12/29/2013   complete   byong      kim        AU   byong      kim        AU   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121507   12/29/2013   complete   byong      kim        AU   byong      kim        AU   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121508   12/28/2013   complete   Nick       Ng         AU   Nick       Ng         AU   paypal_standard   USD   TVPAD-AC-001   15.99    0   1   15.99   TV Pad Website - TV Pad Store - English
TVP-13121509   12/29/2013   complete   George     Fujita     BR   George     Fujita     BR   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121509   12/29/2013   complete   George     Fujita     BR   George     Fujita     BR   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121509   12/29/2013   complete   George     Fujita     BR   George     Fujita     BR   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121510   12/28/2013   complete   Yiu        Wong       NL   Yiu        Wong       NL   paypal_standard   USD   TVPAD-004       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-13121510   12/28/2013   complete   Yiu        Wong       NL   Yiu        Wong       NL   paypal_standard   USD   HGIFT2             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121510   12/28/2013   complete   Yiu        Wong       NL   Yiu        Wong       NL   paypal_standard   USD   HGIFT1             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-13121512   12/29/2013   complete   Chi-Kan    Ma         GB   Chi-Kan    Ma         GB   authorizenet      GBP   TVPAD-004       259    15   1    244    TV Pad Website - TV Pad Store - English
TVP-13121512   12/29/2013   complete   Chi-Kan    Ma         GB   Chi-Kan    Ma         GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121512   12/29/2013   complete   Chi-Kan    Ma         GB   Chi-Kan    Ma         GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011079   12/29/2013   complete   Li         GuangWei   BE   Li         GuangWei   BE   authorizenet      EUR   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - Chinese
TVP-70011079   12/29/2013   complete   Li         GuangWei   BE   Li         GuangWei   BE   authorizenet      EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011079   12/29/2013   complete   Li         GuangWei   BE   Li         GuangWei   BE   authorizenet      EUR   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13121513   12/29/2013   complete   Ta-Wing    Poon       GB   Ta-Wing    Poon       GB   authorizenet      GBP   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121513   12/29/2013   complete   Ta-Wing    Poon       GB   Ta-Wing    Poon       GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121513   12/29/2013   complete   Ta-Wing    Poon       GB   Ta-Wing    Poon       GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121514   12/29/2013   complete   Stephen    Cheung     CA   Stephen    Cheung     CA   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121514   12/29/2013   complete   Stephen    Cheung     CA   Stephen    Cheung     CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121514   12/29/2013   complete   Stephen    Cheung     CA   Stephen    Cheung     CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121515   12/29/2013   complete   Ka         Jin        US   Ka         Jin        US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121515   12/29/2013   complete   Ka         Jin        US   Ka         Jin        US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121515   12/29/2013   complete   Ka         Jin        US   Ka         Jin        US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121516   12/29/2013   complete   Jennifer   li         NL   Jennifer   li         NL   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121516   12/29/2013   complete   Jennifer   li         NL   Jennifer   li         NL   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121516   12/29/2013   complete   Jennifer   li         NL   Jennifer   li         NL   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121517   12/29/2013   complete   A          chai       GB   Vicky      chai       GB   authorizenet      GBP   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121517   12/29/2013   complete   A          chai       GB   Vicky      chai       GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121517   12/29/2013   complete   A          chai       GB   Vicky      chai       GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121518   12/29/2013   complete   CHI        CHAN       US   CHI        CHAN       US   authorizenet      USD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13121518   12/29/2013   complete   CHI        CHAN       US   CHI        CHAN       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121518   12/29/2013   complete   CHI        CHAN       US   CHI        CHAN       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121521   12/29/2013   complete   Feng       Xu         AU   Feng       Xu         AU   authorizenet      AUD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121521   12/29/2013   complete   Feng       Xu         AU   Feng       Xu         AU   authorizenet      AUD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121521   12/29/2013   complete   Feng       Xu         AU   Feng       Xu         AU   authorizenet      AUD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121522   12/29/2013   complete   Edmond     Leung      AU   Edmond     Leung      AU   paypal_standard   USD   TVPAD-AC-001   15.99    0   1   15.99   TV Pad Website - TV Pad Store - English
TVP-13121523   12/29/2013   complete   Jonathan   Yu         US   Jonathan   Yu         US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121523   12/29/2013   complete   Jonathan   Yu         US   Jonathan   Yu         US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121523   12/29/2013   complete   Jonathan   Yu         US   Jonathan   Yu         US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121524   12/29/2013   complete   Bon        Mak        CA   Bon        Mak        CA   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121524   12/29/2013   complete   Bon        Mak        CA   Bon        Mak        CA   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121524   12/29/2013   complete   Bon        Mak        CA   Bon        Mak        CA   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121525   12/29/2013   complete   CHIU       NG         US   CHIU       NG         US   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121525   12/29/2013   complete   CHIU       NG         US   CHIU       NG         US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121525   12/29/2013   complete   CHIU       NG         US   CHIU       NG         US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011080   12/29/2013   complete   Yit        Wong       US   Yit        Wong       US   authorizenet      USD   TVPAD-004       259    15   1    244    TV Pad Website - TV Pad Store - Chinese
TVP-70011080   12/29/2013   complete   Yit        Wong       US   Yit        Wong       US   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011080   12/29/2013   complete   Yit        Wong       US   Yit        Wong       US   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-13121527   12/29/2013   complete   ming       lee        GB   ming       lee        GB   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121527   12/29/2013   complete   ming       lee        GB   ming       lee        GB   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121527   12/29/2013   complete   ming       lee        GB   ming       lee        GB   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121528   12/30/2013   complete   Z          WANG       GB   Z          WANG       GB   authorizenet      GBP   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121528   12/30/2013   complete   Z          WANG       GB   Z          WANG       GB   authorizenet      GBP   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121528   12/30/2013   complete   Z          WANG       GB   Z          WANG       GB   authorizenet      GBP   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121529   12/30/2013   complete   Hong       Zhang      NZ   Hong       Zhang      NZ   authorizenet      USD   TVPAD-004       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-13121529   12/30/2013   complete   Hong       Zhang      NZ   Hong       Zhang      NZ   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121529   12/30/2013   complete   Hong       Zhang      NZ   Hong       Zhang      NZ   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121530   12/30/2013   complete   Oi         Tang       IE   Irene      Tang       IE   authorizenet      EUR   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121530   12/30/2013   complete   Oi         Tang       IE   Irene      Tang       IE   authorizenet      EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121530   12/30/2013   complete   Oi         Tang       IE   Irene      Tang       IE   authorizenet      EUR   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121531   12/29/2013   complete   Shelly     Lau        NL   Shelly     Lau        NL   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121531   12/29/2013   complete   Shelly     Lau        NL   Shelly     Lau        NL   paypal_standard   USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121531   12/29/2013   complete   Shelly     Lau        NL   Shelly     Lau        NL   paypal_standard   USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121532   12/30/2013   complete   ching      tsang      NL   ching      tsang      NL   paypal_standard   EUR   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121532   12/30/2013   complete   ching      tsang      NL   ching      tsang      NL   paypal_standard   EUR   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121532   12/30/2013   complete   ching      tsang      NL   ching      tsang      NL   paypal_standard   EUR   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121533   12/30/2013   complete   JIE        ZHAO       GB   JIE        ZHAO       GB   authorizenet      USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-13121533   12/30/2013   complete   JIE        ZHAO       GB   JIE        ZHAO       GB   authorizenet      USD   HGIFT2             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121533   12/30/2013   complete   JIE        ZHAO       GB   JIE        ZHAO       GB   authorizenet      USD   HGIFT1             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-13121534   12/30/2013   complete   Marcus     Law        CA   Marcus     Law        CA   paypal_standard   USD   TVPAD-004       259    10   1    249    TV Pad Website - TV Pad Store - English
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                                            #:20437
        TVP-13121534           12/30/2013   complete   Marcus          Law                    CA   Marcus          Law                    CA   paypal_standard   USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121534           12/30/2013   complete   Marcus          Law                    CA   Marcus          Law                    CA   paypal_standard   USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121535           12/30/2013   complete   Bo              Yang                   AU   Bo              Yang                   AU   authorizenet      AUD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121535           12/30/2013   complete   Bo              Yang                   AU   Bo              Yang                   AU   authorizenet      AUD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121535           12/30/2013   complete   Bo              Yang                   AU   Bo              Yang                   AU   authorizenet      AUD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121536           12/30/2013   complete   SHIU-LING       PEI                    US   SHIU-LING       PEI                    US   authorizenet      USD   TVPAD-004      259   20    1    239                      TV Pad Website - TV Pad Store - English
        TVP-13121536           12/30/2013   complete   SHIU-LING       PEI                    US   SHIU-LING       PEI                    US   authorizenet      USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121536           12/30/2013   complete   SHIU-LING       PEI                    US   SHIU-LING       PEI                    US   authorizenet      USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121537           12/30/2013   complete   Yap             Khee                   MY   Yap             Khee                   MY   authorizenet      USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121537           12/30/2013   complete   Yap             Khee                   MY   Yap             Khee                   MY   authorizenet      USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121537           12/30/2013   complete   Yap             Khee                   MY   Yap             Khee                   MY   authorizenet      USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121538           12/30/2013   complete   Yew             Tang                   GB   Yew             Tang                   GB   paypal_standard   GBP   TVPAD-004      250   10    2    490                      TV Pad Website - TV Pad Store - English
        TVP-13121538           12/30/2013   complete   Yew             Tang                   GB   Yew             Tang                   GB   paypal_standard   GBP   HGIFT2           0    0    2      0                      TV Pad Website - TV Pad Store - English
        TVP-13121538           12/30/2013   complete   Yew             Tang                   GB   Yew             Tang                   GB   paypal_standard   GBP   HGIFT1           0    0    2      0                      TV Pad Website - TV Pad Store - English
        TVP-13121539           12/30/2013   complete   Jonathan        Tse                    CA   Jonathan        Tse                    CA   authorizenet      USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121539           12/30/2013   complete   Jonathan        Tse                    CA   Jonathan        Tse                    CA   authorizenet      USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121539           12/30/2013   complete   Jonathan        Tse                    CA   Jonathan        Tse                    CA   authorizenet      USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121540           12/30/2013   complete   Anshun          Wong                   NZ   Anshun          Wong                   NZ   authorizenet      USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121540           12/30/2013   complete   Anshun          Wong                   NZ   Anshun          Wong                   NZ   authorizenet      USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121540           12/30/2013   complete   Anshun          Wong                   NZ   Anshun          Wong                   NZ   authorizenet      USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121542           12/30/2013   complete   feng            gao                    US   feng            gao                    US   paypal_standard   USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121542           12/30/2013   complete   feng            gao                    US   feng            gao                    US   paypal_standard   USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121542           12/30/2013   complete   feng            gao                    US   feng            gao                    US   paypal_standard   USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121543           12/30/2013   complete   Amy             Chiu                   US   Justina         Yee                    CA   authorizenet      USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121543           12/30/2013   complete   Amy             Chiu                   US   Justina         Yee                    CA   authorizenet      USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121543           12/30/2013   complete   Amy             Chiu                   US   Justina         Yee                    CA   authorizenet      USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121544           12/30/2013   complete   Eric            Woo                    CA   Eric            Woo                    CA   authorizenet      USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121544           12/30/2013   complete   Eric            Woo                    CA   Eric            Woo                    CA   authorizenet      USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121544           12/30/2013   complete   Eric            Woo                    CA   Eric            Woo                    CA   authorizenet      USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-70011081           12/30/2013   complete   yuxin           huang                  US   yuxin           huang                  US   authorizenet      USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - Chinese
        TVP-70011081           12/30/2013   complete   yuxin           huang                  US   yuxin           huang                  US   authorizenet      USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - Chinese
        TVP-70011081           12/30/2013   complete   yuxin           huang                  US   yuxin           huang                  US   authorizenet      USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - Chinese
        TVP-13121545           12/30/2013   complete   Alvin           Leung                  US   Alvin           Leung                  US   authorizenet      USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121545           12/30/2013   complete   Alvin           Leung                  US   Alvin           Leung                  US   authorizenet      USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121545           12/30/2013   complete   Alvin           Leung                  US   Alvin           Leung                  US   authorizenet      USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121546           12/30/2013   complete   Ben             Lee                    NZ   Ben             Lee                    NZ   authorizenet      USD   TVPAD-004      259   20    1    239                      TV Pad Website - TV Pad Store - English
        TVP-13121546           12/30/2013   complete   Ben             Lee                    NZ   Ben             Lee                    NZ   authorizenet      USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121546           12/30/2013   complete   Ben             Lee                    NZ   Ben             Lee                    NZ   authorizenet      USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121548           12/30/2013   complete   Karman          Wong                   GB   Yin             Wong                   DK   authorizenet      GBP   TVPAD-004      259   15    1    244                      TV Pad Website - TV Pad Store - English
        TVP-13121548           12/30/2013   complete   Karman          Wong                   GB   Yin             Wong                   DK   authorizenet      GBP   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121548           12/30/2013   complete   Karman          Wong                   GB   Yin             Wong                   DK   authorizenet      GBP   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121550           12/30/2013   complete   Han-Moerbeck,   Chong-Min              DE   Han-Moerbeck,   Chong-Min              DE   paypal_standard   EUR   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121550           12/30/2013   complete   Han-Moerbeck,   Chong-Min              DE   Han-Moerbeck,   Chong-Min              DE   paypal_standard   EUR   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121550           12/30/2013   complete   Han-Moerbeck,   Chong-Min              DE   Han-Moerbeck,   Chong-Min              DE   paypal_standard   EUR   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121551           12/30/2013   complete   Koon            Chan                   NL   Koon            Chan                   NL   paypal_standard   USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121551           12/30/2013   complete   Koon            Chan                   NL   Koon            Chan                   NL   paypal_standard   USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121551           12/30/2013   complete   Koon            Chan                   NL   Koon            Chan                   NL   paypal_standard   USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121552           12/31/2013   complete   Edward          Lee                    GB   Edward          Lee                    GB   authorizenet      GBP   TVPAD-006      375   10    1    365                      TV Pad Website - TV Pad Store - English
        TVP-13121552           12/31/2013   complete   Edward          Lee                    GB   Edward          Lee                    GB   authorizenet      GBP   TVPAD-GM-002     0    0    2      0                      TV Pad Website - TV Pad Store - English
        TVP-13121552           12/31/2013   complete   Edward          Lee                    GB   Edward          Lee                    GB   authorizenet      GBP   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121552           12/31/2013   complete   Edward          Lee                    GB   Edward          Lee                    GB   authorizenet      GBP   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121553           12/30/2013   complete   Thomas          Yee                    US   Thomas          Yee                    US   paypal_standard   USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121553           12/30/2013   complete   Thomas          Yee                    US   Thomas          Yee                    US   paypal_standard   USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121553           12/30/2013   complete   Thomas          Yee                    US   Thomas          Yee                    US   paypal_standard   USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121554           12/31/2013   complete   lin             wu                     US   lin             wu                     US   authorizenet      USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121554           12/31/2013   complete   lin             wu                     US   lin             wu                     US   authorizenet      USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121554           12/31/2013   complete   lin             wu                     US   lin             wu                     US   authorizenet      USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121555           12/31/2013   complete   Guqing          Huang                  US   Guqing          Huang                  US   authorizenet      USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121555           12/31/2013   complete   Guqing          Huang                  US   Guqing          Huang                  US   authorizenet      USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121555           12/31/2013   complete   Guqing          Huang                  US   Guqing          Huang                  US   authorizenet      USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121556           12/31/2013   complete   Calvin          Tran                   NL   Calvin          Tran                   NL   authorizenet      EUR   TVPAD-004      259   20    1    239                      TV Pad Website - TV Pad Store - English
        TVP-13121556           12/31/2013   complete   Calvin          Tran                   NL   Calvin          Tran                   NL   authorizenet      EUR   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121556           12/31/2013   complete   Calvin          Tran                   NL   Calvin          Tran                   NL   authorizenet      EUR   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121557           12/31/2013   complete   Sai             Cheng                  GB   Sai             Cheng                  GB   authorizenet      GBP   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121557           12/31/2013   complete   Sai             Cheng                  GB   Sai             Cheng                  GB   authorizenet      GBP   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121557           12/31/2013   complete   Sai             Cheng                  GB   Sai             Cheng                  GB   authorizenet      GBP   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121558           12/31/2013   complete   Andrew          Wong                   US   Andrew          Wong                   US   authorizenet      USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121558           12/31/2013   complete   Andrew          Wong                   US   Andrew          Wong                   US   authorizenet      USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121558           12/31/2013   complete   Andrew          Wong                   US   Andrew          Wong                   US   authorizenet      USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121559           12/31/2013   complete   P               Lee                    GB   KaFung          Bay                    DK   authorizenet      USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121559           12/31/2013   complete   P               Lee                    GB   KaFung          Bay                    DK   authorizenet      USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121559           12/31/2013   complete   P               Lee                    GB   KaFung          Bay                    DK   authorizenet      USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121560           12/31/2013   complete   Jenny           Wan                    GB   Jenny           Wan                    GB   authorizenet      GBP   TVPAD-004      250   10    2    490                      TV Pad Website - TV Pad Store - English
        TVP-13121560           12/31/2013   complete   Jenny           Wan                    GB   Jenny           Wan                    GB   authorizenet      GBP   HGIFT2           0    0    2      0                      TV Pad Website - TV Pad Store - English
        TVP-13121560           12/31/2013   complete   Jenny           Wan                    GB   Jenny           Wan                    GB   authorizenet      GBP   HGIFT1           0    0    2      0                      TV Pad Website - TV Pad Store - English
        TVP-13121562           12/31/2013   complete   IENG            PUN                    GB   IENG            PUN                    GB   paypal_standard   GBP   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121562           12/31/2013   complete   IENG            PUN                    GB   IENG            PUN                    GB   paypal_standard   GBP   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121562           12/31/2013   complete   IENG            PUN                    GB   IENG            PUN                    GB   paypal_standard   GBP   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121563           12/31/2013   complete   Jinzhi          Liao                   GF   Jinzhi          Liao                   GF   authorizenet      USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121563           12/31/2013   complete   Jinzhi          Liao                   GF   Jinzhi          Liao                   GF   authorizenet      USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121563           12/31/2013   complete   Jinzhi          Liao                   GF   Jinzhi          Liao                   GF   authorizenet      USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121564           12/31/2013   complete   Charles         Lee                    US   Jenny           Lee                    US   authorizenet      USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121564           12/31/2013   complete   Charles         Lee                    US   Jenny           Lee                    US   authorizenet      USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121564           12/31/2013   complete   Charles         Lee                    US   Jenny           Lee                    US   authorizenet      USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121565           12/31/2013   complete   Jennifer        Cafarelli              CA   Manh            Duong                  US   authorizenet      USD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121565           12/31/2013   complete   Jennifer        Cafarelli              CA   Manh            Duong                  US   authorizenet      USD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121565           12/31/2013   complete   Jennifer        Cafarelli              CA   Manh            Duong                  US   authorizenet      USD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121568           12/31/2013   complete   lin             zhang                  AU   lin             zhang                  AU   authorizenet      AUD   TVPAD-004      259   10    1    249                      TV Pad Website - TV Pad Store - English
        TVP-13121568           12/31/2013   complete   lin             zhang                  AU   lin             zhang                  AU   authorizenet      AUD   HGIFT2           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121568           12/31/2013   complete   lin             zhang                  AU   lin             zhang                  AU   authorizenet      AUD   HGIFT1           0    0    1      0                      TV Pad Website - TV Pad Store - English
        TVP-13121569           12/31/2013   complete   Vicky           Lau                    US   Vicky           Lau                    US   authorizenet      USD   TVPAD-004      250   20    2    480                      TV Pad Website - TV Pad Store - English
        TVP-13121569           12/31/2013   complete   Vicky           Lau                    US   Vicky           Lau                    US   authorizenet      USD   HGIFT2           0    0    2      0                      TV Pad Website - TV Pad Store - English
        TVP-13121569           12/31/2013   complete   Vicky           Lau                    US   Vicky           Lau                    US   authorizenet      USD   HGIFT1           0    0    2      0                      TV Pad Website - TV Pad Store - English
        TVP-13121570           12/31/2013   complete   Cindy           Sum                    US   Cindy           Sum                    US   authorizenet      USD   TVPAD-004      250   10    2    490                      TV Pad Website - TV Pad Store - English
        TVP-13121570           12/31/2013   complete   Cindy           Sum                    US   Cindy           Sum                    US   authorizenet      USD   HGIFT2           0    0    2      0                      TV Pad Website - TV Pad Store - English
        TVP-13121570           12/31/2013   complete   Cindy           Sum                    US   Cindy           Sum                    US   authorizenet      USD   HGIFT1           0    0    2      0                      TV Pad Website - TV Pad Store - English
              800803-
                               11/20/2013   complete   Andy            Lee                    UK   Andy            Lee                    UK   Wire              USD   TVPAD-004      190        12   2367 Shipping Cost: 87
            20131120-
800803-20131220-001(Wholesale) 12/27/2013   complete   Andy            Lee                    UK   Andy            Lee                    UK   Wire              USD   TVPAD-004      185        25   4770 Shipping Cost: 145
899864-20131230-001(Wholesale) 12/30/2013   complete   Mieng           Chiep Lao Liu Minjie   US   Mieng           Chiep Lao Liu Minjie   US   Check             USD   TVPAD-004      180        10   1880 Shipping Cost: 80
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                                   #:20438

OrderNo        Month     Invoice CreateDate OrderStatus BillingFirstName   BillingLastName BillingCountryCode   ShippingFirstName ShippingLastName ShippingCountryCode   PaymentMethod OrderCurrencyCode   Sku            ItemPrice Discount Amount    QtyOrdered RowTotal
TVP-70011083   January             1/1/2014   complete   Aaron             Chu             GB                   Aaron             Chu              GB                    paypal_standard   GBP             TVPAD-004           259                10            1      249
TVP-70011083   January             1/1/2014   complete   Aaron             Chu             GB                   Aaron             Chu              GB                    paypal_standard   GBP             HGIFT2                 0                0            1         0
TVP-70011083   January             1/1/2014   complete   Aaron             Chu             GB                   Aaron             Chu              GB                    paypal_standard   GBP             HGIFT1                 0                0            1         0
TVP-13121590   January             1/2/2014   complete   Ann               Fong            AU                   Eliza             harris           AU                    authorizenet      USD             TVPAD-004           259                 0            1      259
TVP-13121590   January             1/2/2014   complete   Ann               Fong            AU                   Eliza             harris           AU                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-13121590   January             1/2/2014   complete   Ann               Fong            AU                   Eliza             harris           AU                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-70011084   January             1/1/2014   complete   Tang              Yuhong          CH                   Tang              Yuhong           CH                    paypal_standard   USD             TVPAD-004           259                 0            1      259
TVP-70011084   January             1/1/2014   complete   Tang              Yuhong          CH                   Tang              Yuhong           CH                    paypal_standard   USD             HGIFT2                 0                0            1         0
TVP-70011084   January             1/1/2014   complete   Tang              Yuhong          CH                   Tang              Yuhong           CH                    paypal_standard   USD             HGIFT1                 0                0            1         0
TVP-14011010   January             1/2/2014   complete   Jennifer          HO              FR                   Jennifer          HO               FR                    authorizenet      EUR             TVPAD-004           259                 0            1      259
TVP-14011010   January             1/2/2014   complete   Jennifer          HO              FR                   Jennifer          HO               FR                    authorizenet      EUR             HGIFT2                 0                0            1         0
TVP-14011010   January             1/2/2014   complete   Jennifer          HO              FR                   Jennifer          HO               FR                    authorizenet      EUR             HGIFT1                 0                0            1         0
TVP-14011011   January             1/2/2014   complete   Rita              Lip             GB                   Rita              Lip              GB                    authorizenet      GBP             TVPAD-004           259                 0            1      259
TVP-14011011   January             1/2/2014   complete   Rita              Lip             GB                   Rita              Lip              GB                    authorizenet      GBP             HGIFT2                 0                0            1         0
TVP-14011011   January             1/2/2014   complete   Rita              Lip             GB                   Rita              Lip              GB                    authorizenet      GBP             HGIFT1                 0                0            1         0
TVP-14011012   January             1/2/2014   complete   Xingyong          LIN             FR                   Xingyong          LIN              FR                    authorizenet      USD             TVPAD-004           259                 0            1      259
TVP-14011012   January             1/2/2014   complete   Xingyong          LIN             FR                   Xingyong          LIN              FR                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011012   January             1/2/2014   complete   Xingyong          LIN             FR                   Xingyong          LIN              FR                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011013   January             1/2/2014   complete   Ngoc              Lam             DE                   Ngoc              Lam              DE                    paypal_standard   EUR             TVPAD-004           259                 0            1      259
TVP-14011013   January             1/2/2014   complete   Ngoc              Lam             DE                   Ngoc              Lam              DE                    paypal_standard   EUR             HGIFT2                 0                0            1         0
TVP-14011013   January             1/2/2014   complete   Ngoc              Lam             DE                   Ngoc              Lam              DE                    paypal_standard   EUR             HGIFT1                 0                0            1         0
TVP-14011014   January             1/2/2014   complete   Kathy             Yao             US                   Kathy             Yao              US                    authorizenet      USD             TVPAD-004           259                 0            1      259
TVP-14011014   January             1/2/2014   complete   Kathy             Yao             US                   Kathy             Yao              US                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011014   January             1/2/2014   complete   Kathy             Yao             US                   Kathy             Yao              US                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011015   January             1/2/2014   complete   siu               woo             SE                   siu               woo              SE                    authorizenet      USD             TVPAD-004           259                 0            1      259
TVP-14011015   January             1/2/2014   complete   siu               woo             SE                   siu               woo              SE                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011015   January             1/2/2014   complete   siu               woo             SE                   siu               woo              SE                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011016   January             1/2/2014   complete   Mooryong          Choi            GB                   Mooryong          Choi             GB                    authorizenet      USD             TVPAD-004           259                 0            1      259
TVP-14011016   January             1/2/2014   complete   Mooryong          Choi            GB                   Mooryong          Choi             GB                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011016   January             1/2/2014   complete   Mooryong          Choi            GB                   Mooryong          Choi             GB                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011017   January             1/2/2014   complete   Kaibin            Huang           CA                   Kaibin            Huang            CA                    authorizenet      USD             TVPAD-004           259                 0            1      259
TVP-14011017   January             1/2/2014   complete   Kaibin            Huang           CA                   Kaibin            Huang            CA                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011017   January             1/2/2014   complete   Kaibin            Huang           CA                   Kaibin            Huang            CA                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011018   January             1/2/2014   complete   Sheng             Zhang           US                   Sheng             Zhang            US                    authorizenet      USD             TVPAD-004           259                20            1      239
TVP-14011018   January             1/2/2014   complete   Sheng             Zhang           US                   Sheng             Zhang            US                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011018   January             1/2/2014   complete   Sheng             Zhang           US                   Sheng             Zhang            US                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011019   January             1/2/2014   complete   Yue               Hong            US                   Yue               Hong             US                    authorizenet      USD             TVPAD-004           259                10            1      249
TVP-14011019   January             1/2/2014   complete   Yue               Hong            US                   Yue               Hong             US                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011019   January             1/2/2014   complete   Yue               Hong            US                   Yue               Hong             US                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011020   January             1/3/2014   complete   Simon             Woo             CA                   Simon             Woo              CA                    authorizenet      USD             TVPAD-004           259                15            1      244
TVP-14011020   January             1/3/2014   complete   Simon             Woo             CA                   Simon             Woo              CA                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011020   January             1/3/2014   complete   Simon             Woo             CA                   Simon             Woo              CA                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011021   January             1/3/2014   complete   ji                kim             AU                   ji                kim              AU                    authorizenet      USD             TVPAD-004           259                10            1      249
TVP-14011021   January             1/3/2014   complete   ji                kim             AU                   ji                kim              AU                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011021   January             1/3/2014   complete   ji                kim             AU                   ji                kim              AU                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011022   January             1/2/2014   complete   Frederik          Chan            BE                   Frederik          Chan             BE                    paypal_standard   USD             TVPAD-004           250                15            3      735
TVP-14011022   January             1/2/2014   complete   Frederik          Chan            BE                   Frederik          Chan             BE                    paypal_standard   USD             HGIFT2                 0                0            3         0
TVP-14011022   January             1/2/2014   complete   Frederik          Chan            BE                   Frederik          Chan             BE                    paypal_standard   USD             HGIFT1                 0                0            3         0
TVP-14011023   January             1/2/2014   complete   nellie            huynh           US                   nellie            huynh            US                    authorizenet      USD             TVPAD-004           259                10            1      249
TVP-14011023   January             1/2/2014   complete   nellie            huynh           US                   nellie            huynh            US                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011023   January             1/2/2014   complete   nellie            huynh           US                   nellie            huynh            US                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011024   January             1/3/2014   complete   Nai               Seaw            GB                   Nick              Seaw             GB                    authorizenet      GBP             TVPAD-004           259                10            1      249
TVP-14011024   January             1/3/2014   complete   Nai               Seaw            GB                   Nick              Seaw             GB                    authorizenet      GBP             HGIFT2                 0                0            1         0
TVP-14011024   January             1/3/2014   complete   Nai               Seaw            GB                   Nick              Seaw             GB                    authorizenet      GBP             HGIFT1                 0                0            1         0
TVP-14011025   January             1/3/2014   complete   Marianne          Yang            AU                   Marianne          Yang             AU                    authorizenet      USD             TVPAD-004           259                10            1      249
TVP-14011025   January             1/3/2014   complete   Marianne          Yang            AU                   Marianne          Yang             AU                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011025   January             1/3/2014   complete   Marianne          Yang            AU                   Marianne          Yang             AU                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011026   January             1/5/2014   complete   Mei               Price           GB                   Mei               Price            GB                    authorizenet      USD             TVPAD-AC-001       15.99                0            1     15.99
TVP-70011085   January             1/2/2014   complete   NENG              TAN             US                   NENG              TAN              US                    paypal_standard   USD             TVPAD-004           259                10            1      249
TVP-70011085   January             1/2/2014   complete   NENG              TAN             US                   NENG              TAN              US                    paypal_standard   USD             HGIFT2                 0                0            1         0
TVP-70011085   January             1/2/2014   complete   NENG              TAN             US                   NENG              TAN              US                    paypal_standard   USD             HGIFT1                 0                0            1         0
TVP-14011027   January             1/3/2014   complete   Erin              chan            GB                   Erin              chan             GB                    authorizenet      GBP             TVPAD-004           259                10            1      249
TVP-14011027   January             1/3/2014   complete   Erin              chan            GB                   Erin              chan             GB                    authorizenet      GBP             HGIFT2                 0                0            1         0
TVP-14011027   January             1/3/2014   complete   Erin              chan            GB                   Erin              chan             GB                    authorizenet      GBP             HGIFT1                 0                0            1         0
TVP-14011028   January             1/3/2014   complete   Lik               Kwong           US                   Lik               Kwong            US                    authorizenet      USD             TVPAD-004           259                10            1      249
TVP-14011028   January             1/3/2014   complete   Lik               Kwong           US                   Lik               Kwong            US                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011028   January             1/3/2014   complete   Lik               Kwong           US                   Lik               Kwong            US                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011029   January             1/3/2014   complete   Sinh              Tu              GB                   Phong             Tu               GB                    authorizenet      GBP             TVPAD-004           250                10            2      490
TVP-14011029   January             1/3/2014   complete   Sinh              Tu              GB                   Phong             Tu               GB                    authorizenet      GBP             HGIFT2                 0                0            2         0
TVP-14011029   January             1/3/2014   complete   Sinh              Tu              GB                   Phong             Tu               GB                    authorizenet      GBP             HGIFT1                 0                0            2         0
TVP-70011086   January             1/3/2014   complete   sing tak          chan            US                   sing              chan             US                    authorizenet      USD             TVPAD-004           259                10            1      249
TVP-70011086   January             1/3/2014   complete   sing tak          chan            US                   sing              chan             US                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-70011086   January             1/3/2014   complete   sing tak          chan            US                   sing              chan             US                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011030   January             1/3/2014   complete   Trung             Luu             US                   Trung             Luu              US                    authorizenet      USD             TVPAD-004           259                10            1      249
TVP-14011030   January             1/3/2014   complete   Trung             Luu             US                   Trung             Luu              US                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011030   January             1/3/2014   complete   Trung             Luu             US                   Trung             Luu              US                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011031   January             1/3/2014   complete   Gong              Zhang           CA                   Gong              Zhang            CA                    authorizenet      USD             TVPAD-004           259                10            1      249
TVP-14011031   January             1/3/2014   complete   Gong              Zhang           CA                   Gong              Zhang            CA                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011032   January             1/3/2014   complete   Dennis            Kwok            GB                   Dennis            Kwok             GB                    authorizenet      GBP             TVPAD-004           259                10            1      249
TVP-14011032   January             1/3/2014   complete   Dennis            Kwok            GB                   Dennis            Kwok             GB                    authorizenet      GBP             HGIFT2                 0                0            1         0
TVP-14011032   January             1/3/2014   complete   Dennis            Kwok            GB                   Dennis            Kwok             GB                    authorizenet      GBP             HGIFT1                 0                0            1         0
TVP-14011033   January             1/3/2014   complete   NATHALIE          SOS             CA                   NATHALIE          SOS              CA                    authorizenet      USD             TVPAD-004           259                10            1      249
TVP-14011033   January             1/3/2014   complete   NATHALIE          SOS             CA                   NATHALIE          SOS              CA                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011033   January             1/3/2014   complete   NATHALIE          SOS             CA                   NATHALIE          SOS              CA                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011034   January             1/3/2014   complete   Lan               Duong           SE                   Lan               Duong            SE                    authorizenet      USD             TVPAD-004           250                15            2      485
TVP-14011034   January             1/3/2014   complete   Lan               Duong           SE                   Lan               Duong            SE                    authorizenet      USD             HGIFT2                 0                0            2         0
TVP-14011034   January             1/3/2014   complete   Lan               Duong           SE                   Lan               Duong            SE                    authorizenet      USD             HGIFT1                 0                0            2         0
TVP-14011035   January             1/3/2014   complete   Jaime             Vega            US                   Jaime             Vega             US                    authorizenet      USD             TVPAD-004           259                10            1      249
TVP-14011035   January             1/3/2014   complete   Jaime             Vega            US                   Jaime             Vega             US                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011035   January             1/3/2014   complete   Jaime             Vega            US                   Jaime             Vega             US                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011037   January             1/3/2014   complete   Weiping           Shao            US                   Weiping           Shao             US                    authorizenet      USD             TVPAD-004           259                10            1      249
TVP-14011037   January             1/3/2014   complete   Weiping           Shao            US                   Weiping           Shao             US                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011037   January             1/3/2014   complete   Weiping           Shao            US                   Weiping           Shao             US                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011038   January             1/3/2014   complete   Amy               Chiu            US                   Amy               Chiu             US                    authorizenet      USD             TVPAD-004           259                20            1      239
TVP-14011038   January             1/3/2014   complete   Amy               Chiu            US                   Amy               Chiu             US                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011038   January             1/3/2014   complete   Amy               Chiu            US                   Amy               Chiu             US                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011039   January             1/3/2014   complete   Lynn              Tsai            US                   Lynn              Tsai             US                    authorizenet      USD             TVPAD-004           259                20            1      239
TVP-14011039   January             1/3/2014   complete   Lynn              Tsai            US                   Lynn              Tsai             US                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011039   January             1/3/2014   complete   Lynn              Tsai            US                   Lynn              Tsai             US                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011040   January             1/3/2014   complete   Thuc              Thai            US                   Thuc              Thai             US                    authorizenet      USD             TVPAD-004           259                10            1      249
TVP-14011040   January             1/3/2014   complete   Thuc              Thai            US                   Thuc              Thai             US                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011040   January             1/3/2014   complete   Thuc              Thai            US                   Thuc              Thai             US                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011041   January             1/3/2014   complete   Matthew           Tam             CA                   Matthew           Tam              CA                    paypal_standard   CAD             TVPAD-004           259                10            1      249
TVP-14011041   January             1/3/2014   complete   Matthew           Tam             CA                   Matthew           Tam              CA                    paypal_standard   CAD             HGIFT2                 0                0            1         0
TVP-14011041   January             1/3/2014   complete   Matthew           Tam             CA                   Matthew           Tam              CA                    paypal_standard   CAD             HGIFT1                 0                0            1         0
TVP-14011042   January             1/3/2014   complete   BingHoong         LIM             AU                   BingHoong         LIM              AU                    paypal_standard   AUD             TVPAD-004           259                10            1      249
TVP-14011042   January             1/3/2014   complete   BingHoong         LIM             AU                   BingHoong         LIM              AU                    paypal_standard   AUD             HGIFT2                 0                0            1         0
TVP-14011042   January             1/3/2014   complete   BingHoong         LIM             AU                   BingHoong         LIM              AU                    paypal_standard   AUD             HGIFT1                 0                0            1         0
TVP-14011043   January             1/3/2014   complete   Jack              Ho              US                   Jack              Ho               US                    paypal_standard   USD             TVPAD-004           259                10            1      249
TVP-14011043   January             1/3/2014   complete   Jack              Ho              US                   Jack              Ho               US                    paypal_standard   USD             HGIFT2                 0                0            1         0
TVP-14011043   January             1/3/2014   complete   Jack              Ho              US                   Jack              Ho               US                    paypal_standard   USD             HGIFT1                 0                0            1         0
TVP-14011045   January             1/3/2014   complete   Sang              Kaing           AU                   Sang              Kaing            AU                    authorizenet      AUD             TVPAD-004           259                10            1      249
TVP-14011045   January             1/3/2014   complete   Sang              Kaing           AU                   Sang              Kaing            AU                    authorizenet      AUD             HGIFT2                 0                0            1         0
TVP-14011045   January             1/3/2014   complete   Sang              Kaing           AU                   Sang              Kaing            AU                    authorizenet      AUD             HGIFT1                 0                0            1         0
TVP-14011046   January             1/3/2014   complete   Pei-Lin           Ho              CA                   Pei-Lin           Ho               CA                    authorizenet      CAD             TVPAD-004           259                10            1      249
TVP-14011046   January             1/3/2014   complete   Pei-Lin           Ho              CA                   Pei-Lin           Ho               CA                    authorizenet      CAD             HGIFT2                 0                0            1         0
TVP-14011046   January             1/3/2014   complete   Pei-Lin           Ho              CA                   Pei-Lin           Ho               CA                    authorizenet      CAD             HGIFT1                 0                0            1         0
TVP-14011047   January             1/3/2014   complete   Holly             Ng              US                   Holly             Ng               US                    authorizenet      USD             TVPAD-004           259                10            1      249
TVP-14011047   January             1/3/2014   complete   Holly             Ng              US                   Holly             Ng               US                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011047   January             1/3/2014   complete   Holly             Ng              US                   Holly             Ng               US                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011048   January             1/3/2014   complete   jae               oh              CA                   jae               oh               CA                    authorizenet      USD             TVPAD-004           259                10            1       249
TVP-14011048   January             1/3/2014   complete   jae               oh              CA                   jae               oh               CA                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011048   January             1/3/2014   complete   jae               oh              CA                   jae               oh               CA                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011049   January             1/3/2014   complete   Hector            Wong            NZ                   Hector            Wong             NZ                    authorizenet      USD             TVPAD-004           259                10            1      249
TVP-14011049   January             1/3/2014   complete   Hector            Wong            NZ                   Hector            Wong             NZ                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011049   January             1/3/2014   complete   Hector            Wong            NZ                   Hector            Wong             NZ                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-70011087   January             1/3/2014   complete   Dan               WANG            NZ                   Dan               WANG             NZ                    authorizenet      USD             TVPAD-004           259                10            1      249
TVP-70011087   January             1/3/2014   complete   Dan               WANG            NZ                   Dan               WANG             NZ                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-70011087   January             1/3/2014   complete   Dan               WANG            NZ                   Dan               WANG             NZ                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011050   January             1/3/2014   complete   Bainian           Chen            US                   Bainian           Chen             US                    authorizenet      USD             TVPAD-004           259                20            1      239
TVP-14011050   January             1/3/2014   complete   Bainian           Chen            US                   Bainian           Chen             US                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011050   January             1/3/2014   complete   Bainian           Chen            US                   Bainian           Chen             US                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011051   January             1/3/2014   complete   Katina            Wong            US                   Katina            Wong             US                    authorizenet      USD             TVPAD-004           259                10            1      249
TVP-14011051   January             1/3/2014   complete   Katina            Wong            US                   Katina            Wong             US                    authorizenet      USD             HGIFT2                 0                0            1         0
TVP-14011051   January             1/3/2014   complete   Katina            Wong            US                   Katina            Wong             US                    authorizenet      USD             HGIFT1                 0                0            1         0
TVP-14011052   January             1/3/2014   complete   Fan               Wu              AU                   Fan               Wu               AU                    paypal_standard   USD             TVPAD-004           259                10            1       249
TVP-14011052   January             1/3/2014   complete   Fan               Wu              AU                   Fan               Wu               AU                    paypal_standard   USD             HGIFT2                 0                0            1         0
TVP-14011052   January             1/3/2014   complete   Fan               Wu              AU                   Fan               Wu               AU                    paypal_standard   USD             HGIFT1                 0                0            1         0
TVP-14011053   January             1/3/2014   complete   Stanley           Liu             US                   Vincent           Liu              CA                    paypal_standard   USD             TVPAD-004           259                10            1       249
TVP-14011053   January             1/3/2014   complete   Stanley           Liu             US                   Vincent           Liu              CA                    paypal_standard   USD             HGIFT2                 0                0            1         0
TVP-14011053   January             1/3/2014   complete   Stanley           Liu             US                   Vincent           Liu              CA                    paypal_standard   USD             HGIFT1                 0                0            1         0
TVP-14011054   January             1/3/2014   complete   Jin               Ma              DK                   Xiuru             Gao              DK                    paypal_standard   USD             TVPAD-004           259                10            1      249
TVP-14011054   January             1/3/2014   complete   Jin               Ma              DK                   Xiuru             Gao              DK                    paypal_standard   USD             HGIFT2                 0                0            1         0
TVP-14011054   January             1/3/2014   complete   Jin               Ma              DK                   Xiuru             Gao              DK                    paypal_standard   USD             HGIFT1                 0                0            1         0
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                                   #:20439
TVP-14011055   January    1/5/2014   complete   Duc         Chu            GB   Duc         Chu            GB   authorizenet      GBP   TVPAD-004       259      10   1     249
TVP-14011055   January    1/5/2014   complete   Duc         Chu            GB   Duc         Chu            GB   authorizenet      GBP   HGIFT2             0      0   1        0
TVP-14011055   January    1/5/2014   complete   Duc         Chu            GB   Duc         Chu            GB   authorizenet      GBP   HGIFT1             0      0   1        0
TVP-14011056   January    1/5/2014   complete   Kuen        Wong           BE   Kuen        Wong           BE   authorizenet      EUR   TVPAD-004       259      10   1     249
TVP-14011056   January    1/5/2014   complete   Kuen        Wong           BE   Kuen        Wong           BE   authorizenet      EUR   HGIFT2             0      0   1        0
TVP-14011056   January    1/5/2014   complete   Kuen        Wong           BE   Kuen        Wong           BE   authorizenet      EUR   HGIFT1             0      0   1        0
TVP-14011057   January    1/5/2014   complete   B           Connors        US   Fay         Connors        US   authorizenet      USD   TVPAD-004       259      10   1     249
TVP-14011057   January    1/5/2014   complete   B           Connors        US   Fay         Connors        US   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011057   January    1/5/2014   complete   B           Connors        US   Fay         Connors        US   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011058   January    1/5/2014   complete   Hiu         Yau            US   Hiu         Yau            US   authorizenet      USD   TVPAD-004       259      10   1     249
TVP-14011058   January    1/5/2014   complete   Hiu         Yau            US   Hiu         Yau            US   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011059   January    1/5/2014   complete   Marc        Krones         US   Doris       Hsieh          US   authorizenet      USD   TVPAD-004       259      10   1     249
TVP-14011059   January    1/5/2014   complete   Marc        Krones         US   Doris       Hsieh          US   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011059   January    1/5/2014   complete   Marc        Krones         US   Doris       Hsieh          US   authorizenet      USD   HGIFT1             0      0   1        0
TVP-70011088   January    1/5/2014   complete   Jin         Liu            US   Jin         Liu            US   authorizenet      USD   TVPAD-004       259    8.96   1   250.04
TVP-70011088   January    1/5/2014   complete   Jin         Liu            US   Jin         Liu            US   authorizenet      USD   HGIFT2         29.99   1.04   1    28.95
TVP-70011088   January    1/5/2014   complete   Jin         Liu            US   Jin         Liu            US   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011060   January    1/5/2014   complete   Mon         Tang           CA   Mon         Tang           CA   authorizenet      USD   TVPAD-004       259      10   1     249
TVP-14011060   January    1/5/2014   complete   Mon         Tang           CA   Mon         Tang           CA   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011060   January    1/5/2014   complete   Mon         Tang           CA   Mon         Tang           CA   authorizenet      USD   HGIFT1             0      0   1        0
TVP-70011089   January    1/5/2014   complete   Chi         Yip            DK   Chi         Yip            DK   authorizenet      USD   TVPAD-004       250      10   2     490
TVP-70011089   January    1/5/2014   complete   Chi         Yip            DK   Chi         Yip            DK   authorizenet      USD   HGIFT2             0      0   2        0
TVP-70011089   January    1/5/2014   complete   Chi         Yip            DK   Chi         Yip            DK   authorizenet      USD   HGIFT1             0      0   2        0
TVP-14011061   January    1/5/2014   complete   Boum        Kim            US   Boum        Kim            US   authorizenet      USD   TVPAD-004       250      10   2     490
TVP-14011061   January    1/5/2014   complete   Boum        Kim            US   Boum        Kim            US   authorizenet      USD   HGIFT2             0      0   2        0
TVP-14011061   January    1/5/2014   complete   Boum        Kim            US   Boum        Kim            US   authorizenet      USD   HGIFT1             0      0   2        0
TVP-70011090   January    1/5/2014   complete   wei         wang           NZ   wei         wang           NZ   authorizenet      USD   TVPAD-004       259      10   1     249
TVP-70011090   January    1/5/2014   complete   wei         wang           NZ   wei         wang           NZ   authorizenet      USD   HGIFT2             0      0   1        0
TVP-70011090   January    1/5/2014   complete   wei         wang           NZ   wei         wang           NZ   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011062   January    1/5/2014   complete   RAN         NIE            US   RAN         NIE            US   authorizenet      USD   TVPAD-004       259      20   1     239
TVP-14011062   January    1/5/2014   complete   RAN         NIE            US   RAN         NIE            US   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011062   January    1/5/2014   complete   RAN         NIE            US   RAN         NIE            US   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011063   January    1/5/2014   complete   Thomas      Tsui           NZ   Thomas      Tsui           NZ   authorizenet      USD   TVPAD-004       259      10   1     249
TVP-14011063   January    1/5/2014   complete   Thomas      Tsui           NZ   Thomas      Tsui           NZ   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011063   January    1/5/2014   complete   Thomas      Tsui           NZ   Thomas      Tsui           NZ   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011064   January    1/5/2014   complete   Thomas      Hoang          US   Thomas      Hoang          US   authorizenet      USD   TVPAD-004       259      10   1     249
TVP-14011064   January    1/5/2014   complete   Thomas      Hoang          US   Thomas      Hoang          US   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011064   January    1/5/2014   complete   Thomas      Hoang          US   Thomas      Hoang          US   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011065   January    1/4/2014   complete   saiming     chan           US   saiming     chan           US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14011065   January    1/4/2014   complete   saiming     chan           US   saiming     chan           US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14011065   January    1/4/2014   complete   saiming     chan           US   saiming     chan           US   paypal_standard   USD   HGIFT1             0      0   1        0
TVP-14011066   January    1/5/2014   complete   jason       chai           AU   jason       chai           AU   authorizenet      USD   TVPAD-004       259      10   1     249
TVP-14011066   January    1/5/2014   complete   jason       chai           AU   jason       chai           AU   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011066   January    1/5/2014   complete   jason       chai           AU   jason       chai           AU   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011067   January    1/5/2014   complete   Toru        Matsui         AU   Toru        Matsui         AU   authorizenet      USD   TVPAD-AC-001   15.99      0   1    15.99
TVP-14011068   January    1/5/2014   complete   John        Low            AU   John        Low            AU   authorizenet      USD   TVPAD-004       259      20   1     239
TVP-14011068   January    1/5/2014   complete   John        Low            AU   John        Low            AU   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011068   January    1/5/2014   complete   John        Low            AU   John        Low            AU   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011069   January    1/5/2014   complete   Joanne      lim            AU   Joanne      lim            AU   authorizenet      AUD   TVPAD-004       259      10   1     249
TVP-14011069   January    1/5/2014   complete   Joanne      lim            AU   Joanne      lim            AU   authorizenet      AUD   HGIFT2             0      0   1        0
TVP-14011069   January    1/5/2014   complete   Joanne      lim            AU   Joanne      lim            AU   authorizenet      AUD   HGIFT1             0      0   1        0
TVP-14011070   January    1/4/2014   complete   David       Lee            AU   David       Lee            AU   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14011070   January    1/4/2014   complete   David       Lee            AU   David       Lee            AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14011070   January    1/4/2014   complete   David       Lee            AU   David       Lee            AU   paypal_standard   USD   HGIFT1             0      0   1        0
TVP-14011071   January    1/4/2014   complete   Lawrence    Choi           US   Lawrence    Choi           US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14011071   January    1/4/2014   complete   Lawrence    Choi           US   Lawrence    Choi           US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14011071   January    1/4/2014   complete   Lawrence    Choi           US   Lawrence    Choi           US   paypal_standard   USD   HGIFT1             0      0   1        0
TVP-14011072   January    1/5/2014   complete   Mai         Sueno          AU   Mai         Sueno          AU   authorizenet      USD   TVPAD-004       259      10   1      249
TVP-14011072   January    1/5/2014   complete   Mai         Sueno          AU   Mai         Sueno          AU   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011072   January    1/5/2014   complete   Mai         Sueno          AU   Mai         Sueno          AU   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011073   January    1/5/2014   complete   Elin        Vuong          SE   Elin        Vuong          SE   authorizenet      USD   TVPAD-004       259      10   1     249
TVP-14011073   January    1/5/2014   complete   Elin        Vuong          SE   Elin        Vuong          SE   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011073   January    1/5/2014   complete   Elin        Vuong          SE   Elin        Vuong          SE   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011074   January    1/5/2014   complete   Hu Yue      Song           CA   Hu          Song           CA   authorizenet      CAD   TVPAD-004       259      10   1     249
TVP-14011074   January    1/5/2014   complete   Hu Yue      Song           CA   Hu          Song           CA   authorizenet      CAD   HGIFT2             0      0   1        0
TVP-14011074   January    1/5/2014   complete   Hu Yue      Song           CA   Hu          Song           CA   authorizenet      CAD   HGIFT1             0      0   1        0
TVP-14011075   January    1/4/2014   complete   Pak         Tang           LU   Pak         Tang           LU   paypal_standard   USD   TVPAD-AC-004   15.99      0   1    15.99
TVP-14011076   January    1/5/2014   complete   Kaling      Tang           AT   Kaling      Tang           AT   authorizenet      USD   TVPAD-004       259      10   1     249
TVP-14011076   January    1/5/2014   complete   Kaling      Tang           AT   Kaling      Tang           AT   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011076   January    1/5/2014   complete   Kaling      Tang           AT   Kaling      Tang           AT   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011077   January   1/15/2014   complete   Michael     Chu            US   Michael     Chu            US   authorizenet      USD   TVPAD-AC-001   15.99      0   1    15.99
TVP-14011078   January    1/5/2014   complete   Sooi        Wong           NZ   Sooi        Wong           NZ   authorizenet      USD   TVPAD-004       259      10   1      249
TVP-14011078   January    1/5/2014   complete   Sooi        Wong           NZ   Sooi        Wong           NZ   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011078   January    1/5/2014   complete   Sooi        Wong           NZ   Sooi        Wong           NZ   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011079   January    1/5/2014   complete   Kwun-Ping   Tang           GB   Kwun-Ping   Tang           GB   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14011079   January    1/5/2014   complete   Kwun-Ping   Tang           GB   Kwun-Ping   Tang           GB   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14011079   January    1/5/2014   complete   Kwun-Ping   Tang           GB   Kwun-Ping   Tang           GB   paypal_standard   USD   HGIFT1             0      0   1        0
TVP-14011081   January    1/5/2014   complete   Daniel      Yu             US   Daniel      Yu             US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14011081   January    1/5/2014   complete   Daniel      Yu             US   Daniel      Yu             US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14011081   January    1/5/2014   complete   Daniel      Yu             US   Daniel      Yu             US   paypal_standard   USD   HGIFT1             0      0   1        0
TVP-14011082   January    1/5/2014   complete   Hanmin      Cho            US   Hanmin      Cho            US   authorizenet      USD   TVPAD-004       259      20   1     239
TVP-14011082   January    1/5/2014   complete   Hanmin      Cho            US   Hanmin      Cho            US   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011082   January    1/5/2014   complete   Hanmin      Cho            US   Hanmin      Cho            US   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011083   January    1/5/2014   complete   Nim         Yung           US   Nim         Yung           US   authorizenet      USD   TVPAD-004       259      10   1     249
TVP-14011083   January    1/5/2014   complete   Nim         Yung           US   Nim         Yung           US   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011083   January    1/5/2014   complete   Nim         Yung           US   Nim         Yung           US   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011084   January    1/5/2014   complete   Kin         Yung           US   Kin         Yung           US   authorizenet      USD   TVPAD-004       259      10   1     249
TVP-14011084   January    1/5/2014   complete   Kin         Yung           US   Kin         Yung           US   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011084   January    1/5/2014   complete   Kin         Yung           US   Kin         Yung           US   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011085   January    1/6/2014   complete   novita      sutjipto       US   novita      sutjipto       US   authorizenet      USD   TVPAD-004       259      10   1     249
TVP-14011086   January    1/5/2014   complete   Liting      Pan            US   Liting      Pan            US   authorizenet      USD   TVPAD-004       259      10   1     249
TVP-14011086   January    1/5/2014   complete   Liting      Pan            US   Liting      Pan            US   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011086   January    1/5/2014   complete   Liting      Pan            US   Liting      Pan            US   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011087   January    1/5/2014   complete   Scott       Shodai         US   Scott       Shodai         US   authorizenet      USD   TVPAD-AC-001   15.99   0.58   1    15.41
TVP-14011087   January    1/5/2014   complete   Scott       Shodai         US   Scott       Shodai         US   authorizenet      USD   TVPAD-004       259    9.42   1   249.58
TVP-14011087   January    1/5/2014   complete   Scott       Shodai         US   Scott       Shodai         US   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011087   January    1/5/2014   complete   Scott       Shodai         US   Scott       Shodai         US   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011088   January    1/5/2014   complete   Chow        YEOH           MY   Chow        YEOH           MY   authorizenet      USD   TVPAD-004       259      10   1     249
TVP-14011088   January    1/5/2014   complete   Chow        YEOH           MY   Chow        YEOH           MY   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011088   January    1/5/2014   complete   Chow        YEOH           MY   Chow        YEOH           MY   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011089   January    1/5/2014   complete   Tim         Wong           CA   Tim         Wong           CA   authorizenet      USD   TVPAD-004        259     10   1      249
TVP-14011089   January    1/5/2014   complete   Tim         Wong           CA   Tim         Wong           CA   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011089   January    1/5/2014   complete   Tim         Wong           CA   Tim         Wong           CA   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011090   January    1/5/2014   complete   Yuhoon      Song           KR   Yuhoon      Song           KR   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14011090   January    1/5/2014   complete   Yuhoon      Song           KR   Yuhoon      Song           KR   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14011090   January    1/5/2014   complete   Yuhoon      Song           KR   Yuhoon      Song           KR   paypal_standard   USD   HGIFT1             0      0   1        0
TVP-14011092   January    1/5/2014   complete   Keiko       Hirata         AU   Keiko       Hirata         AU   authorizenet      AUD   TVPAD-004       259      20   1     239
TVP-14011092   January    1/5/2014   complete   Keiko       Hirata         AU   Keiko       Hirata         AU   authorizenet      AUD   HGIFT2             0      0   1        0
TVP-14011092   January    1/5/2014   complete   Keiko       Hirata         AU   Keiko       Hirata         AU   authorizenet      AUD   HGIFT1             0      0   1        0
TVP-70011091   January    1/5/2014   complete   li          liu            US   li          liu            US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-70011091   January    1/5/2014   complete   li          liu            US   li          liu            US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-70011091   January    1/5/2014   complete   li          liu            US   li          liu            US   paypal_standard   USD   HGIFT1             0      0   1        0
TVP-14011093   January    1/5/2014   complete   Scott       chau           US   Scott       chau           US   authorizenet      USD   TVPAD-004        250     10   2      490
TVP-14011093   January    1/5/2014   complete   Scott       chau           US   Scott       chau           US   authorizenet      USD   HGIFT2             0      0   2        0
TVP-14011093   January    1/5/2014   complete   Scott       chau           US   Scott       chau           US   authorizenet      USD   HGIFT1             0      0   2        0
TVP-14011094   January    1/5/2014   complete   zhe         lu             AU   Zhe         Lu             AU   paypal_standard   AUD   TVPAD-004        259     10   1      249
TVP-14011094   January    1/5/2014   complete   zhe         lu             AU   Zhe         Lu             AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14011094   January    1/5/2014   complete   zhe         lu             AU   Zhe         Lu             AU   paypal_standard   AUD   HGIFT1             0      0   1        0
TVP-70011092   January    1/5/2014   complete   Chi         Chen           US   Chi         Chen           US   authorizenet      USD   TVPAD-004        259     10   1      249
TVP-70011092   January    1/5/2014   complete   Chi         Chen           US   Chi         Chen           US   authorizenet      USD   HGIFT2             0      0   1        0
TVP-70011092   January    1/5/2014   complete   Chi         Chen           US   Chi         Chen           US   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011095   January    1/5/2014   complete   XIAODONG    WANG           AU   XIAODONG    WANG           AU   authorizenet      AUD   TVPAD-004       259      10   1     249
TVP-14011095   January    1/5/2014   complete   XIAODONG    WANG           AU   XIAODONG    WANG           AU   authorizenet      AUD   HGIFT2             0      0   1        0
TVP-14011095   January    1/5/2014   complete   XIAODONG    WANG           AU   XIAODONG    WANG           AU   authorizenet      AUD   HGIFT1             0      0   1        0
TVP-14011096   January    1/5/2014   complete   San         Vuong          CA   San         Vuong          CA   authorizenet      CAD   TVPAD-004        259     10   1      249
TVP-14011096   January    1/5/2014   complete   San         Vuong          CA   San         Vuong          CA   authorizenet      CAD   HGIFT2             0      0   1        0
TVP-14011096   January    1/5/2014   complete   San         Vuong          CA   San         Vuong          CA   authorizenet      CAD   HGIFT1             0      0   1        0
TVP-14011097   January    1/5/2014   closed     Andrew      Seeto          AU   Andrew      Seeto          AU   paypal_standard   USD   HGIFT2         29.99      0   1    29.99
TVP-14011098   January    1/5/2014   complete   Eirini      Konstantinou   CY   Eirini      Konstantinou   CY   paypal_standard   USD   TVPAD-006        366     10   2      722
TVP-14011098   January    1/5/2014   complete   Eirini      Konstantinou   CY   Eirini      Konstantinou   CY   paypal_standard   USD   TVPAD-GM-002       0      0   4        0
TVP-14011098   January    1/5/2014   complete   Eirini      Konstantinou   CY   Eirini      Konstantinou   CY   paypal_standard   USD   HGIFT2             0      0   2        0
TVP-14011098   January    1/5/2014   complete   Eirini      Konstantinou   CY   Eirini      Konstantinou   CY   paypal_standard   USD   HGIFT1             0      0   2        0
TVP-70011093   January    1/5/2014   complete   Roy         Zhu            NZ   Roy         Zhu            NZ   authorizenet      USD   TVPAD-004        259     10   1      249
TVP-70011093   January    1/5/2014   complete   Roy         Zhu            NZ   Roy         Zhu            NZ   authorizenet      USD   HGIFT2             0      0   1        0
TVP-70011093   January    1/5/2014   complete   Roy         Zhu            NZ   Roy         Zhu            NZ   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011099   January    1/5/2014   complete   Yew Kuen    Ng             SG   Yew         Ng             SG   authorizenet      USD   TVPAD-004        259     10   1      249
TVP-14011099   January    1/5/2014   complete   Yew Kuen    Ng             SG   Yew         Ng             SG   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011099   January    1/5/2014   complete   Yew Kuen    Ng             SG   Yew         Ng             SG   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011100   January    1/5/2014   complete   Ka          Pat            NO   Ka          Pat            NO   authorizenet      USD   TVPAD-004        259     10   1      249
TVP-14011100   January    1/5/2014   complete   Ka          Pat            NO   Ka          Pat            NO   authorizenet      USD   HGIFT2             0      0   1        0
TVP-14011100   January    1/5/2014   complete   Ka          Pat            NO   Ka          Pat            NO   authorizenet      USD   HGIFT1             0      0   1        0
TVP-14011102   January    1/5/2014   complete   PHILIPPE    LAW-YEN        RE   PHILIPPE    LAW-YEN        RE   paypal_standard   EUR   TVPAD-004       259      10   1     249
TVP-14011102   January    1/5/2014   complete   PHILIPPE    LAW-YEN        RE   PHILIPPE    LAW-YEN        RE   paypal_standard   EUR   HGIFT2             0      0   1        0
TVP-14011102   January    1/5/2014   complete   PHILIPPE    LAW-YEN        RE   PHILIPPE    LAW-YEN        RE   paypal_standard   EUR   HGIFT1             0      0   1        0
TVP-14011103   January    1/5/2014   complete   John        Kim            AU   John        Kim            AU   authorizenet      USD   TVPAD-004        259     10   1      249
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TVP-14011103   January    1/5/2014   complete   John       Kim         AU   John       Kim        AU   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011103   January    1/5/2014   complete   John       Kim         AU   John       Kim        AU   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011104   January    1/5/2014   complete   TJON       FELIX       GF   TJON       FELIX      GF   paypal_standard   USD   TVPAD-004      259     10   1      249
TVP-14011104   January    1/5/2014   complete   TJON       FELIX       GF   TJON       FELIX      GF   paypal_standard   USD   HGIFT2           0      0   1         0
TVP-14011104   January    1/5/2014   complete   TJON       FELIX       GF   TJON       FELIX      GF   paypal_standard   USD   HGIFT1           0      0   1         0
TVP-14011105   January    1/5/2014   complete   RICHARD    HO          GF   RICHARD    HO         GF   authorizenet      EUR   TVPAD-004      245   9.55   5   1215.45
TVP-14011105   January    1/5/2014   complete   RICHARD    HO          GF   RICHARD    HO         GF   authorizenet      EUR   TVPAD-GM-002    58   0.45   1     57.55
TVP-14011105   January    1/5/2014   complete   RICHARD    HO          GF   RICHARD    HO         GF   authorizenet      EUR   HGIFT2           0      0   5         0
TVP-14011105   January    1/5/2014   complete   RICHARD    HO          GF   RICHARD    HO         GF   authorizenet      EUR   HGIFT1           0      0   5         0
TVP-14011106   January    1/6/2014   complete   Linda      Ratzemore   AU   Patrick    Uong       AU   authorizenet      USD   TVPAD-004      259     10   1      249
TVP-14011106   January    1/6/2014   complete   Linda      Ratzemore   AU   Patrick    Uong       AU   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011106   January    1/6/2014   complete   Linda      Ratzemore   AU   Patrick    Uong       AU   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011107   January    1/6/2014   complete   REBECCA    TANG        GB   Richard    Tang       GB   authorizenet      GBP   TVPAD-004      250     10   3      740
TVP-14011107   January    1/6/2014   complete   REBECCA    TANG        GB   Richard    Tang       GB   authorizenet      GBP   HGIFT2           0      0   3         0
TVP-14011107   January    1/6/2014   complete   REBECCA    TANG        GB   Richard    Tang       GB   authorizenet      GBP   HGIFT1           0      0   3         0
TVP-14011108   January    1/6/2014   complete   Chunyan    Xie         NO   Chunyan    Xie        NO   authorizenet      USD   TVPAD-004      259     10   1      249
TVP-14011108   January    1/6/2014   complete   Chunyan    Xie         NO   Chunyan    Xie        NO   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011108   January    1/6/2014   complete   Chunyan    Xie         NO   Chunyan    Xie        NO   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011109   January    1/6/2014   complete   Kwok       Lam         DK   Kwok       Lam        DK   authorizenet      USD   TVPAD-004      259     10   1      249
TVP-14011109   January    1/6/2014   complete   Kwok       Lam         DK   Kwok       Lam        DK   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011109   January    1/6/2014   complete   Kwok       Lam         DK   Kwok       Lam        DK   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011110   January    1/6/2014   complete   Alain      Sithisak    FR   Alain      Sithisak   FR   paypal_standard   EUR   TVPAD-004      259     10   1      249
TVP-14011110   January    1/6/2014   complete   Alain      Sithisak    FR   Alain      Sithisak   FR   paypal_standard   EUR   HGIFT2           0      0   1         0
TVP-14011110   January    1/6/2014   complete   Alain      Sithisak    FR   Alain      Sithisak   FR   paypal_standard   EUR   HGIFT1           0      0   1         0
TVP-14011111   January    1/6/2014   complete   Win        Hau         NL   Win        Hau        NL   authorizenet      USD   TVPAD-004      259     10   1      249
TVP-14011111   January    1/6/2014   complete   Win        Hau         NL   Win        Hau        NL   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011111   January    1/6/2014   complete   Win        Hau         NL   Win        Hau        NL   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011113   January    1/6/2014   complete   Kenneth    Mao         US   Kenneth    Mao        US   authorizenet      USD   TVPAD-004      259     10   1      249
TVP-14011113   January    1/6/2014   complete   Kenneth    Mao         US   Kenneth    Mao        US   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011113   January    1/6/2014   complete   Kenneth    Mao         US   Kenneth    Mao        US   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011114   January    1/6/2014   complete   Andrew     Chan        GB   Andrew     Chan       GB   paypal_standard   GBP   TVPAD-004      259     10   1      249
TVP-14011114   January    1/6/2014   complete   Andrew     Chan        GB   Andrew     Chan       GB   paypal_standard   GBP   HGIFT2           0      0   1         0
TVP-14011114   January    1/6/2014   complete   Andrew     Chan        GB   Andrew     Chan       GB   paypal_standard   GBP   HGIFT1           0      0   1         0
TVP-70011094   January    1/6/2014   complete   Leo        Lee         US   Leo        Lee        US   authorizenet      USD   TVPAD-004      259     10   1      249
TVP-70011094   January    1/6/2014   complete   Leo        Lee         US   Leo        Lee        US   authorizenet      USD   HGIFT2           0      0   1         0
TVP-70011094   January    1/6/2014   complete   Leo        Lee         US   Leo        Lee        US   authorizenet      USD   HGIFT1           0      0   1         0
TVP-70011095   January    1/6/2014   complete   yao        Lu          US   yao        Lu         US   authorizenet      USD   TVPAD-004      259     10   1       249
TVP-70011095   January    1/6/2014   complete   yao        Lu          US   yao        Lu         US   authorizenet      USD   HGIFT2           0      0   1         0
TVP-70011095   January    1/6/2014   complete   yao        Lu          US   yao        Lu         US   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011115   January    1/6/2014   complete   Gabriel    Wong        CA   Gabriel    Wong       CA   authorizenet      USD   TVPAD-004      259     10   1       249
TVP-14011115   January    1/6/2014   complete   Gabriel    Wong        CA   Gabriel    Wong       CA   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011115   January    1/6/2014   complete   Gabriel    Wong        CA   Gabriel    Wong       CA   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011116   January    1/6/2014   complete   Lucy       Dong        AU   Lucy       Dong       AU   paypal_standard   USD   TVPAD-004      259     15   1      244
TVP-14011116   January    1/6/2014   complete   Lucy       Dong        AU   Lucy       Dong       AU   paypal_standard   USD   HGIFT2           0      0   1         0
TVP-14011116   January    1/6/2014   complete   Lucy       Dong        AU   Lucy       Dong       AU   paypal_standard   USD   HGIFT1           0      0   1         0
TVP-14011117   January    1/6/2014   complete   david      yap         US   david      yap        US   authorizenet      USD   TVPAD-004      259     10   1      249
TVP-14011117   January    1/6/2014   complete   david      yap         US   david      yap        US   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011117   January    1/6/2014   complete   david      yap         US   david      yap        US   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011118   January    1/6/2014   complete   Michael    Tsang       US   Michael    Tsang      US   paypal_standard   USD   TVPAD-004      259     15   1      244
TVP-14011118   January    1/6/2014   complete   Michael    Tsang       US   Michael    Tsang      US   paypal_standard   USD   HGIFT2           0      0   1         0
TVP-14011118   January    1/6/2014   complete   Michael    Tsang       US   Michael    Tsang      US   paypal_standard   USD   HGIFT1           0      0   1         0
TVP-14011119   January    1/6/2014   complete   WING       YUEN        US   WING       YUEN       US   paypal_standard   USD   TVPAD-004      259     10   1      249
TVP-14011119   January    1/6/2014   complete   WING       YUEN        US   WING       YUEN       US   paypal_standard   USD   HGIFT2           0      0   1         0
TVP-14011119   January    1/6/2014   complete   WING       YUEN        US   WING       YUEN       US   paypal_standard   USD   HGIFT1           0      0   1         0
TVP-14011120   January    1/6/2014   complete   Angela     Zhu         AU   Angela     Zhu        AU   authorizenet      USD   TVPAD-004      259     20   1       239
TVP-14011120   January    1/6/2014   complete   Angela     Zhu         AU   Angela     Zhu        AU   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011120   January    1/6/2014   complete   Angela     Zhu         AU   Angela     Zhu        AU   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011121   January    1/6/2014   complete   Mieko      Goto        AU   Mieko      Goto       AU   authorizenet      AUD   TVPAD-004      259     10   1       249
TVP-14011121   January    1/6/2014   complete   Mieko      Goto        AU   Mieko      Goto       AU   authorizenet      AUD   HGIFT2           0      0   1         0
TVP-14011121   January    1/6/2014   complete   Mieko      Goto        AU   Mieko      Goto       AU   authorizenet      AUD   HGIFT1           0      0   1         0
TVP-70011096   January    1/6/2014   complete   dave       IP          GB   dave       IP         GB   paypal_standard   GBP   TVPAD-004      259     10   1      249
TVP-70011096   January    1/6/2014   complete   dave       IP          GB   dave       IP         GB   paypal_standard   GBP   HGIFT2           0      0   1         0
TVP-70011096   January    1/6/2014   complete   dave       IP          GB   dave       IP         GB   paypal_standard   GBP   HGIFT1           0      0   1         0
TVP-14011122   January    1/6/2014   complete   Hahn       Kim         US   Hahn       Kim        US   authorizenet      USD   TVPAD-004      259     20   1      239
TVP-14011122   January    1/6/2014   complete   Hahn       Kim         US   Hahn       Kim        US   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011122   January    1/6/2014   complete   Hahn       Kim         US   Hahn       Kim        US   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011123   January    1/6/2014   complete   Dip        Cong        BE   Dip        Cong       BE   paypal_standard   USD   TVPAD-004      259     10   1      249
TVP-14011123   January    1/6/2014   complete   Dip        Cong        BE   Dip        Cong       BE   paypal_standard   USD   HGIFT2           0      0   1         0
TVP-14011123   January    1/6/2014   complete   Dip        Cong        BE   Dip        Cong       BE   paypal_standard   USD   HGIFT1           0      0   1         0
TVP-14011124   January    1/6/2014   complete   chieu      hinh        US   chieu      hinh       US   authorizenet      USD   TVPAD-004      259     10   1       249
TVP-14011124   January    1/6/2014   complete   chieu      hinh        US   chieu      hinh       US   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011124   January    1/6/2014   complete   chieu      hinh        US   chieu      hinh       US   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011125   January    1/7/2014   complete   Chris      Man         GB   Chris      Man        GB   authorizenet      GBP   TVPAD-004      259     10   1       249
TVP-14011125   January    1/7/2014   complete   Chris      Man         GB   Chris      Man        GB   authorizenet      GBP   HGIFT2           0      0   1         0
TVP-14011125   January    1/7/2014   complete   Chris      Man         GB   Chris      Man        GB   authorizenet      GBP   HGIFT1           0      0   1         0
TVP-14011126   January    1/6/2014   complete   Dominic    Wan         GB   Dominic    Wan        GB   paypal_standard   GBP   TVPAD-004      259     10   1      249
TVP-14011126   January    1/6/2014   complete   Dominic    Wan         GB   Dominic    Wan        GB   paypal_standard   GBP   HGIFT2           0      0   1         0
TVP-14011126   January    1/6/2014   complete   Dominic    Wan         GB   Dominic    Wan        GB   paypal_standard   GBP   HGIFT1           0      0   1         0
TVP-14011127   January    1/7/2014   complete   Cliff      Wang        US   Cliff      Wang       US   authorizenet      USD   TVPAD-004      259     20   1       239
TVP-14011127   January    1/7/2014   complete   Cliff      Wang        US   Cliff      Wang       US   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011127   January    1/7/2014   complete   Cliff      Wang        US   Cliff      Wang       US   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011128   January    1/7/2014   complete   peter      wong        US   peter      wong       US   authorizenet      USD   TVPAD-004      259     10   1       249
TVP-14011128   January    1/7/2014   complete   peter      wong        US   peter      wong       US   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011128   January    1/7/2014   complete   peter      wong        US   peter      wong       US   authorizenet      USD   HGIFT1           0      0   1         0
TVP-70011097   January    1/7/2014   complete   Xiaoli     Liu         DE   Xiaoli     Liu        DE   authorizenet      EUR   TVPAD-004      259     10   1       249
TVP-70011097   January    1/7/2014   complete   Xiaoli     Liu         DE   Xiaoli     Liu        DE   authorizenet      EUR   HGIFT2           0      0   1         0
TVP-70011097   January    1/7/2014   complete   Xiaoli     Liu         DE   Xiaoli     Liu        DE   authorizenet      EUR   HGIFT1           0      0   1         0
TVP-14011129   January    1/7/2014   complete   Chen       Wu          NL   Chen       Wu         NL   authorizenet      EUR   TVPAD-004      259     10   1       249
TVP-14011129   January    1/7/2014   complete   Chen       Wu          NL   Chen       Wu         NL   authorizenet      EUR   HGIFT2           0      0   1         0
TVP-14011129   January    1/7/2014   complete   Chen       Wu          NL   Chen       Wu         NL   authorizenet      EUR   HGIFT1           0      0   1         0
TVP-14011130   January    1/7/2014   complete   Peter      Lam         HK   Peter      Lam        HK   authorizenet      USD   TVPAD-004      259     10   1      249
TVP-14011130   January    1/7/2014   complete   Peter      Lam         HK   Peter      Lam        HK   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011130   January    1/7/2014   complete   Peter      Lam         HK   Peter      Lam        HK   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011131   January   1/13/2014   complete   Jia        Zhang       GB   Jia        Zhang      GB   authorizenet      GBP   TVPAD-006      375     10   1      365
TVP-14011131   January   1/13/2014   complete   Jia        Zhang       GB   Jia        Zhang      GB   authorizenet      GBP   TVPAD-GM-002     0      0   2         0
TVP-14011131   January   1/13/2014   complete   Jia        Zhang       GB   Jia        Zhang      GB   authorizenet      GBP   HGIFT2           0      0   1         0
TVP-14011131   January   1/13/2014   complete   Jia        Zhang       GB   Jia        Zhang      GB   authorizenet      GBP   HGIFT1           0      0   1         0
TVP-14011132   January    1/8/2014   complete   Robert     Lia         NL   Robert     Lia        NL   authorizenet      USD   TVPAD-004      245     10   5     1215
TVP-14011132   January    1/8/2014   complete   Robert     Lia         NL   Robert     Lia        NL   authorizenet      USD   HGIFT2           0      0   5         0
TVP-14011132   January    1/8/2014   complete   Robert     Lia         NL   Robert     Lia        NL   authorizenet      USD   HGIFT1           0      0   5         0
TVP-14011133   January    1/7/2014   complete   Lapman     Sung        US   Lapman     Sung       US   authorizenet      USD   TVPAD-004      259     20   1       239
TVP-14011133   January    1/7/2014   complete   Lapman     Sung        US   Lapman     Sung       US   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011133   January    1/7/2014   complete   Lapman     Sung        US   Lapman     Sung       US   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011134   January    1/7/2014   complete   Quyen      Ly          NL   Quyen      Ly         NL   authorizenet      USD   TVPAD-004      259     10   1       249
TVP-14011134   January    1/7/2014   complete   Quyen      Ly          NL   Quyen      Ly         NL   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011134   January    1/7/2014   complete   Quyen      Ly          NL   Quyen      Ly         NL   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011135   January    1/7/2014   complete   Jian hui   Huang       AU   Jian       Huang      AU   paypal_standard   USD   TVPAD-004      259     10   1      249
TVP-14011135   January    1/7/2014   complete   Jian hui   Huang       AU   Jian       Huang      AU   paypal_standard   USD   HGIFT2           0      0   1         0
TVP-14011135   January    1/7/2014   complete   Jian hui   Huang       AU   Jian       Huang      AU   paypal_standard   USD   HGIFT1           0      0   1         0
TVP-14011136   January    1/7/2014   complete   Carrie     Peng        CA   Carrie     Peng       CA   authorizenet      CAD   TVPAD-004      259     10   1       249
TVP-14011136   January    1/7/2014   complete   Carrie     Peng        CA   Carrie     Peng       CA   authorizenet      CAD   HGIFT2           0      0   1         0
TVP-14011136   January    1/7/2014   complete   Carrie     Peng        CA   Carrie     Peng       CA   authorizenet      CAD   HGIFT1           0      0   1         0
TVP-70011098   January    1/7/2014   complete   Diane      Zhong       NZ   Diane      Zhong      NZ   authorizenet      USD   TVPAD-004      250     10   2       490
TVP-70011098   January    1/7/2014   complete   Diane      Zhong       NZ   Diane      Zhong      NZ   authorizenet      USD   HGIFT2           0      0   2         0
TVP-70011098   January    1/7/2014   complete   Diane      Zhong       NZ   Diane      Zhong      NZ   authorizenet      USD   HGIFT1           0      0   2         0
TVP-14011137   January    1/7/2014   complete   Jim        Zhou        NZ   Xianshao   Wen        NZ   authorizenet      USD   TVPAD-004      259     10   1       249
TVP-14011137   January    1/7/2014   complete   Jim        Zhou        NZ   Xianshao   Wen        NZ   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011137   January    1/7/2014   complete   Jim        Zhou        NZ   Xianshao   Wen        NZ   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011138   January    1/7/2014   complete   Shu        Liang       US   Shu        Liang      US   authorizenet      USD   TVPAD-004      250     15   2       485
TVP-14011138   January    1/7/2014   complete   Shu        Liang       US   Shu        Liang      US   authorizenet      USD   HGIFT2           0      0   2         0
TVP-14011138   January    1/7/2014   complete   Shu        Liang       US   Shu        Liang      US   authorizenet      USD   HGIFT1           0      0   2         0
TVP-14011139   January    1/7/2014   complete   John       Lee         US   John       Lee        US   paypal_standard   USD   TVPAD-004      259     20   1       239
TVP-14011139   January    1/7/2014   complete   John       Lee         US   John       Lee        US   paypal_standard   USD   HGIFT2           0      0   1         0
TVP-14011139   January    1/7/2014   complete   John       Lee         US   John       Lee        US   paypal_standard   USD   HGIFT1           0      0   1         0
TVP-14011140   January    1/7/2014   complete   Teresa     Hsieh       NZ   Teresa     Hsieh      NZ   authorizenet      USD   TVPAD-004      250     10   2       490
TVP-14011140   January    1/7/2014   complete   Teresa     Hsieh       NZ   Teresa     Hsieh      NZ   authorizenet      USD   HGIFT2           0      0   2         0
TVP-14011140   January    1/7/2014   complete   Teresa     Hsieh       NZ   Teresa     Hsieh      NZ   authorizenet      USD   HGIFT1           0      0   2         0
TVP-70011099   January    1/7/2014   complete   Xiaoe      Chen        US   Hongfei    Yu         US   authorizenet      USD   TVPAD-004      259     10   1       249
TVP-70011099   January    1/7/2014   complete   Xiaoe      Chen        US   Hongfei    Yu         US   authorizenet      USD   HGIFT2           0      0   1         0
TVP-70011099   January    1/7/2014   complete   Xiaoe      Chen        US   Hongfei    Yu         US   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011141   January    1/7/2014   complete   Erica      Chew        US   Erica      Chew       US   authorizenet      USD   TVPAD-004      250     10   2       490
TVP-14011141   January    1/7/2014   complete   Erica      Chew        US   Erica      Chew       US   authorizenet      USD   HGIFT2           0      0   2         0
TVP-14011141   January    1/7/2014   complete   Erica      Chew        US   Erica      Chew       US   authorizenet      USD   HGIFT1           0      0   2         0
TVP-14011142   January    1/7/2014   complete   Steven     Chen        AU   Steven     Chen       AU   authorizenet      USD   TVPAD-004      259     10   1       249
TVP-14011142   January    1/7/2014   complete   Steven     Chen        AU   Steven     Chen       AU   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011142   January    1/7/2014   complete   Steven     Chen        AU   Steven     Chen       AU   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011143   January    1/7/2014   complete   Justin     Lowe        US   Justin     Lowe       US   authorizenet      USD   TVPAD-004      259     10   1       249
TVP-14011143   January    1/7/2014   complete   Justin     Lowe        US   Justin     Lowe       US   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011143   January    1/7/2014   complete   Justin     Lowe        US   Justin     Lowe       US   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011144   January    1/7/2014   complete   Kenny      Tan         US   Kenny      Tan        US   authorizenet      USD   TVPAD-004      259     10   1       249
TVP-14011144   January    1/7/2014   complete   Kenny      Tan         US   Kenny      Tan        US   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011144   January    1/7/2014   complete   Kenny      Tan         US   Kenny      Tan        US   authorizenet      USD   HGIFT1           0      0   1         0
TVP-14011145   January    1/7/2014   complete   Vivian     Tang        AU   Vivian     Tang       AU   authorizenet      USD   TVPAD-004      259     10   1       249
TVP-14011145   January    1/7/2014   complete   Vivian     Tang        AU   Vivian     Tang       AU   authorizenet      USD   HGIFT2           0      0   1         0
TVP-14011145   January    1/7/2014   complete   Vivian     Tang        AU   Vivian     Tang       AU   authorizenet      USD   HGIFT1           0      0   1         0
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                                   #:20441
TVP-14011146   January    1/7/2014   complete   Jacky        Leung       CA   Jacky      Leung       CA   authorizenet      CAD   TVPAD-004       259       10   1     249
TVP-14011146   January    1/7/2014   complete   Jacky        Leung       CA   Jacky      Leung       CA   authorizenet      CAD   HGIFT2             0       0   1        0
TVP-14011146   January    1/7/2014   complete   Jacky        Leung       CA   Jacky      Leung       CA   authorizenet      CAD   HGIFT1             0       0   1        0
TVP-70011100   January    1/8/2014   complete   hong         wong        US   hong       wong        US   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-70011100   January    1/8/2014   complete   hong         wong        US   hong       wong        US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-70011100   January    1/8/2014   complete   hong         wong        US   hong       wong        US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011147   January    1/8/2014   complete   Qi           ma          US   Qi         ma          US   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011147   January    1/8/2014   complete   Qi           ma          US   Qi         ma          US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011147   January    1/8/2014   complete   Qi           ma          US   Qi         ma          US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011148   January    1/8/2014   complete   Tony         Yip         US   Tony       Yip         US   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011148   January    1/8/2014   complete   Tony         Yip         US   Tony       Yip         US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011148   January    1/8/2014   complete   Tony         Yip         US   Tony       Yip         US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011149   January    1/7/2014   canceled   Shuo         yang        AU   Shuo       yang        AU   paypal_standard   USD   TVPAD-AC-001   15.99       0   1    15.99
TVP-14011150   January    1/8/2014   complete   CHUNG        LO          GB   Ben        Lo          GB   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011150   January    1/8/2014   complete   CHUNG        LO          GB   Ben        Lo          GB   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011150   January    1/8/2014   complete   CHUNG        LO          GB   Ben        Lo          GB   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011151   January    1/8/2014   complete   Oi           Tang        IE   Irene      Tang        IE   authorizenet      EUR   TVPAD-004       250       10   2     490
TVP-14011151   January    1/8/2014   complete   Oi           Tang        IE   Irene      Tang        IE   authorizenet      EUR   HGIFT2             0       0   2        0
TVP-14011151   January    1/8/2014   complete   Oi           Tang        IE   Irene      Tang        IE   authorizenet      EUR   HGIFT1             0       0   2        0
TVP-14011152   January    1/8/2014   complete   Ngai         Cheung      NZ   Ngai       Cheung      NZ   authorizenet      USD   TVPAD-004       259       20   1     239
TVP-14011152   January    1/8/2014   complete   Ngai         Cheung      NZ   Ngai       Cheung      NZ   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011152   January    1/8/2014   complete   Ngai         Cheung      NZ   Ngai       Cheung      NZ   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011153   January    1/8/2014   complete   Alex         Wong        GB   Alex       Wong        GB   authorizenet      GBP   TVPAD-004       259       10   1     249
TVP-14011153   January    1/8/2014   complete   Alex         Wong        GB   Alex       Wong        GB   authorizenet      GBP   HGIFT2             0       0   1        0
TVP-14011153   January    1/8/2014   complete   Alex         Wong        GB   Alex       Wong        GB   authorizenet      GBP   HGIFT1             0       0   1        0
TVP-14011154   January    1/9/2014   complete   Jia          He          CH   Jia        He          CH   authorizenet      USD   TVPAD-004       250    13.92   3   736.08
TVP-14011154   January    1/9/2014   complete   Jia          He          CH   Jia        He          CH   authorizenet      USD   TVPAD-GM-002      58    1.08   1    56.92
TVP-14011154   January    1/9/2014   complete   Jia          He          CH   Jia        He          CH   authorizenet      USD   HGIFT2             0       0   3        0
TVP-14011154   January    1/9/2014   complete   Jia          He          CH   Jia        He          CH   authorizenet      USD   HGIFT1             0       0   3        0
TVP-14011155   January    1/8/2014   complete   Kin          Fung        CA   Kitty      Yeung       JP   authorizenet      USD   TVPAD-004       259       20   1     239
TVP-14011155   January    1/8/2014   complete   Kin          Fung        CA   Kitty      Yeung       JP   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011155   January    1/8/2014   complete   Kin          Fung        CA   Kitty      Yeung       JP   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011156   January    1/8/2014   complete   David        Yap         US   David      Yap         US   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14011156   January    1/8/2014   complete   David        Yap         US   David      Yap         US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14011156   January    1/8/2014   complete   David        Yap         US   David      Yap         US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-70011103   January    1/8/2014   complete   Tim          Chang       US   Tim        Chang       US   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-70011103   January    1/8/2014   complete   Tim          Chang       US   Tim        Chang       US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-70011103   January    1/8/2014   complete   Tim          Chang       US   Tim        Chang       US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14011157   January    1/8/2014   complete   Findy        Wills       AU   Findy      Wills       AU   paypal_standard   AUD   TVPAD-004       259       10   1     249
TVP-14011157   January    1/8/2014   complete   Findy        Wills       AU   Findy      Wills       AU   paypal_standard   AUD   HGIFT2             0       0   1        0
TVP-14011157   January    1/8/2014   complete   Findy        Wills       AU   Findy      Wills       AU   paypal_standard   AUD   HGIFT1             0       0   1        0
TVP-14011158   January    1/8/2014   complete   LEE          EUENGSEO    AU   LEE        EUENGSEO    KR   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011158   January    1/8/2014   complete   LEE          EUENGSEO    AU   LEE        EUENGSEO    KR   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011158   January    1/8/2014   complete   LEE          EUENGSEO    AU   LEE        EUENGSEO    KR   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011159   January    1/8/2014   complete   Alex         D'Azevedo   AU   Alex       D'Azevedo   AU   paypal_standard   USD   TVPAD-004       259       15   1     244
TVP-14011159   January    1/8/2014   complete   Alex         D'Azevedo   AU   Alex       D'Azevedo   AU   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14011159   January    1/8/2014   complete   Alex         D'Azevedo   AU   Alex       D'Azevedo   AU   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14011160   January    1/8/2014   complete   Lui          Davis       US   Lui        Davis       US   authorizenet      USD   TVPAD-004       259       20   1     239
TVP-14011160   January    1/8/2014   complete   Lui          Davis       US   Lui        Davis       US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011160   January    1/8/2014   complete   Lui          Davis       US   Lui        Davis       US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-70011104   January    1/8/2014   complete   JINCHENG     LAO         US   JINCHENG   LAO         US   authorizenet      USD   TVPAD-004       259        0   1     259
TVP-14011162   January    1/8/2014   canceled   Jacqueline   McCarthy    AU   Vinh       Chau        AU   authorizenet      USD   TVPAD-004       259        0   1     259
TVP-14011163   January    1/8/2014   complete   CS           Wong        GB   CS         Wong        GB   paypal_standard   USD   TVPAD-004       259        0   1     259
TVP-14011166   January    1/8/2014   closed     L            Carroll     AU   Xiaonan    Wang        AU   authorizenet      USD   TVPAD-004       259        0   1     259
TVP-14011167   January    1/8/2014   complete   Edwin        Lam         AU   Edwin      Lam         AU   authorizenet      USD   TVPAD-004       259        0   1     259
TVP-14011168   January    1/8/2014   complete   Xiaomeng     Li          AU   Xiaomeng   Li          AU   authorizenet      AUD   TVPAD-004       259        0   1     259
TVP-14011168   January    1/8/2014   complete   Xiaomeng     Li          AU   Xiaomeng   Li          AU   authorizenet      AUD   HGIFT2             0       0   1        0
TVP-14011168   January    1/8/2014   complete   Xiaomeng     Li          AU   Xiaomeng   Li          AU   authorizenet      AUD   HGIFT1             0       0   1        0
TVP-14011169   January    1/9/2014   complete   Allan        Moon        CA   Allan      Moon        CA   authorizenet      CAD   TVPAD-004       259        0   1     259
TVP-14011169   January    1/9/2014   complete   Allan        Moon        CA   Allan      Moon        CA   authorizenet      CAD   HGIFT2             0       0   1        0
TVP-14011169   January    1/9/2014   complete   Allan        Moon        CA   Allan      Moon        CA   authorizenet      CAD   HGIFT1             0       0   1        0
TVP-14011170   January    1/9/2014   complete   Feng         Yang        CA   Feng       Yang        CA   authorizenet      USD   TVPAD-004       259        0   1     259
TVP-14011170   January    1/9/2014   complete   Feng         Yang        CA   Feng       Yang        CA   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011170   January    1/9/2014   complete   Feng         Yang        CA   Feng       Yang        CA   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011171   January    1/8/2014   complete   Sean         Yan         US   Sean       Yan         US   paypal_standard   USD   TVPAD-AC-001   15.99       0   1    15.99
TVP-14011172   January    1/9/2014   complete   Shaoxian     Tang        US   Cyrus      Wong        US   authorizenet      USD   TVPAD-004       259       15   1     244
TVP-14011172   January    1/9/2014   complete   Shaoxian     Tang        US   Cyrus      Wong        US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011172   January    1/9/2014   complete   Shaoxian     Tang        US   Cyrus      Wong        US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011173   January    1/9/2014   complete   eric         kong        US   eric       kong        US   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011173   January    1/9/2014   complete   eric         kong        US   eric       kong        US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011173   January    1/9/2014   complete   eric         kong        US   eric       kong        US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011174   January    1/9/2014   complete   Dyvanno      Uk          FR   Dyvanno    Uk          FR   authorizenet      EUR   TVPAD-004       259       10   1     249
TVP-14011174   January    1/9/2014   complete   Dyvanno      Uk          FR   Dyvanno    Uk          FR   authorizenet      EUR   HGIFT2             0       0   1        0
TVP-14011174   January    1/9/2014   complete   Dyvanno      Uk          FR   Dyvanno    Uk          FR   authorizenet      EUR   HGIFT1             0       0   1        0
TVP-14011175   January    1/9/2014   complete   John         Chau        US   John       Chau        US   authorizenet      USD   TVPAD-004       250       15   2     485
TVP-14011175   January    1/9/2014   complete   John         Chau        US   John       Chau        US   authorizenet      USD   HGIFT2             0       0   2        0
TVP-14011175   January    1/9/2014   complete   John         Chau        US   John       Chau        US   authorizenet      USD   HGIFT1             0       0   2        0
TVP-14011176   January    1/9/2014   complete   Kuen         Wong        BE   Kuen       Wong        BE   authorizenet      EUR   TVPAD-004       250       10   2     490
TVP-14011176   January    1/9/2014   complete   Kuen         Wong        BE   Kuen       Wong        BE   authorizenet      EUR   HGIFT2             0       0   2        0
TVP-14011176   January    1/9/2014   complete   Kuen         Wong        BE   Kuen       Wong        BE   authorizenet      EUR   HGIFT1             0       0   2        0
TVP-14011177   January    1/9/2014   complete   hyunju       gweon       AU   hyunju     gweon       AU   authorizenet      AUD   TVPAD-004       259       10   1     249
TVP-14011177   January    1/9/2014   complete   hyunju       gweon       AU   hyunju     gweon       AU   authorizenet      AUD   HGIFT2             0       0   1        0
TVP-14011177   January    1/9/2014   complete   hyunju       gweon       AU   hyunju     gweon       AU   authorizenet      AUD   HGIFT1             0       0   1        0
TVP-14011178   January    1/9/2014   complete   Michael      Law         US   Michael    Law         US   authorizenet      USD   TVPAD-004       259       10   1      249
TVP-14011178   January    1/9/2014   complete   Michael      Law         US   Michael    Law         US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011178   January    1/9/2014   complete   Michael      Law         US   Michael    Law         US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011179   January    1/9/2014   complete   Tracy        Wong        US   Tracy      Wong        US   authorizenet      USD   TVPAD-AC-001   15.99       0   1    15.99
TVP-14011183   January    1/9/2014   complete   Mrs          tong        GB   Mrs        tong        GB   authorizenet      GBP   TVPAD-004       259       20   1     239
TVP-14011183   January    1/9/2014   complete   Mrs          tong        GB   Mrs        tong        GB   authorizenet      GBP   HGIFT2             0       0   1        0
TVP-14011183   January    1/9/2014   complete   Mrs          tong        GB   Mrs        tong        GB   authorizenet      GBP   HGIFT1             0       0   1        0
TVP-14011185   January    1/9/2014   complete   Eva          Ng          US   Eva        Ng          US   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14011185   January    1/9/2014   complete   Eva          Ng          US   Eva        Ng          US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14011185   January    1/9/2014   complete   Eva          Ng          US   Eva        Ng          US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14011186   January    1/9/2014   complete   Francis      Cheung      AU   Francis    Cheung      AU   authorizenet      USD   TVPAD-004       250       10   2     490
TVP-14011186   January    1/9/2014   complete   Francis      Cheung      AU   Francis    Cheung      AU   authorizenet      USD   HGIFT2             0       0   2        0
TVP-14011186   January    1/9/2014   complete   Francis      Cheung      AU   Francis    Cheung      AU   authorizenet      USD   HGIFT1             0       0   2        0
TVP-14011187   January    1/9/2014   complete   Johnson      Yee         AU   Johnson    Yee         AU   authorizenet      AUD   TVPAD-004        250      10   2      490
TVP-14011187   January    1/9/2014   complete   Johnson      Yee         AU   Johnson    Yee         AU   authorizenet      AUD   HGIFT2             0       0   2        0
TVP-14011188   January    1/9/2014   complete   Sau          Chiu        US   Sau        Chiu        US   authorizenet      USD   TVPAD-004        259      10   1      249
TVP-14011188   January    1/9/2014   complete   Sau          Chiu        US   Sau        Chiu        US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011188   January    1/9/2014   complete   Sau          Chiu        US   Sau        Chiu        US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011190   January    1/9/2014   complete   Mei          Kwan        US   Mei        Kwan        US   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14011190   January    1/9/2014   complete   Mei          Kwan        US   Mei        Kwan        US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14011190   January    1/9/2014   complete   Mei          Kwan        US   Mei        Kwan        US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-70011105   January    1/9/2014   complete   Rui          chen        AU   Rui        chen        AU   paypal_standard   USD   TVPAD-AC-001   15.99       0   1    15.99
TVP-14011191   January    1/9/2014   complete   Lok          cheng       GB   Lok        cheng       GB   paypal_standard   GBP   TVPAD-004       259       10   1     249
TVP-14011191   January    1/9/2014   complete   Lok          cheng       GB   Lok        cheng       GB   paypal_standard   GBP   HGIFT2             0       0   1        0
TVP-14011191   January    1/9/2014   complete   Lok          cheng       GB   Lok        cheng       GB   paypal_standard   GBP   HGIFT1             0       0   1        0
TVP-14011192   January    1/9/2014   complete   Tony         wang        US   Tony       wang        US   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011192   January    1/9/2014   complete   Tony         wang        US   Tony       wang        US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011192   January    1/9/2014   complete   Tony         wang        US   Tony       wang        US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011193   January    1/9/2014   complete   Co           Ly          US   Co         Ly          US   authorizenet      USD   TVPAD-004        259      10   1      249
TVP-14011193   January    1/9/2014   complete   Co           Ly          US   Co         Ly          US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011193   January    1/9/2014   complete   Co           Ly          US   Co         Ly          US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011194   January   1/10/2014   complete   Asami        Hughes      GB   Asami      Hughes      GB   authorizenet      GBP   TVPAD-004       259       10   1     249
TVP-14011194   January   1/10/2014   complete   Asami        Hughes      GB   Asami      Hughes      GB   authorizenet      GBP   HGIFT2             0       0   1        0
TVP-14011194   January   1/10/2014   complete   Asami        Hughes      GB   Asami      Hughes      GB   authorizenet      GBP   HGIFT1             0       0   1        0
TVP-14011195   January    1/9/2014   complete   JULIEN       MOM         FR   JULIEN     MOM         FR   paypal_standard   USD   TVPAD-004        259      10   1      249
TVP-14011195   January    1/9/2014   complete   JULIEN       MOM         FR   JULIEN     MOM         FR   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14011195   January    1/9/2014   complete   JULIEN       MOM         FR   JULIEN     MOM         FR   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14011196   January   1/10/2014   complete   Stanley      Li          GB   Stanley    Li          GB   authorizenet      GBP   TVPAD-004        259      20   1      239
TVP-14011196   January   1/10/2014   complete   Stanley      Li          GB   Stanley    Li          GB   authorizenet      GBP   HGIFT2             0       0   1        0
TVP-14011196   January   1/10/2014   complete   Stanley      Li          GB   Stanley    Li          GB   authorizenet      GBP   HGIFT1             0       0   1        0
TVP-14011197   January   1/10/2014   complete   Hon          Tchou       NO   Hon        Tchou       NO   authorizenet      USD   TVPAD-004       259       20   1     239
TVP-14011197   January   1/10/2014   complete   Hon          Tchou       NO   Hon        Tchou       NO   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011198   January   1/10/2014   complete   Ken          Lau         GB   Ken        Lau         GB   authorizenet      GBP   TVPAD-004       259       10   1     249
TVP-14011198   January   1/10/2014   complete   Ken          Lau         GB   Ken        Lau         GB   authorizenet      GBP   HGIFT2             0       0   1        0
TVP-14011198   January   1/10/2014   complete   Ken          Lau         GB   Ken        Lau         GB   authorizenet      GBP   HGIFT1             0       0   1        0
TVP-14011199   January   1/10/2014   complete   Janice       Liour       US   Janice     Liour       US   authorizenet      USD   TVPAD-004        259      10   1      249
TVP-14011199   January   1/10/2014   complete   Janice       Liour       US   Janice     Liour       US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011199   January   1/10/2014   complete   Janice       Liour       US   Janice     Liour       US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011200   January   1/10/2014   complete   Wai          Cheung      GB   Wai        Cheung      GB   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011200   January   1/10/2014   complete   Wai          Cheung      GB   Wai        Cheung      GB   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011200   January   1/10/2014   complete   Wai          Cheung      GB   Wai        Cheung      GB   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011201   January   1/10/2014   closed     Yun-Ja       Koh         US   Yun-Ja     Koh         US   authorizenet      USD   TVPAD-004        259      10   1      249
TVP-14011201   January   1/10/2014   closed     Yun-Ja       Koh         US   Yun-Ja     Koh         US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011201   January   1/10/2014   closed     Yun-Ja       Koh         US   Yun-Ja     Koh         US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011202   January   1/12/2014   complete   shuzhe       ouyang      IE   shuzhe     ouyang      IE   authorizenet      EUR   TVPAD-006        375      10   1      365
TVP-14011202   January   1/12/2014   complete   shuzhe       ouyang      IE   shuzhe     ouyang      IE   authorizenet      EUR   TVPAD-GM-002       0       0   2        0
TVP-14011202   January   1/12/2014   complete   shuzhe       ouyang      IE   shuzhe     ouyang      IE   authorizenet      EUR   HGIFT2             0       0   1        0
TVP-14011202   January   1/12/2014   complete   shuzhe       ouyang      IE   shuzhe     ouyang      IE   authorizenet      EUR   HGIFT1             0       0   1        0
TVP-14011203   January   1/10/2014   complete   Kunio        Masuda      AU   Kunio      Masuda      AU   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011203   January   1/10/2014   complete   Kunio        Masuda      AU   Kunio      Masuda      AU   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011203   January   1/10/2014   complete   Kunio        Masuda      AU   Kunio      Masuda      AU   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011204   January   1/10/2014   complete   Wei          Chen        PA   Wei        Ceng        PA   paypal_standard   USD   TVPAD-004       250       10   2     490
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TVP-14011204   January   1/10/2014   complete   Wei          Chen            PA   Wei          Ceng        PA   paypal_standard   USD   HGIFT2        0    0   2      0
TVP-14011204   January   1/10/2014   complete   Wei          Chen            PA   Wei          Ceng        PA   paypal_standard   USD   HGIFT1        0    0   2      0
TVP-70011106   January   1/10/2014   complete   Wayne        You             NZ   Wayne        You         NZ   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-70011106   January   1/10/2014   complete   Wayne        You             NZ   Wayne        You         NZ   authorizenet      USD   HGIFT2        0    0   1      0
TVP-70011106   January   1/10/2014   complete   Wayne        You             NZ   Wayne        You         NZ   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011205   January   1/10/2014   complete   aesil        min             US   aesil        min         US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14011205   January   1/10/2014   complete   aesil        min             US   aesil        min         US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-70011107   January   1/10/2014   complete   Rocky        LI              HK   Rocky        LI          HK   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-70011107   January   1/10/2014   complete   Rocky        LI              HK   Rocky        LI          HK   authorizenet      USD   HGIFT2        0    0   1      0
TVP-70011107   January   1/10/2014   complete   Rocky        LI              HK   Rocky        LI          HK   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011206   January   1/10/2014   complete   william      tan             AU   william      tan         AU   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14011206   January   1/10/2014   complete   william      tan             AU   william      tan         AU   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011206   January   1/10/2014   complete   william      tan             AU   william      tan         AU   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011207   January   1/10/2014   complete   Kim          Ung             US   Kim          Ung         US   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14011207   January   1/10/2014   complete   Kim          Ung             US   Kim          Ung         US   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14011207   January   1/10/2014   complete   Kim          Ung             US   Kim          Ung         US   paypal_standard   USD   HGIFT1        0    0   1      0
TVP-14011208   January   1/10/2014   complete   Steve        Chau            CA   steve        chau        CA   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14011208   January   1/10/2014   complete   Steve        Chau            CA   steve        chau        CA   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011208   January   1/10/2014   complete   Steve        Chau            CA   steve        chau        CA   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011209   January   1/10/2014   complete   Chi          Tong            US   Chi          Tong        US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14011209   January   1/10/2014   complete   Chi          Tong            US   Chi          Tong        US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011209   January   1/10/2014   complete   Chi          Tong            US   Chi          Tong        US   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011210   January   1/10/2014   complete   Lee          ChehCheng       SG   Lee          ChehCheng   SG   paypal_standard   USD   TVPAD-004   259   20   1    239
TVP-14011210   January   1/10/2014   complete   Lee          ChehCheng       SG   Lee          ChehCheng   SG   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14011210   January   1/10/2014   complete   Lee          ChehCheng       SG   Lee          ChehCheng   SG   paypal_standard   USD   HGIFT1        0    0   1      0
TVP-14011212   January   1/10/2014   complete   Tseng-Sing   Choi            BE   Tseng-Sing   Choi        BE   authorizenet      USD   TVPAD-004   250   15   2    485
TVP-14011212   January   1/10/2014   complete   Tseng-Sing   Choi            BE   Tseng-Sing   Choi        BE   authorizenet      USD   HGIFT2        0    0   2      0
TVP-14011212   January   1/10/2014   complete   Tseng-Sing   Choi            BE   Tseng-Sing   Choi        BE   authorizenet      USD   HGIFT1        0    0   2      0
TVP-14011213   January   1/10/2014   complete   eric         yu              US   Eric         Yu          US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14011213   January   1/10/2014   complete   eric         yu              US   Eric         Yu          US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011213   January   1/10/2014   complete   eric         yu              US   Eric         Yu          US   authorizenet      USD   HGIFT1        0    0   1      0
TVP-70011108   January   1/10/2014   complete   xiangdi      cao             US   xiangdi      cao         US   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14011214   January   1/10/2014   complete   sukyee       yau             GB   sukyee       yau         GB   authorizenet      GBP   TVPAD-004   259   10   1    249
TVP-14011214   January   1/10/2014   complete   sukyee       yau             GB   sukyee       yau         GB   authorizenet      GBP   HGIFT2        0    0   1      0
TVP-14011214   January   1/10/2014   complete   sukyee       yau             GB   sukyee       yau         GB   authorizenet      GBP   HGIFT1        0    0   1      0
TVP-14011216   January   1/12/2014   complete   Johnny       Ng              CA   Johnny       Ng          CA   authorizenet      CAD   TVPAD-004   259   20   1    239
TVP-14011216   January   1/12/2014   complete   Johnny       Ng              CA   Johnny       Ng          CA   authorizenet      CAD   HGIFT2        0    0   1      0
TVP-14011216   January   1/12/2014   complete   Johnny       Ng              CA   Johnny       Ng          CA   authorizenet      CAD   HGIFT1        0    0   1      0
TVP-14011217   January   1/12/2014   complete   MRS          CHUNG           GB   MR           CHUNG       GB   authorizenet      GBP   TVPAD-004   259   10   1    249
TVP-14011217   January   1/12/2014   complete   MRS          CHUNG           GB   MR           CHUNG       GB   authorizenet      GBP   HGIFT2        0    0   1      0
TVP-14011217   January   1/12/2014   complete   MRS          CHUNG           GB   MR           CHUNG       GB   authorizenet      GBP   HGIFT1        0    0   1      0
TVP-14011218   January   1/12/2014   complete   Liyen        Quek            NL   Liyen        Quek        NL   authorizenet      EUR   TVPAD-004   250   10   2    490
TVP-14011218   January   1/12/2014   complete   Liyen        Quek            NL   Liyen        Quek        NL   authorizenet      EUR   HGIFT2        0    0   2      0
TVP-14011218   January   1/12/2014   complete   Liyen        Quek            NL   Liyen        Quek        NL   authorizenet      EUR   HGIFT1        0    0   2      0
TVP-14011219   January   1/12/2014   complete   Kenneth      Ma              US   Kenneth      Ma          US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14011219   January   1/12/2014   complete   Kenneth      Ma              US   Kenneth      Ma          US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011219   January   1/12/2014   complete   Kenneth      Ma              US   Kenneth      Ma          US   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011220   January   1/12/2014   complete   Dennis       Chao            US   Dennis       Chao        US   authorizenet      USD   TVPAD-004   259   20   1    239
TVP-14011220   January   1/12/2014   complete   Dennis       Chao            US   Dennis       Chao        US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011220   January   1/12/2014   complete   Dennis       Chao            US   Dennis       Chao        US   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011221   January   1/14/2014   complete   Christoph    Tschabitscher   US   Yvonne       Li          US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14011221   January   1/14/2014   complete   Christoph    Tschabitscher   US   Yvonne       Li          US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011221   January   1/14/2014   complete   Christoph    Tschabitscher   US   Yvonne       Li          US   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011222   January   1/11/2014   complete   Ryan         Mak             US   Ryan         Mak         US   paypal_standard   USD   TVPAD-004   259   20   1    239
TVP-14011222   January   1/11/2014   complete   Ryan         Mak             US   Ryan         Mak         US   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14011222   January   1/11/2014   complete   Ryan         Mak             US   Ryan         Mak         US   paypal_standard   USD   HGIFT1        0    0   1      0
TVP-14011223   January   1/12/2014   complete   Maggie       Ng              US   Maggie       Ng          US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14011223   January   1/12/2014   complete   Maggie       Ng              US   Maggie       Ng          US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011223   January   1/12/2014   complete   Maggie       Ng              US   Maggie       Ng          US   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011224   January   1/12/2014   complete   Winnie       Chung           NZ   Winnie       Chung       NZ   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14011224   January   1/12/2014   complete   Winnie       Chung           NZ   Winnie       Chung       NZ   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011224   January   1/12/2014   complete   Winnie       Chung           NZ   Winnie       Chung       NZ   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011225   January   1/12/2014   complete   Xiaomin      Wu              AU   Xiaomin      Wu          AU   authorizenet      USD   TVPAD-004   250   10   2    490
TVP-14011225   January   1/12/2014   complete   Xiaomin      Wu              AU   Xiaomin      Wu          AU   authorizenet      USD   HGIFT2        0    0   2      0
TVP-14011225   January   1/12/2014   complete   Xiaomin      Wu              AU   Xiaomin      Wu          AU   authorizenet      USD   HGIFT1        0    0   2      0
TVP-14011227   January   1/11/2014   complete   Malcolm      La              AU   Malcolm      La          AU   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14011227   January   1/11/2014   complete   Malcolm      La              AU   Malcolm      La          AU   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14011227   January   1/11/2014   complete   Malcolm      La              AU   Malcolm      La          AU   paypal_standard   USD   HGIFT1        0    0   1      0
TVP-14011228   January   1/12/2014   complete   Lai          Tang            GB   Lai          Tang        GB   authorizenet      GBP   TVPAD-004   250   10   2    490
TVP-14011228   January   1/12/2014   complete   Lai          Tang            GB   Lai          Tang        GB   authorizenet      GBP   HGIFT2        0    0   2      0
TVP-14011228   January   1/12/2014   complete   Lai          Tang            GB   Lai          Tang        GB   authorizenet      GBP   HGIFT1        0    0   2      0
TVP-14011229   January   1/11/2014   complete   Tony         Corstanje       NL   Tony         Corstanje   NL   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14011229   January   1/11/2014   complete   Tony         Corstanje       NL   Tony         Corstanje   NL   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14011229   January   1/11/2014   complete   Tony         Corstanje       NL   Tony         Corstanje   NL   paypal_standard   USD   HGIFT1        0    0   1      0
TVP-14011230   January   1/12/2014   complete   Wendy        Lai             AU   Wendy        Lai         AU   authorizenet      AUD   TVPAD-004   259   20   1    239
TVP-14011230   January   1/12/2014   complete   Wendy        Lai             AU   Wendy        Lai         AU   authorizenet      AUD   HGIFT2        0    0   1      0
TVP-14011230   January   1/12/2014   complete   Wendy        Lai             AU   Wendy        Lai         AU   authorizenet      AUD   HGIFT1        0    0   1      0
TVP-14011231   January   1/12/2014   complete   Mudan        Luo             GB   Mudan        Luo         GB   authorizenet      GBP   TVPAD-004   259   10   1    249
TVP-14011231   January   1/12/2014   complete   Mudan        Luo             GB   Mudan        Luo         GB   authorizenet      GBP   HGIFT2        0    0   1      0
TVP-14011231   January   1/12/2014   complete   Mudan        Luo             GB   Mudan        Luo         GB   authorizenet      GBP   HGIFT1        0    0   1      0
TVP-14011232   January   1/12/2014   complete   Ronghui      Li              US   Ronghui      Li          US   authorizenet      USD   TVPAD-004   259   15   1    244
TVP-14011232   January   1/12/2014   complete   Ronghui      Li              US   Ronghui      Li          US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011232   January   1/12/2014   complete   Ronghui      Li              US   Ronghui      Li          US   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011233   January   1/13/2014   complete   Quyen        Ly              NL   Shuet        Jim         NL   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14011233   January   1/13/2014   complete   Quyen        Ly              NL   Shuet        Jim         NL   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011233   January   1/13/2014   complete   Quyen        Ly              NL   Shuet        Jim         NL   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011234   January   1/12/2014   complete   Lam          Long            CH   Lam          Long        CH   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14011234   January   1/12/2014   complete   Lam          Long            CH   Lam          Long        CH   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011234   January   1/12/2014   complete   Lam          Long            CH   Lam          Long        CH   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011235   January   1/12/2014   complete   Andrew       Lister          NZ   Andrew       Lister      NZ   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14011235   January   1/12/2014   complete   Andrew       Lister          NZ   Andrew       Lister      NZ   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011235   January   1/12/2014   complete   Andrew       Lister          NZ   Andrew       Lister      NZ   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011236   January   1/12/2014   complete   Lin          Yan             CA   Lin          Yan         CA   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14011236   January   1/12/2014   complete   Lin          Yan             CA   Lin          Yan         CA   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011236   January   1/12/2014   complete   Lin          Yan             CA   Lin          Yan         CA   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011237   January   1/12/2014   complete   Kum          Lau             SG   Kum          Lau         SG   paypal_standard   USD   TVPAD-004   259   20   1    239
TVP-14011237   January   1/12/2014   complete   Kum          Lau             SG   Kum          Lau         SG   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14011237   January   1/12/2014   complete   Kum          Lau             SG   Kum          Lau         SG   paypal_standard   USD   HGIFT1        0    0   1      0
TVP-70011109   January   1/12/2014   complete   JIA          LIU             AU   JIA          LIU         AU   authorizenet      AUD   TVPAD-004   259   10   1    249
TVP-70011109   January   1/12/2014   complete   JIA          LIU             AU   JIA          LIU         AU   authorizenet      AUD   HGIFT2        0    0   1      0
TVP-70011109   January   1/12/2014   complete   JIA          LIU             AU   JIA          LIU         AU   authorizenet      AUD   HGIFT1        0    0   1      0
TVP-14011239   January   1/12/2014   complete   Sze          Wong            CA   Sze          Wong        CA   authorizenet      CAD   TVPAD-004   259   20   1    239
TVP-14011239   January   1/12/2014   complete   Sze          Wong            CA   Sze          Wong        CA   authorizenet      CAD   HGIFT2        0    0   1      0
TVP-14011239   January   1/12/2014   complete   Sze          Wong            CA   Sze          Wong        CA   authorizenet      CAD   HGIFT1        0    0   1      0
TVP-70011110   January   1/13/2014   complete   Ryan         Lu              CA   Ryan         Lu          CA   authorizenet      CAD   TVPAD-004   259   10   1    249
TVP-70011110   January   1/13/2014   complete   Ryan         Lu              CA   Ryan         Lu          CA   authorizenet      CAD   HGIFT2        0    0   1      0
TVP-70011110   January   1/13/2014   complete   Ryan         Lu              CA   Ryan         Lu          CA   authorizenet      CAD   HGIFT1        0    0   1      0
TVP-14011241   January   1/13/2014   complete   Charles      Lui             AU   Charles      Lui         AU   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14011241   January   1/13/2014   complete   Charles      Lui             AU   Charles      Lui         AU   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011241   January   1/13/2014   complete   Charles      Lui             AU   Charles      Lui         AU   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011243   January   1/13/2014   complete   Elizabeth    Chung           AU   Elizabeth    Chung       AU   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14011243   January   1/13/2014   complete   Elizabeth    Chung           AU   Elizabeth    Chung       AU   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011243   January   1/13/2014   complete   Elizabeth    Chung           AU   Elizabeth    Chung       AU   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011244   January   1/12/2014   complete   Michael      Wong            GB   Michael      Wong        GB   paypal_standard   GBP   TVPAD-004   259   10   1    249
TVP-14011244   January   1/12/2014   complete   Michael      Wong            GB   Michael      Wong        GB   paypal_standard   GBP   HGIFT2        0    0   1      0
TVP-14011244   January   1/12/2014   complete   Michael      Wong            GB   Michael      Wong        GB   paypal_standard   GBP   HGIFT1        0    0   1      0
TVP-70011111   January   1/13/2014   complete   Mandy        Lee             US   Mandy        Lee         US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-70011111   January   1/13/2014   complete   Mandy        Lee             US   Mandy        Lee         US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-70011111   January   1/13/2014   complete   Mandy        Lee             US   Mandy        Lee         US   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011245   January   1/13/2014   complete   Jean-Luc     Aslan           CH   Jean-Luc     Aslan       CH   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14011245   January   1/13/2014   complete   Jean-Luc     Aslan           CH   Jean-Luc     Aslan       CH   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011245   January   1/13/2014   complete   Jean-Luc     Aslan           CH   Jean-Luc     Aslan       CH   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011246   January   1/13/2014   complete   Matthew      Tong            GB   Matthew      Tong        GB   authorizenet      GBP   TVPAD-004   245   10   5   1215
TVP-14011246   January   1/13/2014   complete   Matthew      Tong            GB   Matthew      Tong        GB   authorizenet      GBP   HGIFT2        0    0   5      0
TVP-14011246   January   1/13/2014   complete   Matthew      Tong            GB   Matthew      Tong        GB   authorizenet      GBP   HGIFT1        0    0   5      0
TVP-14011248   January   1/13/2014   complete   Martin       Dam             GB   Martin       Dam         GB   authorizenet      GBP   TVPAD-004   259   20   1    239
TVP-14011248   January   1/13/2014   complete   Martin       Dam             GB   Martin       Dam         GB   authorizenet      GBP   HGIFT2        0    0   1      0
TVP-14011248   January   1/13/2014   complete   Martin       Dam             GB   Martin       Dam         GB   authorizenet      GBP   HGIFT1        0    0   1      0
TVP-70011112   January   1/13/2014   complete   xiaoxin      cai             US   xiaoxin      cai         US   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-70011112   January   1/13/2014   complete   xiaoxin      cai             US   xiaoxin      cai         US   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-70011112   January   1/13/2014   complete   xiaoxin      cai             US   xiaoxin      cai         US   paypal_standard   USD   HGIFT1        0    0   1      0
TVP-14011249   January   1/13/2014   complete   Janet        yu              NZ   Janet        yu          NZ   authorizenet      USD   TVPAD-004   259   20   1    239
TVP-14011249   January   1/13/2014   complete   Janet        yu              NZ   Janet        yu          NZ   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14011249   January   1/13/2014   complete   Janet        yu              NZ   Janet        yu          NZ   authorizenet      USD   HGIFT1        0    0   1      0
TVP-14011250   January   1/13/2014   complete   Alan         Lai             CA   Alan         Lai         CA   authorizenet      CAD   TVPAD-004   259   10   1    249
TVP-14011250   January   1/13/2014   complete   Alan         Lai             CA   Alan         Lai         CA   authorizenet      CAD   HGIFT2        0    0   1      0
TVP-14011250   January   1/13/2014   complete   Alan         Lai             CA   Alan         Lai         CA   authorizenet      CAD   HGIFT1        0    0   1      0
TVP-14011251   January   1/13/2014   complete   yan          lu              AU   yan          lu          AU   authorizenet      AUD   TVPAD-004   259   10   1    249
TVP-14011251   January   1/13/2014   complete   yan          lu              AU   yan          lu          AU   authorizenet      AUD   HGIFT2        0    0   1      0
TVP-14011251   January   1/13/2014   complete   yan          lu              AU   yan          lu          AU   authorizenet      AUD   HGIFT1        0    0   1      0
TVP-14011252   January   1/13/2014   complete   chooi        chong           GB   CHOOI        CHONG       GB   authorizenet      GBP   TVPAD-004   259   10   1    249
TVP-14011252   January   1/13/2014   complete   chooi        chong           GB   CHOOI        CHONG       GB   authorizenet      GBP   HGIFT2        0    0   1      0
TVP-14011252   January   1/13/2014   complete   chooi        chong           GB   CHOOI        CHONG       GB   authorizenet      GBP   HGIFT1        0    0   1      0
TVP-70011113   January   1/13/2014   complete   NENG         TAN             US   NENG         TAN         US   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-70011113   January   1/13/2014   complete   NENG         TAN             US   NENG         TAN         US   paypal_standard   USD   HGIFT2        0    0   1      0
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TVP-70011113   January   1/13/2014   complete   NENG        TAN        US   NENG        TAN        US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14011253   January   1/14/2014   complete   daming      huang      TT   daming      huang      TT   authorizenet      USD   TVPAD-006       375       20   1     355
TVP-14011253   January   1/14/2014   complete   daming      huang      TT   daming      huang      TT   authorizenet      USD   TVPAD-GM-002       0       0   2        0
TVP-14011253   January   1/14/2014   complete   daming      huang      TT   daming      huang      TT   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011253   January   1/14/2014   complete   daming      huang      TT   daming      huang      TT   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011254   January   1/13/2014   complete   kam         li         US   kam         li         US   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011254   January   1/13/2014   complete   kam         li         US   kam         li         US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011254   January   1/13/2014   complete   kam         li         US   kam         li         US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011255   January   1/13/2014   complete   Lam         Khoung     FR   Lam         Khoung     FR   authorizenet      USD   TVPAD-004       250       10   2     490
TVP-14011255   January   1/13/2014   complete   Lam         Khoung     FR   Lam         Khoung     FR   authorizenet      USD   HGIFT2             0       0   2        0
TVP-14011255   January   1/13/2014   complete   Lam         Khoung     FR   Lam         Khoung     FR   authorizenet      USD   HGIFT1             0       0   2        0
TVP-14011256   January   1/14/2014   complete   Hyungseok   Kim        CH   Bernie      Kim        CH   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011256   January   1/14/2014   complete   Hyungseok   Kim        CH   Bernie      Kim        CH   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011256   January   1/14/2014   complete   Hyungseok   Kim        CH   Bernie      Kim        CH   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011257   January   1/14/2014   complete   chunyin     yan        US   chunyin     yan        US   authorizenet      USD   TVPAD-004       259       15   1     244
TVP-14011257   January   1/14/2014   complete   chunyin     yan        US   chunyin     yan        US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011257   January   1/14/2014   complete   chunyin     yan        US   chunyin     yan        US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011259   January   1/14/2014   complete   Daniel      Chin       US   Daniel      Chin       US   paypal_standard   USD   TVPAD-004       259       15   1     244
TVP-14011259   January   1/14/2014   complete   Daniel      Chin       US   Daniel      Chin       US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14011259   January   1/14/2014   complete   Daniel      Chin       US   Daniel      Chin       US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14011258   January   1/14/2014   complete   hai         Nguyen     NO   hai         Nguyen     NO   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011258   January   1/14/2014   complete   hai         Nguyen     NO   hai         Nguyen     NO   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011258   January   1/14/2014   complete   hai         Nguyen     NO   hai         Nguyen     NO   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011260   January   1/14/2014   complete   Tan         Vu         GB   Tan         Vu         GB   authorizenet      GBP   TVPAD-004       259       10   1     249
TVP-14011260   January   1/14/2014   complete   Tan         Vu         GB   Tan         Vu         GB   authorizenet      GBP   HGIFT2             0       0   1        0
TVP-14011260   January   1/14/2014   complete   Tan         Vu         GB   Tan         Vu         GB   authorizenet      GBP   HGIFT1             0       0   1        0
TVP-14011261   January   1/14/2014   complete   David       Ear        FR   David       Ear        FR   paypal_standard   EUR   TVPAD-004       259       10   1     249
TVP-14011261   January   1/14/2014   complete   David       Ear        FR   David       Ear        FR   paypal_standard   EUR   HGIFT2             0       0   1        0
TVP-14011261   January   1/14/2014   complete   David       Ear        FR   David       Ear        FR   paypal_standard   EUR   HGIFT1             0       0   1        0
TVP-14011262   January   1/14/2014   complete   Ray         Son        US   Ray         Son        US   authorizenet      USD   TVPAD-AC-002   15.99       0   1    15.99
TVP-14011263   January   1/14/2014   complete   Boon        Teo        AU   Boon        Teo        AU   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14011263   January   1/14/2014   complete   Boon        Teo        AU   Boon        Teo        AU   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14011263   January   1/14/2014   complete   Boon        Teo        AU   Boon        Teo        AU   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14011264   January   1/14/2014   complete   Roweenza    Atangan    CA   Roweenza    Atangan    CA   paypal_standard   CAD   TVPAD-004       259       10   1     249
TVP-14011264   January   1/14/2014   complete   Roweenza    Atangan    CA   Roweenza    Atangan    CA   paypal_standard   CAD   HGIFT2             0       0   1        0
TVP-14011264   January   1/14/2014   complete   Roweenza    Atangan    CA   Roweenza    Atangan    CA   paypal_standard   CAD   HGIFT1             0       0   1        0
TVP-70011114   January   1/14/2014   complete   JINLIANG    LI         US   JINLIANG    LI         US   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-70011114   January   1/14/2014   complete   JINLIANG    LI         US   JINLIANG    LI         US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-70011114   January   1/14/2014   complete   JINLIANG    LI         US   JINLIANG    LI         US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011265   January   1/14/2014   complete   Brian       Yan        CA   Brian       Yan        CA   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011265   January   1/14/2014   complete   Brian       Yan        CA   Brian       Yan        CA   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011265   January   1/14/2014   complete   Brian       Yan        CA   Brian       Yan        CA   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011266   January   1/14/2014   complete   Josephine   Eng        US   Josephine   Eng        US   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011266   January   1/14/2014   complete   Josephine   Eng        US   Josephine   Eng        US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011266   January   1/14/2014   complete   Josephine   Eng        US   Josephine   Eng        US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011267   January   1/14/2014   complete   Cheuk       Fung       AU   Cheuk       Fung       AU   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011267   January   1/14/2014   complete   Cheuk       Fung       AU   Cheuk       Fung       AU   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011267   January   1/14/2014   complete   Cheuk       Fung       AU   Cheuk       Fung       AU   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011269   January   1/14/2014   complete   Sungmin     Cho        TH   Sungmin     Cho        TH   authorizenet      USD   TVPAD-004       259       15   1     244
TVP-14011270   January   1/15/2014   complete   Chialing    Lu         US   Chialing    Lu         US   authorizenet      USD   TVPAD-AC-001   15.99       0   1    15.99
TVP-14011271   January   1/14/2014   complete   George      Wu         US   George      Wu         US   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011271   January   1/14/2014   complete   George      Wu         US   George      Wu         US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011271   January   1/14/2014   complete   George      Wu         US   George      Wu         US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011272   January   1/14/2014   complete   raymond     chen       US   raymond     chen       US   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011272   January   1/14/2014   complete   raymond     chen       US   raymond     chen       US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011272   January   1/14/2014   complete   raymond     chen       US   raymond     chen       US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011273   January   1/14/2014   complete   Tian        Jin        AU   Tian        Jin        AU   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011273   January   1/14/2014   complete   Tian        Jin        AU   Tian        Jin        AU   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011273   January   1/14/2014   complete   Tian        Jin        AU   Tian        Jin        AU   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011274   January   1/15/2014   complete   Allen       Chow       AU   Allen       Chow       AU   authorizenet      USD   TVPAD-004       259       20   1     239
TVP-14011274   January   1/15/2014   complete   Allen       Chow       AU   Allen       Chow       AU   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011274   January   1/15/2014   complete   Allen       Chow       AU   Allen       Chow       AU   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011275   January   1/14/2014   complete   TJON        FELIX      GF   LIANG       HONG       GF   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14011275   January   1/14/2014   complete   TJON        FELIX      GF   LIANG       HONG       GF   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14011275   January   1/14/2014   complete   TJON        FELIX      GF   LIANG       HONG       GF   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14011276   January   1/15/2014   complete   Mei         Kwok       GB   Mei         Kwok       GB   authorizenet      GBP   TVPAD-004       259       10   1     249
TVP-14011276   January   1/15/2014   complete   Mei         Kwok       GB   Mei         Kwok       GB   authorizenet      GBP   HGIFT2             0       0   1        0
TVP-14011276   January   1/15/2014   complete   Mei         Kwok       GB   Mei         Kwok       GB   authorizenet      GBP   HGIFT1             0       0   1        0
TVP-14011277   January   1/15/2014   complete   Kit         kong       GB   Kit         kong       GB   paypal_standard   GBP   TVPAD-004       259       10   1     249
TVP-14011277   January   1/15/2014   complete   Kit         kong       GB   Kit         kong       GB   paypal_standard   GBP   HGIFT2             0       0   1        0
TVP-14011277   January   1/15/2014   complete   Kit         kong       GB   Kit         kong       GB   paypal_standard   GBP   HGIFT1             0       0   1        0
TVP-14011281   January   1/15/2014   complete   Ian         Tse        CA   Ian         Tse        CA   paypal_standard   USD   TVPAD-004       259    16.34   1   242.66
TVP-14011281   January   1/15/2014   complete   Ian         Tse        CA   Ian         Tse        CA   paypal_standard   USD   TVPAD-GM-002      58    3.66   1    54.34
TVP-14011281   January   1/15/2014   complete   Ian         Tse        CA   Ian         Tse        CA   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14011281   January   1/15/2014   complete   Ian         Tse        CA   Ian         Tse        CA   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14011283   January   1/15/2014   complete   Chris       Man        GB   Chris       Man        GB   authorizenet      GBP   TVPAD-004       250       10   2     490
TVP-14011283   January   1/15/2014   complete   Chris       Man        GB   Chris       Man        GB   authorizenet      GBP   HGIFT2             0       0   2        0
TVP-14011283   January   1/15/2014   complete   Chris       Man        GB   Chris       Man        GB   authorizenet      GBP   HGIFT1             0       0   2        0
TVP-14011284   January   1/15/2014   complete   Angela      Mo         GB   Angela      Mo         GB   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14011284   January   1/15/2014   complete   Angela      Mo         GB   Angela      Mo         GB   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14011284   January   1/15/2014   complete   Angela      Mo         GB   Angela      Mo         GB   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14011285   January   1/15/2014   complete   Duc         Chu        GB   Duc         Chu        GB   authorizenet      GBP   TVPAD-004       259       10   1     249
TVP-14011286   January   1/15/2014   complete   Loc         Huynh      AU   Loc         Huynh      AU   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14011286   January   1/15/2014   complete   Loc         Huynh      AU   Loc         Huynh      AU   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14011286   January   1/15/2014   complete   Loc         Huynh      AU   Loc         Huynh      AU   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14011287   January   1/15/2014   complete   Jay         Lee        CA   Jay         Lee        CA   authorizenet      CAD   TVPAD-004       259       10   1     249
TVP-14011287   January   1/15/2014   complete   Jay         Lee        CA   Jay         Lee        CA   authorizenet      CAD   HGIFT2             0       0   1        0
TVP-14011287   January   1/15/2014   complete   Jay         Lee        CA   Jay         Lee        CA   authorizenet      CAD   HGIFT1             0       0   1        0
TVP-14011288   January   1/15/2014   complete   Wonhee      Hahn       US   Wonhee      Hahn       US   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14011288   January   1/15/2014   complete   Wonhee      Hahn       US   Wonhee      Hahn       US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14011288   January   1/15/2014   complete   Wonhee      Hahn       US   Wonhee      Hahn       US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14011289   January   1/15/2014   complete   Vincent     Pang       CA   Vincent     Pang       CA   authorizenet      USD   TVPAD-004       259       20   1     239
TVP-14011289   January   1/15/2014   complete   Vincent     Pang       CA   Vincent     Pang       CA   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011289   January   1/15/2014   complete   Vincent     Pang       CA   Vincent     Pang       CA   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011290   January   1/15/2014   complete   Han         La         CA   Han         La         CA   authorizenet      USD   TVPAD-004       250       20   3     730
TVP-14011290   January   1/15/2014   complete   Han         La         CA   Han         La         CA   authorizenet      USD   HGIFT2             0       0   3        0
TVP-14011290   January   1/15/2014   complete   Han         La         CA   Han         La         CA   authorizenet      USD   HGIFT1             0       0   3        0
TVP-14011291   January   1/15/2014   complete   Quan        Phung      AU   Quan        Phung      AU   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14011291   January   1/15/2014   complete   Quan        Phung      AU   Quan        Phung      AU   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14011291   January   1/15/2014   complete   Quan        Phung      AU   Quan        Phung      AU   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14011292   January   1/16/2014   complete   Jessica     Chen       NZ   Jessica     Chen       NZ   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011292   January   1/16/2014   complete   Jessica     Chen       NZ   Jessica     Chen       NZ   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011292   January   1/16/2014   complete   Jessica     Chen       NZ   Jessica     Chen       NZ   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011294   January   1/16/2014   complete   Rob         Someren    NL   Rob         Someren    NL   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011294   January   1/16/2014   complete   Rob         Someren    NL   Rob         Someren    NL   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011294   January   1/16/2014   complete   Rob         Someren    NL   Rob         Someren    NL   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011295   January   1/16/2014   complete   Wai-Fong    Chan       AU   Wai-Fong    Chan       AU   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011295   January   1/16/2014   complete   Wai-Fong    Chan       AU   Wai-Fong    Chan       AU   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011295   January   1/16/2014   complete   Wai-Fong    Chan       AU   Wai-Fong    Chan       AU   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011296   January   1/15/2014   complete   Hai         Tran       US   Hai         Tran       US   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011296   January   1/15/2014   complete   Hai         Tran       US   Hai         Tran       US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011297   January   1/16/2014   complete   Henry       Hoang      AU   Henry       Hoang      AU   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011297   January   1/16/2014   complete   Henry       Hoang      AU   Henry       Hoang      AU   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011297   January   1/16/2014   complete   Henry       Hoang      AU   Henry       Hoang      AU   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011298   January   1/15/2014   complete   Chao        xie        US   Chao        xie        US   authorizenet      USD   TVPAD-004       259       20   1     239
TVP-14011298   January   1/15/2014   complete   Chao        xie        US   Chao        xie        US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011298   January   1/15/2014   complete   Chao        xie        US   Chao        xie        US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011300   January   1/16/2014   complete   Christine   Wong       GB   Yim         Wong       NL   authorizenet      EUR   TVPAD-004       259       10   1     249
TVP-14011300   January   1/16/2014   complete   Christine   Wong       GB   Yim         Wong       NL   authorizenet      EUR   HGIFT2             0       0   1        0
TVP-14011300   January   1/16/2014   complete   Christine   Wong       GB   Yim         Wong       NL   authorizenet      EUR   HGIFT1             0       0   1        0
TVP-14011301   January   1/16/2014   complete   peter       yep        US   peter       yep        US   authorizenet      USD   TVPAD-004       259       10   1      249
TVP-14011301   January   1/16/2014   complete   peter       yep        US   peter       yep        US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011301   January   1/16/2014   complete   peter       yep        US   peter       yep        US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011302   January   1/16/2014   complete   Wung        Li         US   Wung        Li         US   authorizenet      USD   TVPAD-004        259      10   1      249
TVP-14011302   January   1/16/2014   complete   Wung        Li         US   Wung        Li         US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011302   January   1/16/2014   complete   Wung        Li         US   Wung        Li         US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011304   January   1/16/2014   complete   Sid         Man        GB   Sid         Man        GB   paypal_standard   USD   TVPAD-004        259      10   1     249
TVP-14011304   January   1/16/2014   complete   Sid         Man        GB   Sid         Man        GB   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14011304   January   1/16/2014   complete   Sid         Man        GB   Sid         Man        GB   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14011306   January   1/16/2014   complete   junbiao     he         US   junbiao     he         US   authorizenet      USD   TVPAD-004        259      10   1      249
TVP-14011306   January   1/16/2014   complete   junbiao     he         US   junbiao     he         US   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011306   January   1/16/2014   complete   junbiao     he         US   junbiao     he         US   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011307   January   1/16/2014   complete   My          Hoang      GB   Alex        Hoang      GB   authorizenet      GBP   TVPAD-004       259       10   1     249
TVP-14011307   January   1/16/2014   complete   My          Hoang      GB   Alex        Hoang      GB   authorizenet      GBP   HGIFT2             0       0   1        0
TVP-14011307   January   1/16/2014   complete   My          Hoang      GB   Alex        Hoang      GB   authorizenet      GBP   HGIFT1             0       0   1        0
TVP-14011308   January   1/16/2014   complete   Jaffrie     Lai        AU   Jaffrie     Lai        AU   paypal_standard   AUD   TVPAD-004       259       10   1     249
TVP-14011308   January   1/16/2014   complete   Jaffrie     Lai        AU   Jaffrie     Lai        AU   paypal_standard   AUD   HGIFT2             0       0   1        0
TVP-14011308   January   1/16/2014   complete   Jaffrie     Lai        AU   Jaffrie     Lai        AU   paypal_standard   AUD   HGIFT1             0       0   1        0
TVP-14011309   January   1/16/2014   complete   Aaron       Poon       CA   Aaron       Poon       CA   authorizenet      USD   TVPAD-004        259      10   1      249
TVP-14011309   January   1/16/2014   complete   Aaron       Poon       CA   Aaron       Poon       CA   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011309   January   1/16/2014   complete   Aaron       Poon       CA   Aaron       Poon       CA   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011310   January   1/16/2014   complete   Shigeru     Takatori   NZ   Shigeru     Takatori   NZ   authorizenet      USD   TVPAD-004       259       10   1     249
TVP-14011310   January   1/16/2014   complete   Shigeru     Takatori   NZ   Shigeru     Takatori   NZ   authorizenet      USD   HGIFT2             0       0   1        0
TVP-14011310   January   1/16/2014   complete   Shigeru     Takatori   NZ   Shigeru     Takatori   NZ   authorizenet      USD   HGIFT1             0       0   1        0
TVP-14011311   January   1/16/2014   complete   JEONG       SEOKJIN    LA   JEONG       SEOKJIN    LA   authorizenet      USD   TVPAD-004       259       10   1     249
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TVP-14011311   January   1/16/2014   complete   JEONG        SEOKJIN          LA   JEONG        SEOKJIN          LA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011311   January   1/16/2014   complete   JEONG        SEOKJIN          LA   JEONG        SEOKJIN          LA   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011312   January   1/16/2014   complete   Tan          Eng              SG   Tan          Eng              SG   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14011312   January   1/16/2014   complete   Tan          Eng              SG   Tan          Eng              SG   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011312   January   1/16/2014   complete   Tan          Eng              SG   Tan          Eng              SG   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011313   January   1/16/2014   complete   Natalie      J                AU   Natalie      J                AU   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011313   January   1/16/2014   complete   Natalie      J                AU   Natalie      J                AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011313   January   1/16/2014   complete   Natalie      J                AU   Natalie      J                AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011314   January   1/16/2014   complete   Ky           Ong              DE   Ky           Ong              DE   authorizenet      EUR   TVPAD-004       259    20   1    239
TVP-14011314   January   1/16/2014   complete   Ky           Ong              DE   Ky           Ong              DE   authorizenet      EUR   HGIFT2             0    0   1       0
TVP-14011314   January   1/16/2014   complete   Ky           Ong              DE   Ky           Ong              DE   authorizenet      EUR   HGIFT1             0    0   1       0
TVP-14011315   January   1/16/2014   complete   s            Lau              GB   selina       Huang            GB   authorizenet      GBP   TVPAD-004       250    10   3    740
TVP-14011315   January   1/16/2014   complete   s            Lau              GB   selina       Huang            GB   authorizenet      GBP   HGIFT2             0    0   3       0
TVP-14011315   January   1/16/2014   complete   s            Lau              GB   selina       Huang            GB   authorizenet      GBP   HGIFT1             0    0   3       0
TVP-14011316   January   1/17/2014   complete   Chi Fai      Kong             NO   Chi          Kong             NO   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011316   January   1/17/2014   complete   Chi Fai      Kong             NO   Chi          Kong             NO   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011316   January   1/17/2014   complete   Chi Fai      Kong             NO   Chi          Kong             NO   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011318   January   1/17/2014   complete   Katina       Wong             US   Xoan         Quach            US   authorizenet      USD   TVPAD-004       250    10   2    490
TVP-14011318   January   1/17/2014   complete   Katina       Wong             US   Xoan         Quach            US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011318   January   1/17/2014   complete   Katina       Wong             US   Xoan         Quach            US   authorizenet      USD   HGIFT2             0    0   2       0
TVP-14011318   January   1/17/2014   complete   Katina       Wong             US   Xoan         Quach            US   authorizenet      USD   HGIFT1             0    0   2       0
TVP-14011319   January   1/17/2014   complete   NEIL         SHAN             AU   NEIL         SHAN             AU   authorizenet      AUD   TVPAD-004       259    20   1    239
TVP-14011319   January   1/17/2014   complete   NEIL         SHAN             AU   NEIL         SHAN             AU   authorizenet      AUD   HGIFT2             0    0   1       0
TVP-14011319   January   1/17/2014   complete   NEIL         SHAN             AU   NEIL         SHAN             AU   authorizenet      AUD   HGIFT1             0    0   1       0
TVP-14011320   January   1/17/2014   complete   Jenny        Liu              CA   Jenny        Liu              CA   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011320   January   1/17/2014   complete   Jenny        Liu              CA   Jenny        Liu              CA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011320   January   1/17/2014   complete   Jenny        Liu              CA   Jenny        Liu              CA   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011321   January   1/20/2014   complete   Kwok         ko               CA   Kwok         ko               CA   authorizenet      USD   TVPAD-AC-004   15.99    0   1   15.99
TVP-14011322   January   1/17/2014   complete   jason        yin              AU   jason        yin              AU   authorizenet      AUD   TVPAD-004       259    10   1    249
TVP-14011322   January   1/17/2014   complete   jason        yin              AU   jason        yin              AU   authorizenet      AUD   HGIFT2             0    0   1       0
TVP-14011322   January   1/17/2014   complete   jason        yin              AU   jason        yin              AU   authorizenet      AUD   HGIFT1             0    0   1       0
TVP-70011115   January   1/17/2014   closed     Huanbin      chen             US   Huanbin      chen             US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-70011115   January   1/17/2014   closed     Huanbin      chen             US   Huanbin      chen             US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-70011115   January   1/17/2014   closed     Huanbin      chen             US   Huanbin      chen             US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011323   January   1/17/2014   complete   Michael      Law              US   Michael      Law              US   authorizenet      USD   TVPAD-004       259    20   1    239
TVP-14011323   January   1/17/2014   complete   Michael      Law              US   Michael      Law              US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011324   January   1/17/2014   complete   Emma         Chan-Brannagan   CA   Emma         Chan-Brannagan   CA   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011324   January   1/17/2014   complete   Emma         Chan-Brannagan   CA   Emma         Chan-Brannagan   CA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011324   January   1/17/2014   complete   Emma         Chan-Brannagan   CA   Emma         Chan-Brannagan   CA   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011325   January   1/17/2014   complete   Zi           Chen             US   Zi           Chen             US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011325   January   1/17/2014   complete   Zi           Chen             US   Zi           Chen             US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011325   January   1/17/2014   complete   Zi           Chen             US   Zi           Chen             US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011326   January   1/17/2014   complete   Anita        Ng               GB   Anita        Ng               GB   paypal_standard   GBP   TVPAD-004       259    20   1    239
TVP-14011326   January   1/17/2014   complete   Anita        Ng               GB   Anita        Ng               GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14011326   January   1/17/2014   complete   Anita        Ng               GB   Anita        Ng               GB   paypal_standard   GBP   HGIFT1             0    0   1       0
TVP-14011327   January   1/17/2014   complete   Chia-Ming    Cheng            AU   Jamy         Cheng            AU   authorizenet      AUD   TVPAD-004       250    10   2    490
TVP-14011327   January   1/17/2014   complete   Chia-Ming    Cheng            AU   Jamy         Cheng            AU   authorizenet      AUD   HGIFT2             0    0   2       0
TVP-14011327   January   1/17/2014   complete   Chia-Ming    Cheng            AU   Jamy         Cheng            AU   authorizenet      AUD   HGIFT1             0    0   2       0
TVP-14011328   January   1/17/2014   complete   Dionna       Li               AU   Dionna       Li               AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14011328   January   1/17/2014   complete   Dionna       Li               AU   Dionna       Li               AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011328   January   1/17/2014   complete   Dionna       Li               AU   Dionna       Li               AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011329   January   1/17/2014   complete   Danny        Kim              AU   Danny        Kim              AU   authorizenet      USD   TVPAD-004       250    10   2    490
TVP-14011329   January   1/17/2014   complete   Danny        Kim              AU   Danny        Kim              AU   authorizenet      USD   HGIFT2             0    0   2       0
TVP-14011329   January   1/17/2014   complete   Danny        Kim              AU   Danny        Kim              AU   authorizenet      USD   HGIFT1             0    0   2       0
TVP-14011330   January   1/17/2014   complete   skariex      yep              US   skariex      yep              US   authorizenet      USD   TVPAD-004       259    20   1    239
TVP-14011330   January   1/17/2014   complete   skariex      yep              US   skariex      yep              US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011330   January   1/17/2014   complete   skariex      yep              US   skariex      yep              US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011332   January   1/17/2014   complete   Dominic      Fanelli          AU   Dominic      Fanelli          AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14011332   January   1/17/2014   complete   Dominic      Fanelli          AU   Dominic      Fanelli          AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011332   January   1/17/2014   complete   Dominic      Fanelli          AU   Dominic      Fanelli          AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011333   January   1/17/2014   complete   huan-liang   tang             DK   huan-liang   tang             DK   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011333   January   1/17/2014   complete   huan-liang   tang             DK   huan-liang   tang             DK   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011333   January   1/17/2014   complete   huan-liang   tang             DK   huan-liang   tang             DK   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011334   January   1/20/2014   complete   tzu-chao     Chen             AU   tzu-chao     Chen             AU   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011334   January   1/20/2014   complete   tzu-chao     Chen             AU   tzu-chao     Chen             AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011334   January   1/20/2014   complete   tzu-chao     Chen             AU   tzu-chao     Chen             AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011335   January   1/17/2014   complete   Sujuan       Wang             US   Sujuan       Wang             US   authorizenet      USD   TVPAD-004       250    10   2    490
TVP-14011335   January   1/17/2014   complete   Sujuan       Wang             US   Sujuan       Wang             US   authorizenet      USD   HGIFT2             0    0   2       0
TVP-14011335   January   1/17/2014   complete   Sujuan       Wang             US   Sujuan       Wang             US   authorizenet      USD   HGIFT1             0    0   2       0
TVP-14011337   January   1/18/2014   complete   Gideon       Chong            NL   Gideon       Chong            NL   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14011337   January   1/18/2014   complete   Gideon       Chong            NL   Gideon       Chong            NL   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011338   January   1/20/2014   complete   Wendy        Chen             US   Wendy        Chen             US   authorizenet      USD   TVPAD-004       259    15   1    244
TVP-14011338   January   1/20/2014   complete   Wendy        Chen             US   Wendy        Chen             US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011338   January   1/20/2014   complete   Wendy        Chen             US   Wendy        Chen             US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-70011116   January   1/20/2014   complete   Mun          Shum             US   Mun          Shum             US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-70011116   January   1/20/2014   complete   Mun          Shum             US   Mun          Shum             US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011339   January   1/18/2014   complete   C.           Chan             NL   C.           Chan             NL   paypal_standard   EUR   TVPAD-004       259    10   1    249
TVP-14011339   January   1/18/2014   complete   C.           Chan             NL   C.           Chan             NL   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14011339   January   1/18/2014   complete   C.           Chan             NL   C.           Chan             NL   paypal_standard   EUR   HGIFT1             0    0   1       0
TVP-14011340   January   1/20/2014   closed     Siew         Lim              GB   Siew         Lim              GB   authorizenet      GBP   TVPAD-004       250    20   2    480
TVP-14011340   January   1/20/2014   closed     Siew         Lim              GB   Siew         Lim              GB   authorizenet      GBP   HGIFT2             0    0   2       0
TVP-14011340   January   1/20/2014   closed     Siew         Lim              GB   Siew         Lim              GB   authorizenet      GBP   HGIFT1             0    0   2       0
TVP-14011344   January   1/20/2014   complete   Andy         Lo               AU   Andy         Lo               AU   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011344   January   1/20/2014   complete   Andy         Lo               AU   Andy         Lo               AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011344   January   1/20/2014   complete   Andy         Lo               AU   Andy         Lo               AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011345   January   1/20/2014   complete   ZHIWEI       WU               US   ZHIWEI       WU               US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011345   January   1/20/2014   complete   ZHIWEI       WU               US   ZHIWEI       WU               US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011345   January   1/20/2014   complete   ZHIWEI       WU               US   ZHIWEI       WU               US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011346   January   1/20/2014   complete   taehyun      lee              CA   taehyun      lee              CA   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011346   January   1/20/2014   complete   taehyun      lee              CA   taehyun      lee              CA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011346   January   1/20/2014   complete   taehyun      lee              CA   taehyun      lee              CA   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011347   January   1/20/2014   complete   Bevan        Chuang           NZ   Bevan        Chuang           NZ   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011347   January   1/20/2014   complete   Bevan        Chuang           NZ   Bevan        Chuang           NZ   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011347   January   1/20/2014   complete   Bevan        Chuang           NZ   Bevan        Chuang           NZ   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011348   January   1/18/2014   complete   Jieling      Cho              US   Jieling      Cho              US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14011349   January   1/18/2014   complete   HAO          YU               AU   HAO          YU               AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14011349   January   1/18/2014   complete   HAO          YU               AU   HAO          YU               AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011349   January   1/18/2014   complete   HAO          YU               AU   HAO          YU               AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011350   January   1/20/2014   complete   CHEW         CHEE-MENG        AE   CHEW         CHEE-MENG        AE   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011350   January   1/20/2014   complete   CHEW         CHEE-MENG        AE   CHEW         CHEE-MENG        AE   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011353   January   1/20/2014   complete   Howard       lunsford         US   Howard       lunsford         US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011353   January   1/20/2014   complete   Howard       lunsford         US   Howard       lunsford         US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011353   January   1/20/2014   complete   Howard       lunsford         US   Howard       lunsford         US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011354   January   1/20/2014   complete   yan          cheng            GB   Rongmin      Qin              GB   authorizenet      USD   TVPAD-004       250    10   3    740
TVP-14011354   January   1/20/2014   complete   yan          cheng            GB   Rongmin      Qin              GB   authorizenet      USD   HGIFT2             0    0   3       0
TVP-14011354   January   1/20/2014   complete   yan          cheng            GB   Rongmin      Qin              GB   authorizenet      USD   HGIFT1             0    0   3       0
TVP-14011356   January   1/19/2014   complete   Mark         Lee              US   Gemma        Devine           US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14011356   January   1/19/2014   complete   Mark         Lee              US   Gemma        Devine           US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011356   January   1/19/2014   complete   Mark         Lee              US   Gemma        Devine           US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011357   January   1/20/2014   complete   Goretti      Chan             AU   Goretti      Chan             AU   authorizenet      AUD   TVPAD-004       259    20   1    239
TVP-14011357   January   1/20/2014   complete   Goretti      Chan             AU   Goretti      Chan             AU   authorizenet      AUD   HGIFT2             0    0   1       0
TVP-14011357   January   1/20/2014   complete   Goretti      Chan             AU   Goretti      Chan             AU   authorizenet      AUD   HGIFT1             0    0   1       0
TVP-14011358   January   1/20/2014   complete   Nellie       Huynh            US   Karen        Banh             US   authorizenet      USD   TVPAD-004       259    15   1    244
TVP-14011358   January   1/20/2014   complete   Nellie       Huynh            US   Karen        Banh             US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011358   January   1/20/2014   complete   Nellie       Huynh            US   Karen        Banh             US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011359   January   1/20/2014   complete   Kevin        Duan             AU   Kevin        Duan             AU   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011359   January   1/20/2014   complete   Kevin        Duan             AU   Kevin        Duan             AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011359   January   1/20/2014   complete   Kevin        Duan             AU   Kevin        Duan             AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011360   January   1/19/2014   complete   Tianna       Huang            US   Tianna       Huang            US   paypal_standard   USD   TVPAD-004       250    10   2    490
TVP-14011360   January   1/19/2014   complete   Tianna       Huang            US   Tianna       Huang            US   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14011360   January   1/19/2014   complete   Tianna       Huang            US   Tianna       Huang            US   paypal_standard   USD   HGIFT1             0    0   2       0
TVP-14011361   January   1/20/2014   complete   Ian          Bidgood          NZ   Ian          Bidgood          NZ   authorizenet      USD   TVPAD-004       250    10   3    740
TVP-14011361   January   1/20/2014   complete   Ian          Bidgood          NZ   Ian          Bidgood          NZ   authorizenet      USD   HGIFT2             0    0   3       0
TVP-14011361   January   1/20/2014   complete   Ian          Bidgood          NZ   Ian          Bidgood          NZ   authorizenet      USD   HGIFT1             0    0   3       0
TVP-14011362   January   1/19/2014   complete   SÃ©bastien   TO               FR   SÃ©bastien   TO               FR   paypal_standard   EUR   TVPAD-004       259    15   1    244
TVP-14011362   January   1/19/2014   complete   SÃ©bastien   TO               FR   SÃ©bastien   TO               FR   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14011362   January   1/19/2014   complete   SÃ©bastien   TO               FR   SÃ©bastien   TO               FR   paypal_standard   EUR   HGIFT1             0    0   1       0
TVP-14011363   January   1/20/2014   complete   XIN          LIU              AU   XIN          LIU              AU   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011363   January   1/20/2014   complete   XIN          LIU              AU   XIN          LIU              AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011363   January   1/20/2014   complete   XIN          LIU              AU   XIN          LIU              AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011364   January   1/20/2014   complete   YENCHU       WU               US   YENCHU       WU               US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011364   January   1/20/2014   complete   YENCHU       WU               US   YENCHU       WU               US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011364   January   1/20/2014   complete   YENCHU       WU               US   YENCHU       WU               US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011365   January   1/20/2014   complete   mun          chan             GB   mun          chan             GB   authorizenet      GBP   TVPAD-004       250    10   2    490
TVP-14011365   January   1/20/2014   complete   mun          chan             GB   mun          chan             GB   authorizenet      GBP   HGIFT2             0    0   2       0
TVP-14011365   January   1/20/2014   complete   mun          chan             GB   mun          chan             GB   authorizenet      GBP   HGIFT1             0    0   2       0
TVP-14011366   January   1/20/2014   complete   Maggie       Shi              US   Maggie       Shi              US   authorizenet      USD   TVPAD-006       375    10   1    365
TVP-14011366   January   1/20/2014   complete   Maggie       Shi              US   Maggie       Shi              US   authorizenet      USD   TVPAD-GM-002       0    0   2       0
TVP-14011366   January   1/20/2014   complete   Maggie       Shi              US   Maggie       Shi              US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011367   January   1/19/2014   complete   Zhe          Shen             CA   Zhe          Shen             CA   paypal_standard   USD   TVPAD-004       259    15   1    244
TVP-14011367   January   1/19/2014   complete   Zhe          Shen             CA   Zhe          Shen             CA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011367   January   1/19/2014   complete   Zhe          Shen             CA   Zhe          Shen             CA   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-70011117   January   1/20/2014   complete   jianxiong    wu               US   jianxiong    wu               US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-70011117   January   1/20/2014   complete   jianxiong    wu               US   jianxiong    wu               US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-70011117   January   1/20/2014   complete   jianxiong    wu               US   jianxiong    wu               US   authorizenet      USD   HGIFT1             0    0   1       0
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TVP-14011370   January   1/20/2014   complete   Kim,       Young-Soo   DE   Kim,       Young-Soo   DE   authorizenet      EUR   TVPAD-004                       259    10   1    249
TVP-14011370   January   1/20/2014   complete   Kim,       Young-Soo   DE   Kim,       Young-Soo   DE   authorizenet      EUR   HGIFT2                             0    0   1       0
TVP-14011370   January   1/20/2014   complete   Kim,       Young-Soo   DE   Kim,       Young-Soo   DE   authorizenet      EUR   HGIFT1                             0    0   1       0
TVP-14011371   January   1/20/2014   complete   Joseph     Eng         US   Joseph     Eng         US   authorizenet      USD   TVPAD-004                       259    10   1    249
TVP-14011371   January   1/20/2014   complete   Joseph     Eng         US   Joseph     Eng         US   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011371   January   1/20/2014   complete   Joseph     Eng         US   Joseph     Eng         US   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011372   January   1/20/2014   complete   Joanna     Huang       US   Joanna     Huang       US   authorizenet      USD   TVPAD-004                       259    10   1    249
TVP-14011372   January   1/20/2014   complete   Joanna     Huang       US   Joanna     Huang       US   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011372   January   1/20/2014   complete   Joanna     Huang       US   Joanna     Huang       US   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011373   January    2/4/2014   complete   Fui        lee         GB   Lee        Yun         MY   authorizenet      GBP   TVPAD-AC-004                   15.99    0   1   15.99
TVP-14011374   January   1/20/2014   complete   Aaron      Kang        US   Aaron      Kang        US   authorizenet      USD   TVPAD-AC-001                   15.99    0   1   15.99
TVP-70011118   January   1/27/2014   complete   Xiu        Yu          US   Freda      Ho          US   authorizenet      USD   TVPAD-AC-003-TVPAD-AC-003-US   15.99    0   1   15.99
TVP-70011118   January   1/27/2014   complete   Xiu        Yu          US   Freda      Ho          US   authorizenet      USD   TVPAD-AC-001                   15.99    0   1   15.99
TVP-14011376   January   1/20/2014   complete   Jesse      Chase       US   Jesse      Chase       US   authorizenet      USD   TVPAD-004                       259    10   1    249
TVP-14011376   January   1/20/2014   complete   Jesse      Chase       US   Jesse      Chase       US   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011376   January   1/20/2014   complete   Jesse      Chase       US   Jesse      Chase       US   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011377   January   1/20/2014   complete   Fong       Long        FR   Fong       Long        FR   authorizenet      USD   TVPAD-004                       259    10   1    249
TVP-14011377   January   1/20/2014   complete   Fong       Long        FR   Fong       Long        FR   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011377   January   1/20/2014   complete   Fong       Long        FR   Fong       Long        FR   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011378   January   1/20/2014   complete   An         Ling        IE   An         Ling        IE   authorizenet      EUR   TVPAD-004                       259    10   1    249
TVP-14011378   January   1/20/2014   complete   An         Ling        IE   An         Ling        IE   authorizenet      EUR   HGIFT2                             0    0   1       0
TVP-14011378   January   1/20/2014   complete   An         Ling        IE   An         Ling        IE   authorizenet      EUR   HGIFT1                             0    0   1       0
TVP-70011121   January   1/20/2014   complete   Li         Chen        AU   Li         Chen        AU   authorizenet      USD   TVPAD-004                       259    10   1    249
TVP-70011121   January   1/20/2014   complete   Li         Chen        AU   Li         Chen        AU   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011379   January   1/20/2014   complete   IENG       PUN         GB   IENG       PUN         GB   authorizenet      GBP   TVPAD-004                       259    10   1    249
TVP-14011379   January   1/20/2014   complete   IENG       PUN         GB   IENG       PUN         GB   authorizenet      GBP   HGIFT2                             0    0   1       0
TVP-14011379   January   1/20/2014   complete   IENG       PUN         GB   IENG       PUN         GB   authorizenet      GBP   HGIFT1                             0    0   1       0
TVP-14011380   January   1/20/2014   complete   Ben        Chen        US   Ben        Chen        US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14011380   January   1/20/2014   complete   Ben        Chen        US   Ben        Chen        US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14011380   January   1/20/2014   complete   Ben        Chen        US   Ben        Chen        US   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14011381   January   1/20/2014   complete   Julie      Ng          GB   Julie      Ng          GB   paypal_standard   GBP   TVPAD-004                       259    10   1    249
TVP-14011381   January   1/20/2014   complete   Julie      Ng          GB   Julie      Ng          GB   paypal_standard   GBP   HGIFT2                             0    0   1       0
TVP-14011381   January   1/20/2014   complete   Julie      Ng          GB   Julie      Ng          GB   paypal_standard   GBP   HGIFT1                             0    0   1       0
TVP-14011383   January   1/20/2014   complete   Sue        Wong        US   Sue        Wong        US   authorizenet      USD   TVPAD-004                       259    10   1    249
TVP-14011383   January   1/20/2014   complete   Sue        Wong        US   Sue        Wong        US   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011383   January   1/20/2014   complete   Sue        Wong        US   Sue        Wong        US   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011384   January   1/20/2014   complete   George     Cheung      US   GEORGE     CHEUNG      US   authorizenet      USD   TVPAD-004                       259    10   1    249
TVP-14011384   January   1/20/2014   complete   George     Cheung      US   GEORGE     CHEUNG      US   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011384   January   1/20/2014   complete   George     Cheung      US   GEORGE     CHEUNG      US   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011385   January   1/20/2014   complete   Chiu       Wong        US   Chiu       Wong)       US   authorizenet      USD   TVPAD-004                       259    10   1    249
TVP-14011385   January   1/20/2014   complete   Chiu       Wong        US   Chiu       Wong)       US   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011385   January   1/20/2014   complete   Chiu       Wong        US   Chiu       Wong)       US   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011386   January   1/20/2014   complete   ray        mok         US   ray        mok         US   paypal_standard   USD   TVPAD-AC-001                   15.99    0   1   15.99
TVP-14011387   January   1/20/2014   complete   David      Ng          US   David      Ng          US   paypal_standard   USD   TVPAD-AC-001                   15.99    0   1   15.99
TVP-14011389   January   1/20/2014   complete   Lina       Ting        AU   Lina       Ting        AU   paypal_standard   USD   TVPAD-004                       259    20   1    239
TVP-14011389   January   1/20/2014   complete   Lina       Ting        AU   Lina       Ting        AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14011389   January   1/20/2014   complete   Lina       Ting        AU   Lina       Ting        AU   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14011390   January   1/20/2014   complete   Wonhee     Hahn        US   Wonhee     Hahn        US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14011390   January   1/20/2014   complete   Wonhee     Hahn        US   Wonhee     Hahn        US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14011390   January   1/20/2014   complete   Wonhee     Hahn        US   Wonhee     Hahn        US   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14011391   January   1/20/2014   complete   Vincent    Zhang       NZ   Vincent    Zhang       NZ   authorizenet      USD   TVPAD-004                       259    10   1    249
TVP-14011391   January   1/20/2014   complete   Vincent    Zhang       NZ   Vincent    Zhang       NZ   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011391   January   1/20/2014   complete   Vincent    Zhang       NZ   Vincent    Zhang       NZ   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011392   January   1/20/2014   complete   Jay        cho         US   Jay        cho         US   authorizenet      USD   TVPAD-004                       259    10   1     249
TVP-14011392   January   1/20/2014   complete   Jay        cho         US   Jay        cho         US   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011392   January   1/20/2014   complete   Jay        cho         US   Jay        cho         US   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011393   January   1/20/2014   complete   Hong       Ritchal     US   Hong       Ritchal     US   authorizenet      USD   TVPAD-004                       259    10   1    249
TVP-14011393   January   1/20/2014   complete   Hong       Ritchal     US   Hong       Ritchal     US   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011393   January   1/20/2014   complete   Hong       Ritchal     US   Hong       Ritchal     US   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011394   January   1/20/2014   complete   Chouping   Luo         SE   Chouping   Luo         SE   authorizenet      USD   TVPAD-004                        259   10   1     249
TVP-14011394   January   1/20/2014   complete   Chouping   Luo         SE   Chouping   Luo         SE   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011394   January   1/20/2014   complete   Chouping   Luo         SE   Chouping   Luo         SE   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011396   January   1/20/2014   canceled   Man        Wu          AU   Man        Wu          AU   paypal_standard   USD   TVPAD-AC-004                   15.99    0   1   15.99
TVP-14011397   January   1/20/2014   complete   Michael    Kim         AU   Michael    Kim         AU   authorizenet      USD   TVPAD-004                       259    20   1    239
TVP-14011397   January   1/20/2014   complete   Michael    Kim         AU   Michael    Kim         AU   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011397   January   1/20/2014   complete   Michael    Kim         AU   Michael    Kim         AU   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011398   January   1/27/2014   complete   CIA        KIET        ES   CIA        KIET        ES   authorizenet      USD   TVPAD-AC-001                   15.99    0   1   15.99
TVP-14011399   January   1/20/2014   complete   Raymond    Chiu        AU   Raymond    Chiu        AU   paypal_standard   USD   TVPAD-004                       259    20   1    239
TVP-14011399   January   1/20/2014   complete   Raymond    Chiu        AU   Raymond    Chiu        AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14011399   January   1/20/2014   complete   Raymond    Chiu        AU   Raymond    Chiu        AU   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14011400   January   1/20/2014   complete   Carol      wong        NL   Carol      wong        NL   paypal_standard   EUR   TVPAD-004                       259    10   1    249
TVP-14011400   January   1/20/2014   complete   Carol      wong        NL   Carol      wong        NL   paypal_standard   EUR   HGIFT2                             0    0   1       0
TVP-14011400   January   1/20/2014   complete   Carol      wong        NL   Carol      wong        NL   paypal_standard   EUR   HGIFT1                             0    0   1       0
TVP-14011401   January   1/20/2014   complete   Chung      Kum-Tong    SG   Chung      Kum-Tong    SG   authorizenet      USD   TVPAD-004                       259    10   1    249
TVP-14011401   January   1/20/2014   complete   Chung      Kum-Tong    SG   Chung      Kum-Tong    SG   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011401   January   1/20/2014   complete   Chung      Kum-Tong    SG   Chung      Kum-Tong    SG   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011402   January   1/20/2014   complete   Sau        Wong        US   Sau        Wong        US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14011402   January   1/20/2014   complete   Sau        Wong        US   Sau        Wong        US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14011402   January   1/20/2014   complete   Sau        Wong        US   Sau        Wong        US   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14011403   January   1/20/2014   complete   Chi        Jing        BR   Chi        Jing        BR   paypal_standard   USD   TVPAD-004                       259    10   1     249
TVP-14011403   January   1/20/2014   complete   Chi        Jing        BR   Chi        Jing        BR   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14011403   January   1/20/2014   complete   Chi        Jing        BR   Chi        Jing        BR   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14011404   January   1/20/2014   complete   JIAXUN     SUN         AU   JIAXUN     SUN         AU   authorizenet      USD   TVPAD-004                       259    10   1     249
TVP-14011404   January   1/20/2014   complete   JIAXUN     SUN         AU   JIAXUN     SUN         AU   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011404   January   1/20/2014   complete   JIAXUN     SUN         AU   JIAXUN     SUN         AU   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011405   January   1/20/2014   complete   Kwai       Liu         GB   Kwai       Liu         GB   paypal_standard   GBP   TVPAD-004                       259    10   1    249
TVP-14011405   January   1/20/2014   complete   Kwai       Liu         GB   Kwai       Liu         GB   paypal_standard   GBP   HGIFT2                             0    0   1       0
TVP-14011405   January   1/20/2014   complete   Kwai       Liu         GB   Kwai       Liu         GB   paypal_standard   GBP   HGIFT1                             0    0   1       0
TVP-14011406   January   1/20/2014   complete   ChiLam     Ng          GB   ChiLam     Ng          GB   paypal_standard   GBP   TVPAD-004                       259    10   1     249
TVP-14011406   January   1/20/2014   complete   ChiLam     Ng          GB   ChiLam     Ng          GB   paypal_standard   GBP   HGIFT2                             0    0   1       0
TVP-14011406   January   1/20/2014   complete   ChiLam     Ng          GB   ChiLam     Ng          GB   paypal_standard   GBP   HGIFT1                             0    0   1       0
TVP-14011408   January   1/20/2014   complete   Steven     Farrior     US   Steven     Farrior     US   paypal_standard   USD   TVPAD-AC-001                   15.99    0   1   15.99
TVP-14011408   January   1/20/2014   complete   Steven     Farrior     US   Steven     Farrior     US   paypal_standard   USD   TVPAD-AC-002                   15.99    0   1   15.99
TVP-70011122   January   1/20/2014   complete   Pauline    chan        GB   Pauline    chan        GB   paypal_standard   GBP   TVPAD-004                       250    10   3     740
TVP-70011122   January   1/20/2014   complete   Pauline    chan        GB   Pauline    chan        GB   paypal_standard   GBP   HGIFT2                             0    0   3       0
TVP-70011122   January   1/20/2014   complete   Pauline    chan        GB   Pauline    chan        GB   paypal_standard   GBP   HGIFT1                             0    0   3       0
TVP-70011123   January   1/21/2014   complete   Hsiu       Chen        NO   Hsiu       Chen        NO   authorizenet      USD   TVPAD-004                       259    10   1     249
TVP-70011123   January   1/21/2014   complete   Hsiu       Chen        NO   Hsiu       Chen        NO   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-70011123   January   1/21/2014   complete   Hsiu       Chen        NO   Hsiu       Chen        NO   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011409   January   1/21/2014   complete   Zhoujie    Fang        SE   Zhoujie    Fang        SE   authorizenet      EUR   TVPAD-004                       259    10   1     249
TVP-14011409   January   1/21/2014   complete   Zhoujie    Fang        SE   Zhoujie    Fang        SE   authorizenet      EUR   HGIFT2                             0    0   1       0
TVP-14011409   January   1/21/2014   complete   Zhoujie    Fang        SE   Zhoujie    Fang        SE   authorizenet      EUR   HGIFT1                             0    0   1       0
TVP-14011410   January   1/21/2014   complete   Xiaobo     Xi          NZ   Xiaobo     Xi          NZ   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14011410   January   1/21/2014   complete   Xiaobo     Xi          NZ   Xiaobo     Xi          NZ   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14011410   January   1/21/2014   complete   Xiaobo     Xi          NZ   Xiaobo     Xi          NZ   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14011411   January   1/21/2014   complete   kookil     byun        CA   kookil     byun        CA   paypal_standard   USD   TVPAD-004                        259   10   1     249
TVP-14011411   January   1/21/2014   complete   kookil     byun        CA   kookil     byun        CA   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14011411   January   1/21/2014   complete   kookil     byun        CA   kookil     byun        CA   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14011412   January   1/21/2014   complete   Kachuen    Lee         GB   Kachuen    Lee         GB   authorizenet      GBP   TVPAD-004                       259    10   1     249
TVP-14011412   January   1/21/2014   complete   Kachuen    Lee         GB   Kachuen    Lee         GB   authorizenet      GBP   HGIFT2                             0    0   1       0
TVP-14011412   January   1/21/2014   complete   Kachuen    Lee         GB   Kachuen    Lee         GB   authorizenet      GBP   HGIFT1                             0    0   1       0
TVP-14011413   January   1/21/2014   complete   benny      tse         NZ   benny      tse         NZ   authorizenet      USD   TVPAD-004                       259    20   1     239
TVP-14011413   January   1/21/2014   complete   benny      tse         NZ   benny      tse         NZ   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011413   January   1/21/2014   complete   benny      tse         NZ   benny      tse         NZ   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011414   January   1/21/2014   complete   Youngho    Kim         BR   Youngho    Kim         BR   paypal_standard   USD   TVPAD-004                       259    10   1     249
TVP-14011414   January   1/21/2014   complete   Youngho    Kim         BR   Youngho    Kim         BR   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14011414   January   1/21/2014   complete   Youngho    Kim         BR   Youngho    Kim         BR   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14011416   January   1/21/2014   complete   Angel      Tang        GB   Angel      Tang        JE   authorizenet      GBP   TVPAD-004                       259    20   1     239
TVP-14011416   January   1/21/2014   complete   Angel      Tang        GB   Angel      Tang        JE   authorizenet      GBP   HGIFT2                             0    0   1       0
TVP-14011416   January   1/21/2014   complete   Angel      Tang        GB   Angel      Tang        JE   authorizenet      GBP   HGIFT1                             0    0   1       0
TVP-14011417   January   1/21/2014   complete   kwok       fung        GB   Jin        Wu          GB   authorizenet      GBP   TVPAD-004                        259   10   1     249
TVP-14011417   January   1/21/2014   complete   kwok       fung        GB   Jin        Wu          GB   authorizenet      GBP   HGIFT2                             0    0   1       0
TVP-14011417   January   1/21/2014   complete   kwok       fung        GB   Jin        Wu          GB   authorizenet      GBP   HGIFT1                             0    0   1       0
TVP-14011418   January   1/21/2014   complete   Nadia      Jong        AU   Nadia      Jong        AU   paypal_standard   USD   TVPAD-004                       259    10   1     249
TVP-14011418   January   1/21/2014   complete   Nadia      Jong        AU   Nadia      Jong        AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14011418   January   1/21/2014   complete   Nadia      Jong        AU   Nadia      Jong        AU   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14011419   January   1/21/2014   complete   joseph     koh         US   JOSEPH     KOH         US   authorizenet      USD   TVPAD-004                       259    10   1     249
TVP-14011419   January   1/21/2014   complete   joseph     koh         US   JOSEPH     KOH         US   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011419   January   1/21/2014   complete   joseph     koh         US   JOSEPH     KOH         US   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011420   January   1/21/2014   complete   anna       phan        US   anna       phan        US   authorizenet      USD   TVPAD-004                       259    10   1     249
TVP-14011420   January   1/21/2014   complete   anna       phan        US   anna       phan        US   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011420   January   1/21/2014   complete   anna       phan        US   anna       phan        US   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-70011124   January   1/21/2014   complete   Yao        chen        US   Yao        chen        US   authorizenet      USD   TVPAD-AC-001                   15.99    0   1   15.99
TVP-14011421   January   1/21/2014   complete   Nikki      wang        AU   Nikki      wang        AU   authorizenet      AUD   TVPAD-004                        259   10   1     249
TVP-14011421   January   1/21/2014   complete   Nikki      wang        AU   Nikki      wang        AU   authorizenet      AUD   HGIFT2                             0    0   1       0
TVP-14011421   January   1/21/2014   complete   Nikki      wang        AU   Nikki      wang        AU   authorizenet      AUD   HGIFT1                             0    0   1       0
TVP-70011125   January   1/21/2014   complete   NENG       TAN         US   NENG       TAN         US   paypal_standard   USD   TVPAD-004                        259   10   1     249
TVP-70011125   January   1/21/2014   complete   NENG       TAN         US   NENG       TAN         US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-70011125   January   1/21/2014   complete   NENG       TAN         US   NENG       TAN         US   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14011422   January   1/21/2014   complete   Justin     Lam         US   Justin     Lam         US   authorizenet      USD   TVPAD-004                        259   10   1     249
TVP-14011422   January   1/21/2014   complete   Justin     Lam         US   Justin     Lam         US   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011422   January   1/21/2014   complete   Justin     Lam         US   Justin     Lam         US   authorizenet      USD   HGIFT1                             0    0   1       0
TVP-14011423   January   1/22/2014   complete   Sachiko    Kuroiwa     AU   Sachiko    Kuroiwa     AU   authorizenet      USD   TVPAD-004                       259    10   1     249
TVP-14011423   January   1/22/2014   complete   Sachiko    Kuroiwa     AU   Sachiko    Kuroiwa     AU   authorizenet      USD   HGIFT2                             0    0   1       0
TVP-14011423   January   1/22/2014   complete   Sachiko    Kuroiwa     AU   Sachiko    Kuroiwa     AU   authorizenet      USD   HGIFT1                             0    0   1       0
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TVP-70011126   January   1/22/2014   complete   Nelson      Jen           US   Nelson      Jen           US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-70011126   January   1/22/2014   complete   Nelson      Jen           US   Nelson      Jen           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-70011126   January   1/22/2014   complete   Nelson      Jen           US   Nelson      Jen           US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011425   January   1/22/2014   complete   Chau        Lin           GB   Chau        Lin           GB   paypal_standard   GBP   TVPAD-004       250    10   2    490
TVP-14011425   January   1/22/2014   complete   Chau        Lin           GB   Chau        Lin           GB   paypal_standard   GBP   HGIFT1             0    0   2       0
TVP-14011425   January   1/22/2014   complete   Chau        Lin           GB   Chau        Lin           GB   paypal_standard   GBP   HGIFT1             0    0   2       0
TVP-14011426   January   1/22/2014   complete   feng        gao           US   PING        GAO           US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011426   January   1/22/2014   complete   feng        gao           US   PING        GAO           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011426   January   1/22/2014   complete   feng        gao           US   PING        GAO           US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011428   January   1/22/2014   complete   Shan        Poon          US   Shan        Poon          US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14011428   January   1/22/2014   complete   Shan        Poon          US   Shan        Poon          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011428   January   1/22/2014   complete   Shan        Poon          US   Shan        Poon          US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011429   January   1/22/2014   complete   HOI LAM     TSANG         US   BETTY       HO            US   authorizenet      USD   TVPAD-AC-001   15.99    0   1   15.99
TVP-14011430   January   1/22/2014   complete   YANI        TIAN          AU   YANI        TIAN          AU   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011430   January   1/22/2014   complete   YANI        TIAN          AU   YANI        TIAN          AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011430   January   1/22/2014   complete   YANI        TIAN          AU   YANI        TIAN          AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011431   January   1/22/2014   complete   Wei         He            CA   Wei         He            CA   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011431   January   1/22/2014   complete   Wei         He            CA   Wei         He            CA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011431   January   1/22/2014   complete   Wei         He            CA   Wei         He            CA   authorizenet      USD   HGIFT1             0    0   1       0
TVP-70011127   January   1/22/2014   complete   Zhuobin     zhao          GB   Zhuobin     zhao          GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-70011127   January   1/22/2014   complete   Zhuobin     zhao          GB   Zhuobin     zhao          GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-70011127   January   1/22/2014   complete   Zhuobin     zhao          GB   Zhuobin     zhao          GB   paypal_standard   GBP   HGIFT1             0    0   1       0
TVP-14011432   January   1/22/2014   complete   Steve       Pange         US   Steve       Pange         US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14011432   January   1/22/2014   complete   Steve       Pange         US   Steve       Pange         US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011432   January   1/22/2014   complete   Steve       Pange         US   Steve       Pange         US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011433   January   1/22/2014   complete   Koichi      Kigami        NZ   Koichi      Kigami        NZ   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011433   January   1/22/2014   complete   Koichi      Kigami        NZ   Koichi      Kigami        NZ   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011434   January   1/22/2014   complete   Quen        Chen          US   Quen        Chen          US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011434   January   1/22/2014   complete   Quen        Chen          US   Quen        Chen          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011434   January   1/22/2014   complete   Quen        Chen          US   Quen        Chen          US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011435   January   1/22/2014   complete   Ricky       Chen          US   Ricky       Chen          US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011435   January   1/22/2014   complete   Ricky       Chen          US   Ricky       Chen          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011435   January   1/22/2014   complete   Ricky       Chen          US   Ricky       Chen          US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011436   January   1/27/2014   complete   Jingliang   Xie           NZ   Jingliang   Xie           NZ   authorizenet      USD   TVPAD-AC-001   15.99    0   1   15.99
TVP-14011437   January   1/22/2014   complete   Linjing     Yao           AU   Linjing     Yao           AU   authorizenet      AUD   TVPAD-004       259    20   1    239
TVP-14011437   January   1/22/2014   complete   Linjing     Yao           AU   Linjing     Yao           AU   authorizenet      AUD   HGIFT2             0    0   1       0
TVP-14011437   January   1/22/2014   complete   Linjing     Yao           AU   Linjing     Yao           AU   authorizenet      AUD   HGIFT1             0    0   1       0
TVP-14011438   January   1/22/2014   complete   Hooi        Kee           AU   Hooi        Kee           AU   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14011438   January   1/22/2014   complete   Hooi        Kee           AU   Hooi        Kee           AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011438   January   1/22/2014   complete   Hooi        Kee           AU   Hooi        Kee           AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011439   January   1/27/2014   complete   Whitney     chu           US   Whitney     chu           SR   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011439   January   1/27/2014   complete   Whitney     chu           US   Whitney     chu           SR   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011439   January   1/27/2014   complete   Whitney     chu           US   Whitney     chu           SR   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011440   January   1/23/2014   complete   Oi          Tang          IE   Irene       Tang          IE   authorizenet      EUR   TVPAD-004       250    10   2    490
TVP-14011440   January   1/23/2014   complete   Oi          Tang          IE   Irene       Tang          IE   authorizenet      EUR   HGIFT2             0    0   2       0
TVP-14011440   January   1/23/2014   complete   Oi          Tang          IE   Irene       Tang          IE   authorizenet      EUR   HGIFT1             0    0   2       0
TVP-14011441   January   1/22/2014   complete   DADING      ZHEN          GB   DADING      ZHEN          GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-14011441   January   1/22/2014   complete   DADING      ZHEN          GB   DADING      ZHEN          GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14011441   January   1/22/2014   complete   DADING      ZHEN          GB   DADING      ZHEN          GB   paypal_standard   GBP   HGIFT1             0    0   1       0
TVP-14011443   January   1/23/2014   complete   Xue         Hou           US   Xue         Hou           US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14011443   January   1/23/2014   complete   Xue         Hou           US   Xue         Hou           US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011443   January   1/23/2014   complete   Xue         Hou           US   Xue         Hou           US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011444   January   1/23/2014   complete   Chi         Tang          GB   CHI         TANG          GB   paypal_standard   GBP   TVPAD-004       259    20   1    239
TVP-14011444   January   1/23/2014   complete   Chi         Tang          GB   CHI         TANG          GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14011445   January   1/23/2014   complete   Lai         Suen          SE   Lai         Suen          SE   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011445   January   1/23/2014   complete   Lai         Suen          SE   Lai         Suen          SE   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011445   January   1/23/2014   complete   Lai         Suen          SE   Lai         Suen          SE   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011447   January   1/23/2014   complete   YEE TAI     LAM           SE   YEE         LAM           SE   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011447   January   1/23/2014   complete   YEE TAI     LAM           SE   YEE         LAM           SE   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011447   January   1/23/2014   complete   YEE TAI     LAM           SE   YEE         LAM           SE   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011448   January   1/23/2014   complete   buo         zheng         US   buo         zheng         US   authorizenet      USD   TVPAD-004       259    15   1    244
TVP-14011448   January   1/23/2014   complete   buo         zheng         US   buo         zheng         US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011448   January   1/23/2014   complete   buo         zheng         US   buo         zheng         US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011449   January   1/23/2014   complete   Ai          Vuong         AU   Charlene    Vuong         AU   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011449   January   1/23/2014   complete   Ai          Vuong         AU   Charlene    Vuong         AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011449   January   1/23/2014   complete   Ai          Vuong         AU   Charlene    Vuong         AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011450   January   1/23/2014   complete   hilda       patterson     US   hilda       patterson     US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011450   January   1/23/2014   complete   hilda       patterson     US   hilda       patterson     US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011450   January   1/23/2014   complete   hilda       patterson     US   hilda       patterson     US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011451   January   1/23/2014   complete   David       Song          AU   David       Song          AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14011451   January   1/23/2014   complete   David       Song          AU   David       Song          AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011451   January   1/23/2014   complete   David       Song          AU   David       Song          AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011452   January   1/23/2014   complete   Beatrice    Poon          NZ   Beatrice    Poon          NZ   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011452   January   1/23/2014   complete   Beatrice    Poon          NZ   Beatrice    Poon          NZ   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011452   January   1/23/2014   complete   Beatrice    Poon          NZ   Beatrice    Poon          NZ   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011453   January   1/23/2014   complete   N           LA            GB   Nam         La            GB   authorizenet      GBP   TVPAD-004        259   10   1     249
TVP-14011453   January   1/23/2014   complete   N           LA            GB   Nam         La            GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14011453   January   1/23/2014   complete   N           LA            GB   Nam         La            GB   authorizenet      GBP   HGIFT1             0    0   1       0
TVP-14011454   January   1/23/2014   complete   Wing        Pat           AU   Wing        Pat           AU   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011454   January   1/23/2014   complete   Wing        Pat           AU   Wing        Pat           AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011454   January   1/23/2014   complete   Wing        Pat           AU   Wing        Pat           AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011455   January   1/24/2014   complete   Brochot     jean-hugues   FR   Brochot     Jean-hugues   FR   authorizenet      EUR   TVPAD-004        259   10   1     249
TVP-14011455   January   1/24/2014   complete   Brochot     jean-hugues   FR   Brochot     Jean-hugues   FR   authorizenet      EUR   HGIFT2             0    0   1       0
TVP-14011455   January   1/24/2014   complete   Brochot     jean-hugues   FR   Brochot     Jean-hugues   FR   authorizenet      EUR   HGIFT1             0    0   1       0
TVP-14011456   January   1/24/2014   complete   DAVID       WO            US   DAVID       WO            US   authorizenet      USD   TVPAD-004       259    10   1     249
TVP-14011456   January   1/24/2014   complete   DAVID       WO            US   DAVID       WO            US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011456   January   1/24/2014   complete   DAVID       WO            US   DAVID       WO            US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011458   January   1/24/2014   complete   Zhetong     Chen          AU   Zhetong     Chen          AU   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011458   January   1/24/2014   complete   Zhetong     Chen          AU   Zhetong     Chen          AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011458   January   1/24/2014   complete   Zhetong     Chen          AU   Zhetong     Chen          AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011459   January   1/24/2014   complete   Kevin       Wu            US   Kevin       Wu            US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14011459   January   1/24/2014   complete   Kevin       Wu            US   Kevin       Wu            US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011459   January   1/24/2014   complete   Kevin       Wu            US   Kevin       Wu            US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011460   January   1/24/2014   complete   Kin         Leong         CA   Kin         Leong         CA   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011460   January   1/24/2014   complete   Kin         Leong         CA   Kin         Leong         CA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011460   January   1/24/2014   complete   Kin         Leong         CA   Kin         Leong         CA   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011461   January   1/24/2014   complete   yu          yang          GB   yang        ping          GB   authorizenet      GBP   TVPAD-004        259   10   1     249
TVP-14011461   January   1/24/2014   complete   yu          yang          GB   yang        ping          GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14011461   January   1/24/2014   complete   yu          yang          GB   yang        ping          GB   authorizenet      GBP   HGIFT1             0    0   1       0
TVP-14011463   January   1/24/2014   complete   Joana       carvalho      GB   Joana       carvalho      GB   paypal_standard   GBP   TVPAD-004        259   10   1    249
TVP-14011463   January   1/24/2014   complete   Joana       carvalho      GB   Joana       carvalho      GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14011463   January   1/24/2014   complete   Joana       carvalho      GB   Joana       carvalho      GB   paypal_standard   GBP   HGIFT1             0    0   1       0
TVP-14011464   January   1/24/2014   complete   Chen-Pei    Lengkong      US   Chen-Pei    Lengkong      US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011464   January   1/24/2014   complete   Chen-Pei    Lengkong      US   Chen-Pei    Lengkong      US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011464   January   1/24/2014   complete   Chen-Pei    Lengkong      US   Chen-Pei    Lengkong      US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011465   January   1/24/2014   complete   CASEY       KIM           US   CASEY       KIM           US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011465   January   1/24/2014   complete   CASEY       KIM           US   CASEY       KIM           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011465   January   1/24/2014   complete   CASEY       KIM           US   CASEY       KIM           US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-70011129   January   1/24/2014   complete   Siyin       Meng          CA   Siyin       Meng          CA   authorizenet      CAD   TVPAD-004        259   10   1     249
TVP-70011129   January   1/24/2014   complete   Siyin       Meng          CA   Siyin       Meng          CA   authorizenet      CAD   HGIFT2             0    0   1       0
TVP-70011129   January   1/24/2014   complete   Siyin       Meng          CA   Siyin       Meng          CA   authorizenet      CAD   HGIFT1             0    0   1       0
TVP-14011466   January   1/24/2014   complete   Lemeng      Sun           NZ   Lemeng      Sun           NZ   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011466   January   1/24/2014   complete   Lemeng      Sun           NZ   Lemeng      Sun           NZ   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011466   January   1/24/2014   complete   Lemeng      Sun           NZ   Lemeng      Sun           NZ   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011467   January   1/24/2014   complete   jian        gong          US   jian        gong          US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011467   January   1/24/2014   complete   jian        gong          US   jian        gong          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011467   January   1/24/2014   complete   jian        gong          US   jian        gong          US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011468   January   1/25/2014   complete   Alfred      Lui           US   Alfred      Lui           US   authorizenet      USD   TVPAD-004        259   20   1     239
TVP-14011468   January   1/25/2014   complete   Alfred      Lui           US   Alfred      Lui           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011468   January   1/25/2014   complete   Alfred      Lui           US   Alfred      Lui           US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011469   January   1/27/2014   complete   Sun         Rhee          US   Sun         Rhee          US   authorizenet      USD   TVPAD-006        375   15   1     360
TVP-14011469   January   1/27/2014   complete   Sun         Rhee          US   Sun         Rhee          US   authorizenet      USD   TVPAD-GM-002       0    0   2       0
TVP-14011469   January   1/27/2014   complete   Sun         Rhee          US   Sun         Rhee          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011469   January   1/27/2014   complete   Sun         Rhee          US   Sun         Rhee          US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-70011130   January   1/27/2014   complete   Jin         Yan           CA   Ho          chow          CA   authorizenet      CAD   TVPAD-004        259   10   1     249
TVP-70011130   January   1/27/2014   complete   Jin         Yan           CA   Ho          chow          CA   authorizenet      CAD   HGIFT2             0    0   1       0
TVP-70011130   January   1/27/2014   complete   Jin         Yan           CA   Ho          chow          CA   authorizenet      CAD   HGIFT1             0    0   1       0
TVP-14011470   January   1/27/2014   complete   hua         zheng         US   hua         zheng         US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011470   January   1/27/2014   complete   hua         zheng         US   hua         zheng         US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011470   January   1/27/2014   complete   hua         zheng         US   hua         zheng         US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-70011131   January   1/25/2014   complete   Mengjun     Wu            NZ   Mengjun     Wu            NZ   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-70011131   January   1/25/2014   complete   Mengjun     Wu            NZ   Mengjun     Wu            NZ   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-70011131   January   1/25/2014   complete   Mengjun     Wu            NZ   Mengjun     Wu            NZ   paypal_standard   AUD   HGIFT1             0    0   1       0
TVP-14011471   January   1/27/2014   complete   Hui         Lin           US   Lei         Ding          US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011471   January   1/27/2014   complete   Hui         Lin           US   Lei         Ding          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011471   January   1/27/2014   complete   Hui         Lin           US   Lei         Ding          US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011472   January   1/25/2014   complete   Frederick   Tam           AU   Frederick   Tam           AU   paypal_standard   USD   TVPAD-004        259   10   1     249
TVP-14011472   January   1/25/2014   complete   Frederick   Tam           AU   Frederick   Tam           AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011473   January   1/25/2014   complete   Sean        Chua          AU   Sean        Chua          AU   paypal_standard   AUD   TVPAD-004        259   10   1     249
TVP-14011473   January   1/25/2014   complete   Sean        Chua          AU   Sean        Chua          AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14011473   January   1/25/2014   complete   Sean        Chua          AU   Sean        Chua          AU   paypal_standard   AUD   HGIFT1             0    0   1       0
TVP-14011474   January   1/27/2014   complete   Gary        Wong          AU   Gary        Wong          AU   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011474   January   1/27/2014   complete   Gary        Wong          AU   Gary        Wong          AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011474   January   1/27/2014   complete   Gary        Wong          AU   Gary        Wong          AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011475   January   1/25/2014   complete   Boon        Teo           AU   Boon        Teo           AU   paypal_standard   USD   TVPAD-004        259   10   1     249
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TVP-14011475   January   1/25/2014   complete   Boon         Teo            AU   Boon         Teo            AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011475   January   1/25/2014   complete   Boon         Teo            AU   Boon         Teo            AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011476   January   1/27/2014   complete   Chai-Yuan    Chang          GB   Chai-Yuan    Chang          GB   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011476   January   1/27/2014   complete   Chai-Yuan    Chang          GB   Chai-Yuan    Chang          GB   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011476   January   1/27/2014   complete   Chai-Yuan    Chang          GB   Chai-Yuan    Chang          GB   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011477   January   1/27/2014   closed     Yan          Li             US   Yan          Li             US   authorizenet      USD   TVPAD-004       259    20   1    239
TVP-14011477   January   1/27/2014   closed     Yan          Li             US   Yan          Li             US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011477   January   1/27/2014   closed     Yan          Li             US   Yan          Li             US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011478   January   1/27/2014   complete   Pascal       Clement        CH   Pascal       Clement        CH   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011478   January   1/27/2014   complete   Pascal       Clement        CH   Pascal       Clement        CH   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011478   January   1/27/2014   complete   Pascal       Clement        CH   Pascal       Clement        CH   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011479   January   1/26/2014   complete   hongnam      jang           US   hongnam      jang           US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14011479   January   1/26/2014   complete   hongnam      jang           US   hongnam      jang           US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011479   January   1/26/2014   complete   hongnam      jang           US   hongnam      jang           US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011480   January   1/27/2014   complete   Esther       Yeung          US   Esther       Yeung          US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011480   January   1/27/2014   complete   Esther       Yeung          US   Esther       Yeung          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011480   January   1/27/2014   complete   Esther       Yeung          US   Esther       Yeung          US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011482   January   1/26/2014   complete   jeong        kim            CA   jeong        kim            CA   paypal_standard   USD   TVPAD-AC-001   15.99    0   1   15.99
TVP-14011485   January   1/26/2014   complete   Tony         Quach          US   Tony         Quach          US   paypal_standard   USD   TVPAD-AC-001   15.99    0   1   15.99
TVP-14011486   January   1/27/2014   complete   Ryan         Lu             CA   Kelvin       tran           CA   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011486   January   1/27/2014   complete   Ryan         Lu             CA   Kelvin       tran           CA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011486   January   1/27/2014   complete   Ryan         Lu             CA   Kelvin       tran           CA   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011487   January   1/27/2014   complete   s            luong          GB   sin          luong          GB   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011487   January   1/27/2014   complete   s            luong          GB   sin          luong          GB   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011487   January   1/27/2014   complete   s            luong          GB   sin          luong          GB   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011488   January   1/27/2014   complete   leo          chung          GB   leo          chung          GB   authorizenet      USD   TVPAD-AC-001   15.99    0   1   15.99
TVP-14011489   January   1/27/2014   complete   Jessica      Ho             GB   Jessica      Ho             GB   authorizenet      GBP   TVPAD-004       250    10   2    490
TVP-14011489   January   1/27/2014   complete   Jessica      Ho             GB   Jessica      Ho             GB   authorizenet      GBP   HGIFT2             0    0   2       0
TVP-14011489   January   1/27/2014   complete   Jessica      Ho             GB   Jessica      Ho             GB   authorizenet      GBP   HGIFT1             0    0   2       0
TVP-14011490   January   1/27/2014   complete   William      Wong           GB   William      Wong           GB   authorizenet      GBP   TVPAD-004       259    10   1    249
TVP-14011490   January   1/27/2014   complete   William      Wong           GB   William      Wong           GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14011490   January   1/27/2014   complete   William      Wong           GB   William      Wong           GB   authorizenet      GBP   HGIFT1             0    0   1       0
TVP-14011491   January   1/27/2014   complete   Elsa         Chan           NZ   Elsa         Chan           NZ   paypal_standard   USD   TVPAD-004       259    15   1    244
TVP-14011491   January   1/27/2014   complete   Elsa         Chan           NZ   Elsa         Chan           NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011491   January   1/27/2014   complete   Elsa         Chan           NZ   Elsa         Chan           NZ   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011492   January   1/27/2014   complete   YuBao        Chu            US   YuBao        Chu            US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011492   January   1/27/2014   complete   YuBao        Chu            US   YuBao        Chu            US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011492   January   1/27/2014   complete   YuBao        Chu            US   YuBao        Chu            US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011493   January   1/27/2014   complete   Howard       Lam            AU   Howard       Lam            AU   paypal_standard   USD   TVPAD-004       259    15   1    244
TVP-14011493   January   1/27/2014   complete   Howard       Lam            AU   Howard       Lam            AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011493   January   1/27/2014   complete   Howard       Lam            AU   Howard       Lam            AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011494   January   1/27/2014   complete   Mei-Hung     Chang          US   Mei-Hung     Chang          US   paypal_standard   USD   TVPAD-AC-001   15.99    0   2   31.98
TVP-14011495   January   1/27/2014   complete   Kim          Fong           AU   Kim          Fong           AU   authorizenet      USD   TVPAD-004        259   10   1    249
TVP-14011495   January   1/27/2014   complete   Kim          Fong           AU   Kim          Fong           AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011495   January   1/27/2014   complete   Kim          Fong           AU   Kim          Fong           AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011496   January   1/27/2014   complete   Daniel       Chang          AU   Daniel       Chang          AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14011496   January   1/27/2014   complete   Daniel       Chang          AU   Daniel       Chang          AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14011496   January   1/27/2014   complete   Daniel       Chang          AU   Daniel       Chang          AU   paypal_standard   AUD   HGIFT1             0    0   1       0
TVP-14011498   January   1/27/2014   complete   Edmund       Leung          US   Edmund       Leung          US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011498   January   1/27/2014   complete   Edmund       Leung          US   Edmund       Leung          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011498   January   1/27/2014   complete   Edmund       Leung          US   Edmund       Leung          US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011499   January   1/27/2014   complete   arlen        tien           US   arlen        Tien           US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14011499   January   1/27/2014   complete   arlen        tien           US   arlen        Tien           US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011499   January   1/27/2014   complete   arlen        tien           US   arlen        Tien           US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011501   January   1/27/2014   complete   Zhi          liu            US   Zhi          liu            US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14011501   January   1/27/2014   complete   Zhi          liu            US   Zhi          liu            US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011501   January   1/27/2014   complete   Zhi          liu            US   Zhi          liu            US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011502   January   1/27/2014   complete   George       Brown          US   George       Brown          US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011502   January   1/27/2014   complete   George       Brown          US   George       Brown          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011502   January   1/27/2014   complete   George       Brown          US   George       Brown          US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011503   January   1/27/2014   complete   Pierre       Wong           NZ   Pierre       Wong           NZ   authorizenet      USD   TVPAD-004       259    10   1     249
TVP-14011503   January   1/27/2014   complete   Pierre       Wong           NZ   Pierre       Wong           NZ   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011503   January   1/27/2014   complete   Pierre       Wong           NZ   Pierre       Wong           NZ   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011504   January   1/27/2014   closed     Bethany      Li             US   Bethany      Li             US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011504   January   1/27/2014   closed     Bethany      Li             US   Bethany      Li             US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011504   January   1/27/2014   closed     Bethany      Li             US   Bethany      Li             US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011505   January   1/27/2014   complete   Joy          Yuan           NZ   Joy          Yuan           NZ   authorizenet      USD   TVPAD-004       259    20   1     239
TVP-14011505   January   1/27/2014   complete   Joy          Yuan           NZ   Joy          Yuan           NZ   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011505   January   1/27/2014   complete   Joy          Yuan           NZ   Joy          Yuan           NZ   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011506   January   1/27/2014   complete   Louis        TO             FR   AGNES        TO             FR   authorizenet      EUR   TVPAD-004       259    15   1    244
TVP-14011506   January   1/27/2014   complete   Louis        TO             FR   AGNES        TO             FR   authorizenet      EUR   HGIFT2             0    0   1       0
TVP-14011506   January   1/27/2014   complete   Louis        TO             FR   AGNES        TO             FR   authorizenet      EUR   HGIFT1             0    0   1       0
TVP-14011507   January   1/27/2014   complete   Yan          Liang          NZ   Willy        Yu             NZ   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011507   January   1/27/2014   complete   Yan          Liang          NZ   Willy        Yu             NZ   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011510   January   1/28/2014   complete   Duc          Chu            GB   Duc          Chu            GB   authorizenet      GBP   TVPAD-004        259   10   1    249
TVP-14011510   January   1/28/2014   complete   Duc          Chu            GB   Duc          Chu            GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14011510   January   1/28/2014   complete   Duc          Chu            GB   Duc          Chu            GB   authorizenet      GBP   HGIFT1             0    0   1       0
TVP-14011511   January   1/28/2014   complete   David        Tang           US   David        Tang           US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011511   January   1/28/2014   complete   David        Tang           US   David        Tang           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011511   January   1/28/2014   complete   David        Tang           US   David        Tang           US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011512   January   1/28/2014   complete   Adrien       CHIN-YIN-LIM   FR   Adrien       CHIN-YIN-LIM   FR   paypal_standard   EUR   TVPAD-004       259    10   1    249
TVP-14011512   January   1/28/2014   complete   Adrien       CHIN-YIN-LIM   FR   Adrien       CHIN-YIN-LIM   FR   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14011512   January   1/28/2014   complete   Adrien       CHIN-YIN-LIM   FR   Adrien       CHIN-YIN-LIM   FR   paypal_standard   EUR   HGIFT1             0    0   1       0
TVP-14011513   January   1/28/2014   complete   Cheng-kong   Chou           US   Cheng-kong   Chou           US   authorizenet      USD   TVPAD-004        250   10   2     490
TVP-14011513   January   1/28/2014   complete   Cheng-kong   Chou           US   Cheng-kong   Chou           US   authorizenet      USD   HGIFT2             0    0   2       0
TVP-14011513   January   1/28/2014   complete   Cheng-kong   Chou           US   Cheng-kong   Chou           US   authorizenet      USD   HGIFT1             0    0   2       0
TVP-14011514   January   1/28/2014   complete   Chan         Sau            GB   Chan         Sau            GB   paypal_standard   USD   TVPAD-004       250    10   2    490
TVP-14011514   January   1/28/2014   complete   Chan         Sau            GB   Chan         Sau            GB   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14011514   January   1/28/2014   complete   Chan         Sau            GB   Chan         Sau            GB   paypal_standard   USD   HGIFT1             0    0   2       0
TVP-14011515   January   1/28/2014   complete   Jersey       au             GB   Jersey       au             GB   paypal_standard   GBP   TVPAD-AC-004   15.99    0   1   15.99
TVP-14011516   January   1/29/2014   complete   JEONG        SEOKJIN        LA   Jeong        bin            LA   authorizenet      USD   TVPAD-004        250   10   2     490
TVP-14011516   January   1/29/2014   complete   JEONG        SEOKJIN        LA   Jeong        bin            LA   authorizenet      USD   HGIFT2             0    0   2       0
TVP-14011516   January   1/29/2014   complete   JEONG        SEOKJIN        LA   Jeong        bin            LA   authorizenet      USD   HGIFT1             0    0   2       0
TVP-14011517   January   1/28/2014   complete   Bianca       Ting           AU   Bianca       Ting           AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14011517   January   1/28/2014   complete   Bianca       Ting           AU   Bianca       Ting           AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011517   January   1/28/2014   complete   Bianca       Ting           AU   Bianca       Ting           AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011518   January   1/29/2014   complete   HO           CheeWee        SG   HO           CheeWee        SG   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011518   January   1/29/2014   complete   HO           CheeWee        SG   HO           CheeWee        SG   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011518   January   1/29/2014   complete   HO           CheeWee        SG   HO           CheeWee        SG   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011519   January   1/28/2014   complete   Ming Yong    Wong           US   Ming         Wong           US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011519   January   1/28/2014   complete   Ming Yong    Wong           US   Ming         Wong           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011519   January   1/28/2014   complete   Ming Yong    Wong           US   Ming         Wong           US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011520   January   1/29/2014   complete   CHOON        NG             AU   NG           POON           MY   authorizenet      AUD   TVPAD-004       259    10   1    249
TVP-14011520   January   1/29/2014   complete   CHOON        NG             AU   NG           POON           MY   authorizenet      AUD   HGIFT2             0    0   1       0
TVP-14011520   January   1/29/2014   complete   CHOON        NG             AU   NG           POON           MY   authorizenet      AUD   HGIFT1             0    0   1       0
TVP-14011521   January   1/29/2014   complete   EA           MAXIME         FR   EA           MAXIME         FR   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011521   January   1/29/2014   complete   EA           MAXIME         FR   EA           MAXIME         FR   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011521   January   1/29/2014   complete   EA           MAXIME         FR   EA           MAXIME         FR   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011522   January   1/29/2014   complete   Huan         Xu             AU   Huan         Xu             AU   authorizenet      USD   TVPAD-004       250    10   2    490
TVP-14011522   January   1/29/2014   complete   Huan         Xu             AU   Huan         Xu             AU   authorizenet      USD   HGIFT2             0    0   2       0
TVP-14011522   January   1/29/2014   complete   Huan         Xu             AU   Huan         Xu             AU   authorizenet      USD   HGIFT1             0    0   2       0
TVP-14011523   January   1/29/2014   complete   Xiao         Du             AU   Xiao         Du             AU   authorizenet      AUD   TVPAD-004       250    10   2    490
TVP-14011523   January   1/29/2014   complete   Xiao         Du             AU   Xiao         Du             AU   authorizenet      AUD   HGIFT2             0    0   2       0
TVP-14011523   January   1/29/2014   complete   Xiao         Du             AU   Xiao         Du             AU   authorizenet      AUD   HGIFT1             0    0   2       0
TVP-70011132   January   1/29/2014   complete   Ye           wang           NL   Ye           wang           NL   authorizenet      EUR   TVPAD-004        259   10   1    249
TVP-70011132   January   1/29/2014   complete   Ye           wang           NL   Ye           wang           NL   authorizenet      EUR   HGIFT2             0    0   1       0
TVP-70011132   January   1/29/2014   complete   Ye           wang           NL   Ye           wang           NL   authorizenet      EUR   HGIFT1             0    0   1       0
TVP-14011524   January   1/29/2014   complete   WS           So             GB   Virginia     So             GB   authorizenet      GBP   TVPAD-004        250   10   2     490
TVP-14011524   January   1/29/2014   complete   WS           So             GB   Virginia     So             GB   authorizenet      GBP   HGIFT2             0    0   2       0
TVP-14011525   January   1/29/2014   complete   ai           Tay            AU   ai           Tay            AU   authorizenet      AUD   TVPAD-004       259    10   1    249
TVP-14011525   January   1/29/2014   complete   ai           Tay            AU   ai           Tay            AU   authorizenet      AUD   HGIFT2             0    0   1       0
TVP-14011525   January   1/29/2014   complete   ai           Tay            AU   ai           Tay            AU   authorizenet      AUD   HGIFT1             0    0   1       0
TVP-14011526   January   1/29/2014   complete   Richard      Lam            GB   Richard      Lam            GB   authorizenet      GBP   TVPAD-004       259    10   1    249
TVP-14011526   January   1/29/2014   complete   Richard      Lam            GB   Richard      Lam            GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14011526   January   1/29/2014   complete   Richard      Lam            GB   Richard      Lam            GB   authorizenet      GBP   HGIFT1             0    0   1       0
TVP-14011527   January   1/29/2014   complete   yu           georges        FR   yu           georges        FR   authorizenet      EUR   TVPAD-004        259   10   1     249
TVP-14011527   January   1/29/2014   complete   yu           georges        FR   yu           georges        FR   authorizenet      EUR   HGIFT2             0    0   1       0
TVP-14011527   January   1/29/2014   complete   yu           georges        FR   yu           georges        FR   authorizenet      EUR   HGIFT1             0    0   1       0
TVP-14011528   January   1/29/2014   complete   C            HUANG          ZA   C            HUANG          ZA   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011528   January   1/29/2014   complete   C            HUANG          ZA   C            HUANG          ZA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011528   January   1/29/2014   complete   C            HUANG          ZA   C            HUANG          ZA   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011529   January   1/29/2014   complete   Amy          Tong           US   Amy          Tong           US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011529   January   1/29/2014   complete   Amy          Tong           US   Amy          Tong           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011529   January   1/29/2014   complete   Amy          Tong           US   Amy          Tong           US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011530   January   1/29/2014   complete   Lin          Du             US   Lin          Du             US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14011530   January   1/29/2014   complete   Lin          Du             US   Lin          Du             US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011530   January   1/29/2014   complete   Lin          Du             US   Lin          Du             US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011531   January   1/29/2014   complete   YU           GU             AU   YU           GU             AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14011531   January   1/29/2014   complete   YU           GU             AU   YU           GU             AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14011531   January   1/29/2014   complete   YU           GU             AU   YU           GU             AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14011532   January   1/29/2014   complete   Rosia        Chan           US   Rosia        Chan           US   paypal_standard   USD   TVPAD-AC-001   15.99    0   3   47.97
TVP-14011533   January   1/29/2014   complete   patsy        ng             CA   patsy        ng             CA   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14011533   January   1/29/2014   complete   patsy        ng             CA   patsy        ng             CA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14011533   January   1/29/2014   complete   patsy        ng             CA   patsy        ng             CA   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14011534   January   1/29/2014   complete   Fiona        Tran           GB   Fiona        Tran           GB   authorizenet      USD   TVPAD-004        259   15   1     244
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                                   #:20448
TVP-14011534   January    1/29/2014   complete   Fiona       Tran        GB   Fiona      Tran        GB   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011534   January    1/29/2014   complete   Fiona       Tran        GB   Fiona      Tran        GB   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011535   January     2/3/2014   complete   Anthony     Choi        JM   Anthony    Choi        JM   authorizenet      USD   TVPAD-004         259    10    1     249
TVP-14011535   January     2/3/2014   complete   Anthony     Choi        JM   Anthony    Choi        JM   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011535   January     2/3/2014   complete   Anthony     Choi        JM   Anthony    Choi        JM   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011536   January     2/3/2014   complete   Hua         jiang       AU   Hua        jiang       AU   authorizenet      USD   TVPAD-004         259    10    1     249
TVP-14011536   January     2/3/2014   complete   Hua         jiang       AU   Hua        jiang       AU   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011536   January     2/3/2014   complete   Hua         jiang       AU   Hua        jiang       AU   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011537   January    1/29/2014   complete   Gena        Fong        US   Gena       Fong        US   authorizenet      USD   TVPAD-AC-001     15.99    0    1   15.99
TVP-14011539   January    1/29/2014   complete   Charlie     Har         AU   Charlie    Har         AU   paypal_standard   USD   TVPAD-004         259    10    1     249
TVP-14011539   January    1/29/2014   complete   Charlie     Har         AU   Charlie    Har         AU   paypal_standard   USD   HGIFT2               0    0    1       0
TVP-14011539   January    1/29/2014   complete   Charlie     Har         AU   Charlie    Har         AU   paypal_standard   USD   HGIFT1               0    0    1       0
TVP-14011540   January    1/29/2014   complete   Raymond M   Lee         US   Raymond    Lee         US   authorizenet      USD   TVPAD-004         259    10    1     249
TVP-14011540   January    1/29/2014   complete   Raymond M   Lee         US   Raymond    Lee         US   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011540   January    1/29/2014   complete   Raymond M   Lee         US   Raymond    Lee         US   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011541   January    1/29/2014   complete   Sansher     Gieng       GB   Sansher    Gieng       GB   paypal_standard   GBP   TVPAD-004         259    10    1     249
TVP-14011541   January    1/29/2014   complete   Sansher     Gieng       GB   Sansher    Gieng       GB   paypal_standard   GBP   HGIFT2               0    0    1       0
TVP-14011541   January    1/29/2014   complete   Sansher     Gieng       GB   Sansher    Gieng       GB   paypal_standard   GBP   HGIFT1               0    0    1       0
TVP-14011542   January     2/3/2014   complete   Wai         Chan        GB   Wai        Chan        GB   authorizenet      GBP   TVPAD-004         259    10    1     249
TVP-14011542   January     2/3/2014   complete   Wai         Chan        GB   Wai        Chan        GB   authorizenet      GBP   HGIFT2               0    0    1       0
TVP-14011542   January     2/3/2014   complete   Wai         Chan        GB   Wai        Chan        GB   authorizenet      GBP   HGIFT1               0    0    1       0
TVP-14011543   January     2/3/2014   complete   Li          ren         AU   Li         ren         AU   authorizenet      USD   TVPAD-004         259    10    1     249
TVP-14011543   January     2/3/2014   complete   Li          ren         AU   Li         ren         AU   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011543   January     2/3/2014   complete   Li          ren         AU   Li         ren         AU   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011544   January     2/3/2014   complete   XIN         CHEN        GB   XIN        CHEN        GB   authorizenet      GBP   TVPAD-004         259    20    1     239
TVP-14011544   January     2/3/2014   complete   XIN         CHEN        GB   XIN        CHEN        GB   authorizenet      GBP   HGIFT2               0    0    1       0
TVP-14011544   January     2/3/2014   complete   XIN         CHEN        GB   XIN        CHEN        GB   authorizenet      GBP   HGIFT1               0    0    1       0
TVP-14011545   January    1/29/2014   complete   David       sun         AU   David      sun         AU   paypal_standard   USD   TVPAD-AC-004     15.99    0    1   15.99
TVP-14011546   January     2/3/2014   complete   leng        ea          AU   leng       ea          AU   authorizenet      USD   TVPAD-004         259    10    1     249
TVP-14011546   January     2/3/2014   complete   leng        ea          AU   leng       ea          AU   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011546   January     2/3/2014   complete   leng        ea          AU   leng       ea          AU   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011547   January     2/3/2014   complete   Foo         Tsan        NO   Foo        Tsan        NO   authorizenet      USD   TVPAD-004         259    10    1     249
TVP-14011547   January     2/3/2014   complete   Foo         Tsan        NO   Foo        Tsan        NO   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011547   January     2/3/2014   complete   Foo         Tsan        NO   Foo        Tsan        NO   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011548   January    1/30/2014   complete   Duong       Truong      US   Duong      Truong      US   authorizenet      USD   TVPAD-004         259    15    1     244
TVP-14011548   January    1/30/2014   complete   Duong       Truong      US   Duong      Truong      US   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011548   January    1/30/2014   complete   Duong       Truong      US   Duong      Truong      US   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011549   January    1/30/2014   complete   Daniel      Tong        US   Daniel     Tong        US   paypal_standard   USD   TVPAD-004         259    10    1     249
TVP-14011549   January    1/30/2014   complete   Daniel      Tong        US   Daniel     Tong        US   paypal_standard   USD   HGIFT2               0    0    1       0
TVP-14011549   January    1/30/2014   complete   Daniel      Tong        US   Daniel     Tong        US   paypal_standard   USD   HGIFT1               0    0    1       0
TVP-14011550   January    1/30/2014   complete   Simon       Lo          US   Simon      Lo          US   authorizenet      USD   TVPAD-004         259    10    1     249
TVP-14011550   January    1/30/2014   complete   Simon       Lo          US   Simon      Lo          US   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011550   January    1/30/2014   complete   Simon       Lo          US   Simon      Lo          US   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011551   January     2/3/2014   complete   Jason       Kuk         CA   Jason      Kuk         CA   authorizenet      CAD   TVPAD-004         259    10    1     249
TVP-14011551   January     2/3/2014   complete   Jason       Kuk         CA   Jason      Kuk         CA   authorizenet      CAD   HGIFT2               0    0    1       0
TVP-14011551   January     2/3/2014   complete   Jason       Kuk         CA   Jason      Kuk         CA   authorizenet      CAD   HGIFT1               0    0    1       0
TVP-14011552   January     2/3/2014   complete   Richard     Theakston   NZ   Richard    Theakston   NZ   authorizenet      USD   TVPAD-004         259    10    1     249
TVP-14011552   January     2/3/2014   complete   Richard     Theakston   NZ   Richard    Theakston   NZ   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011552   January     2/3/2014   complete   Richard     Theakston   NZ   Richard    Theakston   NZ   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011553   January    1/30/2014   complete   David       Fok         US   David      Fok         US   authorizenet      USD   TVPAD-004         259    20    1     239
TVP-14011553   January    1/30/2014   complete   David       Fok         US   David      Fok         US   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011553   January    1/30/2014   complete   David       Fok         US   David      Fok         US   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011555   January    1/30/2014   complete   Yuen        Hang        AU   Rebecca    Lo          AU   paypal_standard   AUD   TVPAD-004         259    10    1     249
TVP-14011555   January    1/30/2014   complete   Yuen        Hang        AU   Rebecca    Lo          AU   paypal_standard   AUD   HGIFT2               0    0    1       0
TVP-14011555   January    1/30/2014   complete   Yuen        Hang        AU   Rebecca    Lo          AU   paypal_standard   AUD   HGIFT1               0    0    1       0
TVP-14011556   January    1/30/2014   complete   Fui         lee         GB   Fui        lee         MY   paypal_standard   USD   TVPAD-VIRT-003       1    0   12      12
TVP-14011557   January     2/3/2014   complete   WEI         QIN         NZ   WEI        QIN         NZ   authorizenet      USD   TVPAD-004          259   15    1     244
TVP-14011557   January     2/3/2014   complete   WEI         QIN         NZ   WEI        QIN         NZ   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011557   January     2/3/2014   complete   WEI         QIN         NZ   WEI        QIN         NZ   authorizenet      USD   HGIFT1               0    0    1       0
TVP-70011133   January     2/3/2014   complete   Ve          LUC         CH   Ve         LUC         CH   authorizenet      USD   TVPAD-004         250    10    3     740
TVP-70011133   January     2/3/2014   complete   Ve          LUC         CH   Ve         LUC         CH   authorizenet      USD   HGIFT2               0    0    3       0
TVP-70011133   January     2/3/2014   complete   Ve          LUC         CH   Ve         LUC         CH   authorizenet      USD   HGIFT1               0    0    3       0
TVP-14011558   January    1/31/2014   complete   Youchung    Kim         US   Youchung   Kim         US   authorizenet      USD   TVPAD-004         259    10    1     249
TVP-14011558   January    1/31/2014   complete   Youchung    Kim         US   Youchung   Kim         US   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011558   January    1/31/2014   complete   Youchung    Kim         US   Youchung   Kim         US   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011559   January     2/3/2014   complete   Quyen       Ly          NL   Quyen      Ly          NL   authorizenet      USD   TVPAD-004         259    10    1     249
TVP-14011559   January     2/3/2014   complete   Quyen       Ly          NL   Quyen      Ly          NL   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011559   January     2/3/2014   complete   Quyen       Ly          NL   Quyen      Ly          NL   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011560   January    1/31/2014   complete   june        park        US   june       park        US   authorizenet      USD   TVPAD-004         259    10    1     249
TVP-14011560   January    1/31/2014   complete   june        park        US   june       park        US   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011560   January    1/31/2014   complete   june        park        US   june       park        US   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011561   January     2/3/2014   complete   Siew        Chin        GB   Siew       Chin        GB   authorizenet      USD   TVPAD-004          259   15    1     244
TVP-14011561   January     2/3/2014   complete   Siew        Chin        GB   Siew       Chin        GB   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011561   January     2/3/2014   complete   Siew        Chin        GB   Siew       Chin        GB   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011562   January     2/3/2014   complete   Terry       Ho          GB   Terry      Ho          GB   authorizenet      GBP   TVPAD-004          259   10    1     249
TVP-14011562   January     2/3/2014   complete   Terry       Ho          GB   Terry      Ho          GB   authorizenet      GBP   HGIFT2               0    0    1       0
TVP-14011562   January     2/3/2014   complete   Terry       Ho          GB   Terry      Ho          GB   authorizenet      GBP   HGIFT1               0    0    1       0
TVP-14011563   January    1/31/2014   complete   Linda       Lew         US   Linda      Lew         US   paypal_standard   USD   TVPAD-AC-001     15.99    0    1   15.99
TVP-14011564   January     2/3/2014   complete   Karen       Wong        NZ   Karen      Wong        NZ   authorizenet      USD   TVPAD-004         245    10    7    1705
TVP-14011564   January     2/3/2014   complete   Karen       Wong        NZ   Karen      Wong        NZ   authorizenet      USD   HGIFT2               0    0    7       0
TVP-14011564   January     2/3/2014   complete   Karen       Wong        NZ   Karen      Wong        NZ   authorizenet      USD   HGIFT1               0    0    7       0
TVP-14011565   January    1/31/2014   complete   Vincent     Chan        US   Vincent    Chan        US   paypal_standard   USD   TVPAD-004          259   10    1     249
TVP-14011565   January    1/31/2014   complete   Vincent     Chan        US   Vincent    Chan        US   paypal_standard   USD   HGIFT2               0    0    1       0
TVP-14011565   January    1/31/2014   complete   Vincent     Chan        US   Vincent    Chan        US   paypal_standard   USD   HGIFT1               0    0    1       0
TVP-14011566   January    1/31/2014   complete   yikang      liao        AU   yikang     liao        AU   paypal_standard   USD   TVPAD-004         259    10    1     249
TVP-14011566   January    1/31/2014   complete   yikang      liao        AU   yikang     liao        AU   paypal_standard   USD   HGIFT2               0    0    1       0
TVP-14011566   January    1/31/2014   complete   yikang      liao        AU   yikang     liao        AU   paypal_standard   USD   HGIFT1               0    0    1       0
TVP-14011567   February    2/1/2014   complete   Paul        Lee         US   Paul       Lee         US   authorizenet      USD   TVPAD-004          259   10    1     249
TVP-14011567   February    2/1/2014   complete   Paul        Lee         US   Paul       Lee         US   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011567   February    2/1/2014   complete   Paul        Lee         US   Paul       Lee         US   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011568   February    2/3/2014   complete   Kau         Man         GB   Kau        Man         GB   authorizenet      GBP   TVPAD-004         259    10    1     249
TVP-14011568   February    2/3/2014   complete   Kau         Man         GB   Kau        Man         GB   authorizenet      GBP   HGIFT2               0    0    1       0
TVP-14011568   February    2/3/2014   complete   Kau         Man         GB   Kau        Man         GB   authorizenet      GBP   HGIFT1               0    0    1       0
TVP-14011569   February    2/4/2014   complete   Weibiao     Liao        US   Weibiao    Liao        US   authorizenet      USD   TVPAD-AC-004     15.99    0    1   15.99
TVP-14011570   February    2/3/2014   complete   Guy         THAI        FR   Guy        THAI        FR   authorizenet      USD   TVPAD-004         259    10    1     249
TVP-14011570   February    2/3/2014   complete   Guy         THAI        FR   Guy        THAI        FR   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011570   February    2/3/2014   complete   Guy         THAI        FR   Guy        THAI        FR   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011571   February    2/1/2014   closed     Q           Liang       GB   Caroline   Liang       GB   paypal_standard   USD   TVPAD-004         259    10    1     249
TVP-14011571   February    2/1/2014   closed     Q           Liang       GB   Caroline   Liang       GB   paypal_standard   USD   HGIFT2               0    0    1       0
TVP-14011571   February    2/1/2014   closed     Q           Liang       GB   Caroline   Liang       GB   paypal_standard   USD   HGIFT1               0    0    1       0
TVP-14011572   February    2/1/2014   complete   Andy        Poon        US   Andy       Poon        US   paypal_standard   USD   TVPAD-004         259    10    1     249
TVP-14011572   February    2/1/2014   complete   Andy        Poon        US   Andy       Poon        US   paypal_standard   USD   HGIFT2               0    0    1       0
TVP-14011572   February    2/1/2014   complete   Andy        Poon        US   Andy       Poon        US   paypal_standard   USD   HGIFT1               0    0    1       0
TVP-14011573   February    2/3/2014   complete   Shumin      Li          AU   Shumin     Li          AU   authorizenet      USD   TVPAD-004          259   10    1     249
TVP-14011573   February    2/3/2014   complete   Shumin      Li          AU   Shumin     Li          AU   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011573   February    2/3/2014   complete   Shumin      Li          AU   Shumin     Li          AU   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011574   February    2/3/2014   complete   lorinda     so          CA   lorinda    so          CA   authorizenet      USD   TVPAD-004          259   10    1     249
TVP-14011574   February    2/3/2014   complete   lorinda     so          CA   lorinda    so          CA   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011574   February    2/3/2014   complete   lorinda     so          CA   lorinda    so          CA   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011575   February    2/3/2014   complete   Jessica     Chu         NZ   Jessica    Chu         NZ   authorizenet      USD   TVPAD-004         259    10    1     249
TVP-14011575   February    2/3/2014   complete   Jessica     Chu         NZ   Jessica    Chu         NZ   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011575   February    2/3/2014   complete   Jessica     Chu         NZ   Jessica    Chu         NZ   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011576   February    2/2/2014   complete   Antonio     Lam         US   Antonio    Lam         US   authorizenet      USD   TVPAD-004          259   20    1     239
TVP-14011576   February    2/2/2014   complete   Antonio     Lam         US   Antonio    Lam         US   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14011576   February    2/2/2014   complete   Antonio     Lam         US   Antonio    Lam         US   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14011577   February    2/1/2014   complete   Soo         ryu         AU   Soo        ryu         AU   paypal_standard   USD   TVPAD-004         250    10    2     490
TVP-14011577   February    2/1/2014   complete   Soo         ryu         AU   Soo        ryu         AU   paypal_standard   USD   HGIFT2               0    0    2       0
TVP-14011577   February    2/1/2014   complete   Soo         ryu         AU   Soo        ryu         AU   paypal_standard   USD   HGIFT1               0    0    2       0
TVP-14021010   February    2/3/2014   complete   Zuji        Cheng       AU   Zuji       Cheng       AU   authorizenet      USD   TVPAD-004          259   10    1     249
TVP-14021010   February    2/3/2014   complete   Zuji        Cheng       AU   Zuji       Cheng       AU   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14021010   February    2/3/2014   complete   Zuji        Cheng       AU   Zuji       Cheng       AU   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14021011   February    2/1/2014   closed     Derek       Chan        GB   Derek      Chan        GB   paypal_standard   GBP   TVPAD-AC-001     15.99    0    1   15.99
TVP-14021013   February    2/3/2014   complete   Van         Hong        GB   Van        Hong        GB   authorizenet      GBP   TVPAD-004         259    10    1     249
TVP-14021013   February    2/3/2014   complete   Van         Hong        GB   Van        Hong        GB   authorizenet      GBP   HGIFT2               0    0    1       0
TVP-14021013   February    2/3/2014   complete   Van         Hong        GB   Van        Hong        GB   authorizenet      GBP   HGIFT1               0    0    1       0
TVP-14021014   February    2/2/2014   complete   Ying        Chen        US   Ying       Chen        US   authorizenet      USD   TVPAD-004          259   10    1     249
TVP-14021014   February    2/2/2014   complete   Ying        Chen        US   Ying       Chen        US   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14021014   February    2/2/2014   complete   Ying        Chen        US   Ying       Chen        US   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14021015   February    2/2/2014   complete   Louise      Yee         US   Louise     Yee         US   authorizenet      USD   TVPAD-004          259   10    1     249
TVP-14021015   February    2/2/2014   complete   Louise      Yee         US   Louise     Yee         US   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14021015   February    2/2/2014   complete   Louise      Yee         US   Louise     Yee         US   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14021017   February    2/2/2014   complete   Che         chan        US   Che        chan        US   paypal_standard   USD   TVPAD-004          259   10    1     249
TVP-14021017   February    2/2/2014   complete   Che         chan        US   Che        chan        US   paypal_standard   USD   HGIFT2               0    0    1       0
TVP-14021017   February    2/2/2014   complete   Che         chan        US   Che        chan        US   paypal_standard   USD   HGIFT1               0    0    1       0
TVP-14021019   February    2/2/2014   complete   YU          LIANG       US   Lawrence   LIANG       US   authorizenet      USD   TVPAD-004          259   20    1     239
TVP-14021019   February    2/2/2014   complete   YU          LIANG       US   Lawrence   LIANG       US   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14021019   February    2/2/2014   complete   YU          LIANG       US   Lawrence   LIANG       US   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14021020   February    2/3/2014   complete   wan         Lam         GB   wan        Lam         GB   authorizenet      USD   TVPAD-004          259   15    1     244
TVP-14021020   February    2/3/2014   complete   wan         Lam         GB   wan        Lam         GB   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14021020   February    2/3/2014   complete   wan         Lam         GB   wan        Lam         GB   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14021021   February    2/3/2014   complete   Nana        Sun         NZ   Nana       Sun         NZ   authorizenet      USD   TVPAD-004          259   10    1     249
TVP-14021021   February    2/3/2014   complete   Nana        Sun         NZ   Nana       Sun         NZ   authorizenet      USD   HGIFT2               0    0    1       0
TVP-14021021   February    2/3/2014   complete   Nana        Sun         NZ   Nana       Sun         NZ   authorizenet      USD   HGIFT1               0    0    1       0
TVP-14021022   February    2/2/2014   complete   alex        chang       US   Paul       Ha          US   authorizenet      USD   TVPAD-AC-001     15.99    0    1   15.99
TVP-14021023   February    2/2/2014   complete   Chun        Pang        US   Peggy      Yu          US   authorizenet      USD   TVPAD-004          259   20    1     239
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                                   #:20449
TVP-14021023   February   2/2/2014   complete   Chun         Pang      US   Peggy         Yu        US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021023   February   2/2/2014   complete   Chun         Pang      US   Peggy         Yu        US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021024   February   2/4/2014   complete   LAO          Calixte   FR   LAO           Calixte   FR   authorizenet      EUR   TVPAD-004       259    10   1    249
TVP-14021024   February   2/4/2014   complete   LAO          Calixte   FR   LAO           Calixte   FR   authorizenet      EUR   HGIFT2             0    0   1       0
TVP-14021024   February   2/4/2014   complete   LAO          Calixte   FR   LAO           Calixte   FR   authorizenet      EUR   HGIFT1             0    0   1       0
TVP-14021027   February   2/2/2014   complete   Mr           Fung      GB   Mr            Fujii     GB   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021027   February   2/2/2014   complete   Mr           Fung      GB   Mr            Fujii     GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021027   February   2/2/2014   complete   Mr           Fung      GB   Mr            Fujii     GB   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021028   February   2/4/2014   complete   CK           Lim       SG   CK            Lim       SG   authorizenet      USD   TVPAD-004       259    20   1    239
TVP-14021028   February   2/4/2014   complete   CK           Lim       SG   CK            Lim       SG   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021028   February   2/4/2014   complete   CK           Lim       SG   CK            Lim       SG   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021029   February   2/2/2014   complete   AMY          YUNG      US   AMY           YUNG      US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021029   February   2/2/2014   complete   AMY          YUNG      US   AMY           YUNG      US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021029   February   2/2/2014   complete   AMY          YUNG      US   AMY           YUNG      US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021030   February   2/4/2014   complete   Owen         Que       AU   Owen          Que       AU   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021030   February   2/4/2014   complete   Owen         Que       AU   Owen          Que       AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021030   February   2/4/2014   complete   Owen         Que       AU   Owen          Que       AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021032   February   2/4/2014   complete   Sin          Ly        NL   Sin           Ly        NL   authorizenet      USD   TVPAD-004       250    10   2    490
TVP-14021032   February   2/4/2014   complete   Sin          Ly        NL   Sin           Ly        NL   authorizenet      USD   HGIFT1             0    0   2       0
TVP-14021032   February   2/4/2014   complete   Sin          Ly        NL   Sin           Ly        NL   authorizenet      USD   HGIFT1             0    0   2       0
TVP-14021033   February   2/3/2014   complete   Tina         Li        US   Tina          Li        US   paypal_standard   USD   TVPAD-004       250    10   2    490
TVP-14021033   February   2/3/2014   complete   Tina         Li        US   Tina          Li        US   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14021033   February   2/3/2014   complete   Tina         Li        US   Tina          Li        US   paypal_standard   USD   HGIFT1             0    0   2       0
TVP-14021034   February   2/4/2014   complete   Qi (jacky)   Xu        CH   Qi            Xu        CH   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021034   February   2/4/2014   complete   Qi (jacky)   Xu        CH   Qi            Xu        CH   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021034   February   2/4/2014   complete   Qi (jacky)   Xu        CH   Qi            Xu        CH   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021036   February   2/3/2014   complete   YuBao        Chu       US   YuBao         Chu       US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021036   February   2/3/2014   complete   YuBao        Chu       US   YuBao         Chu       US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021036   February   2/3/2014   complete   YuBao        Chu       US   YuBao         Chu       US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021037   February   2/3/2014   complete   Hy           Sao       US   Hy            Sao       US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021037   February   2/3/2014   complete   Hy           Sao       US   Hy            Sao       US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021037   February   2/3/2014   complete   Hy           Sao       US   Hy            Sao       US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021038   February   2/3/2014   complete   richard      wong      GB   richard       wong      GB   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021038   February   2/3/2014   complete   richard      wong      GB   richard       wong      GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021038   February   2/3/2014   complete   richard      wong      GB   richard       wong      GB   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021039   February   2/4/2014   complete   xiao         liu       NZ   xiao          liu       NZ   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021039   February   2/4/2014   complete   xiao         liu       NZ   xiao          liu       NZ   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021039   February   2/4/2014   complete   xiao         liu       NZ   xiao          liu       NZ   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021040   February   2/4/2014   complete   lei          yu        CA   lei           yu        CA   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021040   February   2/4/2014   complete   lei          yu        CA   lei           yu        CA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021040   February   2/4/2014   complete   lei          yu        CA   lei           yu        CA   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021041   February   2/4/2014   complete   Earl         Jr.       US   Earl          Jr.       US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021041   February   2/4/2014   complete   Earl         Jr.       US   Earl          Jr.       US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021041   February   2/4/2014   complete   Earl         Jr.       US   Earl          Jr.       US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021042   February   2/3/2014   complete   Jay          quan      US   Jay           quan      US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021042   February   2/3/2014   complete   Jay          quan      US   Jay           quan      US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021042   February   2/3/2014   complete   Jay          quan      US   Jay           quan      US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021043   February   2/3/2014   complete   Aston        Chan      AU   Aston         Chan      AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14021043   February   2/3/2014   complete   Aston        Chan      AU   Aston         Chan      AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14021043   February   2/3/2014   complete   Aston        Chan      AU   Aston         Chan      AU   paypal_standard   AUD   HGIFT1             0    0   1       0
TVP-14021044   February   2/3/2014   complete   Angela       Cheng     US   Angela        Cheng     US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021044   February   2/3/2014   complete   Angela       Cheng     US   Angela        Cheng     US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-70011134   February   2/8/2014   complete   shangwei     pang      US   shangwei      pang      US   authorizenet      USD   TVPAD-006       375    10   1    365
TVP-70011134   February   2/8/2014   complete   shangwei     pang      US   shangwei      pang      US   authorizenet      USD   TVPAD-GM-002       0    0   2       0
TVP-70011134   February   2/8/2014   complete   shangwei     pang      US   shangwei      pang      US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-70011134   February   2/8/2014   complete   shangwei     pang      US   shangwei      pang      US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021045   February   2/4/2014   complete   TIONG        LIM       AU   TIONG         LIM       AU   authorizenet      AUD   TVPAD-004       259    15   1    244
TVP-14021045   February   2/4/2014   complete   TIONG        LIM       AU   TIONG         LIM       AU   authorizenet      AUD   HGIFT2             0    0   1       0
TVP-14021045   February   2/4/2014   complete   TIONG        LIM       AU   TIONG         LIM       AU   authorizenet      AUD   HGIFT1             0    0   1       0
TVP-14021046   February   2/3/2014   complete   JEONG        LEE       US   JAMES         LEE       US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14021046   February   2/3/2014   complete   JEONG        LEE       US   JAMES         LEE       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021046   February   2/3/2014   complete   JEONG        LEE       US   JAMES         LEE       US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021047   February   2/3/2014   complete   David        Cheng     CA   David         Cheng     CA   paypal_standard   USD   TVPAD-AC-001   15.99    0   1   15.99
TVP-70011135   February   2/3/2014   complete   Zhenzhao     Chen      US   Zhenzhao      Chen      US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-70011135   February   2/3/2014   complete   Zhenzhao     Chen      US   Zhenzhao      Chen      US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-70011135   February   2/3/2014   complete   Zhenzhao     Chen      US   Zhenzhao      Chen      US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021049   February   2/3/2014   complete   JULIEN       MOM       FR   Madame        QUACH     FR   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021049   February   2/3/2014   complete   JULIEN       MOM       FR   Madame        QUACH     FR   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021049   February   2/3/2014   complete   JULIEN       MOM       FR   Madame        QUACH     FR   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021050   February   2/4/2014   complete   Garry        Yuan      US   Garry         Yuan      US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021050   February   2/4/2014   complete   Garry        Yuan      US   Garry         Yuan      US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021050   February   2/4/2014   complete   Garry        Yuan      US   Garry         Yuan      US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021051   February   2/9/2014   complete   Ku           Hae       AR   Ku            Hae       AR   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021053   February   2/5/2014   complete   Chi          Choi      GB   Chi           Choi      GB   authorizenet      GBP   TVPAD-004       250    10   2    490
TVP-14021053   February   2/5/2014   complete   Chi          Choi      GB   Chi           Choi      GB   authorizenet      GBP   HGIFT2             0    0   2       0
TVP-14021053   February   2/5/2014   complete   Chi          Choi      GB   Chi           Choi      GB   authorizenet      GBP   HGIFT1             0    0   2       0
TVP-14021054   February   2/4/2014   complete   Henry        Chung     US   Henry         Chung     US   authorizenet      USD   TVPAD-AC-001   15.99    0   1   15.99
TVP-70011136   February   2/4/2014   complete   Yingyi       Jara      US   Yingyi        Jara      US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-70011136   February   2/4/2014   complete   Yingyi       Jara      US   Yingyi        Jara      US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-70011136   February   2/4/2014   complete   Yingyi       Jara      US   Yingyi        Jara      US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021055   February   2/4/2014   complete   Ying         Lee       US   Ying          Lee       US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021055   February   2/4/2014   complete   Ying         Lee       US   Ying          Lee       US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021055   February   2/4/2014   complete   Ying         Lee       US   Ying          Lee       US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021056   February   2/4/2014   complete   Wing         Tam       US   Wing          Tam       US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021056   February   2/4/2014   complete   Wing         Tam       US   Wing          Tam       US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021056   February   2/4/2014   complete   Wing         Tam       US   Wing          Tam       US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-70011137   February   2/4/2014   complete   Roger        cao       US   Roger         cao       US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-70011137   February   2/4/2014   complete   Roger        cao       US   Roger         cao       US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-70011137   February   2/4/2014   complete   Roger        cao       US   Roger         cao       US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021057   February   2/5/2014   complete   Wu           Yeung     GB   Wu            Yeung     GB   authorizenet      GBP   TVPAD-004       259    10   1    249
TVP-14021057   February   2/5/2014   complete   Wu           Yeung     GB   Wu            Yeung     GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14021057   February   2/5/2014   complete   Wu           Yeung     GB   Wu            Yeung     GB   authorizenet      GBP   HGIFT1             0    0   1       0
TVP-14021058   February   2/4/2014   closed     Simon        Lee       GB   Simon         Lee       GB   paypal_standard   USD   TVPAD-004       259    15   1    244
TVP-14021058   February   2/4/2014   closed     Simon        Lee       GB   Simon         Lee       GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021058   February   2/4/2014   closed     Simon        Lee       GB   Simon         Lee       GB   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021061   February   2/4/2014   complete   Kerwin       Tam       US   Kerwin        Tam       US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021061   February   2/4/2014   complete   Kerwin       Tam       US   Kerwin        Tam       US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021061   February   2/4/2014   complete   Kerwin       Tam       US   Kerwin        Tam       US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021062   February   2/5/2014   complete   Simon        Lee       GB   Simon         Lee       GB   authorizenet      GBP   TVPAD-004       259    15   1    244
TVP-14021062   February   2/5/2014   complete   Simon        Lee       GB   Simon         Lee       GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14021062   February   2/5/2014   complete   Simon        Lee       GB   Simon         Lee       GB   authorizenet      GBP   HGIFT1             0    0   1       0
TVP-14021063   February   2/4/2014   complete   Theresa      Cheng     US   Theresa       Cheng     US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021063   February   2/4/2014   complete   Theresa      Cheng     US   Theresa       Cheng     US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021063   February   2/4/2014   complete   Theresa      Cheng     US   Theresa       Cheng     US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021067   February   2/4/2014   complete   Tony         Nguyen    CA   Tony          Nguyen    CA   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021067   February   2/4/2014   complete   Tony         Nguyen    CA   Tony          Nguyen    CA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021067   February   2/4/2014   complete   Tony         Nguyen    CA   Tony          Nguyen    CA   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021068   February   2/5/2014   complete   Vay          Su        GB   SengAnthony   Su        GB   authorizenet      GBP   TVPAD-004       259    10   1    249
TVP-14021068   February   2/5/2014   complete   Vay          Su        GB   SengAnthony   Su        GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14021068   February   2/5/2014   complete   Vay          Su        GB   SengAnthony   Su        GB   authorizenet      GBP   HGIFT1             0    0   1       0
TVP-14021069   February   2/5/2014   complete   Zhipeng      Fang      CA   Zhipeng       Fang      CA   authorizenet      CAD   TVPAD-004       259    10   1    249
TVP-14021069   February   2/5/2014   complete   Zhipeng      Fang      CA   Zhipeng       Fang      CA   authorizenet      CAD   HGIFT2             0    0   1       0
TVP-14021069   February   2/5/2014   complete   Zhipeng      Fang      CA   Zhipeng       Fang      CA   authorizenet      CAD   HGIFT1             0    0   1       0
TVP-14021070   February   2/4/2014   complete   Peter        Shaw      US   Peter         Shaw      US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021070   February   2/4/2014   complete   Peter        Shaw      US   Peter         Shaw      US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021070   February   2/4/2014   complete   Peter        Shaw      US   Peter         Shaw      US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021071   February   2/4/2014   complete   Chris        chau      CA   Chris         chau      CA   paypal_standard   CAD   TVPAD-004       259    10   1    249
TVP-14021071   February   2/4/2014   complete   Chris        chau      CA   Chris         chau      CA   paypal_standard   CAD   HGIFT2             0    0   1       0
TVP-14021071   February   2/4/2014   complete   Chris        chau      CA   Chris         chau      CA   paypal_standard   CAD   HGIFT1             0    0   1       0
TVP-14021072   February   2/4/2014   complete   Jack         chow      US   Jack          chow      US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021072   February   2/4/2014   complete   Jack         chow      US   Jack          chow      US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021072   February   2/4/2014   complete   Jack         chow      US   Jack          chow      US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021073   February   2/9/2014   complete   Alice        Lee       AU   Alice         Lee       AU   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021073   February   2/9/2014   complete   Alice        Lee       AU   Alice         Lee       AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021073   February   2/9/2014   complete   Alice        Lee       AU   Alice         Lee       AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021074   February   2/4/2014   complete   Chi          Chui      US   Chi           Chui      US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021074   February   2/4/2014   complete   Chi          Chui      US   Chi           Chui      US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021074   February   2/4/2014   complete   Chi          Chui      US   Chi           Chui      US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-70011138   February   2/4/2014   complete   wai keung    cheung    IE   wai           cheung    IE   paypal_standard   EUR   TVPAD-004       259    10   1    249
TVP-70011138   February   2/4/2014   complete   wai keung    cheung    IE   wai           cheung    IE   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-70011138   February   2/4/2014   complete   wai keung    cheung    IE   wai           cheung    IE   paypal_standard   EUR   HGIFT1             0    0   1       0
TVP-14021075   February   2/4/2014   complete   lian         zhang     US   lian          zhang     US   authorizenet      USD   TVPAD-004       250    10   2    490
TVP-14021075   February   2/4/2014   complete   lian         zhang     US   lian          zhang     US   authorizenet      USD   HGIFT2             0    0   2       0
TVP-14021075   February   2/4/2014   complete   lian         zhang     US   lian          zhang     US   authorizenet      USD   HGIFT1             0    0   2       0
TVP-14021082   February   2/6/2014   complete   Raymond      Chan      AU   Raymond       Chan      AU   authorizenet      AUD   TVPAD-004       259    10   1    249
TVP-14021082   February   2/6/2014   complete   Raymond      Chan      AU   Raymond       Chan      AU   authorizenet      AUD   HGIFT2             0    0   1       0
TVP-14021082   February   2/6/2014   complete   Raymond      Chan      AU   Raymond       Chan      AU   authorizenet      AUD   HGIFT1             0    0   1       0
TVP-14021083   February   2/6/2014   complete   Yoon         Siow      AU   Yoon          Siow      AU   authorizenet      USD   TVPAD-004       259    20   1    239
TVP-14021083   February   2/6/2014   complete   Yoon         Siow      AU   Yoon          Siow      AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021083   February   2/6/2014   complete   Yoon         Siow      AU   Yoon          Siow      AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021084   February   2/4/2014   complete   Gareth       Searle    AU   Gareth        Searle    AU   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14021084   February   2/4/2014   complete   Gareth       Searle    AU   Gareth        Searle    AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021084   February   2/4/2014   complete   Gareth       Searle    AU   Gareth        Searle    AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021085   February   2/5/2014   complete   Jamison      Gorin     US   Jamison       Gorin     US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021085   February   2/5/2014   complete   Jamison      Gorin     US   Jamison       Gorin     US   authorizenet      USD   HGIFT2             0    0   1       0
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TVP-14021085   February    2/5/2014   complete   Jamison      Gorin      US   Jamison      Gorin      US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021087   February    2/5/2014   complete   Thienly      Nguyen)    CA   Tony         Nguyen     CA   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14021087   February    2/5/2014   complete   Thienly      Nguyen)    CA   Tony         Nguyen     CA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021087   February    2/5/2014   complete   Thienly      Nguyen)    CA   Tony         Nguyen     CA   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021088   February    2/6/2014   complete   Kevin        Chui       CA   Kevin        Chui       CA   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021088   February    2/6/2014   complete   Kevin        Chui       CA   Kevin        Chui       CA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021088   February    2/6/2014   complete   Kevin        Chui       CA   Kevin        Chui       CA   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021089   February    2/5/2014   complete   Tam          Chung      US   Steven       Chung      US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021089   February    2/5/2014   complete   Tam          Chung      US   Steven       Chung      US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021089   February    2/5/2014   complete   Tam          Chung      US   Steven       Chung      US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021090   February    2/6/2014   complete   Stuart       Chan       GB   Stuart       Chan       GB   authorizenet      GBP   TVPAD-004       259    10   1    249
TVP-14021090   February    2/6/2014   complete   Stuart       Chan       GB   Stuart       Chan       GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14021090   February    2/6/2014   complete   Stuart       Chan       GB   Stuart       Chan       GB   authorizenet      GBP   HGIFT1             0    0   1       0
TVP-70011139   February    2/5/2014   complete   CARLA        CAO        GB   CARLA        CAO        GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-70011139   February    2/5/2014   complete   CARLA        CAO        GB   CARLA        CAO        GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-70011139   February    2/5/2014   complete   CARLA        CAO        GB   CARLA        CAO        GB   paypal_standard   GBP   HGIFT1             0    0   1       0
TVP-14021091   February    2/5/2014   complete   Shih         Chen       NZ   Shih         Chen       NZ   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021091   February    2/5/2014   complete   Shih         Chen       NZ   Shih         Chen       NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021091   February    2/5/2014   complete   Shih         Chen       NZ   Shih         Chen       NZ   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021092   February    2/6/2014   complete   Sunwoo       Hong       SG   Sunwoo       Hong       SG   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021092   February    2/6/2014   complete   Sunwoo       Hong       SG   Sunwoo       Hong       SG   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021092   February    2/6/2014   complete   Sunwoo       Hong       SG   Sunwoo       Hong       SG   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021093   February    2/5/2014   complete   Rodney       Chan       NZ   Rodney       Chan       NZ   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021093   February    2/5/2014   complete   Rodney       Chan       NZ   Rodney       Chan       NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021093   February    2/5/2014   complete   Rodney       Chan       NZ   Rodney       Chan       NZ   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021094   February    2/5/2014   complete   Linh         Phan       US   Linh         Phan       US   authorizenet      USD   TVPAD-004       250    15   2    485
TVP-14021094   February    2/5/2014   complete   Linh         Phan       US   Linh         Phan       US   authorizenet      USD   HGIFT2             0    0   2       0
TVP-14021094   February    2/5/2014   complete   Linh         Phan       US   Linh         Phan       US   authorizenet      USD   HGIFT1             0    0   2       0
TVP-14021095   February   2/10/2014   complete   KuatKwan     Chee       AU   KuatKwan     Chee       AU   authorizenet      USD   TVPAD-004       259    20   1    239
TVP-14021095   February   2/10/2014   complete   KuatKwan     Chee       AU   KuatKwan     Chee       AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021095   February   2/10/2014   complete   KuatKwan     Chee       AU   KuatKwan     Chee       AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021096   February    2/5/2014   complete   Kon          Young      US   Kon          Young      US   authorizenet      USD   TVPAD-004       259    20   1    239
TVP-14021096   February    2/5/2014   complete   Kon          Young      US   Kon          Young      US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021096   February    2/5/2014   complete   Kon          Young      US   Kon          Young      US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021097   February    2/5/2014   complete   Hong         Gan        US   Hong         Gan        US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021097   February    2/5/2014   complete   Hong         Gan        US   Hong         Gan        US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021097   February    2/5/2014   complete   Hong         Gan        US   Hong         Gan        US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021098   February    2/5/2014   complete   Edwin        Ng         AU   Edwin        Ng         AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021098   February    2/5/2014   complete   Edwin        Ng         AU   Edwin        Ng         AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021098   February    2/5/2014   complete   Edwin        Ng         AU   Edwin        Ng         AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021099   February    2/5/2014   complete   Kityee       Choi       US   Ben          Choi       US   authorizenet      USD   TVPAD-004       259    20   1    239
TVP-14021099   February    2/5/2014   complete   Kityee       Choi       US   Ben          Choi       US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021099   February    2/5/2014   complete   Kityee       Choi       US   Ben          Choi       US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021100   February    2/5/2014   complete   BOUSSEMART   Antoine    FR   BOUSSEMART   Antoine    FR   paypal_standard   EUR   TVPAD-004       259    10   1    249
TVP-14021100   February    2/5/2014   complete   BOUSSEMART   Antoine    FR   BOUSSEMART   Antoine    FR   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14021100   February    2/5/2014   complete   BOUSSEMART   Antoine    FR   BOUSSEMART   Antoine    FR   paypal_standard   EUR   HGIFT1             0    0   1       0
TVP-14021101   February    2/5/2014   complete   Andrew       Mar        GB   Andrew       Mar        GB   paypal_standard   GBP   TVPAD-004       250    10   2    490
TVP-14021101   February    2/5/2014   complete   Andrew       Mar        GB   Andrew       Mar        GB   paypal_standard   GBP   HGIFT2             0    0   2       0
TVP-14021101   February    2/5/2014   complete   Andrew       Mar        GB   Andrew       Mar        GB   paypal_standard   GBP   HGIFT1             0    0   2       0
TVP-14021102   February   2/10/2014   complete   Yoshiyasu    Tanaka     JP   Yoshiyasu    Tanaka     JP   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021102   February   2/10/2014   complete   Yoshiyasu    Tanaka     JP   Yoshiyasu    Tanaka     JP   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021102   February   2/10/2014   complete   Yoshiyasu    Tanaka     JP   Yoshiyasu    Tanaka     JP   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021104   February   2/10/2014   complete   Leslie       Kwok       NZ   Leslie       Kwok       NZ   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021104   February   2/10/2014   complete   Leslie       Kwok       NZ   Leslie       Kwok       NZ   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021104   February   2/10/2014   complete   Leslie       Kwok       NZ   Leslie       Kwok       NZ   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021105   February    2/6/2014   complete   Warren       Yeung      US   Warren       Yeung      US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021105   February    2/6/2014   complete   Warren       Yeung      US   Warren       Yeung      US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021105   February    2/6/2014   complete   Warren       Yeung      US   Warren       Yeung      US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021106   February    2/6/2014   complete   Sin          Lam        US   Sin          Lam        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021106   February    2/6/2014   complete   Sin          Lam        US   Sin          Lam        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021106   February    2/6/2014   complete   Sin          Lam        US   Sin          Lam        US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021108   February   2/10/2014   complete   Liyuan       Sun        NZ   Liyuan       Sun        NZ   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021108   February   2/10/2014   complete   Liyuan       Sun        NZ   Liyuan       Sun        NZ   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021108   February   2/10/2014   complete   Liyuan       Sun        NZ   Liyuan       Sun        NZ   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021109   February   2/10/2014   complete   Hamyung      Song       CA   Hamyung      Song       CA   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021109   February   2/10/2014   complete   Hamyung      Song       CA   Hamyung      Song       CA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021109   February   2/10/2014   complete   Hamyung      Song       CA   Hamyung      Song       CA   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021110   February    2/6/2014   complete   Hyo          Lee        US   Hyo          Lee        US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021110   February    2/6/2014   complete   Hyo          Lee        US   Hyo          Lee        US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021110   February    2/6/2014   complete   Hyo          Lee        US   Hyo          Lee        US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021111   February   2/10/2014   complete   Bernard      Kong       AU   Bernard      Kong       AU   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021111   February   2/10/2014   complete   Bernard      Kong       AU   Bernard      Kong       AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021111   February   2/10/2014   complete   Bernard      Kong       AU   Bernard      Kong       AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021112   February    2/6/2014   complete   Ching        Chang      US   Ching        Chang      US   authorizenet      USD   TVPAD-004       250    10   2    490
TVP-14021112   February    2/6/2014   complete   Ching        Chang      US   Ching        Chang      US   authorizenet      USD   HGIFT2             0    0   2       0
TVP-14021112   February    2/6/2014   complete   Ching        Chang      US   Ching        Chang      US   authorizenet      USD   HGIFT1             0    0   2       0
TVP-70011140   February    2/6/2014   complete   bin          chen       US   bin          chen       US   paypal_standard   USD   TVPAD-006       375    10   1    365
TVP-70011140   February    2/6/2014   complete   bin          chen       US   bin          chen       US   paypal_standard   USD   TVPAD-GM-002       0    0   2       0
TVP-70011140   February    2/6/2014   complete   bin          chen       US   bin          chen       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-70011140   February    2/6/2014   complete   bin          chen       US   bin          chen       US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021113   February    2/6/2014   complete   kenny        rhee       US   kenny        rhee       US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021113   February    2/6/2014   complete   kenny        rhee       US   kenny        rhee       US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021113   February    2/6/2014   complete   kenny        rhee       US   kenny        rhee       US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021114   February    2/6/2014   complete   Helen        Tang       US   Helen        Tang       US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021114   February    2/6/2014   complete   Helen        Tang       US   Helen        Tang       US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021114   February    2/6/2014   complete   Helen        Tang       US   Helen        Tang       US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021115   February    2/6/2014   complete   Chun         Yip        BE   Chun         Yip        BE   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021115   February    2/6/2014   complete   Chun         Yip        BE   Chun         Yip        BE   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021115   February    2/6/2014   complete   Chun         Yip        BE   Chun         Yip        BE   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021116   February    2/6/2014   complete   Ruth         Cheng      US   Ruth         Cheng      US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021116   February    2/6/2014   complete   Ruth         Cheng      US   Ruth         Cheng      US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021116   February    2/6/2014   complete   Ruth         Cheng      US   Ruth         Cheng      US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021117   February    2/6/2014   complete   Haiqun       Yue        US   Haiqun       Yue        US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021117   February    2/6/2014   complete   Haiqun       Yue        US   Haiqun       Yue        US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021118   February   2/10/2014   complete   Jaehong      Lee        AU   Jaehong      Lee        AU   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021118   February   2/10/2014   complete   Jaehong      Lee        AU   Jaehong      Lee        AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021118   February   2/10/2014   complete   Jaehong      Lee        AU   Jaehong      Lee        AU   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021119   February    2/6/2014   complete   Hyung        KIM        HK   Hyung        KIM        HK   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021119   February    2/6/2014   complete   Hyung        KIM        HK   Hyung        KIM        HK   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021119   February    2/6/2014   complete   Hyung        KIM        HK   Hyung        KIM        HK   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021120   February   2/10/2014   complete   Sue          So         HK   Sue          So         HK   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021120   February   2/10/2014   complete   Sue          So         HK   Sue          So         HK   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021120   February   2/10/2014   complete   Sue          So         HK   Sue          So         HK   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021121   February   2/10/2014   complete   Khoon Kiah   Lee        MY   Khoon        Lee        MY   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021121   February   2/10/2014   complete   Khoon Kiah   Lee        MY   Khoon        Lee        MY   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021121   February   2/10/2014   complete   Khoon Kiah   Lee        MY   Khoon        Lee        MY   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021122   February    2/6/2014   complete   Tony         Lau        GB   Tony         Lau        GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-14021122   February    2/6/2014   complete   Tony         Lau        GB   Tony         Lau        GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14021122   February    2/6/2014   complete   Tony         Lau        GB   Tony         Lau        GB   paypal_standard   GBP   HGIFT1             0    0   1       0
TVP-70011141   February   2/10/2014   complete   Martin       Ho         HK   Martin       Ho         HK   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-70011141   February   2/10/2014   complete   Martin       Ho         HK   Martin       Ho         HK   authorizenet      USD   HGIFT2             0    0   1       0
TVP-70011141   February   2/10/2014   complete   Martin       Ho         HK   Martin       Ho         HK   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021123   February   2/10/2014   complete   Rachel       Gan        SG   Rachel       Gan        SG   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021123   February   2/10/2014   complete   Rachel       Gan        SG   Rachel       Gan        SG   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021123   February   2/10/2014   complete   Rachel       Gan        SG   Rachel       Gan        SG   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021124   February    2/6/2014   complete   Kam          Hou        US   Kam          Hou        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021124   February    2/6/2014   complete   Kam          Hou        US   Kam          Hou        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021124   February    2/6/2014   complete   Kam          Hou        US   Kam          Hou        US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021125   February    2/7/2014   complete   Jerry        Chen       US   Jerry        Chen       US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021125   February    2/7/2014   complete   Jerry        Chen       US   Jerry        Chen       US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021125   February    2/7/2014   complete   Jerry        Chen       US   Jerry        Chen       US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021126   February   2/10/2014   complete   Su           Le         FR   Su           Le         FR   authorizenet      EUR   TVPAD-004       250    10   2    490
TVP-14021126   February   2/10/2014   complete   Su           Le         FR   Su           Le         FR   authorizenet      EUR   HGIFT2             0    0   2       0
TVP-14021126   February   2/10/2014   complete   Su           Le         FR   Su           Le         FR   authorizenet      EUR   HGIFT1             0    0   2       0
TVP-14021127   February    2/7/2014   complete   Woon         Kok        US   Edward       Kok        US   paypal_standard   USD   TVPAD-AC-001   15.99    0   1   15.99
TVP-14021128   February   2/10/2014   complete   Shie-Li      Cheng      CA   Shie-Li      Cheng      CA   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021128   February   2/10/2014   complete   Shie-Li      Cheng      CA   Shie-Li      Cheng      CA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021128   February   2/10/2014   complete   Shie-Li      Cheng      CA   Shie-Li      Cheng      CA   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021129   February   2/10/2014   complete   SIU          KOK        MY   SIU          KOK        MY   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021129   February   2/10/2014   complete   SIU          KOK        MY   SIU          KOK        MY   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021129   February   2/10/2014   complete   SIU          KOK        MY   SIU          KOK        MY   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021130   February    2/7/2014   complete   Edwin        Chan       US   Edwin        Chan       US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021130   February    2/7/2014   complete   Edwin        Chan       US   Edwin        Chan       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021130   February    2/7/2014   complete   Edwin        Chan       US   Edwin        Chan       US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021131   February    2/9/2014   complete   Isabel       Chan       US   Isabel       Chan       US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021131   February    2/9/2014   complete   Isabel       Chan       US   Isabel       Chan       US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021131   February    2/9/2014   complete   Isabel       Chan       US   Isabel       Chan       US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021132   February    2/9/2014   complete   peter        lee        NZ   peter        lee        NZ   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021132   February    2/9/2014   complete   peter        lee        NZ   peter        lee        NZ   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021132   February    2/9/2014   complete   peter        lee        NZ   peter        lee        NZ   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021133   February    2/7/2014   complete   Jian hui     Huang      AU   Jian         Huang      AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021133   February    2/7/2014   complete   Jian hui     Huang      AU   Jian         Huang      AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021133   February    2/7/2014   complete   Jian hui     Huang      AU   Jian         Huang      AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021134   February    2/9/2014   complete   Helen        Philpott   GB   Helen        Philpott   GB   authorizenet      GBP   TVPAD-004       259    10   1    249
TVP-14021134   February    2/9/2014   complete   Helen        Philpott   GB   Helen        Philpott   GB   authorizenet      GBP   HGIFT2             0    0   1       0
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TVP-14021134   February    2/9/2014   complete   Helen       Philpott      GB   Helen       Philpott      GB   authorizenet      GBP   HGIFT1             0    0   1       0
TVP-14021135   February    2/7/2014   complete   Yee         Cheung        NO   Yee         Cheung        NO   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021135   February    2/7/2014   complete   Yee         Cheung        NO   Yee         Cheung        NO   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021135   February    2/7/2014   complete   Yee         Cheung        NO   Yee         Cheung        NO   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021137   February    2/9/2014   complete   Koo         Cheng         MY   Koo         Cheng         MY   authorizenet      USD   TVPAD-004       259    15   1    244
TVP-14021137   February    2/9/2014   complete   Koo         Cheng         MY   Koo         Cheng         MY   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021137   February    2/9/2014   complete   Koo         Cheng         MY   Koo         Cheng         MY   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021138   February    2/9/2014   complete   David       Kim           US   David       Kim           US   authorizenet      USD   TVPAD-004       250    10   2    490
TVP-14021138   February    2/9/2014   complete   David       Kim           US   David       Kim           US   authorizenet      USD   HGIFT2             0    0   2       0
TVP-14021138   February    2/9/2014   complete   David       Kim           US   David       Kim           US   authorizenet      USD   HGIFT1             0    0   2       0
TVP-14021139   February    2/7/2014   complete   Ted         Bowen         US   Ted         Bowen         US   paypal_standard   USD   HGIFT2         29.99    0   1   29.99
TVP-14021141   February    2/8/2014   complete   Zhong       LIYANG        AU   Zhong       LIYANG        AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021141   February    2/8/2014   complete   Zhong       LIYANG        AU   Zhong       LIYANG        AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021141   February    2/8/2014   complete   Zhong       LIYANG        AU   Zhong       LIYANG        AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021143   February    2/8/2014   complete   Wan         So            US   Wan         So            US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14021143   February    2/8/2014   complete   Wan         So            US   Wan         So            US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021143   February    2/8/2014   complete   Wan         So            US   Wan         So            US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021145   February    2/9/2014   complete   Juliana     Cialis        US   Juliana     Cialis        US   authorizenet      USD   TVPAD-004       259    15   1    244
TVP-14021145   February    2/9/2014   complete   Juliana     Cialis        US   Juliana     Cialis        US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021145   February    2/9/2014   complete   Juliana     Cialis        US   Juliana     Cialis        US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021147   February    2/8/2014   complete   Wei         Chen          PA   Wei         Ceng          PA   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021147   February    2/8/2014   complete   Wei         Chen          PA   Wei         Ceng          PA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021147   February    2/8/2014   complete   Wei         Chen          PA   Wei         Ceng          PA   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021148   February    2/8/2014   complete   Melissa     Wong          US   Melissa     Wong          US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021148   February    2/8/2014   complete   Melissa     Wong          US   Melissa     Wong          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021148   February    2/8/2014   complete   Melissa     Wong          US   Melissa     Wong          US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021149   February    2/9/2014   complete   Duong       Truong        US   Duong       Truong        US   authorizenet      USD   TVPAD-004       259    15   1    244
TVP-14021149   February    2/9/2014   complete   Duong       Truong        US   Duong       Truong        US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021149   February    2/9/2014   complete   Duong       Truong        US   Duong       Truong        US   authorizenet      USD   HGIFT1             0    0   1       0
TVP-14021150   February    2/8/2014   complete   Payne       Li            AU   Payne       Li            AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021150   February    2/8/2014   complete   Payne       Li            AU   Payne       Li            AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021150   February    2/8/2014   complete   Payne       Li            AU   Payne       Li            AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14021151   February    2/8/2014   complete   hongnam     jang          US   hongnam     jang          US   paypal_standard   USD   TVPAD-004       259     0   1    259
TVP-14021151   February    2/8/2014   complete   hongnam     jang          US   hongnam     jang          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021154   February   2/10/2014   complete   gerard      wang          GF   Gerard      Wang          GF   authorizenet      EUR   TVPAD-004       259     0   1    259
TVP-14021154   February   2/10/2014   complete   gerard      wang          GF   Gerard      Wang          GF   authorizenet      EUR   HGIFT2             0    0   1       0
TVP-14021156   February   2/10/2014   complete   Poh-Yee     Wan           GB   Poh-Yee     Wan           GB   authorizenet      GBP   TVPAD-004       259     5   1    254
TVP-14021156   February   2/10/2014   complete   Poh-Yee     Wan           GB   Poh-Yee     Wan           GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14021157   February   2/10/2014   complete   Ping        Yip           GB   Ping        Yip           GB   authorizenet      GBP   TVPAD-004       259     0   1     259
TVP-14021157   February   2/10/2014   complete   Ping        Yip           GB   Ping        Yip           GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14021158   February    2/9/2014   complete   Miaojung    Ou            US   Miaojung    Ou            US   paypal_standard   USD   TVPAD-004       259     0   1    259
TVP-14021158   February    2/9/2014   complete   Miaojung    Ou            US   Miaojung    Ou            US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021159   February   2/10/2014   complete   Young       Lee           US   Young       Lee           US   authorizenet      USD   TVPAD-004       259     0   1     259
TVP-14021159   February   2/10/2014   complete   Young       Lee           US   Young       Lee           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021160   February   2/11/2014   complete   Gustavo     Chan          US   Gustavo     Chan          US   authorizenet      USD   TVPAD-006       375     0   1    375
TVP-14021160   February   2/11/2014   complete   Gustavo     Chan          US   Gustavo     Chan          US   authorizenet      USD   TVPAD-GM-002       0    0   2       0
TVP-14021160   February   2/11/2014   complete   Gustavo     Chan          US   Gustavo     Chan          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021161   February   2/10/2014   complete   Carrie      Wong          AU   Carrie      Wong          AU   authorizenet      USD   TVPAD-AC-001   15.99    0   1   15.99
TVP-14021162   February    2/9/2014   complete   Alan        Chan          CA   Alan        Chan          CA   paypal_standard   USD   TVPAD-AC-004   15.99    0   1   15.99
TVP-14021163   February   2/10/2014   complete   Jiyung      Kang          US   Jiyung      Kang          US   authorizenet      USD   TVPAD-004       259     0   1     259
TVP-14021163   February   2/10/2014   complete   Jiyung      Kang          US   Jiyung      Kang          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021164   February    2/9/2014   complete   Jack        Chen          AU   Jack        Chen          AU   paypal_standard   USD   TVPAD-004       259    10   1     249
TVP-14021164   February    2/9/2014   complete   Jack        Chen          AU   Jack        Chen          AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021165   February   2/10/2014   complete   HAu         Nui           US   HAu         Nui           US   authorizenet      USD   TVPAD-004       259     0   1     259
TVP-14021165   February   2/10/2014   complete   HAu         Nui           US   HAu         Nui           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-70011142   February   2/10/2014   complete   Yunfei      Gao           AU   Yunfei      Gao           AU   authorizenet      USD   TVPAD-004       259     0   1     259
TVP-70011142   February   2/10/2014   complete   Yunfei      Gao           AU   Yunfei      Gao           AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021166   February   2/10/2014   complete   Siu-Pak     Ho            GB   Siu-Pak     Ho            GB   authorizenet      GBP   TVPAD-004       259     0   1     259
TVP-14021166   February   2/10/2014   complete   Siu-Pak     Ho            GB   Siu-Pak     Ho            GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14021167   February   2/10/2014   complete   Carolyn     Tsung         AU   Carolyn     Tsung         AU   authorizenet      USD   TVPAD-004       259    10   1     249
TVP-14021167   February   2/10/2014   complete   Carolyn     Tsung         AU   Carolyn     Tsung         AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021168   February   2/10/2014   complete   Ping        Tang          AU   Ping        Tang          AU   authorizenet      USD   TVPAD-004       259     0   1     259
TVP-14021168   February   2/10/2014   complete   Ping        Tang          AU   Ping        Tang          AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021169   February   2/10/2014   complete   Soong       Yap           GB   Soong       Yap           GB   authorizenet      GBP   TVPAD-004       259     0   1     259
TVP-14021169   February   2/10/2014   complete   Soong       Yap           GB   Soong       Yap           GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14021170   February   2/10/2014   complete   ji          kim           AU   ji          kim           AU   authorizenet      USD   TVPAD-004       259     0   1     259
TVP-14021170   February   2/10/2014   complete   ji          kim           AU   ji          kim           AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021171   February   2/10/2014   complete   Cheng-De    Gan           SE   Cheng-De    Gan           SE   authorizenet      USD   TVPAD-004       259     0   1     259
TVP-14021171   February   2/10/2014   complete   Cheng-De    Gan           SE   Cheng-De    Gan           SE   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021172   February   2/10/2014   complete   Kevin       Lau           CA   Kevin       Lau           CA   paypal_standard   CAD   TVPAD-004       259     5   1     254
TVP-14021172   February   2/10/2014   complete   Kevin       Lau           CA   Kevin       Lau           CA   paypal_standard   CAD   HGIFT2             0    0   1       0
TVP-14021173   February   2/10/2014   complete   Chi         Tse           CA   Chi         Tse           CA   authorizenet      USD   TVPAD-004        259    0   1     259
TVP-14021173   February   2/10/2014   complete   Chi         Tse           CA   Chi         Tse           CA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021174   February   2/10/2014   complete   Philipp     Frankel       US   Philipp     Frankel       US   paypal_standard   USD   TVPAD-AC-001   15.99    0   1   15.99
TVP-14021175   February   2/10/2014   complete   William     Quan          AU   William     Quan          AU   authorizenet      AUD   TVPAD-004       259     0   1     259
TVP-14021175   February   2/10/2014   complete   William     Quan          AU   William     Quan          AU   authorizenet      AUD   HGIFT2             0    0   1       0
TVP-14021176   February   2/10/2014   complete   Minh        Truong        GB   Minh        Truong        GB   paypal_standard   GBP   TVPAD-AC-001   15.99    0   1   15.99
TVP-70011143   February   2/10/2014   complete   NENG        TAN           US   NENG        TAN           US   paypal_standard   USD   TVPAD-004        259    0   1     259
TVP-70011143   February   2/10/2014   complete   NENG        TAN           US   NENG        TAN           US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021177   February   2/10/2014   complete   Michael     Huang         US   Michael     Huang         US   paypal_standard   USD   TVPAD-004       259     0   1     259
TVP-14021177   February   2/10/2014   complete   Michael     Huang         US   Michael     Huang         US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021178   February   2/10/2014   complete   Herbert     Chu           US   Herbert     Chu           US   authorizenet      USD   TVPAD-004       259     0   1     259
TVP-14021178   February   2/10/2014   complete   Herbert     Chu           US   Herbert     Chu           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021179   February   2/10/2014   complete   Jianhui     Zheng         US   Jianhui     Zheng         US   authorizenet      USD   TVPAD-004        259    0   1     259
TVP-14021179   February   2/10/2014   complete   Jianhui     Zheng         US   Jianhui     Zheng         US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021180   February   2/10/2014   complete   Sunny       Mitchell      US   Man         Mitchell      US   paypal_standard   USD   TVPAD-AC-001   15.99    0   1   15.99
TVP-14021181   February   2/10/2014   complete   Jingsong    Lin           CA   Jingsong    Lin           CA   authorizenet      CAD   TVPAD-004        259   10   1     249
TVP-14021181   February   2/10/2014   complete   Jingsong    Lin           CA   Jingsong    Lin           CA   authorizenet      CAD   HGIFT2             0    0   1       0
TVP-14021182   February   2/10/2014   complete   Annie       Won           US   Annie       Won           US   authorizenet      USD   TVPAD-004        259    0   1     259
TVP-14021182   February   2/10/2014   complete   Annie       Won           US   Annie       Won           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021183   February   2/12/2014   complete   Le          Dam           NZ   Le          Dam           NZ   authorizenet      USD   TVPAD-AC-001   15.99    0   1   15.99
TVP-14021184   February   2/10/2014   complete   Cindy       Chen          AU   Cindy       Chen          AU   authorizenet      USD   TVPAD-004        259    0   1     259
TVP-14021184   February   2/10/2014   complete   Cindy       Chen          AU   Cindy       Chen          AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021185   February   2/10/2014   complete   jay         Kim           US   jay         Kim           US   authorizenet      USD   TVPAD-004        259    0   1     259
TVP-14021185   February   2/10/2014   complete   jay         Kim           US   jay         Kim           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021186   February   2/11/2014   complete   Conchita    Bathan        GU   Chit        Bathan        GU   authorizenet      USD   TVPAD-004        259    0   1     259
TVP-14021186   February   2/11/2014   complete   Conchita    Bathan        GU   Chit        Bathan        GU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021187   February   2/11/2014   complete   Tony        Wang          NZ   Tony        Wang          NZ   authorizenet      USD   TVPAD-004        259    5   1     254
TVP-14021187   February   2/11/2014   complete   Tony        Wang          NZ   Tony        Wang          NZ   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021188   February   2/11/2014   complete   Chi         Wong          US   Chi         Wong          US   authorizenet      USD   TVPAD-004        250    0   2     500
TVP-14021188   February   2/11/2014   complete   Chi         Wong          US   Chi         Wong          US   authorizenet      USD   HGIFT2             0    0   2       0
TVP-14021190   February   2/11/2014   complete   Yuk-Pui     Cheung        NL   Yuk-Pui     Cheung        NL   paypal_standard   EUR   TVPAD-004        259    0   1     259
TVP-14021190   February   2/11/2014   complete   Yuk-Pui     Cheung        NL   Yuk-Pui     Cheung        NL   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14021191   February   2/11/2014   complete   Rose        Kwan          GB   Rose        Kwan          GB   authorizenet      GBP   TVPAD-004        259    0   1     259
TVP-14021191   February   2/11/2014   complete   Rose        Kwan          GB   Rose        Kwan          GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14021192   February   2/11/2014   complete   Trong       Ly            CH   Trong       Ly            CH   authorizenet      USD   TVPAD-004        259    0   1     259
TVP-14021192   February   2/11/2014   complete   Trong       Ly            CH   Trong       Ly            CH   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021193   February   2/11/2014   complete   C           Ong           AU   C           Ong           AU   paypal_standard   USD   TVPAD-004        259    0   1     259
TVP-14021193   February   2/11/2014   complete   C           Ong           AU   C           Ong           AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021195   February   2/11/2014   complete   Anita       Au-Yeung      AU   Anita       Au-Yeung      AU   authorizenet      AUD   TVPAD-004        259    5   1     254
TVP-14021195   February   2/11/2014   complete   Anita       Au-Yeung      AU   Anita       Au-Yeung      AU   authorizenet      AUD   HGIFT2             0    0   1       0
TVP-14021196   February   2/11/2014   complete   Helen       Tran          AU   Helen       Tran          AU   authorizenet      USD   TVPAD-004        259    0   1     259
TVP-14021196   February   2/11/2014   complete   Helen       Tran          AU   Helen       Tran          AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021197   February   2/11/2014   complete   Hoa         Gieng         SE   Phat        Ly            AU   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14021197   February   2/11/2014   complete   Hoa         Gieng         SE   Phat        Ly            AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021198   February   2/11/2014   complete   ching       marais        FR   ching       marais        FR   authorizenet      USD   TVPAD-004        259    0   1     259
TVP-14021198   February   2/11/2014   complete   ching       marais        FR   ching       marais        FR   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021199   February   2/11/2014   complete   F           Li            GB   Fung        Cheung        GB   authorizenet      USD   TVPAD-004        259    0   1     259
TVP-14021199   February   2/11/2014   complete   F           Li            GB   Fung        Cheung        GB   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021200   February   2/11/2014   complete   F           Li            GB   Fung        Cheung        GB   authorizenet      USD   TVPAD-004        250    0   2     500
TVP-14021200   February   2/11/2014   complete   F           Li            GB   Fung        Cheung        GB   authorizenet      USD   HGIFT2             0    0   2       0
TVP-14021201   February   2/11/2014   complete   Natcharee   Tienrungsri   TH   Natcharee   Tienrungsri   TH   authorizenet      USD   TVPAD-004        259    0   1     259
TVP-14021201   February   2/11/2014   complete   Natcharee   Tienrungsri   TH   Natcharee   Tienrungsri   TH   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021202   February   2/11/2014   complete   Seong       Shin          AU   Seong       Shin          AU   authorizenet      USD   TVPAD-004        259    0   1     259
TVP-14021202   February   2/11/2014   complete   Seong       Shin          AU   Seong       Shin          AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021203   February   2/12/2014   complete   bon         tang          SE   bon         tang          SE   authorizenet      USD   TVPAD-004        259    0   1     259
TVP-70011144   February   2/12/2014   complete   TA          SIENSANH      FR   TA          SIENSANH      FR   authorizenet      EUR   TVPAD-004        259    0   1     259
TVP-70011144   February   2/12/2014   complete   TA          SIENSANH      FR   TA          SIENSANH      FR   authorizenet      EUR   HGIFT2             0    0   1       0
TVP-14021206   February   2/12/2014   complete   francis     fung          CA   francis     fung          CA   paypal_standard   USD   TVPAD-004        250    0   2     500
TVP-14021206   February   2/12/2014   complete   francis     fung          CA   francis     fung          CA   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14021207   February   2/12/2014   complete   Wen-Ling    Chen          US   Wen-Ling    Chen          US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14021207   February   2/12/2014   complete   Wen-Ling    Chen          US   Wen-Ling    Chen          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021208   February   2/12/2014   complete   Anthony     Kwong         AU   Anthony     Kwong         AU   authorizenet      USD   TVPAD-004        259    0   1     259
TVP-14021208   February   2/12/2014   complete   Anthony     Kwong         AU   Anthony     Kwong         AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021209   February   2/12/2014   complete   Tam,        Hong-lim      AU   Tam,        Hong-lim      AU   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14021209   February   2/12/2014   complete   Tam,        Hong-lim      AU   Tam,        Hong-lim      AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021210   February   2/12/2014   complete   Kevin       Yong          NZ   Kevin       Yong          NZ   authorizenet      USD   TVPAD-004        259    0   1     259
TVP-14021210   February   2/12/2014   complete   Kevin       Yong          NZ   Kevin       Yong          NZ   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021211   February   2/12/2014   complete   Yoke        Lee           AU   Yoke        Lee           AU   authorizenet      USD   TVPAD-004        259    5   1     254
TVP-14021211   February   2/12/2014   complete   Yoke        Lee           AU   Yoke        Lee           AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021212   February   2/12/2014   complete   Bo          Hou           AU   Bo          Hou           AU   authorizenet      AUD   TVPAD-004        259    0   1     259
TVP-14021212   February   2/12/2014   complete   Bo          Hou           AU   Bo          Hou           AU   authorizenet      AUD   HGIFT2             0    0   1       0
TVP-14021213   February   2/12/2014   complete   Victor      Tang          GB   Kai         Kwong         GB   paypal_standard   USD   TVPAD-004        259    0   1     259
TVP-14021213   February   2/12/2014   complete   Victor      Tang          GB   Kai         Kwong         GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021214   February   2/12/2014   complete   joseph      law           GB   joseph      law           GB   paypal_standard   USD   TVPAD-004        259    0   1     259
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TVP-14021214   February   2/12/2014   complete   joseph      law          GB   joseph      law          GB   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14021215   February   2/13/2014   complete   Nick        Poh          SG   Nick        Poh          SG   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021215   February   2/13/2014   complete   Nick        Poh          SG   Nick        Poh          SG   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021216   February   2/13/2014   complete   LIJIN       ZHOU         AU   LIJIN       ZHOU         AU   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021216   February   2/13/2014   complete   LIJIN       ZHOU         AU   LIJIN       ZHOU         AU   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021217   February   2/13/2014   complete   moon        kim          CA   moon        kim          CA   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021217   February   2/13/2014   complete   moon        kim          CA   moon        kim          CA   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021219   February   2/13/2014   complete   Yat         Wong         GB   Yat         Wong         GB   authorizenet      USD   TVPAD-004   250    0   4   1000
TVP-14021219   February   2/13/2014   complete   Yat         Wong         GB   Yat         Wong         GB   authorizenet      USD   HGIFT2        0    0   4      0
TVP-14021220   February   2/13/2014   complete   Sue-Jane    Wang         US   Fredrick    Chen         US   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021220   February   2/13/2014   complete   Sue-Jane    Wang         US   Fredrick    Chen         US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021221   February   2/13/2014   complete   Jason       Jeong        NZ   Jason       Jeong        NZ   authorizenet      AUD   TVPAD-004   259    0   1    259
TVP-14021221   February   2/13/2014   complete   Jason       Jeong        NZ   Jason       Jeong        NZ   authorizenet      AUD   HGIFT2        0    0   1      0
TVP-14021222   February   2/13/2014   complete   Linh        Tang         US   Linh        Tang         US   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021222   February   2/13/2014   complete   Linh        Tang         US   Linh        Tang         US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021223   February   2/17/2014   complete   Selina      Wong         GB   Selina      Wong         GB   authorizenet      GBP   TVPAD-004   250    0   2    500
TVP-14021223   February   2/17/2014   complete   Selina      Wong         GB   Selina      Wong         GB   authorizenet      GBP   HGIFT2        0    0   2      0
TVP-14021224   February   2/13/2014   complete   Michael     To           AT   Michael     To           AT   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021224   February   2/13/2014   complete   Michael     To           AT   Michael     To           AT   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021225   February   2/13/2014   complete   Maggie      Leung        AU   Maggie      Leung        AU   paypal_standard   USD   TVPAD-004   250    0   2    500
TVP-14021225   February   2/13/2014   complete   Maggie      Leung        AU   Maggie      Leung        AU   paypal_standard   USD   HGIFT2        0    0   2      0
TVP-14021226   February   2/13/2014   complete   jian        ye           GB   jian        ye           GB   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021226   February   2/13/2014   complete   jian        ye           GB   jian        ye           GB   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021227   February   2/14/2014   complete   Suet        WU           HK   Suet        WU           HK   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021227   February   2/14/2014   complete   Suet        WU           HK   Suet        WU           HK   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021228   February   2/14/2014   complete   PARK        SANGHYUN     SG   PARK        SANGHYUN     SG   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021228   February   2/14/2014   complete   PARK        SANGHYUN     SG   PARK        SANGHYUN     SG   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021229   February   2/14/2014   complete   Lina        Ting         AU   Lina        Ting         AU   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14021229   February   2/14/2014   complete   Lina        Ting         AU   Lina        Ting         AU   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14021230   February   2/14/2014   complete   Rosana      Lee          US   Rosana      Lee          US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021230   February   2/14/2014   complete   Rosana      Lee          US   Rosana      Lee          US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021231   February   2/14/2014   complete   lin         tsang        GU   lin         tsang        GU   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021231   February   2/14/2014   complete   lin         tsang        GU   lin         tsang        GU   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021232   February   2/14/2014   complete   Xiaojing    Wu           AU   Xiaojing    Wu           AU   paypal_standard   AUD   TVPAD-004   259    0   1    259
TVP-14021232   February   2/14/2014   complete   Xiaojing    Wu           AU   Xiaojing    Wu           AU   paypal_standard   AUD   HGIFT2        0    0   1      0
TVP-14021233   February   2/14/2014   complete   Man         Lo           NL   Man         Lo           NL   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021233   February   2/14/2014   complete   Man         Lo           NL   Man         Lo           NL   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021234   February   2/14/2014   complete   Linda       Hernawati    AU   Linda       Hernawati    AU   paypal_standard   USD   TVPAD-004   259    0   1    259
TVP-14021234   February   2/14/2014   complete   Linda       Hernawati    AU   Linda       Hernawati    AU   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14021238   February   2/17/2014   complete   Tae         Park         US   Tae         Park         US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021238   February   2/17/2014   complete   Tae         Park         US   Tae         Park         US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021239   February   2/17/2014   complete   DAN         SHANG        AU   DAN         SHANG        AU   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021239   February   2/17/2014   complete   DAN         SHANG        AU   DAN         SHANG        AU   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021240   February   2/17/2014   complete   Man         Ng           US   Man         Ng           US   authorizenet      USD   TVPAD-004   259   15   1    244
TVP-14021240   February   2/17/2014   complete   Man         Ng           US   Man         Ng           US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021241   February   2/17/2014   complete   Benny       Moy          US   Benny       Moy          US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021241   February   2/17/2014   complete   Benny       Moy          US   Benny       Moy          US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021242   February   2/17/2014   complete   Lee         Tee          MY   Lee         Tee          MY   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021242   February   2/17/2014   complete   Lee         Tee          MY   Lee         Tee          MY   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021243   February   2/17/2014   complete   Patrick     Lam          US   Patrick     Lam          US   authorizenet      USD   TVPAD-004   259   20   1    239
TVP-14021244   February   2/17/2014   complete   guoli       liu          US   guoli       liu          US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021244   February   2/17/2014   complete   guoli       liu          US   guoli       liu          US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021247   February   2/17/2014   complete   KuiWa       Wong         US   KuiWa       Wong         US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021247   February   2/17/2014   complete   KuiWa       Wong         US   KuiWa       Wong         US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021248   February   2/17/2014   complete   Siu-Pak     Ho           GB   Siu-Pak     Ho           GB   authorizenet      GBP   TVPAD-004   259   20   1    239
TVP-14021249   February   2/15/2014   complete   Laura       Downey       GB   Laura       Downey       GB   paypal_standard   GBP   TVPAD-004   259   10   1    249
TVP-14021249   February   2/15/2014   complete   Laura       Downey       GB   Laura       Downey       GB   paypal_standard   GBP   HGIFT2        0    0   1      0
TVP-14021250   February   2/17/2014   complete   Fong        Long         FR   Fong        Boun         FR   authorizenet      USD   HGIFT1        0    0   2      0
TVP-14021250   February   2/17/2014   complete   Fong        Long         FR   Fong        Boun         FR   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021250   February   2/17/2014   complete   Fong        Long         FR   Fong        Boun         FR   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021251   February   2/17/2014   complete   Kevin       Tu           US   Kevin       Tu           US   authorizenet      USD   TVPAD-004   259   15   1    244
TVP-14021251   February   2/17/2014   complete   Kevin       Tu           US   Kevin       Tu           US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021252   February   2/17/2014   complete   Andy        Chung        US   Andy        Chung        US   authorizenet      USD   TVPAD-004   259   15   1    244
TVP-14021252   February   2/17/2014   complete   Andy        Chung        US   Andy        Chung        US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021253   February   2/17/2014   complete   Katherine   Lau          GB   Yuk         Lau          GB   authorizenet      GBP   TVPAD-004   259   10   1    249
TVP-14021253   February   2/17/2014   complete   Katherine   Lau          GB   Yuk         Lau          GB   authorizenet      GBP   HGIFT2        0    0   1      0
TVP-14021254   February   2/17/2014   complete   Janice      Wong-Tsang   NL   Janice      Wong-Tsang   NL   authorizenet      USD   TVPAD-004   259   15   1    244
TVP-14021254   February   2/17/2014   complete   Janice      Wong-Tsang   NL   Janice      Wong-Tsang   NL   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021255   February   2/17/2014   complete   Jianbin     Yang         US   Jianbin     Yang         US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021255   February   2/17/2014   complete   Jianbin     Yang         US   Jianbin     Yang         US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021256   February   2/17/2014   complete   Joe         Au           NZ   Joe         Au           NZ   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021256   February   2/17/2014   complete   Joe         Au           NZ   Joe         Au           NZ   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021258   February   2/17/2014   complete   Xutao       Tang         AU   Xutao       Tang         AU   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021258   February   2/17/2014   complete   Xutao       Tang         AU   Xutao       Tang         AU   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021259   February   2/16/2014   complete   joseph      chen         FR   joseph      chen         FR   paypal_standard   EUR   TVPAD-004   259   10   1    249
TVP-14021259   February   2/16/2014   complete   joseph      chen         FR   joseph      chen         FR   paypal_standard   EUR   HGIFT2        0    0   1      0
TVP-14021260   February   2/17/2014   complete   Ya-Lan      Do           GU   Ya-Lan      Do           GU   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021260   February   2/17/2014   complete   Ya-Lan      Do           GU   Ya-Lan      Do           GU   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021261   February   2/17/2014   complete   AU          CHOEYEN      FR   AU          CHOEYEN      FR   authorizenet      EUR   TVPAD-004   250   10   2    490
TVP-14021261   February   2/17/2014   complete   AU          CHOEYEN      FR   AU          CHOEYEN      FR   authorizenet      EUR   HGIFT2        0    0   2      0
TVP-14021262   February   2/17/2014   complete   Jingren     Tiong        AU   Pooi        Thean        AU   authorizenet      AUD   TVPAD-004   250   10   2    490
TVP-14021262   February   2/17/2014   complete   Jingren     Tiong        AU   Pooi        Thean        AU   authorizenet      AUD   HGIFT2        0    0   2      0
TVP-14021263   February   2/16/2014   complete   Armin       Tiet         DE   Armin       Tiet         DE   paypal_standard   EUR   TVPAD-004   250   10   2    490
TVP-14021263   February   2/16/2014   complete   Armin       Tiet         DE   Armin       Tiet         DE   paypal_standard   EUR   HGIFT2        0    0   2      0
TVP-14021264   February   2/17/2014   complete   sai         yu           US   sai         yu           US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021264   February   2/17/2014   complete   sai         yu           US   sai         yu           US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021265   February   2/17/2014   complete   Kenneth     Pedersen     NO   Kenneth     Pedersen     NO   authorizenet      USD   TVPAD-004   259   20   1    239
TVP-14021266   February   2/16/2014   complete   maria       phillips     GB   maria       phillips     GB   paypal_standard   USD   TVPAD-004   259   15   1    244
TVP-14021266   February   2/16/2014   complete   maria       phillips     GB   maria       phillips     GB   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14021267   February   2/17/2014   complete   Horatio     Chan         GB   Horatio     Chan         GB   authorizenet      GBP   TVPAD-004   259   20   1    239
TVP-14021268   February   2/17/2014   complete   Joseph      Poon         CA   Joseph      Poon         CA   paypal_standard   CAD   TVPAD-004   259   20   1    239
TVP-14021268   February   2/17/2014   complete   Joseph      Poon         CA   Joseph      Poon         CA   paypal_standard   CAD   HGIFT2        0    0   1      0
TVP-14021269   February   2/17/2014   complete   Tat         Lam          NO   Tat         Lam          NO   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021269   February   2/17/2014   complete   Tat         Lam          NO   Tat         Lam          NO   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021270   February   2/18/2014   complete   yuxiang     chen         US   Chen        Huiai        CO   authorizenet      USD   TVPAD-004   259   15   1    244
TVP-14021270   February   2/18/2014   complete   yuxiang     chen         US   Chen        Huiai        CO   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021271   February   2/17/2014   complete   Jackson     Chik         US   Jackson     Chik         US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021271   February   2/17/2014   complete   Jackson     Chik         US   Jackson     Chik         US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021273   February   2/17/2014   complete   Jian hui    Huang        AU   Jian        Huang        AU   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14021273   February   2/17/2014   complete   Jian hui    Huang        AU   Jian        Huang        AU   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-70011146   February   2/17/2014   complete   Leo         Guan         NZ   Leo         Guan         NZ   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-70011146   February   2/17/2014   complete   Leo         Guan         NZ   Leo         Guan         NZ   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14021274   February   2/17/2014   complete   Kwok        Ng           CA   Kwok        Ng           CA   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021274   February   2/17/2014   complete   Kwok        Ng           CA   Kwok        Ng           CA   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021275   February   2/17/2014   complete   Lei         Shang        AU   Lei         Shang        AU   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021275   February   2/17/2014   complete   Lei         Shang        AU   Lei         Shang        AU   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021276   February   2/17/2014   complete   Charles     Lui          AU   Charles     Lui          AU   authorizenet      AUD   TVPAD-004   259   10   1    249
TVP-14021276   February   2/17/2014   complete   Charles     Lui          AU   Charles     Lui          AU   authorizenet      AUD   HGIFT2        0    0   1      0
TVP-14021277   February   2/17/2014   complete   Haobin      Xian         AU   Haobin      Xian         AU   authorizenet      AUD   TVPAD-004   259   20   1    239
TVP-14021277   February   2/17/2014   complete   Haobin      Xian         AU   Haobin      Xian         AU   authorizenet      AUD   HGIFT2        0    0   1      0
TVP-70011147   February   2/17/2014   complete   Quoc        Diep         DK   Quoc        Diep         DK   authorizenet      USD   TVPAD-004   250   10   3    740
TVP-70011147   February   2/17/2014   complete   Quoc        Diep         DK   Quoc        Diep         DK   authorizenet      USD   HGIFT1        0    0   3      0
TVP-14021278   February   2/17/2014   complete   Yuen-Ki     Cheong       GB   Yuen-Ki     Cheong       GB   paypal_standard   USD   TVPAD-004   259   20   1    239
TVP-14021280   February   2/18/2014   complete   Ann         wong         GB   Ann         wong         GB   authorizenet      GBP   TVPAD-004   259   10   1    249
TVP-14021280   February   2/18/2014   complete   Ann         wong         GB   Ann         wong         GB   authorizenet      GBP   HGIFT2        0    0   1      0
TVP-14021281   February   2/18/2014   complete   Cora        Chan         US   Cora        Chan         US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021281   February   2/18/2014   complete   Cora        Chan         US   Cora        Chan         US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021282   February   2/18/2014   complete   ZHAOCHUAN   HE           AU   ZHAOCHUAN   HE           AU   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14021282   February   2/18/2014   complete   ZHAOCHUAN   HE           AU   ZHAOCHUAN   HE           AU   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14021283   February   2/18/2014   complete   Emily       Leung        AU   Emily       Leung        AU   authorizenet      AUD   TVPAD-004   259   20   1    239
TVP-14021285   February   2/18/2014   complete   Yee         Tan          AU   Yee         Tan          AU   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021285   February   2/18/2014   complete   Yee         Tan          AU   Yee         Tan          AU   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021284   February   2/18/2014   complete   Chan        Ho           US   Chan        Kwong        US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021284   February   2/18/2014   complete   Chan        Ho           US   Chan        Kwong        US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021286   February   2/18/2014   complete   Mann        Ly           US   Mann        Ly           US   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021286   February   2/18/2014   complete   Mann        Ly           US   Mann        Ly           US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-70011148   February   2/18/2014   complete   zhao        cong         FR   zhao        cong         FR   authorizenet      EUR   TVPAD-004   259   10   1    249
TVP-70011148   February   2/18/2014   complete   zhao        cong         FR   zhao        cong         FR   authorizenet      EUR   HGIFT2        0    0   1      0
TVP-14021287   February   2/18/2014   complete   Nyi         Hla          US   Nyi         Hla          US   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14021287   February   2/18/2014   complete   Nyi         Hla          US   Nyi         Hla          US   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14021288   February   2/18/2014   complete   Michael     Lee          US   Michael     Lee          US   authorizenet      USD   TVPAD-004   259   15   1    244
TVP-14021288   February   2/18/2014   complete   Michael     Lee          US   Michael     Lee          US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021289   February   2/18/2014   complete   Liam        Ma           AU   Liam        Ma           AU   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021289   February   2/18/2014   complete   Liam        Ma           AU   Liam        Ma           AU   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021290   February   2/18/2014   complete   Horace      Lai          SE   Horace      Lai          SE   authorizenet      USD   TVPAD-004   259   10   1    249
TVP-14021290   February   2/18/2014   complete   Horace      Lai          SE   Horace      Lai          SE   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021291   February   2/18/2014   complete   Julie       TAN          FR   Julie       TAN          FR   authorizenet      EUR   TVPAD-004   259   10   1    249
TVP-14021291   February   2/18/2014   complete   Julie       TAN          FR   Julie       TAN          FR   authorizenet      EUR   HGIFT2        0    0   1      0
TVP-14021293   February   2/18/2014   complete   Eric        Tai          AU   Eric        Tai          AU   paypal_standard   AUD   TVPAD-004   259   10   1    249
TVP-14021293   February   2/18/2014   complete   Eric        Tai          AU   Eric        Tai          AU   paypal_standard   AUD   HGIFT2        0    0   1      0
TVP-14021294   February   2/18/2014   complete   Miu         To           US   Miu         To           US   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14021294   February   2/18/2014   complete   Miu         To           US   Miu         To           US   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14021296   February   2/19/2014   complete   Paul        Woon         AU   Paul        Woon         AU   authorizenet      AUD   TVPAD-004   259   10   1    249
TVP-14021296   February   2/19/2014   complete   Paul        Woon         AU   Paul        Woon         AU   authorizenet      AUD   HGIFT2        0    0   1      0
TVP-14021297   February   2/18/2014   complete   Suzanne     Ma           US   Suzanne     Ma           US   authorizenet      USD   TVPAD-004   259   10   1    249
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TVP-14021297   February   2/18/2014   complete   Suzanne      Ma           US   Suzanne      Ma           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021298   February   2/18/2014   complete   Cindy        Liang        US   Cindy        Liang        US   authorizenet      USD   TVPAD-004       259    15   1    244
TVP-14021298   February   2/18/2014   complete   Cindy        Liang        US   Cindy        Liang        US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021299   February   2/18/2014   complete   John         Kim          US   John         Kim          US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021299   February   2/18/2014   complete   John         Kim          US   John         Kim          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021300   February   2/18/2014   complete   Siukai       Siu          US   Cho          Siu          US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14021301   February   2/19/2014   complete   Lien         Zhou         GB   Lien         Zhou         GB   authorizenet      GBP   TVPAD-004       259    10   1    249
TVP-14021301   February   2/19/2014   complete   Lien         Zhou         GB   Lien         Zhou         GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14021303   February   2/19/2014   complete   Kelly        Wang         US   Kelly        Wang         US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021303   February   2/19/2014   complete   Kelly        Wang         US   Kelly        Wang         US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021304   February   2/19/2014   complete   steven       lui          US   steven       lui          US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021304   February   2/19/2014   complete   steven       lui          US   steven       lui          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021305   February   2/19/2014   complete   Amy          So           AU   Amy          So           AU   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021305   February   2/19/2014   complete   Amy          So           AU   Amy          So           AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021306   February   2/19/2014   complete   YOUN         RO           SG   YOUN         RO           SG   authorizenet      USD   TVPAD-004       259     0   1    259
TVP-14021306   February   2/19/2014   complete   YOUN         RO           SG   YOUN         RO           SG   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021307   February   2/20/2014   complete   Joseph       Cheung       AU   Joseph       Cheung       AU   authorizenet      AUD   TVPAD-004       259    20   1    239
TVP-14021307   February   2/20/2014   complete   Joseph       Cheung       AU   Joseph       Cheung       AU   authorizenet      AUD   HGIFT2             0    0   1       0
TVP-14021308   February   2/20/2014   complete   Kim          Luong        CA   Kim          Luong        CA   paypal_standard   CAD   TVPAD-004       259    10   1    249
TVP-14021308   February   2/20/2014   complete   Kim          Luong        CA   Kim          Luong        CA   paypal_standard   CAD   HGIFT2             0    0   1       0
TVP-14021309   February   2/20/2014   closed     Young        Lee          US   Young        Lee          US   authorizenet      USD   TVPAD-004       250    10   2    490
TVP-14021309   February   2/20/2014   closed     Young        Lee          US   Young        Lee          US   authorizenet      USD   HGIFT2             0    0   2       0
TVP-14021310   February   2/20/2014   complete   chak         fong         US   chak         fong         US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021310   February   2/20/2014   complete   chak         fong         US   chak         fong         US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-70011149   February   2/20/2014   complete   ALEX         CHAU         CA   ALEX         CHAU         CA   authorizenet      USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14021311   February   2/20/2014   complete   LIRONG       GE           GB   LIRONG       GE           GB   authorizenet      GBP   TVPAD-004       259    10   1    249
TVP-14021311   February   2/20/2014   complete   LIRONG       GE           GB   LIRONG       GE           GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14021312   February   2/20/2014   complete   Katrina      Tattersall   GB   Katrina      Tattersall   GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-14021312   February   2/20/2014   complete   Katrina      Tattersall   GB   Katrina      Tattersall   GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14021313   February   2/20/2014   complete   Lucienne     Ly           FR   Lucienne     Ly           FR   authorizenet      EUR   TVPAD-004       259    10   1    249
TVP-14021313   February   2/20/2014   complete   Lucienne     Ly           FR   Lucienne     Ly           FR   authorizenet      EUR   HGIFT2             0    0   1       0
TVP-14021314   February   2/20/2014   complete   Chung        Phan         US   Chung        Phan         US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021314   February   2/20/2014   complete   Chung        Phan         US   Chung        Phan         US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021315   February   2/20/2014   complete   Steve        Hew          MY   Steve        Hew          MY   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021315   February   2/20/2014   complete   Steve        Hew          MY   Steve        Hew          MY   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021316   February   2/20/2014   complete   Nancy        Yu           US   Nancy        Yu           US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021316   February   2/20/2014   complete   Nancy        Yu           US   Nancy        Yu           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021317   February   2/20/2014   complete   Yan          Liu          CA   Yan          Liu          CA   authorizenet      CAD   TVPAD-004       259    10   1    249
TVP-14021317   February   2/20/2014   complete   Yan          Liu          CA   Yan          Liu          CA   authorizenet      CAD   HGIFT2             0    0   1       0
TVP-14021318   February   2/20/2014   complete   Kwok-tung    Cheung       US   Kwok-tung    Cheung       US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021318   February   2/20/2014   complete   Kwok-tung    Cheung       US   Kwok-tung    Cheung       US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021319   February   2/20/2014   complete   alan         woo          AU   alan         woo          AU   paypal_standard   AUD   TVPAD-004       259    20   1    239
TVP-14021319   February   2/20/2014   complete   alan         woo          AU   alan         woo          AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14021320   February   2/20/2014   complete   Hyun         Chung        CA   Hyun         Chung        CA   authorizenet      USD   TVPAD-004       259    15   1    244
TVP-14021320   February   2/20/2014   complete   Hyun         Chung        CA   Hyun         Chung        CA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021321   February   2/20/2014   complete   OKSU         LEE          CA   OKSU         LEE          CA   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021321   February   2/20/2014   complete   OKSU         LEE          CA   OKSU         LEE          CA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021323   February   2/20/2014   complete   richard      tang         GB   richard      tang         GB   authorizenet      GBP   TVPAD-004       259    10   1    249
TVP-14021323   February   2/20/2014   complete   richard      tang         GB   richard      tang         GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14021324   February   2/20/2014   complete   kain         yang         NZ   kain         yang         NZ   authorizenet      USD   TVPAD-004       250    10   2    490
TVP-14021324   February   2/20/2014   complete   kain         yang         NZ   kain         yang         NZ   authorizenet      USD   HGIFT2             0    0   2       0
TVP-14021325   February   2/20/2014   complete   Ming         Chen         AU   Ming         Chen         AU   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021325   February   2/20/2014   complete   Ming         Chen         AU   Ming         Chen         AU   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021326   February   2/20/2014   complete   Lucy         Jin          AU   Lucy         Jin          AU   paypal_standard   AUD   TVPAD-004       259    15   1    244
TVP-14021326   February   2/20/2014   complete   Lucy         Jin          AU   Lucy         Jin          AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14021327   February   2/21/2014   complete   WH           Lai          NL   WH           Lai          NL   authorizenet      EUR   TVPAD-004        259   10   1    249
TVP-14021327   February   2/21/2014   complete   WH           Lai          NL   WH           Lai          NL   authorizenet      EUR   HGIFT2             0    0   1       0
TVP-14021328   February   2/21/2014   complete   Xingli       Zhu          US   Xingli       Zhu          US   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021328   February   2/21/2014   complete   Xingli       Zhu          US   Xingli       Zhu          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-70011150   February   2/21/2014   complete   JUN          TANG         CA   JUN          TANG         CA   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-70011150   February   2/21/2014   complete   JUN          TANG         CA   JUN          TANG         CA   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021329   February   2/21/2014   closed     Ivan         Tham         DE   Ivan         Tham         DE   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14021329   February   2/21/2014   closed     Ivan         Tham         DE   Ivan         Tham         DE   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-70011151   February   2/21/2014   complete   Simon        Choy         US   Simon        Choy         US   authorizenet      USD   TVPAD-004        259   10   1    249
TVP-70011151   February   2/21/2014   complete   Simon        Choy         US   Simon        Choy         US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021330   February   2/21/2014   complete   Yee          Chang        US   Yee          Chang        US   authorizenet      USD   TVPAD-004       259    10   1     249
TVP-14021330   February   2/21/2014   complete   Yee          Chang        US   Yee          Chang        US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021331   February   2/21/2014   complete   kim          hyun         SG   kim          hyun         SG   authorizenet      USD   TVPAD-004        259   20   1     239
TVP-14021331   February   2/21/2014   complete   kim          hyun         SG   kim          hyun         SG   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021332   February   2/21/2014   complete   Yun          Lee          HK   Yun          Lee          HK   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14021332   February   2/21/2014   complete   Yun          Lee          HK   Yun          Lee          HK   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021333   February   2/21/2014   complete   Don          Joe          US   Don          Joe          US   authorizenet      USD   TVPAD-004        259   20   1     239
TVP-14021333   February   2/21/2014   complete   Don          Joe          US   Don          Joe          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021335   February   2/21/2014   complete   BO           ZHU          AU   WEI          ZHU          AU   authorizenet      AUD   TVPAD-004       259    10   1    249
TVP-14021335   February   2/21/2014   complete   BO           ZHU          AU   WEI          ZHU          AU   authorizenet      AUD   HGIFT2             0    0   1       0
TVP-14021336   February   2/21/2014   complete   Kevin        Ng           SE   Kevin        Ng           SE   authorizenet      USD   TVPAD-004       259    10   1    249
TVP-14021336   February   2/21/2014   complete   Kevin        Ng           SE   Kevin        Ng           SE   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021337   February   2/22/2014   complete   John         Lee          US   John         Lee          US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14021337   February   2/22/2014   complete   John         Lee          US   John         Lee          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-70011152   February   2/22/2014   complete   Tony         Yu           NZ   Tony         Yu           NZ   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-70011152   February   2/22/2014   complete   Tony         Yu           NZ   Tony         Yu           NZ   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021338   February   2/23/2014   complete   MI-Hae       Lee          GB   MI-Hae       Lee          GB   authorizenet      GBP   TVPAD-004       259    10   1    249
TVP-14021338   February   2/23/2014   complete   MI-Hae       Lee          GB   MI-Hae       Lee          GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-70011153   February   2/23/2014   complete   Zhirong      Wu           US   Zhirong      Wu           US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-70011153   February   2/23/2014   complete   Zhirong      Wu           US   Zhirong      Wu           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021339   February   2/23/2014   complete   Shirine      Sing         US   Shirine      Sing         US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14021339   February   2/23/2014   complete   Shirine      Sing         US   Shirine      Sing         US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-70011154   February   2/23/2014   complete   Yvonne       Mak          US   Stoney       Mak          US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-70011154   February   2/23/2014   complete   Yvonne       Mak          US   Stoney       Mak          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021340   February   2/23/2014   complete   SANG         YOON         KR   SANG         YOON         KR   authorizenet      USD   TVPAD-004        259   10   1    249
TVP-14021340   February   2/23/2014   complete   SANG         YOON         KR   SANG         YOON         KR   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021341   February   2/23/2014   complete   Joey         tan          MY   Joey         tan          MY   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14021341   February   2/23/2014   complete   Joey         tan          MY   Joey         tan          MY   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021342   February   2/23/2014   complete   Vincent      Lie          DE   Vincent      Lie          DE   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14021342   February   2/23/2014   complete   Vincent      Lie          DE   Vincent      Lie          DE   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021343   February   2/23/2014   complete   minh         huynh        US   minh         huynh        US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14021343   February   2/23/2014   complete   minh         huynh        US   minh         huynh        US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021344   February   2/23/2014   complete   Yuenshan     ho           GB   Yuenshan     ho           GB   authorizenet      GBP   TVPAD-004        250   10   3     740
TVP-14021344   February   2/23/2014   complete   Yuenshan     ho           GB   Yuenshan     ho           GB   authorizenet      GBP   HGIFT2             0    0   3       0
TVP-14021345   February   2/23/2014   complete   Hui          Zeng         US   Hui          Zeng         US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14021345   February   2/23/2014   complete   Hui          Zeng         US   Hui          Zeng         US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-70011155   February   2/23/2014   complete   William      NG           GB   WAHYAU       NG           GB   authorizenet      GBP   TVPAD-004        259   20   1     239
TVP-70011155   February   2/23/2014   complete   William      NG           GB   WAHYAU       NG           GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14021347   February   2/23/2014   complete   Hoa          Phan         US   Hoa          Phan         US   paypal_standard   USD   TVPAD-004       250    10   2    490
TVP-14021347   February   2/23/2014   complete   Hoa          Phan         US   Hoa          Phan         US   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14021348   February   2/23/2014   complete   Fuk          Lai          CA   Dennis       Lai          CA   authorizenet      CAD   TVPAD-004        259   20   1     239
TVP-14021348   February   2/23/2014   complete   Fuk          Lai          CA   Dennis       Lai          CA   authorizenet      CAD   HGIFT2             0    0   1       0
TVP-14021349   February   2/23/2014   complete   Enoch        Cheung       NZ   Enoch        Cheung       NZ   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14021349   February   2/23/2014   complete   Enoch        Cheung       NZ   Enoch        Cheung       NZ   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021350   February   2/23/2014   complete   Cuong        Luu          US   Cuong        Luu          US   authorizenet      USD   TVPAD-004        259   20   1     239
TVP-14021350   February   2/23/2014   complete   Cuong        Luu          US   Cuong        Luu          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021351   February   2/23/2014   complete   Don          Balaz        AU   Don          Balaz        AU   paypal_standard   USD   TVPAD-004        259   10   1    249
TVP-14021351   February   2/23/2014   complete   Don          Balaz        AU   Don          Balaz        AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021352   February   2/23/2014   complete   David        Lee          AU   David        Lee          AU   paypal_standard   USD   TVPAD-004       250    10   2    490
TVP-14021352   February   2/23/2014   complete   David        Lee          AU   David        Lee          AU   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14021353   February   2/24/2014   complete   kin          lee          US   kin          lee          US   authorizenet      USD   TVPAD-004        259   20   1     239
TVP-14021353   February   2/24/2014   complete   kin          lee          US   kin          lee          US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021354   February   2/24/2014   complete   HYO          JUNG         AU   HYO          JUNG         AU   authorizenet      AUD   TVPAD-004        259   10   1     249
TVP-14021354   February   2/24/2014   complete   HYO          JUNG         AU   HYO          JUNG         AU   authorizenet      AUD   HGIFT2             0    0   1       0
TVP-14021355   February   2/24/2014   complete   Wu           shanguang    AT   Wu           shanguang    AT   authorizenet      EUR   TVPAD-004        250   10   2     490
TVP-14021355   February   2/24/2014   complete   Wu           shanguang    AT   Wu           shanguang    AT   authorizenet      EUR   HGIFT2             0    0   2       0
TVP-14021356   February   2/24/2014   complete   Anthony      Tran         GB   Anthony      Tran         GB   authorizenet      GBP   TVPAD-004        259   10   1     249
TVP-14021356   February   2/24/2014   complete   Anthony      Tran         GB   Anthony      Tran         GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-70011156   February   2/24/2014   complete   Na           Yi           US   Na           Yi           US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-70011156   February   2/24/2014   complete   Na           Yi           US   Na           Yi           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021357   February   2/24/2014   complete   Jing         Lu           US   Sia          Zhao         US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14021357   February   2/24/2014   complete   Jing         Lu           US   Sia          Zhao         US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021359   February   2/24/2014   complete   Chi          Wong         GB   Chi          Wong         GB   authorizenet      GBP   TVPAD-004        259   10   1     249
TVP-14021359   February   2/24/2014   complete   Chi          Wong         GB   Chi          Wong         GB   authorizenet      GBP   HGIFT2             0    0   1       0
TVP-14021360   February   2/24/2014   complete   Alexandria   Chen         US   Alexandria   Chen         US   authorizenet      USD   TVPAD-004        250   10   2     490
TVP-14021360   February   2/24/2014   complete   Alexandria   Chen         US   Alexandria   Chen         US   authorizenet      USD   HGIFT2             0    0   2       0
TVP-14021361   February   2/24/2014   complete   Yaning       Fratini      US   Yaning       Fratini      US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14021361   February   2/24/2014   complete   Yaning       Fratini      US   Yaning       Fratini      US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021362   February   2/24/2014   complete   Martin       Cheung       US   Martin       Cheung       US   authorizenet      USD   TVPAD-004        259   10   1     249
TVP-14021362   February   2/24/2014   complete   Martin       Cheung       US   Martin       Cheung       US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021363   February   2/24/2014   complete   David        Oh           US   David        Oh           US   authorizenet      USD   TVPAD-004        259   20   1     239
TVP-14021363   February   2/24/2014   complete   David        Oh           US   David        Oh           US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021364   February   2/24/2014   complete   Paul         Dunnells     US   Paul         Dunnells     US   authorizenet      USD   TVPAD-004        259   20   1     239
TVP-14021364   February   2/24/2014   complete   Paul         Dunnells     US   Paul         Dunnells     US   authorizenet      USD   HGIFT2             0    0   1       0
TVP-14021365   February   2/24/2014   complete   David        Gu           CA   David        Gu           CA   paypal_standard   USD   TVPAD-004        259   10   1     249
TVP-14021365   February   2/24/2014   complete   David        Gu           CA   David        Gu           CA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14021367   February   2/24/2014   complete   Jun          Foo          AU   Jun          Foo          AU   paypal_standard   AUD   TVPAD-004        259   10   1     249
TVP-14021367   February   2/24/2014   complete   Jun          Foo          AU   Jun          Foo          AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14021368   February   2/24/2014   complete   Sung         CHOI         AU   Sung         CHOI         AU   paypal_standard   USD   TVPAD-004        259    0   1     259
TVP-14021368   February   2/24/2014   complete   Sung         CHOI         AU   Sung         CHOI         AU   paypal_standard   USD   HGIFT2             0    0   1       0
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TVP-14021369   February   2/24/2014   closed     Yeong               ,WANG      US   Yeong         ,WANG      US   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021369   February   2/24/2014   closed     Yeong               ,WANG      US   Yeong         ,WANG      US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021370   February   2/24/2014   complete   Sandy               Wong       AU   Sandy         Wong       AU   authorizenet      AUD   TVPAD-004   259    0   1    259
TVP-14021370   February   2/24/2014   complete   Sandy               Wong       AU   Sandy         Wong       AU   authorizenet      AUD   HGIFT2        0    0   1      0
TVP-14021371   February   2/24/2014   complete   Jiayi               Tang       AU   Jiayi         Tang       AU   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021371   February   2/24/2014   complete   Jiayi               Tang       AU   Jiayi         Tang       AU   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021372   February   2/24/2014   complete   Conchita            Bathan     GU   Chit          Bathan     GU   authorizenet      USD   TVPAD-004   250    0   2    500
TVP-14021372   February   2/24/2014   complete   Conchita            Bathan     GU   Chit          Bathan     GU   authorizenet      USD   HGIFT2        0    0   2      0
TVP-14021373   February   2/27/2014   complete   JEONG               SEOKJIN    LA   Jeong         BIN        LA   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021373   February   2/27/2014   complete   JEONG               SEOKJIN    LA   Jeong         BIN        LA   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021374   February   2/24/2014   complete   guangyang           zou        CA   guangyang     zou        CA   paypal_standard   USD   TVPAD-004   250    0   2    500
TVP-14021374   February   2/24/2014   complete   guangyang           zou        CA   guangyang     zou        CA   paypal_standard   USD   HGIFT2        0    0   2      0
TVP-14021376   February   2/25/2014   complete   Tian                Tang       AU   Tian          Tang       AU   paypal_standard   USD   TVPAD-004   259    0   1    259
TVP-14021376   February   2/25/2014   complete   Tian                Tang       AU   Tian          Tang       AU   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14021377   February   2/25/2014   complete   Kevin               Lee        US   Kevin         Lee        US   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14021377   February   2/25/2014   complete   Kevin               Lee        US   Kevin         Lee        US   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14021378   February   2/25/2014   complete   GUIYONG             CAI        FR   GUIYONG       CAI        FR   authorizenet      EUR   TVPAD-004   259    0   1    259
TVP-14021378   February   2/25/2014   complete   GUIYONG             CAI        FR   GUIYONG       CAI        FR   authorizenet      EUR   HGIFT2        0    0   1      0
TVP-14021379   February   2/25/2014   complete   David               Chu        US   David         Chu        US   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021379   February   2/25/2014   complete   David               Chu        US   David         Chu        US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021380   February   2/25/2014   complete   Jason               Lee        AU   Jason         Lee        AU   authorizenet      USD   TVPAD-004   259    5   1    254
TVP-14021380   February   2/25/2014   complete   Jason               Lee        AU   Jason         Lee        AU   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021381   February   2/25/2014   complete   Samuel Fuk Cheung   Chu        TH   Samuel        Chu        TH   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021381   February   2/25/2014   complete   Samuel Fuk Cheung   Chu        TH   Samuel        Chu        TH   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021382   February   2/25/2014   complete   Pei                 Tang       GB   Pei           Tang       GB   paypal_standard   GBP   TVPAD-004   259    0   1    259
TVP-14021382   February   2/25/2014   complete   Pei                 Tang       GB   Pei           Tang       GB   paypal_standard   GBP   HGIFT2        0    0   1      0
TVP-14021383   February   2/26/2014   complete   Vivian              Ly         AT   Vivian        Ly         AT   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021383   February   2/26/2014   complete   Vivian              Ly         AT   Vivian        Ly         AT   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021385   February   2/26/2014   complete   Sammy               Li         GB   Sammy         Li         GB   authorizenet      GBP   TVPAD-004   259    5   1    254
TVP-14021385   February   2/26/2014   complete   Sammy               Li         GB   Sammy         Li         GB   authorizenet      GBP   HGIFT2        0    0   1      0
TVP-14021390   February   2/26/2014   complete   kiwon               yoon       US   kiwon         yoon       US   paypal_standard   USD   TVPAD-004   259    5   1    254
TVP-14021390   February   2/26/2014   complete   kiwon               yoon       US   kiwon         yoon       US   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14021391   February   2/26/2014   complete   Wai                 Mang       US   Wai           Mang       US   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021391   February   2/26/2014   complete   Wai                 Mang       US   Wai           Mang       US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021392   February   2/26/2014   complete   Ellen               zheng      NZ   Ellen         zheng      NZ   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021392   February   2/26/2014   complete   Ellen               zheng      NZ   Ellen         zheng      NZ   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021393   February   2/26/2014   complete   Alan                Masom      NZ   Alan          Masom      NZ   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021393   February   2/26/2014   complete   Alan                Masom      NZ   Alan          Masom      NZ   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021394   February   2/27/2014   complete   Josie               Leung      US   Josie         Leung      US   authorizenet      USD   TVPAD-004   259    0   1    259
TVP-14021394   February   2/27/2014   complete   Josie               Leung      US   Josie         Leung      US   authorizenet      USD   HGIFT2        0    0   1      0
TVP-14021395   February   2/27/2014   complete   Siukai              Siu        US   Siukai        Siu        US   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14021395   February   2/27/2014   complete   Siukai              Siu        US   Siukai        Siu        US   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14021399   February   2/27/2014   complete   Wing                Ng         NL   Wing          Ng         NL   paypal_standard   USD   TVPAD-004   259    0   1    259
TVP-14021399   February   2/27/2014   complete   Wing                Ng         NL   Wing          Ng         NL   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14021400   February   2/27/2014   complete   mun                 chun       GB   mun           chun       GB   paypal_standard   GBP   TVPAD-004   250    0   2    500
TVP-14021400   February   2/27/2014   complete   mun                 chun       GB   mun           chun       GB   paypal_standard   GBP   HGIFT2        0    0   2      0
TVP-14021401   February   2/27/2014   complete   YOUN                RO         SG   YOUN          RO         SG   braintree         USD   TVPAD-004   259    0   1    259
TVP-14021401   February   2/27/2014   complete   YOUN                RO         SG   YOUN          RO         SG   braintree         USD   HGIFT2        0    0   1      0
TVP-14021402   February   2/27/2014   complete   Shuang              Feng       AU   Shuang        Feng       AU   braintree         USD   TVPAD-004   259    0   1    259
TVP-14021402   February   2/27/2014   complete   Shuang              Feng       AU   Shuang        Feng       AU   braintree         USD   HGIFT2        0    0   1      0
TVP-14021404   February   2/27/2014   complete   Mandy               Hau        NL   Mandy         Hau        NL   paypal_standard   EUR   TVPAD-004   259    0   1    259
TVP-14021404   February   2/27/2014   complete   Mandy               Hau        NL   Mandy         Hau        NL   paypal_standard   EUR   HGIFT2        0    0   1      0
TVP-14021405   February   2/28/2014   complete   MIN                 HUANG      GB   MEI           TANG       GB   braintree         GBP   TVPAD-004   259    0   1    259
TVP-14021405   February   2/28/2014   complete   MIN                 HUANG      GB   MEI           TANG       GB   braintree         GBP   HGIFT2        0    0   1      0
TVP-14021406   February   2/28/2014   complete   kyungsook           Yoon       CA   kyungsook     Yoon       CA   braintree         USD   TVPAD-004   259    0   1    259
TVP-14021406   February   2/28/2014   complete   kyungsook           Yoon       CA   kyungsook     Yoon       CA   braintree         USD   HGIFT2        0    0   1      0
TVP-14021407   February   2/28/2014   complete   Hui                 Zhao       GB   Hui           Zhao       GB   braintree         GBP   TVPAD-004   259    5   1    254
TVP-14021407   February   2/28/2014   complete   Hui                 Zhao       GB   Hui           Zhao       GB   braintree         GBP   HGIFT2        0    0   1      0
TVP-14021408   February   2/28/2014   complete   Eric                Ho         GB   Eric          Ho         GB   paypal_standard   GBP   TVPAD-004   259    0   1    259
TVP-14021408   February   2/28/2014   complete   Eric                Ho         GB   Eric          Ho         GB   paypal_standard   GBP   HGIFT2        0    0   1      0
TVP-14021410   February   2/28/2014   complete   Hong                Nie        US   Hong          Nie        US   paypal_standard   USD   TVPAD-004   259    0   1    259
TVP-14021410   February   2/28/2014   complete   Hong                Nie        US   Hong          Nie        US   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14021413   February   2/28/2014   complete   Shigeru             Katsuta    US   Shigeru       Katsuta    US   braintree         USD   TVPAD-004   259    0   1    259
TVP-14021414   February   2/28/2014   complete   MOU                 IP         US   MOU           IP         US   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14021414   February   2/28/2014   complete   MOU                 IP         US   MOU           IP         US   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14021415   February   2/28/2014   complete   Peter               Huang      AU   Peter         Huang      AU   paypal_standard   USD   TVPAD-004   259    0   1    259
TVP-14021415   February   2/28/2014   complete   Peter               Huang      AU   Peter         Huang      AU   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14021416   March       3/1/2014   complete   ADRIENNE            LOU        GB   ADRIENNE      LOU        GB   braintree         USD   TVPAD-004   259   20   1    239
TVP-14021416   March       3/1/2014   complete   ADRIENNE            LOU        GB   ADRIENNE      LOU        GB   braintree         USD   HGIFT2        0    0   1      0
TVP-14021418   March       3/1/2014   complete   C.K.                Wu         NL   C.K.          Wu         NL   paypal_standard   USD   TVPAD-004   250   10   2    490
TVP-14021418   March       3/1/2014   complete   C.K.                Wu         NL   C.K.          Wu         NL   paypal_standard   USD   HGIFT2        0    0   2      0
TVP-14021421   March       3/1/2014   complete   Anita               Li         AU   Anita         Li         AU   braintree         USD   TVPAD-004   259   10   1    249
TVP-14021421   March       3/1/2014   complete   Anita               Li         AU   Anita         Li         AU   braintree         USD   HGIFT2        0    0   1      0
TVP-14021422   March       3/1/2014   complete   anne                chang      US   anne          chang      US   braintree         USD   TVPAD-004   250   10   2    490
TVP-14021422   March       3/1/2014   complete   anne                chang      US   anne          chang      US   braintree         USD   HGIFT2        0    0   2      0
TVP-14021423   March       3/1/2014   complete   deryck              Tsang      US   deryck        Tsang      US   braintree         USD   TVPAD-004   259   10   1    249
TVP-14021423   March       3/1/2014   complete   deryck              Tsang      US   deryck        Tsang      US   braintree         USD   HGIFT2        0    0   1      0
TVP-14021425   March       3/3/2014   complete   Leang               ING        FR   Leang         ING        FR   braintree         EUR   TVPAD-004   250   10   2    490
TVP-14021425   March       3/3/2014   complete   Leang               ING        FR   Leang         ING        FR   braintree         EUR   HGIFT2        0    0   2      0
TVP-14021426   March       3/3/2014   complete   Yike                Li         AU   Yike          Li         AU   braintree         USD   TVPAD-004   259   10   1    249
TVP-14021426   March       3/3/2014   complete   Yike                Li         AU   Yike          Li         AU   braintree         USD   HGIFT2        0    0   1      0
TVP-14031010   March       3/3/2014   complete   Hui                 Zhao       GB   Hui           Zhao       JE   braintree         GBP   TVPAD-004   259   15   1    244
TVP-14031010   March       3/3/2014   complete   Hui                 Zhao       GB   Hui           Zhao       JE   braintree         GBP   HGIFT2        0    0   1      0
TVP-14031011   March       3/3/2014   complete   vivian              wei        GB   vivian        wei        GB   braintree         USD   TVPAD-004   259   10   1    249
TVP-14031011   March       3/3/2014   complete   vivian              wei        GB   vivian        wei        GB   braintree         USD   HGIFT2        0    0   1      0
TVP-14031012   March       3/3/2014   complete   Julien              Heang      FR   Julien        Heang      FR   braintree         EUR   TVPAD-004   250   10   2    490
TVP-14031012   March       3/3/2014   complete   Julien              Heang      FR   Julien        Heang      FR   braintree         EUR   HGIFT2        0    0   2      0
TVP-14031014   March       3/2/2014   complete   Mautac              MU         FR   Mautac        MU         FR   paypal_standard   EUR   TVPAD-004   259   15   1    244
TVP-14031014   March       3/2/2014   complete   Mautac              MU         FR   Mautac        MU         FR   paypal_standard   EUR   HGIFT2        0    0   1      0
TVP-14031015   March       3/3/2014   complete   Yi                  Lu         US   Yi            Lu         US   braintree         USD   TVPAD-004   259   10   1    249
TVP-14031015   March       3/3/2014   complete   Yi                  Lu         US   Yi            Lu         US   braintree         USD   HGIFT2        0    0   1      0
TVP-14031016   March       3/3/2014   complete   Giai                Ly         CA   Giai          Ly         CA   braintree         CAD   TVPAD-004   259   15   1    244
TVP-14031017   March       3/3/2014   complete   Christopher         Essex      GB   Christopher   Essex      GB   braintree         GBP   TVPAD-004   259   10   1    249
TVP-14031017   March       3/3/2014   complete   Christopher         Essex      GB   Christopher   Essex      GB   braintree         GBP   HGIFT2        0    0   1      0
TVP-14031018   March       3/3/2014   complete   Minh                Ha         US   Minh          Ha         US   braintree         USD   TVPAD-004   259   10   1    249
TVP-14031018   March       3/3/2014   complete   Minh                Ha         US   Minh          Ha         US   braintree         USD   HGIFT2        0    0   1      0
TVP-14031020   March       3/2/2014   complete   Kia                 BEN        FR   Kia           BEN        FR   paypal_standard   EUR   TVPAD-004   245   10   5   1215
TVP-14031020   March       3/2/2014   complete   Kia                 BEN        FR   Kia           BEN        FR   paypal_standard   EUR   HGIFT2        0    0   5      0
TVP-14031024   March       3/2/2014   complete   YIDA                XU         AU   YIDA          XU         AU   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14031024   March       3/2/2014   complete   YIDA                XU         AU   YIDA          XU         AU   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14031025   March       3/3/2014   complete   Chunwei             Ma         US   Chunwei       Ma         US   braintree         USD   TVPAD-004   259   10   1    249
TVP-14031025   March       3/3/2014   complete   Chunwei             Ma         US   Chunwei       Ma         US   braintree         USD   HGIFT2        0    0   1      0
TVP-14031026   March       3/2/2014   complete   Michael             Chow       US   Michael       Chow       US   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14031026   March       3/2/2014   complete   Michael             Chow       US   Michael       Chow       US   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14031027   March       3/2/2014   complete   Hwa                 Yoon       AU   Hwa           Yoon       AU   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14031027   March       3/2/2014   complete   Hwa                 Yoon       AU   Hwa           Yoon       AU   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14031028   March       3/3/2014   complete   Edith               Sun        US   Edith         Sun        US   braintree         USD   TVPAD-004   259   10   1    249
TVP-14031028   March       3/3/2014   complete   Edith               Sun        US   Edith         Sun        US   braintree         USD   HGIFT2        0    0   1      0
TVP-14031029   March       3/3/2014   complete   BIN                 LI         AU   BIN           LI         AU   braintree         USD   TVPAD-004   259   10   1    249
TVP-14031031   March       3/3/2014   complete   Jimmy               Tang       GB   Jimmy         Tang       GB   braintree         USD   TVPAD-004   259   10   1    249
TVP-14031032   March       3/3/2014   complete   Lorraine            O'Mara     GB   Lorraine      O'Mara     GB   paypal_standard   GBP   TVPAD-004   250   10   2    490
TVP-14031033   March       3/3/2014   complete   Andy                Sitt       MY   Andy          Sitt       MY   braintree         USD   TVPAD-004   259   10   1    249
TVP-14031034   March       3/3/2014   complete   Vinh                Chau       SE   Vinh          Chau       SE   braintree         USD   TVPAD-004   259   10   1    249
TVP-14031035   March       3/3/2014   complete   IVY                 TANG       GB   IVY           TANG       GB   paypal_standard   GBP   TVPAD-004   259   10   1    249
TVP-14031036   March       3/3/2014   complete   MARC                CHANDENG   FR   MARC          CHANDENG   FR   braintree         EUR   TVPAD-004   259   10   1    249
TVP-14031037   March       3/3/2014   complete   K.Y.                Lee        NL   K.Y.          Lee        NL   paypal_standard   EUR   TVPAD-004   259   15   1    244
TVP-14031038   March       3/3/2014   complete   Yiu                 hui        US   Yiu           hui        US   braintree         USD   TVPAD-004   259   10   1    249
TVP-14031039   March       3/3/2014   complete   Francesca           Ho         GB   Francesca     Ho         GB   braintree         GBP   TVPAD-004   259   10   1    249
TVP-14031040   March       3/3/2014   complete   Charlz              Cheng      CA   Charlz        Cheng      CA   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14031041   March       3/3/2014   complete   ELSIE               YEUNG      AU   Michael       Ip         AU   braintree         USD   TVPAD-004   259   10   1    249
TVP-14031041   March       3/3/2014   complete   ELSIE               YEUNG      AU   Michael       Ip         AU   braintree         USD   HGIFT2        0    0   1      0
TVP-14031042   March       3/3/2014   complete   John                Kim        US   John          Kim        US   braintree         USD   TVPAD-004   259   20   1    239
TVP-14031043   March       3/3/2014   complete   Arthur              Tao        US   Arthur        Tao        US   braintree         USD   TVPAD-004   259   10   1    249
TVP-14031043   March       3/3/2014   complete   Arthur              Tao        US   Arthur        Tao        US   braintree         USD   HGIFT2        0    0   1      0
TVP-14031045   March       3/3/2014   complete   Tony                Law        NZ   Tony          Law        NZ   braintree         USD   TVPAD-004   250   10   2    490
TVP-14031045   March       3/3/2014   complete   Tony                Law        NZ   Tony          Law        NZ   braintree         USD   HGIFT2        0    0   2      0
TVP-14031046   March       3/3/2014   complete   kinho               Lee        US   kinho         Lee        US   paypal_standard   USD   TVPAD-004   259   20   1    239
TVP-14031046   March       3/3/2014   complete   kinho               Lee        US   kinho         Lee        US   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14031048   March       3/3/2014   complete   JIN                 DEANIS     MY   JIN           DEANIS     MY   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14031048   March       3/3/2014   complete   JIN                 DEANIS     MY   JIN           DEANIS     MY   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14031049   March       3/3/2014   complete   sammi               koo        NZ   sammi         koo        NZ   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14031050   March       3/3/2014   complete   Clifford            Chan       NL   Clifford      Chan       NL   paypal_standard   EUR   TVPAD-004   259   15   1    244
TVP-14031050   March       3/3/2014   complete   Clifford            Chan       NL   Clifford      Chan       NL   paypal_standard   EUR   HGIFT2        0    0   1      0
TVP-14031051   March       3/3/2014   complete   Jackson             Chan       CA   Jackson       Chan       CA   braintree         USD   TVPAD-004   259   20   1    239
TVP-14031051   March       3/3/2014   complete   Jackson             Chan       CA   Jackson       Chan       CA   braintree         USD   HGIFT2        0    0   1      0
TVP-14031052   March       3/3/2014   complete   Hui                 Xu         US   Hui           Xu         US   braintree         USD   TVPAD-004   259   10   1    249
TVP-14031052   March       3/3/2014   complete   Hui                 Xu         US   Hui           Xu         US   braintree         USD   HGIFT2        0    0   1      0
TVP-14031053   March       3/3/2014   complete   Yu                  Tsui       US   Yu            Tsui       US   braintree         USD   TVPAD-004   259   10   1    249
TVP-14031053   March       3/3/2014   complete   Yu                  Tsui       US   Yu            Tsui       US   braintree         USD   HGIFT2        0    0   1      0
TVP-14031054   March       3/3/2014   complete   Thomas              Chiang     US   Thomas        Chiang     US   paypal_standard   USD   TVPAD-004   259   10   1    249
TVP-14031054   March       3/3/2014   complete   Thomas              Chiang     US   Thomas        Chiang     US   paypal_standard   USD   HGIFT2        0    0   1      0
TVP-14031055   March       3/4/2014   complete   Canon               Go         AU   Canon         Go         AU   braintree         USD   TVPAD-004   259   10   1    249
TVP-14031055   March       3/4/2014   complete   Canon               Go         AU   Canon         Go         AU   braintree         USD   HGIFT2        0    0   1      0
TVP-14031056   March       3/4/2014   complete   Poh                 Phoon      GB   Poh           Phoon      GB   braintree         GBP   TVPAD-004   259   10   1    249
TVP-14031056   March       3/4/2014   complete   Poh                 Phoon      GB   Poh           Phoon      GB   braintree         GBP   HGIFT2        0    0   1      0
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TVP-14031057   March    3/4/2014   complete   Wai         Pang            DK   Wai         Pang            DK   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031059   March    3/4/2014   complete   Sarah       Pun             US   Celine      Pun             JP   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031059   March    3/4/2014   complete   Sarah       Pun             US   Celine      Pun             JP   braintree         USD   HGIFT2        0    0   1     0
TVP-14031060   March    3/4/2014   complete   Jason       Fung            US   Jason       Fung            US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031060   March    3/4/2014   complete   Jason       Fung            US   Jason       Fung            US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031061   March    3/4/2014   complete   Shanshan    Li              GB   Shanshan    Li              GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14031061   March    3/4/2014   complete   Shanshan    Li              GB   Shanshan    Li              GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14031062   March    3/4/2014   complete   Yau         Lee             GB   Yau         Lee             GB   braintree         USD   TVPAD-004   250   10   2   490
TVP-14031062   March    3/4/2014   complete   Yau         Lee             GB   Yau         Lee             GB   braintree         USD   HGIFT2        0    0   2     0
TVP-14031063   March    3/4/2014   complete   Andrew      Wong            US   Andrew      Wong            US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031063   March    3/4/2014   complete   Andrew      Wong            US   Andrew      Wong            US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031064   March    3/4/2014   complete   Angie       Chau            US   Angie       Chau            US   braintree         USD   TVPAD-004   259   15   1   244
TVP-14031064   March    3/4/2014   complete   Angie       Chau            US   Angie       Chau            US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031065   March    3/4/2014   complete   Jing        Yong            NL   Jing        Yong            NL   braintree         EUR   TVPAD-004   259   10   1   249
TVP-14031065   March    3/4/2014   complete   Jing        Yong            NL   Jing        Yong            NL   braintree         EUR   HGIFT2        0    0   1     0
TVP-14031066   March    3/4/2014   complete   Howard      tran            US   Lei         zhang           US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031066   March    3/4/2014   complete   Howard      tran            US   Lei         zhang           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031067   March    3/4/2014   complete   Jeffrey     Mok             AU   Jeffrey     Mok             AU   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031067   March    3/4/2014   complete   Jeffrey     Mok             AU   Jeffrey     Mok             AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031068   March    3/4/2014   complete   Mee         Wong            US   Mee         Wong            US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031068   March    3/4/2014   complete   Mee         Wong            US   Mee         Wong            US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031071   March    3/4/2014   complete   Jesse       Chai            US   Jesse       Chai            US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031071   March    3/4/2014   complete   Jesse       Chai            US   Jesse       Chai            US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031072   March    3/4/2014   complete   Mui         Wan             GB   Mui         Wan             GB   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031072   March    3/4/2014   complete   Mui         Wan             GB   Mui         Wan             GB   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031073   March    3/4/2014   complete   YI          PENG            AU   YI          PENG            AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031073   March    3/4/2014   complete   YI          PENG            AU   YI          PENG            AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031074   March    3/5/2014   complete   Jenny       Chiu            AU   Jenny       Chiu            AU   braintree         AUD   TVPAD-004   259   10   1   249
TVP-14031074   March    3/5/2014   complete   Jenny       Chiu            AU   Jenny       Chiu            AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14031075   March    3/4/2014   complete   Alicia      Chong           US   Alicia      Chong           US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031075   March    3/4/2014   complete   Alicia      Chong           US   Alicia      Chong           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031076   March    3/5/2014   complete   HoSung      Lee             SK   HoSung      Lee             SK   braintree         USD   TVPAD-004   250   10   2   490
TVP-14031076   March    3/5/2014   complete   HoSung      Lee             SK   HoSung      Lee             SK   braintree         USD   HGIFT2        0    0   2     0
TVP-14031077   March    3/5/2014   complete   Pancy       Wong            US   Pancy       Wong            US   braintree         USD   TVPAD-004   250   10   2   490
TVP-14031077   March    3/5/2014   complete   Pancy       Wong            US   Pancy       Wong            US   braintree         USD   HGIFT2        0    0   2     0
TVP-14031079   March    3/5/2014   complete   Waiman      Lo              GB   Wing        Lo              GB   paypal_standard   GBP   TVPAD-004   259   20   1   239
TVP-14031079   March    3/5/2014   complete   Waiman      Lo              GB   Wing        Lo              GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14031080   March    3/5/2014   complete   Jing        Li              US   Jing        Li              US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031080   March    3/5/2014   complete   Jing        Li              US   Jing        Li              US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031081   March    3/5/2014   closed     Carol       Shen            US   Carol       Shen            US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031081   March    3/5/2014   closed     Carol       Shen            US   Carol       Shen            US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031082   March    3/5/2014   complete   adrian      au              US   adrian      au              US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031082   March    3/5/2014   complete   adrian      au              US   adrian      au              US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031083   March    3/5/2014   complete   Saik        Ng              AU   Saik        Ng              AU   braintree         USD   TVPAD-004   250   10   3   740
TVP-14031083   March    3/5/2014   complete   Saik        Ng              AU   Saik        Ng              AU   braintree         USD   HGIFT2        0    0   3     0
TVP-14031084   March    3/5/2014   complete   Han Bum     Park            US   Han Bum     Park            US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14031084   March    3/5/2014   complete   Han Bum     Park            US   Han Bum     Park            US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031085   March    3/5/2014   complete   john        lee             US   john        lee             US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031085   March    3/5/2014   complete   john        lee             US   john        lee             US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031086   March    3/5/2014   complete   Eric        Auyang          US   Eric        Auyang          US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031086   March    3/5/2014   complete   Eric        Auyang          US   Eric        Auyang          US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031087   March    3/5/2014   complete   Irene       Yiu             AU   Irene       Yiu             AU   braintree         USD   TVPAD-004   259   15   1   244
TVP-14031087   March    3/5/2014   complete   Irene       Yiu             AU   Irene       Yiu             AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031088   March    3/5/2014   complete   William     wong            US   William     wong            US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031088   March    3/5/2014   complete   William     wong            US   William     wong            US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031089   March    3/5/2014   complete   Gangyi      Liang           GB   Gangyi      Liang           GB   braintree         USD   TVPAD-004   259   15   1   244
TVP-14031089   March    3/5/2014   complete   Gangyi      Liang           GB   Gangyi      Liang           GB   braintree         USD   HGIFT2        0    0   1     0
TVP-14031090   March    3/5/2014   complete   Si          Wang            AU   Si          Wang            AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031090   March    3/5/2014   complete   Si          Wang            AU   Si          Wang            AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031091   March    3/5/2014   closed     Nayun       Kim             NZ   Nayun       Kim             NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031091   March    3/5/2014   closed     Nayun       Kim             NZ   Nayun       Kim             NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14031092   March    3/5/2014   complete   Sky         Zhao            NZ   Sky         Zhao            NZ   braintree         USD   TVPAD-004   259   20   1   239
TVP-14031092   March    3/5/2014   complete   Sky         Zhao            NZ   Sky         Zhao            NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14031093   March    3/5/2014   complete   Frederick   Yu              US   Frederick   Yu              US   paypal_standard   USD   TVPAD-004   259   20   1   239
TVP-14031093   March    3/5/2014   complete   Frederick   Yu              US   Frederick   Yu              US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031094   March    3/5/2014   complete   Ji          Shen            AU   Ji          Shen            AU   braintree         AUD   TVPAD-004   259   20   1   239
TVP-14031094   March    3/5/2014   complete   Ji          Shen            AU   Ji          Shen            AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14031096   March    3/5/2014   complete   Fang        Lin             US   Fang        Lin             US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031096   March    3/5/2014   complete   Fang        Lin             US   Fang        Lin             US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031097   March    3/6/2014   complete   Charlotte   Ives            GB   Charlotte   Ives            GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14031098   March    3/6/2014   complete   Newton      Lac             CA   Newton      Lac             CA   braintree         CAD   TVPAD-004   259   10   1   249
TVP-14031098   March    3/6/2014   complete   Newton      Lac             CA   Newton      Lac             CA   braintree         CAD   HGIFT2        0    0   1     0
TVP-14031099   March    3/6/2014   complete   Julie       Lau             GB   Julie       Lau             GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14031099   March    3/6/2014   complete   Julie       Lau             GB   Julie       Lau             GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14031100   March    3/6/2014   complete   SIQI        BIAN            NZ   SIQI        BIAN            NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031101   March    3/6/2014   complete   Bruce       Le              US   Bruce       Le              US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031101   March    3/6/2014   complete   Bruce       Le              US   Bruce       Le              US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031102   March    3/6/2014   complete   Judy        Lee             CA   Judy        Lee             CA   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031102   March    3/6/2014   complete   Judy        Lee             CA   Judy        Lee             CA   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031103   March    3/6/2014   complete   Yaoling     Lei             US   Yaoling     Lei             US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14031103   March    3/6/2014   complete   Yaoling     Lei             US   Yaoling     Lei             US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031104   March    3/6/2014   complete   john        lam             NL   john        lam             NL   paypal_standard   EUR   TVPAD-004   259   10   1   249
TVP-14031104   March    3/6/2014   complete   john        lam             NL   john        lam             NL   paypal_standard   EUR   HGIFT2        0    0   1     0
TVP-14031105   March    3/6/2014   complete   david       xiao            AU   david       xiao            AU   braintree         USD   TVPAD-004   259   20   1   239
TVP-14031105   March    3/6/2014   complete   david       xiao            AU   david       xiao            AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031106   March    3/6/2014   complete   Jenny       Cho             US   Jenny       Cho             US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031106   March    3/6/2014   complete   Jenny       Cho             US   Jenny       Cho             US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031107   March    3/7/2014   complete   Natalie     Yeung           GB   Natalie     Yeung           GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14031107   March    3/7/2014   complete   Natalie     Yeung           GB   Natalie     Yeung           GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14031108   March    3/7/2014   complete   T           Ma              GB   Fiona       Tran            GB   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031108   March    3/7/2014   complete   T           Ma              GB   Fiona       Tran            GB   braintree         USD   HGIFT2        0    0   1     0
TVP-14031109   March    3/7/2014   complete   JOHN        CHOE            US   JOHN        CHOE            US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031109   March    3/7/2014   complete   JOHN        CHOE            US   JOHN        CHOE            US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031110   March    3/7/2014   complete   William     Lee             GB   William     Lee             GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14031110   March    3/7/2014   complete   William     Lee             GB   William     Lee             GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14031111   March    3/7/2014   complete   Fanping     Cheng           NL   Fanping     Cheng           NL   braintree         EUR   TVPAD-004   259   10   1   249
TVP-14031111   March    3/7/2014   complete   Fanping     Cheng           NL   Fanping     Cheng           NL   braintree         EUR   HGIFT2        0    0   1     0
TVP-14031113   March    3/7/2014   complete   Garry       Cho             AU   Garry       Cho             AU   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031113   March    3/7/2014   complete   Garry       Cho             AU   Garry       Cho             AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031114   March    3/7/2014   complete   Cindy       Cheung          US   Cindy       Cheung          US   braintree         USD   TVPAD-004   250   10   3   740
TVP-14031114   March    3/7/2014   complete   Cindy       Cheung          US   Cindy       Cheung          US   braintree         USD   HGIFT2        0    0   3     0
TVP-14031115   March    3/7/2014   complete   Frank       Lee             US   Frank       Lee             US   braintree         USD   TVPAD-004   250   15   2   485
TVP-14031115   March    3/7/2014   complete   Frank       Lee             US   Frank       Lee             US   braintree         USD   HGIFT2        0    0   2     0
TVP-14031116   March    3/7/2014   complete   YIU         SIU             US   Raymond     Siu             US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031116   March    3/7/2014   complete   YIU         SIU             US   Raymond     Siu             US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031117   March    3/7/2014   complete   Andre       LEE             FR   Andre       LEE             FR   braintree         EUR   TVPAD-004   259   10   1   249
TVP-14031117   March    3/7/2014   complete   Andre       LEE             FR   Andre       LEE             FR   braintree         EUR   HGIFT2        0    0   1     0
TVP-14031118   March    3/7/2014   complete   solofo      rajaofetrison   FR   solofo      rajaofetrison   FR   braintree         EUR   TVPAD-004   259   10   1   249
TVP-14031118   March    3/7/2014   complete   solofo      rajaofetrison   FR   solofo      rajaofetrison   FR   braintree         EUR   HGIFT2        0    0   1     0
TVP-14031119   March    3/7/2014   complete   QING        LUO             AU   QING        LUO             AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031119   March    3/7/2014   complete   QING        LUO             AU   QING        LUO             AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031120   March    3/8/2014   complete   Susanna     Cheung          GB   Susanna     Cheung          GB   braintree         USD   TVPAD-004   250   10   2   490
TVP-14031120   March    3/8/2014   complete   Susanna     Cheung          GB   Susanna     Cheung          GB   braintree         USD   HGIFT2        0    0   2     0
TVP-14031121   March    3/8/2014   complete   Sandi       Lim             AU   Sandi       Lim             AU   paypal_standard   AUD   TVPAD-004   259   10   1   249
TVP-14031121   March    3/8/2014   complete   Sandi       Lim             AU   Sandi       Lim             AU   paypal_standard   AUD   HGIFT2        0    0   1     0
TVP-14031122   March    3/8/2014   complete   Sueky       Shek            GB   Sueky       Shek            GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14031122   March    3/8/2014   complete   Sueky       Shek            GB   Sueky       Shek            GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14031123   March    3/8/2014   complete   Teresa      Thomas          US   Teresa      Thomas          US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031123   March    3/8/2014   complete   Teresa      Thomas          US   Teresa      Thomas          US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031124   March    3/8/2014   complete   Hor         Cheuk           US   Hor         Cheuk           US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14031124   March    3/8/2014   complete   Hor         Cheuk           US   Hor         Cheuk           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031125   March    3/8/2014   complete   KWANGSHIK   KIM             AU   KWANGSHIK   KIM             AU   braintree         USD   TVPAD-004   259   20   1   239
TVP-14031125   March    3/8/2014   complete   KWANGSHIK   KIM             AU   KWANGSHIK   KIM             AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031126   March    3/8/2014   complete   Stephen     Kim             NZ   Stephen     Kim             NZ   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031126   March    3/8/2014   complete   Stephen     Kim             NZ   Stephen     Kim             NZ   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031127   March    3/8/2014   complete   Lee         T.Kim           US   Lee         T.Kim           US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031127   March    3/8/2014   complete   Lee         T.Kim           US   Lee         T.Kim           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031128   March    3/8/2014   complete   Mei         JIAO            AU   Mei         JIAO            AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031128   March    3/8/2014   complete   Mei         JIAO            AU   Mei         JIAO            AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031129   March   3/10/2014   complete   Rebecca     Wang            NZ   Rebecca     Wang            NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031129   March   3/10/2014   complete   Rebecca     Wang            NZ   Rebecca     Wang            NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14031130   March   3/10/2014   complete   Gu          Hong            SG   Gu          Hong            SG   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031130   March   3/10/2014   complete   Gu          Hong            SG   Gu          Hong            SG   braintree         USD   HGIFT2        0    0   1     0
TVP-14031131   March   3/10/2014   complete   Susan       Chen            NZ   Susan       Chen            NZ   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031131   March   3/10/2014   complete   Susan       Chen            NZ   Susan       Chen            NZ   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031133   March   3/10/2014   complete   Yung        Cheung          GB   Timothy     Cheung          GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14031133   March   3/10/2014   complete   Yung        Cheung          GB   Timothy     Cheung          GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14031134   March   3/10/2014   complete   Patrick     Chan            US   Patrick     Chan            US   braintree         USD   TVPAD-004   250   10   2   490
TVP-14031134   March   3/10/2014   complete   Patrick     Chan            US   Patrick     Chan            US   braintree         USD   HGIFT2        0    0   2     0
TVP-14031135   March   3/10/2014   complete   kit         Miller          US   kit         Miller          US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031135   March   3/10/2014   complete   kit         Miller          US   kit         Miller          US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031136   March   3/10/2014   complete   Zhenyuan    Cai             AU   Zhenyuan    Cai             AU   braintree         USD   TVPAD-004   259   15   1   244
TVP-14031136   March   3/10/2014   complete   Zhenyuan    Cai             AU   Zhenyuan    Cai             AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031137   March   3/10/2014   complete   Frank       Chen            NZ   Frank       Chen            NZ   braintree         USD   TVPAD-004   259   15   1   244
TVP-14031137   March   3/10/2014   complete   Frank       Chen            NZ   Frank       Chen            NZ   braintree         USD   HGIFT2        0    0   1     0
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TVP-14031138   March   3/10/2014   complete   Jimmy           CHIU        CA   Jimmy           CHIU        CA   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031138   March   3/10/2014   complete   Jimmy           CHIU        CA   Jimmy           CHIU        CA   braintree         USD   HGIFT2        0    0   1     0
TVP-14031139   March   3/10/2014   complete   BU,Ching        Fang        US   BU,Ching        Fang        US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031139   March   3/10/2014   complete   BU,Ching        Fang        US   BU,Ching        Fang        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031140   March   3/10/2014   complete   W               Cheung      NL   Edward          Li          NL   braintree         EUR   TVPAD-004   250   10   2   490
TVP-14031140   March   3/10/2014   complete   W               Cheung      NL   Edward          Li          NL   braintree         EUR   HGIFT2        0    0   2     0
TVP-14031141   March   3/10/2014   complete   SK              Cheung      NL   SK              Cheung      NL   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031141   March   3/10/2014   complete   SK              Cheung      NL   SK              Cheung      NL   braintree         USD   HGIFT2        0    0   1     0
TVP-14031142   March   3/10/2014   complete   Wai             Chan        GB   Wai             Chan        GB   braintree         GBP   TVPAD-004   259   15   1   244
TVP-14031142   March   3/10/2014   complete   Wai             Chan        GB   Wai             Chan        GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14031143   March   3/10/2014   complete   Lisa            Tsang       IE   Lisa            Tsang       IE   braintree         USD   TVPAD-004   259   15   1   244
TVP-14031143   March   3/10/2014   complete   Lisa            Tsang       IE   Lisa            Tsang       IE   braintree         USD   HGIFT2        0    0   1     0
TVP-14031144   March   3/10/2014   complete   raymond         chen        US   raymond         chen        US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031144   March   3/10/2014   complete   raymond         chen        US   raymond         chen        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031145   March   3/10/2014   complete   Christine       Quirk       US   Christine       Quirk       US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031145   March   3/10/2014   complete   Christine       Quirk       US   Christine       Quirk       US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031146   March   3/10/2014   complete   James           wong        GB   James           wong        GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14031146   March   3/10/2014   complete   James           wong        GB   James           wong        GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14031147   March   3/10/2014   complete   Wen             Jiang       US   Wen             Jiang       US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031147   March   3/10/2014   complete   Wen             Jiang       US   Wen             Jiang       US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031148   March   3/10/2014   complete   QI              SUN         AU   QI              SUN         AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031148   March   3/10/2014   complete   QI              SUN         AU   QI              SUN         AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031149   March   3/10/2014   complete   John            Hawley      AU   John            Hawley      AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031149   March   3/10/2014   complete   John            Hawley      AU   John            Hawley      AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031150   March   3/10/2014   complete   Mykky           Luong       AU   Mykky           Luong       AU   braintree         AUD   TVPAD-004   259   10   1   249
TVP-14031150   March   3/10/2014   complete   Mykky           Luong       AU   Mykky           Luong       AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14031151   March   3/10/2014   complete   Molina          Lyn         AU   Molina          Gan         AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031151   March   3/10/2014   complete   Molina          Lyn         AU   Molina          Gan         AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031152   March   3/10/2014   complete   kee             leong       GB   kee             leong       GB   braintree         GBP   TVPAD-004   259   20   1   239
TVP-14031152   March   3/10/2014   complete   kee             leong       GB   kee             leong       GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14031153   March   3/11/2014   complete   YeeLing         Lee         GB   YeeLing         Lee         GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14031153   March   3/11/2014   complete   YeeLing         Lee         GB   YeeLing         Lee         GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14031154   March   3/11/2014   complete   Velonica        Lee         GB   Velonica        Lee         GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14031154   March   3/11/2014   complete   Velonica        Lee         GB   Velonica        Lee         GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14031156   March   3/11/2014   complete   quyen           ngo         US   quyen           ngo         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031156   March   3/11/2014   complete   quyen           ngo         US   quyen           ngo         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031158   March   3/11/2014   complete   Jeffrey         Yang        CA   Jeffrey         Yang        CA   paypal_standard   CAD   TVPAD-004   259   10   1   249
TVP-14031158   March   3/11/2014   complete   Jeffrey         Yang        CA   Jeffrey         Yang        CA   paypal_standard   CAD   HGIFT2        0    0   1     0
TVP-14031159   March   3/11/2014   complete   Prudence        Lee         CA   Prudence        Lee         CA   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031159   March   3/11/2014   complete   Prudence        Lee         CA   Prudence        Lee         CA   braintree         USD   HGIFT2        0    0   1     0
TVP-14031160   March   3/11/2014   complete   Shan            Liu         GB   Shan            Liu         GB   paypal_standard   GBP   TVPAD-004   259   10   1   249
TVP-14031160   March   3/11/2014   complete   Shan            Liu         GB   Shan            Liu         GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14031161   March   3/11/2014   complete   Yui             Law         GB   Yui             Law         GB   paypal_standard   GBP   TVPAD-004   259   10   1   249
TVP-14031161   March   3/11/2014   complete   Yui             Law         GB   Yui             Law         GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14031162   March   3/11/2014   complete   Alex            Leung       US   Alex            Leung       US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031162   March   3/11/2014   complete   Alex            Leung       US   Alex            Leung       US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031163   March   3/11/2014   complete   Peterson        Fong        US   Peterson        Fong        US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031163   March   3/11/2014   complete   Peterson        Fong        US   Peterson        Fong        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031164   March   3/11/2014   complete   Huiya           Hsu         US   Huiya           Hsu         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031164   March   3/11/2014   complete   Huiya           Hsu         US   Huiya           Hsu         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031165   March   3/11/2014   complete   SHIRLEY         SUI         US   SHIRLEY         SUI         US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031165   March   3/11/2014   complete   SHIRLEY         SUI         US   SHIRLEY         SUI         US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031166   March   3/11/2014   complete   Kin             Soo         AU   Kin             Soo         AU   braintree         AUD   TVPAD-004   259   10   1   249
TVP-14031166   March   3/11/2014   complete   Kin             Soo         AU   Kin             Soo         AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14031167   March   3/11/2014   complete   Sam             Liu         AU   Sam             Liu         AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031167   March   3/11/2014   complete   Sam             Liu         AU   Sam             Liu         AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031169   March   3/11/2014   complete   Norbert         Bilger      BE   Norbert         Bilger      BE   braintree         EUR   TVPAD-004   259   10   1   249
TVP-14031169   March   3/11/2014   complete   Norbert         Bilger      BE   Norbert         Bilger      BE   braintree         EUR   HGIFT2        0    0   1     0
TVP-14031170   March   3/11/2014   complete   Ahn             John        NZ   Ahn             John        NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031170   March   3/11/2014   complete   Ahn             John        NZ   Ahn             John        NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14031171   March   3/11/2014   complete   Chiao           Chang       AU   Chiao           Chang       AU   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031171   March   3/11/2014   complete   Chiao           Chang       AU   Chiao           Chang       AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031172   March   3/11/2014   complete   Bowei           Sun         AU   Bowei           Sun         AU   braintree         AUD   TVPAD-004   259   10   1   249
TVP-14031172   March   3/11/2014   complete   Bowei           Sun         AU   Bowei           Sun         AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14031174   March   3/12/2014   complete   Chan            Hwa         MY   Chan            Hwa         MY   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031174   March   3/12/2014   complete   Chan            Hwa         MY   Chan            Hwa         MY   braintree         USD   HGIFT2        0    0   1     0
TVP-14031175   March   3/12/2014   complete   Jun             Cai         US   Jun             Cai         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031175   March   3/12/2014   complete   Jun             Cai         US   Jun             Cai         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031176   March   3/12/2014   complete   T               Liu         GB   Vivienne        Liu         GB   braintree         GBP   TVPAD-004   250   10   2   490
TVP-14031176   March   3/12/2014   complete   T               Liu         GB   Vivienne        Liu         GB   braintree         GBP   HGIFT2        0    0   2     0
TVP-14031155   March   3/12/2014   complete   huajie          zhang       GB   huajie          zhang       GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14031155   March   3/12/2014   complete   huajie          zhang       GB   huajie          zhang       GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14031070   March   3/12/2014   complete   Su              Chen        US   Su              Chen        US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031070   March   3/12/2014   complete   Su              Chen        US   Su              Chen        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031177   March   3/12/2014   complete   Mandy           Lai         US   Mandy           Lai         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031177   March   3/12/2014   complete   Mandy           Lai         US   Mandy           Lai         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031178   March   3/12/2014   complete   Ian             Siu         US   Ian             Siu         US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031178   March   3/12/2014   complete   Ian             Siu         US   Ian             Siu         US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031179   March   3/12/2014   complete   Weijian         Zhu         US   Weijian         Zhu         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031179   March   3/12/2014   complete   Weijian         Zhu         US   Weijian         Zhu         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031180   March   3/12/2014   closed     sui             cheng       US   sui             cheng       US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031180   March   3/12/2014   closed     sui             cheng       US   sui             cheng       US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031181   March   3/12/2014   complete   Ka              Cheung      NL   Ka              Cheung      NL   paypal_standard   EUR   TVPAD-004   259   15   1   244
TVP-14031181   March   3/12/2014   complete   Ka              Cheung      NL   Ka              Cheung      NL   paypal_standard   EUR   HGIFT2        0    0   1     0
TVP-14031182   March   3/13/2014   complete   Chris           Russell     IE   Chris           Russell     IE   braintree         EUR   TVPAD-004   259   10   1   249
TVP-14031182   March   3/13/2014   complete   Chris           Russell     IE   Chris           Russell     IE   braintree         EUR   HGIFT2        0    0   1     0
TVP-14031184   March   3/12/2014   complete   Mrs             Yu          GB   Mrs             Yu          GB   paypal_standard   GBP   TVPAD-004   259   10   1   249
TVP-14031184   March   3/12/2014   complete   Mrs             Yu          GB   Mrs             Yu          GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14031185   March   3/13/2014   complete   Ruimin          Kuang       DE   Ruimin          Kuang       DE   paypal_standard   USD   TVPAD-004   250   10   2   490
TVP-14031185   March   3/13/2014   complete   Ruimin          Kuang       DE   Ruimin          Kuang       DE   paypal_standard   USD   HGIFT2        0    0   2     0
TVP-14031186   March   3/13/2014   complete   Shizhen         Li          US   Shizhen         Li          US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031186   March   3/13/2014   complete   Shizhen         Li          US   Shizhen         Li          US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031187   March   3/13/2014   complete   shizhi          li          US   shizhi          li          US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031187   March   3/13/2014   complete   shizhi          li          US   shizhi          li          US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031188   March   3/13/2014   complete   Han Bum         Park        US   Han Bum         Park        US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14031188   March   3/13/2014   complete   Han Bum         Park        US   Han Bum         Park        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031189   March   3/13/2014   complete   Somvang         Viengkone   CA   Somvang         Viengkone   CA   braintree         USD   TVPAD-004   259   20   1   239
TVP-14031189   March   3/13/2014   complete   Somvang         Viengkone   CA   Somvang         Viengkone   CA   braintree         USD   HGIFT2        0    0   1     0
TVP-14031190   March   3/13/2014   complete   KK              Man         NL   Y.              Dijk        NL   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031190   March   3/13/2014   complete   KK              Man         NL   Y.              Dijk        NL   braintree         USD   HGIFT2        0    0   1     0
TVP-14031191   March   3/13/2014   complete   Jean-Francois   Chea        FR   Jean-Francois   Chea        FR   braintree         EUR   TVPAD-004   259   10   1   249
TVP-14031191   March   3/13/2014   complete   Jean-Francois   Chea        FR   Jean-Francois   Chea        FR   braintree         EUR   HGIFT2        0    0   1     0
TVP-14031192   March   3/13/2014   complete   Manchun         Mo          GB   Manchun         Mo          GB   paypal_standard   USD   TVPAD-004   259   15   1   244
TVP-14031192   March   3/13/2014   complete   Manchun         Mo          GB   Manchun         Mo          GB   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031193   March   3/13/2014   complete   Robin           North       GB   Robin           North       GB   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031193   March   3/13/2014   complete   Robin           North       GB   Robin           North       GB   braintree         USD   HGIFT2        0    0   1     0
TVP-14031195   March   3/13/2014   complete   Mo              Chin        US   Mo              Chin        US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031195   March   3/13/2014   complete   Mo              Chin        US   Mo              Chin        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031196   March   3/13/2014   complete   pei             wong        AU   pei             wong        AU   braintree         USD   TVPAD-004   250   10   4   990
TVP-14031196   March   3/13/2014   complete   pei             wong        AU   pei             wong        AU   braintree         USD   HGIFT2        0    0   4     0
TVP-14031197   March   3/13/2014   complete   Ken             Lee         AU   Ken             Lee         AU   braintree         AUD   TVPAD-004   259   10   1   249
TVP-14031197   March   3/13/2014   complete   Ken             Lee         AU   Ken             Lee         AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14031198   March   3/13/2014   complete   Jack            Lim         US   Jack            Lim         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031198   March   3/13/2014   complete   Jack            Lim         US   Jack            Lim         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031199   March   3/13/2014   complete   UN              YOUN        HK   UN              YOUN        HK   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031199   March   3/13/2014   complete   UN              YOUN        HK   UN              YOUN        HK   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031200   March   3/14/2014   complete   Alex            Ung         AU   Alex            Ung         AU   paypal_standard   AUD   TVPAD-004   259   10   1   249
TVP-14031200   March   3/14/2014   complete   Alex            Ung         AU   Alex            Ung         AU   paypal_standard   AUD   HGIFT2        0    0   1     0
TVP-14031201   March   3/14/2014   complete   Tae             Yang        CA   Tae             Yang        CA   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031201   March   3/14/2014   complete   Tae             Yang        CA   Tae             Yang        CA   braintree         USD   HGIFT2        0    0   1     0
TVP-14031202   March   3/14/2014   complete   Liyen           Quek        NL   Cliff           Chan        NL   braintree         EUR   TVPAD-004   259   15   1   244
TVP-14031202   March   3/14/2014   complete   Liyen           Quek        NL   Cliff           Chan        NL   braintree         EUR   HGIFT2        0    0   1     0
TVP-14031203   March   3/14/2014   complete   John            Pyo         US   John            Pyo         US   braintree         USD   TVPAD-004   250   10   2   490
TVP-14031203   March   3/14/2014   complete   John            Pyo         US   John            Pyo         US   braintree         USD   HGIFT2        0    0   2     0
TVP-14031204   March   3/14/2014   complete   Eijiro          Fukuda      AU   Eijiro          Fukuda      AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031204   March   3/14/2014   complete   Eijiro          Fukuda      AU   Eijiro          Fukuda      AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031205   March   3/14/2014   complete   kar             chan        GB   kar             chan        GB   braintree         GBP   TVPAD-004   250   10   2   490
TVP-14031205   March   3/14/2014   complete   kar             chan        GB   kar             chan        GB   braintree         GBP   HGIFT2        0    0   2     0
TVP-14031206   March   3/14/2014   complete   Elaine          Kwok        NL   Elaine          Kwok        NL   paypal_standard   USD   TVPAD-004   259   15   1   244
TVP-14031206   March   3/14/2014   complete   Elaine          Kwok        NL   Elaine          Kwok        NL   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031207   March   3/14/2014   complete   Jeff            Kim         US   Jeff            Kim         US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14031207   March   3/14/2014   complete   Jeff            Kim         US   Jeff            Kim         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031208   March   3/14/2014   complete   Oanh            Chieu       US   Oanh            Chieu       US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031208   March   3/14/2014   complete   Oanh            Chieu       US   Oanh            Chieu       US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031209   March   3/14/2014   complete   Ying            Su          NZ   Ying            Su          NZ   braintree         AUD   TVPAD-004   259   10   1   249
TVP-14031209   March   3/14/2014   complete   Ying            Su          NZ   Ying            Su          NZ   braintree         AUD   HGIFT2        0    0   1     0
TVP-14031210   March   3/14/2014   complete   William         Chung       AU   William         Chung       AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031210   March   3/14/2014   complete   William         Chung       AU   William         Chung       AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031211   March   3/14/2014   complete   Yvonne          Chung       US   Yvonne          Chung       US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031211   March   3/14/2014   complete   Yvonne          Chung       US   Yvonne          Chung       US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031212   March   3/14/2014   complete   Xiaoou          shao        AU   Xiaoou          shao        AU   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031212   March   3/14/2014   complete   Xiaoou          shao        AU   Xiaoou          shao        AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031213   March   3/14/2014   complete   nicky           poon        GB   nicky           poon        GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14031213   March   3/14/2014   complete   nicky           poon        GB   nicky           poon        GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14031214   March   3/14/2014   complete   john            lam         NL   john            lam         NL   paypal_standard   EUR   TVPAD-004   259   20   1   239
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TVP-14031214   March   3/14/2014   complete   john        lam               NL   john        lam               NL   paypal_standard   EUR   HGIFT2                             0    0   1       0
TVP-14031215   March   3/15/2014   complete   BONNIE      CHAN              AU   BONNIE      CHAN              AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031215   March   3/15/2014   complete   BONNIE      CHAN              AU   BONNIE      CHAN              AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031217   March   3/15/2014   complete   Mrs         Chan              AU   Mrs         Chan              AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031217   March   3/15/2014   complete   Mrs         Chan              AU   Mrs         Chan              AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031218   March   3/15/2014   complete   Becky       Lee               GB   Becky       Lee               GB   braintree         GBP   TVPAD-004                       259    10   1    249
TVP-14031218   March   3/15/2014   complete   Becky       Lee               GB   Becky       Lee               GB   braintree         GBP   HGIFT2                             0    0   1       0
TVP-14031219   March   3/14/2014   complete   Daryl       Au                US   Daryl       Au                US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14031219   March   3/14/2014   complete   Daryl       Au                US   Daryl       Au                US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031220   March   3/15/2014   complete   Yong        kim               US   Yong        kim               US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031220   March   3/15/2014   complete   Yong        kim               US   Yong        kim               US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031221   March   3/15/2014   complete   Howie       Tran              AU   Howie       Tran              AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031221   March   3/15/2014   complete   Howie       Tran              AU   Howie       Tran              AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031222   March   3/15/2014   complete   sing        ngo               US   sing        ngo               US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031222   March   3/15/2014   complete   sing        ngo               US   sing        ngo               US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031223   March   3/15/2014   complete   munfei      woo               GB   munfei      woo               GB   paypal_standard   GBP   TVPAD-004                       259    10   1    249
TVP-14031223   March   3/15/2014   complete   munfei      woo               GB   munfei      woo               GB   paypal_standard   GBP   HGIFT2                             0    0   1       0
TVP-14031226   March   3/16/2014   complete   Roy         Wang              AU   Roy         Wang              AU   braintree         AUD   TVPAD-004                       259    15   1    244
TVP-14031226   March   3/16/2014   complete   Roy         Wang              AU   Roy         Wang              AU   braintree         AUD   HGIFT2                             0    0   1       0
TVP-14031227   March   3/17/2014   complete   Li-Hsing    Fan               US   Li-Hsing    Fan               US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031227   March   3/17/2014   complete   Li-Hsing    Fan               US   Li-Hsing    Fan               US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031228   March   3/17/2014   complete   Koom        lo                GB   Koom        lo                GB   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031228   March   3/17/2014   complete   Koom        lo                GB   Koom        lo                GB   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031229   March   3/17/2014   complete   Seok-Heun   Yoon              AE   Seok-Heun   Yoon              AE   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031229   March   3/17/2014   complete   Seok-Heun   Yoon              AE   Seok-Heun   Yoon              AE   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031230   March   3/17/2014   complete   Ben         Wong              AU   Ben         Wong              AU   paypal_standard   AUD   TVPAD-004                       259    20   1    239
TVP-14031230   March   3/17/2014   complete   Ben         Wong              AU   Ben         Wong              AU   paypal_standard   AUD   HGIFT2                             0    0   1       0
TVP-14031231   March   3/17/2014   complete   Anita       Li                AU   Anita       Li                AU   paypal_standard   USD   TVPAD-004                       250    10   2    490
TVP-14031231   March   3/17/2014   complete   Anita       Li                AU   Anita       Li                AU   paypal_standard   USD   HGIFT2                             0    0   2       0
TVP-14031232   March   3/17/2014   complete   Peter       Yen               AU   Peter       Yen               AU   braintree         AUD   TVPAD-004                       259    10   1    249
TVP-14031232   March   3/17/2014   complete   Peter       Yen               AU   Peter       Yen               AU   braintree         AUD   HGIFT2                             0    0   1       0
TVP-14031233   March   3/17/2014   complete   Ip          M                 US   Ip          M                 US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14031233   March   3/17/2014   complete   Ip          M                 US   Ip          M                 US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14031234   March   3/17/2014   complete   john        lam               NL   john        lam               NL   paypal_standard   EUR   TVPAD-004                       259    20   1    239
TVP-14031235   March   3/17/2014   complete   Jacques     Ken               RE   Jacques     Ken               RE   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031235   March   3/17/2014   complete   Jacques     Ken               RE   Jacques     Ken               RE   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031236   March   3/17/2014   complete   Phan        ha                US   Hong        Ritchal           US   braintree         USD   TVPAD-004                       250    10   2    490
TVP-14031236   March   3/17/2014   complete   Phan        ha                US   Hong        Ritchal           US   braintree         USD   HGIFT2                             0    0   2       0
TVP-14031237   March   3/17/2014   complete   Phan        ha                US   Hong        Ritchal           US   braintree         USD   TVPAD-004                       250    10   2    490
TVP-14031237   March   3/17/2014   complete   Phan        ha                US   Hong        Ritchal           US   braintree         USD   HGIFT2                             0    0   2       0
TVP-14031238   March   3/17/2014   complete   Patrick     Wong              US   Patrick     Wong              US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031238   March   3/17/2014   complete   Patrick     Wong              US   Patrick     Wong              US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031239   March   3/17/2014   complete   wing        Fong              US   wing        Fong              US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031239   March   3/17/2014   complete   wing        Fong              US   wing        Fong              US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031240   March   3/17/2014   complete   Tony        Zhang             NZ   Tony        Zhang             NZ   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031240   March   3/17/2014   complete   Tony        Zhang             NZ   Tony        Zhang             NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031241   March   3/17/2014   complete   sam         tang              GB   sam         tang              GB   paypal_standard   USD   TVPAD-004                       259    20   1    239
TVP-14031241   March   3/17/2014   complete   sam         tang              GB   sam         tang              GB   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14031242   March   3/17/2014   complete   Mariana     Meyerson          US   Mariana     Meyerson          US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031242   March   3/17/2014   complete   Mariana     Meyerson          US   Mariana     Meyerson          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031243   March   3/17/2014   complete   Luting      zhang             AU   Luting      zhang             AU   paypal_standard   USD   TVPAD-AC-003-TVPAD-AC-003-AU   29.99    0   1   29.99
TVP-14031245   March   3/17/2014   complete   David       Ng                US   David       Ng                US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14031245   March   3/17/2014   complete   David       Ng                US   David       Ng                US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031246   March   3/17/2014   complete   Pamela      Moy               US   Bruce       Lo                US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14031246   March   3/17/2014   complete   Pamela      Moy               US   Bruce       Lo                US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031247   March   3/17/2014   complete   vi          hua               US   vi          hua               US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031247   March   3/17/2014   complete   vi          hua               US   vi          hua               US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031249   March   3/17/2014   complete   Joey        Tan               AU   Joey        Tan               AU   braintree         USD   TVPAD-AC-004                   29.99    0   1   29.99
TVP-14031250   March   3/17/2014   closed     Waii        Luu               US   Waii        Luu               US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031250   March   3/17/2014   closed     Waii        Luu               US   Waii        Luu               US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031251   March   3/17/2014   complete   H.          Liu               NL   H.          Liu               NL   braintree         EUR   TVPAD-004                       259    10   1    249
TVP-14031251   March   3/17/2014   complete   H.          Liu               NL   H.          Liu               NL   braintree         EUR   HGIFT2                             0    0   1       0
TVP-14031252   March   3/17/2014   complete   linh        tran              US   linh        tran              US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14031252   March   3/17/2014   complete   linh        tran              US   linh        tran              US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14031253   March   3/17/2014   complete   David       Yuen              US   David       Yuen              US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031253   March   3/17/2014   complete   David       Yuen              US   David       Yuen              US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031255   March   3/17/2014   complete   Keith       Yuen              GB   Keith       Yuen              GB   braintree         GBP   TVPAD-004                       250    10   2    490
TVP-14031255   March   3/17/2014   complete   Keith       Yuen              GB   Keith       Yuen              GB   braintree         GBP   HGIFT2                             0    0   2       0
TVP-14031256   March   3/17/2014   complete   mr          tang              GB   mr          tang              GB   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031256   March   3/17/2014   complete   mr          tang              GB   mr          tang              GB   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031258   March   3/17/2014   complete   Vincent     Tsoi              AU   Vincent     Tsoi              AU   paypal_standard   AUD   TVPAD-004                       250    10   2    490
TVP-14031258   March   3/17/2014   complete   Vincent     Tsoi              AU   Vincent     Tsoi              AU   paypal_standard   AUD   HGIFT2                             0    0   2       0
TVP-14031260   March   3/17/2014   complete   Tinh        huynh             US   Tinh        huynh             US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031260   March   3/17/2014   complete   Tinh        huynh             US   Tinh        huynh             US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031261   March   3/17/2014   complete   Jeffrey     Yung              US   Jeffrey     Yung              US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031261   March   3/17/2014   complete   Jeffrey     Yung              US   Jeffrey     Yung              US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031262   March   3/17/2014   complete   Vincent     Yu                US   Vincent     Yu                US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031262   March   3/17/2014   complete   Vincent     Yu                US   Vincent     Yu                US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031263   March   3/17/2014   complete   Glen        Wong              CA   Glen        Wong              CA   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031263   March   3/17/2014   complete   Glen        Wong              CA   Glen        Wong              CA   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031264   March   3/17/2014   complete   huanshan    wang              AU   huanshan    wang              AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031264   March   3/17/2014   complete   huanshan    wang              AU   huanshan    wang              AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031265   March   3/17/2014   complete   David       Lo                GB   David       Lo                GB   paypal_standard   GBP   TVPAD-004                       259    10   1    249
TVP-14031265   March   3/17/2014   complete   David       Lo                GB   David       Lo                GB   paypal_standard   GBP   HGIFT2                             0    0   1       0
TVP-14031266   March   3/17/2014   complete   Miaoling    wollenschlaeger   US   Miaoling    wollenschlaeger   US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14031266   March   3/17/2014   complete   Miaoling    wollenschlaeger   US   Miaoling    wollenschlaeger   US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14031267   March   3/17/2014   complete   Wai         Iu                US   Wai         Iu                US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031267   March   3/17/2014   complete   Wai         Iu                US   Wai         Iu                US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031254   March   3/17/2014   complete   EDDIE       KANG              US   EDDIE       KANG              US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14031254   March   3/17/2014   complete   EDDIE       KANG              US   EDDIE       KANG              US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14031268   March   3/18/2014   complete   Martin      Mok               US   Martin      Mok               US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031268   March   3/18/2014   complete   Martin      Mok               US   Martin      Mok               US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031270   March   3/18/2014   complete   Kim         Ng                US   Kim         Ng                US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031270   March   3/18/2014   complete   Kim         Ng                US   Kim         Ng                US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031271   March   3/18/2014   complete   Amy         Kwong             US   Amy         Kwong             US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031271   March   3/18/2014   complete   Amy         Kwong             US   Amy         Kwong             US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031272   March   3/18/2014   complete   Danny       Leung             US   Danny       Leung             US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14031272   March   3/18/2014   complete   Danny       Leung             US   Danny       Leung             US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031274   March   3/18/2014   complete   Ko          Sewook            SG   Ko          Sewook            SG   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031274   March   3/18/2014   complete   Ko          Sewook            SG   Ko          Sewook            SG   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031275   March   3/18/2014   complete   Mei         Lim               US   Mei         Lim               US   braintree         USD   TVPAD-004                       250    20   2    480
TVP-14031275   March   3/18/2014   complete   Mei         Lim               US   Mei         Lim               US   braintree         USD   HGIFT2                             0    0   2       0
TVP-14031276   March   3/18/2014   complete   Rick        Luu               US   Rick        Luu               US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031276   March   3/18/2014   complete   Rick        Luu               US   Rick        Luu               US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031277   March   3/18/2014   complete   Eric        Chan              US   Eric        Chan              US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031277   March   3/18/2014   complete   Eric        Chan              US   Eric        Chan              US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031278   March   3/18/2014   complete   Lee         Wong              AU   Lee         Wong              AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031278   March   3/18/2014   complete   Lee         Wong              AU   Lee         Wong              AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031279   March   3/18/2014   complete   Sivong      chea              NZ   Sivong      chea              NZ   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031279   March   3/18/2014   complete   Sivong      chea              NZ   Sivong      chea              NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031280   March   3/18/2014   complete   WONG        RAPHAEL           NZ   WONG        RAPHAEL           NZ   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031280   March   3/18/2014   complete   WONG        RAPHAEL           NZ   WONG        RAPHAEL           NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031281   March   3/18/2014   complete   Richard     Quan              US   Richard     Quan              US   braintree         USD   TVPAD-004                       250    15   2    485
TVP-14031281   March   3/18/2014   complete   Richard     Quan              US   Richard     Quan              US   braintree         USD   HGIFT2                             0    0   2       0
TVP-14031282   March   3/18/2014   complete   J           WU                NZ   J           WU                NZ   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031282   March   3/18/2014   complete   J           WU                NZ   J           WU                NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031283   March   3/19/2014   complete   Yu-Kean     Lai               IE   Yu-Kean     Lai               IE   braintree         EUR   TVPAD-004                       259    10   1    249
TVP-14031283   March   3/19/2014   complete   Yu-Kean     Lai               IE   Yu-Kean     Lai               IE   braintree         EUR   HGIFT2                             0    0   1       0
TVP-14031284   March   3/19/2014   complete   Wong        Yin               NO   Wong        Yin               NO   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14031284   March   3/19/2014   complete   Wong        Yin               NO   Wong        Yin               NO   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14031285   March   3/19/2014   complete   Myung       Lee               US   Myung       Lee               US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031285   March   3/19/2014   complete   Myung       Lee               US   Myung       Lee               US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031173   March   3/19/2014   complete   A           chai              GB   Jenny       lee               GB   braintree         GBP   TVPAD-004                       259    10   1    249
TVP-14031173   March   3/19/2014   complete   A           chai              GB   Jenny       lee               GB   braintree         GBP   HGIFT2                             0    0   1       0
TVP-14031286   March   3/19/2014   complete   Gracelia    LIM               AU   Gracelia    LIM               AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031286   March   3/19/2014   complete   Gracelia    LIM               AU   Gracelia    LIM               AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031287   March   3/19/2014   complete   Pamela      Sun               AU   Pamela      Sun               AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031287   March   3/19/2014   complete   Pamela      Sun               AU   Pamela      Sun               AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031288   March   3/19/2014   complete   Van         Luu               US   Van         Luu               US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031288   March   3/19/2014   complete   Van         Luu               US   Van         Luu               US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031289   March   3/19/2014   complete   Ivan        Hung              AU   Ivan        Hung              AU   braintree         AUD   TVPAD-004                       259    10   1    249
TVP-14031289   March   3/19/2014   complete   Ivan        Hung              AU   Ivan        Hung              AU   braintree         AUD   HGIFT2                             0    0   1       0
TVP-14031290   March   3/20/2014   complete   Xiaomei     Guan              US   Xiaomei     Guan              US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031290   March   3/20/2014   complete   Xiaomei     Guan              US   Xiaomei     Guan              US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031291   March   3/20/2014   complete   JAE         YI                US   JAE         YI                US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031291   March   3/20/2014   complete   JAE         YI                US   JAE         YI                US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031292   March   3/20/2014   complete   Janet       Tan               IE   Janet       Tan               IE   braintree         EUR   TVPAD-004                       259    10   1    249
TVP-14031292   March   3/20/2014   complete   Janet       Tan               IE   Janet       Tan               IE   braintree         EUR   HGIFT2                             0    0   1       0
TVP-14031293   March   3/20/2014   complete   Bin         Chen              NL   Bin         Chen              NL   braintree         EUR   TVPAD-004                       259    10   1    249
TVP-14031293   March   3/20/2014   complete   Bin         Chen              NL   Bin         Chen              NL   braintree         EUR   HGIFT2                             0    0   1       0
TVP-14031294   March   3/20/2014   complete   Thomas      Hansen            NO   Thomas      Hansen            NO   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14031294   March   3/20/2014   complete   Thomas      Hansen            NO   Thomas      Hansen            NO   braintree         USD   HGIFT2                             0    0   1       0
TVP-14031295   March   3/20/2014   complete   Alex        Phalavong         FR   Alex        Phalavong         FR   paypal_standard   EUR   TVPAD-004                       259    10   1    249
TVP-14031295   March   3/20/2014   complete   Alex        Phalavong         FR   Alex        Phalavong         FR   paypal_standard   EUR   HGIFT2                             0    0   1       0
TVP-14031296   March   3/20/2014   complete   Sangwon     Kang              SG   Sangwon     Kang              SG   braintree         USD   TVPAD-004                       259    10   1    249
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TVP-14031296   March   3/20/2014   complete   Sangwon    Kang       SG   Sangwon    Kang       SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14031297   March   3/20/2014   complete   Eddy       Ng         US   Eddy       Ng         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031297   March   3/20/2014   complete   Eddy       Ng         US   Eddy       Ng         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031298   March   3/20/2014   complete   Any        Siem       US   Cheer      Liv        US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14031298   March   3/20/2014   complete   Any        Siem       US   Cheer      Liv        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031299   March   3/20/2014   complete   Hogan      Ho         GB   Hogan      Ho         GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14031299   March   3/20/2014   complete   Hogan      Ho         GB   Hogan      Ho         GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14031300   March   3/20/2014   complete   Bambang    Yusnita    ID   Bambang    Yusnita    ID   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031300   March   3/20/2014   complete   Bambang    Yusnita    ID   Bambang    Yusnita    ID   braintree         USD   HGIFT2             0    0   1       0
TVP-14031301   March   3/20/2014   complete   Yee        Chau       AU   William    Chu        AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14031301   March   3/20/2014   complete   Yee        Chau       AU   William    Chu        AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14031304   March   3/20/2014   complete   Feng       Su         NZ   Feng       Su         NZ   braintree         USD   TVPAD-004       245    10   5   1215
TVP-14031304   March   3/20/2014   complete   Feng       Su         NZ   Feng       Su         NZ   braintree         USD   HGIFT2             0    0   5       0
TVP-14031305   March   3/20/2014   complete   Winnie     Liu        GB   Winnie     Liu        GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14031305   March   3/20/2014   complete   Winnie     Liu        GB   Winnie     Liu        GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14031306   March   3/21/2014   complete   jay        kim        US   jay        kim        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031307   March   3/21/2014   complete   Dongmei    Turke      GB   Dongmei    Turke      GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14031307   March   3/21/2014   complete   Dongmei    Turke      GB   Dongmei    Turke      GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14031308   March   3/21/2014   complete   Lealing    Tsang      GB   Lealing    Tsang      GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14031308   March   3/21/2014   complete   Lealing    Tsang      GB   Lealing    Tsang      GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-70011157   March   3/21/2014   complete   Lei        Gao        NZ   Lei        Gao        NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011157   March   3/21/2014   complete   Lei        Gao        NZ   Lei        Gao        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14031244   March   3/21/2014   complete   janice     ryu        US   janice     ryu        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14031244   March   3/21/2014   complete   janice     ryu        US   janice     ryu        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031309   March   3/21/2014   complete   THANG      Remi       FR   THANG      Remi       FR   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031309   March   3/21/2014   complete   THANG      Remi       FR   THANG      Remi       FR   braintree         USD   HGIFT2             0    0   1       0
TVP-14031310   March   3/21/2014   complete   Boonguan   Tan        AU   Boonguan   Tan        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031310   March   3/21/2014   complete   Boonguan   Tan        AU   Boonguan   Tan        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14031311   March   3/21/2014   complete   RONNIE     LAW        US   RONNIE     LAW        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031311   March   3/21/2014   complete   RONNIE     LAW        US   RONNIE     LAW        US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011158   March   3/21/2014   complete   Mingge     Han        AU   Mingge     Han        AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-70011158   March   3/21/2014   complete   Mingge     Han        AU   Mingge     Han        AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-70011159   March   3/21/2014   complete   Yonggen    Xue        US   DISHEN     LI         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011159   March   3/21/2014   complete   Yonggen    Xue        US   DISHEN     LI         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031314   March   3/21/2014   complete   CHEN       YEOH       MY   CHEN       YEOH       MY   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031314   March   3/21/2014   complete   CHEN       YEOH       MY   CHEN       YEOH       MY   braintree         USD   HGIFT2             0    0   1       0
TVP-14031315   March   3/21/2014   complete   Mak        Michael    SG   Mak        Michael    SG   braintree         USD   TVPAD-004       250    20   3    730
TVP-14031315   March   3/21/2014   complete   Mak        Michael    SG   Mak        Michael    SG   braintree         USD   HGIFT2             0    0   3       0
TVP-14031316   March   3/21/2014   complete   Kazuo      Suzuki     AU   Kazuo      Suzuki     AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031316   March   3/21/2014   complete   Kazuo      Suzuki     AU   Kazuo      Suzuki     AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14031317   March   3/22/2014   complete   Kyu        Jo         US   Kyu        Jo         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031317   March   3/22/2014   complete   Kyu        Jo         US   Kyu        Jo         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031318   March   3/22/2014   complete   L.         Tang       NL   L.         Tang       NL   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031318   March   3/22/2014   complete   L.         Tang       NL   L.         Tang       NL   braintree         USD   HGIFT2             0    0   1       0
TVP-14031319   March   3/22/2014   complete   Hy         Lu         US   Hy         Lu         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031319   March   3/22/2014   complete   Hy         Lu         US   Hy         Lu         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031320   March   3/22/2014   complete   jong       ha         US   jong       ha         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031320   March   3/22/2014   complete   jong       ha         US   jong       ha         US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011160   March   3/24/2014   complete   Qizhong    Xu         AU   Qizhong    Xu         AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-70011160   March   3/24/2014   complete   Qizhong    Xu         AU   Qizhong    Xu         AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14031321   March   3/24/2014   complete   Donny      Law        AU   Donny      Law        AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14031321   March   3/24/2014   complete   Donny      Law        AU   Donny      Law        AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14031322   March   3/24/2014   complete   rui        chen       GB   rui        chen       GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-14031322   March   3/24/2014   complete   rui        chen       GB   rui        chen       GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14031323   March   3/24/2014   complete   Lien       thai       US   Lien       thai       US   braintree         USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14031324   March   3/24/2014   complete   Mautac     MU         FR   Mautac     MU         FR   paypal_standard   EUR   TVPAD-004       245    15   5   1210
TVP-14031324   March   3/24/2014   complete   Mautac     MU         FR   Mautac     MU         FR   paypal_standard   EUR   HGIFT2             0    0   5       0
TVP-14031325   March   3/24/2014   complete   Stella     Wong       NZ   Stella     Wong       NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031325   March   3/24/2014   complete   Stella     Wong       NZ   Stella     Wong       NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14031326   March   3/24/2014   complete   Heng K     Chiam      AU   Heng       Chiam      AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031326   March   3/24/2014   complete   Heng K     Chiam      AU   Heng       Chiam      AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14031327   March   3/24/2014   complete   rollin     tat        US   rollin     tat        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14031327   March   3/24/2014   complete   rollin     tat        US   rollin     tat        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14031329   March   3/24/2014   complete   Lo         Man        AU   Lo         Man        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031329   March   3/24/2014   complete   Lo         Man        AU   Lo         Man        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14031330   March   3/24/2014   complete   Akiko      Baeumle    CH   Akiko      Baeumle    CH   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14031330   March   3/24/2014   complete   Akiko      Baeumle    CH   Akiko      Baeumle    CH   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14031331   March   3/24/2014   complete   Didier     EUNG       FR   Didier     EUNG       FR   braintree         EUR   TVPAD-004       245    15   6   1455
TVP-14031331   March   3/24/2014   complete   Didier     EUNG       FR   Didier     EUNG       FR   braintree         EUR   HGIFT2             0    0   6       0
TVP-14031332   March   3/24/2014   complete   Alex       Ly         GB   Alex       Ly         GB   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031332   March   3/24/2014   complete   Alex       Ly         GB   Alex       Ly         GB   braintree         USD   HGIFT2             0    0   1       0
TVP-14031333   March   3/24/2014   complete   Angela     Shin       SG   Angela     Shin       SG   braintree         USD   TVPAD-004       259    15   1    244
TVP-14031333   March   3/24/2014   complete   Angela     Shin       SG   Angela     Shin       SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14031334   March   3/24/2014   complete   Louie,     Ping       US   Louie,     Ping       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031334   March   3/24/2014   complete   Louie,     Ping       US   Louie,     Ping       US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011161   March   3/24/2014   complete   ZHIYU      YU         US   ZHIYU      YU         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011161   March   3/24/2014   complete   ZHIYU      YU         US   ZHIYU      YU         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031335   March   3/24/2014   complete   Sirena     Li         US   Sirena     Li         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031335   March   3/24/2014   complete   Sirena     Li         US   Sirena     Li         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031336   March   3/24/2014   complete   Sam        Wong       US   Sam        Wong       US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14031336   March   3/24/2014   complete   Sam        Wong       US   Sam        Wong       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031337   March   3/24/2014   complete   JiaMin     Chen       US   JiaMin     Chen       US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14031337   March   3/24/2014   complete   JiaMin     Chen       US   JiaMin     Chen       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031338   March   3/24/2014   complete   Pedro      Leung      GB   Pedro      Leung      GB   paypal_standard   GBP   TVPAD-004       259    15   1    244
TVP-14031338   March   3/24/2014   complete   Pedro      Leung      GB   Pedro      Leung      GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14031341   March   3/24/2014   complete   Edmund     Leung      US   Edmund     Leung      US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14031341   March   3/24/2014   complete   Edmund     Leung      US   Edmund     Leung      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14031342   March   3/24/2014   complete   Kun        Liu        US   Kun        Liu        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031342   March   3/24/2014   complete   Kun        Liu        US   Kun        Liu        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031343   March   3/24/2014   complete   Yik        Wong       US   Yik        Wong       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031343   March   3/24/2014   complete   Yik        Wong       US   Yik        Wong       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031344   March   3/24/2014   complete   Patrick    Wan        US   Patrick    Wan        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031344   March   3/24/2014   complete   Patrick    Wan        US   Patrick    Wan        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031345   March   3/24/2014   complete   Vivian     Mao        US   Vivian     Mao        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031345   March   3/24/2014   complete   Vivian     Mao        US   Vivian     Mao        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031346   March   3/24/2014   complete   heesun     jong       US   Edward     Chan       US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14031346   March   3/24/2014   complete   heesun     jong       US   Edward     Chan       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031347   March   3/24/2014   complete   JEON       DOHOON     SG   JEON       DOHOON     SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031347   March   3/24/2014   complete   JEON       DOHOON     SG   JEON       DOHOON     SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14031348   March   3/25/2014   complete   Tae        CHO        AU   Tae        CHO        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031348   March   3/25/2014   complete   Tae        CHO        AU   Tae        CHO        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14031349   March   3/24/2014   complete   Michael    Damschen   US   Michael    Damschen   US   braintree         USD   TVPAD-004       250    10   2    490
TVP-14031349   March   3/24/2014   complete   Michael    Damschen   US   Michael    Damschen   US   braintree         USD   HGIFT2             0    0   2       0
TVP-14031350   March   3/25/2014   complete   Gang       Zhou       US   Gang       Zhou       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031350   March   3/25/2014   complete   Gang       Zhou       US   Gang       Zhou       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031351   March   3/25/2014   complete   Khom       Tran       GB   zhaonan    zhang      GB   paypal_standard   USD   TVPAD-004       259    15   1    244
TVP-14031351   March   3/25/2014   complete   Khom       Tran       GB   zhaonan    zhang      GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14031352   March   3/25/2014   complete   Huan       Nguyen     NO   Huan       Nguyen     NO   braintree         USD   TVPAD-004       250    10   2    490
TVP-14031352   March   3/25/2014   complete   Huan       Nguyen     NO   Huan       Nguyen     NO   braintree         USD   HGIFT2             0    0   2       0
TVP-14031353   March   3/25/2014   complete   ki         oh         US   ki         oh         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031353   March   3/25/2014   complete   ki         oh         US   ki         oh         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031354   March   3/25/2014   complete   Michelle   CHEUNG     FR   Michelle   CHEUNG     FR   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14031354   March   3/25/2014   complete   Michelle   CHEUNG     FR   Michelle   CHEUNG     FR   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14031355   March   3/25/2014   complete   ashley     tran       US   ashley     tran       US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14031355   March   3/25/2014   complete   ashley     tran       US   ashley     tran       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14031357   March   3/25/2014   complete   Yingfen    Chen       US   Yingfen    Chen       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031357   March   3/25/2014   complete   Yingfen    Chen       US   Yingfen    Chen       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031358   March   3/25/2014   complete   Amy        Low        AU   Amy        Low        AU   braintree         AUD   TVPAD-004       259    15   1    244
TVP-14031358   March   3/25/2014   complete   Amy        Low        AU   Amy        Low        AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14031360   March   3/25/2014   complete   yong       kim        US   yong       kim        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14031360   March   3/25/2014   complete   yong       kim        US   yong       kim        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14031362   March   3/25/2014   complete   Dunstan    Chan       AU   Dunstan    Chan       AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14031362   March   3/25/2014   complete   Dunstan    Chan       AU   Dunstan    Chan       AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-70011162   March   3/25/2014   complete   Aiping     Yang       NZ   Aiping     Yang       NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011162   March   3/25/2014   complete   Aiping     Yang       NZ   Aiping     Yang       NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14031365   March   3/25/2014   complete   Michelle   Wong       NL   Michelle   Wong       NL   paypal_standard   EUR   TVPAD-004       250    20   2    480
TVP-14031365   March   3/25/2014   complete   Michelle   Wong       NL   Michelle   Wong       NL   paypal_standard   EUR   HGIFT2             0    0   2       0
TVP-14031367   March   3/25/2014   complete   Deborah    Lam        IE   Deborah    Lam        IE   braintree         EUR   TVPAD-004       250    10   2    490
TVP-14031367   March   3/25/2014   complete   Deborah    Lam        IE   Deborah    Lam        IE   braintree         EUR   HGIFT2             0    0   2       0
TVP-14031369   March   3/25/2014   complete   Soon       Ko         SE   Soon       Ko         SE   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14031369   March   3/25/2014   complete   Soon       Ko         SE   Soon       Ko         SE   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14031370   March   3/26/2014   complete   Andy       Sitt       MY   Andy       Sitt       MY   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031370   March   3/26/2014   complete   Andy       Sitt       MY   Andy       Sitt       MY   braintree         USD   HGIFT2             0    0   1       0
TVP-14031371   March   3/26/2014   complete   Evan       Woo        AU   Evan       Woo        AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14031371   March   3/26/2014   complete   Evan       Woo        AU   Evan       Woo        AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14031372   March   3/25/2014   complete   Tuan       Lieu       US   Tuan       Lieu       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031372   March   3/25/2014   complete   Tuan       Lieu       US   Tuan       Lieu       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031373   March   3/26/2014   complete   Wai        Yu         US   Wai        Yu         US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14031373   March   3/26/2014   complete   Wai        Yu         US   Wai        Yu         US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14031374   March   3/26/2014   complete   Bonnie     Goo        US   Bonnie     Goo        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031374   March   3/26/2014   complete   Bonnie     Goo        US   Bonnie     Goo        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14031375   March   3/26/2014   complete   Jie        Yang       GB   Yvonne     Yang       GB   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031375   March   3/26/2014   complete   Jie        Yang       GB   Yvonne     Yang       GB   braintree         USD   HGIFT2             0    0   1       0
TVP-14031376   March   3/26/2014   complete   john       chee       US   john       chee       US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14031376   March   3/26/2014   complete   john       chee       US   john       chee       US   braintree         USD   HGIFT2             0    0   1       0
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                                   #:20459
TVP-14031377   March   3/26/2014   complete   Suzy        Zhang      AU   Suzy        Zhang     AU   braintree         AUD   TVPAD-004   250   10   2   490
TVP-14031377   March   3/26/2014   complete   Suzy        Zhang      AU   Suzy        Zhang     AU   braintree         AUD   HGIFT2        0    0   2     0
TVP-70011163   March   3/26/2014   complete   Carla       Cao        GB   Carla       Cao       GB   paypal_standard   GBP   TVPAD-004   259   10   1   249
TVP-70011163   March   3/26/2014   complete   Carla       Cao        GB   Carla       Cao       GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14031378   March   3/26/2014   complete   Chinami     Allcott    AU   Chinami     Allcott   AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031378   March   3/26/2014   complete   Chinami     Allcott    AU   Chinami     Allcott   AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031379   March   3/26/2014   complete   Peter       Tang       CA   Peter       Tang      CA   braintree         CAD   TVPAD-004   259   15   1   244
TVP-14031379   March   3/26/2014   complete   Peter       Tang       CA   Peter       Tang      CA   braintree         CAD   HGIFT2        0    0   1     0
TVP-14031380   March   3/26/2014   complete   Kam         Ng         GB   Kam         Ng        GB   paypal_standard   GBP   TVPAD-004   250   10   2   490
TVP-14031380   March   3/26/2014   complete   Kam         Ng         GB   Kam         Ng        GB   paypal_standard   GBP   HGIFT2        0    0   2     0
TVP-14031381   March   3/26/2014   complete   ping        wang       NZ   ping        wang      NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031381   March   3/26/2014   complete   ping        wang       NZ   ping        wang      NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14031382   March   3/26/2014   complete   John        Chan       US   John        Chan      US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031382   March   3/26/2014   complete   John        Chan       US   John        Chan      US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031383   March   3/27/2014   complete   Antony      Chen       AU   Antony      Chen      AU   braintree         AUD   TVPAD-004   259   10   1   249
TVP-14031383   March   3/27/2014   complete   Antony      Chen       AU   Antony      Chen      AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14031384   March   3/27/2014   complete   Dimitri     Desodt     BE   Dimitri     Desodt    BE   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031384   March   3/27/2014   complete   Dimitri     Desodt     BE   Dimitri     Desodt    BE   braintree         USD   HGIFT2        0    0   1     0
TVP-14031385   March   3/27/2014   complete   william     olsson     SE   william     olsson    SE   paypal_standard   USD   TVPAD-004   259   15   1   244
TVP-14031386   March   3/27/2014   complete   Waiman      Lo         GB   Sau         Lo        GB   paypal_standard   GBP   TVPAD-004   259   20   1   239
TVP-14031386   March   3/27/2014   complete   Waiman      Lo         GB   Sau         Lo        GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14031387   March   3/27/2014   complete   Rui         Guo        NZ   Rui         Guo       NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031387   March   3/27/2014   complete   Rui         Guo        NZ   Rui         Guo       NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14031388   March   3/27/2014   complete   John        Liu        US   John        Liu       US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14031388   March   3/27/2014   complete   John        Liu        US   John        Liu       US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031389   March   3/27/2014   complete   ChunWai     Chan       NZ   ChunWai     Chan      NZ   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031389   March   3/27/2014   complete   ChunWai     Chan       NZ   ChunWai     Chan      NZ   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031390   March   3/27/2014   complete   Jack        Chua       NZ   Jack        Chua      NZ   braintree         AUD   TVPAD-004   259   15   1   244
TVP-14031390   March   3/27/2014   complete   Jack        Chua       NZ   Jack        Chua      NZ   braintree         AUD   HGIFT2        0    0   1     0
TVP-70011164   March   3/27/2014   complete   TAN         LIN        US   TAN         LIN       US   paypal_standard   USD   TVPAD-004   259   15   1   244
TVP-70011164   March   3/27/2014   complete   TAN         LIN        US   TAN         LIN       US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031391   March   3/27/2014   complete   john        lam        NL   john        lam       NL   paypal_standard   EUR   TVPAD-004   259   20   1   239
TVP-14031391   March   3/27/2014   complete   john        lam        NL   john        lam       NL   paypal_standard   EUR   HGIFT2        0    0   1     0
TVP-14031392   March   3/28/2014   complete   Fiona       Tran       GB   Fiona       Tran      GB   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031392   March   3/28/2014   complete   Fiona       Tran       GB   Fiona       Tran      GB   braintree         USD   HGIFT2        0    0   1     0
TVP-14031393   March   3/28/2014   complete   Hin         Wong       US   Hin         Wong      US   braintree         USD   TVPAD-004   250   10   2   490
TVP-14031393   March   3/28/2014   complete   Hin         Wong       US   Hin         Wong      US   braintree         USD   HGIFT2        0    0   2     0
TVP-14031394   March   3/28/2014   complete   LEE         HUNGNO     OM   LEE         HUNGNO    OM   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031394   March   3/28/2014   complete   LEE         HUNGNO     OM   LEE         HUNGNO    OM   braintree         USD   HGIFT2        0    0   1     0
TVP-14031395   March   3/28/2014   complete   David       Lai        GB   David       Lai       GB   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031395   March   3/28/2014   complete   David       Lai        GB   David       Lai       GB   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031396   March   3/28/2014   complete   Chi         Lee        US   Chi         Lee       US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031396   March   3/28/2014   complete   Chi         Lee        US   Chi         Lee       US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031397   March   3/28/2014   complete   HSIU        CHEN       US   HSIU        CHEN      US   braintree         USD   TVPAD-004   250   10   2   490
TVP-14031397   March   3/28/2014   complete   HSIU        CHEN       US   HSIU        CHEN      US   braintree         USD   HGIFT2        0    0   2     0
TVP-14031399   March   3/28/2014   complete   Raymond     Chan       AU   Raymond     Chan      AU   paypal_standard   AUD   TVPAD-004   259   10   1   249
TVP-14031399   March   3/28/2014   complete   Raymond     Chan       AU   Raymond     Chan      AU   paypal_standard   AUD   HGIFT2        0    0   1     0
TVP-14031400   March   3/28/2014   complete   Alice       Kwan       US   Alice       Kwan      US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031400   March   3/28/2014   complete   Alice       Kwan       US   Alice       Kwan      US   braintree         USD   HGIFT2        0    0   1     0
TVP-70011165   March   3/28/2014   complete   Ruby        YEUNG      NZ   Ruby        YEUNG     NZ   paypal_standard   AUD   TVPAD-004   250   10   2   490
TVP-70011165   March   3/28/2014   complete   Ruby        YEUNG      NZ   Ruby        YEUNG     NZ   paypal_standard   AUD   HGIFT2        0    0   2     0
TVP-14031401   March   3/28/2014   complete   amy         ha         US   amy         ha        US   paypal_standard   USD   TVPAD-004   259   15   1   244
TVP-14031401   March   3/28/2014   complete   amy         ha         US   amy         ha        US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031402   March   3/28/2014   complete   jason       xie        NZ   jason       xie       NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031402   March   3/28/2014   complete   jason       xie        NZ   jason       xie       NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14031403   March   3/28/2014   complete   Ying        Lee        GB   Ying        Lee       GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14031403   March   3/28/2014   complete   Ying        Lee        GB   Ying        Lee       GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14031404   March   3/28/2014   complete   TAI         DANG       US   TAI         DANG      US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031404   March   3/28/2014   complete   TAI         DANG       US   TAI         DANG      US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031405   March   3/28/2014   complete   Xuqing      Zhang      US   Xuqing      Zhang     US   braintree         USD   TVPAD-004   259   15   1   244
TVP-14031405   March   3/28/2014   complete   Xuqing      Zhang      US   Xuqing      Zhang     US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031406   March   3/29/2014   complete   Falko       Tesch      DE   Falko       Tesch     DE   paypal_standard   EUR   TVPAD-004   259   10   1   249
TVP-14031406   March   3/29/2014   complete   Falko       Tesch      DE   Falko       Tesch     DE   paypal_standard   EUR   HGIFT2        0    0   1     0
TVP-14031407   March   3/28/2014   complete   Hok         Chu        US   Hok         Chu       US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031407   March   3/28/2014   complete   Hok         Chu        US   Hok         Chu       US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031408   March   3/29/2014   complete   MRS         LIM        GB   MRS         LIM       GB   paypal_standard   GBP   TVPAD-004   259   10   1   249
TVP-14031408   March   3/29/2014   complete   MRS         LIM        GB   MRS         LIM       GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14031409   March   3/29/2014   complete   fawn        stephens   US   ming        huang     US   braintree         USD   TVPAD-004   250   10   2   490
TVP-14031409   March   3/29/2014   complete   fawn        stephens   US   ming        huang     US   braintree         USD   HGIFT2        0    0   2     0
TVP-14031410   March   3/29/2014   complete   Sidney      Leung      US   Sidney      Leung     US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031410   March   3/29/2014   complete   Sidney      Leung      US   Sidney      Leung     US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031411   March   3/29/2014   complete   Mabel       Nash       AU   Mabel       Nash      AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031411   March   3/29/2014   complete   Mabel       Nash       AU   Mabel       Nash      AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031412   March   3/29/2014   complete   Man         chan       US   Man         chan      US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031412   March   3/29/2014   complete   Man         chan       US   Man         chan      US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031413   March   3/31/2014   complete   William     liang      US   William     liang     US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031413   March   3/31/2014   complete   William     liang      US   William     liang     US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031414   March   3/31/2014   complete   Anita       Ng         US   Anita       Ng        US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031414   March   3/31/2014   complete   Anita       Ng         US   Anita       Ng        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031415   March   3/31/2014   complete   Bambang     Yusnita    ID   Bambang     Yusnita   ID   paypal_standard   USD   TVPAD-004   250   20   2   480
TVP-14031415   March   3/31/2014   complete   Bambang     Yusnita    ID   Bambang     Yusnita   ID   paypal_standard   USD   HGIFT2        0    0   2     0
TVP-14031417   March   3/31/2014   complete   Wei         Ceng       PA   Wei         Ceng      PA   paypal_standard   USD   TVPAD-004   250   10   2   490
TVP-14031417   March   3/31/2014   complete   Wei         Ceng       PA   Wei         Ceng      PA   paypal_standard   USD   HGIFT2        0    0   2     0
TVP-14031419   March   3/31/2014   complete   Andrew      Tan        NL   Andrew      Tan       NL   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031419   March   3/31/2014   complete   Andrew      Tan        NL   Andrew      Tan       NL   braintree         USD   HGIFT2        0    0   1     0
TVP-14031422   March   3/31/2014   complete   git         wong       US   git         wong      US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031422   March   3/31/2014   complete   git         wong       US   git         wong      US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031423   March   3/31/2014   complete   Yiming      Li         US   Yiming      Li        US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031423   March   3/31/2014   complete   Yiming      Li         US   Yiming      Li        US   braintree         USD   HGIFT2        0    0   1     0
TVP-70011166   March   3/31/2014   complete   Beatrice    Poon       NZ   Beatrice    Poon      NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-70011166   March   3/31/2014   complete   Beatrice    Poon       NZ   Beatrice    Poon      NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-70011167   March   3/31/2014   complete   Cheong      Tsang      US   Jiane       Huang     US   braintree         USD   TVPAD-004   259   10   1   249
TVP-70011167   March   3/31/2014   complete   Cheong      Tsang      US   Jiane       Huang     US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031424   March   3/31/2014   complete   Geoffrey    Lee        AU   Geoffrey    Lee       AU   braintree         USD   TVPAD-004   259   20   1   239
TVP-14031424   March   3/31/2014   complete   Geoffrey    Lee        AU   Geoffrey    Lee       AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031425   March   3/31/2014   complete   Lee,        Sonya      CA   Lee,        Sonya     CA   paypal_standard   USD   TVPAD-004   259   20   1   239
TVP-14031425   March   3/31/2014   complete   Lee,        Sonya      CA   Lee,        Sonya     CA   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031426   March   3/31/2014   complete   Sam         Wong       US   Sam         Wong      US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14031426   March   3/31/2014   complete   Sam         Wong       US   Sam         Wong      US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031427   March   3/31/2014   complete   Sam         Wong       US   Sam         Wong      US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14031427   March   3/31/2014   complete   Sam         Wong       US   Sam         Wong      US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031428   March   3/31/2014   complete   Trevor      Wong       NZ   Trevor      Wong      NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031428   March   3/31/2014   complete   Trevor      Wong       NZ   Trevor      Wong      NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14031429   March   3/31/2014   complete   Meiying     Song       AU   Meiying     Song      AU   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031429   March   3/31/2014   complete   Meiying     Song       AU   Meiying     Song      AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031430   March   3/31/2014   complete   Nathan      Dam        AU   Nathan      Dam       AU   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031430   March   3/31/2014   complete   Nathan      Dam        AU   Nathan      Dam       AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031431   March   3/31/2014   complete   Ka          Ng         US   Ka          Ng        US   braintree         USD   TVPAD-004   259   15   1   244
TVP-14031431   March   3/31/2014   complete   Ka          Ng         US   Ka          Ng        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031432   March   3/31/2014   complete   Kwok        Cheng      US   Kwok        Cheng     US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031432   March   3/31/2014   complete   Kwok        Cheng      US   Kwok        Cheng     US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031433   March    4/1/2014   complete   Hip         Fong       GB   Hip         Fong      GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14031433   March    4/1/2014   complete   Hip         Fong       GB   Hip         Fong      GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14031434   March    4/1/2014   complete   Magdalene   LIM        GB   Magdalene   LIM       GB   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031434   March    4/1/2014   complete   Magdalene   LIM        GB   Magdalene   LIM       GB   braintree         USD   HGIFT2        0    0   1     0
TVP-14031435   March   3/31/2014   complete   Anthony     Leung      US   Anthony     Leung     US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031435   March   3/31/2014   complete   Anthony     Leung      US   Anthony     Leung     US   braintree         USD   HGIFT2        0    0   1     0
TVP-70011168   March    4/1/2014   complete   Pauline     chan       GB   Pauline     chan      GB   paypal_standard   GBP   TVPAD-004   259   10   1   249
TVP-70011168   March    4/1/2014   complete   Pauline     chan       GB   Pauline     chan      GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14031437   March    4/1/2014   complete   Chi Man     Lam        US   Chi         Lam       US   braintree         USD   TVPAD-004   259   15   1   244
TVP-14031437   March    4/1/2014   complete   Chi Man     Lam        US   Chi         Lam       US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031438   March    4/1/2014   complete   Sharon      Szeto      US   Sharon      Szeto     US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031438   March    4/1/2014   complete   Sharon      Szeto      US   Sharon      Szeto     US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031439   March    4/1/2014   complete   Daniel      Shih       US   Daniel      Shih      US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031439   March    4/1/2014   complete   Daniel      Shih       US   Daniel      Shih      US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031441   March    4/1/2014   complete   Sarah       Lai        GB   Tony        Choong    GB   braintree         GBP   TVPAD-004   250   10   2   490
TVP-14031441   March    4/1/2014   complete   Sarah       Lai        GB   Tony        Choong    GB   braintree         GBP   HGIFT2        0    0   2     0
TVP-14031443   March    4/1/2014   complete   jay         kim        US   jay         kim       US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031443   March    4/1/2014   complete   jay         kim        US   jay         kim       US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031444   March    4/1/2014   complete   Jina        Ryu        AU   Jina        Ryu       AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031444   March    4/1/2014   complete   Jina        Ryu        AU   Jina        Ryu       AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14031445   March    4/1/2014   complete   Than        Shwe       US   Than        Shwe      US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031445   March    4/1/2014   complete   Than        Shwe       US   Than        Shwe      US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031446   March    4/1/2014   complete   Michael     Collins    US   Michael     Collins   US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031446   March    4/1/2014   complete   Michael     Collins    US   Michael     Collins   US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031448   March    4/1/2014   complete   Felix       Lau        US   Felix       Lau       US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14031448   March    4/1/2014   complete   Felix       Lau        US   Felix       Lau       US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14031449   March    4/1/2014   complete   Bo          kim        US   Bo          kim       US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031449   March    4/1/2014   complete   Bo          kim        US   Bo          kim       US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031450   March    4/1/2014   complete   Yuk         Or         US   Yuk         Or        US   braintree         USD   TVPAD-004   259   15   1   244
TVP-14031450   March    4/1/2014   complete   Yuk         Or         US   Yuk         Or        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031451   March    4/1/2014   complete   Vivienne    Wong       US   Vivienne    Wong      US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14031451   March    4/1/2014   complete   Vivienne    Wong       US   Vivienne    Wong      US   braintree         USD   HGIFT2        0    0   1     0
TVP-14031452   April    4/1/2014   complete   Angel       Chen       NZ   Angel       Chen      NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14031452   April    4/1/2014   complete   Angel       Chen       NZ   Angel       Chen      NZ   braintree         USD   HGIFT2        0    0   1     0
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                                   #:20460
TVP-14031453   April   4/1/2014   complete   Duc         Trinh        SE   Duc         Trinh        SE   braintree         USD   TVPAD-004       259    10   1    249
TVP-14031453   April   4/1/2014   complete   Duc         Trinh        SE   Duc         Trinh        SE   braintree         USD   HGIFT2             0    0   1       0
TVP-14031454   April   4/1/2014   complete   Sung        Yeoh         AU   Sung        Yeoh         AU   paypal_standard   USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-70011169   April   4/1/2014   complete   XIAOBEI     ZHANG        FR   XIAOBEI     ZHANG        FR   braintree         USD   TVPAD-004       250    10   2    490
TVP-14041010   April   4/1/2014   complete   Qin         Du           AU   Qin         Du           AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14041010   April   4/1/2014   complete   Qin         Du           AU   Qin         Du           AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041011   April   4/1/2014   complete   spica       chan         IE   spica       chan         IE   braintree         EUR   TVPAD-004       250    10   2    490
TVP-14041011   April   4/1/2014   complete   spica       chan         IE   spica       chan         IE   braintree         EUR   HGIFT2             0    0   2       0
TVP-14041012   April   4/2/2014   complete   SumPo       Poon         MP   SumPo       Poon         MP   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041012   April   4/2/2014   complete   SumPo       Poon         MP   SumPo       Poon         MP   braintree         USD   HGIFT2             0    0   1       0
TVP-14041013   April   4/2/2014   complete   JIN         BANG         GB   JIN         BANG         GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14041013   April   4/2/2014   complete   JIN         BANG         GB   JIN         BANG         GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14041014   April   4/2/2014   complete   Cyrille     Morelle      US   Cyrille     Morelle      US   braintree         USD   TVPAD-004       250    10   3    740
TVP-14041014   April   4/2/2014   complete   Cyrille     Morelle      US   Cyrille     Morelle      US   braintree         USD   HGIFT2             0    0   3       0
TVP-14041015   April   4/2/2014   complete   Huilei      Liu          US   Huilei      Liu          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041015   April   4/2/2014   complete   Huilei      Liu          US   Huilei      Liu          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041016   April   4/2/2014   complete   SHIH        CHIU         US   SHIH        CHIU         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14041016   April   4/2/2014   complete   SHIH        CHIU         US   SHIH        CHIU         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041018   April   4/2/2014   complete   Chan        Quach        NO   Chan        Quach        NO   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041018   April   4/2/2014   complete   Chan        Quach        NO   Chan        Quach        NO   braintree         USD   HGIFT2             0    0   1       0
TVP-14041019   April   4/2/2014   complete   Charlotte   Ives         GB   Charlotte   Ives         GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14041019   April   4/2/2014   complete   Charlotte   Ives         GB   Charlotte   Ives         GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14041020   April   4/2/2014   complete   Jennifer    Wong         US   Jennifer    Wong         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041020   April   4/2/2014   complete   Jennifer    Wong         US   Jennifer    Wong         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041021   April   4/2/2014   complete   Jennifer    Wong         US   Jennifer    Wong         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041021   April   4/2/2014   complete   Jennifer    Wong         US   Jennifer    Wong         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041022   April   4/2/2014   complete   Wei         Ceng         PA   Wei         Ceng         PA   paypal_standard   USD   TVPAD-004       259    30   1    229
TVP-14041022   April   4/2/2014   complete   Wei         Ceng         PA   Wei         Ceng         PA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041024   April   4/2/2014   complete   Sunny       Chan         US   Sunny       Chan         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14041024   April   4/2/2014   complete   Sunny       Chan         US   Sunny       Chan         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041023   April   4/2/2014   complete   Yadi        Dai          US   Yadi        Dai          US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14041023   April   4/2/2014   complete   Yadi        Dai          US   Yadi        Dai          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041025   April   4/2/2014   complete   Robert      Tang         AU   Robert      Tang         AU   paypal_standard   USD   TVPAD-004       250    10   2    490
TVP-14041025   April   4/2/2014   complete   Robert      Tang         AU   Robert      Tang         AU   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14041026   April   4/2/2014   complete   JOON        LEE          US   JOON        LEE          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041026   April   4/2/2014   complete   JOON        LEE          US   JOON        LEE          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041027   April   4/2/2014   complete   John        Franklin     AU   John        Franklin     AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041027   April   4/2/2014   complete   John        Franklin     AU   John        Franklin     AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14041028   April   4/2/2014   complete   Huei        Hsu          AU   Huei        Hsu          AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14041028   April   4/2/2014   complete   Huei        Hsu          AU   Huei        Hsu          AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14041029   April   4/2/2014   complete   Kelvin      Kong         NZ   Kelvin      Kong         NZ   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14041029   April   4/2/2014   complete   Kelvin      Kong         NZ   Kelvin      Kong         NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041031   April   4/2/2014   complete   Zusi        Intan        AU   Zusi        Intan        AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14041031   April   4/2/2014   complete   Zusi        Intan        AU   Zusi        Intan        AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-70011170   April   4/3/2014   complete   Ray         Shen         NZ   Ray         Shen         NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011170   April   4/3/2014   complete   Ray         Shen         NZ   Ray         Shen         NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14041032   April   4/3/2014   complete   George      Yu           AU   George      Yu           AU   paypal_standard   USD   TVPAD-004       259    15   1    244
TVP-14041032   April   4/3/2014   complete   George      Yu           AU   George      Yu           AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041033   April   4/3/2014   complete   baiyong     xie          US   baiyong     xie          US   braintree         USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-70011171   April   4/3/2014   complete   ZHIYU       YU           US   ZHIYU       YU           US   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011171   April   4/3/2014   complete   ZHIYU       YU           US   ZHIYU       YU           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041034   April   4/3/2014   complete   John        Perazzo      US   John        Perazzo      US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14041034   April   4/3/2014   complete   John        Perazzo      US   John        Perazzo      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041036   April   4/3/2014   complete   LAI         YEUNG        GB   LAI         YEUNG        GB   paypal_standard   GBP   TVPAD-004       250    10   2    490
TVP-14041036   April   4/3/2014   complete   LAI         YEUNG        GB   LAI         YEUNG        GB   paypal_standard   GBP   HGIFT2             0    0   2       0
TVP-70011172   April   4/3/2014   complete   BO          LI           NZ   BO          LI           NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011172   April   4/3/2014   complete   BO          LI           NZ   BO          LI           NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14041039   April   4/3/2014   complete   Woong,      Lee          SG   Woong,      Lee          SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041039   April   4/3/2014   complete   Woong,      Lee          SG   Woong,      Lee          SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14041040   April   4/3/2014   complete   Alan        TANG         GB   Alan        TANG         GB   paypal_standard   GBP   TVPAD-004       259    20   1    239
TVP-14041040   April   4/3/2014   complete   Alan        TANG         GB   Alan        TANG         GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14041041   April   4/4/2014   complete   Koh         Lin          GB   Koh         Lin          GB   braintree         USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14041042   April   4/4/2014   complete   QingCong    Li           AU   QingCong    Li           AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14041042   April   4/4/2014   complete   QingCong    Li           AU   QingCong    Li           AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041043   April   4/4/2014   complete   Chun-On     Lam          AU   Chun-On     Lam          AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14041043   April   4/4/2014   complete   Chun-On     Lam          AU   Chun-On     Lam          AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-70011173   April   4/4/2014   complete   YingChieh   Ji           FR   YingChieh   Ji           FR   braintree         EUR   TVPAD-004       259    10   1    249
TVP-70011173   April   4/4/2014   complete   YingChieh   Ji           FR   YingChieh   Ji           FR   braintree         EUR   HGIFT2             0    0   1       0
TVP-14041044   April   4/7/2014   complete   Mrs         Hague        GB   Mrs         Hague        GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-14041044   April   4/7/2014   complete   Mrs         Hague        GB   Mrs         Hague        GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14041046   April   4/4/2014   complete   Frankie     Thai         SE   Frankie     Thai         SE   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041046   April   4/4/2014   complete   Frankie     Thai         SE   Frankie     Thai         SE   braintree         USD   HGIFT2             0    0   1       0
TVP-14041047   April   4/4/2014   complete   paul        s.chang      US   paul        s.chang      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041047   April   4/4/2014   complete   paul        s.chang      US   paul        s.chang      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041048   April   4/4/2014   complete   Jingshan    Huang        AU   Jingshan    Huang        AU   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14041048   April   4/4/2014   complete   Jingshan    Huang        AU   Jingshan    Huang        AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041049   April   4/4/2014   complete   Chris       Burns        GB   Chris       Burns        GB   braintree         GBP   TVPAD-004       259    15   1    244
TVP-14041049   April   4/4/2014   complete   Chris       Burns        GB   Chris       Burns        GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14031340   April   4/4/2014   complete   Ying        Shek         GB   Ying        Shek         GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14031340   April   4/4/2014   complete   Ying        Shek         GB   Ying        Shek         GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14041050   April   4/4/2014   complete   GuangHao    Jin          US   GuangHao    Jin          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041050   April   4/4/2014   complete   GuangHao    Jin          US   GuangHao    Jin          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041051   April   4/4/2014   complete   Tianji      Zhang        CH   Tianji      Zhang        CH   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041051   April   4/4/2014   complete   Tianji      Zhang        CH   Tianji      Zhang        CH   braintree         USD   HGIFT2             0    0   1       0
TVP-14041052   April   4/4/2014   complete   Susanna     Chan         AU   Susanna     Chan         AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14041052   April   4/4/2014   complete   Susanna     Chan         AU   Susanna     Chan         AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14041053   April   4/4/2014   complete   Joanne      Ng           CA   Joanne      Ng           CA   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14041053   April   4/4/2014   complete   Joanne      Ng           CA   Joanne      Ng           CA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041054   April   4/4/2014   complete   Katy        Shum         CA   Kam-Por     Shum         CA   braintree         CAD   TVPAD-004       259    10   1    249
TVP-14041054   April   4/4/2014   complete   Katy        Shum         CA   Kam-Por     Shum         CA   braintree         CAD   HGIFT2             0    0   1       0
TVP-14041055   April   4/4/2014   complete   Tan         hung         TH   Tan         hung         TH   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041055   April   4/4/2014   complete   Tan         hung         TH   Tan         hung         TH   braintree         USD   HGIFT2             0    0   1       0
TVP-14041056   April   4/4/2014   complete   John        Lam          US   John        Lam          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041056   April   4/4/2014   complete   John        Lam          US   John        Lam          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041057   April   4/4/2014   complete   Kin         Chiam        US   Kin         Chiam        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14041057   April   4/4/2014   complete   Kin         Chiam        US   Kin         Chiam        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041058   April   4/4/2014   complete   yu-ching    chao         US   yu-ching    chao         US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14041058   April   4/4/2014   complete   yu-ching    chao         US   yu-ching    chao         US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-70011174   April   4/4/2014   complete   YUAN        YING         AU   YUAN        YING         AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-70011174   April   4/4/2014   complete   YUAN        YING         AU   YUAN        YING         AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14041059   April   4/4/2014   complete   chan        david        RE   chan        david        RE   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041059   April   4/4/2014   complete   chan        david        RE   chan        david        RE   braintree         USD   HGIFT2             0    0   1       0
TVP-14041060   April   4/4/2014   complete   Richard     Hui          GB   Richard     Hui          GB   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041060   April   4/4/2014   complete   Richard     Hui          GB   Richard     Hui          GB   braintree         USD   HGIFT2             0    0   1       0
TVP-14041061   April   4/4/2014   complete   LEE         Emmanuelle   FR   LEE         Emmanuelle   FR   braintree         EUR   TVPAD-004       259    10   1    249
TVP-14041061   April   4/4/2014   complete   LEE         Emmanuelle   FR   LEE         Emmanuelle   FR   braintree         EUR   HGIFT2             0    0   1       0
TVP-14041062   April   4/4/2014   complete   Ibrahim     Joanna       SG   Heidi       Yeung        SG   braintree         USD   TVPAD-004       259    20   1    239
TVP-14041062   April   4/4/2014   complete   Ibrahim     Joanna       SG   Heidi       Yeung        SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14041063   April   4/5/2014   complete   A-Muoi      Duong        AT   A-Muoi      Duong        AT   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14041063   April   4/5/2014   complete   A-Muoi      Duong        AT   A-Muoi      Duong        AT   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041064   April   4/8/2014   complete   erika       lau          PE   erika       lau          PE   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041064   April   4/8/2014   complete   erika       lau          PE   erika       lau          PE   braintree         USD   HGIFT2             0    0   1       0
TVP-14041066   April   4/7/2014   complete   Jenny       Chung        SR   Jenny       Chung        SR   braintree         USD   TVPAD-004       250    10   2    490
TVP-14041066   April   4/7/2014   complete   Jenny       Chung        SR   Jenny       Chung        SR   braintree         USD   HGIFT2             0    0   2       0
TVP-14041067   April   4/5/2014   complete   Robert      Pei          AU   Robert      Pei          AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041067   April   4/5/2014   complete   Robert      Pei          AU   Robert      Pei          AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14041069   April   4/5/2014   complete   GUANHAO     ZHONG        AU   GUANHAO     ZHONG        AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14041069   April   4/5/2014   complete   GUANHAO     ZHONG        AU   GUANHAO     ZHONG        AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041071   April   4/7/2014   complete   Jing        Zhang        AU   Jing        Zhang        AU   braintree         USD   TVPAD-004       259    15   1    244
TVP-14041071   April   4/7/2014   complete   Jing        Zhang        AU   Jing        Zhang        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14041072   April   4/7/2014   complete   Carol       Tam          US   Carol       Tam          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041072   April   4/7/2014   complete   Carol       Tam          US   Carol       Tam          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041073   April   4/7/2014   complete   Carol       Tam          US   Tyler       Sein         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041073   April   4/7/2014   complete   Carol       Tam          US   Tyler       Sein         US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011175   April   4/7/2014   complete   Jay         Yin          NZ   Jay         Yin          NZ   braintree         USD   TVPAD-004        259   10   1    249
TVP-70011175   April   4/7/2014   complete   Jay         Yin          NZ   Jay         Yin          NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14041074   April   4/7/2014   complete   Kim         Khau         AU   Kim         Khau         AU   paypal_standard   USD   TVPAD-004       259    15   1    244
TVP-14041074   April   4/7/2014   complete   Kim         Khau         AU   Kim         Khau         AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041075   April   4/7/2014   complete   Cheng       Shao         NZ   Cheng       Shao         NZ   braintree         USD   TVPAD-004       250    10   2    490
TVP-14041075   April   4/7/2014   complete   Cheng       Shao         NZ   Cheng       Shao         NZ   braintree         USD   HGIFT2             0    0   2       0
TVP-14041076   April   4/7/2014   complete   LIO         HINCHUNG     HU   LIO         HINCHUNG     HU   paypal_standard   USD   TVPAD-004       259    15   1    244
TVP-14041076   April   4/7/2014   complete   LIO         HINCHUNG     HU   LIO         HINCHUNG     HU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041077   April   4/7/2014   complete   Jason       Molgo        US   Jason       Molgo        US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14041077   April   4/7/2014   complete   Jason       Molgo        US   Jason       Molgo        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041078   April   4/7/2014   complete   kwanho      Song         US   kwanho      Song         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041078   April   4/7/2014   complete   kwanho      Song         US   kwanho      Song         US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011176   April   4/7/2014   complete   NENG        TAN          US   NENG        TAN          US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-70011176   April   4/7/2014   complete   NENG        TAN          US   NENG        TAN          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041081   April   4/7/2014   complete   Sing        Lim          US   Sing        Lim          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041081   April   4/7/2014   complete   Sing        Lim          US   Sing        Lim          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041082   April   4/7/2014   complete   Min         Wu           AU   Min         Wu           AU   braintree         USD   TVPAD-004       250    10   2    490
TVP-14041082   April   4/7/2014   complete   Min         Wu           AU   Min         Wu           AU   braintree         USD   HGIFT2             0    0   2       0
TVP-14041083   April   4/7/2014   complete   Cuong       Luu          US   Cuong       Luu          US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14041083   April   4/7/2014   complete   Cuong       Luu          US   Cuong       Luu          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041084   April   4/7/2014   complete   Vivian      Ting         AU   Vivian      Ting         AU   braintree         USD   TVPAD-004        259   10   1    249
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TVP-14041084   April    4/7/2014   complete   Vivian       Ting           AU   Vivian       Ting           AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14041085   April    4/7/2014   complete   Johnson      Hew            NZ   Johnson      Hew            NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041085   April    4/7/2014   complete   Johnson      Hew            NZ   Johnson      Hew            NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14041086   April    4/7/2014   complete   Alan         Tea            NZ   Alan         Tea            NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041086   April    4/7/2014   complete   Alan         Tea            NZ   Alan         Tea            NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14041087   April    4/7/2014   complete   Stephanie    Goh            NZ   Stephanie    Goh            NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041087   April    4/7/2014   complete   Stephanie    Goh            NZ   Stephanie    Goh            NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14041088   April    4/7/2014   complete   Hui          Li             AU   Hui          Li             AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041088   April    4/7/2014   complete   Hui          Li             AU   Hui          Li             AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14041089   April    4/7/2014   complete   Li           Zhang          GB   Li           Zhang          GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14041089   April    4/7/2014   complete   Li           Zhang          GB   Li           Zhang          GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14021420   April    4/7/2014   complete   Fan Ling     Tan Tai        SE   Fan Ling     Tan Tai        SE   braintree         USD   TVPAD-004   259   10   1   249
TVP-14021420   April    4/7/2014   complete   Fan Ling     Tan Tai        SE   Fan Ling     Tan Tai        SE   braintree         USD   HGIFT2        0    0   1     0
TVP-14041090   April    4/7/2014   complete   Chang        Ling           AU   Chang        Ling           AU   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14041090   April    4/7/2014   complete   Chang        Ling           AU   Chang        Ling           AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14041091   April   4/15/2014   complete   Tong         Thinh-Khieng   CH   Tong         Thinh-Khieng   CH   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041091   April   4/15/2014   complete   Tong         Thinh-Khieng   CH   Tong         Thinh-Khieng   CH   braintree         USD   HGIFT2        0    0   1     0
TVP-14041092   April    4/7/2014   complete   YOO          HONG           US   YOO          HONG           US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041092   April    4/7/2014   complete   YOO          HONG           US   YOO          HONG           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041093   April    4/7/2014   complete   Rubby        Ng             GB   Rubby        Ng             GB   paypal_standard   GBP   TVPAD-004   259   10   1   249
TVP-14041093   April    4/7/2014   complete   Rubby        Ng             GB   Rubby        Ng             GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14041094   April    4/8/2014   complete   Bodley       Zhang          GB   Bodley       Zhang          GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14041094   April    4/8/2014   complete   Bodley       Zhang          GB   Bodley       Zhang          GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14041096   April    4/7/2014   complete   Wen          huang          US   Wen          huang          US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041096   April    4/7/2014   complete   Wen          huang          US   Wen          huang          US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041097   April    4/7/2014   complete   Eric         Chan           US   Eric         Chan           US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14041097   April    4/7/2014   complete   Eric         Chan           US   Eric         Chan           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041098   April    4/7/2014   complete   Joonseok     Lee            US   Joonseok     Lee            US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041098   April    4/7/2014   complete   Joonseok     Lee            US   Joonseok     Lee            US   braintree         USD   HGIFT2        0    0   1     0
TVP-70011177   April    4/8/2014   complete   wanhua       wu             BR   wanhua       wu             BR   paypal_standard   USD   TVPAD-004   250   10   2   490
TVP-70011177   April    4/8/2014   complete   wanhua       wu             BR   wanhua       wu             BR   paypal_standard   USD   HGIFT2        0    0   2     0
TVP-14041100   April    4/7/2014   complete   Josephine    Lai            AU   Josephine    Lai            AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041100   April    4/7/2014   complete   Josephine    Lai            AU   Josephine    Lai            AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14041101   April    4/7/2014   complete   Manping      Li             AU   Manping      Li             AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041101   April    4/7/2014   complete   Manping      Li             AU   Manping      Li             AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14041102   April   4/25/2014   complete   Sean         Ng             AU   Sean         Ng             AU   braintree         USD   TVPAD-004   250   10   2   490
TVP-14041102   April   4/25/2014   complete   Sean         Ng             AU   Sean         Ng             AU   braintree         USD   HGIFT2        0    0   2     0
TVP-14041103   April   4/12/2014   complete   Kenneth      Lee            US   Kenneth      Lee            US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041103   April   4/12/2014   complete   Kenneth      Lee            US   Kenneth      Lee            US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041104   April    4/7/2014   complete   Caroline     Chang          AU   Caroline     Chang          AU   braintree         AUD   TVPAD-004   259   20   1   239
TVP-14041104   April    4/7/2014   complete   Caroline     Chang          AU   Caroline     Chang          AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14041106   April    4/7/2014   complete   steven       chu            US   steven       chu            US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041106   April    4/7/2014   complete   steven       chu            US   steven       chu            US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041107   April    4/8/2014   complete   chen         hua            FR   chen         hua            FR   braintree         EUR   TVPAD-004   250   10   2   490
TVP-14041107   April    4/8/2014   complete   chen         hua            FR   chen         hua            FR   braintree         EUR   HGIFT2        0    0   2     0
TVP-14041108   April    4/7/2014   complete   Vincent      Than           NZ   Vincent      Than           NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041108   April    4/7/2014   complete   Vincent      Than           NZ   Vincent      Than           NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14041109   April    4/8/2014   complete   Xiaoting     Peng           AU   Xiaoting     Peng           AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041109   April    4/8/2014   complete   Xiaoting     Peng           AU   Xiaoting     Peng           AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14041110   April    4/8/2014   complete   Peiqiong     Mo             AU   Peiqiong     Mo             AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041110   April    4/8/2014   complete   Peiqiong     Mo             AU   Peiqiong     Mo             AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14041112   April    4/8/2014   complete   Edwin        Fong           US   Edwin        Fong           US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041112   April    4/8/2014   complete   Edwin        Fong           US   Edwin        Fong           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041113   April    4/8/2014   complete   Wai          Ng             US   Wai          Ng             US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041113   April    4/8/2014   complete   Wai          Ng             US   Wai          Ng             US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041114   April    4/8/2014   complete   Yohana       Setiati        AU   Yohana       Setiati        AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041114   April    4/8/2014   complete   Yohana       Setiati        AU   Yohana       Setiati        AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14041115   April    4/8/2014   complete   GuangHao     Jin            US   GuangHao     Jin            US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041115   April    4/8/2014   complete   GuangHao     Jin            US   GuangHao     Jin            US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041116   April    4/8/2014   complete   Victoria     Shih           US   Victoria     Shih           US   braintree         USD   TVPAD-004   250   10   2   490
TVP-14041116   April    4/8/2014   complete   Victoria     Shih           US   Victoria     Shih           US   braintree         USD   HGIFT2        0    0   2     0
TVP-14041117   April    4/8/2014   complete   Bing         Zhao           NZ   Bing         Zhao           NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041117   April    4/8/2014   complete   Bing         Zhao           NZ   Bing         Zhao           NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14041118   April    4/8/2014   complete   Hung         Tan            GB   Hung         Tan            GB   paypal_standard   GBP   TVPAD-004   259   20   1   239
TVP-14041118   April    4/8/2014   complete   Hung         Tan            GB   Hung         Tan            GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14041119   April    4/8/2014   complete   Marcello     Albanesi       IT   Marcello     Albanesi       IT   braintree         EUR   TVPAD-004   259   10   1   249
TVP-14041119   April    4/8/2014   complete   Marcello     Albanesi       IT   Marcello     Albanesi       IT   braintree         EUR   HGIFT2        0    0   1     0
TVP-14041120   April    4/8/2014   complete   Shannon      Hoang          GB   Shannon      Hoang          GB   paypal_standard   GBP   TVPAD-004   259   10   1   249
TVP-14041120   April    4/8/2014   complete   Shannon      Hoang          GB   Shannon      Hoang          GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14041121   April    4/8/2014   closed     XING         GU             AU   XING         GU             AU   braintree         AUD   TVPAD-004   259   15   1   244
TVP-14041121   April    4/8/2014   closed     XING         GU             AU   XING         GU             AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14041122   April    4/8/2014   complete   Steven       Lew            AU   Steven       Lew            AU   braintree         AUD   TVPAD-004   259   10   1   249
TVP-14041122   April    4/8/2014   complete   Steven       Lew            AU   Steven       Lew            AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14041124   April   4/10/2014   complete   James        Chiang         SG   James        Chiang         SG   paypal_standard   USD   TVPAD-004   250   10   2   490
TVP-14041124   April   4/10/2014   complete   James        Chiang         SG   James        Chiang         SG   paypal_standard   USD   HGIFT2        0    0   2     0
TVP-14041125   April   4/14/2014   complete   Ikhsanudin   Wahid          ID   Ikhsanudin   Wahid          ID   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041125   April   4/14/2014   complete   Ikhsanudin   Wahid          ID   Ikhsanudin   Wahid          ID   braintree         USD   HGIFT2        0    0   1     0
TVP-14041126   April    4/8/2014   complete   Leon         Chu            NZ   Leon         Chu            NZ   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14041126   April    4/8/2014   complete   Leon         Chu            NZ   Leon         Chu            NZ   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14041127   April    4/8/2014   complete   Wai          Wong           AU   Wai          Wong           AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041127   April    4/8/2014   complete   Wai          Wong           AU   Wai          Wong           AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14041128   April    4/8/2014   complete   Ting         Fang           AU   Ting         Fang           AU   braintree         USD   TVPAD-004   259   20   1   239
TVP-14041128   April    4/8/2014   complete   Ting         Fang           AU   Ting         Fang           AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14041129   April    4/9/2014   complete   Helen        shen           AU   Helen        shen           AU   braintree         USD   TVPAD-004   250   10   2   490
TVP-14041129   April    4/9/2014   complete   Helen        shen           AU   Helen        shen           AU   braintree         USD   HGIFT2        0    0   2     0
TVP-14041130   April    4/9/2014   complete   Darren       Ho             GB   Darren       Ho             GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14041130   April    4/9/2014   complete   Darren       Ho             GB   Darren       Ho             GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14041131   April    4/9/2014   complete   LY           Dellya         BE   LY           Dellya         BE   braintree         EUR   TVPAD-004   259   10   1   249
TVP-14041131   April    4/9/2014   complete   LY           Dellya         BE   LY           Dellya         BE   braintree         EUR   HGIFT2        0    0   1     0
TVP-70011178   April    4/9/2014   complete   Homer        Liang          US   Homer        Liang          US   braintree         USD   TVPAD-004   259   10   1   249
TVP-70011178   April    4/9/2014   complete   Homer        Liang          US   Homer        Liang          US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041132   April   4/10/2014   complete   Adrien       CHIN-YIN-LIM   FR   Simone       CHIN-YIN-LIM   RE   paypal_standard   EUR   TVPAD-004   259   10   1   249
TVP-14041132   April   4/10/2014   complete   Adrien       CHIN-YIN-LIM   FR   Simone       CHIN-YIN-LIM   RE   paypal_standard   EUR   HGIFT2        0    0   1     0
TVP-14041133   April    4/9/2014   complete   Shane        Piercy         AU   Shane        Piercy         AU   braintree         USD   TVPAD-004   259   20   1   239
TVP-14041133   April    4/9/2014   complete   Shane        Piercy         AU   Shane        Piercy         AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14041134   April    4/9/2014   complete   Myung        Kang           US   Myung        Kang           US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041134   April    4/9/2014   complete   Myung        Kang           US   Myung        Kang           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041135   April    4/9/2014   complete   PAT          FUNG           GB   PAT          FUNG           GB   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041135   April    4/9/2014   complete   PAT          FUNG           GB   PAT          FUNG           GB   braintree         USD   HGIFT2        0    0   1     0
TVP-14041136   April    4/9/2014   complete   Sandra       Chan           GB   Sandra       Chan           GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14041136   April    4/9/2014   complete   Sandra       Chan           GB   Sandra       Chan           GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14041139   April    4/9/2014   complete   Xiangzhao    Kong           AU   Xiangzhao    Kong           AU   braintree         AUD   TVPAD-004   259   15   1   244
TVP-14041139   April    4/9/2014   complete   Xiangzhao    Kong           AU   Xiangzhao    Kong           AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14041140   April   4/10/2014   complete   Ray          KIm            AU   Ray          KIm            AU   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14041140   April   4/10/2014   complete   Ray          KIm            AU   Ray          KIm            AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14041141   April   4/10/2014   complete   Byron        lee            US   Byron        lee            US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041141   April   4/10/2014   complete   Byron        lee            US   Byron        lee            US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041142   April   4/10/2014   complete   bumjin       park           AU   bumjin       park           AU   paypal_standard   USD   TVPAD-004   250   10   2   490
TVP-14041142   April   4/10/2014   complete   bumjin       park           AU   bumjin       park           AU   paypal_standard   USD   HGIFT2        0    0   2     0
TVP-14041143   April   4/10/2014   complete   tc           chan           US   tc           chan           US   braintree         USD   HGIFT1        0    0   1     0
TVP-14041143   April   4/10/2014   complete   tc           chan           US   tc           chan           US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041144   April   4/10/2014   complete   Sang         Kim            US   Brandon      Kim            US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041144   April   4/10/2014   complete   Sang         Kim            US   Brandon      Kim            US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041145   April   4/10/2014   complete   Eun          Kim            US   Eun          Kim            US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041145   April   4/10/2014   complete   Eun          Kim            US   Eun          Kim            US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041146   April   4/10/2014   complete   Alex         Wong           AU   Alex         Wong           AU   paypal_standard   AUD   TVPAD-004   259   10   1   249
TVP-14041146   April   4/10/2014   complete   Alex         Wong           AU   Alex         Wong           AU   paypal_standard   AUD   HGIFT2        0    0   1     0
TVP-14041147   April   4/10/2014   complete   David        Yuen           US   David        Yuen           US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041147   April   4/10/2014   complete   David        Yuen           US   David        Yuen           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041148   April   4/10/2014   complete   Man          YU             AU   Man          YU             AU   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14041148   April   4/10/2014   complete   Man          YU             AU   Man          YU             AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14041149   April   4/10/2014   complete   Kelly        Tse            US   Kelly        Tse            US   braintree         USD   TVPAD-004   250   10   3   740
TVP-14041149   April   4/10/2014   complete   Kelly        Tse            US   Kelly        Tse            US   braintree         USD   HGIFT2        0    0   3     0
TVP-14041150   April   4/10/2014   complete   Bing         Mak            GB   Bing         Mak            GB   braintree         USD   TVPAD-004   259   20   1   239
TVP-14041150   April   4/10/2014   complete   Bing         Mak            GB   Bing         Mak            GB   braintree         USD   HGIFT2        0    0   1     0
TVP-14041151   April   4/10/2014   complete   Ann          Chan           AU   Ann          Chan           AU   braintree         AUD   TVPAD-004   259   15   1   244
TVP-14041151   April   4/10/2014   complete   Ann          Chan           AU   Ann          Chan           AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14041152   April   4/10/2014   complete   Ann          Chan           AU   Ann          Chan           AU   paypal_standard   AUD   TVPAD-004   259   20   1   239
TVP-14041152   April   4/10/2014   complete   Ann          Chan           AU   Ann          Chan           AU   paypal_standard   AUD   HGIFT2        0    0   1     0
TVP-70011179   April   4/10/2014   complete   YongMing     Lin            US   YongMing     Lin            US   braintree         USD   TVPAD-004   259   10   1   249
TVP-70011179   April   4/10/2014   complete   YongMing     Lin            US   YongMing     Lin            US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041153   April   4/10/2014   complete   Jia          Zheng          US   Jia          Zheng          US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14041153   April   4/10/2014   complete   Jia          Zheng          US   Jia          Zheng          US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041154   April   4/11/2014   complete   Jeffrey      Dong           SG   Jeffrey      Dong           SG   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041154   April   4/11/2014   complete   Jeffrey      Dong           SG   Jeffrey      Dong           SG   braintree         USD   HGIFT2        0    0   1     0
TVP-14041155   April   4/11/2014   complete   Hong         Nguyen         NO   Hong         Nguyen         NO   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041155   April   4/11/2014   complete   Hong         Nguyen         NO   Hong         Nguyen         NO   braintree         USD   HGIFT2        0    0   1     0
TVP-14041156   April   4/11/2014   complete   Kunxiang     Qi             US   Kunxiang     Qi             US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041156   April   4/11/2014   complete   Kunxiang     Qi             US   Kunxiang     Qi             US   braintree         USD   HGIFT2        0    0   1     0
TVP-14041157   April   4/11/2014   complete   Pieng        thongkham      FR   Pieng        thongkham      FR   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14041157   April   4/11/2014   complete   Pieng        thongkham      FR   Pieng        thongkham      FR   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14041158   April   4/11/2014   complete   Eric         Thang          FR   Eric         Thang          FR   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041158   April   4/11/2014   complete   Eric         Thang          FR   Eric         Thang          FR   braintree         USD   HGIFT2        0    0   1     0
TVP-14041159   April   4/11/2014   complete   weiz         jiang          US   weiz         jiang          US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14041159   April   4/11/2014   complete   weiz         jiang          US   weiz         jiang          US   braintree         USD   HGIFT2        0    0   1     0
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TVP-14041160   April   4/11/2014   complete   Duck        Jr             US   Duck        Jr             US   paypal_standard   USD   TVPAD-004       259      15   1     244
TVP-14041160   April   4/11/2014   complete   Duck        Jr             US   Duck        Jr             US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14041161   April   4/11/2014   complete   sang kyu    ahn            CL   sang        ahn            CL   paypal_standard   USD   TVPAD-004       259    8.96   1   250.04
TVP-14041161   April   4/11/2014   complete   sang kyu    ahn            CL   sang        ahn            CL   paypal_standard   USD   TVPAD-AC-004   29.99   1.04   1    28.95
TVP-14041161   April   4/11/2014   complete   sang kyu    ahn            CL   sang        ahn            CL   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14041162   April   4/11/2014   complete   Judy        Sung           US   Judy        Sung           US   braintree         USD   TVPAD-004       259      15   1     244
TVP-14041162   April   4/11/2014   complete   Judy        Sung           US   Judy        Sung           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041163   April   4/11/2014   complete   YUEJUN      HUANG          AU   YUEJUN      HUANG          AU   paypal_standard   USD   TVPAD-004       259      15   1     244
TVP-14041163   April   4/11/2014   complete   YUEJUN      HUANG          AU   YUEJUN      HUANG          AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14041164   April   4/11/2014   complete   Marcus      Leong          AU   Marcus      Leong          AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041164   April   4/11/2014   complete   Marcus      Leong          AU   Marcus      Leong          AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14041165   April   4/11/2014   complete   SeungJin    Lee            CR   SeungJin    Lee            CR   paypal_standard   USD   TVPAD-004       250      10   2     490
TVP-14041165   April   4/11/2014   complete   SeungJin    Lee            CR   SeungJin    Lee            CR   paypal_standard   USD   HGIFT2             0      0   2        0
TVP-14041166   April   4/11/2014   complete   Tsang       Kan            NL   Tsang       Kan            NL   paypal_standard   USD   TVPAD-004       259      20   1     239
TVP-14041166   April   4/11/2014   complete   Tsang       Kan            NL   Tsang       Kan            NL   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14041167   April   4/11/2014   complete   Dennis      Tan            NZ   Dennis      Tan            NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041167   April   4/11/2014   complete   Dennis      Tan            NZ   Dennis      Tan            NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-70011180   April   4/12/2014   complete   Wilson      Chin           HK   Wilson      Chin           HK   braintree         USD   TVPAD-004       259      10   1     249
TVP-70011180   April   4/12/2014   complete   Wilson      Chin           HK   Wilson      Chin           HK   braintree         USD   HGIFT2             0      0   1        0
TVP-14041168   April   4/11/2014   complete   Sau         Tsang          GB   Sau         Tsang          GB   paypal_standard   GBP   TVPAD-004       259      10   1     249
TVP-14041168   April   4/11/2014   complete   Sau         Tsang          GB   Sau         Tsang          GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14041169   April   4/11/2014   complete   Jinsu       Do             US   Jinsu       Do             US   braintree         USD   TVPAD-004       250      10   2     490
TVP-14041169   April   4/11/2014   complete   Jinsu       Do             US   Jinsu       Do             US   braintree         USD   HGIFT2             0      0   2        0
TVP-14041170   April   4/12/2014   complete   Michelle    CHEUNG         FR   Michelle    CHEUNG         FR   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14041170   April   4/12/2014   complete   Michelle    CHEUNG         FR   Michelle    CHEUNG         FR   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14041171   April   4/14/2014   complete   Hyun        Hwang          US   Hyun        Hwang          US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041171   April   4/14/2014   complete   Hyun        Hwang          US   Hyun        Hwang          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041173   April   4/14/2014   complete   Vivien      Leng           SG   Vivien      Ng             SG   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041173   April   4/14/2014   complete   Vivien      Leng           SG   Vivien      Ng             SG   braintree         USD   HGIFT2             0      0   1        0
TVP-14041174   April   4/12/2014   complete   Frank       Mo             US   Frank       Mo             US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041174   April   4/12/2014   complete   Frank       Mo             US   Frank       Mo             US   braintree         USD   HGIFT2             0      0   1        0
TVP-70011181   April   4/12/2014   complete   lele        zhang          US   lele        zhang          US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041175   April   4/12/2014   complete   Andy        Chan           US   Andy        Chan           US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041175   April   4/12/2014   complete   Andy        Chan           US   Andy        Chan           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041177   April   4/12/2014   complete   Alex        KOH            GB   Alex        KOH            GB   braintree         GBP   TVPAD-004       259      10   1     249
TVP-14041177   April   4/12/2014   complete   Alex        KOH            GB   Alex        KOH            GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14041178   April   4/14/2014   complete   SUYEN       TEO            US   FEON        TEO            US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041178   April   4/14/2014   complete   SUYEN       TEO            US   FEON        TEO            US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041179   April   4/12/2014   complete   Kevin       Lok            SE   Kevin       Lok            SE   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14041179   April   4/12/2014   complete   Kevin       Lok            SE   Kevin       Lok            SE   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14041180   April   4/12/2014   complete   mihoko      miller         AU   mihoko      miller         AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041180   April   4/12/2014   complete   mihoko      miller         AU   mihoko      miller         AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14041181   April   4/14/2014   complete   JEONG       SEOKJIN        LA   Jeong       bin            LA   braintree         USD   TVPAD-004       250      20   2     480
TVP-14041181   April   4/14/2014   complete   JEONG       SEOKJIN        LA   Jeong       bin            LA   braintree         USD   HGIFT2             0      0   2        0
TVP-14041182   April   4/14/2014   complete   Tony        Leung          GB   Tony        Leung          GB   braintree         GBP   TVPAD-004       259      10   1      249
TVP-14041182   April   4/14/2014   complete   Tony        Leung          GB   Tony        Leung          GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14041183   April   4/14/2014   complete   Julia       Lai            NZ   Julia       Lai            NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041183   April   4/14/2014   complete   Julia       Lai            NZ   Julia       Lai            NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14041184   April   4/14/2014   complete   Ng          Mickey         SG   Ng          Mickey         SG   braintree         USD   TVPAD-AC-004   29.99      0   1    29.99
TVP-14041185   April   4/14/2014   complete   XINWEI      YANG           AU   XINWEI      YANG           AU   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14041185   April   4/14/2014   complete   XINWEI      YANG           AU   XINWEI      YANG           AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14041186   April   4/14/2014   complete   Tsz         kong           GB   Tsz         kong           GB   braintree         GBP   TVPAD-004       259      10   1      249
TVP-14041186   April   4/14/2014   complete   Tsz         kong           GB   Tsz         kong           GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14041188   April   4/14/2014   complete   Kachuen     Lee            GB   Kachuen     Lee            GB   braintree         GBP   TVPAD-004       259      10   1     249
TVP-14041188   April   4/14/2014   complete   Kachuen     Lee            GB   Kachuen     Lee            GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14041189   April   4/14/2014   complete   Pi-Lien     Su             US   Andy        Chang          US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041189   April   4/14/2014   complete   Pi-Lien     Su             US   Andy        Chang          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041190   April   4/14/2014   complete   Delon       Cheng          US   Delon       Cheng          US   paypal_standard   USD   TVPAD-004       250      15   2     485
TVP-14041190   April   4/14/2014   complete   Delon       Cheng          US   Delon       Cheng          US   paypal_standard   USD   HGIFT2             0      0   2        0
TVP-14041192   April   4/14/2014   complete   Phong       Lam            GB   Phong       Lam            GB   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14041192   April   4/14/2014   complete   Phong       Lam            GB   Phong       Lam            GB   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14041193   April   4/14/2014   complete   Yong        Chon           US   Yong        Chon           US   braintree         USD   TVPAD-004       250      10   2      490
TVP-14041193   April   4/14/2014   complete   Yong        Chon           US   Yong        Chon           US   braintree         USD   HGIFT2             0      0   2        0
TVP-14041194   April   4/14/2014   complete   Nam         Joo            US   Nam         Joo            US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041194   April   4/14/2014   complete   Nam         Joo            US   Nam         Joo            US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041195   April   4/14/2014   complete   Lai         Tai            US   Lai         Tai            US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041195   April   4/14/2014   complete   Lai         Tai            US   Lai         Tai            US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041196   April   4/14/2014   complete   Joyce       Tang           US   Joyce       Tang           US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041196   April   4/14/2014   complete   Joyce       Tang           US   Joyce       Tang           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041197   April   4/14/2014   complete   TECK        LEONG          AU   TECK        LEONG          AU   paypal_standard   USD   TVPAD-004       259      15   1     244
TVP-14041197   April   4/14/2014   complete   TECK        LEONG          AU   TECK        LEONG          AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14041198   April   4/14/2014   complete   Tony        Hung           GB   Tony        Hung           GB   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041198   April   4/14/2014   complete   Tony        Hung           GB   Tony        Hung           GB   braintree         USD   HGIFT2             0      0   1        0
TVP-14041199   April   4/14/2014   complete   Linda       Lin            US   Linda       Lin            US   paypal_standard   USD   TVPAD-004       259      10   1      249
TVP-14041199   April   4/14/2014   complete   Linda       Lin            US   Linda       Lin            US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14041200   April   4/14/2014   complete   Anthony     Lai            NZ   Anthony     Lai            NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041200   April   4/14/2014   complete   Anthony     Lai            NZ   Anthony     Lai            NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14041201   April   4/14/2014   complete   Cody        Chau           US   Cody        Chau           US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14041201   April   4/14/2014   complete   Cody        Chau           US   Cody        Chau           US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14041202   April   4/14/2014   complete   KAI         ZHANG          AU   KAI         ZHANG          AU   braintree         AUD   TVPAD-004       259      15   1     244
TVP-14041202   April   4/14/2014   complete   KAI         ZHANG          AU   KAI         ZHANG          AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14041203   April   4/14/2014   complete   Edna        Sun            AU   Edna        Sun            AU   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14041203   April   4/14/2014   complete   Edna        Sun            AU   Edna        Sun            AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14041204   April   4/14/2014   complete   min         wu             US   min         wu             US   braintree         USD   TVPAD-004       259      15   1     244
TVP-14041204   April   4/14/2014   complete   min         wu             US   min         wu             US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041205   April   4/18/2014   complete   Stanley     Lau            US   Heidy       Chow           US   braintree         USD   TVPAD-004       250      10   2      490
TVP-14041205   April   4/18/2014   complete   Stanley     Lau            US   Heidy       Chow           US   braintree         USD   HGIFT2             0      0   2        0
TVP-14041206   April   4/15/2014   complete   lee         hyungsub       KR   ham         soonok         VN   braintree         USD   TVPAD-004       259      10   1      249
TVP-14041206   April   4/15/2014   complete   lee         hyungsub       KR   ham         soonok         VN   braintree         USD   HGIFT2             0      0   1        0
TVP-14041207   April   4/14/2014   complete   Terry       Ng             GB   Terry       Ng             GB   braintree         USD   TVPAD-004       259      10   1      249
TVP-14041207   April   4/14/2014   complete   Terry       Ng             GB   Terry       Ng             GB   braintree         USD   HGIFT2             0      0   1        0
TVP-14041208   April   4/14/2014   complete   Cecilia     Sztoo          AU   Cecilia     Sztoo          AU   braintree         USD   TVPAD-004       259      20   1     239
TVP-14041208   April   4/14/2014   complete   Cecilia     Sztoo          AU   Cecilia     Sztoo          AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14041209   April   4/14/2014   complete   Byun        HyunSeok       ID   Byun        HyunSeok       ID   braintree         USD   TVPAD-004       259      10   1      249
TVP-14041209   April   4/14/2014   complete   Byun        HyunSeok       ID   Byun        HyunSeok       ID   braintree         USD   HGIFT2             0      0   1        0
TVP-14041210   April   4/14/2014   complete   Tran        Quang          SE   Tran        Quang          SE   braintree         USD   TVPAD-004        259     10   1      249
TVP-14041210   April   4/14/2014   complete   Tran        Quang          SE   Tran        Quang          SE   braintree         USD   HGIFT2             0      0   1        0
TVP-14041211   April   4/14/2014   complete   Daphne      Tran           SE   Daphne      Tran           SE   braintree         USD   TVPAD-004       259      10   1      249
TVP-14041211   April   4/14/2014   complete   Daphne      Tran           SE   Daphne      Tran           SE   braintree         USD   HGIFT2             0      0   1        0
TVP-13121465   April   4/18/2014   complete   Seungeun    Yang           KR   Seungeun    Yang           GB   braintree         GBP   TVPAD-004       259      10   1      249
TVP-13121465   April   4/18/2014   complete   Seungeun    Yang           KR   Seungeun    Yang           GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14041213   April   4/15/2014   complete   BE          Chheav         FR   BE          Chheav         FR   braintree         USD   TVPAD-004       259      10   1      249
TVP-14041213   April   4/15/2014   complete   BE          Chheav         FR   BE          Chheav         FR   braintree         USD   HGIFT2             0      0   1        0
TVP-14041214   April   4/15/2014   complete   Trinh       Nham           US   Trinh       Nham           US   braintree         USD   TVPAD-004       250      10   2      490
TVP-14041214   April   4/15/2014   complete   Trinh       Nham           US   Trinh       Nham           US   braintree         USD   HGIFT2             0      0   2        0
TVP-14041215   April   4/15/2014   complete   Tsui,       Hing-ying      US   Chui,       Hing-Cheung    NZ   braintree         USD   TVPAD-004        259     10   1      249
TVP-14041215   April   4/15/2014   complete   Tsui,       Hing-ying      US   Chui,       Hing-Cheung    NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14041216   April   4/15/2014   complete   Renee       Ng             GB   Renee       Ng             GB   braintree         GBP   TVPAD-004       259      10   1      249
TVP-14041216   April   4/15/2014   complete   Renee       Ng             GB   Renee       Ng             GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14041217   April   4/15/2014   complete   zhong       zheng          US   zhong       zheng          US   braintree         USD   TVPAD-AC-004   29.99      0   1    29.99
TVP-14041218   April   4/15/2014   complete   Jimmy       Park           US   Jimmy       Park           US   braintree         USD   TVPAD-004       259      20   1      239
TVP-14041218   April   4/15/2014   complete   Jimmy       Park           US   Jimmy       Park           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041219   April   4/15/2014   complete   wendy       wong           US   wendy       wong           US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14041219   April   4/15/2014   complete   wendy       wong           US   wendy       wong           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041220   April   4/15/2014   complete   Leslie      Ross           AU   Leslie      Ross           AU   braintree         USD   TVPAD-004        259     10   1      249
TVP-14041220   April   4/15/2014   complete   Leslie      Ross           AU   Leslie      Ross           AU   braintree         USD   HGIFT2             0      0   1        0
TVP-70011183   April   4/15/2014   complete   Baozhong    Zhang          US   Baozhong    Zhang          US   braintree         USD   TVPAD-004        259     10   1      249
TVP-70011183   April   4/15/2014   complete   Baozhong    Zhang          US   Baozhong    Zhang          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041221   April   4/15/2014   complete   Wingchuk    Shum           US   Wingchuk    Shum           US   braintree         USD   TVPAD-004        259     10   1      249
TVP-14041221   April   4/15/2014   complete   Wingchuk    Shum           US   Wingchuk    Shum           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041222   April   4/15/2014   complete   Ellen       Suen           NZ   Ellen       Suen           NZ   braintree         USD   TVPAD-004        259     10   1      249
TVP-14041222   April   4/15/2014   complete   Ellen       Suen           NZ   Ellen       Suen           NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14041224   April   4/15/2014   complete   Ang         Khin           MY   Ang         Khin           MY   braintree         USD   TVPAD-004        259     10   1      249
TVP-14041224   April   4/15/2014   complete   Ang         Khin           MY   Ang         Khin           MY   braintree         USD   HGIFT2             0      0   1        0
TVP-14041225   April   4/16/2014   complete   Miyuki      Rhodes         AU   Miyuki      Rhodes         AU   braintree         USD   TVPAD-004       259      10   1      249
TVP-14041225   April   4/16/2014   complete   Miyuki      Rhodes         AU   Miyuki      Rhodes         AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14041226   April   4/16/2014   complete   Fujiang     Zhu            GB   Fujiang     Zhu            GB   braintree         GBP   TVPAD-004        259     10   1      249
TVP-14041226   April   4/16/2014   complete   Fujiang     Zhu            GB   Fujiang     Zhu            GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14041227   April   4/16/2014   complete   Weerayudh   Poochitkanon   TH   Weerayudh   Poochitkanon   TH   braintree         USD   TVPAD-004       259    8.96   1   250.04
TVP-14041227   April   4/16/2014   complete   Weerayudh   Poochitkanon   TH   Weerayudh   Poochitkanon   TH   braintree         USD   TVPAD-AC-004   29.99   1.04   1    28.95
TVP-14041227   April   4/16/2014   complete   Weerayudh   Poochitkanon   TH   Weerayudh   Poochitkanon   TH   braintree         USD   HGIFT2             0      0   1        0
TVP-14041228   April   4/16/2014   complete   Xiaohu      Li             US   Xiaohu      Li             US   braintree         USD   TVPAD-004        259     10   1      249
TVP-14041228   April   4/16/2014   complete   Xiaohu      Li             US   Xiaohu      Li             US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041229   April   4/16/2014   complete   See         Park           PH   Simon       Park           PH   braintree         USD   TVPAD-004        259     10   1      249
TVP-14041229   April   4/16/2014   complete   See         Park           PH   Simon       Park           PH   braintree         USD   HGIFT2             0      0   1        0
TVP-14041231   April   4/16/2014   complete   Jihyun      Shin           AE   Jihyun      Shin           AE   braintree         USD   TVPAD-004        259     10   1      249
TVP-14041231   April   4/16/2014   complete   Jihyun      Shin           AE   Jihyun      Shin           AE   braintree         USD   HGIFT2             0      0   1        0
TVP-14041232   April   4/16/2014   closed     Soonam      Lee            US   Soonam      Lee            US   braintree         USD   TVPAD-004        259     10   1      249
TVP-14041232   April   4/16/2014   closed     Soonam      Lee            US   Soonam      Lee            US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041233   April   4/16/2014   complete   Guihua      Bi             AU   Guihua      Bi             AU   braintree         USD   TVPAD-004        259     20   1      239
TVP-14041233   April   4/16/2014   complete   Guihua      Bi             AU   Guihua      Bi             AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14041234   April   4/16/2014   complete   Byungsuk    Kim            US   Byungsuk    Kim            US   braintree         USD   TVPAD-004        259     10   1      249
TVP-14041234   April   4/16/2014   complete   Byungsuk    Kim            US   Byungsuk    Kim            US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041235   April   4/16/2014   complete   Wending     Zhao           AU   Tim         Zhao           AU   braintree         USD   TVPAD-004        259     10   1      249
TVP-14041235   April   4/16/2014   complete   Wending     Zhao           AU   Tim         Zhao           AU   braintree         USD   HGIFT2             0      0   1        0
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TVP-14041236   April   4/16/2014   complete   xiaobo      gao         US   xiaobo      gao        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041236   April   4/16/2014   complete   xiaobo      gao         US   xiaobo      gao        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041238   April   4/17/2014   complete   Sharon      Xue         AU   Sharon      Xue        AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041238   April   4/17/2014   complete   Sharon      Xue         AU   Sharon      Xue        AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14041239   April   4/18/2014   complete   Christine   Mak         US   Phong       Evans      US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041239   April   4/18/2014   complete   Christine   Mak         US   Phong       Evans      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041240   April   4/18/2014   complete   G           Chen        ZA   Ng,         yee        ZA   braintree         USD   TVPAD-004       259    8.96   1   250.04
TVP-14041240   April   4/18/2014   complete   G           Chen        ZA   Ng,         yee        ZA   braintree         USD   TVPAD-AC-004   29.99   1.04   1    28.95
TVP-14041240   April   4/18/2014   complete   G           Chen        ZA   Ng,         yee        ZA   braintree         USD   HGIFT2             0      0   1        0
TVP-70011182   April   4/13/2014   complete   Vuong       Sylvie      FR   Vuong       Sylvie     FR   braintree         USD   TVPAD-004       259      10   1     249
TVP-70011182   April   4/13/2014   complete   Vuong       Sylvie      FR   Vuong       Sylvie     FR   braintree         USD   HGIFT2             0      0   1        0
TVP-14041241   April   4/17/2014   complete   Joseph      Wang        US   Joseph      Wang       US   paypal_standard   USD   TVPAD-004       250      10   2     490
TVP-14041241   April   4/17/2014   complete   Joseph      Wang        US   Joseph      Wang       US   paypal_standard   USD   HGIFT2             0      0   2        0
TVP-14041242   April   4/17/2014   complete   sungmin     cho         US   sungmin     cho        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041242   April   4/17/2014   complete   sungmin     cho         US   sungmin     cho        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041243   April   4/17/2014   complete   hoyun       lee         US   hoyun       lee        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041243   April   4/17/2014   complete   hoyun       lee         US   hoyun       lee        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041244   April   4/17/2014   complete   LIE         JIANG       US   LIE         JIANG      US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041244   April   4/17/2014   complete   LIE         JIANG       US   LIE         JIANG      US   braintree         USD   HGIFT2             0      0   1        0
TVP-70011185   April   4/17/2014   complete   CECILIA     FONG        VE   CECILIA     FONG       VE   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041245   April   4/17/2014   complete   Myung       Lee         US   Myung       Lee        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041245   April   4/17/2014   complete   Myung       Lee         US   Myung       Lee        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041247   April   4/17/2014   complete   roy         yu          AU   roy         yu         AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041247   April   4/17/2014   complete   roy         yu          AU   roy         yu         AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14041248   April   4/17/2014   complete   Anna        Wong        GB   Anna        Wong       GB   braintree         GBP   TVPAD-004       259      10   1     249
TVP-14041248   April   4/17/2014   complete   Anna        Wong        GB   Anna        Wong       GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14041249   April   4/18/2014   complete   Adam        Tuffley     GB   Adam        Tuffley    GB   braintree         GBP   TVPAD-004       259      10   1     249
TVP-14041249   April   4/18/2014   complete   Adam        Tuffley     GB   Adam        Tuffley    GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14041250   April   4/18/2014   complete   Kevin       Fong        GB   Kevin       Fong       GB   paypal_standard   GBP   TVPAD-004       259      10   1     249
TVP-14041250   April   4/18/2014   complete   Kevin       Fong        GB   Kevin       Fong       GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14041251   April   4/28/2014   complete   hwa         kim         US   Myung       Lee        US   braintree         USD   HGIFT2             0      0   3        0
TVP-14041251   April   4/28/2014   complete   hwa         kim         US   Myung       Lee        US   braintree         USD   TVPAD-004       250      10   3     740
TVP-70011187   April   4/18/2014   complete   Yongle      Liu         US   Yongle      Liu        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-70011187   April   4/18/2014   complete   Yongle      Liu         US   Yongle      Liu        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041253   April   4/18/2014   complete   Mei         Ou          US   Mei         Ou         US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041253   April   4/18/2014   complete   Mei         Ou          US   Mei         Ou         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041254   April   4/18/2014   complete   Sharon      Szeto       US   Sharon      Szeto      US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041254   April   4/18/2014   complete   Sharon      Szeto       US   Sharon      Szeto      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041255   April   4/18/2014   complete   wei         hong        AU   wei         hong       AU   braintree         AUD   TVPAD-004       259      10   1     249
TVP-14041255   April   4/18/2014   complete   wei         hong        AU   wei         hong       AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14041257   April   4/18/2014   complete   James       Liang       NZ   James       Liang      NZ   braintree         AUD   TVPAD-004       259      10   1     249
TVP-14041258   April   4/18/2014   complete   Michael     Yuen        AU   Michael     Yuen       AU   braintree         USD   TVPAD-004       259      20   1     239
TVP-14041258   April   4/18/2014   complete   Michael     Yuen        AU   Michael     Yuen       AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14041259   April   4/18/2014   complete   hisashi     moroishi    SG   hisashi     moroishi   SG   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041259   April   4/18/2014   complete   hisashi     moroishi    SG   hisashi     moroishi   SG   braintree         USD   HGIFT2             0      0   1        0
TVP-14041260   April   4/18/2014   complete   Wing        Liu         NZ   Wing        Liu        NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041260   April   4/18/2014   complete   Wing        Liu         NZ   Wing        Liu        NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14041261   April   4/18/2014   complete   Beom        Shin        AU   Beom        Shin       AU   paypal_standard   AUD   TVPAD-004       250      10   2     490
TVP-14041261   April   4/18/2014   complete   Beom        Shin        AU   Beom        Shin       AU   paypal_standard   AUD   HGIFT2             0      0   2        0
TVP-14041262   April   4/18/2014   complete   Patrick     Liu         US   Patrick     Liu        US   braintree         USD   TVPAD-004       250      10   2     490
TVP-14041262   April   4/18/2014   complete   Patrick     Liu         US   Patrick     Liu        US   braintree         USD   HGIFT2             0      0   2        0
TVP-14041263   April   4/19/2014   complete   JIE         SONG        AU   JIE         SONG       AU   braintree         AUD   TVPAD-004       259      15   1     244
TVP-14041263   April   4/19/2014   complete   JIE         SONG        AU   JIE         SONG       AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14041264   April   4/19/2014   complete   KinYing     SHEK        FR   KinYing     SHEK       FR   braintree         EUR   TVPAD-004       259      10   1     249
TVP-14041264   April   4/19/2014   complete   KinYing     SHEK        FR   KinYing     SHEK       FR   braintree         EUR   HGIFT2             0      0   1        0
TVP-14041267   April   4/19/2014   complete   KU          BON         SG   KU          BON        SG   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041267   April   4/19/2014   complete   KU          BON         SG   KU          BON        SG   braintree         USD   HGIFT2             0      0   1        0
TVP-14041268   April   4/19/2014   complete   Theresa     Kuek        AU   Theresa     Kuek       AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041268   April   4/19/2014   complete   Theresa     Kuek        AU   Theresa     Kuek       AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14041269   April   4/19/2014   complete   Hong        Heesook     SG   Hong        Heesook    SG   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041269   April   4/19/2014   complete   Hong        Heesook     SG   Hong        Heesook    SG   braintree         USD   HGIFT2             0      0   1        0
TVP-14041270   April   4/19/2014   complete   Belinda     Chee        US   Belinda     Chee       US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041270   April   4/19/2014   complete   Belinda     Chee        US   Belinda     Chee       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041271   April   4/21/2014   complete   Yingyu      lin         US   Yingyu      Wu         US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041271   April   4/21/2014   complete   Yingyu      lin         US   Yingyu      Wu         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041272   April   4/21/2014   complete   Judy        Kim         AU   Judy        Kim        AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041272   April   4/21/2014   complete   Judy        Kim         AU   Judy        Kim        AU   braintree         USD   HGIFT2             0      0   1        0
TVP-70011188   April   4/21/2014   complete   joe         zeng        NZ   joe         zeng       NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-70011188   April   4/21/2014   complete   joe         zeng        NZ   joe         zeng       NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14041273   April   4/21/2014   complete   Sian        Chong       AU   Sian        Chong      AU   braintree         USD   TVPAD-004       250      10   2     490
TVP-14041273   April   4/21/2014   complete   Sian        Chong       AU   Sian        Chong      AU   braintree         USD   HGIFT2             0      0   2        0
TVP-14041275   April   4/21/2014   complete   Raymond     Pang        AU   Raymond     Pang       AU   paypal_standard   AUD   TVPAD-004       259      10   1     249
TVP-14041275   April   4/21/2014   complete   Raymond     Pang        AU   Raymond     Pang       AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14041276   April   4/21/2014   complete   WenYi       Lin         NZ   WenYi       Lin        NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041276   April   4/21/2014   complete   WenYi       Lin         NZ   WenYi       Lin        NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14041277   April   4/21/2014   complete   Yvonne      WANG        AU   Yvonne      WANG       AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041277   April   4/21/2014   complete   Yvonne      WANG        AU   Yvonne      WANG       AU   braintree         USD   HGIFT2             0      0   1        0
TVP-70011189   April   4/21/2014   complete   Long        Chen        DK   Long        Chen       DK   braintree         EUR   TVPAD-004       250      10   4     990
TVP-70011189   April   4/21/2014   complete   Long        Chen        DK   Long        Chen       DK   braintree         EUR   HGIFT2             0      0   4        0
TVP-14041278   April   4/21/2014   complete   Moon        Heo         DE   Moon        Heo        DE   paypal_standard   EUR   TVPAD-004       259      10   1     249
TVP-14041278   April   4/21/2014   complete   Moon        Heo         DE   Moon        Heo        DE   paypal_standard   EUR   HGIFT2             0      0   1        0
TVP-14041279   April   4/21/2014   complete   W           TSANG       GB   W           TSANG      GB   braintree         GBP   TVPAD-004       259      10   1     249
TVP-14041279   April   4/21/2014   complete   W           TSANG       GB   W           TSANG      GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14041280   April   4/21/2014   complete   Qing        Taylor      US   Qing        Taylor     US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14041280   April   4/21/2014   complete   Qing        Taylor      US   Qing        Taylor     US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14041281   April   4/21/2014   complete   Kham        Khamma      CH   Kham        Khamma     CH   braintree         USD   TVPAD-004       250      10   2     490
TVP-14041281   April   4/21/2014   complete   Kham        Khamma      CH   Kham        Khamma     CH   braintree         USD   HGIFT2             0      0   2        0
TVP-14041282   April   4/21/2014   complete   Linda       Cheng       US   Linda       Cheng      US   braintree         USD   TVPAD-004       250      10   2     490
TVP-14041282   April   4/21/2014   complete   Linda       Cheng       US   Linda       Cheng      US   braintree         USD   HGIFT2             0      0   2        0
TVP-14041284   April   4/21/2014   complete   FRANK       DAM         US   FRANK       DAM        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041284   April   4/21/2014   complete   FRANK       DAM         US   FRANK       DAM        US   braintree         USD   HGIFT2             0      0   1        0
TVP-70011190   April   4/21/2014   complete   Juan        .zou        AU   Juan        .zou       AU   braintree         USD   TVPAD-004       250      10   3     740
TVP-70011190   April   4/21/2014   complete   Juan        .zou        AU   Juan        .zou       AU   braintree         USD   HGIFT2             0      0   3        0
TVP-14041285   April   4/21/2014   complete   Etsuko      Ogata       NZ   Etsuko      Ogata      NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041285   April   4/21/2014   complete   Etsuko      Ogata       NZ   Etsuko      Ogata      NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14041286   April   4/21/2014   complete   Franz       Chen        US   Franz       Chen       US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041286   April   4/21/2014   complete   Franz       Chen        US   Franz       Chen       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041287   April   4/21/2014   complete   Sonia       Lee         NZ   Sonia       Lee        NZ   braintree         USD   TVPAD-004       250      10   2     490
TVP-14041287   April   4/21/2014   complete   Sonia       Lee         NZ   Sonia       Lee        NZ   braintree         USD   HGIFT2             0      0   2        0
TVP-14041288   April   4/26/2014   complete   LY          CAM THANH   LU   LY          THANH      LU   braintree         EUR   TVPAD-004       259      10   1     249
TVP-14041288   April   4/26/2014   complete   LY          CAM THANH   LU   LY          THANH      LU   braintree         EUR   HGIFT2             0      0   1        0
TVP-70011191   April   4/21/2014   complete   Jason       Chan        GB   Jason       Chan       GB   paypal_standard   GBP   TVPAD-004       250      10   2     490
TVP-70011191   April   4/21/2014   complete   Jason       Chan        GB   Jason       Chan       GB   paypal_standard   GBP   HGIFT2             0      0   2        0
TVP-14041289   April   4/21/2014   complete   Edwin       Betts       AU   Edwin       Betts      AU   paypal_standard   AUD   TVPAD-004       259      10   1     249
TVP-14041289   April   4/21/2014   complete   Edwin       Betts       AU   Edwin       Betts      AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14041290   April   4/21/2014   complete   Hwei        Yong        AU   Hwei        Yong       AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041290   April   4/21/2014   complete   Hwei        Yong        AU   Hwei        Yong       AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14041291   April   4/21/2014   complete   Sang        To          US   Sang        To         US   braintree         USD   TVPAD-004       259      15   1     244
TVP-14041291   April   4/21/2014   complete   Sang        To          US   Sang        To         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041293   April   4/21/2014   complete   GuangHao    Jin         US   GuangHao    Jin        US   braintree         USD   TVPAD-004       250      10   2     490
TVP-14041293   April   4/21/2014   complete   GuangHao    Jin         US   GuangHao    Jin        US   braintree         USD   HGIFT2             0      0   2        0
TVP-14041294   April   4/21/2014   complete   Jiang,      Baitao      US   Jiang,      Baitao     US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041294   April   4/21/2014   complete   Jiang,      Baitao      US   Jiang,      Baitao     US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041292   April   4/21/2014   complete   Ny          Vong        US   Ny          Vong       US   braintree         USD   TVPAD-004       259      15   1     244
TVP-14041292   April   4/21/2014   complete   Ny          Vong        US   Ny          Vong       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041295   April   4/21/2014   complete   Wing        Chan        US   Wing        Chan       US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041295   April   4/21/2014   complete   Wing        Chan        US   Wing        Chan       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041296   April   4/21/2014   complete   Lang        Dam         US   Lang        Dam        US   paypal_standard   USD   TVPAD-004       259      20   1     239
TVP-14041296   April   4/21/2014   complete   Lang        Dam         US   Lang        Dam        US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14041297   April   4/21/2014   closed     Yuting      Yu          US   Yuting      Yu         US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041297   April   4/21/2014   closed     Yuting      Yu          US   Yuting      Yu         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041298   April   4/21/2014   complete   EAR         Maxime      FR   EAR         Maxime     FR   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041298   April   4/21/2014   complete   EAR         Maxime      FR   EAR         Maxime     FR   braintree         USD   HGIFT2             0      0   1        0
TVP-14041300   April   4/21/2014   complete   Peter       Tse         US   Peter       Tse        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041300   April   4/21/2014   complete   Peter       Tse         US   Peter       Tse        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041301   April   4/21/2014   complete   DERIC       CHONG       AU   DERIC       CHONG      AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041301   April   4/21/2014   complete   DERIC       CHONG       AU   DERIC       CHONG      AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14041302   April   4/21/2014   complete   Steven      Han         AU   Steven      Han        AU   braintree         USD   TVPAD-004       259      20   1     239
TVP-14041302   April   4/21/2014   complete   Steven      Han         AU   Steven      Han        AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14041303   April   4/21/2014   complete   Kemeridis   Maria       AU   Kemeridis   Maria      AU   paypal_standard   AUD   TVPAD-004       259      10   1     249
TVP-14041303   April   4/21/2014   complete   Kemeridis   Maria       AU   Kemeridis   Maria      AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14041304   April   4/21/2014   complete   Michael     hsieh       AU   Michael     hsieh      AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041304   April   4/21/2014   complete   Michael     hsieh       AU   Michael     hsieh      AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14041305   April   4/21/2014   complete   Elvin       Boo         SG   Elvin       Boo        SG   braintree         USD   TVPAD-004       250      10   2     490
TVP-14041305   April   4/21/2014   complete   Elvin       Boo         SG   Elvin       Boo        SG   braintree         USD   HGIFT2             0      0   2        0
TVP-14041306   April   4/21/2014   complete   Calvin      Tat         US   Calvin      Tat        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041306   April   4/21/2014   complete   Calvin      Tat         US   Calvin      Tat        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041307   April   4/21/2014   complete   Cecilia     Lam         US   Cecilia     Lam        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041307   April   4/21/2014   complete   Cecilia     Lam         US   Cecilia     Lam        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14041308   April   4/21/2014   complete   Namjun      Kim         SG   Namjun      Kim        SG   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14041308   April   4/21/2014   complete   Namjun      Kim         SG   Namjun      Kim        SG   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14041309   April   4/21/2014   complete   Raymond     Tang        US   Raymond     Tang       US   paypal_standard   USD   TVPAD-004       259      15   1     244
TVP-14041309   April   4/21/2014   complete   Raymond     Tang        US   Raymond     Tang       US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14041310   April   4/21/2014   complete   CHEUNG      LUNG        RE   CHEUNG      LUNG       RE   braintree         USD   TVPAD-004       259      10   1     249
TVP-14041310   April   4/21/2014   complete   CHEUNG      LUNG        RE   CHEUNG      LUNG       RE   braintree         USD   HGIFT2             0      0   1        0
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TVP-14041311   April   4/21/2014   complete   yingyue      liu        NZ   yingyue      liu        NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041311   April   4/21/2014   complete   yingyue      liu        NZ   yingyue      liu        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14041312   April   4/22/2014   complete   Seng-Chye    Lim        AU   Jessica      Vin        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041312   April   4/22/2014   complete   Seng-Chye    Lim        AU   Jessica      Vin        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14041313   April   4/22/2014   complete   Mujun        Su         US   Mujun        Su         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041313   April   4/22/2014   complete   Mujun        Su         US   Mujun        Su         US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011192   April   4/22/2014   complete   ho           Tang       GB   ho           Tang       GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-70011192   April   4/22/2014   complete   ho           Tang       GB   ho           Tang       GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14041314   April   4/22/2014   complete   Mrs          Yu         GB   Haiying      Yu         GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-14041314   April   4/22/2014   complete   Mrs          Yu         GB   Haiying      Yu         GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14041315   April   4/22/2014   complete   Sun Young    Lee        US   Sun          Lee        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041315   April   4/22/2014   complete   Sun Young    Lee        US   Sun          Lee        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041316   April   4/22/2014   complete   Stephen      Streza     US   Stephen      Streza     US   braintree         USD   TVPAD-004       250    10   2    490
TVP-14041316   April   4/22/2014   complete   Stephen      Streza     US   Stephen      Streza     US   braintree         USD   HGIFT2             0    0   2       0
TVP-14041318   April   4/22/2014   complete   Tong         Liu        GB   Tong         Liu        GB   braintree         GBP   TVPAD-004       259    15   1    244
TVP-14041318   April   4/22/2014   complete   Tong         Liu        GB   Tong         Liu        GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14041319   April   4/22/2014   complete   Yao          Loke       DE   Yao          Loke       DE   braintree         EUR   TVPAD-004       259    10   1    249
TVP-14041319   April   4/22/2014   complete   Yao          Loke       DE   Yao          Loke       DE   braintree         EUR   HGIFT2             0    0   1       0
TVP-14041320   April   4/22/2014   complete   David        Chiu       GB   David        Chiu       GB   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041320   April   4/22/2014   complete   David        Chiu       GB   David        Chiu       GB   braintree         USD   HGIFT2             0    0   1       0
TVP-70011193   April   4/22/2014   complete   Joe          Chang      US   Joe          Chang      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011193   April   4/22/2014   complete   Joe          Chang      US   Joe          Chang      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041321   April   4/22/2014   complete   Yolanda      Ung        AU   Yolanda      Ung        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041321   April   4/22/2014   complete   Yolanda      Ung        AU   Yolanda      Ung        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14041323   April   4/22/2014   complete   Qingqing     Zhang      AU   Qingqing     Zhang      AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14041323   April   4/22/2014   complete   Qingqing     Zhang      AU   Qingqing     Zhang      AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-70011194   April   4/22/2014   complete   Tam,wing     hung       US   Tam,wing     hung       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011194   April   4/22/2014   complete   Tam,wing     hung       US   Tam,wing     hung       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041324   April   4/22/2014   complete   Myung        Lee        US   Myung        Lee        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041324   April   4/22/2014   complete   Myung        Lee        US   Myung        Lee        US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011195   April   4/22/2014   complete   Xiangzhong   Wang       AU   Xiangzhong   Wang       AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011195   April   4/22/2014   complete   Xiangzhong   Wang       AU   Xiangzhong   Wang       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14041325   April   4/22/2014   complete   Kenny        Tan        SG   Kenny        Tan        SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041325   April   4/22/2014   complete   Kenny        Tan        SG   Kenny        Tan        SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14041326   April   4/22/2014   complete   JAKE         LEE        AU   JAKE         LEE        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041326   April   4/22/2014   complete   JAKE         LEE        AU   JAKE         LEE        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14041327   April   4/23/2014   complete   Nickolas     T          AU   Nickolas     T          AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14041327   April   4/23/2014   complete   Nickolas     T          AU   Nickolas     T          AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14041328   April   4/23/2014   complete   Hoi-Thien    Man        NL   Hoi-Thien    Man        NL   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14041328   April   4/23/2014   complete   Hoi-Thien    Man        NL   Hoi-Thien    Man        NL   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041329   April   4/23/2014   complete   Alice        Kwok       US   Alice        Kwok       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041329   April   4/23/2014   complete   Alice        Kwok       US   Alice        Kwok       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041330   April   4/23/2014   complete   Khaity       LY         CH   Khaity       LY         CH   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041330   April   4/23/2014   complete   Khaity       LY         CH   Khaity       LY         CH   braintree         USD   HGIFT2             0    0   1       0
TVP-14041331   April   4/23/2014   complete   you          hwang      US   sungmin      cho        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041331   April   4/23/2014   complete   you          hwang      US   sungmin      cho        US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011196   April   4/23/2014   complete   WEIZHONG     FAN        CA   WEIZHONG     FAN        CA   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011196   April   4/23/2014   complete   WEIZHONG     FAN        CA   WEIZHONG     FAN        CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14041332   April   4/23/2014   complete   lee          chong      GB   sharon       chong      GB   braintree         GBP   TVPAD-004       259    20   1    239
TVP-14041332   April   4/23/2014   complete   lee          chong      GB   sharon       chong      GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14041333   April   4/23/2014   complete   Christine    Wan        US   Christine    Wan        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14041333   April   4/23/2014   complete   Christine    Wan        US   Christine    Wan        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041334   April   4/23/2014   closed     YenChang     Chiu       US   YenChang     Chiu       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041334   April   4/23/2014   closed     YenChang     Chiu       US   YenChang     Chiu       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041337   April   4/23/2014   complete   Kenny        Ahn        AU   Kenny        Ahn        AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14041337   April   4/23/2014   complete   Kenny        Ahn        AU   Kenny        Ahn        AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041338   April   4/23/2014   complete   SHAOEN       YE         US   SHAOEN       YE         US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14041338   April   4/23/2014   complete   SHAOEN       YE         US   SHAOEN       YE         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041339   April   4/23/2014   complete   Qilin        Zhong      AU   Qilin        Zhong      AU   braintree         AUD   TVPAD-004       259    15   1    244
TVP-14041339   April   4/23/2014   complete   Qilin        Zhong      AU   Qilin        Zhong      AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14041340   April   4/23/2014   complete   Ryan         Jang       NZ   Ryan         Jang       NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041340   April   4/23/2014   complete   Ryan         Jang       NZ   Ryan         Jang       NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14041341   April   4/24/2014   complete   Lily         Chen       AU   Lily         Chen       AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14041341   April   4/24/2014   complete   Lily         Chen       AU   Lily         Chen       AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041343   April   4/24/2014   complete   Yee          Ling       US   Andy         Law        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14041343   April   4/24/2014   complete   Yee          Ling       US   Andy         Law        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14041344   April   4/24/2014   complete   Raymond      Wang       US   Raymond      Wang       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041344   April   4/24/2014   complete   Raymond      Wang       US   Raymond      Wang       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041345   April   4/24/2014   complete   ROY          CHAN       GB   ROY          CHAN       GB   braintree         GBP   TVPAD-004       259    20   1    239
TVP-14041345   April   4/24/2014   complete   ROY          CHAN       GB   ROY          CHAN       GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14041347   April   4/25/2014   complete   Christina    Chen       US   Kate         Lee        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041347   April   4/25/2014   complete   Christina    Chen       US   Kate         Lee        US   braintree         USD   TVPAD-004          0    0   1       0
TVP-70011197   April   4/24/2014   complete   QIFENG       LUO        AU   QIFENG       LUO        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011197   April   4/24/2014   complete   QIFENG       LUO        AU   QIFENG       LUO        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14041348   April   4/24/2014   complete   Bei          Du         NZ   Bei          Du         NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041348   April   4/24/2014   complete   Bei          Du         NZ   Bei          Du         NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14041349   April   4/24/2014   complete   YELU         XIE        AU   YELU         XIE        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041349   April   4/24/2014   complete   YELU         XIE        AU   YELU         XIE        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14041350   April   4/25/2014   complete   Wagner       Law        GB   Wagner       Law        GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14041350   April   4/25/2014   complete   Wagner       Law        GB   Wagner       Law        GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14041351   April   4/25/2014   complete   David        Tam        GB   David        Tam        GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14041351   April   4/25/2014   complete   David        Tam        GB   David        Tam        GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-70011198   April   4/25/2014   complete   美雅           廖          TW   美雅           廖          TW   braintree         USD   TVPAD-004       250    10   4    990
TVP-70011198   April   4/25/2014   complete   美雅           廖          TW   美雅           廖          TW   braintree         USD   HGIFT2             0    0   4       0
TVP-14041352   April   4/25/2014   complete   Long         Zhang      DK   Long         Zhang      DK   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041352   April   4/25/2014   complete   Long         Zhang      DK   Long         Zhang      DK   braintree         USD   HGIFT2             0    0   1       0
TVP-70011199   April   4/25/2014   complete   T            GUO        NL   T            GUO        NL   braintree         EUR   TVPAD-004       259    10   1    249
TVP-70011199   April   4/25/2014   complete   T            GUO        NL   T            GUO        NL   braintree         EUR   HGIFT2             0    0   1       0
TVP-14041353   April   4/25/2014   complete   Bao          Lei        US   Bao          Lei        US   braintree         USD   TVPAD-004       250    10   2    490
TVP-14041353   April   4/25/2014   complete   Bao          Lei        US   Bao          Lei        US   braintree         USD   HGIFT2             0    0   2       0
TVP-14041354   April   4/25/2014   complete   Cheng,       Shirley    US   Cheng,       Shirley    US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14041354   April   4/25/2014   complete   Cheng,       Shirley    US   Cheng,       Shirley    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041355   April   4/25/2014   complete   Gillian      Tan        MY   Gillian      Tan        MY   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041355   April   4/25/2014   complete   Gillian      Tan        MY   Gillian      Tan        MY   braintree         USD   HGIFT2             0    0   1       0
TVP-14041356   April   4/25/2014   complete   Chi          Cheung     US   Chi          Cheung     US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041356   April   4/25/2014   complete   Chi          Cheung     US   Chi          Cheung     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041357   April   4/25/2014   complete   Andrew       Hill       AU   Andrew       Hill       AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14041357   April   4/25/2014   complete   Andrew       Hill       AU   Andrew       Hill       AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14041358   April   4/25/2014   complete   KAI          GUO        AU   KAI          GUO        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041358   April   4/25/2014   complete   KAI          GUO        AU   KAI          GUO        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14041359   April   4/25/2014   complete   Eric         Chau       AU   Eric         Chau       AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041359   April   4/25/2014   complete   Eric         Chau       AU   Eric         Chau       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14041360   April   4/26/2014   complete   Wei          Chan       GB   Wei          Chan       GB   braintree         GBP   TVPAD-004       259    15   1    244
TVP-14041360   April   4/26/2014   complete   Wei          Chan       GB   Wei          Chan       GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14041361   April   4/25/2014   complete   Likwon       Kim        US   Likwon       Kim        US   braintree         USD   TVPAD-AC-003   29.99    0   1   29.99
TVP-14041362   April   4/26/2014   complete   Brenda       Wong       US   Brenda       Wong       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041362   April   4/26/2014   complete   Brenda       Wong       US   Brenda       Wong       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041363   April   4/26/2014   complete   Kai          Cui        NZ   Kai          Cui        NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041363   April   4/26/2014   complete   Kai          Cui        NZ   Kai          Cui        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14041364   April   4/26/2014   complete   VIVIEN       YUNG       CA   VIVIEN       YUNG       CA   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041364   April   4/26/2014   complete   VIVIEN       YUNG       CA   VIVIEN       YUNG       CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14041365   April   4/29/2014   complete   ZHen         YaoHan     GB   ZHen         YaoHan     GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-14041365   April   4/29/2014   complete   ZHen         YaoHan     GB   ZHen         YaoHan     GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14041366   April   4/26/2014   complete   Jen          Cheng      US   Jen          Cheng      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041366   April   4/26/2014   complete   Jen          Cheng      US   Jen          Cheng      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041367   April   4/26/2014   complete   Brian        Kim        US   Brian        Kim        US   paypal_standard   USD   TVPAD-004       250    10   2    490
TVP-14041367   April   4/26/2014   complete   Brian        Kim        US   Brian        Kim        US   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14041368   April   4/26/2014   complete   GuangHao     Jin        US   GuangHao     Jin        US   braintree         USD   TVPAD-004       250    10   3    740
TVP-14041368   April   4/26/2014   complete   GuangHao     Jin        US   GuangHao     Jin        US   braintree         USD   HGIFT2             0    0   3       0
TVP-14041369   April   4/26/2014   complete   TEH          HOW        MY   TEH          HOW        MY   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041369   April   4/26/2014   complete   TEH          HOW        MY   TEH          HOW        MY   braintree         USD   HGIFT2             0    0   1       0
TVP-14041370   April   4/28/2014   complete   Kuan         Foong      MY   Kuan         Foong      MY   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041370   April   4/28/2014   complete   Kuan         Foong      MY   Kuan         Foong      MY   braintree         USD   HGIFT2             0    0   1       0
TVP-14041371   April   4/28/2014   complete   Jeanne       Wu         AU   Jeanne       Wu         AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14041371   April   4/28/2014   complete   Jeanne       Wu         AU   Jeanne       Wu         AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-70011200   April   4/28/2014   complete   Jiamin       Wang       DK   Jiamin       Wang       DK   braintree         USD   TVPAD-004       250    10   4    990
TVP-70011200   April   4/28/2014   complete   Jiamin       Wang       DK   Jiamin       Wang       DK   braintree         USD   HGIFT2             0    0   4       0
TVP-70011201   April   4/28/2014   complete   Ting Wing    Chan       MY   Ting         Chan       MY   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011201   April   4/28/2014   complete   Ting Wing    Chan       MY   Ting         Chan       MY   braintree         USD   HGIFT2             0    0   1       0
TVP-14041373   April   4/28/2014   complete   Kozue        Kitamura   AU   Kozue        Kitamura   AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14041373   April   4/28/2014   complete   Kozue        Kitamura   AU   Kozue        Kitamura   AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14041374   April   4/28/2014   complete   Kafung       Chan       NL   Kafung       Chan       NL   braintree         EUR   TVPAD-004       250    10   2    490
TVP-14041374   April   4/28/2014   complete   Kafung       Chan       NL   Kafung       Chan       NL   braintree         EUR   HGIFT2             0    0   2       0
TVP-14041375   April   4/28/2014   complete   lawrence     kwan       US   lawrence     kwan       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041375   April   4/28/2014   complete   lawrence     kwan       US   lawrence     kwan       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041376   April   4/28/2014   complete   Steven       Ellis      US   Steven       Ellis      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041376   April   4/28/2014   complete   Steven       Ellis      US   Steven       Ellis      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041377   April   4/28/2014   complete   LiHui        Yang       US   LiHui        Yang       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14041377   April   4/28/2014   complete   LiHui        Yang       US   LiHui        Yang       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14041378   April   4/28/2014   complete   Eric         Lee        CA   Eric         Lee        CA   braintree         USD   TVPAD-004       259    15   1    244
TVP-14041378   April   4/28/2014   complete   Eric         Lee        CA   Eric         Lee        CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14041379   April   4/28/2014   complete   Eric         Li-Koo     GB   Eric         Li-Koo     GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-14041379   April   4/28/2014   complete   Eric         Li-Koo     GB   Eric         Li-Koo     GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14041380   April   4/28/2014   complete   Ka           Lee        AU   Ka           Lee        AU   braintree         USD   TVPAD-004       259    15   1    244
TVP-14041380   April   4/28/2014   complete   Ka           Lee        AU   Ka           Lee        AU   braintree         USD   HGIFT2             0    0   1       0
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TVP-14041384   April   4/30/2014   complete   Chia          Kuo         EC   Chia Chin   Lin Kuo     EC   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041384   April   4/30/2014   complete   Chia          Kuo         EC   Chia Chin   Lin Kuo     EC   braintree         USD   HGIFT2             0       0   1        0
TVP-14041386   April   4/28/2014   complete   Hanry         Ho          US   Hanry       Ho          US   braintree         USD   TVPAD-004       250       10   2     490
TVP-14041386   April   4/28/2014   complete   Hanry         Ho          US   Hanry       Ho          US   braintree         USD   HGIFT2             0       0   2        0
TVP-14041387   April   4/28/2014   complete   Austin        Kha         AU   Austin      Kha         AU   braintree         AUD   TVPAD-004       259       10   1     249
TVP-14041387   April   4/28/2014   complete   Austin        Kha         AU   Austin      Kha         AU   braintree         AUD   HGIFT2             0       0   1        0
TVP-14041388   April   4/28/2014   complete   SAM           SEE         AU   SAM         SEE         AU   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14041388   April   4/28/2014   complete   SAM           SEE         AU   SAM         SEE         AU   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14041390   April   4/28/2014   complete   Daniel        Kim         CA   Daniel      Kim         CA   braintree         USD   TVPAD-004       259       15   1     244
TVP-14041390   April   4/28/2014   complete   Daniel        Kim         CA   Daniel      Kim         CA   braintree         USD   HGIFT2             0       0   1        0
TVP-14041391   April   4/29/2014   complete   Keen          wong        IE   Mae         chin        IE   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041391   April   4/29/2014   complete   Keen          wong        IE   Mae         chin        IE   braintree         USD   HGIFT2             0       0   1        0
TVP-14041393   April   4/28/2014   complete   charles       kwon        NZ   charles     kwon        NZ   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041393   April   4/28/2014   complete   charles       kwon        NZ   charles     kwon        NZ   braintree         USD   HGIFT2             0       0   1        0
TVP-14041394   April   4/30/2014   complete   Kwanyu        Wong        GB   Kwanyu      Wong        GB   braintree         GBP   TVPAD-004       259       10   1     249
TVP-14041394   April   4/30/2014   complete   Kwanyu        Wong        GB   Kwanyu      Wong        GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14041395   April   4/28/2014   complete   Kim,          BumJoon     DE   Kang,       Jin         DE   braintree         EUR   TVPAD-004       259       10   1     249
TVP-14041395   April   4/28/2014   complete   Kim,          BumJoon     DE   Kang,       Jin         DE   braintree         EUR   HGIFT2             0       0   1        0
TVP-14041396   April   4/28/2014   complete   Sung          Jung        NZ   Sung        Jung        NZ   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041396   April   4/28/2014   complete   Sung          Jung        NZ   Sung        Jung        NZ   braintree         USD   HGIFT2             0       0   1        0
TVP-14041397   April   4/28/2014   complete   Matthew       Chan        AU   Matthew     Chan        AU   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14041397   April   4/28/2014   complete   Matthew       Chan        AU   Matthew     Chan        AU   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14041398   April   4/28/2014   complete   SP            CHIEW       AU   SP          CHIEW       AU   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14041398   April   4/28/2014   complete   SP            CHIEW       AU   SP          CHIEW       AU   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14041399   April   4/29/2014   complete   Kenny         Wong        CA   Kenny       Wong        CA   braintree         USD   TVPAD-004       259       20   1     239
TVP-14041399   April   4/29/2014   complete   Kenny         Wong        CA   Kenny       Wong        CA   braintree         USD   HGIFT2             0       0   1        0
TVP-14041400   April   4/29/2014   complete   Lau           yuen        GB   Lau         yuen        GB   braintree         GBP   TVPAD-004       259       10   1     249
TVP-14041400   April   4/29/2014   complete   Lau           yuen        GB   Lau         yuen        GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14041401   April   4/29/2014   complete   Kimberly      Berry       US   Kimberly    Berry       US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041401   April   4/29/2014   complete   Kimberly      Berry       US   Kimberly    Berry       US   braintree         USD   HGIFT2             0       0   1        0
TVP-14041402   April   4/29/2014   complete   Jonny         Liu         GB   Jonny       Liu         GB   braintree         GBP   TVPAD-004       259       10   1     249
TVP-14041402   April   4/29/2014   complete   Jonny         Liu         GB   Jonny       Liu         GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14041403   April   4/29/2014   complete   Ban           Mac         GB   Ban         Mac         GB   braintree         GBP   TVPAD-004       250       10   2     490
TVP-14041403   April   4/29/2014   complete   Ban           Mac         GB   Ban         Mac         GB   braintree         GBP   HGIFT2             0       0   2        0
TVP-14041404   April   4/29/2014   complete   Khai          Luu         GB   Khai        Luu         GB   braintree         USD   TVPAD-004       259       20   1     239
TVP-14041404   April   4/29/2014   complete   Khai          Luu         GB   Khai        Luu         GB   braintree         USD   HGIFT2             0       0   1        0
TVP-14041405   April   4/29/2014   complete   Tsun          Cheng       US   Tsun        Cheng       US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041405   April   4/29/2014   complete   Tsun          Cheng       US   Tsun        Cheng       US   braintree         USD   HGIFT2             0       0   1        0
TVP-14041406   April   4/29/2014   complete   Chi-Kang      Huang       US   Chi-Kang    Huang       US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041406   April   4/29/2014   complete   Chi-Kang      Huang       US   Chi-Kang    Huang       US   braintree         USD   HGIFT2             0       0   1        0
TVP-14041408   April   4/29/2014   complete   Tsz           Yiu         US   Tsz         Yiu         US   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14041408   April   4/29/2014   complete   Tsz           Yiu         US   Tsz         Yiu         US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14041407   April   4/29/2014   complete   Mark          Malloy      US   Mark        Malloy      US   braintree         USD   TVPAD-004       250       10   2     490
TVP-14041407   April   4/29/2014   complete   Mark          Malloy      US   Mark        Malloy      US   braintree         USD   HGIFT2             0       0   2        0
TVP-14041409   April   4/29/2014   complete   Charles       Ung         CA   Charles     Ung         CA   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14041409   April   4/29/2014   complete   Charles       Ung         CA   Charles     Ung         CA   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14041410   April   4/29/2014   complete   Michael       Jenkins     AU   Michael     Jenkins     AU   braintree         AUD   TVPAD-004       259       10   1     249
TVP-14041410   April   4/29/2014   complete   Michael       Jenkins     AU   Michael     Jenkins     AU   braintree         AUD   HGIFT2             0       0   1        0
TVP-14041411   April   4/30/2014   complete   Ying          Chen        AU   Ying        Chen        AU   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041411   April   4/30/2014   complete   Ying          Chen        AU   Ying        Chen        AU   braintree         USD   HGIFT2             0       0   1        0
TVP-14041412   April   4/30/2014   complete   Huiying       Wu          CA   Huiying     Wu          CA   braintree         CAD   TVPAD-004       259       10   1     249
TVP-14041412   April   4/30/2014   complete   Huiying       Wu          CA   Huiying     Wu          CA   braintree         CAD   HGIFT2             0       0   1        0
TVP-14041413   April   4/30/2014   complete   Trinh         Nham        US   Trinh       Nham        US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041413   April   4/30/2014   complete   Trinh         Nham        US   Trinh       Nham        US   braintree         USD   HGIFT2             0       0   1        0
TVP-14041414   April   4/30/2014   complete   Kong          Wu          GB   Kong        Wu          GB   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041414   April   4/30/2014   complete   Kong          Wu          GB   Kong        Wu          GB   braintree         USD   HGIFT2             0       0   1        0
TVP-14041415   April   4/30/2014   complete   William       Moon        US   William     Moon        US   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14041415   April   4/30/2014   complete   William       Moon        US   William     Moon        US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14041416   April   4/30/2014   complete   Teng          An          NZ   Teng        An          NZ   braintree         USD   TVPAD-004       250       10   2     490
TVP-14041416   April   4/30/2014   complete   Teng          An          NZ   Teng        An          NZ   braintree         USD   HGIFT2             0       0   2        0
TVP-14041417   April   4/30/2014   complete   Shuting       Liu         AU   Shuting     Liu         AU   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14041417   April   4/30/2014   complete   Shuting       Liu         AU   Shuting     Liu         AU   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14041418   April   4/30/2014   complete   Iu            Chu         US   Iu          Chu         US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041418   April   4/30/2014   complete   Iu            Chu         US   Iu          Chu         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14041419   April    5/1/2014   complete   Ping          Lee         NL   Ping        Lee         NL   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041419   April    5/1/2014   complete   Ping          Lee         NL   Ping        Lee         NL   braintree         USD   HGIFT2             0       0   1        0
TVP-14041420   April    5/6/2014   complete   Guan seng     Ho          AE   Guanseng    Ho          AE   braintree         USD   TVPAD-004       250       10   2     490
TVP-14041420   April    5/6/2014   complete   Guan seng     Ho          AE   Guanseng    Ho          AE   braintree         USD   HGIFT2             0       0   2        0
TVP-14041421   April    5/1/2014   complete   Ho            Cheung      NL   Ho          Cheung      NL   braintree         EUR   TVPAD-004       259       10   1     249
TVP-14041421   April    5/1/2014   complete   Ho            Cheung      NL   Ho          Cheung      NL   braintree         EUR   HGIFT2             0       0   1        0
TVP-14041422   April    5/1/2014   complete   Min-ku        Chung       DE   Min-ku      Chung       DE   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041422   April    5/1/2014   complete   Min-ku        Chung       DE   Min-ku      Chung       DE   braintree         USD   HGIFT2             0       0   1        0
TVP-14041423   April    5/1/2014   complete   Walter        Kling       NL   Walter      Kling       NL   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041423   April    5/1/2014   complete   Walter        Kling       NL   Walter      Kling       NL   braintree         USD   HGIFT2             0       0   1        0
TVP-14041424   April    5/1/2014   complete   Hao           Chen        AU   Hao         Chen        AU   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041424   April    5/1/2014   complete   Hao           Chen        AU   Hao         Chen        AU   braintree         USD   HGIFT2             0       0   1        0
TVP-14041425   April    5/1/2014   complete   Keik Hau      Paw         MY   KeikHau     Paw         MY   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14041425   April    5/1/2014   complete   Keik Hau      Paw         MY   KeikHau     Paw         MY   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-70011202   April    5/1/2014   complete   Yongshi       Jian        US   Yongshi     Jian        US   braintree         USD   TVPAD-004       259       10   1     249
TVP-70011202   April    5/1/2014   complete   Yongshi       Jian        US   Yongshi     Jian        US   braintree         USD   HGIFT2             0       0   1        0
TVP-14041426   April    5/1/2014   complete   sungmin       cho         US   sungmin     cho         US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041426   April    5/1/2014   complete   sungmin       cho         US   sungmin     cho         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14041427   April    5/1/2014   complete   Shirley       Hang        US   Shirley     Hang        US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041427   April    5/1/2014   complete   Shirley       Hang        US   Shirley     Hang        US   braintree         USD   HGIFT2             0       0   1        0
TVP-14041428   April    5/1/2014   complete   Seung         Won         US   Seung       Won         US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041428   April    5/1/2014   complete   Seung         Won         US   Seung       Won         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14041429   April    5/1/2014   complete   GUANHAO       ZHONG       AU   GUANHAO     ZHONG       AU   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041429   April    5/1/2014   complete   GUANHAO       ZHONG       AU   GUANHAO     ZHONG       AU   braintree         USD   HGIFT2             0       0   1        0
TVP-14041430   April    5/1/2014   complete   Phu           Lieu        AT   To-Ha       Duong       AT   paypal_standard   EUR   TVPAD-004       259       10   1     249
TVP-14041430   April    5/1/2014   complete   Phu           Lieu        AT   To-Ha       Duong       AT   paypal_standard   EUR   HGIFT2             0       0   1        0
TVP-14041431   May      5/1/2014   complete   Lee           HyangRyul   SG   Lee         HyangRyul   SG   braintree         USD   TVPAD-004       259       10   1     249
TVP-14041431   May      5/1/2014   complete   Lee           HyangRyul   SG   Lee         HyangRyul   SG   braintree         USD   HGIFT2             0       0   1        0
TVP-14051010   May      5/1/2014   complete   Fiona         vien        GB   Fiona       vien        GB   paypal_standard   GBP   TVPAD-004       259       10   1     249
TVP-14051010   May      5/1/2014   complete   Fiona         vien        GB   Fiona       vien        GB   paypal_standard   GBP   HGIFT2             0       0   1        0
TVP-14051011   May      5/1/2014   complete   Joanne        Huang       AU   Joanne      Huang       AU   braintree         USD   TVPAD-004       259       10   1     249
TVP-14051011   May      5/1/2014   complete   Joanne        Huang       AU   Joanne      Huang       AU   braintree         USD   HGIFT2             0       0   1        0
TVP-14051012   May      5/1/2014   complete   Johan         CHAN        FR   Johan       CHAN        FR   braintree         USD   TVPAD-AC-004   29.99    1.56   1    28.43
TVP-14051012   May      5/1/2014   complete   Johan         CHAN        FR   Johan       CHAN        FR   braintree         USD   TVPAD-004       259    13.44   1   245.56
TVP-14051012   May      5/1/2014   complete   Johan         CHAN        FR   Johan       CHAN        FR   braintree         USD   HGIFT2             0       0   1        0
TVP-14051013   May      5/2/2014   complete   bjørrn        hansen      NO   bjørrn      hansen      NO   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14051013   May      5/2/2014   complete   bjørrn        hansen      NO   bjørrn      hansen      NO   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14051014   May      5/2/2014   complete   Sterling      Ha          US   Sterling    Ha          US   braintree         USD   TVPAD-004       250       10   2     490
TVP-14051014   May      5/2/2014   complete   Sterling      Ha          US   Sterling    Ha          US   braintree         USD   HGIFT2             0       0   2        0
TVP-14051015   May      5/2/2014   complete   WAH           NG          GB   William     NG          GB   braintree         GBP   TVPAD-004       259       10   1     249
TVP-14051015   May      5/2/2014   complete   WAH           NG          GB   William     NG          GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14051016   May      5/2/2014   complete   Christopher   Burns       GB   Sau         Tang        GB   braintree         GBP   TVPAD-004       259       15   1     244
TVP-14051016   May      5/2/2014   complete   Christopher   Burns       GB   Sau         Tang        GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14051017   May      5/2/2014   complete   Jina          Ryu         AU   Jina        Ryu         AU   braintree         USD   TVPAD-004       259       10   1     249
TVP-14051018   May      5/2/2014   complete   Jie           Liu         US   Jie         Liu         US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14051018   May      5/2/2014   complete   Jie           Liu         US   Jie         Liu         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14051019   May      5/2/2014   complete   Mei           Lam         US   Mei         Lam         US   braintree         USD   TVPAD-004       259       15   1     244
TVP-14051019   May      5/2/2014   complete   Mei           Lam         US   Mei         Lam         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14051020   May      5/2/2014   closed     FRED          ALICE       US   FRED        ALICE       US   paypal_standard   USD   TVPAD-004       250       10   2     490
TVP-14051020   May      5/2/2014   closed     FRED          ALICE       US   FRED        ALICE       US   paypal_standard   USD   HGIFT2             0       0   2        0
TVP-14051021   May      5/2/2014   complete   SeungJin      Lee         CR   SeungJin    Lee         CR   paypal_standard   USD   TVPAD-004       250       10   2     490
TVP-14051021   May      5/2/2014   complete   SeungJin      Lee         CR   SeungJin    Lee         CR   paypal_standard   USD   HGIFT2             0       0   2        0
TVP-14051022   May      5/2/2014   complete   Jason         Kim         HK   Jason       Kim         HK   braintree         USD   TVPAD-004       259       10   1     249
TVP-14051022   May      5/2/2014   complete   Jason         Kim         HK   Jason       Kim         HK   braintree         USD   HGIFT2             0       0   1        0
TVP-14051023   May      5/2/2014   complete   Jialin        Ma          US   Jialin      Ma          US   braintree         USD   TVPAD-004       259       15   1     244
TVP-14051023   May      5/2/2014   complete   Jialin        Ma          US   Jialin      Ma          US   braintree         USD   HGIFT2             0       0   1        0
TVP-14051024   May      5/2/2014   complete   Eduardo       Yu          BR   Eduardo     Yu          BR   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14051024   May      5/2/2014   complete   Eduardo       Yu          BR   Eduardo     Yu          BR   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14051025   May      5/2/2014   complete   Helen         Gao         US   Helen       Gao         US   braintree         USD   TVPAD-004       250       10   2     490
TVP-14051025   May      5/2/2014   complete   Helen         Gao         US   Helen       Gao         US   braintree         USD   HGIFT2             0       0   2        0
TVP-14051026   May      5/2/2014   complete   Jason         mak         US   Jason       mak         US   braintree         USD   TVPAD-004       250       10   2     490
TVP-14051026   May      5/2/2014   complete   Jason         mak         US   Jason       mak         US   braintree         USD   HGIFT2             0       0   2        0
TVP-14051027   May      5/2/2014   complete   Ivan          Law         AU   Ivan        Law         AU   paypal_standard   AUD   TVPAD-004       259       10   1     249
TVP-14051027   May      5/2/2014   complete   Ivan          Law         AU   Ivan        Law         AU   paypal_standard   AUD   HGIFT2             0       0   1        0
TVP-14051028   May      5/2/2014   complete   Jun           Jiyoon      SG   Jun         Jiyoon      SG   braintree         USD   TVPAD-004       259       10   1     249
TVP-14051028   May      5/2/2014   complete   Jun           Jiyoon      SG   Jun         Jiyoon      SG   braintree         USD   HGIFT2             0       0   1        0
TVP-14051029   May      5/3/2014   complete   Gillian       Tan         MY   Gillian     Tan         MY   braintree         USD   TVPAD-004       259       10   1     249
TVP-14051029   May      5/3/2014   complete   Gillian       Tan         MY   Gillian     Tan         MY   braintree         USD   HGIFT2             0       0   1        0
TVP-14051030   May      5/3/2014   complete   Siou          BOUNNOY     FR   Siou        BOUNNOY     FR   paypal_standard   EUR   TVPAD-004       259       10   1     249
TVP-14051030   May      5/3/2014   complete   Siou          BOUNNOY     FR   Siou        BOUNNOY     FR   paypal_standard   EUR   HGIFT2             0       0   1        0
TVP-14051031   May      5/3/2014   complete   David         Li          GB   David       Li          GB   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14051031   May      5/3/2014   complete   David         Li          GB   David       Li          GB   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14051032   May      5/3/2014   complete   Ka            Leung       US   Ka          Leung       US   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14051032   May      5/3/2014   complete   Ka            Leung       US   Ka          Leung       US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14051034   May      5/5/2014   complete   William       Tang        AU   William     Tang        AU   braintree         AUD   TVPAD-004       259       10   1     249
TVP-14051034   May      5/5/2014   complete   William       Tang        AU   William     Tang        AU   braintree         AUD   HGIFT2             0       0   1        0
TVP-14051035   May      5/6/2014   complete   Ahn           Young       SG   Ahn         Young       SG   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14051035   May      5/6/2014   complete   Ahn           Young       SG   Ahn         Young       SG   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14051036   May      5/5/2014   complete   Bryan         Chung       CA   Bryan       Chung       CA   braintree         USD   TVPAD-004       259       10   1     249
TVP-14051036   May      5/5/2014   complete   Bryan         Chung       CA   Bryan       Chung       CA   braintree         USD   HGIFT2             0       0   1        0
TVP-14051037   May      5/5/2014   complete   Vinh-Phuc     Tran        AT   Vinh-Phuc   Tran        AT   braintree         USD   TVPAD-004       259       10   1     249
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TVP-14051037   May    5/5/2014   complete   Vinh-Phuc   Tran        AT   Vinh-Phuc   Tran        AT   braintree         USD   HGIFT2        0    0   1     0
TVP-14051038   May    5/5/2014   complete   KIM         MAN         KH   KIM         MAN         KH   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051038   May    5/5/2014   complete   KIM         MAN         KH   KIM         MAN         KH   braintree         USD   HGIFT2        0    0   1     0
TVP-14051039   May    5/5/2014   complete   Yu          Lau         AU   Yu          Lau         AU   paypal_standard   USD   TVPAD-004   259   15   1   244
TVP-14051039   May    5/5/2014   complete   Yu          Lau         AU   Yu          Lau         AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051040   May    5/5/2014   complete   Simon       Song        MY   Simon       Song        MY   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051040   May    5/5/2014   complete   Simon       Song        MY   Simon       Song        MY   braintree         USD   HGIFT2        0    0   1     0
TVP-14051041   May    5/5/2014   complete   CHAN        Philippe    RE   CHAN        Philippe    RE   braintree         EUR   TVPAD-004   259   10   1   249
TVP-14051041   May    5/5/2014   complete   CHAN        Philippe    RE   CHAN        Philippe    RE   braintree         EUR   HGIFT2        0    0   1     0
TVP-14051042   May    5/5/2014   complete   Minh        Lam         FI   Minh        Lam         FI   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051042   May    5/5/2014   complete   Minh        Lam         FI   Minh        Lam         FI   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051043   May    5/5/2014   complete   Ruixuan     Cao         AU   Ruixuan     Cao         AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051043   May    5/5/2014   complete   Ruixuan     Cao         AU   Ruixuan     Cao         AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14051044   May    5/5/2014   complete   Godfrey     Lo          AU   Godfrey     Lo          AU   paypal_standard   AUD   TVPAD-004   259   10   1   249
TVP-14051044   May    5/5/2014   complete   Godfrey     Lo          AU   Godfrey     Lo          AU   paypal_standard   AUD   HGIFT2        0    0   1     0
TVP-14051045   May    5/5/2014   complete   David       LO          AU   David       LO          AU   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051045   May    5/5/2014   complete   David       LO          AU   David       LO          AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051046   May    5/5/2014   complete   Makita      Hisashi     AU   Makita      Hisashi     AU   braintree         AUD   TVPAD-004   259   10   1   249
TVP-14051046   May    5/5/2014   complete   Makita      Hisashi     AU   Makita      Hisashi     AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14051047   May    5/5/2014   complete   Gloria      Lam         HK   Gloria      Lam         HK   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051047   May    5/5/2014   complete   Gloria      Lam         HK   Gloria      Lam         HK   braintree         USD   HGIFT2        0    0   1     0
TVP-14051048   May    5/5/2014   complete   SB          Lyu         AU   SB          Lyu         AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051048   May    5/5/2014   complete   SB          Lyu         AU   SB          Lyu         AU   braintree         USD   HGIFT2        0    0   1     0
TVP-70011204   May    5/5/2014   complete   XUZHI       CUI         AU   XUZHI       CUI         AU   braintree         AUD   TVPAD-004   259   10   1   249
TVP-70011204   May    5/5/2014   complete   XUZHI       CUI         AU   XUZHI       CUI         AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14051049   May    5/5/2014   complete   Arthur      How         AU   Arthur      How         AU   paypal_standard   AUD   TVPAD-004   259   10   1   249
TVP-14051049   May    5/5/2014   complete   Arthur      How         AU   Arthur      How         AU   paypal_standard   AUD   HGIFT2        0    0   1     0
TVP-14051050   May    5/5/2014   complete   andy        jun         US   andy        jun         US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051050   May    5/5/2014   complete   andy        jun         US   andy        jun         US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051051   May    5/5/2014   complete   Moses       Olores      AU   Sera        Han         AU   braintree         AUD   TVPAD-004   259   10   1   249
TVP-14051051   May    5/5/2014   complete   Moses       Olores      AU   Sera        Han         AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14051052   May    5/5/2014   complete   Anthony     Kim         CA   Anthony     Kim         CA   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051052   May    5/5/2014   complete   Anthony     Kim         CA   Anthony     Kim         CA   braintree         USD   HGIFT2        0    0   1     0
TVP-14051053   May    5/9/2014   complete   Wang        Annie       FR   NGUYEN      GIAU        FR   braintree         EUR   TVPAD-004   259   10   1   249
TVP-14051053   May    5/9/2014   complete   Wang        Annie       FR   NGUYEN      GIAU        FR   braintree         EUR   HGIFT2        0    0   1     0
TVP-14051054   May    5/5/2014   complete   Leslie      Tat         US   Leslie      Tat         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051054   May    5/5/2014   complete   Leslie      Tat         US   Leslie      Tat         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051055   May    5/6/2014   complete   Moon        Heo         DE   Moon        Heo         DE   paypal_standard   EUR   TVPAD-004   250   10   2   490
TVP-14051055   May    5/6/2014   complete   Moon        Heo         DE   Moon        Heo         DE   paypal_standard   EUR   HGIFT2        0    0   2     0
TVP-70011205   May    5/5/2014   complete   YINGYING    XIE         US   YINGYING    XIE         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-70011205   May    5/5/2014   complete   YINGYING    XIE         US   YINGYING    XIE         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051056   May   5/16/2014   complete   Cuong       Chau        GB   Phong       Chau        GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14051056   May   5/16/2014   complete   Cuong       Chau        GB   Phong       Chau        GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14051057   May    5/8/2014   complete   David       Ear         FR   EAR         ERIC        FR   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051057   May    5/8/2014   complete   David       Ear         FR   EAR         ERIC        FR   braintree         USD   HGIFT2        0    0   1     0
TVP-14051058   May    5/5/2014   complete   Peter       luk         GB   Peter       luk         GB   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051058   May    5/5/2014   complete   Peter       luk         GB   Peter       luk         GB   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051059   May    5/5/2014   complete   Loh         tungchuen   US   Loh         tungchuen   US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051059   May    5/5/2014   complete   Loh         tungchuen   US   Loh         tungchuen   US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051060   May    5/5/2014   complete   SHIU-LING   PEI         US   SHIU-LING   PEI         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051060   May    5/5/2014   complete   SHIU-LING   PEI         US   SHIU-LING   PEI         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051061   May    5/5/2014   complete   kiwon       yoon        US   Kwan        Yoon        US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051061   May    5/5/2014   complete   kiwon       yoon        US   Kwan        Yoon        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051062   May    5/5/2014   complete   Na          young       CO   Na          young       CO   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051062   May    5/5/2014   complete   Na          young       CO   Na          young       CO   braintree         USD   HGIFT2        0    0   1     0
TVP-14051063   May    5/5/2014   complete   Zongnan     GUO         AU   Zongnan     GUO         AU   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051063   May    5/5/2014   complete   Zongnan     GUO         AU   Zongnan     GUO         AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051064   May    5/5/2014   complete   Wai-Ting    Cheng       US   Wai-Ting    Cheng       US   braintree         USD   TVPAD-004   259   15   1   244
TVP-14051064   May    5/5/2014   complete   Wai-Ting    Cheng       US   Wai-Ting    Cheng       US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051065   May    5/5/2014   complete   Wilson      Kan         US   Wilson      Kan         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051065   May    5/5/2014   complete   Wilson      Kan         US   Wilson      Kan         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051066   May    5/5/2014   complete   Linda       Wong        NZ   Linda       Wong        NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051066   May    5/5/2014   complete   Linda       Wong        NZ   Linda       Wong        NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14051067   May    5/5/2014   complete   W           Fong        NZ   W           Fong        NZ   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051067   May    5/5/2014   complete   W           Fong        NZ   W           Fong        NZ   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-70011206   May    5/5/2014   complete   Bihui       Wang        AU   Bihui       Wang        AU   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-70011206   May    5/5/2014   complete   Bihui       Wang        AU   Bihui       Wang        AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051068   May    5/5/2014   complete   Qi          Ji          AU   Qi          Ji          AU   braintree         AUD   TVPAD-004   259   10   1   249
TVP-14051068   May    5/5/2014   complete   Qi          Ji          AU   Qi          Ji          AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14051069   May    5/6/2014   complete   Thanh       Hua         GB   Thanh       Hua         GB   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051069   May    5/6/2014   complete   Thanh       Hua         GB   Thanh       Hua         GB   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051070   May    5/6/2014   complete   C.          Lau         NL   C.          Lau         NL   braintree         EUR   TVPAD-004   250   20   2   480
TVP-14051070   May    5/6/2014   complete   C.          Lau         NL   C.          Lau         NL   braintree         EUR   HGIFT2        0    0   2     0
TVP-14051071   May    5/6/2014   complete   Harry       Choi        AU   Harry       Choi        AU   braintree         AUD   TVPAD-004   259   10   1   249
TVP-14051071   May    5/6/2014   complete   Harry       Choi        AU   Harry       Choi        AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14051072   May    5/6/2014   complete   Winkin      Leong       ZA   Winkin      Leong       ZA   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051072   May    5/6/2014   complete   Winkin      Leong       ZA   Winkin      Leong       ZA   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051073   May    5/6/2014   complete   Michael     Huang       DK   Michael     Huang       DK   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051073   May    5/6/2014   complete   Michael     Huang       DK   Michael     Huang       DK   braintree         USD   HGIFT2        0    0   1     0
TVP-14051074   May    5/6/2014   complete   Joseph      Peng        US   Joseph      Peng        US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051074   May    5/6/2014   complete   Joseph      Peng        US   Joseph      Peng        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051075   May    5/6/2014   complete   Andy        Cheung      NL   Andy        Cheung      NL   braintree         EUR   TVPAD-004   259   10   1   249
TVP-14051075   May    5/6/2014   complete   Andy        Cheung      NL   Andy        Cheung      NL   braintree         EUR   HGIFT2        0    0   1     0
TVP-14051076   May    5/6/2014   complete   Fei         Wu          NZ   Fei         Wu          NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051076   May    5/6/2014   complete   Fei         Wu          NZ   Fei         Wu          NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14051077   May    5/6/2014   complete   Jing        Zhang       AU   Jing        Zhang       AU   braintree         USD   TVPAD-004   259   15   1   244
TVP-14051077   May    5/6/2014   complete   Jing        Zhang       AU   Jing        Zhang       AU   braintree         USD   HGIFT2        0    0   1     0
TVP-70011208   May    5/6/2014   complete   Jacob       Huang       AU   Jue         Lin         AU   braintree         AUD   TVPAD-004   259   10   1   249
TVP-70011208   May    5/6/2014   complete   Jacob       Huang       AU   Jue         Lin         AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14051078   May    5/6/2014   complete   Eddie       Chan        GB   Eddie       Chan        GB   paypal_standard   GBP   TVPAD-004   259   20   1   239
TVP-14051078   May    5/6/2014   complete   Eddie       Chan        GB   Eddie       Chan        GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14051079   May    5/6/2014   complete   Jinghua     Yuan        GB   Jinghua     Yuan        GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14051079   May    5/6/2014   complete   Jinghua     Yuan        GB   Jinghua     Yuan        GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14051080   May    5/7/2014   complete   B           CHAN        GB   B           CHAN        GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14051080   May    5/7/2014   complete   B           CHAN        GB   B           CHAN        GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14051081   May    5/7/2014   complete   Ivan        Bradshaw    GB   Mabel       Tai         GB   braintree         USD   TVPAD-004   259   20   1   239
TVP-14051081   May    5/7/2014   complete   Ivan        Bradshaw    GB   Mabel       Tai         GB   braintree         USD   HGIFT2        0    0   1     0
TVP-14051082   May    5/7/2014   complete   jae         kim         US   jae         kim         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051082   May    5/7/2014   complete   jae         kim         US   jae         kim         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051083   May    5/7/2014   closed     Paul        Moon        US   Paul        Moon        US   braintree         USD   TVPAD-004   259   15   1   244
TVP-14051083   May    5/7/2014   closed     Paul        Moon        US   Paul        Moon        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051084   May    5/7/2014   complete   Kam         Wong        US   Kam         Wong        US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051084   May    5/7/2014   complete   Kam         Wong        US   Kam         Wong        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051085   May    5/7/2014   complete   Ling        Wong        DK   Ling        Wong        DK   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051085   May    5/7/2014   complete   Ling        Wong        DK   Ling        Wong        DK   braintree         USD   HGIFT2        0    0   1     0
TVP-14051087   May    5/7/2014   complete   Takayuki    Kozono      PH   Takayuki    Kozono      PH   paypal_standard   USD   TVPAD-004   250   10   2   490
TVP-14051087   May    5/7/2014   complete   Takayuki    Kozono      PH   Takayuki    Kozono      PH   paypal_standard   USD   HGIFT2        0    0   2     0
TVP-14051089   May    5/8/2014   complete   Mirie       Park        AU   Mirie       Park        AU   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051089   May    5/8/2014   complete   Mirie       Park        AU   Mirie       Park        AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051090   May    5/8/2014   complete   YIJIN       ZHANG       AU   YIJIN       ZHANG       AU   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051090   May    5/8/2014   complete   YIJIN       ZHANG       AU   YIJIN       ZHANG       AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051091   May    5/8/2014   complete   SHIGERU     SAITO       AU   SHIGERU     SAITO       AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051091   May    5/8/2014   complete   SHIGERU     SAITO       AU   SHIGERU     SAITO       AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14051092   May    5/9/2014   complete   Sen         Wai         GB   Sen         Wai         GB   paypal_standard   GBP   TVPAD-004   250   10   2   490
TVP-14051092   May    5/9/2014   complete   Sen         Wai         GB   Sen         Wai         GB   paypal_standard   GBP   HGIFT2        0    0   2     0
TVP-14051093   May    5/8/2014   complete   Lawrence    Chu         US   Lawrence    Chu         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051093   May    5/8/2014   complete   Lawrence    Chu         US   Lawrence    Chu         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051094   May    5/8/2014   complete   Tinlan      Wu          US   Tinlan      Wu          US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051094   May    5/8/2014   complete   Tinlan      Wu          US   Tinlan      Wu          US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051095   May    5/8/2014   complete   Yaokien     Tran        DE   Yaokien     Tran        DE   braintree         EUR   TVPAD-004   259   10   1   249
TVP-14051095   May    5/8/2014   complete   Yaokien     Tran        DE   Yaokien     Tran        DE   braintree         EUR   HGIFT2        0    0   1     0
TVP-14051096   May    5/8/2014   complete   KIM         LEE         US   KIM         LEE         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051096   May    5/8/2014   complete   KIM         LEE         US   KIM         LEE         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051097   May    5/9/2014   complete   Joseph      Jung        US   Dai         Jung        US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14051097   May    5/9/2014   complete   Joseph      Jung        US   Dai         Jung        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051099   May    5/8/2014   complete   johnny      liu         AU   johnny      liu         AU   paypal_standard   USD   TVPAD-004   259   15   1   244
TVP-14051099   May    5/8/2014   complete   johnny      liu         AU   johnny      liu         AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051101   May    5/9/2014   complete   Tina        H           GB   Tina        H           GB   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051102   May    5/9/2014   complete   Julia       Lai         NZ   julia       lai         NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051102   May    5/9/2014   complete   Julia       Lai         NZ   julia       lai         NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14051103   May    5/9/2014   complete   didier      chang       FR   didier      chang       FR   braintree         USD   TVPAD-004   259   15   1   244
TVP-14051103   May    5/9/2014   complete   didier      chang       FR   didier      chang       FR   braintree         USD   HGIFT2        0    0   1     0
TVP-14051104   May    5/9/2014   complete   Stephane    PAN         FR   Stephane    PAN         FR   braintree         EUR   TVPAD-004   259   10   1   249
TVP-14051104   May    5/9/2014   complete   Stephane    PAN         FR   Stephane    PAN         FR   braintree         EUR   HGIFT2        0    0   1     0
TVP-14051105   May    5/9/2014   complete   Young       Park        US   Young       Park        US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051105   May    5/9/2014   complete   Young       Park        US   Young       Park        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051106   May    5/9/2014   complete   JEONG       SEOKJIN     LA   Jeong       bin         LA   braintree         USD   TVPAD-004   250   20   2   480
TVP-14051106   May    5/9/2014   complete   JEONG       SEOKJIN     LA   Jeong       bin         LA   braintree         USD   HGIFT2        0    0   2     0
TVP-14051107   May    5/9/2014   complete   dave        young       US   dave        young       US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051107   May    5/9/2014   complete   dave        young       US   dave        young       US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051110   May    5/9/2014   complete   Sung        Kim         CA   Sung        Kim         CA   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051110   May    5/9/2014   complete   Sung        Kim         CA   Sung        Kim         CA   braintree         USD   HGIFT2        0    0   1     0
TVP-14051111   May    5/9/2014   complete   yiu         lee         US   yiu         lee         US   braintree         USD   TVPAD-004   259   15   1   244
TVP-14051111   May    5/9/2014   complete   yiu         lee         US   yiu         lee         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051112   May    5/9/2014   complete   Chung,      chanwoong   ID   Chung,      chanwoong   ID   braintree         USD   TVPAD-004   259   10   1   249
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TVP-14051112   May    5/9/2014   complete   Chung,        chanwoong    ID   Chung,        chanwoong    ID   braintree         USD   HGIFT2        0    0   1     0
TVP-14051114   May    5/9/2014   complete   Fan           Rao          GB   Fan           Rao          GB   paypal_standard   GBP   TVPAD-004   259   20   1   239
TVP-14051114   May    5/9/2014   complete   Fan           Rao          GB   Fan           Rao          GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14051115   May    5/9/2014   complete   Jenny         LIU          AU   Jenny         LIU          AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051115   May    5/9/2014   complete   Jenny         LIU          AU   Jenny         LIU          AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14051116   May   5/10/2014   complete   Nyoman        Tjioe        HK   Yip           Ming         HK   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051116   May   5/10/2014   complete   Nyoman        Tjioe        HK   Yip           Ming         HK   braintree         USD   HGIFT2        0    0   1     0
TVP-14051117   May   5/10/2014   complete   Der           Lu           US   Der           Lu           US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051117   May   5/10/2014   complete   Der           Lu           US   Der           Lu           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051118   May   5/10/2014   complete   SingHong      Yeung        US   SingHong      Yeung        US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051118   May   5/10/2014   complete   SingHong      Yeung        US   SingHong      Yeung        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051119   May   5/10/2014   complete   Siu-Kuen      Lam          IE   Samantha      Wong         IE   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051119   May   5/10/2014   complete   Siu-Kuen      Lam          IE   Samantha      Wong         IE   braintree         USD   HGIFT2        0    0   1     0
TVP-14051120   May   5/10/2014   complete   Lawton        Too          NZ   Lawton        Too          NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051120   May   5/10/2014   complete   Lawton        Too          NZ   Lawton        Too          NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14051121   May   5/10/2014   complete   Ben           Hahn         US   Ben           Hahn         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051121   May   5/10/2014   complete   Ben           Hahn         US   Ben           Hahn         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051122   May   5/10/2014   complete   Linda         Kwok         GB   Linda         Kwok         GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14051122   May   5/10/2014   complete   Linda         Kwok         GB   Linda         Kwok         GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14051123   May   5/11/2014   complete   Norman        Yang         US   Norman        Yang         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051123   May   5/11/2014   complete   Norman        Yang         US   Norman        Yang         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051124   May   5/11/2014   complete   Noelle        Au           US   Noelle        Au           US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051124   May   5/11/2014   complete   Noelle        Au           US   Noelle        Au           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051125   May   5/11/2014   complete   Moontaik      Lim          QA   Moontaik      Lim          QA   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051125   May   5/11/2014   complete   Moontaik      Lim          QA   Moontaik      Lim          QA   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-70011210   May   5/11/2014   complete   Chiu Kan      Leung        MY   Chiu          Leung        MY   braintree         USD   TVPAD-004   259   10   1   249
TVP-70011210   May   5/11/2014   complete   Chiu Kan      Leung        MY   Chiu          Leung        MY   braintree         USD   HGIFT2        0    0   1     0
TVP-14051126   May   5/11/2014   complete   WAH YAU       NG           GB   WILLIAM       NG           GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14051126   May   5/11/2014   complete   WAH YAU       NG           GB   WILLIAM       NG           GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14051127   May   5/11/2014   complete   Mrs           Lee          GB   Mrs           Lee          GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14051127   May   5/11/2014   complete   Mrs           Lee          GB   Mrs           Lee          GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14051128   May   5/11/2014   complete   Yoong         Soo          AU   Yoong         Soo          AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051128   May   5/11/2014   complete   Yoong         Soo          AU   Yoong         Soo          AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14051129   May   5/11/2014   complete   Andy          Pang         US   Andy          Pang         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051129   May   5/11/2014   complete   Andy          Pang         US   Andy          Pang         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051130   May   5/11/2014   complete   Chris         kwok         US   Chris         kwok         US   braintree         USD   TVPAD-004   259   15   1   244
TVP-14051130   May   5/11/2014   complete   Chris         kwok         US   Chris         kwok         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051131   May   5/12/2014   complete   steven        chu          US   steven        chu          US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051131   May   5/12/2014   complete   steven        chu          US   steven        chu          US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051132   May   5/12/2014   complete   Simon         Hung         AU   Simon         Hung         AU   braintree         USD   TVPAD-004   259   20   1   239
TVP-14051132   May   5/12/2014   complete   Simon         Hung         AU   Simon         Hung         AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14051133   May   5/12/2014   complete   SHUO          ZHENG        AU   SHUO          ZHENG        AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051133   May   5/12/2014   complete   SHUO          ZHENG        AU   SHUO          ZHENG        AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14051134   May   5/12/2014   complete   Lay           Leong        NZ   Lay           Leong        NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051134   May   5/12/2014   complete   Lay           Leong        NZ   Lay           Leong        NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14051135   May   5/12/2014   complete   Ramsperger,   Eun-Sook     DE   Ramsperger,   Eun-Sook     DE   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051135   May   5/12/2014   complete   Ramsperger,   Eun-Sook     DE   Ramsperger,   Eun-Sook     DE   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051136   May   5/12/2014   complete   Si            Liu          GB   Si-Bow        Liu          GB   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051136   May   5/12/2014   complete   Si            Liu          GB   Si-Bow        Liu          GB   braintree         USD   HGIFT2        0    0   1     0
TVP-14051139   May   5/12/2014   complete   Lin           Dip          GB   Lin           Dip          GB   paypal_standard   GBP   TVPAD-004   259   15   1   244
TVP-14051139   May   5/12/2014   complete   Lin           Dip          GB   Lin           Dip          GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14051140   May   5/12/2014   complete   Alvin         Tsang        SG   Alvin         Tsang        SG   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051140   May   5/12/2014   complete   Alvin         Tsang        SG   Alvin         Tsang        SG   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051141   May   5/12/2014   complete   Dac           Kha          CH   Dac           Kha          CH   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051141   May   5/12/2014   complete   Dac           Kha          CH   Dac           Kha          CH   braintree         USD   HGIFT2        0    0   1     0
TVP-14051142   May   5/13/2014   complete   Sin           Ho           GB   Ian           Hamilton     GB   braintree         EUR   TVPAD-004   250   10   3   740
TVP-14051142   May   5/13/2014   complete   Sin           Ho           GB   Ian           Hamilton     GB   braintree         EUR   HGIFT2        0    0   3     0
TVP-14051143   May   5/12/2014   complete   Trinh         Tram         DE   Trinh         Tram         DE   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051143   May   5/12/2014   complete   Trinh         Tram         DE   Trinh         Tram         DE   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051144   May   5/12/2014   complete   W.K.          Cheng        NL   W.K.          Cheng        NL   braintree         EUR   TVPAD-004   259   15   1   244
TVP-14051144   May   5/12/2014   complete   W.K.          Cheng        NL   W.K.          Cheng        NL   braintree         EUR   HGIFT2        0    0   1     0
TVP-14051145   May   5/12/2014   complete   Ahwoune       Howan        PF   Ahwoune       Howan        PF   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051145   May   5/12/2014   complete   Ahwoune       Howan        PF   Ahwoune       Howan        PF   braintree         USD   HGIFT2        0    0   1     0
TVP-14051147   May   5/12/2014   complete   fang          wang         NZ   fang          wang         NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051147   May   5/12/2014   complete   fang          wang         NZ   fang          wang         NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14051148   May   5/12/2014   complete   Seungwon      Kang         SG   Seungwon      Kang         SG   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051148   May   5/12/2014   complete   Seungwon      Kang         SG   Seungwon      Kang         SG   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051149   May   5/12/2014   complete   PARK          SANGHYUN     SG   PARK          SANGHYUN     SG   braintree         USD   TVPAD-004   250   10   2   490
TVP-14051149   May   5/12/2014   complete   PARK          SANGHYUN     SG   PARK          SANGHYUN     SG   braintree         USD   HGIFT2        0    0   2     0
TVP-14051151   May   5/12/2014   complete   David         Oh           SG   David         Oh           SG   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051151   May   5/12/2014   complete   David         Oh           SG   David         Oh           SG   braintree         USD   HGIFT2        0    0   1     0
TVP-14051152   May   5/12/2014   complete   Amelia        HAN          AU   Amelia        HAN          AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051152   May   5/12/2014   complete   Amelia        HAN          AU   Amelia        HAN          AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14051153   May   5/12/2014   complete   Wilson        Kim          US   Wilson        Kim          US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051153   May   5/12/2014   complete   Wilson        Kim          US   Wilson        Kim          US   braintree         USD   HGIFT2        0    0   1     0
TVP-70011211   May   5/12/2014   complete   Kam           Choy         GB   Kam           Choy         GB   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-70011211   May   5/12/2014   complete   Kam           Choy         GB   Kam           Choy         GB   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051154   May   5/13/2014   complete   Kar           Pang         NL   K.M.          Pang         NL   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051154   May   5/13/2014   complete   Kar           Pang         NL   K.M.          Pang         NL   braintree         USD   HGIFT2        0    0   1     0
TVP-14051155   May   5/13/2014   complete   Daniel        Binnington   GB   Daniel        Binnington   GB   paypal_standard   GBP   TVPAD-004   259   10   1   249
TVP-14051155   May   5/13/2014   complete   Daniel        Binnington   GB   Daniel        Binnington   GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-70011212   May   5/13/2014   complete   Bin           Yang         NZ   Bin           Yang         NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-70011212   May   5/13/2014   complete   Bin           Yang         NZ   Bin           Yang         NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14051156   May   5/13/2014   complete   Naoko         Kojima       AU   Naoko         Kojima       AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051156   May   5/13/2014   complete   Naoko         Kojima       AU   Naoko         Kojima       AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14051157   May   5/13/2014   complete   pyungsik      kim          PL   pyungsik      kim          PL   braintree         EUR   TVPAD-004   259   10   1   249
TVP-14051157   May   5/13/2014   complete   pyungsik      kim          PL   pyungsik      kim          PL   braintree         EUR   HGIFT2        0    0   1     0
TVP-14051158   May   5/13/2014   complete   yun           jensen       US   yun           jensen       US   braintree         USD   TVPAD-004   250   10   2   490
TVP-14051158   May   5/13/2014   complete   yun           jensen       US   yun           jensen       US   braintree         USD   HGIFT2        0    0   2     0
TVP-14051159   May   5/13/2014   complete   KHOR          EYA          MY   KHOR          EYA          MY   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051159   May   5/13/2014   complete   KHOR          EYA          MY   KHOR          EYA          MY   braintree         USD   HGIFT2        0    0   1     0
TVP-14051160   May   5/13/2014   complete   Wei           Choong       GB   Wei           Choong       GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14051160   May   5/13/2014   complete   Wei           Choong       GB   Wei           Choong       GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14051161   May   5/13/2014   complete   Sarah         Yi           US   Sarah         Yi           US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051161   May   5/13/2014   complete   Sarah         Yi           US   Sarah         Yi           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051162   May   5/13/2014   complete   sunghee       MANNA        US   sunghee       MANNA        US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051162   May   5/13/2014   complete   sunghee       MANNA        US   sunghee       MANNA        US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051163   May   5/13/2014   complete   TaeHoon       Kim          AU   TaeHoon       Kim          AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051163   May   5/13/2014   complete   TaeHoon       Kim          AU   TaeHoon       Kim          AU   braintree         USD   HGIFT2        0    0   1     0
TVP-70011213   May   5/13/2014   complete   cai           zhao         US   cai           zhao         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-70011213   May   5/13/2014   complete   cai           zhao         US   cai           zhao         US   braintree         USD   HGIFT2        0    0   1     0
TVP-70011203   May   5/14/2014   complete   Jianlian      Yi           US   Jianlian      Yi           US   braintree         USD   TVPAD-004   259   10   1   249
TVP-70011203   May   5/14/2014   complete   Jianlian      Yi           US   Jianlian      Yi           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051164   May   5/13/2014   complete   phil          loo          US   phil          loo          US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051164   May   5/13/2014   complete   phil          loo          US   phil          loo          US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051165   May   5/13/2014   complete   Ran           Liu          NZ   Ran           Liu          NZ   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051165   May   5/13/2014   complete   Ran           Liu          NZ   Ran           Liu          NZ   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051166   May   5/14/2014   complete   Kefeng        Deng         AU   Kefeng        Deng         AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051166   May   5/14/2014   complete   Kefeng        Deng         AU   Kefeng        Deng         AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14051167   May   5/14/2014   complete   Pooi          Wong         US   Pooi          Wong         US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051167   May   5/14/2014   complete   Pooi          Wong         US   Pooi          Wong         US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051168   May   5/14/2014   complete   Kar           Yeung        GB   Kar           Yeung        GB   paypal_standard   GBP   TVPAD-004   259   10   1   249
TVP-14051168   May   5/14/2014   complete   Kar           Yeung        GB   Kar           Yeung        GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14051169   May   5/14/2014   complete   Sally         Petersen     DK   Sally         Petersen     DK   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051169   May   5/14/2014   complete   Sally         Petersen     DK   Sally         Petersen     DK   braintree         USD   HGIFT2        0    0   1     0
TVP-14051170   May   5/14/2014   complete   Hue-Trinh     Tram         DE   Hue-Thu       Tram         DE   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051170   May   5/14/2014   complete   Hue-Trinh     Tram         DE   Hue-Thu       Tram         DE   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051171   May   5/14/2014   complete   Qing          LIU          AU   Qing          LIU          AU   braintree         AUD   TVPAD-004   259   15   1   244
TVP-14051171   May   5/14/2014   complete   Qing          LIU          AU   Qing          LIU          AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14051172   May   5/14/2014   complete   jong          kim          US   jong          kim          US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051172   May   5/14/2014   complete   jong          kim          US   jong          kim          US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051173   May   5/14/2014   complete   Linda         Choi         AU   Linda         Choi         AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051173   May   5/14/2014   complete   Linda         Choi         AU   Linda         Choi         AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14051175   May   5/14/2014   complete   seongheui     kim          AU   seongheui     kim          AU   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051175   May   5/14/2014   complete   seongheui     kim          AU   seongheui     kim          AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051176   May   5/14/2014   complete   Koung         Lee          NZ   Koung         Lee          NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051176   May   5/14/2014   complete   Koung         Lee          NZ   Koung         Lee          NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14051177   May   5/14/2014   complete   chi           ng           US   chi           ng           US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051177   May   5/14/2014   complete   chi           ng           US   chi           ng           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051178   May   5/14/2014   complete   Tung-lu       Tseng        US   Tung-lu       Tseng        US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051178   May   5/14/2014   complete   Tung-lu       Tseng        US   Tung-lu       Tseng        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14051179   May   5/14/2014   complete   CHIA          William      SG   CHIA          William      SG   braintree         USD   TVPAD-004   259   15   1   244
TVP-14051179   May   5/14/2014   complete   CHIA          William      SG   CHIA          William      SG   braintree         USD   HGIFT2        0    0   1     0
TVP-14051180   May   5/14/2014   complete   sochi         lee          GB   sochi         lee          GB   braintree         USD   TVPAD-004   259   10   1   249
TVP-14051180   May   5/14/2014   complete   sochi         lee          GB   sochi         lee          GB   braintree         USD   HGIFT2        0    0   1     0
TVP-14051182   May   5/15/2014   complete   Henry         Ngai         AU   Henry         Ngai         AU   paypal_standard   AUD   TVPAD-004   259   20   1   239
TVP-14051182   May   5/15/2014   complete   Henry         Ngai         AU   Henry         Ngai         AU   paypal_standard   AUD   HGIFT2        0    0   1     0
TVP-14051183   May   5/15/2014   complete   SHIH          CHIU         US   Liing         CHIU         DE   braintree         USD   TVPAD-004   259   20   1   239
TVP-14051185   May   5/15/2014   complete   Bai           Chen         US   Bai           Chen         US   braintree         USD   TVPAD-004   250   10   2   490
TVP-14051185   May   5/15/2014   complete   Bai           Chen         US   Bai           Chen         US   braintree         USD   HGIFT2        0    0   2     0
TVP-14051186   May   5/15/2014   complete   anabela       you          US   anabela       you          US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14051186   May   5/15/2014   complete   anabela       you          US   anabela       you          US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14051187   May   5/15/2014   complete   Hyojung       Kwon         AU   Hyojung       Kwon         AU   braintree         AUD   TVPAD-004   259   10   1   249
TVP-14051187   May   5/15/2014   complete   Hyojung       Kwon         AU   Hyojung       Kwon         AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14051188   May   5/17/2014   complete   Pisit         Wongwasin    TH   Pisit         Wongwasin    TH   braintree         USD   TVPAD-004   250   10   2   490
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TVP-14051188   May   5/17/2014   complete   Pisit          Wongwasin       TH   Pisit          Wongwasin    TH   braintree         USD   HGIFT2                             0    0   2       0
TVP-14051189   May   5/15/2014   complete   Wee            Siang           SG   Wee            Siang        SG   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14051189   May   5/15/2014   complete   Wee            Siang           SG   Wee            Siang        SG   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051190   May   5/15/2014   complete   Jenny          Li              AU   Jenny          Li           AU   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14051190   May   5/15/2014   complete   Jenny          Li              AU   Jenny          Li           AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14051191   May   5/16/2014   complete   Lei            Hou             IE   Lei            Hou          IE   paypal_standard   EUR   TVPAD-004                       259    10   1    249
TVP-14051191   May   5/16/2014   complete   Lei            Hou             IE   Lei            Hou          IE   paypal_standard   EUR   HGIFT2                             0    0   1       0
TVP-14051192   May   5/16/2014   complete   LI             FA              GF   LI             CARLOS       GF   paypal_standard   USD   TVPAD-004                       259    20   1    239
TVP-14051192   May   5/16/2014   complete   LI             FA              GF   LI             CARLOS       GF   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14051193   May   5/16/2014   complete   Betty          Chen            US   Betty          Chen         US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14051193   May   5/16/2014   complete   Betty          Chen            US   Betty          Chen         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051194   May   5/16/2014   complete   Tung           Phea            NL   Tung           Phea         NL   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14051194   May   5/16/2014   complete   Tung           Phea            NL   Tung           Phea         NL   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14051195   May   5/16/2014   complete   tith           tola            FR   tith           tola         FR   paypal_standard   EUR   TVPAD-004                       259    10   1    249
TVP-14051195   May   5/16/2014   complete   tith           tola            FR   tith           tola         FR   paypal_standard   EUR   HGIFT2                             0    0   1       0
TVP-14051196   May   5/16/2014   complete   Lau            yuen            GB   Lau            yuen         GB   braintree         GBP   TVPAD-004                       259    10   1    249
TVP-14051197   May   5/16/2014   complete   CHRIS          KOO             US   CHRIS          KOO          US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14051197   May   5/16/2014   complete   CHRIS          KOO             US   CHRIS          KOO          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051198   May   5/16/2014   complete   Isaac          Wong            CA   Isaac          Wong         CA   braintree         CAD   TVPAD-004                       259    15   1    244
TVP-14051198   May   5/16/2014   complete   Isaac          Wong            CA   Isaac          Wong         CA   braintree         CAD   HGIFT2                             0    0   1       0
TVP-14051199   May   5/16/2014   complete   Martin         Harrington      AU   Martin         Harrington   AU   paypal_standard   AUD   TVPAD-004                       259    10   1    249
TVP-14051199   May   5/16/2014   complete   Martin         Harrington      AU   Martin         Harrington   AU   paypal_standard   AUD   HGIFT2                             0    0   1       0
TVP-14051200   May   5/16/2014   complete   Guiwan         Zhang           AU   Guiwan         Zhang        AU   braintree         USD   TVPAD-004                       250    10   2    490
TVP-14051200   May   5/16/2014   complete   Guiwan         Zhang           AU   Guiwan         Zhang        AU   braintree         USD   HGIFT2                             0    0   2       0
TVP-14051201   May   5/16/2014   complete   Augustine      Tea             NZ   Augustine      Tea          NZ   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051201   May   5/16/2014   complete   Augustine      Tea             NZ   Augustine      Tea          NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051202   May   5/17/2014   complete   Simon          Gibson          GB   Simon          Gibson       GB   paypal_standard   USD   TVPAD-AC-003-TVPAD-AC-003-US   29.99    0   2   59.98
TVP-14051203   May   5/17/2014   complete   Sophie         Yeh             US   Sophie         Yeh          US   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051203   May   5/17/2014   complete   Sophie         Yeh             US   Sophie         Yeh          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051204   May   5/17/2014   complete   Mei            Lam             US   Mei            Lam          US   braintree         USD   TVPAD-004                       250    15   2    485
TVP-14051204   May   5/17/2014   complete   Mei            Lam             US   Mei            Lam          US   braintree         USD   HGIFT2                             0    0   2       0
TVP-14051205   May   5/17/2014   complete   John           Yook            US   John           Yook         US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14051205   May   5/17/2014   complete   John           Yook            US   John           Yook         US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-70011214   May   5/17/2014   complete   Miss           Tham            GB   Miss           Tham         GB   paypal_standard   GBP   TVPAD-004                       259    10   1    249
TVP-70011214   May   5/17/2014   complete   Miss           Tham            GB   Miss           Tham         GB   paypal_standard   GBP   HGIFT2                             0    0   1       0
TVP-14051206   May   5/17/2014   closed     Cheonmin       Sohn            US   Cheonmin       Sohn         US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14051206   May   5/17/2014   closed     Cheonmin       Sohn            US   Cheonmin       Sohn         US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-70011215   May   5/19/2014   complete   Miao,          Na              AU   Miao,          Na           AU   braintree         USD   TVPAD-004                       259    10   1     249
TVP-70011215   May   5/19/2014   complete   Miao,          Na              AU   Miao,          Na           AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051207   May   5/19/2014   complete   YIXIN          XU              AU   YIXIN          XU           AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14051207   May   5/19/2014   complete   YIXIN          XU              AU   YIXIN          XU           AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051208   May   5/19/2014   complete   Sung-Keun,     Jung            DE   Sung-Keun,     Jung         DE   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14051208   May   5/19/2014   complete   Sung-Keun,     Jung            DE   Sung-Keun,     Jung         DE   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-70011216   May   5/19/2014   complete   Xiaoma         Lu              AU   Xiaoma         Lu           AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-70011216   May   5/19/2014   complete   Xiaoma         Lu              AU   Xiaoma         Lu           AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051209   May   5/19/2014   complete   YongJian       Liu             AU   YongJian       Liu          AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14051209   May   5/19/2014   complete   YongJian       Liu             AU   YongJian       Liu          AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051210   May   5/19/2014   complete   Thanh          Huynh           GB   Thanh          Huynh        GB   braintree         GBP   TVPAD-004                       259    10   1    249
TVP-14051210   May   5/19/2014   complete   Thanh          Huynh           GB   Thanh          Huynh        GB   braintree         GBP   HGIFT2                             0    0   1       0
TVP-14051211   May   5/19/2014   complete   Innam          Kim             GB   Innam          Kim          GB   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14051211   May   5/19/2014   complete   Innam          Kim             GB   Innam          Kim          GB   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051212   May   5/19/2014   complete   Ben            Hui             CA   Ben            Hui          CA   paypal_standard   USD   TVPAD-004                       250    10   2    490
TVP-14051212   May   5/19/2014   complete   Ben            Hui             CA   Ben            Hui          CA   paypal_standard   USD   HGIFT2                             0    0   2       0
TVP-14051213   May   5/19/2014   complete   Ah             Chai            US   Ah             Chai         US   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051213   May   5/19/2014   complete   Ah             Chai            US   Ah             Chai         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051214   May   5/19/2014   complete   deok           kim             CA   deok           kim          CA   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051214   May   5/19/2014   complete   deok           kim             CA   deok           kim          CA   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051215   May   5/19/2014   complete   Diane          Von             NZ   Diane          Von          NZ   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051215   May   5/19/2014   complete   Diane          Von             NZ   Diane          Von          NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051216   May   5/19/2014   complete   Weihong        Hou             US   Yu             Tian         US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14051216   May   5/19/2014   complete   Weihong        Hou             US   Yu             Tian         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051217   May   5/19/2014   complete   Sun            Jian            SG   Sun            Jian         SG   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051217   May   5/19/2014   complete   Sun            Jian            SG   Sun            Jian         SG   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051218   May   5/19/2014   complete   Patrick        Au              AU   Patrick        Au           AU   paypal_standard   AUD   TVPAD-004                       259    10   1    249
TVP-14051218   May   5/19/2014   complete   Patrick        Au              AU   Patrick        Au           AU   paypal_standard   AUD   HGIFT2                             0    0   1       0
TVP-14051219   May   5/19/2014   complete   Tao            Tang            AU   Tao            Tang         AU   paypal_standard   AUD   TVPAD-004                       259    10   1     249
TVP-14051219   May   5/19/2014   complete   Tao            Tang            AU   Tao            Tang         AU   paypal_standard   AUD   HGIFT2                             0    0   1       0
TVP-14051220   May   5/19/2014   complete   Xing           Liang           AU   Xing           Liang        AU   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051220   May   5/19/2014   complete   Xing           Liang           AU   Xing           Liang        AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051221   May   5/19/2014   complete   Kenneth        Cheung          AU   Kenneth        Cheung       AU   braintree         AUD   TVPAD-004                       259    10   1     249
TVP-14051221   May   5/19/2014   complete   Kenneth        Cheung          AU   Kenneth        Cheung       AU   braintree         AUD   HGIFT2                             0    0   1       0
TVP-14051222   May   5/19/2014   complete   Wing           Liu             NZ   Alfred         LAI          NZ   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051222   May   5/19/2014   complete   Wing           Liu             NZ   Alfred         LAI          NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051223   May   5/19/2014   complete   Lloys          kam             GB   Lloys          kam          GB   braintree         GBP   TVPAD-004                       259    10   1     249
TVP-14051223   May   5/19/2014   complete   Lloys          kam             GB   Lloys          kam          GB   braintree         GBP   HGIFT2                             0    0   1       0
TVP-14051224   May   5/19/2014   complete   Wenna          chow            IE   Wenna          chow         IE   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051224   May   5/19/2014   complete   Wenna          chow            IE   Wenna          chow         IE   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051225   May   5/19/2014   complete   Quoc           Muu             GB   Quoc           Muu          GB   braintree         GBP   TVPAD-004                       259    10   1     249
TVP-14051225   May   5/19/2014   complete   Quoc           Muu             GB   Quoc           Muu          GB   braintree         GBP   HGIFT2                             0    0   1       0
TVP-14051226   May   5/19/2014   complete   Khanh-Phuong   Ly              DE   Khanh-Phuong   Ly           DE   braintree         EUR   TVPAD-004                       259    10   1    249
TVP-14051227   May   5/19/2014   complete   Wang           Shuyue          CH   Wang           Shuyue       CH   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051227   May   5/19/2014   complete   Wang           Shuyue          CH   Wang           Shuyue       CH   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051228   May   5/19/2014   complete   Tina           Hwang           US   Tina           Hwang        US   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051228   May   5/19/2014   complete   Tina           Hwang           US   Tina           Hwang        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051229   May   5/19/2014   complete   Yanzhen        Yu              US   Yanzhen        Yu           US   braintree         USD   TVPAD-004                       259    15   1     244
TVP-14051229   May   5/19/2014   complete   Yanzhen        Yu              US   Yanzhen        Yu           US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051230   May   5/19/2014   complete   Mega           Tio             AU   Mega           Tio          AU   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051230   May   5/19/2014   complete   Mega           Tio             AU   Mega           Tio          AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051231   May   5/19/2014   complete   Seungkyu       Jung            SG   Seungkyu       Jung         SG   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051231   May   5/19/2014   complete   Seungkyu       Jung            SG   Seungkyu       Jung         SG   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051232   May   5/19/2014   complete   Chris          Tsui            NZ   Chris          Tsui         NZ   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051232   May   5/19/2014   complete   Chris          Tsui            NZ   Chris          Tsui         NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051233   May   5/20/2014   complete   chun           wong            AU   chun           wong         AU   braintree         USD   TVPAD-004                       250    10   2     490
TVP-14051233   May   5/20/2014   complete   chun           wong            AU   chun           wong         AU   braintree         USD   HGIFT2                             0    0   2       0
TVP-14051234   May   5/20/2014   complete   Phola          HEM             FR   Phola          HEM          FR   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051234   May   5/20/2014   complete   Phola          HEM             FR   Phola          HEM          FR   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051235   May   5/20/2014   complete   Gabriel        Chung           US   Hyunmin        Kim          US   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14051235   May   5/20/2014   complete   Gabriel        Chung           US   Hyunmin        Kim          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051236   May   5/20/2014   complete   chi            chan            GB   chi            chan         GB   paypal_standard   GBP   TVPAD-004                       250    10   2     490
TVP-14051236   May   5/20/2014   complete   chi            chan            GB   chi            chan         GB   paypal_standard   GBP   HGIFT2                             0    0   2       0
TVP-14051237   May   5/20/2014   complete   Junko          Colon           US   Junko          Colon        US   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14051237   May   5/20/2014   complete   Junko          Colon           US   Junko          Colon        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051238   May   5/20/2014   complete   H              Verspuij-Fung   NL   YJ             Fung         NL   braintree         EUR   TVPAD-004                       259    10   1     249
TVP-14051238   May   5/20/2014   complete   H              Verspuij-Fung   NL   YJ             Fung         NL   braintree         EUR   HGIFT2                             0    0   1       0
TVP-14051239   May   5/20/2014   complete   Wei            Ceng            PA   Wei            Ceng         PA   paypal_standard   USD   TVPAD-004                       250    30   2     470
TVP-14051239   May   5/20/2014   complete   Wei            Ceng            PA   Wei            Ceng         PA   paypal_standard   USD   HGIFT2                             0    0   2       0
TVP-14051240   May   5/20/2014   complete   Ben            Ang             NZ   Ben            Ang          NZ   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14051240   May   5/20/2014   complete   Ben            Ang             NZ   Ben            Ang          NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051241   May   5/20/2014   complete   qiang          hua liu         GB   Qiang          liu          GB   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14051241   May   5/20/2014   complete   qiang          hua liu         GB   Qiang          liu          GB   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051242   May   5/20/2014   complete   CLARENCE       CHONG           GB   CLARENCE       CHONG        GB   paypal_standard   GBP   TVPAD-004                       259    10   1     249
TVP-14051242   May   5/20/2014   complete   CLARENCE       CHONG           GB   CLARENCE       CHONG        GB   paypal_standard   GBP   HGIFT2                             0    0   1       0
TVP-14051243   May   5/20/2014   complete   Cho,           BooKyung        CN   Cho,           BooKyung     CN   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14051243   May   5/20/2014   complete   Cho,           BooKyung        CN   Cho,           BooKyung     CN   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051244   May   5/20/2014   complete   changrui       chen            AU   changrui       chen         AU   braintree         USD   TVPAD-004                        250   10   2     490
TVP-14051244   May   5/20/2014   complete   changrui       chen            AU   changrui       chen         AU   braintree         USD   HGIFT2                             0    0   2       0
TVP-14051245   May   5/20/2014   complete   Richard        Ku              NZ   Richard        Ku           NZ   braintree         USD   TVPAD-004                        250   10   2     490
TVP-14051245   May   5/20/2014   complete   Richard        Ku              NZ   Richard        Ku           NZ   braintree         USD   HGIFT2                             0    0   2       0
TVP-14051246   May   5/20/2014   complete   tuong          ha              US   tuong          ha           US   paypal_standard   USD   TVPAD-004                        259   10   1     249
TVP-14051246   May   5/20/2014   complete   tuong          ha              US   tuong          ha           US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14051247   May   5/20/2014   complete   Wai            Cheung          NL   Wai            Cheung       NL   braintree         EUR   TVPAD-004                        250   15   2     485
TVP-14051247   May   5/20/2014   complete   Wai            Cheung          NL   Wai            Cheung       NL   braintree         EUR   HGIFT2                             0    0   2       0
TVP-14051248   May   5/20/2014   complete   Bo             Li              NZ   Bo             Li           NZ   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14051248   May   5/20/2014   complete   Bo             Li              NZ   Bo             Li           NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051249   May   5/21/2014   complete   Wang           Chiu            CA   Wang           Chiu         CA   braintree         CAD   TVPAD-004                        259   10   1     249
TVP-14051249   May   5/21/2014   complete   Wang           Chiu            CA   Wang           Chiu         CA   braintree         CAD   HGIFT2                             0    0   1       0
TVP-14051250   May   5/21/2014   complete   kwok wai       yim             CA   kwok           yim          CA   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14051250   May   5/21/2014   complete   kwok wai       yim             CA   kwok           yim          CA   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051251   May   5/21/2014   complete   Taewon         PARK            FR   Taewon         PARK         FR   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051251   May   5/21/2014   complete   Taewon         PARK            FR   Taewon         PARK         FR   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051252   May   5/21/2014   complete   R.             Koops           NL   R.             Koops        NL   paypal_standard   EUR   TVPAD-004                        259   20   1     239
TVP-14051252   May   5/21/2014   complete   R.             Koops           NL   R.             Koops        NL   paypal_standard   EUR   HGIFT2                             0    0   1       0
TVP-14051253   May   5/21/2014   complete   angela         gee             US   angela         gee          US   braintree         USD   TVPAD-004                        250   10   2     490
TVP-14051253   May   5/21/2014   complete   angela         gee             US   angela         gee          US   braintree         USD   HGIFT2                             0    0   2       0
TVP-14051254   May   5/21/2014   complete   Jianhui        Tan             US   Jianhui        Tan          US   paypal_standard   USD   TVPAD-004                        259   10   1     249
TVP-14051254   May   5/21/2014   complete   Jianhui        Tan             US   Jianhui        Tan          US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14051255   May   5/21/2014   complete   seung          ryoo            US   seung          ryoo         US   braintree         USD   TVPAD-AC-004                   29.99    0   1   29.99
TVP-14051256   May   5/21/2014   complete   Kyung          Seo             US   Kyung          Seo          US   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14051256   May   5/21/2014   complete   Kyung          Seo             US   Kyung          Seo          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051257   May   5/21/2014   complete   Ivy            Joe             NZ   Ivy            Joe          NZ   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14051257   May   5/21/2014   complete   Ivy            Joe             NZ   Ivy            Joe          NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051259   May   5/22/2014   complete   KANG           WOON            MX   KANG           WOON         MX   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14051259   May   5/22/2014   complete   KANG           WOON            MX   KANG           WOON         MX   braintree         USD   HGIFT2                             0    0   1       0
TVP-14051260   May   5/22/2014   complete   Eui            Pyo             US   Eui            Pyo          US   braintree         USD   TVPAD-004                        259   20   1     239
TVP-14051261   May   5/22/2014   complete   william        kwan            US   william        kwan         US   braintree         USD   TVPAD-004                        250   10   2     490
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TVP-14051261   May   5/22/2014   complete   william       kwan         US   william      kwan         US   braintree         USD   HGIFT2             0    0   2       0
TVP-14051262   May   5/22/2014   complete   YOO           HONG         US   YOO          HONG         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14051263   May   5/22/2014   complete   kyung         min          CA   kyung        min          CA   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14051263   May   5/22/2014   complete   kyung         min          CA   kyung        min          CA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14051264   May   5/22/2014   complete   Leilei        Shen         AU   Leilei       Shen         AU   braintree         AUD   TVPAD-007       259     0   1    259
TVP-14051264   May   5/22/2014   complete   Leilei        Shen         AU   Leilei       Shen         AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14051265   May   5/22/2014   complete   Tony          Chow         CA   Tony         Chow         CA   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051265   May   5/22/2014   complete   Tony          Chow         CA   Tony         Chow         CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14051266   May   5/22/2014   complete   Shu           liao         US   Shu          liao         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051266   May   5/22/2014   complete   Shu           liao         US   Shu          liao         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14051267   May   5/22/2014   complete   Anthony       Lai          NZ   Anthony      Lai          NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051267   May   5/22/2014   complete   Anthony       Lai          NZ   Anthony      Lai          NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14051268   May   5/23/2014   complete   Marino        Joa          US   Marino       Joa          US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14051268   May   5/23/2014   complete   Marino        Joa          US   Marino       Joa          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14051269   May   5/22/2014   complete   Tinlan        Wu           US   Tinlan       Wu           US   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14051269   May   5/22/2014   complete   Tinlan        Wu           US   Tinlan       Wu           US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14051270   May   5/22/2014   complete   MANFIELD      TANG         US   MANFIELD     TANG         US   braintree         USD   TVPAD-007       259    30   1    229
TVP-14051270   May   5/22/2014   complete   MANFIELD      TANG         US   MANFIELD     TANG         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14051271   May   5/22/2014   complete   Haiqing       Wang         AU   Haiqing      Wang         AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051271   May   5/22/2014   complete   Haiqing       Wang         AU   Haiqing      Wang         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14051272   May   5/22/2014   complete   Chris         mcLaughlin   GB   Chris        mcLaughlin   GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14051272   May   5/22/2014   complete   Chris         mcLaughlin   GB   Chris        mcLaughlin   GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14051273   May   5/22/2014   complete   Annie         Chen         GB   Annie        Chen         GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14051273   May   5/22/2014   complete   Annie         Chen         GB   Annie        Chen         GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14051274   May   5/22/2014   complete   Isha          Pang         AU   Isha         Pang         AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051274   May   5/22/2014   complete   Isha          Pang         AU   Isha         Pang         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14051275   May   5/22/2014   complete   Mark          Tang         US   Mark         Tang         US   paypal_standard   USD   TVPAD-007       259    30   1    229
TVP-14051275   May   5/22/2014   complete   Mark          Tang         US   Mark         Tang         US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14051276   May   5/23/2014   complete   Zheng         Zeng         AU   Zheng        Zeng         AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14051276   May   5/23/2014   complete   Zheng         Zeng         AU   Zheng        Zeng         AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-70011217   May   5/23/2014   complete   CECILIA       FONG         VE   CECILIA      FONG         VE   braintree         USD   TVPAD-007       259    10   1    249
TVP-70011217   May   5/23/2014   complete   CECILIA       FONG         VE   CECILIA      FONG         VE   braintree         USD   HGIFT2             0    0   1       0
TVP-14051277   May   5/23/2014   complete   sau           li           US   sau          li           US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051277   May   5/23/2014   complete   sau           li           US   sau          li           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14051278   May   5/23/2014   complete   Chun-Wai      Chung        SE   Chun-Wai     Chung        SE   braintree         USD   TVPAD-007       259    10   1    249
TVP-14051279   May   5/23/2014   complete   Maria         Wong         AU   Maria        Wong         AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051279   May   5/23/2014   complete   Maria         Wong         AU   Maria        Wong         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14051280   May   5/23/2014   complete   GuoQiang      Lu           SE   GuoQiang     Lu           SE   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051280   May   5/23/2014   complete   GuoQiang      Lu           SE   GuoQiang     Lu           SE   braintree         USD   HGIFT2             0    0   1       0
TVP-14051281   May   5/24/2014   complete   eliza         low          AU   eliza        low          AU   paypal_standard   USD   TVPAD-004       250    15   2    485
TVP-14051281   May   5/24/2014   complete   eliza         low          AU   eliza        low          AU   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14051282   May   5/24/2014   complete   chi           lee          US   chi          lee          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051282   May   5/24/2014   complete   chi           lee          US   chi          lee          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14051283   May   5/24/2014   complete   David         Woo          CA   David        Woo          CA   paypal_standard   CAD   TVPAD-007       259    15   1    244
TVP-14051283   May   5/24/2014   complete   David         Woo          CA   David        Woo          CA   paypal_standard   CAD   HGIFT2             0    0   1       0
TVP-14051284   May   5/25/2014   complete   Chan          Helen        CA   Chan         Helen        CA   braintree         CAD   TVPAD-004       259    10   1    249
TVP-14051284   May   5/25/2014   complete   Chan          Helen        CA   Chan         Helen        CA   braintree         CAD   HGIFT2             0    0   1       0
TVP-14051285   May   5/24/2014   complete   Yu-Eng        Cheng        US   Yu-Eng       Cheng        US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14051285   May   5/24/2014   complete   Yu-Eng        Cheng        US   Yu-Eng       Cheng        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14051286   May   5/24/2014   complete   Poh           TanLi        US   Poh          TanLi        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051286   May   5/24/2014   complete   Poh           TanLi        US   Poh          TanLi        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14051287   May   5/24/2014   complete   Eddy          Tsu          US   Eddy         Tsu          US   braintree         USD   TVPAD-007       259    30   1    229
TVP-14051287   May   5/24/2014   complete   Eddy          Tsu          US   Eddy         Tsu          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14051288   May   5/24/2014   complete   Byong         Park         CA   Byong        Park         CA   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14051288   May   5/24/2014   complete   Byong         Park         CA   Byong        Park         CA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14051289   May   5/24/2014   complete   Vincho        Cheung       GB   Vincho       Cheung       GB   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14051289   May   5/24/2014   complete   Vincho        Cheung       GB   Vincho       Cheung       GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14051290   May   5/25/2014   complete   Yale          Feng         NZ   Yale         Feng         NZ   braintree         USD   TVPAD-004       259    15   1    244
TVP-14051290   May   5/25/2014   complete   Yale          Feng         NZ   Yale         Feng         NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14051291   May   5/25/2014   complete   Helen         Liu          AU   Helen        Liu          AU   braintree         USD   TVPAD-007       259    15   1    244
TVP-14051291   May   5/25/2014   complete   Helen         Liu          AU   Helen        Liu          AU   braintree         USD   HGIFT2             0    0   1       0
TVP-70011218   May   5/24/2014   complete   Christina     chen         IE   Christina    chen         IE   paypal_standard   EUR   TVPAD-004       250    10   2    490
TVP-70011218   May   5/24/2014   complete   Christina     chen         IE   Christina    chen         IE   paypal_standard   EUR   HGIFT2             0    0   2       0
TVP-14051295   May   5/26/2014   complete   Joel          kim          SG   Joel         kim          SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051295   May   5/26/2014   complete   Joel          kim          SG   Joel         kim          SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14051297   May   5/25/2014   complete   Che           chan         US   Che          chan         US   paypal_standard   USD   TVPAD-007       259    30   1    229
TVP-14051298   May   5/25/2014   complete   PAUL          LEUNG        US   PAUL         LEUNG        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14051298   May   5/25/2014   complete   PAUL          LEUNG        US   PAUL         LEUNG        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14051299   May   5/26/2014   complete   Francis       Lee          AU   Florence     Liew         AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14051299   May   5/26/2014   complete   Francis       Lee          AU   Florence     Liew         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14051300   May   5/26/2014   complete   CHENYANG      XU           AU   CHENYANG     XU           AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14051300   May   5/26/2014   complete   CHENYANG      XU           AU   CHENYANG     XU           AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14051301   May   5/26/2014   complete   Kwok          Tang         US   Kwok         Tang         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14051302   May   5/26/2014   complete   ZHANG         YI           SG   ZHANG        YI           SG   braintree         USD   TVPAD-007       259    10   1    249
TVP-14051302   May   5/26/2014   complete   ZHANG         YI           SG   ZHANG        YI           SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14051303   May   5/26/2014   complete   Yiwen         Hu           AU   Yiwen        Hu           AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14051303   May   5/26/2014   complete   Yiwen         Hu           AU   Yiwen        Hu           AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14051304   May   5/26/2014   complete   Wei           Zhu          NZ   Wei          Zhu          NZ   braintree         USD   TVPAD-004       250    10   2    490
TVP-14051304   May   5/26/2014   complete   Wei           Zhu          NZ   Wei          Zhu          NZ   braintree         USD   HGIFT2             0    0   2       0
TVP-14051305   May   5/26/2014   complete   You           Ku           US   You          Ku           US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14051305   May   5/26/2014   complete   You           Ku           US   You          Ku           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14051306   May   5/26/2014   complete   Hun           Jeong        SE   Hun          Jeong        SE   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14051306   May   5/26/2014   complete   Hun           Jeong        SE   Hun          Jeong        SE   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14051307   May   5/26/2014   complete   Aaron         Im           NZ   Aaron        Im           NZ   braintree         USD   TVPAD-007       259    10   1    249
TVP-14051307   May   5/26/2014   complete   Aaron         Im           NZ   Aaron        Im           NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14051308   May   5/26/2014   complete   Moontaik      Lim          QA   Moontaik     Lim          QA   paypal_standard   USD   TVPAD-007       259    30   1    229
TVP-14051308   May   5/26/2014   complete   Moontaik      Lim          QA   Moontaik     Lim          QA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14051309   May   5/26/2014   complete   Byung         Kim          US   Byung        Kim          US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14051309   May   5/26/2014   complete   Byung         Kim          US   Byung        Kim          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14051310   May   5/26/2014   complete   Mrs           Wong         GB   Mrs          Wong         GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14051310   May   5/26/2014   complete   Mrs           Wong         GB   Mrs          Wong         GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14051311   May   5/26/2014   complete   Gary          saxton       US   Gary         saxton       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051311   May   5/26/2014   complete   Gary          saxton       US   Gary         saxton       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14051312   May   5/26/2014   complete   Kevin         Kwan         GB   Kevin        Kwan         GB   paypal_standard   GBP   TVPAD-007       259    15   1    244
TVP-14051312   May   5/26/2014   complete   Kevin         Kwan         GB   Kevin        Kwan         GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14051313   May   5/26/2014   complete   Jerry         Hom          US   Jerry        Hom          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051313   May   5/26/2014   complete   Jerry         Hom          US   Jerry        Hom          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14051315   May   5/26/2014   complete   Elaine        chung        GB   Elaine       chung        GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-14051315   May   5/26/2014   complete   Elaine        chung        GB   Elaine       chung        GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14051316   May   5/26/2014   complete   Terry         Fong         AU   Terry        Fong         AU   paypal_standard   AUD   TVPAD-004       259    20   1    239
TVP-14051316   May   5/26/2014   complete   Terry         Fong         AU   Terry        Fong         AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14051318   May   5/26/2014   complete   Tsong-Yuan    Chen         TH   Tsong-Yuan   Chen         TH   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051318   May   5/26/2014   complete   Tsong-Yuan    Chen         TH   Tsong-Yuan   Chen         TH   braintree         USD   HGIFT2             0    0   1       0
TVP-14051319   May   5/26/2014   complete   LEE           CHANGHAE     ID   LEE          CHANGHAE     ID   braintree         USD   TVPAD-004       259    20   1    239
TVP-14051319   May   5/26/2014   complete   LEE           CHANGHAE     ID   LEE          CHANGHAE     ID   braintree         USD   HGIFT2             0    0   1       0
TVP-14051320   May   5/26/2014   complete   Amy           Ahn          SG   Amy          Ahn          SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051320   May   5/26/2014   complete   Amy           Ahn          SG   Amy          Ahn          SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14051321   May   5/26/2014   complete   Miller        WANG         NZ   Miller       WANG         NZ   braintree         USD   TVPAD-007       259    10   1    249
TVP-14051321   May   5/26/2014   complete   Miller        WANG         NZ   Miller       WANG         NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14051322   May   5/26/2014   complete   Steven        Wong         MY   Steven       Wong         MY   braintree         USD   TVPAD-007       259    10   1    249
TVP-14051322   May   5/26/2014   complete   Steven        Wong         MY   Steven       Wong         MY   braintree         USD   HGIFT2             0    0   1       0
TVP-14051323   May   5/26/2014   complete   Good          Realty       AU   Good         Realty       AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14051323   May   5/26/2014   complete   Good          Realty       AU   Good         Realty       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14051324   May   5/26/2014   complete   Duc           Trinh        SE   Duc          Trinh        SE   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051324   May   5/26/2014   complete   Duc           Trinh        SE   Duc          Trinh        SE   braintree         USD   HGIFT2             0    0   1       0
TVP-14051325   May   5/27/2014   complete   bosun         Yoo          NZ   Bosun        Yoo          NZ   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14051325   May   5/27/2014   complete   bosun         Yoo          NZ   Bosun        Yoo          NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14051326   May   5/27/2014   complete   wenhui        zheng        GB   wenhui       zheng        GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-14051326   May   5/27/2014   complete   wenhui        zheng        GB   wenhui       zheng        GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14051327   May   5/27/2014   complete   Stephen       Tang         US   Stephen      Tang         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051327   May   5/27/2014   complete   Stephen       Tang         US   Stephen      Tang         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14051328   May   5/27/2014   complete   Victor        Poon         GB   Victor       Poon         GB   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051328   May   5/27/2014   complete   Victor        Poon         GB   Victor       Poon         GB   braintree         USD   HGIFT2             0    0   1       0
TVP-14051329   May   5/27/2014   complete   Catherine     Tong-Yette   RE   Catherine    Tong-Yette   RE   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051329   May   5/27/2014   complete   Catherine     Tong-Yette   RE   Catherine    Tong-Yette   RE   braintree         USD   HGIFT2             0    0   1       0
TVP-14051331   May   5/28/2014   complete   JAMES         WONG         US   JAMES        WONG         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14051331   May   5/28/2014   complete   JAMES         WONG         US   JAMES        WONG         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14051332   May   5/27/2014   complete   JACKY         CHAN         US   JACKY        CHAN         US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14051332   May   5/27/2014   complete   JACKY         CHAN         US   JACKY        CHAN         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14051333   May   5/27/2014   complete   Henry Seung   Ng           AU   Henry        Ng           AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14051333   May   5/27/2014   complete   Henry Seung   Ng           AU   Henry        Ng           AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14051334   May   5/27/2014   complete   Jun           Qian         AU   Jun          Qian         AU   braintree         AUD   TVPAD-007       259    10   1    249
TVP-14051334   May   5/27/2014   complete   Jun           Qian         AU   Jun          Qian         AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14051335   May   5/27/2014   complete   JIAXUN        SUN          AU   JIAXUN       SUN          AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051335   May   5/27/2014   complete   JIAXUN        SUN          AU   JIAXUN       SUN          AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14051336   May   5/28/2014   complete   Vongthavy     Rongle       FR   Vongthavy    Rongle       FR   paypal_standard   EUR   TVPAD-004       259    10   1    249
TVP-14051336   May   5/28/2014   complete   Vongthavy     Rongle       FR   Vongthavy    Rongle       FR   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14051337   May   5/28/2014   complete   Chee          Yip          NZ   Chee         Yip          NZ   paypal_standard   USD   TVPAD-007       250    10   2    490
TVP-14051337   May   5/28/2014   complete   Chee          Yip          NZ   Chee         Yip          NZ   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14051338   May   5/28/2014   complete   ZIYUAN        FAN          AU   ZIYUAN       FAN          AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14051338   May   5/28/2014   complete   ZIYUAN        FAN          AU   ZIYUAN       FAN          AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14051339   May   5/28/2014   complete   kiet          quang        GB   kiet         quang        GB   paypal_standard   GBP   TVPAD-AC-004   29.99    0   1   29.99
TVP-14051340   May   5/28/2014   complete   Ophélie       Zeng         FR   Ophélie      Zeng         FR   braintree         EUR   TVPAD-004       259    10   1    249
TVP-14051340   May   5/28/2014   complete   Ophélie       Zeng         FR   Ophélie      Zeng         FR   braintree         EUR   HGIFT2             0    0   1       0
TVP-14051341   May   5/28/2014   complete   Michelle      Cheung       GB   Michelle     Cheung       GB   braintree         GBP   TVPAD-004       250    15   2    485
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TVP-14051341   May    5/28/2014   complete   Michelle     Cheung    GB   Michelle     Cheung    GB   braintree         GBP   HGIFT2             0      0   2        0
TVP-14051342   May    5/28/2014   complete   Chi          Kim       US   Chi          Kim       US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14051342   May    5/28/2014   complete   Chi          Kim       US   Chi          Kim       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14051343   May    5/28/2014   complete   Minwoo       Song      US   Minwoo       Song      US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14051343   May    5/28/2014   complete   Minwoo       Song      US   Minwoo       Song      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14051344   May     6/4/2014   complete   jung         son       US   jung         son       US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14051344   May     6/4/2014   complete   jung         son       US   jung         son       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14051345   May    5/28/2014   complete   Daniel       Li        US   Daniel       Li        US   paypal_standard   USD   TVPAD-007       259      15   1     244
TVP-14051345   May    5/28/2014   complete   Daniel       Li        US   Daniel       Li        US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14051346   May    5/28/2014   complete   Warren       Hsing     US   Warren       Hsing     US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14051346   May    5/28/2014   complete   Warren       Hsing     US   Warren       Hsing     US   braintree         USD   HGIFT2             0      0   1        0
TVP-14051347   May    5/28/2014   complete   Andrew       Price     US   Andrew       Price     US   paypal_standard   USD   TVPAD-007       259      15   1     244
TVP-14051347   May    5/28/2014   complete   Andrew       Price     US   Andrew       Price     US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14051348   May    5/28/2014   complete   Chien-Fa     Mao       TW   Chien-Fa     Mao       TW   braintree         USD   TVPAD-AC-004   29.99      0   1    29.99
TVP-14051349   May    5/29/2014   complete   Song         Li        AU   Song         Li        AU   braintree         USD   TVPAD-007       259      15   1     244
TVP-14051349   May    5/29/2014   complete   Song         Li        AU   Song         Li        AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14051350   May    5/29/2014   complete   Hoi-Ting     Yu        DE   Hoi-Ting     Yu        DE   paypal_standard   USD   TVPAD-007       259      20   1     239
TVP-14051350   May    5/29/2014   complete   Hoi-Ting     Yu        DE   Hoi-Ting     Yu        DE   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14051351   May    5/28/2014   complete   Kit          Chang     US   Kit          Chang     US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14051351   May    5/28/2014   complete   Kit          Chang     US   Kit          Chang     US   braintree         USD   HGIFT2             0      0   1        0
TVP-14051352   May    5/29/2014   complete   Adrain       Yee       US   Adrain       Yee       US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14051352   May    5/29/2014   complete   Adrain       Yee       US   Adrain       Yee       US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14051354   May    5/29/2014   complete   Peter        Vo        GB   Peter        Vo        GB   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14051354   May    5/29/2014   complete   Peter        Vo        GB   Peter        Vo        GB   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14051355   May    5/29/2014   complete   James        Chung     US   James        Chung     US   braintree         USD   HGIFT2         29.99     10   1    19.99
TVP-14051356   May    5/29/2014   complete   ZHONG        WANG      GB   ZHONG        WANG      GB   braintree         GBP   TVPAD-004       259      10   1     249
TVP-14051356   May    5/29/2014   complete   ZHONG        WANG      GB   ZHONG        WANG      GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14051357   May    5/29/2014   complete   Lisa         Tsang     IE   Lisa         Tsang     IE   braintree         USD   TVPAD-007       259      15   1     244
TVP-14051357   May    5/29/2014   complete   Lisa         Tsang     IE   Lisa         Tsang     IE   braintree         USD   HGIFT2             0      0   1        0
TVP-14051358   May    5/29/2014   complete   Jason        Loh       AU   Jason        Loh       AU   braintree         AUD   TVPAD-RB-004    195       0   1     195
TVP-14051359   May    5/29/2014   complete   Herman       Ho        AU   Herman       Ho        AU   braintree         AUD   TVPAD-004       259      10   1     249
TVP-14051359   May    5/29/2014   complete   Herman       Ho        AU   Herman       Ho        AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14051360   May    5/29/2014   complete   Daniel       Chung     AU   Daniel       Chung     AU   paypal_standard   AUD   TVPAD-007       259      15   1     244
TVP-14051360   May    5/29/2014   complete   Daniel       Chung     AU   Daniel       Chung     AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14051361   May    5/29/2014   complete   Haizhen      Chen      AU   Haizhen      Chen      AU   braintree         AUD   TVPAD-004       250      10   2     490
TVP-14051361   May    5/29/2014   complete   Haizhen      Chen      AU   Haizhen      Chen      AU   braintree         AUD   HGIFT2             0      0   2        0
TVP-14051362   May    5/29/2014   complete   Chieng       Ngie      MY   Chieng       Ngie      MY   braintree         USD   TVPAD-004       259      10   1     249
TVP-14051362   May    5/29/2014   complete   Chieng       Ngie      MY   Chieng       Ngie      MY   braintree         USD   HGIFT2             0      0   1        0
TVP-14051363   May    5/30/2014   complete   James        Sun       SG   James        Sun       SG   braintree         USD   TVPAD-004       259      10   1     249
TVP-14051363   May    5/30/2014   complete   James        Sun       SG   James        Sun       SG   braintree         USD   HGIFT2             0      0   1        0
TVP-14051364   May    5/30/2014   complete   Hin          Low       MY   Hin          Low       MY   braintree         USD   TVPAD-007       259      10   1     249
TVP-14051364   May    5/30/2014   complete   Hin          Low       MY   Hin          Low       MY   braintree         USD   HGIFT2             0      0   1        0
TVP-14051365   May    5/30/2014   complete   Pui          Choe      US   Pui          Choe      US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14051365   May    5/30/2014   complete   Pui          Choe      US   Pui          Choe      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14051366   May    5/30/2014   complete   Vincent      Hsia      US   Vincent      Hsia      US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14051366   May    5/30/2014   complete   Vincent      Hsia      US   Vincent      Hsia      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14051367   May    5/30/2014   complete   jimmy        wong      US   jimmy        wong      US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14051367   May    5/30/2014   complete   jimmy        wong      US   jimmy        wong      US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14051368   May    5/30/2014   complete   Hock-Kiong   Lim       BN   Hock-Kiong   Lim       BN   braintree         USD   TVPAD-004       259      20   1     239
TVP-14051368   May    5/30/2014   complete   Hock-Kiong   Lim       BN   Hock-Kiong   Lim       BN   braintree         USD   HGIFT2             0      0   1        0
TVP-14051369   May    5/30/2014   complete   JEANETTE     LIU       GB   JEANETTE     LIU       GB   paypal_standard   GBP   TVPAD-007       259      15   1     244
TVP-14051369   May    5/30/2014   complete   JEANETTE     LIU       GB   JEANETTE     LIU       GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14051370   May    5/30/2014   complete   WAI KHUN     CHUN      SG   WAI          CHUN      SG   paypal_standard   GBP   TVPAD-007       250      10   2     490
TVP-14051370   May    5/30/2014   complete   WAI KHUN     CHUN      SG   WAI          CHUN      SG   paypal_standard   GBP   HGIFT2             0      0   2        0
TVP-14051371   May    5/30/2014   complete   Young        Lee       US   Young        Lee       US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14051371   May    5/30/2014   complete   Young        Lee       US   Young        Lee       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14051374   May    5/30/2014   complete   Jessica      Lui       GB   Jessica      Lui       GB   paypal_standard   GBP   TVPAD-007       250      15   2     485
TVP-14051374   May    5/30/2014   complete   Jessica      Lui       GB   Jessica      Lui       GB   paypal_standard   GBP   HGIFT2             0      0   2        0
TVP-14051375   May    5/30/2014   complete   Huan         Chen      GB   Huan         Chen      GB   braintree         GBP   TVPAD-007       259    8.96   1   250.04
TVP-14051375   May    5/30/2014   complete   Huan         Chen      GB   Huan         Chen      GB   braintree         GBP   TVPAD-AC-004   29.99   1.04   1    28.95
TVP-14051375   May    5/30/2014   complete   Huan         Chen      GB   Huan         Chen      GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14051376   May    5/30/2014   complete   Xinyao       Chen      AU   Xinyao       Chen      AU   braintree         AUD   TVPAD-004       259      10   1     249
TVP-14051376   May    5/30/2014   complete   Xinyao       Chen      AU   Xinyao       Chen      AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14051377   May    5/30/2014   complete   ZHen         YaoHan    GB   ZHen         YaoHan    GB   braintree         GBP   TVPAD-004       259      10   1     249
TVP-14051377   May    5/30/2014   complete   ZHen         YaoHan    GB   ZHen         YaoHan    GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14051378   May    5/30/2014   complete   wing         Lam       CA   wing         Lam       CA   braintree         USD   TVPAD-004       259      10   1     249
TVP-14051378   May    5/30/2014   complete   wing         Lam       CA   wing         Lam       CA   braintree         USD   HGIFT2             0      0   1        0
TVP-14051379   May    5/30/2014   complete   Jeff         Kim       NZ   Jeff         Kim       NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14051379   May    5/30/2014   complete   Jeff         Kim       NZ   Jeff         Kim       NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14051380   May    5/30/2014   complete   Raymond      Ngan      NZ   Raymond      Ngan      NZ   braintree         USD   TVPAD-007       259      10   1     249
TVP-14051380   May    5/30/2014   complete   Raymond      Ngan      NZ   Raymond      Ngan      NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14051381   May    5/30/2014   complete   YANXIU       Li        US   Manhua       Lin       US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14051381   May    5/30/2014   complete   YANXIU       Li        US   Manhua       Lin       US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14051382   May    5/30/2014   complete   Hiu          Tse       NZ   Hiu          Tse       NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14051382   May    5/30/2014   complete   Hiu          Tse       NZ   Hiu          Tse       NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14051383   May    5/30/2014   complete   Lingzhou     Kong      AU   Lingzhou     Kong      AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14051383   May    5/30/2014   complete   Lingzhou     Kong      AU   Lingzhou     Kong      AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14051384   May    5/30/2014   complete   Ya           Liu       AU   Ya           Liu       AU   braintree         USD   TVPAD-004       259      15   1     244
TVP-14051384   May    5/30/2014   complete   Ya           Liu       AU   Ya           Liu       AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14051385   May    5/30/2014   complete   Cheng-Huei   Kuo       SE   Cheng-Huei   Kuo       SE   braintree         USD   TVPAD-007       250      10   2     490
TVP-14051385   May    5/30/2014   complete   Cheng-Huei   Kuo       SE   Cheng-Huei   Kuo       SE   braintree         USD   HGIFT2             0      0   2        0
TVP-14051386   May    5/30/2014   complete   Yim          Tang      US   Yim          Tang      US   braintree         USD   TVPAD-007       259      15   1     244
TVP-14051386   May    5/30/2014   complete   Yim          Tang      US   Yim          Tang      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14051387   May    5/30/2014   complete   fleming      mo        NZ   fleming      mo        NZ   braintree         USD   TVPAD-004       259      15   1     244
TVP-14051387   May    5/30/2014   complete   fleming      mo        NZ   fleming      mo        NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14051388   May    5/30/2014   complete   Wei          Yang      NZ   Wei          Yang      NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14051388   May    5/30/2014   complete   Wei          Yang      NZ   Wei          Yang      NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14051389   May    5/31/2014   complete   PING         YUNG      AU   PING         YUNG      AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14051389   May    5/31/2014   complete   PING         YUNG      AU   PING         YUNG      AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14051390   May    5/31/2014   complete   eric         yang      US   eric         yang      US   paypal_standard   USD   TVPAD-RB-004    195       0   1     195
TVP-14051391   May    5/31/2014   complete   Vivien       Chau      GB   Lai          Wong      GB   braintree         GBP   TVPAD-004       259      15   1     244
TVP-14051391   May    5/31/2014   complete   Vivien       Chau      GB   Lai          Wong      GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14051392   May    5/31/2014   complete   Ha           Lo        GB   Ha           Lo        GB   paypal_standard   GBP   TVPAD-004       259      10   1     249
TVP-14051392   May    5/31/2014   complete   Ha           Lo        GB   Ha           Lo        GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14051393   May    5/31/2014   complete   Kenneth      Tam       US   Kenneth      Tam       US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14051393   May    5/31/2014   complete   Kenneth      Tam       US   Kenneth      Tam       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14051394   May    5/31/2014   complete   Brandon      Fang      US   Brandon      Fang      US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14051394   May    5/31/2014   complete   Brandon      Fang      US   Brandon      Fang      US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14051395   May    5/31/2014   complete   Stephen      Chun      SG   Stephen      Chun      SG   braintree         USD   TVPAD-004        259     10   1      249
TVP-14051395   May    5/31/2014   complete   Stephen      Chun      SG   Stephen      Chun      SG   braintree         USD   HGIFT2             0      0   1        0
TVP-14051396   May    5/31/2014   complete   suzan        jin       SG   suzan        jin       SG   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14051396   May    5/31/2014   complete   suzan        jin       SG   suzan        jin       SG   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14051397   May    5/31/2014   complete   Hung-Yuan    Hsu       US   Hung-Yuan    Hsu       US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14051397   May    5/31/2014   complete   Hung-Yuan    Hsu       US   Hung-Yuan    Hsu       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14051399   May     6/1/2014   complete   Simon        Chan      AU   Simon        Chan      AU   braintree         USD   TVPAD-007       259      15   1      244
TVP-14051399   May     6/1/2014   complete   Simon        Chan      AU   Simon        Chan      AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14051400   May     6/1/2014   complete   barry        chung     GB   barry        chung     GB   braintree         USD   TVPAD-004       259      10   1      249
TVP-14051400   May     6/1/2014   complete   barry        chung     GB   barry        chung     GB   braintree         USD   HGIFT2             0      0   1        0
TVP-14051401   May     6/1/2014   complete   Thomas       Lui       AU   Thomas       Lui       AU   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14051401   May     6/1/2014   complete   Thomas       Lui       AU   Thomas       Lui       AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14051402   May     6/1/2014   complete   MongLi       Ng        AU   MongLi       Ng        AU   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14051402   May     6/1/2014   complete   MongLi       Ng        AU   MongLi       Ng        AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14051403   May     6/1/2014   complete   Boris        Lim       AU   Boris        Lim       AU   paypal_standard   AUD   TVPAD-007       259      10   1     249
TVP-14051403   May     6/1/2014   complete   Boris        Lim       AU   Boris        Lim       AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14051404   May     6/1/2014   complete   Andy         Woo       AE   Andy         Woo       AE   braintree         USD   TVPAD-007        259     10   1      249
TVP-14051404   May     6/1/2014   complete   Andy         Woo       AE   Andy         Woo       AE   braintree         USD   HGIFT2             0      0   1        0
TVP-14051405   May     6/1/2014   complete   Alan         Ko        US   Alan         Ko        US   braintree         USD   TVPAD-007       259      10   1      249
TVP-14051405   May     6/1/2014   complete   Alan         Ko        US   Alan         Ko        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14051406   May     6/1/2014   complete   Sam          Gi        US   Sam          Gi        US   braintree         USD   TVPAD-004       259      15   1     244
TVP-14051406   May     6/1/2014   complete   Sam          Gi        US   Sam          Gi        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14051407   May     6/2/2014   complete   Melissa      Wong      US   Ronald       Wong      US   paypal_standard   USD   TVPAD-007       259      20   1     239
TVP-14051407   May     6/2/2014   complete   Melissa      Wong      US   Ronald       Wong      US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14051408   June    6/2/2014   complete   JOSEPHINE    SU        NZ   JOSEPHINE    SU        NZ   braintree         USD   TVPAD-007       259      15   1     244
TVP-14051408   June    6/2/2014   complete   JOSEPHINE    SU        NZ   JOSEPHINE    SU        NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14051409   June    6/2/2014   complete   Karen        Lee       NZ   Karen        Lee       NZ   braintree         USD   TVPAD-007       259      20   1      239
TVP-14051409   June    6/2/2014   complete   Karen        Lee       NZ   Karen        Lee       NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14061010   June    6/2/2014   complete   Cheng        HoChing   AU   Cheng        HoChing   AU   braintree         AUD   TVPAD-007       259      20   1      239
TVP-14061010   June    6/2/2014   complete   Cheng        HoChing   AU   Cheng        HoChing   AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14061011   June    6/2/2014   complete   Wenjie       cai       AU   Wenjie       cai       AU   braintree         USD   TVPAD-004        259     20   1      239
TVP-14061011   June    6/2/2014   complete   Wenjie       cai       AU   Wenjie       cai       AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14061012   June    6/2/2014   complete   Ayami        Suzuki    AU   Ayami        Suzuki    AU   paypal_standard   USD   TVPAD-004       259      10   1      249
TVP-14061012   June    6/2/2014   complete   Ayami        Suzuki    AU   Ayami        Suzuki    AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14061013   June    6/2/2014   complete   Sean         Hong      AU   Sean         Hong      AU   braintree         USD   TVPAD-004       259      20   1     239
TVP-14061013   June    6/2/2014   complete   Sean         Hong      AU   Sean         Hong      AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14061014   June    6/2/2014   complete   Robert       Fokkema   NL   Robert       Fokkema   NL   braintree         EUR   TVPAD-007       259      20   1      239
TVP-14061014   June    6/2/2014   complete   Robert       Fokkema   NL   Robert       Fokkema   NL   braintree         EUR   HGIFT2             0      0   1        0
TVP-14061016   June    6/2/2014   complete   Pek          Ng        US   Pek          Ng        US   braintree         USD   TVPAD-007       259      20   1      239
TVP-14061016   June    6/2/2014   complete   Pek          Ng        US   Pek          Ng        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061017   June    6/2/2014   complete   Chris        kwok      US   Chris        kwok      US   braintree         USD   TVPAD-007       259      20   1      239
TVP-14061017   June    6/2/2014   complete   Chris        kwok      US   Chris        kwok      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061018   June    6/2/2014   complete   Gordon       Tanfg     US   Gordon       Tanfg     US   paypal_standard   USD   TVPAD-007       259      20   1      239
TVP-14061018   June    6/2/2014   complete   Gordon       Tanfg     US   Gordon       Tanfg     US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14061019   June    6/2/2014   complete   Jason        Jia       US   Jason        Jia       US   braintree         USD   TVPAD-004        259     20   1      239
TVP-14061019   June    6/2/2014   complete   Jason        Jia       US   Jason        Jia       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061021   June    6/2/2014   complete   Sonia        Tay       SG   Sonia        Tay       SG   paypal_standard   USD   TVPAD-004       259      20   1      239
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                                   #:20471
TVP-14061021   June   6/2/2014   complete   Sonia       Tay           SG   Sonia       Tay           SG   paypal_standard   USD   HGIFT2          0    0   1       0
TVP-14061022   June   6/2/2014   complete   Minh        Tat           US   Minh        Tat           US   paypal_standard   USD   TVPAD-004    259    20   1    239
TVP-14061022   June   6/2/2014   complete   Minh        Tat           US   Minh        Tat           US   paypal_standard   USD   HGIFT2          0    0   1       0
TVP-14061023   June   6/2/2014   complete   JIMMY       JIANG         AU   JIMMY       JIANG         AU   braintree         AUD   TVPAD-007    250    20   2    480
TVP-14061023   June   6/2/2014   complete   JIMMY       JIANG         AU   JIMMY       JIANG         AU   braintree         AUD   HGIFT2          0    0   2       0
TVP-14061024   June   6/2/2014   complete   Jenny       Lee           US   Jenny       Lee           US   braintree         USD   TVPAD-004    259    20   1    239
TVP-14061024   June   6/2/2014   complete   Jenny       Lee           US   Jenny       Lee           US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061025   June   6/2/2014   complete   Nathan      Kim           US   Nathan      Kim           US   paypal_standard   USD   TVPAD-004    259    10   1    249
TVP-14061025   June   6/2/2014   complete   Nathan      Kim           US   Nathan      Kim           US   paypal_standard   USD   HGIFT2          0    0   1       0
TVP-14061026   June   6/2/2014   complete   Yang        Zou           US   Yang        Zou           US   braintree         USD   TVPAD-007    259    10   1    249
TVP-14061026   June   6/2/2014   complete   Yang        Zou           US   Yang        Zou           US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061027   June   6/2/2014   complete   Ai          Huang         US   Tony        Huang         US   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061027   June   6/2/2014   complete   Ai          Huang         US   Tony        Huang         US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061028   June   6/2/2014   complete   Quihua      Lin           US   Quihua      Lin           US   paypal_standard   USD   TVPAD-007    259    10   1    249
TVP-14061028   June   6/2/2014   complete   Quihua      Lin           US   Quihua      Lin           US   paypal_standard   USD   HGIFT2          0    0   1       0
TVP-14061029   June   6/2/2014   complete   Youngsun    Kim           AE   Youngsun    Kim           AE   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061029   June   6/2/2014   complete   Youngsun    Kim           AE   Youngsun    Kim           AE   braintree         USD   HGIFT2          0    0   1       0
TVP-14061030   June   6/2/2014   complete   Xiangyu     Zhang         US   Xiangyu     Zhang         US   paypal_standard   USD   TVPAD-004    259    10   1    249
TVP-14061030   June   6/2/2014   complete   Xiangyu     Zhang         US   Xiangyu     Zhang         US   paypal_standard   USD   HGIFT2          0    0   1       0
TVP-14061031   June   6/2/2014   complete   Jung        Cho           AU   Jung        Cho           AU   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061031   June   6/2/2014   complete   Jung        Cho           AU   Jung        Cho           AU   braintree         USD   HGIFT2          0    0   1       0
TVP-14061032   June   6/2/2014   complete   Ling        Siu           AU   Ling        Siu           AU   paypal_standard   AUD   TVPAD-007    259    10   1    249
TVP-14061032   June   6/2/2014   complete   Ling        Siu           AU   Ling        Siu           AU   paypal_standard   AUD   HGIFT2          0    0   1       0
TVP-14061033   June   6/2/2014   complete   Xiaoming    He            AU   Xiaoming    He            AU   braintree         AUD   TVPAD-004    259    10   1    249
TVP-14061033   June   6/2/2014   complete   Xiaoming    He            AU   Xiaoming    He            AU   braintree         AUD   HGIFT2          0    0   1       0
TVP-14061034   June   6/2/2014   complete   qinyun      zhan          AU   qinyun      zhan          AU   braintree         USD   TVPAD-004    250    10   2    490
TVP-14061034   June   6/2/2014   complete   qinyun      zhan          AU   qinyun      zhan          AU   braintree         USD   HGIFT2          0    0   2       0
TVP-14061035   June   6/2/2014   complete   Edward      Hian          SG   Edward      Hian          SG   braintree         USD   TVPAD-004    250    10   2    490
TVP-14061035   June   6/2/2014   complete   Edward      Hian          SG   Edward      Hian          SG   braintree         USD   HGIFT2          0    0   2       0
TVP-14061036   June   6/2/2014   complete   Jin         Kim           US   Jin         Kim           US   paypal_standard   USD   TVPAD-004    259    10   1    249
TVP-14061036   June   6/2/2014   complete   Jin         Kim           US   Jin         Kim           US   paypal_standard   USD   HGIFT2          0    0   1       0
TVP-14061037   June   6/2/2014   complete   Robin       Yeoh          AU   Robin       Yeoh          AU   paypal_standard   USD   TVPAD-004    259    10   1    249
TVP-14061037   June   6/2/2014   complete   Robin       Yeoh          AU   Robin       Yeoh          AU   paypal_standard   USD   HGIFT2          0    0   1       0
TVP-14061038   June   6/3/2014   complete   Luke        lee           AU   Luke        lee           AU   braintree         USD   TVPAD-007    259    10   1    249
TVP-14061038   June   6/3/2014   complete   Luke        lee           AU   Luke        lee           AU   braintree         USD   HGIFT2          0    0   1       0
TVP-14061039   June   6/3/2014   complete   Daniel      Paradis       US   Daniel      Paradis       US   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061039   June   6/3/2014   complete   Daniel      Paradis       US   Daniel      Paradis       US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061040   June   6/3/2014   complete   Barry       Karpinski     US   Barry       Karpinski     US   braintree         USD   TVPAD-004    259    20   1    239
TVP-14061040   June   6/3/2014   complete   Barry       Karpinski     US   Barry       Karpinski     US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061041   June   6/3/2014   complete   Song        cui           IE   Song        cui           IE   braintree         EUR   TVPAD-004    259    10   1    249
TVP-14061041   June   6/3/2014   complete   Song        cui           IE   Song        cui           IE   braintree         EUR   HGIFT2          0    0   1       0
TVP-14061042   June   6/3/2014   complete   Lisa        Poon          US   Lisa        Poon          US   paypal_standard   USD   HGIFT2      29.99    0   1   29.99
TVP-14061043   June   6/3/2014   complete   Jinsu       Do            US   Jinsu       Do            US   braintree         USD   TVPAD-007    250    10   2    490
TVP-14061043   June   6/3/2014   complete   Jinsu       Do            US   Jinsu       Do            US   braintree         USD   HGIFT2          0    0   2       0
TVP-14061044   June   6/3/2014   complete   Paul        Rojanathara   FR   Paul        Rojanathara   FR   paypal_standard   USD   TVPAD-007    259    15   1    244
TVP-14061044   June   6/3/2014   complete   Paul        Rojanathara   FR   Paul        Rojanathara   FR   paypal_standard   USD   HGIFT2          0    0   1       0
TVP-14061045   June   6/3/2014   complete   song        no            US   song        no            US   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061045   June   6/3/2014   complete   song        no            US   song        no            US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061046   June   6/3/2014   complete   Suian       Mei           US   Suian       Mei           US   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061046   June   6/3/2014   complete   Suian       Mei           US   Suian       Mei           US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061047   June   6/3/2014   complete   Charlotte   Kang          US   Charlotte   Kang          US   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061047   June   6/3/2014   complete   Charlotte   Kang          US   Charlotte   Kang          US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061049   June   6/3/2014   complete   Linhong     Zhao          US   Linhong     Zhao          US   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061049   June   6/3/2014   complete   Linhong     Zhao          US   Linhong     Zhao          US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061050   June   6/3/2014   complete   Yeashin     yeh           US   Yeashin     yeh           US   braintree         USD   TVPAD-007    259    10   1    249
TVP-14061050   June   6/3/2014   complete   Yeashin     yeh           US   Yeashin     yeh           US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061051   June   6/3/2014   complete   Jinhua      Li            US   Jinhua      Li            US   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061051   June   6/3/2014   complete   Jinhua      Li            US   Jinhua      Li            US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061052   June   6/4/2014   complete   William     cheng         US   William     cheng         US   braintree         USD   TVPAD-007    259    10   1    249
TVP-14061052   June   6/4/2014   complete   William     cheng         US   William     cheng         US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061053   June   6/3/2014   complete   Shuk        Lau           US   Shuk        Lau           US   braintree         USD   TVPAD-004    259    20   1    239
TVP-14061053   June   6/3/2014   complete   Shuk        Lau           US   Shuk        Lau           US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061055   June   6/3/2014   complete   Steven      Wayne         AU   Steven      Wayne         AU   braintree         USD   TVPAD-004    259    20   1    239
TVP-14061055   June   6/3/2014   complete   Steven      Wayne         AU   Steven      Wayne         AU   braintree         USD   HGIFT2          0    0   1       0
TVP-14061056   June   6/3/2014   complete   Jeong       kim           US   Jeong       kim           US   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061056   June   6/3/2014   complete   Jeong       kim           US   Jeong       kim           US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061058   June   6/3/2014   closed     Yin         Liu           GB   Yin         Liu           GB   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061058   June   6/3/2014   closed     Yin         Liu           GB   Yin         Liu           GB   braintree         USD   HGIFT2          0    0   1       0
TVP-14061059   June   6/3/2014   complete   Emily       Zhang         AU   Emily       Zhang         AU   paypal_standard   AUD   TVPAD-007    259    10   1    249
TVP-14061059   June   6/3/2014   complete   Emily       Zhang         AU   Emily       Zhang         AU   paypal_standard   AUD   HGIFT2          0    0   1       0
TVP-14061060   June   6/4/2014   complete   Sai         Chan          US   S.C.        Chan          US   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061060   June   6/4/2014   complete   Sai         Chan          US   S.C.        Chan          US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061061   June   6/3/2014   complete   HYUN        LEE           ES   HYUN        LEE           ES   braintree         EUR   TVPAD-004    259    10   1    249
TVP-14061061   June   6/3/2014   complete   HYUN        LEE           ES   HYUN        LEE           ES   braintree         EUR   HGIFT2          0    0   1       0
TVP-14061062   June   6/3/2014   complete   Alan        Ma            GB   Alan        Ma            GB   braintree         GBP   TVPAD-004    259    10   1    249
TVP-14061062   June   6/3/2014   complete   Alan        Ma            GB   Alan        Ma            GB   braintree         GBP   HGIFT2          0    0   1       0
TVP-14061063   June   6/3/2014   complete   henry       he            GB   henry       he            GB   braintree         GBP   TVPAD-007    259    10   1    249
TVP-14061063   June   6/3/2014   complete   henry       he            GB   henry       he            GB   braintree         GBP   HGIFT2          0    0   1       0
TVP-14061064   June   6/3/2014   complete   Mrs         yim           GB   Mrs         yim           GB   paypal_standard   GBP   TVPAD-004    250    10   2    490
TVP-14061064   June   6/3/2014   complete   Mrs         yim           GB   Mrs         yim           GB   paypal_standard   GBP   HGIFT2          0    0   2       0
TVP-14061066   June   6/4/2014   complete   Hongtao     Chen          AU   Hongtao     Chen          AU   paypal_standard   AUD   TVPAD-004    259    10   1    249
TVP-14061066   June   6/4/2014   complete   Hongtao     Chen          AU   Hongtao     Chen          AU   paypal_standard   AUD   HGIFT2          0    0   1       0
TVP-14061067   June   6/4/2014   complete   David       Leiberg       DK   David       Leiberg       DK   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061067   June   6/4/2014   complete   David       Leiberg       DK   David       Leiberg       DK   braintree         USD   HGIFT2          0    0   1       0
TVP-14061068   June   6/4/2014   complete   Raymond     Wong          US   Raymond     Wong          US   braintree         USD   TVPAD-004    259    20   1    239
TVP-14061068   June   6/4/2014   complete   Raymond     Wong          US   Raymond     Wong          US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061069   June   6/4/2014   complete   Simon       Tung          US   Simon       Tung          US   braintree         USD   TVPAD-004    259    20   1    239
TVP-14061069   June   6/4/2014   complete   Simon       Tung          US   Simon       Tung          US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061070   June   6/4/2014   complete   hoyeoul     yoo           US   hoyeoul     yoo           US   paypal_standard   USD   TVPAD-004    259    10   1    249
TVP-14061070   June   6/4/2014   complete   hoyeoul     yoo           US   hoyeoul     yoo           US   paypal_standard   USD   HGIFT2          0    0   1       0
TVP-14061071   June   6/4/2014   complete   Danny       Lee           US   Danny       Lee           US   braintree         USD   TVPAD-007    259    10   1    249
TVP-14061071   June   6/4/2014   complete   Danny       Lee           US   Danny       Lee           US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061072   June   6/4/2014   complete   Marc        Jung          US   Marc        Jung          US   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061072   June   6/4/2014   complete   Marc        Jung          US   Marc        Jung          US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061073   June   6/9/2014   complete   keke        chen          US   keke        chen          US   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061073   June   6/9/2014   complete   keke        chen          US   keke        chen          US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061074   June   6/4/2014   complete   sang        kim           US   sang        kim           US   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061074   June   6/4/2014   complete   sang        kim           US   sang        kim           US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061075   June   6/4/2014   complete   Yuk         Chung         GB   Yuk         Chung         GB   braintree         GBP   TVPAD-004    259    10   1    249
TVP-14061075   June   6/4/2014   complete   Yuk         Chung         GB   Yuk         Chung         GB   braintree         GBP   HGIFT2          0    0   1       0
TVP-14061076   June   6/4/2014   complete   Henry       Lam           US   Henry       Lam           US   braintree         USD   TVPAD-007    259    10   1    249
TVP-14061076   June   6/4/2014   complete   Henry       Lam           US   Henry       Lam           US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061077   June   6/4/2014   complete   DANIEL      BYUN          AU   DANIEL      BYUN          AU   paypal_standard   USD   TVPAD-004    259    10   1    249
TVP-14061077   June   6/4/2014   complete   DANIEL      BYUN          AU   DANIEL      BYUN          AU   paypal_standard   USD   HGIFT2          0    0   1       0
TVP-14061079   June   6/4/2014   complete   Lewis       Kim           US   Lewis       Kim           US   paypal_standard   USD   TVPAD-004    259    15   1    244
TVP-14061079   June   6/4/2014   complete   Lewis       Kim           US   Lewis       Kim           US   paypal_standard   USD   HGIFT2          0    0   1       0
TVP-14061080   June   6/4/2014   complete   Kevin       Woo           US   Kevin       Woo           US   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061080   June   6/4/2014   complete   Kevin       Woo           US   Kevin       Woo           US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061081   June   6/4/2014   complete   Yang        Zhang         AU   Yang        Zhang         AU   braintree         USD   TVPAD-004    259    20   1    239
TVP-14061081   June   6/4/2014   complete   Yang        Zhang         AU   Yang        Zhang         AU   braintree         USD   HGIFT2          0    0   1       0
TVP-14061082   June   6/4/2014   complete   Evelyn      Kang          US   Evelyn      Kang          US   braintree         USD   TVPAD-004    259    20   1    239
TVP-14061082   June   6/4/2014   complete   Evelyn      Kang          US   Evelyn      Kang          US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061083   June   6/4/2014   complete   danny       kang          US   danny       kang          US   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061083   June   6/4/2014   complete   danny       kang          US   danny       kang          US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061084   June   6/4/2014   complete   Chando      Park          US   Chando      Park          US   braintree         USD   TVPAD-004    259    10   1    249
TVP-14061084   June   6/4/2014   complete   Chando      Park          US   Chando      Park          US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061085   June   6/4/2014   complete   Hyun        Park          AU   Hyun        Park          AU   paypal_standard   USD   TVPAD-004    259    10   1    249
TVP-14061085   June   6/4/2014   complete   Hyun        Park          AU   Hyun        Park          AU   paypal_standard   USD   HGIFT2          0    0   1       0
TVP-14061086   June   6/4/2014   complete   Ji          Ryoo          US   Ji          Ryoo          US   braintree         USD   TVPAD-007    259    15   1    244
TVP-14061086   June   6/4/2014   complete   Ji          Ryoo          US   Ji          Ryoo          US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061087   June   6/4/2014   complete   robert      bing          NZ   robert      bing          NZ   braintree         USD   TVPAD-004    250    10   2    490
TVP-14061087   June   6/4/2014   complete   robert      bing          NZ   robert      bing          NZ   braintree         USD   HGIFT2          0    0   2       0
TVP-14061020   June   6/4/2014   complete   MONICA      RODRIGUEZ     VE   CECILIA     FONG          VE   braintree         USD   TVPAD-007    259    30   1    229
TVP-14061020   June   6/4/2014   complete   MONICA      RODRIGUEZ     VE   CECILIA     FONG          VE   braintree         USD   HGIFT2          0    0   1       0
TVP-14061088   June   6/4/2014   complete   Kelvin      Wong          US   Kelvin      Wong          US   paypal_standard   USD   TVPAD-004    259    10   1    249
TVP-14061088   June   6/4/2014   complete   Kelvin      Wong          US   Kelvin      Wong          US   paypal_standard   USD   HGIFT2          0    0   1       0
TVP-14061089   June   6/5/2014   complete   Chi         Yim           US   Chi         Yim           US   braintree         USD   TVPAD-007    259    10   1    249
TVP-14061089   June   6/5/2014   complete   Chi         Yim           US   Chi         Yim           US   braintree         USD   HGIFT2          0    0   1       0
TVP-14061090   June   6/4/2014   complete   Johnny      Lee           NL   Johnny      Lee           NL   braintree         USD   TVPAD-007    259    10   1    249
TVP-14061090   June   6/4/2014   complete   Johnny      Lee           NL   Johnny      Lee           NL   braintree         USD   HGIFT2          0    0   1       0
TVP-14061091   June   6/4/2014   complete   Tang        Anh-Khanh     BE   Tang        Anh-Khanh     BE   paypal_standard   USD   TVPAD-004    259    10   1    249
TVP-14061091   June   6/4/2014   complete   Tang        Anh-Khanh     BE   Tang        Anh-Khanh     BE   paypal_standard   USD   HGIFT2          0    0   1       0
TVP-14061092   June   6/4/2014   complete   DAE         CHOI          TH   CHOI        YUL           TH   braintree         USD   TVPAD-007    259    10   1    249
TVP-14061092   June   6/4/2014   complete   DAE         CHOI          TH   CHOI        YUL           TH   braintree         USD   HGIFT2          0    0   1       0
TVP-14061094   June   6/4/2014   complete   Robert      wang          NZ   Robert      wang          NZ   braintree         USD   TVPAD-004    259    20   1    239
TVP-14061094   June   6/4/2014   complete   Robert      wang          NZ   Robert      wang          NZ   braintree         USD   HGIFT2          0    0   1       0
TVP-14061093   June   6/4/2014   complete   TAN         YAN           MY   TAN         YAN           MY   braintree         USD   TVPAD-007    259    10   1    249
TVP-14061095   June   6/4/2014   complete   kana        kumamoto      SG   benoit      doumas        SG   braintree         USD   TVPAD-007    259    10   1    249
TVP-14061095   June   6/4/2014   complete   kana        kumamoto      SG   benoit      doumas        SG   braintree         USD   HGIFT2          0    0   1       0
TVP-14061096   June   6/4/2014   complete   Thai        loi           CH   Thai        loi           CH   braintree         USD   TVPAD-004    250    10   2    490
TVP-14061096   June   6/4/2014   complete   Thai        loi           CH   Thai        loi           CH   braintree         USD   HGIFT2          0    0   2       0
TVP-14061097   June   6/5/2014   complete   Ann         wu            GB   Ann         wu            GB   paypal_standard   GBP   TVPAD-004    259    10   1    249
TVP-14061097   June   6/5/2014   complete   Ann         wu            GB   Ann         wu            GB   paypal_standard   GBP   HGIFT2          0    0   1       0
TVP-14061099   June   6/5/2014   complete   Freda       Ho            US   Freda       Ho            US   braintree         USD   TVPAD-004    259    20   1    239
TVP-14061099   June   6/5/2014   complete   Freda       Ho            US   Freda       Ho            US   braintree         USD   HGIFT2          0    0   1       0
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                                   #:20472
TVP-14061101   June    6/5/2014   complete   GILVUT          YUN        US   GILVUT          YUN        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061101   June    6/5/2014   complete   GILVUT          YUN        US   GILVUT          YUN        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061102   June    6/5/2014   complete   Calvin          Fung       US   Calvin          Fung       US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061102   June    6/5/2014   complete   Calvin          Fung       US   Calvin          Fung       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061103   June    6/5/2014   complete   Hyunil          Kim        US   Hyunil          Kim        US   braintree         USD   TVPAD-007       259    15   1    244
TVP-14061103   June    6/5/2014   complete   Hyunil          Kim        US   Hyunil          Kim        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061104   June    6/5/2014   complete   YING            LEUNG      US   Hedy            Leung      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061104   June    6/5/2014   complete   YING            LEUNG      US   Hedy            Leung      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061105   June    6/5/2014   complete   Seung           Park       US   Seung           Park       US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14061105   June    6/5/2014   complete   Seung           Park       US   Seung           Park       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061106   June   6/13/2014   complete   Richard         Sah        US   Richard         Sah        US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14061106   June   6/13/2014   complete   Richard         Sah        US   Richard         Sah        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061107   June    6/5/2014   complete   Su              Wu         US   Su              Wu         US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061107   June    6/5/2014   complete   Su              Wu         US   Su              Wu         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061108   June    6/5/2014   complete   ANGELA          LEE        GB   ANGELA          LEE        GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14061108   June    6/5/2014   complete   ANGELA          LEE        GB   ANGELA          LEE        GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14061109   June    6/6/2014   complete   Selina          Boyd       US   Selina          Boyd       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061109   June    6/6/2014   complete   Selina          Boyd       US   Selina          Boyd       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061110   June    6/5/2014   complete   steven          chung      US   steven          chung      US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061110   June    6/5/2014   complete   steven          chung      US   steven          chung      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061111   June    6/5/2014   complete   hong            zhang      NZ   hong            zhang      NZ   braintree         USD   TVPAD-007       259    20   1    239
TVP-14061112   June    6/5/2014   complete   Dong            Kang       US   Dong            Kang       US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14061112   June    6/5/2014   complete   Dong            Kang       US   Dong            Kang       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061113   June    6/5/2014   complete   Tony            Leung      GB   Tony            Leung      GB   braintree         GBP   TVPAD-007       259    10   1    249
TVP-14061113   June    6/5/2014   complete   Tony            Leung      GB   Tony            Leung      GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14061116   June    6/5/2014   complete   Bill            Lee        US   Bill            Lee        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061116   June    6/5/2014   complete   Bill            Lee        US   Bill            Lee        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061117   June    6/5/2014   complete   Adabella        YU         AU   Adabella        YU         AU   paypal_standard   USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14061118   June    6/5/2014   complete   Yali            He         US   Yali            He         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061118   June    6/5/2014   complete   Yali            He         US   Yali            He         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061120   June    6/5/2014   complete   Aejean          Han        US   Aejean          Han        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061120   June    6/5/2014   complete   Aejean          Han        US   Aejean          Han        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061121   June    6/5/2014   complete   Cheng-Chuen     Lim        SG   Cheng-Chuen     Lim        SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061121   June    6/5/2014   complete   Cheng-Chuen     Lim        SG   Cheng-Chuen     Lim        SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14061122   June    6/5/2014   complete   Ngan            Fong       US   Ngan            Fong       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061122   June    6/5/2014   complete   Ngan            Fong       US   Ngan            Fong       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061123   June    6/5/2014   complete   Jihyun          Shin       AE   Jihyun          Shin       AE   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061123   June    6/5/2014   complete   Jihyun          Shin       AE   Jihyun          Shin       AE   braintree         USD   HGIFT2             0    0   1       0
TVP-14061124   June    6/5/2014   complete   Chia            Lee        NZ   Chia            Lee        NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061124   June    6/5/2014   complete   Chia            Lee        NZ   Chia            Lee        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14061125   June    6/6/2014   complete   chan            yuen       SG   chan            yuen       SG   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061125   June    6/6/2014   complete   chan            yuen       SG   chan            yuen       SG   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061126   June    6/6/2014   complete   cheng           zou        US   cheng           zou        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061126   June    6/6/2014   complete   cheng           zou        US   cheng           zou        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061127   June    6/6/2014   complete   Zheng           Cui        US   Yuepeng         Li         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061127   June    6/6/2014   complete   Zheng           Cui        US   Yuepeng         Li         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061128   June    6/6/2014   complete   Xiao            Huang      US   Janny           Tan        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061128   June    6/6/2014   complete   Xiao            Huang      US   Janny           Tan        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061129   June    6/7/2014   complete   DANIEL          CHANG      US   DANIEL          CHANG      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061129   June    6/7/2014   complete   DANIEL          CHANG      US   DANIEL          CHANG      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061130   June    6/6/2014   complete   KC              Ha         US   KC              Ha         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061130   June    6/6/2014   complete   KC              Ha         US   KC              Ha         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061131   June    6/6/2014   complete   Robert          Gordon     US   Robert          Gordon     US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061131   June    6/6/2014   complete   Robert          Gordon     US   Robert          Gordon     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061132   June    6/6/2014   complete   hyeyon          kang       US   hyeyon          kang       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061132   June    6/6/2014   complete   hyeyon          kang       US   hyeyon          kang       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061133   June   6/10/2014   complete   Daniel          Lee        US   Daniel          Lee        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061133   June   6/10/2014   complete   Daniel          Lee        US   Daniel          Lee        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061134   June    6/6/2014   complete   Jason           Yi         US   Jason           Yi         US   paypal_standard   USD   TVPAD-007       259    15   1    244
TVP-14061134   June    6/6/2014   complete   Jason           Yi         US   Jason           Yi         US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061136   June    6/7/2014   complete   Kieron          Lo         US   Kieron          Lo         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061136   June    6/7/2014   complete   Kieron          Lo         US   Kieron          Lo         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061137   June    6/6/2014   closed     Andrew          Choi       US   Andrew          Choi       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061137   June    6/6/2014   closed     Andrew          Choi       US   Andrew          Choi       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061138   June    6/6/2014   complete   In              Park       KR   In              Park       KR   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061138   June    6/6/2014   complete   In              Park       KR   In              Park       KR   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061139   June   6/10/2014   complete   John            Suh        CA   John            Suh        CA   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061139   June   6/10/2014   complete   John            Suh        CA   John            Suh        CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14061140   June    6/6/2014   complete   hung            huynh      US   hung            huynh      US   paypal_standard   USD   TVPAD-007       259    20   1    239
TVP-14061140   June    6/6/2014   complete   hung            huynh      US   hung            huynh      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061141   June    6/6/2014   complete   song            no         US   song            no         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14061141   June    6/6/2014   complete   song            no         US   song            no         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061142   June    6/6/2014   complete   Shirley         Zeng       AU   Shirley         Zeng       AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061142   June    6/6/2014   complete   Shirley         Zeng       AU   Shirley         Zeng       AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061143   June    6/6/2014   complete   Sang            Kim        US   Sang            Kim        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061143   June    6/6/2014   complete   Sang            Kim        US   Sang            Kim        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061144   June    6/6/2014   complete   Namgyu          Kang       US   Namgyu          Kang       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061144   June    6/6/2014   complete   Namgyu          Kang       US   Namgyu          Kang       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061145   June    6/6/2014   complete   Jong            Kim        SG   Jong            Kim        SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061145   June    6/6/2014   complete   Jong            Kim        SG   Jong            Kim        SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14061146   June    6/6/2014   complete   Brian           Choi       NZ   Brian           Choi       NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061146   June    6/6/2014   complete   Brian           Choi       NZ   Brian           Choi       NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14061147   June    6/6/2014   complete   IN              YANG       US   IN              YANG       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061147   June    6/6/2014   complete   IN              YANG       US   IN              YANG       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061148   June    6/6/2014   complete   Kevin           Liu        US   Kevin           Liu        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061148   June    6/6/2014   complete   Kevin           Liu        US   Kevin           Liu        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061150   June    6/7/2014   complete   CHONG           Yi         US   Kathleen        Yi         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061150   June    6/7/2014   complete   CHONG           Yi         US   Kathleen        Yi         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061151   June    6/6/2014   complete   Sang            Moon       US   Sang            Moon       US   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14061151   June    6/6/2014   complete   Sang            Moon       US   Sang            Moon       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061152   June    6/6/2014   complete   Tae             Kim        HK   Tae             Kim        HK   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061152   June    6/6/2014   complete   Tae             Kim        HK   Tae             Kim        HK   braintree         USD   HGIFT2             0    0   1       0
TVP-14061153   June    6/6/2014   complete   sangchul        lee        US   sangchul        lee        US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061153   June    6/6/2014   complete   sangchul        lee        US   sangchul        lee        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061154   June    6/6/2014   complete   Ross            Zhang      NZ   Rujia           Zhang      NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061154   June    6/6/2014   complete   Ross            Zhang      NZ   Rujia           Zhang      NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14061155   June    6/6/2014   complete   Jiexun          Xiang      AU   Jiexun          Xiang      AU   paypal_standard   AUD   TVPAD-007       259    10   1    249
TVP-14061155   June    6/6/2014   complete   Jiexun          Xiang      AU   Jiexun          Xiang      AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14061157   June    6/7/2014   complete   Mei             YEUNG      AU   Mei             YEUNG      AU   braintree         AUD   TVPAD-007       259    10   1    249
TVP-14061157   June    6/7/2014   complete   Mei             YEUNG      AU   Mei             YEUNG      AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14061158   June    6/7/2014   complete   Kwai            Liu        GB   Kwai            Liu        GB   paypal_standard   GBP   TVPAD-007       259    20   1    239
TVP-14061158   June    6/7/2014   complete   Kwai            Liu        GB   Kwai            Liu        GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14061159   June    6/7/2014   complete   Jonq-Herng      Sing       US   Jonq-Herng      Sing       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061159   June    6/7/2014   complete   Jonq-Herng      Sing       US   Jonq-Herng      Sing       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061160   June    6/9/2014   complete   MEI             YEUNG      US   AU              SILVANA    US   braintree         USD   TVPAD-004       250    10   2    490
TVP-14061160   June    6/9/2014   complete   MEI             YEUNG      US   AU              SILVANA    US   braintree         USD   HGIFT2             0    0   2       0
TVP-14061161   June    6/7/2014   complete   Kwangs          Choi       US   Kwangs          Choi       US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061161   June    6/7/2014   complete   Kwangs          Choi       US   Kwangs          Choi       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061162   June    6/7/2014   complete   Khouanechay     RITMIXAY   FR   Khouanechay     RITMIXAY   FR   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061162   June    6/7/2014   complete   Khouanechay     RITMIXAY   FR   Khouanechay     RITMIXAY   FR   braintree         USD   HGIFT2             0    0   1       0
TVP-14061163   June    6/7/2014   complete   Junggil(John)   Park       CA   Junggil(John)   Park       CA   braintree         CAD   TVPAD-007       259    10   1    249
TVP-14061163   June    6/7/2014   complete   Junggil(John)   Park       CA   Junggil(John)   Park       CA   braintree         CAD   HGIFT2             0    0   1       0
TVP-14061164   June    6/7/2014   complete   Emily           Goh        SG   Emily           Goh        SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061164   June    6/7/2014   complete   Emily           Goh        SG   Emily           Goh        SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14061165   June    6/7/2014   complete   Siu Yung        Luk        CA   Siu             Luk        CA   braintree         USD   TVPAD-007       259    15   1    244
TVP-14061165   June    6/7/2014   complete   Siu Yung        Luk        CA   Siu             Luk        CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14061166   June    6/7/2014   complete   saiming         chan       US   saiming         chan       US   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14061166   June    6/7/2014   complete   saiming         chan       US   saiming         chan       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061167   June    6/7/2014   complete   cj              jang       US   cj              jang       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061167   June    6/7/2014   complete   cj              jang       US   cj              jang       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061168   June    6/9/2014   complete   ALBERT          LI         US   ALBERT          LI         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061168   June    6/9/2014   complete   ALBERT          LI         US   ALBERT          LI         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061169   June    6/7/2014   complete   Nathan          Kim        US   Nathan          Kim        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061169   June    6/7/2014   complete   Nathan          Kim        US   Nathan          Kim        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061170   June    6/7/2014   complete   Jacob           Kim        US   Jacob           Kim        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061170   June    6/7/2014   complete   Jacob           Kim        US   Jacob           Kim        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061171   June    6/7/2014   complete   Erica           Doll       US   Erica           Doll       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061171   June    6/7/2014   complete   Erica           Doll       US   Erica           Doll       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061172   June    6/7/2014   complete   Kevin           Lee        US   Kevin           Lee        US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061172   June    6/7/2014   complete   Kevin           Lee        US   Kevin           Lee        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061173   June    6/7/2014   complete   Hee             Cho        US   Hee             Cho        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061173   June    6/7/2014   complete   Hee             Cho        US   Hee             Cho        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061174   June    6/7/2014   complete   Andreas         Russo      GB   Andreas         Russo      GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-14061174   June    6/7/2014   complete   Andreas         Russo      GB   Andreas         Russo      GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14061175   June    6/7/2014   complete   Hyun            Yoo        US   Hyun            Yoo        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061175   June    6/7/2014   complete   Hyun            Yoo        US   Hyun            Yoo        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061176   June    6/7/2014   complete   Jun             Yang       US   Jun             Yang       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061176   June    6/7/2014   complete   Jun             Yang       US   Jun             Yang       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061177   June    6/7/2014   complete   Tina            Wong       US   Tina            Wong       US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14061177   June    6/7/2014   complete   Tina            Wong       US   Tina            Wong       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061178   June    6/8/2014   closed     Ya              Tsai       US   Ya              Tsai       US   braintree         USD   TVPAD-004       250    10   2    490
TVP-14061178   June    6/8/2014   closed     Ya              Tsai       US   Ya              Tsai       US   braintree         USD   HGIFT2             0    0   2       0
TVP-14061215   June    6/8/2014   complete   Dawei           Ren        US   Dawei           Ren        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061215   June    6/8/2014   complete   Dawei           Ren        US   Dawei           Ren        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061179   June    6/8/2014   complete   Alex            Lau        AU   Alex            Lau        AU   braintree         USD   TVPAD-004       259    10   1    249
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                                   #:20473
TVP-14061179   June    6/8/2014   complete   Alex           Lau        AU   Alex           Lau        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061180   June    6/8/2014   complete   Lori           Huang      US   Lori           Huang      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061180   June    6/8/2014   complete   Lori           Huang      US   Lori           Huang      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061181   June   6/10/2014   complete   Ivy            Joe        NZ   JIangJiao      Shen       NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061181   June   6/10/2014   complete   Ivy            Joe        NZ   JIangJiao      Shen       NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14061182   June    6/8/2014   complete   King           Wat        NL   King           Wat        NL   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061182   June    6/8/2014   complete   King           Wat        NL   King           Wat        NL   braintree         USD   HGIFT2             0    0   1       0
TVP-14061183   June    6/8/2014   complete   Will           Kim        AU   Will           Kim        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061183   June    6/8/2014   complete   Will           Kim        AU   Will           Kim        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061186   June    6/8/2014   complete   Kwai fong      Leung      SE   Kwai           Leung      SE   braintree         USD   TVPAD-004       245    10   5   1215
TVP-14061186   June    6/8/2014   complete   Kwai fong      Leung      SE   Kwai           Leung      SE   braintree         USD   HGIFT2             0    0   5       0
TVP-14061187   June    6/8/2014   complete   Patrick        Lim        NL   Patrick        Lim        NL   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061187   June    6/8/2014   complete   Patrick        Lim        NL   Patrick        Lim        NL   braintree         USD   HGIFT2             0    0   1       0
TVP-14061188   June    6/9/2014   complete   Zheng          Sui        US   Zheng          Sui        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061188   June    6/9/2014   complete   Zheng          Sui        US   Zheng          Sui        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061190   June    6/9/2014   complete   Kaho           Ho         US   Jane           Xie        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061190   June    6/9/2014   complete   Kaho           Ho         US   Jane           Xie        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061191   June    6/8/2014   complete   Amie           Leung      GB   Amie           Leung      GB   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061191   June    6/8/2014   complete   Amie           Leung      GB   Amie           Leung      GB   braintree         USD   HGIFT2             0    0   1       0
TVP-14061192   June    6/9/2014   complete   kwanho         Song       US   kwanho         Song       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061192   June    6/9/2014   complete   kwanho         Song       US   kwanho         Song       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061193   June    6/8/2014   complete   Jennifer       Wong       GB   Jennifer       Wong       GB   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061193   June    6/8/2014   complete   Jennifer       Wong       GB   Jennifer       Wong       GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061194   June    6/8/2014   complete   chao           cheong     BE   chao           cheong     BE   paypal_standard   USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14061195   June    6/9/2014   complete   Hon            Wong       GB   Hon            Wong       GB   paypal_standard   GBP   TVPAD-004       250    10   2    490
TVP-14061195   June    6/9/2014   complete   Hon            Wong       GB   Hon            Wong       GB   paypal_standard   GBP   HGIFT2             0    0   2       0
TVP-14061196   June    6/8/2014   complete   Royce          Pan        AU   Royce          Pan        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061196   June    6/8/2014   complete   Royce          Pan        AU   Royce          Pan        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061197   June    6/9/2014   complete   Jennifer       Cho        US   Jennifer       Cho        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061197   June    6/9/2014   complete   Jennifer       Cho        US   Jennifer       Cho        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061199   June    6/8/2014   complete   Eric           Choe       SG   Eric           Choe       SG   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061199   June    6/8/2014   complete   Eric           Choe       SG   Eric           Choe       SG   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061200   June    6/9/2014   complete   Jennifer       kim        US   Jennifer       kim        US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061200   June    6/9/2014   complete   Jennifer       kim        US   Jennifer       kim        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061201   June    7/7/2014   complete   sang           Lee        US   sang           Lee        US   braintree         USD   TVPAD-004       250    20   3    730
TVP-14061201   June    7/7/2014   complete   sang           Lee        US   sang           Lee        US   braintree         USD   HGIFT2             0    0   3       0
TVP-14061202   June    6/9/2014   complete   MOU            IP         US   MOU            IP         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061202   June    6/9/2014   complete   MOU            IP         US   MOU            IP         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061203   June    6/9/2014   complete   qiwen          johnson    US   qiwen          johnson    US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061203   June    6/9/2014   complete   qiwen          johnson    US   qiwen          johnson    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061204   June    6/9/2014   complete   tae            kim        US   tae            kim        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061204   June    6/9/2014   complete   tae            kim        US   tae            kim        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061205   June   6/10/2014   complete   Gong           Yee        MY   Gong           Yee        MY   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061205   June   6/10/2014   complete   Gong           Yee        MY   Gong           Yee        MY   braintree         USD   HGIFT2             0    0   1       0
TVP-14061206   June    6/9/2014   complete   Wei            wu         AU   Wei            wu         AU   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061206   June    6/9/2014   complete   Wei            wu         AU   Wei            wu         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061207   June    6/9/2014   complete   Shing-Cheung   Chan       US   Shing-Cheung   Chan       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061207   June    6/9/2014   complete   Shing-Cheung   Chan       US   Shing-Cheung   Chan       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061208   June    6/9/2014   complete   Chi            Rim        AU   Chi            Rim        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061208   June    6/9/2014   complete   Chi            Rim        AU   Chi            Rim        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061209   June    6/9/2014   complete   Bei            Liu        NZ   Bei            Liu        NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061209   June    6/9/2014   complete   Bei            Liu        NZ   Bei            Liu        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14061210   June    6/9/2014   complete   Ross           Lam        AU   Ross           Lam        AU   braintree         AUD   TVPAD-004       259    15   1    244
TVP-14061210   June    6/9/2014   complete   Ross           Lam        AU   Ross           Lam        AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14061211   June    6/9/2014   complete   Katie          Mai        GB   Katie          Mai        GB   paypal_standard   GBP   TVPAD-004       250    10   2    490
TVP-14061211   June    6/9/2014   complete   Katie          Mai        GB   Katie          Mai        GB   paypal_standard   GBP   HGIFT2             0    0   2       0
TVP-14061212   June    6/9/2014   complete   JONGHWAN       KIM        JP   JONGHWAN       KIM        JP   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061212   June    6/9/2014   complete   JONGHWAN       KIM        JP   JONGHWAN       KIM        JP   braintree         USD   HGIFT2             0    0   1       0
TVP-14061214   June    6/9/2014   complete   Raymond        Wong       US   Raymond        Wong       US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061214   June    6/9/2014   complete   Raymond        Wong       US   Raymond        Wong       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061216   June    6/9/2014   complete   Tsang          kinhung    NO   Tsang          kinhung    NO   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061216   June    6/9/2014   complete   Tsang          kinhung    NO   Tsang          kinhung    NO   braintree         USD   HGIFT2             0    0   1       0
TVP-14061217   June    6/9/2014   complete   ZHANG          NATHALIE   GF   ZHANG          NATHALIE   FR   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061217   June    6/9/2014   complete   ZHANG          NATHALIE   GF   ZHANG          NATHALIE   FR   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061218   June    6/9/2014   closed     Steve          Tang       US   Steve          Tang       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061218   June    6/9/2014   closed     Steve          Tang       US   Steve          Tang       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061219   June    6/9/2014   complete   Qian           Zhang      IE   Qian           Zhang      IE   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061219   June    6/9/2014   complete   Qian           Zhang      IE   Qian           Zhang      IE   braintree         USD   HGIFT2             0    0   1       0
TVP-14061220   June    6/9/2014   complete   Kai            Tse        US   Kai            Tse        US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14061220   June    6/9/2014   complete   Kai            Tse        US   Kai            Tse        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061221   June    6/9/2014   complete   Kelly          Ho         NZ   Kelly          Ho         NZ   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14061221   June    6/9/2014   complete   Kelly          Ho         NZ   Kelly          Ho         NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061222   June    6/9/2014   complete   Ka             Lee        US   Ka             Lee        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061222   June    6/9/2014   complete   Ka             Lee        US   Ka             Lee        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061223   June    6/9/2014   complete   Wenning        Feng       US   Wenning        Feng       US   paypal_standard   USD   TVPAD-007       259    15   1    244
TVP-14061223   June    6/9/2014   complete   Wenning        Feng       US   Wenning        Feng       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061224   June    6/9/2014   complete   David          Ha         US   David          Ha         US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14061224   June    6/9/2014   complete   David          Ha         US   David          Ha         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061225   June    6/9/2014   closed     Liu            bei        SG   Liu            bei        SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061225   June    6/9/2014   closed     Liu            bei        SG   Liu            bei        SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14061226   June    6/9/2014   complete   Peter          Won        NZ   Peter          Won        NZ   braintree         AUD   TVPAD-007       259    10   1    249
TVP-14061226   June    6/9/2014   complete   Peter          Won        NZ   Peter          Won        NZ   braintree         AUD   HGIFT2             0    0   1       0
TVP-14061227   June    6/9/2014   complete   Tony           Kang       US   Tony           Kang       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061227   June    6/9/2014   complete   Tony           Kang       US   Tony           Kang       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061228   June   6/12/2014   closed     William        Hwang      US   William        Hwang      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061228   June   6/12/2014   closed     William        Hwang      US   William        Hwang      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061229   June    6/9/2014   complete   matthew        grant      AU   matthew        grant      AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061229   June    6/9/2014   complete   matthew        grant      AU   matthew        grant      AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061230   June    6/9/2014   complete   Gyyoung        Kim        SG   Gyyoung        Kim        SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061230   June    6/9/2014   complete   Gyyoung        Kim        SG   Gyyoung        Kim        SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14061231   June    6/9/2014   complete   Hew            Tommy      AU   Hew            Tommy      AU   paypal_standard   USD   TVPAD-004       250    10   2    490
TVP-14061231   June    6/9/2014   complete   Hew            Tommy      AU   Hew            Tommy      AU   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14061232   June    6/9/2014   complete   Kien           Gian       NL   Kien           Gian       NL   paypal_standard   EUR   TVPAD-004       259    15   1    244
TVP-14061232   June    6/9/2014   complete   Kien           Gian       NL   Kien           Gian       NL   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14061233   June   6/10/2014   complete   XIAOMEI        MAI        AU   XIAOMEI        MAI        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061233   June   6/10/2014   complete   XIAOMEI        MAI        AU   XIAOMEI        MAI        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061234   June   6/10/2014   complete   Kyu            Kim        ES   Kyu            Kim        ES   braintree         EUR   TVPAD-007       259    20   1    239
TVP-14061234   June   6/10/2014   complete   Kyu            Kim        ES   Kyu            Kim        ES   braintree         EUR   HGIFT2             0    0   1       0
TVP-14061235   June   6/10/2014   complete   Alan           Ko         US   Alan           Ko         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14061235   June   6/10/2014   complete   Alan           Ko         US   Alan           Ko         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061237   June   6/10/2014   closed     Alex           Chen       US   Alex           Chen       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061237   June   6/10/2014   closed     Alex           Chen       US   Alex           Chen       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061238   June   6/10/2014   complete   brian          kim        US   brian          kim        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14061238   June   6/10/2014   complete   brian          kim        US   brian          kim        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061239   June   6/10/2014   complete   Thomas         Ou         US   Thomas         Ou         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061239   June   6/10/2014   complete   Thomas         Ou         US   Thomas         Ou         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061240   June   6/10/2014   complete   mr             an         GB   mr             an         GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14061240   June   6/10/2014   complete   mr             an         GB   mr             an         GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14061241   June   6/10/2014   complete   Lan            Chen       US   Lan            Chen       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061241   June   6/10/2014   complete   Lan            Chen       US   Lan            Chen       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061242   June   6/10/2014   complete   Sam            Hwang      AU   Sam            Hwang      AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061242   June   6/10/2014   complete   Sam            Hwang      AU   Sam            Hwang      AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061243   June   6/10/2014   complete   chao           deng       US   chao           deng       US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14061243   June   6/10/2014   complete   chao           deng       US   chao           deng       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061244   June   6/10/2014   complete   Kelvin         Choi       US   Kelvin         Choi       US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061244   June   6/10/2014   complete   Kelvin         Choi       US   Kelvin         Choi       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061245   June   6/10/2014   complete   Don            Shon       US   Don            Shon       US   paypal_standard   USD   TVPAD-004       259    15   1    244
TVP-14061245   June   6/10/2014   complete   Don            Shon       US   Don            Shon       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061246   June   6/10/2014   complete   yayun          ye         AU   yayun          ye         AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061246   June   6/10/2014   complete   yayun          ye         AU   yayun          ye         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061247   June   6/10/2014   complete   David          Kim        IN   David          Kim        IN   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061247   June   6/10/2014   complete   David          Kim        IN   David          Kim        IN   braintree         USD   HGIFT2             0    0   1       0
TVP-14061248   June   6/10/2014   complete   Guoxin         Liu        NZ   Guoxin         Liu        NZ   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14061248   June   6/10/2014   complete   Guoxin         Liu        NZ   Guoxin         Liu        NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061249   June   6/11/2014   complete   Anthony        Tran       GB   Anthony        Tran       GB   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14061249   June   6/11/2014   complete   Anthony        Tran       GB   Anthony        Tran       GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061250   June   6/10/2014   complete   Lesley         Ge         AU   Lesley         Ge         AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061250   June   6/10/2014   complete   Lesley         Ge         AU   Lesley         Ge         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061252   June   6/10/2014   complete   Lawrence       Chang      US   Lawrence       Chang      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061252   June   6/10/2014   complete   Lawrence       Chang      US   Lawrence       Chang      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061251   June   6/18/2014   complete   Judy           kim        US   Judy           kim        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061251   June   6/18/2014   complete   Judy           kim        US   Judy           kim        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061253   June   6/10/2014   complete   Michelle       Chan       AU   Michelle       Chan       AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061253   June   6/10/2014   complete   Michelle       Chan       AU   Michelle       Chan       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061254   June   6/10/2014   complete   Jack           Hui        US   Jack           Hui        US   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14061254   June   6/10/2014   complete   Jack           Hui        US   Jack           Hui        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061255   June   6/11/2014   complete   Yulebin        Lee        AE   Yulebin        Lee        AE   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061255   June   6/11/2014   complete   Yulebin        Lee        AE   Yulebin        Lee        AE   braintree         USD   HGIFT2             0    0   1       0
TVP-14061256   June   6/11/2014   complete   Leslie         Chen       US   Leslie         Chen       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061256   June   6/11/2014   complete   Leslie         Chen       US   Leslie         Chen       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061257   June   6/11/2014   complete   Jin            Wang       DE   Jin            Wang       DE   paypal_standard   EUR   TVPAD-007       259    10   1    249
TVP-14061257   June   6/11/2014   complete   Jin            Wang       DE   Jin            Wang       DE   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14061259   June   6/11/2014   complete   Han Bum        Park       US   Han Bum        Park       US   paypal_standard   USD   TVPAD-007       259    20   1    239
TVP-14061259   June   6/11/2014   complete   Han Bum        Park       US   Han Bum        Park       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061260   June   6/11/2014   closed     Leo            Cho        US   Leo            Cho        US   braintree         USD   TVPAD-004       259    10   1    249
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TVP-14061260   June   6/11/2014   closed     Leo         Cho         US   Leo         Cho         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061261   June   6/11/2014   complete   Young       Kim         CA   Young       Kim         CA   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061261   June   6/11/2014   complete   Young       Kim         CA   Young       Kim         CA   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061262   June   6/18/2014   complete   Chunhua     Li          US   Chunhua     li          US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14061262   June   6/18/2014   complete   Chunhua     Li          US   Chunhua     li          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061263   June   6/11/2014   complete   Dede        Sanrow      US   Dede        Sanrow      US   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14061263   June   6/11/2014   complete   Dede        Sanrow      US   Dede        Sanrow      US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061264   June   6/11/2014   complete   Yi          Yang        AU   Yi          Yang        AU   braintree         AUD   TVPAD-004                       259    10   1    249
TVP-14061264   June   6/11/2014   complete   Yi          Yang        AU   Yi          Yang        AU   braintree         AUD   HGIFT2                             0    0   1       0
TVP-14061265   June   6/11/2014   complete   Wayne       Mooc        US   Wayne       Mooc        US   paypal_standard   USD   TVPAD-007                       259    10   1    249
TVP-14061265   June   6/11/2014   complete   Wayne       Mooc        US   Wayne       Mooc        US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14061266   June   6/11/2014   complete   michael     kim         US   michael     kim         US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061266   June   6/11/2014   complete   michael     kim         US   michael     kim         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061267   June   6/11/2014   complete   Kyong       Kang        US   Kyong       Kang        US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061267   June   6/11/2014   complete   Kyong       Kang        US   Kyong       Kang        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061268   June   6/11/2014   complete   Ringo       Chan        CA   Ringo       Chan        CA   braintree         CAD   TVPAD-007                       259    15   1    244
TVP-14061268   June   6/11/2014   complete   Ringo       Chan        CA   Ringo       Chan        CA   braintree         CAD   HGIFT2                             0    0   1       0
TVP-14061269   June   6/11/2014   complete   rachel      yu          US   rachel      yu          US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14061269   June   6/11/2014   complete   rachel      yu          US   rachel      yu          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061270   June   6/11/2014   complete   YI          JIANG       AU   YI          JIANG       AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061270   June   6/11/2014   complete   YI          JIANG       AU   YI          JIANG       AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061294   June   6/11/2014   complete   Ivy         Joe         NZ   Hedy        Joe         NZ   braintree         USD   TVPAD-004                       250    10   2    490
TVP-14061294   June   6/11/2014   complete   Ivy         Joe         NZ   Hedy        Joe         NZ   braintree         USD   HGIFT2                             0    0   2       0
TVP-14061271   June   6/11/2014   complete   xue         jiang       US   xue         jiang       US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061271   June   6/11/2014   complete   xue         jiang       US   xue         jiang       US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061272   June   6/11/2014   complete   Richard     Song        SG   Richard     Song        SG   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14061272   June   6/11/2014   complete   Richard     Song        SG   Richard     Song        SG   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061273   June   6/11/2014   complete   Benjamin    Yeo         US   Benjamin    Yeo         US   paypal_standard   USD   TVPAD-007                       259    10   1    249
TVP-14061273   June   6/11/2014   complete   Benjamin    Yeo         US   Benjamin    Yeo         US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14061274   June   6/11/2014   complete   PYOUNGSOO   KIM         QA   PYOUNGSOO   KIM         QA   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14061274   June   6/11/2014   complete   PYOUNGSOO   KIM         QA   PYOUNGSOO   KIM         QA   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061276   June   6/11/2014   complete   Shuwen      Deng        NZ   Shuwen      Deng        NZ   braintree         USD   TVPAD-AC-004                   29.99    0   1   29.99
TVP-14061277   June   6/11/2014   complete   Annette     Chon        AU   Annette     Chon        AU   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14061277   June   6/11/2014   complete   Annette     Chon        AU   Annette     Chon        AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14061278   June   6/11/2014   complete   zhang       tao         SG   zhang       tao         SG   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14061278   June   6/11/2014   complete   zhang       tao         SG   zhang       tao         SG   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061279   June   6/11/2014   complete   Kerry       DING        AU   Kerry       DING        AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061279   June   6/11/2014   complete   Kerry       DING        AU   Kerry       DING        AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061280   June   6/12/2014   complete   Wanjuan     wu          GB   Wu          wen         CN   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14061280   June   6/12/2014   complete   Wanjuan     wu          GB   Wu          wen         CN   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061281   June   6/12/2014   complete   LICHENG     CAI         AU   LICHENG     CAI         AU   paypal_standard   AUD   TVPAD-004                       259    10   1    249
TVP-14061281   June   6/12/2014   complete   LICHENG     CAI         AU   LICHENG     CAI         AU   paypal_standard   AUD   HGIFT2                             0    0   1       0
TVP-14061282   June   6/14/2014   complete   daiyong     liu         US   daiyong     liu         US   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14061282   June   6/14/2014   complete   daiyong     liu         US   daiyong     liu         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061283   June   6/12/2014   complete   Ik          Kim         US   Hyung       Kim         US   braintree         USD   TVPAD-004                       250    10   2    490
TVP-14061283   June   6/12/2014   complete   Ik          Kim         US   Hyung       Kim         US   braintree         USD   HGIFT2                             0    0   2       0
TVP-14061284   June   6/12/2014   complete   Martha      Lam         US   Martha      Lam         US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061284   June   6/12/2014   complete   Martha      Lam         US   Martha      Lam         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061285   June   6/12/2014   complete   Chunmei     Mcgovern    US   Chunmei     Mcgovern    US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061285   June   6/12/2014   complete   Chunmei     Mcgovern    US   Chunmei     Mcgovern    US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061286   June   6/12/2014   complete   paul        park        US   paul        park        US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061286   June   6/12/2014   complete   paul        park        US   paul        park        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061287   June   6/12/2014   complete   Hyun        Lim         US   Hyun        Lim         US   braintree         USD   TVPAD-007                       259    15   1    244
TVP-14061287   June   6/12/2014   complete   Hyun        Lim         US   Hyun        Lim         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061288   June   6/12/2014   complete   Raimond     Burgstede   NL   Raimond     Burgstede   NL   braintree         EUR   TVPAD-004                       250    10   2    490
TVP-14061288   June   6/12/2014   complete   Raimond     Burgstede   NL   Raimond     Burgstede   NL   braintree         EUR   HGIFT2                             0    0   2       0
TVP-14061289   June   6/12/2014   complete   Shih        Tsang       GB   Shih        Tsang       GB   paypal_standard   GBP   TVPAD-004                       259    10   1    249
TVP-14061289   June   6/12/2014   complete   Shih        Tsang       GB   Shih        Tsang       GB   paypal_standard   GBP   HGIFT2                             0    0   1       0
TVP-14061290   June   6/12/2014   complete   Carl        Wong        US   Carl        Wong        US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061290   June   6/12/2014   complete   Carl        Wong        US   Carl        Wong        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061291   June   6/12/2014   complete   chun        yeung       CA   chun        yeung       CA   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061291   June   6/12/2014   complete   chun        yeung       CA   chun        yeung       CA   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061292   June   6/12/2014   complete   Vicky       Ta          US   Vicky       Ta          US   braintree         USD   TVPAD-007                       259    15   1    244
TVP-14061292   June   6/12/2014   complete   Vicky       Ta          US   Vicky       Ta          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061293   June   6/12/2014   complete   Wah         Chan        US   Wah         Chan        US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14061293   June   6/12/2014   complete   Wah         Chan        US   Wah         Chan        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061295   June   6/19/2014   complete   CHAN        CHUNG       RU   CHAN        CHUNG       RU   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14061295   June   6/19/2014   complete   CHAN        CHUNG       RU   CHAN        CHUNG       RU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061296   June   6/12/2014   complete   Albert      Zhu         AU   Albert      Zhu         AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061296   June   6/12/2014   complete   Albert      Zhu         AU   Albert      Zhu         AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061297   June   6/12/2014   complete   HAE         KIM         US   HAE         KIM         US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061297   June   6/12/2014   complete   HAE         KIM         US   HAE         KIM         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061298   June   6/12/2014   complete   Dong        Kim         NZ   Dong        Kim         NZ   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061298   June   6/12/2014   complete   Dong        Kim         NZ   Dong        Kim         NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061299   June   6/12/2014   complete   helong      liu         NZ   helong      liu         NZ   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14061299   June   6/12/2014   complete   helong      liu         NZ   helong      liu         NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061300   June   6/12/2014   complete   Lim         SengKeat    SG   Lim         SengKeat    SG   braintree         USD   TVPAD-AC-004                   29.99    0   1   29.99
TVP-14061301   June   6/12/2014   complete   Shujun      Gu          AU   Shujun      Gu          AU   braintree         AUD   TVPAD-004                       259    10   1    249
TVP-14061301   June   6/12/2014   complete   Shujun      Gu          AU   Shujun      Gu          AU   braintree         AUD   HGIFT2                             0    0   1       0
TVP-14061303   June   6/13/2014   complete   HAI         SHI         GB   HAI         SHI         GB   paypal_standard   GBP   TVPAD-004                       259    15   1    244
TVP-14061303   June   6/13/2014   complete   HAI         SHI         GB   HAI         SHI         GB   paypal_standard   GBP   HGIFT2                             0    0   1       0
TVP-14061304   June   6/12/2014   complete   Junying     Feng        NO   Junying     Feng        NO   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061304   June   6/12/2014   complete   Junying     Feng        NO   Junying     Feng        NO   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061305   June   6/12/2014   complete   Cheung      Tsang       GB   Cheung      Tsang       GB   braintree         USD   TVPAD-004                       250    10   2    490
TVP-14061305   June   6/12/2014   complete   Cheung      Tsang       GB   Cheung      Tsang       GB   braintree         USD   HGIFT2                             0    0   2       0
TVP-14061308   June   6/13/2014   complete   JEONG       SEOKJIN     LA   Jeong       bin         LA   braintree         USD   TVPAD-007                       250    20   3    730
TVP-14061308   June   6/13/2014   complete   JEONG       SEOKJIN     LA   Jeong       bin         LA   braintree         USD   HGIFT2                             0    0   3       0
TVP-14061309   June   6/13/2014   complete   RAYMOND     GEE         CA   RAYMOND     GEE         CA   braintree         USD   TVPAD-007                       259    15   1    244
TVP-14061309   June   6/13/2014   complete   RAYMOND     GEE         CA   RAYMOND     GEE         CA   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061310   June   6/13/2014   complete   Raymond     Li          CA   Raymond     Li          CA   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14061310   June   6/13/2014   complete   Raymond     Li          CA   Raymond     Li          CA   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14061311   June   6/13/2014   complete   June        lee         US   June        lee         US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14061311   June   6/13/2014   complete   June        lee         US   June        lee         US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14061313   June   6/13/2014   complete   Tsan        Li          US   Tsan        Li          US   paypal_standard   USD   TVPAD-004                       259    15   1    244
TVP-14061313   June   6/13/2014   complete   Tsan        Li          US   Tsan        Li          US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14061314   June   6/13/2014   complete   Heidi       Tsun        US   Heidi       Tsun        US   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14061314   June   6/13/2014   complete   Heidi       Tsun        US   Heidi       Tsun        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061315   June   6/13/2014   complete   Kam         Wong        GB   Jennifer    Wong        GB   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14061315   June   6/13/2014   complete   Kam         Wong        GB   Jennifer    Wong        GB   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061316   June   6/13/2014   complete   Chando      Park        US   Chando      Park        US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061316   June   6/13/2014   complete   Chando      Park        US   Chando      Park        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061317   June   6/13/2014   complete   Jungho      Park        US   Jungho      Park        US   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14061317   June   6/13/2014   complete   Jungho      Park        US   Jungho      Park        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061318   June   6/14/2014   complete   nancy       woo         US   nancy       woo         US   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14061318   June   6/14/2014   complete   nancy       woo         US   nancy       woo         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061319   June   6/13/2014   complete   Ryan        Park        US   Ryan        Park        US   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14061319   June   6/13/2014   complete   Ryan        Park        US   Ryan        Park        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061320   June   6/13/2014   complete   Quy         Quang       US   Quy         Quang       US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061320   June   6/13/2014   complete   Quy         Quang       US   Quy         Quang       US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061321   June   6/13/2014   complete   Lai         Wong        US   Lai         Wong        US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061321   June   6/13/2014   complete   Lai         Wong        US   Lai         Wong        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061322   June   6/13/2014   complete   jian        yang        US   jian        yang        US   paypal_standard   USD   TVPAD-007                       259    15   1    244
TVP-14061322   June   6/13/2014   complete   jian        yang        US   jian        yang        US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14061323   June   6/13/2014   complete   Sik         Siu         US   Sik         Siu         US   braintree         USD   TVPAD-007                       259    10   1     249
TVP-14061323   June   6/13/2014   complete   Sik         Siu         US   Sik         Siu         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061324   June   6/13/2014   complete   Ruiling     Yuan        US   Ruiling     Yuan        US   braintree         USD   TVPAD-007                       259    10   1     249
TVP-14061324   June   6/13/2014   complete   Ruiling     Yuan        US   Ruiling     Yuan        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061325   June   6/13/2014   complete   yee         tee         AU   yee         tee         AU   braintree         USD   TVPAD-007                       259    15   1    244
TVP-14061325   June   6/13/2014   complete   yee         tee         AU   yee         tee         AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061326   June   6/13/2014   complete   Jun         Cai         US   Jun         Cai         US   braintree         USD   TVPAD-007                       259    20   1    239
TVP-14061326   June   6/13/2014   complete   Jun         Cai         US   Jun         Cai         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061327   June   6/13/2014   complete   Sukjin      Oh          US   Sukjin      Oh          US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061327   June   6/13/2014   complete   Sukjin      Oh          US   Sukjin      Oh          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061330   June   6/13/2014   complete   MISS        GAO         GB   MISS        GAO         GB   paypal_standard   GBP   TVPAD-007                       259    10   1    249
TVP-14061330   June   6/13/2014   complete   MISS        GAO         GB   MISS        GAO         GB   paypal_standard   GBP   HGIFT2                             0    0   1       0
TVP-14061331   June   6/13/2014   complete   Shuai       Zhu         US   Shuai       Zhu         US   paypal_standard   USD   TVPAD-007                       259    10   1    249
TVP-14061331   June   6/13/2014   complete   Shuai       Zhu         US   Shuai       Zhu         US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14061332   June   6/14/2014   complete   Wayne       Lee         US   Wayne       Lee         US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14061332   June   6/14/2014   complete   Wayne       Lee         US   Wayne       Lee         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061333   June   6/16/2014   canceled   Janet       Chan        US   KaiWai      Yeung       US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14061333   June   6/16/2014   canceled   Janet       Chan        US   KaiWai      Yeung       US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14061334   June   6/14/2014   complete   Diven       Wang        AU   Diven       Wang        AU   paypal_standard   USD   TVPAD-007                       259    10   1    249
TVP-14061334   June   6/14/2014   complete   Diven       Wang        AU   Diven       Wang        AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14061335   June   6/17/2014   complete   Kwanhee     Nam         US   Kwanhee     Nam         US   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14061335   June   6/17/2014   complete   Kwanhee     Nam         US   Kwanhee     Nam         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061336   June   6/14/2014   complete   Sungwook    jung        US   Sungwook    jung        US   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14061336   June   6/14/2014   complete   Sungwook    jung        US   Sungwook    jung        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061337   June   6/14/2014   complete   ZHEBIN      ZHANG       US   ZHEBIN      ZHANG       US   braintree         USD   TVPAD-007                       259    10   1     249
TVP-14061337   June   6/14/2014   complete   ZHEBIN      ZHANG       US   ZHEBIN      ZHANG       US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061338   June   6/14/2014   complete   Chris       Lee         GB   Chris       Lee         GB   braintree         USD   TVPAD-AC-003-TVPAD-AC-003-EU   29.99    0   1   29.99
TVP-14061339   June   6/14/2014   complete   Chris       Lee         GB   Chris       Lee         GB   braintree         GBP   TVPAD-AC-003-TVPAD-AC-003-EU   29.99    0   1   29.99
TVP-14061340   June   6/14/2014   complete   Wendy       Weng        US   Wendy       Weng        US   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14061340   June   6/14/2014   complete   Wendy       Weng        US   Wendy       Weng        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14061341   June   6/14/2014   complete   Michael     kim         US   Michael     kim         US   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14061341   June   6/14/2014   complete   Michael     kim         US   Michael     kim         US   braintree         USD   HGIFT2                             0    0   1       0
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TVP-14061342   June   6/14/2014   complete   Young Jae   Youn       NZ   Young       Youn       NZ   paypal_standard   USD   TVPAD-007       259    20   1    239
TVP-14061342   June   6/14/2014   complete   Young Jae   Youn       NZ   Young       Youn       NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061343   June   6/14/2014   complete   GYUNG       D.PARK     US   GYUNG       D.PARK     US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061343   June   6/14/2014   complete   GYUNG       D.PARK     US   GYUNG       D.PARK     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061344   June   6/14/2014   complete   Tham        Yao        US   Tham        Yao        US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061344   June   6/14/2014   complete   Tham        Yao        US   Tham        Yao        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061345   June   6/14/2014   complete   Vicky       Martin     AU   Vicky       Martin     AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061345   June   6/14/2014   complete   Vicky       Martin     AU   Vicky       Martin     AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061346   June   6/14/2014   complete   Byung       Kim        GT   Byung       Kim        GT   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061346   June   6/14/2014   complete   Byung       Kim        GT   Byung       Kim        GT   braintree         USD   HGIFT2             0    0   1       0
TVP-14061347   June   6/14/2014   complete   Tina        luo        US   Danny       luo        US   braintree         USD   TVPAD-004       250    10   2    490
TVP-14061347   June   6/14/2014   complete   Tina        luo        US   Danny       luo        US   braintree         USD   HGIFT2             0    0   2       0
TVP-14061348   June   6/14/2014   complete   ta-ying     hu         CL   ta-ying     hu         CL   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061348   June   6/14/2014   complete   ta-ying     hu         CL   ta-ying     hu         CL   braintree         USD   HGIFT2             0    0   1       0
TVP-14061349   June   6/14/2014   complete   akihiko     kotani     US   akihiko     kotani     US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061349   June   6/14/2014   complete   akihiko     kotani     US   akihiko     kotani     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061350   June   6/14/2014   complete   William     Go         US   William     Go         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061350   June   6/14/2014   complete   William     Go         US   William     Go         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061351   June   6/15/2014   complete   Wee-Kim     Wong       US   Wee-Kim     Wong       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061351   June   6/15/2014   complete   Wee-Kim     Wong       US   Wee-Kim     Wong       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061352   June   6/15/2014   complete   Chon        Um         MY   Chon        Um         MY   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061352   June   6/15/2014   complete   Chon        Um         MY   Chon        Um         MY   braintree         USD   HGIFT2             0    0   1       0
TVP-14061353   June   6/16/2014   complete   Hongruo     Yun        US   Hongruo     Yun        US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061353   June   6/16/2014   complete   Hongruo     Yun        US   Hongruo     Yun        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061354   June   6/16/2014   complete   Jieyu       Wu         US   Jieyu       Wu         US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061354   June   6/16/2014   complete   Jieyu       Wu         US   Jieyu       Wu         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061355   June   6/15/2014   complete   Karen       Lau        NZ   Karen       Lau        NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061355   June   6/15/2014   complete   Karen       Lau        NZ   Karen       Lau        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14061356   June   6/15/2014   complete   Stefan      Gyger      CH   Stefan      Gyger      CH   braintree         USD   TVPAD-004       259    20   1    239
TVP-14061356   June   6/15/2014   complete   Stefan      Gyger      CH   Stefan      Gyger      CH   braintree         USD   HGIFT2             0    0   1       0
TVP-14061357   June   6/15/2014   complete   Yin         WANG       AU   Yin         WANG       AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14061357   June   6/15/2014   complete   Yin         WANG       AU   Yin         WANG       AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14061381   June   6/15/2014   complete   Junli       Ma         DK   Junli       Ma         DK   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061381   June   6/15/2014   complete   Junli       Ma         DK   Junli       Ma         DK   braintree         USD   HGIFT2             0    0   1       0
TVP-14061360   June   6/15/2014   complete   Kenneth     Brumfiel   US   Kenneth     Brumfiel   US   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14061360   June   6/15/2014   complete   Kenneth     Brumfiel   US   Kenneth     Brumfiel   US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061361   June   6/15/2014   complete   Jiaqi       Tang       US   Jiaqi       Tang       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061361   June   6/15/2014   complete   Jiaqi       Tang       US   Jiaqi       Tang       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061362   June   6/15/2014   complete   chieng      soon       MY   chieng      soon       MY   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061362   June   6/15/2014   complete   chieng      soon       MY   chieng      soon       MY   braintree         USD   HGIFT2             0    0   1       0
TVP-14061363   June   6/15/2014   complete   Yang        Chu        US   Yang        Chu        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061363   June   6/15/2014   complete   Yang        Chu        US   Yang        Chu        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061364   June   6/15/2014   complete   Vi          Duong      US   Vi          Duong      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061364   June   6/15/2014   complete   Vi          Duong      US   Vi          Duong      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061365   June   6/15/2014   complete   Wilson      Tu         US   Wilson      Tu         US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061365   June   6/15/2014   complete   Wilson      Tu         US   Wilson      Tu         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061366   June   6/15/2014   complete   Sunnie      Lee        US   Sunnie      Lee        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061366   June   6/15/2014   complete   Sunnie      Lee        US   Sunnie      Lee        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061367   June   6/16/2014   complete   Edward      Cho        US   Edward      Cho        US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061367   June   6/16/2014   complete   Edward      Cho        US   Edward      Cho        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061368   June   6/15/2014   complete   Chong       Li         NZ   Chong       Li         NZ   braintree         USD   TVPAD-004       259    20   1    239
TVP-14061368   June   6/15/2014   complete   Chong       Li         NZ   Chong       Li         NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14061369   June   6/15/2014   complete   Kevin       Kim        US   Kevin       Kim        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061369   June   6/15/2014   complete   Kevin       Kim        US   Kevin       Kim        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061370   June   6/15/2014   complete   Casey       Chin       SG   Casey       Chin       SG   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14061370   June   6/15/2014   complete   Casey       Chin       SG   Casey       Chin       SG   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061371   June   6/15/2014   complete   Rick        Lau        US   Rick        Lau        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061371   June   6/15/2014   complete   Rick        Lau        US   Rick        Lau        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061372   June   6/15/2014   complete   young       kim        US   young       kim        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061372   June   6/15/2014   complete   young       kim        US   young       kim        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061373   June   6/15/2014   complete   Amy         Zhong      AU   Amy         Zhong      AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14061373   June   6/15/2014   complete   Amy         Zhong      AU   Amy         Zhong      AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14061374   June   6/15/2014   complete   Lezhi       Huang      NZ   Lezhi       Huang      NZ   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061374   June   6/15/2014   complete   Lezhi       Huang      NZ   Lezhi       Huang      NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14061375   June   6/15/2014   complete   Son         Diep       US   Son         Diep       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061375   June   6/15/2014   complete   Son         Diep       US   Son         Diep       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061376   June   6/15/2014   complete   锦           唐          US   Jin         Tang       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061376   June   6/15/2014   complete   锦           唐          US   Jin         Tang       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061377   June   6/16/2014   complete   afzal       shadab     IN   afzal       shadab     IN   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061377   June   6/16/2014   complete   afzal       shadab     IN   afzal       shadab     IN   braintree         USD   HGIFT2             0    0   1       0
TVP-14061378   June   6/20/2014   complete   Victor      Koo        US   Arron       Ha         US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061378   June   6/20/2014   complete   Victor      Koo        US   Arron       Ha         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061380   June   6/16/2014   complete   Hing Wah    Lo         MY   Hing        Lo         MY   braintree         USD   TVPAD-007       259    20   1    239
TVP-14061380   June   6/16/2014   complete   Hing Wah    Lo         MY   Hing        Lo         MY   braintree         USD   HGIFT2             0    0   1       0
TVP-14061382   June   6/16/2014   complete   Ernest      Chan       US   Ernest      Chan       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061382   June   6/16/2014   complete   Ernest      Chan       US   Ernest      Chan       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061383   June   6/16/2014   complete   To-Cuong    Ly         CH   To-Cuong    Ly         CH   braintree         USD   TVPAD-007       250    10   2    490
TVP-14061383   June   6/16/2014   complete   To-Cuong    Ly         CH   To-Cuong    Ly         CH   braintree         USD   HGIFT2             0    0   2       0
TVP-14061384   June   6/16/2014   complete   Donny       Wan        GB   Donny       Wan        GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14061384   June   6/16/2014   complete   Donny       Wan        GB   Donny       Wan        GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14061385   June   6/16/2014   complete   JIEYUN      YANG       AU   JIEYUN      YANG       AU   braintree         USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14061386   June   6/16/2014   complete   Gary        Ng         SG   Gary        Ng         SG   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061386   June   6/16/2014   complete   Gary        Ng         SG   Gary        Ng         SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14061387   June   6/16/2014   complete   yau         cheng      GB   yau         cheng      GB   braintree         GBP   TVPAD-007       259    10   1    249
TVP-14061387   June   6/16/2014   complete   yau         cheng      GB   yau         cheng      GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14061388   June   6/16/2014   complete   Chun        Leung      NL   Chun        Leung      NL   braintree         EUR   TVPAD-004       259    10   1    249
TVP-14061388   June   6/16/2014   complete   Chun        Leung      NL   Chun        Leung      NL   braintree         EUR   HGIFT2             0    0   1       0
TVP-14061389   June   6/22/2014   complete   Seung       Lee        BH   Seung       Lee        BH   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061389   June   6/22/2014   complete   Seung       Lee        BH   Seung       Lee        BH   braintree         USD   HGIFT2             0    0   1       0
TVP-14061390   June   6/16/2014   complete   YC          Tang       NL   YC          Tang       NL   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061390   June   6/16/2014   complete   YC          Tang       NL   YC          Tang       NL   braintree         USD   HGIFT2             0    0   1       0
TVP-14061391   June   6/17/2014   complete   SHINWOO     JUNG       US   SHINWOO     JUNG       US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061391   June   6/17/2014   complete   SHINWOO     JUNG       US   SHINWOO     JUNG       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061393   June   6/16/2014   complete   Chaofeng    chen       US   Chaofeng    chen       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061393   June   6/16/2014   complete   Chaofeng    chen       US   Chaofeng    chen       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061394   June   6/16/2014   complete   Binh        thai       US   Binh        thai       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061394   June   6/16/2014   complete   Binh        thai       US   Binh        thai       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061395   June   6/16/2014   complete   Chang       Park       US   Chang       Park       US   braintree         USD   TVPAD-004       250    10   2    490
TVP-14061395   June   6/16/2014   complete   Chang       Park       US   Chang       Park       US   braintree         USD   HGIFT2             0    0   2       0
TVP-14061397   June   6/16/2014   complete   kyungho     son        AE   kyungho     son        AE   paypal_standard   USD   TVPAD-004       250    10   2    490
TVP-14061397   June   6/16/2014   complete   kyungho     son        AE   kyungho     son        AE   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14061398   June   6/16/2014   complete   De          Ngo        US   De          Ngo        US   braintree         USD   TVPAD-007       259    15   1    244
TVP-14061398   June   6/16/2014   complete   De          Ngo        US   De          Ngo        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061399   June   6/16/2014   complete   Chang       Yi         AU   Chang       Yi         AU   braintree         USD   TVPAD-007       250    10   2    490
TVP-14061399   June   6/16/2014   complete   Chang       Yi         AU   Chang       Yi         AU   braintree         USD   HGIFT2             0    0   2       0
TVP-14061400   June   6/16/2014   complete   Steve       Pang       GB   Steve       Pang       GB   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061400   June   6/16/2014   complete   Steve       Pang       GB   Steve       Pang       GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061401   June   6/17/2014   complete   Malcolm     Cadd       US   Malcolm     Cadd       US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061401   June   6/17/2014   complete   Malcolm     Cadd       US   Malcolm     Cadd       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061402   June   6/17/2014   complete   Janny       Lau        CA   Janny       Lau        CA   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061402   June   6/17/2014   complete   Janny       Lau        CA   Janny       Lau        CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14061403   June   6/17/2014   complete   Khushru     Wadia      US   Khushru     Wadia      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061403   June   6/17/2014   complete   Khushru     Wadia      US   Khushru     Wadia      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061404   June   6/17/2014   complete   Jimmy       Ng         CA   Jimmy       Ng         CA   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061404   June   6/17/2014   complete   Jimmy       Ng         CA   Jimmy       Ng         CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14061406   June   6/17/2014   complete   myung       kim        US   myung       kim        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061406   June   6/17/2014   complete   myung       kim        US   myung       kim        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061405   June   6/25/2014   complete   Pancy       Wong       US   poyu        chang      US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14061405   June   6/25/2014   complete   Pancy       Wong       US   poyu        chang      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061407   June   6/17/2014   complete   LEE         YUK-KWAN   CA   LEE         YUK-KWAN   CA   braintree         USD   TVPAD-007       259    15   1    244
TVP-14061407   June   6/17/2014   complete   LEE         YUK-KWAN   CA   LEE         YUK-KWAN   CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14061408   June   6/17/2014   complete   cheewai     voon       GB   cheewai     voon       GB   braintree         GBP   TVPAD-007       259    10   1    249
TVP-14061408   June   6/17/2014   complete   cheewai     voon       GB   cheewai     voon       GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14061409   June   6/17/2014   complete   Anthony     Chang      US   Anthony     Chang      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061409   June   6/17/2014   complete   Anthony     Chang      US   Anthony     Chang      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061410   June   6/17/2014   complete   Albert      Shin       US   Christine   Shin       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061410   June   6/17/2014   complete   Albert      Shin       US   Christine   Shin       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061411   June   6/17/2014   complete   Tam         Tran       GB   Tam         Tran       GB   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061411   June   6/17/2014   complete   Tam         Tran       GB   Tam         Tran       GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061412   June   6/17/2014   complete   Daniel      Chow       GB   Daniel      Chow       GB   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061412   June   6/17/2014   complete   Daniel      Chow       GB   Daniel      Chow       GB   braintree         USD   HGIFT2             0    0   1       0
TVP-14061413   June   6/26/2014   complete   Kenneth     Pun        US   Kenneth     Pun        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061413   June   6/26/2014   complete   Kenneth     Pun        US   Kenneth     Pun        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061414   June   6/17/2014   complete   Kazuyuki    Serizawa   US   Kazuyuki    Serizawa   US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061414   June   6/17/2014   complete   Kazuyuki    Serizawa   US   Kazuyuki    Serizawa   US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061415   June   6/17/2014   complete   Anthony     Lai        NZ   Anthony     Lai        NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061415   June   6/17/2014   complete   Anthony     Lai        NZ   Anthony     Lai        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14061416   June   6/17/2014   complete   Can         Guo        US   Can         Guo        US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14061416   June   6/17/2014   complete   Can         Guo        US   Can         Guo        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061418   June   6/18/2014   complete   Michael     Chan       US   Michael     Chan       US   braintree         USD   TVPAD-007       250    10   2    490
TVP-14061418   June   6/18/2014   complete   Michael     Chan       US   Michael     Chan       US   braintree         USD   HGIFT2             0    0   2       0
TVP-14061419   June   6/17/2014   complete   Krista      Chan       US   Krista      Chan       US   braintree         USD   TVPAD-007       259    15   1    244
TVP-14061419   June   6/17/2014   complete   Krista      Chan       US   Krista      Chan       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061420   June   6/17/2014   complete   Ning        Cao        AU   Ning        Cao        AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14061420   June   6/17/2014   complete   Ning        Cao        AU   Ning        Cao        AU   braintree         AUD   HGIFT2             0    0   1       0
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TVP-14061421   June   6/18/2014   complete   WENDY         FONG      GB   WENDY         FONG      GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-14061421   June   6/18/2014   complete   WENDY         FONG      GB   WENDY         FONG      GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14061422   June   6/17/2014   complete   SungKyung     Jung      US   SungKyung     Jung      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061422   June   6/17/2014   complete   SungKyung     Jung      US   SungKyung     Jung      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061423   June   6/17/2014   complete   Ken           Kua       AU   Ken           Kua       AU   paypal_standard   USD   TVPAD-004       250    10   2    490
TVP-14061423   June   6/17/2014   complete   Ken           Kua       AU   Ken           Kua       AU   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14061424   June   6/18/2014   complete   jose          kim       BR   jose          kim       BR   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14061424   June   6/18/2014   complete   jose          kim       BR   jose          kim       BR   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061425   June   6/18/2014   complete   Henry         Wu        US   Henry         Wu        US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14061425   June   6/18/2014   complete   Henry         Wu        US   Henry         Wu        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061426   June   6/18/2014   complete   WENYI         KUO       US   WENYI         KUO       US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061426   June   6/18/2014   complete   WENYI         KUO       US   WENYI         KUO       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061427   June   6/18/2014   complete   Wei           Chen      PA   Wei           Ceng      PA   paypal_standard   USD   TVPAD-007       250    30   2    470
TVP-14061427   June   6/18/2014   complete   Wei           Chen      PA   Wei           Ceng      PA   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14061428   June   6/18/2014   complete   Raymond       Lo        US   Raymond       Lo        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14061428   June   6/18/2014   complete   Raymond       Lo        US   Raymond       Lo        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061429   June   6/19/2014   complete   Mei           Hong      US   Mei           Hong      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061429   June   6/19/2014   complete   Mei           Hong      US   Mei           Hong      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061430   June   6/18/2014   complete   David         Chang     US   David         Chang     US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061430   June   6/18/2014   complete   David         Chang     US   David         Chang     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061431   June   6/18/2014   complete   JING          ZHAO      US   JING          ZHAO      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061431   June   6/18/2014   complete   JING          ZHAO      US   JING          ZHAO      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061432   June   6/18/2014   complete   kang          soojeun   SG   kang          soojeun   SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061432   June   6/18/2014   complete   kang          soojeun   SG   kang          soojeun   SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14061433   June   6/27/2014   complete   Simon         Shiu      US   Simon         Shiu      US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061433   June   6/27/2014   complete   Simon         Shiu      US   Simon         Shiu      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061434   June   6/18/2014   complete   Nong          Guan      US   Nong          Guan      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061434   June   6/18/2014   complete   Nong          Guan      US   Nong          Guan      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061435   June   6/18/2014   complete   Hai           Thoo      US   Hai           Thoo      US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061435   June   6/18/2014   complete   Hai           Thoo      US   Hai           Thoo      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061436   June   6/18/2014   complete   Andy          Pham      US   Andy          Pham      US   braintree         USD   TVPAD-004       250    10   2    490
TVP-14061436   June   6/18/2014   complete   Andy          Pham      US   Andy          Pham      US   braintree         USD   HGIFT2             0    0   2       0
TVP-14061437   June   6/18/2014   complete   Jie           You       US   Jie           You       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061437   June   6/18/2014   complete   Jie           You       US   Jie           You       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061438   June   6/19/2014   complete   Byung         Kim       US   BJ            Kim       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061438   June   6/19/2014   complete   Byung         Kim       US   BJ            Kim       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061439   June   6/18/2014   complete   Jessie        Zhang     NZ   Jessie        Zhang     NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061439   June   6/18/2014   complete   Jessie        Zhang     NZ   Jessie        Zhang     NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14061440   June   6/18/2014   complete   xiang         zhu       AU   xiang         zhu       AU   braintree         AUD   TVPAD-007       259    10   1    249
TVP-14061440   June   6/18/2014   complete   xiang         zhu       AU   xiang         zhu       AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14061441   June   6/18/2014   complete   Veronica      Lee       SG   Veronica      Lee       SG   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061441   June   6/18/2014   complete   Veronica      Lee       SG   Veronica      Lee       SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14061442   June   6/18/2014   complete   Eddy          Chen      AU   Eddy          Chen      AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14061442   June   6/18/2014   complete   Eddy          Chen      AU   Eddy          Chen      AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14061443   June   6/19/2014   complete   Ken           Hui       GB   Ken           Hui       GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14061443   June   6/19/2014   complete   Ken           Hui       GB   Ken           Hui       GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14061444   June   6/19/2014   complete   Willy-Dawid   Khov      BE   Willy-Dawid   Khov      BE   paypal_standard   EUR   TVPAD-004       259    10   1    249
TVP-14061444   June   6/19/2014   complete   Willy-Dawid   Khov      BE   Willy-Dawid   Khov      BE   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14061445   June   6/19/2014   complete   John          Chang     US   John          Chang     US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061445   June   6/19/2014   complete   John          Chang     US   John          Chang     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061446   June   6/19/2014   complete   Sung          Kim       US   Sung          Kim       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061446   June   6/19/2014   complete   Sung          Kim       US   Sung          Kim       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061447   June   6/19/2014   complete   MUN           CHUNG     US   Judy          kim       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061449   June   6/19/2014   complete   Hyunjae       Lee       HK   Hyunjae       Lee       HK   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061449   June   6/19/2014   complete   Hyunjae       Lee       HK   Hyunjae       Lee       HK   braintree         USD   HGIFT2             0    0   1       0
TVP-14061450   June   6/19/2014   complete   Angie         Yang      US   Angie         Yang      US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061450   June   6/19/2014   complete   Angie         Yang      US   Angie         Yang      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061451   June   6/19/2014   complete   Tom           Rao       AU   Tom           Rao       AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14061451   June   6/19/2014   complete   Tom           Rao       AU   Tom           Rao       AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14061452   June   6/19/2014   complete   Kuok          Ieong     NZ   Kuok          Ieong     NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061452   June   6/19/2014   complete   Kuok          Ieong     NZ   Kuok          Ieong     NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14061453   June   6/19/2014   complete   Patrick       Yu        AU   Patrick       Yu        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061453   June   6/19/2014   complete   Patrick       Yu        AU   Patrick       Yu        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061454   June   6/19/2014   complete   XUYANG        BAO       AU   XUYANG        BAO       AU   paypal_standard   USD   TVPAD-007       259    20   1    239
TVP-14061454   June   6/19/2014   complete   XUYANG        BAO       AU   XUYANG        BAO       AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061455   June   6/19/2014   complete   Yinghan       chen      US   Yinghan       chen      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061455   June   6/19/2014   complete   Yinghan       chen      US   Yinghan       chen      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061456   June   6/19/2014   complete   Yun           Soo       MY   Yun           Soo       MY   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14061456   June   6/19/2014   complete   Yun           Soo       MY   Yun           Soo       MY   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061457   June   6/19/2014   complete   Joseph        Chiu      US   Joseph        Chiu      US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061457   June   6/19/2014   complete   Joseph        Chiu      US   Joseph        Chiu      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061458   June   6/19/2014   complete   Raymond       Ching     SG   Raymond       Ching     SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061458   June   6/19/2014   complete   Raymond       Ching     SG   Raymond       Ching     SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14061459   June   6/19/2014   complete   Sun           Kwon      US   Sun           Kwon      US   paypal_standard   USD   TVPAD-007       259    15   1    244
TVP-14061459   June   6/19/2014   complete   Sun           Kwon      US   Sun           Kwon      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061460   June   6/19/2014   complete   Albert        Reading   GB   Albert        Reading   GB   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061460   June   6/19/2014   complete   Albert        Reading   GB   Albert        Reading   GB   braintree         USD   HGIFT2             0    0   1       0
TVP-14061461   June   6/19/2014   complete   Thomas        Poon      US   Thomas        Poon      US   paypal_standard   USD   TVPAD-007       259    15   1    244
TVP-14061461   June   6/19/2014   complete   Thomas        Poon      US   Thomas        Poon      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061462   June   6/19/2014   complete   Xu            Zhao      AU   Xu            Zhao      AU   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061462   June   6/19/2014   complete   Xu            Zhao      AU   Xu            Zhao      AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061464   June   6/19/2014   complete   Thai          Tran      DK   Thai          Tran      DK   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061464   June   6/19/2014   complete   Thai          Tran      DK   Thai          Tran      DK   braintree         USD   HGIFT2             0    0   1       0
TVP-14061465   June   6/19/2014   complete   Kenny         Leong     AU   Kenny         Leong     AU   braintree         USD   TVPAD-007       259    20   1    239
TVP-14061465   June   6/19/2014   complete   Kenny         Leong     AU   Kenny         Leong     AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061466   June   6/19/2014   complete   Zhenxing      Nie       AU   Zhenxing      Nie       AU   paypal_standard   USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14061467   June   6/19/2014   complete   raymond       liu       NZ   raymond       liu       NZ   braintree         USD   TVPAD-004       259    20   1    239
TVP-14061467   June   6/19/2014   complete   raymond       liu       NZ   raymond       liu       NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14061468   June   6/19/2014   complete   Junjie        Qi        AU   Junjie        Qi        AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061468   June   6/19/2014   complete   Junjie        Qi        AU   Junjie        Qi        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061469   June   6/19/2014   complete   Chem          Lee       AU   Chem          Lee       AU   paypal_standard   AUD   TVPAD-007       259    10   1    249
TVP-14061469   June   6/19/2014   complete   Chem          Lee       AU   Chem          Lee       AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14061470   June   6/20/2014   complete   Park          Young     SA   Park          Young     SA   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061471   June   6/20/2014   complete   mee           park      CL   mee           park      CL   braintree         USD   TVPAD-004       259    20   1    239
TVP-14061471   June   6/20/2014   complete   mee           park      CL   mee           park      CL   braintree         USD   HGIFT2             0    0   1       0
TVP-14061472   June   6/20/2014   complete   SUN           PARK      SG   SUN           PARK      SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061472   June   6/20/2014   complete   SUN           PARK      SG   SUN           PARK      SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14061473   June   6/20/2014   complete   Waiman        Lo        GB   Sau           Lo        GB   paypal_standard   GBP   TVPAD-004       259    20   1    239
TVP-14061473   June   6/20/2014   complete   Waiman        Lo        GB   Sau           Lo        GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14061474   June   6/20/2014   complete   Waiman        Lo        GB   Sau           Lo        GB   paypal_standard   GBP   TVPAD-004       259    20   1    239
TVP-14061474   June   6/20/2014   complete   Waiman        Lo        GB   Sau           Lo        GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14061475   June   6/20/2014   complete   Waiman        Lo        GB   Sau           Lo        GB   paypal_standard   GBP   TVPAD-004       259    20   1    239
TVP-14061475   June   6/20/2014   complete   Waiman        Lo        GB   Sau           Lo        GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14061476   June   6/20/2014   complete   Trinh         Do        US   Trinh         Do        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14061476   June   6/20/2014   complete   Trinh         Do        US   Trinh         Do        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061477   June   6/20/2014   complete   Junwoo        Chon      US   Junwoo        Chon      US   braintree         USD   TVPAD-RB-004    195     0   1    195
TVP-14061478   June   6/20/2014   complete   Wanyan        Shaohua   SG   Wanyan        Shaohua   SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061478   June   6/20/2014   complete   Wanyan        Shaohua   SG   Wanyan        Shaohua   SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14061479   June   6/20/2014   complete   alan          huang     US   alan          huang     US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14061479   June   6/20/2014   complete   alan          huang     US   alan          huang     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061480   June   6/20/2014   complete   Seung         Won       US   Seung         Won       US   paypal_standard   USD   TVPAD-007       259    20   1    239
TVP-14061481   June   6/20/2014   complete   Kenny         wu        US   Kenny         wu        US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14061481   June   6/20/2014   complete   Kenny         wu        US   Kenny         wu        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061484   June   6/20/2014   complete   Wyman         Lo        US   Wyman         Lo        US   paypal_standard   USD   TVPAD-RB-004    195     0   2    390
TVP-14061485   June   6/20/2014   complete   Boting        Liu       US   Boting        Liu       US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061485   June   6/20/2014   complete   Boting        Liu       US   Boting        Liu       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061487   June   6/20/2014   complete   shirley       wong      AU   shirley       wong      AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14061487   June   6/20/2014   complete   shirley       wong      AU   shirley       wong      AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14061488   June   6/20/2014   complete   KyungMin      Kim       MY   KyungMin      Kim       MY   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061488   June   6/20/2014   complete   KyungMin      Kim       MY   KyungMin      Kim       MY   braintree         USD   HGIFT2             0    0   1       0
TVP-14061489   June   6/20/2014   complete   Hyungwoo      Lim       SE   Hyungwoo      Lim       SE   braintree         USD   TVPAD-007       259    15   1    244
TVP-14061489   June   6/20/2014   complete   Hyungwoo      Lim       SE   Hyungwoo      Lim       SE   braintree         USD   HGIFT2             0    0   1       0
TVP-14061490   June   6/21/2014   complete   wenjing       huang     AU   wenjing       huang     AU   braintree         AUD   TVPAD-007       259    10   1    249
TVP-14061490   June   6/21/2014   complete   wenjing       huang     AU   wenjing       huang     AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14061491   June   6/21/2014   complete   Winny         Chan      CA   Winny         Chan      CA   braintree         USD   TVPAD-004       259    20   1    239
TVP-14061491   June   6/21/2014   complete   Winny         Chan      CA   Winny         Chan      CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14061492   June   6/21/2014   complete   Chae          Im        US   Chae          Im        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061492   June   6/21/2014   complete   Chae          Im        US   Chae          Im        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061493   June   6/21/2014   complete   soung         choung    US   soung         choung    US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061493   June   6/21/2014   complete   soung         choung    US   soung         choung    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061494   June   6/21/2014   complete   Trinh         Do        US   Trinh         Do        US   braintree         USD   TVPAD-007       245    20   5   1205
TVP-14061494   June   6/21/2014   complete   Trinh         Do        US   Trinh         Do        US   braintree         USD   HGIFT2             0    0   5       0
TVP-14061495   June   6/21/2014   complete   Jing          Wang      US   Jing          Wang      US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061495   June   6/21/2014   complete   Jing          Wang      US   Jing          Wang      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061496   June   6/21/2014   complete   Jing          Board     US   Jing          Board     US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061496   June   6/21/2014   complete   Jing          Board     US   Jing          Board     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061497   June   6/21/2014   complete   Kevin         Jun       US   Kevin         Jun       US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061497   June   6/21/2014   complete   Kevin         Jun       US   Kevin         Jun       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061498   June   6/21/2014   complete   Lester        CHAN      US   Lester        CHAN      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061498   June   6/21/2014   complete   Lester        CHAN      US   Lester        CHAN      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061499   June   6/21/2014   complete   yongmin       jin       US   yongmin       jin       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061499   June   6/21/2014   complete   yongmin       jin       US   yongmin       jin       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061526   June   6/22/2014   complete   Kin           Kwok      US   Kin           Kwok      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061526   June   6/22/2014   complete   Kin           Kwok      US   Kin           Kwok      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061500   June   6/22/2014   complete   yohei         nagai     US   yohei         nagai     US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061500   June   6/22/2014   complete   yohei         nagai     US   yohei         nagai     US   braintree         USD   HGIFT2             0    0   1       0
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TVP-14061501   June   6/22/2014   complete   kirk        liu        US   kirk          liu        US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14061501   June   6/22/2014   complete   kirk        liu        US   kirk          liu        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061502   June   6/22/2014   complete   Derek       Teng       AU   Derek         Teng       AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14061502   June   6/22/2014   complete   Derek       Teng       AU   Derek         Teng       AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14061503   June   6/22/2014   complete   AMY         CHEN       AU   AMY           CHEN       AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14061503   June   6/22/2014   complete   AMY         CHEN       AU   AMY           CHEN       AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14061504   June   6/22/2014   complete   ANDY        NHAM       CH   ANDY          NHAM       CH   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061504   June   6/22/2014   complete   ANDY        NHAM       CH   ANDY          NHAM       CH   braintree         USD   HGIFT2             0    0   1       0
TVP-14061505   June   6/22/2014   complete   Walter      Kling      NL   WHGJ          Kling      NL   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061505   June   6/22/2014   complete   Walter      Kling      NL   WHGJ          Kling      NL   braintree         USD   HGIFT2             0    0   1       0
TVP-14061506   June   6/22/2014   complete   Kiem        Nguyen     US   Kiem          Nguyen     US   paypal_standard   USD   TVPAD-007       250    10   2    490
TVP-14061506   June   6/22/2014   complete   Kiem        Nguyen     US   Kiem          Nguyen     US   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14061507   June   6/22/2014   complete   XIJUN       WU         AU   XIJUN         WU         AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061507   June   6/22/2014   complete   XIJUN       WU         AU   XIJUN         WU         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061508   June   6/22/2014   complete   John        Yee        SG   John          Yee        SG   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061508   June   6/22/2014   complete   John        Yee        SG   John          Yee        SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14061509   June   6/22/2014   complete   Ellie       Min        US   Ellie         Min        US   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14061509   June   6/22/2014   complete   Ellie       Min        US   Ellie         Min        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061510   June   6/22/2014   complete   GARRY       LOH        IE   GARRY         LOH        IE   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061510   June   6/22/2014   complete   GARRY       LOH        IE   GARRY         LOH        IE   braintree         USD   HGIFT2             0    0   1       0
TVP-14061511   June   6/22/2014   complete   Christine   Lee        US   Christine     Lee        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14061511   June   6/22/2014   complete   Christine   Lee        US   Christine     Lee        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061512   June   6/22/2014   complete   Jeng        Ho         US   Jeng          Ho         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061512   June   6/22/2014   complete   Jeng        Ho         US   Jeng          Ho         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061513   June   6/22/2014   complete   Edmund      Lee        US   Edmund        Lee        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061513   June   6/22/2014   complete   Edmund      Lee        US   Edmund        Lee        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061514   June   6/22/2014   complete   Tsjok       Man        NL   Tsjok         Man        NL   paypal_standard   EUR   TVPAD-007       259    20   1    239
TVP-14061514   June   6/22/2014   complete   Tsjok       Man        NL   Tsjok         Man        NL   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14061515   June   6/22/2014   complete   Di          Zhou       AU   Di            Zhou       AU   braintree         USD   TVPAD-007       250    15   2    485
TVP-14061515   June   6/22/2014   complete   Di          Zhou       AU   Di            Zhou       AU   braintree         USD   HGIFT2             0    0   2       0
TVP-14061516   June   6/23/2014   complete   yan         wu         CA   hui           huang      CA   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061516   June   6/23/2014   complete   yan         wu         CA   hui           huang      CA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061517   June   6/22/2014   complete   Sikan       ZHU        AU   Sikan         ZHU        AU   braintree         AUD   TVPAD-007       259    20   1    239
TVP-14061517   June   6/22/2014   complete   Sikan       ZHU        AU   Sikan         ZHU        AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14061518   June   6/23/2014   complete   CHUN-SHU    WEI        US   CHUN-SHU      WEI        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061518   June   6/23/2014   complete   CHUN-SHU    WEI        US   CHUN-SHU      WEI        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061519   June   6/23/2014   complete   Nicole      Yan        NZ   Nicole        Yan        NZ   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061519   June   6/23/2014   complete   Nicole      Yan        NZ   Nicole        Yan        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14061520   June   6/23/2014   complete   Bryden      Toh        SG   Bryden        Toh        SG   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061520   June   6/23/2014   complete   Bryden      Toh        SG   Bryden        Toh        SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14061521   June   6/23/2014   complete   Bruce       Wang       AU   Bruce         Wang       AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061521   June   6/23/2014   complete   Bruce       Wang       AU   Bruce         Wang       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061522   June   6/23/2014   complete   simon       tan        AU   simon         tan        AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14061522   June   6/23/2014   complete   simon       tan        AU   simon         tan        AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14061523   June   6/23/2014   complete   Sandy       Wong       AU   Sandy         Wong       AU   braintree         USD   TVPAD-RB-004    195     0   1    195
TVP-14061524   June   6/23/2014   complete   zhong       zhang      AU   zhong         zhang      AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061524   June   6/23/2014   complete   zhong       zhang      AU   zhong         zhang      AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061525   June   6/23/2014   complete   Jin         LI         AU   Jin           LI         AU   braintree         USD   TVPAD-007       259    20   1    239
TVP-14061525   June   6/23/2014   complete   Jin         LI         AU   Jin           LI         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061527   June   6/23/2014   complete   Hui         Han        US   Hui           Han        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061527   June   6/23/2014   complete   Hui         Han        US   Hui           Han        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061528   June   6/23/2014   complete   Bo-Bo       Puk        US   Bo-Bo         Puk        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061528   June   6/23/2014   complete   Bo-Bo       Puk        US   Bo-Bo         Puk        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061529   June   6/23/2014   complete   WOO         JUNG       CO   WOO           JUNG       CO   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061529   June   6/23/2014   complete   WOO         JUNG       CO   WOO           JUNG       CO   braintree         USD   HGIFT2             0    0   1       0
TVP-14061530   June   6/23/2014   complete   Seng-Teck   TANG       FR   Seng-Teck     TANG       FR   paypal_standard   EUR   TVPAD-004       259    10   1    249
TVP-14061530   June   6/23/2014   complete   Seng-Teck   TANG       FR   Seng-Teck     TANG       FR   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14061531   June   6/23/2014   complete   Vicki       lo         US   Vicki         lo         US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061531   June   6/23/2014   complete   Vicki       lo         US   Vicki         lo         US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061532   June   6/23/2014   complete   Rayoul      Jung       US   Rayoul        Jung       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061532   June   6/23/2014   complete   Rayoul      Jung       US   Rayoul        Jung       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061533   June   6/23/2014   complete   weiming     chen       US   weiming       chen       US   braintree         USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14061534   June   6/23/2014   complete   Isaac       Wong       US   Isaac         Wong       US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061534   June   6/23/2014   complete   Isaac       Wong       US   Isaac         Wong       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061535   June   6/23/2014   complete   Sung        LEE        HK   Sung          LEE        HK   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061535   June   6/23/2014   complete   Sung        LEE        HK   Sung          LEE        HK   braintree         USD   HGIFT2             0    0   1       0
TVP-14061536   June   6/23/2014   complete   Min         Li         US   Min           Li         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061536   June   6/23/2014   complete   Min         Li         US   Min           Li         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061537   June   6/23/2014   complete   Ariel       Song       US   Ariel         Song       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061537   June   6/23/2014   complete   Ariel       Song       US   Ariel         Song       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061538   June   6/23/2014   complete   Yingyu      Wu         US   Yingyu        Wu         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061539   June   6/23/2014   complete   Lili        Mu         AU   Lili          Mu         AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061539   June   6/23/2014   complete   Lili        Mu         AU   Lili          Mu         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061540   June   6/23/2014   complete   Michael     Hsu        NZ   Michael       Hsu        NZ   braintree         USD   TVPAD-004       250    20   2    480
TVP-14061540   June   6/23/2014   complete   Michael     Hsu        NZ   Michael       Hsu        NZ   braintree         USD   HGIFT2             0    0   2       0
TVP-14061541   June   6/23/2014   complete   yilong      huang      US   yilong        huang      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061541   June   6/23/2014   complete   yilong      huang      US   yilong        huang      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061542   June   6/23/2014   complete   KIM         SUNG       SG   KIM           SUNG       SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061542   June   6/23/2014   complete   KIM         SUNG       SG   KIM           SUNG       SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14061543   June   6/23/2014   complete   le          TAN        FR   le            TAN        FR   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061543   June   6/23/2014   complete   le          TAN        FR   le            TAN        FR   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061544   June   6/23/2014   complete   Sungkyu     Chang      MY   Sungkyu       Chang      MY   braintree         USD   TVPAD-RB-004    195     0   1    195
TVP-14061545   June   6/23/2014   complete   David       Huang      AU   David         Huang      AU   paypal_standard   AUD   TVPAD-004       250    10   2    490
TVP-14061545   June   6/23/2014   complete   David       Huang      AU   David         Huang      AU   paypal_standard   AUD   HGIFT2             0    0   2       0
TVP-14061546   June   6/24/2014   complete   Brian       Kim        US   Brian         Kim        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061546   June   6/24/2014   complete   Brian       Kim        US   Brian         Kim        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061547   June   6/24/2014   complete   Tsung       Chang      US   Tsung-Cheun   Chang      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061547   June   6/24/2014   complete   Tsung       Chang      US   Tsung-Cheun   Chang      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061548   June   6/24/2014   complete   Vincent     Lam        US   Vincent       Lam        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061548   June   6/24/2014   complete   Vincent     Lam        US   Vincent       Lam        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061549   June   6/24/2014   complete   Richard     La         US   Richard       La         US   paypal_standard   USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14061550   June   6/24/2014   complete   Hang        Yin        NZ   Hang          Yin        NZ   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061550   June   6/24/2014   complete   Hang        Yin        NZ   Hang          Yin        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14061552   June   6/24/2014   complete   Kenneth     Sun        NZ   Kenneth       Sun        NZ   paypal_standard   USD   TVPAD-004       259    15   1    244
TVP-14061552   June   6/24/2014   complete   Kenneth     Sun        NZ   Kenneth       Sun        NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061553   June   6/24/2014   complete   Anthony     Yee        AU   Anthony       Yee        AU   paypal_standard   AUD   TVPAD-007       259    10   1    249
TVP-14061553   June   6/24/2014   complete   Anthony     Yee        AU   Anthony       Yee        AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14061554   June   6/24/2014   complete   Betty       Kong       AU   Betty         Kong       AU   paypal_standard   USD   TVPAD-007       250    10   2    490
TVP-14061554   June   6/24/2014   complete   Betty       Kong       AU   Betty         Kong       AU   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14061555   June   6/24/2014   complete   Yao         Hu         US   Yao           Hu         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061555   June   6/24/2014   complete   Yao         Hu         US   Yao           Hu         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061556   June   6/24/2014   complete   Stephen     Kwok       US   Stephen       Kwok       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061556   June   6/24/2014   complete   Stephen     Kwok       US   Stephen       Kwok       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061557   June   6/24/2014   complete   Hannah      Lee        US   Hannah        Lee        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061557   June   6/24/2014   complete   Hannah      Lee        US   Hannah        Lee        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061558   June   6/24/2014   complete   Daniel      Lim        AU   Daniel        Lim        AU   paypal_standard   USD   TVPAD-007       259    20   1    239
TVP-14061558   June   6/24/2014   complete   Daniel      Lim        AU   Daniel        Lim        AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061559   June    7/3/2014   complete   bo          tian       US   bo            tian       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061559   June    7/3/2014   complete   bo          tian       US   bo            tian       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061561   June    7/3/2014   complete   Chi         Kim        US   Sung          Kim        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061561   June    7/3/2014   complete   Chi         Kim        US   Sung          Kim        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061562   June   6/24/2014   complete   Guofu       Yu         US   Guofu         Yu         US   paypal_standard   USD   TVPAD-RB-004    195     0   1    195
TVP-14061563   June   6/25/2014   complete   Nai         Xie        US   Nai           Xie        US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061563   June   6/25/2014   complete   Nai         Xie        US   Nai           Xie        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061564   June   6/28/2014   complete   Kar         Cheung     GB   Kar           Cheung     GB   braintree         GBP   TVPAD-007       259    10   1    249
TVP-14061564   June   6/28/2014   complete   Kar         Cheung     GB   Kar           Cheung     GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14061565   June   6/26/2014   complete   Jean        Yeo        US   Jean          Yeo        US   paypal_standard   USD   TVPAD-004       259    15   1    244
TVP-14061565   June   6/26/2014   complete   Jean        Yeo        US   Jean          Yeo        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061566   June    7/3/2014   complete   KYUSUNG     KANG       GT   KYUSUNG       KANG       GT   braintree         USD   TVPAD-007       259    10   1    249
TVP-14061566   June    7/3/2014   complete   KYUSUNG     KANG       GT   KYUSUNG       KANG       GT   braintree         USD   HGIFT2             0    0   1       0
TVP-14061567   June   6/25/2014   complete   Ngan        Chung      NZ   Ngan          Chung      NZ   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14061567   June   6/25/2014   complete   Ngan        Chung      NZ   Ngan          Chung      NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061568   June   6/25/2014   complete   Min         Lu         AU   Min           Lu         AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061568   June   6/25/2014   complete   Min         Lu         AU   Min           Lu         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061569   June   6/26/2014   complete   C.H.        Liu        US   C.H.          Liu        US   braintree         USD   TVPAD-RB-004     195    0   1    195
TVP-14061594   June   6/26/2014   complete   Juan        Castillo   US   Juan          Castillo   US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061594   June   6/26/2014   complete   Juan        Castillo   US   Juan          Castillo   US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061571   June   6/26/2014   complete   Sze-Ki      Chau       US   Sze-Ki        Chau       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061571   June   6/26/2014   complete   Sze-Ki      Chau       US   Sze-Ki        Chau       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061572   June   6/26/2014   complete   Sy-Chyuan   Hwu        US   Sy-Chyuan     Hwu        US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14061573   June   6/26/2014   complete   Hai         Wong       US   Hai           Wong       US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061573   June   6/26/2014   complete   Hai         Wong       US   Hai           Wong       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061574   June   6/26/2014   complete   Chia Chin   Lin Kuo    EC   Chia          Kuo        EC   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14061574   June   6/26/2014   complete   Chia Chin   Lin Kuo    EC   Chia          Kuo        EC   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061575   June   6/26/2014   complete   WEIQI       GUO        US   WEIQI         GUO        US   braintree         USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14061576   June   6/26/2014   complete   erica       lee        CA   erica         lee        CA   braintree         CAD   TVPAD-007       259    15   1    244
TVP-14061576   June   6/26/2014   complete   erica       lee        CA   erica         lee        CA   braintree         CAD   HGIFT2             0    0   1       0
TVP-14061578   June   6/26/2014   complete   Guanwen     Wang       AU   Guanwen       Wang       AU   braintree         USD   TVPAD-004       250    10   2    490
TVP-14061578   June   6/26/2014   complete   Guanwen     Wang       AU   Guanwen       Wang       AU   braintree         USD   HGIFT2             0    0   2       0
TVP-14061579   June   6/26/2014   complete   Kam         Lee        CA   Kam           Lee        CA   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061579   June   6/26/2014   complete   Kam         Lee        CA   Kam           Lee        CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14061580   June   6/26/2014   complete   Han         Lee        AU   Han           Lee        AU   braintree         USD   TVPAD-004       259    20   1    239
TVP-14061580   June   6/26/2014   complete   Han         Lee        AU   Han           Lee        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061581   June   6/26/2014   complete   Han         Lee        AU   Han           Lee        AU   paypal_standard   USD   TVPAD-007       259    15   1    244
TVP-14061581   June   6/26/2014   complete   Han         Lee        AU   Han           Lee        AU   paypal_standard   USD   HGIFT2             0    0   1       0
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TVP-14061582   June   6/26/2014   complete   Chen       (Bill)      NZ   Chen       (Bill)      NZ   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14061582   June   6/26/2014   complete   Chen       (Bill)      NZ   Chen       (Bill)      NZ   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14061583   June   6/28/2014   complete   BIN        ZHENG       AU   BIN        ZHENG       AU   braintree         USD   TVPAD-AC-004   29.99      0   1    29.99
TVP-14061584   June   6/26/2014   complete   Bei        Wang        GB   Bei        Wang        GB   braintree         GBP   TVPAD-004       259      10   1     249
TVP-14061584   June   6/26/2014   complete   Bei        Wang        GB   Bei        Wang        GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14061585   June   6/26/2014   complete   Timothy    Chow        GB   Timothy    Chow        GB   braintree         GBP   TVPAD-004       259      15   1     244
TVP-14061585   June   6/26/2014   complete   Timothy    Chow        GB   Timothy    Chow        GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14061586   June   6/26/2014   complete   LEE        GHEE        MY   LEE        GHEE        MY   braintree         USD   TVPAD-RB-004    195       0   1     195
TVP-14061587   June   6/26/2014   complete   Jason      Tan         AU   Jason      Tan         AU   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14061587   June   6/26/2014   complete   Jason      Tan         AU   Jason      Tan         AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14061590   June   6/27/2014   complete   zhuojian   zhang       US   zhuojian   zhang       US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14061590   June   6/27/2014   complete   zhuojian   zhang       US   zhuojian   zhang       US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14061592   June   6/27/2014   complete   annie      cheung      US   annie      cheung      US   braintree         USD   TVPAD-007       259      20   1     239
TVP-14061592   June   6/27/2014   complete   annie      cheung      US   annie      cheung      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061593   June   6/27/2014   complete   Jianzhen   Yu          US   Jianzhen   Yu          US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061593   June   6/27/2014   complete   Jianzhen   Yu          US   Jianzhen   Yu          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061595   June   6/27/2014   complete   Gary       Tsang       GB   Gary       Tsang       GB   paypal_standard   GBP   TVPAD-004       259      15   1     244
TVP-14061595   June   6/27/2014   complete   Gary       Tsang       GB   Gary       Tsang       GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14061596   June   6/27/2014   complete   Nick       Chau        GB   Nick       Chau        GB   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061596   June   6/27/2014   complete   Nick       Chau        GB   Nick       Chau        GB   braintree         USD   HGIFT2             0      0   1        0
TVP-14061597   June   6/27/2014   complete   Shiny      Leonard     AU   Shiny      Leonard     AU   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14061597   June   6/27/2014   complete   Shiny      Leonard     AU   Shiny      Leonard     AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14061598   June   6/27/2014   complete   Victor     Chan        US   Victor     Chan        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061598   June   6/27/2014   complete   Victor     Chan        US   Victor     Chan        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061599   June   6/27/2014   complete   CheLun     Mak         US   CheLun     Mak         US   braintree         USD   TVPAD-007       259      20   1     239
TVP-14061599   June   6/27/2014   complete   CheLun     Mak         US   CheLun     Mak         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061600   June   6/27/2014   complete   SeungJin   Lee         CR   SeungJin   Lee         CR   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14061600   June   6/27/2014   complete   SeungJin   Lee         CR   SeungJin   Lee         CR   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14061601   June   6/27/2014   complete   HO         CheeWee     SG   HO         CheeWee     SG   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061601   June   6/27/2014   complete   HO         CheeWee     SG   HO         CheeWee     SG   braintree         USD   HGIFT2             0      0   1        0
TVP-14061602   June   6/27/2014   complete   Margaret   Mak         GB   Margaret   Mak         GB   braintree         GBP   TVPAD-004       259      20   1     239
TVP-14061602   June   6/27/2014   complete   Margaret   Mak         GB   Margaret   Mak         GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14061603   June   6/27/2014   complete   K.M.       Pang        NL   K.M.       Pang        NL   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061603   June   6/27/2014   complete   K.M.       Pang        NL   K.M.       Pang        NL   braintree         USD   HGIFT2             0      0   1        0
TVP-14061604   June   6/27/2014   complete   Yining     Wu          AU   Yining     Wu          AU   braintree         USD   TVPAD-004       259    8.96   1   250.04
TVP-14061604   June   6/27/2014   complete   Yining     Wu          AU   Yining     Wu          AU   braintree         USD   TVPAD-AC-004   29.99   1.04   1    28.95
TVP-14061604   June   6/27/2014   complete   Yining     Wu          AU   Yining     Wu          AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14061605   June   6/28/2014   complete   Satoru     Wada        GU   Satoru     Wada        GU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061605   June   6/28/2014   complete   Satoru     Wada        GU   Satoru     Wada        GU   braintree         USD   HGIFT2             0      0   1        0
TVP-14061606   June    7/3/2014   complete   Sangtae    Park        US   Sangtae    Park        US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14061606   June    7/3/2014   complete   Sangtae    Park        US   Sangtae    Park        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061610   June   6/28/2014   complete   Dong       Yeo         US   Dong       Yeo         US   braintree         USD   TVPAD-007       259      20   1     239
TVP-14061610   June   6/28/2014   complete   Dong       Yeo         US   Dong       Yeo         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061611   June   6/28/2014   complete   mao        wang        US   mao        wang        US   braintree         USD   TVPAD-004       259      15   1     244
TVP-14061611   June   6/28/2014   complete   mao        wang        US   mao        wang        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061612   June   6/29/2014   complete   Gino       Yan         CA   Gino       Yan         CA   braintree         USD   TVPAD-RB-004    195       0   1     195
TVP-14061613   June   6/28/2014   complete   Andrew     Ho          US   Andrew     Ho          US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14061613   June   6/28/2014   complete   Andrew     Ho          US   Andrew     Ho          US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14061614   June   6/28/2014   complete   Wenxiu     Hou         AU   Wenxiu     Hou         AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061614   June   6/28/2014   complete   Wenxiu     Hou         AU   Wenxiu     Hou         AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14061615   June   6/28/2014   complete   HueiChun   Lu          US   HueiChun   Lu          US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061615   June   6/28/2014   complete   HueiChun   Lu          US   HueiChun   Lu          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061616   June   6/28/2014   complete   Galy       Tse         AU   Galy       Tse         AU   paypal_standard   USD   TVPAD-004       250      15   2     485
TVP-14061616   June   6/28/2014   complete   Galy       Tse         AU   Galy       Tse         AU   paypal_standard   USD   HGIFT2             0      0   2        0
TVP-14061617   June   6/28/2014   complete   oo         huat        MY   oo         huat        MY   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061617   June   6/28/2014   complete   oo         huat        MY   oo         huat        MY   braintree         USD   HGIFT2             0      0   1        0
TVP-14061618   June   6/29/2014   complete   Matthew    Titmuss     AU   Matthew    Titmuss     AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061618   June   6/29/2014   complete   Matthew    Titmuss     AU   Matthew    Titmuss     AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14061619   June   6/29/2014   complete   Bart       Wang        NZ   Bart       Wang        NZ   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14061619   June   6/29/2014   complete   Bart       Wang        NZ   Bart       Wang        NZ   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14061620   June   6/29/2014   complete   Nancy      Ngoi        NZ   Nancy      Ngoi        NZ   braintree         USD   TVPAD-007       259      10   1     249
TVP-14061620   June   6/29/2014   complete   Nancy      Ngoi        NZ   Nancy      Ngoi        NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14061621   June   6/29/2014   complete   Irene      Tsang       NZ   Irene      Tsang       NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061621   June   6/29/2014   complete   Irene      Tsang       NZ   Irene      Tsang       NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14061622   June   6/29/2014   complete   James      Park        US   James      Park        US   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14061622   June   6/29/2014   complete   James      Park        US   James      Park        US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14061623   June   6/29/2014   complete   Sisy       Go          NL   Sisy       Go          NL   paypal_standard   EUR   TVPAD-004       259      10   1     249
TVP-14061623   June   6/29/2014   complete   Sisy       Go          NL   Sisy       Go          NL   paypal_standard   EUR   HGIFT2             0      0   1        0
TVP-14061624   June   6/29/2014   complete   Kaiser     Den         US   Kaiser     Den         US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061624   June   6/29/2014   complete   Kaiser     Den         US   Kaiser     Den         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061625   June   6/29/2014   complete   Chong      Yi          US   Chong      Yi          US   braintree         USD   TVPAD-RB-004    195       0   2      390
TVP-14061626   June   6/29/2014   complete   Zhiyun     Yang        GB   Zhiyun     Yang        GB   braintree         GBP   TVPAD-007       259      10   1     249
TVP-14061626   June   6/29/2014   complete   Zhiyun     Yang        GB   Zhiyun     Yang        GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14061627   June   6/29/2014   complete   William    Taw         US   William    Taw         US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061627   June   6/29/2014   complete   William    Taw         US   William    Taw         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061628   June   6/29/2014   complete   Sara       Nagai       US   Sara       Nagai       US   paypal_standard   USD   TVPAD-RB-004    195       0   1     195
TVP-14061629   June   6/30/2014   complete   mandy      lema        US   mandy      lema        US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14061629   June   6/30/2014   complete   mandy      lema        US   mandy      lema        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061630   June   6/30/2014   complete   Michael    Chen        AU   Michael    Chen        AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061630   June   6/30/2014   complete   Michael    Chen        AU   Michael    Chen        AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14061631   June   6/30/2014   complete   Bill       Lee         US   Bill       Lee         US   braintree         USD   TVPAD-004       259      20   1      239
TVP-14061631   June   6/30/2014   complete   Bill       Lee         US   Bill       Lee         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061632   June   6/30/2014   complete   Song       Yang        NZ   Song       Yang        NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061632   June   6/30/2014   complete   Song       Yang        NZ   Song       Yang        NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14061633   June    7/2/2014   complete   Wakana     Otuska      US   Wakana     Otuska      US   braintree         USD   TVPAD-004       259      15   1     244
TVP-14061633   June    7/2/2014   complete   Wakana     Otuska      US   Wakana     Otuska      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061634   June   6/30/2014   complete   Tinlan     Li          US   Tinlan     Li          US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061634   June   6/30/2014   complete   Tinlan     Li          US   Tinlan     Li          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061635   June    7/1/2014   complete   Dong       Joo         AU   Alisa      Nakamura    AU   braintree         AUD   TVPAD-007       259      20   1     239
TVP-14061635   June    7/1/2014   complete   Dong       Joo         AU   Alisa      Nakamura    AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14061636   June   6/30/2014   complete   Xiaoping   YIN         AU   Xiaoping   YIN         AU   braintree         USD   TVPAD-RB-004    195       0   2     390
TVP-14061637   June   6/30/2014   complete   JIAYU      HUANG       AU   JIAYU      HUANG       AU   braintree         AUD   TVPAD-004       259      10   1     249
TVP-14061637   June   6/30/2014   complete   JIAYU      HUANG       AU   JIAYU      HUANG       AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14061638   June   6/30/2014   complete   KiahHooi   Wee         CH   KiahHooi   Wee         CH   braintree         USD   TVPAD-004       259      10   1      249
TVP-14061638   June   6/30/2014   complete   KiahHooi   Wee         CH   KiahHooi   Wee         CH   braintree         USD   HGIFT2             0      0   1        0
TVP-14061639   June   6/30/2014   complete   Lisa       Chau        US   Denis      Wong        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061639   June   6/30/2014   complete   Lisa       Chau        US   Denis      Wong        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061640   June    7/7/2014   complete   Nghe       Luu         CH   Gabriel    Luu         CH   braintree         USD   TVPAD-007        259     10   1      249
TVP-14061640   June    7/7/2014   complete   Nghe       Luu         CH   Gabriel    Luu         CH   braintree         USD   HGIFT2             0      0   1        0
TVP-14061641   June   6/30/2014   complete   Fanrong    Mu          US   Fanrong    Mu          US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14061641   June   6/30/2014   complete   Fanrong    Mu          US   Fanrong    Mu          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061642   June   6/30/2014   complete   Rachel     Fung        US   Rachel     Fung        US   braintree         USD   TVPAD-004       259      20   1      239
TVP-14061642   June   6/30/2014   complete   Rachel     Fung        US   Rachel     Fung        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061643   June   6/30/2014   complete   Peter      Fan         CA   Peter      Fan         CA   paypal_standard   USD   TVPAD-007       259      20   1      239
TVP-14061643   June   6/30/2014   complete   Peter      Fan         CA   Peter      Fan         CA   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14061645   June   6/30/2014   complete   Soentono   Jie         US   Soentono   Jie         US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14061645   June   6/30/2014   complete   Soentono   Jie         US   Soentono   Jie         US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14061646   June   6/30/2014   complete   Steven     Chew        US   Steven     Chew        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061646   June   6/30/2014   complete   Steven     Chew        US   Steven     Chew        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061647   June   6/30/2014   complete   xiaoyi     Chen        US   xiaoyi     Chen        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061647   June   6/30/2014   complete   xiaoyi     Chen        US   xiaoyi     Chen        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061649   June   6/30/2014   complete   Sungmin    Mun         AU   Sungmin    Mun         AU   paypal_standard   AUD   TVPAD-004       259      10   1     249
TVP-14061649   June   6/30/2014   complete   Sungmin    Mun         AU   Sungmin    Mun         AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14061650   June   6/30/2014   complete   francis    huang       US   francis    huang       US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14061650   June   6/30/2014   complete   francis    huang       US   francis    huang       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061651   June   6/30/2014   complete   haojie     Peng        AU   haojie     Peng        AU   paypal_standard   AUD   TVPAD-004       259      10   1     249
TVP-14061651   June   6/30/2014   complete   haojie     Peng        AU   haojie     Peng        AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14061652   June    7/1/2014   complete   Yeongun    Jung        KR   Yeongun    Jung        KR   braintree         USD   TVPAD-004        259     10   1      249
TVP-14061652   June    7/1/2014   complete   Yeongun    Jung        KR   Yeongun    Jung        KR   braintree         USD   HGIFT2             0      0   1        0
TVP-14061653   June   6/30/2014   complete   Rui        Zhang       AU   Rui        Zhang       AU   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14061653   June   6/30/2014   complete   Rui        Zhang       AU   Rui        Zhang       AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14061654   June   6/30/2014   complete   CHUN       HUANG       US   JINGBIN    ZHAO        US   braintree         USD   TVPAD-004       250      20   2     480
TVP-14061654   June   6/30/2014   complete   CHUN       HUANG       US   JINGBIN    ZHAO        US   braintree         USD   HGIFT2             0      0   2        0
TVP-14061655   June   6/30/2014   complete   Huihong    Tan         US   Huihong    Tan         US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14061655   June   6/30/2014   complete   Huihong    Tan         US   Huihong    Tan         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061656   June    7/1/2014   complete   Raymond    CHU         GB   Raymond    CHU         GB   braintree         USD   TVPAD-007        259     10   1      249
TVP-14061656   June    7/1/2014   complete   Raymond    CHU         GB   Raymond    CHU         GB   braintree         USD   HGIFT2             0      0   1        0
TVP-14061658   June   6/30/2014   complete   Yu         Bai         AU   Yu         Bai         AU   braintree         AUD   TVPAD-007       259      10   1      249
TVP-14061658   June   6/30/2014   complete   Yu         Bai         AU   Yu         Bai         AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14061659   June   6/30/2014   complete   chen       wu          US   chen       wu          US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14061659   June   6/30/2014   complete   chen       wu          US   chen       wu          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061660   June   6/30/2014   complete   TANG       Frederick   LU   TANG       Frederick   LU   braintree         USD   TVPAD-007       259      10   1     249
TVP-14061660   June   6/30/2014   complete   TANG       Frederick   LU   TANG       Frederick   LU   braintree         USD   HGIFT2             0      0   1        0
TVP-14061661   June   6/30/2014   complete   Quincy     Chan        SG   Quincy     Chan        SG   braintree         USD   TVPAD-RB-004     195      0   1      195
TVP-14061662   June   6/30/2014   complete   Guodong    Ma          AU   Guodong    Ma          AU   braintree         USD   TVPAD-004       259      10   1      249
TVP-14061662   June   6/30/2014   complete   Guodong    Ma          AU   Guodong    Ma          AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14061663   June   6/30/2014   complete   Ailing     Deng        AU   Ailing     Deng        AU   braintree         AUD   TVPAD-007       259      10   1      249
TVP-14061663   June   6/30/2014   complete   Ailing     Deng        AU   Ailing     Deng        AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14061664   June    7/1/2014   complete   Daniel     Kawano      BR   Daniel     Kawano      BR   paypal_standard   USD   TVPAD-RB-004    195       0   1     195
TVP-14061665   June    7/1/2014   complete   Jason      Chu         US   Jason      Chu         US   braintree         USD   TVPAD-007        259     10   1      249
TVP-14061665   June    7/1/2014   complete   Jason      Chu         US   Jason      Chu         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14061666   June    7/1/2014   complete   Simon      Lau         AU   Simon      Lau         AU   braintree         USD   TVPAD-004        259     10   1      249
TVP-14061666   June    7/1/2014   complete   Simon      Lau         AU   Simon      Lau         AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14061668   June    7/1/2014   complete   RONG       YANG        CA   RONG       YANG        CA   paypal_standard   USD   TVPAD-004       259      10   1      249
TVP-14061668   June    7/1/2014   complete   RONG       YANG        CA   RONG       YANG        CA   paypal_standard   USD   HGIFT2             0      0   1        0
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TVP-14061669   June    7/1/2014   complete   Esther      Bang            CA   Esther      Bang            CA   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061669   June    7/1/2014   complete   Esther      Bang            CA   Esther      Bang            CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14061671   June    7/1/2014   complete   Chenyang    Gao             US   Chenyang    Gao             US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061671   June    7/1/2014   complete   Chenyang    Gao             US   Chenyang    Gao             US   braintree         USD   HGIFT2             0    0   1       0
TVP14061015    June    7/1/2014   complete   Sanh        Banh            US   Sanh        Banh            US   braintree         USD   TVPAD-004       250    20   2    480
TVP14061015    June    7/1/2014   complete   Sanh        Banh            US   Sanh        Banh            US   braintree         USD   HGIFT2             0    0   2       0
TVP-14061672   July    7/1/2014   complete   Howard      Hong            US   Howard      Hong            US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061672   July    7/1/2014   complete   Howard      Hong            US   Howard      Hong            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061673   July    7/1/2014   complete   Jichen      Huang           AU   Jichen      Huang           AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061673   July    7/1/2014   complete   Jichen      Huang           AU   Jichen      Huang           AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061674   July    7/1/2014   complete   Yvonne      Chau            US   Yvonne      Chau            US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061674   July    7/1/2014   complete   Yvonne      Chau            US   Yvonne      Chau            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14061675   July    7/1/2014   complete   Ma          Lineses         PH   Ma          Lineses         PH   braintree         USD   TVPAD-004       259    10   1    249
TVP-14061675   July    7/1/2014   complete   Ma          Lineses         PH   Ma          Lineses         PH   braintree         USD   HGIFT2             0    0   1       0
TVP-14061676   July    7/1/2014   complete   Joselito    Amparo          US   Joselito    Amparo          US   paypal_standard   USD   TVPAD-004       259    15   1    244
TVP-14061676   July    7/1/2014   complete   Joselito    Amparo          US   Joselito    Amparo          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14061677   July    7/1/2014   complete   Wei         Chong           AU   Wei         Chong           AU   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061677   July    7/1/2014   complete   Wei         Chong           AU   Wei         Chong           AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14061678   July    7/3/2014   complete   LUDWIG      LAI             US   Jason       Wong            HK   braintree         USD   TVPAD-004       259    15   1    244
TVP-14061678   July    7/3/2014   complete   LUDWIG      LAI             US   Jason       Wong            HK   braintree         USD   HGIFT2             0    0   1       0
TVP-14071010   July    7/1/2014   complete   Brian       Soo             AU   Brian       Soo             AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071010   July    7/1/2014   complete   Brian       Soo             AU   Brian       Soo             AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14071011   July    7/1/2014   canceled   Sean        Heng            GB   Sean        Heng            GB   braintree         GBP   TVPAD-RB-004    195     0   1    195
TVP-14071012   July    7/1/2014   complete   yue         fei             AU   yue         fei             AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14071012   July    7/1/2014   complete   yue         fei             AU   yue         fei             AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14071036   July    7/2/2014   complete   Yvonne      Leung           US   Fu          Chen            US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071036   July    7/2/2014   complete   Yvonne      Leung           US   Fu          Chen            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071038   July    7/2/2014   complete   Maria       Tchong-French   US   Maria       Tchong-French   US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071038   July    7/2/2014   complete   Maria       Tchong-French   US   Maria       Tchong-French   US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071013   July    7/2/2014   complete   Chris       Khoo            AU   Chris       Khoo            AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071013   July    7/2/2014   complete   Chris       Khoo            AU   Chris       Khoo            AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14071014   July    7/2/2014   complete   Bosco       Lai             CA   Bosco       Lai             CA   paypal_standard   USD   TVPAD-RB-004    195     0   1    195
TVP-14071015   July    7/2/2014   complete   Zilver      lining          AU   Zilver      lining          AU   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14071015   July    7/2/2014   complete   Zilver      lining          AU   Zilver      lining          AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071016   July    7/2/2014   complete   Jess        Mah             MY   Jess        Mah             MY   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071016   July    7/2/2014   complete   Jess        Mah             MY   Jess        Mah             MY   braintree         USD   HGIFT2             0    0   1       0
TVP-14071017   July    7/2/2014   complete   Healkan     Cheung          US   Healkan     Cheung          US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14071017   July    7/2/2014   complete   Healkan     Cheung          US   Healkan     Cheung          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071018   July    7/2/2014   complete   Mimi        Lee             US   Mimi        Lee             US   braintree         USD   TVPAD-RB-004    195     0   1    195
TVP-14071019   July    7/2/2014   complete   Sheldon     Cho             US   Sheldon     Cho             US   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14071019   July    7/2/2014   complete   Sheldon     Cho             US   Sheldon     Cho             US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071020   July    7/2/2014   complete   Jenny       Lim             SG   Jenny       Lim             SG   braintree         USD   TVPAD-007       259    10   1    249
TVP-14071020   July    7/2/2014   complete   Jenny       Lim             SG   Jenny       Lim             SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14071021   July    7/2/2014   complete   Erica       Doll            US   Erica       Doll            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071021   July    7/2/2014   complete   Erica       Doll            US   Erica       Doll            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071022   July    7/2/2014   complete   Grace       Park            US   Grace       Park            US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071022   July    7/2/2014   complete   Grace       Park            US   Grace       Park            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071023   July    7/2/2014   complete   Thanh       Hua             GB   Thanh       Hua             GB   paypal_standard   USD   TVPAD-004       250    10   2    490
TVP-14071023   July    7/2/2014   complete   Thanh       Hua             GB   Thanh       Hua             GB   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14071024   July    7/2/2014   closed     PIAO        HUANG           US   PIAO        HUANG           US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14071024   July    7/2/2014   closed     PIAO        HUANG           US   PIAO        HUANG           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071025   July    7/2/2014   complete   Annie       Kwong           US   Nancy       Kwong           US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071025   July    7/2/2014   complete   Annie       Kwong           US   Nancy       Kwong           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071027   July    7/2/2014   complete   Bao         Lin             US   Bao         Lin             US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071027   July    7/2/2014   complete   Bao         Lin             US   Bao         Lin             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071028   July    7/2/2014   complete   Mattia      Landoni         US   Mattia      Landoni         US   braintree         USD   TVPAD-007       259    15   1    244
TVP-14071028   July    7/2/2014   complete   Mattia      Landoni         US   Mattia      Landoni         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071029   July    7/2/2014   complete   Jolene      Wong            GB   Jolene      Wong            GB   paypal_standard   GBP   TVPAD-007       259    10   1    249
TVP-14071029   July    7/2/2014   complete   Jolene      Wong            GB   Jolene      Wong            GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14071030   July    7/2/2014   complete   Lanyun      Lin             US   Lanyun      Lin             US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071030   July    7/2/2014   complete   Lanyun      Lin             US   Lanyun      Lin             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071031   July    7/2/2014   complete   Timmy       Lau             US   Timmy       Lau             US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071031   July    7/2/2014   complete   Timmy       Lau             US   Timmy       Lau             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071033   July    7/2/2014   complete   Wai         Wong            SE   Wai         Wong            SE   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14071033   July    7/2/2014   complete   Wai         Wong            SE   Wai         Wong            SE   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071034   July    7/2/2014   complete   Yao         Hu              US   Yao         Hu              US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071034   July    7/2/2014   complete   Yao         Hu              US   Yao         Hu              US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071035   July    7/2/2014   complete   Mian        Li              NZ   Mian        Li              NZ   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071035   July    7/2/2014   complete   Mian        Li              NZ   Mian        Li              NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14071051   July    7/3/2014   complete   Hong        Kim             US   Hong        Kim             US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071051   July    7/3/2014   complete   Hong        Kim             US   Hong        Kim             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071037   July    7/3/2014   complete   Sean        Heng            GB   Sean        Heng            GB   braintree         GBP   TVPAD-007       259    20   1    239
TVP-14071037   July    7/3/2014   complete   Sean        Heng            GB   Sean        Heng            GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14071039   July    7/3/2014   complete   Bill        Mah             US   Bill        Mah             US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14071039   July    7/3/2014   complete   Bill        Mah             US   Bill        Mah             US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071041   July    7/3/2014   complete   Jinrui      Fan             GB   Jinrui      Fan             GB   braintree         GBP   TVPAD-004       259    15   1    244
TVP-14071041   July    7/3/2014   complete   Jinrui      Fan             GB   Jinrui      Fan             GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14071042   July    7/3/2014   complete   Bryan       Chow            US   Bryan       Chow            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071042   July    7/3/2014   complete   Bryan       Chow            US   Bryan       Chow            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071043   July    7/3/2014   complete   ThuZar      Kyaw            CA   ThuZar      Kyaw            CA   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071043   July    7/3/2014   complete   ThuZar      Kyaw            CA   ThuZar      Kyaw            CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14071044   July    7/3/2014   complete   Jon         Meertens        AU   Jon         Meertens        AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14071044   July    7/3/2014   complete   Jon         Meertens        AU   Jon         Meertens        AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071045   July    7/3/2014   complete   li-ming     chen            US   li-ming     chen            US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14071045   July    7/3/2014   complete   li-ming     chen            US   li-ming     chen            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071046   July    7/3/2014   closed     Pui-lin     Tam             GB   Pui-lin     Tam             GB   braintree         GBP   TVPAD-AC-004   29.99    0   1   29.99
TVP-14071047   July    7/3/2014   complete   SON,        KYUNGHONG       US   SON,        KYUNGHONG       US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14071047   July    7/3/2014   complete   SON,        KYUNGHONG       US   SON,        KYUNGHONG       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071048   July    7/4/2014   complete   william     law             GB   william     law             GB   braintree         USD   TVPAD-007       259    10   1    249
TVP-14071048   July    7/4/2014   complete   william     law             GB   william     law             GB   braintree         USD   HGIFT2             0    0   1       0
TVP-14071049   July    7/4/2014   complete   sam         mu              NO   sam         mu              NO   braintree         EUR   TVPAD-004       259    10   1    249
TVP-14071049   July    7/4/2014   complete   sam         mu              NO   sam         mu              NO   braintree         EUR   HGIFT2             0    0   1       0
TVP-14071050   July    7/4/2014   complete   Patrick     Lim             NL   Patrick     Lim             NL   braintree         USD   TVPAD-004       250    10   2    490
TVP-14071050   July    7/4/2014   complete   Patrick     Lim             NL   Patrick     Lim             NL   braintree         USD   HGIFT2             0    0   2       0
TVP-14071052   July    7/4/2014   complete   Dan         Tan             NZ   Dan         Tan             NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071052   July    7/4/2014   complete   Dan         Tan             NZ   Dan         Tan             NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14071053   July    7/4/2014   complete   mengchu     yin             AU   mengchu     yin             AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14071053   July    7/4/2014   complete   mengchu     yin             AU   mengchu     yin             AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14071054   July    7/4/2014   complete   James       Guan            US   James       Guan            US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14071054   July    7/4/2014   complete   James       Guan            US   James       Guan            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071055   July    7/4/2014   complete   Karen       Shin            AU   Karen       Shin            AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14071055   July    7/4/2014   complete   Karen       Shin            AU   Karen       Shin            AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14071057   July    7/4/2014   complete   KUN         ZHOU            AU   KUN         ZHOU            AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14071057   July    7/4/2014   complete   KUN         ZHOU            AU   KUN         ZHOU            AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14071058   July    7/5/2014   complete   Jong        Yung            DE   Jong        Yung            DE   braintree         EUR   TVPAD-004       259    10   1    249
TVP-14071058   July    7/5/2014   complete   Jong        Yung            DE   Jong        Yung            DE   braintree         EUR   HGIFT2             0    0   1       0
TVP-14071059   July    7/5/2014   complete   Millicent   Lam             GB   Millicent   Lam             GB   braintree         GBP   TVPAD-007       259    10   1    249
TVP-14071059   July    7/5/2014   complete   Millicent   Lam             GB   Millicent   Lam             GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14071060   July    7/5/2014   closed     Yingzi      Liu             US   Yingzi      Liu             US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071060   July    7/5/2014   closed     Yingzi      Liu             US   Yingzi      Liu             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071061   July    7/5/2014   complete   Yiqian      Dong            AU   Yiqian      Dong            AU   paypal_standard   AUD   TVPAD-004       259    15   1    244
TVP-14071061   July    7/5/2014   complete   Yiqian      Dong            AU   Yiqian      Dong            AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14071062   July    7/6/2014   complete   Beom-Jin    Park            NZ   Beom-Jin    Park            NZ   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14071062   July    7/6/2014   complete   Beom-Jin    Park            NZ   Beom-Jin    Park            NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071063   July    7/6/2014   complete   Wilson      Tay             NZ   Wilson      Tay             NZ   braintree         USD   TVPAD-007       259    10   1    249
TVP-14071063   July    7/6/2014   complete   Wilson      Tay             NZ   Wilson      Tay             NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14071064   July    7/6/2014   complete   Judy        Wong            AU   Judy        Wong            AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14071064   July    7/6/2014   complete   Judy        Wong            AU   Judy        Wong            AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14071065   July    7/6/2014   complete   Cindy       Tse             US   Cindy       Tse             US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071065   July    7/6/2014   complete   Cindy       Tse             US   Cindy       Tse             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071066   July    7/6/2014   complete   Gabriel     Vong            NZ   Gabriel     Vong            NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071066   July    7/6/2014   complete   Gabriel     Vong            NZ   Gabriel     Vong            NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14071067   July    7/6/2014   complete   Hiroshi     Kato            AU   Hiroshi     Kato            AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071068   July    7/6/2014   complete   Raymond     Tong            GB   Raymond     Tong            GB   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14071068   July    7/6/2014   complete   Raymond     Tong            GB   Raymond     Tong            GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071070   July    7/6/2014   complete   Ricky       Lam             US   Ricky       Lam             US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14071070   July    7/6/2014   complete   Ricky       Lam             US   Ricky       Lam             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071071   July    7/6/2014   complete   Ran         Jung            US   Ran         Jung            US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071071   July    7/6/2014   complete   Ran         Jung            US   Ran         Jung            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071072   July    7/6/2014   complete   Steve       Liu             US   Steve       Liu             US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071072   July    7/6/2014   complete   Steve       Liu             US   Steve       Liu             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071073   July   7/12/2014   complete   Ka-ho       Leung           US   Phoebe      Hitchcock       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071073   July   7/12/2014   complete   Ka-ho       Leung           US   Phoebe      Hitchcock       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071074   July    7/6/2014   complete   Franklin    Wong            US   Franklin    Wong            US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14071074   July    7/6/2014   complete   Franklin    Wong            US   Franklin    Wong            US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071075   July    7/6/2014   complete   james       kirby           US   james       kirby           US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071075   July    7/6/2014   complete   james       kirby           US   james       kirby           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071078   July    7/6/2014   complete   MAURICE     KWOK            CA   MAURICE     KWOK            CA   paypal_standard   USD   TVPAD-004       259    15   1    244
TVP-14071078   July    7/6/2014   complete   MAURICE     KWOK            CA   MAURICE     KWOK            CA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071079   July    7/6/2014   complete   JeeWong     Chew            AU   JeeWong     Chew            AU   braintree         AUD   TVPAD-007       259    10   1    249
TVP-14071079   July    7/6/2014   complete   JeeWong     Chew            AU   JeeWong     Chew            AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14071080   July    7/6/2014   complete   Paul        Nip             US   Paul        Nip             US   paypal_standard   USD   TVPAD-004       259    15   1    244
TVP-14071080   July    7/6/2014   complete   Paul        Nip             US   Paul        Nip             US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071081   July    7/6/2014   complete   Casey       Chin            SG   Casey       Chin            SG   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14071082   July   7/10/2014   complete   STEPHEN     BAEK            US   Stephen     Baek            US   braintree         USD   TVPAD-004       259    15   1    244
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TVP-14071082   July   7/10/2014   complete   STEPHEN     BAEK         US   Stephen    Baek         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071083   July    7/6/2014   complete   Michael     Lee          US   Michael    Lee          US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071083   July    7/6/2014   complete   Michael     Lee          US   Michael    Lee          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071084   July    7/6/2014   complete   Charlie     Su           US   Charlie    Su           US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071084   July    7/6/2014   complete   Charlie     Su           US   Charlie    Su           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071085   July    7/7/2014   complete   soon        choi         AU   soon       choi         AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071085   July    7/7/2014   complete   soon        choi         AU   soon       choi         AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14071086   July    7/7/2014   complete   Ying        Tang         GB   Ying       Tang         GB   braintree         USD   TVPAD-AC-004   29.99      0   1    29.99
TVP-14071088   July    7/7/2014   complete   Peter       Kim          US   Peter      Kim          US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14071088   July    7/7/2014   complete   Peter       Kim          US   Peter      Kim          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071089   July    7/7/2014   complete   ANTONIO     LEE          US   ANTONIO    LEE          US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14071089   July    7/7/2014   complete   ANTONIO     LEE          US   ANTONIO    LEE          US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071090   July    7/7/2014   complete   Gi          Chong        AU   Henry      Quek         AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071090   July    7/7/2014   complete   Gi          Chong        AU   Henry      Quek         AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14071091   July    7/7/2014   complete   Simon       Kith         CA   Simon      Kith         CA   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071091   July    7/7/2014   complete   Simon       Kith         CA   Simon      Kith         CA   braintree         USD   HGIFT2             0      0   1        0
TVP-14071092   July    7/7/2014   complete   Jian        Zheng        AU   Jian       Zheng        AU   braintree         AUD   TVPAD-007       259      10   1     249
TVP-14071092   July    7/7/2014   complete   Jian        Zheng        AU   Jian       Zheng        AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14071093   July    7/7/2014   complete   King        Liu          US   King       Liu          US   braintree         USD   TVPAD-007       259      20   1     239
TVP-14071093   July    7/7/2014   complete   King        Liu          US   King       Liu          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071094   July    7/7/2014   complete   Albert      Lo           NZ   Albert     Lo           NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071094   July    7/7/2014   complete   Albert      Lo           NZ   Albert     Lo           NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14071095   July    7/7/2014   complete   Yew-Hong    Mo           GB   Yew-Hong   Mo           GB   paypal_standard   GBP   TVPAD-004       259      10   1     249
TVP-14071095   July    7/7/2014   complete   Yew-Hong    Mo           GB   Yew-Hong   Mo           GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14071096   July    7/7/2014   complete   Alvin       Lim          AU   Alvin      Lim          AU   paypal_standard   AUD   TVPAD-004       259      10   1     249
TVP-14071096   July    7/7/2014   complete   Alvin       Lim          AU   Alvin      Lim          AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14071097   July    7/7/2014   complete   Robb        McKenna      AU   Robb       McKenna      AU   braintree         USD   TVPAD-004       259      20   1     239
TVP-14071097   July    7/7/2014   complete   Robb        McKenna      AU   Robb       McKenna      AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14071098   July    7/7/2014   complete   Sze         Chan         US   Sze        Chan         US   paypal_standard   USD   TVPAD-004       259      20   1     239
TVP-14071098   July    7/7/2014   complete   Sze         Chan         US   Sze        Chan         US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071099   July    7/7/2014   complete   Ng          KitYuen      SG   Ng         KitYuen      SG   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14071099   July    7/7/2014   complete   Ng          KitYuen      SG   Ng         KitYuen      SG   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071100   July   7/10/2014   complete   Gang        Wu           US   Wang       Zhongshu     US   braintree         USD   TVPAD-007       259      15   1     244
TVP-14071100   July   7/10/2014   complete   Gang        Wu           US   Wang       Zhongshu     US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071101   July    7/7/2014   complete   Stanley     Wong         CA   Stanley    Wong         CA   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14071101   July    7/7/2014   complete   Stanley     Wong         CA   Stanley    Wong         CA   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071102   July    7/7/2014   complete   Xiao        Xie          US   Xiao       Xie          US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14071102   July    7/7/2014   complete   Xiao        Xie          US   Xiao       Xie          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071104   July    7/7/2014   complete   Ken         Leung        AU   Ken        Leung        AU   braintree         AUD   TVPAD-004       259      15   1     244
TVP-14071104   July    7/7/2014   complete   Ken         Leung        AU   Ken        Leung        AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14071105   July    7/7/2014   complete   Jin         Hwang        AU   Jin        Hwang        AU   braintree         AUD   TVPAD-004       259      10   1     249
TVP-14071105   July    7/7/2014   complete   Jin         Hwang        AU   Jin        Hwang        AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14071106   July    7/7/2014   complete   Z           Fang         NL   Z          Fang         NL   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14071106   July    7/7/2014   complete   Z           Fang         NL   Z          Fang         NL   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071107   July    7/7/2014   complete   Tao         Yan          AU   Tao        Yan          AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071107   July    7/7/2014   complete   Tao         Yan          AU   Tao        Yan          AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14071108   July    7/8/2014   complete   Edwin       Lai          NL   Edwin      Lai          NL   braintree         USD   TVPAD-AC-004   29.99      0   1    29.99
TVP-14071109   July    7/8/2014   complete   Lily        Mcnaughton   AU   Lily       Mcnaughton   AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071109   July    7/8/2014   complete   Lily        Mcnaughton   AU   Lily       Mcnaughton   AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14071110   July    7/8/2014   complete   Yvonne      Tan          AU   Yvonne     Tan          AU   braintree         USD   TVPAD-007       259      10   1     249
TVP-14071110   July    7/8/2014   complete   Yvonne      Tan          AU   Yvonne     Tan          AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14071112   July    7/8/2014   complete   Teddy       Lee          US   Teddy      Lee          US   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14071112   July    7/8/2014   complete   Teddy       Lee          US   Teddy      Lee          US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071113   July    7/8/2014   complete   Jenny       Jiang        US   Deng       Ling         US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071113   July    7/8/2014   complete   Jenny       Jiang        US   Deng       Ling         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071114   July    7/8/2014   complete   KUNJAE      LEE          US   KUNJAE     LEE          US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14071114   July    7/8/2014   complete   KUNJAE      LEE          US   KUNJAE     LEE          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071115   July    7/8/2014   complete   Syyean      Gastelum     US   Syyean     Gastelum     US   paypal_standard   USD   TVPAD-004       259      20   1     239
TVP-14071115   July    7/8/2014   complete   Syyean      Gastelum     US   Syyean     Gastelum     US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071116   July    7/8/2014   complete   dae         kim          US   dae        kim          US   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14071116   July    7/8/2014   complete   dae         kim          US   dae        kim          US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071118   July    7/8/2014   complete   Victoria    Coe          US   Victoria   Coe          US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14071118   July    7/8/2014   complete   Victoria    Coe          US   Victoria   Coe          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071117   July    7/8/2014   complete   Sue         Tsang        GB   Sue        Tsang        GB   braintree         GBP   TVPAD-004       250      10   2     490
TVP-14071117   July    7/8/2014   complete   Sue         Tsang        GB   Sue        Tsang        GB   braintree         GBP   HGIFT2             0      0   2        0
TVP-14071119   July    7/8/2014   complete   yao         yu           GB   yao        yu           GB   braintree         GBP   TVPAD-007       250      10   2     490
TVP-14071119   July    7/8/2014   complete   yao         yu           GB   yao        yu           GB   braintree         GBP   HGIFT2             0      0   2        0
TVP-14071120   July    7/8/2014   complete   Hang        Chan         US   Hang       Chan         US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071120   July    7/8/2014   complete   Hang        Chan         US   Hang       Chan         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071121   July    7/8/2014   complete   Ki          Hahm         US   Ki         Hahm         US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071121   July    7/8/2014   complete   Ki          Hahm         US   Ki         Hahm         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071122   July    7/8/2014   complete   Frank       Lee          CA   Frank      Lee          CA   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071122   July    7/8/2014   complete   Frank       Lee          CA   Frank      Lee          CA   braintree         USD   HGIFT2             0      0   1        0
TVP-14071124   July    7/8/2014   complete   Wai         Hui          US   Wai        Hui          US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071124   July    7/8/2014   complete   Wai         Hui          US   Wai        Hui          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071126   July    7/9/2014   complete   Mark        Chu          US   Debbie     Chu          US   braintree         USD   TVPAD-004       250      10   2     490
TVP-14071126   July    7/9/2014   complete   Mark        Chu          US   Debbie     Chu          US   braintree         USD   HGIFT2             0      0   2        0
TVP-14071127   July    7/8/2014   complete   Likuo       Chang        US   Likuo      Chang        US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14071127   July    7/8/2014   complete   Likuo       Chang        US   Likuo      Chang        US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071128   July    7/8/2014   complete   joanne      lim          NZ   joanne     lim          NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071128   July    7/8/2014   complete   joanne      lim          NZ   joanne     lim          NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14071129   July    7/8/2014   complete   Irene       Thor         MY   Irene      Thor         MY   braintree         USD   TVPAD-004       250      10   2     490
TVP-14071129   July    7/8/2014   complete   Irene       Thor         MY   Irene      Thor         MY   braintree         USD   HGIFT2             0      0   2        0
TVP-14071130   July    7/8/2014   complete   chang won   chi          MX   chang      chi          MX   braintree         USD   TVPAD-007       259      20   1     239
TVP-14071130   July    7/8/2014   complete   chang won   chi          MX   chang      chi          MX   braintree         USD   HGIFT2             0      0   1        0
TVP-14071131   July    7/8/2014   complete   Kathy       Zhou         US   Kathy      Zhou         US   braintree         USD   TVPAD-004       250      10   2     490
TVP-14071131   July    7/8/2014   complete   Kathy       Zhou         US   Kathy      Zhou         US   braintree         USD   HGIFT2             0      0   2        0
TVP-14071132   July    7/8/2014   complete   Tony        Law          NZ   Tony       Law          NZ   braintree         USD   TVPAD-004       259      10   1      249
TVP-14071132   July    7/8/2014   complete   Tony        Law          NZ   Tony       Law          NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14071133   July    7/8/2014   complete   Kevin       Cheng        AU   Kevin      Cheng        AU   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14071133   July    7/8/2014   complete   Kevin       Cheng        AU   Kevin      Cheng        AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071134   July    7/8/2014   complete   David       Go           NL   David      Go           NL   paypal_standard   EUR   TVPAD-004       259      20   1     239
TVP-14071134   July    7/8/2014   complete   David       Go           NL   David      Go           NL   paypal_standard   EUR   HGIFT2             0      0   1        0
TVP-14071135   July    7/8/2014   complete   Shirley     Su           AU   Shirley    Su           AU   braintree         USD   TVPAD-007       259      10   1      249
TVP-14071135   July    7/8/2014   complete   Shirley     Su           AU   Shirley    Su           AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14071136   July    7/8/2014   complete   Billy       Fu           CA   Billy      Fu           CA   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14071136   July    7/8/2014   complete   Billy       Fu           CA   Billy      Fu           CA   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071137   July    7/8/2014   complete   Kisoo       Park         HK   Kisoo      Park         HK   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071137   July    7/8/2014   complete   Kisoo       Park         HK   Kisoo      Park         HK   braintree         USD   HGIFT2             0      0   1        0
TVP-14071138   July    7/8/2014   complete   Jan         Vandenplas   BE   Jan        Vandenplas   BE   braintree         EUR   TVPAD-007       259      20   1      239
TVP-14071138   July    7/8/2014   complete   Jan         Vandenplas   BE   Jan        Vandenplas   BE   braintree         EUR   HGIFT2             0      0   1        0
TVP-14071139   July   7/10/2014   complete   LANSON      IP           AU   LANSON     IP           AU   braintree         AUD   TVPAD-007       250      10   2     490
TVP-14071139   July   7/10/2014   complete   LANSON      IP           AU   LANSON     IP           AU   braintree         AUD   HGIFT2             0      0   2        0
TVP-14071140   July    7/9/2014   complete   chong       hwee         SG   chong      hwee         SG   paypal_standard   USD   TVPAD-007       259      20   1      239
TVP-14071140   July    7/9/2014   complete   chong       hwee         SG   chong      hwee         SG   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071141   July    7/9/2014   complete   Marteijn    Nouwens      NL   Marteijn   Nouwens      NL   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14071141   July    7/9/2014   complete   Marteijn    Nouwens      NL   Marteijn   Nouwens      NL   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071142   July    7/9/2014   complete   Ricky       wong         GB   Ricky      wong         GB   braintree         GBP   TVPAD-004        259     10   1      249
TVP-14071142   July    7/9/2014   complete   Ricky       wong         GB   Ricky      wong         GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14071143   July    7/9/2014   complete   Quang       duong        US   Quang      duong        US   paypal_standard   USD   TVPAD-007       259      10   1      249
TVP-14071143   July    7/9/2014   complete   Quang       duong        US   Quang      duong        US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071144   July    7/9/2014   complete   Ivan        Lui          AU   Ivan       Lui          AU   braintree         AUD   TVPAD-007        259     10   1      249
TVP-14071144   July    7/9/2014   complete   Ivan        Lui          AU   Ivan       Lui          AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14071145   July    7/9/2014   complete   Daniel      li           NZ   Daniel     li           NZ   paypal_standard   USD   TVPAD-004       259      15   1      244
TVP-14071145   July    7/9/2014   complete   Daniel      li           NZ   Daniel     li           NZ   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071146   July    7/9/2014   complete   Xiang       Ren          US   Xiang      Ren          US   braintree         USD   TVPAD-007       259      20   1      239
TVP-14071146   July    7/9/2014   complete   Xiang       Ren          US   Xiang      Ren          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071147   July    7/9/2014   complete   Phil        Wong         NZ   Phil       Wong         NZ   paypal_standard   USD   TVPAD-004       259      10   1      249
TVP-14071147   July    7/9/2014   complete   Phil        Wong         NZ   Phil       Wong         NZ   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071148   July    7/9/2014   complete   Janina      Mok          AU   Janina     Mok          AU   paypal_standard   USD   TVPAD-007       259      10   1      249
TVP-14071148   July    7/9/2014   complete   Janina      Mok          AU   Janina     Mok          AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071149   July    7/9/2014   complete   Kwan        Ng           AU   Kwan       Ng           AU   braintree         AUD   TVPAD-007       259      10   1     249
TVP-14071149   July    7/9/2014   complete   Kwan        Ng           AU   Kwan       Ng           AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14071150   July    7/9/2014   complete   Chui        Chan         US   Chui       Chan         US   braintree         USD   TVPAD-004        259     10   1      249
TVP-14071150   July    7/9/2014   complete   Chui        Chan         US   Chui       Chan         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071151   July    7/9/2014   complete   Chihoy      Xiu          NL   Chihoy     Xiu          NL   braintree         USD   TVPAD-004        250     10   2      490
TVP-14071151   July    7/9/2014   complete   Chihoy      Xiu          NL   Chihoy     Xiu          NL   braintree         USD   HGIFT2             0      0   2        0
TVP-14071152   July    7/9/2014   complete   Amou        Liwu         AU   Amou       Liwu         AU   braintree         AUD   TVPAD-004        259     10   1      249
TVP-14071152   July    7/9/2014   complete   Amou        Liwu         AU   Amou       Liwu         AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14071153   July    7/9/2014   complete   Chung       Liu          US   Chung      Liu          US   paypal_standard   USD   TVPAD-007        259     10   1      249
TVP-14071153   July    7/9/2014   complete   Chung       Liu          US   Chung      Liu          US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071154   July    7/9/2014   complete   Linda       Hubertus     US   Linda      Hubertus     US   braintree         USD   TVPAD-004        259   8.96   1   250.04
TVP-14071154   July    7/9/2014   complete   Linda       Hubertus     US   Linda      Hubertus     US   braintree         USD   TVPAD-AC-004   29.99   1.04   1    28.95
TVP-14071154   July    7/9/2014   complete   Linda       Hubertus     US   Linda      Hubertus     US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071155   July   7/10/2014   complete   Mautac      MU           FR   Mautac     MU           FR   braintree         EUR   TVPAD-007       259      15   1     244
TVP-14071155   July   7/10/2014   complete   Mautac      MU           FR   Mautac     MU           FR   braintree         EUR   HGIFT2             0      0   1        0
TVP-14071156   July    7/9/2014   complete   Derek       Wong         US   Derek      Wong         US   braintree         USD   TVPAD-007       259      20   1      239
TVP-14071156   July    7/9/2014   complete   Derek       Wong         US   Derek      Wong         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071157   July    7/9/2014   complete   Sing        Wong         US   Sing       Wong         US   braintree         USD   TVPAD-004        259     10   1      249
TVP-14071157   July    7/9/2014   complete   Sing        Wong         US   Sing       Wong         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071159   July   7/10/2014   complete   Chien       Chiang       US   Chien      Chiang       US   braintree         USD   TVPAD-007       259      10   1      249
TVP-14071161   July   7/10/2014   complete   YIN         GOH          AU   YIN        GOH          AU   braintree         AUD   TVPAD-007       259      15   1      244
TVP-14071161   July   7/10/2014   complete   YIN         GOH          AU   YIN        GOH          AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14071162   July   7/10/2014   complete   Jordan      Guan         CA   Jordan     Guan         CA   braintree         CAD   TVPAD-004       259      10   1     249
TVP-14071162   July   7/10/2014   complete   Jordan      Guan         CA   Jordan     Guan         CA   braintree         CAD   HGIFT2             0      0   1        0
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TVP-14071163   July   7/10/2014   complete   samyong       shin          US   samyong       shin          US   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14071163   July   7/10/2014   complete   samyong       shin          US   samyong       shin          US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071164   July   7/10/2014   complete   Yan           Ruihui        BR   Yan           Ruihui        BR   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14071164   July   7/10/2014   complete   Yan           Ruihui        BR   Yan           Ruihui        BR   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071168   July   7/10/2014   complete   Kenneth       Yee           US   Kenneth       Yee           US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071168   July   7/10/2014   complete   Kenneth       Yee           US   Kenneth       Yee           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071169   July   7/11/2014   complete   Alan          Lee           GB   Alan          Lee           GB   paypal_standard   GBP   TVPAD-007       259      10   1     249
TVP-14071169   July   7/11/2014   complete   Alan          Lee           GB   Alan          Lee           GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14071170   July   7/13/2014   complete   Park          Young         SA   Park          Young         SA   braintree         USD   TVPAD-007       250      10   2     490
TVP-14071170   July   7/13/2014   complete   Park          Young         SA   Park          Young         SA   braintree         USD   HGIFT2             0      0   2        0
TVP-14071171   July   7/10/2014   complete   Amelia        Ponpipom      US   Amelia        Ponpipom      US   braintree         USD   TVPAD-004       259      15   1     244
TVP-14071171   July   7/10/2014   complete   Amelia        Ponpipom      US   Amelia        Ponpipom      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071172   July   7/11/2014   complete   Won           Kim           MX   Won           Kim           MX   braintree         USD   TVPAD-004       250      15   2     485
TVP-14071172   July   7/11/2014   complete   Won           Kim           MX   Won           Kim           MX   braintree         USD   HGIFT2             0      0   2        0
TVP-14071173   July   7/11/2014   complete   LI            FA            GF   LI            LAM           CA   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071173   July   7/11/2014   complete   LI            FA            GF   LI            LAM           CA   braintree         USD   HGIFT2             0      0   1        0
TVP-14071174   July   7/11/2014   complete   Sze           Wong          AU   Sze           Wong          AU   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14071174   July   7/11/2014   complete   Sze           Wong          AU   Sze           Wong          AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071176   July   7/11/2014   complete   Seung         Lee           US   Seung         Lee           US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14071176   July   7/11/2014   complete   Seung         Lee           US   Seung         Lee           US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071178   July   7/11/2014   complete   Ricardo       Isobe         BR   Ricardo       Isobe         BR   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14071178   July   7/11/2014   complete   Ricardo       Isobe         BR   Ricardo       Isobe         BR   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071179   July   7/11/2014   complete   jung          yoon          KR   jung          yoon          KR   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071179   July   7/11/2014   complete   jung          yoon          KR   jung          yoon          KR   braintree         USD   HGIFT2             0      0   1        0
TVP-14071180   July   7/21/2014   complete   Soun          Lee           US   sang          Kim           US   braintree         USD   TVPAD-004       259    8.96   1   250.04
TVP-14071180   July   7/21/2014   complete   Soun          Lee           US   sang          Kim           US   braintree         USD   TVPAD-AC-004   29.99   1.04   1    28.95
TVP-14071180   July   7/21/2014   complete   Soun          Lee           US   sang          Kim           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071181   July   7/11/2014   closed     Myong         Lee           US   Myong         Lee           US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14071181   July   7/11/2014   closed     Myong         Lee           US   Myong         Lee           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071182   July   7/11/2014   complete   JIAQI         TANG          AU   JIAQI         TANG          AU   paypal_standard   AUD   TVPAD-007       250      10   2     490
TVP-14071182   July   7/11/2014   complete   JIAQI         TANG          AU   JIAQI         TANG          AU   paypal_standard   AUD   HGIFT2             0      0   2        0
TVP-14071183   July   7/12/2014   complete   Donna         Lin           US   Donna         Lin           US   braintree         USD   TVPAD-AC-004   29.99      0   1    29.99
TVP-14071184   July   7/12/2014   complete   Paul          Tong          US   Paul          Tong          US   braintree         USD   TVPAD-007       259      15   1     244
TVP-14071184   July   7/12/2014   complete   Paul          Tong          US   Paul          Tong          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071186   July   7/12/2014   complete   Kun           Lee           US   Kun           Lee           US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071186   July   7/12/2014   complete   Kun           Lee           US   Kun           Lee           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071214   July   7/13/2014   complete   Winnie        So            US   Winnie        So            US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14071214   July   7/13/2014   complete   Winnie        So            US   Winnie        So            US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071187   July   7/13/2014   complete   Kian          Yap           AU   Kian          Yap           AU   paypal_standard   AUD   TVPAD-004       259      10   1     249
TVP-14071187   July   7/13/2014   complete   Kian          Yap           AU   Kian          Yap           AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14071188   July   7/13/2014   complete   patrick       ng            US   patrick       ng            US   braintree         USD   TVPAD-004       250      10   2      490
TVP-14071188   July   7/13/2014   complete   patrick       ng            US   patrick       ng            US   braintree         USD   HGIFT2             0      0   2        0
TVP-14071190   July   7/13/2014   complete   david         wu            GB   David         Wu            IE   paypal_standard   GBP   TVPAD-007       259      10   1     249
TVP-14071190   July   7/13/2014   complete   david         wu            GB   David         Wu            IE   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14071191   July   7/13/2014   complete   Chu           Luong         NO   Chu           Luong         NO   braintree         USD   TVPAD-004       259      10   1      249
TVP-14071191   July   7/13/2014   complete   Chu           Luong         NO   Chu           Luong         NO   braintree         USD   HGIFT2             0      0   1        0
TVP-14071192   July   7/14/2014   complete   Simon         Lau           GB   Sin           Lam           GB   braintree         GBP   TVPAD-004       259      10   1      249
TVP-14071192   July   7/14/2014   complete   Simon         Lau           GB   Sin           Lam           GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14071193   July   7/13/2014   complete   William       Hoang         CA   William       Hoang         CA   braintree         USD   TVPAD-004       259      20   1     239
TVP-14071193   July   7/13/2014   complete   William       Hoang         CA   William       Hoang         CA   braintree         USD   HGIFT2             0      0   1        0
TVP-14071194   July   7/13/2014   complete   Anita         Ng            US   Anita         Ng            US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071194   July   7/13/2014   complete   Anita         Ng            US   Anita         Ng            US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071185   July   7/13/2014   complete   Yam Sang      Sham          DE   Yam           Sham          DE   paypal_standard   EUR   TVPAD-004       259      10   1     249
TVP-14071185   July   7/13/2014   complete   Yam Sang      Sham          DE   Yam           Sham          DE   paypal_standard   EUR   HGIFT2             0      0   1        0
TVP-14071195   July   7/13/2014   complete   Joe           Nishida       US   Joe           Nishida       US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14071195   July   7/13/2014   complete   Joe           Nishida       US   Joe           Nishida       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071196   July   7/13/2014   complete   Jen           Lim           NZ   Jen           Lim           NZ   paypal_standard   USD   TVPAD-007       259      20   1      239
TVP-14071196   July   7/13/2014   complete   Jen           Lim           NZ   Jen           Lim           NZ   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071197   July   7/13/2014   complete   Esther        Hsu           US   Esther        Hsu           US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14071197   July   7/13/2014   complete   Esther        Hsu           US   Esther        Hsu           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071198   July   7/13/2014   complete   KONG          DING          US   lili          zyzak         US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071198   July   7/13/2014   complete   KONG          DING          US   lili          zyzak         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071199   July   7/14/2014   complete   Frank         Lee           US   Frank         Lee           US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14071199   July   7/14/2014   complete   Frank         Lee           US   Frank         Lee           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071200   July   7/14/2014   complete   Michael       Ko            US   Michael       Ko            US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14071200   July   7/14/2014   complete   Michael       Ko            US   Michael       Ko            US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071201   July   7/13/2014   complete   lim           mee           AU   lim           mee           AU   paypal_standard   AUD   TVPAD-004       259      10   1      249
TVP-14071201   July   7/13/2014   complete   lim           mee           AU   lim           mee           AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14071202   July   7/14/2014   complete   Robert        Lee           US   Robert        Lee           US   braintree         USD   TVPAD-007       259      20   1      239
TVP-14071202   July   7/14/2014   complete   Robert        Lee           US   Robert        Lee           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071203   July   7/14/2014   complete   Yui           Wu            US   Yui           Wu            US   braintree         USD   TVPAD-007       259      20   1      239
TVP-14071203   July   7/14/2014   complete   Yui           Wu            US   Yui           Wu            US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071204   July   7/15/2014   complete   Chenzhe       Zhang         IE   Chenzhe       Zhang         IE   braintree         USD   TVPAD-004       259      10   1      249
TVP-14071204   July   7/15/2014   complete   Chenzhe       Zhang         IE   Chenzhe       Zhang         IE   braintree         USD   HGIFT2             0      0   1        0
TVP-14071205   July   7/13/2014   complete   Kien-Long     Lang          DE   Kien-Long     Lang          DE   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14071205   July   7/13/2014   complete   Kien-Long     Lang          DE   Kien-Long     Lang          DE   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071206   July   7/14/2014   complete   Shangqin      Chen          US   Shangqin      Chen          US   braintree         USD   TVPAD-004       259      15   1      244
TVP-14071206   July   7/14/2014   complete   Shangqin      Chen          US   Shangqin      Chen          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071207   July   7/14/2014   complete   young         jo            CL   young         jo            CL   braintree         USD   TVPAD-007       250      10   2      490
TVP-14071207   July   7/14/2014   complete   young         jo            CL   young         jo            CL   braintree         USD   HGIFT2             0      0   2        0
TVP-14071208   July   7/14/2014   complete   Allan         frederiksen   DK   Allan         frederiksen   DK   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071208   July   7/14/2014   complete   Allan         frederiksen   DK   Allan         frederiksen   DK   braintree         USD   HGIFT2             0      0   1        0
TVP-14071209   July   7/14/2014   complete   Ying          Lee           US   Ying          Lee           US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14071209   July   7/14/2014   complete   Ying          Lee           US   Ying          Lee           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071210   July   7/14/2014   complete   colby         Jo            US   colby         Jo            US   braintree         USD   TVPAD-007        259     20   1      239
TVP-14071210   July   7/14/2014   complete   colby         Jo            US   colby         Jo            US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071211   July   7/16/2014   complete   Meehee        pyo           US   Soo           Jang          US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14071211   July   7/16/2014   complete   Meehee        pyo           US   Soo           Jang          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071212   July   7/14/2014   complete   Fabian        Wong          CA   Fabian        Wong          CA   braintree         USD   TVPAD-004       259      10   1      249
TVP-14071212   July   7/14/2014   complete   Fabian        Wong          CA   Fabian        Wong          CA   braintree         USD   HGIFT2             0      0   1        0
TVP-14071213   July   7/14/2014   complete   Hui           Chen          AU   Hui           Chen          AU   braintree         USD   TVPAD-007       259      10   1      249
TVP-14071213   July   7/14/2014   complete   Hui           Chen          AU   Hui           Chen          AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14071216   July   7/14/2014   complete   BYEONG IL     KIM           DE   BYEONG        KIM           DE   braintree         EUR   TVPAD-007       259      10   1     249
TVP-14071216   July   7/14/2014   complete   BYEONG IL     KIM           DE   BYEONG        KIM           DE   braintree         EUR   HGIFT2             0      0   1        0
TVP-14071217   July   7/14/2014   complete   Yiqian        Dong          AU   Yiqian        Dong          AU   paypal_standard   AUD   TVPAD-004       259      20   1     239
TVP-14071217   July   7/14/2014   complete   Yiqian        Dong          AU   Yiqian        Dong          AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14071218   July   7/15/2014   complete   Sarah         Pun           US   Muk           Pun           HK   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071218   July   7/15/2014   complete   Sarah         Pun           US   Muk           Pun           HK   braintree         USD   HGIFT2             0      0   1        0
TVP-14071219   July   7/15/2014   complete   UNG           Kim-Ki        FR   UNG           Kim-Ki        FR   paypal_standard   USD   TVPAD-004       259      15   1     244
TVP-14071219   July   7/15/2014   complete   UNG           Kim-Ki        FR   UNG           Kim-Ki        FR   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071220   July   7/24/2014   complete   mao           wang          US   Terry         wang          US   braintree         USD   TVPAD-004       250      15   2     485
TVP-14071220   July   7/24/2014   complete   mao           wang          US   Terry         wang          US   braintree         USD   HGIFT2             0      0   2        0
TVP-14071221   July   7/15/2014   complete   Sung          Yoon          BR   Sung          Yoon          BR   paypal_standard   USD   TVPAD-007       259      10   1      249
TVP-14071221   July   7/15/2014   complete   Sung          Yoon          BR   Sung          Yoon          BR   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071222   July   7/15/2014   complete   Cam           Dam           SE   Cam           Dam           SE   braintree         USD   TVPAD-004       250      10   2     490
TVP-14071222   July   7/15/2014   complete   Cam           Dam           SE   Cam           Dam           SE   braintree         USD   HGIFT2             0      0   2        0
TVP-14071223   July   7/15/2014   complete   Ken           hutton        US   Ken           hutton        US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14071223   July   7/15/2014   complete   Ken           hutton        US   Ken           hutton        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071224   July   7/15/2014   complete   Young         Kim           CA   Young         Kim           CA   braintree         USD   TVPAD-007       259      10   1      249
TVP-14071224   July   7/15/2014   complete   Young         Kim           CA   Young         Kim           CA   braintree         USD   HGIFT2             0      0   1        0
TVP-14071225   July   7/15/2014   complete   Shuming       Xing          GB   Shuming       Xing          GB   braintree         USD   TVPAD-007       259      10   1      249
TVP-14071225   July   7/15/2014   complete   Shuming       Xing          GB   Shuming       Xing          GB   braintree         USD   HGIFT2             0      0   1        0
TVP-14071226   July   7/15/2014   complete   Jin           Song          US   Jin           Song          US   braintree         USD   TVPAD-007       259      20   1      239
TVP-14071226   July   7/15/2014   complete   Jin           Song          US   Jin           Song          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071227   July   7/15/2014   complete   Daehyun       Jeon          AU   Daehyun       Jeon          AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14071227   July   7/15/2014   complete   Daehyun       Jeon          AU   Daehyun       Jeon          AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14071228   July   7/15/2014   complete   Rebecca       Ren           AU   Rebecca       Ren           AU   braintree         AUD   TVPAD-004       259      10   1     249
TVP-14071228   July   7/15/2014   complete   Rebecca       Ren           AU   Rebecca       Ren           AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14071229   July   7/15/2014   closed     Luen          Tam           US   Luen          Tam           US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14071229   July   7/15/2014   closed     Luen          Tam           US   Luen          Tam           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071230   July   7/17/2014   complete   Danqing       Wang          US   Li            Zhang         SG   braintree         USD   TVPAD-007       259      10   1     249
TVP-14071230   July   7/17/2014   complete   Danqing       Wang          US   Li            Zhang         SG   braintree         USD   HGIFT2             0      0   1        0
TVP-14071231   July   7/15/2014   complete   Kenso         Matsuoka      AU   Kenso         Matsuoka      AU   braintree         AUD   TVPAD-007       259      10   1     249
TVP-14071231   July   7/15/2014   complete   Kenso         Matsuoka      AU   Kenso         Matsuoka      AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14071232   July   7/15/2014   complete   Yvonne        Mok           NL   Yvonne        Mok           NL   braintree         EUR   TVPAD-004       250      15   2     485
TVP-14071232   July   7/15/2014   complete   Yvonne        Mok           NL   Yvonne        Mok           NL   braintree         EUR   HGIFT2             0      0   2        0
TVP-14071233   July   7/15/2014   complete   Jonna         Eng           US   Jonna         Eng           US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14071233   July   7/15/2014   complete   Jonna         Eng           US   Jonna         Eng           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071235   July   7/16/2014   complete   CONNIE        WU            AU   CONNIE        WU            AU   braintree         USD   TVPAD-007       259      10   1      249
TVP-14071235   July   7/16/2014   complete   CONNIE        WU            AU   CONNIE        WU            AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14071236   July   7/16/2014   complete   Hsin          Wu            US   Hsin          Wu            US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14071236   July   7/16/2014   complete   Hsin          Wu            US   Hsin          Wu            US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071237   July   7/16/2014   complete   Dae           yim           US   Myung         Lee           US   braintree         USD   TVPAD-004       259      15   1      244
TVP-14071237   July   7/16/2014   complete   Dae           yim           US   Myung         Lee           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071238   July   7/16/2014   complete   JUNGHWAN      YOON          US   JUNGHWAN      YOON          US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14071238   July   7/16/2014   complete   JUNGHWAN      YOON          US   JUNGHWAN      YOON          US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14071239   July   7/16/2014   complete   Giang-Thanh   LY            LU   Giang-Thanh   LY            LU   paypal_standard   EUR   TVPAD-004       259      20   1     239
TVP-14071239   July   7/16/2014   complete   Giang-Thanh   LY            LU   Giang-Thanh   LY            LU   paypal_standard   EUR   HGIFT2             0      0   1        0
TVP-14071240   July   7/16/2014   complete   gilbert       tam           US   gilbert       tam           US   braintree         USD   TVPAD-004       259      15   1      244
TVP-14071240   July   7/16/2014   complete   gilbert       tam           US   gilbert       tam           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071241   July   7/16/2014   complete   Jyh           Lin           US   Jyh           Lin           US   braintree         USD   TVPAD-007       259      20   1      239
TVP-14071241   July   7/16/2014   complete   Jyh           Lin           US   Jyh           Lin           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14071242   July   7/16/2014   complete   Ho-Young      Kim           DE   Ho-Young      Kim           DE   braintree         EUR   TVPAD-004       259      10   1     249
TVP-14071242   July   7/16/2014   complete   Ho-Young      Kim           DE   Ho-Young      Kim           DE   braintree         EUR   HGIFT2             0      0   1        0
TVP-14071243   July   7/16/2014   complete   Bethany       Li            US   Bethany       Li            US   braintree         USD   TVPAD-004       259      10   1     249
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TVP-14071243   July   7/16/2014   complete   Bethany           Li         US   Bethany     Li          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071244   July   7/17/2014   complete   Rui               Guo        GB   Rui         Guo         GB   paypal_standard   GBP   TVPAD-007                       259    10   1    249
TVP-14071244   July   7/17/2014   complete   Rui               Guo        GB   Rui         Guo         GB   paypal_standard   GBP   HGIFT2                             0    0   1       0
TVP-14071245   July   7/16/2014   complete   Xin               hong       US   Xin         hong        US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14071245   July   7/16/2014   complete   Xin               hong       US   Xin         hong        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071246   July   7/16/2014   complete   Vincent           Liang      AU   Vincent     Liang       AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14071246   July   7/16/2014   complete   Vincent           Liang      AU   Vincent     Liang       AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071247   July   7/16/2014   complete   Tat               Mui        US   Tat         Mui         US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14071247   July   7/16/2014   complete   Tat               Mui        US   Tat         Mui         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071248   July   7/16/2014   complete   ShwuChyi          Ng         NZ   ShwuChyi    Ng          NZ   braintree         USD   TVPAD-004                       259    15   1    244
TVP-14071248   July   7/16/2014   complete   ShwuChyi          Ng         NZ   ShwuChyi    Ng          NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071249   July   7/16/2014   complete   Mun Long Arthur   Yen        SG   Mun         Yen         SG   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14071249   July   7/16/2014   complete   Mun Long Arthur   Yen        SG   Mun         Yen         SG   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071250   July   7/17/2014   complete   Joanna            Choi       GB   Joanna      Choi        GB   paypal_standard   GBP   TVPAD-004                       259    10   1    249
TVP-14071250   July   7/17/2014   complete   Joanna            Choi       GB   Joanna      Choi        GB   paypal_standard   GBP   HGIFT2                             0    0   1       0
TVP-14071251   July   7/17/2014   complete   Yaotang           chen       US   Yaotang     chen        US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14071251   July   7/17/2014   complete   Yaotang           chen       US   Yaotang     chen        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071252   July   7/17/2014   complete   Lee,              soon       US   Lee,        soon        US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14071252   July   7/17/2014   complete   Lee,              soon       US   Lee,        soon        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071253   July   7/17/2014   complete   George            Feng       US   George      Feng        US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14071253   July   7/17/2014   complete   George            Feng       US   George      Feng        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071254   July   7/17/2014   complete   yanfei            huang      NZ   yanfei      huang       NZ   braintree         AUD   TVPAD-007                       259    10   1    249
TVP-14071254   July   7/17/2014   complete   yanfei            huang      NZ   yanfei      huang       NZ   braintree         AUD   HGIFT2                             0    0   1       0
TVP-14071255   July   7/17/2014   complete   Cong              Longhao    AU   Cong        Longhao     AU   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14071255   July   7/17/2014   complete   Cong              Longhao    AU   Cong        Longhao     AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071256   July   7/17/2014   complete   Jack              Wang       US   Jack        Wang        US   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14071256   July   7/17/2014   complete   Jack              Wang       US   Jack        Wang        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071257   July   7/17/2014   complete   Maria             Takara     US   Maria       Takara      US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14071257   July   7/17/2014   complete   Maria             Takara     US   Maria       Takara      US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071258   July   7/17/2014   complete   Xiao              Mu         US   Xiao        Mu          US   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14071258   July   7/17/2014   complete   Xiao              Mu         US   Xiao        Mu          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071259   July   7/17/2014   complete   JUNWEI            WU         AU   JUNWEI      WU          AU   paypal_standard   USD   TVPAD-007                       259    10   1    249
TVP-14071259   July   7/17/2014   complete   JUNWEI            WU         AU   JUNWEI      WU          AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14071260   July   7/17/2014   complete   eun               lee        GU   eun         lee         GU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14071260   July   7/17/2014   complete   eun               lee        GU   eun         lee         GU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071261   July   7/17/2014   complete   Jie               Cao        AU   Jie         Cao         AU   braintree         USD   TVPAD-004                       259    15   1    244
TVP-14071261   July   7/17/2014   complete   Jie               Cao        AU   Jie         Cao         AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071262   July   7/18/2014   complete   Yun               Chen       AU   Yun         Chen        AU   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14071262   July   7/18/2014   complete   Yun               Chen       AU   Yun         Chen        AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14071263   July   7/19/2014   complete   Hio               Wong       TW   Wang Yen    Chung       TW   braintree         USD   TVPAD-007                       259    15   1    244
TVP-14071263   July   7/19/2014   complete   Hio               Wong       TW   Wang Yen    Chung       TW   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071265   July   7/25/2014   complete   xumin             chang      US   xumin       chang       US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14071265   July   7/25/2014   complete   xumin             chang      US   xumin       chang       US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071267   July   7/18/2014   complete   Tiffany           Chee       US   Tiffany     Chee        US   braintree         USD   TVPAD-007                       259    20   1    239
TVP-14071267   July   7/18/2014   complete   Tiffany           Chee       US   Tiffany     Chee        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071268   July   7/18/2014   complete   YONGCHENG         LIANG      AU   YONGCHENG   LIANG       AU   paypal_standard   AUD   TVPAD-004                       259    20   1    239
TVP-14071268   July   7/18/2014   complete   YONGCHENG         LIANG      AU   YONGCHENG   LIANG       AU   paypal_standard   AUD   HGIFT2                             0    0   1       0
TVP-14071269   July   7/18/2014   complete   Chi               Lung       AU   Chi         Lung        AU   braintree         AUD   TVPAD-007                       259    20   1    239
TVP-14071269   July   7/18/2014   complete   Chi               Lung       AU   Chi         Lung        AU   braintree         AUD   HGIFT2                             0    0   1       0
TVP-14071271   July   7/18/2014   complete   Dinh              Lam        AU   Dinh        Lam         AU   paypal_standard   USD   TVPAD-007                       259    20   1    239
TVP-14071271   July   7/18/2014   complete   Dinh              Lam        AU   Dinh        Lam         AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14071273   July   7/19/2014   complete   Tommy             Du         AU   Tommy       Du          AU   braintree         USD   TVPAD-007                       250    20   2    480
TVP-14071273   July   7/19/2014   complete   Tommy             Du         AU   Tommy       Du          AU   braintree         USD   HGIFT2                             0    0   2       0
TVP-14071274   July   7/19/2014   complete   Michael           Ng         US   Michael     Ng          US   paypal_standard   USD   TVPAD-004                       259    20   1    239
TVP-14071274   July   7/19/2014   complete   Michael           Ng         US   Michael     Ng          US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14071275   July   7/19/2014   complete   Kenneth           Lee        US   Kenneth     Lee         US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14071275   July   7/19/2014   complete   Kenneth           Lee        US   Kenneth     Lee         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071276   July   7/19/2014   complete   Hans Petter       Faale      NO   Hans        Faale       NO   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14071276   July   7/19/2014   complete   Hans Petter       Faale      NO   Hans        Faale       NO   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071277   July   7/19/2014   complete   Jeanie            Hirokane   US   Jeanie      Hirokane    US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14071277   July   7/19/2014   complete   Jeanie            Hirokane   US   Jeanie      Hirokane    US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071278   July   7/19/2014   complete   Ang               Cao        US   Ang         Cao         US   braintree         USD   TVPAD-007                       259    20   1    239
TVP-14071278   July   7/19/2014   complete   Ang               Cao        US   Ang         Cao         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071279   July   7/19/2014   complete   Fang              Wu         US   Fang        Wu          US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14071279   July   7/19/2014   complete   Fang              Wu         US   Fang        Wu          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071280   July   7/19/2014   complete   Beika             Li         AU   Beika       Li          AU   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14071280   July   7/19/2014   complete   Beika             Li         AU   Beika       Li          AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071281   July   7/19/2014   complete   Chia Chin         Lin Kuo    EC   Chia        Kuo         EC   paypal_standard   USD   TVPAD-007                       259    20   1    239
TVP-14071282   July   7/19/2014   complete   Tom               Chan       AU   Tom         Chan        AU   paypal_standard   USD   TVPAD-004                       259    20   1    239
TVP-14071282   July   7/19/2014   complete   Tom               Chan       AU   Tom         Chan        AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14071283   July   7/19/2014   complete   Eileen            Shen       US   Eileen      Shen        US   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14071283   July   7/19/2014   complete   Eileen            Shen       US   Eileen      Shen        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071284   July   7/19/2014   complete   Simon             Park       PH   Simon       Park        PH   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14071284   July   7/19/2014   complete   Simon             Park       PH   Simon       Park        PH   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071285   July   7/20/2014   complete   Mandy             Lui        CA   Mandy       Lui         CA   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14071285   July   7/20/2014   complete   Mandy             Lui        CA   Mandy       Lui         CA   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071286   July   7/20/2014   complete   Chi               Chiu       US   Chi         Chiu        US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14071286   July   7/20/2014   complete   Chi               Chiu       US   Chi         Chiu        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071287   July   7/20/2014   complete   jing              wu         NZ   jing        wu          NZ   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14071287   July   7/20/2014   complete   jing              wu         NZ   jing        wu          NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071288   July   7/20/2014   complete   Benjamin          Wong       CA   Benjamin    Wong        CA   paypal_standard   CAD   TVPAD-007                       259    20   1    239
TVP-14071288   July   7/20/2014   complete   Benjamin          Wong       CA   Benjamin    Wong        CA   paypal_standard   CAD   HGIFT2                             0    0   1       0
TVP-14071289   July   7/20/2014   complete   Mi-Kyong          Lee        AU   Mi-Kyong    Lee         AU   paypal_standard   AUD   TVPAD-004                       259    10   1    249
TVP-14071289   July   7/20/2014   complete   Mi-Kyong          Lee        AU   Mi-Kyong    Lee         AU   paypal_standard   AUD   HGIFT2                             0    0   1       0
TVP-14071290   July   7/20/2014   complete   WEIYAO            HU         AU   WEIYAO      HU          AU   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14071290   July   7/20/2014   complete   WEIYAO            HU         AU   WEIYAO      HU          AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14071291   July   7/20/2014   complete   Elin              Vuong      SE   Elin        Vuong       SE   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14071291   July   7/20/2014   complete   Elin              Vuong      SE   Elin        Vuong       SE   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071293   July   7/20/2014   complete   Lillian           Chau       US   Lillian     Chau        US   paypal_standard   USD   TVPAD-007                       259    20   1    239
TVP-14071293   July   7/20/2014   complete   Lillian           Chau       US   Lillian     Chau        US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14071294   July   7/20/2014   complete   Sandy             Ye         US   Sandy       Ye          US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14071294   July   7/20/2014   complete   Sandy             Ye         US   Sandy       Ye          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071295   July   7/20/2014   complete   Yiping            Sun        US   Yiping      Sun         US   braintree         USD   TVPAD-007                       259    20   1    239
TVP-14071295   July   7/20/2014   complete   Yiping            Sun        US   Yiping      Sun         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071296   July   7/20/2014   complete   WEI               WEI        AU   WEI         WEI         AU   paypal_standard   AUD   TVPAD-004                       259    10   1    249
TVP-14071296   July   7/20/2014   complete   WEI               WEI        AU   WEI         WEI         AU   paypal_standard   AUD   HGIFT2                             0    0   1       0
TVP-14071297   July   7/20/2014   complete   Ka-Ho             Leung      US   Phoebe      Hitchcock   US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14071297   July   7/20/2014   complete   Ka-Ho             Leung      US   Phoebe      Hitchcock   US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071298   July   7/20/2014   complete   James             Wong       US   James       Wong        US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14071298   July   7/20/2014   complete   James             Wong       US   James       Wong        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071299   July   7/20/2014   complete   waii              yu         US   waii        yu          US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14071299   July   7/20/2014   complete   waii              yu         US   waii        yu          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071300   July   7/20/2014   complete   Sue               Low        US   Sue         Low         US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14071300   July   7/20/2014   complete   Sue               Low        US   Sue         Low         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071301   July   7/21/2014   complete   Theresa           Tsang      IE   Theresa     Tsang       IE   braintree         USD   TVPAD-004                       250    10   2    490
TVP-14071301   July   7/21/2014   complete   Theresa           Tsang      IE   Theresa     Tsang       IE   braintree         USD   HGIFT2                             0    0   2       0
TVP-14071302   July   7/21/2014   complete   Owen              Qu         US   Owen        Qu          US   braintree         USD   TVPAD-AC-003-TVPAD-AC-003-US   29.99    0   1   29.99
TVP-14071303   July   7/21/2014   complete   Kenneth           Le         US   Kenneth     Le          US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14071303   July   7/21/2014   complete   Kenneth           Le         US   Kenneth     Le          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071304   July   7/21/2014   complete   Tao               Tao        GB   Tao         Tao         GB   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14071304   July   7/21/2014   complete   Tao               Tao        GB   Tao         Tao         GB   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071305   July   7/21/2014   complete   Piho              Ting       US   Piho        Ting        US   paypal_standard   USD   TVPAD-004                       259    20   1    239
TVP-14071305   July   7/21/2014   complete   Piho              Ting       US   Piho        Ting        US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14071306   July   7/23/2014   complete   Winnie            So         US   Winnie      So          US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14071306   July   7/23/2014   complete   Winnie            So         US   Winnie      So          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071307   July   7/21/2014   complete   Chunwei           chen       US   Chunwei     chen        US   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14071307   July   7/21/2014   complete   Chunwei           chen       US   Chunwei     chen        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071308   July   7/21/2014   complete   Johannes          Winardi    ID   Johannes    Winardi     ID   braintree         USD   TVPAD-004                       250    10   2    490
TVP-14071308   July   7/21/2014   complete   Johannes          Winardi    ID   Johannes    Winardi     ID   braintree         USD   HGIFT2                             0    0   2       0
TVP-14071311   July   7/21/2014   complete   chen              Zhu        AU   chen        Zhu         AU   braintree         AUD   TVPAD-007                       259    10   1    249
TVP-14071311   July   7/21/2014   complete   chen              Zhu        AU   chen        Zhu         AU   braintree         AUD   HGIFT2                             0    0   1       0
TVP-14071312   July   7/22/2014   complete   CHUNYUE           LEE        US   Xiulan      Li          US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14071312   July   7/22/2014   complete   CHUNYUE           LEE        US   Xiulan      Li          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071314   July   7/23/2014   complete   Wenyan            Liu        AU   Wenyan      Liu         AU   braintree         AUD   TVPAD-007                       259    10   1    249
TVP-14071314   July   7/23/2014   complete   Wenyan            Liu        AU   Wenyan      Liu         AU   braintree         AUD   HGIFT2                             0    0   1       0
TVP-14071315   July   7/21/2014   complete   Mika              Tabata     AU   Mika        Tabata      AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14071316   July   7/21/2014   complete   Xinyan            Wang       AU   Xinyan      Wang        AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14071316   July   7/21/2014   complete   Xinyan            Wang       AU   Xinyan      Wang        AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071317   July   7/22/2014   complete   Angela            Wang       IT   Angela      Wang        IT   braintree         EUR   TVPAD-004                       259    10   1    249
TVP-14071317   July   7/22/2014   complete   Angela            Wang       IT   Angela      Wang        IT   braintree         EUR   HGIFT2                             0    0   1       0
TVP-14071318   July   7/22/2014   complete   thi               phan       GB   thi         phan        GB   braintree         GBP   TVPAD-004                       259    10   1     249
TVP-14071318   July   7/22/2014   complete   thi               phan       GB   thi         phan        GB   braintree         GBP   HGIFT2                             0    0   1       0
TVP-14071319   July   7/22/2014   complete   Weiyu             Yang       US   Weiyu       Yang        US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14071319   July   7/22/2014   complete   Weiyu             Yang       US   Weiyu       Yang        US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14071320   July   7/22/2014   complete   jullian           nguyen     CA   jullian     nguyen      CA   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14071320   July   7/22/2014   complete   jullian           nguyen     CA   jullian     nguyen      CA   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071321   July   7/22/2014   complete   Ying-Wai          Chow       GB   Ying-Wai    Chow        GB   braintree         GBP   TVPAD-004                       259    20   1     239
TVP-14071321   July   7/22/2014   complete   Ying-Wai          Chow       GB   Ying-Wai    Chow        GB   braintree         GBP   HGIFT2                             0    0   1       0
TVP-14071322   July   7/22/2014   complete   michael           chin       US   michael     chin        US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14071322   July   7/22/2014   complete   michael           chin       US   michael     chin        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071323   July   7/22/2014   complete   Stewart           Chu        US   Stewart     Chu         US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14071323   July   7/22/2014   complete   Stewart           Chu        US   Stewart     Chu         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14071325   July   7/22/2014   complete   Bruce             Tang       CA   Bruce       Tang        CA   paypal_standard   USD   TVPAD-004                       259    20   1    239
TVP-14071325   July   7/22/2014   complete   Bruce             Tang       CA   Bruce       Tang        CA   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14071326   July   7/22/2014   complete   Rina              Lee        US   Rina        Lee         US   paypal_standard   USD   TVPAD-007                       259    20   1    239
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TVP-14071327   July   7/22/2014   complete   ha          jung        US   ha          jung        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071327   July   7/22/2014   complete   ha          jung        US   ha          jung        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071328   July   7/22/2014   complete   Eva         Gibney      CA   Eva         Gibney      CA   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071328   July   7/22/2014   complete   Eva         Gibney      CA   Eva         Gibney      CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14071329   July   7/22/2014   complete   Chung       Liu         US   Chung       Liu         US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14071329   July   7/22/2014   complete   Chung       Liu         US   Chung       Liu         US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071331   July   7/22/2014   complete   wen         Yuan        AU   wen         Yuan        AU   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14071331   July   7/22/2014   complete   wen         Yuan        AU   wen         Yuan        AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071332   July   7/22/2014   closed     Ship        to          US   Ship        to          US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14071332   July   7/22/2014   closed     Ship        to          US   Ship        to          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071333   July   7/22/2014   complete   Tay         Lam         US   Tay         Lam         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071333   July   7/22/2014   complete   Tay         Lam         US   Tay         Lam         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071334   July   7/23/2014   complete   Lai         Lee         US   Hop         Lam         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071334   July   7/23/2014   complete   Lai         Lee         US   Hop         Lam         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071335   July   7/22/2014   complete   Susan       Yuen        NZ   Susan       Yuen        NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071335   July   7/22/2014   complete   Susan       Yuen        NZ   Susan       Yuen        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14071336   July   7/22/2014   complete   Wendy       Pariseau    US   Wendy       Pariseau    US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071336   July   7/22/2014   complete   Wendy       Pariseau    US   Wendy       Pariseau    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071337   July   7/22/2014   complete   Chun        Leung       AU   Chun        Leung       AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14071337   July   7/22/2014   complete   Chun        Leung       AU   Chun        Leung       AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14071338   July   7/23/2014   complete   Samuel      Ho          AU   Samuel      Ho          AU   braintree         AUD   TVPAD-007       259    10   1    249
TVP-14071338   July   7/23/2014   complete   Samuel      Ho          AU   Samuel      Ho          AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14071339   July   7/23/2014   complete   manhoe      lee         US   manhoe      lee         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071339   July   7/23/2014   complete   manhoe      lee         US   manhoe      lee         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071340   July   7/23/2014   complete   JAMES       WONG        US   JAMES       WONG        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071340   July   7/23/2014   complete   JAMES       WONG        US   JAMES       WONG        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071341   July   7/23/2014   complete   Lei         Wang        US   Lei         Wang        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071341   July   7/23/2014   complete   Lei         Wang        US   Lei         Wang        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071342   July   7/23/2014   complete   Peici       Liu         US   Peici       Liu         US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14071342   July   7/23/2014   complete   Peici       Liu         US   Peici       Liu         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071343   July   7/23/2014   complete   Mark        Wong        AU   Mark        Wong        AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14071343   July   7/23/2014   complete   Mark        Wong        AU   Mark        Wong        AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071345   July   7/24/2014   complete   Kui         Xu          AU   Kui         Xu          AU   braintree         AUD   TVPAD-007       259    15   1    244
TVP-14071345   July   7/24/2014   complete   Kui         Xu          AU   Kui         Xu          AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14071346   July   7/24/2014   complete   Bo          Lim         SE   Bo          Lim         SE   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071346   July   7/24/2014   complete   Bo          Lim         SE   Bo          Lim         SE   braintree         USD   HGIFT2             0    0   1       0
TVP-14071347   July   7/24/2014   complete   Joseph      DeGaetano   US   Joseph      DeGaetano   US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071347   July   7/24/2014   complete   Joseph      DeGaetano   US   Joseph      DeGaetano   US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071349   July   7/24/2014   complete   Taiy        Chang       US   Taiy        Chang       US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14071349   July   7/24/2014   complete   Taiy        Chang       US   Taiy        Chang       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071350   July   7/25/2014   complete   byung       cho         US   byung       cho         US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14071350   July   7/25/2014   complete   byung       cho         US   byung       cho         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071351   July   7/25/2014   complete   che shing   chan        US   che         chan        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071351   July   7/25/2014   complete   che shing   chan        US   che         chan        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071352   July   7/25/2014   complete   Dongxuan    Vincent     FR   Dongxuan    Vincent     FR   braintree         EUR   TVPAD-004       259    10   1    249
TVP-14071352   July   7/25/2014   complete   Dongxuan    Vincent     FR   Dongxuan    Vincent     FR   braintree         EUR   HGIFT2             0    0   1       0
TVP-14071353   July   7/25/2014   complete   KIM         WONSEOK     AU   KIM         WONSEOK     AU   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14071353   July   7/25/2014   complete   KIM         WONSEOK     AU   KIM         WONSEOK     AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071354   July   7/25/2014   complete   mao         wang        US   mao         wang        US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14071354   July   7/25/2014   complete   mao         wang        US   mao         wang        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071355   July   7/25/2014   complete   YUAN        LU          US   YUAN        LU          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071355   July   7/25/2014   complete   YUAN        LU          US   YUAN        LU          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071356   July   7/25/2014   complete   Chujie      Shen        AU   Chujie      Shen        AU   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071356   July   7/25/2014   complete   Chujie      Shen        AU   Chujie      Shen        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14071357   July   7/25/2014   complete   Mia         louria      US   Mia         louria      US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14071357   July   7/25/2014   complete   Mia         louria      US   Mia         louria      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071358   July   7/25/2014   complete   lester      hwah        NZ   lester      hwah        NZ   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071358   July   7/25/2014   complete   lester      hwah        NZ   lester      hwah        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14071359   July   7/25/2014   complete   huan        chang       US   huan        chang       US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071359   July   7/25/2014   complete   huan        chang       US   huan        chang       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071360   July   7/25/2014   complete   Nancy       Chao        CA   Nancy       Chao        CA   braintree         USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14071361   July   7/28/2014   complete   Nikki       Tan         SG   Nikki       Tan         SG   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071361   July   7/28/2014   complete   Nikki       Tan         SG   Nikki       Tan         SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14071362   July   7/25/2014   complete   Emily       Qiu         MP   Emily       Qiu         MP   braintree         USD   TVPAD-007       259    10   1    249
TVP-14071362   July   7/25/2014   complete   Emily       Qiu         MP   Emily       Qiu         MP   braintree         USD   HGIFT2             0    0   1       0
TVP-14071363   July   7/25/2014   complete   Araon       Sun         AU   Araon       Sun         AU   braintree         AUD   TVPAD-004       259    20   1    239
TVP-14071363   July   7/25/2014   complete   Araon       Sun         AU   Araon       Sun         AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14071364   July   7/25/2014   complete   AMY         CHEN        AU   AMY         CHEN        AU   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071364   July   7/25/2014   complete   AMY         CHEN        AU   AMY         CHEN        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14071365   July   7/25/2014   complete   Jina        Lee         HK   Jina        Lee         HK   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071365   July   7/25/2014   complete   Jina        Lee         HK   Jina        Lee         HK   braintree         USD   HGIFT2             0    0   1       0
TVP-14071366   July   7/25/2014   complete   Stephane    Bounmy      FR   Stephane    Bounmy      FR   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14071366   July   7/25/2014   complete   Stephane    Bounmy      FR   Stephane    Bounmy      FR   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071367   July   7/25/2014   complete   Anshun      Wong        NZ   James       Wong        NZ   braintree         USD   TVPAD-007       259    20   1    239
TVP-14071367   July   7/25/2014   complete   Anshun      Wong        NZ   James       Wong        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14071368   July   7/25/2014   complete   Amy         Koo         AU   Amy         Koo         AU   paypal_standard   AUD   TVPAD-007       259    20   1    239
TVP-14071368   July   7/25/2014   complete   Amy         Koo         AU   Amy         Koo         AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14071369   July   7/25/2014   complete   Peter       Chau        GB   Peter       Chau        GB   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14071369   July   7/25/2014   complete   Peter       Chau        GB   Peter       Chau        GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071370   July   7/25/2014   complete   Zinian      Li          AU   Zinian      Li          AU   braintree         USD   TVPAD-007       259    20   1    239
TVP-14071370   July   7/25/2014   complete   Zinian      Li          AU   Zinian      Li          AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14071371   July   7/25/2014   complete   Fuk-Ming    LEUNG       FR   Fuk-Ming    LEUNG       FR   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071371   July   7/25/2014   complete   Fuk-Ming    LEUNG       FR   Fuk-Ming    LEUNG       FR   braintree         USD   HGIFT2             0    0   1       0
TVP-14071372   July   7/25/2014   complete   Wei         Le          US   Wei         Le          US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071372   July   7/25/2014   complete   Wei         Le          US   Wei         Le          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071374   July   7/25/2014   complete   kenneth     mak         AU   kenneth     mak         AU   paypal_standard   AUD   TVPAD-007       259    20   1    239
TVP-14071374   July   7/25/2014   complete   kenneth     mak         AU   kenneth     mak         AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14071375   July   7/25/2014   complete   shen-yung   chow        US   shen-yung   chow        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071375   July   7/25/2014   complete   shen-yung   chow        US   shen-yung   chow        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071376   July   7/25/2014   complete   SUINING     DENG        US   SUINING     DENG        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071376   July   7/25/2014   complete   SUINING     DENG        US   SUINING     DENG        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071377   July   7/26/2014   complete   Lei         Zhang       AU   Lei         Zhang       AU   braintree         AUD   TVPAD-004       259    20   1    239
TVP-14071377   July   7/26/2014   complete   Lei         Zhang       AU   Lei         Zhang       AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14071379   July   7/25/2014   complete   Alfred      Yuen        US   Alfred      Yuen        US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14071379   July   7/25/2014   complete   Alfred      Yuen        US   Alfred      Yuen        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071381   July   7/26/2014   complete   Kim         Chin        NL   Kim         Chin        NL   braintree         USD   TVPAD-004       250    20   2    480
TVP-14071381   July   7/26/2014   complete   Kim         Chin        NL   Kim         Chin        NL   braintree         USD   HGIFT2             0    0   2       0
TVP-14071382   July   7/26/2014   complete   Kar         Mak         US   Kar         Mak         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071382   July   7/26/2014   complete   Kar         Mak         US   Kar         Mak         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071383   July   7/28/2014   complete   Anne        Phan        CA   Anne        Phan        CA   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071383   July   7/28/2014   complete   Anne        Phan        CA   Anne        Phan        CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14071384   July   7/26/2014   complete   Ying        Yuan        US   Ying        Yuan        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14071384   July   7/26/2014   complete   Ying        Yuan        US   Ying        Yuan        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071385   July   7/26/2014   complete   Andrew      HO          US   Andrew      HO          US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14071385   July   7/26/2014   complete   Andrew      HO          US   Andrew      HO          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071386   July   7/26/2014   complete   Susanna     Chan        US   Susanna     Chan        US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14071386   July   7/26/2014   complete   Susanna     Chan        US   Susanna     Chan        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071387   July   7/26/2014   complete   Guy         Wong        US   Guy         Wong        US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14071387   July   7/26/2014   complete   Guy         Wong        US   Guy         Wong        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071388   July   7/26/2014   complete   Yoko        Takeuchi    US   Yoko        Takeuchi    US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14071388   July   7/26/2014   complete   Yoko        Takeuchi    US   Yoko        Takeuchi    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071389   July   7/27/2014   complete   Edmund      Wong        US   Edmund      Wong        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071389   July   7/27/2014   complete   Edmund      Wong        US   Edmund      Wong        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071390   July   7/27/2014   complete   Phi         ta          AU   Phi         ta          AU   braintree         USD   TVPAD-004       250    20   2    480
TVP-14071390   July   7/27/2014   complete   Phi         ta          AU   Phi         ta          AU   braintree         USD   HGIFT2             0    0   2       0
TVP-14071392   July   7/27/2014   complete   Ying        Lee         GB   Ying        Lee         GB   paypal_standard   GBP   TVPAD-004       259    20   1    239
TVP-14071392   July   7/27/2014   complete   Ying        Lee         GB   Ying        Lee         GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14071393   July   7/27/2014   complete   Henry       Young       US   Henry       Young       US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071393   July   7/27/2014   complete   Henry       Young       US   Henry       Young       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071394   July   7/27/2014   complete   Vy          Tran        US   Vy          Tran        US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14071394   July   7/27/2014   complete   Vy          Tran        US   Vy          Tran        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071395   July   7/27/2014   complete   Volong      Tran        GB   Volong      Tran        GB   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14071395   July   7/27/2014   complete   Volong      Tran        GB   Volong      Tran        GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071396   July   7/27/2014   complete   Raymond     Yu          US   Raymond     Yu          US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14071396   July   7/27/2014   complete   Raymond     Yu          US   Raymond     Yu          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14071397   July   7/27/2014   complete   Meng        Taing       AU   Meng        Taing       AU   braintree         AUD   TVPAD-004       259    20   1    239
TVP-14071397   July   7/27/2014   complete   Meng        Taing       AU   Meng        Taing       AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14071398   July   7/27/2014   complete   Saeko       YAMAOKA     AU   Saeko       YAMAOKA     AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14071398   July   7/27/2014   complete   Saeko       YAMAOKA     AU   Saeko       YAMAOKA     AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14071399   July   7/27/2014   complete   yung        yoon        CO   yung        yoon        CO   braintree         USD   TVPAD-004       259    10   1    249
TVP-14071399   July   7/27/2014   complete   yung        yoon        CO   yung        yoon        CO   braintree         USD   HGIFT2             0    0   1       0
TVP-14071400   July   7/27/2014   complete   Kevin       Eng         US   Kevin       Eng         US   braintree         USD   TVPAD-007       259    15   1    244
TVP-14071400   July   7/27/2014   complete   Kevin       Eng         US   Kevin       Eng         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071401   July   7/27/2014   complete   William     Li          US   William     Li          US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14071401   July   7/27/2014   complete   William     Li          US   William     Li          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071402   July   7/27/2014   complete   ILENE       LEE         US   ILENE       LEE         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071402   July   7/27/2014   complete   ILENE       LEE         US   ILENE       LEE         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071403   July   7/28/2014   complete   Chee        Foong       MY   Chee        Foong       AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14071403   July   7/28/2014   complete   Chee        Foong       MY   Chee        Foong       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14071404   July   7/28/2014   complete   Kevin       GuanHua     US   Kevin       GuanHua     US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071404   July   7/28/2014   complete   Kevin       GuanHua     US   Kevin       GuanHua     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14071405   July   7/28/2014   complete   Benjamin    tsoi        GB   Benjamin    tsoi        GB   braintree         USD   TVPAD-004       259    20   1    239
TVP-14071405   July   7/28/2014   complete   Benjamin    tsoi        GB   Benjamin    tsoi        GB   braintree         USD   HGIFT2             0    0   1       0
TVP-14071406   July   7/28/2014   complete   Min         Jiang       NZ   Min         Jiang       NZ   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14071406   July   7/28/2014   complete   Min         Jiang       NZ   Min         Jiang       NZ   paypal_standard   USD   HGIFT2             0    0   1       0
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TVP-14071407   July     7/28/2014   complete   Aijing      Leymarie     FR   Aijing      Leymarie     FR   braintree         EUR   TVPAD-004   259   20   1   239
TVP-14071407   July     7/28/2014   complete   Aijing      Leymarie     FR   Aijing      Leymarie     FR   braintree         EUR   HGIFT2        0    0   1     0
TVP-14071408   July     7/28/2014   complete   wenjun      cai          AU   wenjun      cai          AU   braintree         USD   TVPAD-007   250   10   2   490
TVP-14071408   July     7/28/2014   complete   wenjun      cai          AU   wenjun      cai          AU   braintree         USD   HGIFT2        0    0   2     0
TVP-14071409   July     7/28/2014   complete   woo         chun         MY   woo         chun         MY   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071409   July     7/28/2014   complete   woo         chun         MY   woo         chun         MY   braintree         USD   HGIFT2        0    0   1     0
TVP-14071410   July     7/28/2014   complete   Jiatao      Gu           AU   Jiatao      Gu           AU   braintree         USD   TVPAD-007   259   10   1   249
TVP-14071410   July     7/28/2014   complete   Jiatao      Gu           AU   Jiatao      Gu           AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14071411   July     7/28/2014   complete   Xing        Wang         AU   Xing        Wang         AU   braintree         USD   TVPAD-007   259   10   1   249
TVP-14071411   July     7/28/2014   complete   Xing        Wang         AU   Xing        Wang         AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14071412   July      8/5/2014   complete   Long        Zhang        DK   Long        Zhang        DK   braintree         USD   TVPAD-007   259   10   1   249
TVP-14071412   July      8/5/2014   complete   Long        Zhang        DK   Long        Zhang        DK   braintree         USD   HGIFT2        0    0   1     0
TVP-14071413   July     7/28/2014   complete   Stephanie   Chen         GB   Stephanie   Chen         GB   braintree         GBP   TVPAD-004   259   20   1   239
TVP-14071413   July     7/28/2014   complete   Stephanie   Chen         GB   Stephanie   Chen         GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14071414   July     7/28/2014   complete   Chi         Lau          US   Chi         Lau          US   braintree         USD   TVPAD-007   259   20   1   239
TVP-14071414   July     7/28/2014   complete   Chi         Lau          US   Chi         Lau          US   braintree         USD   HGIFT2        0    0   1     0
TVP-14071415   July     7/28/2014   complete   joanne      lim          NZ   joanne      lim          NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071415   July     7/28/2014   complete   joanne      lim          NZ   joanne      lim          NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14071416   July     7/28/2014   complete   VINCENT     LIM          SG   VINCENT     LIM          SG   braintree         USD   TVPAD-004   259   20   1   239
TVP-14071416   July     7/28/2014   complete   VINCENT     LIM          SG   VINCENT     LIM          SG   braintree         USD   HGIFT2        0    0   1     0
TVP-14071417   July     7/28/2014   complete   Nicole      pan          AU   Nicole      pan          AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071417   July     7/28/2014   complete   Nicole      pan          AU   Nicole      pan          AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14071418   July     7/28/2014   complete   Lu          Liu          US   Lu          Liu          US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071418   July     7/28/2014   complete   Lu          Liu          US   Lu          Liu          US   braintree         USD   HGIFT2        0    0   1     0
TVP-14071419   July     7/28/2014   complete   Yusuke      Sato         AU   Yusuke      Sato         AU   braintree         AUD   TVPAD-004   259   10   1   249
TVP-14071419   July     7/28/2014   complete   Yusuke      Sato         AU   Yusuke      Sato         AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14071420   July     7/28/2014   complete   Albert      Fu           US   Albert      Fu           US   braintree         USD   TVPAD-004   259   15   1   244
TVP-14071420   July     7/28/2014   complete   Albert      Fu           US   Albert      Fu           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14071421   July     7/28/2014   complete   Ming        Xiao         GB   Ming        Xiao         GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14071421   July     7/28/2014   complete   Ming        Xiao         GB   Ming        Xiao         GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14071422   July     7/29/2014   complete   Y           Man          GB   Sang        Man          GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14071422   July     7/29/2014   complete   Y           Man          GB   Sang        Man          GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14071423   July     7/29/2014   complete   Dong        qin          SE   Dong        qin          SE   braintree         USD   TVPAD-007   259   10   1   249
TVP-14071423   July     7/29/2014   complete   Dong        qin          SE   Dong        qin          SE   braintree         USD   HGIFT2        0    0   1     0
TVP-14071425   July     7/30/2014   complete   Abneesh     Srivastava   US   Min         Ra           US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071425   July     7/30/2014   complete   Abneesh     Srivastava   US   Min         Ra           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14071426   July     7/29/2014   complete   Yukon       Chin         US   Yukon       Chin         US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14071426   July     7/29/2014   complete   Yukon       Chin         US   Yukon       Chin         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14071427   July     7/29/2014   complete   Annie       Howe         US   Annie       Howe         US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071427   July     7/29/2014   complete   Annie       Howe         US   Annie       Howe         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14071428   July     7/29/2014   complete   Franky      So           US   Franky      So           US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071428   July     7/29/2014   complete   Franky      So           US   Franky      So           US   braintree         USD   HGIFT2        0    0   1     0
TVP-14071432   July     7/29/2014   complete   Qiong       Wei          US   Qiong       Wei          US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14071432   July     7/29/2014   complete   Qiong       Wei          US   Qiong       Wei          US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14071433   July     7/29/2014   complete   Alvin       Hovasapian   US   Alvin       Hovasapian   US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14071433   July     7/29/2014   complete   Alvin       Hovasapian   US   Alvin       Hovasapian   US   braintree         USD   HGIFT2        0    0   1     0
TVP-14071434   July     7/29/2014   complete   Yew         Ban          MY   Yew         Ban          MY   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071434   July     7/29/2014   complete   Yew         Ban          MY   Yew         Ban          MY   braintree         USD   HGIFT2        0    0   1     0
TVP-14071435   July     7/29/2014   complete   Chen-Yang   Hsu          AU   Chen-Yang   Hsu          AU   braintree         AUD   TVPAD-004   259   20   1   239
TVP-14071435   July     7/29/2014   complete   Chen-Yang   Hsu          AU   Chen-Yang   Hsu          AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14071437   July     7/29/2014   complete   Andy        Feng         GU   Andy        Feng         GU   braintree         USD   TVPAD-007   259   10   1   249
TVP-14071437   July     7/29/2014   complete   Andy        Feng         GU   Andy        Feng         GU   braintree         USD   HGIFT2        0    0   1     0
TVP-14071438   July     7/29/2014   complete   Matthew     Lam          AU   Matthew     Lam          AU   paypal_standard   USD   TVPAD-007   259   10   1   249
TVP-14071438   July     7/29/2014   complete   Matthew     Lam          AU   Matthew     Lam          AU   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14071439   July     7/29/2014   complete   KienTrung   Lac          DK   KienTrung   Lac          DK   braintree         USD   TVPAD-004   259   20   1   239
TVP-14071439   July     7/29/2014   complete   KienTrung   Lac          DK   KienTrung   Lac          DK   braintree         USD   HGIFT2        0    0   1     0
TVP-14071440   July     7/29/2014   complete   Sungki      Kim          AU   Sungki      Kim          AU   braintree         USD   TVPAD-007   259   10   1   249
TVP-14071440   July     7/29/2014   complete   Sungki      Kim          AU   Sungki      Kim          AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14071441   July     7/30/2014   complete   Joanne      Wong         US   Joanne      Wong         US   paypal_standard   USD   TVPAD-007   259   20   1   239
TVP-14071441   July     7/30/2014   complete   Joanne      Wong         US   Joanne      Wong         US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14071442   July     7/30/2014   complete   Pauline     siu          GB   Pauline     siu          GB   paypal_standard   GBP   TVPAD-007   259   10   1   249
TVP-14071442   July     7/30/2014   complete   Pauline     siu          GB   Pauline     siu          GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14071444   July     7/30/2014   complete   angela      feng         CA   angela      feng         CA   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071444   July     7/30/2014   complete   angela      feng         CA   angela      feng         CA   braintree         USD   HGIFT2        0    0   1     0
TVP-14071446   July     7/30/2014   complete   Yubin       Luo          NZ   Yubin       Luo          NZ   braintree         USD   TVPAD-007   259   10   1   249
TVP-14071446   July     7/30/2014   complete   Yubin       Luo          NZ   Yubin       Luo          NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14071447   July     7/30/2014   complete   Juivette    Lok          CA   Juivette    Lok          CA   paypal_standard   USD   TVPAD-007   259   20   1   239
TVP-14071447   July     7/30/2014   complete   Juivette    Lok          CA   Juivette    Lok          CA   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14071449   July     7/30/2014   complete   Nuri        Kim          US   Nuri        Kim          SG   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071449   July     7/30/2014   complete   Nuri        Kim          US   Nuri        Kim          SG   braintree         USD   HGIFT2        0    0   1     0
TVP-14071450   July     7/30/2014   complete   Wing        Cheung       GB   Wing        Cheung       GB   paypal_standard   GBP   TVPAD-004   250   10   2   490
TVP-14071450   July     7/30/2014   complete   Wing        Cheung       GB   Wing        Cheung       GB   paypal_standard   GBP   HGIFT2        0    0   2     0
TVP-14071451   July     7/30/2014   complete   li-ming     chen         US   li-ming     chen         US   braintree         USD   TVPAD-007   259   20   1   239
TVP-14071451   July     7/30/2014   complete   li-ming     chen         US   li-ming     chen         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14071452   July     7/30/2014   complete   Tony        O'Brien      US   Tony        O'Brien      US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14071452   July     7/30/2014   complete   Tony        O'Brien      US   Tony        O'Brien      US   braintree         USD   HGIFT2        0    0   1     0
TVP-14071453   July     7/30/2014   complete   Li-Ming     Chen         US   Li-Ming     Chen         US   braintree         USD   TVPAD-007   259   20   1   239
TVP-14071453   July     7/30/2014   complete   Li-Ming     Chen         US   Li-Ming     Chen         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14071454   July     7/30/2014   complete   thomas      dang         AU   thomas      dang         AU   paypal_standard   AUD   TVPAD-007   259   10   1   249
TVP-14071454   July     7/30/2014   complete   thomas      dang         AU   thomas      dang         AU   paypal_standard   AUD   HGIFT2        0    0   1     0
TVP-14071455   July     7/30/2014   complete   XIAOZHENG   NAN          NZ   XIAOZHENG   NAN          NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071455   July     7/30/2014   complete   XIAOZHENG   NAN          NZ   XIAOZHENG   NAN          NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14071456   July     7/30/2014   complete   sandy       ko           AU   sandy       ko           AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071456   July     7/30/2014   complete   sandy       ko           AU   sandy       ko           AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14071457   July     7/31/2014   complete   LA          SHUNDE       FR   LA          SHUNDE       FR   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071457   July     7/31/2014   complete   LA          SHUNDE       FR   LA          SHUNDE       FR   braintree         USD   HGIFT2        0    0   1     0
TVP-14071459   July     7/31/2014   complete   john        suh          BR   john        suh          BR   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071459   July     7/31/2014   complete   john        suh          BR   john        suh          BR   braintree         USD   HGIFT2        0    0   1     0
TVP-14071460   July     7/31/2014   complete   Connie      Wong         US   Connie      Wong         US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14071460   July     7/31/2014   complete   Connie      Wong         US   Connie      Wong         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14071461   July      8/1/2014   complete   Jenny       Greenway     GB   Shing       Lee          GB   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071461   July      8/1/2014   complete   Jenny       Greenway     GB   Shing       Lee          GB   braintree         USD   HGIFT2        0    0   1     0
TVP-14071462   July     7/31/2014   complete   Brenda      Oates        CA   Brenda      Oates        CA   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071462   July     7/31/2014   complete   Brenda      Oates        CA   Brenda      Oates        CA   braintree         USD   HGIFT2        0    0   1     0
TVP-14071463   July     7/31/2014   complete   Anna        Su           NZ   Anna        Su           NZ   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071464   July     7/31/2014   complete   Tan         Keat         MY   Tan         Keat         MY   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14071464   July     7/31/2014   complete   Tan         Keat         MY   Tan         Keat         MY   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14071465   July     7/31/2014   complete   Ying        Tang         AU   Ying        Tang         AU   braintree         USD   TVPAD-004   259   20   1   239
TVP-14071465   July     7/31/2014   complete   Ying        Tang         AU   Ying        Tang         AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14071467   July      8/1/2014   complete   Winston     wong         GB   Winston     wong         GB   braintree         GBP   TVPAD-004   259   10   1   249
TVP-14071467   July      8/1/2014   complete   Winston     wong         GB   Winston     wong         GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14071468   July      8/1/2014   complete   Chi         yiu          GB   Chi         yiu          GB   braintree         USD   TVPAD-007   259   10   1   249
TVP-14071468   July      8/1/2014   complete   Chi         yiu          GB   Chi         yiu          GB   braintree         USD   HGIFT2        0    0   1     0
TVP-14071469   July      8/2/2014   complete   Bo          Liu          NL   Yue         Cui          NL   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071469   July      8/2/2014   complete   Bo          Liu          NL   Yue         Cui          NL   braintree         USD   HGIFT2        0    0   1     0
TVP-14071470   July      8/1/2014   complete   Jason       Ng           AU   Jason       Ng           AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071470   July      8/1/2014   complete   Jason       Ng           AU   Jason       Ng           AU   braintree         USD   HGIFT2        0    0   1     0
TVP-70011219   July      8/1/2014   complete   Isaac       Xiao         US   Isaac       Xiao         US   braintree         USD   TVPAD-007   259   10   1   249
TVP-70011219   July      8/1/2014   complete   Isaac       Xiao         US   Isaac       Xiao         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14071471   August    8/1/2014   complete   Rebekah     Kim          GU   Rebekah     Kim          GU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14071471   August    8/1/2014   complete   Rebekah     Kim          GU   Rebekah     Kim          GU   braintree         USD   HGIFT2        0    0   1     0
TVP-14081010   August    8/1/2014   complete   Wayne       Lo           US   Wayne       Lo           US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14081010   August    8/1/2014   complete   Wayne       Lo           US   Wayne       Lo           US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14081011   August    8/2/2014   complete   Whanyoung   Choi         US   Whanyoung   Choi         US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14081011   August    8/2/2014   complete   Whanyoung   Choi         US   Whanyoung   Choi         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14081012   August    8/1/2014   complete   Barbara     Manocchio    US   Barbara     Manocchio    US   braintree         USD   TVPAD-004   250   10   3   740
TVP-14081012   August    8/1/2014   complete   Barbara     Manocchio    US   Barbara     Manocchio    US   braintree         USD   HGIFT2        0    0   3     0
TVP-14081013   August    8/2/2014   complete   Kwok        Pang         GB   Kwok        Pang         GB   paypal_standard   GBP   TVPAD-004   259   10   1   249
TVP-14081013   August    8/2/2014   complete   Kwok        Pang         GB   Kwok        Pang         GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14081014   August    8/2/2014   complete   Khaled      Gobara       AE   Khaled      Gobara       AE   braintree         USD   TVPAD-004   259   10   1   249
TVP-14081014   August    8/2/2014   complete   Khaled      Gobara       AE   Khaled      Gobara       AE   braintree         USD   HGIFT2        0    0   1     0
TVP-14081015   August    8/2/2014   complete   Tung        Tse          GB   Tung        Tse          GB   braintree         USD   TVPAD-004   259   10   1   249
TVP-14081015   August    8/2/2014   complete   Tung        Tse          GB   Tung        Tse          GB   braintree         USD   HGIFT2        0    0   1     0
TVP-14081016   August    8/2/2014   complete   Hailing     Zhu          CA   Hailing     Zhu          CA   braintree         USD   TVPAD-004   259   10   1   249
TVP-14081017   August    8/2/2014   complete   John        Kim          US   John        Kim          US   braintree         USD   TVPAD-004   259   10   1   249
TVP-14081017   August    8/2/2014   complete   John        Kim          US   John        Kim          US   braintree         USD   HGIFT2        0    0   1     0
TVP-14081018   August    8/2/2014   complete   Nick        Kim          SG   Nick        Kim          SG   braintree         USD   TVPAD-004   259   15   1   244
TVP-14081018   August    8/2/2014   complete   Nick        Kim          SG   Nick        Kim          SG   braintree         USD   HGIFT2        0    0   1     0
TVP-14081020   August    8/3/2014   complete   Richard     Lam          US   Richard     Lam          US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14081021   August    8/3/2014   complete   FULONG      DUAN         AU   FULONG      DUAN         AU   braintree         AUD   TVPAD-004   259   10   1   249
TVP-14081021   August    8/3/2014   complete   FULONG      DUAN         AU   FULONG      DUAN         AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14081022   August    8/3/2014   complete   XIAO        LIU          AU   XIAO        LIU          AU   braintree         USD   TVPAD-004   259   10   1   249
TVP-14081022   August    8/3/2014   complete   XIAO        LIU          AU   XIAO        LIU          AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14081023   August    8/3/2014   complete   Yu          Wang         AU   Yu          Wang         AU   paypal_standard   AUD   TVPAD-004   259   15   1   244
TVP-14081024   August    8/3/2014   complete   William     Choi         IE   William     Choi         IE   braintree         EUR   TVPAD-004   259   10   1   249
TVP-14081024   August    8/3/2014   complete   William     Choi         IE   William     Choi         IE   braintree         EUR   HGIFT2        0    0   1     0
TVP-14081025   August    8/3/2014   complete   Sunny       Monkus       AU   Sunny       Monkus       AU   braintree         USD   TVPAD-007   259   10   1   249
TVP-14081025   August    8/3/2014   complete   Sunny       Monkus       AU   Sunny       Monkus       AU   braintree         USD   HGIFT2        0    0   1     0
TVP-14081026   August    8/3/2014   complete   Nhan        Vuong        US   Nhan        Vuong        US   paypal_standard   USD   TVPAD-004   259   10   1   249
TVP-14081026   August    8/3/2014   complete   Nhan        Vuong        US   Nhan        Vuong        US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14081027   August    8/3/2014   complete   Peter       soon         GB   Peter       soon         GB   paypal_standard   GBP   TVPAD-007   259   10   1   249
TVP-14081027   August    8/3/2014   complete   Peter       soon         GB   Peter       soon         GB   paypal_standard   GBP   HGIFT2        0    0   1     0
TVP-14081028   August    8/3/2014   complete   Kevin       Yao          NZ   Kevin       Yao          NZ   braintree         USD   TVPAD-004   259   20   1   239
TVP-14081028   August    8/3/2014   complete   Kevin       Yao          NZ   Kevin       Yao          NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14081029   August    8/3/2014   complete   Huifang     Liao         SR   Huifang     Liao         SR   braintree         USD   TVPAD-007   259   10   1   249
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TVP-14081029   August   8/3/2014   complete   Huifang     Liao        SR   Huifang     Liao        SR   braintree         USD   HGIFT2             0      0   1        0
TVP-70011220   August   8/4/2014   complete   yanzhen     wu          NZ   yanzhen     wu          NZ   braintree         USD   TVPAD-004       259      20   1     239
TVP-70011220   August   8/4/2014   complete   yanzhen     wu          NZ   yanzhen     wu          NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14081032   August   8/4/2014   complete   Elaine      Li          US   Elaine      Li          US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081032   August   8/4/2014   complete   Elaine      Li          US   Elaine      Li          US   braintree         USD   HGIFT2             0      0   1        0
TVP-70011221   August   8/4/2014   complete   XIONG       SHI         NO   XIONG       SHI         NO   braintree         USD   TVPAD-004       259      10   1     249
TVP-70011221   August   8/4/2014   complete   XIONG       SHI         NO   XIONG       SHI         NO   braintree         USD   HGIFT2             0      0   1        0
TVP-14081033   August   8/4/2014   complete   M           Zhang       GB   M           Zhang       GB   paypal_standard   GBP   TVPAD-004       259      10   1     249
TVP-14081033   August   8/4/2014   complete   M           Zhang       GB   M           Zhang       GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14081035   August   8/4/2014   complete   Ya-Hui      Chen        SE   Ya-Hui      Chen        SE   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081035   August   8/4/2014   complete   Ya-Hui      Chen        SE   Ya-Hui      Chen        SE   braintree         USD   HGIFT2             0      0   1        0
TVP-14081036   August   8/4/2014   complete   Il-Ho       Park        DE   Il-Ho       Park        DE   braintree         EUR   TVPAD-004       259      10   1     249
TVP-14081036   August   8/4/2014   complete   Il-Ho       Park        DE   Il-Ho       Park        DE   braintree         EUR   HGIFT2             0      0   1        0
TVP-14081037   August   8/4/2014   complete   David       Lee         US   David       Lee         US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081037   August   8/4/2014   complete   David       Lee         US   David       Lee         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081039   August   8/4/2014   complete   Simon       Shiu        US   Simon       Shiu        US   braintree         USD   TVPAD-007       259      20   1     239
TVP-14081039   August   8/4/2014   complete   Simon       Shiu        US   Simon       Shiu        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081040   August   8/4/2014   complete   Peter       Tse         US   Peter       Tse         US   braintree         USD   TVPAD-007       259      20   1     239
TVP-14081040   August   8/4/2014   complete   Peter       Tse         US   Peter       Tse         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081041   August   8/4/2014   complete   ROGER       Thomas      FR   ROGER       Thomas      FR   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14081041   August   8/4/2014   complete   ROGER       Thomas      FR   ROGER       Thomas      FR   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081042   August   8/4/2014   complete   Tony        Poon        US   Tony        Poon        US   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14081042   August   8/4/2014   complete   Tony        Poon        US   Tony        Poon        US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081043   August   8/4/2014   complete   Cecilia     Du          US   Cecilia     Du          US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081043   August   8/4/2014   complete   Cecilia     Du          US   Cecilia     Du          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081044   August   8/4/2014   complete   Paul        Chan        US   Paul        Chan        US   braintree         USD   TVPAD-004       250      20   2     480
TVP-14081044   August   8/4/2014   complete   Paul        Chan        US   Paul        Chan        US   braintree         USD   HGIFT2             0      0   2        0
TVP-70011222   August   8/4/2014   complete   Michael     Ming        AU   Michael     Ming        AU   braintree         AUD   TVPAD-004       259      10   1     249
TVP-70011222   August   8/4/2014   complete   Michael     Ming        AU   Michael     Ming        AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14081045   August   8/4/2014   complete   Yi Von      Soo         MY   YiVon       Soo         MY   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081045   August   8/4/2014   complete   Yi Von      Soo         MY   YiVon       Soo         MY   braintree         USD   HGIFT2             0      0   1        0
TVP-14081046   August   8/4/2014   complete   Takae       NISHIYAMA   AU   Takae       NISHIYAMA   AU   braintree         AUD   TVPAD-004       259      20   1     239
TVP-14081046   August   8/4/2014   complete   Takae       NISHIYAMA   AU   Takae       NISHIYAMA   AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14081047   August   8/4/2014   complete   Per-Erik    Månsson     SE   Per-Erik    Månsson     SE   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081047   August   8/4/2014   complete   Per-Erik    Månsson     SE   Per-Erik    Månsson     SE   braintree         USD   HGIFT2             0      0   1        0
TVP-14081048   August   8/4/2014   complete   Chynna      Lee         AU   Chynna      Lee         AU   paypal_standard   AUD   TVPAD-007       259      20   1     239
TVP-14081048   August   8/4/2014   complete   Chynna      Lee         AU   Chynna      Lee         AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14081049   August   8/4/2014   complete   Estella     Gan         KR   Estella     Gan         KR   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081049   August   8/4/2014   complete   Estella     Gan         KR   Estella     Gan         KR   braintree         USD   HGIFT2             0      0   1        0
TVP-14081050   August   8/4/2014   complete   Vincent     Ng          SG   Vincent     Ng          SG   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081050   August   8/4/2014   complete   Vincent     Ng          SG   Vincent     Ng          SG   braintree         USD   HGIFT2             0      0   1        0
TVP-14081052   August   8/5/2014   complete   ZHILIANG    HUANG       AU   KELVIN      HUANG       AU   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14081052   August   8/5/2014   complete   ZHILIANG    HUANG       AU   KELVIN      HUANG       AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-70011223   August   8/5/2014   complete   Chiu Kan    Leung       MY   Chiu        Leung       MY   braintree         USD   TVPAD-004       250      10   2     490
TVP-70011223   August   8/5/2014   complete   Chiu Kan    Leung       MY   Chiu        Leung       MY   braintree         USD   HGIFT2             0      0   2        0
TVP-14081053   August   8/5/2014   complete   Matthew     Man         GB   Matthew     Man         GB   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081053   August   8/5/2014   complete   Matthew     Man         GB   Matthew     Man         GB   braintree         USD   HGIFT2             0      0   1        0
TVP-14081055   August   8/5/2014   complete   Adrian      Yeung       AU   Adrian      Yeung       AU   braintree         AUD   TVPAD-004       259      20   1     239
TVP-14081055   August   8/5/2014   complete   Adrian      Yeung       AU   Adrian      Yeung       AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14081056   August   8/5/2014   complete   Rachael     Kim         US   Rachael     Kim         US   braintree         USD   TVPAD-004       250      10   2     490
TVP-14081056   August   8/5/2014   complete   Rachael     Kim         US   Rachael     Kim         US   braintree         USD   HGIFT2             0      0   2        0
TVP-14081057   August   8/5/2014   complete   Christine   Welk        AT   Christine   Welk        AT   braintree         USD   TVPAD-004       259    8.96   1   250.04
TVP-14081057   August   8/5/2014   complete   Christine   Welk        AT   Christine   Welk        AT   braintree         USD   TVPAD-AC-004   29.99   1.04   1    28.95
TVP-14081057   August   8/5/2014   complete   Christine   Welk        AT   Christine   Welk        AT   braintree         USD   HGIFT2             0      0   1        0
TVP-14081059   August   8/5/2014   complete   chengku     hsieh       NL   chengku     hsieh       NL   paypal_standard   EUR   TVPAD-004       259      10   1     249
TVP-14081059   August   8/5/2014   complete   chengku     hsieh       NL   chengku     hsieh       NL   paypal_standard   EUR   HGIFT2             0      0   1        0
TVP-14081061   August   8/5/2014   complete   marcelo     wan         BR   marcelo     wan         BR   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14081061   August   8/5/2014   complete   marcelo     wan         BR   marcelo     wan         BR   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081062   August   8/5/2014   complete   Mr          Herman      GB   Mr          Herman      GB   paypal_standard   GBP   TVPAD-004       259      20   1     239
TVP-14081062   August   8/5/2014   complete   Mr          Herman      GB   Mr          Herman      GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14081063   August   8/5/2014   complete   Young       Oh          US   Young       Oh          US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14081063   August   8/5/2014   complete   Young       Oh          US   Young       Oh          US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081064   August   8/5/2014   complete   Alex        Tat         CA   Alex        Tat         CA   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081064   August   8/5/2014   complete   Alex        Tat         CA   Alex        Tat         CA   braintree         USD   HGIFT2             0      0   1        0
TVP-14081065   August   8/5/2014   complete   Martin      Kim         US   Martin      Kim         US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081065   August   8/5/2014   complete   Martin      Kim         US   Martin      Kim         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081066   August   8/5/2014   complete   young       kim         AU   young       kim         AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081066   August   8/5/2014   complete   young       kim         AU   young       kim         AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081067   August   8/5/2014   complete   Leo         Cheng       AU   Leo         Cheng       AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081067   August   8/5/2014   complete   Leo         Cheng       AU   Leo         Cheng       AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081068   August   8/5/2014   complete   Isabell     Yoon        AU   Isabell     Yoon        AU   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081068   August   8/5/2014   complete   Isabell     Yoon        AU   Isabell     Yoon        AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081069   August   8/5/2014   complete   Fiona       chang       AU   Fiona       chang       AU   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081069   August   8/5/2014   complete   Fiona       chang       AU   Fiona       chang       AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081070   August   8/5/2014   complete   Michael     Lau         AU   Michael     Lau         AU   braintree         AUD   TVPAD-004       259      10   1     249
TVP-14081070   August   8/5/2014   complete   Michael     Lau         AU   Michael     Lau         AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14081071   August   8/5/2014   complete   Qin         Wei         NZ   Qin         Wei         NZ   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081071   August   8/5/2014   complete   Qin         Wei         NZ   Qin         Wei         NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-70011224   August   8/5/2014   complete   Shanshan    Lin         NZ   Shanshan    Lin         NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-70011224   August   8/5/2014   complete   Shanshan    Lin         NZ   Shanshan    Lin         NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14081072   August   8/5/2014   complete   wancong     lin         AU   wancong     lin         AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081072   August   8/5/2014   complete   wancong     lin         AU   wancong     lin         AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081073   August   8/7/2014   complete   David       Garcia      US   David       Garcia      US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081073   August   8/7/2014   complete   David       Garcia      US   David       Garcia      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081074   August   8/6/2014   complete   Xin         Wang        US   Xin         Wang        US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14081074   August   8/6/2014   complete   Xin         Wang        US   Xin         Wang        US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081075   August   8/6/2014   complete   Joanne      Lum         SG   Joanne      Lum         SG   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081075   August   8/6/2014   complete   Joanne      Lum         SG   Joanne      Lum         SG   braintree         USD   HGIFT2             0      0   1        0
TVP-14081076   August   8/7/2014   complete   Paul        Chan        US   Paul        Chan        US   paypal_standard   USD   TVPAD-007       259      20   1     239
TVP-14081076   August   8/7/2014   complete   Paul        Chan        US   Paul        Chan        US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081077   August   8/6/2014   complete   Frank       An          US   Frank       An          US   braintree         USD   TVPAD-007       259      20   1     239
TVP-14081077   August   8/6/2014   complete   Frank       An          US   Frank       An          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081078   August   8/6/2014   complete   Valerie     Wang        MY   Valerie     Wang        MY   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081078   August   8/6/2014   complete   Valerie     Wang        MY   Valerie     Wang        MY   braintree         USD   HGIFT2             0      0   1        0
TVP-14081079   August   8/6/2014   complete   Alex        Ly          DE   Alex        Ly          DE   paypal_standard   USD   TVPAD-004       259      20   1     239
TVP-14081079   August   8/6/2014   complete   Alex        Ly          DE   Alex        Ly          DE   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081080   August   8/6/2014   complete   Her         Mean        SG   Her         Mean        SG   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081080   August   8/6/2014   complete   Her         Mean        SG   Her         Mean        SG   braintree         USD   HGIFT2             0      0   1        0
TVP-70011225   August   8/6/2014   complete   Li,         Xiao        US   Li,         Xiao        US   braintree         USD   TVPAD-007       259      10   1     249
TVP-70011225   August   8/6/2014   complete   Li,         Xiao        US   Li,         Xiao        US   braintree         USD   HGIFT2             0      0   1        0
TVP-70011226   August   8/6/2014   complete   Qixue       Chen        AU   Qixue       Chen        AU   paypal_standard   AUD   TVPAD-004       259      10   1     249
TVP-70011226   August   8/6/2014   complete   Qixue       Chen        AU   Qixue       Chen        AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14081081   August   8/6/2014   complete   Joshua      Yan         SG   Joshua      Yan         SG   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14081081   August   8/6/2014   complete   Joshua      Yan         SG   Joshua      Yan         SG   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081082   August   8/6/2014   complete   Sheng-ta    Tsai        US   Sheng-ta    Tsai        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081082   August   8/6/2014   complete   Sheng-ta    Tsai        US   Sheng-ta    Tsai        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081083   August   8/6/2014   complete   Weili       Chen        AU   Weili       Chen        AU   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14081083   August   8/6/2014   complete   Weili       Chen        AU   Weili       Chen        AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081084   August   8/6/2014   complete   Midun       Fu          AU   Midun       Fu          AU   braintree         AUD   TVPAD-004       259      20   1     239
TVP-14081084   August   8/6/2014   complete   Midun       Fu          AU   Midun       Fu          AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14081085   August   8/6/2014   complete   Huiqing     Ma          AU   Huiqing     Ma          AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081085   August   8/6/2014   complete   Huiqing     Ma          AU   Huiqing     Ma          AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081086   August   8/7/2014   complete   Ka          Tse         US   Ka          Tse         US   braintree         USD   TVPAD-007       259      20   1     239
TVP-14081086   August   8/7/2014   complete   Ka          Tse         US   Ka          Tse         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081087   August   8/7/2014   complete   Lawrence    Chu         US   Lawrence    Chu         US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081087   August   8/7/2014   complete   Lawrence    Chu         US   Lawrence    Chu         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081088   August   8/7/2014   complete   seoung      cho         US   seoung      cho         US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081088   August   8/7/2014   complete   seoung      cho         US   seoung      cho         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081089   August   8/8/2014   complete   Xin         Yao         GB   Xin         Yao         GB   paypal_standard   GBP   TVPAD-007       259      10   1     249
TVP-14081089   August   8/8/2014   complete   Xin         Yao         GB   Xin         Yao         GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14081090   August   8/7/2014   complete   Kathleen    Young       US   Kathleen    Young       US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081090   August   8/7/2014   complete   Kathleen    Young       US   Kathleen    Young       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081091   August   8/7/2014   complete   PIERRE      CHEN        US   PIERRE      CHEN        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081091   August   8/7/2014   complete   PIERRE      CHEN        US   PIERRE      CHEN        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081092   August   8/7/2014   complete   Ky          man         GB   Ky          man         GB   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081092   August   8/7/2014   complete   Ky          man         GB   Ky          man         GB   braintree         USD   HGIFT2             0      0   1        0
TVP-14081093   August   8/7/2014   complete   yijun       xu          SE   yijun       xu          SE   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081093   August   8/7/2014   complete   yijun       xu          SE   yijun       xu          SE   braintree         USD   HGIFT2             0      0   1        0
TVP-14081094   August   8/7/2014   complete   Man         Mak         US   Man         Mak         US   braintree         USD   TVPAD-007       259      20   1     239
TVP-14081094   August   8/7/2014   complete   Man         Mak         US   Man         Mak         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081095   August   8/7/2014   complete   Tzay        LIEW        MY   Tzay        LIEW        MY   paypal_standard   USD   TVPAD-004       259      20   1     239
TVP-14081095   August   8/7/2014   complete   Tzay        LIEW        MY   Tzay        LIEW        MY   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081096   August   8/7/2014   complete   loi         nguyen      US   loi         nguyen      US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081096   August   8/7/2014   complete   loi         nguyen      US   loi         nguyen      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081097   August   8/7/2014   complete   Va          Tran        US   Va          Tran        US   braintree         USD   TVPAD-007       250      20   2     480
TVP-14081097   August   8/7/2014   complete   Va          Tran        US   Va          Tran        US   braintree         USD   HGIFT2             0      0   2        0
TVP-14081098   August   8/7/2014   complete   Qun         Yang        AU   Qun         Yang        AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081098   August   8/7/2014   complete   Qun         Yang        AU   Qun         Yang        AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081099   August   8/7/2014   complete   James       Brooks      US   James       Brooks      US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14081099   August   8/7/2014   complete   James       Brooks      US   James       Brooks      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081101   August   8/7/2014   complete   Hoi         Hui         US   Hoi         Hui         US   paypal_standard   USD   TVPAD-007       259      20   1     239
TVP-14081101   August   8/7/2014   complete   Hoi         Hui         US   Hoi         Hui         US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081102   August   8/7/2014   complete   darwin      michael     PH   darwin      michael     PH   braintree         USD   TVPAD-007       250      10   2     490
TVP-14081102   August   8/7/2014   complete   darwin      michael     PH   darwin      michael     PH   braintree         USD   HGIFT2             0      0   2        0
TVP-14081103   August   8/7/2014   complete   Yuming      Mei         AU   Yuming      Mei         AU   braintree         AUD   TVPAD-004       259      20   1     239
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TVP-14081103   August    8/7/2014   complete   Yuming      Mei             AU   Yuming        Mei             AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14081104   August    8/7/2014   complete   Bo          Kim             GB   Bo            Kim             GB   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14081104   August    8/7/2014   complete   Bo          Kim             GB   Bo            Kim             GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-70011227   August    8/7/2014   complete   Tao         Lin             AU   Tao           Lin             AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-70011227   August    8/7/2014   complete   Tao         Lin             AU   Tao           Lin             AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14081105   August    8/8/2014   complete   Min         Jiang           NZ   Min           Jiang           NZ   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081106   August    8/8/2014   complete   Yuk         Chung           GB   Yuk           Chung           GB   braintree         GBP   TVPAD-007       250    20   2    480
TVP-14081106   August    8/8/2014   complete   Yuk         Chung           GB   Yuk           Chung           GB   braintree         GBP   HGIFT2             0    0   2       0
TVP-14081107   August    8/8/2014   complete   Ignatius    Chan            US   Ignatius      Chan            US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081107   August    8/8/2014   complete   Ignatius    Chan            US   Ignatius      Chan            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081108   August    8/8/2014   complete   Traci       Luu             US   Traci         Luu             US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14081108   August    8/8/2014   complete   Traci       Luu             US   Traci         Luu             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081109   August    8/8/2014   complete   Richard     Tan             US   Richard       Tan             US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081109   August    8/8/2014   complete   Richard     Tan             US   Richard       Tan             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081111   August    8/8/2014   complete   fanglan     wu              US   John          Tong            US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081111   August    8/8/2014   complete   fanglan     wu              US   John          Tong            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081112   August    8/8/2014   complete   Oliver      Mak             AU   Oliver        Mak             AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081112   August    8/8/2014   complete   Oliver      Mak             AU   Oliver        Mak             AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081113   August    8/8/2014   complete   Richard     Kung            US   Richard       Kung            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14081113   August    8/8/2014   complete   Richard     Kung            US   Richard       Kung            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081114   August    8/8/2014   complete   Chia Chin   Lin Kuo         EC   Elizabeth     Romero          EC   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14081114   August    8/8/2014   complete   Chia Chin   Lin Kuo         EC   Elizabeth     Romero          EC   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081115   August    8/8/2014   complete   Jessica     Luk             US   Jessica       Luk             US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14081115   August    8/8/2014   complete   Jessica     Luk             US   Jessica       Luk             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081116   August    8/8/2014   complete   Priscilla   Lam             AU   Priscilla     Lam             AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081116   August    8/8/2014   complete   Priscilla   Lam             AU   Priscilla     Lam             AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081117   August    8/8/2014   complete   KENJIRO     KODAMA          US   KENJIRO       KODAMA          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081117   August    8/8/2014   complete   KENJIRO     KODAMA          US   KENJIRO       KODAMA          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081118   August    8/8/2014   complete   Lina        Kim             NZ   Lina          Kim             NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081118   August    8/8/2014   complete   Lina        Kim             NZ   Lina          Kim             NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14081119   August    8/9/2014   complete   Edward      Chen            US   Grace         Chang           US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081119   August    8/9/2014   complete   Edward      Chen            US   Grace         Chang           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081120   August    8/8/2014   complete   Xiaoli      WANG            AU   Xiaoli        WANG            AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081120   August    8/8/2014   complete   Xiaoli      WANG            AU   Xiaoli        WANG            AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081121   August    8/8/2014   complete   Junsuh      LEE             AU   Junsuh        LEE             AU   paypal_standard   USD   TVPAD-007       259    20   1    239
TVP-14081121   August    8/8/2014   complete   Junsuh      LEE             AU   Junsuh        LEE             AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081123   August    8/8/2014   complete   Tsang       Tang            BE   Tsang         Tang            BE   braintree         EUR   TVPAD-004       250    10   2    490
TVP-14081123   August    8/8/2014   complete   Tsang       Tang            BE   Tsang         Tang            BE   braintree         EUR   HGIFT2             0    0   2       0
TVP-14081125   August    8/8/2014   complete   yongxin     nie             AU   yongxin       nie             AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081125   August    8/8/2014   complete   yongxin     nie             AU   yongxin       nie             AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081129   August    8/8/2014   complete   Rosa        Harris          AU   Kelby         Wong            ID   braintree         AUD   TVPAD-007       259    10   1    249
TVP-14081129   August    8/8/2014   complete   Rosa        Harris          AU   Kelby         Wong            ID   braintree         AUD   HGIFT2             0    0   1       0
TVP-14081130   August    8/8/2014   complete   Katie       Shum            GB   Katie         Shum            GB   paypal_standard   GBP   TVPAD-AC-004   29.99    0   1   29.99
TVP-14081131   August    8/8/2014   complete   Mark        Wong            AU   Mark          Wong            AU   paypal_standard   USD   TVPAD-004       250    10   2    490
TVP-14081131   August    8/8/2014   complete   Mark        Wong            AU   Mark          Wong            AU   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14081133   August    8/9/2014   complete   ZIJIE       ZHANG           AU   ZIJIE         ZHANG           AU   braintree         AUD   TVPAD-004       259    20   1    239
TVP-14081133   August    8/9/2014   complete   ZIJIE       ZHANG           AU   ZIJIE         ZHANG           AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14081134   August    8/9/2014   complete   yung        yoon            CO   yung          yoon            CO   braintree         USD   TVPAD-007       259    20   1    239
TVP-14081134   August    8/9/2014   complete   yung        yoon            CO   yung          yoon            CO   braintree         USD   HGIFT2             0    0   1       0
TVP-14081137   August    8/9/2014   complete   Eric        Chan            US   Eric          Chan            US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081137   August    8/9/2014   complete   Eric        Chan            US   Eric          Chan            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081139   August    8/9/2014   complete   Pei Fen     Lim             AT   Pei Fen       Lim             AT   braintree         USD   TVPAD-004       250    10   2    490
TVP-14081139   August    8/9/2014   complete   Pei Fen     Lim             AT   Pei Fen       Lim             AT   braintree         USD   HGIFT2             0    0   2       0
TVP-14081140   August    8/9/2014   complete   Rosita      Cheung          US   Rosita        Cheung          US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14081140   August    8/9/2014   complete   Rosita      Cheung          US   Rosita        Cheung          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081141   August    8/9/2014   complete   Denis       Yeung           AU   Denis         Yeung           AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081141   August    8/9/2014   complete   Denis       Yeung           AU   Denis         Yeung           AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081142   August    8/9/2014   closed     Mari        Amano           AU   Mari          Amano           AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14081142   August    8/9/2014   closed     Mari        Amano           AU   Mari          Amano           AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-70011228   August    8/9/2014   complete   ROGER       TRAN            FR   ROGER         TRAN            FR   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011228   August    8/9/2014   complete   ROGER       TRAN            FR   ROGER         TRAN            FR   braintree         USD   HGIFT2             0    0   1       0
TVP-14081144   August    8/9/2014   complete   Mitchell    Lim             AU   Mitchell      Lim             AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081144   August    8/9/2014   complete   Mitchell    Lim             AU   Mitchell      Lim             AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081145   August    8/9/2014   complete   Sylvia      kim             NZ   Sylvia        kim             NZ   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081145   August    8/9/2014   complete   Sylvia      kim             NZ   Sylvia        kim             NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-70011229   August    8/9/2014   complete   Powen       Chiu            US   Powen         Chiu            US   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011229   August    8/9/2014   complete   Powen       Chiu            US   Powen         Chiu            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081147   August   8/10/2014   complete   Christina   Djaja           ID   Christina     Djaja           SG   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081147   August   8/10/2014   complete   Christina   Djaja           ID   Christina     Djaja           SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14081148   August    8/9/2014   complete   Alex        O'Neil          GB   Alex          O'Neil          GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-14081148   August    8/9/2014   complete   Alex        O'Neil          GB   Alex          O'Neil          GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14081149   August   8/11/2014   complete   K           Mai             GB   Michael       Wong            GB   braintree         GBP   TVPAD-004       259    20   1    239
TVP-14081149   August   8/11/2014   complete   K           Mai             GB   Michael       Wong            GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-70011230   August   8/10/2014   complete   wei         li              NZ   wei           li              NZ   braintree         USD   TVPAD-004       250    10   2    490
TVP-70011230   August   8/10/2014   complete   wei         li              NZ   wei           li              NZ   braintree         USD   HGIFT2             0    0   2       0
TVP-14081150   August    8/9/2014   complete   Eugene      Quek            SG   Eugene        Quek            SG   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081150   August    8/9/2014   complete   Eugene      Quek            SG   Eugene        Quek            SG   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081151   August   8/10/2014   complete   Jimmy       Chan            US   Jimmy         Chan            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14081151   August   8/10/2014   complete   Jimmy       Chan            US   Jimmy         Chan            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081152   August   8/10/2014   complete   Qingfang    Yao             US   Qingfang      Yao             US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081152   August   8/10/2014   complete   Qingfang    Yao             US   Qingfang      Yao             US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081153   August   8/10/2014   complete   wei-wei     yang            BE   wei-wei       yang            BE   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081153   August   8/10/2014   complete   wei-wei     yang            BE   wei-wei       yang            BE   braintree         USD   HGIFT2             0    0   1       0
TVP-14081154   August   8/10/2014   complete   Min         Lin             US   Min           Lin             US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14081154   August   8/10/2014   complete   Min         Lin             US   Min           Lin             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081155   August   8/10/2014   complete   Bilin       Zeng            US   Bilin         Zeng            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14081155   August   8/10/2014   complete   Bilin       Zeng            US   Bilin         Zeng            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081156   August   8/10/2014   complete   Tammy       Kwok            CA   Tammy         Kwok            CA   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081156   August   8/10/2014   complete   Tammy       Kwok            CA   Tammy         Kwok            CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14081157   August   8/10/2014   complete   Flora       CAI             AU   Flora         CAI             AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14081157   August   8/10/2014   complete   Flora       CAI             AU   Flora         CAI             AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14081158   August   8/10/2014   complete   Huizhen     huang           US   Huizhen       huang           US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081158   August   8/10/2014   complete   Huizhen     huang           US   Huizhen       huang           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081159   August   8/11/2014   complete   Chong       whoonHan        US   Chong whoon   Han             US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14081159   August   8/11/2014   complete   Chong       whoonHan        US   Chong whoon   Han             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081160   August   8/11/2014   complete   hyun        kim             US   hyun          kim             US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14081160   August   8/11/2014   complete   hyun        kim             US   hyun          kim             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081161   August   8/11/2014   complete   Konrad      Klotz           AU   Konrad        Klotz           AU   paypal_standard   AUD   TVPAD-007       259    20   1    239
TVP-14081161   August   8/11/2014   complete   Konrad      Klotz           AU   Konrad        Klotz           AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-70011231   August   8/11/2014   complete   Xin         Mu              AU   Xin           Mu              AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-70011231   August   8/11/2014   complete   Xin         Mu              AU   Xin           Mu              AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14081162   August   8/11/2014   complete   Ting        Wu              NZ   Ting          Wu              NZ   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14081162   August   8/11/2014   complete   Ting        Wu              NZ   Ting          Wu              NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081163   August   8/12/2014   complete   choon       ki              US   D             Ki              US   braintree         USD   TVPAD-007       250    20   2    480
TVP-14081163   August   8/12/2014   complete   choon       ki              US   D             Ki              US   braintree         USD   HGIFT2             0    0   2       0
TVP-14081164   August   8/11/2014   complete   keke        chen            US   keke          chen            US   braintree         USD   TVPAD-007       250    20   2    480
TVP-14081164   August   8/11/2014   complete   keke        chen            US   keke          chen            US   braintree         USD   HGIFT2             0    0   2       0
TVP-14081165   August   8/11/2014   complete   Kihoon      Cho             HK   Kihoon        Cho             HK   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081165   August   8/11/2014   complete   Kihoon      Cho             HK   Kihoon        Cho             HK   braintree         USD   HGIFT2             0    0   1       0
TVP-14081166   August   8/11/2014   complete   YIM         WONG            AU   YIM           WONG            AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081166   August   8/11/2014   complete   YIM         WONG            AU   YIM           WONG            AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081167   August   8/11/2014   complete   YEE         LEE             US   YEE           LEE             US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081167   August   8/11/2014   complete   YEE         LEE             US   YEE           LEE             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081168   August   8/11/2014   complete   Li          Ou-Bloodworth   US   Li            Ou-Bloodworth   US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081168   August   8/11/2014   complete   Li          Ou-Bloodworth   US   Li            Ou-Bloodworth   US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081169   August   8/11/2014   complete   Stanley     Fong            US   Mable         Fong            US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081169   August   8/11/2014   complete   Stanley     Fong            US   Mable         Fong            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081170   August   8/12/2014   complete   Kenneth     Lee             US   Queenie       Lok             US   paypal_standard   USD   TVPAD-007       259    20   1    239
TVP-14081170   August   8/12/2014   complete   Kenneth     Lee             US   Queenie       Lok             US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-70011232   August   8/11/2014   complete   WEIWEI      ZHANG           AU   WEIWEI        ZHANG           AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-70011232   August   8/11/2014   complete   WEIWEI      ZHANG           AU   WEIWEI        ZHANG           AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14081174   August   8/12/2014   complete   Akiko       Kato            AU   Akiko         Kato            AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081174   August   8/12/2014   complete   Akiko       Kato            AU   Akiko         Kato            AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081175   August   8/12/2014   complete   Seoung      Cho             SG   Seoung        Cho             SG   paypal_standard   USD   TVPAD-007       259    20   1    239
TVP-14081175   August   8/12/2014   complete   Seoung      Cho             SG   Seoung        Cho             SG   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081176   August   8/12/2014   complete   YARONG      HONG            GB   YARONG        HONG            GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14081176   August   8/12/2014   complete   YARONG      HONG            GB   YARONG        HONG            GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14081177   August   8/12/2014   complete   Kar-Kin     Kwok            GB   Kar-Kin       Kwok            GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14081177   August   8/12/2014   complete   Kar-Kin     Kwok            GB   Kar-Kin       Kwok            GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14081178   August   8/12/2014   complete   chin        lee             US   chin          lee             US   braintree         USD   TVPAD-004        259   10   1    249
TVP-14081178   August   8/12/2014   complete   chin        lee             US   chin          lee             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081179   August   8/12/2014   complete   Yang        Ye              NL   Yang          Ye              NL   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081179   August   8/12/2014   complete   Yang        Ye              NL   Yang          Ye              NL   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081180   August   8/11/2014   complete   Alan        Jwo             US   Alan          Jwo             US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14081180   August   8/11/2014   complete   Alan        Jwo             US   Alan          Jwo             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081181   August   8/12/2014   complete   Annie       Cheung          US   Annie         Cheung          US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081181   August   8/12/2014   complete   Annie       Cheung          US   Annie         Cheung          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081182   August   8/12/2014   complete   Trevor      Tsang           GB   Trevor        Tsang           GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14081182   August   8/12/2014   complete   Trevor      Tsang           GB   Trevor        Tsang           GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14081183   August   8/12/2014   complete   Jessica     Goh             US   Jessica       Goh             US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081183   August   8/12/2014   complete   Jessica     Goh             US   Jessica       Goh             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081184   August   8/12/2014   complete   Kii         Ching           SA   Kii Yii       Ching           SA   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14081184   August   8/12/2014   complete   Kii         Ching           SA   Kii Yii       Ching           SA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081185   August   8/12/2014   complete   Michael     So              AU   Michael       So              AU   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14081185   August   8/12/2014   complete   Michael     So              AU   Michael       So              AU   paypal_standard   USD   HGIFT2             0    0   1       0
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TVP-14081186   August   8/12/2014   complete   Paul          Kim        AU   Paul          Kim        AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14081186   August   8/12/2014   complete   Paul          Kim        AU   Paul          Kim        AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14081188   August   8/12/2014   complete   Weini         Ma         AU   Weini         Ma         AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14081188   August   8/12/2014   complete   Weini         Ma         AU   Weini         Ma         AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-70011233   August   8/12/2014   complete   Ken           Tang       NZ   Ken           Tang       NZ   braintree         USD   TVPAD-004       250    10   2    490
TVP-70011233   August   8/12/2014   complete   Ken           Tang       NZ   Ken           Tang       NZ   braintree         USD   HGIFT2             0    0   2       0
TVP-14081189   August   8/13/2014   complete   Zhichao       CHENG      CH   Zhichao       CHENG      CH   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081189   August   8/13/2014   complete   Zhichao       CHENG      CH   Zhichao       CHENG      CH   braintree         USD   HGIFT2             0    0   1       0
TVP-14081190   August   8/13/2014   complete   Wei           Wong       GB   Wei           Wong       GB   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081190   August   8/13/2014   complete   Wei           Wong       GB   Wei           Wong       GB   braintree         USD   HGIFT2             0    0   1       0
TVP-14081191   August   8/13/2014   complete   Denny         Wong       GB   Denny         Wong       GB   braintree         GBP   TVPAD-004       245    10   5   1215
TVP-14081191   August   8/13/2014   complete   Denny         Wong       GB   Denny         Wong       GB   braintree         GBP   HGIFT2             0    0   5       0
TVP-14081192   August   8/13/2014   complete   Kwai          Shek       GB   Kwai          Shek       GB   braintree         USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14081193   August   8/13/2014   complete   Ellis         Lam        NZ   Ellis         Lam        NZ   braintree         USD   TVPAD-004       259    20   1    239
TVP-14081193   August   8/13/2014   complete   Ellis         Lam        NZ   Ellis         Lam        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14081194   August   8/13/2014   complete   LEE-A-SIOE    LAURENT    FR   LEE-A-SIOE    LAURENT    FR   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081194   August   8/13/2014   complete   LEE-A-SIOE    LAURENT    FR   LEE-A-SIOE    LAURENT    FR   braintree         USD   HGIFT2             0    0   1       0
TVP-70011234   August   8/13/2014   complete   Wang-hsiang   lee        US   Wang-hsiang   lee        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011234   August   8/13/2014   complete   Wang-hsiang   lee        US   Wang-hsiang   lee        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081195   August   8/13/2014   complete   DE            KIM        US   DE            KIM        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081195   August   8/13/2014   complete   DE            KIM        US   DE            KIM        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081196   August   8/13/2014   complete   lucky         hua        US   lucky         hua        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14081196   August   8/13/2014   complete   lucky         hua        US   lucky         hua        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081197   August   8/13/2014   complete   kwok          wan        US   kwok          wan        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081197   August   8/13/2014   complete   kwok          wan        US   kwok          wan        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081198   August   8/13/2014   complete   Yuk           Law        NZ   Yuk           Law        NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081198   August   8/13/2014   complete   Yuk           Law        NZ   Yuk           Law        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-70011235   August   8/13/2014   complete   Jacky         Wong       NZ   Jacky         Wong       NZ   braintree         USD   TVPAD-007       259    20   1    239
TVP-70011235   August   8/13/2014   complete   Jacky         Wong       NZ   Jacky         Wong       NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14081199   August   8/13/2014   complete   Cassandra     Lee        AE   Cassandra     Lee        AE   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081199   August   8/13/2014   complete   Cassandra     Lee        AE   Cassandra     Lee        AE   braintree         USD   HGIFT2             0    0   1       0
TVP-14081200   August   8/13/2014   complete   Johann        Kwan       US   Johann        Kwan       US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14081200   August   8/13/2014   complete   Johann        Kwan       US   Johann        Kwan       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081201   August   8/14/2014   complete   marie paule   LAW-YEN    RE   marie paule   LAW-YEN    RE   braintree         EUR   TVPAD-004       259    10   1    249
TVP-14081202   August   8/13/2014   complete   Ching         Hui        AU   Ching         Hui        AU   paypal_standard   AUD   TVPAD-007       259    20   1    239
TVP-14081202   August   8/13/2014   complete   Ching         Hui        AU   Ching         Hui        AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14081203   August   8/13/2014   complete   Byeongik      Moon       AU   Byeongik      Moon       AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081203   August   8/13/2014   complete   Byeongik      Moon       AU   Byeongik      Moon       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081204   August   8/13/2014   complete   Il            Hwang      IN   Il            Hwang      IN   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081204   August   8/13/2014   complete   Il            Hwang      IN   Il            Hwang      IN   braintree         USD   HGIFT2             0    0   1       0
TVP-14081205   August   8/13/2014   complete   Tzay          LIEW       MY   Tzay          LIEW       MY   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14081205   August   8/13/2014   complete   Tzay          LIEW       MY   Tzay          LIEW       MY   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081206   August   8/13/2014   complete   KaYick        Cheong     AU   KaYick        Cheong     AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081206   August   8/13/2014   complete   KaYick        Cheong     AU   KaYick        Cheong     AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081207   August   8/23/2014   complete   Jian          Hou        ZA   Jian          Hou        ZA   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081207   August   8/23/2014   complete   Jian          Hou        ZA   Jian          Hou        ZA   braintree         USD   HGIFT2             0    0   1       0
TVP-14081208   August   8/14/2014   complete   Ada           Lo         AU   Ada           Lo         AU   paypal_standard   AUD   TVPAD-007       259    20   1    239
TVP-14081208   August   8/14/2014   complete   Ada           Lo         AU   Ada           Lo         AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14081209   August   8/14/2014   complete   yung          yoon       CO   yung          yoon       CO   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081210   August   8/14/2014   complete   Shirley       Fong       US   Shirley       Fong       US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14081210   August   8/14/2014   complete   Shirley       Fong       US   Shirley       Fong       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081212   August   8/14/2014   complete   yt            jiang      GB   yt            jiang      GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-14081212   August   8/14/2014   complete   yt            jiang      GB   yt            jiang      GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14081213   August   8/14/2014   complete   Yung          Hsieh      US   Yung          Hsieh      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081213   August   8/14/2014   complete   Yung          Hsieh      US   Yung          Hsieh      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081214   August   8/14/2014   complete   Honshi        Ong        AU   Honshi        Ong        AU   paypal_standard   AUD   TVPAD-007       259    10   1    249
TVP-14081214   August   8/14/2014   complete   Honshi        Ong        AU   Honshi        Ong        AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14081215   August   8/14/2014   complete   feng          li         US   feng          li         US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081215   August   8/14/2014   complete   feng          li         US   feng          li         US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081216   August   8/14/2014   complete   Hong          Gon        SG   Hong          Gon        SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081216   August   8/14/2014   complete   Hong          Gon        SG   Hong          Gon        SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14081217   August   8/14/2014   complete   Sandra        Yin        AU   Sandra        Yin        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081217   August   8/14/2014   complete   Sandra        Yin        AU   Sandra        Yin        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081218   August   8/14/2014   complete   Winnie        lam        GB   Winnie        lam        GB   braintree         GBP   TVPAD-007       259    20   1    239
TVP-14081218   August   8/14/2014   complete   Winnie        lam        GB   Winnie        lam        GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14081219   August   8/15/2014   complete   Di            Zhao       AU   Di            Zhao       AU   paypal_standard   AUD   TVPAD-004       259    20   1    239
TVP-14081219   August   8/15/2014   complete   Di            Zhao       AU   Di            Zhao       AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-70011236   August   8/15/2014   complete   chieh-wen     yang       ZA   david         yang       ZA   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011236   August   8/15/2014   complete   chieh-wen     yang       ZA   david         yang       ZA   braintree         USD   HGIFT2             0    0   1       0
TVP-14081220   August   8/15/2014   complete   MARCIO        YOSHIDA    US   MARCIO        YOSHIDA    US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081220   August   8/15/2014   complete   MARCIO        YOSHIDA    US   MARCIO        YOSHIDA    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081221   August   8/18/2014   complete   Amy           Cheng      US   Amy           Cheng      US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081221   August   8/18/2014   complete   Amy           Cheng      US   Amy           Cheng      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081222   August   8/15/2014   closed     Kyong         Soe        US   Kyong         Soe        US   braintree         USD   HGIFT2         29.99    0   1   29.99
TVP-14081223   August   8/15/2014   complete   Norma         chapman    US   Norma         chapman    US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081223   August   8/15/2014   complete   Norma         chapman    US   Norma         chapman    US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081224   August   8/15/2014   complete   Chi Fai       Kong       NO   Chi           Kong       NO   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081224   August   8/15/2014   complete   Chi Fai       Kong       NO   Chi           Kong       NO   braintree         USD   HGIFT2             0    0   1       0
TVP-14081225   August   8/20/2014   complete   HONG          JEON       US   HONG          JEON       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081225   August   8/20/2014   complete   HONG          JEON       US   HONG          JEON       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081226   August   8/15/2014   complete   Thomas        Wong       US   Thomas        Wong       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081226   August   8/15/2014   complete   Thomas        Wong       US   Thomas        Wong       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081228   August   8/15/2014   complete   Ji            Lin        US   Ji            Lin        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081228   August   8/15/2014   complete   Ji            Lin        US   Ji            Lin        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081229   August   8/15/2014   complete   Keith         Ng         US   Elaine        Ni         US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081229   August   8/15/2014   complete   Keith         Ng         US   Elaine        Ni         US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081230   August   8/15/2014   complete   Anthony       Lai        NZ   Anthony       Lai        NZ   braintree         USD   TVPAD-004       259    20   1    239
TVP-14081230   August   8/15/2014   complete   Anthony       Lai        NZ   Anthony       Lai        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14081231   August   8/15/2014   complete   Jing          LIU        CA   Jing          LIU        CA   braintree         USD   TVPAD-004       259    20   1    239
TVP-14081232   August   8/15/2014   complete   Vivian        Tsang      IE   Vivian        Tsang      IE   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081232   August   8/15/2014   complete   Vivian        Tsang      IE   Vivian        Tsang      IE   braintree         USD   HGIFT2             0    0   1       0
TVP-14081233   August   8/15/2014   complete   Guo           Qian       US   Guo           Qian       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081233   August   8/15/2014   complete   Guo           Qian       US   Guo           Qian       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081234   August   8/15/2014   complete   raymond       huang      NZ   raymond       huang      NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081234   August   8/15/2014   complete   raymond       huang      NZ   raymond       huang      NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-70011237   August   8/15/2014   complete   XiuFen        Di         AU   XiuFen        Di         AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-70011237   August   8/15/2014   complete   XiuFen        Di         AU   XiuFen        Di         AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14081235   August   8/15/2014   complete   Yayi          Wu         GB   Yayi          Wu         GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14081235   August   8/15/2014   complete   Yayi          Wu         GB   Yayi          Wu         GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14081237   August   8/15/2014   complete   Wei           Jr         US   Wei           Jr         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081237   August   8/15/2014   complete   Wei           Jr         US   Wei           Jr         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081238   August   8/15/2014   complete   Abraham       Akber      AU   Abraham       Akber      AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14081238   August   8/15/2014   complete   Abraham       Akber      AU   Abraham       Akber      AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14081239   August   8/16/2014   complete   Ke            Yu         US   Ke            Yu         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081239   August   8/16/2014   complete   Ke            Yu         US   Ke            Yu         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081240   August   8/15/2014   complete   Irene         Kamm       US   Irene         Kamm       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081240   August   8/15/2014   complete   Irene         Kamm       US   Irene         Kamm       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081241   August   8/16/2014   complete   Teo           H          SG   Teo           H          SG   braintree         USD   TVPAD-004       250    10   3    740
TVP-14081241   August   8/16/2014   complete   Teo           H          SG   Teo           H          SG   braintree         USD   HGIFT2             0    0   3       0
TVP-14081242   August   8/16/2014   complete   Richard       Lin        US   Richard       Lin        US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081242   August   8/16/2014   complete   Richard       Lin        US   Richard       Lin        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081243   August   8/16/2014   complete   HyeYeon       Park       CA   HyeYeon       Park       CA   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081243   August   8/16/2014   complete   HyeYeon       Park       CA   HyeYeon       Park       CA   braintree         USD   HGIFT2             0    0   1       0
TVP-70011238   August   8/16/2014   complete   zhuorong      yuan       US   zhuorong      yuan       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-70011238   August   8/16/2014   complete   zhuorong      yuan       US   zhuorong      yuan       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081244   August   8/16/2014   complete   dan           chan       US   dan           chan       US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14081244   August   8/16/2014   complete   dan           chan       US   dan           chan       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081245   August   8/16/2014   complete   Sam           Phung      NO   Sam           Phung      NO   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081245   August   8/16/2014   complete   Sam           Phung      NO   Sam           Phung      NO   braintree         USD   HGIFT2             0    0   1       0
TVP-14081246   August   8/16/2014   complete   Herbert       Lee        US   Herbert       Lee        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081246   August   8/16/2014   complete   Herbert       Lee        US   Herbert       Lee        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081247   August   8/16/2014   complete   Maggie        Wang       US   Miyuki        Taketani   US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14081247   August   8/16/2014   complete   Maggie        Wang       US   Miyuki        Taketani   US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081248   August   8/16/2014   complete   WEI           LIU        US   WEI           LIU        US   braintree         USD   TVPAD-007        259   20   1     239
TVP-14081248   August   8/16/2014   complete   WEI           LIU        US   WEI           LIU        US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011239   August   8/16/2014   complete   Xiang         Ren        US   Xiang         Ren        US   braintree         USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14081249   August   8/16/2014   complete   Teo           H          SG   Teo           H          SG   braintree         USD   TVPAD-004        259   10   1     249
TVP-14081249   August   8/16/2014   complete   Teo           H          SG   Teo           H          SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14081250   August   8/17/2014   complete   Naoko         McColl     AU   Naoko         McColl     AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081250   August   8/17/2014   complete   Naoko         McColl     AU   Naoko         McColl     AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081251   August   8/17/2014   complete   Charles       Leung      US   Charles       Leung      US   paypal_standard   USD   TVPAD-007       259    20   1    239
TVP-14081251   August   8/17/2014   complete   Charles       Leung      US   Charles       Leung      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081252   August   8/17/2014   complete   Suzie         tabor      AU   Suzie         tabor      AU   braintree         USD   TVPAD-004        259   10   1     249
TVP-14081252   August   8/17/2014   complete   Suzie         tabor      AU   Suzie         tabor      AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081253   August   8/17/2014   complete   Eka           Sugiarto   AU   Eka           Sugiarto   AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081253   August   8/17/2014   complete   Eka           Sugiarto   AU   Eka           Sugiarto   AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081254   August   8/17/2014   complete   Yuehan        Tan        AU   Yuehan        Tan        AU   braintree         AUD   TVPAD-004       259    10   1     249
TVP-14081254   August   8/17/2014   complete   Yuehan        Tan        AU   Yuehan        Tan        AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14081255   August   8/17/2014   complete   W             TSANG      GB   W             TSANG      GB   braintree         GBP   TVPAD-004        259   20   1     239
TVP-14081255   August   8/17/2014   complete   W             TSANG      GB   W             TSANG      GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14081256   August   8/17/2014   complete   Lisheng       Chai       AU   Lisheng       Chai       AU   braintree         USD   TVPAD-004        259   10   1     249
TVP-14081256   August   8/17/2014   complete   Lisheng       Chai       AU   Lisheng       Chai       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081258   August   8/17/2014   complete   May           Koh        SG   May           Koh        SG   braintree         USD   TVPAD-004       259    10   1     249
TVP-14081258   August   8/17/2014   complete   May           Koh        SG   May           Koh        SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14081259   August   8/18/2014   complete   Alex          Tyack      GB   Alex          Tyack      GB   paypal_standard   GBP   TVPAD-004        259   20   1     239
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TVP-14081259   August   8/18/2014   complete   Alex        Tyack     GB   Alex        Tyack     GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14081260   August   8/17/2014   complete   Sun         Kim       US   Sun         Kim       US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081260   August   8/17/2014   complete   Sun         Kim       US   Sun         Kim       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081261   August   8/17/2014   complete   Meng        Tsai      US   Meng        Tsai      US   braintree         USD   TVPAD-007       259      20   1     239
TVP-14081261   August   8/17/2014   complete   Meng        Tsai      US   Meng        Tsai      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081262   August   8/17/2014   complete   David       Leiberg   DK   David       Leiberg   DK   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081262   August   8/17/2014   complete   David       Leiberg   DK   David       Leiberg   DK   braintree         USD   HGIFT2             0      0   1        0
TVP-14081263   August   8/17/2014   complete   Danny       Chao      CA   Danny       Chao      CA   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081263   August   8/17/2014   complete   Danny       Chao      CA   Danny       Chao      CA   braintree         USD   HGIFT2             0      0   1        0
TVP-14081264   August   8/17/2014   complete   Kwang       Kim       US   Kwang       Kim       US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14081264   August   8/17/2014   complete   Kwang       Kim       US   Kwang       Kim       US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081265   August   8/17/2014   complete   Luke        Parsons   AU   Luke        Parsons   AU   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14081265   August   8/17/2014   complete   Luke        Parsons   AU   Luke        Parsons   AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081266   August   8/18/2014   complete   Frank       Leung     AU   Frank       Leung     AU   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081266   August   8/18/2014   complete   Frank       Leung     AU   Frank       Leung     AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081187   August   8/18/2014   complete   NamKuan     Lum       MY   NamKuan     Lum       MY   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081187   August   8/18/2014   complete   NamKuan     Lum       MY   NamKuan     Lum       MY   braintree         USD   HGIFT2             0      0   1        0
TVP-14081267   August   8/18/2014   complete   Michael     Khoo      GB   Lillian     Khoo      GB   braintree         GBP   TVPAD-004       259      10   1     249
TVP-14081267   August   8/18/2014   complete   Michael     Khoo      GB   Lillian     Khoo      GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14081268   August   8/18/2014   complete   Pei         Kan       GB   Pei         Kan       GB   paypal_standard   GBP   TVPAD-007       259      10   1     249
TVP-14081268   August   8/18/2014   complete   Pei         Kan       GB   Pei         Kan       GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14081269   August   8/18/2014   complete   Lu          Zhang     AU   Lu          Zhang     AU   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14081269   August   8/18/2014   complete   Lu          Zhang     AU   Lu          Zhang     AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081270   August   8/18/2014   complete   Nhan        Vuong     US   Nhan        Vuong     US   braintree         USD   TVPAD-007       259      20   1     239
TVP-14081270   August   8/18/2014   complete   Nhan        Vuong     US   Nhan        Vuong     US   braintree         USD   HGIFT2             0      0   1        0
TVP-70011240   August   8/18/2014   complete   Yuan        Hu        AU   Yuan        Hu        AU   braintree         USD   TVPAD-007       259      10   1     249
TVP-70011240   August   8/18/2014   complete   Yuan        Hu        AU   Yuan        Hu        AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081271   August   8/18/2014   complete   Zhang       Zhang     AU   Zhang       Zhang     AU   paypal_standard   USD   TVPAD-004       259      20   1     239
TVP-14081271   August   8/18/2014   complete   Zhang       Zhang     AU   Zhang       Zhang     AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081272   August   8/18/2014   complete   patrick     maloney   CA   patrick     maloney   CA   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081272   August   8/18/2014   complete   patrick     maloney   CA   patrick     maloney   CA   braintree         USD   HGIFT2             0      0   1        0
TVP-14081273   August   8/17/2014   complete   Zhang       Furey     US   Zhang       Furey     US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081273   August   8/17/2014   complete   Zhang       Furey     US   Zhang       Furey     US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081274   August   8/18/2014   complete   zhibiao     guan      US   zhibiao     guan      US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081274   August   8/18/2014   complete   zhibiao     guan      US   zhibiao     guan      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081275   August   8/20/2014   complete   yi          ye        PL   yi          ye        PL   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081275   August   8/20/2014   complete   yi          ye        PL   yi          ye        PL   braintree         USD   HGIFT2             0      0   1        0
TVP-14081276   August   8/18/2014   complete   Sang        Phu       SE   Sang        Phu       SE   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081276   August   8/18/2014   complete   Sang        Phu       SE   Sang        Phu       SE   braintree         USD   HGIFT2             0      0   1        0
TVP-14081278   August   8/18/2014   complete   Jenning     Cheung    GB   Jenning     Cheung    GB   paypal_standard   GBP   TVPAD-007       259      10   1     249
TVP-14081278   August   8/18/2014   complete   Jenning     Cheung    GB   Jenning     Cheung    GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14081279   August   8/18/2014   complete   Sam         Tong      DK   Sam         Tong      DK   braintree         USD   TVPAD-004       250      10   3     740
TVP-14081279   August   8/18/2014   complete   Sam         Tong      DK   Sam         Tong      DK   braintree         USD   HGIFT2             0      0   3        0
TVP-14081280   August   8/18/2014   complete   Wooi Chin   Tiew      CA   Wooi Chin   Tiew      CA   paypal_standard   CAD   TVPAD-004       259      20   1     239
TVP-14081280   August   8/18/2014   complete   Wooi Chin   Tiew      CA   Wooi Chin   Tiew      CA   paypal_standard   CAD   HGIFT2             0      0   1        0
TVP-14081281   August   8/18/2014   complete   Tracy       kwok      US   Tracy       kwok      US   paypal_standard   USD   TVPAD-004       259      20   1     239
TVP-14081281   August   8/18/2014   complete   Tracy       kwok      US   Tracy       kwok      US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081282   August   8/18/2014   complete   xiaochuan   zhang     GB   xiaochuan   zhang     GB   paypal_standard   USD   TVPAD-AC-004   29.99      0   1    29.99
TVP-14081283   August   8/18/2014   complete   Richard     Yee       CA   Richard     Yee       CA   paypal_standard   USD   TVPAD-004       250      20   2     480
TVP-14081283   August   8/18/2014   complete   Richard     Yee       CA   Richard     Yee       CA   paypal_standard   USD   HGIFT2             0      0   2        0
TVP-14081284   August   8/18/2014   complete   Simon       Lee       GB   Simon       Lee       GB   paypal_standard   GBP   TVPAD-AC-004   29.99      0   1    29.99
TVP-14081285   August   8/18/2014   complete   Kotsai      Wang      US   Kotsai      Wang      US   braintree         USD   TVPAD-007       259      20   1     239
TVP-14081285   August   8/18/2014   complete   Kotsai      Wang      US   Kotsai      Wang      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081286   August   8/18/2014   complete   Na          Lin       US   Na          Lin       US   braintree         USD   TVPAD-007       259    8.96   1   250.04
TVP-14081286   August   8/18/2014   complete   Na          Lin       US   Na          Lin       US   braintree         USD   TVPAD-AC-004   29.99   1.04   1    28.95
TVP-14081286   August   8/18/2014   complete   Na          Lin       US   Na          Lin       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081287   August   8/18/2014   complete   Robert      Young     US   Robert      Young     US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14081287   August   8/18/2014   complete   Robert      Young     US   Robert      Young     US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081288   August   8/18/2014   complete   Christina   Lee       CA   Christina   Lee       CA   braintree         USD   TVPAD-007       259      20   1     239
TVP-14081288   August   8/18/2014   complete   Christina   Lee       CA   Christina   Lee       CA   braintree         USD   HGIFT2             0      0   1        0
TVP-14081289   August   8/18/2014   complete   Karen       Lai       AU   Karen       Lai       AU   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081289   August   8/18/2014   complete   Karen       Lai       AU   Karen       Lai       AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081291   August   8/19/2014   complete   Winson      Chu       US   Winson      Chu       US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081291   August   8/19/2014   complete   Winson      Chu       US   Winson      Chu       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081292   August   8/18/2014   complete   wenny       wang      AU   wenny       wang      AU   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14081292   August   8/18/2014   complete   wenny       wang      AU   wenny       wang      AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081293   August   8/18/2014   complete   Jongbin     Choi      DE   Jongbin     Choi      DE   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081293   August   8/18/2014   complete   Jongbin     Choi      DE   Jongbin     Choi      DE   braintree         USD   HGIFT2             0      0   1        0
TVP-14081294   August   8/18/2014   complete   Susan       Yuen      NZ   Susan       Yuen      NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081294   August   8/18/2014   complete   Susan       Yuen      NZ   Susan       Yuen      NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-70011241   August   8/18/2014   complete   Corina      Chou      US   Thomas      Fung      US   braintree         USD   TVPAD-004       250      10   2     490
TVP-70011241   August   8/18/2014   complete   Corina      Chou      US   Thomas      Fung      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081295   August   8/19/2014   complete   Sarah       Mak       AU   Sarah       Mak       AU   paypal_standard   USD   TVPAD-AC-004   29.99      0   1    29.99
TVP-14081296   August   8/19/2014   complete   Bee         Yeong     SG   Bee         Yeong     SG   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081296   August   8/19/2014   complete   Bee         Yeong     SG   Bee         Yeong     SG   braintree         USD   HGIFT2             0      0   1        0
TVP-14081297   August   8/19/2014   complete   Sun         Wan       GB   Sun         Wan       GB   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081297   August   8/19/2014   complete   Sun         Wan       GB   Sun         Wan       GB   braintree         USD   HGIFT2             0      0   1        0
TVP-14081298   August   8/19/2014   complete   Jim         Luyau     US   Jim         Luyau     US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081298   August   8/19/2014   complete   Jim         Luyau     US   Jim         Luyau     US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081299   August   8/19/2014   complete   Paul        Wong      AU   Paul        Wong      AU   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081299   August   8/19/2014   complete   Paul        Wong      AU   Paul        Wong      AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081300   August   8/19/2014   complete   Wai         Kong      BE   Wai         Kong      BE   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14081300   August   8/19/2014   complete   Wai         Kong      BE   Wai         Kong      BE   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081303   August   8/19/2014   complete   Yeongun     Jung      KR   Byung       Ryu       US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081303   August   8/19/2014   complete   Yeongun     Jung      KR   Byung       Ryu       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081304   August   8/19/2014   complete   S           LI-SUEN   GB   S           LI-SUEN   GB   braintree         GBP   TVPAD-007       250      20   2     480
TVP-14081304   August   8/19/2014   complete   S           LI-SUEN   GB   S           LI-SUEN   GB   braintree         GBP   HGIFT2             0      0   2        0
TVP-14081305   August   8/19/2014   complete   Yingfeng    Ni        IE   Yingfeng    Ni        IE   braintree         EUR   TVPAD-004       259      10   1     249
TVP-14081305   August   8/19/2014   complete   Yingfeng    Ni        IE   Yingfeng    Ni        IE   braintree         EUR   HGIFT2             0      0   1        0
TVP-14081306   August   8/19/2014   complete   Mike        Truong    NZ   Mike        Truong    NZ   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14081306   August   8/19/2014   complete   Mike        Truong    NZ   Mike        Truong    NZ   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-70011242   August   8/19/2014   complete   LINGLING    GAO       US   LINGLING    GAO       US   braintree         USD   TVPAD-004       259      10   1     249
TVP-70011242   August   8/19/2014   complete   LINGLING    GAO       US   LINGLING    GAO       US   braintree         USD   HGIFT2             0      0   1        0
TVP-70011243   August   8/19/2014   complete   baixiang    yang      GB   baixiang    yang      GB   paypal_standard   GBP   TVPAD-004       259      10   1     249
TVP-70011243   August   8/19/2014   complete   baixiang    yang      GB   baixiang    yang      GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14081307   August   8/19/2014   complete   Chong       Heon      US   Chong       Heon      US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081307   August   8/19/2014   complete   Chong       Heon      US   Chong       Heon      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081308   August   8/19/2014   complete   Kevin       Leung     US   Kevin       Leung     US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081308   August   8/19/2014   complete   Kevin       Leung     US   Kevin       Leung     US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081310   August   8/19/2014   complete   Steve       Lam       GU   Steve       Lam       GU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081310   August   8/19/2014   complete   Steve       Lam       GU   Steve       Lam       GU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081311   August   8/19/2014   complete   Zheng       Wang      US   Zheng       Wang      US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081311   August   8/19/2014   complete   Zheng       Wang      US   Zheng       Wang      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081312   August   8/19/2014   complete   Ming-Fang   Tai       US   Ming-Fang   Tai       US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081312   August   8/19/2014   complete   Ming-Fang   Tai       US   Ming-Fang   Tai       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081313   August   8/20/2014   complete   Seung       kim       US   Seung       kim       US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081313   August   8/20/2014   complete   Seung       kim       US   Seung       kim       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081314   August   8/19/2014   complete   John        Sun       US   John        Sun       US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081314   August   8/19/2014   complete   John        Sun       US   John        Sun       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081315   August   8/19/2014   complete   kent        huang     NZ   kent        huang     NZ   paypal_standard   USD   TVPAD-004       259      20   1     239
TVP-14081315   August   8/19/2014   complete   kent        huang     NZ   kent        huang     NZ   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081316   August   8/19/2014   complete   SAM         LEE       GB   SAM         LEE       GB   braintree         GBP   TVPAD-004       259      10   1     249
TVP-14081316   August   8/19/2014   complete   SAM         LEE       GB   SAM         LEE       GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14081317   August   8/19/2014   complete   Jeong       bin       LA   Jeong       bin       LA   braintree         USD   TVPAD-007       245      20   5    1205
TVP-14081317   August   8/19/2014   complete   Jeong       bin       LA   Jeong       bin       LA   braintree         USD   HGIFT2             0      0   5        0
TVP-14081318   August   8/20/2014   complete   Raymond     Ho        US   Raymond     Ho        US   braintree         USD   TVPAD-007       259      20   1     239
TVP-14081318   August   8/20/2014   complete   Raymond     Ho        US   Raymond     Ho        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081319   August   8/20/2014   complete   sujun       huang     AU   sujun       huang     AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081319   August   8/20/2014   complete   sujun       huang     AU   sujun       huang     AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081320   August   8/20/2014   complete   Kenji       Fujita    US   Kenji       Fujita    US   braintree         USD   TVPAD-004       250      10   2     490
TVP-14081320   August   8/20/2014   complete   Kenji       Fujita    US   Kenji       Fujita    US   braintree         USD   HGIFT2             0      0   2        0
TVP-14081321   August   8/20/2014   complete   long        nguyen    US   long        nguyen    US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081321   August   8/20/2014   complete   long        nguyen    US   long        nguyen    US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081322   August   8/20/2014   complete   XueLi       Ma        GB   XueLi       Ma        GB   paypal_standard   GBP   TVPAD-004       259      10   1     249
TVP-14081322   August   8/20/2014   complete   XueLi       Ma        GB   XueLi       Ma        GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14081324   August   8/20/2014   complete   For-Kuen    Lee       US   Franky      Lee       US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081324   August   8/20/2014   complete   For-Kuen    Lee       US   Franky      Lee       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081325   August   8/20/2014   complete   GWODUNG     WU        US   GWODUNG     WU        US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14081325   August   8/20/2014   complete   GWODUNG     WU        US   GWODUNG     WU        US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081326   August   8/20/2014   complete   K           Wang      AU   K           Wang      AU   braintree         USD   TVPAD-007       250      10   2     490
TVP-14081326   August   8/20/2014   complete   K           Wang      AU   K           Wang      AU   braintree         USD   HGIFT2             0      0   2        0
TVP-14081327   August   8/20/2014   complete   Peng        li        US   Peng        li        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081327   August   8/20/2014   complete   Peng        li        US   Peng        li        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081328   August   8/20/2014   complete   HANA        BANK      SG   HANA        BANK      SG   braintree         USD   TVPAD-004       259      10   1     249
TVP-70011244   August   8/20/2014   complete   Angela      wong      US   Angela      wong      US   braintree         USD   TVPAD-004       259      10   1     249
TVP-70011244   August   8/20/2014   complete   Angela      wong      US   Angela      wong      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081329   August   8/20/2014   complete   Chin        Ong       AU   Chin        Ong       AU   braintree         USD   TVPAD-007       250      10   2     490
TVP-14081329   August   8/20/2014   complete   Chin        Ong       AU   Chin        Ong       AU   braintree         USD   HGIFT2             0      0   2        0
TVP-14081330   August   8/20/2014   complete   Konrad      Klotz     AU   Konrad      Klotz     AU   paypal_standard   AUD   TVPAD-007       259      20   1     239
TVP-14081330   August   8/20/2014   complete   Konrad      Klotz     AU   Konrad      Klotz     AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-70011245   August   8/20/2014   complete   Bin         Zheng     US   Bin         Zheng     US   braintree         USD   TVPAD-004       259      10   1     249
TVP-70011245   August   8/20/2014   complete   Bin         Zheng     US   Bin         Zheng     US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081331   August   8/21/2014   complete   Hon         Leong     AU   Aiysir      Tang      AU   braintree         AUD   TVPAD-004       259      10   1     249
TVP-14081331   August   8/21/2014   complete   Hon         Leong     AU   Aiysir      Tang      AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14081332   August   8/21/2014   complete   cynthia     Lennon    US   Kristy      Ngo       US   braintree         USD   TVPAD-004       259      10   1     249
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TVP-14081332   August   8/21/2014   complete   cynthia    Lennon    US   Kristy     Ngo       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081333   August   8/21/2014   complete   David      Chung     PY   David      Chung     PY   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081333   August   8/21/2014   complete   David      Chung     PY   David      Chung     PY   braintree         USD   HGIFT2             0      0   1        0
TVP-14081334   August   8/21/2014   complete   Vincent    Choi      US   Vincent    Choi      US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081334   August   8/21/2014   complete   Vincent    Choi      US   Vincent    Choi      US   braintree         USD   HGIFT2             0      0   1        0
TVP-70011246   August   8/21/2014   complete   nelson     iu        GB   nelson     iu        GB   braintree         USD   TVPAD-007       259      10   1     249
TVP-70011246   August   8/21/2014   complete   nelson     iu        GB   nelson     iu        GB   braintree         USD   HGIFT2             0      0   1        0
TVP-14081335   August   8/21/2014   complete   Alberto    Vangi     AU   Alberto    Vangi     AU   braintree         AUD   TVPAD-004       250      10   2     490
TVP-14081335   August   8/21/2014   complete   Alberto    Vangi     AU   Alberto    Vangi     AU   braintree         AUD   HGIFT2             0      0   2        0
TVP-14081336   August   8/21/2014   complete   Charles    Chang     US   Charles    Chang     US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081336   August   8/21/2014   complete   Charles    Chang     US   Charles    Chang     US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081337   August   8/21/2014   complete   ching      yang      ZA   ching      yang      ZA   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081337   August   8/21/2014   complete   ching      yang      ZA   ching      yang      ZA   braintree         USD   HGIFT2             0      0   1        0
TVP-14081338   August   8/21/2014   complete   Tian       Zhang     AU   Tian       Zhang     AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081338   August   8/21/2014   complete   Tian       Zhang     AU   Tian       Zhang     AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081339   August   8/21/2014   complete   Alvin      Moy       US   Alvin      Moy       US   braintree         USD   TVPAD-007       259      20   1     239
TVP-14081339   August   8/21/2014   complete   Alvin      Moy       US   Alvin      Moy       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081340   August   8/22/2014   complete   wain       Lim       GB   wain       Lim       GB   paypal_standard   GBP   TVPAD-007       259      10   1     249
TVP-14081340   August   8/22/2014   complete   wain       Lim       GB   wain       Lim       GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14081341   August   8/21/2014   complete   Teo        H         SG   Jonathan   Phang     SG   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081341   August   8/21/2014   complete   Teo        H         SG   Jonathan   Phang     SG   braintree         USD   HGIFT2             0      0   1        0
TVP-14081342   August   8/22/2014   complete   Henry      Xu        AU   Henry      Xu        AU   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081342   August   8/22/2014   complete   Henry      Xu        AU   Henry      Xu        AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081343   August   8/22/2014   complete   Eva        Tay       SG   Eva        Tay       SG   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081343   August   8/22/2014   complete   Eva        Tay       SG   Eva        Tay       SG   braintree         USD   HGIFT2             0      0   1        0
TVP-14081344   August   8/22/2014   complete   leung      kei       AU   leung      kei       AU   braintree         AUD   TVPAD-004       250      10   2     490
TVP-14081344   August   8/22/2014   complete   leung      kei       AU   leung      kei       AU   braintree         AUD   HGIFT2             0      0   2        0
TVP-14081345   August   8/22/2014   complete   Alex       Kim       US   Alex       Kim       US   paypal_standard   USD   TVPAD-004       259      20   1     239
TVP-14081345   August   8/22/2014   complete   Alex       Kim       US   Alex       Kim       US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081346   August   8/22/2014   complete   Hui-Juan   Huang     US   Hui-Juan   Huang     US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081346   August   8/22/2014   complete   Hui-Juan   Huang     US   Hui-Juan   Huang     US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081347   August   8/22/2014   complete   MYUNGJIN   KIM       US   MYUNGJIN   KIM       US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081347   August   8/22/2014   complete   MYUNGJIN   KIM       US   MYUNGJIN   KIM       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081348   August   8/22/2014   complete   Kim        Liu       DK   Kim        Liu       DK   braintree         USD   TVPAD-007       250      10   2     490
TVP-14081348   August   8/22/2014   complete   Kim        Liu       DK   Kim        Liu       DK   braintree         USD   HGIFT2             0      0   2        0
TVP-14081350   August   8/22/2014   complete   Liefung    Cheung    NL   Liefung    Cheung    NL   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081350   August   8/22/2014   complete   Liefung    Cheung    NL   Liefung    Cheung    NL   braintree         USD   HGIFT2             0      0   1        0
TVP-14081351   August   8/22/2014   complete   Tony       Kwan      NL   Tony       Kwan      NL   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14081351   August   8/22/2014   complete   Tony       Kwan      NL   Tony       Kwan      NL   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081352   August   8/22/2014   complete   Tiffany    Chan      GB   Tiffany    Chan      GB   braintree         GBP   TVPAD-004       259      10   1     249
TVP-14081352   August   8/22/2014   complete   Tiffany    Chan      GB   Tiffany    Chan      GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14081353   August   8/22/2014   complete   David      Ng        US   David      Ng        US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081353   August   8/22/2014   complete   David      Ng        US   David      Ng        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081354   August   8/22/2014   complete   Wan        Yuen      US   Wan        Yuen      US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081354   August   8/22/2014   complete   Wan        Yuen      US   Wan        Yuen      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081355   August   8/22/2014   complete   Scott      Luther    US   Scott      Luther    US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081355   August   8/22/2014   complete   Scott      Luther    US   Scott      Luther    US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081356   August   8/22/2014   complete   LEONELA    NG        VE   LEONELA    FENG      US   braintree         USD   TVPAD-007       250      15   2     485
TVP-14081356   August   8/22/2014   complete   LEONELA    NG        VE   LEONELA    FENG      US   braintree         USD   HGIFT2             0      0   2        0
TVP-14081357   August   8/22/2014   complete   san        fu        GB   san        fu        GB   paypal_standard   GBP   TVPAD-007       250      20   2     480
TVP-14081357   August   8/22/2014   complete   san        fu        GB   san        fu        GB   paypal_standard   GBP   HGIFT2             0      0   2        0
TVP-14081358   August   8/28/2014   complete   Ryan       Wong      US   Lici       Huang     US   braintree         USD   TVPAD-007       250      15   2     485
TVP-14081359   August   8/22/2014   complete   Raymond    Pang      AU   Raymond    Pang      AU   paypal_standard   USD   TVPAD-004       259      20   1     239
TVP-14081359   August   8/22/2014   complete   Raymond    Pang      AU   Raymond    Pang      AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081360   August   8/22/2014   complete   LAN        TO        CA   LAN        TO        CA   paypal_standard   USD   TVPAD-007       259      20   1     239
TVP-14081360   August   8/22/2014   complete   LAN        TO        CA   LAN        TO        CA   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081361   August   8/22/2014   complete   JING       SU        GB   JING       SU        GB   braintree         GBP   TVPAD-007       259      10   1     249
TVP-14081361   August   8/22/2014   complete   JING       SU        GB   JING       SU        GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14081362   August   8/22/2014   complete   tao        xie       US   tao        xie       US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081362   August   8/22/2014   complete   tao        xie       US   tao        xie       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081363   August   8/23/2014   complete   Ryan       Moc       NO   Ryan       Moc       NO   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14081363   August   8/23/2014   complete   Ryan       Moc       NO   Ryan       Moc       NO   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14081364   August   8/23/2014   complete   Li         Qi        LU   Li         Qi        LU   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081364   August   8/23/2014   complete   Li         Qi        LU   Li         Qi        LU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081365   August   8/23/2014   complete   XIN        ZHONG     US   XIN        ZHONG     US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081365   August   8/23/2014   complete   XIN        ZHONG     US   XIN        ZHONG     US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081366   August   8/23/2014   complete   James      Eng       US   James      Eng       US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081366   August   8/23/2014   complete   James      Eng       US   James      Eng       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081369   August   8/24/2014   complete   Park       Soon      SG   Park       Soon      SG   paypal_standard   USD   TVPAD-004       259      20   1     239
TVP-14081369   August   8/24/2014   complete   Park       Soon      SG   Park       Soon      SG   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-70011247   August   8/24/2014   complete   Yi         xia       US   Yi         xia       US   braintree         USD   TVPAD-007       259      10   1     249
TVP-70011247   August   8/24/2014   complete   Yi         xia       US   Yi         xia       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081370   August   8/25/2014   complete   J          Tan       GB   J          Tan       GB   paypal_standard   GBP   TVPAD-004       259      10   1     249
TVP-14081370   August   8/25/2014   complete   J          Tan       GB   J          Tan       GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14081371   August   8/24/2014   complete   Tran       Hoa       CH   Tran       Hoa       CH   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081371   August   8/24/2014   complete   Tran       Hoa       CH   Tran       Hoa       CH   braintree         USD   HGIFT2             0      0   1        0
TVP-14081372   August   8/24/2014   complete   Chun Man   Ng        NL   Chun       Ng        NL   braintree         EUR   TVPAD-007       259      10   1     249
TVP-14081372   August   8/24/2014   complete   Chun Man   Ng        NL   Chun       Ng        NL   braintree         EUR   HGIFT2             0      0   1        0
TVP-14081373   August   8/24/2014   complete   NZ         Ltd.      NZ   NZ         Ltd.      NZ   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081373   August   8/24/2014   complete   NZ         Ltd.      NZ   NZ         Ltd.      NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14081374   August   8/24/2014   complete   Kok        Wong      NZ   Kok        Wong      NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081374   August   8/24/2014   complete   Kok        Wong      NZ   Kok        Wong      NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-70011248   August   8/24/2014   complete   JONATHAN   CAO       US   JONATHAN   CAO       US   braintree         USD   TVPAD-004       259      10   1     249
TVP-70011248   August   8/24/2014   complete   JONATHAN   CAO       US   JONATHAN   CAO       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081375   August   8/24/2014   complete   Daniel     Hyun      US   Daniel     Hyun      US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081375   August   8/24/2014   complete   Daniel     Hyun      US   Daniel     Hyun      US   braintree         USD   HGIFT2             0      0   1        0
TVP-70011249   August   8/24/2014   complete   Han        Zhang     AU   Han        Zhang     AU   braintree         AUD   TVPAD-007       259      10   1     249
TVP-70011249   August   8/24/2014   complete   Han        Zhang     AU   Han        Zhang     AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14081376   August   8/25/2014   complete   Linda      TANG      FR   Linda      TANG      FR   paypal_standard   EUR   TVPAD-004       259      10   1     249
TVP-14081376   August   8/25/2014   complete   Linda      TANG      FR   Linda      TANG      FR   paypal_standard   EUR   HGIFT2             0      0   1        0
TVP-14081377   August   8/25/2014   complete   Kien       thcih     GB   Kien       thcih     GB   paypal_standard   GBP   TVPAD-004       259      15   1     244
TVP-14081377   August   8/25/2014   complete   Kien       thcih     GB   Kien       thcih     GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14081378   August   8/25/2014   complete   Wai        Chan      DE   Wai        Chan      DE   braintree         EUR   TVPAD-007       259      10   1     249
TVP-14081378   August   8/25/2014   complete   Wai        Chan      DE   Wai        Chan      DE   braintree         EUR   HGIFT2             0      0   1        0
TVP-14081379   August   8/25/2014   complete   Sam        Phung     NO   Thao       le        NO   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081379   August   8/25/2014   complete   Sam        Phung     NO   Thao       le        NO   braintree         USD   HGIFT2             0      0   1        0
TVP-14081380   August   8/25/2014   complete   Sam        Phung     NO   Le         hoa       NO   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081380   August   8/25/2014   complete   Sam        Phung     NO   Le         hoa       NO   braintree         USD   HGIFT2             0      0   1        0
TVP-14081381   August   8/25/2014   complete   san        fu        GB   Ping       Cheung    DE   paypal_standard   GBP   TVPAD-007       250      10   2     490
TVP-14081381   August   8/25/2014   complete   san        fu        GB   Ping       Cheung    DE   paypal_standard   GBP   HGIFT2             0      0   2        0
TVP-14081382   August   8/25/2014   complete   ha         jung      US   ha         jung      US   braintree         USD   TVPAD-004       250      10   2     490
TVP-14081382   August   8/25/2014   complete   ha         jung      US   ha         jung      US   braintree         USD   HGIFT2             0      0   2        0
TVP-14081383   August   8/25/2014   complete   ha         jung      US   ha         jung      US   braintree         USD   TVPAD-004       250      10   2     490
TVP-14081383   August   8/25/2014   complete   ha         jung      US   ha         jung      US   braintree         USD   HGIFT2             0      0   2        0
TVP-14081384   August   8/25/2014   complete   Annie      L         AU   Annie      L         AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081384   August   8/25/2014   complete   Annie      L         AU   Annie      L         AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081385   August   8/25/2014   complete   Marc       TE        CA   Marc       TE        CA   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081385   August   8/25/2014   complete   Marc       TE        CA   Marc       TE        CA   braintree         USD   HGIFT2             0      0   1        0
TVP-14081386   August   8/25/2014   complete   vincent    auyeung   US   vincent    auyeung   US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081386   August   8/25/2014   complete   vincent    auyeung   US   vincent    auyeung   US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081387   August   8/25/2014   complete   Kenny      wu        US   Kenny      wu        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081387   August   8/25/2014   complete   Kenny      wu        US   Kenny      wu        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081388   August   8/25/2014   complete   Jason      Chen      AU   Jason      Chen      AU   paypal_standard   AUD   TVPAD-007       259      20   1     239
TVP-14081388   August   8/25/2014   complete   Jason      Chen      AU   Jason      Chen      AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14081389   August   8/25/2014   complete   George     Feng      US   George     Feng      US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081390   August   8/25/2014   complete   Meili      Tang      GB   Meili      Tang      GB   paypal_standard   GBP   TVPAD-004       250      20   2     480
TVP-14081390   August   8/25/2014   complete   Meili      Tang      GB   Meili      Tang      GB   paypal_standard   GBP   HGIFT2             0      0   2        0
TVP-14081391   August   8/25/2014   complete   Lai        FONG      AU   Lai        FONG      AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081391   August   8/25/2014   complete   Lai        FONG      AU   Lai        FONG      AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081392   August   8/27/2014   complete   Embassy    Korea     RS   Embassy    Korea     RS   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081392   August   8/27/2014   complete   Embassy    Korea     RS   Embassy    Korea     RS   braintree         USD   HGIFT2             0      0   1        0
TVP-14081393   August   8/26/2014   complete   thai       loi       CH   thai       loi       CH   braintree         USD   TVPAD-004       250      10   3     740
TVP-14081393   August   8/26/2014   complete   thai       loi       CH   thai       loi       CH   braintree         USD   HGIFT2             0      0   3        0
TVP-14081394   August   8/27/2014   complete   fiona      cheng     CA   fiona      cheng     CA   braintree         CAD   TVPAD-007       259      10   1     249
TVP-14081394   August   8/27/2014   complete   fiona      cheng     CA   fiona      cheng     CA   braintree         CAD   HGIFT2             0      0   1        0
TVP-14081395   August   8/26/2014   complete   weiz       jiang     US   weiz       jiang     US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14081395   August   8/26/2014   complete   weiz       jiang     US   weiz       jiang     US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081396   August   8/26/2014   complete   Wai        Lai       GB   Wai        Lai       GB   paypal_standard   GBP   TVPAD-004       259      20   1     239
TVP-14081396   August   8/26/2014   complete   Wai        Lai       GB   Wai        Lai       GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14081397   August   8/26/2014   complete   wallace    lock      US   wallace    lock      US   braintree         USD   TVPAD-004       259    8.96   1   250.04
TVP-14081397   August   8/26/2014   complete   wallace    lock      US   wallace    lock      US   braintree         USD   TVPAD-AC-004   29.99   1.04   1    28.95
TVP-14081397   August   8/26/2014   complete   wallace    lock      US   wallace    lock      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081398   August   8/26/2014   complete   Yuk-Pui    Cheung    NL   Yuk-Pui    Cheung    NL   paypal_standard   EUR   TVPAD-004       259      10   1     249
TVP-70011250   August   8/26/2014   complete   Haiqing    Pan       US   Haiqing    Pan       US   braintree         USD   TVPAD-004       259      20   1     239
TVP-70011250   August   8/26/2014   complete   Haiqing    Pan       US   Haiqing    Pan       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14081399   August   8/27/2014   complete   Daniel     Ching     CA   Daniel     Ching     CA   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081399   August   8/27/2014   complete   Daniel     Ching     CA   Daniel     Ching     CA   braintree         USD   HGIFT2             0      0   1        0
TVP-14081400   August   8/26/2014   complete   Yin        Lee       CA   Lai        Chik      CA   braintree         CAD   TVPAD-004       259      20   1     239
TVP-14081400   August   8/26/2014   complete   Yin        Lee       CA   Lai        Chik      CA   braintree         CAD   HGIFT2             0      0   1        0
TVP-14081401   August   8/26/2014   complete   PEIQIONG   HE        NZ   PEIQIONG   HE        NZ   braintree         USD   TVPAD-004       250      10   2     490
TVP-14081402   August   8/26/2014   complete   Ping       Lu        AU   Ping       Lu        AU   braintree         USD   TVPAD-007       259      10   1     249
TVP-14081402   August   8/26/2014   complete   Ping       Lu        AU   Ping       Lu        AU   braintree         USD   HGIFT1             0      0   2        0
TVP-14081402   August   8/26/2014   complete   Ping       Lu        AU   Ping       Lu        AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14081403   August   8/26/2014   complete   Boting     Liu       US   Boting     Liu       US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14081403   August   8/26/2014   complete   Boting     Liu       US   Boting     Liu       US   braintree         USD   HGIFT2             0      0   1        0
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TVP-14081404   August      8/26/2014   complete   Johnson          Yee         AU   Johnson      Yee        AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081404   August      8/26/2014   complete   Johnson          Yee         AU   Johnson      Yee        AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-70011251   August      8/26/2014   complete   HUNG             CHOEUR      FR   HUNG         CHOEUR     FR   braintree         EUR   TVPAD-004       250    10   2    490
TVP-70011251   August      8/26/2014   complete   HUNG             CHOEUR      FR   HUNG         CHOEUR     FR   braintree         EUR   HGIFT2             0    0   2       0
TVP-14081405   August      8/26/2014   complete   Soo              Kim         AU   Soo          Kim        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081405   August      8/26/2014   complete   Soo              Kim         AU   Soo          Kim        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-70011252   August      8/27/2014   complete   Xiang            Li          AU   Xiang        Li         AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-70011252   August      8/27/2014   complete   Xiang            Li          AU   Xiang        Li         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-70011253   August      8/27/2014   complete   David            Liu         US   David        Liu        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-70011253   August      8/27/2014   complete   David            Liu         US   David        Liu        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081406   August      8/27/2014   complete   steven           yang        NZ   steven       yang       NZ   braintree         USD   TVPAD-004       259    20   1    239
TVP-14081406   August      8/27/2014   complete   steven           yang        NZ   steven       yang       NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14051098   August      8/27/2014   complete   CECILIA          FONG        VE   CECILIA      FONG       VE   braintree         USD   TVPAD-004       259    20   1    239
TVP-14051098   August      8/27/2014   complete   CECILIA          FONG        VE   CECILIA      FONG       VE   braintree         USD   HGIFT2             0    0   1       0
TVP-14081407   August      8/27/2014   complete   Khoon            TAN         AU   Khoon        TAN        AU   paypal_standard   AUD   TVPAD-004       259    20   1    239
TVP-14081407   August      8/27/2014   complete   Khoon            TAN         AU   Khoon        TAN        AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14081408   August      8/27/2014   complete   Keny             Huynh       AU   Keny         Huynh      AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081408   August      8/27/2014   complete   Keny             Huynh       AU   Keny         Huynh      AU   braintree         USD   HGIFT2             0    0   1       0
TVP-70011254   August      8/27/2014   complete   Kathy            Li          GB   Kathy        Li         GB   braintree         USD   TVPAD-004       250    20   2    480
TVP-70011254   August      8/27/2014   complete   Kathy            Li          GB   Kathy        Li         GB   braintree         USD   HGIFT2             0    0   2       0
TVP-14081409   August      8/27/2014   complete   woo              hwang       AU   woo          hwang      AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14081409   August      8/27/2014   complete   woo              hwang       AU   woo          hwang      AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14081410   August      8/27/2014   complete   Jiing            Yeow        AU   Jiing        Yeow       AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081410   August      8/27/2014   complete   Jiing            Yeow        AU   Jiing        Yeow       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081411   August      8/28/2014   complete   CONNIE           WU          AU   CONNIE       WU         AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081411   August      8/28/2014   complete   CONNIE           WU          AU   CONNIE       WU         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081413   August      8/28/2014   complete   GUO              XUE         BE   GUO          XUE        BE   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081413   August      8/28/2014   complete   GUO              XUE         BE   GUO          XUE        BE   braintree         USD   HGIFT2             0    0   1       0
TVP-14081414   August      8/28/2014   complete   Chick            Yeung       US   Chick        Yeung      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081414   August      8/28/2014   complete   Chick            Yeung       US   Chick        Yeung      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081415   August      8/28/2014   complete   jian             sun         NZ   jian         sun        NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081415   August      8/28/2014   complete   jian             sun         NZ   jian         sun        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14081416   August      8/28/2014   complete   Jae              Jeong       US   Jae          Jeong      US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081416   August      8/28/2014   complete   Jae              Jeong       US   Jae          Jeong      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081417   August      8/28/2014   complete   Wilson           Sun         US   Wilson       Sun        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081417   August      8/28/2014   complete   Wilson           Sun         US   Wilson       Sun        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081418   August      8/28/2014   complete   Tu               luong       US   Tu           luong      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081420   August      8/28/2014   complete   Steven           Yao         CA   Steven       Yao        CA   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081420   August      8/28/2014   complete   Steven           Yao         CA   Steven       Yao        CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14081421   August      8/28/2014   complete   JUNWEI           WU          AU   JUNWEI       WU         AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081421   August      8/28/2014   complete   JUNWEI           WU          AU   JUNWEI       WU         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081423   August      8/28/2014   complete   olivia           ng          AU   olivia       ng         AU   paypal_standard   USD   TVPAD-007       259    20   1    239
TVP-14081423   August      8/28/2014   complete   olivia           ng          AU   olivia       ng         AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081424   August      8/29/2014   complete   Wei              Xiang       US   Wei          Xiang      US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14081424   August      8/29/2014   complete   Wei              Xiang       US   Wei          Xiang      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081425   August      8/29/2014   complete   Sara             Lee         US   Sara         Lee        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081425   August      8/29/2014   complete   Sara             Lee         US   Sara         Lee        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081426   August      8/29/2014   complete   Sung             Seo         US   Sung         Seo        US   braintree         USD   TVPAD-RB-004    195     0   1    195
TVP-14081427   August      8/29/2014   complete   Kelly            Mar         US   Kelly        Mar        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081427   August      8/29/2014   complete   Kelly            Mar         US   Kelly        Mar        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081428   August      8/29/2014   complete   Jean             Wong        GB   Jean         Wong       GB   braintree         GBP   TVPAD-004       259    15   1    244
TVP-14081428   August      8/29/2014   complete   Jean             Wong        GB   Jean         Wong       GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14081429   August      8/29/2014   complete   Fraancesco       Raso        AU   Fraancesco   Raso       AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081429   August      8/29/2014   complete   Fraancesco       Raso        AU   Fraancesco   Raso       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081430   August      8/29/2014   complete   Melvi            Pedraza     PE   Melvi        Pedraza    PE   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081430   August      8/29/2014   complete   Melvi            Pedraza     PE   Melvi        Pedraza    PE   braintree         USD   HGIFT2             0    0   1       0
TVP-14081431   August      8/29/2014   complete   Jue              wang        AU   Jue          wang       AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081432   August      8/29/2014   complete   yunjing          zhu         NZ   yunjing      zhu        NZ   braintree         USD   TVPAD-004       259    20   1    239
TVP-14081432   August      8/29/2014   complete   yunjing          zhu         NZ   yunjing      zhu        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14081433   August      8/29/2014   complete   hong             kim         AU   hong         kim        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081433   August      8/29/2014   complete   hong             kim         AU   hong         kim        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081434   August      8/29/2014   complete   SENO             PRAMONO     ID   SENO         PRAMONO    ID   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081434   August      8/29/2014   complete   SENO             PRAMONO     ID   SENO         PRAMONO    ID   braintree         USD   HGIFT1             0    0   1       0
TVP-70011255   August      8/29/2014   complete   Michael          Wong        US   Michael      Wong       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-70011255   August      8/29/2014   complete   Michael          Wong        US   Michael      Wong       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081435   August      8/29/2014   complete   Wai              Lam         GB   Wai          Lam        GB   braintree         GBP   TVPAD-007       259    10   1    249
TVP-14081435   August      8/29/2014   complete   Wai              Lam         GB   Wai          Lam        GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14081438   August      8/29/2014   complete   Jack             L.          IE   Jack         L.         IE   paypal_standard   USD   TVPAD-007       259    15   1    244
TVP-14081438   August      8/29/2014   complete   Jack             L.          IE   Jack         L.         IE   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081439   August      8/30/2014   complete   Shin             Kang        US   Shin         Kang       US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081439   August      8/30/2014   complete   Shin             Kang        US   Shin         Kang       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081440   August      8/30/2014   complete   Louis            Low         US   Louis        Low        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14081440   August      8/30/2014   complete   Louis            Low         US   Louis        Low        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081441   August      8/30/2014   complete   Sung             Moon        US   Sung         Moon       US   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14081442   August      8/30/2014   complete   Sing             Chu         US   Sing         Chu        US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081442   August      8/30/2014   complete   Sing             Chu         US   Sing         Chu        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081443   August      8/30/2014   complete   ruopeng          chen        US   ruopeng      chen       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081443   August      8/30/2014   complete   ruopeng          chen        US   ruopeng      chen       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081445   August       9/1/2014   complete   Elina            Loo         US   Elina        Loo        US   braintree         USD   TVPAD-RB-004    195     0   1    195
TVP-14081446   August      8/30/2014   canceled   Wai              Cheong      US   Wai          Cheong     US   braintree         USD   TVPAD-AC-002   29.99    0   1   29.99
TVP-70011256   August      8/31/2014   complete   Man              Tang        AU   Man          Tang       AU   braintree         USD   TVPAD-007       259    20   1    239
TVP-70011256   August      8/31/2014   complete   Man              Tang        AU   Man          Tang       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081447   August      8/31/2014   closed     Serene           Lee         NZ   Serene       Lee        NZ   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081447   August      8/31/2014   closed     Serene           Lee         NZ   Serene       Lee        NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081448   August      8/31/2014   complete   robin            teh         AE   robin        teh        AE   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081448   August      8/31/2014   complete   robin            teh         AE   robin        teh        AE   braintree         USD   HGIFT2             0    0   1       0
TVP-14081449   August       9/1/2014   complete   erik             Nieuwhoff   NL   Meng         Xia        NL   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081449   August       9/1/2014   complete   erik             Nieuwhoff   NL   Meng         Xia        NL   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081450   August      8/31/2014   complete   Andrew           M           AU   Andrew       M          AU   braintree         USD   TVPAD-007       259    20   1    239
TVP-14081450   August      8/31/2014   complete   Andrew           M           AU   Andrew       M          AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081451   August      8/31/2014   complete   Kenneth          Lee         GB   Kenneth      Lee        GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14081451   August      8/31/2014   complete   Kenneth          Lee         GB   Kenneth      Lee        GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14081452   August      8/31/2014   complete   Nelson           Ng          US   Nelson       Ng         US   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14081452   August      8/31/2014   complete   Nelson           Ng          US   Nelson       Ng         US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081453   August      8/31/2014   complete   Sarah            Ho          GB   Sarah        Ho         GB   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081453   August      8/31/2014   complete   Sarah            Ho          GB   Sarah        Ho         GB   braintree         USD   HGIFT2             0    0   1       0
TVP-70011257   August      8/31/2014   complete   Yin              Wong        US   Yin          Wong       US   paypal_standard   USD   TVPAD-007       259    20   1    239
TVP-70011257   August      8/31/2014   complete   Yin              Wong        US   Yin          Wong       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081454   August      8/31/2014   complete   Patrick          Chu         US   Patrick      Chu        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14081454   August      8/31/2014   complete   Patrick          Chu         US   Patrick      Chu        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081455   August      8/31/2014   complete   Min              kim         GB   Min          kim        GB   paypal_standard   GBP   TVPAD-RB-004    195     0   1    195
TVP-14081456   August      8/31/2014   complete   Li               Zhang       GB   Li           Zhang      GB   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081456   August      8/31/2014   complete   Li               Zhang       GB   Li           Zhang      GB   braintree         USD   HGIFT2             0    0   1       0
TVP-14081457   August      8/31/2014   complete   Ching-Jen        Chen        US   Ching-Jen    Chen       US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14081457   August      8/31/2014   complete   Ching-Jen        Chen        US   Ching-Jen    Chen       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081458   August      8/31/2014   complete   Mui              Vong        US   Mui          Vong       US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14081458   August      8/31/2014   complete   Mui              Vong        US   Mui          Vong       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081459   August      8/31/2014   complete   Winnie           Yan         US   Winnie       Yan        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14081459   August      8/31/2014   complete   Winnie           Yan         US   Winnie       Yan        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081460   August       9/5/2014   complete   Jiawen           Wong        US   Carmen       Wong       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081460   August       9/5/2014   complete   Jiawen           Wong        US   Carmen       Wong       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081461   August       9/1/2014   complete   Tamera           Brinton     US   Tamera       Brinton    US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081461   August       9/1/2014   complete   Tamera           Brinton     US   Tamera       Brinton    US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081462   August       9/1/2014   complete   Wei              Chua        AU   Wei          Chua       AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081462   August       9/1/2014   complete   Wei              Chua        AU   Wei          Chua       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081463   August       9/5/2014   complete   Tony             Kwan        NL   Z.X.         Yang       NL   braintree         USD   TVPAD-007       259    10   1    249
TVP-14081463   August       9/5/2014   complete   Tony             Kwan        NL   Z.X.         Yang       NL   braintree         USD   HGIFT2             0    0   1       0
TVP-14081464   August       9/1/2014   complete   Michael          Manning     US   Kyong        Manning    US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14081464   August       9/1/2014   complete   Michael          Manning     US   Kyong        Manning    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081465   August       9/1/2014   complete   Rachel           Ryu         CA   Rachel       Ryu        CA   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081465   August       9/1/2014   complete   Rachel           Ryu         CA   Rachel       Ryu        CA   braintree         USD   HGIFT2             0    0   1       0
TVP-70011259   August       9/1/2014   complete   Kei              Fung        US   Kei          Fung       US   braintree         USD   HGIFT2         29.99    0   1   29.99
TVP-14081466   August       9/1/2014   complete   Jason            Ha          US   Jason        Ha         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14081466   August       9/1/2014   complete   Jason            Ha          US   Jason        Ha         US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011260   August       9/1/2014   complete   xiaotao          liu         US   xiaotao      liu        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-70011260   August       9/1/2014   complete   xiaotao          liu         US   xiaotao      liu        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081467   August       9/1/2014   complete   Rui              Zhang       US   Rui          Zhang      US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14081467   August       9/1/2014   complete   Rui              Zhang       US   Rui          Zhang      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081468   August       9/1/2014   complete   Jie              Guo         AU   Jie          Guo        AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14081468   August       9/1/2014   complete   Jie              Guo         AU   Jie          Guo        AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14081469   August       9/1/2014   complete   Sue              Low         US   Sue          Low        US   braintree         USD   TVPAD-007       259    20   1     239
TVP-14081469   August       9/1/2014   complete   Sue              Low         US   Sue          Low        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081470   August       9/1/2014   complete   James            Chen        US   James        Chen       US   braintree         USD   TVPAD-004       259    10   1     249
TVP-14081470   August       9/1/2014   complete   James            Chen        US   James        Chen       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14081471   August       9/1/2014   complete   Wang             guanghua    AU   Wang         guanghua   AU   braintree         USD   TVPAD-004       259    10   1     249
TVP-14081471   August       9/1/2014   complete   Wang             guanghua    AU   Wang         guanghua   AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081472   September    9/1/2014   complete   Hien             Nguyen      US   Hien         Nguyen     US   paypal_standard   USD   TVPAD-007       259    15   1    244
TVP-14081472   September    9/1/2014   complete   Hien             Nguyen      US   Hien         Nguyen     US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14081473   September    9/1/2014   complete   Min              kim         GB   Min          kim        GB   paypal_standard   GBP   TVPAD-007       259    10   1    249
TVP-14081473   September    9/1/2014   complete   Min              kim         GB   Min          kim        GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14081474   September    9/1/2014   complete   Wei              Liu         AU   Wei          Liu        AU   braintree         USD   TVPAD-004       259    20   1    239
TVP-14081474   September    9/1/2014   complete   Wei              Liu         AU   Wei          Liu        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14081475   September    9/1/2014   complete   Goc              Du          GB   Goc          Du         GB   braintree         GBP   TVPAD-004       259    15   1    244
TVP-14081475   September    9/1/2014   complete   Goc              Du          GB   Goc          Du         GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14081481   September    9/3/2014   complete   Monica Kam Che   Kung        SE   Monica       Kung       SE   braintree         USD   TVPAD-RB-004    195     0   1    195
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TVP-14091010   September    9/1/2014   complete   Jiahao     Wang        AU   Jiahao     Wang        AU   braintree         AUD   TVPAD-004       259    20   1    239
TVP-14091010   September    9/1/2014   complete   Jiahao     Wang        AU   Jiahao     Wang        AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14091011   September    9/2/2014   complete   Rebecca    Szeto-Lee   US   Rebecca    Szeto-Lee   US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091011   September    9/2/2014   complete   Rebecca    Szeto-Lee   US   Rebecca    Szeto-Lee   US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091012   September    9/2/2014   complete   DAEUN      LEE         US   DAEUN      LEE         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091012   September    9/2/2014   complete   DAEUN      LEE         US   DAEUN      LEE         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091013   September    9/2/2014   complete   jason      wong        IE   jason      wong        IE   paypal_standard   USD   TVPAD-007       259    15   1    244
TVP-14091013   September    9/2/2014   complete   jason      wong        IE   jason      wong        IE   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091014   September    9/2/2014   complete   Wilson     Cruz        US   Wilson     Cruz        US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091014   September    9/2/2014   complete   Wilson     Cruz        US   Wilson     Cruz        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091015   September    9/2/2014   complete   Sabrina    Su          GB   Sabrina    Su          GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14091015   September    9/2/2014   complete   Sabrina    Su          GB   Sabrina    Su          GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14091016   September    9/2/2014   complete   Michael    Liang       US   Michael    Liang       US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14091016   September    9/2/2014   complete   Michael    Liang       US   Michael    Liang       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091017   September    9/2/2014   complete   Chi        Ng          CA   Chi        Ng          CA   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091017   September    9/2/2014   complete   Chi        Ng          CA   Chi        Ng          CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14091019   September    9/2/2014   complete   Mei        Tsang       GB   Mei        Tsang       GB   paypal_standard   USD   TVPAD-007       250    10   2    490
TVP-14091020   September    9/2/2014   complete   Allen      Lau         US   Allen      Lau         US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14091020   September    9/2/2014   complete   Allen      Lau         US   Allen      Lau         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091021   September    9/2/2014   complete   Jingjing   liu         AU   Jingjing   liu         AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14091021   September    9/2/2014   complete   Jingjing   liu         AU   Jingjing   liu         AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091022   September    9/2/2014   complete   Philip     Ho          US   Philip     Ho          US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14091022   September    9/2/2014   complete   Philip     Ho          US   Philip     Ho          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091023   September    9/2/2014   complete   Jeffrey    Lee         AU   Jeffrey    Lee         AU   braintree         AUD   TVPAD-RB-004     195    0   1    195
TVP-14091024   September    9/2/2014   complete   John       Huang       AU   John       Huang       AU   paypal_standard   AUD   TVPAD-AC-002   29.99    0   1   29.99
TVP-14091025   September    9/2/2014   complete   Chikako    Ban         AU   Chikako    Ban         AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091025   September    9/2/2014   complete   Chikako    Ban         AU   Chikako    Ban         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091026   September    9/3/2014   complete   Pal        Bak         US   Pal        Bak         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091026   September    9/3/2014   complete   Pal        Bak         US   Pal        Bak         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091029   September    9/3/2014   complete   Louisa     Li          GB   Louisa     Li          GB   braintree         GBP   TVPAD-AC-004   29.99    0   1   29.99
TVP-14091031   September    9/3/2014   complete   Lana       Ho          US   Lana       Ho          US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14091030   September    9/3/2014   complete   Thoai      Ly          AU   Thoai      Ly          AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091030   September    9/3/2014   complete   Thoai      Ly          AU   Thoai      Ly          AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091032   September    9/3/2014   complete   Won        kim         MX   Won        kim         MX   braintree         USD   TVPAD-004       250    10   2    490
TVP-14091032   September    9/3/2014   complete   Won        kim         MX   Won        kim         MX   braintree         USD   HGIFT2             0    0   2       0
TVP-14091033   September    9/3/2014   complete   Justin     Zhang       NZ   Justin     Zhang       NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091033   September    9/3/2014   complete   Justin     Zhang       NZ   Justin     Zhang       NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091027   September    9/3/2014   complete   Daniel     Lim         AU   Daniel     Lim         AU   braintree         AUD   TVPAD-004       259    20   1    239
TVP-14091027   September    9/3/2014   complete   Daniel     Lim         AU   Daniel     Lim         AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14091034   September    9/3/2014   complete   Edward     Ho          CA   Edward     Ho          CA   braintree         USD   TVPAD-007       259    15   1    244
TVP-14091034   September    9/3/2014   complete   Edward     Ho          CA   Edward     Ho          CA   braintree         USD   HGIFT2             0    0   1       0
TVP-70011261   September    9/3/2014   complete   April      Choi        NZ   April      Choi        NZ   braintree         USD   TVPAD-004       250    10   2    490
TVP-70011261   September    9/3/2014   complete   April      Choi        NZ   April      Choi        NZ   braintree         USD   HGIFT2             0    0   2       0
TVP-70011262   September    9/3/2014   complete   Weifang    Zhuang      NZ   Weifang    Zhuang      NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011262   September    9/3/2014   complete   Weifang    Zhuang      NZ   Weifang    Zhuang      NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091035   September    9/4/2014   complete   Veronica   Lee         SG   Veronica   Lee         SG   braintree         USD   TVPAD-004       259    15   1    244
TVP-14091036   September    9/4/2014   complete   Frederic   HENGERT     FR   Frederic   HENGERT     FR   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091036   September    9/4/2014   complete   Frederic   HENGERT     FR   Frederic   HENGERT     FR   braintree         USD   HGIFT2             0    0   1       0
TVP-14091038   September    9/4/2014   complete   Minquan    Xie         GB   Minquan    Xie         GB   braintree         GBP   TVPAD-007       250    10   2    490
TVP-14091038   September    9/4/2014   complete   Minquan    Xie         GB   Minquan    Xie         GB   braintree         GBP   HGIFT2             0    0   2       0
TVP-14091037   September    9/4/2014   complete   Zhen       甄健明         CN   Zhen       甄健明         CN   braintree         USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14091039   September    9/4/2014   complete   Kin        leung       AU   Kin        leung       AU   braintree         AUD   TVPAD-007       259    20   1    239
TVP-14091039   September    9/4/2014   complete   Kin        leung       AU   Kin        leung       AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14091041   September    9/4/2014   complete   Moon       Heo         DE   Moon       Heo         DE   paypal_standard   EUR   TVPAD-007       259    10   1    249
TVP-14091041   September    9/4/2014   complete   Moon       Heo         DE   Moon       Heo         DE   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14091042   September    9/4/2014   complete   Olive      Shek        AU   Pauline    Liong       AU   braintree         USD   TVPAD-004       259    20   1    239
TVP-14091042   September    9/4/2014   complete   Olive      Shek        AU   Pauline    Liong       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091043   September    9/4/2014   complete   Joosup     Kim         AU   Joosup     Kim         AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14091043   September    9/4/2014   complete   Joosup     Kim         AU   Joosup     Kim         AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091044   September    9/5/2014   complete   soo        li          BE   soo        li          BE   braintree         EUR   TVPAD-007       259    10   1    249
TVP-14091044   September    9/5/2014   complete   soo        li          BE   soo        li          BE   braintree         EUR   HGIFT2             0    0   1       0
TVP-14091045   September    9/8/2014   complete   mr         wang        ZA   tom        yang        ZA   braintree         USD   TVPAD-007       250    10   2    490
TVP-14091045   September    9/8/2014   complete   mr         wang        ZA   tom        yang        ZA   braintree         USD   HGIFT2             0    0   2       0
TVP-14091046   September    9/5/2014   complete   dongseok   jeon        PL   dongseok   jeon        PL   braintree         USD   TVPAD-007       259    20   1    239
TVP-14091046   September    9/5/2014   complete   dongseok   jeon        PL   dongseok   jeon        PL   braintree         USD   HGIFT2             0    0   1       0
TVP-70011263   September    9/5/2014   complete   DACHUN     LIN         US   DACHUN     LIN         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011263   September    9/5/2014   complete   DACHUN     LIN         US   DACHUN     LIN         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091047   September    9/5/2014   complete   William    Chen        CA   William    Chen        CA   braintree         CAD   TVPAD-004       259    10   1    249
TVP-14091047   September    9/5/2014   complete   William    Chen        CA   William    Chen        CA   braintree         CAD   HGIFT2             0    0   1       0
TVP-14091049   September    9/4/2014   complete   Sam        Phung       NO   Dat        Le          NO   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091049   September    9/4/2014   complete   Sam        Phung       NO   Dat        Le          NO   braintree         USD   HGIFT2             0    0   1       0
TVP-70011264   September    9/5/2014   complete   Jianming   Wang        NL   Jianming   Wang        NL   braintree         EUR   TVPAD-004       259    10   1    249
TVP-70011264   September    9/5/2014   complete   Jianming   Wang        NL   Jianming   Wang        NL   braintree         EUR   HGIFT2             0    0   1       0
TVP-14091048   September   9/12/2014   complete   kevin      kang        US   kevin      kang        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091048   September   9/12/2014   complete   kevin      kang        US   kevin      kang        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091051   September    9/5/2014   complete   Tony       Kim         NZ   Tony       Kim         NZ   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14091051   September    9/5/2014   complete   Tony       Kim         NZ   Tony       Kim         NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091052   September    9/5/2014   complete   Tony       Zhu         NZ   Tony       Zhu         NZ   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091052   September    9/5/2014   complete   Tony       Zhu         NZ   Tony       Zhu         NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091053   September    9/5/2014   complete   Yu         Kikuchi     AU   Yu         Kikuchi     AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091053   September    9/5/2014   complete   Yu         Kikuchi     AU   Yu         Kikuchi     AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091055   September    9/5/2014   complete   MaryJane   Kim         US   MaryJane   Kim         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091055   September    9/5/2014   complete   MaryJane   Kim         US   MaryJane   Kim         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091056   September    9/5/2014   complete   Angela     Wong        US   Angela     Wong        US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091056   September    9/5/2014   complete   Angela     Wong        US   Angela     Wong        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091057   September    9/6/2014   complete   Luna       Kusnadi     GB   Luna       Kusnadi     GB   braintree         GBP   TVPAD-007       259    10   1    249
TVP-14091057   September    9/6/2014   complete   Luna       Kusnadi     GB   Luna       Kusnadi     GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14091058   September    9/5/2014   complete   Haitao     Wang        GB   Haitao     Wang        GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14091058   September    9/5/2014   complete   Haitao     Wang        GB   Haitao     Wang        GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14091059   September    9/6/2014   complete   Tsang      kinhung     NO   Tsang      kinhung     NO   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091059   September    9/6/2014   complete   Tsang      kinhung     NO   Tsang      kinhung     NO   braintree         USD   HGIFT2             0    0   1       0
TVP-14091060   September    9/6/2014   complete   Zhong      li          GB   Zhong      li          GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14091060   September    9/6/2014   complete   Zhong      li          GB   Zhong      li          GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14091061   September    9/6/2014   complete   ha         jung        US   ha         jung        US   braintree         USD   TVPAD-004       250    10   3    740
TVP-14091061   September    9/6/2014   complete   ha         jung        US   ha         jung        US   braintree         USD   HGIFT2             0    0   3       0
TVP-14091062   September    9/6/2014   complete   Jessie     Mak         US   Jessie     Mak         US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091062   September    9/6/2014   complete   Jessie     Mak         US   Jessie     Mak         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091063   September    9/6/2014   complete   Wai        Ho          US   Wai        Ho          US   braintree         USD   TVPAD-004       259    15   1    244
TVP-14091063   September    9/6/2014   complete   Wai        Ho          US   Wai        Ho          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091064   September    9/8/2014   complete   yibo       li          US   yibo       li          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091064   September    9/8/2014   complete   yibo       li          US   yibo       li          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091065   September    9/6/2014   complete   Huimin     Yao         CA   Huimin     Yao         CA   braintree         CAD   TVPAD-004       259    10   1    249
TVP-14091065   September    9/6/2014   complete   Huimin     Yao         CA   Huimin     Yao         CA   braintree         CAD   HGIFT2             0    0   1       0
TVP-14091067   September    9/7/2014   complete   Edwin      Zhang       NZ   Edwin      Zhang       NZ   braintree         USD   TVPAD-004       259    15   1    244
TVP-14091067   September    9/7/2014   complete   Edwin      Zhang       NZ   Edwin      Zhang       NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091068   September    9/7/2014   complete   SIYUN      WU          AU   SIYUN      WU          AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14091068   September    9/7/2014   complete   SIYUN      WU          AU   SIYUN      WU          AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14091069   September    9/7/2014   complete   Michelle   Kong        AU   Michelle   Kong        AU   paypal_standard   USD   TVPAD-007       259    15   1    244
TVP-14091069   September    9/7/2014   complete   Michelle   Kong        AU   Michelle   Kong        AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091070   September    9/7/2014   complete   yunjing    zhu         NZ   yunjing    zhu         NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091070   September    9/7/2014   complete   yunjing    zhu         NZ   yunjing    zhu         NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091071   September    9/8/2014   complete   Freda      Wong        US   Betty      Wong        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14091071   September    9/8/2014   complete   Freda      Wong        US   Betty      Wong        US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011265   September    9/7/2014   complete   Kezhong    Chen        GB   Kezhong    Chen        GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-70011265   September    9/7/2014   complete   Kezhong    Chen        GB   Kezhong    Chen        GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14091072   September    9/7/2014   complete   Philip     Ho          US   Philip     Ho          US   paypal_standard   USD   TVPAD-004       250    20   2    480
TVP-14091072   September    9/7/2014   complete   Philip     Ho          US   Philip     Ho          US   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14091073   September    9/8/2014   complete   yi         Lu          US   yi         Lu          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091073   September    9/8/2014   complete   yi         Lu          US   yi         Lu          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091075   September    9/8/2014   complete   Hyun Joo   Seo         US   Hyun Joo   Seo         MP   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091075   September    9/8/2014   complete   Hyun Joo   Seo         US   Hyun Joo   Seo         MP   braintree         USD   HGIFT2             0    0   1       0
TVP-70011266   September    9/7/2014   complete   Zhiwei     Xing        AU   Zhiwei     Xing        AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-70011266   September    9/7/2014   complete   Zhiwei     Xing        AU   Zhiwei     Xing        AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14091077   September    9/7/2014   complete   Fridez     Lili        CH   Fridez     Lili        CH   braintree         USD   TVPAD-007       259    15   1    244
TVP-14091077   September    9/7/2014   complete   Fridez     Lili        CH   Fridez     Lili        CH   braintree         USD   HGIFT2             0    0   1       0
TVP-14091078   September    9/8/2014   complete   michelle   luong       AU   michelle   luong       AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091078   September    9/8/2014   complete   michelle   luong       AU   michelle   luong       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091080   September    9/8/2014   complete   Shin       Kang        US   Shin       Kang        US   paypal_standard   USD   TVPAD-007       259    20   1    239
TVP-14091080   September    9/8/2014   complete   Shin       Kang        US   Shin       Kang        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091081   September    9/7/2014   complete   Phuong     Truong      US   Phuong     Truong      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091081   September    9/7/2014   complete   Phuong     Truong      US   Phuong     Truong      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091082   September    9/8/2014   complete   Kenneth    Wong        GB   Kenneth    Wong        GB   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14091082   September    9/8/2014   complete   Kenneth    Wong        GB   Kenneth    Wong        GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091083   September    9/8/2014   complete   Peter      Tran        GB   Peter      Tran        GB   paypal_standard   GBP   TVPAD-007       259    15   1    244
TVP-14091083   September    9/8/2014   complete   Peter      Tran        GB   Peter      Tran        GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-70011267   September    9/8/2014   complete   Shubing    Huang       AU   Shubing    Huang       AU   braintree         AUD   TVPAD-007       259    20   1    239
TVP-70011267   September    9/8/2014   complete   Shubing    Huang       AU   Shubing    Huang       AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14091084   September    9/8/2014   complete   Man        ng          AU   Man        ng          AU   braintree         USD   TVPAD-007       259    20   1    239
TVP-14091084   September    9/8/2014   complete   Man        ng          AU   Man        ng          AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091085   September    9/8/2014   complete   xuena      zhen        US   xuena      zhen        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091085   September    9/8/2014   complete   xuena      zhen        US   xuena      zhen        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091086   September    9/8/2014   complete   Ran        Zhao        NZ   Ran        Zhao        NZ   braintree         USD   TVPAD-004       259    20   1    239
TVP-14091086   September    9/8/2014   complete   Ran        Zhao        NZ   Ran        Zhao        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091088   September    9/8/2014   complete   Jerrold    Yeo         US   Jerrold    Yeo         US   paypal_standard   USD   TVPAD-004       259    15   1    244
TVP-14091088   September    9/8/2014   complete   Jerrold    Yeo         US   Jerrold    Yeo         US   paypal_standard   USD   HGIFT2             0    0   1       0
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                                   #:20492
TVP-14091089   September    9/8/2014   complete   Yanping      Gao       AU   Yanping    Gao       AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091089   September    9/8/2014   complete   Yanping      Gao       AU   Yanping    Gao       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091090   September    9/8/2014   complete   Anthony      Tay       AU   Anthony    Tay       AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091090   September    9/8/2014   complete   Anthony      Tay       AU   Anthony    Tay       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091093   September    9/8/2014   complete   Jack         L.        IE   Jason      W.        IE   paypal_standard   USD   TVPAD-007       259    15   1    244
TVP-14091093   September    9/8/2014   complete   Jack         L.        IE   Jason      W.        IE   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091094   September    9/9/2014   complete   Fong         Loh       AU   Clement    Chew      AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14091094   September    9/9/2014   complete   Fong         Loh       AU   Clement    Chew      AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14091095   September    9/9/2014   complete   Chi Fai      Kong      NO   Chi        Kong      NO   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091095   September    9/9/2014   complete   Chi Fai      Kong      NO   Chi        Kong      NO   braintree         USD   HGIFT2             0    0   1       0
TVP-14091096   September    9/9/2014   complete   Juhyun       Cho       US   J.         Cho       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091096   September    9/9/2014   complete   Juhyun       Cho       US   J.         Cho       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091097   September    9/9/2014   complete   Sisy         Go        NL   Sisy       Go        NL   paypal_standard   EUR   TVPAD-004       259     5   1    254
TVP-14091097   September    9/9/2014   complete   Sisy         Go        NL   Sisy       Go        NL   paypal_standard   EUR   TVPAD-007       259     5   1    254
TVP-14091097   September    9/9/2014   complete   Sisy         Go        NL   Sisy       Go        NL   paypal_standard   EUR   HGIFT2             0    0   2       0
TVP-14091098   September    9/9/2014   complete   Daniel       Lee       AU   Daniel     Lee       AU   braintree         USD   TVPAD-007       250    10   2    490
TVP-14091098   September    9/9/2014   complete   Daniel       Lee       AU   Daniel     Lee       AU   braintree         USD   HGIFT2             0    0   2       0
TVP-14091099   September    9/9/2014   complete   Jeff         Lau       NZ   Jeff       Lau       NZ   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091099   September    9/9/2014   complete   Jeff         Lau       NZ   Jeff       Lau       NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091100   September    9/9/2014   complete   david        kong      NZ   david      kong      NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091100   September    9/9/2014   complete   david        kong      NZ   david      kong      NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091101   September    9/9/2014   complete   Wu           Chen      US   Wu         Chen      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091101   September    9/9/2014   complete   Wu           Chen      US   Wu         Chen      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091102   September   9/14/2014   complete   Nancy        Young     US   Nancy      Young     US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14091102   September   9/14/2014   complete   Nancy        Young     US   Nancy      Young     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091103   September    9/9/2014   complete   Zheng        Wang      AU   Zheng      Wang      AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14091103   September    9/9/2014   complete   Zheng        Wang      AU   Zheng      Wang      AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091107   September    9/9/2014   complete   nicole       pat       NZ   nicole     pat       NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091107   September    9/9/2014   complete   nicole       pat       NZ   nicole     pat       NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091108   September    9/9/2014   complete   Thanh        Chung     AU   Thanh      Chung     AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14091108   September    9/9/2014   complete   Thanh        Chung     AU   Thanh      Chung     AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091109   September    9/9/2014   complete   Shino        Kong      NZ   Shino      Kong      NZ   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091109   September    9/9/2014   complete   Shino        Kong      NZ   Shino      Kong      NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091110   September    9/9/2014   complete   Xinmei       he        GB   Xinmei     he        GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14091110   September    9/9/2014   complete   Xinmei       he        GB   Xinmei     he        GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14091111   September   9/10/2014   complete   Che Kun      Lee       AU   Che        Lee       AU   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14091111   September   9/10/2014   complete   Che Kun      Lee       AU   Che        Lee       AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14091112   September   9/20/2014   complete   Sheau-Dong   Lang      US   Eric       Yu        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091112   September   9/20/2014   complete   Sheau-Dong   Lang      US   Eric       Yu        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091113   September   9/11/2014   complete   Julia        Tran      US   Julia      Tran      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091113   September   9/11/2014   complete   Julia        Tran      US   Julia      Tran      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091114   September   9/10/2014   complete   SANG         PAK       BR   SANG       PAK       BR   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011268   September   9/10/2014   complete   Weilun       Sung      US   Allen      Sung      US   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-70011268   September   9/10/2014   complete   Weilun       Sung      US   Allen      Sung      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091115   September   9/10/2014   complete   George       Ching     US   George     Ching     US   paypal_standard   USD   TVPAD-004       250    10   2    490
TVP-14091115   September   9/10/2014   complete   George       Ching     US   George     Ching     US   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-70011269   September   9/10/2014   complete   hoang        huynh     US   hoang      huynh     US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091116   September   9/10/2014   complete   mark         kennedy   AU   mark       kennedy   AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091116   September   9/10/2014   complete   mark         kennedy   AU   mark       kennedy   AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091117   September   9/10/2014   complete   Opal         Wu        AU   Opal       Wu        AU   braintree         AUD   TVPAD-004       259    20   1    239
TVP-14091117   September   9/10/2014   complete   Opal         Wu        AU   Opal       Wu        AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14091118   September   9/10/2014   complete   Stanley      Ting      US   Stanley    Ting      US   paypal_standard   USD   TVPAD-007       259    20   1    239
TVP-14091118   September   9/10/2014   complete   Stanley      Ting      US   Stanley    Ting      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-70011271   September   9/10/2014   complete   Raymond      Yung      US   Raymond    Yung      US   braintree         USD   TVPAD-004       259    20   1    239
TVP-70011271   September   9/10/2014   complete   Raymond      Yung      US   Raymond    Yung      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091120   September   9/10/2014   complete   JASON        LIM       AU   JASON      LIM       AU   braintree         USD   TVPAD-004       250    10   2    490
TVP-14091120   September   9/10/2014   complete   JASON        LIM       AU   JASON      LIM       AU   braintree         USD   HGIFT2             0    0   2       0
TVP-14091121   September   9/10/2014   complete   Rachel       Lim       AU   Rachel     Lim       AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091121   September   9/10/2014   complete   Rachel       Lim       AU   Rachel     Lim       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091122   September   9/10/2014   complete   Leon         Chu       NZ   Leon       Chu       NZ   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14091122   September   9/10/2014   complete   Leon         Chu       NZ   Leon       Chu       NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091123   September   9/10/2014   complete   Tony         Tian      NZ   Tony       Tian      NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091123   September   9/10/2014   complete   Tony         Tian      NZ   Tony       Tian      NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091124   September   9/11/2014   complete   Sheng        Goh       AU   Angie      Loh       AU   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14091124   September   9/11/2014   complete   Sheng        Goh       AU   Angie      Loh       AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091125   September   9/10/2014   complete   Bin          Lin       AU   Bin        Lin       AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091125   September   9/10/2014   complete   Bin          Lin       AU   Bin        Lin       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091126   September   9/11/2014   complete   Kitty        Hwang     US   Kitty      Hwang     US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091127   September   9/11/2014   complete   Jing         Wang      US   Jing       Wang      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091127   September   9/11/2014   complete   Jing         Wang      US   Jing       Wang      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091128   September   9/11/2014   complete   Larry        Leung     US   Larry      Leung     US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14091128   September   9/11/2014   complete   Larry        Leung     US   Larry      Leung     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091129   September   9/12/2014   complete   Lucienne     Ly        FR   Victor     Lam       FR   braintree         EUR   TVPAD-004       259    10   1    249
TVP-14091129   September   9/12/2014   complete   Lucienne     Ly        FR   Victor     Lam       FR   braintree         EUR   HGIFT2             0    0   1       0
TVP-14091130   September   9/11/2014   complete   Sau          Ho        US   Sau        Ho        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14091130   September   9/11/2014   complete   Sau          Ho        US   Sau        Ho        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091131   September   9/11/2014   complete   Kyoung       Seo       US   Kyoung     Seo       US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14091131   September   9/11/2014   complete   Kyoung       Seo       US   Kyoung     Seo       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091132   September   9/11/2014   complete   Chi          Fung      CA   Chi        Fung      US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14091132   September   9/11/2014   complete   Chi          Fung      CA   Chi        Fung      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091133   September   9/11/2014   complete   Laura        Keung     GB   Laura      Keung     GB   braintree         GBP   TVPAD-004       250    10   2    490
TVP-14091133   September   9/11/2014   complete   Laura        Keung     GB   Laura      Keung     GB   braintree         GBP   HGIFT2             0    0   2       0
TVP-14091134   September   9/11/2014   complete   Dennis       Tsai      US   Dennis     Tsai      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091134   September   9/11/2014   complete   Dennis       Tsai      US   Dennis     Tsai      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091135   September   9/11/2014   complete   Trent        Teng      AU   Trent      Teng      AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091135   September   9/11/2014   complete   Trent        Teng      AU   Trent      Teng      AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091136   September   9/14/2014   complete   Hyun-Soo     Choi      US   InSook     Cho       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091136   September   9/14/2014   complete   Hyun-Soo     Choi      US   InSook     Cho       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091137   September   9/11/2014   complete   Luke         Lin       CA   Luke       Lin       CA   paypal_standard   CAD   TVPAD-007       259    20   1    239
TVP-14091137   September   9/11/2014   complete   Luke         Lin       CA   Luke       Lin       CA   paypal_standard   CAD   HGIFT2             0    0   1       0
TVP-14091138   September   9/11/2014   complete   TOM D        CHO       SG   TOM        CHO       SG   braintree         USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14091140   September   9/11/2014   complete   Ivan         Xie       AU   Ivan       Xie       AU   braintree         AUD   TVPAD-007       259    10   1    249
TVP-14091140   September   9/11/2014   complete   Ivan         Xie       AU   Ivan       Xie       AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14091141   September   9/11/2014   complete   Bin          Yang      NZ   Bin        Yang      NZ   braintree         USD   TVPAD-004       250    10   3    740
TVP-14091141   September   9/11/2014   complete   Bin          Yang      NZ   Bin        Yang      NZ   braintree         USD   HGIFT2             0    0   3       0
TVP-14091142   September   9/12/2014   complete   ROBERT       WAN       GB   ROBERT     WAN       GB   paypal_standard   GBP   TVPAD-004       259    20   1    239
TVP-14091142   September   9/12/2014   complete   ROBERT       WAN       GB   ROBERT     WAN       GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14091143   September   9/12/2014   complete   Wayne        Yip       GB   Wayne      Yip       GB   braintree         GBP   TVPAD-007       259    10   1    249
TVP-14091143   September   9/12/2014   complete   Wayne        Yip       GB   Wayne      Yip       GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14091144   September   9/12/2014   complete   Sabine       Tang      AT   Sabine     Tang      AT   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091144   September   9/12/2014   complete   Sabine       Tang      AT   Sabine     Tang      AT   braintree         USD   HGIFT2             0    0   1       0
TVP-14091145   September   9/12/2014   complete   Kin          Ly        US   Kin        Ly        US   braintree         USD   TVPAD-004       259    30   1    229
TVP-70011272   September   9/12/2014   complete   zhongwei     qian      US   zhongwei   qian      US   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-70011272   September   9/12/2014   complete   zhongwei     qian      US   zhongwei   qian      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-70011273   September   9/12/2014   complete   Kai          kao       US   Kai        kao       US   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-70011273   September   9/12/2014   complete   Kai          kao       US   Kai        kao       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091146   September   9/12/2014   complete   Xu           jiang     US   Xu         jiang     US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091146   September   9/12/2014   complete   Xu           jiang     US   Xu         jiang     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091148   September   9/12/2014   complete   Kam          Lo        CA   Kam        Lo        CA   braintree         USD   TVPAD-004       250    10   2    490
TVP-14091148   September   9/12/2014   complete   Kam          Lo        CA   Kam        Lo        CA   braintree         USD   HGIFT2             0    0   2       0
TVP-70011274   September   9/12/2014   complete   Zhirong      Wu        US   Zhirong    Wu        US   braintree         USD   TVPAD-007       259    10   1    249
TVP-70011274   September   9/12/2014   complete   Zhirong      Wu        US   Zhirong    Wu        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091150   September   9/12/2014   complete   Simon        Beck      AU   Simon      Beck      AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091150   September   9/12/2014   complete   Simon        Beck      AU   Simon      Beck      AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091151   September   9/12/2014   complete   Shijie       Liu       NZ   Shijie     Liu       NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091151   September   9/12/2014   complete   Shijie       Liu       NZ   Shijie     Liu       NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091153   September   9/13/2014   complete   Xueyuan      Ren       AU   Xueyuan    Ren       AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091153   September   9/13/2014   complete   Xueyuan      Ren       AU   Xueyuan    Ren       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091154   September   9/13/2014   complete   Johnson      Kon       US   Johnson    Kon       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091154   September   9/13/2014   complete   Johnson      Kon       US   Johnson    Kon       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091155   September   9/19/2014   complete   Hyun         Shin      US   Hyun       Shin      US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14091155   September   9/19/2014   complete   Hyun         Shin      US   Hyun       Shin      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091156   September   9/13/2014   complete   Eunice       Hong      HK   Eunice     Hong      HK   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091156   September   9/13/2014   complete   Eunice       Hong      HK   Eunice     Hong      HK   braintree         USD   HGIFT2             0    0   1       0
TVP-14091157   September   9/13/2014   complete   Steve        Park      NZ   Steve      Park      NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091157   September   9/13/2014   complete   Steve        Park      NZ   Steve      Park      NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091158   September   9/13/2014   complete   Erica        Shen      US   Erica      Shen      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091158   September   9/13/2014   complete   Erica        Shen      US   Erica      Shen      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091159   September   9/13/2014   complete   Jihyun       Kim       US   Jihyun     Kim       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091159   September   9/13/2014   complete   Jihyun       Kim       US   Jihyun     Kim       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091160   September   9/13/2014   complete   Nhan         Cung      US   Nhan       Cung      US   braintree         USD   TVPAD-004       250    10   2    490
TVP-14091160   September   9/13/2014   complete   Nhan         Cung      US   Nhan       Cung      US   braintree         USD   HGIFT2             0    0   2       0
TVP-14091161   September   9/13/2014   closed     Yin          Chen      US   Yin        Chen      US   braintree         USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14091162   September   9/14/2014   complete   WENXIANG     CHEN      AU   WENXIANG   CHEN      AU   braintree         USD   TVPAD-004       259    20   1    239
TVP-14091162   September   9/14/2014   complete   WENXIANG     CHEN      AU   WENXIANG   CHEN      AU   braintree         USD   HGIFT2             0    0   1       0
TVP-70011276   September   9/14/2014   complete   Joy          Luo       NZ   Joy        Luo       NZ   braintree         USD   TVPAD-007       259    10   1    249
TVP-70011276   September   9/14/2014   complete   Joy          Luo       NZ   Joy        Luo       NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091164   September   9/14/2014   complete   PAK          MAN       CA   PAK        MAN       CA   braintree         USD   TVPAD-007       259    20   1    239
TVP-14091164   September   9/14/2014   complete   PAK          MAN       CA   PAK        MAN       CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14091165   September   9/14/2014   complete   Alex         Kwan      CA   Alex       Kwan      CA   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14091165   September   9/14/2014   complete   Alex         Kwan      CA   Alex       Kwan      CA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091166   September   9/14/2014   complete   Lynna        Chuang    US   Lynna      Chuang    US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091166   September   9/14/2014   complete   Lynna        Chuang    US   Lynna      Chuang    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091167   September   9/14/2014   complete   Wenjing      zhao      CA   Wenjing    zhao      CA   braintree         CAD   TVPAD-004       259    20   1    239
TVP-14091167   September   9/14/2014   complete   Wenjing      zhao      CA   Wenjing    zhao      CA   braintree         CAD   HGIFT2             0    0   1       0
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TVP-14091168   September   9/13/2014   complete   Janice      Sung     US   Tyler       Sung     US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091168   September   9/13/2014   complete   Janice      Sung     US   Tyler       Sung     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091169   September   9/14/2014   complete   Yona        Lu       US   Yona        Lu       US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091170   September   9/14/2014   complete   celeste     wong     US   celeste     wong     US   paypal_standard   USD   TVPAD-007       250    20   2    480
TVP-14091170   September   9/14/2014   complete   celeste     wong     US   celeste     wong     US   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14091171   September   9/14/2014   complete   Anny        Lyan     US   Anny        Lyan     US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14091171   September   9/14/2014   complete   Anny        Lyan     US   Anny        Lyan     US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-70011277   September   9/15/2014   complete   Maggie      Liang    US   Maggie      Liang    US   braintree         USD   TVPAD-007       259    10   1    249
TVP-70011277   September   9/15/2014   complete   Maggie      Liang    US   Maggie      Liang    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091172   September   9/15/2014   complete   Choon       Tee      AU   Choon       Tee      AU   braintree         AUD   TVPAD-007       259    10   1    249
TVP-14091172   September   9/15/2014   complete   Choon       Tee      AU   Choon       Tee      AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14091173   September   9/15/2014   complete   Kathy       Chan     US   Kathy       Chan     US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14091173   September   9/15/2014   complete   Kathy       Chan     US   Kathy       Chan     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091174   September   9/15/2014   complete   andy        lee      NZ   andy        lee      NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091174   September   9/15/2014   complete   andy        lee      NZ   andy        lee      NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091176   September   9/15/2014   complete   Sheau       New      MY   Sheau       New      MY   braintree         USD   TVPAD-AC-004   29.99    0   1   29.99
TVP-14091177   September   9/15/2014   complete   Muliono     Kwok     AU   Muliono     Kwok     AU   braintree         AUD   TVPAD-007       259    20   1    239
TVP-14091177   September   9/15/2014   complete   Muliono     Kwok     AU   Muliono     Kwok     AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14091178   September   9/15/2014   complete   Yiusze      yip      US   Yiusze      yip      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091178   September   9/15/2014   complete   Yiusze      yip      US   Yiusze      yip      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091179   September   9/15/2014   complete   Esther      Tze      AU   Esther      Tze      AU   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14091179   September   9/15/2014   complete   Esther      Tze      AU   Esther      Tze      AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091180   September   9/15/2014   complete   Shi         Chen     US   Shi         Chen     US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14091180   September   9/15/2014   complete   Shi         Chen     US   Shi         Chen     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091175   September   9/15/2014   complete   Steven      SHEK     FR   SHEK        Steven   FR   braintree         EUR   TVPAD-007       259    20   1    239
TVP-14091175   September   9/15/2014   complete   Steven      SHEK     FR   SHEK        Steven   FR   braintree         EUR   HGIFT2             0    0   1       0
TVP-14091181   September   9/15/2014   complete   Linda       Lui      US   Geraldine   Chan     US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091181   September   9/15/2014   complete   Linda       Lui      US   Geraldine   Chan     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091182   September   9/15/2014   complete   Man         Shing    US   Man         Shing    US   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14091182   September   9/15/2014   complete   Man         Shing    US   Man         Shing    US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091183   September   9/16/2014   complete   Horacio     Low      US   Ana         Low      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091183   September   9/16/2014   complete   Horacio     Low      US   Ana         Low      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091184   September   9/15/2014   complete   cuong       chau     US   cuong       chau     US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14091184   September   9/15/2014   complete   cuong       chau     US   cuong       chau     US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14091185   September   9/15/2014   complete   Carol       Yeung    AU   Carol       Yeung    AU   braintree         USD   TVPAD-004       259    20   1    239
TVP-14091185   September   9/15/2014   complete   Carol       Yeung    AU   Carol       Yeung    AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091186   September   9/15/2014   complete   Shino       Kong     NZ   Shino       Kong     NZ   braintree         USD   TVPAD-007       259    20   1    239
TVP-14091187   September   9/15/2014   complete   Michael     Lau      GB   Michael     Lau      GB   paypal_standard   GBP   TVPAD-007       250    10   2    490
TVP-14091187   September   9/15/2014   complete   Michael     Lau      GB   Michael     Lau      GB   paypal_standard   GBP   HGIFT2             0    0   2       0
TVP-14091190   September   9/16/2014   complete   Kenny       Ng       US   Kenny       Ng       US   braintree         USD   TVPAD-007        259   10   1    249
TVP-14091190   September   9/16/2014   complete   Kenny       Ng       US   Kenny       Ng       US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011279   September   9/16/2014   complete   Ching       cheung   GB   Ching       cheung   GB   braintree         GBP   TVPAD-004        259   10   1     249
TVP-70011279   September   9/16/2014   complete   Ching       cheung   GB   Ching       cheung   GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14091191   September   9/16/2014   complete   Michael     Lau      GB   Michael     Lau      GB   paypal_standard   GBP   TVPAD-007       250    20   2    480
TVP-14091191   September   9/16/2014   complete   Michael     Lau      GB   Michael     Lau      GB   paypal_standard   GBP   HGIFT2             0    0   2       0
TVP-14091192   September   9/16/2014   complete   Mike        Tom      CA   Mike        Tom      CA   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14091192   September   9/16/2014   complete   Mike        Tom      CA   Mike        Tom      CA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091193   September   9/16/2014   complete   Shu-Chan    Tan      US   Shu-Chan    Tan      US   braintree         USD   TVPAD-007        259   20   1    239
TVP-14091193   September   9/16/2014   complete   Shu-Chan    Tan      US   Shu-Chan    Tan      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091194   September   9/16/2014   complete   Daniel      Choi     NL   Daniel      Choi     NL   braintree         EUR   TVPAD-AC-004   29.99    0   1   29.99
TVP-14091195   September   9/16/2014   complete   Neil        Loo      US   Neil        Loo      US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14091195   September   9/16/2014   complete   Neil        Loo      US   Neil        Loo      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091196   September   9/16/2014   complete   ying        su       GB   ying        su       GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14091196   September   9/16/2014   complete   ying        su       GB   ying        su       GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-70011280   September   9/17/2014   complete   Chor        Lee      US   Chor        Lee      US   braintree         USD   TVPAD-004        259   10   1     249
TVP-70011280   September   9/17/2014   complete   Chor        Lee      US   Chor        Lee      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091197   September   9/16/2014   complete   Yanbin      Gu       CA   Yanbin      Gu       CA   braintree         CAD   TVPAD-007        259   10   1     249
TVP-14091197   September   9/16/2014   complete   Yanbin      Gu       CA   Yanbin      Gu       CA   braintree         CAD   HGIFT2             0    0   1       0
TVP-14091198   September   9/16/2014   complete   Jimmy       Lu       AU   Jimmy       Lu       AU   braintree         USD   TVPAD-004       259    10   1     249
TVP-14091198   September   9/16/2014   complete   Jimmy       Lu       AU   Jimmy       Lu       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091199   September   9/16/2014   complete   QI          ZHANG    US   QI          ZHANG    US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14091199   September   9/16/2014   complete   QI          ZHANG    US   QI          ZHANG    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091200   September   9/16/2014   complete   Mary        woo      US   Siu         Woo      US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14091200   September   9/16/2014   complete   Mary        woo      US   Siu         Woo      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091201   September   9/16/2014   complete   Angel       Chen     NZ   Angel       Chen     NZ   braintree         USD   TVPAD-004        259   10   1     249
TVP-14091201   September   9/16/2014   complete   Angel       Chen     NZ   Angel       Chen     NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-70011281   September   9/16/2014   complete   gordon      wu       IE   gordon      wu       IE   braintree         EUR   TVPAD-007        259   10   1     249
TVP-70011281   September   9/16/2014   complete   gordon      wu       IE   gordon      wu       IE   braintree         EUR   HGIFT2             0    0   1       0
TVP-14091204   September   9/17/2014   complete   gibum       kim      FR   gibum       kim      FR   braintree         EUR   TVPAD-007        259   10   1     249
TVP-14091204   September   9/17/2014   complete   gibum       kim      FR   gibum       kim      FR   braintree         EUR   HGIFT2             0    0   1       0
TVP-14091205   September   9/16/2014   complete   Yee         leung    AU   Yee         wong     AU   braintree         USD   TVPAD-004        259   10   1     249
TVP-14091205   September   9/16/2014   complete   Yee         leung    AU   Yee         wong     AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091206   September   9/17/2014   complete   Jae         Jeong    US   Jae         Jeong    US   braintree         USD   TVPAD-007        259   10   1     249
TVP-14091206   September   9/17/2014   complete   Jae         Jeong    US   Jae         Jeong    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091207   September   9/17/2014   complete   Jeongseon   kim      HK   Jeongseon   kim      HK   braintree         USD   TVPAD-004        259   10   1     249
TVP-14091207   September   9/17/2014   complete   Jeongseon   kim      HK   Jeongseon   kim      HK   braintree         USD   HGIFT2             0    0   1       0
TVP-14091208   September   9/17/2014   complete   Suhong      Zhang    US   Suhong      Zhang    US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14091208   September   9/17/2014   complete   Suhong      Zhang    US   Suhong      Zhang    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091209   September   9/17/2014   complete   Khoon       TAN      AU   Khoon       TAN      AU   paypal_standard   AUD   TVPAD-004        259   20   1     239
TVP-14091209   September   9/17/2014   complete   Khoon       TAN      AU   Khoon       TAN      AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14091210   September   9/17/2014   complete   Crystal     Hoang    US   Crystal     Hoang    US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14091210   September   9/17/2014   complete   Crystal     Hoang    US   Crystal     Hoang    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091211   September   9/17/2014   complete   Flora       Wang     US   Flora       Wang     US   braintree         USD   TVPAD-007        259   10   1     249
TVP-14091211   September   9/17/2014   complete   Flora       Wang     US   Flora       Wang     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091213   September   9/18/2014   complete   SUNG        SONG     BR   SUNG        SONG     US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14091213   September   9/18/2014   complete   SUNG        SONG     BR   SUNG        SONG     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091215   September   9/17/2014   complete   Yin         Wong     US   Yin         Wong     US   paypal_standard   USD   TVPAD-004        259   20   1     239
TVP-14091215   September   9/17/2014   complete   Yin         Wong     US   Yin         Wong     US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091216   September   9/18/2014   complete   Suijia      Cai      AU   Suijia      Cai      AU   braintree         USD   TVPAD-004        259   10   1     249
TVP-14091216   September   9/18/2014   complete   Suijia      Cai      AU   Suijia      Cai      AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091217   September   9/17/2014   complete   Karen       Zhao     AU   Karen       Zhao     AU   braintree         USD   TVPAD-007        259   10   1     249
TVP-14091217   September   9/17/2014   complete   Karen       Zhao     AU   Karen       Zhao     AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091218   September   9/17/2014   complete   Rang        Wang     AU   Rang        Wang     AU   paypal_standard   USD   TVPAD-004        259   10   1     249
TVP-14091218   September   9/17/2014   complete   Rang        Wang     AU   Rang        Wang     AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091219   September   9/18/2014   complete   Mun         Han      US   Mun         Han      US   braintree         USD   TVPAD-007        259   10   1     249
TVP-14091219   September   9/18/2014   complete   Mun         Han      US   Mun         Han      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091220   September   9/18/2014   complete   Ronnie      Ward     US   Ronnie      Ward     US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14091220   September   9/18/2014   complete   Ronnie      Ward     US   Ronnie      Ward     US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011282   September   9/18/2014   complete   Rui         Li       CA   Rui         Li       CA   braintree         USD   TVPAD-007        259   10   1     249
TVP-70011282   September   9/18/2014   complete   Rui         Li       CA   Rui         Li       CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14091221   September   9/18/2014   complete   Timothy     Missi    US   Timothy     Missi    US   braintree         USD   TVPAD-007        259   20   1     239
TVP-14091221   September   9/18/2014   complete   Timothy     Missi    US   Timothy     Missi    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091222   September   9/18/2014   complete   kuifan      tong     US   kuifan      tong     US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14091222   September   9/18/2014   complete   kuifan      tong     US   kuifan      tong     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091224   September   9/18/2014   complete   Junqi       Zhu      AU   Junqi       Zhu      AU   braintree         USD   TVPAD-007        259   20   1     239
TVP-14091224   September   9/18/2014   complete   Junqi       Zhu      AU   Junqi       Zhu      AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091225   September   9/18/2014   complete   Alex        Lao      CA   Alex        Lao      CA   braintree         CAD   TVPAD-004        259   20   1     239
TVP-14091225   September   9/18/2014   complete   Alex        Lao      CA   Alex        Lao      CA   braintree         CAD   HGIFT2             0    0   1       0
TVP-14091226   September   9/18/2014   complete   PeiYee      Jen      TW   PeiYee      Jen      TW   braintree         USD   TVPAD-004        259   10   1     249
TVP-14091226   September   9/18/2014   complete   PeiYee      Jen      TW   PeiYee      Jen      TW   braintree         USD   HGIFT2             0    0   1       0
TVP-14091228   September   9/18/2014   complete   Quy         Hiu      US   Quy         Hiu      US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14091228   September   9/18/2014   complete   Quy         Hiu      US   Quy         Hiu      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091229   September   9/24/2014   complete   Weiping     Pan      CA   Peter       Shen     CA   braintree         USD   TVPAD-004        259   20   1     239
TVP-14091229   September   9/24/2014   complete   Weiping     Pan      CA   Peter       Shen     CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14091230   September   9/19/2014   complete   raymond     huang    NZ   raymond     Huang    NZ   braintree         USD   TVPAD-004        259   10   1     249
TVP-14091230   September   9/19/2014   complete   raymond     huang    NZ   raymond     Huang    NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091231   September   9/18/2014   complete   Yina        Jiang    AU   Yina        Jiang    AU   braintree         USD   TVPAD-004        259   10   1     249
TVP-14091231   September   9/18/2014   complete   Yina        Jiang    AU   Yina        Jiang    AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14091232   September   9/18/2014   complete   raymond     huang    NZ   raymond     huang    NZ   braintree         USD   TVPAD-004        259   10   1     249
TVP-14091232   September   9/18/2014   complete   raymond     huang    NZ   raymond     huang    NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091233   September   9/19/2014   complete   Min         Xu       GB   Min         Xu       GB   braintree         GBP   TVPAD-007        259   20   1     239
TVP-14091233   September   9/19/2014   complete   Min         Xu       GB   Min         Xu       GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14091234   September   9/19/2014   complete   Tim         black    NZ   Tim         black    NZ   paypal_standard   USD   TVPAD-004        259   10   1     249
TVP-14091234   September   9/19/2014   complete   Tim         black    NZ   Tim         black    NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091235   September   9/18/2014   complete   Joosup      Kim      AU   Joosup      Kim      AU   paypal_standard   AUD   TVPAD-004        259   15   1     244
TVP-14091235   September   9/18/2014   complete   Joosup      Kim      AU   Joosup      Kim      AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14091236   September   9/18/2014   complete   Calvin      Chong    NZ   Calvin      Chong    NZ   braintree         USD   TVPAD-007        259   10   1     249
TVP-14091236   September   9/18/2014   complete   Calvin      Chong    NZ   Calvin      Chong    NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14091238   September   9/19/2014   complete   Alsus       Sy       US   Alsus       Sy       US   paypal_standard   USD   TVPAD-007        259   10   1     249
TVP-14091238   September   9/19/2014   complete   Alsus       Sy       US   Alsus       Sy       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091239   September   9/19/2014   complete   Daniel      Leung    US   Daniel      Leung    US   paypal_standard   USD   TVPAD-004        259   10   1     249
TVP-14091239   September   9/19/2014   complete   Daniel      Leung    US   Daniel      Leung    US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091240   September   9/20/2014   complete   Wei         Han      US   Peng        Zhou     US   braintree         USD   TVPAD-004        259   20   1     239
TVP-14091240   September   9/20/2014   complete   Wei         Han      US   Peng        Zhou     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091241   September   9/19/2014   complete   INHAWN      JU       PE   INHAWN      JU       PE   paypal_standard   USD   TVPAD-004        250   10   2     490
TVP-14091241   September   9/19/2014   complete   INHAWN      JU       PE   INHAWN      JU       PE   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14091242   September   9/19/2014   complete   Miran       na       US   Miran       na       US   braintree         USD   TVPAD-007        259   10   1     249
TVP-14091242   September   9/19/2014   complete   Miran       na       US   Miran       na       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14091243   September   9/19/2014   complete   Leon        kim      NZ   Leon        kim      NZ   paypal_standard   USD   TVPAD-004        259   20   1     239
TVP-14091243   September   9/19/2014   complete   Leon        kim      NZ   Leon        kim      NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14091244   September   9/19/2014   complete   Bing        Liu      AU   Bing        Liu      AU   paypal_standard   AUD   TVPAD-004        259   20   1     239
TVP-14091244   September   9/19/2014   complete   Bing        Liu      AU   Bing        Liu      AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14091245   September   9/20/2014   complete   Raylia      Bae      AU   Raylia      Bae      AU   braintree         USD   TVPAD-004        259   10   1     249
TVP-14091245   September   9/20/2014   complete   Raylia      Bae      AU   Raylia      Bae      AU   braintree         USD   HGIFT2             0    0   1       0
TVP-70011283   September   9/20/2014   complete   Mintsui     Chen     US   Mintsui     Chen     US   braintree         USD   TVPAD-007        259   10   1     249
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TVP-70011283   September   9/20/2014   complete   Mintsui       Chen            US   Mintsui       Chen            US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091246   September   9/20/2014   complete   Yueh-Wen      Chang           US   Yueh-Wen      Chang           US   paypal_standard   USD   TVPAD-004                       259      10   1     249
TVP-14091246   September   9/20/2014   complete   Yueh-Wen      Chang           US   Yueh-Wen      Chang           US   paypal_standard   USD   HGIFT2                             0      0   1        0
TVP-14091247   September   9/20/2014   complete   D             Ki              US   D             Ki              US   braintree         USD   TVPAD-004                       259      20   1     239
TVP-14091247   September   9/20/2014   complete   D             Ki              US   D             Ki              US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091248   September   9/20/2014   complete   TJON          FELIX           GF   TJON          FELIX           GF   paypal_standard   USD   TVPAD-004                       259      10   1     249
TVP-14091248   September   9/20/2014   complete   TJON          FELIX           GF   TJON          FELIX           GF   paypal_standard   USD   HGIFT1                             0      0   1        0
TVP-14091249   September   9/20/2014   complete   Dafang        Duan            US   Dafang        Duan            US   braintree         USD   TVPAD-004                       259      20   1     239
TVP-14091249   September   9/20/2014   complete   Dafang        Duan            US   Dafang        Duan            US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091250   September   9/20/2014   complete   Seog          Sohn            SG   Seog          Sohn            SG   braintree         USD   TVPAD-004                       259      10   1     249
TVP-14091250   September   9/20/2014   complete   Seog          Sohn            SG   Seog          Sohn            SG   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091251   September   9/20/2014   complete   Jingjie       Zhang           SG   Jingjie       Zhang           SG   paypal_standard   USD   TVPAD-004                       259      10   1     249
TVP-14091251   September   9/20/2014   complete   Jingjie       Zhang           SG   Jingjie       Zhang           SG   paypal_standard   USD   HGIFT2                             0      0   1        0
TVP-14091252   September   9/20/2014   complete   Chung         Kook            AE   Chung         Kook            AE   braintree         USD   TVPAD-004                       259      10   1     249
TVP-14091252   September   9/20/2014   complete   Chung         Kook            AE   Chung         Kook            AE   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091253   September   9/22/2014   complete   Chu           Tran            CH   Chu           Tran            CH   paypal_standard   USD   TVPAD-007                       259      20   1     239
TVP-14091253   September   9/22/2014   complete   Chu           Tran            CH   Chu           Tran            CH   paypal_standard   USD   HGIFT2                             0      0   1        0
TVP-14091254   September   9/22/2014   complete   Vincent       Tam             AU   Vincent       Tam             AU   braintree         USD   TVPAD-004                       259      10   1     249
TVP-14091254   September   9/22/2014   complete   Vincent       Tam             AU   Vincent       Tam             AU   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091255   September   9/22/2014   complete   Raymond       Apiou           GB   Raymond       Apiou           GB   braintree         GBP   TVPAD-004                       259      10   1     249
TVP-14091255   September   9/22/2014   complete   Raymond       Apiou           GB   Raymond       Apiou           GB   braintree         GBP   HGIFT2                             0      0   1        0
TVP-14091257   September   9/22/2014   complete   RICHARD       HO              GF   RICHARD       HO              GF   braintree         EUR   TVPAD-004                       250    6.59   2   493.41
TVP-14091257   September   9/22/2014   complete   RICHARD       HO              GF   RICHARD       HO              GF   braintree         EUR   TVPAD-007                       259    3.41   1   255.59
TVP-14091257   September   9/22/2014   complete   RICHARD       HO              GF   RICHARD       HO              GF   braintree         EUR   HGIFT2                             0      0   3        0
TVP-14091258   September   9/22/2014   complete   long          nguyen          US   long          nguyen          US   braintree         USD   TVPAD-AC-003-TVPAD-AC-003-US   29.99      0   1    29.99
TVP-14091259   September   9/22/2014   complete   Pabbi         Grover          CA   Pabbi         Grover          CA   braintree         USD   TVPAD-007                       259      20   1     239
TVP-14091259   September   9/22/2014   complete   Pabbi         Grover          CA   Pabbi         Grover          CA   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091260   September   9/22/2014   complete   Mihea         kim             US   Mihea         kim             US   braintree         USD   TVPAD-004                       259      10   1     249
TVP-14091260   September   9/22/2014   complete   Mihea         kim             US   Mihea         kim             US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091261   September   9/22/2014   complete   William       Yip             GB   William       Yip             GB   braintree         GBP   TVPAD-AC-004                   29.99      0   1    29.99
TVP-14091262   September   9/22/2014   complete   Kwok          Ong             US   Kwok          Ong             US   braintree         USD   TVPAD-007                       259      10   1     249
TVP-14091262   September   9/22/2014   complete   Kwok          Ong             US   Kwok          Ong             US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091256   September   9/22/2014   complete   Benita        Chiong          US   Benita        Chiong          US   braintree         USD   TVPAD-004                       259      20   1     239
TVP-14091256   September   9/22/2014   complete   Benita        Chiong          US   Benita        Chiong          US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091263   September   9/22/2014   complete   In            Shim            CA   In            Shim            CA   paypal_standard   CAD   TVPAD-AC-004                   29.99      0   1    29.99
TVP-14091264   September   9/22/2014   complete   Fengyi        Huang           AU   Fengyi        Huang           AU   braintree         USD   TVPAD-004                       259      10   1     249
TVP-14091264   September   9/22/2014   complete   Fengyi        Huang           AU   Fengyi        Huang           AU   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091265   September   9/22/2014   complete   MINXIN        HE              US   MINXIN        HE              US   braintree         USD   TVPAD-004                       259      15   1     244
TVP-14091265   September   9/22/2014   complete   MINXIN        HE              US   MINXIN        HE              US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091266   September   9/22/2014   complete   Chao-Kuo      Lien            AU   Chao-Kuo      Lien            AU   braintree         USD   TVPAD-004                       259      10   1     249
TVP-14091266   September   9/22/2014   complete   Chao-Kuo      Lien            AU   Chao-Kuo      Lien            AU   braintree         USD   HGIFT2                             0      0   1        0
TVP-70011284   September   9/22/2014   complete   Man           cheung          NL   Man           cheung          NL   braintree         USD   TVPAD-004                       259      10   1     249
TVP-70011284   September   9/22/2014   complete   Man           cheung          NL   Man           cheung          NL   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091267   September   9/22/2014   complete   Fong          Tuem            AU   Fong          Tuem            AU   braintree         USD   TVPAD-004                       259      10   1     249
TVP-14091267   September   9/22/2014   complete   Fong          Tuem            AU   Fong          Tuem            AU   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091268   September   9/22/2014   complete   Gerald        Loh             AU   Gerald        Loh             AU   paypal_standard   USD   TVPAD-004                       259      20   1     239
TVP-14091268   September   9/22/2014   complete   Gerald        Loh             AU   Gerald        Loh             AU   paypal_standard   USD   HGIFT2                             0      0   1        0
TVP-14091269   September   9/22/2014   complete   Freek         Flury           NL   Freek         Flury           NL   braintree         USD   TVPAD-007                       259      10   1     249
TVP-14091269   September   9/22/2014   complete   Freek         Flury           NL   Freek         Flury           NL   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091270   September   9/22/2014   complete   ChangSheng    Foo             SG   ChangSheng    Foo             SG   braintree         USD   TVPAD-007                       259      10   1     249
TVP-14091270   September   9/22/2014   complete   ChangSheng    Foo             SG   ChangSheng    Foo             SG   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091271   September   9/22/2014   complete   Christopher   Tong            US   Christopher   Tong            US   braintree         USD   TVPAD-007                       259      20   1     239
TVP-14091271   September   9/22/2014   complete   Christopher   Tong            US   Christopher   Tong            US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091272   September   9/22/2014   complete   dongseok      jeon            PL   dongseok      jeon            PL   braintree         USD   TVPAD-007                       250      10   2     490
TVP-14091272   September   9/22/2014   complete   dongseok      jeon            PL   dongseok      jeon            PL   braintree         USD   HGIFT2                             0      0   2        0
TVP-14091273   September   9/22/2014   complete   Emily         Huang           US   Emily         Huang           US   braintree         USD   TVPAD-004                       259      10   1     249
TVP-14091273   September   9/22/2014   complete   Emily         Huang           US   Emily         Huang           US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091274   September   9/22/2014   complete   qun           zhang           SE   qun           zhang           SE   braintree         USD   TVPAD-004                       259      10   1     249
TVP-14091274   September   9/22/2014   complete   qun           zhang           SE   qun           zhang           SE   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091275   September   9/22/2014   complete   Kevin         Truong          US   Kevin         Truong          US   braintree         USD   TVPAD-AC-004                   29.99      0   1    29.99
TVP-14091276   September   9/22/2014   complete   Bryan         Chuah           US   Bryan         Chuah           US   braintree         USD   TVPAD-004                       259      20   1     239
TVP-14091276   September   9/22/2014   complete   Bryan         Chuah           US   Bryan         Chuah           US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091278   September   9/22/2014   complete   Caroline      Shak            GB   Caroline      Shak            GB   braintree         GBP   TVPAD-007                       259      20   1     239
TVP-14091278   September   9/22/2014   complete   Caroline      Shak            GB   Caroline      Shak            GB   braintree         GBP   HGIFT2                             0      0   1        0
TVP-14091279   September   9/22/2014   complete   Jieyu         Huang           US   Jieyu         Huang           US   braintree         USD   TVPAD-007                       259      10   1     249
TVP-14091279   September   9/22/2014   complete   Jieyu         Huang           US   Jieyu         Huang           US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091280   September   9/22/2014   complete   jianheng      wang            US   jianheng      wang            US   braintree         USD   TVPAD-007                       259      10   1     249
TVP-14091280   September   9/22/2014   complete   jianheng      wang            US   jianheng      wang            US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091281   September   9/22/2014   complete   cook          eum             NZ   cook          eum             NZ   braintree         USD   TVPAD-004                       259      10   1     249
TVP-14091281   September   9/22/2014   complete   cook          eum             NZ   cook          eum             NZ   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091282   September   9/22/2014   complete   Xiao          Chan            US   Xiao          Chan            US   braintree         USD   TVPAD-004                       259      10   1     249
TVP-14091282   September   9/22/2014   complete   Xiao          Chan            US   Xiao          Chan            US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091283   September   9/22/2014   complete   David         Kim             NZ   David         Kim             NZ   braintree         USD   TVPAD-007                       259      20   1     239
TVP-14091283   September   9/22/2014   complete   David         Kim             NZ   David         Kim             NZ   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091284   September   9/22/2014   complete   JAE           KIM             SG   JAE           KIM             SG   braintree         USD   TVPAD-007                       259      20   1      239
TVP-14091284   September   9/22/2014   complete   JAE           KIM             SG   JAE           KIM             SG   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091285   September   9/22/2014   complete   Cadence       Zhou            US   Cadence       Zhou            US   paypal_standard   USD   TVPAD-007                       259      20   1     239
TVP-14091285   September   9/22/2014   complete   Cadence       Zhou            US   Cadence       Zhou            US   paypal_standard   USD   HGIFT2                             0      0   1        0
TVP-14091286   September   9/22/2014   complete   Lee           Yong            SG   Lee           Yong            SG   braintree         USD   TVPAD-004                       250      20   2      480
TVP-14091286   September   9/22/2014   complete   Lee           Yong            SG   Lee           Yong            SG   braintree         USD   HGIFT2                             0      0   2        0
TVP-14091287   September   9/22/2014   complete   Pojsawat      vipartapunthu   AU   Pojsawat      vipartapunthu   AU   braintree         USD   TVPAD-004                       259      10   1     249
TVP-14091287   September   9/22/2014   complete   Pojsawat      vipartapunthu   AU   Pojsawat      vipartapunthu   AU   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091288   September   9/23/2014   complete   maggie        chan            US   maggie        chan            US   braintree         USD   TVPAD-007                        259     15   1      244
TVP-14091288   September   9/23/2014   complete   maggie        chan            US   maggie        chan            US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091289   September   9/23/2014   complete   Alan          Lee             US   Albert        Lee             US   braintree         USD   TVPAD-004                       259      10   1      249
TVP-14091289   September   9/23/2014   complete   Alan          Lee             US   Albert        Lee             US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091290   September   9/23/2014   complete   Sifang        Hong            US   Sifang        Hong            US   braintree         USD   TVPAD-004                       259      10   1      249
TVP-14091290   September   9/23/2014   complete   Sifang        Hong            US   Sifang        Hong            US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091291   September   9/22/2014   complete   Yuna          Choi            CA   Yuna          Choi            CA   paypal_standard   USD   TVPAD-007                        259     10   1      249
TVP-14091291   September   9/22/2014   complete   Yuna          Choi            CA   Yuna          Choi            CA   paypal_standard   USD   HGIFT2                             0      0   1        0
TVP-14091292   September   9/23/2014   complete   HUNG          FRANCK CHOEUR   FR   Franck        HUNG            FR   braintree         EUR   TVPAD-004                       259      20   1     239
TVP-14091292   September   9/23/2014   complete   HUNG          FRANCK CHOEUR   FR   Franck        HUNG            FR   braintree         EUR   HGIFT2                             0      0   1        0
TVP-14091293   September   9/23/2014   complete   Jenny         Duong           GB   Jenny         Duong           GB   braintree         GBP   TVPAD-004                       259      20   1      239
TVP-14091293   September   9/23/2014   complete   Jenny         Duong           GB   Jenny         Duong           GB   braintree         GBP   HGIFT2                             0      0   1        0
TVP-14091294   September   9/23/2014   complete   Maria         Lee             US   Maria         Lee             US   braintree         USD   TVPAD-004                       259      10   1     249
TVP-14091294   September   9/23/2014   complete   Maria         Lee             US   Maria         Lee             US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091295   September   9/23/2014   complete   Adrienne      Balmes          GB   Adrienne      Balmes          GB   braintree         GBP   TVPAD-004                       250      10   2      490
TVP-14091295   September   9/23/2014   complete   Adrienne      Balmes          GB   Adrienne      Balmes          GB   braintree         GBP   HGIFT2                             0      0   2        0
TVP-14091296   September   9/24/2014   complete   Mrs           Sia-Robey       GB   Mrs           Sia-Robey       GB   braintree         GBP   TVPAD-007                       259      20   1      239
TVP-14091296   September   9/24/2014   complete   Mrs           Sia-Robey       GB   Mrs           Sia-Robey       GB   braintree         GBP   HGIFT2                             0      0   1        0
TVP-14091297   September   9/23/2014   complete   Amy           Yip             GB   Amy           Yip             GB   paypal_standard   GBP   TVPAD-004                        259     10   1      249
TVP-14091297   September   9/23/2014   complete   Amy           Yip             GB   Amy           Yip             GB   paypal_standard   GBP   HGIFT2                             0      0   1        0
TVP-14091298   September   9/23/2014   complete   Vincho        Cheung          GB   Wendy         Cheung          NZ   braintree         USD   TVPAD-007                        259     10   1      249
TVP-14091298   September   9/23/2014   complete   Vincho        Cheung          GB   Wendy         Cheung          NZ   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091299   September   9/23/2014   complete   Polly         Tam             US   Polly         Tam             US   braintree         USD   TVPAD-007                        259     10   1      249
TVP-14091299   September   9/23/2014   complete   Polly         Tam             US   Polly         Tam             US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091300   September   9/23/2014   complete   Kin           Siew            US   Kin           Siew            US   braintree         USD   TVPAD-007                        259     20   1      239
TVP-14091300   September   9/23/2014   complete   Kin           Siew            US   Kin           Siew            US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091301   September   9/23/2014   complete   Rhonda        Yen             US   Yong          Yen             US   braintree         USD   TVPAD-004                        259     20   1      239
TVP-14091301   September   9/23/2014   complete   Rhonda        Yen             US   Yong          Yen             US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091303   September   9/23/2014   complete   Hiu           choi            AU   Hiu           choi            AU   braintree         AUD   TVPAD-004                       259      10   1      249
TVP-14091303   September   9/23/2014   complete   Hiu           choi            AU   Hiu           choi            AU   braintree         AUD   HGIFT2                             0      0   1        0
TVP-14091304   September   9/23/2014   complete   Mo            Meng            NZ   Mo            Meng            NZ   braintree         USD   TVPAD-004                        259     10   1      249
TVP-14091304   September   9/23/2014   complete   Mo            Meng            NZ   Mo            Meng            NZ   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091305   September   9/23/2014   complete   Zhenggeng     huang           AU   Zhenggeng     huang           AU   paypal_standard   AUD   TVPAD-AC-004                   29.99      0   1    29.99
TVP-14091306   September   9/23/2014   complete   Betty         Koh             AU   Betty         Koh             AU   paypal_standard   USD   TVPAD-007                        259     10   1      249
TVP-14091306   September   9/23/2014   complete   Betty         Koh             AU   Betty         Koh             AU   paypal_standard   USD   HGIFT2                             0      0   1        0
TVP-14091308   September   9/24/2014   complete   Lee           Chew            AU   Lee           Chew            AU   paypal_standard   AUD   TVPAD-007                        259     10   1      249
TVP-14091308   September   9/24/2014   complete   Lee           Chew            AU   Lee           Chew            AU   paypal_standard   AUD   TVPAD-004                        259     10   1      249
TVP-14091308   September   9/24/2014   complete   Lee           Chew            AU   Lee           Chew            AU   paypal_standard   AUD   HGIFT2                             0      0   2        0
TVP-14091310   September   9/24/2014   complete   Siew          Hong            SG   Siew          Hong            SG   braintree         USD   TVPAD-007                        259     10   1      249
TVP-14091310   September   9/24/2014   complete   Siew          Hong            SG   Siew          Hong            SG   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091311   September   9/24/2014   complete   Tsan          Li              US   Tsan          Li              US   paypal_standard   USD   TVPAD-004                        259     10   1      249
TVP-14091311   September   9/24/2014   complete   Tsan          Li              US   Tsan          Li              US   paypal_standard   USD   HGIFT2                             0      0   1        0
TVP-14091312   September   9/24/2014   complete   Huehoa        Luu             GB   Huehoa        Luu             GB   braintree         GBP   TVPAD-007                       259      20   1      239
TVP-14091312   September   9/24/2014   complete   Huehoa        Luu             GB   Huehoa        Luu             GB   braintree         GBP   HGIFT2                             0      0   1        0
TVP-14091313   September   9/24/2014   complete   Wendy         Gan             NZ   Wendy         Gan             NZ   braintree         USD   TVPAD-004                        250     10   2      490
TVP-14091313   September   9/24/2014   complete   Wendy         Gan             NZ   Wendy         Gan             NZ   braintree         USD   HGIFT2                             0      0   2        0
TVP-14091314   September   9/24/2014   complete   yan           zhang           US   yan           zhang           US   braintree         USD   TVPAD-AC-004                   29.99      0   1    29.99
TVP-70011285   September   9/24/2014   complete   Vickie        Liang           US   Vickie        Liang           US   braintree         USD   TVPAD-004                        250     20   4      980
TVP-70011285   September   9/24/2014   complete   Vickie        Liang           US   Vickie        Liang           US   braintree         USD   HGIFT2                             0      0   4        0
TVP-14091318   September   9/25/2014   complete   Jinesh        George          US   Xuejin        Ruan            US   braintree         USD   TVPAD-004                        259     10   1      249
TVP-14091318   September   9/25/2014   complete   Jinesh        George          US   Xuejin        Ruan            US   braintree         USD   HGIFT2                             0      0   1        0
TVP-70011286   September   9/24/2014   complete   LIU           LI              AU   LIU           LI              AU   paypal_standard   USD   TVPAD-007                        259     10   1      249
TVP-70011286   September   9/24/2014   complete   LIU           LI              AU   LIU           LI              AU   paypal_standard   USD   HGIFT2                             0      0   1        0
TVP-14091319   September   9/24/2014   complete   SANGJUN       AN              US   SANGJUN       AN              US   braintree         USD   TVPAD-007                        259     10   1      249
TVP-14091319   September   9/24/2014   complete   SANGJUN       AN              US   SANGJUN       AN              US   braintree         USD   HGIFT2                             0      0   1        0
TVP-14091320   September   9/24/2014   complete   Johnny        Zhu             AU   Johnny        Zhu             AU   paypal_standard   AUD   TVPAD-004                        259     10   1      249
TVP-14091320   September   9/24/2014   complete   Johnny        Zhu             AU   Johnny        Zhu             AU   paypal_standard   AUD   HGIFT2                             0      0   1        0
TVP-14091322   September   9/25/2014   complete   Wai           Chan            DE   Wai           Chan            DE   braintree         EUR   TVPAD-007                        259     20   1      239
TVP-14091322   September   9/25/2014   complete   Wai           Chan            DE   Wai           Chan            DE   braintree         EUR   HGIFT2                             0      0   1        0
TVP-14091323   September   9/25/2014   complete   Chui          Lam             GB   Chui          Lam             GB   paypal_standard   GBP   TVPAD-007                        259     10   1      249
TVP-14091323   September   9/25/2014   complete   Chui          Lam             GB   Chui          Lam             GB   paypal_standard   GBP   HGIFT2                             0      0   1        0
TVP-14091324   September   9/25/2014   complete   Heidi         lee             US   Heidi         lee             US   braintree         USD   TVPAD-007                        259     20   1      239
TVP-14091324   September   9/25/2014   complete   Heidi         lee             US   Heidi         lee             US   braintree         USD   HGIFT2                             0      0   1        0
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TVP-14091325   September   9/25/2014   complete   Paul         Lo          AU   Paul         Lo          AU   braintree         USD   TVPAD-004       259      20   1     239
TVP-14091325   September   9/25/2014   complete   Paul         Lo          AU   Paul         Lo          AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14091326   September   9/25/2014   complete   chris        cheng       NZ   chris        cheng       NZ   braintree         USD   TVPAD-007       259      10   1     249
TVP-14091326   September   9/25/2014   complete   chris        cheng       NZ   chris        cheng       NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14091327   September   9/25/2014   complete   Patrick      Chiu        NZ   Patrick      Chiu        NZ   braintree         USD   TVPAD-007       259      10   1     249
TVP-14091327   September   9/25/2014   complete   Patrick      Chiu        NZ   Patrick      Chiu        NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14091328   September   9/25/2014   complete   Denis        Cains       NZ   Denis        Cains       NZ   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14091328   September   9/25/2014   complete   Denis        Cains       NZ   Denis        Cains       NZ   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14091330   September   9/26/2014   complete   Ka           Yeung       GB   Ka           Yeung       GB   braintree         GBP   TVPAD-007       259      10   1     249
TVP-14091330   September   9/26/2014   complete   Ka           Yeung       GB   Ka           Yeung       GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14091331   September   9/26/2014   complete   Youliang     Chou        NL   Youliang     Chou        NL   braintree         EUR   TVPAD-007       250      10   2     490
TVP-14091331   September   9/26/2014   complete   Youliang     Chou        NL   Youliang     Chou        NL   braintree         EUR   HGIFT2             0      0   2        0
TVP-14091332   September   9/26/2014   complete   Roel         Lie         SR   Roel         Computers   US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14091332   September   9/26/2014   complete   Roel         Lie         SR   Roel         Computers   US   braintree         USD   HGIFT2             0      0   1        0
TVP-14091333   September   9/26/2014   complete   hung         Le          CA   hung         Le          CA   braintree         CAD   TVPAD-004       259      10   1     249
TVP-14091333   September   9/26/2014   complete   hung         Le          CA   hung         Le          CA   braintree         CAD   HGIFT2             0      0   1        0
TVP-14091334   September   9/26/2014   complete   Trevor       Chang       NZ   Trevor       Chang       NZ   braintree         USD   TVPAD-007       259      10   1     249
TVP-14091334   September   9/26/2014   complete   Trevor       Chang       NZ   Trevor       Chang       NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14091336   September   9/26/2014   complete   qiang        hua liu     GB   Qiang        liu         GB   braintree         USD   TVPAD-004       259      10   1     249
TVP-14091336   September   9/26/2014   complete   qiang        hua liu     GB   Qiang        liu         GB   braintree         USD   HGIFT2             0      0   1        0
TVP-14091337   September   9/26/2014   complete   Michael      Zhang       AU   Michael      Zhang       AU   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14091337   September   9/26/2014   complete   Michael      Zhang       AU   Michael      Zhang       AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14091338   September   9/26/2014   complete   Robert       Friedler    AU   Robert       Friedler    AU   paypal_standard   AUD   TVPAD-004       250      10   3     740
TVP-14091338   September   9/26/2014   complete   Robert       Friedler    AU   Robert       Friedler    AU   paypal_standard   AUD   HGIFT2             0      0   3        0
TVP-14091339   September   9/26/2014   complete   SengWei      Ting        MY   SengWei      Ting        MY   braintree         USD   TVPAD-004       259      20   1     239
TVP-14091339   September   9/26/2014   complete   SengWei      Ting        MY   SengWei      Ting        MY   braintree         USD   HGIFT2             0      0   1        0
TVP-14091341   September   9/26/2014   complete   Neil         Loo         US   Neil         Loo         US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14091341   September   9/26/2014   complete   Neil         Loo         US   Neil         Loo         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14091342   September   10/5/2014   complete   dong         yoon        US   si           lee         US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14091342   September   10/5/2014   complete   dong         yoon        US   si           lee         US   braintree         USD   HGIFT2             0      0   1        0
TVP-70011287   September   9/26/2014   complete   Ken          Tang        NZ   Ken          Tang        NZ   braintree         USD   TVPAD-004       250      20   3     730
TVP-70011287   September   9/26/2014   complete   Ken          Tang        NZ   Ken          Tang        NZ   braintree         USD   HGIFT2             0      0   3        0
TVP-14091344   September   9/26/2014   complete   John         Pyo         US   John         Pyo         US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14091344   September   9/26/2014   complete   John         Pyo         US   John         Pyo         US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14091345   September   9/26/2014   complete   WAIYEE       TSANG       GB   WAIYEE       TSANG       GB   paypal_standard   GBP   TVPAD-004       259      10   1     249
TVP-14091345   September   9/26/2014   complete   WAIYEE       TSANG       GB   WAIYEE       TSANG       GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14091346   September   9/26/2014   complete   David        Kim         US   David        Kim         US   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14091346   September   9/26/2014   complete   David        Kim         US   David        Kim         US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14091347   September   9/27/2014   complete   joyce        tsang       US   joyce        tsang       US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14091347   September   9/27/2014   complete   joyce        tsang       US   joyce        tsang       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14091348   September   9/27/2014   complete   yu           zhang       US   yu           zhang       US   braintree         USD   TVPAD-007       259    8.96   1   250.04
TVP-14091348   September   9/27/2014   complete   yu           zhang       US   yu           zhang       US   braintree         USD   TVPAD-AC-004   29.99   1.04   1    28.95
TVP-14091348   September   9/27/2014   complete   yu           zhang       US   yu           zhang       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14091351   September   9/27/2014   complete   Olivier      lieu        FR   Olivier      lieu        FR   paypal_standard   USD   TVPAD-007       250      20   2     480
TVP-14091351   September   9/27/2014   complete   Olivier      lieu        FR   Olivier      lieu        FR   paypal_standard   USD   HGIFT2             0      0   2        0
TVP-14091353   September   9/26/2014   complete   Hoi          Yan         US   WenJing      Li          US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14091353   September   9/26/2014   complete   Hoi          Yan         US   WenJing      Li          US   braintree         USD   HGIFT2             0      0   1        0
TVP-70011288   September   9/30/2014   complete   Wen          Chen        US   Wen          Chen        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-70011288   September   9/30/2014   complete   Wen          Chen        US   Wen          Chen        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14091354   September   9/28/2014   complete   Chaomei      Xiang       US   Chaomei      Xiang       US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14091354   September   9/28/2014   complete   Chaomei      Xiang       US   Chaomei      Xiang       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14091355   September   9/28/2014   complete   Ken          Lee         SG   Ken          Lee         SG   braintree         USD   TVPAD-004       259      10   1     249
TVP-14091355   September   9/28/2014   complete   Ken          Lee         SG   Ken          Lee         SG   braintree         USD   HGIFT2             0      0   1        0
TVP-14091356   September   9/28/2014   complete   Eddy         Tsu         US   Eddy         Tsu         US   braintree         USD   TVPAD-007       259      20   1     239
TVP-14091356   September   9/28/2014   complete   Eddy         Tsu         US   Eddy         Tsu         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14091357   September   9/28/2014   complete   Yufan        Xue         US   Yufan        Xue         US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14091357   September   9/28/2014   complete   Yufan        Xue         US   Yufan        Xue         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14091358   September   9/28/2014   complete   Joe          Thompson    GB   Joe          Thompson    GB   paypal_standard   GBP   TVPAD-007       259      10   1     249
TVP-14091358   September   9/28/2014   complete   Joe          Thompson    GB   Joe          Thompson    GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14091359   September   9/28/2014   complete   Tommy        Ku          US   Tommy        Ku          US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14091359   September   9/28/2014   complete   Tommy        Ku          US   Tommy        Ku          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14091360   September   9/28/2014   complete   Thomas       Lee         US   Thomas       Lee         US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14091360   September   9/28/2014   complete   Thomas       Lee         US   Thomas       Lee         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14091361   September   9/29/2014   complete   Duong        Sy          US   Fandy        Sy          US   braintree         USD   TVPAD-004       250      10   2     490
TVP-14091361   September   9/29/2014   complete   Duong        Sy          US   Fandy        Sy          US   braintree         USD   HGIFT2             0      0   2        0
TVP-14091362   September   9/29/2014   complete   Byoungchan   Jeon        US   Byoungchan   Jeon        US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14091362   September   9/29/2014   complete   Byoungchan   Jeon        US   Byoungchan   Jeon        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14091363   September   10/5/2014   complete   Yong         Kim         US   Diana        Yoon        US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14091363   September   10/5/2014   complete   Yong         Kim         US   Diana        Yoon        US   braintree         USD   HGIFT2             0      0   1        0
TVP-70011289   September   9/28/2014   complete   Stanley      Hon         AU   Stanley      Hon         AU   paypal_standard   AUD   TVPAD-004       259      10   1     249
TVP-70011289   September   9/28/2014   complete   Stanley      Hon         AU   Stanley      Hon         AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14091364   September   9/29/2014   complete   Snehashish   Bramha      US   Snehashish   Bramha      US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14091364   September   9/29/2014   complete   Snehashish   Bramha      US   Snehashish   Bramha      US   braintree         USD   HGIFT2             0      0   1        0
TVP-14091365   September   9/29/2014   complete   Holman       Jue         US   Holman       Jue         US   paypal_standard   USD   TVPAD-004       250      20   3     730
TVP-14091365   September   9/29/2014   complete   Holman       Jue         US   Holman       Jue         US   paypal_standard   USD   HGIFT2             0      0   3        0
TVP-14091367   September   9/29/2014   complete   jin          yang        AU   jin          yang        AU   braintree         USD   TVPAD-AC-004   29.99      0   1    29.99
TVP-14091368   September   9/29/2014   complete   ryan         ibrahim     AU   ryan         ibrahim     AU   braintree         USD   TVPAD-007       259      10   1     249
TVP-14091368   September   9/29/2014   complete   ryan         ibrahim     AU   ryan         ibrahim     AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14091369   September   9/29/2014   complete   HAIBO        WU          AU   HAIBO        WU          AU   braintree         USD   TVPAD-004       259      20   1     239
TVP-14091369   September   9/29/2014   complete   HAIBO        WU          AU   HAIBO        WU          AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14091370   September   9/29/2014   complete   Judy         Choong      GB   Judy         Choong      GB   braintree         GBP   TVPAD-004       245      10   5    1215
TVP-14091370   September   9/29/2014   complete   Judy         Choong      GB   Judy         Choong      GB   braintree         GBP   HGIFT2             0      0   5        0
TVP-14091373   September   9/29/2014   complete   herman       santoso     AU   herman       santoso     AU   paypal_standard   USD   TVPAD-007       259      20   1     239
TVP-14091373   September   9/29/2014   complete   herman       santoso     AU   herman       santoso     AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14091374   September   9/29/2014   complete   jason        chai        AU   jason        chai        AU   paypal_standard   USD   TVPAD-004       259      10   1      249
TVP-14091374   September   9/29/2014   complete   jason        chai        AU   jason        chai        AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14091375   September   9/30/2014   complete   KIM          MIN         ID   KIM          MIN         ID   braintree         USD   TVPAD-004       250      20   3     730
TVP-14091375   September   9/30/2014   complete   KIM          MIN         ID   KIM          MIN         ID   braintree         USD   HGIFT2             0      0   3        0
TVP-70011290   September   9/29/2014   complete   Sharon       Hsu         US   Sharon       Hsu         US   braintree         USD   TVPAD-004       259      10   1      249
TVP-70011290   September   9/29/2014   complete   Sharon       Hsu         US   Sharon       Hsu         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14091376   September   9/29/2014   complete   Eric         Chan        AU   Eric         Chan        AU   braintree         USD   TVPAD-004       259      10   1      249
TVP-14091376   September   9/29/2014   complete   Eric         Chan        AU   Eric         Chan        AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14091377   September   9/29/2014   complete   Shirley      Lo          CA   Shirley      Lo          CA   braintree         USD   TVPAD-004       259      20   1      239
TVP-14091377   September   9/29/2014   complete   Shirley      Lo          CA   Shirley      Lo          CA   braintree         USD   HGIFT2             0      0   1        0
TVP-14091378   September   9/29/2014   complete   ECHO         LIU         AU   ECHO         LIU         AU   braintree         USD   TVPAD-007       259      10   1      249
TVP-14091378   September   9/29/2014   complete   ECHO         LIU         AU   ECHO         LIU         AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14091380   September   9/29/2014   complete   Yi           (yvonne)    AU   Yi           (yvonne)    AU   paypal_standard   AUD   TVPAD-004       259      10   1      249
TVP-14091380   September   9/29/2014   complete   Yi           (yvonne)    AU   Yi           (yvonne)    AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14091381   September   9/30/2014   complete   Jiang        Lei         GB   Jiang        Lei         GB   braintree         GBP   TVPAD-004        259     10   1      249
TVP-14091381   September   9/30/2014   complete   Jiang        Lei         GB   Jiang        Lei         GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14091382   September   9/30/2014   complete   Paul         Wei         US   Paul         Wei         US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14091382   September   9/30/2014   complete   Paul         Wei         US   Paul         Wei         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14091383   September   9/30/2014   complete   Monica       Ip          GB   Monica       Ip          GB   paypal_standard   GBP   TVPAD-004       259      10   1      249
TVP-14091383   September   9/30/2014   complete   Monica       Ip          GB   Monica       Ip          GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14091384   September   9/30/2014   complete   Tony         Young       NZ   Tony         Young       NZ   braintree         USD   TVPAD-007       250      20   2      480
TVP-14091384   September   9/30/2014   complete   Tony         Young       NZ   Tony         Young       NZ   braintree         USD   HGIFT2             0      0   2        0
TVP-14091385   September   9/30/2014   complete   meng         dai         AU   meng         dai         AU   braintree         USD   TVPAD-004       250      10   2      490
TVP-14091385   September   9/30/2014   complete   meng         dai         AU   meng         dai         AU   braintree         USD   HGIFT2             0      0   2        0
TVP-14091386   September   9/30/2014   complete   Joshua       Ling        AU   Joshua       Ling        AU   paypal_standard   USD   TVPAD-007       259      10   1      249
TVP-14091386   September   9/30/2014   complete   Joshua       Ling        AU   Joshua       Ling        AU   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-70011291   September   10/1/2014   complete   gaik wey     khor        IE   gaik         khor        IE   braintree         EUR   TVPAD-004        259     10   1      249
TVP-70011291   September   10/1/2014   complete   gaik wey     khor        IE   gaik         khor        IE   braintree         EUR   HGIFT2             0      0   1        0
TVP-70011292   September   10/1/2014   complete   Alex         Ma          NL   Alex         Ma          NL   paypal_standard   EUR   TVPAD-004       259      10   1      249
TVP-70011292   September   10/1/2014   complete   Alex         Ma          NL   Alex         Ma          NL   paypal_standard   EUR   HGIFT2             0      0   1        0
TVP-14091387   September   10/2/2014   complete   Joanne       Kong        IE   Joanne       Kong        IE   braintree         EUR   TVPAD-004        259     10   1      249
TVP-14091387   September   10/2/2014   complete   Joanne       Kong        IE   Joanne       Kong        IE   braintree         EUR   HGIFT2             0      0   1        0
TVP-14091388   September   10/6/2014   complete   Xuan         le          GB   Xuan         le          GB   paypal_standard   GBP   TVPAD-AC-004   29.99      0   1    29.99
TVP-14091389   September   10/1/2014   complete   liqiang      cai         GB   liqiang      cai         GB   braintree         GBP   TVPAD-007        259     10   1      249
TVP-14091389   September   10/1/2014   complete   liqiang      cai         GB   liqiang      cai         GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14091390   September   10/1/2014   complete   Catherine    Choi        GB   Catherine    Choi        GB   braintree         USD   TVPAD-004        259     10   1      249
TVP-14091390   September   10/1/2014   complete   Catherine    Choi        GB   Catherine    Choi        GB   braintree         USD   HGIFT2             0      0   1        0
TVP-14091391   September   10/1/2014   complete   Christina    Fortes      PH   Christina    Fortes      PH   braintree         USD   TVPAD-004        259     10   1      249
TVP-14091391   September   10/1/2014   complete   Christina    Fortes      PH   Christina    Fortes      PH   braintree         USD   HGIFT2             0      0   1        0
TVP-14091392   September   10/1/2014   complete   Dora         Czeczotka   US   Dora         Czeczotka   US   braintree         USD   TVPAD-007        259     10   1      249
TVP-14091392   September   10/1/2014   complete   Dora         Czeczotka   US   Dora         Czeczotka   US   braintree         USD   HGIFT2             0      0   1        0
TVP-14091393   September   10/1/2014   complete   ha           jung        US   ha           jung        US   braintree         USD   TVPAD-004        250     10   3      740
TVP-14091393   September   10/1/2014   complete   ha           jung        US   ha           jung        US   braintree         USD   HGIFT2             0      0   3        0
TVP-14091394   October     10/1/2014   complete   Tyler        sun         US   Tyler        sun         US   braintree         USD   TVPAD-007        259     10   1      249
TVP-14091394   October     10/1/2014   complete   Tyler        sun         US   Tyler        sun         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14101011   October     10/2/2014   complete   okson        do          US   okson        do          US   braintree         USD   TVPAD-004        250     10   3      740
TVP-14101011   October     10/2/2014   complete   okson        do          US   okson        do          US   braintree         USD   HGIFT2             0      0   3        0
TVP-14101012   October     10/2/2014   complete   So           Wong        US   So           Wong        US   braintree         USD   TVPAD-004        259     10   1      249
TVP-14101012   October     10/2/2014   complete   So           Wong        US   So           Wong        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14101013   October     10/2/2014   complete   LU           LIN         NZ   LU           LIN         NZ   braintree         USD   TVPAD-004        259     10   1      249
TVP-14101013   October     10/2/2014   complete   LU           LIN         NZ   LU           LIN         NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14101014   October     10/2/2014   complete   Hyukkoo      Park        PL   Hyukkoo      Park        PL   braintree         USD   TVPAD-004        259     10   1      249
TVP-14101015   October     10/2/2014   complete   Bing         Han         NZ   Bing         Han         NZ   braintree         USD   TVPAD-004        259     20   1      239
TVP-14101015   October     10/2/2014   complete   Bing         Han         NZ   Bing         Han         NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14101017   October     10/2/2014   complete   Gabriel      Vong        NZ   Gabriel      Vong        NZ   braintree         USD   TVPAD-004        259     15   1      244
TVP-14101017   October     10/2/2014   complete   Gabriel      Vong        NZ   Gabriel      Vong        NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-70011293   October     10/2/2014   complete   Chi          Pang        NZ   Chi          Pang        NZ   paypal_standard   USD   TVPAD-004        259     10   1      249
TVP-70011293   October     10/2/2014   complete   Chi          Pang        NZ   Chi          Pang        NZ   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14101019   October     10/2/2014   complete   Man          Shing       US   Man          Shing       US   paypal_standard   USD   TVPAD-004       259      20   1      239
TVP-14101019   October     10/2/2014   complete   Man          Shing       US   Man          Shing       US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14101020   October     10/2/2014   complete   Yuk-Pui      Cheung      NL   yk           cheung      NL   paypal_standard   USD   TVPAD-004       259      20   1      239
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TVP-14101020   October   10/2/2014   complete   Yuk-Pui     Cheung       NL   yk          cheung       NL   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14101021   October   10/2/2014   complete   Teo         H            SG   Teo         H            SG   braintree         USD   TVPAD-004       259      10   1     249
TVP-14101021   October   10/2/2014   complete   Teo         H            SG   Teo         H            SG   braintree         USD   HGIFT2             0      0   1        0
TVP-14101022   October   10/2/2014   complete   Yuk-Pui     Cheung       NL   Cindy       Nguen        DE   paypal_standard   EUR   TVPAD-004       259      20   1     239
TVP-14101022   October   10/2/2014   complete   Yuk-Pui     Cheung       NL   Cindy       Nguen        DE   paypal_standard   EUR   HGIFT2             0      0   1        0
TVP-14101023   October   10/3/2014   complete   PARDU       RSG          FR   PARDU       RSG          FR   braintree         USD   TVPAD-004       259      10   1     249
TVP-14101023   October   10/3/2014   complete   PARDU       RSG          FR   PARDU       RSG          FR   braintree         USD   HGIFT2             0      0   1        0
TVP-14101024   October   10/3/2014   complete   Hon         Yap          AU   Hon         Yap          AU   braintree         USD   TVPAD-007       259      10   1     249
TVP-14101024   October   10/3/2014   complete   Hon         Yap          AU   Hon         Yap          AU   braintree         USD   HGIFT2             0      0   1        0
TVP-70011294   October   10/3/2014   complete   Di          Wu           US   Di          Wu           US   braintree         USD   TVPAD-004       259    8.96   1   250.04
TVP-70011294   October   10/3/2014   complete   Di          Wu           US   Di          Wu           US   braintree         USD   TVPAD-AC-004   29.99   1.04   1    28.95
TVP-70011294   October   10/3/2014   complete   Di          Wu           US   Di          Wu           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14101025   October   10/3/2014   complete   Kenneth     Hui          CA   Kenneth     Hui          CA   braintree         USD   TVPAD-007       259      20   1     239
TVP-14101025   October   10/3/2014   complete   Kenneth     Hui          CA   Kenneth     Hui          CA   braintree         USD   HGIFT2             0      0   1        0
TVP-14101026   October   10/3/2014   complete   amy         zee          US   amy         zee          US   braintree         USD   TVPAD-004       259      20   1     239
TVP-14101026   October   10/3/2014   complete   amy         zee          US   amy         zee          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14101030   October   10/3/2014   complete   Jiabin      Li           US   Jiabin      Li           US   paypal_standard   USD   TVPAD-004       259      20   1     239
TVP-14101030   October   10/3/2014   complete   Jiabin      Li           US   Jiabin      Li           US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14101031   October   10/3/2014   complete   Zhuo        Chen         US   Zhuo        Chen         US   braintree         USD   TVPAD-007       259    8.96   1   250.04
TVP-14101031   October   10/3/2014   complete   Zhuo        Chen         US   Zhuo        Chen         US   braintree         USD   TVPAD-AC-004   29.99   1.04   1    28.95
TVP-14101031   October   10/3/2014   complete   Zhuo        Chen         US   Zhuo        Chen         US   braintree         USD   HGIFT2             0      0   1        0
TVP-70011295   October   10/4/2014   complete   Aaron       Qin          HU   Aaron       Qin          HU   braintree         USD   TVPAD-007       259      10   1     249
TVP-70011295   October   10/4/2014   complete   Aaron       Qin          HU   Aaron       Qin          HU   braintree         USD   HGIFT2             0      0   1        0
TVP-14101032   October   10/3/2014   complete   Bobo        Shun         NZ   Bobo        Shun         NZ   braintree         USD   TVPAD-004       250      20   2     480
TVP-14101032   October   10/3/2014   complete   Bobo        Shun         NZ   Bobo        Shun         NZ   braintree         USD   HGIFT2             0      0   2        0
TVP-14101033   October   10/3/2014   complete   dawei       feng         AU   dawei       feng         AU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14101033   October   10/3/2014   complete   dawei       feng         AU   dawei       feng         AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14101034   October   10/3/2014   complete   Tony        Nheu         AU   Tony        Nheu         AU   paypal_standard   AUD   TVPAD-004       259      10   1     249
TVP-14101034   October   10/3/2014   complete   Tony        Nheu         AU   Tony        Nheu         AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-70011296   October   10/4/2014   complete   ke          yang         AU   ke          yang         AU   braintree         AUD   TVPAD-007       259      10   1     249
TVP-70011296   October   10/4/2014   complete   ke          yang         AU   ke          yang         AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14101035   October   10/4/2014   complete   Alex        Chen         AU   Alex        Chen         AU   braintree         AUD   TVPAD-004       259      20   1     239
TVP-14101035   October   10/4/2014   complete   Alex        Chen         AU   Alex        Chen         AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14101036   October   10/4/2014   complete   Long        Sun          AU   Long        Sun          AU   braintree         AUD   TVPAD-007       259      10   1     249
TVP-14101036   October   10/4/2014   complete   Long        Sun          AU   Long        Sun          AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14101038   October   10/4/2014   complete   Jessica     Gallagher    US   Jessica     Gallagher    US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14101038   October   10/4/2014   complete   Jessica     Gallagher    US   Jessica     Gallagher    US   braintree         USD   HGIFT2             0      0   1        0
TVP-14101039   October   10/4/2014   complete   Mark        tan          MY   Mark        tan          MY   braintree         USD   TVPAD-AC-004   29.99      0   1    29.99
TVP-14101040   October   10/4/2014   complete   Hung        Li           GB   Hung        Li           GB   paypal_standard   GBP   TVPAD-004       259      20   1     239
TVP-14101040   October   10/4/2014   complete   Hung        Li           GB   Hung        Li           GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14101041   October   10/5/2014   complete   Jihyun      Shin         AE   Jihyun      Shin         AE   braintree         USD   TVPAD-007       259      10   1     249
TVP-14101041   October   10/5/2014   complete   Jihyun      Shin         AE   Jihyun      Shin         AE   braintree         USD   HGIFT2             0      0   1        0
TVP-14101042   October   10/4/2014   complete   haida       leung        NZ   haida       leung        NZ   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14101042   October   10/4/2014   complete   haida       leung        NZ   haida       leung        NZ   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14101043   October   10/5/2014   complete   William     Wong         NZ   William     Wong         NZ   braintree         USD   TVPAD-004       259      20   1     239
TVP-14101043   October   10/5/2014   complete   William     Wong         NZ   William     Wong         NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14101044   October   10/5/2014   complete   Meng        Duong        AT   Meng        Duong        AT   paypal_standard   EUR   TVPAD-004       259      10   1     249
TVP-14101044   October   10/5/2014   complete   Meng        Duong        AT   Meng        Duong        AT   paypal_standard   EUR   HGIFT2             0      0   1        0
TVP-14101046   October   10/5/2014   complete   Tak         Ning         US   Tak         Ning         US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14101046   October   10/5/2014   complete   Tak         Ning         US   Tak         Ning         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14101047   October   10/5/2014   complete   Moon        Min          VN   Moon        Min          VN   braintree         USD   TVPAD-004       259      10   1     249
TVP-14101047   October   10/5/2014   complete   Moon        Min          VN   Moon        Min          VN   braintree         USD   HGIFT2             0      0   1        0
TVP-14101048   October   10/5/2014   complete   Craig       Pedersen     NZ   Craig       Pedersen     NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14101048   October   10/5/2014   complete   Craig       Pedersen     NZ   Craig       Pedersen     NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14101050   October   10/6/2014   complete   Koon-Fung   Ng           US   Koon-Fung   Ng           US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14101050   October   10/6/2014   complete   Koon-Fung   Ng           US   Koon-Fung   Ng           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14101051   October   10/6/2014   complete   Toru        Matsui       AU   Toru        Matsui       AU   braintree         AUD   TVPAD-007       259      20   1     239
TVP-14101051   October   10/6/2014   complete   Toru        Matsui       AU   Toru        Matsui       AU   braintree         AUD   HGIFT2             0      0   1        0
TVP-14101052   October   10/6/2014   complete   TSANG       Eddy         BE   TSANG       Eddy         BE   braintree         EUR   TVPAD-004       259      10   1     249
TVP-14101052   October   10/6/2014   complete   TSANG       Eddy         BE   TSANG       Eddy         BE   braintree         EUR   HGIFT2             0      0   1        0
TVP-70011297   October   10/6/2014   complete   Shi         Hu           AU   Shi         Hu           AU   paypal_standard   AUD   TVPAD-007       259      20   1     239
TVP-70011297   October   10/6/2014   complete   Shi         Hu           AU   Shi         Hu           AU   paypal_standard   AUD   HGIFT2             0      0   1        0
TVP-14101053   October   10/6/2014   complete   Yiwen       Meng         LU   Yiwen       Meng         LU   braintree         USD   TVPAD-004       259      10   1     249
TVP-14101053   October   10/6/2014   complete   Yiwen       Meng         LU   Yiwen       Meng         LU   braintree         USD   HGIFT2             0      0   1        0
TVP-14101054   October   10/6/2014   complete   SweeMeng    Yeow         MY   SweeMeng    Yeow         MY   braintree         GBP   TVPAD-004       259      20   1     239
TVP-14101054   October   10/6/2014   complete   SweeMeng    Yeow         MY   SweeMeng    Yeow         MY   braintree         GBP   HGIFT2             0      0   1        0
TVP-14101055   October   10/6/2014   complete   Hannah      Foong        SG   Hannah      Foong        SG   paypal_standard   USD   TVPAD-004       259      10   1     249
TVP-14101055   October   10/6/2014   complete   Hannah      Foong        SG   Hannah      Foong        SG   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14101049   October   10/6/2014   complete   Lim         BeeKhiang    MY   Lim         BeeKhiang    MY   braintree         USD   TVPAD-004       259      20   1     239
TVP-14101049   October   10/6/2014   complete   Lim         BeeKhiang    MY   Lim         BeeKhiang    MY   braintree         USD   HGIFT2             0      0   1        0
TVP-14101056   October   10/6/2014   complete   carmelia    chiang       US   carmelia    chiang       US   braintree         USD   TVPAD-007       259      20   1     239
TVP-14101056   October   10/6/2014   complete   carmelia    chiang       US   carmelia    chiang       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14101057   October   10/6/2014   complete   william     li           GB   william     li           GB   braintree         GBP   TVPAD-004       259      10   1     249
TVP-14101058   October   10/6/2014   complete   Zhou        Wang         GB   Zhou        Wang         GB   braintree         USD   TVPAD-004       259      10   1     249
TVP-14101058   October   10/6/2014   complete   Zhou        Wang         GB   Zhou        Wang         GB   braintree         USD   HGIFT2             0      0   1        0
TVP-70011300   October   10/6/2014   complete   renjun      xia          NO   renjun      xia          NO   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-70011300   October   10/6/2014   complete   renjun      xia          NO   renjun      xia          NO   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14101059   October   10/6/2014   complete   Norman      Chan         NZ   Norman      Chan         NZ   paypal_standard   USD   TVPAD-004       250      10   2     490
TVP-14101059   October   10/6/2014   complete   Norman      Chan         NZ   Norman      Chan         NZ   paypal_standard   USD   HGIFT2             0      0   2        0
TVP-14101060   October   10/6/2014   complete   GuangHao    Jin          US   GuangHao    Jin          US   braintree         USD   TVPAD-004       250      10   2     490
TVP-14101060   October   10/6/2014   complete   GuangHao    Jin          US   GuangHao    Jin          US   braintree         USD   HGIFT2             0      0   2        0
TVP-14101061   October   10/6/2014   complete   Tim         Yip          GB   Tim         Yip          GB   paypal_standard   GBP   TVPAD-007       259      20   1     239
TVP-14101061   October   10/6/2014   complete   Tim         Yip          GB   Tim         Yip          GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14101062   October   10/6/2014   complete   Ying        Zhu          NZ   Ying        Zhu          NZ   braintree         USD   TVPAD-004       259      10   1     249
TVP-14101062   October   10/6/2014   complete   Ying        Zhu          NZ   Ying        Zhu          NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14101063   October   10/6/2014   complete   DoYoung     Kim          SG   DoYoung     Kim          SG   braintree         USD   TVPAD-004       259      20   1     239
TVP-14101063   October   10/6/2014   complete   DoYoung     Kim          SG   DoYoung     Kim          SG   braintree         USD   HGIFT2             0      0   1        0
TVP-14101064   October   10/6/2014   complete   Hoe         Leong        US   Hoe         Leong        US   braintree         USD   HGIFT2         29.99      0   1    29.99
TVP-14101065   October   10/6/2014   complete   soon        jeon         US   soon        jeon         US   braintree         USD   TVPAD-004       259      20   1      239
TVP-14101065   October   10/6/2014   complete   soon        jeon         US   soon        jeon         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14101066   October   10/6/2014   complete   Shu         yang         US   Shu         yang         US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14101066   October   10/6/2014   complete   Shu         yang         US   Shu         yang         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14101067   October   10/6/2014   complete   Gwen        Sing         AU   Gwen        Sing         AU   braintree         USD   TVPAD-007       259      10   1      249
TVP-14101067   October   10/6/2014   complete   Gwen        Sing         AU   Gwen        Sing         AU   braintree         USD   HGIFT2             0      0   1        0
TVP-70011301   October   10/6/2014   complete   Yan         chen         AU   Yan         chen         AU   braintree         USD   TVPAD-007       259      10   1     249
TVP-70011301   October   10/6/2014   complete   Yan         chen         AU   Yan         chen         AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14101068   October   10/6/2014   complete   Steven      NgKokLeong   MY   Steven      NgKokLeong   MY   braintree         USD   TVPAD-007       259      10   1     249
TVP-14101068   October   10/6/2014   complete   Steven      NgKokLeong   MY   Steven      NgKokLeong   MY   braintree         USD   HGIFT2             0      0   1        0
TVP-14101069   October   10/6/2014   complete   Binh        Truong       US   Binh        Truong       US   paypal_standard   USD   TVPAD-004       259      20   1     239
TVP-14101069   October   10/6/2014   complete   Binh        Truong       US   Binh        Truong       US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14101070   October   10/6/2014   complete   Yo-Han      Kim          AU   Yo-Han      Kim          AU   braintree         USD   TVPAD-007       245      10   5    1215
TVP-14101070   October   10/6/2014   complete   Yo-Han      Kim          AU   Yo-Han      Kim          AU   braintree         USD   HGIFT2             0      0   5        0
TVP-14101071   October   10/6/2014   complete   Chi         Tang         GB   Chi         Tang         GB   paypal_standard   GBP   TVPAD-004       259      20   1     239
TVP-14101072   October   10/6/2014   complete   Karen       Chew         NZ   Karen       Chew         NZ   braintree         USD   TVPAD-007       259      10   1     249
TVP-14101072   October   10/6/2014   complete   Karen       Chew         NZ   Karen       Chew         NZ   braintree         USD   HGIFT2             0      0   1        0
TVP-14101073   October   10/6/2014   complete   Simon       Tam          SG   Simon       Tam          SG   braintree         USD   TVPAD-007       250      10   4     990
TVP-14101073   October   10/6/2014   complete   Simon       Tam          SG   Simon       Tam          SG   braintree         USD   HGIFT2             0      0   4        0
TVP-14101074   October   10/6/2014   complete   Xiang       Wang         GB   Jiang       Lei          GB   braintree         GBP   TVPAD-004       259      20   1      239
TVP-14101074   October   10/6/2014   complete   Xiang       Wang         GB   Jiang       Lei          GB   braintree         GBP   HGIFT2             0      0   1        0
TVP-14101075   October   10/6/2014   complete   Daniel      Liang        NZ   Daniel      Liang        NZ   paypal_standard   USD   TVPAD-004       259      20   1     239
TVP-14101075   October   10/6/2014   complete   Daniel      Liang        NZ   Daniel      Liang        NZ   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14101076   October   10/7/2014   complete   David       Lam          SG   david       lam          SG   paypal_standard   USD   TVPAD-007       259      20   1     239
TVP-14101076   October   10/7/2014   complete   David       Lam          SG   david       lam          SG   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14101077   October   10/7/2014   complete   Seung       Hong         HK   Seung       Hong         HK   braintree         USD   TVPAD-007       259      10   1     249
TVP-14101077   October   10/7/2014   complete   Seung       Hong         HK   Seung       Hong         HK   braintree         USD   HGIFT2             0      0   1        0
TVP-14101078   October   10/7/2014   complete   Yu-Eng      Cheng        US   Yu-Eng      Cheng        US   braintree         USD   TVPAD-007       259      10   1     249
TVP-14101078   October   10/7/2014   complete   Yu-Eng      Cheng        US   Yu-Eng      Cheng        US   braintree         USD   HGIFT2             0      0   1        0
TVP-14101079   October   10/7/2014   complete   thanh       truong       US   thanh       truong       US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14101079   October   10/7/2014   complete   thanh       truong       US   thanh       truong       US   braintree         USD   HGIFT2             0      0   1        0
TVP-14101080   October   10/7/2014   complete   Kwok        Chan         US   Kwok        Chan         US   braintree         USD   TVPAD-007       259      20   1      239
TVP-14101080   October   10/7/2014   complete   Kwok        Chan         US   Kwok        Chan         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14101081   October   10/8/2014   complete   Jun         Kim          US   Jun         Kim          US   braintree         USD   TVPAD-004       259      10   1      249
TVP-14101081   October   10/8/2014   complete   Jun         Kim          US   Jun         Kim          US   braintree         USD   HGIFT2             0      0   1        0
TVP-14101082   October   10/8/2014   complete   minwei      chen         US   minwei      chen         US   paypal_standard   USD   TVPAD-007       259      10   1     249
TVP-14101082   October   10/8/2014   complete   minwei      chen         US   minwei      chen         US   paypal_standard   USD   HGIFT2             0      0   1        0
TVP-14101083   October   10/8/2014   complete   Jun         Yunme        CA   Jun         Yunme        CA   braintree         CAD   TVPAD-007       259    8.96   1   250.04
TVP-14101083   October   10/8/2014   complete   Jun         Yunme        CA   Jun         Yunme        CA   braintree         CAD   TVPAD-AC-004   29.99   1.04   1    28.95
TVP-14101083   October   10/8/2014   complete   Jun         Yunme        CA   Jun         Yunme        CA   braintree         CAD   HGIFT2             0      0   1        0
TVP-14101084   October   10/8/2014   complete   Poysan      Vuong        NL   Poysan      Vuong        NL   braintree         EUR   TVPAD-004       259      20   1     239
TVP-14101084   October   10/8/2014   complete   Poysan      Vuong        NL   Poysan      Vuong        NL   braintree         EUR   HGIFT2             0      0   1        0
TVP-14101085   October   10/8/2014   complete   Saw         .Kyi         US   Saw         .Kyi         US   braintree         USD   TVPAD-004       259      10   1     249
TVP-14101085   October   10/8/2014   complete   Saw         .Kyi         US   Saw         .Kyi         US   braintree         USD   HGIFT2             0      0   1        0
TVP-14101086   October   10/8/2014   complete   chengku     hsieh        NL   chengku     hsieh        NL   paypal_standard   EUR   TVPAD-004       259      10   1     249
TVP-14101086   October   10/8/2014   complete   chengku     hsieh        NL   chengku     hsieh        NL   paypal_standard   EUR   HGIFT2             0      0   1        0
TVP-14101087   October   10/8/2014   complete   zhiyuan     wang         ES   zhiyuan     wang         ES   braintree         USD   TVPAD-004       259      10   1     249
TVP-14101087   October   10/8/2014   complete   zhiyuan     wang         ES   zhiyuan     wang         ES   braintree         USD   HGIFT2             0      0   1        0
TVP-14101088   October   10/8/2014   complete   Shirley     Claxton      AU   Shirley     Claxton      AU   braintree         USD   TVPAD-007       259      20   1      239
TVP-14101088   October   10/8/2014   complete   Shirley     Claxton      AU   Shirley     Claxton      AU   braintree         USD   HGIFT2             0      0   1        0
TVP-14101089   October   10/8/2014   complete   Tim         Kim          GB   Tim         Kim          GB   paypal_standard   GBP   TVPAD-004       259      10   1     249
TVP-14101089   October   10/8/2014   complete   Tim         Kim          GB   Tim         Kim          GB   paypal_standard   GBP   HGIFT2             0      0   1        0
TVP-14101090   October   10/8/2014   complete   ka          ip           US   ka          ip           US   braintree         USD   TVPAD-007       259      20   1      239
TVP-14101090   October   10/8/2014   complete   ka          ip           US   ka          ip           US   braintree         USD   HGIFT2             0      0   1        0
TVP-14101091   October   10/8/2014   complete   Ben         Lian         MY   Ben         Lian         MY   braintree         USD   TVPAD-004       259      20   1      239
TVP-14101091   October   10/8/2014   complete   Ben         Lian         MY   Ben         Lian         MY   braintree         USD   HGIFT2             0      0   1        0
TVP-14101092   October   10/8/2014   complete   Larry       Lee          US   Larry       Lee          US   braintree         USD   TVPAD-004       259      10   1     249
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TVP-14101093   October    10/8/2014   complete   Bryan           Nhan           US   Bryan           Nhan           US   paypal_standard   USD   TVPAD-004         259       10    1     249
TVP-14101093   October    10/8/2014   complete   Bryan           Nhan           US   Bryan           Nhan           US   paypal_standard   USD   HGIFT2               0       0    1        0
TVP-14101094   October    10/8/2014   complete   Joyce           Zhu            US   Joyce           Zhu            US   braintree         USD   TVPAD-004         259       10    1     249
TVP-14101094   October    10/8/2014   complete   Joyce           Zhu            US   Joyce           Zhu            US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101095   October    10/8/2014   complete   Ching           Yuen           US   Ching           Yuen           US   braintree         USD   TVPAD-004         259       20    1     239
TVP-14101095   October    10/8/2014   complete   Ching           Yuen           US   Ching           Yuen           US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101096   October    10/8/2014   complete   Bronson         Peng           US   Bronson         Peng           US   braintree         USD   TVPAD-004         259       10    1     249
TVP-14101096   October    10/8/2014   complete   Bronson         Peng           US   Bronson         Peng           US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101097   October    10/9/2014   complete   Andrew          Kong           GB   Andrew          Kong           GB   braintree         USD   TVPAD-004         259       10    1     249
TVP-14101097   October    10/9/2014   complete   Andrew          Kong           GB   Andrew          Kong           GB   braintree         USD   HGIFT2               0       0    1        0
TVP-14101098   October    10/9/2014   complete   Yu              Ying           US   Yu              Ying           US   braintree         USD   TVPAD-004         259       10    1     249
TVP-14101098   October    10/9/2014   complete   Yu              Ying           US   Yu              Ying           US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101100   October    10/9/2014   complete   Gary            Hung           NL   Gary            Hung           NL   braintree         USD   TVPAD-004         259       10    1     249
TVP-14101100   October    10/9/2014   complete   Gary            Hung           NL   Gary            Hung           NL   braintree         USD   HGIFT2               0       0    1        0
TVP-14101101   October    10/9/2014   complete   jay             kim            US   jay             kim            US   braintree         USD   TVPAD-004         259       10    1     249
TVP-14101101   October    10/9/2014   complete   jay             kim            US   jay             kim            US   braintree         USD   HGIFT2               0       0    1        0
TVP-70011302   October    10/9/2014   complete   Junxiong        Ye             US   Junxiong        Ye             US   braintree         USD   TVPAD-004         259       10    1     249
TVP-70011302   October    10/9/2014   complete   Junxiong        Ye             US   Junxiong        Ye             US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101103   October    10/9/2014   complete   David           So             NZ   David           So             NZ   braintree         USD   TVPAD-004         259       10    1     249
TVP-14101103   October    10/9/2014   complete   David           So             NZ   David           So             NZ   braintree         USD   HGIFT2               0       0    1        0
TVP-14101104   October   10/10/2014   complete   Hong            SungSil        DE   Hong            SungSil        DE   braintree         EUR   TVPAD-004         259       10    1     249
TVP-14101104   October   10/10/2014   complete   Hong            SungSil        DE   Hong            SungSil        DE   braintree         EUR   HGIFT2               0       0    1        0
TVP-14101105   October   10/10/2014   complete   SeungJin        Lee            CR   SeungJin        Lee            CR   paypal_standard   USD   TVPAD-004         259       20    1     239
TVP-14101106   October   10/10/2014   complete   James           Guan           US   James           Guan           US   braintree         USD   TVPAD-AC-004     29.99       0    1    29.99
TVP-14101108   October   10/10/2014   complete   seung           jang           NZ   seung           jang           NZ   braintree         USD   TVPAD-004         259       10    1     249
TVP-70011303   October   10/10/2014   complete   yonghe          zhang          AU   yonghe          zhang          AU   braintree         USD   TVPAD-007         259       10    1     249
TVP-70011303   October   10/10/2014   complete   yonghe          zhang          AU   yonghe          zhang          AU   braintree         USD   HGIFT2               0       0    1        0
TVP-14101113   October   10/11/2014   complete   jessica         gomes          GB   jessica         gomes          GB   braintree         GBP   TVPAD-004         259       10    1     249
TVP-14101113   October   10/11/2014   complete   jessica         gomes          GB   jessica         gomes          GB   braintree         GBP   HGIFT2               0       0    1        0
TVP-14101114   October   10/11/2014   complete   CINDY           WONG           US   CINDY           WONG           US   braintree         USD   TVPAD-AC-004     29.99       0    1    29.99
TVP-14101115   October   10/11/2014   complete   Sophia          Lee            US   Sophia          Lee            US   braintree         USD   TVPAD-004         259       10    1     249
TVP-14101115   October   10/11/2014   complete   Sophia          Lee            US   Sophia          Lee            US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101116   October   10/11/2014   complete   Minh            Hoang          GB   Minh            Hoang          GB   paypal_standard   GBP   TVPAD-004         259       10    1     249
TVP-14101116   October   10/11/2014   complete   Minh            Hoang          GB   Minh            Hoang          GB   paypal_standard   GBP   HGIFT2               0       0    1        0
TVP-14101117   October   10/11/2014   complete   Melodie         Young          US   Melodie         Young          US   braintree         USD   TVPAD-004         259       20    1     239
TVP-14101117   October   10/11/2014   complete   Melodie         Young          US   Melodie         Young          US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101118   October   10/11/2014   complete   Cherie          Chen           GB   Simon           Lee            GB   paypal_standard   GBP   TVPAD-004         259       20    1     239
TVP-14101118   October   10/11/2014   complete   Cherie          Chen           GB   Simon           Lee            GB   paypal_standard   GBP   HGIFT2               0       0    1        0
TVP-14101119   October   10/11/2014   complete   Chi             Ip             US   Chi             Ip             US   braintree         USD   TVPAD-007         259       10    1     249
TVP-14101119   October   10/11/2014   complete   Chi             Ip             US   Chi             Ip             US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101120   October   10/12/2014   complete   KYEONG          LEE            US   KYEONG          LEE            US   braintree         USD   TVPAD-007         259       20    1     239
TVP-14101120   October   10/12/2014   complete   KYEONG          LEE            US   KYEONG          LEE            US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101122   October   10/12/2014   complete   Kit             Liew           AU   Kit             Liew           AU   paypal_standard   USD   TVPAD-007         259       10    1     249
TVP-14101122   October   10/12/2014   complete   Kit             Liew           AU   Kit             Liew           AU   paypal_standard   USD   HGIFT2               0       0    1        0
TVP-70011304   October   10/13/2014   complete   Li              Bo             BE   Liu             Shanshan       BE   braintree         USD   TVPAD-004         259       10    1     249
TVP-70011304   October   10/13/2014   complete   Li              Bo             BE   Liu             Shanshan       BE   braintree         USD   HGIFT2               0       0    1        0
TVP-14101123   October   10/12/2014   complete   Pui             cheung         US   Pui             cheung         US   paypal_standard   USD   TVPAD-007         259       10    1     249
TVP-14101123   October   10/12/2014   complete   Pui             cheung         US   Pui             cheung         US   paypal_standard   USD   HGIFT2               0       0    1        0
TVP-14101124   October   10/12/2014   complete   Martin          Meenagh        GB   Martin          Meenagh        GB   braintree         USD   TVPAD-004         259       20    1     239
TVP-14101124   October   10/12/2014   complete   Martin          Meenagh        GB   Martin          Meenagh        GB   braintree         USD   HGIFT2               0       0    1        0
TVP-14101125   October   10/12/2014   complete   Wong            Lun            MO   Wong            Lun            MO   braintree         USD   TVPAD-004         259       10    1     249
TVP-14101125   October   10/12/2014   complete   Wong            Lun            MO   Wong            Lun            MO   braintree         USD   HGIFT2               0       0    1        0
TVP-14101126   October   10/12/2014   complete   Rui             Huang          CA   Rui             Huang          CA   paypal_standard   CAD   TVPAD-004         259       20    1     239
TVP-14101126   October   10/12/2014   complete   Rui             Huang          CA   Rui             Huang          CA   paypal_standard   CAD   HGIFT2               0       0    1        0
TVP-14101127   October   10/12/2014   complete   RICHARD         HO             GF   RICHARD         HO             GF   braintree         USD   TVPAD-004         250    13.18    2   486.82
TVP-14101127   October   10/12/2014   complete   RICHARD         HO             GF   RICHARD         HO             GF   braintree         USD   TVPAD-007         259     6.82    1   252.18
TVP-14101127   October   10/12/2014   complete   RICHARD         HO             GF   RICHARD         HO             GF   braintree         USD   HGIFT2               0       0    3        0
TVP-14101128   October   10/13/2014   complete   John            Chu            US   John            Chu            US   braintree         USD   TVPAD-004         259       10    1      249
TVP-14101128   October   10/13/2014   complete   John            Chu            US   John            Chu            US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101129   October   10/13/2014   complete   Choon           Na             US   Saruul          Enkhbat        US   braintree         USD   TVPAD-004         259       10    1     249
TVP-14101129   October   10/13/2014   complete   Choon           Na             US   Saruul          Enkhbat        US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101130   October   10/12/2014   complete   Bennet          Seow           AU   Bennet          Seow           AU   braintree         USD   TVPAD-004         259       10    1      249
TVP-14101130   October   10/12/2014   complete   Bennet          Seow           AU   Bennet          Seow           AU   braintree         USD   HGIFT2               0       0    1        0
TVP-14101131   October   10/12/2014   complete   Dan             Chong          US   Dan             Chong          US   braintree         USD   TVPAD-007         259       10    1      249
TVP-14101131   October   10/12/2014   complete   Dan             Chong          US   Dan             Chong          US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101132   October   10/12/2014   complete   eric            hui            US   eric            hui            US   paypal_standard   USD   TVPAD-007         259       20    1      239
TVP-14101132   October   10/12/2014   complete   eric            hui            US   eric            hui            US   paypal_standard   USD   HGIFT2               0       0    1        0
TVP-14101133   October   10/12/2014   complete   Dice            Yamasaki       AU   Dice            Yamasaki       AU   braintree         USD   TVPAD-004         259       10    1     249
TVP-14101133   October   10/12/2014   complete   Dice            Yamasaki       AU   Dice            Yamasaki       AU   braintree         USD   HGIFT2               0       0    1        0
TVP-14101134   October   10/12/2014   complete   Si              Liang          US   Si              Liang          US   paypal_standard   USD   TVPAD-007         259       20    1     239
TVP-14101134   October   10/12/2014   complete   Si              Liang          US   Si              Liang          US   paypal_standard   USD   HGIFT2               0       0    1        0
TVP-14101135   October   10/13/2014   complete   Kevin           Yam            US   Kevin           Yam            US   braintree         USD   TVPAD-004         259       10    1     249
TVP-14101135   October   10/13/2014   complete   Kevin           Yam            US   Kevin           Yam            US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101136   October   10/13/2014   complete   Toto            Wang           US   Toto            Wang           US   braintree         USD   TVPAD-004          259      10    1      249
TVP-14101136   October   10/13/2014   complete   Toto            Wang           US   Toto            Wang           US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101137   October   10/13/2014   complete   Evelyn          koh            MY   Evelyn          koh            MY   paypal_standard   USD   TVPAD-004         259       10    1     249
TVP-14101137   October   10/13/2014   complete   Evelyn          koh            MY   Evelyn          koh            MY   paypal_standard   USD   HGIFT2               0       0    1        0
TVP-14101138   October   10/13/2014   complete   KERRY           BRYAN          GB   KERRY           BRYAN          GB   braintree         GBP   TVPAD-004          259      10    1      249
TVP-14101138   October   10/13/2014   complete   KERRY           BRYAN          GB   KERRY           BRYAN          GB   braintree         GBP   HGIFT2               0       0    1        0
TVP-14101139   October   10/13/2014   complete   Zhang           ye             DE   Zhang           ye             DE   braintree         USD   TVPAD-004          259      10    1      249
TVP-14101139   October   10/13/2014   complete   Zhang           ye             DE   Zhang           ye             DE   braintree         USD   HGIFT2               0       0    1        0
TVP-14101140   October   10/13/2014   complete   Tri             Trinh          US   Tri             Trinh          US   braintree         USD   TVPAD-007          259      10    1      249
TVP-14101140   October   10/13/2014   complete   Tri             Trinh          US   Tri             Trinh          US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101141   October   10/13/2014   complete   Peter           Ng             CA   Peter           Ng             CA   paypal_standard   USD   TVPAD-007         259       10    1     249
TVP-14101141   October   10/13/2014   complete   Peter           Ng             CA   Peter           Ng             CA   paypal_standard   USD   HGIFT2               0       0    1        0
TVP-14101142   October   10/13/2014   complete   Daniel          Yip            US   Daniel          Yip            US   paypal_standard   USD   TVPAD-004         259       20    1     239
TVP-14101142   October   10/13/2014   complete   Daniel          Yip            US   Daniel          Yip            US   paypal_standard   USD   HGIFT2               0       0    1        0
TVP-14101143   October   10/13/2014   complete   Gaohui          Li             US   Gaohui          Li             US   braintree         USD   TVPAD-004         259       10    1      249
TVP-14101143   October   10/13/2014   complete   Gaohui          Li             US   Gaohui          Li             US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101145   October   10/13/2014   complete   Qiao            Li             US   Qiao            Li             US   braintree         USD   TVPAD-004         259       10    1      249
TVP-14101145   October   10/13/2014   complete   Qiao            Li             US   Qiao            Li             US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101146   October   10/13/2014   complete   Cherry          Hong           AU   Cherry          Hong           AU   paypal_standard   USD   TVPAD-007         259       10    1     249
TVP-14101146   October   10/13/2014   complete   Cherry          Hong           AU   Cherry          Hong           AU   paypal_standard   USD   HGIFT2               0       0    1        0
TVP-14101147   October   10/14/2014   complete   Lilly           Lu             US   Lilly           Lu             US   paypal_standard   USD   TVPAD-007         259       20    1      239
TVP-14101147   October   10/14/2014   complete   Lilly           Lu             US   Lilly           Lu             US   paypal_standard   USD   HGIFT2               0       0    1        0
TVP-14101148   October   10/13/2014   complete   Iris            Chen           AU   Iris            Chen           AU   braintree         USD   TVPAD-004         259       10    1      249
TVP-14101148   October   10/13/2014   complete   Iris            Chen           AU   Iris            Chen           AU   braintree         USD   HGIFT2               0       0    1        0
TVP-14101149   October   10/14/2014   complete   s               Lau            GB   selina          Huang          GB   braintree         USD   TVPAD-VIRT-003       1       0   25       25
TVP-14101150   October   10/14/2014   complete   George          Kleinschmidt   AU   George          Kleinschmidt   AU   braintree         USD   TVPAD-007         250       10    2     490
TVP-14101150   October   10/14/2014   complete   George          Kleinschmidt   AU   George          Kleinschmidt   AU   braintree         USD   HGIFT2               0       0    2        0
TVP-14101151   October   10/14/2014   complete   Andrew          Ro             US   Andrew          Ro             US   braintree         USD   TVPAD-004          259      10    1      249
TVP-14101151   October   10/14/2014   complete   Andrew          Ro             US   Andrew          Ro             US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101152   October   10/14/2014   complete   Steven          NgKokLeong     MY   Steven          NgKokLeong     MY   braintree         USD   TVPAD-004         259       20    1      239
TVP-14101152   October   10/14/2014   complete   Steven          NgKokLeong     MY   Steven          NgKokLeong     MY   braintree         USD   HGIFT2               0       0    1        0
TVP-70011306   October   10/15/2014   complete   Jie             Zhou           CH   Quan            Kytahanh       CH   braintree         EUR   TVPAD-007          259      10    1      249
TVP-70011306   October   10/15/2014   complete   Jie             Zhou           CH   Quan            Kytahanh       CH   braintree         EUR   HGIFT2               0       0    1        0
TVP-14101153   October   10/14/2014   complete   David           Situ           US   David           Situ           US   braintree         USD   TVPAD-004         259       10    1      249
TVP-14101153   October   10/14/2014   complete   David           Situ           US   David           Situ           US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101154   October   10/14/2014   complete   Tzyy-heng       Shan           US   Tzyy-heng       Shan           US   braintree         USD   TVPAD-004         259       20    1      239
TVP-14101154   October   10/14/2014   complete   Tzyy-heng       Shan           US   Tzyy-heng       Shan           US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101155   October   10/14/2014   complete   Joanie          Lee            NZ   Joanie          Lee            NZ   braintree         USD   TVPAD-007          250      10    2      490
TVP-14101155   October   10/14/2014   complete   Joanie          Lee            NZ   Joanie          Lee            NZ   braintree         USD   HGIFT2               0       0    2        0
TVP-14101156   October   10/14/2014   complete   yousung         lee            NZ   yousung         lee            NZ   braintree         USD   TVPAD-007          259      10    1      249
TVP-14101156   October   10/14/2014   complete   yousung         lee            NZ   yousung         lee            NZ   braintree         USD   HGIFT2               0       0    1        0
TVP-14101157   October   10/14/2014   complete   Charles         Szeto          US   Charles         Szeto          US   braintree         USD   TVPAD-007          259      20    1      239
TVP-14101157   October   10/14/2014   complete   Charles         Szeto          US   Charles         Szeto          US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101158   October   10/14/2014   complete   Jesslyn         Ngie           AU   Jesslyn         Ngie           AU   paypal_standard   AUD   TVPAD-004          259      10    1      249
TVP-14101158   October   10/14/2014   complete   Jesslyn         Ngie           AU   Jesslyn         Ngie           AU   paypal_standard   AUD   HGIFT2               0       0    1        0
TVP-70011307   October   10/15/2014   complete   Oliver          Chen           US   Oliver          Chen           US   paypal_standard   USD   TVPAD-004          259      20    1      239
TVP-70011307   October   10/15/2014   complete   Oliver          Chen           US   Oliver          Chen           US   paypal_standard   USD   HGIFT2               0       0    1        0
TVP-14101161   October   10/15/2014   complete   Hector          Chang          US   Hector          Chang          US   paypal_standard   USD   TVPAD-007          259      20    1      239
TVP-14101161   October   10/15/2014   complete   Hector          Chang          US   Hector          Chang          US   paypal_standard   USD   HGIFT2               0       0    1        0
TVP-14101162   October   10/15/2014   complete   Han             Lam            GB   Han             Lam            GB   braintree         GBP   TVPAD-004         259       20    1      239
TVP-14101162   October   10/15/2014   complete   Han             Lam            GB   Han             Lam            GB   braintree         GBP   HGIFT2               0       0    1        0
TVP-14101164   October   10/15/2014   complete   Han             Lam            GB   Julie           Luu            GB   braintree         GBP   TVPAD-004          259      20    1      239
TVP-14101164   October   10/15/2014   complete   Han             Lam            GB   Julie           Luu            GB   braintree         GBP   HGIFT2               0       0    1        0
TVP-70011308   October   10/15/2014   complete   yuchao          zeng           US   yuchao          zeng           US   paypal_standard   USD   TVPAD-004         259       10    1      249
TVP-70011308   October   10/15/2014   complete   yuchao          zeng           US   yuchao          zeng           US   paypal_standard   USD   HGIFT2               0       0    1        0
TVP-14101165   October   10/15/2014   complete   yuhong(julia)   wu             NZ   yuhong(julia)   wu             NZ   braintree         USD   TVPAD-004          250      20    2      480
TVP-14101165   October   10/15/2014   complete   yuhong(julia)   wu             NZ   yuhong(julia)   wu             NZ   braintree         USD   HGIFT2               0       0    2        0
TVP-14101166   October   10/15/2014   complete   Bing            Cheng          AU   Bing            Cheng          AU   braintree         USD   TVPAD-004          259      10    1      249
TVP-14101166   October   10/15/2014   complete   Bing            Cheng          AU   Bing            Cheng          AU   braintree         USD   HGIFT2               0       0    1        0
TVP-14101167   October   10/15/2014   complete   Vanessa         shiau          MY   Vanessa         shiau          MY   braintree         USD   TVPAD-004          259      10    1      249
TVP-14101167   October   10/15/2014   complete   Vanessa         shiau          MY   Vanessa         shiau          MY   braintree         USD   HGIFT2               0       0    1        0
TVP-14101168   October   10/15/2014   complete   Hester          Wu             US   Hester          Wu             US   braintree         USD   TVPAD-007          259      20    1      239
TVP-14101168   October   10/15/2014   complete   Hester          Wu             US   Hester          Wu             US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101169   October   10/17/2014   complete   DONG            PARK           US   DC              PARK           US   braintree         USD   TVPAD-007          259      10    1      249
TVP-14101169   October   10/17/2014   complete   DONG            PARK           US   DC              PARK           US   braintree         USD   HGIFT2               0       0    1        0
TVP-14101170   October   10/15/2014   complete   Sumi            Hong           CA   Sumi            Hong           CA   braintree         USD   TVPAD-004          259      10    1      249
TVP-14101170   October   10/15/2014   complete   Sumi            Hong           CA   Sumi            Hong           CA   braintree         USD   HGIFT2               0       0    1        0
TVP-14101171   October   10/15/2014   complete   JUn             Zhang          SE   JUn             Zhang          SE   braintree         USD   TVPAD-004          259      10    1      249
TVP-14101171   October   10/15/2014   complete   JUn             Zhang          SE   JUn             Zhang          SE   braintree         USD   HGIFT2               0       0    1        0
TVP-14101172   October   10/15/2014   complete   Jonathan        Tso            NZ   Jonathan        Tso            NZ   paypal_standard   USD   TVPAD-004          259      20    1      239
TVP-14101172   October   10/15/2014   complete   Jonathan        Tso            NZ   Jonathan        Tso            NZ   paypal_standard   USD   HGIFT2               0       0    1        0
TVP-14101173   October   10/16/2014   complete   Han             Lam            GB   Han             Lam            GB   braintree         GBP   TVPAD-004          259      20    1      239
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TVP-14101174   October   10/16/2014   complete   Unmi           Lee          US   Unmi        Lee          US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14101174   October   10/16/2014   complete   Unmi           Lee          US   Unmi        Lee          US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-70011309   October   10/16/2014   complete   Li             Wang         NO   Li          Wang         NO   braintree         USD   TVPAD-004                       259    10   1    249
TVP-70011309   October   10/16/2014   complete   Li             Wang         NO   Li          Wang         NO   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101175   October   10/16/2014   complete   Joo            Kong         AE   Joo         Kong         AE   braintree         USD   TVPAD-007                       259    20   1    239
TVP-14101175   October   10/16/2014   complete   Joo            Kong         AE   Joo         Kong         AE   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101176   October   10/16/2014   complete   Ken            Li           GB   Ken         Li           GB   paypal_standard   GBP   TVPAD-AC-004                   29.99    0   1   29.99
TVP-14101178   October   10/16/2014   complete   Sally          Hong         AU   Sally       Hong         AU   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14101178   October   10/16/2014   complete   Sally          Hong         AU   Sally       Hong         AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14101179   October   10/16/2014   complete   Norma          chapman      US   Norma       chapman      US   paypal_standard   USD   TVPAD-004                       259    20   1    239
TVP-14101179   October   10/16/2014   complete   Norma          chapman      US   Norma       chapman      US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14101180   October   10/16/2014   complete   jack           kei          AU   jack        kei          AU   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14101180   October   10/16/2014   complete   jack           kei          AU   jack        kei          AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101181   October   10/16/2014   complete   Sam-Ming-Sum   Choi         CA   Sam         Choi         CA   braintree         CAD   TVPAD-007                       259    20   1    239
TVP-14101181   October   10/16/2014   complete   Sam-Ming-Sum   Choi         CA   Sam         Choi         CA   braintree         CAD   HGIFT2                             0    0   1       0
TVP-14101182   October   10/16/2014   complete   Ong            Meng         MY   Steven      Leong        MY   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101182   October   10/16/2014   complete   Ong            Meng         MY   Steven      Leong        MY   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101183   October   10/17/2014   complete   Magnus         Fecarotta    BR   Magnus      Fecarotta    US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101183   October   10/17/2014   complete   Magnus         Fecarotta    BR   Magnus      Fecarotta    US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101184   October   10/16/2014   complete   XiaoYu         Liu          US   XiaoYu      Liu          US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14101184   October   10/16/2014   complete   XiaoYu         Liu          US   XiaoYu      Liu          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101185   October   10/16/2014   complete   Kwok           Chan         AU   Kwok        Chan         AU   paypal_standard   AUD   TVPAD-004                       259    10   1    249
TVP-14101185   October   10/16/2014   complete   Kwok           Chan         AU   Kwok        Chan         AU   paypal_standard   AUD   HGIFT2                             0    0   1       0
TVP-14101186   October   10/17/2014   complete   Steven         NgKokLeong   MY   Steven      NgKokLeong   MY   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14101186   October   10/17/2014   complete   Steven         NgKokLeong   MY   Steven      NgKokLeong   MY   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101187   October   10/17/2014   complete   kevin          yeum         US   kevin       yeum         US   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14101187   October   10/17/2014   complete   kevin          yeum         US   kevin       yeum         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101188   October   10/17/2014   complete   QuocDat        Nguyen       GB   QuocDat     Nguyen       GB   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14101188   October   10/17/2014   complete   QuocDat        Nguyen       GB   QuocDat     Nguyen       GB   braintree         USD   HGIFT2                             0    0   1       0
TVP-70011310   October   10/17/2014   complete   toyo           li           CA   toyo        li           CA   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101189   October   10/17/2014   complete   Summe          Chan         US   Summe       Chan         US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101189   October   10/17/2014   complete   Summe          Chan         US   Summe       Chan         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101190   October   10/18/2014   complete   Luc            LEE          GF   Luc         LEE          GF   braintree         EUR   TVPAD-004                       259    10   1    249
TVP-14101190   October   10/18/2014   complete   Luc            LEE          GF   Luc         LEE          GF   braintree         EUR   HGIFT2                             0    0   1       0
TVP-14101191   October   10/17/2014   complete   Sally          Luong        GB   Sally       Luong        GB   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14101191   October   10/17/2014   complete   Sally          Luong        GB   Sally       Luong        GB   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101192   October   10/17/2014   complete   wing           ko           US   wing        ko           US   braintree         USD   TVPAD-007                       259    20   1    239
TVP-14101192   October   10/17/2014   complete   wing           ko           US   wing        ko           US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101193   October   10/17/2014   complete   Lin            Fang         BR   Ricky       Lin          BR   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101193   October   10/17/2014   complete   Lin            Fang         BR   Ricky       Lin          BR   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101194   October   10/17/2014   complete   Doris          Zhang        US   Doris       Zhang        US   braintree         USD   TVPAD-007                       259    20   1    239
TVP-14101194   October   10/17/2014   complete   Doris          Zhang        US   Doris       Zhang        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101195   October   10/17/2014   complete   Doris          Zhang        US   Doris       Zhang        US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14101195   October   10/17/2014   complete   Doris          Zhang        US   Doris       Zhang        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101196   October   10/17/2014   complete   erica          kang         NZ   erica       kang         NZ   paypal_standard   USD   TVPAD-007                       259    20   1    239
TVP-14101196   October   10/17/2014   complete   erica          kang         NZ   erica       kang         NZ   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14101197   October   10/17/2014   complete   Peter          Ou           US   Peter       Ou           US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101197   October   10/17/2014   complete   Peter          Ou           US   Peter       Ou           US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101198   October   10/17/2014   complete   chan           cho          US   chan        cho          US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101198   October   10/17/2014   complete   chan           cho          US   chan        cho          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101199   October   10/18/2014   complete   Jodie          Ng           AU   Jodie       Ng           AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101199   October   10/18/2014   complete   Jodie          Ng           AU   Jodie       Ng           AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-70011311   October   10/18/2014   complete   TANG           MOUY         FR   TANG        MOUY         FR   braintree         USD   TVPAD-007                       259    10   1    249
TVP-70011311   October   10/18/2014   complete   TANG           MOUY         FR   TANG        MOUY         FR   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101200   October   10/18/2014   complete   Mariko         Iwasaki      US   Mariko      Iwasaki      US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101200   October   10/18/2014   complete   Mariko         Iwasaki      US   Mariko      Iwasaki      US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101201   October   10/18/2014   complete   Matthew        O'Leary      GB   Matthew     O'Leary      GB   braintree         GBP   TVPAD-004                       259    10   1    249
TVP-14101201   October   10/18/2014   complete   Matthew        O'Leary      GB   Matthew     O'Leary      GB   braintree         GBP   HGIFT2                             0    0   1       0
TVP-70011312   October   10/18/2014   complete   chao           cheong       BE   chao        cheong       BE   paypal_standard   USD   TVPAD-AC-004                   29.99    0   1   29.99
TVP-14101202   October   10/18/2014   complete   Mandy          Ooi          AE   Mandy       Ooi          AE   braintree         USD   TVPAD-004                       250    10   2    490
TVP-14101202   October   10/18/2014   complete   Mandy          Ooi          AE   Mandy       Ooi          AE   braintree         USD   HGIFT2                             0    0   2       0
TVP-14101203   October   10/18/2014   complete   Ling           Wong         DK   Ling        Wong         DK   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14101204   October   10/20/2014   complete   ying           liang        GB   ying        liang        GB   braintree         USD   TVPAD-AC-004                   29.99    0   1   29.99
TVP-14101205   October   10/18/2014   complete   Shuk           Lau          US   Shuk        Lau          US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14101205   October   10/18/2014   complete   Shuk           Lau          US   Shuk        Lau          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101206   October   10/18/2014   complete   James          Lin          NZ   James       Lin          NZ   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14101206   October   10/18/2014   complete   James          Lin          NZ   James       Lin          NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101207   October   10/18/2014   complete   monty          nguy         AU   monty       nguy         AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101207   October   10/18/2014   complete   monty          nguy         AU   monty       nguy         AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101208   October   10/18/2014   complete   Wen            Liao         US   Wen         Liao         US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101208   October   10/18/2014   complete   Wen            Liao         US   Wen         Liao         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101209   October   10/18/2014   complete   Bowen          wang         AU   Bowen       wang         AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101209   October   10/18/2014   complete   Bowen          wang         AU   Bowen       wang         AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-70011313   October   10/19/2014   complete   SUN            CAO          NZ   SUN         CAO          NZ   braintree         USD   TVPAD-007                       259    10   1    249
TVP-70011313   October   10/19/2014   complete   SUN            CAO          NZ   SUN         CAO          NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101210   October   10/19/2014   complete   Jennifer       Liu          US   Jennifer    Liu          US   paypal_standard   USD   TVPAD-007                       259    10   1    249
TVP-14101210   October   10/19/2014   complete   Jennifer       Liu          US   Jennifer    Liu          US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14101211   October   10/19/2014   complete   Erica          Hui          US   Erica       Hui          US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101211   October   10/19/2014   complete   Erica          Hui          US   Erica       Hui          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-70011314   October   10/19/2014   complete   ye             zhou         US   ye          zhou         US   braintree         USD   TVPAD-007                       259    20   1    239
TVP-70011314   October   10/19/2014   complete   ye             zhou         US   ye          zhou         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101212   October   10/19/2014   complete   Alec           Shi          NZ   Alec        Shi          NZ   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101212   October   10/19/2014   complete   Alec           Shi          NZ   Alec        Shi          NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101213   October   10/19/2014   complete   Tina           Kong         US   Tina        Kong         US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101213   October   10/19/2014   complete   Tina           Kong         US   Tina        Kong         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-70011315   October   10/19/2014   complete   poy            yu           US   poy         yu           US   braintree         USD   TVPAD-007                       259    10   1    249
TVP-70011315   October   10/19/2014   complete   poy            yu           US   poy         yu           US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101214   October   10/19/2014   complete   ke             zhang        AU   ke          zhang        AU   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14101214   October   10/19/2014   complete   ke             zhang        AU   ke          zhang        AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101215   October   10/20/2014   complete   Hester         Wu           US   Hester      Wu           US   braintree         USD   TVPAD-007                       259    20   1    239
TVP-14101215   October   10/20/2014   complete   Hester         Wu           US   Hester      Wu           US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101216   October   10/20/2014   complete   sung           kim          NZ   sung        kim          NZ   paypal_standard   USD   TVPAD-007                       259    10   1    249
TVP-14101216   October   10/20/2014   complete   sung           kim          NZ   sung        kim          NZ   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-70011316   October   10/20/2014   complete   Weihua         Tan          AU   Weihua      Tan          AU   braintree         USD   TVPAD-007                       259    10   1    249
TVP-70011316   October   10/20/2014   complete   Weihua         Tan          AU   Weihua      Tan          AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101217   October   10/20/2014   complete   JINGJING       LIU          AU   JINGJING    LIU          AU   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14101217   October   10/20/2014   complete   JINGJING       LIU          AU   JINGJING    LIU          AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101218   October   10/20/2014   complete   SOOJI          CHOI         AU   SOOJI       CHOI         AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101218   October   10/20/2014   complete   SOOJI          CHOI         AU   SOOJI       CHOI         AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101219   October   10/20/2014   complete   youn           oh           AU   youn        oh           AU   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14101219   October   10/20/2014   complete   youn           oh           AU   youn        oh           AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14101220   October   10/20/2014   complete   Nguyen         Xinh         DE   Nguyen      Xinh         DE   braintree         USD   TVPAD-004                       250    10   2    490
TVP-14101220   October   10/20/2014   complete   Nguyen         Xinh         DE   Nguyen      Xinh         DE   braintree         USD   HGIFT2                             0    0   2       0
TVP-14101221   October   10/21/2014   complete   Seung          Lee          BH   Minsun      Ko           BH   braintree         USD   TVPAD-004                       250    20   2    480
TVP-14101221   October   10/21/2014   complete   Seung          Lee          BH   Minsun      Ko           BH   braintree         USD   HGIFT2                             0    0   2       0
TVP-14101222   October   10/20/2014   complete   Kerry          Siu          US   Kerry       Siu          US   paypal_standard   USD   TVPAD-004                       259    20   1    239
TVP-14101222   October   10/20/2014   complete   Kerry          Siu          US   Kerry       Siu          US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14101223   October   10/20/2014   complete   Hung           Shin         US   Hung        Shin         US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101223   October   10/20/2014   complete   Hung           Shin         US   Hung        Shin         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101224   October   10/20/2014   complete   Roland         Kwing        NZ   Roland      Kwing        NZ   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101224   October   10/20/2014   complete   Roland         Kwing        NZ   Roland      Kwing        NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101225   October   10/20/2014   complete   May            He           US   May         He           US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14101225   October   10/20/2014   complete   May            He           US   May         He           US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14101226   October   10/20/2014   complete   Geoff          Wong         NZ   Geoff       Wong         NZ   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14101226   October   10/20/2014   complete   Geoff          Wong         NZ   Geoff       Wong         NZ   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14101227   October   10/20/2014   complete   HUNG           HUA          US   HUNG        HUA          US   braintree         USD   TVPAD-007                       259    20   1    239
TVP-14101227   October   10/20/2014   complete   HUNG           HUA          US   HUNG        HUA          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101228   October   10/21/2014   complete   Cindy          Kwong        US   christine   wong         US   braintree         USD   TVPAD-004                       259    10   1    249

TVP-14101228   October   10/21/2014   complete   Cindy          Kwong        US   christine   wong         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101229   October   10/20/2014   complete   Steven         Lew          AU   Steven      Lew          AU   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14101229   October   10/20/2014   complete   Steven         Lew          AU   Steven      Lew          AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101230   October   10/20/2014   complete   young          oh           CA   young       oh           CA   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101230   October   10/20/2014   complete   young          oh           CA   young       oh           CA   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101231   October   10/20/2014   complete   Hume           Leow         AU   Hume        Leow         AU   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14101231   October   10/20/2014   complete   Hume           Leow         AU   Hume        Leow         AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101232   October   10/20/2014   complete   Yan            Li           US   Yan         Li           US   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14101232   October   10/20/2014   complete   Yan            Li           US   Yan         Li           US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101233   October   10/20/2014   complete   Yun            Zhu          NL   Yun         Zhu          NL   braintree         EUR   TVPAD-007                       259    10   1    249
TVP-14101233   October   10/20/2014   complete   Yun            Zhu          NL   Yun         Zhu          NL   braintree         EUR   HGIFT2                             0    0   1       0
TVP-14101236   October   10/20/2014   complete   Jose           Roy          AU   Jose        Roy          AU   paypal_standard   USD   TVPAD-007                       259    10   1    249
TVP-14101236   October   10/20/2014   complete   Jose           Roy          AU   Jose        Roy          AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14101237   October   10/21/2014   complete   Wing           Yan          NL   Wing        Yan          NL   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101237   October   10/21/2014   complete   Wing           Yan          NL   Wing        Yan          NL   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101238   October   10/21/2014   complete   KIAT           FONG         US   KIAT        FONG         US   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14101238   October   10/21/2014   complete   KIAT           FONG         US   KIAT        FONG         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101239   October   10/21/2014   complete   John           Pyo          US   John        Pyo          US   paypal_standard   USD   TVPAD-004                       250    10   2    490
TVP-14101239   October   10/21/2014   complete   John           Pyo          US   John        Pyo          US   paypal_standard   USD   HGIFT2                             0    0   2       0
TVP-14101240   October   10/21/2014   closed     peter          chon         US   peter       chon         US   braintree         USD   TVPAD-AC-003-TVPAD-AC-003-US   29.99    0   1   29.99
TVP-14101244   October   10/21/2014   complete   Alice          Ao           CA   Alice       Ao           CA   paypal_standard   CAD   TVPAD-004                       259    20   1    239
TVP-14101244   October   10/21/2014   complete   Alice          Ao           CA   Alice       Ao           CA   paypal_standard   CAD   HGIFT2                             0    0   1       0
TVP-14101245   October   10/21/2014   complete   aran           kim          US   aran        kim          US   braintree         USD   TVPAD-007                       259    20   1    239
TVP-14101245   October   10/21/2014   complete   aran           kim          US   aran        kim          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101246   October   10/28/2014   complete   Anna           Cheung       US   Ming        Cheung       US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14101246   October   10/28/2014   complete   Anna           Cheung       US   Ming        Cheung       US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14101247   October   10/21/2014   complete   Lili           Rong         GB   Lili        Rong         GB   braintree         USD   TVPAD-004                       259    10   1    249
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TVP-14101247   October   10/21/2014   complete   Lili        Rong         GB   Lili        Rong         GB   braintree         USD   HGIFT2             0    0   1       0
TVP-14101248   October   10/21/2014   complete   Elizabeth   Shen         US   Shu         Shen         US   braintree         USD   TVPAD-007       250    10   3    740
TVP-14101248   October   10/21/2014   complete   Elizabeth   Shen         US   Shu         Shen         US   braintree         USD   HGIFT2             0    0   3       0
TVP-14101249   October   10/22/2014   complete   Biying      Lin          US   Jing        Chen         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14101249   October   10/22/2014   complete   Biying      Lin          US   Jing        Chen         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101250   October   10/21/2014   complete   Yong        Park         AE   Yong        Park         AE   braintree         USD   TVPAD-004       259    10   1    249
TVP-14101250   October   10/21/2014   complete   Yong        Park         AE   Yong        Park         AE   braintree         USD   HGIFT2             0    0   1       0
TVP-14101251   October   10/21/2014   complete   Yuan        Snaza        US   Yuan        Snaza        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14101251   October   10/21/2014   complete   Yuan        Snaza        US   Yuan        Snaza        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101252   October   10/21/2014   complete   Eun         Kim          US   Eun         Kim          US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14101252   October   10/21/2014   complete   Eun         Kim          US   Eun         Kim          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101253   October   10/21/2014   complete   Joy         Shi          US   Joy         Shi          US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14101253   October   10/21/2014   complete   Joy         Shi          US   Joy         Shi          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14101255   October   10/21/2014   complete   Nhan        Cung         US   Nhan        Cung         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14101255   October   10/21/2014   complete   Nhan        Cung         US   Nhan        Cung         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101256   October   10/21/2014   complete   Rosanna     Kwok         AU   Rosanna     Kwok         AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14101256   October   10/21/2014   complete   Rosanna     Kwok         AU   Rosanna     Kwok         AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14101257   October   10/21/2014   complete   ken         man          US   ken         man          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14101257   October   10/21/2014   complete   ken         man          US   ken         man          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101258   October   10/21/2014   complete   Michael     Chan         NZ   Michael     Chan         NZ   braintree         USD   TVPAD-004       250    10   2    490
TVP-14101258   October   10/21/2014   complete   Michael     Chan         NZ   Michael     Chan         NZ   braintree         USD   HGIFT2             0    0   2       0
TVP-70011317   October   10/21/2014   complete   Kate        Lee          AU   Kate        Lee          AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14101259   October   10/22/2014   complete   Xiaochun    Wu           CA   Xiaochun    Wu           CA   braintree         CAD   TVPAD-007       259    10   1    249
TVP-14101259   October   10/22/2014   complete   Xiaochun    Wu           CA   Xiaochun    Wu           CA   braintree         CAD   HGIFT2             0    0   1       0
TVP-14101260   October   10/22/2014   complete   Janet       Tan          IE   Janet       Tan          IE   braintree         EUR   TVPAD-AC-004   29.99    0   1   29.99
TVP-70011318   October   10/22/2014   complete   JIN         XUE          CA   JIN         XUE          CA   braintree         CAD   TVPAD-007       259    20   1    239
TVP-70011318   October   10/22/2014   complete   JIN         XUE          CA   JIN         XUE          CA   braintree         CAD   HGIFT2             0    0   1       0
TVP-14101261   October   10/22/2014   complete   Xin         Zhao         US   Xin         Zhao         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14101261   October   10/22/2014   complete   Xin         Zhao         US   Xin         Zhao         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101262   October   10/22/2014   complete   Winnie      Su           AU   Winnie      Su           AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14101262   October   10/22/2014   complete   Winnie      Su           AU   Winnie      Su           AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14101263   October   10/23/2014   complete   Jengdaw     Yu           US   Dan         Yu           US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14101263   October   10/23/2014   complete   Jengdaw     Yu           US   Dan         Yu           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101264   October   10/22/2014   complete   Hui-Tsung   Liang        US   Hui-Tsung   Liang        US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14101264   October   10/22/2014   complete   Hui-Tsung   Liang        US   Hui-Tsung   Liang        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101265   October   10/22/2014   closed     Jae         Choi         US   Jae         Choi         US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14101265   October   10/22/2014   closed     Jae         Choi         US   Jae         Choi         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101266   October   10/22/2014   complete   kee         Mills        US   kee         Mills        US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14101266   October   10/22/2014   complete   kee         Mills        US   kee         Mills        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101268   October   10/23/2014   complete   Yingyu      Wu           US   Yingyu      Wu           US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14101268   October   10/23/2014   complete   Yingyu      Wu           US   Yingyu      Wu           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101269   October   10/23/2014   complete   Yen         Ngo          NL   Yen         Ngo          NL   braintree         EUR   TVPAD-004       259    10   1    249
TVP-14101269   October   10/23/2014   complete   Yen         Ngo          NL   Yen         Ngo          NL   braintree         EUR   HGIFT2             0    0   1       0
TVP-70011320   October   10/23/2014   complete   Jianming    wang         NL   Jianming    wang         NL   braintree         EUR   TVPAD-004       259    10   1    249
TVP-70011320   October   10/23/2014   complete   Jianming    wang         NL   Jianming    wang         NL   braintree         EUR   HGIFT2             0    0   1       0
TVP-14101270   October   10/23/2014   complete   chao        chen         GB   chao        chen         GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14101270   October   10/23/2014   complete   chao        chen         GB   chao        chen         GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14101271   October   10/23/2014   complete   Qiao        Li           US   Qiao        Li           US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14101271   October   10/23/2014   complete   Qiao        Li           US   Qiao        Li           US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-70011321   October   10/23/2014   complete   david       wu           GB   david       wu           GB   paypal_standard   GBP   TVPAD-004       259    20   1    239
TVP-70011321   October   10/23/2014   complete   david       wu           GB   david       wu           GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14101272   October   10/23/2014   complete   CHI         LI           CA   CHI         LI           CA   braintree         USD   TVPAD-007       259    10   1    249
TVP-14101272   October   10/23/2014   complete   CHI         LI           CA   CHI         LI           CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14101273   October   10/23/2014   complete   kevin       yeum         US   kevin       yeum         US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14101273   October   10/23/2014   complete   kevin       yeum         US   kevin       yeum         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101274   October   10/23/2014   complete   Hongbo      Zhou         US   Hongbo      Zhou         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14101274   October   10/23/2014   complete   Hongbo      Zhou         US   Hongbo      Zhou         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101275   October   10/23/2014   complete   Ling        Hoy-jan      BE   Ling        Hoy-jan      BE   braintree         EUR   TVPAD-007       259    10   1    249
TVP-14101275   October   10/23/2014   complete   Ling        Hoy-jan      BE   Ling        Hoy-jan      BE   braintree         EUR   HGIFT2             0    0   1       0
TVP-14101276   October   10/24/2014   complete   Rachel      Chang        US   Rachel      Chang        US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14101276   October   10/24/2014   complete   Rachel      Chang        US   Rachel      Chang        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101277   October   10/24/2014   complete   david       lam          GB   david       lam          GB   paypal_standard   GBP   TVPAD-007       259    10   1    249
TVP-14101277   October   10/24/2014   complete   david       lam          GB   david       lam          GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14101278   October   10/24/2014   complete   Josephine   Lai          US   Josephine   Lai          US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14101278   October   10/24/2014   complete   Josephine   Lai          US   Josephine   Lai          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101279   October   10/24/2014   complete   hing        tam          CH   hing        tam          CH   braintree         USD   TVPAD-007       259    10   1    249
TVP-14101279   October   10/24/2014   complete   hing        tam          CH   hing        tam          CH   braintree         USD   HGIFT2             0    0   1       0
TVP-70011323   October   10/24/2014   complete   Sui         Lau          US   Sui         Lau          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011323   October   10/24/2014   complete   Sui         Lau          US   Sui         Lau          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101280   October   10/24/2014   complete   An          Ling         IE   An          Ling         IE   braintree         EUR   TVPAD-007       259    20   1    239
TVP-14101280   October   10/24/2014   complete   An          Ling         IE   An          Ling         IE   braintree         EUR   HGIFT2             0    0   1       0
TVP-14101281   October   10/24/2014   complete   Cam Phu     Lieu         AT   Phu         Lieu         AT   paypal_standard   EUR   TVPAD-007       259    10   1    249
TVP-14101281   October   10/24/2014   complete   Cam Phu     Lieu         AT   Phu         Lieu         AT   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14101282   October   10/24/2014   complete   Tim Chai    Teo          SG   Tim         Teo          SG   braintree         USD   TVPAD-004       259    20   1    239
TVP-14101282   October   10/24/2014   complete   Tim Chai    Teo          SG   Tim         Teo          SG   braintree         USD   HGIFT2             0    0   1       0
TVP-70011325   October   10/26/2014   complete   yuchao      zeng         US   chaoqiang   cai          US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-70011325   October   10/26/2014   complete   yuchao      zeng         US   chaoqiang   cai          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14101283   October   10/24/2014   complete   Silvia      Lee          US   Silvia      Lee          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14101283   October   10/24/2014   complete   Silvia      Lee          US   Silvia      Lee          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101284   October   10/24/2014   complete   David       So           NZ   David       So           NZ   braintree         USD   TVPAD-004       259    20   1    239
TVP-14101284   October   10/24/2014   complete   David       So           NZ   David       So           NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14101285   October   10/25/2014   complete   Jeffrey     Li           CA   Jeffrey     Li           CA   braintree         USD   TVPAD-004       259    10   1    249
TVP-14101285   October   10/25/2014   complete   Jeffrey     Li           CA   Jeffrey     Li           CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14101286   October   10/25/2014   complete   Joseph      Kim          US   Joseph      Kim          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14101286   October   10/25/2014   complete   Joseph      Kim          US   Joseph      Kim          US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011326   October   10/25/2014   complete   Jucai       Wu           US   Jucai       Wu           US   braintree         USD   TVPAD-007       259    20   1    239
TVP-70011326   October   10/25/2014   complete   Jucai       Wu           US   Jucai       Wu           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101287   October   10/25/2014   complete   Andrew      Aldridge     GB   Andrew      Aldridge     GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14101287   October   10/25/2014   complete   Andrew      Aldridge     GB   Andrew      Aldridge     GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14101288   October   10/25/2014   complete   Jay         Chung        US   Jay         Chung        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14101288   October   10/25/2014   complete   Jay         Chung        US   Jay         Chung        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101289   October   10/25/2014   closed     INSHEOP     LEE          US   INSHEOP     LEE          US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14101289   October   10/25/2014   closed     INSHEOP     LEE          US   INSHEOP     LEE          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101290   October   10/25/2014   complete   Alex        Cen          AW   Alex        Cen          AW   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14101290   October   10/25/2014   complete   Alex        Cen          AW   Alex        Cen          AW   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14101291   October   10/25/2014   complete   An          Chu          US   An          Chu          US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14101291   October   10/25/2014   complete   An          Chu          US   An          Chu          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101292   October   10/26/2014   complete   Andy        Leung        NZ   Andy        Leung        NZ   paypal_standard   USD   TVPAD-004        250   10   2    490
TVP-14101292   October   10/26/2014   complete   Andy        Leung        NZ   Andy        Leung        NZ   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14101294   October   10/26/2014   complete   Alex        Chan         AU   Grace       Chan         AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14101294   October   10/26/2014   complete   Alex        Chan         AU   Grace       Chan         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14101295   October   10/26/2014   complete   Doris       Zhang        US   Doris       Zhang        US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14101295   October   10/26/2014   complete   Doris       Zhang        US   Doris       Zhang        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101296   October   10/26/2014   complete   John        Sidebottom   US   John        Sidebottom   US   braintree         USD   TVPAD-004       259    10   1     249
TVP-14101296   October   10/26/2014   complete   John        Sidebottom   US   John        Sidebottom   US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101297   October   10/30/2014   complete   HEESEOK     YOON         US   heeseok     yoon         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14101297   October   10/30/2014   complete   HEESEOK     YOON         US   heeseok     yoon         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101298   October   10/26/2014   complete   Martin      Coleman      AU   Martin      Coleman      AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14101298   October   10/26/2014   complete   Martin      Coleman      AU   Martin      Coleman      AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14101299   October   10/27/2014   complete   Doris       Teoh         AU   Doris       Teoh         AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14101299   October   10/27/2014   complete   Doris       Teoh         AU   Doris       Teoh         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14101300   October   10/27/2014   complete   Long        Hoang        GB   Long        Hoang        GB   paypal_standard   GBP   TVPAD-007        259   10   1    249
TVP-14101300   October   10/27/2014   complete   Long        Hoang        GB   Long        Hoang        GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14101301   October   10/27/2014   complete   Peter       Choi         US   Peter       Choi         US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14101301   October   10/27/2014   complete   Peter       Choi         US   Peter       Choi         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101302   October   10/27/2014   complete   Leile       Sham         US   Leile       Sham         US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14101302   October   10/27/2014   complete   Leile       Sham         US   Leile       Sham         US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14101303   October   10/27/2014   complete   chui leng   goh          MY   chui        goh          MY   braintree         USD   TVPAD-004       259    20   1    239
TVP-14101303   October   10/27/2014   complete   chui leng   goh          MY   chui        goh          MY   braintree         USD   HGIFT2             0    0   1       0
TVP-14101304   October   10/28/2014   complete   Dan         Chan         US   YanFang     Liang        US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14101304   October   10/28/2014   complete   Dan         Chan         US   YanFang     Liang        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101305   October   10/27/2014   complete   William     Chau         US   William     Chau         US   braintree         USD   TVPAD-004        250   10   2     490
TVP-14101305   October   10/27/2014   complete   William     Chau         US   William     Chau         US   braintree         USD   HGIFT2             0    0   2       0
TVP-14101306   October   10/27/2014   complete   Chung       Vong         US   Chung       Vong         US   braintree         USD   TVPAD-007        259   10   1     249
TVP-14101306   October   10/27/2014   complete   Chung       Vong         US   Chung       Vong         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101307   October   10/27/2014   complete   Albert      Ng           US   Albert      Ng           US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14101307   October   10/27/2014   complete   Albert      Ng           US   Albert      Ng           US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011329   October   10/27/2014   complete   Carey       Huang        US   Carey       Huang        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-70011329   October   10/27/2014   complete   Carey       Huang        US   Carey       Huang        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14101308   October   10/27/2014   complete   Yao         Chen         US   Yao         Chen         US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14101308   October   10/27/2014   complete   Yao         Chen         US   Yao         Chen         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101309   October   10/27/2014   complete   Victor      Yan          CA   Victor      Yan          CA   paypal_standard   CAD   TVPAD-007        259   20   1     239
TVP-14101309   October   10/27/2014   complete   Victor      Yan          CA   Victor      Yan          CA   paypal_standard   CAD   HGIFT2             0    0   1       0
TVP-14101310   October   10/27/2014   complete   Winnie      Chau         US   Winnie      Chau         US   braintree         USD   TVPAD-004        259   20   1     239
TVP-14101310   October   10/27/2014   complete   Winnie      Chau         US   Winnie      Chau         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14101311   October   10/27/2014   complete   Roger       Tiang        NZ   Roger       Tiang        NZ   braintree         USD   TVPAD-007        259   10   1     249
TVP-14101311   October   10/27/2014   complete   Roger       Tiang        NZ   Roger       Tiang        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14101313   October   10/27/2014   complete   Shino       Kong         NZ   Shino       Kong         NZ   braintree         USD   TVPAD-004        259   20   1     239
TVP-14101313   October   10/27/2014   complete   Shino       Kong         NZ   Shino       Kong         NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14101314   October   10/28/2014   complete   siu-yin     tang         NL   siu-yin     tang         NL   braintree         USD   TVPAD-004        259   10   1     249
TVP-14101314   October   10/28/2014   complete   siu-yin     tang         NL   siu-yin     tang         NL   braintree         USD   HGIFT2             0    0   1       0
TVP-14101315   October   10/28/2014   complete   Thomas      Chiu         GB   Thomas      Chiu         GB   paypal_standard   GBP   TVPAD-004       259    10   1    249
TVP-14101315   October   10/28/2014   complete   Thomas      Chiu         GB   Thomas      Chiu         GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14101316   October   10/28/2014   complete   Ya-Hui      Chen         SE   Ya-Hui      Chen         SE   braintree         USD   TVPAD-004        259   10   1     249
TVP-14101316   October   10/28/2014   complete   Ya-Hui      Chen         SE   Ya-Hui      Chen         SE   braintree         USD   HGIFT2             0    0   1       0
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TVP-14101317   October    10/28/2014   complete   Yee           Wong        NL   Yee           Wong        NL   paypal_standard   USD   TVPAD-007       259       10   1     249
TVP-14101317   October    10/28/2014   complete   Yee           Wong        NL   Yee           Wong        NL   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14101319   October    10/28/2014   complete   sophie        zhang       CA   sophie        zhang       CA   braintree         USD   TVPAD-004       259       10   1     249
TVP-14101319   October    10/28/2014   complete   sophie        zhang       CA   sophie        zhang       CA   braintree         USD   HGIFT2             0       0   1        0
TVP-14101320   October    10/28/2014   complete   Kevin         Kwa         US   Kevin         Kwa         US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14101320   October    10/28/2014   complete   Kevin         Kwa         US   Kevin         Kwa         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14101322   October    10/28/2014   complete   Rebecca       Cheng       US   Rebecca       Cheng       US   paypal_standard   USD   TVPAD-007       259       10   1     249
TVP-14101322   October    10/28/2014   complete   Rebecca       Cheng       US   Rebecca       Cheng       US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14101323   October    10/28/2014   complete   Shoou-I       Wang        US   Shoou-I       Wang        US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14101323   October    10/28/2014   complete   Shoou-I       Wang        US   Shoou-I       Wang        US   braintree         USD   HGIFT2             0       0   1        0
TVP-14101324   October    10/28/2014   complete   Byron         Kwan        US   Byron         Kwan        US   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14101324   October    10/28/2014   complete   Byron         Kwan        US   Byron         Kwan        US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14101325   October    10/28/2014   complete   Melody        Chu         US   Melody        Chu         US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14101325   October    10/28/2014   complete   Melody        Chu         US   Melody        Chu         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14101326   October    10/28/2014   complete   Thomas        Wong        US   Thomas        Wong        US   braintree         USD   TVPAD-007       259       20   1     239
TVP-14101326   October    10/28/2014   complete   Thomas        Wong        US   Thomas        Wong        US   braintree         USD   HGIFT2             0       0   1        0
TVP-70011330   October    10/29/2014   complete   QUCHUAN       HUANG       GB   QUCHUAN       HUANG       GB   braintree         USD   TVPAD-007       259       20   1     239
TVP-70011330   October    10/29/2014   complete   QUCHUAN       HUANG       GB   QUCHUAN       HUANG       GB   braintree         USD   HGIFT2             0       0   1        0
TVP-14101328   October    10/29/2014   complete   Albert        Leung       CA   Albert        Leung       CA   braintree         USD   TVPAD-007       259       10   1     249
TVP-14101328   October    10/29/2014   complete   Albert        Leung       CA   Albert        Leung       CA   braintree         USD   HGIFT2             0       0   1        0
TVP-14101329   October    10/29/2014   complete   David         Chen        US   David         Chen        US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14101329   October    10/29/2014   complete   David         Chen        US   David         Chen        US   braintree         USD   HGIFT2             0       0   1        0
TVP-14101330   October    10/29/2014   complete   Carrie        fung        GB   Carrie        fung        GB   braintree         GBP   TVPAD-007       259       10   1     249
TVP-14101330   October    10/29/2014   complete   Carrie        fung        GB   Carrie        fung        GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14101331   October    10/29/2014   complete   Emily         Lee         US   Emily         Lee         US   braintree         USD   TVPAD-004       259       30   1     229
TVP-14101331   October    10/29/2014   complete   Emily         Lee         US   Emily         Lee         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14101332   October    10/29/2014   complete   Jonathan      Moo         US   Jonathan      Moo         US   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14101332   October    10/29/2014   complete   Jonathan      Moo         US   Jonathan      Moo         US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14101333   October    10/29/2014   complete   Ronald        Lew         US   Ronald        Lew         US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14101333   October    10/29/2014   complete   Ronald        Lew         US   Ronald        Lew         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14101334   October    10/29/2014   complete   Will          Lin         AU   Will          Lin         AU   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14101334   October    10/29/2014   complete   Will          Lin         AU   Will          Lin         AU   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14101335   October    10/29/2014   complete   Sau           Man         US   Sau           Man         US   braintree         USD   TVPAD-007       259       20   1     239
TVP-14101335   October    10/29/2014   complete   Sau           Man         US   Sau           Man         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14101336   October    10/29/2014   complete   Tammy         Chen        US   Tammy         Chen        US   braintree         USD   TVPAD-007       259       20   1     239
TVP-14101336   October    10/29/2014   complete   Tammy         Chen        US   Tammy         Chen        US   braintree         USD   HGIFT2             0       0   1        0
TVP-14101337   October    10/29/2014   complete   Ryan          Pak         US   Ryan          Pak         US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14101337   October    10/29/2014   complete   Ryan          Pak         US   Ryan          Pak         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14101340   October    10/29/2014   complete   Keiko         Nakagawa    US   Alex          Wong        US   paypal_standard   USD   TVPAD-007       259       20   1     239
TVP-14101340   October    10/29/2014   complete   Keiko         Nakagawa    US   Alex          Wong        US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-70011331   October    10/29/2014   complete   guow          guam        AU   guow          guam        AU   braintree         USD   TVPAD-007       259       10   1     249
TVP-70011331   October    10/29/2014   complete   guow          guam        AU   guow          guam        AU   braintree         USD   HGIFT2             0       0   1        0
TVP-14101341   October    10/29/2014   complete   Christopher   Mills       AU   Christopher   Mills       AU   paypal_standard   USD   TVPAD-004       250       10   2     490
TVP-14101341   October    10/29/2014   complete   Christopher   Mills       AU   Christopher   Mills       AU   paypal_standard   USD   HGIFT2             0       0   2        0
TVP-14101342   October    10/29/2014   complete   Tony          Zhou        GB   Tony          Zhou        GB   paypal_standard   GBP   TVPAD-007       259       20   1     239
TVP-14101342   October    10/29/2014   complete   Tony          Zhou        GB   Tony          Zhou        GB   paypal_standard   GBP   HGIFT2             0       0   1        0
TVP-14101344   October    10/30/2014   complete   Tsjok         Man         NL   Tsjok         Man         NL   paypal_standard   EUR   TVPAD-007       259       20   1     239
TVP-14101344   October    10/30/2014   complete   Tsjok         Man         NL   Tsjok         Man         NL   paypal_standard   EUR   HGIFT2             0       0   1        0
TVP-14101345   October    10/30/2014   complete   Tsjok         Man         NL   Tsjok         Man         NL   paypal_standard   EUR   TVPAD-004       259       20   1     239
TVP-14101345   October    10/30/2014   complete   Tsjok         Man         NL   Tsjok         Man         NL   paypal_standard   EUR   HGIFT2             0       0   1        0
TVP-14101346   October    10/30/2014   complete   Alexander     Doremalen   BE   Alexander     Doremalen   BE   paypal_standard   EUR   TVPAD-004       259       10   1     249
TVP-14101346   October    10/30/2014   complete   Alexander     Doremalen   BE   Alexander     Doremalen   BE   paypal_standard   EUR   HGIFT2             0       0   1        0
TVP-14101347   October    10/30/2014   complete   Adam          Wan         GB   Adam          Wan         GB   paypal_standard   USD   TVPAD-AC-004   29.99       0   1    29.99
TVP-14101348   October    10/30/2014   complete   Polly         Dong        AU   Polly         Dong        AU   braintree         AUD   TVPAD-007       259       10   1     249
TVP-14101348   October    10/30/2014   complete   Polly         Dong        AU   Polly         Dong        AU   braintree         AUD   HGIFT2             0       0   1        0
TVP-14101349   October    10/30/2014   complete   Sherry        Shao        GB   Sherry        Shao        GB   braintree         GBP   TVPAD-007       259       10   1     249
TVP-14101349   October    10/30/2014   complete   Sherry        Shao        GB   Sherry        Shao        GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14101350   October    10/30/2014   complete   Frankie       Wong        GB   Frankie       Wong        GB   braintree         GBP   TVPAD-007       259       10   1     249
TVP-14101350   October    10/30/2014   complete   Frankie       Wong        GB   Frankie       Wong        GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14101351   October    10/30/2014   complete   Victor        Shen        US   Victor        Shen        US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14101351   October    10/30/2014   complete   Victor        Shen        US   Victor        Shen        US   braintree         USD   HGIFT2             0       0   1        0
TVP-14101352   October    10/30/2014   complete   Charles       Chang       US   Charles       Chang       US   braintree         USD   TVPAD-007       259       10   1     249
TVP-14101352   October    10/30/2014   complete   Charles       Chang       US   Charles       Chang       US   braintree         USD   HGIFT2             0       0   1        0
TVP-14101353   October    10/30/2014   complete   Chia-Chun     Chou        AU   Chia-Chun     Chou        AU   paypal_standard   USD   TVPAD-007       259       10   1     249
TVP-14101353   October    10/30/2014   complete   Chia-Chun     Chou        AU   Chia-Chun     Chou        AU   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14101354   October    10/30/2014   complete   Zhong         Liu         AU   Zhong         Liu         AU   braintree         AUD   TVPAD-004       259       10   1     249
TVP-14101354   October    10/30/2014   complete   Zhong         Liu         AU   Zhong         Liu         AU   braintree         AUD   HGIFT2             0       0   1        0
TVP-14101355   October    10/31/2014   complete   Louisa        Li          GB   Louisa        Li          GB   paypal_standard   GBP   TVPAD-004       259       10   1     249
TVP-14101355   October    10/31/2014   complete   Louisa        Li          GB   Louisa        Li          GB   paypal_standard   GBP   HGIFT2             0       0   1        0
TVP-14101356   October    10/31/2014   complete   david         yang        ZA   david         yang        ZA   braintree         USD   TVPAD-004       259       10   1     249
TVP-14101356   October    10/31/2014   complete   david         yang        ZA   david         yang        ZA   braintree         USD   HGIFT2             0       0   1        0
TVP-14101357   October    10/31/2014   complete   CHRIS         NGAI        AU   CHRIS         NGAI        AU   braintree         USD   TVPAD-004       259       10   1     249
TVP-14101357   October    10/31/2014   complete   CHRIS         NGAI        AU   CHRIS         NGAI        AU   braintree         USD   HGIFT2             0       0   1        0
TVP-14101358   October    10/31/2014   complete   Jackie        Huang       US   Jackie        Huang       US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14101358   October    10/31/2014   complete   Jackie        Huang       US   Jackie        Huang       US   braintree         USD   HGIFT2             0       0   1        0
TVP-14101359   October    10/31/2014   complete   Sau           Tang        GB   Sau           Tang        GB   braintree         GBP   TVPAD-004       259       20   1     239
TVP-14101359   October    10/31/2014   complete   Sau           Tang        GB   Sau           Tang        GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14101360   October    10/31/2014   complete   Elaine        Lau         GB   Elaine        Lau         GB   paypal_standard   GBP   TVPAD-007       259       20   1     239
TVP-14101360   October    10/31/2014   complete   Elaine        Lau         GB   Elaine        Lau         GB   paypal_standard   GBP   HGIFT2             0       0   1        0
TVP-14101361   October    10/31/2014   complete   Stanley       Chiu        US   Stanley       Chiu        US   braintree         USD   TVPAD-004       259       10   1      249
TVP-14101361   October    10/31/2014   complete   Stanley       Chiu        US   Stanley       Chiu        US   braintree         USD   HGIFT2             0       0   1        0
TVP-14101362   October    10/31/2014   complete   Lauren        San         GB   Lauren        San         GB   braintree         USD   TVPAD-004       259       20   1     239
TVP-14101362   October    10/31/2014   complete   Lauren        San         GB   Lauren        San         GB   braintree         USD   HGIFT2             0       0   1        0
TVP-14101363   October    10/31/2014   complete   Roland        Kwing       NZ   Roland        Kwing       NZ   braintree         USD   TVPAD-004       259       20   1     239
TVP-14101363   October    10/31/2014   complete   Roland        Kwing       NZ   Roland        Kwing       NZ   braintree         USD   HGIFT2             0       0   1        0
TVP-14101364   October    10/31/2014   complete   minwei        chen        US   minwei        chen        US   paypal_standard   USD   TVPAD-007       259       10   1     249
TVP-14101364   October    10/31/2014   complete   minwei        chen        US   minwei        chen        US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14101365   October    10/31/2014   complete   Fan           Chan        NZ   Fan           Chan        NZ   braintree         USD   TVPAD-007       259       20   1     239
TVP-14101365   October    10/31/2014   complete   Fan           Chan        NZ   Fan           Chan        NZ   braintree         USD   HGIFT2             0       0   1        0
TVP-14101366   October    10/31/2014   complete   Joyce         Feng        NZ   Joyce         Feng        NZ   braintree         USD   TVPAD-004       259       20   1     239
TVP-14101366   October    10/31/2014   complete   Joyce         Feng        NZ   Joyce         Feng        NZ   braintree         USD   HGIFT2             0       0   1        0
TVP-14101367   October    10/31/2014   complete   Yuping        Ting        US   Yuping        Ting        US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14101367   October    10/31/2014   complete   Yuping        Ting        US   Yuping        Ting        US   braintree         USD   HGIFT2             0       0   1        0
TVP-14101369   October    10/31/2014   complete   Hong          SungSil     DE   Hong          SungSil     DE   braintree         EUR   TVPAD-004       259       20   1     239
TVP-14101369   October    10/31/2014   complete   Hong          SungSil     DE   Hong          SungSil     DE   braintree         EUR   HGIFT2             0       0   1        0
TVP-14101370   October     11/4/2014   complete   wen           wen         NZ   wen           wen         NZ   braintree         USD   TVPAD-004       259    17.92   1   241.08
TVP-14101370   October     11/4/2014   complete   wen           wen         NZ   wen           wen         NZ   braintree         USD   TVPAD-AC-004   29.99    2.08   1    27.91
TVP-14101370   October     11/4/2014   complete   wen           wen         NZ   wen           wen         NZ   braintree         USD   HGIFT2             0       0   1        0
TVP-14101371   October     11/1/2014   complete   BUN           YEN         MY   BUN           YEN         MY   braintree         USD   TVPAD-007       259       10   1     249
TVP-14101371   October     11/1/2014   complete   BUN           YEN         MY   BUN           YEN         MY   braintree         USD   HGIFT2             0       0   1        0
TVP-14101372   October     11/1/2014   complete   song          kim         CA   song          kim         CA   braintree         USD   TVPAD-004       259       20   1      239
TVP-14101372   October     11/1/2014   complete   song          kim         CA   song          kim         CA   braintree         USD   HGIFT2             0       0   1        0
TVP-14101374   October     11/1/2014   complete   Shiyu         Dong        US   Shiyu         Dong        US   braintree         USD   TVPAD-007       259       10   1     249
TVP-14101374   October     11/1/2014   complete   Shiyu         Dong        US   Shiyu         Dong        US   braintree         USD   HGIFT2             0       0   1        0
TVP-14101376   October     11/1/2014   complete   m             cheung      GB   m             cheung      GB   braintree         GBP   TVPAD-AC-005   29.99       0   1    29.99
TVP-14101377   October     11/1/2014   complete   Hai Ryun      Lee         AU   Hai           Lee         AU   braintree         USD   TVPAD-007       259       10   1     249
TVP-14101377   October     11/1/2014   complete   Hai Ryun      Lee         AU   Hai           Lee         AU   braintree         USD   HGIFT2             0       0   1        0
TVP-14101378   October     11/1/2014   complete   James         Chan        AU   James         Chan        AU   paypal_standard   USD   TVPAD-007       259       10   1     249
TVP-14101378   October     11/1/2014   complete   James         Chan        AU   James         Chan        AU   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14101379   October     11/3/2014   complete   Chee          Fung        CN   Stephanie     Fung        GB   braintree         USD   TVPAD-004       259       10   1     249
TVP-14101379   October     11/3/2014   complete   Chee          Fung        CN   Stephanie     Fung        GB   braintree         USD   HGIFT2             0       0   1        0
TVP-14101380   November    11/2/2014   complete   David         Ding        AU   David         Ding        AU   paypal_standard   USD   TVPAD-AC-002   29.99       0   1    29.99
TVP-14101381   November    11/2/2014   complete   Victor        Ly          CH   Victor        Ly          CH   braintree         USD   TVPAD-004       259       10   1      249
TVP-14101381   November    11/2/2014   complete   Victor        Ly          CH   Victor        Ly          CH   braintree         USD   HGIFT2             0       0   1        0
TVP-14111010   November    11/2/2014   complete   Eddy          Chan        US   Eddy          Chan        US   paypal_standard   USD   TVPAD-007       259       10   1      249
TVP-14111010   November    11/2/2014   complete   Eddy          Chan        US   Eddy          Chan        US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14111011   November    11/2/2014   complete   XIAOYING      LIAO        US   XIAOYING      LIAO        US   braintree         USD   TVPAD-004       259       10   1      249
TVP-14111011   November    11/2/2014   complete   XIAOYING      LIAO        US   XIAOYING      LIAO        US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111012   November    11/2/2014   complete   Simon         Ng          GB   Simon         Ng          GB   braintree         GBP   TVPAD-007       259       10   1     249
TVP-14111012   November    11/2/2014   complete   Simon         Ng          GB   Simon         Ng          GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14111013   November    11/2/2014   complete   Junyu         yao         AU   Junyu         yao         AU   braintree         USD   TVPAD-007       250       10   2      490
TVP-14111013   November    11/2/2014   complete   Junyu         yao         AU   Junyu         yao         AU   braintree         USD   HGIFT2             0       0   2        0
TVP-14111016   November    11/3/2014   complete   Jeanie        Nguyen      GU   Jeanie        Nguyen      GU   braintree         USD   TVPAD-004       259       10   1      249
TVP-14111016   November    11/3/2014   complete   Jeanie        Nguyen      GU   Jeanie        Nguyen      GU   braintree         USD   HGIFT2             0       0   1        0
TVP-14111017   November    11/3/2014   complete   Wei-Ting      Ong         SG   Wei-Ting      Ong         SG   braintree         USD   TVPAD-004       259       20   1      239
TVP-14111017   November    11/3/2014   complete   Wei-Ting      Ong         SG   Wei-Ting      Ong         SG   braintree         USD   HGIFT2             0       0   1        0
TVP-14111019   November    11/3/2014   complete   Tae           CHO         AU   Tae           CHO         AU   braintree         USD   TVPAD-AC-004   29.99       0   1    29.99
TVP-70011333   November    11/3/2014   complete   xiang         zhu         AU   xiang         zhu         AU   braintree         AUD   TVPAD-007       250       20   2      480
TVP-70011333   November    11/3/2014   complete   xiang         zhu         AU   xiang         zhu         AU   braintree         AUD   HGIFT2             0       0   2        0
TVP-14111020   November    11/3/2014   complete   Chiong        Leung       US   Chiong        Leung       US   braintree         USD   TVPAD-004       259       10   1      249
TVP-14111020   November    11/3/2014   complete   Chiong        Leung       US   Chiong        Leung       US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111021   November    11/3/2014   complete   Katheryne     Ger         US   Katheryne     Ger         US   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14111021   November    11/3/2014   complete   Katheryne     Ger         US   Katheryne     Ger         US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14111022   November    11/3/2014   complete   Danlu         lee         US   Danlu         lee         US   braintree         USD   TVPAD-004       250       10   2      490
TVP-14111022   November    11/3/2014   complete   Danlu         lee         US   Danlu         lee         US   braintree         USD   HGIFT2             0       0   2        0
TVP-14111023   November    11/3/2014   complete   Ling          Roper       GB   Ling          Roper       GB   braintree         GBP   TVPAD-004       259       10   1      249
TVP-14111023   November    11/3/2014   complete   Ling          Roper       GB   Ling          Roper       GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14111024   November    11/3/2014   complete   Natalie       Ip          GB   Natalie       Ip          GB   braintree         GBP   TVPAD-007       259     8.96   1   250.04
TVP-14111024   November    11/3/2014   complete   Natalie       Ip          GB   Natalie       Ip          GB   braintree         GBP   TVPAD-AC-004   29.99    1.04   1    28.95
TVP-14111024   November    11/3/2014   complete   Natalie       Ip          GB   Natalie       Ip          GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14111025   November    11/3/2014   complete   george        chang       NZ   george        chang       NZ   braintree         USD   TVPAD-004       259       10   1      249
TVP-14111025   November    11/3/2014   complete   george        chang       NZ   george        chang       NZ   braintree         USD   HGIFT2             0       0   1        0
TVP-14111026   November    11/3/2014   complete   Tiana         To          GB   Tiana         To          GB   braintree         GBP   TVPAD-007       259       10   1      249
TVP-14111026   November    11/3/2014   complete   Tiana         To          GB   Tiana         To          GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14111027   November    11/3/2014   complete   Anne          Wu          AU   Anne          Wu          AU   braintree         USD   TVPAD-004       250       10   3      740
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                                   #:20501
TVP-14111027   November    11/3/2014   complete   Anne        Wu        AU   Anne        Wu        AU   braintree         USD   HGIFT2             0       0   3        0
TVP-14111028   November    11/3/2014   complete   Chaojiong   Wei       AU   Chaojiong   Wei       AU   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111028   November    11/3/2014   complete   Chaojiong   Wei       AU   Chaojiong   Wei       AU   braintree         USD   HGIFT2             0       0   1        0
TVP-14111029   November    11/3/2014   complete   Jordan      Chang     US   Jordan      Chang     US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111029   November    11/3/2014   complete   Jordan      Chang     US   Jordan      Chang     US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111031   November    11/3/2014   complete   JINGZENG    XU        AU   JINGZENG    XU        AU   braintree         USD   TVPAD-007       259       10   1     249
TVP-14111031   November    11/3/2014   complete   JINGZENG    XU        AU   JINGZENG    XU        AU   braintree         USD   HGIFT2             0       0   1        0
TVP-14111032   November    11/3/2014   complete   Rick        Wang      AU   Rick        Wang      AU   braintree         AUD   TVPAD-004       259       10   1     249
TVP-14111032   November    11/3/2014   complete   Rick        Wang      AU   Rick        Wang      AU   braintree         AUD   HGIFT2             0       0   1        0
TVP-14111033   November    11/3/2014   complete   Ung-Mui     Chong     DE   Ung-Mui     Chong     DE   braintree         USD   TVPAD-007       250       10   2     490
TVP-14111033   November    11/3/2014   complete   Ung-Mui     Chong     DE   Ung-Mui     Chong     DE   braintree         USD   HGIFT2             0       0   2        0
TVP-14111034   November    11/3/2014   complete   Elin        Vuong     SE   Elin        Vuong     SE   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111035   November    11/4/2014   complete   Yuru        Gu        GB   Yuru        Gu        GB   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111035   November    11/4/2014   complete   Yuru        Gu        GB   Yuru        Gu        GB   braintree         USD   HGIFT2             0       0   1        0
TVP-14111036   November    11/4/2014   complete   CHI         CHAN      GB   KOON        CHAN      GB   braintree         GBP   TVPAD-004       259       10   1     249
TVP-14111036   November    11/4/2014   complete   CHI         CHAN      GB   KOON        CHAN      GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14111037   November    11/4/2014   complete   MeungSook   Kang      US   MeungSook   Kang      US   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14111037   November    11/4/2014   complete   MeungSook   Kang      US   MeungSook   Kang      US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14111038   November    11/4/2014   complete   Wenqi       tang      US   Wenqi       tang      US   braintree         USD   TVPAD-007       259       20   1     239
TVP-14111038   November    11/4/2014   complete   Wenqi       tang      US   Wenqi       tang      US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111039   November    11/4/2014   complete   ALEX        NG        US   ALEX        NG        US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14111039   November    11/4/2014   complete   ALEX        NG        US   ALEX        NG        US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111040   November    11/4/2014   complete   Dawun       Chung     CA   Dawun       Chung     CA   braintree         USD   TVPAD-004       259       20   1     239
TVP-14111040   November    11/4/2014   complete   Dawun       Chung     CA   Dawun       Chung     CA   braintree         USD   HGIFT2             0       0   1        0
TVP-14111041   November    11/4/2014   closed     Brandon     Truong    US   Brandon     Truong    US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14111041   November    11/4/2014   closed     Brandon     Truong    US   Brandon     Truong    US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111042   November    11/5/2014   complete   Tat         Chan      US   Victor      Chan      US   braintree         USD   TVPAD-007       250       20   2     480
TVP-14111042   November    11/5/2014   complete   Tat         Chan      US   Victor      Chan      US   braintree         USD   HGIFT2             0       0   2        0
TVP-14111043   November    11/4/2014   complete   Leong       khoo      AU   Leong       khoo      AU   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111043   November    11/4/2014   complete   Leong       khoo      AU   Leong       khoo      AU   braintree         USD   HGIFT2             0       0   1        0
TVP-14111044   November    11/4/2014   complete   Kelly       Lim       GB   Kelly       Lim       GB   braintree         GBP   TVPAD-007       259       10   1     249
TVP-14111044   November    11/4/2014   complete   Kelly       Lim       GB   Kelly       Lim       GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14111045   November    11/4/2014   complete   Sarah       Tsang     US   Sarah       Tsang     US   braintree         USD   TVPAD-007       259       10   1     249
TVP-14111045   November    11/4/2014   complete   Sarah       Tsang     US   Sarah       Tsang     US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111046   November    11/4/2014   complete   Thomas      Zhang     US   Thomas      Zhang     US   braintree         USD   TVPAD-007       259       20   1     239
TVP-14111046   November    11/4/2014   complete   Thomas      Zhang     US   Thomas      Zhang     US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111047   November    11/6/2014   complete   SANG        LEE       KH   SANG        LEE       KH   braintree         USD   TVPAD-007       259       10   1     249
TVP-14111047   November    11/6/2014   complete   SANG        LEE       KH   SANG        LEE       KH   braintree         USD   HGIFT2             0       0   1        0
TVP-14111048   November    11/4/2014   complete   Dip         Cong      BE   Dip         Cong      BE   paypal_standard   USD   TVPAD-007       259       10   1     249
TVP-14111048   November    11/4/2014   complete   Dip         Cong      BE   Dip         Cong      BE   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14111051   November    11/4/2014   complete   Christina   Park      HK   Christina   Park      HK   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111051   November    11/4/2014   complete   Christina   Park      HK   Christina   Park      HK   braintree         USD   HGIFT2             0       0   1        0
TVP-14111054   November    11/5/2014   complete   AIQIN       WANG      US   AIQIN       WANG      US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111054   November    11/5/2014   complete   AIQIN       WANG      US   AIQIN       WANG      US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111056   November    11/5/2014   complete   Joyce       Cham      US   Joyce       Cham      US   braintree         USD   TVPAD-007       259       10   1     249
TVP-14111056   November    11/5/2014   complete   Joyce       Cham      US   Joyce       Cham      US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111060   November    11/5/2014   complete   Han         Poon      NL   Han         Poon      NL   braintree         USD   TVPAD-AC-004   29.99       0   1    29.99
TVP-14111061   November    11/5/2014   complete   TRAN        CLAUDE    FR   TRAN        CLAUDE    FR   paypal_standard   USD   TVPAD-007       259       10   1     249
TVP-14111061   November    11/5/2014   complete   TRAN        CLAUDE    FR   TRAN        CLAUDE    FR   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14111062   November    11/5/2014   complete   weyland     dear      US   weyland     dear      US   braintree         USD   TVPAD-007       259       10   1     249
TVP-14111062   November    11/5/2014   complete   weyland     dear      US   weyland     dear      US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111063   November    11/5/2014   complete   TAE         OH        DE   Inkey       OH        NZ   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111063   November    11/5/2014   complete   TAE         OH        DE   Inkey       OH        NZ   braintree         USD   HGIFT2             0       0   1        0
TVP-14111065   November    11/5/2014   complete   peng        li        US   peng        li        US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111065   November    11/5/2014   complete   peng        li        US   peng        li        US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111066   November    11/5/2014   complete   Thomas      Au        SG   Thomas      Au        SG   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111066   November    11/5/2014   complete   Thomas      Au        SG   Thomas      Au        SG   braintree         USD   HGIFT2             0       0   1        0
TVP-14111067   November    11/5/2014   complete   Yim         Lam       US   Yim         Lam       US   paypal_standard   USD   TVPAD-007       259       20   1     239
TVP-14111067   November    11/5/2014   complete   Yim         Lam       US   Yim         Lam       US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14111068   November    11/5/2014   complete   Tsi-Wai     Yuen      NL   Tsi-Wai     Yuen      NL   braintree         EUR   TVPAD-004       259       20   1     239
TVP-14111068   November    11/5/2014   complete   Tsi-Wai     Yuen      NL   Tsi-Wai     Yuen      NL   braintree         EUR   HGIFT2             0       0   1        0
TVP-14111069   November    11/5/2014   complete   Kan         YING      FR   Kan         YING      FR   braintree         EUR   TVPAD-004       259       10   1     249
TVP-14111069   November    11/5/2014   complete   Kan         YING      FR   Kan         YING      FR   braintree         EUR   HGIFT2             0       0   1        0
TVP-14111070   November    11/6/2014   complete   Thomas      Wong      US   Thomas      Wong      US   braintree         USD   TVPAD-007       259       20   1     239
TVP-14111070   November    11/6/2014   complete   Thomas      Wong      US   Thomas      Wong      US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111071   November    11/6/2014   complete   Roger       Tam       US   Roger       Tam       US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111071   November    11/6/2014   complete   Roger       Tam       US   Roger       Tam       US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111072   November    11/6/2014   complete   Zhiming     zeng      AU   Zhiming     zeng      AU   braintree         USD   TVPAD-007       259       10   1     249
TVP-14111072   November    11/6/2014   complete   Zhiming     zeng      AU   Zhiming     zeng      AU   braintree         USD   HGIFT2             0       0   1        0
TVP-14111073   November    11/6/2014   complete   Young       Kim       US   Young       Kim       US   braintree         USD   TVPAD-007       259       20   1     239
TVP-14111073   November    11/6/2014   complete   Young       Kim       US   Young       Kim       US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111074   November    11/7/2014   complete   Xiang       Kong      US   Bill        Kong      US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111074   November    11/7/2014   complete   Xiang       Kong      US   Bill        Kong      US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111076   November    11/6/2014   complete   Terry       Li        NZ   Terry       Li        NZ   braintree         USD   TVPAD-007       259       10   1     249
TVP-14111076   November    11/6/2014   complete   Terry       Li        NZ   Terry       Li        NZ   braintree         USD   HGIFT2             0       0   1        0
TVP-14111077   November    11/6/2014   complete   David       So        NZ   David       So        NZ   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111077   November    11/6/2014   complete   David       So        NZ   David       So        NZ   braintree         USD   HGIFT2             0       0   1        0
TVP-14111078   November    11/6/2014   complete   Chang       Kim       SG   Chang       Kim       SG   braintree         USD   TVPAD-007       259       10   1     249
TVP-14111078   November    11/6/2014   complete   Chang       Kim       SG   Chang       Kim       SG   braintree         USD   HGIFT2             0       0   1        0
TVP-14111079   November    11/6/2014   complete   david       riviere   CA   david       riviere   CA   braintree         USD   TVPAD-007       250       10   2     490
TVP-14111079   November    11/6/2014   complete   david       riviere   CA   david       riviere   CA   braintree         USD   HGIFT2             0       0   2        0
TVP-14111080   November    11/7/2014   complete   T.P.L.      Erps      NL   T.P.L.      Erps      NL   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111080   November    11/7/2014   complete   T.P.L.      Erps      NL   T.P.L.      Erps      NL   braintree         USD   HGIFT2             0       0   1        0
TVP-14111081   November    11/7/2014   complete   lien        chung     NL   lien        chung     NL   paypal_standard   EUR   TVPAD-007       259       10   1     249
TVP-14111081   November    11/7/2014   complete   lien        chung     NL   lien        chung     NL   paypal_standard   EUR   HGIFT2             0       0   1        0
TVP-14111082   November    11/7/2014   complete   Chun        Wang      US   Julia       Wang      US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14111082   November    11/7/2014   complete   Chun        Wang      US   Julia       Wang      US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111084   November    11/7/2014   complete   Viet-Duc    Lai       DE   Viet-Duc    Lai       DE   paypal_standard   EUR   TVPAD-004       259       20   1     239
TVP-14111084   November    11/7/2014   complete   Viet-Duc    Lai       DE   Viet-Duc    Lai       DE   paypal_standard   EUR   HGIFT2             0       0   1        0
TVP-14111085   November    11/7/2014   complete   weidong     lu        US   weidong     lu        US   paypal_standard   USD   TVPAD-004       259       10   1     249
TVP-14111085   November    11/7/2014   complete   weidong     lu        US   weidong     lu        US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14111086   November    11/7/2014   complete   Minh        Ha        US   Minh        Ha        US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14111086   November    11/7/2014   complete   Minh        Ha        US   Minh        Ha        US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111087   November   11/10/2014   complete   junqing     xiao      US   junqing     xiao      US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111087   November   11/10/2014   complete   junqing     xiao      US   junqing     xiao      US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111088   November    11/7/2014   complete   Doris       Zhang     US   Doris       Zhang     US   braintree         USD   TVPAD-007       259       20   1     239
TVP-14111088   November    11/7/2014   complete   Doris       Zhang     US   Doris       Zhang     US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111090   November    11/8/2014   complete   Jen         Ong       SG   Jen         Ong       SG   braintree         USD   TVPAD-004       259       10   1      249
TVP-14111090   November    11/8/2014   complete   Jen         Ong       SG   Jen         Ong       SG   braintree         USD   HGIFT2             0       0   1        0
TVP-14111091   November    11/8/2014   complete   Kie wah     Hau       NL   Kie         Hau       NL   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111091   November    11/8/2014   complete   Kie wah     Hau       NL   Kie         Hau       NL   braintree         USD   HGIFT2             0       0   1        0
TVP-14111092   November    11/8/2014   complete   Dave        Wynne     AU   Dave        Wynne     AU   paypal_standard   AUD   TVPAD-004       259       10   1     249
TVP-14111092   November    11/8/2014   complete   Dave        Wynne     AU   Dave        Wynne     AU   paypal_standard   AUD   HGIFT2             0       0   1        0
TVP-14111093   November    11/8/2014   complete   Dan         Chan      US   YanFang     Liang     US   braintree         USD   TVPAD-007       259       20   1     239
TVP-14111093   November    11/8/2014   complete   Dan         Chan      US   YanFang     Liang     US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111094   November    11/8/2014   complete   Edith       Sun       US   Edith       Sun       US   braintree         USD   TVPAD-AC-004   29.99      10   1    19.99
TVP-14111095   November    11/8/2014   complete   Rose        Li        AU   Rose        Li        AU   paypal_standard   USD   TVPAD-007       259       20   1      239
TVP-14111095   November    11/8/2014   complete   Rose        Li        AU   Rose        Li        AU   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14111096   November    11/9/2014   complete   Jay         Chen      NZ   Jay         Chen      NZ   braintree         USD   TVPAD-004       259       10   1      249
TVP-14111096   November    11/9/2014   complete   Jay         Chen      NZ   Jay         Chen      NZ   braintree         USD   HGIFT2             0       0   1        0
TVP-14111097   November    11/9/2014   complete   Motoki      Iwamoto   CA   Motoki      Iwamoto   CA   braintree         USD   TVPAD-007       259       10   1     249
TVP-14111097   November    11/9/2014   complete   Motoki      Iwamoto   CA   Motoki      Iwamoto   CA   braintree         USD   HGIFT2             0       0   1        0
TVP-14111098   November    11/9/2014   complete   Kyuwon      Choi      AU   Kyuwon      Choi      AU   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111098   November    11/9/2014   complete   Kyuwon      Choi      AU   Kyuwon      Choi      AU   braintree         USD   HGIFT2             0       0   1        0
TVP-14111099   November    11/9/2014   complete   Yong        Lee       MY   Yong        Lee       MY   braintree         USD   TVPAD-007       259       20   1     239
TVP-14111099   November    11/9/2014   complete   Yong        Lee       MY   Yong        Lee       MY   braintree         USD   HGIFT2             0       0   1        0
TVP-14111100   November   11/10/2014   complete   Sarah       Tang      GB   Sarah       Tang      GB   paypal_standard   GBP   TVPAD-004       259       20   1     239
TVP-14111100   November   11/10/2014   complete   Sarah       Tang      GB   Sarah       Tang      GB   paypal_standard   GBP   HGIFT2             0       0   1        0
TVP-14111101   November    11/9/2014   complete   Bing        XIE       FR   Bing        XIE       FR   braintree         USD   TVPAD-004        259      10   1      249
TVP-14111101   November    11/9/2014   complete   Bing        XIE       FR   Bing        XIE       FR   braintree         USD   HGIFT2             0       0   1        0
TVP-14111102   November    11/9/2014   complete   Hyungseok   Kim       CH   Bernie      Kim       CH   braintree         USD   TVPAD-AC-004   29.99       0   1    29.99
TVP-14111104   November   11/10/2014   complete   Carlos      Ng Mac    BR   Carlos      Mac       BR   paypal_standard   USD   TVPAD-AC-004   29.99       0   1    29.99
TVP-14111106   November   11/10/2014   complete   Yiu         Ng        AU   Yiu         Ng        AU   braintree         USD   TVPAD-004       259       10   1     249
TVP-14111106   November   11/10/2014   complete   Yiu         Ng        AU   Yiu         Ng        AU   braintree         USD   HGIFT2             0       0   1        0
TVP-14111107   November   11/10/2014   complete   Charmaine   Yeh       AU   Charmaine   Yeh       AU   paypal_standard   AUD   TVPAD-007       259       20   1     239
TVP-14111107   November   11/10/2014   complete   Charmaine   Yeh       AU   Charmaine   Yeh       AU   paypal_standard   AUD   HGIFT2             0       0   1        0
TVP-70011335   November   11/10/2014   complete   Lili        Gao       NO   Lili        Gao       NO   braintree         USD   TVPAD-004       259       10   1     249
TVP-70011335   November   11/10/2014   complete   Lili        Gao       NO   Lili        Gao       NO   braintree         USD   HGIFT2             0       0   1        0
TVP-14111108   November   11/10/2014   complete   James       Wong      US   James       Wong      US   paypal_standard   USD   TVPAD-007       259       10   1     249
TVP-14111108   November   11/10/2014   complete   James       Wong      US   James       Wong      US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-70011336   November   11/10/2014   complete   æ¬£         å¾        AU   æ¬£         å¾        AU   braintree         AUD   TVPAD-007        259   17.92   1   241.08
TVP-70011336   November   11/10/2014   complete   æ¬£         å¾        AU   æ¬£         å¾        AU   braintree         AUD   TVPAD-AC-004   29.99    2.08   1    27.91
TVP-70011336   November   11/10/2014   complete   æ¬£         å¾        AU   æ¬£         å¾        AU   braintree         AUD   HGIFT2             0       0   1        0
TVP-14111109   November   11/10/2014   complete   Dong        Lee       US   Dong        Lee       US   paypal_standard   USD   TVPAD-007       259       20   1     239
TVP-14111109   November   11/10/2014   complete   Dong        Lee       US   Dong        Lee       US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14111110   November   11/10/2014   complete   Jimmy       Liu       US   Jimmy       Liu       US   braintree         USD   TVPAD-004       259       10   1      249
TVP-14111110   November   11/10/2014   complete   Jimmy       Liu       US   Jimmy       Liu       US   braintree         USD   HGIFT2             0       0   1        0
TVP-14111111   November   11/16/2014   complete   Li          Moy       US   Li          Moy       US   braintree         USD   TVPAD-004       250       10   2      490
TVP-14111111   November   11/16/2014   complete   Li          Moy       US   Li          Moy       US   braintree         USD   HGIFT2             0       0   2        0
TVP-14111112   November   11/10/2014   complete   Chenghung   Yao       US   Chenghung   Yao       US   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14111112   November   11/10/2014   complete   Chenghung   Yao       US   Chenghung   Yao       US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14111113   November   11/10/2014   complete   Linshan     Peng      NL   Linshan     Peng      NL   braintree         EUR   TVPAD-004       259       10   1      249
TVP-14111113   November   11/10/2014   complete   Linshan     Peng      NL   Linshan     Peng      NL   braintree         EUR   HGIFT2             0       0   1        0
TVP-14111114   November   11/10/2014   complete   Peter       Chan      US   Peter       Chan      US   paypal_standard   USD   TVPAD-004       259       20   1      239
TVP-14111114   November   11/10/2014   complete   Peter       Chan      US   Peter       Chan      US   paypal_standard   USD   HGIFT2             0       0   1        0
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                                   #:20502
TVP-14111115   November   11/10/2014   complete   Wing        LEUNG        GB   Wing        LEUNG        GB   paypal_standard   GBP   TVPAD-007       259    20    1    239
TVP-14111115   November   11/10/2014   complete   Wing        LEUNG        GB   Wing        LEUNG        GB   paypal_standard   GBP   HGIFT2             0    0    1       0
TVP-14111116   November   11/10/2014   closed     Guowen      Duan         AU   Guowen      Duan         AU   braintree         USD   TVPAD-004       259    10    1    249
TVP-14111116   November   11/10/2014   closed     Guowen      Duan         AU   Guowen      Duan         AU   braintree         USD   HGIFT2             0    0    1       0
TVP-14111117   November   11/10/2014   complete   Vo          Tran         US   Vo          Tran         US   braintree         USD   TVPAD-007       259    10    1    249
TVP-14111117   November   11/10/2014   complete   Vo          Tran         US   Vo          Tran         US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111119   November   11/10/2014   complete   Jen         Jiang        US   Jen         Jiang        US   paypal_standard   USD   TVPAD-007       259    10    1    249
TVP-14111119   November   11/10/2014   complete   Jen         Jiang        US   Jen         Jiang        US   paypal_standard   USD   HGIFT2             0    0    1       0
TVP-14111120   November   11/10/2014   complete   Ruby        Huang        AU   Ruby        Huang        AU   braintree         USD   TVPAD-007       259    10    1    249
TVP-14111120   November   11/10/2014   complete   Ruby        Huang        AU   Ruby        Huang        AU   braintree         USD   HGIFT2             0    0    1       0
TVP-14111121   November   11/10/2014   complete   Chang       Kim          AU   James       Kim          AU   braintree         USD   TVPAD-007       259    20    1    239
TVP-14111121   November   11/10/2014   complete   Chang       Kim          AU   James       Kim          AU   braintree         USD   HGIFT2             0    0    1       0
TVP-14111122   November   11/10/2014   complete   Wonpyo      Hong         US   Wonpyo      Hong         US   braintree         USD   TVPAD-004       259    10    1    249
TVP-14111122   November   11/10/2014   complete   Wonpyo      Hong         US   Wonpyo      Hong         US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111123   November   11/10/2014   complete   Hong        Gong         NZ   Hong        Gong         NZ   braintree         USD   TVPAD-004       259    10    1    249
TVP-14111123   November   11/10/2014   complete   Hong        Gong         NZ   Hong        Gong         NZ   braintree         USD   HGIFT2             0    0    1       0
TVP-14111124   November   11/10/2014   complete   John        Knight       GB   John        Knight       GB   braintree         USD   TVPAD-004       245    10   11   2685
TVP-14111124   November   11/10/2014   complete   John        Knight       GB   John        Knight       GB   braintree         USD   HGIFT2             0    0   11       0
TVP-14111126   November   11/11/2014   complete   Paul        Shum         US   Paul        Shum         US   braintree         USD   TVPAD-007       250    10    2    490
TVP-14111126   November   11/11/2014   complete   Paul        Shum         US   Paul        Shum         US   braintree         USD   HGIFT2             0    0    2       0
TVP-14111127   November   11/11/2014   complete   gen         nakamura     GB   gen         nakamura     GB   braintree         GBP   TVPAD-007       259    20    1    239
TVP-14111127   November   11/11/2014   complete   gen         nakamura     GB   gen         nakamura     GB   braintree         GBP   HGIFT2             0    0    1       0
TVP-14111128   November   11/11/2014   complete   Bing        Liang        US   Bing        Liang        US   braintree         USD   TVPAD-004       259    10    1    249
TVP-14111128   November   11/11/2014   complete   Bing        Liang        US   Bing        Liang        US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111129   November   11/15/2014   complete   Sook        Lee          GB   Kow         Fong         MY   braintree         GBP   TVPAD-004       259    10    1    249
TVP-14111129   November   11/15/2014   complete   Sook        Lee          GB   Kow         Fong         MY   braintree         GBP   HGIFT2             0    0    1       0
TVP-70011337   November   11/11/2014   complete   Shan        Long         AU   Shan        Long         AU   braintree         AUD   TVPAD-007       259    10    1    249
TVP-70011337   November   11/11/2014   complete   Shan        Long         AU   Shan        Long         AU   braintree         AUD   HGIFT2             0    0    1       0
TVP-70011338   November   11/11/2014   complete   Huan        wu           US   Huan        wu           US   paypal_standard   USD   TVPAD-004       259    10    1    249
TVP-70011338   November   11/11/2014   complete   Huan        wu           US   Huan        wu           US   paypal_standard   USD   HGIFT2             0    0    1       0
TVP-14111130   November   11/20/2014   complete   Chow        Ling         HK   Tony        Yuan         US   braintree         USD   TVPAD-004       259    10    1    249
TVP-14111130   November   11/20/2014   complete   Chow        Ling         HK   Tony        Yuan         US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111131   November   11/11/2014   complete   Ming        Cui          NZ   Ming        Cui          NZ   braintree         USD   TVPAD-004       259    10    1    249
TVP-14111131   November   11/11/2014   complete   Ming        Cui          NZ   Ming        Cui          NZ   braintree         USD   HGIFT2             0    0    1       0
TVP-14111132   November   11/12/2014   complete   Richard     Lam          GB   Richard     Lam          GB   braintree         USD   TVPAD-AC-001   29.99    0    1   29.99
TVP-14111133   November   11/12/2014   complete   Steve       Sham         US   Steve       Sham         US   braintree         USD   TVPAD-004       250    10    2    490
TVP-14111133   November   11/12/2014   complete   Steve       Sham         US   Steve       Sham         US   braintree         USD   HGIFT2             0    0    2       0
TVP-14111134   November   11/12/2014   complete   Yuen        Seeto-Lai    CH   Yuen        Seeto-Lai    CH   braintree         AUD   TVPAD-007       259    10    1    249
TVP-14111134   November   11/12/2014   complete   Yuen        Seeto-Lai    CH   Yuen        Seeto-Lai    CH   braintree         AUD   HGIFT2             0    0    1       0
TVP-14111135   November   11/12/2014   complete   Sally       Mitchell     US   Sally       Mitchell     US   braintree         USD   TVPAD-007       259    10    1    249
TVP-14111135   November   11/12/2014   complete   Sally       Mitchell     US   Sally       Mitchell     US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111137   November   11/18/2014   complete   Jeong       bin          LA   Jeong       bin          LA   braintree         USD   TVPAD-007       250    20    3    730
TVP-14111137   November   11/18/2014   complete   Jeong       bin          LA   Jeong       bin          LA   braintree         USD   HGIFT2             0    0    3       0
TVP-14111140   November   11/12/2014   complete   Angela      Chan         US   Angela      Chan         US   braintree         USD   TVPAD-004       259    20    1    239
TVP-14111141   November   11/12/2014   complete   Henry       Jin          US   Henry       Jin          US   paypal_standard   USD   TVPAD-004       250    10    2    490
TVP-14111141   November   11/12/2014   complete   Henry       Jin          US   Henry       Jin          US   paypal_standard   USD   HGIFT2             0    0    2       0
TVP-14111143   November   11/12/2014   complete   Fred        Wong         SG   Fred        Wong         SG   paypal_standard   USD   TVPAD-004       250    10    2    490
TVP-14111143   November   11/12/2014   complete   Fred        Wong         SG   Fred        Wong         SG   paypal_standard   USD   HGIFT2             0    0    2       0
TVP-14111144   November   11/12/2014   complete   Shu-Hui     Derbyshire   AU   Shu-Hui     Derbyshire   AU   paypal_standard   USD   TVPAD-007       259    10    1    249
TVP-14111144   November   11/12/2014   complete   Shu-Hui     Derbyshire   AU   Shu-Hui     Derbyshire   AU   paypal_standard   USD   HGIFT2             0    0    1       0
TVP-14111145   November   11/13/2014   complete   Tat         Choi         NL   Tat         Choi         NL   braintree         USD   TVPAD-004       259    10    1    249
TVP-14111145   November   11/13/2014   complete   Tat         Choi         NL   Tat         Choi         NL   braintree         USD   HGIFT2             0    0    1       0
TVP-14111146   November   11/13/2014   complete   SIMON       TAM          US   SIMON       TAM          US   braintree         USD   TVPAD-004       259    20    1    239
TVP-14111146   November   11/13/2014   complete   SIMON       TAM          US   SIMON       TAM          US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111147   November   11/20/2014   complete   stephen     crews        GB   stephen     crews        GB   braintree         USD   TVPAD-007       259    10    1    249
TVP-14111147   November   11/20/2014   complete   stephen     crews        GB   stephen     crews        GB   braintree         USD   HGIFT2             0    0    1       0
TVP-14111148   November   11/13/2014   complete   David       Wong         US   David       Wong         US   braintree         USD   TVPAD-004       259    10    1    249
TVP-14111148   November   11/13/2014   complete   David       Wong         US   David       Wong         US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111150   November   11/13/2014   complete   Carmen      Cheng        GB   Carmen      Cheng        GB   braintree         GBP   TVPAD-007       259    10    1    249
TVP-14111150   November   11/13/2014   complete   Carmen      Cheng        GB   Carmen      Cheng        GB   braintree         GBP   HGIFT2             0    0    1       0
TVP-14111151   November   11/13/2014   complete   steven      lum          US   steven      lum          US   braintree         USD   TVPAD-007       259    10    1    249
TVP-14111151   November   11/13/2014   complete   steven      lum          US   steven      lum          US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111152   November   11/13/2014   complete   Ruby        Huang        AU   Ruby        Huang        AU   braintree         USD   TVPAD-004       250    10    2    490
TVP-14111152   November   11/13/2014   complete   Ruby        Huang        AU   Ruby        Huang        AU   braintree         USD   HGIFT2             0    0    2       0
TVP-70011339   November   11/13/2014   complete   PoMan       Lee          US   PoMan       Lee          US   braintree         USD   TVPAD-007       259    20    1    239
TVP-70011339   November   11/13/2014   complete   PoMan       Lee          US   PoMan       Lee          US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111154   November   11/13/2014   complete   Chung       Park         US   Chung       Park         US   braintree         USD   TVPAD-007       259    20    1    239
TVP-14111154   November   11/13/2014   complete   Chung       Park         US   Chung       Park         US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111155   November   11/13/2014   complete   Han         Wang         US   Han         Wang         US   braintree         USD   TVPAD-004       259    10    1    249
TVP-14111155   November   11/13/2014   complete   Han         Wang         US   Han         Wang         US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111156   November   11/20/2014   complete   yejin       kim          US   steve       lee          US   braintree         USD   TVPAD-004       259    20    1    239
TVP-14111156   November   11/20/2014   complete   yejin       kim          US   steve       lee          US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111161   November   11/13/2014   complete   Ben         How          MY   Ben         How          MY   braintree         USD   TVPAD-007       250    20    3    730
TVP-14111161   November   11/13/2014   complete   Ben         How          MY   Ben         How          MY   braintree         USD   HGIFT2             0    0    3       0
TVP-14111162   November   11/13/2014   complete   Jae         Kim          SG   Jae         Kim          SG   braintree         USD   TVPAD-007       259    10    1    249
TVP-14111162   November   11/13/2014   complete   Jae         Kim          SG   Jae         Kim          SG   braintree         USD   HGIFT2             0    0    1       0
TVP-14111163   November   11/13/2014   complete   Daniel      Chan         US   Daniel      Chan         US   paypal_standard   USD   TVPAD-007       259    20    1    239
TVP-14111163   November   11/13/2014   complete   Daniel      Chan         US   Daniel      Chan         US   paypal_standard   USD   HGIFT2             0    0    1       0
TVP-14111166   November   11/13/2014   complete   Mark        Doran        GB   Mark        Doran        GB   braintree         GBP   TVPAD-004       259    10    1    249
TVP-14111166   November   11/13/2014   complete   Mark        Doran        GB   Mark        Doran        GB   braintree         GBP   HGIFT2             0    0    1       0
TVP-14111167   November   11/14/2014   complete   Victor      Shen         US   Victor      Shen         US   paypal_standard   USD   TVPAD-004       245    10    5   1215
TVP-14111167   November   11/14/2014   complete   Victor      Shen         US   Victor      Shen         US   paypal_standard   USD   HGIFT2             0    0    5       0
TVP-14111168   November   11/14/2014   complete   Ronald      Dea          US   Ronald      Dea          US   braintree         USD   TVPAD-004       250    20    2    480
TVP-14111168   November   11/14/2014   complete   Ronald      Dea          US   Ronald      Dea          US   braintree         USD   HGIFT2             0    0    2       0
TVP-14111169   November   11/14/2014   complete   Bonny       Mo           GB   Bonny       Mo           GB   braintree         GBP   TVPAD-007       259    20    1    239
TVP-14111169   November   11/14/2014   complete   Bonny       Mo           GB   Bonny       Mo           GB   braintree         GBP   HGIFT2             0    0    1       0
TVP-14111170   November   11/14/2014   complete   Kuan        Ng           AU   Kuan        Ng           AU   braintree         AUD   TVPAD-004       259    10    1    249
TVP-14111170   November   11/14/2014   complete   Kuan        Ng           AU   Kuan        Ng           AU   braintree         AUD   HGIFT2             0    0    1       0
TVP-14111171   November   11/14/2014   complete   young       jo           CL   young       jo           CL   braintree         USD   TVPAD-004       259    10    1    249
TVP-14111171   November   11/14/2014   complete   young       jo           CL   young       jo           CL   braintree         USD   HGIFT2             0    0    1       0
TVP-14111172   November   11/14/2014   complete   Ryan        Stevenson    AU   Ryan        Stevenson    AU   braintree         AUD   TVPAD-007       259    10    1    249
TVP-14111172   November   11/14/2014   complete   Ryan        Stevenson    AU   Ryan        Stevenson    AU   braintree         AUD   HGIFT2             0    0    1       0
TVP-70011340   November   11/14/2014   complete   junqing     xiao         US   junqing     xiao         US   braintree         USD   TVPAD-004       259    20    1     239
TVP-14111173   November   11/14/2014   complete   Chung       Tam          US   Chung       Tam          US   braintree         USD   TVPAD-004       259    10    1     249
TVP-14111173   November   11/14/2014   complete   Chung       Tam          US   Chung       Tam          US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111174   November   11/14/2014   complete   KIM         NG           US   CHUEN       CHOY         US   braintree         USD   TVPAD-004       259    20    1     239
TVP-14111174   November   11/14/2014   complete   KIM         NG           US   CHUEN       CHOY         US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111175   November   11/14/2014   complete   chao        cheong       BE   chao        cheong       BE   paypal_standard   USD   TVPAD-AC-001   29.99    0    1   29.99
TVP-70011341   November   11/14/2014   complete   TU CHAN     LANG         IE   TU          LANG         IE   braintree         USD   TVPAD-004       259    10    1    249
TVP-70011341   November   11/14/2014   complete   TU CHAN     LANG         IE   TU          LANG         IE   braintree         USD   HGIFT2             0    0    1       0
TVP-14111176   November   11/14/2014   complete   ray         chang        US   ray         chang        US   braintree         USD   TVPAD-AC-001   29.99    0    1   29.99
TVP-14111177   November   11/14/2014   complete   tiefei      zang         US   tiefei      zang         US   braintree         USD   TVPAD-007       259    20    1     239
TVP-14111177   November   11/14/2014   complete   tiefei      zang         US   tiefei      zang         US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111178   November   11/19/2014   complete   Minh        Ha           US   Chuong      Ha           US   braintree         USD   TVPAD-004       259    20    1     239
TVP-14111178   November   11/19/2014   complete   Minh        Ha           US   Chuong      Ha           US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111179   November   11/15/2014   complete   Jeremy      Wong         CA   Jeremy      Wong         CA   paypal_standard   CAD   TVPAD-007       259    20    1     239
TVP-14111179   November   11/15/2014   complete   Jeremy      Wong         CA   Jeremy      Wong         CA   paypal_standard   CAD   HGIFT2             0    0    1       0
TVP-14111180   November   11/16/2014   complete   Yung        Wong         US   Yung        Wong         US   braintree         USD   TVPAD-004        259   20    1     239
TVP-14111180   November   11/16/2014   complete   Yung        Wong         US   Yung        Wong         US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111181   November   11/15/2014   complete   Teuu        Ngo          MY   Teuu        Ngo          MY   braintree         USD   TVPAD-007       259    20    1     239
TVP-14111181   November   11/15/2014   complete   Teuu        Ngo          MY   Teuu        Ngo          MY   braintree         USD   HGIFT2             0    0    1       0
TVP-14111182   November   11/15/2014   complete   Yong        Kim          US   Yong        Kim          US   braintree         USD   TVPAD-004       259    10    1     249
TVP-14111182   November   11/15/2014   complete   Yong        Kim          US   Yong        Kim          US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111183   November   11/15/2014   complete   Dick        Jung         US   Dick        Jung         US   braintree         USD   TVPAD-004        259   10    1     249
TVP-14111183   November   11/15/2014   complete   Dick        Jung         US   Dick        Jung         US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111184   November   11/15/2014   complete   Leong       Yoke         MY   Leong       Yoke         MY   braintree         USD   TVPAD-AC-001   29.99    0    1   29.99
TVP-14111185   November   11/15/2014   complete   Loh         Mee          MY   Loh         Mee          MY   braintree         USD   TVPAD-007       259    20    1     239
TVP-14111185   November   11/15/2014   complete   Loh         Mee          MY   Loh         Mee          MY   braintree         USD   HGIFT2             0    0    1       0
TVP-14111186   November   11/15/2014   complete   Haoyu       You          NZ   Haoyu       You          NZ   paypal_standard   USD   TVPAD-004       259    10    1     249
TVP-14111186   November   11/15/2014   complete   Haoyu       You          NZ   Haoyu       You          NZ   paypal_standard   USD   HGIFT2             0    0    1       0
TVP-14111187   November   11/15/2014   complete   Diana       Tran         US   Diana       Tran         US   braintree         USD   TVPAD-004       259    10    1     249
TVP-14111187   November   11/15/2014   complete   Diana       Tran         US   Diana       Tran         US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111188   November   11/16/2014   complete   Daryl       Ng           NZ   Daryl       Ng           NZ   braintree         USD   TVPAD-004       259    10    1     249
TVP-14111188   November   11/16/2014   complete   Daryl       Ng           NZ   Daryl       Ng           NZ   braintree         USD   HGIFT2             0    0    1       0
TVP-14111190   November   11/16/2014   complete   Jady        Tso          US   Jady        Tso          US   paypal_standard   USD   TVPAD-007       259    20    1     239
TVP-14111190   November   11/16/2014   complete   Jady        Tso          US   Jady        Tso          US   paypal_standard   USD   HGIFT2             0    0    1       0
TVP-14111191   November   11/16/2014   complete   Kai         Shen         DE   Kai         Shen         DE   braintree         EUR   TVPAD-004        259   10    1     249
TVP-14111191   November   11/16/2014   complete   Kai         Shen         DE   Kai         Shen         DE   braintree         EUR   HGIFT2             0    0    1       0
TVP-14111192   November   11/16/2014   complete   Izumi       Sanjo        AU   Izumi       Sanjo        AU   paypal_standard   USD   TVPAD-004       259    20    1     239
TVP-14111192   November   11/16/2014   complete   Izumi       Sanjo        AU   Izumi       Sanjo        AU   paypal_standard   USD   HGIFT2             0    0    1       0
TVP-14111194   November   11/16/2014   complete   Minxiu      lin          US   Minxiu      lin          US   braintree         USD   TVPAD-AC-001   29.99    0    1   29.99
TVP-14111195   November   11/16/2014   complete   Ying        Cheng        CA   Ying        Cheng        CA   braintree         USD   TVPAD-007        259   10    1     249
TVP-14111195   November   11/16/2014   complete   Ying        Cheng        CA   Ying        Cheng        CA   braintree         USD   HGIFT2             0    0    1       0
TVP-70011342   November   11/18/2014   complete   TszYuen     Ho           US   TszYuen     Ho           US   braintree         USD   TVPAD-007       259    10    1     249
TVP-70011342   November   11/18/2014   complete   TszYuen     Ho           US   TszYuen     Ho           US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111196   November   11/16/2014   complete   Stephanie   Wu           US   Stephanie   Wu           US   braintree         USD   TVPAD-004        259   10    1     249
TVP-14111196   November   11/16/2014   complete   Stephanie   Wu           US   Stephanie   Wu           US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111197   November   11/17/2014   complete   Luis        Chan         US   Luis        Chan         US   paypal_standard   USD   TVPAD-004        259   20    1     239
TVP-14111197   November   11/17/2014   complete   Luis        Chan         US   Luis        Chan         US   paypal_standard   USD   HGIFT2             0    0    1       0
TVP-14111198   November   11/16/2014   complete   Kevin       Tran         AU   Kevin       Tran         AU   braintree         USD   TVPAD-004       259    10    1     249
TVP-14111198   November   11/16/2014   complete   Kevin       Tran         AU   Kevin       Tran         AU   braintree         USD   HGIFT2             0    0    1       0
TVP-14111199   November   11/18/2014   complete   Vinh        Huynh        AU   nellie      huynh        US   braintree         USD   TVPAD-004        259   20    1     239
TVP-14111199   November   11/18/2014   complete   Vinh        Huynh        AU   nellie      huynh        US   braintree         USD   HGIFT2             0    0    1       0
TVP-14111200   November   11/17/2014   complete   po          lam          AU   po          lam          AU   braintree         AUD   TVPAD-AC-001   29.99    0    1   29.99
TVP-14111201   November   11/17/2014   complete   SungHo      Suh          US   SungHo      Suh          US   paypal_standard   USD   TVPAD-004        259   10    1     249
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                                   #:20503
TVP-14111201   November   11/17/2014   complete   SungHo        Suh         US   SungHo        Suh         US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14111202   November   11/17/2014   complete   Tan           Nguyen      AU   Tan           Nguyen      AU   paypal_standard   AUD   TVPAD-004                       259    20   1    239
TVP-14111202   November   11/17/2014   complete   Tan           Nguyen      AU   Tan           Nguyen      AU   paypal_standard   AUD   HGIFT2                             0    0   1       0
TVP-14111203   November   11/17/2014   complete   QianWen       Pan         AU   QianWen       Pan         AU   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14111203   November   11/17/2014   complete   QianWen       Pan         AU   QianWen       Pan         AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111204   November   11/17/2014   complete   yunqin        xue         GB   yunqin        xue         GB   braintree         GBP   TVPAD-AC-001                   29.99    0   1   29.99
TVP-70011343   November   11/17/2014   complete   Zedong        Li          CH   Zedong        Li          CH   braintree         USD   TVPAD-007                       259    10   1    249
TVP-70011343   November   11/17/2014   complete   Zedong        Li          CH   Zedong        Li          CH   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111205   November   11/17/2014   complete   zhen          li          US   zhen          li          US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14111205   November   11/17/2014   complete   zhen          li          US   zhen          li          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111206   November   11/17/2014   complete   deena         gao         US   deena         gao         US   paypal_standard   USD   TVPAD-007                       259    10   1    249
TVP-14111206   November   11/17/2014   complete   deena         gao         US   deena         gao         US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14111207   November   11/17/2014   complete   Minhua        Li          NZ   Minhua        Li          NZ   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14111207   November   11/17/2014   complete   Minhua        Li          NZ   Minhua        Li          NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111208   November   11/17/2014   complete   Steve         Cheung      CA   Steve         Cheung      CA   paypal_standard   USD   TVPAD-007                       259    20   1    239
TVP-14111208   November   11/17/2014   complete   Steve         Cheung      CA   Steve         Cheung      CA   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14111209   November   11/17/2014   complete   Wu            Chen        NL   Wu            Chen        NL   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14111209   November   11/17/2014   complete   Wu            Chen        NL   Wu            Chen        NL   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111210   November   11/17/2014   complete   Dario         Wong        US   Dario         Wong        US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14111210   November   11/17/2014   complete   Dario         Wong        US   Dario         Wong        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111211   November   11/17/2014   complete   YIYUE         WANG        AU   YIYUE         WANG        AU   braintree         AUD   TVPAD-004                       259    20   1    239
TVP-14111211   November   11/17/2014   complete   YIYUE         WANG        AU   YIYUE         WANG        AU   braintree         AUD   HGIFT2                             0    0   1       0
TVP-14111212   November   11/17/2014   complete   Ching         Chen        US   Ching         Chen        US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14111212   November   11/17/2014   complete   Ching         Chen        US   Ching         Chen        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111213   November   11/17/2014   complete   Seong         Kang        AU   Seong         Kang        AU   paypal_standard   USD   TVPAD-007                       259    10   1    249
TVP-14111213   November   11/17/2014   complete   Seong         Kang        AU   Seong         Kang        AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14111214   November   11/17/2014   complete   SHEW MAN      WONG        MY   SHEW          WONG        MY   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14111214   November   11/17/2014   complete   SHEW MAN      WONG        MY   SHEW          WONG        MY   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111215   November   11/18/2014   complete   david         so          GB   david         so          GB   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14111215   November   11/18/2014   complete   david         so          GB   david         so          GB   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111216   November   11/18/2014   complete   Kie           Lau         GB   Kie           Lau         GB   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14111216   November   11/18/2014   complete   Kie           Lau         GB   Kie           Lau         GB   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111217   November   11/18/2014   complete   Cheung        Wee         SR   Cheung        Wee         SR   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14111217   November   11/18/2014   complete   Cheung        Wee         SR   Cheung        Wee         SR   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111218   November   11/18/2014   complete   Johnnie       Lee         US   Johnnie       Lee         US   braintree         USD   TVPAD-007                       259    20   1    239
TVP-14111218   November   11/18/2014   complete   Johnnie       Lee         US   Johnnie       Lee         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111219   November   11/18/2014   complete   Kwong         CHEUNG      GB   Kwong         CHEUNG      GB   braintree         GBP   TVPAD-004                       259    10   1    249
TVP-14111219   November   11/18/2014   complete   Kwong         CHEUNG      GB   Kwong         CHEUNG      GB   braintree         GBP   HGIFT2                             0    0   1       0
TVP-14111220   November   11/18/2014   complete   Kaman         Lee         GB   Kaman         Lee         GB   braintree         USD   TVPAD-007                       250    10   2    490
TVP-14111220   November   11/18/2014   complete   Kaman         Lee         GB   Kaman         Lee         GB   braintree         USD   HGIFT2                             0    0   2       0
TVP-14111221   November   11/18/2014   complete   yuanxing      zhang       US   yuanxing      zhang       US   braintree         USD   TVPAD-004                       259    15   1    244
TVP-14111221   November   11/18/2014   complete   yuanxing      zhang       US   yuanxing      zhang       US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111222   November   11/18/2014   complete   huiyu         wu          US   huiyu         wu          US   paypal_standard   USD   TVPAD-007                       259    20   1    239
TVP-14111222   November   11/18/2014   complete   huiyu         wu          US   huiyu         wu          US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14111223   November   11/18/2014   complete   Paul          Ly          US   Paul          Ly          US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14111223   November   11/18/2014   complete   Paul          Ly          US   Paul          Ly          US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14111224   November   11/20/2014   complete   BYONG-HOON    LEE         QA   BYONG-HOON    LEE         QA   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14111224   November   11/20/2014   complete   BYONG-HOON    LEE         QA   BYONG-HOON    LEE         QA   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14111225   November   11/19/2014   complete   Fui           PISSELET    FR   Fui           PISSELET    FR   braintree         USD   TVPAD-007                        259   20   1    239
TVP-14111225   November   11/19/2014   complete   Fui           PISSELET    FR   Fui           PISSELET    FR   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111226   November   11/19/2014   complete   Benny         Louie       US   Benny         Louie       US   paypal_standard   USD   TVPAD-004                       259    20   1    239
TVP-14111226   November   11/19/2014   complete   Benny         Louie       US   Benny         Louie       US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14111227   November   11/19/2014   complete   Fang          Lim         AU   Fang          Lim         AU   braintree         USD   TVPAD-007                       259    10   1    249
TVP-14111227   November   11/19/2014   complete   Fang          Lim         AU   Fang          Lim         AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111228   November   11/19/2014   complete   Sen           Chek        US   Sen           Chek        US   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14111228   November   11/19/2014   complete   Sen           Chek        US   Sen           Chek        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111230   November   11/19/2014   complete   Natalie       Zhao        NZ   Natalie       Zhao        NZ   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14111230   November   11/19/2014   complete   Natalie       Zhao        NZ   Natalie       Zhao        NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111232   November   11/19/2014   complete   Thomas        Au          SG   Thomas        Au          SG   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14111232   November   11/19/2014   complete   Thomas        Au          SG   Thomas        Au          SG   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111234   November   11/20/2014   complete   ha            jung        US   ha            jung        US   braintree         USD   TVPAD-AC-003-TVPAD-AC-003-US   29.99    0   1   29.99
TVP-14111234   November   11/20/2014   complete   ha            jung        US   ha            jung        US   braintree         USD   TVPAD-AC-001                   29.99    0   2   59.98
TVP-14111235   November   11/20/2014   complete   Freda         Chang       CA   Freda         Chang       CA   paypal_standard   CAD   TVPAD-004                       259    20   1    239
TVP-14111235   November   11/20/2014   complete   Freda         Chang       CA   Freda         Chang       CA   paypal_standard   CAD   HGIFT2                             0    0   1       0
TVP-14111237   November   11/20/2014   complete   Eddy          Tsu         US   Eddy          Tsu         US   braintree         USD   TVPAD-007                        259   20   1     239
TVP-14111238   November   11/20/2014   complete   Xiaolong      Zhang       AU   Xiaolong      Zhang       AU   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14111238   November   11/20/2014   complete   Xiaolong      Zhang       AU   Xiaolong      Zhang       AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111239   November   11/20/2014   complete   Justin        Sewhoy      NZ   Justin        Sewhoy      NZ   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14111239   November   11/20/2014   complete   Justin        Sewhoy      NZ   Justin        Sewhoy      NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111240   November   11/20/2014   complete   Elaine        Sy          US   Elaine        Sy          US   braintree         USD   TVPAD-004                        259   20   1     239
TVP-14111240   November   11/20/2014   complete   Elaine        Sy          US   Elaine        Sy          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111241   November   11/20/2014   complete   Zheng         Tan         US   Zheng         Tan         US   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14111241   November   11/20/2014   complete   Zheng         Tan         US   Zheng         Tan         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111243   November   11/20/2014   complete   Katrina       Lam         AU   Katrina       Lam         AU   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14111243   November   11/20/2014   complete   Katrina       Lam         AU   Katrina       Lam         AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14111245   November   11/20/2014   complete   Tuan          An          US   Tuan          An          US   paypal_standard   USD   TVPAD-007                       259    20   1    239
TVP-14111245   November   11/20/2014   complete   Tuan          An          US   Tuan          An          US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14111246   November   11/20/2014   complete   michael       chau        US   michael       chau        US   paypal_standard   USD   TVPAD-004                        259   10   1     249
TVP-14111246   November   11/20/2014   complete   michael       chau        US   michael       chau        US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14111247   November   11/20/2014   complete   Doris         Lam         US   Doris         Lam         US   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14111247   November   11/20/2014   complete   Doris         Lam         US   Doris         Lam         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111248   November   11/20/2014   complete   Jacqueline    Davison     AU   Jacqueline    Davison     AU   paypal_standard   AUD   TVPAD-004                       259    10   1     249
TVP-14111248   November   11/20/2014   complete   Jacqueline    Davison     AU   Jacqueline    Davison     AU   paypal_standard   AUD   HGIFT2                             0    0   1       0
TVP-14111249   November   11/20/2014   complete   Johnson       Ho          US   Johnson       Ho          US   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14111249   November   11/20/2014   complete   Johnson       Ho          US   Johnson       Ho          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111250   November   11/21/2014   complete   chui leng     goh         MY   chui          goh         MY   braintree         USD   TVPAD-004                        259   20   1     239
TVP-14111250   November   11/21/2014   complete   chui leng     goh         MY   chui          goh         MY   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111251   November   11/21/2014   complete   chi           ho          US   chi           ho          US   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14111251   November   11/21/2014   complete   chi           ho          US   chi           ho          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111252   November   11/21/2014   complete   Kwok-Leung    Lee         NL   Kwok-Leung    Lee         NL   braintree         EUR   TVPAD-004                       259    10   1    249
TVP-14111252   November   11/21/2014   complete   Kwok-Leung    Lee         NL   Kwok-Leung    Lee         NL   braintree         EUR   HGIFT2                             0    0   1       0
TVP-14111253   November   11/21/2014   complete   Wendy         Kuo         US   Wendy         Kuo         US   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14111253   November   11/21/2014   complete   Wendy         Kuo         US   Wendy         Kuo         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111255   November   11/21/2014   complete   A.M.Y.        Sun         CA   A.M.Y.        Sun         CA   paypal_standard   CAD   TVPAD-004                       259    10   1    249
TVP-14111255   November   11/21/2014   complete   A.M.Y.        Sun         CA   A.M.Y.        Sun         CA   paypal_standard   CAD   HGIFT2                             0    0   1       0
TVP-14111256   November   11/21/2014   complete   Vict          Burgess     AU   Vict          Burgess     AU   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14111256   November   11/21/2014   complete   Vict          Burgess     AU   Vict          Burgess     AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-70011344   November   11/21/2014   complete   ZHIKAI        ZHAO        US   ZHIKAI        ZHAO        US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-70011344   November   11/21/2014   complete   ZHIKAI        ZHAO        US   ZHIKAI        ZHAO        US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-70011345   November   11/21/2014   complete   dan           wang        CA   dan           wang        CA   braintree         USD   TVPAD-004                        259   10   1     249
TVP-70011345   November   11/21/2014   complete   dan           wang        CA   dan           wang        CA   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111257   November   11/22/2014   closed     Justin        Young       HK   Justin        Young       HK   braintree         USD   TVPAD-004                        250   10   2     490
TVP-14111257   November   11/22/2014   closed     Justin        Young       HK   Justin        Young       HK   braintree         USD   HGIFT2                             0    0   2       0
TVP-14111258   November   11/22/2014   complete   theresa       cassidy     IE   theresa       cassidy     IE   paypal_standard   USD   TVPAD-AC-001                   29.99    0   1   29.99
TVP-14111259   November   11/21/2014   complete   Yuan          Yao         NZ   Yuan          Yao         NZ   braintree         USD   TVPAD-007                        259   10   1     249
TVP-14111259   November   11/21/2014   complete   Yuan          Yao         NZ   Yuan          Yao         NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111260   November   11/21/2014   complete   Genzo         Tamai       AU   Genzo         Tamai       AU   braintree         USD   TVPAD-004                        259   20   1     239
TVP-14111260   November   11/21/2014   complete   Genzo         Tamai       AU   Genzo         Tamai       AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111261   November   11/21/2014   complete   Kevin         Voong       GB   Kevin         Voong       GB   paypal_standard   USD   TVPAD-004                        259   20   1     239
TVP-14111261   November   11/21/2014   complete   Kevin         Voong       GB   Kevin         Voong       GB   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14111262   November   11/21/2014   complete   Ping          Mak         GB   Ping          Mak         GB   paypal_standard   USD   TVPAD-007                        259   10   1     249
TVP-14111262   November   11/21/2014   complete   Ping          Mak         GB   Ping          Mak         GB   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14111263   November   11/25/2014   complete   Chi           Lai         GB   Chi           Lai         GB   paypal_standard   GBP   TVPAD-004                        250   10   2     490
TVP-14111263   November   11/25/2014   complete   Chi           Lai         GB   Chi           Lai         GB   paypal_standard   GBP   HGIFT2                             0    0   2       0
TVP-14111264   November   11/22/2014   complete   Kam           chow        US   Kam           chow        US   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14111264   November   11/22/2014   complete   Kam           chow        US   Kam           chow        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111265   November   11/22/2014   complete   xinmin        he          CA   xinmin        he          CA   braintree         USD   TVPAD-007                        259   10   1     249
TVP-14111265   November   11/22/2014   complete   xinmin        he          CA   xinmin        he          CA   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111266   November   11/22/2014   complete   Melissa       Kriz        US   Jessica       S           US   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14111266   November   11/22/2014   complete   Melissa       Kriz        US   Jessica       S           US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111267   November   11/22/2014   complete   Wei           Chan        GB   Wei           Chan        GB   braintree         USD   TVPAD-004                        250   15   2     485
TVP-14111267   November   11/22/2014   complete   Wei           Chan        GB   Wei           Chan        GB   braintree         USD   HGIFT2                             0    0   2       0
TVP-14111268   November   11/22/2014   complete   chung-ching   chiang      US   chung-ching   chiang      US   braintree         USD   TVPAD-007                        259   20   1     239
TVP-14111268   November   11/22/2014   complete   chung-ching   chiang      US   chung-ching   chiang      US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111269   November   11/22/2014   complete   Vi            Lu          US   Vi            Lu          US   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14111269   November   11/22/2014   complete   Vi            Lu          US   Vi            Lu          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111271   November   11/22/2014   complete   Jennie        Tam-Chiu    US   Jennie        Tam-Chiu    US   braintree         USD   TVPAD-007                        259   10   1     249
TVP-14111271   November   11/22/2014   complete   Jennie        Tam-Chiu    US   Jennie        Tam-Chiu    US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111272   November   11/23/2014   complete   vivian        sin         NL   vivian        sin         NL   braintree         EUR   TVPAD-004                        259   10   1     249
TVP-14111272   November   11/23/2014   complete   vivian        sin         NL   vivian        sin         NL   braintree         EUR   HGIFT2                             0    0   1       0
TVP-14111273   November   11/23/2014   complete   nick          lee         GB   nick          lee         GB   paypal_standard   USD   TVPAD-AC-002                   29.99    0   1   29.99
TVP-14111275   November   11/23/2014   complete   Pui-Yun       Leung       DK   Pui-Yun       Leung       DK   paypal_standard   USD   TVPAD-004                        259   10   1     249
TVP-14111275   November   11/23/2014   complete   Pui-Yun       Leung       DK   Pui-Yun       Leung       DK   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14111276   November    12/2/2014   complete   Beau          Blanchard   US   Beau          Blanchard   US   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14111276   November    12/2/2014   complete   Beau          Blanchard   US   Beau          Blanchard   US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111277   November   11/23/2014   complete   Caterina      Lee         US   Caterina      Lee         US   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14111277   November   11/23/2014   complete   Caterina      Lee         US   Caterina      Lee         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111279   November   11/23/2014   complete   Ying          Godkin      IE   Ying          Godkin      IE   paypal_standard   EUR   TVPAD-004                        250   10   2     490
TVP-14111279   November   11/23/2014   complete   Ying          Godkin      IE   Ying          Godkin      IE   paypal_standard   EUR   HGIFT2                             0    0   2       0
TVP-14111280   November   11/23/2014   complete   Rui           Xu          AU   Rui           Xu          AU   paypal_standard   USD   TVPAD-007                        259   20   1     239
TVP-14111280   November   11/23/2014   complete   Rui           Xu          AU   Rui           Xu          AU   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14111281   November   11/23/2014   complete   Thomas        Bak         US   Thomas        Bak         US   braintree         USD   TVPAD-004                        259   10   1     249
TVP-14111281   November   11/23/2014   complete   Thomas        Bak         US   Thomas        Bak         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14111282   November   11/23/2014   complete   Ka            Choi        US   Ka            Choi        US   braintree         USD   TVPAD-004                        259   15   1     244
TVP-14111282   November   11/23/2014   complete   Ka            Choi        US   Ka            Choi        US   braintree         USD   HGIFT2                             0    0   1       0
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TVP-14111283   November   11/24/2014   complete   Larry        Stark       US   Larry        Stark        US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14111283   November   11/24/2014   complete   Larry        Stark       US   Larry        Stark        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111284   November   11/24/2014   complete   wendy        lee         US   wendy        lee          US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14111284   November   11/24/2014   complete   wendy        lee         US   wendy        lee          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111285   November   11/25/2014   complete   Hsuan-Ting   Kuo         US   Sandy        Kuo          US   paypal_standard   USD   TVPAD-AC-001   29.99    0   1   29.99
TVP-14111286   November   11/24/2014   complete   Lee          Wai-Weng    MY   Lim          Bee-Khiang   MY   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111286   November   11/24/2014   complete   Lee          Wai-Weng    MY   Lim          Bee-Khiang   MY   braintree         USD   HGIFT2             0    0   1       0
TVP-14111287   November   11/24/2014   complete   LEI          ZHANG       AU   LEI          ZHANG        AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14111287   November   11/24/2014   complete   LEI          ZHANG       AU   LEI          ZHANG        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14111288   November   11/28/2014   complete   Albert       Wong        GU   Albert       Wong         GU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14111288   November   11/28/2014   complete   Albert       Wong        GU   Albert       Wong         GU   braintree         USD   HGIFT2             0    0   1       0
TVP-14111290   November   11/24/2014   complete   Loretta      Kwan        US   Loretta      Kwan         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14111290   November   11/24/2014   complete   Loretta      Kwan        US   Loretta      Kwan         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111291   November   11/24/2014   complete   Johnny       cheng       US   Johnny       cheng        US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14111291   November   11/24/2014   complete   Johnny       cheng       US   Johnny       cheng        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14111292   November   11/24/2014   complete   Valentin     Li          CA   Valentin     Li           CA   braintree         USD   TVPAD-004       259    10   1    249
TVP-14111292   November   11/24/2014   complete   Valentin     Li          CA   Valentin     Li           CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14111293   November   11/24/2014   complete   Lan          Huynh       US   Lan          Huynh        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14111293   November   11/24/2014   complete   Lan          Huynh       US   Lan          Huynh        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111294   November   11/24/2014   complete   Carrie       Peng        CA   Carrie       Peng         CA   paypal_standard   USD   TVPAD-007       259    10   1    249
TVP-14111294   November   11/24/2014   complete   Carrie       Peng        CA   Carrie       Peng         CA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14111295   November   11/24/2014   complete   Hollan       Tsoi        US   Hollan       Tsoi         US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14111295   November   11/24/2014   complete   Hollan       Tsoi        US   Hollan       Tsoi         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111296   November   11/25/2014   complete   PAUL         KIM         US   PAUL         KIM          US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111296   November   11/25/2014   complete   PAUL         KIM         US   PAUL         KIM          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111297   November   11/24/2014   complete   Robert       Luong       AU   Robert       Luong        AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14111297   November   11/24/2014   complete   Robert       Luong       AU   Robert       Luong        AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14111298   November   11/24/2014   complete   ChongSiang   Chua        AU   ChongSiang   Chua         AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14111298   November   11/24/2014   complete   ChongSiang   Chua        AU   ChongSiang   Chua         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14111299   November   11/24/2014   complete   Dany         Leong       CA   Dany         Leong        CA   braintree         CAD   TVPAD-004       259    20   1    239
TVP-14111299   November   11/24/2014   complete   Dany         Leong       CA   Dany         Leong        CA   braintree         CAD   HGIFT2             0    0   1       0
TVP-14111300   November   11/24/2014   complete   Li           Moy         US   Li           Moy          US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111300   November   11/24/2014   complete   Li           Moy         US   Li           Moy          US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011346   November   11/24/2014   complete   MT           CHEN        AU   MT           CHEN         AU   braintree         AUD   TVPAD-007       250    10   2    490
TVP-70011346   November   11/24/2014   complete   MT           CHEN        AU   MT           CHEN         AU   braintree         AUD   HGIFT2             0    0   2       0
TVP-14111301   November   11/25/2014   complete   Hung         Liu         US   Anna         Loi          US   braintree         USD   TVPAD-007       259    10   1    249
TVP-14111301   November   11/25/2014   complete   Hung         Liu         US   Anna         Loi          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111302   November   11/24/2014   complete   Raymond      Huang       NZ   Raymond      Huang        NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14111302   November   11/24/2014   complete   Raymond      Huang       NZ   Raymond      Huang        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14111304   November   11/24/2014   complete   Ung-Mui      Chong       DE   Ung-Mui      Chong        DE   braintree         USD   TVPAD-007       250    20   2    480
TVP-14111304   November   11/24/2014   complete   Ung-Mui      Chong       DE   Ung-Mui      Chong        DE   braintree         USD   HGIFT2             0    0   2       0
TVP-14111305   November   11/25/2014   complete   Derek        Chen        US   Chyuan       Lee          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14111305   November   11/25/2014   complete   Derek        Chen        US   Chyuan       Lee          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111306   November   11/25/2014   complete   ROGER        LIM         US   ROGER        LIM          US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14111306   November   11/25/2014   complete   ROGER        LIM         US   ROGER        LIM          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14111307   November   11/25/2014   complete   Peter        Huynh       US   Peter        Huynh        US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14111307   November   11/25/2014   complete   Peter        Huynh       US   Peter        Huynh        US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011347   November   11/25/2014   complete   Yue          Song        US   Yue          Song         US   braintree         USD   TVPAD-007       259    10   1    249
TVP-70011347   November   11/25/2014   complete   Yue          Song        US   Yue          Song         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111308   November   11/25/2014   complete   YW           Chia        AU   YW           Chia         AU   braintree         USD   TVPAD-007       259    10   1    249
TVP-14111308   November   11/25/2014   complete   YW           Chia        AU   YW           Chia         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14111309   November   11/25/2014   complete   leona        lau         US   leona        lau          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14111309   November   11/25/2014   complete   leona        lau         US   leona        lau          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111310   November   11/25/2014   complete   Michelle     Ha          CA   Michelle     Ha           CA   braintree         USD   TVPAD-AC-001   29.99    0   1   29.99
TVP-14111311   November   11/25/2014   complete   Yuen         Lee         US   Yuen         Lee          US   braintree         USD   TVPAD-004       259    10   1     249
TVP-14111311   November   11/25/2014   complete   Yuen         Lee         US   Yuen         Lee          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111312   November   11/25/2014   complete   Yuen         Tsang       US   Kai          Ng           NL   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14111312   November   11/25/2014   complete   Yuen         Tsang       US   Kai          Ng           NL   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14111313   November   11/25/2014   complete   Xiao         Guo         US   Xiao         Guo          US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111313   November   11/25/2014   complete   Xiao         Guo         US   Xiao         Guo          US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011348   November   11/25/2014   complete   wenwen       wang        US   wenwen       wang         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011348   November   11/25/2014   complete   wenwen       wang        US   wenwen       wang         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111314   November   11/25/2014   complete   Fiona        Lam         SG   Fiona        Lam          SG   braintree         USD   TVPAD-004       259    10   1     249
TVP-14111314   November   11/25/2014   complete   Fiona        Lam         SG   Fiona        Lam          SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14111316   November   11/25/2014   complete   Amie         Kobayashi   US   Amie         Kobayashi    US   braintree         USD   TVPAD-007       259    20   1    239
TVP-14111316   November   11/25/2014   complete   Amie         Kobayashi   US   Amie         Kobayashi    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111317   November   11/25/2014   complete   THANH        NGUYEN      US   THANH        NGUYEN       US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111317   November   11/25/2014   complete   THANH        NGUYEN      US   THANH        NGUYEN       US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011349   November   11/25/2014   complete   Luyao        Pan         US   Luyao        Pan          US   braintree         USD   TVPAD-007       259    15   1    244
TVP-70011349   November   11/25/2014   complete   Luyao        Pan         US   Luyao        Pan          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111318   November   11/26/2014   complete   Jong         Kim         US   Jong         Kim          US   braintree         USD   TVPAD-004       259    10   1     249
TVP-14111318   November   11/26/2014   complete   Jong         Kim         US   Jong         Kim          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111319   November   11/26/2014   complete   young        jo          CL   young        jo           CL   braintree         USD   TVPAD-007       259    10   1     249
TVP-14111319   November   11/26/2014   complete   young        jo          CL   young        jo           CL   braintree         USD   HGIFT2             0    0   1       0
TVP-14111320   November    12/1/2014   complete   Hiuying      Zhou        US   Edith        Zhou         US   braintree         USD   TVPAD-004       259    20   1     239
TVP-14111320   November    12/1/2014   complete   Hiuying      Zhou        US   Edith        Zhou         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111321   November   11/26/2014   complete   Sap          Cheung      GB   Sap          Cheung       GB   braintree         GBP   TVPAD-004       259    10   1     249
TVP-14111321   November   11/26/2014   complete   Sap          Cheung      GB   Sap          Cheung       GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14111322   November   11/26/2014   complete   Sai          Ma          AU   Sai          Ma           AU   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14111322   November   11/26/2014   complete   Sai          Ma          AU   Sai          Ma           AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14111323   November   11/26/2014   complete   Elsa         Lee         US   Elsa         Lee          US   braintree         USD   TVPAD-004       259    10   1     249
TVP-14111323   November   11/26/2014   complete   Elsa         Lee         US   Elsa         Lee          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111324   November   11/26/2014   complete   Hing         Yu          GB   Ms           Chu          GB   braintree         GBP   TVPAD-004       259    20   1    239
TVP-14111324   November   11/26/2014   complete   Hing         Yu          GB   Ms           Chu          GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-70011350   November   11/26/2014   complete   Stephen      To          US   Stephen      To           US   braintree         USD   TVPAD-004        259   10   1     249
TVP-70011350   November   11/26/2014   complete   Stephen      To          US   Stephen      To           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111325   November   11/26/2014   complete   Cindy        Li          US   Cindy        Li           US   braintree         USD   TVPAD-007        259   10   1     249
TVP-14111325   November   11/26/2014   complete   Cindy        Li          US   Cindy        Li           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111326   November   11/26/2014   complete   Shan         Chen        US   Shan         Chen         US   braintree         USD   TVPAD-004       259    10   1     249
TVP-14111326   November   11/26/2014   complete   Shan         Chen        US   Shan         Chen         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111327   November   11/26/2014   complete   Mandy        chau        US   Mandy        chau         US   braintree         USD   TVPAD-004       250    10   4     990
TVP-14111327   November   11/26/2014   complete   Mandy        chau        US   Mandy        chau         US   braintree         USD   HGIFT2             0    0   4       0
TVP-14111328   November   11/26/2014   complete   Giovanni     Stefano     AU   Giovanni     Stefano      AU   braintree         AUD   TVPAD-004       259    10   1     249
TVP-14111328   November   11/26/2014   complete   Giovanni     Stefano     AU   Giovanni     Stefano      AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14111329   November   11/26/2014   complete   Andrew       Zhang       AU   Andrew       Zhang        AU   paypal_standard   USD   TVPAD-007       250    20   2     480
TVP-14111329   November   11/26/2014   complete   Andrew       Zhang       AU   Andrew       Zhang        AU   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14111330   November   11/26/2014   complete   hai          cao         NZ   hai          cao          NZ   braintree         USD   TVPAD-004        259   10   1     249
TVP-14111330   November   11/26/2014   complete   hai          cao         NZ   hai          cao          NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14111331   November   11/26/2014   complete   Jia          Zhu         US   Jia          Zhu          US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14111331   November   11/26/2014   complete   Jia          Zhu         US   Jia          Zhu          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111332   November   11/27/2014   complete   Stephanie    Yuan        US   Stephanie    Yuan         US   braintree         USD   TVPAD-007        259   10   1     249
TVP-14111332   November   11/27/2014   complete   Stephanie    Yuan        US   Stephanie    Yuan         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111333   November   11/27/2014   complete   Sun          Huang       US   Sun          Huang        US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14111333   November   11/27/2014   complete   Sun          Huang       US   Sun          Huang        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111334   November   11/27/2014   complete   Carmen       Cheung      NL   Carmen       Cheung       NL   braintree         USD   TVPAD-004        259   10   1     249
TVP-14111334   November   11/27/2014   complete   Carmen       Cheung      NL   Carmen       Cheung       NL   braintree         USD   HGIFT2             0    0   1       0
TVP-14111335   November   11/27/2014   complete   Jin-Hui      Ho          AU   Jin-Hui      Ho           AU   braintree         USD   TVPAD-004        259   10   1     249
TVP-14111335   November   11/27/2014   complete   Jin-Hui      Ho          AU   Jin-Hui      Ho           AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14111336   November   11/27/2014   complete   Lanyue       Qian        US   Lanyue       Qian         US   braintree         USD   TVPAD-007        259   10   1     249
TVP-14111336   November   11/27/2014   complete   Lanyue       Qian        US   Lanyue       Qian         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111337   November   11/27/2014   complete   Dwayne       Fong        US   Dwayne       Fong         US   paypal_standard   USD   TVPAD-004       259    10   1     249
TVP-14111337   November   11/27/2014   complete   Dwayne       Fong        US   Dwayne       Fong         US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14111338   November   11/27/2014   complete   Hyung        Yim         US   Hyung        Yim          US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14111338   November   11/27/2014   complete   Hyung        Yim         US   Hyung        Yim          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111339   November   11/27/2014   complete   shu          liu         US   shu          liu          US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14111339   November   11/27/2014   complete   shu          liu         US   shu          liu          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111340   November   11/27/2014   complete   Jaekyung     Cho         SG   Jaekyung     Cho          SG   braintree         USD   TVPAD-004        259   10   1     249
TVP-14111340   November   11/27/2014   complete   Jaekyung     Cho         SG   Jaekyung     Cho          SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14111341   November   11/27/2014   complete   Bian         Lee         AU   Bian         Lee          AU   paypal_standard   USD   TVPAD-004        259   10   1     249
TVP-14111341   November   11/27/2014   complete   Bian         Lee         AU   Bian         Lee          AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14111342   November   11/28/2014   complete   young        jo          CL   young        jo           CL   braintree         USD   TVPAD-004        259   20   1     239
TVP-14111342   November   11/28/2014   complete   young        jo          CL   young        jo           CL   braintree         USD   HGIFT2             0    0   1       0
TVP-14111343   November   11/28/2014   complete   Terry        Duchastel   US   Terry        Duchastel    US   braintree         USD   TVPAD-007       259    20   1     239
TVP-14111343   November   11/28/2014   complete   Terry        Duchastel   US   Terry        Duchastel    US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111343   November   11/28/2014   complete   Terry        Duchastel   US   Terry        Duchastel    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111344   November   11/28/2014   complete   Simon        Lee         US   Simon        Lee          US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14111344   November   11/28/2014   complete   Simon        Lee         US   Simon        Lee          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111345   November   11/28/2014   complete   Omar         Mukahal     SA   Omar         Mukahal      US   paypal_standard   USD   TVPAD-007       259    10   1     249
TVP-14111345   November   11/28/2014   complete   Omar         Mukahal     SA   Omar         Mukahal      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-70011353   November   11/28/2014   complete   xiao         liang       AW   xiao         liang        AW   braintree         USD   TVPAD-004        259   10   1     249
TVP-70011353   November   11/28/2014   complete   xiao         liang       AW   xiao         liang        AW   braintree         USD   HGIFT2             0    0   1       0
TVP-14111346   November   11/28/2014   complete   ChungMing    Leung       CA   ChungMing    Leung        CA   braintree         USD   TVPAD-004        250   20   2     480
TVP-14111346   November   11/28/2014   complete   ChungMing    Leung       CA   ChungMing    Leung        CA   braintree         USD   HGIFT2             0    0   2       0
TVP-14111346   November   11/28/2014   complete   ChungMing    Leung       CA   ChungMing    Leung        CA   braintree         USD   HGIFT1             0    0   2       0
TVP-14111347   November    12/1/2014   complete   Tsang-Fai    Chan        US   Tsang-Fai    Chan         US   braintree         USD   TVPAD-004        259   20   1     239
TVP-14111347   November    12/1/2014   complete   Tsang-Fai    Chan        US   Tsang-Fai    Chan         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111347   November    12/1/2014   complete   Tsang-Fai    Chan        US   Tsang-Fai    Chan         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111348   November   11/28/2014   complete   Songhua      Yu          GB   Songhua      Yu           GB   braintree         GBP   TVPAD-AC-001   29.99    0   1   29.99
TVP-14111349   November    12/1/2014   complete   Raymond      Tse         US   Raymond      Tse          US   braintree         USD   TVPAD-004        259   20   1     239
TVP-14111349   November    12/1/2014   complete   Raymond      Tse         US   Raymond      Tse          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111350   November   11/28/2014   complete   Cameron      Kwong       GB   Cameron      Kwong        GB   braintree         GBP   TVPAD-004       259    20   1     239
TVP-14111350   November   11/28/2014   complete   Cameron      Kwong       GB   Cameron      Kwong        GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14111350   November   11/28/2014   complete   Cameron      Kwong       GB   Cameron      Kwong        GB   braintree         GBP   HGIFT1             0    0   1       0
TVP-70011354   November    12/1/2014   complete   Magnolia     Leung       US   Magnolia     Leung        US   braintree         USD   TVPAD-004        259   20   1     239
TVP-70011354   November    12/1/2014   complete   Magnolia     Leung       US   Magnolia     Leung        US   braintree         USD   HGIFT2             0    0   1       0
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                                   #:20505
TVP-70011354   November    12/1/2014   complete   Magnolia     Leung       US   Magnolia     Leung       US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111351   November   11/28/2014   complete   Khuan        Luu         CA   Khuan        Luu         CA   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111351   November   11/28/2014   complete   Khuan        Luu         CA   Khuan        Luu         CA   braintree         USD   HGIFT2        0    0   1     0
TVP-14111351   November   11/28/2014   complete   Khuan        Luu         CA   Khuan        Luu         CA   braintree         USD   HGIFT1        0    0   1     0
TVP-14111352   November   11/28/2014   complete   edna         wong        CA   edna         wong        CA   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111352   November   11/28/2014   complete   edna         wong        CA   edna         wong        CA   braintree         USD   HGIFT2        0    0   1     0
TVP-14111352   November   11/28/2014   complete   edna         wong        CA   edna         wong        CA   braintree         USD   HGIFT1        0    0   1     0
TVP-14111353   November    12/1/2014   complete   Johanna      Yueh        US   Thomas       Yueh        US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111353   November    12/1/2014   complete   Johanna      Yueh        US   Thomas       Yueh        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111353   November    12/1/2014   complete   Johanna      Yueh        US   Thomas       Yueh        US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111355   November   11/28/2014   complete   Matthew      Chan        CA   Matthew      Chan        CA   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111355   November   11/28/2014   complete   Matthew      Chan        CA   Matthew      Chan        CA   braintree         USD   HGIFT2        0    0   1     0
TVP-14111355   November   11/28/2014   complete   Matthew      Chan        CA   Matthew      Chan        CA   braintree         USD   HGIFT1        0    0   1     0
TVP-14111356   November    12/1/2014   complete   Nigel        Chang       US   Nigel        Chang       US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111356   November    12/1/2014   complete   Nigel        Chang       US   Nigel        Chang       US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111356   November    12/1/2014   complete   Nigel        Chang       US   Nigel        Chang       US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111357   November    12/1/2014   complete   Ray          Keung       US   Ray          Keung       US   braintree         USD   TVPAD-004   259   25   1   234
TVP-14111357   November    12/1/2014   complete   Ray          Keung       US   Ray          Keung       US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111357   November    12/1/2014   complete   Ray          Keung       US   Ray          Keung       US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111358   November    12/1/2014   complete   TakWei       Wan         US   TakWei       Wan         US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111358   November    12/1/2014   complete   TakWei       Wan         US   TakWei       Wan         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111358   November    12/1/2014   complete   TakWei       Wan         US   TakWei       Wan         US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111359   November    12/2/2014   complete   Darman       .           ID   Darman       .           ID   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111359   November    12/2/2014   complete   Darman       .           ID   Darman       .           ID   braintree         USD   HGIFT2        0    0   1     0
TVP-14111359   November    12/2/2014   complete   Darman       .           ID   Darman       .           ID   braintree         USD   HGIFT1        0    0   1     0
TVP-14111360   November    12/1/2014   complete   Ming         Yeh         US   Ming         Yeh         US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111360   November    12/1/2014   complete   Ming         Yeh         US   Ming         Yeh         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111360   November    12/1/2014   complete   Ming         Yeh         US   Ming         Yeh         US   braintree         USD   HGIFT1        0    0   1     0
TVP-70011355   November    12/1/2014   complete   Xiaohua      Liang       US   Xiaohua      Liang       US   braintree         USD   TVPAD-004   259   20   1   239
TVP-70011355   November    12/1/2014   complete   Xiaohua      Liang       US   Xiaohua      Liang       US   braintree         USD   HGIFT2        0    0   1     0
TVP-70011355   November    12/1/2014   complete   Xiaohua      Liang       US   Xiaohua      Liang       US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111361   November   11/28/2014   complete   Lyneve       Robinson    AU   Lyneve       Robinson    AU   paypal_standard   AUD   TVPAD-004   259   20   1   239
TVP-14111361   November   11/28/2014   complete   Lyneve       Robinson    AU   Lyneve       Robinson    AU   paypal_standard   AUD   HGIFT2        0    0   1     0
TVP-14111361   November   11/28/2014   complete   Lyneve       Robinson    AU   Lyneve       Robinson    AU   paypal_standard   AUD   HGIFT1        0    0   1     0
TVP-14111362   November   11/28/2014   complete   Ke           TAN         AU   Ke           TAN         AU   braintree         AUD   TVPAD-004   259   20   1   239
TVP-14111362   November   11/28/2014   complete   Ke           TAN         AU   Ke           TAN         AU   braintree         AUD   HGIFT2        0    0   1     0
TVP-14111362   November   11/28/2014   complete   Ke           TAN         AU   Ke           TAN         AU   braintree         AUD   HGIFT1        0    0   1     0
TVP-14111363   November   11/28/2014   complete   Johannes     Fordemann   DE   Johannes     Fordemann   DE   paypal_standard   EUR   TVPAD-004   259   25   1   234
TVP-14111363   November   11/28/2014   complete   Johannes     Fordemann   DE   Johannes     Fordemann   DE   paypal_standard   EUR   HGIFT2        0    0   1     0
TVP-14111363   November   11/28/2014   complete   Johannes     Fordemann   DE   Johannes     Fordemann   DE   paypal_standard   EUR   HGIFT1        0    0   1     0
TVP-14111365   November   11/28/2014   complete   Chris        Rim         CA   Chris        Rim         CA   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111365   November   11/28/2014   complete   Chris        Rim         CA   Chris        Rim         CA   braintree         USD   HGIFT2        0    0   1     0
TVP-14111365   November   11/28/2014   complete   Chris        Rim         CA   Chris        Rim         CA   braintree         USD   HGIFT1        0    0   1     0
TVP-14111367   November   11/28/2014   complete   sandeep      sharma      CA   sandeep      sharma      CA   braintree         CAD   TVPAD-004   259   20   1   239
TVP-14111367   November   11/28/2014   complete   sandeep      sharma      CA   sandeep      sharma      CA   braintree         CAD   HGIFT2        0    0   1     0
TVP-14111367   November   11/28/2014   complete   sandeep      sharma      CA   sandeep      sharma      CA   braintree         CAD   HGIFT1        0    0   1     0
TVP-14111371   November    12/1/2014   complete   ethan        yoon        US   ethan        yoon        US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111371   November    12/1/2014   complete   ethan        yoon        US   ethan        yoon        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111371   November    12/1/2014   complete   ethan        yoon        US   ethan        yoon        US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111372   November    12/2/2014   complete   Doris        Yu          US   Ellison      Yu          US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111372   November    12/2/2014   complete   Doris        Yu          US   Ellison      Yu          US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111372   November    12/2/2014   complete   Doris        Yu          US   Ellison      Yu          US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111373   November    12/1/2014   complete   Sam          Lee         US   Sam          Lee         US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111373   November    12/1/2014   complete   Sam          Lee         US   Sam          Lee         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111373   November    12/1/2014   complete   Sam          Lee         US   Sam          Lee         US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111374   November    12/1/2014   complete   Stece        chao        US   Stece        chao        US   paypal_standard   USD   TVPAD-004   259   20   1   239
TVP-14111374   November    12/1/2014   complete   Stece        chao        US   Stece        chao        US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14111374   November    12/1/2014   complete   Stece        chao        US   Stece        chao        US   paypal_standard   USD   HGIFT1        0    0   1     0
TVP-14111375   November   11/29/2014   complete   Raymond      Lo          AU   Raymond      Lo          AU   paypal_standard   USD   TVPAD-004   250   20   2   480
TVP-14111375   November   11/29/2014   complete   Raymond      Lo          AU   Raymond      Lo          AU   paypal_standard   USD   HGIFT2        0    0   2     0
TVP-14111375   November   11/29/2014   complete   Raymond      Lo          AU   Raymond      Lo          AU   paypal_standard   USD   HGIFT1        0    0   2     0
TVP-14111376   November    12/1/2014   complete   Daphne       Kao         US   Daphne       Kao         US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111376   November    12/1/2014   complete   Daphne       Kao         US   Daphne       Kao         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111376   November    12/1/2014   complete   Daphne       Kao         US   Daphne       Kao         US   braintree         USD   HGIFT1        0    0   1     0
TVP-70011356   November    12/1/2014   complete   wenhao       zheng       US   wenhao       zheng       US   braintree         USD   TVPAD-004   259   20   1   239
TVP-70011356   November    12/1/2014   complete   wenhao       zheng       US   wenhao       zheng       US   braintree         USD   HGIFT2        0    0   1     0
TVP-70011356   November    12/1/2014   complete   wenhao       zheng       US   wenhao       zheng       US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111377   November    12/1/2014   complete   Steven       Huynh       US   Steven       Huynh       US   paypal_standard   USD   TVPAD-004   259   20   1   239
TVP-14111377   November    12/1/2014   complete   Steven       Huynh       US   Steven       Huynh       US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14111377   November    12/1/2014   complete   Steven       Huynh       US   Steven       Huynh       US   paypal_standard   USD   HGIFT1        0    0   1     0
TVP-14111378   November   11/29/2014   complete   Wai          Yap         NL   Wai          Yap         NL   braintree         EUR   TVPAD-004   259   20   1   239
TVP-14111378   November   11/29/2014   complete   Wai          Yap         NL   Wai          Yap         NL   braintree         EUR   HGIFT2        0    0   1     0
TVP-14111378   November   11/29/2014   complete   Wai          Yap         NL   Wai          Yap         NL   braintree         EUR   HGIFT1        0    0   1     0
TVP-14111379   November    12/1/2014   complete   Emily        Schick      US   Emily        Schick      US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111379   November    12/1/2014   complete   Emily        Schick      US   Emily        Schick      US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111379   November    12/1/2014   complete   Emily        Schick      US   Emily        Schick      US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111380   November    12/1/2014   complete   yanjun       Gan         US   yanjun       Gan         US   paypal_standard   USD   TVPAD-004   259   20   1   239
TVP-14111380   November    12/1/2014   complete   yanjun       Gan         US   yanjun       Gan         US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14111380   November    12/1/2014   complete   yanjun       Gan         US   yanjun       Gan         US   paypal_standard   USD   HGIFT1        0    0   1     0
TVP-14111382   November    12/1/2014   complete   joseph       suen        US   joseph       suen        US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111382   November    12/1/2014   complete   joseph       suen        US   joseph       suen        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111382   November    12/1/2014   complete   joseph       suen        US   joseph       suen        US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111383   November    12/1/2014   complete   Paul         Chung       US   Paul         Chung       US   braintree         USD   TVPAD-004   250   30   2   470
TVP-14111383   November    12/1/2014   complete   Paul         Chung       US   Paul         Chung       US   braintree         USD   HGIFT2        0    0   2     0
TVP-14111383   November    12/1/2014   complete   Paul         Chung       US   Paul         Chung       US   braintree         USD   HGIFT1        0    0   2     0
TVP-14111385   November    12/1/2014   complete   Jimmy        Butt        US   Jimmy        Butt        US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111385   November    12/1/2014   complete   Jimmy        Butt        US   Jimmy        Butt        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111385   November    12/1/2014   complete   Jimmy        Butt        US   Jimmy        Butt        US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111386   November    12/1/2014   complete   Kin          Chan        US   Kin          Chan        US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111386   November    12/1/2014   complete   Kin          Chan        US   Kin          Chan        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111386   November    12/1/2014   complete   Kin          Chan        US   Kin          Chan        US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111387   November    12/1/2014   complete   weidong      lu          US   weidong      lu          US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111387   November    12/1/2014   complete   weidong      lu          US   weidong      lu          US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111387   November    12/1/2014   complete   weidong      lu          US   weidong      lu          US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111388   November    12/1/2014   complete   Jerome       Chen        US   Jerome       Chen        US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111388   November    12/1/2014   complete   Jerome       Chen        US   Jerome       Chen        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111388   November    12/1/2014   complete   Jerome       Chen        US   Jerome       Chen        US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111389   November   11/29/2014   complete   Fabio        Carvalho    BR   Fabio        Carvalho    BR   paypal_standard   USD   TVPAD-004   259   20   1   239
TVP-14111389   November   11/29/2014   complete   Fabio        Carvalho    BR   Fabio        Carvalho    BR   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14111389   November   11/29/2014   complete   Fabio        Carvalho    BR   Fabio        Carvalho    BR   paypal_standard   USD   HGIFT1        0    0   1     0
TVP-14111390   November    12/1/2014   complete   Jeanne       Eng         US   Jeanne       Eng         US   paypal_standard   USD   TVPAD-004   259   20   1   239
TVP-14111390   November    12/1/2014   complete   Jeanne       Eng         US   Jeanne       Eng         US   paypal_standard   USD   HGIFT2        0    0   1     0
TVP-14111390   November    12/1/2014   complete   Jeanne       Eng         US   Jeanne       Eng         US   paypal_standard   USD   HGIFT1        0    0   1     0
TVP-14111391   November    12/1/2014   complete   Young        Park        US   Young        Park        US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111391   November    12/1/2014   complete   Young        Park        US   Young        Park        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111391   November    12/1/2014   complete   Young        Park        US   Young        Park        US   braintree         USD   HGIFT1        0    0   1     0
TVP-70011357   November    12/1/2014   complete   YIMIN        SUN         US   YIMIN        SUN         US   braintree         USD   TVPAD-004   259   20   1   239
TVP-70011357   November    12/1/2014   complete   YIMIN        SUN         US   YIMIN        SUN         US   braintree         USD   HGIFT2        0    0   1     0
TVP-70011357   November    12/1/2014   complete   YIMIN        SUN         US   YIMIN        SUN         US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111392   November    12/2/2014   complete   Tommy        Kim         US   Eun          kim         US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111392   November    12/2/2014   complete   Tommy        Kim         US   Eun          kim         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111392   November    12/2/2014   complete   Tommy        Kim         US   Eun          kim         US   braintree         USD   HGIFT1        0    0   1     0
TVP-70011358   November    12/6/2014   complete   guanghui     deng        US   Ying         he          US   braintree         USD   TVPAD-004   259   20   1   239
TVP-70011358   November    12/6/2014   complete   guanghui     deng        US   Ying         he          US   braintree         USD   HGIFT2        0    0   1     0
TVP-70011358   November    12/6/2014   complete   guanghui     deng        US   Ying         he          US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111393   November    12/1/2014   complete   Christyono   Muljadi     US   Christyono   Muljadi     US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111393   November    12/1/2014   complete   Christyono   Muljadi     US   Christyono   Muljadi     US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111393   November    12/1/2014   complete   Christyono   Muljadi     US   Christyono   Muljadi     US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111394   November    12/1/2014   complete   Kenneth      Wong        US   Kenneth      Wong        US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111394   November    12/1/2014   complete   Kenneth      Wong        US   Kenneth      Wong        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111394   November    12/1/2014   complete   Kenneth      Wong        US   Kenneth      Wong        US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111395   November    12/1/2014   complete   Ching        Chen        US   Ching        Chen        US   braintree         USD   TVPAD-004   259   30   1   229
TVP-14111395   November    12/1/2014   complete   Ching        Chen        US   Ching        Chen        US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111395   November    12/1/2014   complete   Ching        Chen        US   Ching        Chen        US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111396   November   11/30/2014   complete   Bernie       She         NZ   Bernie       She         NZ   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111396   November   11/30/2014   complete   Bernie       She         NZ   Bernie       She         NZ   braintree         USD   HGIFT2        0    0   1     0
TVP-14111396   November   11/30/2014   complete   Bernie       She         NZ   Bernie       She         NZ   braintree         USD   HGIFT1        0    0   1     0
TVP-14111397   November   11/30/2014   complete   Melissa      Nguyen      CA   Melissa      Nguyen      CA   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111397   November   11/30/2014   complete   Melissa      Nguyen      CA   Melissa      Nguyen      CA   braintree         USD   HGIFT2        0    0   1     0
TVP-14111397   November   11/30/2014   complete   Melissa      Nguyen      CA   Melissa      Nguyen      CA   braintree         USD   HGIFT1        0    0   1     0
TVP-14111398   November   11/30/2014   complete   Duc          Luu         GB   Duc          Luu         GB   braintree         GBP   TVPAD-004   259   20   1   239
TVP-14111398   November   11/30/2014   complete   Duc          Luu         GB   Duc          Luu         GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14111398   November   11/30/2014   complete   Duc          Luu         GB   Duc          Luu         GB   braintree         GBP   HGIFT1        0    0   1     0
TVP-14111399   November    12/1/2014   complete   Wilton       Mei         US   Wilton       Mei         US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111399   November    12/1/2014   complete   Wilton       Mei         US   Wilton       Mei         US   braintree         USD   HGIFT2        0    0   1     0
TVP-14111399   November    12/1/2014   complete   Wilton       Mei         US   Wilton       Mei         US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111400   November   11/30/2014   complete   fusheng      mu          GB   fusheng      mu          GB   braintree         GBP   TVPAD-004   259   20   1   239
TVP-14111400   November   11/30/2014   complete   fusheng      mu          GB   fusheng      mu          GB   braintree         GBP   HGIFT1        0    0   1     0
TVP-14111400   November   11/30/2014   complete   fusheng      mu          GB   fusheng      mu          GB   braintree         GBP   HGIFT2        0    0   1     0
TVP-14111400   November   11/30/2014   complete   fusheng      mu          GB   fusheng      mu          GB   braintree         GBP   HGIFT1        0    0   1     0
TVP-70011361   November    12/1/2014   complete   Dan          Chen        US   Dan          Chen        US   braintree         USD   TVPAD-004   259   20   1   239
TVP-70011361   November    12/1/2014   complete   Dan          Chen        US   Dan          Chen        US   braintree         USD   HGIFT2        0    0   1     0
TVP-70011361   November    12/1/2014   complete   Dan          Chen        US   Dan          Chen        US   braintree         USD   HGIFT1        0    0   1     0
TVP-14111401   November    12/1/2014   complete   David        kim         US   David        kim         US   braintree         USD   TVPAD-004   259   20   1   239
TVP-14111401   November    12/1/2014   complete   David        kim         US   David        kim         US   braintree         USD   HGIFT2        0    0   1     0
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                                   #:20506
TVP-14111401   November    12/1/2014   complete   David         kim        US   David         kim            US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111402   November   11/30/2014   complete   Tracy         Wen        AU   Tracy         Wen            AU   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111402   November   11/30/2014   complete   Tracy         Wen        AU   Tracy         Wen            AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14111403   November    12/1/2014   complete   Raymond       Lung       GB   Raymond       Lung           GB   braintree         GBP   TVPAD-004       259    20   1    239
TVP-14111403   November    12/1/2014   complete   Raymond       Lung       GB   Raymond       Lung           GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14111403   November    12/1/2014   complete   Raymond       Lung       GB   Raymond       Lung           GB   braintree         GBP   HGIFT1             0    0   1       0
TVP-14111404   November   11/30/2014   complete   Franck        SAY        FR   Franck        SAY            FR   paypal_standard   EUR   TVPAD-004       259    20   1    239
TVP-14111404   November   11/30/2014   complete   Franck        SAY        FR   Franck        SAY            FR   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14111404   November   11/30/2014   complete   Franck        SAY        FR   Franck        SAY            FR   paypal_standard   EUR   HGIFT1             0    0   1       0
TVP-14111405   November    12/1/2014   complete   Yen           Lee        US   Yen           Lee            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111405   November    12/1/2014   complete   Yen           Lee        US   Yen           Lee            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111405   November    12/1/2014   complete   Yen           Lee        US   Yen           Lee            US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111406   November    12/1/2014   complete   Hao           zeng       US   Hao           zeng           US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111406   November    12/1/2014   complete   Hao           zeng       US   Hao           zeng           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111406   November    12/1/2014   complete   Hao           zeng       US   Hao           zeng           US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111407   November    12/1/2014   complete   lee,          lynn       US   lee,          lynn           US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111407   November    12/1/2014   complete   lee,          lynn       US   lee,          lynn           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111407   November    12/1/2014   complete   lee,          lynn       US   lee,          lynn           US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111408   November   11/30/2014   complete   CARRIE        LUO        AU   CARRIE        LUO            AU   braintree         AUD   TVPAD-004       259    20   1    239
TVP-14111408   November   11/30/2014   complete   CARRIE        LUO        AU   CARRIE        LUO            AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14111408   November   11/30/2014   complete   CARRIE        LUO        AU   CARRIE        LUO            AU   braintree         AUD   HGIFT1             0    0   1       0
TVP-70011362   November    12/1/2014   complete   CK            WEI        US   CK            WEI            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-70011362   November    12/1/2014   complete   CK            WEI        US   CK            WEI            US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011362   November    12/1/2014   complete   CK            WEI        US   CK            WEI            US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111410   November    12/2/2014   complete   Yuming        Wang       US   Alice         Yeh            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111410   November    12/2/2014   complete   Yuming        Wang       US   Alice         Yeh            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111410   November    12/2/2014   complete   Yuming        Wang       US   Alice         Yeh            US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111411   November    12/1/2014   complete   stacey        Park       HK   stacey        Park           HK   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111411   November    12/1/2014   complete   stacey        Park       HK   stacey        Park           HK   braintree         USD   HGIFT2             0    0   1       0
TVP-14111411   November    12/1/2014   complete   stacey        Park       HK   stacey        Park           HK   braintree         USD   HGIFT1             0    0   1       0
TVP-14111412   November    12/2/2014   complete   yani          huang      US   yani          huang          US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111412   November    12/2/2014   complete   yani          huang      US   yani          huang          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111413   November    12/1/2014   complete   Hoon          Kim        US   Hoon          Kim            US   braintree         USD   TVPAD-004       250    20   2    480
TVP-14111413   November    12/1/2014   complete   Hoon          Kim        US   Hoon          Kim            US   braintree         USD   HGIFT2             0    0   2       0
TVP-14111413   November    12/1/2014   complete   Hoon          Kim        US   Hoon          Kim            US   braintree         USD   HGIFT1             0    0   2       0
TVP-14111414   November    12/1/2014   complete   Chi-Hung      Lin        US   Chi-Hung      Lin            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111414   November    12/1/2014   complete   Chi-Hung      Lin        US   Chi-Hung      Lin            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111414   November    12/1/2014   complete   Chi-Hung      Lin        US   Chi-Hung      Lin            US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111415   November    12/1/2014   complete   xiang         zhu        AU   xiang         zhu            AU   braintree         AUD   TVPAD-004       259    20   1    239
TVP-14111415   November    12/1/2014   complete   xiang         zhu        AU   xiang         zhu            AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14111415   November    12/1/2014   complete   xiang         zhu        AU   xiang         zhu            AU   braintree         AUD   HGIFT1             0    0   1       0
TVP-14111416   November    12/2/2014   complete   Christine     Chou       US   Christine     Chou           US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111416   November    12/2/2014   complete   Christine     Chou       US   Christine     Chou           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111416   November    12/2/2014   complete   Christine     Chou       US   Christine     Chou           US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111417   November    12/1/2014   complete   Choi          Hanseob    SG   Choi          Hanseob        SG   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14111417   November    12/1/2014   complete   Choi          Hanseob    SG   Choi          Hanseob        SG   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14111417   November    12/1/2014   complete   Choi          Hanseob    SG   Choi          Hanseob        SG   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14111418   November    12/1/2014   complete   Brian         Rempel     CA   Brian         Rempel         CA   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111418   November    12/1/2014   complete   Brian         Rempel     CA   Brian         Rempel         CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14111418   November    12/1/2014   complete   Brian         Rempel     CA   Brian         Rempel         CA   braintree         USD   HGIFT1             0    0   1       0
TVP-14111419   November    12/1/2014   complete   Peter         Min        SG   Peter         Min            SG   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111419   November    12/1/2014   complete   Peter         Min        SG   Peter         Min            SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14111419   November    12/1/2014   complete   Peter         Min        SG   Peter         Min            SG   braintree         USD   HGIFT1             0    0   1       0
TVP-70011363   November    12/1/2014   closed     Qingyun       Li         DE   Qingyun       Li             DE   braintree         EUR   TVPAD-004       259    20   1    239
TVP-70011363   November    12/1/2014   closed     Qingyun       Li         DE   Qingyun       Li             DE   braintree         EUR   HGIFT2             0    0   1       0
TVP-70011363   November    12/1/2014   closed     Qingyun       Li         DE   Qingyun       Li             DE   braintree         EUR   HGIFT1             0    0   1       0
TVP-14111420   November    12/1/2014   complete   William       Chung      US   Chan          Chung          US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14111420   November    12/1/2014   complete   William       Chung      US   Chan          Chung          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14111420   November    12/1/2014   complete   William       Chung      US   Chan          Chung          US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14111422   November    12/1/2014   complete   Kelvin        hui        US   Kelvin        hui            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111422   November    12/1/2014   complete   Kelvin        hui        US   Kelvin        hui            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111422   November    12/1/2014   complete   Kelvin        hui        US   Kelvin        hui            US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111423   November    12/1/2014   complete   kwong         man        US   kwong         man            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111423   November    12/1/2014   complete   kwong         man        US   kwong         man            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111424   November    12/1/2014   complete   Isabelle      KY         FR   Isabelle      KY             FR   braintree         EUR   TVPAD-004       259    20   1    239
TVP-14111424   November    12/1/2014   complete   Isabelle      KY         FR   Isabelle      KY             FR   braintree         EUR   HGIFT2             0    0   1       0
TVP-14111424   November    12/1/2014   complete   Isabelle      KY         FR   Isabelle      KY             FR   braintree         EUR   HGIFT1             0    0   1       0
TVP-14111425   November    12/2/2014   complete   Ashley        Lau        US   Red           Star           US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111425   November    12/2/2014   complete   Ashley        Lau        US   Red           Star           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111425   November    12/2/2014   complete   Ashley        Lau        US   Red           Star           US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111426   November    12/1/2014   complete   Trevor        Tso        US   Trevor        Tso            US   braintree         USD   TVPAD-004       250    20   2    480
TVP-14111426   November    12/1/2014   complete   Trevor        Tso        US   Trevor        Tso            US   braintree         USD   HGIFT2             0    0   2       0
TVP-14111426   November    12/1/2014   complete   Trevor        Tso        US   Trevor        Tso            US   braintree         USD   HGIFT1             0    0   2       0
TVP-14111427   November    12/1/2014   complete   Young         Lee        US   Young         Lee            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111427   November    12/1/2014   complete   Young         Lee        US   Young         Lee            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111427   November    12/1/2014   complete   Young         Lee        US   Young         Lee            US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111428   November    12/1/2014   complete   luu           vincent    US   luu           vincent        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111428   November    12/1/2014   complete   luu           vincent    US   luu           vincent        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111428   November    12/1/2014   complete   luu           vincent    US   luu           vincent        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111429   November    12/1/2014   complete   Dario         Wong       US   Dario         Wong           US   braintree         USD   TVPAD-004       259    30   1    229
TVP-14111429   November    12/1/2014   complete   Dario         Wong       US   Dario         Wong           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111429   November    12/1/2014   complete   Dario         Wong       US   Dario         Wong           US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111430   November    12/1/2014   closed     Diana         Dai        US   Diana         Dai            US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14111430   November    12/1/2014   closed     Diana         Dai        US   Diana         Dai            US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14111430   November    12/1/2014   closed     Diana         Dai        US   Diana         Dai            US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14111431   November    12/9/2014   complete   Soon          Kang       US   Soon          Kang           US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111431   November    12/9/2014   complete   Soon          Kang       US   Soon          Kang           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111431   November    12/9/2014   complete   Soon          Kang       US   Soon          Kang           US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111432   November    12/1/2014   complete   Dario         Wong       US   Dario         Wong           US   braintree         USD   TVPAD-004       259    30   1    229
TVP-14111432   November    12/1/2014   complete   Dario         Wong       US   Dario         Wong           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111432   November    12/1/2014   complete   Dario         Wong       US   Dario         Wong           US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111433   November    12/1/2014   complete   Christopher   Fong       US   Christopher   Fong           US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111433   November    12/1/2014   complete   Christopher   Fong       US   Christopher   Fong           US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111433   November    12/1/2014   complete   Christopher   Fong       US   Christopher   Fong           US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111434   November    12/1/2014   complete   Harry         Lo         US   Harry         Lo             US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111434   November    12/1/2014   complete   Harry         Lo         US   Harry         Lo             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111434   November    12/1/2014   complete   Harry         Lo         US   Harry         Lo             US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111435   November    12/1/2014   complete   Xiu           Lin        US   Xiu           Lin            US   braintree         USD   TVPAD-AC-001   29.99    0   1   29.99
TVP-14111437   November    12/2/2014   complete   Wendy         Lau        US   James         Yao            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111437   November    12/2/2014   complete   Wendy         Lau        US   James         Yao            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111437   November    12/2/2014   complete   Wendy         Lau        US   James         Yao            US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111438   December    12/1/2014   complete   Bernard       Moreland   US   Bernard       Moreland       US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14111438   December    12/1/2014   complete   Bernard       Moreland   US   Bernard       Moreland       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14111438   December    12/1/2014   complete   Bernard       Moreland   US   Bernard       Moreland       US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14111439   December    12/1/2014   complete   Lu            Liu        US   Lu            Liu            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111439   December    12/1/2014   complete   Lu            Liu        US   Lu            Liu            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111439   December    12/1/2014   complete   Lu            Liu        US   Lu            Liu            US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111440   December    12/1/2014   complete   Lu            Liu        US   Lu            Liu            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111440   December    12/1/2014   complete   Lu            Liu        US   Lu            Liu            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111440   December    12/1/2014   complete   Lu            Liu        US   Lu            Liu            US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111441   December    12/1/2014   complete   Lu            Liu        US   Lu            Liu            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111441   December    12/1/2014   complete   Lu            Liu        US   Lu            Liu            US   braintree         USD   HGIFT2             0    0   1       0
TVP-14111441   December    12/1/2014   complete   Lu            Liu        US   Lu            Liu            US   braintree         USD   HGIFT1             0    0   1       0
TVP-14111443   December    12/1/2014   complete   SUNHEE        LEE        KR   SUNHEE        LEE            KR   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111443   December    12/1/2014   complete   SUNHEE        LEE        KR   SUNHEE        LEE            KR   braintree         USD   HGIFT2             0    0   1       0
TVP-14111443   December    12/1/2014   complete   SUNHEE        LEE        KR   SUNHEE        LEE            KR   braintree         USD   HGIFT1             0    0   1       0
TVP-14111444   December    12/1/2014   complete   Ailing        Hu         AU   Ailing        Hu             AU   braintree         USD   TVPAD-004       259    20   1    239
TVP-14111444   December    12/1/2014   complete   Ailing        Hu         AU   Ailing        Hu             AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14111444   December    12/1/2014   complete   Ailing        Hu         AU   Ailing        Hu             AU   braintree         USD   HGIFT1             0    0   1       0
TVP-14121010   December    12/2/2014   complete   michael       serantak   SG   michael       firdasaputra   AU   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121010   December    12/2/2014   complete   michael       serantak   SG   michael       firdasaputra   AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14121010   December    12/2/2014   complete   michael       serantak   SG   michael       firdasaputra   AU   braintree         USD   HGIFT1             0    0   1       0
TVP-14121011   December    12/1/2014   complete   Edmond        Lee        AU   Edmond        Lee            AU   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121011   December    12/1/2014   complete   Edmond        Lee        AU   Edmond        Lee            AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14121011   December    12/1/2014   complete   Edmond        Lee        AU   Edmond        Lee            AU   braintree         USD   HGIFT1             0    0   1       0
TVP-14121012   December    12/1/2014   complete   Chi           Yeung      US   Chi           Yeung          US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121012   December    12/1/2014   complete   Chi           Yeung      US   Chi           Yeung          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121012   December    12/1/2014   complete   Chi           Yeung      US   Chi           Yeung          US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121013   December    12/1/2014   complete   Christina     Lim        US   Christina     Lim            US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14121013   December    12/1/2014   complete   Christina     Lim        US   Christina     Lim            US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121013   December    12/1/2014   complete   Christina     Lim        US   Christina     Lim            US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121014   December    12/1/2014   complete   Lea           Jin        IE   Lea           Jin            IE   braintree         EUR   TVPAD-004       259    20   1    239
TVP-14121014   December    12/1/2014   complete   Lea           Jin        IE   Lea           Jin            IE   braintree         EUR   HGIFT2             0    0   1       0
TVP-14121014   December    12/1/2014   complete   Lea           Jin        IE   Lea           Jin            IE   braintree         EUR   HGIFT1             0    0   1       0
TVP-14121015   December    12/1/2014   complete   Alice         Phang      US   Alice         Phang          US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121015   December    12/1/2014   complete   Alice         Phang      US   Alice         Phang          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121015   December    12/1/2014   complete   Alice         Phang      US   Alice         Phang          US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121016   December    12/1/2014   complete   Yuna          Yi         US   Yuna          Yi             US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121016   December    12/1/2014   complete   Yuna          Yi         US   Yuna          Yi             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121016   December    12/1/2014   complete   Yuna          Yi         US   Yuna          Yi             US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121017   December    12/1/2014   complete   Alice         Phang      US   Alice         Phang          US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121017   December    12/1/2014   complete   Alice         Phang      US   Alice         Phang          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121017   December    12/1/2014   complete   Alice         Phang      US   Alice         Phang          US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121021   December    12/2/2014   complete   Dominique     Lam        US   Dom           Lam            US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121021   December    12/2/2014   complete   Dominique     Lam        US   Dom           Lam            US   braintree         USD   HGIFT2             0    0   1       0
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TVP-14121021   December   12/2/2014   complete   Dominique   Lam          US   Dom         Lam          US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121022   December   12/2/2014   complete   Sel         Tse          CA   Sel         Tse          CA   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121022   December   12/2/2014   complete   Sel         Tse          CA   Sel         Tse          CA   braintree         USD   HGIFT2             0       0   1        0
TVP-14121022   December   12/2/2014   complete   Sel         Tse          CA   Sel         Tse          CA   braintree         USD   HGIFT1             0       0   1        0
TVP-14121023   December   12/2/2014   complete   Byron       Sun          US   Byron       Sun          US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121023   December   12/2/2014   complete   Byron       Sun          US   Byron       Sun          US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121023   December   12/2/2014   complete   Byron       Sun          US   Byron       Sun          US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121024   December   12/2/2014   complete   Erik        Wang         US   Erik        Wang         US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121024   December   12/2/2014   complete   Erik        Wang         US   Erik        Wang         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121025   December   12/2/2014   complete   Lizzie      Wahlers      GB   Hoa         Dam          GB   braintree         GBP   TVPAD-004       259       20   1     239
TVP-14121025   December   12/2/2014   complete   Lizzie      Wahlers      GB   Hoa         Dam          GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14121025   December   12/2/2014   complete   Lizzie      Wahlers      GB   Hoa         Dam          GB   braintree         GBP   HGIFT1             0       0   1        0
TVP-14121027   December   12/2/2014   complete   Claude      Chow         US   Claude      Chow         US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121027   December   12/2/2014   complete   Claude      Chow         US   Claude      Chow         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121027   December   12/2/2014   complete   Claude      Chow         US   Claude      Chow         US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121029   December   12/2/2014   complete   Ling        Hunter       US   Ling        Hunter       US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121029   December   12/2/2014   complete   Ling        Hunter       US   Ling        Hunter       US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121029   December   12/2/2014   complete   Ling        Hunter       US   Ling        Hunter       US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121030   December   12/2/2014   complete   Priscilla   Pon          US   Priscilla   Pon          US   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14121030   December   12/2/2014   complete   Priscilla   Pon          US   Priscilla   Pon          US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14121030   December   12/2/2014   complete   Priscilla   Pon          US   Priscilla   Pon          US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14121032   December   12/2/2014   complete   Anna        Lee          US   Anna        Lee          US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121032   December   12/2/2014   complete   Anna        Lee          US   Anna        Lee          US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121032   December   12/2/2014   complete   Anna        Lee          US   Anna        Lee          US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121033   December   12/2/2014   complete   Anthony     Yan          US   Anthony     Yan          US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121033   December   12/2/2014   complete   Anthony     Yan          US   Anthony     Yan          US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121033   December   12/2/2014   complete   Anthony     Yan          US   Anthony     Yan          US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121034   December   12/4/2014   complete   Judy        Hsieh        US   Judy        Hsieh        US   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14121034   December   12/4/2014   complete   Judy        Hsieh        US   Judy        Hsieh        US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14121034   December   12/4/2014   complete   Judy        Hsieh        US   Judy        Hsieh        US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14121036   December   12/2/2014   complete   Kana        Lee          US   Kana        Lee          US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121036   December   12/2/2014   complete   Kana        Lee          US   Kana        Lee          US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121036   December   12/2/2014   complete   Kana        Lee          US   Kana        Lee          US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121038   December   12/2/2014   complete   Dick        Lui          US   Dick        Lui          US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121038   December   12/2/2014   complete   Dick        Lui          US   Dick        Lui          US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121038   December   12/2/2014   complete   Dick        Lui          US   Dick        Lui          US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121039   December   12/2/2014   complete   Silvia      Wong         US   Silvia      Wong         US   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14121039   December   12/2/2014   complete   Silvia      Wong         US   Silvia      Wong         US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14121039   December   12/2/2014   complete   Silvia      Wong         US   Silvia      Wong         US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14121040   December   12/2/2014   complete   Lam         Vuong        US   Lam         Vuong        US   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14121040   December   12/2/2014   complete   Lam         Vuong        US   Lam         Vuong        US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14121040   December   12/2/2014   complete   Lam         Vuong        US   Lam         Vuong        US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14121041   December   12/2/2014   closed     Alexander   Ling         US   Alexander   Ling         US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121041   December   12/2/2014   closed     Alexander   Ling         US   Alexander   Ling         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121041   December   12/2/2014   closed     Alexander   Ling         US   Alexander   Ling         US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121042   December   12/2/2014   complete   Joselyn     yak          SG   Joselyn     yak          SG   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14121042   December   12/2/2014   complete   Joselyn     yak          SG   Joselyn     yak          SG   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14121042   December   12/2/2014   complete   Joselyn     yak          SG   Joselyn     yak          SG   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14121043   December   12/2/2014   complete   john        lee          US   Peter       Lam          US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121043   December   12/2/2014   complete   john        lee          US   Peter       Lam          US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121043   December   12/2/2014   complete   john        lee          US   Peter       Lam          US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121044   December   12/2/2014   complete   John        Ly           AU   John        Ly           AU   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121044   December   12/2/2014   complete   John        Ly           AU   John        Ly           AU   braintree         USD   HGIFT2             0       0   1        0
TVP-14121044   December   12/2/2014   complete   John        Ly           AU   John        Ly           AU   braintree         USD   HGIFT1             0       0   1        0
TVP-14121045   December   12/2/2014   complete   david       hom          US   david       hom          US   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14121045   December   12/2/2014   complete   david       hom          US   david       hom          US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14121045   December   12/2/2014   complete   david       hom          US   david       hom          US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14121046   December   12/2/2014   complete   Jeffrey     Lee          US   Jeffrey     Lee          US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121046   December   12/2/2014   complete   Jeffrey     Lee          US   Jeffrey     Lee          US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121046   December   12/2/2014   complete   Jeffrey     Lee          US   Jeffrey     Lee          US   braintree         USD   HGIFT1             0       0   1        0
TVP-70011364   December   12/2/2014   complete   William     HARGIS       NZ   William     HARGIS       NZ   braintree         USD   TVPAD-004       259       20   1     239
TVP-70011364   December   12/2/2014   complete   William     HARGIS       NZ   William     HARGIS       NZ   braintree         USD   HGIFT2             0       0   1        0
TVP-70011364   December   12/2/2014   complete   William     HARGIS       NZ   William     HARGIS       NZ   braintree         USD   HGIFT1             0       0   1        0
TVP-70011365   December   12/2/2014   complete   Steven      Li           NZ   Steven      Li           NZ   braintree         AUD   TVPAD-004       259       20   1     239
TVP-70011365   December   12/2/2014   complete   Steven      Li           NZ   Steven      Li           NZ   braintree         AUD   HGIFT2             0       0   1        0
TVP-70011365   December   12/2/2014   complete   Steven      Li           NZ   Steven      Li           NZ   braintree         AUD   HGIFT1             0       0   1        0
TVP-14121047   December   12/2/2014   complete   Jae         Shim         NZ   Jae         Shim         NZ   braintree         USD   TVPAD-004       259    17.92   1   241.08
TVP-14121047   December   12/2/2014   complete   Jae         Shim         NZ   Jae         Shim         NZ   braintree         USD   TVPAD-AC-001   29.99    2.08   1    27.91
TVP-14121047   December   12/2/2014   complete   Jae         Shim         NZ   Jae         Shim         NZ   braintree         USD   HGIFT2             0       0   1        0
TVP-14121047   December   12/2/2014   complete   Jae         Shim         NZ   Jae         Shim         NZ   braintree         USD   HGIFT1             0       0   1        0
TVP-14121049   December   12/2/2014   complete   Joseph      Ng           US   Joseph      Ng           US   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14121049   December   12/2/2014   complete   Joseph      Ng           US   Joseph      Ng           US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14121049   December   12/2/2014   complete   Joseph      Ng           US   Joseph      Ng           US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14121050   December   12/2/2014   complete   Min-Sik     Ko           DE   Min-Sik     Ko           DE   paypal_standard   EUR   TVPAD-004       259       20   1     239
TVP-14121050   December   12/2/2014   complete   Min-Sik     Ko           DE   Min-Sik     Ko           DE   paypal_standard   EUR   HGIFT2             0       0   1        0
TVP-14121050   December   12/2/2014   complete   Min-Sik     Ko           DE   Min-Sik     Ko           DE   paypal_standard   EUR   HGIFT1             0       0   1        0
TVP-14121051   December   12/3/2014   complete   Hon         To           GB   Hon         To           GB   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121051   December   12/3/2014   complete   Hon         To           GB   Hon         To           GB   braintree         USD   HGIFT2             0       0   1        0
TVP-14121051   December   12/3/2014   complete   Hon         To           GB   Hon         To           GB   braintree         USD   HGIFT1             0       0   1        0
TVP-14121052   December   12/3/2014   complete   Aaron       Wong         US   Aaron       Wong         US   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14121052   December   12/3/2014   complete   Aaron       Wong         US   Aaron       Wong         US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14121052   December   12/3/2014   complete   Aaron       Wong         US   Aaron       Wong         US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-70011366   December   12/3/2014   complete   NENG        TAN          US   NENG        TAN          US   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-70011366   December   12/3/2014   complete   NENG        TAN          US   NENG        TAN          US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-70011366   December   12/3/2014   complete   NENG        TAN          US   NENG        TAN          US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14121054   December   12/3/2014   complete   Frederick   Haggard      US   Frederick   Haggard      US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121054   December   12/3/2014   complete   Frederick   Haggard      US   Frederick   Haggard      US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121057   December   12/3/2014   complete   Liane       Yu           CA   Liane       Yu           CA   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121057   December   12/3/2014   complete   Liane       Yu           CA   Liane       Yu           CA   braintree         USD   HGIFT2             0       0   1        0
TVP-14121057   December   12/3/2014   complete   Liane       Yu           CA   Liane       Yu           CA   braintree         USD   HGIFT1             0       0   1        0
TVP-14121058   December   12/3/2014   complete   Beisie      Liu          GB   Beisie      Liu          GB   braintree         GBP   TVPAD-004       259       20   1     239
TVP-14121058   December   12/3/2014   complete   Beisie      Liu          GB   Beisie      Liu          GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14121058   December   12/3/2014   complete   Beisie      Liu          GB   Beisie      Liu          GB   braintree         GBP   HGIFT1             0       0   1        0
TVP-14121059   December   12/5/2014   complete   Ming        Lin          US   Jin         Lin          US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121059   December   12/5/2014   complete   Ming        Lin          US   Jin         Lin          US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121059   December   12/5/2014   complete   Ming        Lin          US   Jin         Lin          US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121060   December   12/3/2014   complete   Fanny       Yang         US   Fanny       Yang         US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121060   December   12/3/2014   complete   Fanny       Yang         US   Fanny       Yang         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121060   December   12/3/2014   complete   Fanny       Yang         US   Fanny       Yang         US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121061   December   12/4/2014   complete   Kelvin      L            PA   Kelvin      L            PA   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121061   December   12/4/2014   complete   Kelvin      L            PA   Kelvin      L            PA   braintree         USD   HGIFT2             0       0   1        0
TVP-14121061   December   12/4/2014   complete   Kelvin      L            PA   Kelvin      L            PA   braintree         USD   HGIFT1             0       0   1        0
TVP-14121062   December   12/3/2014   complete   Ying        Faver        GU   Ying        Faver        GU   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121062   December   12/3/2014   complete   Ying        Faver        GU   Ying        Faver        GU   braintree         USD   HGIFT2             0       0   1        0
TVP-14121062   December   12/3/2014   complete   Ying        Faver        GU   Ying        Faver        GU   braintree         USD   HGIFT1             0       0   1        0
TVP-14121063   December   12/4/2014   complete   James       Kang         US   James       Kang         US   braintree         USD   TVPAD-004       250       20   2     480
TVP-14121063   December   12/4/2014   complete   James       Kang         US   James       Kang         US   braintree         USD   HGIFT2             0       0   2        0
TVP-14121064   December   12/4/2014   complete   Michael     Kim          US   Michael     Kim          US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121064   December   12/4/2014   complete   Michael     Kim          US   Michael     Kim          US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121064   December   12/4/2014   complete   Michael     Kim          US   Michael     Kim          US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121066   December   12/4/2014   complete   Renee       Fong         US   Renee       Fong         US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121066   December   12/4/2014   complete   Renee       Fong         US   Renee       Fong         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121066   December   12/4/2014   complete   Renee       Fong         US   Renee       Fong         US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121065   December   12/4/2014   complete   joao        son          BR   joao        son          BR   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121065   December   12/4/2014   complete   joao        son          BR   joao        son          BR   braintree         USD   HGIFT2             0       0   1        0
TVP-14121065   December   12/4/2014   complete   joao        son          BR   joao        son          BR   braintree         USD   HGIFT1             0       0   1        0
TVP-14121067   December   12/4/2014   complete   Philip      Quon         US   Philip      Quon         US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121067   December   12/4/2014   complete   Philip      Quon         US   Philip      Quon         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121067   December   12/4/2014   complete   Philip      Quon         US   Philip      Quon         US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121068   December   12/5/2014   complete   Lisa        Lee          US   Wong        Family       US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121068   December   12/5/2014   complete   Lisa        Lee          US   Wong        Family       US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121068   December   12/5/2014   complete   Lisa        Lee          US   Wong        Family       US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121069   December   12/4/2014   complete   shu         xue          US   shu         xue          US   braintree         USD   TVPAD-AC-001   29.99       0   1    29.99
TVP-14121070   December   12/4/2014   complete   Justin      Huang        US   Justin      Huang        US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121070   December   12/4/2014   complete   Justin      Huang        US   Justin      Huang        US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121070   December   12/4/2014   complete   Justin      Huang        US   Justin      Huang        US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121071   December   12/4/2014   complete   Catherine   Au           NZ   Catherine   Au           NZ   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121071   December   12/4/2014   complete   Catherine   Au           NZ   Catherine   Au           NZ   braintree         USD   HGIFT2             0       0   1        0
TVP-14121071   December   12/4/2014   complete   Catherine   Au           NZ   Catherine   Au           NZ   braintree         USD   HGIFT1             0       0   1        0
TVP-14121072   December   12/4/2014   complete   Elaine      Klomparens   US   Elaine      Klomparens   US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121072   December   12/4/2014   complete   Elaine      Klomparens   US   Elaine      Klomparens   US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121072   December   12/4/2014   complete   Elaine      Klomparens   US   Elaine      Klomparens   US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121073   December   12/4/2014   complete   Xiang       Wu           US   Xiang       Wu           US   braintree         USD   TVPAD-004       259       20   1      239
TVP-14121073   December   12/4/2014   complete   Xiang       Wu           US   Xiang       Wu           US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121073   December   12/4/2014   complete   Xiang       Wu           US   Xiang       Wu           US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121074   December   12/4/2014   complete   Chun        Yang         US   Cathy       Yang         US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121074   December   12/4/2014   complete   Chun        Yang         US   Cathy       Yang         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121074   December   12/4/2014   complete   Chun        Yang         US   Cathy       Yang         US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121075   December   12/4/2014   closed     QI          LU           AU   QI          LU           AU   braintree         USD   TVPAD-004       259       20   1      239
TVP-14121075   December   12/4/2014   closed     QI          LU           AU   QI          LU           AU   braintree         USD   HGIFT2             0       0   1        0
TVP-14121075   December   12/4/2014   closed     QI          LU           AU   QI          LU           AU   braintree         USD   HGIFT1             0       0   1        0
TVP-14121076   December   12/5/2014   complete   Hing Kuen   Kung         AU   Hing        Kung         AU   paypal_standard   AUD   TVPAD-004       259       20   1     239
TVP-14121076   December   12/5/2014   complete   Hing Kuen   Kung         AU   Hing        Kung         AU   paypal_standard   AUD   HGIFT2             0       0   1        0
TVP-14121076   December   12/5/2014   complete   Hing Kuen   Kung         AU   Hing        Kung         AU   paypal_standard   AUD   HGIFT1             0       0   1        0
TVP-14121077   December   12/4/2014   complete   My          Schliemann   DE   My          Schliemann   DE   braintree         USD   TVPAD-AC-001   29.99       0   1    29.99
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TVP-14121078   December    12/5/2014   complete   Angela          Li          US   Angela          Li          US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121078   December    12/5/2014   complete   Angela          Li          US   Angela          Li          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121078   December    12/5/2014   complete   Angela          Li          US   Angela          Li          US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121079   December    12/5/2014   complete   Judy            Choong      GB   Judy            Choong      GB   paypal_standard   GBP   TVPAD-004       245    20   5   1205
TVP-14121079   December    12/5/2014   complete   Judy            Choong      GB   Judy            Choong      GB   paypal_standard   GBP   HGIFT2             0    0   5       0
TVP-14121079   December    12/5/2014   complete   Judy            Choong      GB   Judy            Choong      GB   paypal_standard   GBP   HGIFT1             0    0   5       0
TVP-14121080   December    12/5/2014   complete   Oliver          Graf        CH   Oliver          Graf        CH   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14121080   December    12/5/2014   complete   Oliver          Graf        CH   Oliver          Graf        CH   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121080   December    12/5/2014   complete   Oliver          Graf        CH   Oliver          Graf        CH   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121082   December    12/5/2014   complete   Timothy         Poon        GB   Timothy         Poon        GB   braintree         GBP   TVPAD-004       259    20   1    239
TVP-14121082   December    12/5/2014   complete   Timothy         Poon        GB   Timothy         Poon        GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14121082   December    12/5/2014   complete   Timothy         Poon        GB   Timothy         Poon        GB   braintree         GBP   HGIFT1             0    0   1       0
TVP-14121083   December    12/5/2014   complete   Albert          Shin        US   Albert          Shin        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121083   December    12/5/2014   complete   Albert          Shin        US   Albert          Shin        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121083   December    12/5/2014   complete   Albert          Shin        US   Albert          Shin        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121084   December    12/5/2014   complete   Wing            Lau         GB   Wing            Lau         GB   braintree         GBP   TVPAD-004       259    20   1    239
TVP-14121084   December    12/5/2014   complete   Wing            Lau         GB   Wing            Lau         GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14121084   December    12/5/2014   complete   Wing            Lau         GB   Wing            Lau         GB   braintree         GBP   HGIFT1             0    0   1       0
TVP-14121085   December    12/5/2014   complete   Nam-Il          Cho         DE   Nam-Il          Cho         DE   paypal_standard   EUR   TVPAD-004       259    20   1    239
TVP-14121085   December    12/5/2014   complete   Nam-Il          Cho         DE   Nam-Il          Cho         DE   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14121085   December    12/5/2014   complete   Nam-Il          Cho         DE   Nam-Il          Cho         DE   paypal_standard   EUR   HGIFT1             0    0   1       0
TVP-70011367   December    12/5/2014   complete   Shao            chen        US   Shao            chen        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-70011367   December    12/5/2014   complete   Shao            chen        US   Shao            chen        US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011367   December    12/5/2014   complete   Shao            chen        US   Shao            chen        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121086   December    12/5/2014   complete   KEN             YI          US   KEN             YI          US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121086   December    12/5/2014   complete   KEN             YI          US   KEN             YI          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121086   December    12/5/2014   complete   KEN             YI          US   KEN             YI          US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121087   December    12/5/2014   complete   Roy             lui         US   Roy             lui         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121087   December    12/5/2014   complete   Roy             lui         US   Roy             lui         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121087   December    12/5/2014   complete   Roy             lui         US   Roy             lui         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121088   December    12/5/2014   complete   TRAN            HA          US   TRAN            HA          US   braintree         USD   TVPAD-004       250    20   2    480
TVP-14121088   December    12/5/2014   complete   TRAN            HA          US   TRAN            HA          US   braintree         USD   HGIFT2             0    0   2       0
TVP-14121088   December    12/5/2014   complete   TRAN            HA          US   TRAN            HA          US   braintree         USD   HGIFT1             0    0   2       0
TVP-14121089   December    12/5/2014   complete   Momoko          Lam         AU   Momoko          Lam         AU   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121089   December    12/5/2014   complete   Momoko          Lam         AU   Momoko          Lam         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14121089   December    12/5/2014   complete   Momoko          Lam         AU   Momoko          Lam         AU   braintree         USD   HGIFT1             0    0   1       0
TVP-14121090   December    12/5/2014   complete   Haoyu           You         NZ   Haoyu           You         NZ   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14121090   December    12/5/2014   complete   Haoyu           You         NZ   Haoyu           You         NZ   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121090   December    12/5/2014   complete   Haoyu           You         NZ   Haoyu           You         NZ   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121091   December    12/5/2014   complete   alice           surjan      US   alice           surjan      US   paypal_standard   USD   TVPAD-004       259    30   1    229
TVP-14121091   December    12/5/2014   complete   alice           surjan      US   alice           surjan      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121091   December    12/5/2014   complete   alice           surjan      US   alice           surjan      US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121092   December    12/5/2014   complete   Keith           Chan        NZ   Keith           Chan        NZ   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121092   December    12/5/2014   complete   Keith           Chan        NZ   Keith           Chan        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14121092   December    12/5/2014   complete   Keith           Chan        NZ   Keith           Chan        NZ   braintree         USD   HGIFT1             0    0   1       0
TVP-14121093   December    12/5/2014   complete   Melanie         Mak         US   Melanie         Mak         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121093   December    12/5/2014   complete   Melanie         Mak         US   Melanie         Mak         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121093   December    12/5/2014   complete   Melanie         Mak         US   Melanie         Mak         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121094   December    12/6/2014   complete   cheong          cho         US   cheong          cho         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121094   December    12/6/2014   complete   cheong          cho         US   cheong          cho         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121094   December    12/6/2014   complete   cheong          cho         US   cheong          cho         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121096   December    12/6/2014   complete   Simone          Tang        FR   Simone          Tang        FR   braintree         EUR   TVPAD-004       259    20   1    239
TVP-14121096   December    12/6/2014   complete   Simone          Tang        FR   Simone          Tang        FR   braintree         EUR   HGIFT2             0    0   1       0
TVP-14121096   December    12/6/2014   complete   Simone          Tang        FR   Simone          Tang        FR   braintree         EUR   HGIFT1             0    0   1       0
TVP-14121097   December    12/6/2014   complete   Amy             Lau         IE   Amy             Lau         IE   paypal_standard   EUR   TVPAD-004       259    20   1    239
TVP-14121097   December    12/6/2014   complete   Amy             Lau         IE   Amy             Lau         IE   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14121097   December    12/6/2014   complete   Amy             Lau         IE   Amy             Lau         IE   paypal_standard   EUR   HGIFT1             0    0   1       0
TVP-14121098   December    12/6/2014   complete   PAUL            LEE         US   PAUL            LEE         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121098   December    12/6/2014   complete   PAUL            LEE         US   PAUL            LEE         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121098   December    12/6/2014   complete   PAUL            LEE         US   PAUL            LEE         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121099   December    12/6/2014   complete   Junjie          Zheng       US   Junjie          Zheng       US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121099   December    12/6/2014   complete   Junjie          Zheng       US   Junjie          Zheng       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121099   December    12/6/2014   complete   Junjie          Zheng       US   Junjie          Zheng       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121100   December    12/6/2014   complete   Sammi           Mo          US   Sammi           Mo          US   braintree         USD   TVPAD-004       250    20   2    480
TVP-14121100   December    12/6/2014   complete   Sammi           Mo          US   Sammi           Mo          US   braintree         USD   HGIFT2             0    0   2       0
TVP-14121100   December    12/6/2014   complete   Sammi           Mo          US   Sammi           Mo          US   braintree         USD   HGIFT1             0    0   2       0
TVP-70011368   December    12/6/2014   complete   Jia             Feng        NO   Jia             Feng        NO   braintree         USD   TVPAD-004       259    20   1    239
TVP-70011368   December    12/6/2014   complete   Jia             Feng        NO   Jia             Feng        NO   braintree         USD   HGIFT2             0    0   1       0
TVP-70011368   December    12/6/2014   complete   Jia             Feng        NO   Jia             Feng        NO   braintree         USD   HGIFT1             0    0   1       0
TVP-14121102   December    12/6/2014   complete   Helen           Lum         US   Helen           Lum         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121102   December    12/6/2014   complete   Helen           Lum         US   Helen           Lum         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121102   December    12/6/2014   complete   Helen           Lum         US   Helen           Lum         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121103   December    12/7/2014   complete   Irene           kim         AU   Irene           kim         AU   braintree         AUD   TVPAD-004       259    20   1    239
TVP-14121103   December    12/7/2014   complete   Irene           kim         AU   Irene           kim         AU   braintree         AUD   HGIFT2             0    0   1       0
TVP-14121103   December    12/7/2014   complete   Irene           kim         AU   Irene           kim         AU   braintree         AUD   HGIFT1             0    0   1       0
TVP-14121104   December    12/7/2014   complete   Peng            Xue         AU   Peng            Xue         AU   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14121104   December    12/7/2014   complete   Peng            Xue         AU   Peng            Xue         AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121104   December    12/7/2014   complete   Peng            Xue         AU   Peng            Xue         AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121105   December    12/7/2014   complete   Douglas         Park        NZ   Douglas         Park        NZ   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121105   December    12/7/2014   complete   Douglas         Park        NZ   Douglas         Park        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14121105   December    12/7/2014   complete   Douglas         Park        NZ   Douglas         Park        NZ   braintree         USD   HGIFT1             0    0   1       0
TVP-14121106   December    12/7/2014   complete   dae             kim         US   dae             kim         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121106   December    12/7/2014   complete   dae             kim         US   dae             kim         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121106   December    12/7/2014   complete   dae             kim         US   dae             kim         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121107   December    12/7/2014   complete   Jae             Lee         AE   Jae             Lee         AE   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121107   December    12/7/2014   complete   Jae             Lee         AE   Jae             Lee         AE   braintree         USD   HGIFT2             0    0   1       0
TVP-14121107   December    12/7/2014   complete   Jae             Lee         AE   Jae             Lee         AE   braintree         USD   HGIFT1             0    0   1       0
TVP-14121108   December    12/7/2014   complete   Melanie         Chau        GB   Melanie         Chau        GB   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14121108   December    12/7/2014   complete   Melanie         Chau        GB   Melanie         Chau        GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121108   December    12/7/2014   complete   Melanie         Chau        GB   Melanie         Chau        GB   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121109   December    12/7/2014   complete   Cao             Tim         NO   Cao             Tim         NO   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121109   December    12/7/2014   complete   Cao             Tim         NO   Cao             Tim         NO   braintree         USD   HGIFT2             0    0   1       0
TVP-14121109   December    12/7/2014   complete   Cao             Tim         NO   Cao             Tim         NO   braintree         USD   HGIFT1             0    0   1       0
TVP-14121110   December    12/7/2014   complete   Alick           Ng          US   Alick           Ng          US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121110   December    12/7/2014   complete   Alick           Ng          US   Alick           Ng          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121110   December    12/7/2014   complete   Alick           Ng          US   Alick           Ng          US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121111   December    12/7/2014   complete   Charissa        Chang       US   Charissa        Chang       US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121111   December    12/7/2014   complete   Charissa        Chang       US   Charissa        Chang       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121111   December    12/7/2014   complete   Charissa        Chang       US   Charissa        Chang       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121113   December    12/7/2014   complete   cindy           robinson    GB   cindy           robinson    GB   paypal_standard   GBP   TVPAD-004       259    20   1    239
TVP-14121113   December    12/7/2014   complete   cindy           robinson    GB   cindy           robinson    GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14121113   December    12/7/2014   complete   cindy           robinson    GB   cindy           robinson    GB   paypal_standard   GBP   HGIFT1             0    0   1       0
TVP-14121114   December    12/7/2014   complete   Alick           Ng          US   May             Ng          US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121114   December    12/7/2014   complete   Alick           Ng          US   May             Ng          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121114   December    12/7/2014   complete   Alick           Ng          US   May             Ng          US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121115   December    12/7/2014   complete   Alick           Ng          US   Alick           Ng          US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121115   December    12/7/2014   complete   Alick           Ng          US   Alick           Ng          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121115   December    12/7/2014   complete   Alick           Ng          US   Alick           Ng          US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121116   December    12/7/2014   complete   Emi             Yoshizawa   AU   Emi             Yoshizawa   AU   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121116   December    12/7/2014   complete   Emi             Yoshizawa   AU   Emi             Yoshizawa   AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14121116   December    12/7/2014   complete   Emi             Yoshizawa   AU   Emi             Yoshizawa   AU   braintree         USD   HGIFT1             0    0   1       0
TVP-14121117   December    12/7/2014   complete   Daphne          Kao         US   Daphne          Kao         US   braintree         USD   TVPAD-004       259    30   1    229
TVP-14121117   December    12/7/2014   complete   Daphne          Kao         US   Daphne          Kao         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121117   December    12/7/2014   complete   Daphne          Kao         US   Daphne          Kao         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121118   December   12/13/2014   complete   Philip          Cha         US   Philip          Cha         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121118   December   12/13/2014   complete   Philip          Cha         US   Philip          Cha         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121118   December   12/13/2014   complete   Philip          Cha         US   Philip          Cha         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121119   December    12/7/2014   complete   Ricky           Tam         US   Ricky           Tam         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121119   December    12/7/2014   complete   Ricky           Tam         US   Ricky           Tam         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121119   December    12/7/2014   complete   Ricky           Tam         US   Ricky           Tam         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121120   December    12/7/2014   complete   binghua         dai         US   binghua         dai         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121120   December    12/7/2014   complete   binghua         dai         US   binghua         dai         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121120   December    12/7/2014   complete   binghua         dai         US   binghua         dai         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121121   December    12/8/2014   complete   Sung            Kim         US   Sung            Kim         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121121   December    12/8/2014   complete   Sung            Kim         US   Sung            Kim         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121121   December    12/8/2014   complete   Sung            Kim         US   Sung            Kim         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121122   December    12/8/2014   complete   ManFai(Oscar)   LAU         AU   ManFai(Oscar)   LAU         AU   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121122   December    12/8/2014   complete   ManFai(Oscar)   LAU         AU   ManFai(Oscar)   LAU         AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14121122   December    12/8/2014   complete   ManFai(Oscar)   LAU         AU   ManFai(Oscar)   LAU         AU   braintree         USD   HGIFT1             0    0   1       0
TVP-14121125   December    12/8/2014   complete   CW              Cheung      SG   CW              Cheung      SG   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121125   December    12/8/2014   complete   CW              Cheung      SG   CW              Cheung      SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14121125   December    12/8/2014   complete   CW              Cheung      SG   CW              Cheung      SG   braintree         USD   HGIFT1             0    0   1       0
TVP-14121126   December    12/8/2014   complete   Sai             Lee         US   Sai             Lee         US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14121126   December    12/8/2014   complete   Sai             Lee         US   Sai             Lee         US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121126   December    12/8/2014   complete   Sai             Lee         US   Sai             Lee         US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121127   December    12/8/2014   complete   Linh            Lu          US   Linh            Lu          US   braintree         USD   TVPAD-AC-001   29.99    0   1   29.99
TVP-14121128   December    12/8/2014   complete   Tommy           Lim         US   Tommy           Lim         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121128   December    12/8/2014   complete   Tommy           Lim         US   Tommy           Lim         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121128   December    12/8/2014   complete   Tommy           Lim         US   Tommy           Lim         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121129   December    12/8/2014   complete   Wai             Mak         US   Wai             Mak         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121129   December    12/8/2014   complete   Wai             Mak         US   Wai             Mak         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121129   December    12/8/2014   complete   Wai             Mak         US   Wai             Mak         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121130   December    12/8/2014   complete   James           Lui         CA   James           Lui         CA   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121130   December    12/8/2014   complete   James           Lui         CA   James           Lui         CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14121130   December    12/8/2014   complete   James           Lui         CA   James           Lui         CA   braintree         USD   HGIFT1             0    0   1       0
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TVP-14121131   December    12/8/2014   closed     Kien      Tang      US   Kien      Tang      US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14121131   December    12/8/2014   closed     Kien      Tang      US   Kien      Tang      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121131   December    12/8/2014   closed     Kien      Tang      US   Kien      Tang      US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121132   December    12/8/2014   complete   Ming      Chen      GB   Ming      Chen      GB   braintree         GBP   TVPAD-004       259    20   1    239
TVP-14121132   December    12/8/2014   complete   Ming      Chen      GB   Ming      Chen      GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14121132   December    12/8/2014   complete   Ming      Chen      GB   Ming      Chen      GB   braintree         GBP   HGIFT1             0    0   1       0
TVP-14121133   December    12/8/2014   complete   mandy     wong      GB   mandy     wong      GB   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121133   December    12/8/2014   complete   mandy     wong      GB   mandy     wong      GB   braintree         USD   HGIFT2             0    0   1       0
TVP-14121133   December    12/8/2014   complete   mandy     wong      GB   mandy     wong      GB   braintree         USD   HGIFT1             0    0   1       0
TVP-70011369   December    12/8/2014   complete   Shuk      Pang      US   Shuk      Pang      US   braintree         USD   TVPAD-004       259    20   1    239
TVP-70011369   December    12/8/2014   complete   Shuk      Pang      US   Shuk      Pang      US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011369   December    12/8/2014   complete   Shuk      Pang      US   Shuk      Pang      US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121134   December    12/8/2014   complete   Linda     Lee       CA   Linda     Lee       CA   braintree         CAD   TVPAD-004       259    20   1    239
TVP-14121134   December    12/8/2014   complete   Linda     Lee       CA   Linda     Lee       CA   braintree         CAD   HGIFT2             0    0   1       0
TVP-14121134   December    12/8/2014   complete   Linda     Lee       CA   Linda     Lee       CA   braintree         CAD   HGIFT1             0    0   1       0
TVP-14121135   December    12/8/2014   complete   yip       wong      US   yip       wong      US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121135   December    12/8/2014   complete   yip       wong      US   yip       wong      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121135   December    12/8/2014   complete   yip       wong      US   yip       wong      US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121136   December    12/9/2014   complete   Tien      Siew      US   Tien      Siew      US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121136   December    12/9/2014   complete   Tien      Siew      US   Tien      Siew      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121136   December    12/9/2014   complete   Tien      Siew      US   Tien      Siew      US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121137   December    12/8/2014   complete   Elaine    Lee       CA   Elaine    Lee       CA   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121137   December    12/8/2014   complete   Elaine    Lee       CA   Elaine    Lee       CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14121137   December    12/8/2014   complete   Elaine    Lee       CA   Elaine    Lee       CA   braintree         USD   HGIFT1             0    0   1       0
TVP-14121138   December    12/8/2014   complete   Wooju     Dong      US   Wooju     Dong      US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121138   December    12/8/2014   complete   Wooju     Dong      US   Wooju     Dong      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121138   December    12/8/2014   complete   Wooju     Dong      US   Wooju     Dong      US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121139   December    12/8/2014   complete   Howard    Hong      US   Howard    Hong      US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121139   December    12/8/2014   complete   Howard    Hong      US   Howard    Hong      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121139   December    12/8/2014   complete   Howard    Hong      US   Howard    Hong      US   braintree         USD   HGIFT1             0    0   1       0
TVP-70011370   December    12/8/2014   complete   Anthony   Wong      US   Anthony   Wong      US   braintree         USD   TVPAD-004       259    20   1    239
TVP-70011370   December    12/8/2014   complete   Anthony   Wong      US   Anthony   Wong      US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011370   December    12/8/2014   complete   Anthony   Wong      US   Anthony   Wong      US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121140   December    12/8/2014   complete   Nelson    Szeto     CA   Nelson    Szeto     CA   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121140   December    12/8/2014   complete   Nelson    Szeto     CA   Nelson    Szeto     CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14121140   December    12/8/2014   complete   Nelson    Szeto     CA   Nelson    Szeto     CA   braintree         USD   HGIFT1             0    0   1       0
TVP-14121142   December    12/9/2014   complete   Herbert   Joe       US   Gramma    Joe       US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14121142   December    12/9/2014   complete   Herbert   Joe       US   Gramma    Joe       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121142   December    12/9/2014   complete   Herbert   Joe       US   Gramma    Joe       US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121143   December    12/9/2014   complete   Estela    Leong     US   Estela    Leong     US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121143   December    12/9/2014   complete   Estela    Leong     US   Estela    Leong     US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121143   December    12/9/2014   complete   Estela    Leong     US   Estela    Leong     US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121144   December    12/9/2014   complete   Ying      Wu        US   Ying      Wu        US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14121144   December    12/9/2014   complete   Ying      Wu        US   Ying      Wu        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121144   December    12/9/2014   complete   Ying      Wu        US   Ying      Wu        US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121145   December    12/9/2014   complete   yuebo     liang     GB   yuebo     liang     GB   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14121145   December    12/9/2014   complete   yuebo     liang     GB   yuebo     liang     GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121145   December    12/9/2014   complete   yuebo     liang     GB   yuebo     liang     GB   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121146   December    12/9/2014   complete   Matthew   Wong      GB   Matthew   Wong      GB   paypal_standard   GBP   TVPAD-004       259    20   1    239
TVP-14121146   December    12/9/2014   complete   Matthew   Wong      GB   Matthew   Wong      GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14121146   December    12/9/2014   complete   Matthew   Wong      GB   Matthew   Wong      GB   paypal_standard   GBP   HGIFT1             0    0   1       0
TVP-14121147   December    12/9/2014   complete   Pauline   chan      GB   Pauline   chan      GB   paypal_standard   USD   TVPAD-AC-001   29.99    0   1   29.99
TVP-14121148   December    12/9/2014   complete   XIAO      LIN       US   XIAO      LIN       US   braintree         USD   TVPAD-AC-001   29.99    0   1   29.99
TVP-70011371   December    12/9/2014   complete   Jiaxin    Yang      US   Jiaxin    Yang      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011371   December    12/9/2014   complete   Jiaxin    Yang      US   Jiaxin    Yang      US   braintree         USD   HGIFT2             0    0   1       0
TVP-70011371   December    12/9/2014   complete   Jiaxin    Yang      US   Jiaxin    Yang      US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121149   December    12/9/2014   complete   Nan       Zhang     AU   Nan       Zhang     AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121149   December    12/9/2014   complete   Nan       Zhang     AU   Nan       Zhang     AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14121149   December    12/9/2014   complete   Nan       Zhang     AU   Nan       Zhang     AU   braintree         USD   HGIFT1             0    0   1       0
TVP-14121150   December    12/9/2014   complete   Iksoo     Park      US   Iksoo     Park      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121150   December    12/9/2014   complete   Iksoo     Park      US   Iksoo     Park      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121150   December    12/9/2014   complete   Iksoo     Park      US   Iksoo     Park      US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121151   December    12/9/2014   complete   james     ng        GB   james     ng        GB   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121151   December    12/9/2014   complete   james     ng        GB   james     ng        GB   braintree         USD   HGIFT2             0    0   1       0
TVP-14121151   December    12/9/2014   complete   james     ng        GB   james     ng        GB   braintree         USD   HGIFT1             0    0   1       0
TVP-14121152   December   12/10/2014   complete   Lei       He        AU   Lei       He        AU   paypal_standard   USD   TVPAD-AC-002   29.99    0   1   29.99
TVP-14121153   December   12/10/2014   complete   Siu-Kay   Yau       GB   Siu-Kay   Yau       GB   braintree         GBP   TVPAD-004       259    10   1    249
TVP-14121153   December   12/10/2014   complete   Siu-Kay   Yau       GB   Siu-Kay   Yau       GB   braintree         GBP   HGIFT2             0    0   1       0
TVP-14121153   December   12/10/2014   complete   Siu-Kay   Yau       GB   Siu-Kay   Yau       GB   braintree         GBP   HGIFT1             0    0   1       0
TVP-14121154   December   12/10/2014   complete   JOHNNY    CHUA      US   JOHNNY    CHUA      US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14121154   December   12/10/2014   complete   JOHNNY    CHUA      US   JOHNNY    CHUA      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121154   December   12/10/2014   complete   JOHNNY    CHUA      US   JOHNNY    CHUA      US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121155   December   12/10/2014   complete   Gary      Luo       US   Gary      Luo       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121155   December   12/10/2014   complete   Gary      Luo       US   Gary      Luo       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121155   December   12/10/2014   complete   Gary      Luo       US   Gary      Luo       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121156   December   12/10/2014   complete   Tony      Kan       US   Tony      Kan       US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121156   December   12/10/2014   complete   Tony      Kan       US   Tony      Kan       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121156   December   12/10/2014   complete   Tony      Kan       US   Tony      Kan       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121158   December   12/10/2014   complete   xuan      wu        US   xuan      wu        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121158   December   12/10/2014   complete   xuan      wu        US   xuan      wu        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121158   December   12/10/2014   complete   xuan      wu        US   xuan      wu        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121160   December   12/10/2014   complete   Li        Ding      US   Li        Ding      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121160   December   12/10/2014   complete   Li        Ding      US   Li        Ding      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121160   December   12/10/2014   complete   Li        Ding      US   Li        Ding      US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121161   December   12/12/2014   complete   Patrick   Tso       CA   Buddy     Tso       US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14121161   December   12/12/2014   complete   Patrick   Tso       CA   Buddy     Tso       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121161   December   12/12/2014   complete   Patrick   Tso       CA   Buddy     Tso       US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121162   December   12/10/2014   complete   Hannah    You       AU   Hannah    You       AU   braintree         USD   TVPAD-AC-001   29.99    0   1   29.99
TVP-14121163   December   12/11/2014   complete   Allan     Borg      DK   Allan     Borg      DK   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121163   December   12/11/2014   complete   Allan     Borg      DK   Allan     Borg      DK   braintree         USD   HGIFT1             0    0   1       0
TVP-14121164   December   12/11/2014   complete   Danny     Tu        AU   Danny     Tu        AU   paypal_standard   AUD   TVPAD-004       259    20   1    239
TVP-14121164   December   12/11/2014   complete   Danny     Tu        AU   Danny     Tu        AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14121164   December   12/11/2014   complete   Danny     Tu        AU   Danny     Tu        AU   paypal_standard   AUD   HGIFT1             0    0   1       0
TVP-14121165   December   12/11/2014   complete   Kenny     Jin       CA   Kenny     Jin       CA   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14121165   December   12/11/2014   complete   Kenny     Jin       CA   Kenny     Jin       CA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121165   December   12/11/2014   complete   Kenny     Jin       CA   Kenny     Jin       CA   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121166   December   12/11/2014   complete   Gregory   Jenkins   US   Gregory   Jenkins   US   braintree         USD   TVPAD-004        259   10   1    249
TVP-14121166   December   12/11/2014   complete   Gregory   Jenkins   US   Gregory   Jenkins   US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121166   December   12/11/2014   complete   Gregory   Jenkins   US   Gregory   Jenkins   US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121167   December   12/11/2014   complete   Eric      Tai       US   Eric      Tai       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121167   December   12/11/2014   complete   Eric      Tai       US   Eric      Tai       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121167   December   12/11/2014   complete   Eric      Tai       US   Eric      Tai       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121168   December   12/11/2014   complete   Yiyi      Shao      AU   Yiyi      Shao      AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14121168   December   12/11/2014   complete   Yiyi      Shao      AU   Yiyi      Shao      AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121168   December   12/11/2014   complete   Yiyi      Shao      AU   Yiyi      Shao      AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121169   December   12/11/2014   complete   Toby      Booth     AU   Toby      Booth     AU   paypal_standard   USD   TVPAD-004        259   10   1     249
TVP-14121169   December   12/11/2014   complete   Toby      Booth     AU   Toby      Booth     AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121169   December   12/11/2014   complete   Toby      Booth     AU   Toby      Booth     AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121170   December   12/11/2014   complete   Ben       kaon      US   Ben       kaon      US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14121170   December   12/11/2014   complete   Ben       kaon      US   Ben       kaon      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121170   December   12/11/2014   complete   Ben       kaon      US   Ben       kaon      US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121171   December   12/11/2014   complete   Lisa      Lau       US   Lisa      Lau       US   braintree         USD   TVPAD-004        259   20   1     239
TVP-14121171   December   12/11/2014   complete   Lisa      Lau       US   Lisa      Lau       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121171   December   12/11/2014   complete   Lisa      Lau       US   Lisa      Lau       US   braintree         USD   HGIFT1             0    0   1       0
TVP-70011373   December   12/11/2014   complete   JING      BAI       SG   JING      BAI       SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011373   December   12/11/2014   complete   JING      BAI       SG   JING      BAI       SG   braintree         USD   HGIFT2             0    0   1       0
TVP-70011373   December   12/11/2014   complete   JING      BAI       SG   JING      BAI       SG   braintree         USD   HGIFT1             0    0   1       0
TVP-14121172   December   12/11/2014   complete   Yang      An        CA   Yang      An        CA   braintree         USD   TVPAD-004        259   10   1     249
TVP-14121172   December   12/11/2014   complete   Yang      An        CA   Yang      An        CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14121172   December   12/11/2014   complete   Yang      An        CA   Yang      An        CA   braintree         USD   HGIFT1             0    0   1       0
TVP-14121173   December   12/11/2014   complete   Loyal     Chow      US   Loyal     Chow      US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14121173   December   12/11/2014   complete   Loyal     Chow      US   Loyal     Chow      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121173   December   12/11/2014   complete   Loyal     Chow      US   Loyal     Chow      US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121174   December   12/11/2014   complete   xihua     chen      US   xihua     chen      US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14121174   December   12/11/2014   complete   xihua     chen      US   xihua     chen      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121174   December   12/11/2014   complete   xihua     chen      US   xihua     chen      US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121175   December   12/11/2014   complete   Mary      woo       US   Mary      woo       US   braintree         USD   TVPAD-004        259   20   1     239
TVP-14121175   December   12/11/2014   complete   Mary      woo       US   Mary      woo       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121175   December   12/11/2014   complete   Mary      woo       US   Mary      woo       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121176   December   12/11/2014   complete   Yong.     Kwak      NZ   Yong.     Kwak      NZ   braintree         USD   TVPAD-004        259   10   1     249
TVP-14121176   December   12/11/2014   complete   Yong.     Kwak      NZ   Yong.     Kwak      NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14121176   December   12/11/2014   complete   Yong.     Kwak      NZ   Yong.     Kwak      NZ   braintree         USD   HGIFT1             0    0   1       0
TVP-14121177   December   12/11/2014   complete   YU        KIM       AU   YU        KIM       AU   braintree         USD   TVPAD-004        259   10   1     249
TVP-14121177   December   12/11/2014   complete   YU        KIM       AU   YU        KIM       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14121177   December   12/11/2014   complete   YU        KIM       AU   YU        KIM       AU   braintree         USD   HGIFT1             0    0   1       0
TVP-14121178   December   12/12/2014   complete   Juxin     Deng      GB   Juxin     Deng      GB   paypal_standard   GBP   TVPAD-004        259   10   1     249
TVP-14121178   December   12/12/2014   complete   Juxin     Deng      GB   Juxin     Deng      GB   paypal_standard   GBP   HGIFT2             0    0   1       0
TVP-14121178   December   12/12/2014   complete   Juxin     Deng      GB   Juxin     Deng      GB   paypal_standard   GBP   HGIFT1             0    0   1       0
TVP-14121179   December   12/12/2014   complete   Jarn      Liu       GB   Jarn      Liu       GB   paypal_standard   USD   TVPAD-AC-001   29.99    0   1   29.99
TVP-14121180   December   12/12/2014   complete   Miki      Sato      AU   Miki      Sato      AU   braintree         USD   TVPAD-004        259   10   1     249
TVP-14121180   December   12/12/2014   complete   Miki      Sato      AU   Miki      Sato      AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14121180   December   12/12/2014   complete   Miki      Sato      AU   Miki      Sato      AU   braintree         USD   HGIFT1             0    0   1       0
TVP-14121181   December   12/12/2014   complete   Daniel    Wang      US   Daniel    Wang      US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14121181   December   12/12/2014   complete   Daniel    Wang      US   Daniel    Wang      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121181   December   12/12/2014   complete   Daniel    Wang      US   Daniel    Wang      US   braintree         USD   HGIFT1             0    0   1       0
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TVP-14121182   December   12/12/2014   complete   XIU         ZHEN        US   XIU         ZHEN        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121182   December   12/12/2014   complete   XIU         ZHEN        US   XIU         ZHEN        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121182   December   12/12/2014   complete   XIU         ZHEN        US   XIU         ZHEN        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121184   December   12/17/2014   complete   Lisa        Minerd      US   Lisa        Minerd      US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121184   December   12/17/2014   complete   Lisa        Minerd      US   Lisa        Minerd      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121184   December   12/17/2014   complete   Lisa        Minerd      US   Lisa        Minerd      US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121185   December   12/12/2014   complete   MC          Lee         CA   MC          Lee         CA   paypal_standard   USD   TVPAD-004       250    10   2    490
TVP-14121185   December   12/12/2014   complete   MC          Lee         CA   MC          Lee         CA   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14121185   December   12/12/2014   complete   MC          Lee         CA   MC          Lee         CA   paypal_standard   USD   HGIFT1             0    0   2       0
TVP-14121186   December   12/12/2014   complete   Caesar      Cheng       CA   Caesar      Cheng       CA   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121186   December   12/12/2014   complete   Caesar      Cheng       CA   Caesar      Cheng       CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14121186   December   12/12/2014   complete   Caesar      Cheng       CA   Caesar      Cheng       CA   braintree         USD   HGIFT1             0    0   1       0
TVP-14121187   December   12/12/2014   complete   Haesook     Hsieh       US   Haesook     Hsieh       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121187   December   12/12/2014   complete   Haesook     Hsieh       US   Haesook     Hsieh       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121187   December   12/12/2014   complete   Haesook     Hsieh       US   Haesook     Hsieh       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121188   December   12/12/2014   complete   Phan        Duong       US   Chuc        Thai        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121188   December   12/12/2014   complete   Phan        Duong       US   Chuc        Thai        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121188   December   12/12/2014   complete   Phan        Duong       US   Chuc        Thai        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121189   December   12/12/2014   complete   VINCENT     LAI         CA   VINCENT     LAI         CA   braintree         CAD   TVPAD-004       259    10   1    249
TVP-14121189   December   12/12/2014   complete   VINCENT     LAI         CA   VINCENT     LAI         CA   braintree         CAD   HGIFT2             0    0   1       0
TVP-14121189   December   12/12/2014   complete   VINCENT     LAI         CA   VINCENT     LAI         CA   braintree         CAD   HGIFT1             0    0   1       0
TVP-14121190   December   12/12/2014   complete   Stephen     Ho          CA   Stephen     Ho          CA   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121190   December   12/12/2014   complete   Stephen     Ho          CA   Stephen     Ho          CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14121190   December   12/12/2014   complete   Stephen     Ho          CA   Stephen     Ho          CA   braintree         USD   HGIFT1             0    0   1       0
TVP-14121191   December   12/12/2014   complete   Will        Lin         AU   Will        Lin         AU   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14121191   December   12/12/2014   complete   Will        Lin         AU   Will        Lin         AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121192   December   12/13/2014   complete   Danny       Chung       US   Danny       Chung       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121192   December   12/13/2014   complete   Danny       Chung       US   Danny       Chung       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121192   December   12/13/2014   complete   Danny       Chung       US   Danny       Chung       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121194   December   12/13/2014   complete   TakWei      Wan         US   TakWei      Wan         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121194   December   12/13/2014   complete   TakWei      Wan         US   TakWei      Wan         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121194   December   12/13/2014   complete   TakWei      Wan         US   TakWei      Wan         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121195   December   12/15/2014   complete   Derick      Qiu         SG   Derick      Qiu         SG   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121195   December   12/15/2014   complete   Derick      Qiu         SG   Derick      Qiu         SG   braintree         USD   HGIFT2             0    0   1       0
TVP-14121195   December   12/15/2014   complete   Derick      Qiu         SG   Derick      Qiu         SG   braintree         USD   HGIFT1             0    0   1       0
TVP-14121196   December   12/15/2014   complete   PETER       LIM         NZ   PETER       LIM         NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121196   December   12/15/2014   complete   PETER       LIM         NZ   PETER       LIM         NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14121196   December   12/15/2014   complete   PETER       LIM         NZ   PETER       LIM         NZ   braintree         USD   HGIFT1             0    0   1       0
TVP-14121197   December   12/15/2014   complete   Kwok        Lee         US   Kwok        Lee         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121197   December   12/15/2014   complete   Kwok        Lee         US   Kwok        Lee         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121197   December   12/15/2014   complete   Kwok        Lee         US   Kwok        Lee         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121198   December   12/15/2014   complete   Michael     Van         AU   Michael     Van         AU   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14121198   December   12/15/2014   complete   Michael     Van         AU   Michael     Van         AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121198   December   12/15/2014   complete   Michael     Van         AU   Michael     Van         AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121199   December   12/15/2014   complete   Raymond     DICKINSON   GB   Raymond     DICKINSON   GB   braintree         USD   HGIFT2         29.99    0   1   29.99
TVP-14121200   December   12/15/2014   complete   Qijun       Lin         US   Qijun       Lin         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121200   December   12/15/2014   complete   Qijun       Lin         US   Qijun       Lin         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121200   December   12/15/2014   complete   Qijun       Lin         US   Qijun       Lin         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121201   December   12/15/2014   complete   ANTONY      TRINH       FR   ANTONY      TRINH       FR   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121201   December   12/15/2014   complete   ANTONY      TRINH       FR   ANTONY      TRINH       FR   braintree         USD   HGIFT2             0    0   1       0
TVP-14121201   December   12/15/2014   complete   ANTONY      TRINH       FR   ANTONY      TRINH       FR   braintree         USD   HGIFT1             0    0   1       0
TVP-14121202   December   12/15/2014   complete   David       Eam         US   David       Eam         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121202   December   12/15/2014   complete   David       Eam         US   David       Eam         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121202   December   12/15/2014   complete   David       Eam         US   David       Eam         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121203   December   12/15/2014   complete   Elson       Chen        AU   Elson       Chen        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121203   December   12/15/2014   complete   Elson       Chen        AU   Elson       Chen        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14121203   December   12/15/2014   complete   Elson       Chen        AU   Elson       Chen        AU   braintree         USD   HGIFT1             0    0   1       0
TVP-14121204   December   12/15/2014   complete   Scott       wansor      US   Scott       wansor      US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14121204   December   12/15/2014   complete   Scott       wansor      US   Scott       wansor      US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121204   December   12/15/2014   complete   Scott       wansor      US   Scott       wansor      US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-70011374   December   12/15/2014   complete   Juan        wang        NZ   Juan        wang        NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-70011374   December   12/15/2014   complete   Juan        wang        NZ   Juan        wang        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-70011374   December   12/15/2014   complete   Juan        wang        NZ   Juan        wang        NZ   braintree         USD   HGIFT1             0    0   1       0
TVP-14121205   December   12/15/2014   complete   Ann         Hsieh       NZ   Ann         Hsieh       NZ   braintree         AUD   TVPAD-004       259    10   1    249
TVP-14121205   December   12/15/2014   complete   Ann         Hsieh       NZ   Ann         Hsieh       NZ   braintree         AUD   HGIFT2             0    0   1       0
TVP-14121205   December   12/15/2014   complete   Ann         Hsieh       NZ   Ann         Hsieh       NZ   braintree         AUD   HGIFT1             0    0   1       0
TVP-14121206   December   12/15/2014   complete   hong        zhang       AU   hong        zhang       AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121206   December   12/15/2014   complete   hong        zhang       AU   hong        zhang       AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14121206   December   12/15/2014   complete   hong        zhang       AU   hong        zhang       AU   braintree         USD   HGIFT1             0    0   1       0
TVP-14121208   December   12/15/2014   complete   Daniel      Chu         US   Daniel      Chu         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121208   December   12/15/2014   complete   Daniel      Chu         US   Daniel      Chu         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121208   December   12/15/2014   complete   Daniel      Chu         US   Daniel      Chu         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121209   December   12/15/2014   complete   Tobey       yang        NZ   Tobey       yang        NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121209   December   12/15/2014   complete   Tobey       yang        NZ   Tobey       yang        NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14121209   December   12/15/2014   complete   Tobey       yang        NZ   Tobey       yang        NZ   braintree         USD   HGIFT1             0    0   1       0
TVP-14121210   December   12/15/2014   complete   Peter       wee         MY   Ang         Khin        MY   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121210   December   12/15/2014   complete   Peter       wee         MY   Ang         Khin        MY   braintree         USD   HGIFT2             0    0   1       0
TVP-14121210   December   12/15/2014   complete   Peter       wee         MY   Ang         Khin        MY   braintree         USD   HGIFT1             0    0   1       0
TVP-14121211   December   12/15/2014   complete   Ray         Shen        NZ   Ray         Shen        NZ   braintree         USD   TVPAD-AC-001   29.99    0   1   29.99
TVP-14121212   December   12/15/2014   complete   Michael     Vu          GB   Michael     Vu          GB   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14121212   December   12/15/2014   complete   Michael     Vu          GB   Michael     Vu          GB   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121212   December   12/15/2014   complete   Michael     Vu          GB   Michael     Vu          GB   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121213   December   12/15/2014   complete   QING        ZHANG       US   QING        ZHANG       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121213   December   12/15/2014   complete   QING        ZHANG       US   QING        ZHANG       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121213   December   12/15/2014   complete   QING        ZHANG       US   QING        ZHANG       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121214   December   12/15/2014   complete   William     Wong        US   William     Wong        US   braintree         USD   TVPAD-004       250    10   2    490
TVP-14121214   December   12/15/2014   complete   William     Wong        US   William     Wong        US   braintree         USD   HGIFT2             0    0   2       0
TVP-14121214   December   12/15/2014   complete   William     Wong        US   William     Wong        US   braintree         USD   HGIFT1             0    0   2       0
TVP-14121215   December   12/15/2014   complete   Jason       Kwan        CA   Jason       Kwan        CA   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14121215   December   12/15/2014   complete   Jason       Kwan        CA   Jason       Kwan        CA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121215   December   12/15/2014   complete   Jason       Kwan        CA   Jason       Kwan        CA   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121216   December   12/15/2014   complete   Yuen        Tsang       US   Yuen        Tsang       US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14121216   December   12/15/2014   complete   Yuen        Tsang       US   Yuen        Tsang       US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121216   December   12/15/2014   complete   Yuen        Tsang       US   Yuen        Tsang       US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121218   December   12/15/2014   complete   kelby       lu          US   kelby       lu          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121218   December   12/15/2014   complete   kelby       lu          US   kelby       lu          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121218   December   12/15/2014   complete   kelby       lu          US   kelby       lu          US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121219   December   12/15/2014   complete   Alexander   Lai         US   Alexander   Lai         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121219   December   12/15/2014   complete   Alexander   Lai         US   Alexander   Lai         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121219   December   12/15/2014   complete   Alexander   Lai         US   Alexander   Lai         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121221   December   12/15/2014   complete   Jaymie      Ko          US   Jaymie      Ko          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121221   December   12/15/2014   complete   Jaymie      Ko          US   Jaymie      Ko          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121221   December   12/15/2014   complete   Jaymie      Ko          US   Jaymie      Ko          US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121222   December   12/15/2014   complete   steven      tang        BE   steven      tang        BE   paypal_standard   EUR   TVPAD-004       259    10   1    249
TVP-14121222   December   12/15/2014   complete   steven      tang        BE   steven      tang        BE   paypal_standard   EUR   HGIFT2             0    0   1       0
TVP-14121222   December   12/15/2014   complete   steven      tang        BE   steven      tang        BE   paypal_standard   EUR   HGIFT1             0    0   1       0
TVP-14121223   December   12/15/2014   complete   Jing        zhang       US   Jing        zhang       US   braintree         USD   TVPAD-004        259   10   1    249
TVP-14121223   December   12/15/2014   complete   Jing        zhang       US   Jing        zhang       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121223   December   12/15/2014   complete   Jing        zhang       US   Jing        zhang       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121224   December   12/15/2014   complete   Kevin       Leung       US   Kevin       Leung       US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121224   December   12/15/2014   complete   Kevin       Leung       US   Kevin       Leung       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121224   December   12/15/2014   complete   Kevin       Leung       US   Kevin       Leung       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121225   December   12/15/2014   complete   Brian       Chen        US   Brian       Chen        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121225   December   12/15/2014   complete   Brian       Chen        US   Brian       Chen        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121225   December   12/15/2014   complete   Brian       Chen        US   Brian       Chen        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121226   December   12/15/2014   complete   Vince       Malory      AU   Vince       Malory      AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14121226   December   12/15/2014   complete   Vince       Malory      AU   Vince       Malory      AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121226   December   12/15/2014   complete   Vince       Malory      AU   Vince       Malory      AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121227   December   12/15/2014   complete   Eneorji     Brooks      US   Eneorji     Brooks      US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121227   December   12/15/2014   complete   Eneorji     Brooks      US   Eneorji     Brooks      US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121227   December   12/15/2014   complete   Eneorji     Brooks      US   Eneorji     Brooks      US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121228   December   12/15/2014   complete   ELLICK      HSU         US   ELLICK      HSU         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121228   December   12/15/2014   complete   ELLICK      HSU         US   ELLICK      HSU         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121228   December   12/15/2014   complete   ELLICK      HSU         US   ELLICK      HSU         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121229   December   12/16/2014   complete   Janis       Lee-Kim     US   Janis       Lee-Kim     US   paypal_standard   USD   TVPAD-004       250    20   2    480
TVP-14121229   December   12/16/2014   complete   Janis       Lee-Kim     US   Janis       Lee-Kim     US   paypal_standard   USD   HGIFT2             0    0   2       0
TVP-14121229   December   12/16/2014   complete   Janis       Lee-Kim     US   Janis       Lee-Kim     US   paypal_standard   USD   HGIFT1             0    0   2       0
TVP-14121230   December   12/15/2014   closed     steven      ja          US   steven      ja          US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121230   December   12/15/2014   closed     steven      ja          US   steven      ja          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121230   December   12/15/2014   closed     steven      ja          US   steven      ja          US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121231   December   12/16/2014   complete   Hee         Shon        US   UnYong      Sung        US   braintree         USD   TVPAD-004        259   10   1    249
TVP-14121231   December   12/16/2014   complete   Hee         Shon        US   UnYong      Sung        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121231   December   12/16/2014   complete   Hee         Shon        US   UnYong      Sung        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121232   December   12/15/2014   complete   Wendy       Lau         US   James       Yao         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121232   December   12/15/2014   complete   Wendy       Lau         US   James       Yao         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121232   December   12/15/2014   complete   Wendy       Lau         US   James       Yao         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121233   December   12/15/2014   complete   Doris       Wong        US   Doris       Wong        US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121233   December   12/15/2014   complete   Doris       Wong        US   Doris       Wong        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121233   December   12/15/2014   complete   Doris       Wong        US   Doris       Wong        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121234   December   12/15/2014   complete   Julie       Lee         US   Julie       Lee         US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121234   December   12/15/2014   complete   Julie       Lee         US   Julie       Lee         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121234   December   12/15/2014   complete   Julie       Lee         US   Julie       Lee         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121236   December   12/16/2014   complete   Jason       Maehara     CA   Jannie      Maehara     CA   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121236   December   12/16/2014   complete   Jason       Maehara     CA   Jannie      Maehara     CA   braintree         USD   HGIFT2             0    0   1       0
TVP-14121236   December   12/16/2014   complete   Jason       Maehara     CA   Jannie      Maehara     CA   braintree         USD   HGIFT1             0    0   1       0
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TVP-70011375   December   12/16/2014   complete   Lee,        Nee          NO   Lee,        Nee          NO   braintree         USD   TVPAD-004                       259    10   1    249
TVP-70011375   December   12/16/2014   complete   Lee,        Nee          NO   Lee,        Nee          NO   braintree         USD   HGIFT2                             0    0   1       0
TVP-70011375   December   12/16/2014   complete   Lee,        Nee          NO   Lee,        Nee          NO   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121237   December   12/16/2014   complete   Jackie      Chen         AU   Jackie      Chen         AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121237   December   12/16/2014   complete   Jackie      Chen         AU   Jackie      Chen         AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121237   December   12/16/2014   complete   Jackie      Chen         AU   Jackie      Chen         AU   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121238   December   12/16/2014   complete   Lewis       Hua          GB   Lewis       Hua          GB   braintree         USD   TVPAD-AC-001                   29.99    0   1   29.99
TVP-14121239   December   12/16/2014   complete   Chris       Wong         US   Chris       Wong         US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14121239   December   12/16/2014   complete   Chris       Wong         US   Chris       Wong         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121239   December   12/16/2014   complete   Chris       Wong         US   Chris       Wong         US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121240   December   12/16/2014   complete   Neal        Brooks       US   Neal        Brooks       US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121240   December   12/16/2014   complete   Neal        Brooks       US   Neal        Brooks       US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121240   December   12/16/2014   complete   Neal        Brooks       US   Neal        Brooks       US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121241   December   12/17/2014   complete   Monica      Seu          US   Tarnia      Loo          CA   braintree         USD   TVPAD-004                       250    10   2    490
TVP-14121241   December   12/17/2014   complete   Monica      Seu          US   Tarnia      Loo          CA   braintree         USD   HGIFT2                             0    0   2       0
TVP-14121241   December   12/17/2014   complete   Monica      Seu          US   Tarnia      Loo          CA   braintree         USD   HGIFT1                             0    0   2       0
TVP-14121242   December   12/16/2014   complete   Alicia      Kwok         US   Alicia      Kwok         US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121242   December   12/16/2014   complete   Alicia      Kwok         US   Alicia      Kwok         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121242   December   12/16/2014   complete   Alicia      Kwok         US   Alicia      Kwok         US   braintree         USD   HGIFT1                             0    0   1       0
TVP-70011377   December   12/16/2014   complete   Jiali       Zheng        NZ   Jiali       Zheng        NZ   braintree         USD   TVPAD-004                       259    10   1    249
TVP-70011377   December   12/16/2014   complete   Jiali       Zheng        NZ   Jiali       Zheng        NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-70011377   December   12/16/2014   complete   Jiali       Zheng        NZ   Jiali       Zheng        NZ   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121243   December   12/16/2014   complete   Lauren      Yu           US   Lauren      Yu           US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121243   December   12/16/2014   complete   Lauren      Yu           US   Lauren      Yu           US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121243   December   12/16/2014   complete   Lauren      Yu           US   Lauren      Yu           US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121244   December   12/16/2014   complete   henry       siu          US   henry       siu          US   braintree         USD   TVPAD-004                       250    10   2    490
TVP-14121244   December   12/16/2014   complete   henry       siu          US   henry       siu          US   braintree         USD   HGIFT2                             0    0   2       0
TVP-14121244   December   12/16/2014   complete   henry       siu          US   henry       siu          US   braintree         USD   HGIFT1                             0    0   2       0
TVP-14121245   December   12/17/2014   canceled   Carlos      Ng Mac       BR   Carlos      Mac          BR   paypal_standard   USD   TVPAD-AC-001                   29.99    0   1   29.99
TVP-14121246   December   12/16/2014   complete   Peter       Won          NZ   Peter       Won          NZ   paypal_standard   USD   TVPAD-004                       259    20   1    239
TVP-14121246   December   12/16/2014   complete   Peter       Won          NZ   Peter       Won          NZ   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14121246   December   12/16/2014   complete   Peter       Won          NZ   Peter       Won          NZ   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14121247   December   12/16/2014   complete   Kenneth     Sung         NZ   Kenneth     Sung         NZ   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121247   December   12/16/2014   complete   Kenneth     Sung         NZ   Kenneth     Sung         NZ   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121247   December   12/16/2014   complete   Kenneth     Sung         NZ   Kenneth     Sung         NZ   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121248   December   12/16/2014   complete   Ronald      Ja           US   Ronald      Ja           US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121248   December   12/16/2014   complete   Ronald      Ja           US   Ronald      Ja           US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121248   December   12/16/2014   complete   Ronald      Ja           US   Ronald      Ja           US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121249   December   12/16/2014   complete   Man         Wan          GB   Man         Wan          GB   braintree         GBP   TVPAD-004                       259    10   1    249
TVP-14121249   December   12/16/2014   complete   Man         Wan          GB   Man         Wan          GB   braintree         GBP   HGIFT2                             0    0   1       0
TVP-14121249   December   12/16/2014   complete   Man         Wan          GB   Man         Wan          GB   braintree         GBP   HGIFT1                             0    0   1       0
TVP-14121251   December   12/17/2014   complete   Bess        Kong         HK   Christine   Chen         US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121251   December   12/17/2014   complete   Bess        Kong         HK   Christine   Chen         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121251   December   12/17/2014   complete   Bess        Kong         HK   Christine   Chen         US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121256   December   12/17/2014   complete   Bill        Tran         US   Bill        Tran         US   paypal_standard   USD   TVPAD-004                       259    20   1    239
TVP-14121256   December   12/17/2014   complete   Bill        Tran         US   Bill        Tran         US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14121256   December   12/17/2014   complete   Bill        Tran         US   Bill        Tran         US   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14121257   December   12/19/2014   complete   Celine      yee          GB   Celine      yee          GB   braintree         GBP   TVPAD-004                       259    10   1    249
TVP-14121257   December   12/19/2014   complete   Celine      yee          GB   Celine      yee          GB   braintree         GBP   HGIFT2                             0    0   1       0
TVP-14121257   December   12/19/2014   complete   Celine      yee          GB   Celine      yee          GB   braintree         GBP   HGIFT1                             0    0   1       0
TVP-14121258   December   12/17/2014   complete   Joseph      Lee          US   Joseph      Lee          US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14121258   December   12/17/2014   complete   Joseph      Lee          US   Joseph      Lee          US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14121258   December   12/17/2014   complete   Joseph      Lee          US   Joseph      Lee          US   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14121259   December   12/17/2014   complete   Chow        Ng           US   Chow        Ng           US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14121259   December   12/17/2014   complete   Chow        Ng           US   Chow        Ng           US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121259   December   12/17/2014   complete   Chow        Ng           US   Chow        Ng           US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121260   December   12/17/2014   complete   Brian       Kim          US   Brian       Kim          US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14121260   December   12/17/2014   complete   Brian       Kim          US   Brian       Kim          US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14121260   December   12/17/2014   complete   Brian       Kim          US   Brian       Kim          US   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14121261   December   12/17/2014   complete   Lien        To           DK   Lien        To           DK   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121261   December   12/17/2014   complete   Lien        To           DK   Lien        To           DK   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121261   December   12/17/2014   complete   Lien        To           DK   Lien        To           DK   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121262   December   12/17/2014   complete   Martha      Lam          US   Martha      Lam          US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121262   December   12/17/2014   complete   Martha      Lam          US   Martha      Lam          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121262   December   12/17/2014   complete   Martha      Lam          US   Martha      Lam          US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121264   December   12/17/2014   complete   Helen       Huon         US   Helen       Huon         US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14121264   December   12/17/2014   complete   Helen       Huon         US   Helen       Huon         US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14121264   December   12/17/2014   complete   Helen       Huon         US   Helen       Huon         US   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14121265   December   12/17/2014   complete   Sue         Williams     US   Sue         Williams     US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121265   December   12/17/2014   complete   Sue         Williams     US   Sue         Williams     US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121265   December   12/17/2014   complete   Sue         Williams     US   Sue         Williams     US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121266   December   12/17/2014   complete   Calvin      Yu           US   Allen       Yu           US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14121266   December   12/17/2014   complete   Calvin      Yu           US   Allen       Yu           US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121266   December   12/17/2014   complete   Calvin      Yu           US   Allen       Yu           US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121267   December   12/17/2014   complete   Ai-Ling     Huang        US   Ai-Ling     Huang        US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14121267   December   12/17/2014   complete   Ai-Ling     Huang        US   Ai-Ling     Huang        US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14121267   December   12/17/2014   complete   Ai-Ling     Huang        US   Ai-Ling     Huang        US   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-14121268   December   12/17/2014   complete   Daniel      Lee          US   Daniel      Lee          US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121268   December   12/17/2014   complete   Daniel      Lee          US   Daniel      Lee          US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121268   December   12/17/2014   complete   Daniel      Lee          US   Daniel      Lee          US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121269   December   12/17/2014   complete   CHIN        KAO          US   CHIN        KAO          US   braintree         USD   TVPAD-004                       250    10   2    490
TVP-14121269   December   12/17/2014   complete   CHIN        KAO          US   CHIN        KAO          US   braintree         USD   HGIFT2                             0    0   2       0
TVP-14121269   December   12/17/2014   complete   CHIN        KAO          US   CHIN        KAO          US   braintree         USD   HGIFT1                             0    0   2       0
TVP-14121270   December   12/17/2014   complete   Sang-seok   yoo          US   Sang-seok   yoo          US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14121270   December   12/17/2014   complete   Sang-seok   yoo          US   Sang-seok   yoo          US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14121270   December   12/17/2014   complete   Sang-seok   yoo          US   Sang-seok   yoo          US   paypal_standard   USD   HGIFT1                             0    0   1       0
TVP-70011378   December   12/17/2014   complete   jing        zhang        AU   jing        zhang        AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-70011378   December   12/17/2014   complete   jing        zhang        AU   jing        zhang        AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-70011378   December   12/17/2014   complete   jing        zhang        AU   jing        zhang        AU   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121271   December   12/17/2014   complete   Jong        Kim          US   Jong        Kim          US   paypal_standard   USD   TVPAD-004                       250    10   2    490
TVP-14121271   December   12/17/2014   complete   Jong        Kim          US   Jong        Kim          US   paypal_standard   USD   HGIFT2                             0    0   2       0
TVP-14121271   December   12/17/2014   complete   Jong        Kim          US   Jong        Kim          US   paypal_standard   USD   HGIFT1                             0    0   2       0
TVP-14121272   December   12/17/2014   complete   jono        won          AU   jono        won          AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121272   December   12/17/2014   complete   jono        won          AU   jono        won          AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121272   December   12/17/2014   complete   jono        won          AU   jono        won          AU   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121273   December   12/17/2014   complete   Toh         Ting         SG   Toh         Ting         SG   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121273   December   12/17/2014   complete   Toh         Ting         SG   Toh         Ting         SG   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121273   December   12/17/2014   complete   Toh         Ting         SG   Toh         Ting         SG   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121274   December   12/17/2014   closed     Joanna      Lai          US   Joanna      Lai          US   braintree         USD   TVPAD-AC-003-TVPAD-AC-003-US   29.99    0   1   29.99
TVP-14121275   December   12/17/2014   complete   Barrett     Park         US   Barrett     Park         US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121275   December   12/17/2014   complete   Barrett     Park         US   Barrett     Park         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121275   December   12/17/2014   complete   Barrett     Park         US   Barrett     Park         US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121276   December   12/17/2014   complete   Yuko        Haywood      AU   Yuko        Haywood      AU   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121276   December   12/17/2014   complete   Yuko        Haywood      AU   Yuko        Haywood      AU   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121276   December   12/17/2014   complete   Yuko        Haywood      AU   Yuko        Haywood      AU   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121277   December   12/17/2014   complete   Thomas      Chang        US   Thomas      Chang        US   paypal_standard   USD   TVPAD-004                       259    10   1    249
TVP-14121277   December   12/17/2014   complete   Thomas      Chang        US   Thomas      Chang        US   paypal_standard   USD   HGIFT2                             0    0   1       0
TVP-14121278   December   12/18/2014   complete   Yuan        wong         US   Yuan        wong         US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121278   December   12/18/2014   complete   Yuan        wong         US   Yuan        wong         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121278   December   12/18/2014   complete   Yuan        wong         US   Yuan        wong         US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121279   December   12/18/2014   complete   pak         tsang        GB   pak         tsang        GB   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121279   December   12/18/2014   complete   pak         tsang        GB   pak         tsang        GB   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121279   December   12/18/2014   complete   pak         tsang        GB   pak         tsang        GB   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121282   December   12/18/2014   complete   Jennifer    Deneen       US   Jennifer    Deneen       US   braintree         USD   TVPAD-004                       259    10   1     249
TVP-14121282   December   12/18/2014   complete   Jennifer    Deneen       US   Jennifer    Deneen       US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121282   December   12/18/2014   complete   Jennifer    Deneen       US   Jennifer    Deneen       US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121283   December   12/18/2014   complete   Yim         Lam          US   Yim         Lam          US   braintree         USD   TP4-US                          329    10   1    319
TVP-14121283   December   12/18/2014   complete   Yim         Lam          US   Yim         Lam          US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121285   December   12/18/2014   complete   QING        ZHANG        US   QING        ZHANG        US   braintree         USD   TP4-US                          329    10   1     319
TVP-14121285   December   12/18/2014   complete   QING        ZHANG        US   QING        ZHANG        US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121287   December   12/19/2014   complete   Dong        Li           US   Dong        Li           US   braintree         USD   TP4-US                          329    20   1     309
TVP-14121287   December   12/19/2014   complete   Dong        Li           US   Dong        Li           US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121288   December   12/22/2014   complete   Chino       Wong         US   Chino       Wong         US   braintree         USD   TP4-US                          320    20   2     620
TVP-14121288   December   12/22/2014   complete   Chino       Wong         US   Chino       Wong         US   braintree         USD   HGIFT1                             0    0   2       0
TVP-14121289   December   12/18/2014   complete   Irene       Tsang        NZ   Irene       Tsang        NZ   braintree         USD   TVPAD-AC-001                   29.99    0   1   29.99
TVP-14121290   December   12/22/2014   complete   Danny       Leung        GB   Danny       Leung        GB   paypal_standard   GBP   TP4-US                          329    10   1    319
TVP-14121290   December   12/22/2014   complete   Danny       Leung        GB   Danny       Leung        GB   paypal_standard   GBP   HGIFT1                             0    0   1       0
TVP-14121291   December   12/20/2014   complete   peiru       wang         US   peiru       wang         US   braintree         USD   TVPAD-004                       259    20   1    239
TVP-14121291   December   12/20/2014   complete   peiru       wang         US   peiru       wang         US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121291   December   12/20/2014   complete   peiru       wang         US   peiru       wang         US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121292   December   12/19/2014   complete   ernest      tseng        US   ernest      tseng        US   braintree         USD   TVPAD-004                       259    10   1    249
TVP-14121292   December   12/19/2014   complete   ernest      tseng        US   ernest      tseng        US   braintree         USD   HGIFT2                             0    0   1       0
TVP-14121292   December   12/19/2014   complete   ernest      tseng        US   ernest      tseng        US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121293   December   12/22/2014   complete   King        Moy          US   King        Moy          US   braintree         USD   TP4-US                          329    20   1     309
TVP-14121293   December   12/22/2014   complete   King        Moy          US   King        Moy          US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121294   December   12/23/2014   complete   Charles     Lau          US   Sai         Lau          US   braintree         USD   TP4-US                           329   10   1     319
TVP-14121294   December   12/23/2014   complete   Charles     Lau          US   Sai         Lau          US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121295   December   12/22/2014   complete   Ryan        Kim          US   Ryan        Kim          US   braintree         USD   TP4-US                          329    10   1    319
TVP-14121295   December   12/22/2014   complete   Ryan        Kim          US   Ryan        Kim          US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121296   December   12/22/2014   complete   James       Wallenburg   US   James       Wallenburg   US   braintree         USD   TP4-US                          329    10   1     319
TVP-14121296   December   12/22/2014   complete   James       Wallenburg   US   James       Wallenburg   US   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121297   December   12/22/2014   complete   Jeffrey     Vong         NZ   Jeffrey     Vong         NZ   braintree         USD   TP4-US                          329    10   1     319
TVP-14121297   December   12/22/2014   complete   Jeffrey     Vong         NZ   Jeffrey     Vong         NZ   braintree         USD   HGIFT1                             0    0   1       0
TVP-14121298   December   12/22/2014   complete   KongChew    Chan         NZ   KongChew    Chan         NZ   braintree         USD   TP4-US                          329    10   1     319
TVP-14121298   December   12/22/2014   complete   KongChew    Chan         NZ   KongChew    Chan         NZ   braintree         USD   HGIFT1                             0    0   1       0
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TVP-14121299   December   12/19/2014   complete   Haesook      Hsieh       US   Haesook      Hsieh       US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121299   December   12/19/2014   complete   Haesook      Hsieh       US   Haesook      Hsieh       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121299   December   12/19/2014   complete   Haesook      Hsieh       US   Haesook      Hsieh       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121300   December   12/19/2014   complete   Nathan       Liow        AU   Nathan       Liow        AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121300   December   12/19/2014   complete   Nathan       Liow        AU   Nathan       Liow        AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14121300   December   12/19/2014   complete   Nathan       Liow        AU   Nathan       Liow        AU   braintree         USD   HGIFT1             0    0   1       0
TVP-14121301   December   12/22/2014   complete   YING         LI          US   YING         LI          US   braintree         USD   TP4-US          329    10   1    319
TVP-14121301   December   12/22/2014   complete   YING         LI          US   YING         LI          US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121302   December   12/23/2014   complete   Tian         Chen        US   Tian         Chen        US   braintree         USD   TP4-US          329    20   1    309
TVP-14121302   December   12/23/2014   complete   Tian         Chen        US   Tian         Chen        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121303   December   12/19/2014   complete   Tiffany      Ho          US   Tiffany      Ho          US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14121303   December   12/19/2014   complete   Tiffany      Ho          US   Tiffany      Ho          US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121303   December   12/19/2014   complete   Tiffany      Ho          US   Tiffany      Ho          US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121304   December   12/23/2014   complete   Elsa         Tang        MO   Eduardo      Tang        MO   braintree         USD   TP4-US          329    10   1    319
TVP-14121304   December   12/23/2014   complete   Elsa         Tang        MO   Eduardo      Tang        MO   braintree         USD   HGIFT1             0    0   1       0
TVP-14121305   December   12/23/2014   complete   MICHAEL      SATTERLEE   US   MICHAEL      SATTERLEE   US   paypal_standard   USD   TP4-US          329    10   1    319
TVP-14121308   December   12/20/2014   complete   Jun          Jiyoon      SG   Jun          Jiyoon      SG   braintree         USD   TVPAD-AC-001   29.99    0   1   29.99
TVP-14121309   December   12/23/2014   complete   YUE          LUI         US   AUSTIN       LUI         US   paypal_standard   USD   TP4-US          329    20   1    309
TVP-14121309   December   12/23/2014   complete   YUE          LUI         US   AUSTIN       LUI         US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121310   December   12/23/2014   complete   Shell        Joe         US   Shell        Joe         US   braintree         USD   TP4-US          329    20   1    309
TVP-14121311   December   12/23/2014   complete   Thomas       Chan        US   Thomas       Chan        US   braintree         USD   TP4-US          329    20   1    309
TVP-14121311   December   12/23/2014   complete   Thomas       Chan        US   Thomas       Chan        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121312   December   12/23/2014   complete   KIN-WANG     CHENG       US   KIN-WANG     CHENG       US   braintree         USD   TP4-US          329    20   1    309
TVP-14121312   December   12/23/2014   complete   KIN-WANG     CHENG       US   KIN-WANG     CHENG       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121313   December   12/22/2014   complete   Jihuan       song        US   Jihuan       song        US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14121313   December   12/22/2014   complete   Jihuan       song        US   Jihuan       song        US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121313   December   12/22/2014   complete   Jihuan       song        US   Jihuan       song        US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121314   December   12/23/2014   complete   Danny        Wong        AU   Danny        Wong        AU   braintree         AUD   TP4-US          329    10   1    319
TVP-14121315   December   12/21/2014   complete   meng         lu          AU   meng         lu          AU   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121315   December   12/21/2014   complete   meng         lu          AU   meng         lu          AU   braintree         USD   HGIFT2             0    0   1       0
TVP-14121315   December   12/21/2014   complete   meng         lu          AU   meng         lu          AU   braintree         USD   HGIFT1             0    0   1       0
TVP-14121316   December   12/23/2014   complete   Simon        Kwong       US   Simon        Kwong       US   braintree         USD   TP4-US          329    10   1    319
TVP-14121316   December   12/23/2014   complete   Simon        Kwong       US   Simon        Kwong       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121317   December   12/21/2014   complete   Winsol       Chen        US   Winsol       Chen        US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121317   December   12/21/2014   complete   Winsol       Chen        US   Winsol       Chen        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121317   December   12/21/2014   complete   Winsol       Chen        US   Winsol       Chen        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121319   December   12/22/2014   complete   Louis        Jilly       US   Louis        Jilly       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121319   December   12/22/2014   complete   Louis        Jilly       US   Louis        Jilly       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121319   December   12/22/2014   complete   Louis        Jilly       US   Louis        Jilly       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121320   December   12/22/2014   complete   Steven       Hoang       US   Steven       Hoang       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121320   December   12/22/2014   complete   Steven       Hoang       US   Steven       Hoang       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121320   December   12/22/2014   complete   Steven       Hoang       US   Steven       Hoang       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121321   December   12/22/2014   complete   Judy         Wong        US   Judy         Wong        US   braintree         USD   TVPAD-004       250    10   2    490
TVP-14121321   December   12/22/2014   complete   Judy         Wong        US   Judy         Wong        US   braintree         USD   HGIFT2             0    0   2       0
TVP-14121321   December   12/22/2014   complete   Judy         Wong        US   Judy         Wong        US   braintree         USD   HGIFT1             0    0   2       0
TVP-14121322   December   12/23/2014   complete   MC           Lee         CA   MC           Lee         CA   paypal_standard   USD   TP4-US          329    10   1    319
TVP-14121322   December   12/23/2014   complete   MC           Lee         CA   MC           Lee         CA   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121323   December   12/23/2014   complete   Herman       Gee         US   Herman       Gee         US   braintree         USD   TP4-US          329    10   1    319
TVP-14121323   December   12/23/2014   complete   Herman       Gee         US   Herman       Gee         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121324   December   12/23/2014   complete   Andy         Yee         US   Andy         Yee         US   braintree         USD   TP4-US          329    20   1    309
TVP-14121324   December   12/23/2014   complete   Andy         Yee         US   Andy         Yee         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121325   December   12/23/2014   complete   Wai          Lee         US   Wai          Lee         US   braintree         USD   TP4-US          329    10   1    319
TVP-14121325   December   12/23/2014   complete   Wai          Lee         US   Wai          Lee         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121326   December   12/23/2014   complete   richard      choi        US   richard      choi        US   braintree         USD   TP4-US          329    10   1    319
TVP-14121326   December   12/23/2014   complete   richard      choi        US   richard      choi        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121328   December   12/23/2014   complete   David        Chan        US   David        Chan        US   braintree         USD   TP4-US          329    10   1    319
TVP-14121328   December   12/23/2014   complete   David        Chan        US   David        Chan        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121329   December   12/23/2014   complete   xin          jin         GB   xin          jin         GB   braintree         GBP   TP4-US          329    10   1    319
TVP-14121329   December   12/23/2014   complete   xin          jin         GB   xin          jin         GB   braintree         GBP   HGIFT1             0    0   1       0
TVP-14121330   December   12/23/2014   complete   Samuel       Lee         US   Samuel       Lee         US   braintree         USD   TP4-US          329    10   1    319
TVP-14121330   December   12/23/2014   complete   Samuel       Lee         US   Samuel       Lee         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121331   December   12/23/2014   complete   Thomas       lai         GB   Thomas       lai         GB   paypal_standard   GBP   TP4-US          329    20   1    309
TVP-14121331   December   12/23/2014   complete   Thomas       lai         GB   Thomas       lai         GB   paypal_standard   GBP   HGIFT1             0    0   1       0
TVP-14121332   December   12/23/2014   complete   BEN          TSAI        US   BEN          TSAI        US   braintree         USD   TP4-US           329   10   1    319
TVP-14121332   December   12/23/2014   complete   BEN          TSAI        US   BEN          TSAI        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121333   December   12/23/2014   complete   Park         Soon        SG   Park         Soon        SG   braintree         USD   TP4-US          329    20   1    309
TVP-14121333   December   12/23/2014   complete   Park         Soon        SG   Park         Soon        SG   braintree         USD   HGIFT1             0    0   1       0
TVP-14121334   December   12/23/2014   complete   Kim          Jin         SG   Kim          Jin         SG   braintree         USD   TP4-US          329    20   1    309
TVP-14121334   December   12/23/2014   complete   Kim          Jin         SG   Kim          Jin         SG   braintree         USD   HGIFT1             0    0   1       0
TVP-14121335   December   12/25/2014   complete   Pauline      Mak         US   Pauline      Mak         US   braintree         USD   TP4-US          329    20   1    309
TVP-14121335   December   12/25/2014   complete   Pauline      Mak         US   Pauline      Mak         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121336   December   12/23/2014   canceled   zhongchang   yu          US   zhongchang   yu          US   paypal_standard   USD   TP4-US          329    10   1    319
TVP-14121337   December   12/23/2014   closed     Edmond       Hung        AU   Edmond       Hung        AU   paypal_standard   USD   TP4-US          329    10   1    319
TVP-14121337   December   12/23/2014   closed     Edmond       Hung        AU   Edmond       Hung        AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121338   December   12/23/2014   closed     Kevin        Huang       CA   Kevin        Huang       CA   braintree         USD   TP4-US          329    20   1    309
TVP-14121338   December   12/23/2014   closed     Kevin        Huang       CA   Kevin        Huang       CA   braintree         USD   HGIFT1             0    0   1       0
TVP-14121339   December   12/23/2014   complete   Yuk          Tang        BE   Yuk          Tang        BE   braintree         EUR   TP4-US          329    10   1    319
TVP-14121339   December   12/23/2014   complete   Yuk          Tang        BE   Yuk          Tang        BE   braintree         EUR   HGIFT1             0    0   1       0
TVP-14121341   December   12/23/2014   complete   Yee          Yeow        AU   Yee          Yeow        AU   paypal_standard   AUD   TVPAD-004       259    10   1    249
TVP-14121341   December   12/23/2014   complete   Yee          Yeow        AU   Yee          Yeow        AU   paypal_standard   AUD   HGIFT2             0    0   1       0
TVP-14121341   December   12/23/2014   complete   Yee          Yeow        AU   Yee          Yeow        AU   paypal_standard   AUD   HGIFT1             0    0   1       0
TVP-14121342   December   12/23/2014   complete   Agnieszka    Zawada      PL   Agnieszka    Zawada      PL   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121344   December   12/23/2014   complete   Boong-Kyu    Lee         US   Boong-Kyu    Lee         US   paypal_standard   USD   TP4-US          329    10   1    319
TVP-14121344   December   12/23/2014   complete   Boong-Kyu    Lee         US   Boong-Kyu    Lee         US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121345   December   12/23/2014   complete   Gary         Luo         US   Sheng        Luo         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121345   December   12/23/2014   complete   Gary         Luo         US   Sheng        Luo         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121345   December   12/23/2014   complete   Gary         Luo         US   Sheng        Luo         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121346   December   12/23/2014   complete   Whei         Wong        CA   Whei         Wong        CA   braintree         USD   TP4-US          329    10   1    319
TVP-14121346   December   12/23/2014   complete   Whei         Wong        CA   Whei         Wong        CA   braintree         USD   HGIFT1             0    0   1       0
TVP-14121347   December   12/23/2014   complete   Diana        Lellieu     US   Yuan-Fen     Lee         US   paypal_standard   USD   TP4-US           329   10   1    319
TVP-14121347   December   12/23/2014   complete   Diana        Lellieu     US   Yuan-Fen     Lee         US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121348   December   12/24/2014   complete   Wei          Chen        TW   Wei-Long     Chen        DE   braintree         USD   TP4-US          329    20   1    309
TVP-14121348   December   12/24/2014   complete   Wei          Chen        TW   Wei-Long     Chen        DE   braintree         USD   HGIFT1             0    0   1       0
TVP-14121349   December   12/23/2014   complete   Alice        Huang       NZ   Alice        Huang       NZ   braintree         USD   TP4-US          329    10   1    319
TVP-14121349   December   12/23/2014   complete   Alice        Huang       NZ   Alice        Huang       NZ   braintree         USD   HGIFT1             0    0   1       0
TVP-14121350   December   12/26/2014   complete   Bruce        Han         US   Bruce        Han         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121350   December   12/26/2014   complete   Bruce        Han         US   Bruce        Han         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121350   December   12/26/2014   complete   Bruce        Han         US   Bruce        Han         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121351   December   12/26/2014   complete   Bruce        Han         US   Hae          Han         US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121351   December   12/26/2014   complete   Bruce        Han         US   Hae          Han         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121351   December   12/26/2014   complete   Bruce        Han         US   Hae          Han         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121352   December   12/23/2014   complete   Eric         Duong       US   Eric         Duong       US   braintree         USD   TP4-US           329   20   1    309
TVP-14121352   December   12/23/2014   complete   Eric         Duong       US   Eric         Duong       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121353   December   12/23/2014   complete   Thomas       Lew         AU   Thomas       Lew         AU   paypal_standard   USD   TP4-US          329    10   1    319
TVP-14121353   December   12/23/2014   complete   Thomas       Lew         AU   Thomas       Lew         AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121354   December   12/23/2014   complete   Clarence     Chan        US   Clarence     Chan        US   braintree         USD   TP4-US           329   10   1     319
TVP-14121354   December   12/23/2014   complete   Clarence     Chan        US   Clarence     Chan        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121355   December   12/23/2014   complete   Jeffrey      Wu          US   Jeffrey      Wu          US   braintree         USD   TP4-US           329   20   1     309
TVP-14121355   December   12/23/2014   complete   Jeffrey      Wu          US   Jeffrey      Wu          US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121356   December   12/23/2014   complete   Barry        Wong        NZ   Barry        Wong        NZ   braintree         USD   TP4-US          329    10   1    319
TVP-14121356   December   12/23/2014   complete   Barry        Wong        NZ   Barry        Wong        NZ   braintree         USD   HGIFT1             0    0   1       0
TVP-14121357   December   12/23/2014   complete   David        Tham        NZ   David        Tham        NZ   braintree         USD   TP4-US          329    10   1    319
TVP-14121357   December   12/23/2014   complete   David        Tham        NZ   David        Tham        NZ   braintree         USD   HGIFT1             0    0   1       0
TVP-14121358   December   12/24/2014   complete   Wei Dar      Chen        TW   Wei-Long     Chen        DE   braintree         USD   TP4-US          329    20   1     309
TVP-14121358   December   12/24/2014   complete   Wei Dar      Chen        TW   Wei-Long     Chen        DE   braintree         USD   HGIFT1             0    0   1       0
TVP-14121361   December   12/24/2014   complete   Qiuling      guo         US   Qiuling      guo         US   braintree         USD   TVPAD-AC-001   29.99    0   1   29.99
TVP-14121362   December   12/24/2014   complete   Edmond       Chung       US   Edmond       Chung       US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121362   December   12/24/2014   complete   Edmond       Chung       US   Edmond       Chung       US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121362   December   12/24/2014   complete   Edmond       Chung       US   Edmond       Chung       US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121363   December   12/24/2014   complete   Chun         Yi          US   Chun         Yi          US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14121363   December   12/24/2014   complete   Chun         Yi          US   Chun         Yi          US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121363   December   12/24/2014   complete   Chun         Yi          US   Chun         Yi          US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121364   December   12/24/2014   complete   Chih         Liu         US   Chih         Liu         US   braintree         USD   TP4-US           320   10   2    630
TVP-14121364   December   12/24/2014   complete   Chih         Liu         US   Chih         Liu         US   braintree         USD   HGIFT1             0    0   2       0
TVP-14121365   December   12/24/2014   complete   Lokman       Tong        GB   Lokman       Tong        GB   paypal_standard   USD   TVPAD-AC-001   29.99    0   1   29.99
TVP-14121366   December   12/24/2014   complete   Park         wong        AU   Park         wong        AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14121366   December   12/24/2014   complete   Park         wong        AU   Park         wong        AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121366   December   12/24/2014   complete   Park         wong        AU   Park         wong        AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121368   December   12/24/2014   complete   John         Kim         US   John         Kim         US   paypal_standard   USD   TVPAD-AC-001   29.99    0   1   29.99
TVP-14121369   December   12/24/2014   complete   Lai          Wong        US   Lai          Wong        US   braintree         USD   TVPAD-004        259   20   1     239
TVP-14121369   December   12/24/2014   complete   Lai          Wong        US   Lai          Wong        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121369   December   12/24/2014   complete   Lai          Wong        US   Lai          Wong        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121370   December   12/24/2014   complete   Lai          Wong        US   Lai          Wong        US   braintree         USD   TVPAD-004        259   20   1     239
TVP-14121370   December   12/24/2014   complete   Lai          Wong        US   Lai          Wong        US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121370   December   12/24/2014   complete   Lai          Wong        US   Lai          Wong        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121371   December   12/24/2014   complete   Yan          Chen        US   Yan          Chen        US   braintree         USD   TP4-US           329   20   1     309
TVP-14121371   December   12/24/2014   complete   Yan          Chen        US   Yan          Chen        US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121372   December   12/26/2014   complete   Harvey       Lum         US   Harvey       Lum         US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14121372   December   12/26/2014   complete   Harvey       Lum         US   Harvey       Lum         US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121372   December   12/26/2014   complete   Harvey       Lum         US   Harvey       Lum         US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121373   December   12/24/2014   complete   Lyah         Louis       AU   Lyah         Louis       AU   paypal_standard   USD   TVPAD-AC-001   29.99    0   1   29.99
TVP-14121374   December   12/26/2014   complete   David        Yang        US   David        Yang        US   braintree         USD   TVPAD-AC-001   29.99    0   1   29.99
TVP-14121375   December   12/24/2014   complete   Li           Li          DK   Li           Li          DK   braintree         USD   TP4-US           329   10   1     319
TVP-14121375   December   12/24/2014   complete   Li           Li          DK   Li           Li          DK   braintree         USD   HGIFT1             0    0   1       0
TVP-14121376   December   12/25/2014   complete   Andrew       Ting        US   Andrew       Ting        US   braintree         USD   TP4-US           329   10   1     319
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TVP-14121376   December   12/25/2014   complete   Andrew      Ting             US   Andrew      Ting             US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121377   December   12/26/2014   complete   Xingyu      Meng             US   Xingyu      Meng             US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121377   December   12/26/2014   complete   Xingyu      Meng             US   Xingyu      Meng             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121377   December   12/26/2014   complete   Xingyu      Meng             US   Xingyu      Meng             US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121380   December   12/27/2014   complete   Roger       Kuo              US   Roger       Kuo              US   braintree         USD   TVPAD-004       250    20   2    480
TVP-14121380   December   12/27/2014   complete   Roger       Kuo              US   Roger       Kuo              US   braintree         USD   HGIFT2             0    0   2       0
TVP-14121380   December   12/27/2014   complete   Roger       Kuo              US   Roger       Kuo              US   braintree         USD   HGIFT1             0    0   2       0
TVP-14121381   December   12/25/2014   complete   Haixuan     Su               NZ   Haixuan     Su               NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121381   December   12/25/2014   complete   Haixuan     Su               NZ   Haixuan     Su               NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14121381   December   12/25/2014   complete   Haixuan     Su               NZ   Haixuan     Su               NZ   braintree         USD   HGIFT1             0    0   1       0
TVP-14121382   December   12/25/2014   complete   Dominic     Yau              AU   Dominic     Yau              AU   paypal_standard   AUD   TP4-US          329    10   1    319
TVP-14121383   December   12/26/2014   complete   Donghong    Wang             US   Donghong    Wang             US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121383   December   12/26/2014   complete   Donghong    Wang             US   Donghong    Wang             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121383   December   12/26/2014   complete   Donghong    Wang             US   Donghong    Wang             US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121385   December   12/25/2014   complete   Tommy       Emterby          SE   Tommy       Emterby          SE   paypal_standard   USD   TP4-US          329    10   1    319
TVP-14121385   December   12/25/2014   complete   Tommy       Emterby          SE   Tommy       Emterby          SE   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121386   December   12/26/2014   complete   Tian        Tian             AU   Tian        Tian             AU   paypal_standard   USD   TP4-US          329    10   1    319
TVP-14121386   December   12/26/2014   complete   Tian        Tian             AU   Tian        Tian             AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121387   December   12/26/2014   complete   philippe    chane-you-kaye   RE   philippe    chane-you-kaye   RE   braintree         USD   TP4-US          329    10   1    319
TVP-14121387   December   12/26/2014   complete   philippe    chane-you-kaye   RE   philippe    chane-you-kaye   RE   braintree         USD   HGIFT1             0    0   1       0
TVP-14121388   December   12/26/2014   closed     Raymond     Wong             US   Raymond     Wong             US   braintree         USD   TP4-US          329    10   1    319
TVP-14121388   December   12/26/2014   closed     Raymond     Wong             US   Raymond     Wong             US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121389   December   12/26/2014   complete   Zheng       Kuai             US   Zheng       Kuai             US   braintree         USD   TP4-US          329    10   1    319
TVP-14121389   December   12/26/2014   complete   Zheng       Kuai             US   Zheng       Kuai             US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121390   December   12/26/2014   complete   Emily       Chen             US   Xing        Chen             US   braintree         USD   TP4-US          329    10   1    319
TVP-14121390   December   12/26/2014   complete   Emily       Chen             US   Xing        Chen             US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121391   December   12/26/2014   complete   Michael     Wu               US   Michael     Wu               US   paypal_standard   USD   TP4-US          329    10   1    319
TVP-14121391   December   12/26/2014   complete   Michael     Wu               US   Michael     Wu               US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121392   December   12/26/2014   closed     kevin       vong             AU   kevin       vong             AU   braintree         USD   TP4-US          329    10   1    319
TVP-14121392   December   12/26/2014   closed     kevin       vong             AU   kevin       vong             AU   braintree         USD   HGIFT1             0    0   1       0
TVP-14121393   December   12/26/2014   complete   Michael     Tan              US   Michael     Tan              US   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14121393   December   12/26/2014   complete   Michael     Tan              US   Michael     Tan              US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121393   December   12/26/2014   complete   Michael     Tan              US   Michael     Tan              US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121394   December   12/26/2014   complete   Png         Chia             SG   Png         Chia             SG   braintree         USD   TVPAD-004       250    20   2    480
TVP-14121394   December   12/26/2014   complete   Png         Chia             SG   Png         Chia             SG   braintree         USD   HGIFT2             0    0   2       0
TVP-14121394   December   12/26/2014   complete   Png         Chia             SG   Png         Chia             SG   braintree         USD   HGIFT1             0    0   2       0
TVP-14121395   December   12/27/2014   complete   Amy         Fong             US   Derek       Pang             US   braintree         USD   TP4-US          329    10   1    319
TVP-14121395   December   12/27/2014   complete   Amy         Fong             US   Derek       Pang             US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121396   December   12/27/2014   complete   Terry       Yee              CA   Terry       Yee              CA   paypal_standard   USD   TP4-US          329    20   1    309
TVP-14121396   December   12/27/2014   complete   Terry       Yee              CA   Terry       Yee              CA   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121398   December   12/27/2014   complete   warren      lam              US   warren      lam              US   paypal_standard   USD   TP4-US          329    20   1    309
TVP-14121398   December   12/27/2014   complete   warren      lam              US   warren      lam              US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121400   December   12/27/2014   complete   Hong        song-erickson    US   Hong        song-erickson    US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121400   December   12/27/2014   complete   Hong        song-erickson    US   Hong        song-erickson    US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121400   December   12/27/2014   complete   Hong        song-erickson    US   Hong        song-erickson    US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121400   December   12/27/2014   complete   Hong        song-erickson    US   Hong        song-erickson    US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121401   December   12/27/2014   complete   Grace       Wang             US   Yashian     Wang             US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121401   December   12/27/2014   complete   Grace       Wang             US   Yashian     Wang             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121401   December   12/27/2014   complete   Grace       Wang             US   Yashian     Wang             US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121402   December   12/27/2014   complete   Wilson      Choi             GB   Wilson      Mok              GB   braintree         USD   TP4-US          320    20   2    620
TVP-14121402   December   12/27/2014   complete   Wilson      Choi             GB   Wilson      Mok              GB   braintree         USD   HGIFT1             0    0   2       0
TVP-14121403   December   12/27/2014   complete   Qi          Hoggatt          US   Qi          Hoggatt          US   braintree         USD   TP4-US          329    10   1    319
TVP-14121404   December   12/27/2014   complete   Shi-Chen    Wang             US   Shi-Chen    Wang             US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121404   December   12/27/2014   complete   Shi-Chen    Wang             US   Shi-Chen    Wang             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121404   December   12/27/2014   complete   Shi-Chen    Wang             US   Shi-Chen    Wang             US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121405   December   12/27/2014   complete   Sophie      Wang             US   Sophie      Wang             US   braintree         USD   TVPAD-004       259    20   1    239
TVP-14121405   December   12/27/2014   complete   Sophie      Wang             US   Sophie      Wang             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121405   December   12/27/2014   complete   Sophie      Wang             US   Sophie      Wang             US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121406   December   12/27/2014   complete   LIHUA       WENG             US   LIHUA       WENG             US   paypal_standard   USD   TP4-US          329    10   1    319
TVP-14121406   December   12/27/2014   complete   LIHUA       WENG             US   LIHUA       WENG             US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121407   December   12/27/2014   complete   Ping        Willett          NZ   Ping        Willett          NZ   braintree         USD   TP4-US          329    10   1    319
TVP-14121408   December   12/27/2014   complete   Chhinh      Tran             CA   Chhinh      Tran             CA   braintree         CAD   TP4-US          329    10   1    319
TVP-14121408   December   12/27/2014   complete   Chhinh      Tran             CA   Chhinh      Tran             CA   braintree         CAD   HGIFT1             0    0   1       0
TVP-14121409   December   12/28/2014   complete   Jennifer    Xie              US   Jennifer    Xie              US   braintree         USD   TP4-US          329    20   1    309
TVP-14121409   December   12/28/2014   complete   Jennifer    Xie              US   Jennifer    Xie              US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121410   December   12/28/2014   complete   Stella      Chen             US   Stella      Chen             US   braintree         USD   TP4-US          329    10   1    319
TVP-14121410   December   12/28/2014   complete   Stella      Chen             US   Stella      Chen             US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121411   December   12/28/2014   complete   Feng        Chen             US   Feng        Chen             US   paypal_standard   USD   TVPAD-004       259    20   1    239
TVP-14121411   December   12/28/2014   complete   Feng        Chen             US   Feng        Chen             US   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121411   December   12/28/2014   complete   Feng        Chen             US   Feng        Chen             US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121412   December   12/28/2014   complete   Roland      Voon             AU   Roland      Voon             AU   paypal_standard   USD   TP4-US          320    10   2    630
TVP-14121412   December   12/28/2014   complete   Roland      Voon             AU   Roland      Voon             AU   paypal_standard   USD   HGIFT1             0    0   2       0
TVP-14121413   December   12/28/2014   complete   Michael     Chan             US   Michael     Chan             US   braintree         USD   TP4-US          329    10   1    319
TVP-14121413   December   12/28/2014   complete   Michael     Chan             US   Michael     Chan             US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121414   December   12/28/2014   complete   Fonghsien   Chang            US   Fonghsien   Chang            US   braintree         USD   TP4-US          329    10   1    319
TVP-14121414   December   12/28/2014   complete   Fonghsien   Chang            US   Fonghsien   Chang            US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121415   December   12/28/2014   complete   CHUNG       NG               GB   CHUNG       NG               GB   paypal_standard   USD   TP4-US          329    10   1    319
TVP-14121416   December   12/28/2014   complete   STEPHEN     TANG             CA   STEPHEN     TANG             CA   braintree         USD   TP4-US          329    20   1    309
TVP-14121417   December   12/28/2014   complete   Johnny      Lai              CA   Johnny      Lai              CA   paypal_standard   CAD   TP4-US          329    20   1    309
TVP-14121417   December   12/28/2014   complete   Johnny      Lai              CA   Johnny      Lai              CA   paypal_standard   CAD   HGIFT1             0    0   1       0
TVP-14121418   December   12/28/2014   complete   Jack        Wu               US   Jack        Wu               US   paypal_standard   USD   TP4-US          329    10   1    319
TVP-14121418   December   12/28/2014   complete   Jack        Wu               US   Jack        Wu               US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121419   December   12/28/2014   complete   Edison      Paw              US   Edison      Paw              US   braintree         USD   TP4-US          329    20   1    309
TVP-14121419   December   12/28/2014   complete   Edison      Paw              US   Edison      Paw              US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121422   December   12/28/2014   complete   YeeKin      LEE              MY   YeeKin      LEE              MY   paypal_standard   USD   TVPAD-AC-001   29.99    0   1   29.99
TVP-14121423   December   12/28/2014   complete   yt          jiang            GB   yt          jiang            GB   paypal_standard   GBP   TP4-US          329    10   1    319
TVP-14121424   December     1/7/2015   complete   Mr          Chan             GB   Mrs         Chan             GB   braintree         GBP   TP4-US          329    20   1    309
TVP-14121424   December     1/7/2015   complete   Mr          Chan             GB   Mrs         Chan             GB   braintree         GBP   HGIFT1             0    0   1       0
TVP-14121426   December   12/29/2014   complete   JING        TANG             AU   JING        TANG             AU   braintree         USD   TP4-US          329    20   1    309
TVP-14121426   December   12/29/2014   complete   JING        TANG             AU   JING        TANG             AU   braintree         USD   HGIFT1             0    0   1       0
TVP-14121427   December   12/29/2014   complete   Dekun       Yuan             US   Dekun       Yuan             US   braintree         USD   TP4-US          329    10   1    319
TVP-14121427   December   12/29/2014   complete   Dekun       Yuan             US   Dekun       Yuan             US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121428   December   12/29/2014   complete   Denny       Wong             GB   Denny       Wong             GB   paypal_standard   GBP   TP4-US          329    10   1    319
TVP-14121428   December   12/29/2014   complete   Denny       Wong             GB   Denny       Wong             GB   paypal_standard   GBP   HGIFT1             0    0   1       0
TVP-14121429   December   12/29/2014   complete   Bo          liu              GB   Bo          liu              GB   braintree         USD   TP4-US           329   20   1    309
TVP-14121429   December   12/29/2014   complete   Bo          liu              GB   Bo          liu              GB   braintree         USD   HGIFT1             0    0   1       0
TVP-14121430   December   12/29/2014   complete   Kenny       Lau              US   Kenny       Lau              US   paypal_standard   USD   TP4-US          329    20   1    309
TVP-14121430   December   12/29/2014   complete   Kenny       Lau              US   Kenny       Lau              US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121431   December   12/29/2014   complete   richard     choi             US   richard     choi             US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121431   December   12/29/2014   complete   richard     choi             US   richard     choi             US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121431   December   12/29/2014   complete   richard     choi             US   richard     choi             US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121432   December   12/29/2014   complete   Anthony     Lui              US   Anthony     Lui              US   braintree         USD   TP4-US           329   10   1    319
TVP-14121432   December   12/29/2014   complete   Anthony     Lui              US   Anthony     Lui              US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121433   December   12/29/2014   complete   sung        kim              US   sung        kim              US   braintree         USD   TVPAD-004        259   10   1     249
TVP-14121433   December   12/29/2014   complete   sung        kim              US   sung        kim              US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121433   December   12/29/2014   complete   sung        kim              US   sung        kim              US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121434   December   12/29/2014   complete   Irene       Huynh            CA   Irene       Huynh            CA   braintree         CAD   TVPAD-AC-001   29.99    0   1   29.99
TVP-14121435   December   12/29/2014   complete   John        Uy               US   Cristina    Simon            US   braintree         USD   TP4-US           329   10   1     319
TVP-14121435   December   12/29/2014   complete   John        Uy               US   Cristina    Simon            US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121436   December   12/29/2014   complete   Huaming     Li               CA   Huaming     Li               CA   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14121436   December   12/29/2014   complete   Huaming     Li               CA   Huaming     Li               CA   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121436   December   12/29/2014   complete   Huaming     Li               CA   Huaming     Li               CA   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121437   December   12/29/2014   complete   Wing        Tong             GB   Wing        Tong             GB   paypal_standard   GBP   TP4-US          329    10   1    319
TVP-14121437   December   12/29/2014   complete   Wing        Tong             GB   Wing        Tong             GB   paypal_standard   GBP   HGIFT1             0    0   1       0
TVP-14121438   December   12/29/2014   complete   Duong       Mim              CA   Duong       Mim              CA   braintree         CAD   TP4-US          329    10   1    319
TVP-14121439   December   12/29/2014   complete   Cynan       Blackmore        AU   Cynan       Blackmore        AU   paypal_standard   USD   TVPAD-004       259    10   1    249
TVP-14121439   December   12/29/2014   complete   Cynan       Blackmore        AU   Cynan       Blackmore        AU   paypal_standard   USD   HGIFT2             0    0   1       0
TVP-14121439   December   12/29/2014   complete   Cynan       Blackmore        AU   Cynan       Blackmore        AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121441   December   12/29/2014   complete   liang       shen             AU   liang       shen             AU   paypal_standard   USD   TP4-US          329    10   1    319
TVP-14121441   December   12/29/2014   complete   liang       shen             AU   liang       shen             AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121442   December   12/29/2014   complete   WARREN      WAN              GB   WARREN      WAN              GB   paypal_standard   GBP   TP4-US          329    20   1    309
TVP-14121442   December   12/29/2014   complete   WARREN      WAN              GB   WARREN      WAN              GB   paypal_standard   GBP   HGIFT1             0    0   1       0
TVP-14121443   December   12/29/2014   complete   Yang        Li               US   Yang        Li               US   paypal_standard   USD   TP4-US          329    10   1    319
TVP-14121443   December   12/29/2014   complete   Yang        Li               US   Yang        Li               US   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121445   December   12/30/2014   complete   Tak         Leung            US   Tak         Leung            US   braintree         USD   TP4-US          329    10   1    319
TVP-14121445   December   12/30/2014   complete   Tak         Leung            US   Tak         Leung            US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121446   December   12/30/2014   complete   Paul        Ngu              US   Paul        Ngu              US   braintree         USD   TP4-US          329    10   1    319
TVP-14121446   December   12/30/2014   complete   Paul        Ngu              US   Paul        Ngu              US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121447   December   12/30/2014   complete   Rebecca     Ahn              US   Rebecca     Ahn              US   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121447   December   12/30/2014   complete   Rebecca     Ahn              US   Rebecca     Ahn              US   braintree         USD   HGIFT2             0    0   1       0
TVP-14121447   December   12/30/2014   complete   Rebecca     Ahn              US   Rebecca     Ahn              US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121448   December   12/30/2014   complete   Charles     Li               US   Charles     Li               US   braintree         USD   TP4-US           320   20   2    620
TVP-14121449   December   12/30/2014   complete   ken         wong             NZ   ken         wong             NZ   braintree         USD   TVPAD-004       259    10   1    249
TVP-14121449   December   12/30/2014   complete   ken         wong             NZ   ken         wong             NZ   braintree         USD   HGIFT2             0    0   1       0
TVP-14121449   December   12/30/2014   complete   ken         wong             NZ   ken         wong             NZ   braintree         USD   HGIFT1             0    0   1       0
TVP-14121450   December   12/30/2014   complete   Lee         Soo              AU   Lee         Soo              AU   braintree         USD   TP4-US          329    10   1    319
TVP-14121450   December   12/30/2014   complete   Lee         Soo              AU   Lee         Soo              AU   braintree         USD   HGIFT1             0    0   1       0
TVP-14121451   December   12/30/2014   complete   Da-Peng     Liao             AU   Da-Peng     Liao             AU   paypal_standard   USD   TP4-US          329    10   1    319
TVP-14121451   December   12/30/2014   complete   Da-Peng     Liao             AU   Da-Peng     Liao             AU   paypal_standard   USD   HGIFT1             0    0   1       0
TVP-14121452   December   12/30/2014   closed     Lihsin      Wu               US   Lihsin      Wu               US   braintree         USD   TP4-US          329    20   1    309
TVP-14121452   December   12/30/2014   closed     Lihsin      Wu               US   Lihsin      Wu               US   braintree         USD   HGIFT1             0    0   1       0
TVP-14121453   December   12/30/2014   complete   Alan        Tse              CA   Alan        Tse              CA   paypal_standard   CAD   TP4-US          329    20   1    309
TVP-14121453   December   12/30/2014   complete   Alan        Tse              CA   Alan        Tse              CA   paypal_standard   CAD   HGIFT1             0    0   1       0
TVP-14121454   December   12/30/2014   complete   Derek       Chen             AU   Derek       Chen             AU   paypal_standard   USD   TP4-US           320   10   2    630
TVP-14121454   December   12/30/2014   complete   Derek       Chen             AU   Derek       Chen             AU   paypal_standard   USD   HGIFT1             0    0   2       0
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TVP-14121455   December   12/30/2014   complete   eric        lin           US   eric       lin           US   braintree         USD   TP4-US          329       20   1     309
TVP-14121455   December   12/30/2014   complete   eric        lin           US   eric       lin           US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121456   December   12/30/2014   complete   HAKMIN      KIM           CA   HAKMIN     KIM           CA   braintree         USD   TVPAD-004       259       10   1     249
TVP-14121456   December   12/30/2014   complete   HAKMIN      KIM           CA   HAKMIN     KIM           CA   braintree         USD   HGIFT2             0       0   1        0
TVP-14121456   December   12/30/2014   complete   HAKMIN      KIM           CA   HAKMIN     KIM           CA   braintree         USD   HGIFT1             0       0   1        0
TVP-14121457   December   12/30/2014   complete   Hongwei     Liu           AU   Hongwei    Liu           AU   braintree         AUD   TP4-US          329       10   1     319
TVP-14121457   December   12/30/2014   complete   Hongwei     Liu           AU   Hongwei    Liu           AU   braintree         AUD   HGIFT1             0       0   1        0
TVP-14121459   December   12/30/2014   complete   Yit         Chang         MY   Yit        Chang         MY   braintree         USD   TP4-US          329       10   1     319
TVP-14121459   December   12/30/2014   complete   Yit         Chang         MY   Yit        Chang         MY   braintree         USD   HGIFT1             0       0   1        0
TVP-14121460   December   12/30/2014   complete   huang       dalou         US   huang      dalou         US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14121460   December   12/30/2014   complete   huang       dalou         US   huang      dalou         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121460   December   12/30/2014   complete   huang       dalou         US   huang      dalou         US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121461   December   12/30/2014   complete   Ai          Russell       US   Ai         Russell       US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14121461   December   12/30/2014   complete   Ai          Russell       US   Ai         Russell       US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121461   December   12/30/2014   complete   Ai          Russell       US   Ai         Russell       US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121462   December   12/30/2014   complete   Beatrice    Chung         US   Beatrice   Chung         MY   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121462   December   12/30/2014   complete   Beatrice    Chung         US   Beatrice   Chung         MY   braintree         USD   HGIFT2             0       0   1        0
TVP-14121462   December   12/30/2014   complete   Beatrice    Chung         US   Beatrice   Chung         MY   braintree         USD   HGIFT1             0       0   1        0
TVP-14121463   December   12/31/2014   closed     Kitling     Iqbal         US   Umer       Iqbal         US   braintree         USD   TVPAD-004       259       20   1     239
TVP-14121463   December   12/31/2014   closed     Kitling     Iqbal         US   Umer       Iqbal         US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121463   December   12/31/2014   complete   Kitling     Iqbal         US   Umer       Iqbal         US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121464   December   12/31/2014   complete   Stanley     Liu           US   Vincent    Liu           CA   braintree         USD   TVPAD-AC-001   29.99       0   1    29.99
TVP-14121465   December   12/30/2014   complete   Jason       Tsai          US   Jason      Tsai          US   paypal_standard   USD   TP4-US          329       10   1     319
TVP-14121465   December   12/30/2014   complete   Jason       Tsai          US   Jason      Tsai          US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14121466   December   12/30/2014   closed     Amy         Tim           AU   Amy        Tim           AU   braintree         USD   TP4-US          329       10   1     319
TVP-14121466   December   12/30/2014   closed     Amy         Tim           AU   Amy        Tim           AU   braintree         USD   HGIFT1             0       0   1        0
TVP-14121467   December   12/30/2014   complete   Tak Shing   Yuen          FR   Tak        Yuen          FR   braintree         USD   TVPAD-004       259       10   1     249
TVP-14121467   December   12/30/2014   complete   Tak Shing   Yuen          FR   Tak        Yuen          FR   braintree         USD   HGIFT2             0       0   1        0
TVP-14121467   December   12/30/2014   complete   Tak Shing   Yuen          FR   Tak        Yuen          FR   braintree         USD   HGIFT1             0       0   1        0
TVP-14121468   December   12/31/2014   complete   Vincent     Lee           US   Vincent    Lee           US   braintree         USD   TP4-US          329       10   1     319
TVP-14121468   December   12/31/2014   complete   Vincent     Lee           US   Vincent    Lee           US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121469   December   12/31/2014   complete   Ken         Luu           US   Ken        Luu           US   braintree         USD   TP4-US          329       20   1     309
TVP-14121469   December   12/31/2014   complete   Ken         Luu           US   Ken        Luu           US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121470   December   12/31/2014   complete   Ricky       Leung         US   Ricky      Leung         US   braintree         USD   TP4-US          329       20   1     309
TVP-14121471   December   12/31/2014   complete   Martin      lai           GB   Martin     lai           GB   braintree         GBP   TP4-US          329       20   1     309
TVP-14121471   December   12/31/2014   complete   Martin      lai           GB   Martin     lai           GB   braintree         GBP   HGIFT1             0       0   1        0
TVP-14121472   December   12/31/2014   complete   Adrian      Chan          AU   Adrian     Chan          AU   braintree         USD   TP4-US          329       10   1     319
TVP-14121472   December   12/31/2014   complete   Adrian      Chan          AU   Adrian     Chan          AU   braintree         USD   HGIFT1             0       0   1        0
TVP-14121473   December   12/31/2014   complete   Ai-Ling     Huang         US   Ai-Ling    Huang         US   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14121474   December   12/31/2014   complete   Michael     Lam           GB   Michael    Lam           GB   braintree         GBP   TVPAD-004       259       20   1     239
TVP-14121474   December   12/31/2014   complete   Michael     Lam           GB   Michael    Lam           GB   braintree         GBP   HGIFT2             0       0   1        0
TVP-14121474   December   12/31/2014   complete   Michael     Lam           GB   Michael    Lam           GB   braintree         GBP   HGIFT1             0       0   1        0
TVP-14121475   December   12/31/2014   complete   Sally       Wong          NZ   Sally      Wong          NZ   braintree         USD   TP4-US          329       10   1     319
TVP-14121475   December   12/31/2014   complete   Sally       Wong          NZ   Sally      Wong          NZ   braintree         USD   HGIFT1             0       0   1        0
TVP-14121476   December   12/31/2014   complete   xia         You           US   xia        You           US   braintree         USD   TVPAD-AC-001   29.99       0   1    29.99
TVP-14121477   December   12/31/2014   complete   Vivien      Loi           US   Vivien     Loi           US   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14121477   December   12/31/2014   complete   Vivien      Loi           US   Vivien     Loi           US   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14121477   December   12/31/2014   complete   Vivien      Loi           US   Vivien     Loi           US   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14121478   December     1/1/2015   closed     paul        kim           US   paul       kim           US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14121478   December     1/1/2015   closed     paul        kim           US   paul       kim           US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121478   December     1/1/2015   closed     paul        kim           US   paul       kim           US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121479   December     1/1/2015   complete   Jim         Yip           AU   Jim        Yip           AU   paypal_standard   AUD   TP4-US          329       10   1     319
TVP-14121479   December     1/1/2015   complete   Jim         Yip           AU   Jim        Yip           AU   paypal_standard   AUD   HGIFT1             0       0   1        0
TVP-14121480   December     1/1/2015   complete   QING        SU            GB   QING       SU            GB   paypal_standard   USD   TP4-US          329       10   1     319
TVP-14121480   December     1/1/2015   complete   QING        SU            GB   QING       SU            GB   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14121481   December     1/1/2015   complete   ANDRE       HO-CHOU-YEE   GF   JESSICA    HO-CHOU-YEE   FR   braintree         USD   TP4-US          329       10   1     319
TVP-14121481   December     1/1/2015   complete   ANDRE       HO-CHOU-YEE   GF   JESSICA    HO-CHOU-YEE   FR   braintree         USD   HGIFT1             0       0   1        0
TVP-14121482   December     1/1/2015   complete   Lisu        Wang          US   Lisu       Wang          US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14121482   December     1/1/2015   complete   Lisu        Wang          US   Lisu       Wang          US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121482   December     1/1/2015   complete   Lisu        Wang          US   Lisu       Wang          US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121483   December     1/1/2015   complete   Edy         Ali           SG   Edy        Ali           SG   braintree         USD   TVPAD-004       259       10   1     249
TVP-14121483   December     1/1/2015   complete   Edy         Ali           SG   Edy        Ali           SG   braintree         USD   HGIFT2             0       0   1        0
TVP-14121483   December     1/1/2015   complete   Edy         Ali           SG   Edy        Ali           SG   braintree         USD   HGIFT1             0       0   1        0
TVP-14121484   December     1/1/2015   complete   Larbi       hassani       SE   Larbi      hassani       SE   braintree         USD   TVPAD-004       259       10   1     249
TVP-14121484   December     1/1/2015   complete   Larbi       hassani       SE   Larbi      hassani       SE   braintree         USD   HGIFT2             0       0   1        0
TVP-14121484   December     1/1/2015   complete   Larbi       hassani       SE   Larbi      hassani       SE   braintree         USD   HGIFT1             0       0   1        0
TVP-14121485   December     1/1/2015   complete   Nicole      Kao           US   Nicole     Kao           US   braintree         USD   TP4-US          329       20   1     309
TVP-14121485   December     1/1/2015   complete   Nicole      Kao           US   Nicole     Kao           US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121486   December     1/1/2015   complete   Ruhong      zhao          CA   Ruhong     zhao          CA   braintree         USD   TP4-US          329       10   1     319
TVP-14121486   December     1/1/2015   complete   Ruhong      zhao          CA   Ruhong     zhao          CA   braintree         USD   HGIFT1             0       0   1        0
TVP-14121487   December     1/1/2015   complete   Jenny       bai           AU   Jenny      bai           AU   braintree         USD   TP4-US          329       10   1     319
TVP-14121487   December     1/1/2015   complete   Jenny       bai           AU   Jenny      bai           AU   braintree         USD   HGIFT1             0       0   1        0
TVP-14121488   December     1/1/2015   complete   Hac         Phan          DK   Hac        Phan          DK   braintree         USD   TVPAD-004       259       10   1     249
TVP-14121488   December     1/1/2015   complete   Hac         Phan          DK   Hac        Phan          DK   braintree         USD   HGIFT2             0       0   1        0
TVP-14121488   December     1/1/2015   complete   Hac         Phan          DK   Hac        Phan          DK   braintree         USD   HGIFT1             0       0   1        0
TVP-14121490   December     1/1/2015   complete   Brian       Chan          CA   Brian      Chan          CA   braintree         USD   TP4-US           329      20   1     309
TVP-14121490   December     1/1/2015   complete   Brian       Chan          CA   Brian      Chan          CA   braintree         USD   HGIFT1             0       0   1        0
TVP-14121491   December     1/1/2015   complete   Miseon      Cho           HK   Miseon     Cho           HK   paypal_standard   USD   TVPAD-004       259       20   1     239
TVP-14121491   December     1/1/2015   complete   Miseon      Cho           HK   Miseon     Cho           HK   paypal_standard   USD   HGIFT2             0       0   1        0
TVP-14121491   December     1/1/2015   complete   Miseon      Cho           HK   Miseon     Cho           HK   paypal_standard   USD   HGIFT1             0       0   1        0
TVP-14121492   December     1/1/2015   complete   Geoff       Mayor         AU   Geoff      Mayor         AU   braintree         USD   TP4-US          329       10   1     319
TVP-14121492   December     1/1/2015   complete   Geoff       Mayor         AU   Geoff      Mayor         AU   braintree         USD   HGIFT1             0       0   1        0
TVP-14121493   December     1/1/2015   complete   Yuxin       Bi            US   Yuxin      Bi            US   braintree         USD   TVPAD-004       259       10   1     249
TVP-14121493   December     1/1/2015   complete   Yuxin       Bi            US   Yuxin      Bi            US   braintree         USD   HGIFT2             0       0   1        0
TVP-14121493   December     1/1/2015   complete   Yuxin       Bi            US   Yuxin      Bi            US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121494   December     1/1/2015   complete   JEONG       SEOKJIN       LA   Jeong      bin           LA   braintree         USD   TVPAD-004       250    10.43   3   739.57
TVP-14121494   December     1/1/2015   complete   JEONG       SEOKJIN       LA   Jeong      bin           LA   braintree         USD   TP4-US          329     4.57   1   324.43
TVP-14121494   December     1/1/2015   complete   JEONG       SEOKJIN       LA   Jeong      bin           LA   braintree         USD   HGIFT1             0       0   3        0
TVP-14121494   December     1/1/2015   complete   JEONG       SEOKJIN       LA   Jeong      bin           LA   braintree         USD   HGIFT1             0       0   1        0
TVP-14121495   December     1/1/2015   complete   Mei         Winn          US   Mei        Winn          US   braintree         USD   TP4-US          329       10   1     319
TVP-14121495   December     1/1/2015   complete   Mei         Winn          US   Mei        Winn          US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121496   December     1/1/2015   complete   Yu          Kikuchi       AU   Yu         Kikuchi       AU   braintree         AUD   TVPAD-AC-001   29.99       0   1    29.99
TVP-14101267   October    10/22/2014   complete   Jess        Mah           MY   Jess       Mah           MY   braintree         USD   TP3-US           259      10   1     249
TVP-14101267   October    10/22/2014   complete   Jess        Mah           MY   Jess       Mah           MY   braintree         USD   HGIFT1             0       0   1        0
TVP-14101318   October    10/27/2014   complete   P           MAN           UK   P          MAN           UK   braintree         GBP   TP3-US           259      10   1     249
TVP-14101318   October    10/27/2014   complete   P           MAN           UK   P          MAN           UK   braintree         GBP   HGIFT1             0       0   1        0
TVP-14111057   November    11/4/2014   complete   Hui-Zhen    Huang         US   Hui-Zhen   Huang         US   braintree         USD   TP3-US          259       10   1     249
TVP-14111057   November    11/4/2014   complete   Hui-Zhen    Huang         US   Hui-Zhen   Huang         US   braintree         USD   HGIFT1             0       0   1        0
TVP-14111142   November    11/2/2014   complete   Roti        Mak           US   Roti       Mak           US   braintree         USD   TP3-US          259       10   1     249
TVP-14111142   November    11/2/2014   complete   Roti        Mak           US   Roti       Mak           US   braintree         USD   HGIFT1             0       0   1        0
TVP-14111381   November   11/28/2014   complete   Dana        Yi            US   Dana       Yi            US   braintree         USD   TP3-US          259       10   1     249
TVP-14111381   November   11/28/2014   complete   Dana        Yi            US   Dana       Yi            US   braintree         USD   HGIFT1             0       0   1        0
TVP-70011351   November   11/26/2014   complete   Karen       Zhou          US   Karen      Zhou          US   braintree         USD   TP3-US          259       10   1     249
TVP-70011351   November   11/26/2014   complete   Karen       Zhou          US   Karen      Zhou          US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121095   December    12/5/2014   complete   Walter      Kling         NZ   WHGJ       Kling         NZ   braintree         USD   TP3-US           259      10   1     249
TVP-14121095   December    12/5/2014   complete   Walter      Kling         NZ   WHGJ       Kling         NZ   braintree         USD   HGIFT1             0       0   1        0
TVP-14121157   December    12/9/2014   complete   Edwin       Abello        US   Edwin      Abello        US   braintree         USD   TP3-US          259       10   1     249
TVP-14121157   December    12/9/2014   complete   Edwin       Abello        US   Edwin      Abello        US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121280   December    12/7/2014   complete   Edson       Park          US   Edson      Park          US   braintree         USD   TP3-US          259       10   1     249
TVP-14121280   December    12/7/2014   complete   Edson       Park          US   Edson      Park          US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121281   December   12/17/2014   complete   Bao         Vong          US   Bao        Vong          US   braintree         USD   TP3-US          259       10   1     249
TVP-14121281   December   12/17/2014   complete   Bao         Vong          US   Bao        Vong          US   braintree         USD   HGIFT1             0       0   1        0
TVP-14121286   December   12/17/2014   complete   Samual      Lao           US   Samual     Lao           US   braintree         USD   TP4-US           329      20   1     309
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                                   #:20515
OrderNo        OrderCreateDate
                         OrderStatus   BillingFirstName
                                                     BillingLastName   BillingCountryCode
                                                                                        ShippingFirstName   ShippingLastName   ShippingCountryCode
                                                                                                                                                 PaymentMethod   OrderCurrencyCodeSku                ItemPrice           Discount Amount
                                                                                                                                                                                                                                   QtyOrdered       RowTotal      PurchasedWebsite
TVP-14121497   1/1/2015   complete     Ka           Tung               AU              Qian                 Ma                 AU              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-14121497   1/1/2015   complete     Ka           Tung               AU              Qian                 Ma                 AU              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-14121498   1/1/2015   complete     KW           Goh                AU              KW                   Goh                AU              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-14121498   1/1/2015   complete     KW           Goh                AU              KW                   Goh                AU              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011010   1/2/2015   complete     Wing         Chieng             DK              Wing                 Chieng             DK              paypal_standard   USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011010   1/2/2015   complete     Wing         Chieng             DK              Wing                 Chieng             DK              paypal_standard   USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011010   1/2/2015   complete     Wing         Chieng             DK              Wing                 Chieng             DK              paypal_standard   USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011011   1/2/2015   complete     Tim          Wang               US              Tim                  Wang               US              paypal_standard   USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011011   1/2/2015   complete     Tim          Wang               US              Tim                  Wang               US              paypal_standard   USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011012   1/2/2015   complete     Valentine    Yee                AU              Valentine            Yee                AU              braintree         AUD             TVPAD-AC-001                    29.99          0               1         29.99   TV Pad Website - TV Pad Store - English
TVP-15011013   1/2/2015   complete     Jin          Song               US              Jin                  Song               US              braintree         USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011013   1/2/2015   complete     Jin          Song               US              Jin                  Song               US              braintree         USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011013   1/2/2015   complete     Jin          Song               US              Jin                  Song               US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011014   1/2/2015   complete     Garry        Tam                AU              Garry                Tam                AU              paypal_standard   USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011014   1/2/2015   complete     Garry        Tam                AU              Garry                Tam                AU              paypal_standard   USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011016   1/5/2015   complete     Wendy        Chin               US              Wendy                Chin               US              braintree         USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011016   1/5/2015   complete     Wendy        Chin               US              Wendy                Chin               US              braintree         USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011016   1/5/2015   complete     Wendy        Chin               US              Wendy                Chin               US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011017   1/2/2015   complete     Sandy        Wong               AU              Sandy                Wong               AU              braintree         AUD             TVPAD-AC-001                    29.99          0               1         29.99   TV Pad Website - TV Pad Store - English
TVP-15011018   1/3/2015   complete     Harvey       Chiang             US              Harvey               Chiang             US              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011018   1/3/2015   complete     Harvey       Chiang             US              Harvey               Chiang             US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011019   1/6/2015   complete     Stanley      Quon               US              Stanley              Quon               US              braintree         USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011019   1/6/2015   complete     Stanley      Quon               US              Stanley              Quon               US              braintree         USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011019   1/6/2015   complete     Stanley      Quon               US              Stanley              Quon               US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011021   1/2/2015   complete     Xun          Feng               AU              Xun                  Feng               AU              braintree         AUD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011021   1/2/2015   complete     Xun          Feng               AU              Xun                  Feng               AU              braintree         AUD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011022   1/2/2015   complete     Anthony      Kwong              AU              Anthony              Kwong              AU              braintree         USD             TVPAD-004                        250          10               2          490    TV Pad Website - TV Pad Store - English
TVP-15011022   1/2/2015   complete     Anthony      Kwong              AU              Anthony              Kwong              AU              braintree         USD             HGIFT2                              0          0               2             0   TV Pad Website - TV Pad Store - English
TVP-15011022   1/2/2015   complete     Anthony      Kwong              AU              Anthony              Kwong              AU              braintree         USD             HGIFT1                              0          0               2             0   TV Pad Website - TV Pad Store - English
TVP-15011023   1/3/2015   complete     Peter        Lam                GB              Peter                Lam                GB              braintree         GBP             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011023   1/3/2015   complete     Peter        Lam                GB              Peter                Lam                GB              braintree         GBP             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011024   1/3/2015   complete     Feiken-An,   Jingyu             NL              Feiken-An,           Jingyu             NL              paypal_standard   EUR             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011024   1/3/2015   complete     Feiken-An,   Jingyu             NL              Feiken-An,           Jingyu             NL              paypal_standard   EUR             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011025   1/3/2015   complete     Wai          YEUNG              BE              Wai                  YEUNG              BE              paypal_standard   EUR             TP4-US                           329          20               1          309    TV Pad Website - TV Pad Store - English
TVP-15011025   1/3/2015   complete     Wai          YEUNG              BE              Wai                  YEUNG              BE              paypal_standard   EUR             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011026   1/3/2015   complete     Chee         Ang                AU              Chee                 Ang                AU              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011026   1/3/2015   complete     Chee         Ang                AU              Chee                 Ang                AU              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011028   1/3/2015   complete     Sau          Lam                IE              Sau                  Lam                IE              paypal_standard   EUR             TVPAD-AC-001                    29.99          0               1         29.99   TV Pad Website - TV Pad Store - English
TVP-15011029   1/3/2015   complete     kian         tay                GB              kian                 tay                GB              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011029   1/3/2015   complete     kian         tay                GB              kian                 tay                GB              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011030   1/3/2015   complete     Dennis       Louie              US              Dennis               Louie              US              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011030   1/3/2015   complete     Dennis       Louie              US              Dennis               Louie              US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011031   1/3/2015   complete     Nicholas     Yuen               AU              Nicholas             Yuen               AU              paypal_standard   USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011031   1/3/2015   complete     Nicholas     Yuen               AU              Nicholas             Yuen               AU              paypal_standard   USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011032   1/3/2015   complete     Saemin       Ahn                SG              Saemin               Ahn                SG              braintree         USD             TVPAD-004                        259          20               1          239    TV Pad Website - TV Pad Store - English
TVP-15011032   1/3/2015   complete     Saemin       Ahn                SG              Saemin               Ahn                SG              braintree         USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011032   1/3/2015   complete     Saemin       Ahn                SG              Saemin               Ahn                SG              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011033   1/3/2015   complete     James        Gee                CA              James                Gee                CA              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011033   1/3/2015   complete     James        Gee                CA              James                Gee                CA              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011034   1/3/2015   complete     Harley       Chen               US              Harley               Chen               US              braintree         USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011034   1/3/2015   complete     Harley       Chen               US              Harley               Chen               US              braintree         USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011034   1/3/2015   complete     Harley       Chen               US              Harley               Chen               US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011035   1/4/2015   complete     Christoph    Duerr              CH              Christoph            Duerr              CH              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011035   1/4/2015   complete     Christoph    Duerr              CH              Christoph            Duerr              CH              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011036   1/4/2015   complete     Giuliano     Coraggio           GB              Giuliano             Coraggio           GB              braintree         GBP             TP4-US                           329          20               1          309    TV Pad Website - TV Pad Store - English
TVP-15011036   1/4/2015   complete     Giuliano     Coraggio           GB              Giuliano             Coraggio           GB              braintree         GBP             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-70011381   1/4/2015   complete     amanda       xu                 US              amanda               xu                 US              braintree         USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - Chinese
TVP-70011381   1/4/2015   complete     amanda       xu                 US              amanda               xu                 US              braintree         USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - Chinese
TVP-70011381   1/4/2015   complete     amanda       xu                 US              amanda               xu                 US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - Chinese
TVP-15011037   1/5/2015   complete     Michelle     CHEUNG             FR              Frederic             HO                 FR              braintree         USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011037   1/5/2015   complete     Michelle     CHEUNG             FR              Frederic             HO                 FR              braintree         USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011037   1/5/2015   complete     Michelle     CHEUNG             FR              Frederic             HO                 FR              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011038   1/4/2015   complete     guowei       su                 NZ              guowei               su                 NZ              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011038   1/4/2015   complete     guowei       su                 NZ              guowei               su                 NZ              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011039   1/4/2015   complete     Rex          Chu                US              Rex                  Chu                US              paypal_standard   USD             TP4-US                           329          20               1          309    TV Pad Website - TV Pad Store - English
TVP-15011039   1/4/2015   complete     Rex          Chu                US              Rex                  Chu                US              paypal_standard   USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011040   1/4/2015   complete     v            ng                 SG              v                    ng                 SG              braintree         USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011040   1/4/2015   complete     v            ng                 SG              v                    ng                 SG              braintree         USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011040   1/4/2015   complete     v            ng                 SG              v                    ng                 SG              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011041   1/4/2015   complete     Kevin        Chan               US              Kevin                Chan               US              paypal_standard   USD             TP4-US                           329          20               1          309    TV Pad Website - TV Pad Store - English
TVP-15011041   1/4/2015   complete     Kevin        Chan               US              Kevin                Chan               US              paypal_standard   USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011042   1/4/2015   complete     Andy         choi               US              Andy                 choi               US              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011042   1/4/2015   complete     Andy         choi               US              Andy                 choi               US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011043   1/4/2015   complete     Ran          Gu                 AU              Ran                  Gu                 AU              braintree         AUD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011044   1/4/2015   complete     Danny        Tan                CA              Danny                Tan                CA              paypal_standard   USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011044   1/4/2015   complete     Danny        Tan                CA              Danny                Tan                CA              paypal_standard   USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011045   1/5/2015   closed       Eunnie       Kim                US              Eunnie               Kim                US              braintree         USD             TP4-US                           329          20               1          309    TV Pad Website - TV Pad Store - English
TVP-15011045   1/5/2015   closed       Eunnie       Kim                US              Eunnie               Kim                US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011046   1/5/2015   complete     Ku           Cheng              US              Ku                   Cheng              US              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011046   1/5/2015   complete     Ku           Cheng              US              Ku                   Cheng              US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011047   1/5/2015   complete     Jackie       Cheng              US              Jackie               Cheng              US              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011047   1/5/2015   complete     Jackie       Cheng              US              Jackie               Cheng              US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011048   1/5/2015   complete     Ching        Wong               AU              Ching                Wong               AU              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011048   1/5/2015   complete     Ching        Wong               AU              Ching                Wong               AU              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011050   1/5/2015   complete     Sun          Lim                AU              Sun                  Lim                AU              paypal_standard   USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011050   1/5/2015   complete     Sun          Lim                AU              Sun                  Lim                AU              paypal_standard   USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011051   1/5/2015   complete     Carman       Lui                CA              Carman               Lui                CA              paypal_standard   CAD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011051   1/5/2015   complete     Carman       Lui                CA              Carman               Lui                CA              paypal_standard   CAD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011051   1/5/2015   complete     Carman       Lui                CA              Carman               Lui                CA              paypal_standard   CAD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011052   1/5/2015   complete     Tim          chen               AU              Tim                  chen               AU              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011052   1/5/2015   complete     Tim          chen               AU              Tim                  chen               AU              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011053   1/5/2015   complete     Johnny       Chen               US              Johnny               Chen               US              braintree         USD             TP4-US                           329          20               1          309    TV Pad Website - TV Pad Store - English
TVP-15011053   1/5/2015   complete     Johnny       Chen               US              Johnny               Chen               US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011055   1/5/2015   complete     Bing         Xie                NL              Bing                 Xie                NL              paypal_standard   EUR             TP4-US                           329          20               1          309    TV Pad Website - TV Pad Store - English
TVP-15011055   1/5/2015   complete     Bing         Xie                NL              Bing                 Xie                NL              paypal_standard   EUR             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011056   1/5/2015   complete     David        Tsang              AU              David                Tsang              AU              braintree         AUD             TVPAD-004                        259          20               1          239    TV Pad Website - TV Pad Store - English
TVP-15011056   1/5/2015   complete     David        Tsang              AU              David                Tsang              AU              braintree         AUD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011056   1/5/2015   complete     David        Tsang              AU              David                Tsang              AU              braintree         AUD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011057   1/5/2015   complete     Chong        chan               US              Chong                chan               US              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011057   1/5/2015   complete     Chong        chan               US              Chong                chan               US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011058   1/5/2015   complete     louise       cao                US              louise               cao                US              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011058   1/5/2015   complete     louise       cao                US              louise               cao                US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011059   1/5/2015   complete     Calvin       Kuang              US              Calvin               Kuang              US              paypal_standard   USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011059   1/5/2015   complete     Calvin       Kuang              US              Calvin               Kuang              US              paypal_standard   USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011060   1/5/2015   complete     Michael      Poon               US              Ricky                Poon               US              paypal_standard   USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011060   1/5/2015   complete     Michael      Poon               US              Ricky                Poon               US              paypal_standard   USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011060   1/5/2015   complete     Michael      Poon               US              Ricky                Poon               US              paypal_standard   USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011061   1/5/2015   complete     Choy         Hew                NZ              Choy                 Hew                NZ              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011061   1/5/2015   complete     Choy         Hew                NZ              Choy                 Hew                NZ              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011062   1/5/2015   complete     CHARLES      CHIEN              US              CHARLES              CHIEN              US              braintree         USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011062   1/5/2015   complete     CHARLES      CHIEN              US              CHARLES              CHIEN              US              braintree         USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011062   1/5/2015   complete     CHARLES      CHIEN              US              CHARLES              CHIEN              US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011063   1/5/2015   complete     Hung Wing    Lee                GB              Hung                 Lee                GB              braintree         GBP             TP4-US                           329          20               1          309    TV Pad Website - TV Pad Store - English
TVP-15011063   1/5/2015   complete     Hung Wing    Lee                GB              Hung                 Lee                GB              braintree         GBP             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011064   1/5/2015   complete     Milena       Wu                 US              Milena               Wu                 US              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011064   1/5/2015   complete     Milena       Wu                 US              Milena               Wu                 US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011065   1/5/2015   complete     Katy         Ng                 GB              Mr                   Ng                 GB              paypal_standard   GBP             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011065   1/5/2015   complete     Katy         Ng                 GB              Mr                   Ng                 GB              paypal_standard   GBP             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011066   1/5/2015   complete     Tony         zeng               US              Tony                 zeng               US              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011066   1/5/2015   complete     Tony         zeng               US              Tony                 zeng               US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011067   1/5/2015   complete     Johnny       Cheng              AU              Johnny               Cheng              AU              braintree         USD             TP4-US                           329          20               1          309    TV Pad Website - TV Pad Store - English
TVP-15011067   1/5/2015   complete     Johnny       Cheng              AU              Johnny               Cheng              AU              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011069   1/5/2015   complete     Annie        Ching              AU              Annie                Ching              AU              braintree         USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011069   1/5/2015   complete     Annie        Ching              AU              Annie                Ching              AU              braintree         USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011069   1/5/2015   complete     Annie        Ching              AU              Annie                Ching              AU              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011071   1/5/2015   complete     Philip       Hong               US              Philip               Hong               US              braintree         USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011071   1/5/2015   complete     Philip       Hong               US              Philip               Hong               US              braintree         USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011071   1/5/2015   complete     Philip       Hong               US              Philip               Hong               US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011072   1/5/2015   closed       GABRIELA     ANTONIO            MX              GABRIELA             ANTONIO            MX              paypal_standard   USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011072   1/5/2015   closed       GABRIELA     ANTONIO            MX              GABRIELA             ANTONIO            MX              paypal_standard   USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011073   1/5/2015   complete     Carol        Lee                CA              Carol                Lee                CA              braintree         USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011073   1/5/2015   complete     Carol        Lee                CA              Carol                Lee                CA              braintree         USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011073   1/5/2015   complete     Carol        Lee                CA              Carol                Lee                CA              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011074   1/5/2015   complete     David        Ho                 US              David                Ho                 US              braintree         USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011074   1/5/2015   complete     David        Ho                 US              David                Ho                 US              braintree         USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011074   1/5/2015   complete     David        Ho                 US              David                Ho                 US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011075   1/5/2015   complete     Xiaojing     Zhu                AU              Xiaojing             Zhu                AU              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011076   1/5/2015   complete     Jerome       Yoong              AU              Jerome               Yoong              AU              braintree         USD             TP4-US                           329          20               1          309    TV Pad Website - TV Pad Store - English
TVP-15011077   1/5/2015   complete     Chuanjie     Chen               AU              Chuanjie             Chen               AU              paypal_standard   USD             TVPAD-AC-003-TVPAD-AC-003-AU    29.99          0               1         29.99   TV Pad Website - TV Pad Store - English
TVP-15011078   1/5/2015   complete     Jin          Park               AU              Jin                  Park               AU              braintree         AUD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011078   1/5/2015   complete     Jin          Park               AU              Jin                  Park               AU              braintree         AUD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011078   1/5/2015   complete     Jin          Park               AU              Jin                  Park               AU              braintree         AUD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011079   1/5/2015   complete     Wakako       Shimizu            AU              Wakako               Shimizu            AU              paypal_standard   USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011079   1/5/2015   complete     Wakako       Shimizu            AU              Wakako               Shimizu            AU              paypal_standard   USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011079   1/5/2015   complete     Wakako       Shimizu            AU              Wakako               Shimizu            AU              paypal_standard   USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011080   1/6/2015   complete     ALBERT       YU                 GB              ALBERT               YU                 GB              braintree         USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011080   1/6/2015   complete     ALBERT       YU                 GB              ALBERT               YU                 GB              braintree         USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011080   1/6/2015   complete     ALBERT       YU                 GB              ALBERT               YU                 GB              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011081   1/6/2015   complete     Bobby        chen               AU              Bobby                chen               AU              braintree         USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011081   1/6/2015   complete     Bobby        chen               AU              Bobby                chen               AU              braintree         USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011081   1/6/2015   complete     Bobby        chen               AU              Bobby                chen               AU              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011082   1/6/2015   complete     HUOHUI       LIN                US              HUOHUI               LIN                US              braintree         USD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011082   1/6/2015   complete     HUOHUI       LIN                US              HUOHUI               LIN                US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011083   1/6/2015   complete     Simon        Kam                AU              Simon                Kam                AU              paypal_standard   AUD             TP4-US                           329          10               1          319    TV Pad Website - TV Pad Store - English
TVP-15011083   1/6/2015   complete     Simon        Kam                AU              Simon                Kam                AU              paypal_standard   AUD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011084   1/6/2015   complete     Minh         Dang               DE              Minh                 Dang               DE              paypal_standard   USD             TP4-US                           329          20               1          309    TV Pad Website - TV Pad Store - English
TVP-15011085   1/6/2015   complete     edwin        shaw               US              edwin                shaw               US              braintree         USD             TVPAD-004                        259          10               1          249    TV Pad Website - TV Pad Store - English
TVP-15011085   1/6/2015   complete     edwin        shaw               US              edwin                shaw               US              braintree         USD             HGIFT2                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011085   1/6/2015   complete     edwin        shaw               US              edwin                shaw               US              braintree         USD             HGIFT1                              0          0               1             0   TV Pad Website - TV Pad Store - English
TVP-15011086   1/6/2015   complete     ha           jung               US              ha                   jung               US              braintree         USD             TVPAD-004                        250        8.93               2        491.07   TV Pad Website - TV Pad Store - English
TVP-15011086   1/6/2015   complete     ha           jung               US              ha                   jung               US              braintree         USD             TVPAD-AC-001                    29.99       1.07               2         58.91   TV Pad Website - TV Pad Store - English
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TVP-15011086    1/6/2015   complete   ha          jung            US   ha          jung            US   braintree         USD   HGIFT2               0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-15011086    1/6/2015   complete   ha          jung            US   ha          jung            US   braintree         USD   HGIFT1               0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-15011088    1/6/2015   complete   Hi          Lee             US   Hi          Lee             US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011088    1/6/2015   complete   Hi          Lee             US   Hi          Lee             US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011088    1/6/2015   complete   Hi          Lee             US   Hi          Lee             US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011089    1/6/2015   complete   Brian       Caldwell        US   Brian       Caldwell        US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011089    1/6/2015   complete   Brian       Caldwell        US   Brian       Caldwell        US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011089    1/6/2015   complete   Brian       Caldwell        US   Brian       Caldwell        US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011090    1/6/2015   complete   Bobby       chen            AU   Bobby       chen            AU   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011090    1/6/2015   complete   Bobby       chen            AU   Bobby       chen            AU   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011090    1/6/2015   complete   Bobby       chen            AU   Bobby       chen            AU   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011091    1/6/2015   complete   Erica       Man             US   Erica       Man             US   braintree         USD   TVPAD-004         259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-15011091    1/6/2015   complete   Erica       Man             US   Erica       Man             US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011091    1/6/2015   complete   Erica       Man             US   Erica       Man             US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011092   1/10/2015   complete   Teresa      mah             US   Teresa      mah             US   paypal_standard   USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011092   1/10/2015   complete   Teresa      mah             US   Teresa      mah             US   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011093   1/15/2015   complete   Miss        Tham            GB   Ah          Lee             GB   braintree         GBP   TP4-US            320    10   2    630    TV Pad Website - TV Pad Store - English
TVP-15011093   1/15/2015   complete   Miss        Tham            GB   Ah          Lee             GB   braintree         GBP   HGIFT1               0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-70011382    1/7/2015   canceled   guow        guam            AU   Jia         Li              AU   braintree         AUD   TP4-US            320    10   2    630    TV Pad Website - TV Pad Store - Chinese
TVP-70011382    1/7/2015   canceled   guow        guam            AU   Jia         Li              AU   braintree         AUD   HGIFT1               0    0   2       0   TV Pad Website - TV Pad Store - Chinese
TVP-15011094    1/8/2015   complete   cho         lee             GB   cho         lee             GB   paypal_standard   GBP   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011094    1/8/2015   complete   cho         lee             GB   cho         lee             GB   paypal_standard   GBP   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011094    1/8/2015   complete   cho         lee             GB   cho         lee             GB   paypal_standard   GBP   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011095    1/7/2015   complete   Wai-kit     Cheung          GB   Wai-kit     Cheung          GB   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011095    1/7/2015   complete   Wai-kit     Cheung          GB   Wai-kit     Cheung          GB   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011096    1/7/2015   complete   Anna        Lee             US   Anna        Lee             US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011096    1/7/2015   complete   Anna        Lee             US   Anna        Lee             US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011096    1/7/2015   complete   Anna        Lee             US   Anna        Lee             US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011097    1/7/2015   complete   winn        hua             US   winn        hua             US   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011097    1/7/2015   complete   winn        hua             US   winn        hua             US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011099    1/7/2015   complete   Shan        gao             US   Shan        gao             US   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011099    1/7/2015   complete   Shan        gao             US   Shan        gao             US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011100    1/7/2015   complete   Stan        Sze             AU   Stan        Sze             AU   paypal_standard   AUD   TVPAD-AC-001     29.99    0   1   29.99   TV Pad Website - TV Pad Store - English
TVP-15011101    1/8/2015   complete   Trinh       Nham            US   Trinh       Nham            US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011101    1/8/2015   complete   Trinh       Nham            US   Trinh       Nham            US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011101    1/8/2015   complete   Trinh       Nham            US   Trinh       Nham            US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011103    1/8/2015   closed     KevinBao    Danh            US   KevinBao    Danh            US   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011103    1/8/2015   closed     KevinBao    Danh            US   KevinBao    Danh            US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011104    1/8/2015   complete   Don         Chen            US   Don         Chen            US   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011104    1/8/2015   complete   Don         Chen            US   Don         Chen            US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011107    1/8/2015   complete   Alec        Li              US   Alec        Li              US   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011107    1/8/2015   complete   Alec        Li              US   Alec        Li              US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011108    1/8/2015   complete   Paul        cheung          US   Paul        cheung          US   paypal_standard   USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011108    1/8/2015   complete   Paul        cheung          US   Paul        cheung          US   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011110    1/8/2015   complete   Ron         Reed            US   Ron         Reed            US   paypal_standard   USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011110    1/8/2015   complete   Ron         Reed            US   Ron         Reed            US   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011111    1/8/2015   complete   Tsutomu     Wada            SG   Tsutomu     Wada            SG   braintree         USD   TVPAD-004         259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-15011111    1/8/2015   complete   Tsutomu     Wada            SG   Tsutomu     Wada            SG   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011111    1/8/2015   complete   Tsutomu     Wada            SG   Tsutomu     Wada            SG   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011112    1/8/2015   complete   Unyong      Oh              US   Unyong      Oh              US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011112    1/8/2015   complete   Unyong      Oh              US   Unyong      Oh              US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011112    1/8/2015   complete   Unyong      Oh              US   Unyong      Oh              US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011113    1/8/2015   complete   Maggie      Hung-Ha         US   Maggie      Hung-Ha         US   braintree         USD   TP4-US            329    20   1    309    TV Pad Website - TV Pad Store - English
TVP-15011113    1/8/2015   complete   Maggie      Hung-Ha         US   Maggie      Hung-Ha         US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011114    1/8/2015   complete   Kaori       Iino            NZ   Kaori       Iino            NZ   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011114    1/8/2015   complete   Kaori       Iino            NZ   Kaori       Iino            NZ   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011114    1/8/2015   complete   Kaori       Iino            NZ   Kaori       Iino            NZ   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011115    1/8/2015   complete   Hyungjip    Moon            CA   Hyungjip    Moon            CA   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011115    1/8/2015   complete   Hyungjip    Moon            CA   Hyungjip    Moon            CA   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011116    1/9/2015   closed     Sang        Lee             US   Sang        Lee             US   braintree         USD   TP4-US            329    20   1    309    TV Pad Website - TV Pad Store - English
TVP-15011116    1/9/2015   closed     Sang        Lee             US   Sang        Lee             US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011117    1/9/2015   complete   chi         lee             US   chi         lee             US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011117    1/9/2015   complete   chi         lee             US   chi         lee             US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011117    1/9/2015   complete   chi         lee             US   chi         lee             US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011118    1/9/2015   complete   Xiaoping    Shen            US   Xiaoping    Shen            US   paypal_standard   USD   TP4-US            329    20   1    309    TV Pad Website - TV Pad Store - English
TVP-15011118    1/9/2015   complete   Xiaoping    Shen            US   Xiaoping    Shen            US   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011119    1/9/2015   complete   paul        kim             US   paul        kim             US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011119    1/9/2015   complete   paul        kim             US   paul        kim             US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011119    1/9/2015   complete   paul        kim             US   paul        kim             US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011120    1/9/2015   complete   Grant       Horeczy         US   Grant       Horeczy         US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011120    1/9/2015   complete   Grant       Horeczy         US   Grant       Horeczy         US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011120    1/9/2015   complete   Grant       Horeczy         US   Grant       Horeczy         US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011121    1/9/2015   complete   Wai         Yu              US   Wai         Yu              US   paypal_standard   USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011121    1/9/2015   complete   Wai         Yu              US   Wai         Yu              US   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011122    1/9/2015   complete   yuen        Ho              NZ   yuen        Ho              NZ   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011122    1/9/2015   complete   yuen        Ho              NZ   yuen        Ho              NZ   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011123    1/9/2015   complete   Ting        Lei             AU   Ting        Lei             AU   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011123    1/9/2015   complete   Ting        Lei             AU   Ting        Lei             AU   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011123    1/9/2015   complete   Ting        Lei             AU   Ting        Lei             AU   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011124    1/9/2015   complete   Chuanlarp   Satchavarodom   US   Chuanlarp   Satchavarodom   US   paypal_standard   USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011124    1/9/2015   complete   Chuanlarp   Satchavarodom   US   Chuanlarp   Satchavarodom   US   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011383    1/9/2015   complete   Zhuoji      Chen            AU   Zhuoji      Chen            AU   braintree         USD   TVPAD-AC-001     29.99    0   1   29.99   TV Pad Website - TV Pad Store - Chinese
TVP-15011126    1/9/2015   complete   Ryan        Sparks          US   Ryan        Sparks          US   paypal_standard   USD   TVPAD-004         259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-15011126    1/9/2015   complete   Ryan        Sparks          US   Ryan        Sparks          US   paypal_standard   USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011127    1/9/2015   complete   Cathy       Tan             CA   Cathy       Tan             CA   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011127    1/9/2015   complete   Cathy       Tan             CA   Cathy       Tan             CA   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011128   1/10/2015   complete   Brian       Lee             US   Brian       Lee             US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011128   1/10/2015   complete   Brian       Lee             US   Brian       Lee             US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011128   1/10/2015   complete   Brian       Lee             US   Brian       Lee             US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011129    1/9/2015   complete   Joo         Kim             AU   Joo         Kim             AU   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011129    1/9/2015   complete   Joo         Kim             AU   Joo         Kim             AU   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011129    1/9/2015   complete   Joo         Kim             AU   Joo         Kim             AU   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011130    1/9/2015   complete   Mun         To              GB   Mun         To              GB   braintree         GBP   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011130    1/9/2015   complete   Mun         To              GB   Mun         To              GB   braintree         GBP   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011130    1/9/2015   complete   Mun         To              GB   Mun         To              GB   braintree         GBP   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011131   1/10/2015   complete   Yoolim      LEE             US   HeeSook     Lee             US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011131   1/10/2015   complete   Yoolim      LEE             US   HeeSook     Lee             US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011131   1/10/2015   complete   Yoolim      LEE             US   HeeSook     Lee             US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011133   1/15/2015   complete   Young       Kim             BR   Serena      Pham            US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011133   1/15/2015   complete   Young       Kim             BR   Serena      Pham            US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011133   1/15/2015   complete   Young       Kim             BR   Serena      Pham            US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011135   1/11/2015   complete   william     chang           US   william     chang           US   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011135   1/11/2015   complete   william     chang           US   william     chang           US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011136   1/10/2015   complete   Danny       Ong             NZ   Danny       Ong             NZ   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011136   1/10/2015   complete   Danny       Ong             NZ   Danny       Ong             NZ   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011137   1/10/2015   complete   Christine   Chen            US   Christine   Chen            US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011137   1/10/2015   complete   Christine   Chen            US   Christine   Chen            US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011137   1/10/2015   complete   Christine   Chen            US   Christine   Chen            US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011138   1/10/2015   complete   Christian   Lendl           CA   Christian   Lendl           CA   braintree         USD   TVPAD-004         250    10   3    740    TV Pad Website - TV Pad Store - English
TVP-15011138   1/10/2015   complete   Christian   Lendl           CA   Christian   Lendl           CA   braintree         USD   HGIFT2               0    0   3       0   TV Pad Website - TV Pad Store - English
TVP-15011138   1/10/2015   complete   Christian   Lendl           CA   Christian   Lendl           CA   braintree         USD   HGIFT1               0    0   3       0   TV Pad Website - TV Pad Store - English
TVP-15011139   1/10/2015   complete   Sally       Wong            NZ   Cathy       Xu              NZ   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011139   1/10/2015   complete   Sally       Wong            NZ   Cathy       Xu              NZ   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011140   1/11/2015   complete   sungmin     cho             US   sungmin     cho             US   braintree         USD   TP4-US            329    20   1    309    TV Pad Website - TV Pad Store - English
TVP-15011141   1/11/2015   complete   Yuko        Norman          AU   Yuko        Norman          AU   braintree         AUD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011141   1/11/2015   complete   Yuko        Norman          AU   Yuko        Norman          AU   braintree         AUD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011141   1/11/2015   complete   Yuko        Norman          AU   Yuko        Norman          AU   braintree         AUD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011142   1/11/2015   complete   Cyril       Favre           GB   Cyril       Favre           GB   braintree         USD   TP4-US            320    10   2    630    TV Pad Website - TV Pad Store - English
TVP-15011142   1/11/2015   complete   Cyril       Favre           GB   Cyril       Favre           GB   braintree         USD   HGIFT1               0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-15011143   1/11/2015   complete   Larry       Lau             US   Larry       Lau             US   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011145   1/12/2015   complete   Chiu        Tong            US   Chiu        Tong            US   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011145   1/12/2015   complete   Chiu        Tong            US   Chiu        Tong            US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011146   1/12/2015   complete   ken         wong            NZ   ken         wong            NZ   braintree         USD   TVPAD-VIRT-001      80    0   1      80   TV Pad Website - TV Pad Store - English
TVP-15011147   1/13/2015   complete   kil         wallenburg      US   kil         wallenburg      US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011147   1/13/2015   complete   kil         wallenburg      US   kil         wallenburg      US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011147   1/13/2015   complete   kil         wallenburg      US   kil         wallenburg      US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011384   1/12/2015   complete   朴           美颖              CN   朴           美颖              CN   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - Chinese
TVP-70011384   1/12/2015   complete   朴           美颖              CN   朴           美颖              CN   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011384   1/12/2015   complete   朴           美颖              CN   朴           美颖              CN   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-15011148   1/12/2015   complete   Ben         Wong            NZ   Ben         Wong            NZ   braintree         USD   TVPAD-004         259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-15011148   1/12/2015   complete   Ben         Wong            NZ   Ben         Wong            NZ   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011148   1/12/2015   complete   Ben         Wong            NZ   Ben         Wong            NZ   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011149   1/12/2015   complete   Annie       Lee             US   Annie       Lee             US   braintree         USD   TP4-US            329    20   1    309    TV Pad Website - TV Pad Store - English
TVP-15011149   1/12/2015   complete   Annie       Lee             US   Annie       Lee             US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011150   1/12/2015   complete   Douglas     James           US   Douglas     James           US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011150   1/12/2015   complete   Douglas     James           US   Douglas     James           US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011150   1/12/2015   complete   Douglas     James           US   Douglas     James           US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011151   1/12/2015   complete   catherine   ngan            US   catherine   ngan            US   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011151   1/12/2015   complete   catherine   ngan            US   catherine   ngan            US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011152   1/12/2015   complete   Laura       Cheung          NZ   Laura       Cheung          NZ   braintree         AUD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011152   1/12/2015   complete   Laura       Cheung          NZ   Laura       Cheung          NZ   braintree         AUD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011153   1/12/2015   complete   Victor      Fung            US   Victor      Fung            US   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011153   1/12/2015   complete   Victor      Fung            US   Victor      Fung            US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011154   1/12/2015   complete   suyoung     park            CA   suyoung     park            CA   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011154   1/12/2015   complete   suyoung     park            CA   suyoung     park            CA   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011154   1/12/2015   complete   suyoung     park            CA   suyoung     park            CA   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011155   1/12/2015   complete   Tomly       yau             US   Tomly       yau             US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011155   1/12/2015   complete   Tomly       yau             US   Tomly       yau             US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011155   1/12/2015   complete   Tomly       yau             US   Tomly       yau             US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011156   1/12/2015   complete   Freeman     Man             AU   Freeman     Man             AU   paypal_standard   USD   TP4-US            320    10   2    630    TV Pad Website - TV Pad Store - English
TVP-15011156   1/12/2015   complete   Freeman     Man             AU   Freeman     Man             AU   paypal_standard   USD   HGIFT1               0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-15011157   1/12/2015   complete   Hiu         Lee             AU   Hiu         Lee             AU   paypal_standard   USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011157   1/12/2015   complete   Hiu         Lee             AU   Hiu         Lee             AU   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011158   1/12/2015   complete   Steven      Wong            US   Steven      Wong            US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011158   1/12/2015   complete   Steven      Wong            US   Steven      Wong            US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011158   1/12/2015   complete   Steven      Wong            US   Steven      Wong            US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011159   1/12/2015   complete   Law         fong            US   Law         fong            US   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011159   1/12/2015   complete   Law         fong            US   Law         fong            US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011388   1/12/2015   complete   Hok         Chan            IM   Hok         Chan            IM   braintree         GBP   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - Chinese
TVP-70011388   1/12/2015   complete   Hok         Chan            IM   Hok         Chan            IM   braintree         GBP   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-15011163   1/12/2015   complete   vinh        thich           US   vinh        thich           US   paypal_standard   USD   TP4-US            329    20   1    309    TV Pad Website - TV Pad Store - English
TVP-15011164   1/12/2015   complete   Terence     Kwan            US   Terence     Kwan            US   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
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                                   #:20517
TVP-15011164   1/12/2015   complete   Terence     Kwan       US   Terence     Kwan       US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011165   1/16/2015   complete   Eric        Law        US   Eric        Law        US   braintree         USD   TVPAD-AC-001                   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15011166   1/12/2015   complete   Lai         Leung      CA   Lai         Leung      CA   paypal_standard   USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011166   1/12/2015   complete   Lai         Leung      CA   Lai         Leung      CA   paypal_standard   USD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011166   1/12/2015   complete   Lai         Leung      CA   Lai         Leung      CA   paypal_standard   USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011167   1/12/2015   complete   SUNGEUI     KANG       PL   SUNGEUI     KANG       PL   braintree         USD   TVPAD-004                       250      10   2     490    TV Pad Website - TV Pad Store - English
TVP-15011167   1/12/2015   complete   SUNGEUI     KANG       PL   SUNGEUI     KANG       PL   braintree         USD   HGIFT2                             0      0   2        0   TV Pad Website - TV Pad Store - English
TVP-15011167   1/12/2015   complete   SUNGEUI     KANG       PL   SUNGEUI     KANG       PL   braintree         USD   HGIFT1                             0      0   2        0   TV Pad Website - TV Pad Store - English
TVP-15011168   1/12/2015   complete   Zhan        xu         AU   Zhan        xu         AU   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011168   1/12/2015   complete   Zhan        xu         AU   Zhan        xu         AU   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-70011389   1/12/2015   complete   Songhua     An         US   Songhua     An         US   braintree         USD   TP4-US                          329      20   1     309    TV Pad Website - TV Pad Store - Chinese
TVP-70011389   1/12/2015   complete   Songhua     An         US   Songhua     An         US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - Chinese
TVP-15011169   1/13/2015   complete   leung       kei        AU   leung       kei        AU   braintree         USD   TVPAD-AC-001                   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15011170   1/13/2015   complete   Crystal     NG         GB   Crystal     NG         GB   paypal_standard   USD   TP4-US                          329      20   1     309    TV Pad Website - TV Pad Store - English
TVP-15011170   1/13/2015   complete   Crystal     NG         GB   Crystal     NG         GB   paypal_standard   USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011172   1/13/2015   complete   Johnny      Chan       US   Johnny      Chan       US   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011173   1/13/2015   complete   Anthony     Chin       US   Anthony     Chin       US   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011173   1/13/2015   complete   Anthony     Chin       US   Anthony     Chin       US   braintree         USD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011173   1/13/2015   complete   Anthony     Chin       US   Anthony     Chin       US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011174   1/13/2015   complete   Si          Tang       US   Si          Tang       US   braintree         USD   TP4-US                          329      20   1     309    TV Pad Website - TV Pad Store - English
TVP-15011174   1/13/2015   complete   Si          Tang       US   Si          Tang       US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011175   1/13/2015   complete   Lyming      Huang      CA   Lyming      Huang      CA   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011175   1/13/2015   complete   Lyming      Huang      CA   Lyming      Huang      CA   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011177   1/13/2015   complete   Stephen     Cheng      US   Stephen     Cheng      US   paypal_standard   USD   TP4-US                          329      20   1     309    TV Pad Website - TV Pad Store - English
TVP-15011177   1/13/2015   complete   Stephen     Cheng      US   Stephen     Cheng      US   paypal_standard   USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-70011390   1/13/2015   closed     cat         li         GB   cat         li         GB   braintree         GBP   TVPAD-AC-003-TVPAD-AC-003-EU   29.99      0   1    29.99   TV Pad Website - TV Pad Store - Chinese
TVP-15011178   1/13/2015   complete   Camy        Lai        SG   Camy        Lai        SG   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011178   1/13/2015   complete   Camy        Lai        SG   Camy        Lai        SG   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-70011391   1/13/2015   complete   Zi          Tang       AU   Zi          Tang       AU   braintree         AUD   TVPAD-AC-001                   29.99      0   1    29.99   TV Pad Website - TV Pad Store - Chinese
TVP-15011179   1/13/2015   complete   Kenta       Takizawa   AU   Kenta       Takizawa   AU   paypal_standard   AUD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011179   1/13/2015   complete   Kenta       Takizawa   AU   Kenta       Takizawa   AU   paypal_standard   AUD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011179   1/13/2015   complete   Kenta       Takizawa   AU   Kenta       Takizawa   AU   paypal_standard   AUD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011182   1/13/2015   complete   Edwin       Ng         AU   Edwin       Ng         AU   paypal_standard   AUD   TVPAD-AC-001                   29.99   0.84   1    29.15   TV Pad Website - TV Pad Store - English
TVP-15011182   1/13/2015   complete   Edwin       Ng         AU   Edwin       Ng         AU   paypal_standard   AUD   TP4-US                          329    9.16   1   319.84   TV Pad Website - TV Pad Store - English
TVP-15011182   1/13/2015   complete   Edwin       Ng         AU   Edwin       Ng         AU   paypal_standard   AUD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-70011392   1/13/2015   complete   Yongjun     Lu         GB   Yongjun     Lu         GB   paypal_standard   GBP   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - Chinese
TVP-70011392   1/13/2015   complete   Yongjun     Lu         GB   Yongjun     Lu         GB   paypal_standard   GBP   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - Chinese
TVP-70011392   1/13/2015   complete   Yongjun     Lu         GB   Yongjun     Lu         GB   paypal_standard   GBP   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - Chinese
TVP-15011183   1/14/2015   complete   Serlyn      Lee        GB   Serlyn      Lee        GB   braintree         GBP   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011184   1/14/2015   complete   Hsi-Yoon    Loh        US   Hsi-Yoon    Loh        US   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011185   1/14/2015   complete   Cindy       liu        AU   Cindy       liu        AU   paypal_standard   USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011185   1/14/2015   complete   Cindy       liu        AU   Cindy       liu        AU   paypal_standard   USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011186   1/14/2015   complete   Hoe         Leong      US   Hoe         Leong      US   braintree         USD   TP4-US                          329      20   1     309    TV Pad Website - TV Pad Store - English
TVP-15011186   1/14/2015   complete   Hoe         Leong      US   Hoe         Leong      US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011187   1/14/2015   complete   Xinyu       Wu         US   Xinyu       Wu         US   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011187   1/14/2015   complete   Xinyu       Wu         US   Xinyu       Wu         US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011188   1/14/2015   complete   Eric        Chiang     US   Eric        Chiang     US   braintree         USD   TP4-US                          329      20   1     309    TV Pad Website - TV Pad Store - English
TVP-15011188   1/14/2015   complete   Eric        Chiang     US   Eric        Chiang     US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011189   1/17/2015   complete   Pearl       Mar        US   Pearl       Mar        US   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011189   1/17/2015   complete   Pearl       Mar        US   Pearl       Mar        US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011191   1/15/2015   complete   Peter       Kuo        US   Peter       Kuo        US   paypal_standard   USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011191   1/15/2015   complete   Peter       Kuo        US   Peter       Kuo        US   paypal_standard   USD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011191   1/15/2015   complete   Peter       Kuo        US   Peter       Kuo        US   paypal_standard   USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011192   1/15/2015   closed     John        Eun        AU   John        Eun        AU   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011192   1/15/2015   closed     John        Eun        AU   John        Eun        AU   braintree         USD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011192   1/15/2015   closed     John        Eun        AU   John        Eun        AU   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-70011393   1/15/2015   complete   Cheng       Sun        AU   Cheng       Sun        AU   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - Chinese
TVP-70011393   1/15/2015   complete   Cheng       Sun        AU   Cheng       Sun        AU   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - Chinese
TVP-15011193   1/15/2015   complete   Yan         Le         SE   Yan         Le         SE   braintree         EUR   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011193   1/15/2015   complete   Yan         Le         SE   Yan         Le         SE   braintree         EUR   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011194   1/15/2015   complete   EDDIE       CHAN       US   EDDIE       CHAN       US   braintree         USD   TVPAD-AC-001                   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15011195   1/15/2015   complete   Dominic     Law        US   Dominic     Law        US   braintree         USD   TP4-US                          329      20   1     309    TV Pad Website - TV Pad Store - English
TVP-15011195   1/15/2015   complete   Dominic     Law        US   Dominic     Law        US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011196   1/15/2015   complete   LILI        ZHANG      GB   LILI        ZHANG      GB   braintree         GBP   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011196   1/15/2015   complete   LILI        ZHANG      GB   LILI        ZHANG      GB   braintree         GBP   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011196   1/15/2015   complete   LILI        ZHANG      GB   LILI        ZHANG      GB   braintree         GBP   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011197   1/15/2015   complete   Young       You        US   Young       You        US   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011197   1/15/2015   complete   Young       You        US   Young       You        US   braintree         USD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011197   1/15/2015   complete   Young       You        US   Young       You        US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011198   1/15/2015   complete   Check       Cheah      AU   Check       Cheah      AU   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011198   1/15/2015   complete   Check       Cheah      AU   Check       Cheah      AU   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011199   1/15/2015   complete   Da          Rong       US   Da          Rong       US   paypal_standard   USD   TVPAD-AC-001                   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15011200   1/20/2015   complete   ShiuKei     Cheung     US   ShiuKei     Cheung     US   braintree         USD   TP4-US                          329      20   1     309    TV Pad Website - TV Pad Store - English
TVP-15011200   1/20/2015   complete   ShiuKei     Cheung     US   ShiuKei     Cheung     US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011201   1/15/2015   complete   DONGTING    LIANG      AU   DONGTING    LIANG      AU   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011201   1/15/2015   complete   DONGTING    LIANG      AU   DONGTING    LIANG      AU   braintree         USD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011201   1/15/2015   complete   DONGTING    LIANG      AU   DONGTING    LIANG      AU   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011202   1/15/2015   complete   Shino       Kong       NZ   Shino       Kong       NZ   braintree         USD   TP4-US                          329      20   1     309    TV Pad Website - TV Pad Store - English
TVP-15011202   1/15/2015   complete   Shino       Kong       NZ   Shino       Kong       NZ   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011203   1/15/2015   complete   Marc        Siah       AU   Marc        Siah       AU   paypal_standard   USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011203   1/15/2015   complete   Marc        Siah       AU   Marc        Siah       AU   paypal_standard   USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011204   1/15/2015   complete   Emma        Chen       AU   Emma        Chen       AU   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011204   1/15/2015   complete   Emma        Chen       AU   Emma        Chen       AU   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011205   1/16/2015   complete   Lu          Han        AU   Lu          Han        AU   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011205   1/16/2015   complete   Lu          Han        AU   Lu          Han        AU   braintree         USD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011205   1/16/2015   complete   Lu          Han        AU   Lu          Han        AU   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011206   1/16/2015   complete   GABRIELA    ANTONIO    MX   GABRIELA    ANTONIO    MX   paypal_standard   USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011206   1/16/2015   complete   GABRIELA    ANTONIO    MX   GABRIELA    ANTONIO    MX   paypal_standard   USD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011206   1/16/2015   complete   GABRIELA    ANTONIO    MX   GABRIELA    ANTONIO    MX   paypal_standard   USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011207   1/16/2015   complete   Wing        ho         AU   Wing        ho         AU   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011207   1/16/2015   complete   Wing        ho         AU   Wing        ho         AU   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011208   1/16/2015   complete   zi-jun      duong      SE   zijun       duong      SE   paypal_standard   USD   TP4-US                          329      20   1     309    TV Pad Website - TV Pad Store - English
TVP-15011208   1/16/2015   complete   zi-jun      duong      SE   zijun       duong      SE   paypal_standard   USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011209   1/16/2015   closed     Wei         Phmah      US   Wei         Phmah      US   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011209   1/16/2015   closed     Wei         Phmah      US   Wei         Phmah      US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011210   1/16/2015   complete   Adam        Chan       GB   Adam        Chan       GB   paypal_standard   GBP   TP4-US                          329      20   1     309    TV Pad Website - TV Pad Store - English
TVP-15011210   1/16/2015   complete   Adam        Chan       GB   Adam        Chan       GB   paypal_standard   GBP   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011211   1/16/2015   complete   Eugene      Sheng      US   Eugene      Sheng      US   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011212   1/16/2015   complete   Nick        Neo        US   Nick        Neo        US   braintree         USD   TP4-US                          329      20   1     309    TV Pad Website - TV Pad Store - English
TVP-15011213   1/16/2015   complete   SOOKYUNG    KIM        US   SOOKYUNG    KIM        US   braintree         USD   TVPAD-004                       259      20   1     239    TV Pad Website - TV Pad Store - English
TVP-15011213   1/16/2015   complete   SOOKYUNG    KIM        US   SOOKYUNG    KIM        US   braintree         USD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011213   1/16/2015   complete   SOOKYUNG    KIM        US   SOOKYUNG    KIM        US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011214   1/16/2015   complete   Damond      Yee        US   Damond      Yee        US   braintree         USD   TVPAD-004                       259      20   1     239    TV Pad Website - TV Pad Store - English
TVP-15011214   1/16/2015   complete   Damond      Yee        US   Damond      Yee        US   braintree         USD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011214   1/16/2015   complete   Damond      Yee        US   Damond      Yee        US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011215   1/16/2015   closed     saiyong     xu         AU   saiyong     xu         AU   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011215   1/16/2015   closed     saiyong     xu         AU   saiyong     xu         AU   braintree         USD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011215   1/16/2015   closed     saiyong     xu         AU   saiyong     xu         AU   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011216   1/19/2015   complete   Lin         Chen       AU   Derek       Chen       AU   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011216   1/19/2015   complete   Lin         Chen       AU   Derek       Chen       AU   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-70011394   1/16/2015   complete   wai keung   cheung     IE   wai         cheung     IE   braintree         EUR   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - Chinese
TVP-70011394   1/16/2015   complete   wai keung   cheung     IE   wai         cheung     IE   braintree         EUR   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - Chinese
TVP-70011394   1/16/2015   complete   wai keung   cheung     IE   wai         cheung     IE   braintree         EUR   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - Chinese
TVP-15011217   1/16/2015   complete   Juwon       Nam        CA   Juwon       Nam        CA   braintree         CAD   TP4-US                          320      10   2     630    TV Pad Website - TV Pad Store - English
TVP-15011217   1/16/2015   complete   Juwon       Nam        CA   Juwon       Nam        CA   braintree         CAD   HGIFT1                             0      0   2        0   TV Pad Website - TV Pad Store - English
TVP-15011218   1/16/2015   complete   Haley       kim        US   Haley       kim        US   braintree         USD   TVPAD-004                       259      20   1     239    TV Pad Website - TV Pad Store - English
TVP-15011218   1/16/2015   complete   Haley       kim        US   Haley       kim        US   braintree         USD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011218   1/16/2015   complete   Haley       kim        US   Haley       kim        US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011219   1/16/2015   complete   Jenny       Chin       MY   Jenny       Chin       MY   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011219   1/16/2015   complete   Jenny       Chin       MY   Jenny       Chin       MY   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011220   1/16/2015   complete   kelvin      Qu         NZ   kelvin      Qu         NZ   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011221   1/16/2015   complete   James       Chu        AU   James       Chu        AU   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011221   1/16/2015   complete   James       Chu        AU   James       Chu        AU   braintree         USD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011221   1/16/2015   complete   James       Chu        AU   James       Chu        AU   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011223   1/17/2015   complete   Miki        Pereira    AU   Miki        Pereira    AU   paypal_standard   AUD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011223   1/17/2015   complete   Miki        Pereira    AU   Miki        Pereira    AU   paypal_standard   AUD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011224   1/19/2015   complete   William     Man        GB   William     Man        GB   braintree         GBP   TP4-US                          329      20   1     309    TV Pad Website - TV Pad Store - English
TVP-15011224   1/19/2015   complete   William     Man        GB   William     Man        GB   braintree         GBP   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011225   1/20/2015   complete   Jessica     Maddox     US   Sun         Kim        US   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011225   1/20/2015   complete   Jessica     Maddox     US   Sun         Kim        US   braintree         USD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011225   1/20/2015   complete   Jessica     Maddox     US   Sun         Kim        US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011227   1/17/2015   complete   Tak-Keung   SUN        CH   Tak-Keung   SUN        CH   paypal_standard   EUR   TP4-US                          320      10   2     630    TV Pad Website - TV Pad Store - English
TVP-15011228   1/17/2015   complete   Wicky       Yuen       NL   Wicky       Yuen       NL   paypal_standard   USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011228   1/17/2015   complete   Wicky       Yuen       NL   Wicky       Yuen       NL   paypal_standard   USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011229   1/17/2015   complete   Tae         Kim        US   Tae         Kim        US   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011229   1/17/2015   complete   Tae         Kim        US   Tae         Kim        US   braintree         USD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011229   1/17/2015   complete   Tae         Kim        US   Tae         Kim        US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011230   1/17/2015   complete   Shih        Tseng      US   Shih        Tseng      US   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011230   1/17/2015   complete   Shih        Tseng      US   Shih        Tseng      US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011231   1/17/2015   complete   JOO         JEON       AU   JOO         JEON       AU   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011231   1/17/2015   complete   JOO         JEON       AU   JOO         JEON       AU   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011232   1/17/2015   complete   Teck        Yong       AU   Teck        Yong       AU   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011232   1/17/2015   complete   Teck        Yong       AU   Teck        Yong       AU   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011234   1/18/2015   complete   Sabrina     Cheng      US   Sabrina     Cheng      US   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011234   1/18/2015   complete   Sabrina     Cheng      US   Sabrina     Cheng      US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011235   1/18/2015   complete   JUAN        CASTILLO   US   JUAN        CASTILLO   US   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011236   1/18/2015   complete   Yizheng     Chen       CA   Yizheng     Chen       CA   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011236   1/18/2015   complete   Yizheng     Chen       CA   Yizheng     Chen       CA   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011237   1/18/2015   complete   Helen       Jee        NZ   Helen       Jee        NZ   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15011237   1/18/2015   complete   Helen       Jee        NZ   Helen       Jee        NZ   braintree         USD   HGIFT2                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011237   1/18/2015   complete   Helen       Jee        NZ   Helen       Jee        NZ   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011238   1/19/2015   complete   Fuchung     Man        NL   Kam         Man        NL   braintree         EUR   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011238   1/19/2015   complete   Fuchung     Man        NL   Kam         Man        NL   braintree         EUR   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011240   1/18/2015   complete   Gareth      Pang       GB   Gareth      Pang       GB   braintree         GBP   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011241   1/18/2015   closed     youngkuk    shin       IN   youngkuk    shin       IN   paypal_standard   USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011241   1/18/2015   closed     youngkuk    shin       IN   youngkuk    shin       IN   paypal_standard   USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011241   1/18/2015   closed     youngkuk    shin       IN   youngkuk    shin       IN   paypal_standard   USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011242   1/18/2015   complete   Yong        Lee        US   Yong        Lee        US   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15011242   1/18/2015   complete   Yong        Lee        US   Yong        Lee        US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15011243   1/18/2015   complete   no          park       US   no          park       US   braintree         USD   TVPAD-004                       250      10   2     490    TV Pad Website - TV Pad Store - English
TVP-15011243   1/18/2015   complete   no          park       US   no          park       US   braintree         USD   HGIFT2                             0      0   2        0   TV Pad Website - TV Pad Store - English
TVP-15011243   1/18/2015   complete   no          park       US   no          park       US   braintree         USD   HGIFT1                             0      0   2        0   TV Pad Website - TV Pad Store - English
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                                   #:20518
TVP-70011397   1/18/2015   complete   Ellie        Liang      NZ   Ellie      Liang      NZ   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - Chinese
TVP-70011397   1/18/2015   complete   Ellie        Liang      NZ   Ellie      Liang      NZ   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011397   1/18/2015   complete   Ellie        Liang      NZ   Ellie      Liang      NZ   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-15011244   1/18/2015   complete   Kelly        Lim        US   Kelly      Lim        US   braintree         USD   TP4-US                          329    20   1    309    TV Pad Website - TV Pad Store - English
TVP-15011244   1/18/2015   complete   Kelly        Lim        US   Kelly      Lim        US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011245   1/18/2015   complete   Jianyu       Chen       AU   Jianyu     Chen       AU   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011245   1/18/2015   complete   Jianyu       Chen       AU   Jianyu     Chen       AU   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011246   1/19/2015   complete   Michael      Hellbeck   SG   Michael    Hellbeck   SG   braintree         USD   TVPAD-AC-001                   29.99    0   1   29.99   TV Pad Website - TV Pad Store - English
TVP-15011248   1/19/2015   complete   Derek        Sheen      AU   Derek      Sheen      AU   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011248   1/19/2015   complete   Derek        Sheen      AU   Derek      Sheen      AU   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011248   1/19/2015   complete   Derek        Sheen      AU   Derek      Sheen      AU   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011249   1/19/2015   complete   Nola         Brown      NZ   Nola       Brown      NZ   paypal_standard   USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011249   1/19/2015   complete   Nola         Brown      NZ   Nola       Brown      NZ   paypal_standard   USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011250   1/19/2015   complete   Ray          Foong      US   Ray        Foong      US   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011250   1/19/2015   complete   Ray          Foong      US   Ray        Foong      US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011398   1/19/2015   complete   jinxiang     li         US   jinxiang   li         US   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - Chinese
TVP-70011398   1/19/2015   complete   jinxiang     li         US   jinxiang   li         US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-15011251   1/19/2015   complete   Hong         Sim        AU   Hong       Sim        AU   braintree         USD   TP4-US                          329    20   1    309    TV Pad Website - TV Pad Store - English
TVP-15011251   1/19/2015   complete   Hong         Sim        AU   Hong       Sim        AU   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011252   1/19/2015   complete   William      Yang       AU   William    Yang       AU   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011252   1/19/2015   complete   William      Yang       AU   William    Yang       AU   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011252   1/19/2015   complete   William      Yang       AU   William    Yang       AU   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011253   1/19/2015   complete   Edwin        Zhang      NZ   Edwin      Zhang      NZ   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011253   1/19/2015   complete   Edwin        Zhang      NZ   Edwin      Zhang      NZ   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011253   1/19/2015   complete   Edwin        Zhang      NZ   Edwin      Zhang      NZ   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011254   1/19/2015   complete   Sungwook     Kim        AE   Sungwook   Kim        AE   braintree         USD   TVPAD-004                       245    10   5   1215    TV Pad Website - TV Pad Store - English
TVP-15011254   1/19/2015   complete   Sungwook     Kim        AE   Sungwook   Kim        AE   braintree         USD   HGIFT2                             0    0   5       0   TV Pad Website - TV Pad Store - English
TVP-15011254   1/19/2015   complete   Sungwook     Kim        AE   Sungwook   Kim        AE   braintree         USD   HGIFT1                             0    0   5       0   TV Pad Website - TV Pad Store - English
TVP-15011255   1/19/2015   complete   Sungwook     Kim        AE   Sungwook   Kim        AE   braintree         USD   TVPAD-004                       245    10   5   1215    TV Pad Website - TV Pad Store - English
TVP-15011255   1/19/2015   complete   Sungwook     Kim        AE   Sungwook   Kim        AE   braintree         USD   HGIFT2                             0    0   5       0   TV Pad Website - TV Pad Store - English
TVP-15011255   1/19/2015   complete   Sungwook     Kim        AE   Sungwook   Kim        AE   braintree         USD   HGIFT1                             0    0   5       0   TV Pad Website - TV Pad Store - English
TVP-15011256   1/19/2015   complete   JM           choi       NL   JM         choi       NL   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011256   1/19/2015   complete   JM           choi       NL   JM         choi       NL   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011256   1/19/2015   complete   JM           choi       NL   JM         choi       NL   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011257   1/19/2015   complete   Sung         lee        US   Sung       lee        US   paypal_standard   USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011257   1/19/2015   complete   Sung         lee        US   Sung       lee        US   paypal_standard   USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011257   1/19/2015   complete   Sung         lee        US   Sung       lee        US   paypal_standard   USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011258   1/19/2015   complete   Darwin       Leung      US   Darwin     Leung      US   paypal_standard   USD   TP4-US                          329    20   1    309    TV Pad Website - TV Pad Store - English
TVP-15011258   1/19/2015   complete   Darwin       Leung      US   Darwin     Leung      US   paypal_standard   USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011259   1/19/2015   complete   Ann          Dixon      GB   Ann        Dixon      GB   braintree         GBP   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011259   1/19/2015   complete   Ann          Dixon      GB   Ann        Dixon      GB   braintree         GBP   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011259   1/19/2015   complete   Ann          Dixon      GB   Ann        Dixon      GB   braintree         GBP   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011260   1/19/2015   complete   Yingjin      Zhu        US   Yingjin    Zhu        US   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011260   1/19/2015   complete   Yingjin      Zhu        US   Yingjin    Zhu        US   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011260   1/19/2015   complete   Yingjin      Zhu        US   Yingjin    Zhu        US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011261   1/19/2015   complete   swee         ho         US   swee       ho         US   braintree         USD   TP4-US                          329    20   1    309    TV Pad Website - TV Pad Store - English
TVP-15011261   1/19/2015   complete   swee         ho         US   swee       ho         US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011262   1/19/2015   complete   justin       wong       US   justin     wong       US   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011262   1/19/2015   complete   justin       wong       US   justin     wong       US   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011262   1/19/2015   complete   justin       wong       US   justin     wong       US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011263   1/19/2015   complete   Ka           lo         GB   Ka         lo         GB   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011263   1/19/2015   complete   Ka           lo         GB   Ka         lo         GB   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011264   1/19/2015   complete   chong        lin        US   chong      lin        US   paypal_standard   USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011264   1/19/2015   complete   chong        lin        US   chong      lin        US   paypal_standard   USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011265   1/19/2015   complete   Claudia      Lee        GB   Claudia    Lee        GB   braintree         GBP   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011265   1/19/2015   complete   Claudia      Lee        GB   Claudia    Lee        GB   braintree         GBP   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011265   1/19/2015   complete   Claudia      Lee        GB   Claudia    Lee        GB   braintree         GBP   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011267   1/19/2015   complete   Jessica      Hong       US   Jessica    Hong       US   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011267   1/19/2015   complete   Jessica      Hong       US   Jessica    Hong       US   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011267   1/19/2015   complete   Jessica      Hong       US   Jessica    Hong       US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011268   1/19/2015   complete   Yi           Gao        AU   Yi         Gao        AU   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011268   1/19/2015   complete   Yi           Gao        AU   Yi         Gao        AU   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011268   1/19/2015   complete   Yi           Gao        AU   Yi         Gao        AU   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011269   1/19/2015   complete   Man          Cheung     US   Man        Cheung     US   paypal_standard   USD   TVPAD-004                       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-15011269   1/19/2015   complete   Man          Cheung     US   Man        Cheung     US   paypal_standard   USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011269   1/19/2015   complete   Man          Cheung     US   Man        Cheung     US   paypal_standard   USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011270   1/19/2015   complete   Hin          Tang       AU   Hin        Tang       AU   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011270   1/19/2015   complete   Hin          Tang       AU   Hin        Tang       AU   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011399   1/19/2015   complete   LiPing       Mai        US   LiPing     Mai        US   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - Chinese
TVP-70011399   1/19/2015   complete   LiPing       Mai        US   LiPing     Mai        US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-15011272   1/19/2015   complete   Henry        Yuen       US   Henry      Yuen       US   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011272   1/19/2015   complete   Henry        Yuen       US   Henry      Yuen       US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011273   1/20/2015   complete   Yian         Chen       US   Yian       Chen       US   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011273   1/20/2015   complete   Yian         Chen       US   Yian       Chen       US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011274   1/19/2015   complete   Joseph       Chan       AU   Joseph     Chan       AU   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011274   1/19/2015   complete   Joseph       Chan       AU   Joseph     Chan       AU   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011400   1/19/2015   complete   xiang        zhu        AU   xiang      zhu        AU   braintree         AUD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - Chinese
TVP-70011400   1/19/2015   complete   xiang        zhu        AU   xiang      zhu        AU   braintree         AUD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011400   1/19/2015   complete   xiang        zhu        AU   xiang      zhu        AU   braintree         AUD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-15011275   1/20/2015   complete   SANG         PAK        BR   SANG       PAK        BR   braintree         USD   TVPAD-004                       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-15011275   1/20/2015   complete   SANG         PAK        BR   SANG       PAK        BR   braintree         USD   HGIFT2                             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-15011275   1/20/2015   complete   SANG         PAK        BR   SANG       PAK        BR   braintree         USD   HGIFT1                             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-15011276   1/20/2015   complete   Howard       Zhang      US   Howard     Zhang      US   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011276   1/20/2015   complete   Howard       Zhang      US   Howard     Zhang      US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011277   1/20/2015   complete   EANG         TONG       FR   EANG       TONG       FR   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011277   1/20/2015   complete   EANG         TONG       FR   EANG       TONG       FR   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011278   1/20/2015   complete   Daryl        Au         US   Daryl      Au         US   paypal_standard   USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011278   1/20/2015   complete   Daryl        Au         US   Daryl      Au         US   paypal_standard   USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011279   1/20/2015   complete   Penny        Liu        US   Penny      Liu        US   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011279   1/20/2015   complete   Penny        Liu        US   Penny      Liu        US   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011279   1/20/2015   complete   Penny        Liu        US   Penny      Liu        US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011281   1/20/2015   complete   George       Ta         GB   George     Ta         GB   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011281   1/20/2015   complete   George       Ta         GB   George     Ta         GB   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011282   1/20/2015   complete   Katy         Ng         GB   Lisa       Cheung     GB   paypal_standard   GBP   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011282   1/20/2015   complete   Katy         Ng         GB   Lisa       Cheung     GB   paypal_standard   GBP   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011283   1/20/2015   complete   Harold       Wong       US   Harold     Wong       US   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011283   1/20/2015   complete   Harold       Wong       US   Harold     Wong       US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011284   1/20/2015   complete   howard       pung       US   howard     pung       US   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011284   1/20/2015   complete   howard       pung       US   howard     pung       US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011285   1/20/2015   complete   yunxin       Zhao       AU   yunxin     Zhao       AU   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011285   1/20/2015   complete   yunxin       Zhao       AU   yunxin     Zhao       AU   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011285   1/20/2015   complete   yunxin       Zhao       AU   yunxin     Zhao       AU   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011286   1/20/2015   complete   Edwin        Ng         AU   Edwin      Ng         AU   paypal_standard   AUD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011286   1/20/2015   complete   Edwin        Ng         AU   Edwin      Ng         AU   paypal_standard   AUD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011287   1/20/2015   complete   Tim          Yip        GB   Tim        Yip        GB   paypal_standard   GBP   TP4-US                          329    20   1    309    TV Pad Website - TV Pad Store - English
TVP-15011287   1/20/2015   complete   Tim          Yip        GB   Tim        Yip        GB   paypal_standard   GBP   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011288   1/20/2015   complete   Moling       Yeh        US   Moling     Yeh        US   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011288   1/20/2015   complete   Moling       Yeh        US   Moling     Yeh        US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011289   1/20/2015   complete   May          Ning       NZ   May        Ning       NZ   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011289   1/20/2015   complete   May          Ning       NZ   May        Ning       NZ   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011289   1/20/2015   complete   May          Ning       NZ   May        Ning       NZ   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011290   1/20/2015   complete   Kah          Cheong     AU   Kah        Cheong     AU   braintree         USD   TVPAD-004                       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-15011290   1/20/2015   complete   Kah          Cheong     AU   Kah        Cheong     AU   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011290   1/20/2015   complete   Kah          Cheong     AU   Kah        Cheong     AU   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011291   1/20/2015   complete   June         Hung       AU   June       Hung       AU   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011291   1/20/2015   complete   June         Hung       AU   June       Hung       AU   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011292   1/20/2015   complete   Chin Chuan   Gan        MY   Chin       Gan        MY   paypal_standard   USD   TVPAD-AC-003-TVPAD-AC-003-AU   29.99    0   1   29.99   TV Pad Website - TV Pad Store - English
TVP-15011293   1/20/2015   complete   edwin        shaw       US   edwin      shaw       US   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011293   1/20/2015   complete   edwin        shaw       US   edwin      shaw       US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011294   1/20/2015   complete   Carmen       Chan       AU   Carmen     Chan       AU   braintree         AUD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011294   1/20/2015   complete   Carmen       Chan       AU   Carmen     Chan       AU   braintree         AUD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011295   1/20/2015   complete   Aaron        Choo       SG   Aaron      Choo       SG   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011295   1/20/2015   complete   Aaron        Choo       SG   Aaron      Choo       SG   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011295   1/20/2015   complete   Aaron        Choo       SG   Aaron      Choo       SG   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011296   1/20/2015   complete   Stewart      Crawford   AU   Stewart    Crawford   AU   braintree         AUD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011296   1/20/2015   complete   Stewart      Crawford   AU   Stewart    Crawford   AU   braintree         AUD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011297   1/20/2015   complete   Kevin        Wong       GB   Kevin      Wong       GB   braintree         USD   TVPAD-004                       259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-15011297   1/20/2015   complete   Kevin        Wong       GB   Kevin      Wong       GB   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011297   1/20/2015   complete   Kevin        Wong       GB   Kevin      Wong       GB   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011298   1/20/2015   complete   Frankie      Lu         NZ   Frankie    Lu         NZ   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011298   1/20/2015   complete   Frankie      Lu         NZ   Frankie    Lu         NZ   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011299   1/21/2015   complete   Alan         Chow       US   Alan       Chow       US   braintree         USD   TP4-US                          329    20   1    309    TV Pad Website - TV Pad Store - English
TVP-15011299   1/21/2015   complete   Alan         Chow       US   Alan       Chow       US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011301   1/21/2015   complete   Phillips     system     US   Phillips   system     US   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011301   1/21/2015   complete   Phillips     system     US   Phillips   system     US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011302   1/21/2015   complete   JI           HONG       CL   JI         HONG       CL   paypal_standard   USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011302   1/21/2015   complete   JI           HONG       CL   JI         HONG       CL   paypal_standard   USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011302   1/21/2015   complete   JI           HONG       CL   JI         HONG       CL   paypal_standard   USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011303   1/21/2015   complete   Pei          Wu         US   Pei        Wu         US   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011303   1/21/2015   complete   Pei          Wu         US   Pei        Wu         US   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011303   1/21/2015   complete   Pei          Wu         US   Pei        Wu         US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011304   1/21/2015   complete   patrick      ma         US   patrick    ma         US   paypal_standard   USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011305   1/21/2015   complete   Sunny        Lee        US   Sunny      Lee        US   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011305   1/21/2015   complete   Sunny        Lee        US   Sunny      Lee        US   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011305   1/21/2015   complete   Sunny        Lee        US   Sunny      Lee        US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011306   1/21/2015   complete   Stanley      Chu        US   Stanley    Chu        US   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011306   1/21/2015   complete   Stanley      Chu        US   Stanley    Chu        US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011307   1/21/2015   complete   Juwon        Nam        CA   Juwon      Nam        CA   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011307   1/21/2015   complete   Juwon        Nam        CA   Juwon      Nam        CA   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011307   1/21/2015   complete   Juwon        Nam        CA   Juwon      Nam        CA   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011308   1/21/2015   complete   Robert       Wong       AU   Robert     Wong       AU   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011308   1/21/2015   complete   Robert       Wong       AU   Robert     Wong       AU   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011308   1/21/2015   complete   Robert       Wong       AU   Robert     Wong       AU   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011309   1/21/2015   complete   Co           Trinh      US   Co         Trinh      US   braintree         USD   TVPAD-004                       259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011309   1/21/2015   complete   Co           Trinh      US   Co         Trinh      US   braintree         USD   HGIFT2                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011309   1/21/2015   complete   Co           Trinh      US   Co         Trinh      US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011310   1/21/2015   complete   Ivy          Chan       AU   Ivy        Chan       AU   braintree         USD   TVPAD-004                       250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-15011310   1/21/2015   complete   Ivy          Chan       AU   Ivy        Chan       AU   braintree         USD   HGIFT2                             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-15011310   1/21/2015   complete   Ivy          Chan       AU   Ivy        Chan       AU   braintree         USD   HGIFT1                             0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-15011311   1/21/2015   complete   Kenny        Ku         US   Kenny      Ku         US   braintree         USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011311   1/21/2015   complete   Kenny        Ku         US   Kenny      Ku         US   braintree         USD   HGIFT1                             0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011312   1/21/2015   complete   Dan          Li         US   Dan        Li         US   paypal_standard   USD   TP4-US                          329    10   1    319    TV Pad Website - TV Pad Store - English
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TVP-15011312   1/21/2015   complete   Dan           Li          US   Dan           Li          US   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011313   1/21/2015   complete   Hing Kuen     Kung        AU   Hing          Kung        AU   paypal_standard   USD   TVPAD-VIRT-001      80    0   1      80   TV Pad Website - TV Pad Store - English
TVP-15011314   1/21/2015   complete   Trong         Ly          CH   Trong         Ly          CH   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011314   1/21/2015   complete   Trong         Ly          CH   Trong         Ly          CH   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011315   1/22/2015   complete   Easmund       Lau         GB   Easmund       Lau         GB   braintree         GBP   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011315   1/22/2015   complete   Easmund       Lau         GB   Easmund       Lau         GB   braintree         GBP   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011316   1/22/2015   complete   Eric          zheng       US   Eric          zheng       US   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011316   1/22/2015   complete   Eric          zheng       US   Eric          zheng       US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011317   1/22/2015   complete   bosun         Yoo         NZ   bosun         Yoo         NZ   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011317   1/22/2015   complete   bosun         Yoo         NZ   bosun         Yoo         NZ   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011317   1/22/2015   complete   bosun         Yoo         NZ   bosun         Yoo         NZ   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011318   1/22/2015   complete   Michael       Juan        US   Michael       Juan        US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011318   1/22/2015   complete   Michael       Juan        US   Michael       Juan        US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011318   1/22/2015   complete   Michael       Juan        US   Michael       Juan        US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011319   1/22/2015   complete   Zhiqin        ge          DE   Zhiqin        ge          DE   paypal_standard   EUR   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011319   1/22/2015   complete   Zhiqin        ge          DE   Zhiqin        ge          DE   paypal_standard   EUR   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011320   1/22/2015   complete   Jung          Park        US   James         Park        US   braintree         USD   TVPAD-004         259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-15011320   1/22/2015   complete   Jung          Park        US   James         Park        US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011320   1/22/2015   complete   Jung          Park        US   James         Park        US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011321   1/22/2015   complete   Wei           Bai         CA   Wei           Bai         CA   paypal_standard   USD   TVPAD-AC-001     29.99    0   1   29.99   TV Pad Website - TV Pad Store - English
TVP-15011322   1/22/2015   complete   Limin         Sun         AU   Limin         Sun         AU   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011322   1/22/2015   complete   Limin         Sun         AU   Limin         Sun         AU   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011323   1/22/2015   complete   Jee           Choe        US   Jee           Choe        US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011323   1/22/2015   complete   Jee           Choe        US   Jee           Choe        US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011323   1/22/2015   complete   Jee           Choe        US   Jee           Choe        US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011324   1/22/2015   complete   Ivy           lin         AU   Ivy           lin         AU   paypal_standard   USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011324   1/22/2015   complete   Ivy           lin         AU   Ivy           lin         AU   paypal_standard   USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011324   1/22/2015   complete   Ivy           lin         AU   Ivy           lin         AU   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011325   1/22/2015   complete   Bernard       Moreland    US   Bernard       Moreland    US   paypal_standard   USD   TVPAD-AC-001     29.99    0   1   29.99   TV Pad Website - TV Pad Store - English
TVP-15011326   1/22/2015   complete   Steve         Liu         AU   Steve         Liu         AU   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011326   1/22/2015   complete   Steve         Liu         AU   Steve         Liu         AU   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011326   1/22/2015   complete   Steve         Liu         AU   Steve         Liu         AU   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011327   1/22/2015   complete   ron           hintz       US   ron           hintz       US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011327   1/22/2015   complete   ron           hintz       US   ron           hintz       US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011327   1/22/2015   complete   ron           hintz       US   ron           hintz       US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011328   1/23/2015   complete   Michael       Jeong       TW   Michael       Jeong       TW   braintree         USD   TVPAD-004         259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-15011328   1/23/2015   complete   Michael       Jeong       TW   Michael       Jeong       TW   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011328   1/23/2015   complete   Michael       Jeong       TW   Michael       Jeong       TW   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011330   1/23/2015   complete   See           Park        KR   Simon         Park        PH   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011330   1/23/2015   complete   See           Park        KR   Simon         Park        PH   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011331   1/23/2015   complete   JIANNHWA      FU          US   JIANNHWA      FU          US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011331   1/23/2015   complete   JIANNHWA      FU          US   JIANNHWA      FU          US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011331   1/23/2015   complete   JIANNHWA      FU          US   JIANNHWA      FU          US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011332   1/23/2015   complete   EARL          SHANKS      US   EARL          SHANKS      US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011332   1/23/2015   complete   EARL          SHANKS      US   EARL          SHANKS      US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011332   1/23/2015   complete   EARL          SHANKS      US   EARL          SHANKS      US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011333   1/23/2015   complete   Fred          Chung       CA   Fred          Chung       CA   braintree         CAD   TP4-US            329    20   1    309    TV Pad Website - TV Pad Store - English
TVP-15011333   1/23/2015   complete   Fred          Chung       CA   Fred          Chung       CA   braintree         CAD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011334   1/23/2015   complete   Hyun          Kim         US   Hyun          Kim         US   paypal_standard   USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011334   1/23/2015   complete   Hyun          Kim         US   Hyun          Kim         US   paypal_standard   USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011334   1/23/2015   complete   Hyun          Kim         US   Hyun          Kim         US   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011335   1/23/2015   canceled   Ihsiao        Chen        US   Ihsiao        Chen        US   paypal_standard   USD   TVPAD-AC-002     29.99    0   1   29.99   TV Pad Website - TV Pad Store - English
TVP-15011336   1/23/2015   complete   Roxanne       Lui         NZ   Roxanne       Lui         NZ   paypal_standard   USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011336   1/23/2015   complete   Roxanne       Lui         NZ   Roxanne       Lui         NZ   paypal_standard   USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011336   1/23/2015   complete   Roxanne       Lui         NZ   Roxanne       Lui         NZ   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011337   1/23/2015   complete   Yit           Lok         US   Yit           Lok         US   braintree         USD   TVPAD-004         259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-15011337   1/23/2015   complete   Yit           Lok         US   Yit           Lok         US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011337   1/23/2015   complete   Yit           Lok         US   Yit           Lok         US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011338   1/23/2015   complete   Wenbo         Sun         US   Wenbo         Sun         US   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011338   1/23/2015   complete   Wenbo         Sun         US   Wenbo         Sun         US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011401   1/23/2015   complete   Chen          Chen        CL   Chen          Chen        CL   paypal_standard   USD   TP4-US            320    10   2    630    TV Pad Website - TV Pad Store - Chinese
TVP-70011401   1/23/2015   complete   Chen          Chen        CL   Chen          Chen        CL   paypal_standard   USD   HGIFT1               0    0   2       0   TV Pad Website - TV Pad Store - Chinese
TVP-15011339   1/23/2015   complete   Dawning       Ho          US   Dawning       Ho          US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011339   1/23/2015   complete   Dawning       Ho          US   Dawning       Ho          US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011339   1/23/2015   complete   Dawning       Ho          US   Dawning       Ho          US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011340   1/23/2015   complete   bryan         kim         US   bryan         kim         US   braintree         USD   TVPAD-004         259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-15011340   1/23/2015   complete   bryan         kim         US   bryan         kim         US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011340   1/23/2015   complete   bryan         kim         US   bryan         kim         US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011342   1/24/2015   complete   cuong         chau        US   cuong         chau        US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011342   1/24/2015   complete   cuong         chau        US   cuong         chau        US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011342   1/24/2015   complete   cuong         chau        US   cuong         chau        US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011343   1/24/2015   complete   Yan           Huang       US   Yan           Huang       US   braintree         USD   TP4-US            329    20   1    309    TV Pad Website - TV Pad Store - English
TVP-15011343   1/24/2015   complete   Yan           Huang       US   Yan           Huang       US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011344   1/24/2015   complete   Kien          Duong       US   Kien          Duong       US   paypal_standard   USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011344   1/24/2015   complete   Kien          Duong       US   Kien          Duong       US   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011402   1/24/2015   complete   Otis          Chen        US   Otis          Chen        US   braintree         USD   TVPAD-AC-001     29.99    0   1   29.99   TV Pad Website - TV Pad Store - Chinese
TVP-15011346   1/24/2015   complete   Christopher   Foster      US   Christopher   Foster      US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011346   1/24/2015   complete   Christopher   Foster      US   Christopher   Foster      US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011346   1/24/2015   complete   Christopher   Foster      US   Christopher   Foster      US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011347   1/26/2015   complete   Tom           Chiu        US   Tom           Chiu        US   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011347   1/26/2015   complete   Tom           Chiu        US   Tom           Chiu        US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011348   1/25/2015   complete   Pojen         Hsueh       AU   Pojen         Hsueh       AU   paypal_standard   USD   TP4-US            329    20   1    309    TV Pad Website - TV Pad Store - English
TVP-15011348   1/25/2015   complete   Pojen         Hsueh       AU   Pojen         Hsueh       AU   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011349   1/25/2015   complete   Sarang        Shin        AU   Sarang        Shin        AU   paypal_standard   USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011349   1/25/2015   complete   Sarang        Shin        AU   Sarang        Shin        AU   paypal_standard   USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011349   1/25/2015   complete   Sarang        Shin        AU   Sarang        Shin        AU   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011351   1/26/2015   complete   Hong          Lai         GB   Hong          Lai         GB   braintree         GBP   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011351   1/26/2015   complete   Hong          Lai         GB   Hong          Lai         GB   braintree         GBP   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011351   1/26/2015   complete   Hong          Lai         GB   Hong          Lai         GB   braintree         GBP   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011352   1/25/2015   complete   Daniel        Sam         EC   Daniel        ChuSam      US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011353   1/25/2015   complete   Thomas        shin        US   Thomas        shin        US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011353   1/25/2015   complete   Thomas        shin        US   Thomas        shin        US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011353   1/25/2015   complete   Thomas        shin        US   Thomas        shin        US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011354   1/25/2015   complete   Duminda       Unawatuna   AU   Duminda       Unawatuna   AU   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011354   1/25/2015   complete   Duminda       Unawatuna   AU   Duminda       Unawatuna   AU   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011354   1/25/2015   complete   Duminda       Unawatuna   AU   Duminda       Unawatuna   AU   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011356   1/25/2015   complete   Eddy          Chan        US   Eddy          Chan        US   paypal_standard   USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011356   1/25/2015   complete   Eddy          Chan        US   Eddy          Chan        US   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011356   1/25/2015   complete   Eddy          Chan        US   Eddy          Chan        US   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011357   1/25/2015   complete   Norman        Chan        NZ   Norman        Chan        NZ   paypal_standard   USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011357   1/25/2015   complete   Norman        Chan        NZ   Norman        Chan        NZ   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011358   1/25/2015   complete   Steven        Chan        US   Steven        Chan        US   paypal_standard   USD   TVPAD-004         259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-15011358   1/25/2015   complete   Steven        Chan        US   Steven        Chan        US   paypal_standard   USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011358   1/25/2015   complete   Steven        Chan        US   Steven        Chan        US   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011359   1/26/2015   complete   jianjun       zhou        AU   jianjun       zhou        AU   braintree         AUD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011359   1/26/2015   complete   jianjun       zhou        AU   jianjun       zhou        AU   braintree         AUD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011360   1/26/2015   complete   john          lee         AU   john          lee         AU   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011360   1/26/2015   complete   john          lee         AU   john          lee         AU   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011360   1/26/2015   complete   john          lee         AU   john          lee         AU   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011361   1/26/2015   closed     Man           thomas      DE   Man           thomas      DE   paypal_standard   EUR   TP4-US            329    20   1    309    TV Pad Website - TV Pad Store - English
TVP-15011361   1/26/2015   closed     Man           thomas      DE   Man           thomas      DE   paypal_standard   EUR   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011362   1/26/2015   complete   Eun           Park        US   Eun           Park        US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011362   1/26/2015   complete   Eun           Park        US   Eun           Park        US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011362   1/26/2015   complete   Eun           Park        US   Eun           Park        US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011363   1/26/2015   complete   Gary          Liao        US   Gary          Liao        US   braintree         USD   TP4-US            320    20   2    620    TV Pad Website - TV Pad Store - English
TVP-15011363   1/26/2015   complete   Gary          Liao        US   Gary          Liao        US   braintree         USD   HGIFT1               0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-70011404   1/26/2015   complete   Junyong       Chen        GB   Junyong       Chen        GB   braintree         GBP   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - Chinese
TVP-70011404   1/26/2015   complete   Junyong       Chen        GB   Junyong       Chen        GB   braintree         GBP   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011404   1/26/2015   complete   Junyong       Chen        GB   Junyong       Chen        GB   braintree         GBP   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - Chinese
TVP-15011364   1/26/2015   closed     Masahiko      Ichise      AU   Masahiko      Ichise      AU   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011364   1/26/2015   closed     Masahiko      Ichise      AU   Masahiko      Ichise      AU   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011366   1/26/2015   complete   Chun          Kwok        AU   Chun          Kwok        AU   braintree         AUD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011366   1/26/2015   complete   Chun          Kwok        AU   Chun          Kwok        AU   braintree         AUD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-70011405   1/26/2015   complete   muhua         niu         US   muhua         niu         US   braintree         USD   TVPAD-AC-002     29.99    0   1   29.99   TV Pad Website - TV Pad Store - Chinese
TVP-15011367   1/27/2015   complete   Eung          Park        SG   SunJung       Kim         SG   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011367   1/27/2015   complete   Eung          Park        SG   SunJung       Kim         SG   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011367   1/27/2015   complete   Eung          Park        SG   SunJung       Kim         SG   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011368   1/26/2015   closed     SOUL          YOON        US   SOUL          YOON        US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011368   1/26/2015   closed     SOUL          YOON        US   SOUL          YOON        US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011368   1/26/2015   closed     SOUL          YOON        US   SOUL          YOON        US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011369   1/26/2015   complete   Chung         Kum-Tong    SG   Chung         Kum-Tong    SG   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011369   1/26/2015   complete   Chung         Kum-Tong    SG   Chung         Kum-Tong    SG   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011372   1/26/2015   complete   Alec          Li          US   Alec          Li          US   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011372   1/26/2015   complete   Alec          Li          US   Alec          Li          US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011373   1/27/2015   complete   Zhi           Zhou        AE   Zhi           Zhou        AE   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011373   1/27/2015   complete   Zhi           Zhou        AE   Zhi           Zhou        AE   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011374   1/27/2015   complete   Joo           Nam         US   Joo           Nam         US   braintree         USD   TVPAD-004         259    20   1    239    TV Pad Website - TV Pad Store - English
TVP-15011374   1/27/2015   complete   Joo           Nam         US   Joo           Nam         US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011374   1/27/2015   complete   Joo           Nam         US   Joo           Nam         US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011375   1/27/2015   complete   Hiu           Fung        NL   Hiu           Fung        NL   paypal_standard   EUR   TVPAD-004         250    10   2    490    TV Pad Website - TV Pad Store - English
TVP-15011375   1/27/2015   complete   Hiu           Fung        NL   Hiu           Fung        NL   paypal_standard   EUR   HGIFT2               0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-15011375   1/27/2015   complete   Hiu           Fung        NL   Hiu           Fung        NL   paypal_standard   EUR   HGIFT1               0    0   2       0   TV Pad Website - TV Pad Store - English
TVP-15011376   1/27/2015   complete   Candy         Wong        NL   Candy         Wong        NL   braintree         EUR   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011376   1/27/2015   complete   Candy         Wong        NL   Candy         Wong        NL   braintree         EUR   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011377   1/27/2015   complete   Yingyu        Wu          US   Yingyu        Wu          US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011377   1/27/2015   complete   Yingyu        Wu          US   Yingyu        Wu          US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011377   1/27/2015   complete   Yingyu        Wu          US   Yingyu        Wu          US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011378   1/27/2015   complete   PHILLIP       OH          AU   PHILLIP       OH          AU   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011378   1/27/2015   complete   PHILLIP       OH          AU   PHILLIP       OH          AU   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011379   1/27/2015   complete   Kwang         Lee         US   Kwang         Lee         US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011379   1/27/2015   complete   Kwang         Lee         US   Kwang         Lee         US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011379   1/27/2015   complete   Kwang         Lee         US   Kwang         Lee         US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011381   1/27/2015   complete   yongjun       huang       US   yongjun       huang       US   paypal_standard   USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011381   1/27/2015   complete   yongjun       huang       US   yongjun       huang       US   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011382   1/27/2015   complete   Ka            CHEUNG      AU   Ka            CHEUNG      AU   braintree         USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011382   1/27/2015   complete   Ka            CHEUNG      AU   Ka            CHEUNG      AU   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011383   1/27/2015   complete   jeewon        kim         US   jeewon        kim         US   braintree         USD   TVPAD-004         259    10   1    249    TV Pad Website - TV Pad Store - English
TVP-15011383   1/27/2015   complete   jeewon        kim         US   jeewon        kim         US   braintree         USD   HGIFT2               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011383   1/27/2015   complete   jeewon        kim         US   jeewon        kim         US   braintree         USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011384   1/28/2015   complete   Eng           Ng          AU   Eng           Ng          AU   paypal_standard   USD   TP4-US            329    10   1    319    TV Pad Website - TV Pad Store - English
TVP-15011384   1/28/2015   complete   Eng           Ng          AU   Eng           Ng          AU   paypal_standard   USD   HGIFT1               0    0   1       0   TV Pad Website - TV Pad Store - English
TVP-15011385   1/27/2015   complete   Keen          wong        IE   Keen          wong        IE   braintree         USD   TVPAD-AC-001     29.99    0   1   29.99   TV Pad Website - TV Pad Store - English
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TVP-15011388   1/27/2015   complete   Ping        Wang        AU   Ping        Wang        AU   braintree         AUD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011388   1/27/2015   complete   Ping        Wang        AU   Ping        Wang        AU   braintree         AUD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-70011406   1/28/2015   complete   bingxu      guan        SE   bingxu      guan        SE   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - Chinese
TVP-70011406   1/28/2015   complete   bingxu      guan        SE   bingxu      guan        SE   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011406   1/28/2015   complete   bingxu      guan        SE   bingxu      guan        SE   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - Chinese
TVP-15011389   1/28/2015   canceled   hee         seo         US   hee         seo         US   braintree         USD   HGIFT2                         29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15011390   1/28/2015   complete   shaoshao    zhao        US   shaoshao    zhao        US   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011390   1/28/2015   complete   shaoshao    zhao        US   shaoshao    zhao        US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011390   1/28/2015   complete   shaoshao    zhao        US   shaoshao    zhao        US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011391   1/28/2015   complete   Jennie      Liu         AU   Jennie      Liu         AU   braintree         USD   TP4-US                          329    20    1    309    TV Pad Website - TV Pad Store - English
TVP-15011391   1/28/2015   complete   Jennie      Liu         AU   Jennie      Liu         AU   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011392   1/28/2015   complete   Jennie      Liu         AU   Jennie      Liu         AU   paypal_standard   AUD   TP4-US                          329    20    1    309    TV Pad Website - TV Pad Store - English
TVP-15011392   1/28/2015   complete   Jennie      Liu         AU   Jennie      Liu         AU   paypal_standard   AUD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011393   1/28/2015   complete   Yuhang      Lui         US   Yuhang      Lui         US   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011393   1/28/2015   complete   Yuhang      Lui         US   Yuhang      Lui         US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011393   1/28/2015   complete   Yuhang      Lui         US   Yuhang      Lui         US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011394   1/28/2015   complete   Lily        Thai        US   Lily        Thai        US   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011394   1/28/2015   complete   Lily        Thai        US   Lily        Thai        US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011395   1/28/2015   complete   Kuei-Yu     Wang-Knop   US   Kuei-Yu     Wang-Knop   US   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011395   1/28/2015   complete   Kuei-Yu     Wang-Knop   US   Kuei-Yu     Wang-Knop   US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011395   1/28/2015   complete   Kuei-Yu     Wang-Knop   US   Kuei-Yu     Wang-Knop   US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011396   1/28/2015   complete   Kam         Yu          CA   Kam         Yu          CA   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011396   1/28/2015   complete   Kam         Yu          CA   Kam         Yu          CA   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011397   1/28/2015   complete   Sam         Oh          NZ   Sam         Oh          NZ   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011397   1/28/2015   complete   Sam         Oh          NZ   Sam         Oh          NZ   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011397   1/28/2015   complete   Sam         Oh          NZ   Sam         Oh          NZ   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011399   1/28/2015   complete   Keith       Chan        AU   Keith       Chan        AU   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011399   1/28/2015   complete   Keith       Chan        AU   Keith       Chan        AU   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011399   1/28/2015   complete   Keith       Chan        AU   Keith       Chan        AU   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011400   1/28/2015   complete   Luna        Zhang       AU   Luna        Zhang       AU   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011400   1/28/2015   complete   Luna        Zhang       AU   Luna        Zhang       AU   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011401   1/28/2015   complete   Chris       Yeung       AU   Chris       Yeung       AU   braintree         AUD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011401   1/28/2015   complete   Chris       Yeung       AU   Chris       Yeung       AU   braintree         AUD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011403   1/28/2015   complete   Xian        Jin         AU   Xian        Jin         AU   braintree         USD   TVPAD-AC-001                   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15011404   1/29/2015   complete   Linda       Kim         US   Linda       Kim         US   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011404   1/29/2015   complete   Linda       Kim         US   Linda       Kim         US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011404   1/29/2015   complete   Linda       Kim         US   Linda       Kim         US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011405   1/29/2015   complete   José        Ito         MX   Leticia     Pastoral    US   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011405   1/29/2015   complete   José        Ito         MX   Leticia     Pastoral    US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011407   1/29/2015   complete   Wei Min     Lee         CA   Wei         Lee         CA   braintree         CAD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011407   1/29/2015   complete   Wei Min     Lee         CA   Wei         Lee         CA   braintree         CAD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011411   1/29/2015   complete   Yohan       Moon        US   Yohan       Moon        US   paypal_standard   USD   TVPAD-004                       259    20    1    239    TV Pad Website - TV Pad Store - English
TVP-15011411   1/29/2015   complete   Yohan       Moon        US   Yohan       Moon        US   paypal_standard   USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011411   1/29/2015   complete   Yohan       Moon        US   Yohan       Moon        US   paypal_standard   USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011412   1/29/2015   complete   Boon-Hee    Oh          US   Boon-Hee    Oh          US   braintree         USD   TP4-US                          329    20    1    309    TV Pad Website - TV Pad Store - English
TVP-15011412   1/29/2015   complete   Boon-Hee    Oh          US   Boon-Hee    Oh          US   braintree         USD   HGIFT1                             0    0    2       0   TV Pad Website - TV Pad Store - English
TVP-15011412   1/29/2015   complete   Boon-Hee    Oh          US   Boon-Hee    Oh          US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011413   1/29/2015   complete   Jonathan    Joo         US   Jonathan    Joo         US   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011413   1/29/2015   complete   Jonathan    Joo         US   Jonathan    Joo         US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011413   1/29/2015   complete   Jonathan    Joo         US   Jonathan    Joo         US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-70011407   1/29/2015   complete   wei         wang        AU   wei         wang        AU   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - Chinese
TVP-70011407   1/29/2015   complete   wei         wang        AU   wei         wang        AU   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - Chinese
TVP-15011414   1/29/2015   complete   Chenguang   wu          US   Chenguang   wu          US   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011414   1/29/2015   complete   Chenguang   wu          US   Chenguang   wu          US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011415   1/29/2015   complete   Chang       Sim         US   Chang       Sim         US   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011415   1/29/2015   complete   Chang       Sim         US   Chang       Sim         US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011417   1/29/2015   complete   Tommy       Yau         GB   Tommy       Yau         GB   braintree         GBP   TP4-US                          329    20    1    309    TV Pad Website - TV Pad Store - English
TVP-15011417   1/29/2015   complete   Tommy       Yau         GB   Tommy       Yau         GB   braintree         GBP   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011419   1/29/2015   complete   Michelle    Zhang       US   Michelle    Zhang       US   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011419   1/29/2015   complete   Michelle    Zhang       US   Michelle    Zhang       US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011420   1/29/2015   complete   Lawrence    Fu          AU   Lawrence    Fu          AU   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011420   1/29/2015   complete   Lawrence    Fu          AU   Lawrence    Fu          AU   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011421   1/29/2015   complete   Brian       Choi        AU   Brian       Choi        AU   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011421   1/29/2015   complete   Brian       Choi        AU   Brian       Choi        AU   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011423   1/29/2015   complete   YOUNG       CHA         IN   YOUNG       CHA         IN   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011422    2/2/2015   complete   Suh         Lee         US   Suh         Lee         US   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011422    2/2/2015   complete   Suh         Lee         US   Suh         Lee         US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011422    2/2/2015   complete   Suh         Lee         US   Suh         Lee         US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-70011408   1/29/2015   complete   Alan        Ng          US   Alan        Ng          US   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - Chinese
TVP-15011425    2/7/2015   complete   waikeung    liu         GB   waikeung    liu         GB   braintree         GBP   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011425    2/7/2015   complete   waikeung    liu         GB   waikeung    liu         GB   braintree         GBP   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011426   1/29/2015   complete   Sanghee     Kong        AU   Sanghee     Kong        AU   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011426   1/29/2015   complete   Sanghee     Kong        AU   Sanghee     Kong        AU   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011426   1/29/2015   complete   Sanghee     Kong        AU   Sanghee     Kong        AU   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011428   1/30/2015   closed     See         Park        KR   Simon       Park        PH   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011428   1/30/2015   closed     See         Park        KR   Simon       Park        PH   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011428   1/30/2015   closed     See         Park        KR   Simon       Park        PH   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011429   1/30/2015   complete   Zhi         Zhou        AE   Zhi         Zhou        AE   braintree         USD   TVPAD-VIRT-003                     1    0   25      25   TV Pad Website - TV Pad Store - English
TVP-15011430   1/30/2015   complete   Alicia      Swann       US   Alicia      Swann       US   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011430   1/30/2015   complete   Alicia      Swann       US   Alicia      Swann       US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011430   1/30/2015   complete   Alicia      Swann       US   Alicia      Swann       US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011431   1/30/2015   complete   jade        phan        US   jade        phan        US   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011431   1/30/2015   complete   jade        phan        US   jade        phan        US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011432    2/2/2015   complete   Chong       Suh         US   Chong       Suh         US   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011432    2/2/2015   complete   Chong       Suh         US   Chong       Suh         US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011432    2/2/2015   complete   Chong       Suh         US   Chong       Suh         US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011440   1/30/2015   complete   Kelly       Ma          AU   Kelly       Ma          AU   paypal_standard   USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011440   1/30/2015   complete   Kelly       Ma          AU   Kelly       Ma          AU   paypal_standard   USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011441   1/30/2015   complete   Kelly       Ma          AU   Kelly       Ma          AU   paypal_standard   USD   TVPAD-AC-003-TVPAD-AC-003-AU   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15011442   1/31/2015   complete   Anthony     Hewu        US   Anthony     Hewu        US   braintree         USD   TVPAD-AC-001                   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15011443    2/7/2015   complete   Calvin      Choi        US   K           Choi        US   paypal_standard   USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011443    2/7/2015   complete   Calvin      Choi        US   K           Choi        US   paypal_standard   USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011444   1/31/2015   complete   Unyong      Oh          US   Unyong      Oh          US   braintree         USD   TVPAD-004                       250    10    2    490    TV Pad Website - TV Pad Store - English
TVP-15011444   1/31/2015   complete   Unyong      Oh          US   Unyong      Oh          US   braintree         USD   HGIFT2                             0    0    2       0   TV Pad Website - TV Pad Store - English
TVP-15011444   1/31/2015   complete   Unyong      Oh          US   Unyong      Oh          US   braintree         USD   HGIFT1                             0    0    2       0   TV Pad Website - TV Pad Store - English
TVP-15011445    2/2/2015   complete   Gloria      Wang        US   Rebecca     Wang        US   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011445    2/2/2015   complete   Gloria      Wang        US   Rebecca     Wang        US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011445    2/2/2015   complete   Gloria      Wang        US   Rebecca     Wang        US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011446   1/31/2015   complete   Kim         Tsao        AU   Kim         Tsao        AU   paypal_standard   USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011446   1/31/2015   complete   Kim         Tsao        AU   Kim         Tsao        AU   paypal_standard   USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011447   1/31/2015   complete   Jay         Rim         US   Jay         Rim         US   paypal_standard   USD   TVPAD-004                       259    20    1    239    TV Pad Website - TV Pad Store - English
TVP-15011447   1/31/2015   complete   Jay         Rim         US   Jay         Rim         US   paypal_standard   USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011447   1/31/2015   complete   Jay         Rim         US   Jay         Rim         US   paypal_standard   USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011448   1/31/2015   complete   Tiffany     Ruan        US   Tiffany     Ruan        US   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011448   1/31/2015   complete   Tiffany     Ruan        US   Tiffany     Ruan        US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011449    2/2/2015   complete   Anna        Lee         US   Anna        Lee         US   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011449    2/2/2015   complete   Anna        Lee         US   Anna        Lee         US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011449    2/2/2015   complete   Anna        Lee         US   Anna        Lee         US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011450    2/7/2015   complete   Fiona       Yu          NZ   Fiona       Yu          NZ   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011450    2/7/2015   complete   Fiona       Yu          NZ   Fiona       Yu          NZ   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011451    2/2/2015   complete   albert      chiu        US   albert      chiu        US   paypal_standard   USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011451    2/2/2015   complete   albert      chiu        US   albert      chiu        US   paypal_standard   USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011451    2/2/2015   complete   albert      chiu        US   albert      chiu        US   paypal_standard   USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011452    2/7/2015   complete   Raymond     Reams       US   Raymond     Reams       US   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011453    2/3/2015   complete   Philip      Yoon        US   Jennifer    Yoon        US   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011453    2/3/2015   complete   Philip      Yoon        US   Jennifer    Yoon        US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011453    2/3/2015   complete   Philip      Yoon        US   Jennifer    Yoon        US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-70011409    2/2/2015   complete   WEISONG     JIANG       AU   WEISONG     JIANG       AU   paypal_standard   AUD   TVPAD-AC-001                   29.99    0    1   29.99   TV Pad Website - TV Pad Store - Chinese
TVP-15011454    2/2/2015   complete   seokhyun    kim         US   seokhyun    kim         US   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011454    2/2/2015   complete   seokhyun    kim         US   seokhyun    kim         US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011454    2/2/2015   complete   seokhyun    kim         US   seokhyun    kim         US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-70011410    2/7/2015   complete   Wayne       Wu          US   Wayne       Wu          US   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - Chinese
TVP-70011410    2/7/2015   complete   Wayne       Wu          US   Wayne       Wu          US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - Chinese
TVP-15011456    2/7/2015   complete   chong       lin         US   chong       lin         US   paypal_standard   USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011456    2/7/2015   complete   chong       lin         US   chong       lin         US   paypal_standard   USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011458    2/2/2015   complete   Jinu        Kim         AU   Jinu        Kim         AU   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15011458    2/2/2015   complete   Jinu        Kim         AU   Jinu        Kim         AU   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011458    2/2/2015   complete   Jinu        Kim         AU   Jinu        Kim         AU   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15011459    2/7/2015   complete   Tony        Tao         US   Tony        Tao         US   paypal_standard   USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15011459    2/7/2015   complete   Tony        Tao         US   Tony        Tao         US   paypal_standard   USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021011    2/7/2015   complete   Hochak      Hung        US   Hochak      Hung        US   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021011    2/7/2015   complete   Hochak      Hung        US   Hochak      Hung        US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021012    2/7/2015   complete   Kerry       Siu         US   Kerry       Siu         US   paypal_standard   USD   TP4-US                          329    20    1    309    TV Pad Website - TV Pad Store - English
TVP-15021012    2/7/2015   complete   Kerry       Siu         US   Kerry       Siu         US   paypal_standard   USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021013    2/2/2015   complete   Hyung       Mun         US   Hyung       Mun         US   braintree         USD   TVPAD-AC-003-TVPAD-AC-003-US   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15021014    2/7/2015   complete   Michael     Lee         GB   Michael     Lee         GB   braintree         USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021014    2/7/2015   complete   Michael     Lee         GB   Michael     Lee         GB   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021015    2/2/2015   complete   Jeongseon   Kim         CA   Jeongseon   Kim         CA   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021015    2/2/2015   complete   Jeongseon   Kim         CA   Jeongseon   Kim         CA   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021015    2/2/2015   complete   Jeongseon   Kim         CA   Jeongseon   Kim         CA   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021016    2/3/2015   complete   Kyungpil    Kim         US   Kyungpil    Kim         US   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021016    2/3/2015   complete   Kyungpil    Kim         US   Kyungpil    Kim         US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021016    2/3/2015   complete   Kyungpil    Kim         US   Kyungpil    Kim         US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021017    2/3/2015   complete   Elisa       lee         US   Gene        Kim         US   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021017    2/3/2015   complete   Elisa       lee         US   Gene        Kim         US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021017    2/3/2015   complete   Elisa       lee         US   Gene        Kim         US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021018    2/7/2015   complete   James       Kan         AU   James       Kan         AU   paypal_standard   USD   TP4-US                          329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021018    2/7/2015   complete   James       Kan         AU   James       Kan         AU   paypal_standard   USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021019    2/2/2015   complete   Blanca      Pachinger   US   Blanca      Pachinger   US   braintree         USD   TVPAD-004                       259    20    1    239    TV Pad Website - TV Pad Store - English
TVP-15021019    2/2/2015   complete   Blanca      Pachinger   US   Blanca      Pachinger   US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021019    2/2/2015   complete   Blanca      Pachinger   US   Blanca      Pachinger   US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021020    2/2/2015   complete   Debbie      Sharp       GU   Debbie      Sharp       GU   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021020    2/2/2015   complete   Debbie      Sharp       GU   Debbie      Sharp       GU   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021021    2/3/2015   complete   JIANNHWA    FU          US   JIANNHWA    FU          US   braintree         USD   TVPAD-004                       259    20    1    239    TV Pad Website - TV Pad Store - English
TVP-15021021    2/3/2015   complete   JIANNHWA    FU          US   JIANNHWA    FU          US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021021    2/3/2015   complete   JIANNHWA    FU          US   JIANNHWA    FU          US   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021022    2/3/2015   complete   Kelly       Er          SG   Kelly       Er          SG   braintree         USD   TVPAD-AC-001                   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15021023    2/3/2015   complete   Yaruhan     Marhed      NZ   Yaruhan     Marhed      NZ   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021023    2/3/2015   complete   Yaruhan     Marhed      NZ   Yaruhan     Marhed      NZ   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021023    2/3/2015   complete   Yaruhan     Marhed      NZ   Yaruhan     Marhed      NZ   braintree         USD   HGIFT1                             0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021024    2/3/2015   complete   Michelle    Moon        US   Michelle    Moon        US   braintree         USD   TVPAD-004                       259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021024    2/3/2015   complete   Michelle    Moon        US   Michelle    Moon        US   braintree         USD   HGIFT2                             0    0    1       0   TV Pad Website - TV Pad Store - English
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                                   #:20521
TVP-15021024    2/3/2015   complete   Michelle      Moon          US   Michelle      Moon          US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-70011411    2/3/2015   closed     Feng          Lin           US   Feng          Lin           US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - Chinese
TVP-70011411    2/3/2015   closed     Feng          Lin           US   Feng          Lin           US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - Chinese
TVP-70011411    2/3/2015   closed     Feng          Lin           US   Feng          Lin           US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - Chinese
TVP-15021025    2/3/2015   complete   Schubert      Han           US   Schubert      Han           US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021025    2/3/2015   complete   Schubert      Han           US   Schubert      Han           US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021025    2/3/2015   complete   Schubert      Han           US   Schubert      Han           US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021026    2/3/2015   complete   EUN           KIM           US   EUN           KIM           US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021026    2/3/2015   complete   EUN           KIM           US   EUN           KIM           US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021026    2/3/2015   complete   EUN           KIM           US   EUN           KIM           US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021027    2/5/2015   complete   Kevin         Danh          US   Kevin         Danh          US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021027    2/5/2015   complete   Kevin         Danh          US   Kevin         Danh          US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021027    2/5/2015   complete   Kevin         Danh          US   Kevin         Danh          US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021028    2/4/2015   complete   Colin         Chin          NZ   Colin         Chin          NZ   braintree         USD   TVPAD-004       250      10   2     490    TV Pad Website - TV Pad Store - English
TVP-15021028    2/4/2015   complete   Colin         Chin          NZ   Colin         Chin          NZ   braintree         USD   HGIFT2             0      0   2        0   TV Pad Website - TV Pad Store - English
TVP-15021028    2/4/2015   complete   Colin         Chin          NZ   Colin         Chin          NZ   braintree         USD   HGIFT1             0      0   2        0   TV Pad Website - TV Pad Store - English
TVP-14091329    2/7/2015   complete   Frank         Szeto         NZ   Frank         Szeto         NZ   braintree         USD   TP4-US          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-14091329    2/7/2015   complete   Frank         Szeto         NZ   Frank         Szeto         NZ   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021030    2/7/2015   complete   Hock Ning     Chong         AU   Hock          Chong         AU   braintree         AUD   TP4-US          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15021030    2/7/2015   complete   Hock Ning     Chong         AU   Hock          Chong         AU   braintree         AUD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021031    2/4/2015   complete   Alex          Lee           NZ   Alex          Lee           NZ   paypal_standard   USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021031    2/4/2015   complete   Alex          Lee           NZ   Alex          Lee           NZ   paypal_standard   USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021031    2/4/2015   complete   Alex          Lee           NZ   Alex          Lee           NZ   paypal_standard   USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021032    2/4/2015   complete   Chi           CHENG         GB   Chi           CHENG         GB   paypal_standard   USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021032    2/4/2015   complete   Chi           CHENG         GB   Chi           CHENG         GB   paypal_standard   USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021032    2/4/2015   complete   Chi           CHENG         GB   Chi           CHENG         GB   paypal_standard   USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021033    2/4/2015   complete   Jimmy         Lee           US   Jimmy         Lee           US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021033    2/4/2015   complete   Jimmy         Lee           US   Jimmy         Lee           US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021033    2/4/2015   complete   Jimmy         Lee           US   Jimmy         Lee           US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021034    2/7/2015   closed     Scott         Lawson        AU   Scott         Lawson        AU   braintree         USD   TP4-US          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15021034    2/7/2015   closed     Scott         Lawson        AU   Scott         Lawson        AU   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021035    2/4/2015   complete   Ken           Yoo           GU   Ken           Yoo           GU   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021035    2/4/2015   complete   Ken           Yoo           GU   Ken           Yoo           GU   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021035    2/4/2015   complete   Ken           Yoo           GU   Ken           Yoo           GU   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021036    2/4/2015   complete   Cheng         Tiong         MY   Cheng         Tiong         MY   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021036    2/4/2015   complete   Cheng         Tiong         MY   Cheng         Tiong         MY   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021036    2/4/2015   complete   Cheng         Tiong         MY   Cheng         Tiong         MY   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021037    2/4/2015   complete   YING          LIU           AU   YING          LIU           AU   braintree         AUD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021037    2/4/2015   complete   YING          LIU           AU   YING          LIU           AU   braintree         AUD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021037    2/4/2015   complete   YING          LIU           AU   YING          LIU           AU   braintree         AUD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-70011412    2/7/2015   complete   jianmin       bi            NZ   jianmin       bi            NZ   braintree         USD   TP4-US          329      10   1     319    TV Pad Website - TV Pad Store - Chinese
TVP-70011412    2/7/2015   complete   jianmin       bi            NZ   jianmin       bi            NZ   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - Chinese
TVP-15021039    2/7/2015   complete   Adrian        Chang         US   Adrian        Chang         US   braintree         USD   TP4-US          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15021039    2/7/2015   complete   Adrian        Chang         US   Adrian        Chang         US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021041    2/5/2015   complete   young         jo            CL   young         jo            CL   braintree         USD   TVPAD-004       250      10   2     490    TV Pad Website - TV Pad Store - English
TVP-15021042    2/7/2015   complete   Christine     Myers         US   Christine     Myers         US   braintree         USD   TP4-US          329      20   1     309    TV Pad Website - TV Pad Store - English
TVP-15021042    2/7/2015   complete   Christine     Myers         US   Christine     Myers         US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-70011413    2/6/2015   complete   ZHAOFU        YANG          US   ZHAOFU        YANG          US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - Chinese
TVP-70011413    2/6/2015   complete   ZHAOFU        YANG          US   ZHAOFU        YANG          US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - Chinese
TVP-70011413    2/6/2015   complete   ZHAOFU        YANG          US   ZHAOFU        YANG          US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - Chinese
TVP-15021043    2/6/2015   complete   Wing          Chan          US   Wing          Chan          US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021043    2/6/2015   complete   Wing          Chan          US   Wing          Chan          US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021043    2/6/2015   complete   Wing          Chan          US   Wing          Chan          US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021045    2/7/2015   complete   Mai           Lieng         GB   Mai           Lieng         GB   braintree         USD   TVPAD-AC-001   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15021046    2/7/2015   complete   kien          huynh         US   kien          huynh         US   paypal_standard   USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021046    2/7/2015   complete   kien          huynh         US   kien          huynh         US   paypal_standard   USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021046    2/7/2015   complete   kien          huynh         US   kien          huynh         US   paypal_standard   USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021048    2/7/2015   complete   hubert        tang          US   hubert        tang          US   paypal_standard   USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021048    2/7/2015   complete   hubert        tang          US   hubert        tang          US   paypal_standard   USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021048    2/7/2015   complete   hubert        tang          US   hubert        tang          US   paypal_standard   USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021049    2/7/2015   complete   Namhee        Rider         US   Namhee        Rider         US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021049    2/7/2015   complete   Namhee        Rider         US   Namhee        Rider         US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021049    2/7/2015   complete   Namhee        Rider         US   Namhee        Rider         US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021050    2/9/2015   complete   Karthikeyan   B             IN   Karthikeyan   B             IN   braintree         USD   TVPAD-004       250      10   2     490    TV Pad Website - TV Pad Store - English
TVP-15021050    2/9/2015   complete   Karthikeyan   B             IN   Karthikeyan   B             IN   braintree         USD   HGIFT2             0      0   2        0   TV Pad Website - TV Pad Store - English
TVP-15021050    2/9/2015   complete   Karthikeyan   B             IN   Karthikeyan   B             IN   braintree         USD   HGIFT1             0      0   2        0   TV Pad Website - TV Pad Store - English
TVP-15021051    2/9/2015   complete   Ayaka         Inoue         AU   Ayaka         Inoue         AU   braintree         USD   TVPAD-004       259    8.96   1   250.04   TV Pad Website - TV Pad Store - English
TVP-15021051    2/9/2015   complete   Ayaka         Inoue         AU   Ayaka         Inoue         AU   braintree         USD   TVPAD-AC-001   29.99   1.04   1    28.95   TV Pad Website - TV Pad Store - English
TVP-15021051    2/9/2015   complete   Ayaka         Inoue         AU   Ayaka         Inoue         AU   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021051    2/9/2015   complete   Ayaka         Inoue         AU   Ayaka         Inoue         AU   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021052    2/9/2015   complete   jackson       ngu           AU   jackson       ngu           AU   braintree         AUD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021052    2/9/2015   complete   jackson       ngu           AU   jackson       ngu           AU   braintree         AUD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021052    2/9/2015   complete   jackson       ngu           AU   jackson       ngu           AU   braintree         AUD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021053    2/9/2015   complete   Jaymie        Ko            US   Jaymie        Ko            US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021054    2/9/2015   complete   chang won     chi           MX   chang         chi           MX   braintree         USD   TVPAD-004       245      10   5    1215    TV Pad Website - TV Pad Store - English
TVP-15021054    2/9/2015   complete   chang won     chi           MX   chang         chi           MX   braintree         USD   HGIFT2             0      0   5        0   TV Pad Website - TV Pad Store - English
TVP-15021054    2/9/2015   complete   chang won     chi           MX   chang         chi           MX   braintree         USD   HGIFT1             0      0   5        0   TV Pad Website - TV Pad Store - English
TVP-15021055    2/9/2015   complete   Han           Lee           US   Han           Lee           US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021055    2/9/2015   complete   Han           Lee           US   Han           Lee           US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021055    2/9/2015   complete   Han           Lee           US   Han           Lee           US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021056    2/9/2015   complete   Jamie         Lee           NL   Jamie         Lee           NL   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021056    2/9/2015   complete   Jamie         Lee           NL   Jamie         Lee           NL   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021056    2/9/2015   complete   Jamie         Lee           NL   Jamie         Lee           NL   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021057    2/9/2015   complete   Albert        Jong          GB   Albert        Jong          GB   paypal_standard   GBP   TVPAD-AC-001   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15021058    2/9/2015   complete   Mark          Groot         GB   Mark          Groot         GB   braintree         GBP   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021058    2/9/2015   complete   Mark          Groot         GB   Mark          Groot         GB   braintree         GBP   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021058    2/9/2015   complete   Mark          Groot         GB   Mark          Groot         GB   braintree         GBP   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021059    2/9/2015   complete   Wing          Chieng        DK   Wing          Chieng        DK   paypal_standard   USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021059    2/9/2015   complete   Wing          Chieng        DK   Wing          Chieng        DK   paypal_standard   USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021059    2/9/2015   complete   Wing          Chieng        DK   Wing          Chieng        DK   paypal_standard   USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-70011414    2/9/2015   complete   守京            李             CN   守京            李             CN   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - Chinese
TVP-70011414    2/9/2015   complete   守京            李             CN   守京            李             CN   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - Chinese
TVP-70011414    2/9/2015   complete   守京            李             CN   守京            李             CN   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - Chinese
TVP-15021060   2/10/2015   complete   Eddie         Li            MY   Eddie         Li            MY   braintree         USD   TVPAD-AC-001   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15021061   2/10/2015   complete   Paul          Man           US   Paul          Man           US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021061   2/10/2015   complete   Paul          Man           US   Paul          Man           US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021061   2/10/2015   complete   Paul          Man           US   Paul          Man           US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021062   2/10/2015   complete   Darleen       Duffy         US   Darleen       Duffy         US   paypal_standard   USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021063   2/10/2015   complete   Stephanie     Yang          NZ   Stephanie     Yang          NZ   braintree         USD   TVPAD-004       250      10   2     490    TV Pad Website - TV Pad Store - English
TVP-15021063   2/10/2015   complete   Stephanie     Yang          NZ   Stephanie     Yang          NZ   braintree         USD   HGIFT2             0      0   2        0   TV Pad Website - TV Pad Store - English
TVP-15021063   2/10/2015   complete   Stephanie     Yang          NZ   Stephanie     Yang          NZ   braintree         USD   HGIFT1             0      0   2        0   TV Pad Website - TV Pad Store - English
TVP-15021064   2/10/2015   complete   JIANNHWA      FU            US   JIANNHWA      FU            US   braintree         USD   TVPAD-004       259      20   1     239    TV Pad Website - TV Pad Store - English
TVP-15021064   2/10/2015   complete   JIANNHWA      FU            US   JIANNHWA      FU            US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021064   2/10/2015   complete   JIANNHWA      FU            US   JIANNHWA      FU            US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021065   2/10/2015   complete   Eui-Sik       Hong          KR   Eui-Sik       Hong          KR   paypal_standard   USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021065   2/10/2015   complete   Eui-Sik       Hong          KR   Eui-Sik       Hong          KR   paypal_standard   USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021065   2/10/2015   complete   Eui-Sik       Hong          KR   Eui-Sik       Hong          KR   paypal_standard   USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021067   2/11/2015   complete   Hwayong       Brundel       NL   Hwayong       Brundel       NL   braintree         USD   TVPAD-AC-001   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15021068   2/11/2015   complete   alice         lai           US   alice         lai           US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021068   2/11/2015   complete   alice         lai           US   alice         lai           US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021068   2/11/2015   complete   alice         lai           US   alice         lai           US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-70011415   2/11/2015   complete   YAN           JIN           CA   YAN           JIN           CA   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - Chinese
TVP-70011415   2/11/2015   complete   YAN           JIN           CA   YAN           JIN           CA   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - Chinese
TVP-70011415   2/11/2015   complete   YAN           JIN           CA   YAN           JIN           CA   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - Chinese
TVP-15021069   2/12/2015   complete   Ronald        Choe          US   Ronald        Choe          US   braintree         USD   TVPAD-AC-001   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15021069   2/12/2015   complete   Ronald        Choe          US   Ronald        Choe          US   braintree         USD   TVPAD-AC-002   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15021070   2/12/2015   complete   Jane          Kim           AU   Jane          Kim           AU   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021070   2/12/2015   complete   Jane          Kim           AU   Jane          Kim           AU   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021070   2/12/2015   complete   Jane          Kim           AU   Jane          Kim           AU   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021072   2/12/2015   complete   youngkuk      shin          IN   youngkuk      shin          IN   paypal_standard   USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021072   2/12/2015   complete   youngkuk      shin          IN   youngkuk      shin          IN   paypal_standard   USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021072   2/12/2015   complete   youngkuk      shin          IN   youngkuk      shin          IN   paypal_standard   USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021073   2/13/2015   complete   Kenneth       Jancaitis     US   Kenneth       Jancaitis     US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021073   2/13/2015   complete   Kenneth       Jancaitis     US   Kenneth       Jancaitis     US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021075   2/13/2015   complete   Seungyong     Park          SG   Seungyong     Park          SG   paypal_standard   USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021075   2/13/2015   complete   Seungyong     Park          SG   Seungyong     Park          SG   paypal_standard   USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021075   2/13/2015   complete   Seungyong     Park          SG   Seungyong     Park          SG   paypal_standard   USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021076   2/14/2015   complete   MYUNG         YOUM          US   MYUNG         YOUM          US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021076   2/14/2015   complete   MYUNG         YOUM          US   MYUNG         YOUM          US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021076   2/14/2015   complete   MYUNG         YOUM          US   MYUNG         YOUM          US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021077   2/14/2015   complete   Allen         Lau           US   Allen         Lau           US   braintree         USD   TP4-US          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15021077   2/14/2015   complete   Allen         Lau           US   Allen         Lau           US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-70011416   2/14/2015   complete   JULIE         CHENG         US   JULIE         CHENG         US   braintree         USD   TP4-US          329      10   1     319    TV Pad Website - TV Pad Store - Chinese
TVP-70011416   2/14/2015   complete   JULIE         CHENG         US   JULIE         CHENG         US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - Chinese
TVP-15021078   2/14/2015   complete   Min           Liu           US   Min           Liu           US   braintree         USD   TP4-US          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15021078   2/14/2015   complete   Min           Liu           US   Min           Liu           US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021079   2/14/2015   complete   Chin          Wu            US   Chin          Wu            US   braintree         USD   TVPAD-004       259      20   1     239    TV Pad Website - TV Pad Store - English
TVP-15021079   2/14/2015   complete   Chin          Wu            US   Chin          Wu            US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021079   2/14/2015   complete   Chin          Wu            US   Chin          Wu            US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021080   2/16/2015   complete   Angela        Kang          US   Ho            Kang          US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021080   2/16/2015   complete   Angela        Kang          US   Ho            Kang          US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021080   2/16/2015   complete   Angela        Kang          US   Ho            Kang          US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021081   2/16/2015   complete   Hyun          Jae           US   Hyun          Jae           US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021081   2/16/2015   complete   Hyun          Jae           US   Hyun          Jae           US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021081   2/16/2015   complete   Hyun          Jae           US   Hyun          Jae           US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021082   2/16/2015   complete   Bonnie        Zhang         AU   Bonnie        Zhang         AU   braintree         USD   TP4-US          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15021082   2/16/2015   complete   Bonnie        Zhang         AU   Bonnie        Zhang         AU   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021083   2/16/2015   complete   Levi          Lim           AU   Levi          Lim           AU   braintree         USD   TP4-US          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15021083   2/16/2015   complete   Levi          Lim           AU   Levi          Lim           AU   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021084   2/16/2015   complete   Sarah         Almohannadi   QA   Sarah         Almohannadi   QA   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021084   2/16/2015   complete   Sarah         Almohannadi   QA   Sarah         Almohannadi   QA   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021084   2/16/2015   complete   Sarah         Almohannadi   QA   Sarah         Almohannadi   QA   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021085   2/16/2015   complete   Tiffany       Lam           AU   Tiffany       Lam           AU   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021085   2/16/2015   complete   Tiffany       Lam           AU   Tiffany       Lam           AU   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021085   2/16/2015   complete   Tiffany       Lam           AU   Tiffany       Lam           AU   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021086   2/16/2015   complete   Yvette        Lee           US   Yvette        Lee           US   braintree         USD   TVPAD-004       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15021086   2/16/2015   complete   Yvette        Lee           US   Yvette        Lee           US   braintree         USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021086   2/16/2015   complete   Yvette        Lee           US   Yvette        Lee           US   braintree         USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021087   2/16/2015   complete   Sun           Kwon          US   Sun           Kwon          US   paypal_standard   USD   TVPAD-004       259      20   1     239    TV Pad Website - TV Pad Store - English
TVP-15021087   2/16/2015   complete   Sun           Kwon          US   Sun           Kwon          US   paypal_standard   USD   HGIFT2             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021087   2/16/2015   complete   Sun           Kwon          US   Sun           Kwon          US   paypal_standard   USD   HGIFT1             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15021088   2/16/2015   complete   Phil          Yeung         NL   Phil          Yeung         NL   braintree         EUR   TP4-US          329      10   1     319    TV Pad Website - TV Pad Store - English
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                                   #:20522
TVP-15021088   2/16/2015   complete   Phil        Yeung         NL   Phil        Yeung         NL   braintree         EUR   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021089   2/16/2015   complete   jimmy       chan          IE   jimmy       chan          IE   paypal_standard   EUR   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021089   2/16/2015   complete   jimmy       chan          IE   jimmy       chan          IE   paypal_standard   EUR   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021090   2/16/2015   complete   Michael     Shae          US   Michael     Shae          US   braintree         USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021090   2/16/2015   complete   Michael     Shae          US   Michael     Shae          US   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021090   2/16/2015   complete   Michael     Shae          US   Michael     Shae          US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021091   2/16/2015   complete   Kelly       Lim           US   Kelly       Lim           US   braintree         USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021091   2/16/2015   complete   Kelly       Lim           US   Kelly       Lim           US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021092   2/17/2015   complete   Jeffrey     Yoon          US   Jeffrey     Yoon          US   braintree         USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021092   2/17/2015   complete   Jeffrey     Yoon          US   Jeffrey     Yoon          US   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021092   2/17/2015   complete   Jeffrey     Yoon          US   Jeffrey     Yoon          US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021094   2/16/2015   complete   SungHo      Suh           US   SungHo      Suh           US   paypal_standard   USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021094   2/16/2015   complete   SungHo      Suh           US   SungHo      Suh           US   paypal_standard   USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021094   2/16/2015   complete   SungHo      Suh           US   SungHo      Suh           US   paypal_standard   USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021095   2/17/2015   complete   Si          Song          US   Si          Song          US   paypal_standard   USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021095   2/17/2015   complete   Si          Song          US   Si          Song          US   paypal_standard   USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021095   2/17/2015   complete   Si          Song          US   Si          Song          US   paypal_standard   USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021096   2/16/2015   complete   Jamie       Moy           US   Jamie       Moy           US   braintree         USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021096   2/16/2015   complete   Jamie       Moy           US   Jamie       Moy           US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021099   2/16/2015   complete   Chester     chen          US   Chester     chen          US   braintree         USD   TVPAD-AC-001     29.99    0    2   59.98   TV Pad Website - TV Pad Store - English
TVP-15021102   2/16/2015   complete   Jamie       Kim           US   Kelly       Kim           US   braintree         USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021102   2/16/2015   complete   Jamie       Kim           US   Kelly       Kim           US   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021102   2/16/2015   complete   Jamie       Kim           US   Kelly       Kim           US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021103   2/16/2015   complete   Sang        Moon          NZ   Sang        Moon          NZ   braintree         USD   TVPAD-AC-001     29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15021104   2/16/2015   complete   Soon        KIM           CA   Soon        KIM           CA   paypal_standard   USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021104   2/16/2015   complete   Soon        KIM           CA   Soon        KIM           CA   paypal_standard   USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021104   2/16/2015   complete   Soon        KIM           CA   Soon        KIM           CA   paypal_standard   USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021105   2/17/2015   complete   MICHAEL     SUM           US   MICHAEL     SUM           US   braintree         USD   TVPAD-004         250    20    2    480    TV Pad Website - TV Pad Store - English
TVP-15021105   2/17/2015   complete   MICHAEL     SUM           US   MICHAEL     SUM           US   braintree         USD   HGIFT2               0    0    2       0   TV Pad Website - TV Pad Store - English
TVP-15021105   2/17/2015   complete   MICHAEL     SUM           US   MICHAEL     SUM           US   braintree         USD   HGIFT1               0    0    2       0   TV Pad Website - TV Pad Store - English
TVP-15021106   2/17/2015   complete   Lee         Bennett       HK   Lee         Bennett       HK   paypal_standard   USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021106   2/17/2015   complete   Lee         Bennett       HK   Lee         Bennett       HK   paypal_standard   USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021106   2/17/2015   complete   Lee         Bennett       HK   Lee         Bennett       HK   paypal_standard   USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021107   2/18/2015   complete   Vionna      Wong          US   Vionna      Wong          US   braintree         USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021108   2/17/2015   complete   Haijiao     Zhang         NO   Haijiao     Zhang         NO   braintree         USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021108   2/17/2015   complete   Haijiao     Zhang         NO   Haijiao     Zhang         NO   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021109   2/17/2015   complete   Yuan        Spade         US   Yuan        Spade         US   braintree         USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021109   2/17/2015   complete   Yuan        Spade         US   Yuan        Spade         US   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021109   2/17/2015   complete   Yuan        Spade         US   Yuan        Spade         US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021110   2/17/2015   complete   john        lam           NL   john        lam           NL   paypal_standard   USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021110   2/17/2015   complete   john        lam           NL   john        lam           NL   paypal_standard   USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-70011417   2/17/2015   complete   Shuming     Wang          US   Shuming     Wang          US   braintree         USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - Chinese
TVP-70011417   2/17/2015   complete   Shuming     Wang          US   Shuming     Wang          US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - Chinese
TVP-15021111   2/17/2015   complete   Elinor      Wong          US   Elinor      Wong          US   braintree         USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021111   2/17/2015   complete   Elinor      Wong          US   Elinor      Wong          US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021112   2/18/2015   complete   Sarah       Almohannadi   QA   Sarah       Almohannadi   QA   braintree         USD   TVPAD-VIRT-003       1    0   25      25   TV Pad Website - TV Pad Store - English
TVP-15021113   2/18/2015   complete   Darren      Lee           GB   Darren      Lee           GB   paypal_standard   GBP   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021113   2/18/2015   complete   Darren      Lee           GB   Darren      Lee           GB   paypal_standard   GBP   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021114   2/18/2015   complete   Raymond     Wong          US   Raymond     Wong          US   braintree         USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021114   2/18/2015   complete   Raymond     Wong          US   Raymond     Wong          US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021115   2/18/2015   complete   Calvin      Lee           US   Calvin      Lee           US   braintree         USD   TVPAD-004         259    20    1    239    TV Pad Website - TV Pad Store - English
TVP-15021115   2/18/2015   complete   Calvin      Lee           US   Calvin      Lee           US   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021115   2/18/2015   complete   Calvin      Lee           US   Calvin      Lee           US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021116   2/18/2015   complete   Anthony     deng          US   Anthony     deng          US   braintree         USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021116   2/18/2015   complete   Anthony     deng          US   Anthony     deng          US   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021116   2/18/2015   complete   Anthony     deng          US   Anthony     deng          US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021117   2/18/2015   complete   Michael     Ong           AU   Michael     Ong           AU   paypal_standard   AUD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021117   2/18/2015   complete   Michael     Ong           AU   Michael     Ong           AU   paypal_standard   AUD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021117   2/18/2015   complete   Michael     Ong           AU   Michael     Ong           AU   paypal_standard   AUD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021119   2/18/2015   canceled   injae       kwak          AU   injae       kwak          AU   braintree         USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021119   2/18/2015   canceled   injae       kwak          AU   injae       kwak          AU   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021119   2/18/2015   canceled   injae       kwak          AU   injae       kwak          AU   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021120   2/18/2015   complete   Dara        Thach         US   Dara        Thach         US   braintree         USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021120   2/18/2015   complete   Dara        Thach         US   Dara        Thach         US   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021120   2/18/2015   complete   Dara        Thach         US   Dara        Thach         US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021121   2/18/2015   complete   Barbara     Meddings      GB   Barbara     Meddings      GB   braintree         USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021121   2/18/2015   complete   Barbara     Meddings      GB   Barbara     Meddings      GB   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021123   2/19/2015   complete   Alan        Zhu           US   Alan        Zhu           US   paypal_standard   USD   TVPAD-004         259    20    1    239    TV Pad Website - TV Pad Store - English
TVP-15021123   2/19/2015   complete   Alan        Zhu           US   Alan        Zhu           US   paypal_standard   USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021123   2/19/2015   complete   Alan        Zhu           US   Alan        Zhu           US   paypal_standard   USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021124   2/19/2015   complete   John        Park          NZ   John        Park          NZ   braintree         USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021126   2/19/2015   complete   Thanh       Lai           US   Thanh       Lai           US   braintree         USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021126   2/19/2015   complete   Thanh       Lai           US   Thanh       Lai           US   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021126   2/19/2015   complete   Thanh       Lai           US   Thanh       Lai           US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021127   2/19/2015   complete   Ken         Mui           NZ   Ken         Mui           NZ   braintree         AUD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021127   2/19/2015   complete   Ken         Mui           NZ   Ken         Mui           NZ   braintree         AUD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021128   2/19/2015   complete   Han         Park          US   Han         Park          US   paypal_standard   USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021128   2/19/2015   complete   Han         Park          US   Han         Park          US   paypal_standard   USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021129   2/20/2015   closed     Moon        Choung        US   Moon        Choung        US   paypal_standard   USD   TP4-US            329    20    1    309    TV Pad Website - TV Pad Store - English
TVP-15021129   2/20/2015   closed     Moon        Choung        US   Moon        Choung        US   paypal_standard   USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021122   2/23/2015   complete   Seoung      Cho           US   Seoung      Cho           US   braintree         USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021122   2/23/2015   complete   Seoung      Cho           US   Seoung      Cho           US   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021122   2/23/2015   complete   Seoung      Cho           US   Seoung      Cho           US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021130   2/20/2015   complete   Yihan       gao           US   Yihan       gao           US   braintree         USD   TP4-US            319    10    2    628    TV Pad Website - TV Pad Store - English
TVP-15021130   2/20/2015   complete   Yihan       gao           US   Yihan       gao           US   braintree         USD   HGIFT1               0    0    2       0   TV Pad Website - TV Pad Store - English
TVP-70011419   2/20/2015   closed     Tiffany     Hsiao         US   Tiffany     Hsiao         US   braintree         USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - Chinese
TVP-70011419   2/20/2015   closed     Tiffany     Hsiao         US   Tiffany     Hsiao         US   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011419   2/20/2015   closed     Tiffany     Hsiao         US   Tiffany     Hsiao         US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - Chinese
TVP-15021131   2/21/2015   complete   kany        kang          NZ   kany        kang          NZ   braintree         USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021131   2/21/2015   complete   kany        kang          NZ   kany        kang          NZ   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021131   2/21/2015   complete   kany        kang          NZ   kany        kang          NZ   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021132   2/23/2015   complete   Christine   Gee           NZ   Christine   Gee           NZ   braintree         USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021132   2/23/2015   complete   Christine   Gee           NZ   Christine   Gee           NZ   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021132   2/23/2015   complete   Christine   Gee           NZ   Christine   Gee           NZ   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021133   2/23/2015   complete   Qiong       Zheng         AU   Qiong       Zheng         AU   braintree         USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021133   2/23/2015   complete   Qiong       Zheng         AU   Qiong       Zheng         AU   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021135   2/23/2015   complete   Kevin       Chang         NL   Choi        Wong          NL   paypal_standard   USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021135   2/23/2015   complete   Kevin       Chang         NL   Choi        Wong          NL   paypal_standard   USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021136   2/23/2015   complete   Kwan        Chan          AU   Kwan        Chan          AU   braintree         USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021136   2/23/2015   complete   Kwan        Chan          AU   Kwan        Chan          AU   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021137   2/23/2015   complete   Chun        Kwan          US   Chun        Kwan          US   braintree         USD   TVPAD-004         259    20    1    239    TV Pad Website - TV Pad Store - English
TVP-15021137   2/23/2015   complete   Chun        Kwan          US   Chun        Kwan          US   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021137   2/23/2015   complete   Chun        Kwan          US   Chun        Kwan          US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021138   2/23/2015   complete   Shella      Kwok          GB   Shella      Kwok          GB   braintree         GBP   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021138   2/23/2015   complete   Shella      Kwok          GB   Shella      Kwok          GB   braintree         GBP   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021139   2/23/2015   complete   Doris       Jenq          US   Wai         Lam           US   braintree         USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021139   2/23/2015   complete   Doris       Jenq          US   Wai         Lam           US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021140   2/23/2015   complete   Siew        Lim           GB   Siew        Lim           GB   braintree         GBP   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021140   2/23/2015   complete   Siew        Lim           GB   Siew        Lim           GB   braintree         GBP   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021141   2/23/2015   complete   Yeow        Fong          GB   Yeow        Fong          GB   braintree         GBP   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021141   2/23/2015   complete   Yeow        Fong          GB   Yeow        Fong          GB   braintree         GBP   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021142   2/23/2015   complete   Stephen     Ng            US   Stephen     Ng            US   braintree         USD   TP4-US            329    20    1    309    TV Pad Website - TV Pad Store - English
TVP-15021142   2/23/2015   complete   Stephen     Ng            US   Stephen     Ng            US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021143   2/23/2015   complete   Asuka       yagi          NZ   Asuka       yagi          NZ   braintree         USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021143   2/23/2015   complete   Asuka       yagi          NZ   Asuka       yagi          NZ   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021143   2/23/2015   complete   Asuka       yagi          NZ   Asuka       yagi          NZ   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021144   2/23/2015   complete   eric        hui           US   eric        hui           US   paypal_standard   USD   TP4-US            329    20    1    309    TV Pad Website - TV Pad Store - English
TVP-15021144   2/23/2015   complete   eric        hui           US   eric        hui           US   paypal_standard   USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021145   2/23/2015   complete   Kyung       Nam           US   Kyung       Nam           US   braintree         USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021145   2/23/2015   complete   Kyung       Nam           US   Kyung       Nam           US   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021145   2/23/2015   complete   Kyung       Nam           US   Kyung       Nam           US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021146   2/23/2015   complete   Huashan     Wu            US   Huashan     Wu            US   braintree         USD   TVPAD-004         259    20    1    239    TV Pad Website - TV Pad Store - English
TVP-15021146   2/23/2015   complete   Huashan     Wu            US   Huashan     Wu            US   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021146   2/23/2015   complete   Huashan     Wu            US   Huashan     Wu            US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021147   2/27/2015   complete   Ang         Khin          MY   Ang         Khin          MY   braintree         USD   TVPAD-004         250    10    2    490    TV Pad Website - TV Pad Store - English
TVP-15021147   2/27/2015   complete   Ang         Khin          MY   Ang         Khin          MY   braintree         USD   HGIFT2               0    0    2       0   TV Pad Website - TV Pad Store - English
TVP-15021147   2/27/2015   complete   Ang         Khin          MY   Ang         Khin          MY   braintree         USD   HGIFT1               0    0    2       0   TV Pad Website - TV Pad Store - English
TVP-15021148   2/23/2015   complete   Christina   Djaja         ID   Christina   Djaja         SG   braintree         USD   TP4-US            319    20    2    618    TV Pad Website - TV Pad Store - English
TVP-15021148   2/23/2015   complete   Christina   Djaja         ID   Christina   Djaja         SG   braintree         USD   HGIFT1               0    0    2       0   TV Pad Website - TV Pad Store - English
TVP-70011420   2/23/2015   complete   Marita      Li            NZ   Marita      Li            NZ   braintree         USD   TP4-US            319    10    2    628    TV Pad Website - TV Pad Store - Chinese
TVP-70011420   2/23/2015   complete   Marita      Li            NZ   Marita      Li            NZ   braintree         USD   HGIFT1               0    0    2       0   TV Pad Website - TV Pad Store - Chinese
TVP-70011421   2/24/2015   complete   nash        lin           CA   nash        lin           CA   braintree         USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - Chinese
TVP-70011421   2/24/2015   complete   nash        lin           CA   nash        lin           CA   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - Chinese
TVP-15021149   2/23/2015   complete   fabian      loing         ID   fabian      loing         SG   braintree         USD   TP4-US            300    10   10   2990    TV Pad Website - TV Pad Store - English
TVP-15021150   2/23/2015   closed     Wai-Leung   Ng            JM   Wai-Leung   Ng            JM   paypal_standard   USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021150   2/23/2015   closed     Wai-Leung   Ng            JM   Wai-Leung   Ng            JM   paypal_standard   USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021150   2/23/2015   closed     Wai-Leung   Ng            JM   Wai-Leung   Ng            JM   paypal_standard   USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021151   2/23/2015   complete   matthew     grant         AU   matthew     grant         AU   braintree         USD   TVPAD-AC-001     29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15021152   2/23/2015   complete   Ajit        Nandipati     GB   Ajit        Nandipati     GB   braintree         GBP   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021152   2/23/2015   complete   Ajit        Nandipati     GB   Ajit        Nandipati     GB   braintree         GBP   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021152   2/23/2015   complete   Ajit        Nandipati     GB   Ajit        Nandipati     GB   braintree         GBP   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021153   2/23/2015   complete   Wendy       An            AU   Wendy       An            AU   braintree         USD   TVPAD-004         259    20    1    239    TV Pad Website - TV Pad Store - English
TVP-15021153   2/23/2015   complete   Wendy       An            AU   Wendy       An            AU   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021153   2/23/2015   complete   Wendy       An            AU   Wendy       An            AU   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021154   2/23/2015   closed     William     Vuong         US   William     Vuong         US   braintree         USD   TP4-US            329    20    1    309    TV Pad Website - TV Pad Store - English
TVP-15021154   2/23/2015   closed     William     Vuong         US   William     Vuong         US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021155   2/23/2015   complete   Mark        Seeger        US   Mark        Seeger        US   braintree         USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021155   2/23/2015   complete   Mark        Seeger        US   Mark        Seeger        US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021156   2/23/2015   complete   Jason       Gou           NZ   Jason       Gou           NZ   braintree         USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - English
TVP-15021156   2/23/2015   complete   Jason       Gou           NZ   Jason       Gou           NZ   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021158   2/24/2015   closed     Cindy       to            US   Cindy       to            US   braintree         USD   TVPAD-004         259    20    1    239    TV Pad Website - TV Pad Store - English
TVP-15021158   2/24/2015   closed     Cindy       to            US   Cindy       to            US   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021158   2/24/2015   closed     Cindy       to            US   Cindy       to            US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021159   2/23/2015   complete   Wai         Wong          US   Wai         Wong          US   braintree         USD   TP4-US            329    20    1    309    TV Pad Website - TV Pad Store - English
TVP-15021159   2/23/2015   complete   Wai         Wong          US   Wai         Wong          US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021160   2/23/2015   complete   Stephany    lui           US   Stephany    lui           US   braintree         USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
TVP-15021160   2/23/2015   complete   Stephany    lui           US   Stephany    lui           US   braintree         USD   HGIFT2               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021160   2/23/2015   complete   Stephany    lui           US   Stephany    lui           US   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - English
TVP-15021161   2/23/2015   complete   Hyunjae     Lee           HK   Hyunjae     Lee           HK   braintree         USD   TVPAD-AC-001     29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-70011423   2/24/2015   complete   Raymond     Kewan         CA   Raymond     Kewan         CA   braintree         USD   TP4-US            329    10    1    319    TV Pad Website - TV Pad Store - Chinese
TVP-70011423   2/24/2015   complete   Raymond     Kewan         CA   Raymond     Kewan         CA   braintree         USD   HGIFT1               0    0    1       0   TV Pad Website - TV Pad Store - Chinese
TVP-15021162   2/24/2015   complete   Boong-Kyu   Lee           US   Boong-Kyu   Lee           US   paypal_standard   USD   TVPAD-004         259    10    1    249    TV Pad Website - TV Pad Store - English
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                                   #:20523
TVP-15021162   2/24/2015   complete   Boong-Kyu   Lee          US   Boong-Kyu   Lee          US   paypal_standard   USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021162   2/24/2015   complete   Boong-Kyu   Lee          US   Boong-Kyu   Lee          US   paypal_standard   USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021163    3/3/2015   canceled   SeungJin    Lee          CR   SeungJin    Lee          CR   paypal_standard   USD   TVPAD-004         259      20    1     239    TV Pad Website - TV Pad Store - English
TVP-15021163    3/3/2015   canceled   SeungJin    Lee          CR   SeungJin    Lee          CR   paypal_standard   USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021163    3/3/2015   canceled   SeungJin    Lee          CR   SeungJin    Lee          CR   paypal_standard   USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021164   2/24/2015   complete   Kevin       Ng           US   Kevin       Ng           US   braintree         USD   TVPAD-004         259      20    1     239    TV Pad Website - TV Pad Store - English
TVP-15021164   2/24/2015   complete   Kevin       Ng           US   Kevin       Ng           US   braintree         USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021164   2/24/2015   complete   Kevin       Ng           US   Kevin       Ng           US   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-70011424   2/24/2015   complete   Yun         Liu          US   Yun         Liu          US   paypal_standard   USD   TVPAD-AC-001     29.99      0    1    29.99   TV Pad Website - TV Pad Store - Chinese
TVP-15021165   2/24/2015   closed     Jung        Pak          US   Jung        Pak          US   braintree         USD   TVPAD-004         259      10    1     249    TV Pad Website - TV Pad Store - English
TVP-15021165   2/24/2015   closed     Jung        Pak          US   Jung        Pak          US   braintree         USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021165   2/24/2015   closed     Jung        Pak          US   Jung        Pak          US   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021166   2/24/2015   complete   Yuqin       cao          US   Yuqin       cao          US   braintree         USD   TVPAD-AC-001     29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15021167   2/24/2015   complete   Jae         Kim          US   Jae         Kim          US   paypal_standard   USD   TVPAD-004         259      10    1     249    TV Pad Website - TV Pad Store - English
TVP-15021167   2/24/2015   complete   Jae         Kim          US   Jae         Kim          US   paypal_standard   USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021167   2/24/2015   complete   Jae         Kim          US   Jae         Kim          US   paypal_standard   USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021169   2/24/2015   complete   Pantene     Pan          US   Pantene     Pan          US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15021169   2/24/2015   complete   Pantene     Pan          US   Pantene     Pan          US   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021170   2/24/2015   canceled   Alain       Chan         US   Alain       Chan         US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15021170   2/24/2015   canceled   Alain       Chan         US   Alain       Chan         US   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021171   2/24/2015   complete   Biu         So           US   Biu         So           US   braintree         USD   TVPAD-004         259      10    1     249    TV Pad Website - TV Pad Store - English
TVP-15021171   2/24/2015   complete   Biu         So           US   Biu         So           US   braintree         USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021171   2/24/2015   complete   Biu         So           US   Biu         So           US   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021173   2/24/2015   complete   Kim         Lee          GB   Kim         Lee          GB   paypal_standard   GBP   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15021173   2/24/2015   complete   Kim         Lee          GB   Kim         Lee          GB   paypal_standard   GBP   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021174   2/24/2015   closed     Soo         Kim          AU   Soo         Kim          AU   braintree         USD   TVPAD-004         259      10    1     249    TV Pad Website - TV Pad Store - English
TVP-15021174   2/24/2015   closed     Soo         Kim          AU   Soo         Kim          AU   braintree         USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021174   2/24/2015   closed     Soo         Kim          AU   Soo         Kim          AU   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021175   2/24/2015   closed     How         Young        NZ   How         Young        NZ   braintree         USD   TVPAD-004         259      10    1     249    TV Pad Website - TV Pad Store - English
TVP-15021175   2/24/2015   closed     How         Young        NZ   How         Young        NZ   braintree         USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021175   2/24/2015   closed     How         Young        NZ   How         Young        NZ   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021176   2/25/2015   complete   Brenda      NG           AU   Brenda      NG           AU   braintree         USD   TP4-US            319      10    2     628    TV Pad Website - TV Pad Store - English
TVP-15021176   2/25/2015   complete   Brenda      NG           AU   Brenda      NG           AU   braintree         USD   HGIFT1               0      0    2        0   TV Pad Website - TV Pad Store - English
TVP-15021177   2/24/2015   closed     Gideon      Chong        NL   Gideon      Chong        NL   paypal_standard   USD   TVPAD-004         259      10    1     249    TV Pad Website - TV Pad Store - English
TVP-15021177   2/24/2015   closed     Gideon      Chong        NL   Gideon      Chong        NL   paypal_standard   USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021177   2/24/2015   closed     Gideon      Chong        NL   Gideon      Chong        NL   paypal_standard   USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021178    3/3/2015   complete   Ken         Lau          GB   Ken         Lau          GB   paypal_standard   USD   TVPAD-004         259      10    1     249    TV Pad Website - TV Pad Store - English
TVP-15021178    3/3/2015   complete   Ken         Lau          GB   Ken         Lau          GB   paypal_standard   USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021178    3/3/2015   complete   Ken         Lau          GB   Ken         Lau          GB   paypal_standard   USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021179   2/25/2015   complete   Wen         Shen         US   Wen         Shen         US   paypal_standard   USD   TVPAD-004         250      20    2     480    TV Pad Website - TV Pad Store - English
TVP-15021179   2/25/2015   complete   Wen         Shen         US   Wen         Shen         US   paypal_standard   USD   HGIFT2               0      0    2        0   TV Pad Website - TV Pad Store - English
TVP-15021179   2/25/2015   complete   Wen         Shen         US   Wen         Shen         US   paypal_standard   USD   HGIFT1               0      0    2        0   TV Pad Website - TV Pad Store - English
TVP-15021182   2/25/2015   complete   Xingjiang   Zhao         US   Xingjiang   Zhao         US   paypal_standard   USD   TVPAD-004         259      10    1     249    TV Pad Website - TV Pad Store - English
TVP-15021182   2/25/2015   complete   Xingjiang   Zhao         US   Xingjiang   Zhao         US   paypal_standard   USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021182   2/25/2015   complete   Xingjiang   Zhao         US   Xingjiang   Zhao         US   paypal_standard   USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021183   2/26/2015   complete   Carman      Lui          CA   My          Chung        CA   paypal_standard   CAD   TVPAD-004         259      10    1     249    TV Pad Website - TV Pad Store - English
TVP-15021183   2/26/2015   complete   Carman      Lui          CA   My          Chung        CA   paypal_standard   CAD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021183   2/26/2015   complete   Carman      Lui          CA   My          Chung        CA   paypal_standard   CAD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021184   2/25/2015   complete   Fui Yun     Lee          GB   Fui         lee          GB   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15021184   2/25/2015   complete   Fui Yun     Lee          GB   Fui         lee          GB   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021185   2/25/2015   complete   Ying        Liu          US   Ying        Liu          US   braintree         USD   TVPAD-004         259      20    1     239    TV Pad Website - TV Pad Store - English
TVP-15021185   2/25/2015   complete   Ying        Liu          US   Ying        Liu          US   braintree         USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021185   2/25/2015   complete   Ying        Liu          US   Ying        Liu          US   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021186   2/26/2015   complete   Lo          Tina         AT   Lo          Tina         AT   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15021186   2/26/2015   complete   Lo          Tina         AT   Lo          Tina         AT   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021187   2/26/2015   complete   John        Hwang        US   John        Hwang        US   paypal_standard   USD   TVPAD-004         259      20    1     239    TV Pad Website - TV Pad Store - English
TVP-15021187   2/26/2015   complete   John        Hwang        US   John        Hwang        US   paypal_standard   USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021187   2/26/2015   complete   John        Hwang        US   John        Hwang        US   paypal_standard   USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-70011425   2/26/2015   complete   Shi         Luo          NZ   Shi         Luo          NZ   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - Chinese
TVP-70011425   2/26/2015   complete   Shi         Luo          NZ   Shi         Luo          NZ   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - Chinese
TVP-15021189   2/26/2015   complete   Phong       Lu           SE   Phong       Lu           SE   braintree         USD   TVPAD-004         259      10    1     249    TV Pad Website - TV Pad Store - English
TVP-15021189   2/26/2015   complete   Phong       Lu           SE   Phong       Lu           SE   braintree         USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021189   2/26/2015   complete   Phong       Lu           SE   Phong       Lu           SE   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021190   2/26/2015   complete   Jason       Huang        NZ   Jason       Huang        NZ   paypal_standard   USD   TVPAD-004         259      10    1     249    TV Pad Website - TV Pad Store - English
TVP-15021190   2/26/2015   complete   Jason       Huang        NZ   Jason       Huang        NZ   paypal_standard   USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021190   2/26/2015   complete   Jason       Huang        NZ   Jason       Huang        NZ   paypal_standard   USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021191    3/3/2015   canceled   Jian        Li           AU   Jian        Li           AU   paypal_standard   USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15021191    3/3/2015   canceled   Jian        Li           AU   Jian        Li           AU   paypal_standard   USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021192   2/26/2015   complete   Albert      Chu          US   Albert      Chu          US   braintree         USD   TVPAD-004         259      20    1     239    TV Pad Website - TV Pad Store - English
TVP-15021192   2/26/2015   complete   Albert      Chu          US   Albert      Chu          US   braintree         USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021192   2/26/2015   complete   Albert      Chu          US   Albert      Chu          US   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021193   2/26/2015   closed     BYUNG       PARK         US   BYUNG       PARK         US   braintree         USD   TVPAD-004         259      10    1     249    TV Pad Website - TV Pad Store - English
TVP-15021193   2/26/2015   closed     BYUNG       PARK         US   BYUNG       PARK         US   braintree         USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021193   2/26/2015   closed     BYUNG       PARK         US   BYUNG       PARK         US   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021194   2/26/2015   complete   Kevin       Voong        GB   Kevin       Voong        GB   paypal_standard   GBP   TP4-US            329      20    1     309    TV Pad Website - TV Pad Store - English
TVP-15021194   2/26/2015   complete   Kevin       Voong        GB   Kevin       Voong        GB   paypal_standard   GBP   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021195   2/26/2015   complete   Chng        Kooi         MY   Chng        Kooi         MY   braintree         USD   TVPAD-004         259      10    1     249    TV Pad Website - TV Pad Store - English
TVP-15021195   2/26/2015   complete   Chng        Kooi         MY   Chng        Kooi         MY   braintree         USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021195   2/26/2015   complete   Chng        Kooi         MY   Chng        Kooi         MY   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021196   2/27/2015   closed     Chung       Yongsik      MY   Chung       Yongsik      MY   braintree         USD   TVPAD-004         259      10    1     249    TV Pad Website - TV Pad Store - English
TVP-15021196   2/27/2015   closed     Chung       Yongsik      MY   Chung       Yongsik      MY   braintree         USD   HGIFT2               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021196   2/27/2015   closed     Chung       Yongsik      MY   Chung       Yongsik      MY   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021197   2/27/2015   complete   Allan       Tannaya      US   Allan       Tannaya      US   paypal_standard   USD   TP4-US            319      20    2     618    TV Pad Website - TV Pad Store - English
TVP-15021197   2/27/2015   complete   Allan       Tannaya      US   Allan       Tannaya      US   paypal_standard   USD   HGIFT1               0      0    2        0   TV Pad Website - TV Pad Store - English
TVP-15021198   2/27/2015   complete   Choon       Lew          US   Choon       Lew          US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15021198   2/27/2015   complete   Choon       Lew          US   Choon       Lew          US   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021199   2/27/2015   closed     Wai-Leung   Ng           JM   Wai-Leung   Ng           JM   paypal_standard   USD   TVPAD-VIRT-003       1      0   25       25   TV Pad Website - TV Pad Store - English
TVP-15021200   2/28/2015   complete   Youling     Peng         US   Youling     Peng         US   braintree         USD   TVPAD-AC-001     29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15021201    3/7/2015   complete   warren      tang         US   Brandon     Tang         US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15021201    3/7/2015   complete   warren      tang         US   Brandon     Tang         US   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021202   2/28/2015   complete   Patrick     Luk          CA   Patrick     Luk          CA   paypal_standard   USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-70011427    3/2/2015   complete   Jing        Yue          AU   Jing        Yue          AU   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - Chinese
TVP-70011427    3/2/2015   complete   Jing        Yue          AU   Jing        Yue          AU   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - Chinese
TVP-15021203    3/2/2015   complete   weihao      wu           NZ   weihao      wu           NZ   braintree         USD   TP4-US            329      20    1     309    TV Pad Website - TV Pad Store - English
TVP-15021203    3/2/2015   complete   weihao      wu           NZ   weihao      wu           NZ   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021204    3/2/2015   complete   Daehyun     Jeon         AU   Daehyun     Jeon         AU   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15021204    3/2/2015   complete   Daehyun     Jeon         AU   Daehyun     Jeon         AU   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021205    3/2/2015   complete   Lynn        Luu          AU   Lynn        Luu          AU   paypal_standard   USD   TVPAD-AC-001     29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15021206    3/2/2015   complete   Soo         Wong         US   Soo         Wong         US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15021206    3/2/2015   complete   Soo         Wong         US   Soo         Wong         US   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021207    3/2/2015   complete   Stephen     Ting         US   Stephen     Ting         US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15021207    3/2/2015   complete   Stephen     Ting         US   Stephen     Ting         US   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021208    3/2/2015   complete   Patrick     Lee          US   Patrick     Lee          US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15021208    3/2/2015   complete   Patrick     Lee          US   Patrick     Lee          US   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15021209    3/2/2015   complete   W.J.R.      Ho           NL   W.J.R.      Ho           NL   paypal_standard   USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15021209    3/2/2015   complete   W.J.R.      Ho           NL   W.J.R.      Ho           NL   paypal_standard   USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15031010    3/2/2015   complete   Sun         Leung        US   Sun         Leung        US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031010    3/2/2015   complete   Sun         Leung        US   Sun         Leung        US   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15031011    3/2/2015   complete   Daniel      Ng           US   Daniel      Ng           US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031011    3/2/2015   complete   Daniel      Ng           US   Daniel      Ng           US   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15031012    3/3/2015   complete   Barbara     Lee          US   Barbara     Lee          US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031012    3/3/2015   complete   Barbara     Lee          US   Barbara     Lee          US   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15031013    3/2/2015   complete   Yao         Hu           NL   Yao         Hu           NL   paypal_standard   EUR   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031013    3/2/2015   complete   Yao         Hu           NL   Yao         Hu           NL   paypal_standard   EUR   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15031014    3/3/2015   complete   chi         ho           US   chi         ho           US   braintree         USD   TVPAD-AC-001     29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15031015    3/3/2015   complete   sue         yi           NZ   sue         yi           NZ   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031015    3/3/2015   complete   sue         yi           NZ   sue         yi           NZ   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15031016    3/3/2015   complete   zhihai      he           AU   zhihai      he           AU   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031016    3/3/2015   complete   zhihai      he           AU   zhihai      he           AU   braintree         USD   HGIFT1               0      0    1        0   TV Pad Website - TV Pad Store - English
TVP-15031017    3/4/2015   complete   Yachi       Liu          US   Yachi       Liu          TW   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031018    3/4/2015   complete   Li          Shellshear   US   Li          Shellshear   US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031019    3/4/2015   complete   Grace       Lee          AU   Grace       Lee          AU   braintree         AUD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031020    3/4/2015   complete   Julia       Lai          NZ   Julia       Lai          NZ   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031021    3/4/2015   complete   Jin         Ou           US   Jin         Ou           US   paypal_standard   USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031022    3/7/2015   complete   Cheuk       Lui          US   Calvin      Lui          US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031023    3/5/2015   complete   Ying        Liu          US   Ying        Liu          US   braintree         USD   TVPAD-VIRT-001      40      0    1       40   TV Pad Website - TV Pad Store - English
TVP-15031024    3/5/2015   complete   Phong       Lu           SE   Phong       Lu           SE   braintree         USD   TVPAD-VIRT-001      40      0    1       40   TV Pad Website - TV Pad Store - English
TVP-15031025    3/5/2015   complete   Alain       LUONG        FR   Alain       LUONG        FR   paypal_standard   USD   TVPAD-AC-001     29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15031026    3/5/2015   complete   kweerok     oh           US   kweerok     oh           US   braintree         USD   TVPAD-AC-001     29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15031027    3/5/2015   complete   Biu         So           US   Biu         So           US   braintree         USD   TVPAD-VIRT-001      40      0    1       40   TV Pad Website - TV Pad Store - English
TVP-15031028    3/5/2015   complete   Mei-Fen     Yen          US   Mei-Fen     Yen          US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031029    3/7/2015   complete   Celina      Leung        HK   Celina      Leung        AU   braintree         USD   TP4-US            319      10    2     628    TV Pad Website - TV Pad Store - English
TVP-15031030    3/6/2015   complete   Teo         JH           SG   Teo         JH           SG   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-70011428    3/6/2015   complete   Jingxian    Jian         NL   Jingxian    Jian         NL   braintree         USD   TP4-US            329    9.16    1   319.84   TV Pad Website - TV Pad Store - Chinese
TVP-70011428    3/6/2015   complete   Jingxian    Jian         NL   Jingxian    Jian         NL   braintree         USD   TVPAD-AC-001     29.99   0.84    1    29.15   TV Pad Website - TV Pad Store - Chinese
TVP-15031031    3/6/2015   complete   Albert      Chu          US   Albert      Chu          US   braintree         USD   TVPAD-VIRT-001      40      0    1       40   TV Pad Website - TV Pad Store - English
TVP-15031032    3/6/2015   complete   Kelly       Louie        US   Kelly       Louie        US   paypal_standard   USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031034    3/6/2015   complete   tommy       kuang        US   tommy       kuang        US   paypal_standard   USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031035    3/6/2015   complete   DAVID       OH           US   DAVID       OH           US   braintree         USD   TVPAD-AC-001     29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15031036    3/6/2015   complete   My          Chung        CA   My          Chung        CA   braintree         USD   TVPAD-VIRT-001      40      0    1       40   TV Pad Website - TV Pad Store - English
TVP-70011429    3/6/2015   complete   Xin         hong         US   Xin         hong         US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - Chinese
TVP-15031037    3/6/2015   complete   Chng        Kooi         MY   Chng        Kooi         MY   braintree         USD   TVPAD-VIRT-001      40      0    1       40   TV Pad Website - TV Pad Store - English
TVP-15031038    3/7/2015   complete   Edwards     Siher        US   Edwards     Siher        US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031039    3/7/2015   complete   Thomas      Wong         AU   Thomas      Wong         AU   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031040    3/9/2015   complete   Christine   Leung        AU   Christine   Leung        AU   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031041    3/9/2015   complete   Aye         Thwe         AU   Aye         Thwe         AU   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031042    3/9/2015   complete   Ang         Khin         MY   Ang         Khin         MY   braintree         USD   TVPAD-VIRT-001      40      0    1       40   TV Pad Website - TV Pad Store - English
TVP-15031044    3/9/2015   complete   Grant       Han          NZ   Grant       Han          NZ   paypal_standard   USD   TVPAD-AC-001     29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15031045    3/9/2015   canceled   James       Jang         CA   James       Jang         CA   paypal_standard   USD   TVPAD-004         259      10    1     249    TV Pad Website - TV Pad Store - English
TVP-15031046    3/9/2015   complete   Jason       Huang        NZ   Jason       Huang        NZ   braintree         USD   TVPAD-VIRT-001      40      0    1       40   TV Pad Website - TV Pad Store - English
TVP-15031047    3/9/2015   closed     Sharon      Fan          US   Sharon      Fan          US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031048    3/9/2015   complete   Mitchell    Choi         US   Mitchell    Choi         US   braintree         USD   TVPAD-004         259      10    1     249    TV Pad Website - TV Pad Store - English
TVP-15031049    3/9/2015   complete   Lai         Fah          MY   Lai         Fah          MY   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031051   3/10/2015   closed     Sandy       Wong         CA   Sandy       Wong         CA   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-70011431   3/10/2015   complete   Tsui        Leung        NO   Tsui        Leung        NO   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - Chinese
TVP-15031053   3/10/2015   closed     bryan       lee          US   bryan       lee          US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031056   3/10/2015   complete   Catherine   Poon         US   Catherine   Poon         US   paypal_standard   USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031058   3/11/2015   complete   Joe         Evans        US   Joe         Evans        US   paypal_standard   USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031059   3/11/2015   complete   Shwu        Liu          US   Shwu        Liu          US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
TVP-15031060   3/11/2015   canceled   SeungJin    Lee          CR   SeungJin    Lee          CR   paypal_standard   USD   TVPAD-VIRT-001      40      0    1       40   TV Pad Website - TV Pad Store - English
TVP-15031063   3/12/2015   canceled   Angela      To           GB   Angela      To           GB   braintree         GBP   TVPAD-AC-002     29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15031064   3/12/2015   complete   Chickwan    Tam          US   Chickwan    Tam          US   braintree         USD   TP4-US            329      10    1     319    TV Pad Website - TV Pad Store - English
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TVP-15031065   3/12/2015   complete   Ken            Lau             GB   Ken           Lau             GB   paypal_standard   USD   TVPAD-VIRT-001                    40      0   1       40   TV Pad Website - TV Pad Store - English
TVP-15031066   3/13/2015   closed     CHRISTOPHER KIM                US   CHRISTOPHER   KIM             US   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15031067   3/13/2015   complete   Minya          Zhao            US   Minya         Zhao            US   paypal_standard   USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15031068   3/14/2015   complete   Benedicta      Chan            CA   Ching         Lee             US   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15031069   3/13/2015   closed     BYUNG          PARK            US   BYUNG         PARK            US   braintree         USD   TVPAD-004                       259    8.96   1   250.04   TV Pad Website - TV Pad Store - English
TVP-15031069   3/13/2015   closed     BYUNG          PARK            US   BYUNG         PARK            US   braintree         USD   HGIFT2                         29.99   1.04   1    28.95   TV Pad Website - TV Pad Store - English
TVP-15031069   3/13/2015   closed     BYUNG          PARK            US   BYUNG         PARK            US   braintree         USD   HGIFT1                             0      0   1        0   TV Pad Website - TV Pad Store - English
TVP-15031070   3/13/2015   complete   Jyh            Chen            US   Jyh           Chen            US   braintree         USD   TVPAD-004                       259      20   1     239    TV Pad Website - TV Pad Store - English
TVP-15031071   3/13/2015   canceled   Hyojin         Kim             CA   Hyojin        Kim             CA   paypal_standard   USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15031072   3/14/2015   complete   Chun           Lee             AU   Chun          Lee             AU   braintree         USD   TP4-US                          319      10   3     947    TV Pad Website - TV Pad Store - English
TVP-15031073   3/14/2015   complete   Hongxuan       ge              US   Hongxuan      ge              US   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-70011433   3/14/2015   complete   Jun            Du              US   Jun           Du              US   braintree         USD   TP4-US                          329      20   1     309    TV Pad Website - TV Pad Store - Chinese
TVP-15031074   3/14/2015   closed     hui            ahn             US   hui           ahn             US   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15031075   3/14/2015   complete   Lisa           Ip              NO   Lisa          Ip              NO   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15031076   3/14/2015   complete   George         leung           US   George        leung           US   paypal_standard   USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15031077   3/14/2015   complete   Gee            Hoey            US   Gee           Hoey            US   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15031078   3/16/2015   complete   Ka             Tung            AU   Qian          Ma              AU   braintree         USD   TP4-US                          319      10   2     628    TV Pad Website - TV Pad Store - English
TVP-15031079   3/15/2015   complete   Selina         Duong           GB   Selina        Duong           GB   paypal_standard   USD   TVPAD-AC-001                   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15031080   3/15/2015   complete   Raymond        Cheung          SG   Raymond       Cheung          SG   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15031082   3/15/2015   complete   Kim            Hickle          US   Kim           Hickle          US   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-70011434   3/15/2015   complete   Yanhua         Cao             NZ   Yanhua        Cao             NZ   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - Chinese
TVP-15031083   3/16/2015   complete   ming           fung            NL   ming          fung            NL   paypal_standard   USD   TVPAD-AC-001                   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15031084   3/16/2015   complete   Michael        Chang           NL   Michael       Chang           NL   braintree         EUR   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15031085   3/16/2015   complete   Jin            Ou              US   Jin           Ou              US   paypal_standard   USD   TP4-US                          319      10   2     628    TV Pad Website - TV Pad Store - English
TVP-15031086   3/16/2015   complete   Raymond        Lee             US   Raymond       Lee             US   paypal_standard   USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15031087   3/16/2015   complete   Tze            Siu             NL   Tze           Siu             NL   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15031088   3/16/2015   complete   Jason          Liao            US   Jason         Liao            US   paypal_standard   USD   TP4-US                          329      20   1     309    TV Pad Website - TV Pad Store - English
TVP-15031089   3/17/2015   complete   Keng           Lee             GB   Keng          Lee             GB   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15031090   3/17/2015   complete   Kristen        Lin             US   Kristen       Lin             US   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15031091   3/17/2015   complete   Jungmi         Park            NZ   Jungmi        Park            NZ   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-70011435   3/17/2015   complete   Jayla          Xuan            AU   Jayla         Xuan            AU   paypal_standard   AUD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - Chinese
TVP-15031092   3/17/2015   complete   vincent        auyeung         US   vincent       auyeung         US   braintree         USD   TP4-US                          329      10   1     319    TV Pad Website - TV Pad Store - English
TVP-15031094   3/18/2015   closed     Kyoung         lee             US   Kyoung        lee             US   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15031095   3/18/2015   closed     Eric           So              US   Eric          So              US   braintree         USD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031096   3/18/2015   complete   Kelly          Shi             GB   Kelly         Shi             GB   paypal_standard   GBP   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031097   3/18/2015   complete   Gerardo        Jr.             US   Tzutai        Chou            US   paypal_standard   USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031098   3/18/2015   closed     kevin          kang            US   kevin         kang            US   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15031099   3/18/2015   closed     Yatso          Chan            US   Yatso         Chan            US   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15031100   3/18/2015   complete   Phong          Truong          US   Phong         Truong          US   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15031101   3/18/2015   complete   Katy           Lau             CA   Katy          Lau             CA   paypal_standard   USD   TVPAD-004                       259      20   1     239    TV Pad Website - TV Pad Store - English
TVP-15031102   3/18/2015   complete   Peng           li              US   Peng          li              US   braintree         USD   TVPAD-AC-003-TVPAD-AC-003-US   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15031103   3/18/2015   complete   Frederick      wong            US   Frederick     wong            US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031104   3/18/2015   complete   Jinbiao        Kuang           US   Jinbiao       Kuang           US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031106   3/18/2015   complete   Jun            cheung          GB   Jun           cheung          GB   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031108   3/18/2015   complete   claudia        wee             AU   claudia       wee             AU   braintree         USD   TVPAD-AC-001                   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15031109   3/18/2015   closed     Eun            Ku              AU   Eun           Ku              AU   braintree         USD   TVPAD-004                       259      10   1     249    TV Pad Website - TV Pad Store - English
TVP-15031110   3/19/2015   complete   Rod            Spearer         AU   Rod           Spearer         AU   paypal_standard   USD   TVPAD-AC-001                   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15031111   3/19/2015   complete   Mark           Cho             CA   Mark          Cho             CA   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031112   3/19/2015   complete   Earl           Jr.             US   Kyong         Yamashiro       US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031118   3/19/2015   closed     Agnieszka      Zawada          PL   Agnieszka     Zawada          PL   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031117   3/19/2015   complete   Sean-Li        Murmann         MY   Sean-Li       Murmann         MY   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031119   3/20/2015   complete   Jyh            Chen            US   Jyh           Chen            US   braintree         USD   TVPAD-VIRT-001                    40      0   1       40   TV Pad Website - TV Pad Store - English
TVP-15031120   3/20/2015   complete   HUANG          XUAN            AU   HUANG         XUAN            AU   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031121   3/20/2015   complete   Yuhang         Lui             US   Yuhang        Lui             US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031122   3/20/2015   complete   Junyu          Ruan            NZ   Junyu         Ruan            NZ   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031123   3/21/2015   complete   Zhenrui        Zhang           US   Zhenrui       Zhang           US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031124   3/21/2015   complete   Jonney         Jung            CA   Jonney        Jung            CA   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031125   3/21/2015   complete   yu             lin             US   yu            lin             US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031126   3/23/2015   complete   Eui-Sik        Hong            KR   Eui-Sik       Hong            KR   paypal_standard   USD   TVPAD-AC-001                   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15031127   3/23/2015   complete   Katy           Lau             CA   Katy          Lau             CA   paypal_standard   USD   TVPAD-VIRT-001                    40      0   1       40   TV Pad Website - TV Pad Store - English
TVP-70011436   3/23/2015   complete   Yuan           Zhao            CA   Yuan          Zhao            CA   paypal_standard   USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - Chinese
TVP-15031128   3/23/2015   complete   long           cun             US   long          cun             US   paypal_standard   USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031129   3/23/2015   complete   sheung         chu             US   sheung        chu             US   braintree         USD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031130   3/23/2015   complete   Boon           Cheng           AU   Boon          Cheng           AU   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031131   3/23/2015   complete   NHAN           Hung            FR   NHAN          Hung            FR   paypal_standard   USD   TVPAD-AC-001                   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15031132   3/23/2015   complete   Jason          Liao            US   Jason         Liao            US   paypal_standard   USD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031133   3/23/2015   complete   John           Fong            US   John          Fong            US   braintree         USD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031135   3/23/2015   complete   Emma           phung           GB   Emma          phung           GB   braintree         GBP   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031136   3/23/2015   complete   Vernon         Hui             US   Vernon        Hui             US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031137   3/23/2015   complete   Aaron          Kim             GU   Aaron         Kim             GU   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031139   3/23/2015   complete   Oliver         Choy            US   Oliver        Choy            US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031140   3/23/2015   complete   Cheong         Chan            NZ   Cheong        Chan            NZ   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031141   3/23/2015   complete   James          Campbell        GB   James         Campbell        GB   paypal_standard   GBP   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031143   3/24/2015   complete   Pin            Yip             GB   Pin           Yip             GB   paypal_standard   USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031144   3/24/2015   complete   Eddy           Sukmono         ID   Eddy          Sukmono         ID   braintree         USD   TVPAD-AC-001                   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15031145   3/24/2015   complete   Waikei         Lo              US   Waikei        Lo              US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031146   3/24/2015   complete   peter          wong            US   peter         wong            US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031147   3/24/2015   complete   Yan            Yan             US   Yan           Yan             US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031148   3/24/2015   complete   Jason          Kwon            AU   Jason         Kwon            AU   braintree         USD   TVPAD-AC-001                   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15031149   3/24/2015   complete   Keith          Yang            NZ   Keith         Yang            NZ   braintree         USD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031150   3/24/2015   complete   Daisy          Moore           US   Daisy         Moore           US   paypal_standard   USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031151   3/24/2015   complete   Xu             Li              US   Xu            Li              US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031152   3/24/2015   complete   Chiamin        Cheng           US   Chiamin       Cheng           US   braintree         USD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031153   3/25/2015   complete   Voy            Yuen            DE   Voy           Yuen            DE   paypal_standard   EUR   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031154   3/25/2015   complete   Jin            Chen            US   Jin           Chen            US   braintree         USD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031155   3/26/2015   complete   Belle          Wong            AU   Belle         Wong            AU   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031156   3/26/2015   complete   Wayne          Leung           GB   Wayne         Leung           GB   paypal_standard   GBP   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031157   3/26/2015   closed     liping         huang           US   liping        huang           US   braintree         USD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031158   3/26/2015   complete   Ken            Fung            US   Ken           Fung            US   paypal_standard   USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031159   3/26/2015   complete   Phong          Truong          US   Phong         Truong          US   braintree         USD   TVPAD-VIRT-001                    40      0   1       40   TV Pad Website - TV Pad Store - English
TVP-15031160   3/26/2015   complete   Ju             Kang            US   Jae           Lee             US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031161   3/26/2015   complete   Simon          Yik             CA   Simon         Yik             CA   paypal_standard   CAD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031162   3/29/2015   complete   Tze            Chung           AU   Thomas        Chung           AU   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031163   3/27/2015   complete   Jen            Wu              NL   Jen           Wu              NL   braintree         EUR   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031164   3/27/2015   complete   Na             Yi              US   Na            Yi              US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031165   3/27/2015   complete   William        Yue             US   William       Yue             US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031166   3/27/2015   complete   Bevan          Wong            NZ   Bevan         Wong            NZ   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031167   3/27/2015   complete   WISUSANNA TIOE                 AU   WISUSANNA     TIOE            AU   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031168   3/28/2015   complete   jeffrey        tan             CA   jeffrey       tan             CA   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031169   3/28/2015   complete   Yenjie         Chong           GB   Yenjie        Chong           GB   braintree         GBP   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031170   3/29/2015   complete   Won            Hee Lee         HK   Won           Hee Lee         HK   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031171   3/29/2015   complete   FUI            TAN             AU   FUI           TAN             AU   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031172   3/29/2015   complete   Sander         Mulder          NL   Sander        Mulder          NL   braintree         USD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031173   3/29/2015   complete   ChangSheng Foo                 SG   ChangSheng    Foo             SG   braintree         USD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031174   3/29/2015   complete   Albert         Chau            CA   Albert        Chau            CA   paypal_standard   USD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031175   3/29/2015   complete   Quentin        Liu             FR   Quentin       Liu             FR   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031176   3/29/2015   complete   Sylvia         Kong            US   Sylvia        Kong            US   braintree         USD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031178   3/29/2015   complete   Catherine      Chan            AU   Catherine     Chan            AU   paypal_standard   AUD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031179   3/29/2015   complete   Kenneth        Kwok            US   Ken           Kwok            US   braintree         USD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031180   3/29/2015   complete   Shing          ma              US   Shing         ma              US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031181   3/29/2015   complete   Xuxiang        Yang            AU   Xuxiang       Yang            AU   braintree         USD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031182   3/29/2015   complete   Dongbin        Zhao            CH   Dongbin       Zhao            CH   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031183   3/29/2015   complete   Fung           Ho              AU   Fung          Ho              AU   braintree         AUD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031184   3/29/2015   complete   David          Woo             AU   David         Woo             AU   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031186   3/30/2015   complete   Jack           L               IE   Jack          L               IE   paypal_standard   USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031187   3/30/2015   complete   Ivan           Lew             GB   Ivan          Lew             GB   paypal_standard   USD   TVPAD-AC-001                   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15031188   3/30/2015   complete   Sam            Chan            CA   Sam           Chan            CA   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031189   3/31/2015   complete   Lelin          Hu              AU   Lelin         Hu              AU   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031190   3/31/2015   complete   Neil           Maklafferdich   AU   Neil          Maklafferdich   AU   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031191   3/31/2015   complete   Kitty          Chan            US   Kitty         Chan            US   braintree         USD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15031192   3/31/2015   complete   Mu             Li              CA   Mu            Li              CA   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031193   3/31/2015   complete   Caterina       Lee             US   Caterina      Lee             US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-70011437   3/31/2015   complete   YULIA          LIN             NZ   YULIA         LIN             NZ   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - Chinese
TVP-15031194   3/31/2015   complete   Leiyang        Xu              US   Leiyang       Xu              US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031195   3/31/2015   complete   David          chon            US   David         chon            US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031196   3/31/2015   complete   Johnson        Yee             AU   Johnson       Yee             AU   braintree         USD   TP4-US                          299      10   3     887    TV Pad Website - TV Pad Store - English
TVP-15031197   3/31/2015   complete   Joseph         Chiu            NZ   Joseph        Chiu            NZ   paypal_standard   USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031198   3/31/2015   complete   Hong           SungSil         DE   Hong          SungSil         US   braintree         EUR   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15031200    4/1/2015   complete   Lisa           Ip              NO   Lisa          Ip              NO   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041010    4/2/2015   complete   N              YEEKEE          US   N             YEEKEE          US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041012    4/2/2015   complete   Paul           Wong            CA   Paul          Wong            CA   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041013    4/2/2015   complete   Lingjun        Bo              US   Lingjun       Bo              US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041014    4/3/2015   complete   Alger          Du              AU   Alger         Du              AU   braintree         USD   TP4-US                          309      10   2     608    TV Pad Website - TV Pad Store - English
TVP-15041015   4/13/2015   canceled   Paul           ryu             CA   Paul          ryu             CA   braintree         USD   TP4-US                          309      10   2     608    TV Pad Website - TV Pad Store - English
TVP-15041016    4/5/2015   complete   Kai            Chang           US   Kai           Chang           US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041018    4/3/2015   complete   Nang           Ng              US   Nang          Ng              US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041020    4/3/2015   complete   Peter          Ngai            US   Peter         Ngai            US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041021    4/3/2015   complete   Ashley         Wu              US   Yasan         Chen            US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041022    4/3/2015   complete   Yingyi         Zhang           DE   Yingyi        Zhang           DE   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041023    4/3/2015   canceled   Beatrice       Ly              SE   Beatrice      Ly              SE   braintree         USD   TVPAD-AC-001                   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15041024    4/3/2015   complete   Bao            ly              NO   Bao           ly              NO   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041025    4/6/2015   complete   NgaYee         Kwong           SG   NgaYee        Kwong           SG   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041027    4/5/2015   complete   HungYan        Shing           NL   HungYan       Shing           NL   braintree         EUR   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15041028    4/5/2015   complete   ziyang         su              US   ziyang        su              US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041029    4/6/2015   complete   Lilly          Wong            NZ   Lilly         Wong            NZ   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041030    4/6/2015   complete   Cheng          Lo              AU   Cheng         Lo              AU   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041031    4/6/2015   complete   Pei            hsu             US   Pei           hsu             US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041032    4/6/2015   complete   Qiao           Zhou            CA   Qiao          Zhou            CA   braintree         CAD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041033    4/6/2015   complete   Alice          Leung           AU   Alice         Leung           AU   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041034    4/6/2015   canceled   Kevin          Connors         US   Kevin         Connors         US   braintree         USD   TVPAD-AC-001                   29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15041035    4/6/2015   complete   chi            ho              GB   chi           ho              GB   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041036    4/6/2015   complete   sam            zhou            US   sam           zhou            US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041037    4/7/2015   complete   Apple          Wong            IE   Apple         Wong            IE   braintree         EUR   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041039    4/7/2015   complete   chao           yang            US   chao          yang            US   braintree         USD   TP4-US                          309      20   1     289    TV Pad Website - TV Pad Store - English
TVP-15041040    4/7/2015   complete   LEMIN          ZHU             GB   LEMIN         ZHU             GB   braintree         GBP   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041043    4/7/2015   closed     eric           bae             US   eric          bae             US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041044    4/7/2015   complete   Lillian        Liu             US   Lillian       Liu             US   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041045    4/7/2015   complete   Chi Fai Andrew So              SG   Chi           So              SG   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041046    4/7/2015   complete   Lucy           Chai            AU   Lucy          Chai            AU   braintree         AUD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041047    4/7/2015   complete   Julia          Lai             NZ   Julia         lai             NZ   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041048    4/7/2015   complete   Dippold        Herbert         AT   Dippold       Herbert         AT   braintree         USD   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
TVP-15041050    4/8/2015   complete   Teddy          Chow            GB   Teddy         Chow            GB   braintree         GBP   TP4-US                          309      10   1     299    TV Pad Website - TV Pad Store - English
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                                   #:20525
TVP-15041051    4/8/2015   complete   Seogil      Yoon          CA   Seogil         Yoon          CA   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041052    4/8/2015   complete   Roger       Pun           CA   Roger          Pun           CA   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041055    4/8/2015   complete   Jasmine     Hang          GB   Jasmine        Hang          GB   braintree         GBP   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041057    4/9/2015   complete   Linda       Lee           CA   Linda          Lee           CA   braintree         CAD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041058    4/9/2015   complete   Mrs         Cheungmo      GB   Pik            Cheung        GB   braintree         GBP   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041061   4/10/2015   complete   Jason       wu            US   Jason          wu            US   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041059   4/10/2015   complete   John        Yi            US   John           Yi            US   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041065   4/11/2015   complete   Kit         Wong          AU   Kit            Wong          AU   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041067   4/13/2015   complete   Jieling     Liu           GY   Jieling        Liu           GY   braintree         CAD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041068   4/13/2015   complete   ManYee      So            NZ   ManYee         So            NZ   braintree         USD   TP4-US                          309      10    2     608    TV Pad Website - TV Pad Store - English
TVP-15041070   4/13/2015   canceled   Him         Yip           GB   Him            Yip           GB   paypal_standard   GBP   TVPAD-AC-005                   29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15041071   4/13/2015   complete   Martin      Zheng         AU   Martin         Zheng         AU   braintree         USD   TP4-US                          309      20    1     289    TV Pad Website - TV Pad Store - English
TVP-15041073   4/13/2015   complete   SyeKong     YONG          CH   SyeKong        YONG          CH   braintree         USD   TP4-US                          309      20    1     289    TV Pad Website - TV Pad Store - English
TVP-15041075   4/13/2015   complete   Phuong      Nguyen        GB   Phuong         Nguyen        GB   braintree         GBP   TP4-US                          309      20    1     289    TV Pad Website - TV Pad Store - English
TVP-15041079   4/13/2015   complete   Gavin       Choy          IE   Gavin          Choy          IE   paypal_standard   USD   TVPAD-AC-001                   29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15041080   4/13/2015   complete   Kang        Chan          GB   Kang           Chan          GB   braintree         GBP   TVPAD-AC-001                   29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15041081   4/13/2015   complete   Vivian      Chan          AU   Vivian         Chan          AU   paypal_standard   USD   TVPAD-AC-001                   29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15041082   4/13/2015   complete   zhi wei     yang          US   zhi wei        yang          US   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041085   4/13/2015   complete   Jieling     Liu           GY   Jieling        Liu           GY   braintree         CAD   TVPAD-VIRT-003                     1      0   25       25   TV Pad Website - TV Pad Store - English
TVP-15041086   4/13/2015   complete   Lai         Kong          AU   Lai            Kong          AU   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041087   4/13/2015   complete   ANN         LEE           AU   ANN            LEE           AU   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041088   4/13/2015   complete   kristy      yap           AU   kristy         yap           AU   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041089   4/13/2015   complete   Chi-Hong    Sit           GB   Chi-Hong       Sit           GB   braintree         GBP   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041090   4/14/2015   complete   Virginia    Ng            NZ   Virginia       Ng            NZ   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041091   4/14/2015   complete   Tet         hiew          TH   Tet            hiew          TH   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041092   4/14/2015   complete   Jeanne      Phommahaxay   FR   Jeanne         Phommahaxay   FR   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041093   4/14/2015   complete   melissa     zang          AU   melissa        zang          AU   braintree         AUD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041094   4/15/2015   complete   HungTiong   Tan           SG   HungTiong      Tan           SG   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041095   4/16/2015   complete   Jun         Mo            US   Jun            Mo            US   braintree         USD   TP4-US                          309      20    2     598    TV Pad Website - TV Pad Store - English
TVP-15041096   4/15/2015   complete   Raymond     Tse           US   Raymond        Tse           US   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041098   4/15/2015   complete   sunny       yang          NZ   sunny          yang          NZ   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041099   4/15/2015   complete   Belle       fong          AU   Belle          fong          AU   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041100   4/15/2015   complete   CHOI        HO            MY   CHOI           HO            MY   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041101   4/15/2015   complete   Cong        Li            AU   Cong           Li            AU   paypal_standard   USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041102   4/15/2015   complete   Pedro       Choi          US   Pedro          Choi          US   paypal_standard   USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041103   4/16/2015   complete   Dam Xay     Ha            AT   Dam Xay        Ha            AT   braintree         EUR   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041104   4/17/2015   complete   Kwong       Yap           US   Peng           Li            US   braintree         USD   TP4-US                          309      20    1     289    TV Pad Website - TV Pad Store - English
TVP-15041105   4/16/2015   complete   Kwong       Yap           US   Kwong          Yap           US   braintree         USD   TP4-US                          309      20    1     289    TV Pad Website - TV Pad Store - English
TVP-15041106   4/16/2015   complete   John        Low           AU   John           Low           AU   paypal_standard   USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041107   4/17/2015   complete   ming        sun           GB   ming           sun           GB   braintree         GBP   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041109   4/17/2015   complete   G           Chen          ZA   G              Chen          ZA   braintree         USD   TVPAD-AC-001                   29.99   0.88    1    29.11   TV Pad Website - TV Pad Store - English
TVP-15041109   4/17/2015   complete   G           Chen          ZA   G              Chen          ZA   braintree         USD   TP4-US                          309    9.12    1   299.88   TV Pad Website - TV Pad Store - English
TVP-70011440   4/17/2015   complete   emmi        jia           AU   emmi           jia           AU   braintree         AUD   TVPAD-AC-001                   29.99      0    1    29.99   TV Pad Website - TV Pad Store - Chinese
TVP-15041110   4/17/2015   complete   Wennie      Hoang         US   Wennie         Hoang         US   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041111   4/18/2015   complete   Cheng-Chuen Lim           SG   Cheng-Chuen    Lim           SG   paypal_standard   USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041112   4/18/2015   complete   Elma        Blum          US   Elma           Blum          US   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041113   4/19/2015   complete   Crystal     Koh           AU   Crystal        Koh           AU   paypal_standard   USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041114   4/19/2015   complete   Mark        Sze           US   Mark           Sze           US   braintree         USD   TP4-US                          309      20    1     289    TV Pad Website - TV Pad Store - English
TVP-15041115   4/19/2015   complete   patrick     wong          PH   patrick        wong          PH   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041116   4/20/2015   complete   Kiki        Cheung        US   Kiki           Cheung        US   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041117   4/20/2015   complete   khor        kokhow        JP   khor           kokhow        JP   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041118   4/20/2015   complete   Jenny       Ng            AU   Jenny          Ng            AU   paypal_standard   USD   TVPAD-AC-001                   29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15041119   4/20/2015   complete   Albert      Lim           SG   Albert         Lim           SG   paypal_standard   USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041120   4/20/2015   complete   Richard     Jew           US   Richard        Jew           US   braintree         USD   TP4-US                          309      20    1     289    TV Pad Website - TV Pad Store - English
TVP-15041121   4/20/2015   complete   Kuan        Leong         AU   Kuan           Leong         AU   paypal_standard   USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041122   4/20/2015   complete   Ying        Lee           GB   Jenny          lao           GB   paypal_standard   GBP   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041123   4/21/2015   complete   Vincent     MA            FR   Vincent        MA            FR   paypal_standard   EUR   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041124   4/21/2015   complete   wai         chan          GB   wai            chan          GB   paypal_standard   USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041125   4/21/2015   complete   Brian       Kim           US   Brian          Kim           US   braintree         USD   TP4-US                          309      10    1     299    TV Pad Website - TV Pad Store - English
TVP-15041126   4/22/2015   complete   Angela      Ng            US   Angela         Ng            US   braintree         USD   TP4-US                          309      20    1     289    TV Pad Website - TV Pad Store - English
TVP-15041127   4/22/2015   complete   kin         kwong         US   kin            kwong         US   paypal_standard   USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041128   4/22/2015   complete   Elaine      Wei           US   Elaine         Wei           US   paypal_standard   USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041129   4/22/2015   complete   Yong        Chen          US   yong           chen          US   paypal_standard   USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15041130   4/22/2015   complete   Tony        Huynh         US   Tony           Huynh         US   paypal_standard   USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041131   4/23/2015   complete   Min         Lee           US   Min            Lee           US   paypal_standard   USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041132   4/23/2015   complete   Henry       Truong        US   Henry          Truong        US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15041133   4/23/2015   complete   Weitao      He            US   Weitao         He            US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041134   4/23/2015   complete   Cindy       Shaw          US   Cindy          Shaw          US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15041135   4/23/2015   complete   Kwan        Lee           US   Kwan           Lee           US   paypal_standard   USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15041136   4/23/2015   complete   Robert      Lee           US   Robert         Lee           US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041137   4/24/2015   complete   Wendy       luo           AU   Wendy          luo           AU   paypal_standard   AUD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041138   4/24/2015   complete   Kheng       Koay          GB   Kheng          Koay          GB   braintree         GBP   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041139   4/25/2015   complete   hao         wang          GB   hao            wang          GB   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041140   4/25/2015   complete   TONY-HON-YANFU            CA   TONY-HON-YAN   FU            CA   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041141   4/25/2015   complete   Jamie       Huang         US   Jamie          Huang         US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041142   4/26/2015   complete   HUNGBUN     LUI           US   HUNGBUN        LUI           US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15041143   4/26/2015   canceled   Thorsten    Bellack       DE   Thorsten       Bellack       DE   braintree         USD   TVPAD-AC-001                   29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15041144   4/26/2015   complete   Tony        ngai          GB   Tony           ngai          GB   braintree         GBP   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15041146   4/26/2015   complete   Daniel      Westfall      US   Daniel         Westfall      US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-70011441   4/26/2015   complete   Xie,        Xiuying       US   Xie,           Xiuying       US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - Chinese
TVP-15041147   4/27/2015   complete   Ray         Cheung        AU   Rebecca        Wong          AU   paypal_standard   USD   TVPAD-AC-003-TVPAD-AC-003-AU   29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15041149   4/27/2015   complete   James       wong          GB   James          wong          GB   braintree         USD   TP4-US                          289      10    2     568    TV Pad Website - TV Pad Store - English
TVP-15041150   4/27/2015   complete   Benjamin    Tam           US   Ricky          Chan          US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15041151   4/27/2015   complete   Eva         Ho            AU   Eva            Ho            AU   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041152   4/28/2015   complete   Yukshu      Ho            GB   Yukshu         Ho            GB   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15041153   4/28/2015   complete   John        Kan           GB   John           Kan           GB   braintree         GBP   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041154   4/28/2015   complete   Lucienne    Ly            FR   Victor         Lam           US   braintree         EUR   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041155   4/28/2015   complete   John        Yu            US   John           Yu            US   braintree         USD   TP4-US                          289      10    2     568    TV Pad Website - TV Pad Store - English
TVP-15041156   4/28/2015   complete   Yousuk      Min           US   Patrick        Min           US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15041157   4/28/2015   complete   Wai         Tang          US   Wai            Tang          US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041158   4/28/2015   complete   Hosuk       Jang          US   Hosuk          Jang          CA   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041159   4/28/2015   complete   Kit         Lee           GB   Kit            Lee           GB   braintree         GBP   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041160   4/28/2015   complete   Nam         TEO           AU   Nam            TEO           AU   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041161   4/28/2015   complete   Pae         Ng            US   Pae            Ng            US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15041162   4/28/2015   complete   Yap         Fun           SG   Yap            Fun           SG   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041163   4/28/2015   complete   li          zheng         AU   li             zheng         AU   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041164   4/28/2015   complete   Harry       Chen          NZ   Harry          Chen          NZ   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041166   4/29/2015   complete   John        Han           US   John           Han           US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15041167   4/29/2015   complete   Than        Linn          US   Than           Linn          US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15041168   4/29/2015   complete   SIMON       TAM           US   SIMON          TAM           US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15041169   4/29/2015   complete   Chang       Jeon          US   Chang          Jeon          TH   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-70011442   4/29/2015   complete   Louis       Liu           NZ   Louis          Liu           NZ   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - Chinese
TVP-15041170   4/30/2015   complete   Phillip     Huang         US   Phillip        Huang         US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15041171    5/3/2015   complete   Tommy       Lo            US   Tommy          Lo            US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041172   4/30/2015   complete   Kenny       Mo            GB   Kenny          Mo            GB   braintree         GBP   TP4-US                          289      10    2     568    TV Pad Website - TV Pad Store - English
TVP-15041174   4/30/2015   complete   Helena      Ou            US   Helena         Ou            US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15041175    5/1/2015   complete   Zhiyun      Chan          US   Annie          Chan          US   braintree         USD   TP4-US                          289      10    2     568    TV Pad Website - TV Pad Store - English
TVP-15041176   4/30/2015   complete   Ricky       Chan          US   Ricky          Chan          US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15041177   4/30/2015   complete   Amuoi       Chu           GB   Amuoi          Chu           GB   braintree         GBP   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041179   4/30/2015   complete   Han         Li            AU   Han            Li            AU   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041180   5/14/2015   canceled   Anders      Hovland       NO   Anders         Hovland       NO   paypal_standard   USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041181    5/1/2015   complete   CHEN        ZENG          CA   CHEN           ZENG          CA   braintree         CAD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15041182    5/1/2015   complete   Dexin       Kong          AU   Dexin          Kong          AU   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051011    5/2/2015   complete   W           TSANG         GB   W              TSANG         GB   braintree         GBP   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15051012    5/2/2015   closed     Matthew     Ha            US   Matthew        Ha            US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051013    5/2/2015   complete   Robert      Pearson       US   Robert         Pearson       US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15051016    5/2/2015   complete   Hong        Yang          AU   Hong           Yang          AU   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051017    5/3/2015   complete   Qing        Lu            AU   Qing           Lu            AU   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051018    5/3/2015   complete   CHRIS       SEEBACHER     AU   CHRIS          SEEBACHER     AU   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051019    5/3/2015   complete   Tin         Shum          US   Tin            Shum          US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15051020    5/3/2015   complete   seungjae    lee           US   seungjae       lee           US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051022    5/5/2015   complete   Anne        Phung         US   Anne           Phung         US   braintree         USD   TP4-US                          289      10    2     568    TV Pad Website - TV Pad Store - English
TVP-15051023    5/4/2015   complete   Kelvin      Yuen          US   Kelvin         Yuen          US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051024    5/4/2015   complete   STEPHEN     PAN           US   STEPHEN        PAN           US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15051025    5/4/2015   complete   Sam         Yip           NZ   Sam            Yip           NZ   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-14121343    5/4/2015   complete   Sandra      Leung         US   Sandra         Leung         US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-70011446    5/4/2015   complete   ling        chen          GB   ling           chen          GB   braintree         GBP   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - Chinese
TVP-70011447    5/4/2015   complete   Jane        Tran          US   Jane           Tran          US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - Chinese
TVP-70011448    5/4/2015   complete   Lok         Ling          IE   Lok            Ling          IE   braintree         EUR   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - Chinese
TVP-15051026    5/4/2015   complete   Will        Jeong         US   Will           Jeong         US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051027    5/4/2015   complete   Yuen        Yip           AU   Yuen           Yip           AU   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051028    5/4/2015   complete   Ly          TAN           FR   Ly             TAN           FR   braintree         EUR   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051029    5/4/2015   complete   TAY         MING          MY   TAY            MING          MY   paypal_standard   USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051030    5/5/2015   complete   Steven      Cheung        GB   Steven         Cheung        GB   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-70011449    5/6/2015   complete   Johnny      Lu            US   Johnny         Lu            US   braintree         USD   TP4-US                          289      10    2     568    TV Pad Website - TV Pad Store - Chinese
TVP-15051031    5/6/2015   complete   John        Young         US   John           Young         US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15051032    5/5/2015   complete   Yeou        Wang          US   Nancy          Hung          US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051033    5/5/2015   complete   Sylvia      kim           NZ   Sylvia         kim           NZ   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051035    5/5/2015   complete   Yim         Ting          AU   Yim            Ting          AU   braintree         AUD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051036    5/6/2015   complete   tom         yang          ZA   tom            yang          ZA   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051037    5/6/2015   complete   Lily        Chiu          SG   Lily           Chiu          SG   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051038    5/6/2015   complete   Michael     Snider        US   Michael        Snider        US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051039    5/6/2015   complete   Wai         Wong-Miller   US   Wai            Wong-Miller   US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051040    5/6/2015   complete   Tina        Wong          US   Tina           Wong          US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15051041    5/6/2015   complete   Margaret    Kwok          AU   Margaret       Kwok          AU   paypal_standard   USD   TVPAD-AC-001                   29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15051042    5/6/2015   complete   Sylvia      kim           NZ   Sylvia         kim           NZ   braintree         USD   TVPAD-AC-001                   29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15051044    5/6/2015   complete   Tingting    Zhu           AU   Tingting       Zhu           AU   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051045    5/7/2015   complete   Chi         tchang        US   Chi            tchang        US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051046    5/7/2015   complete   Sau         Chiu          US   Sau            Chiu          US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051047    5/7/2015   complete   Kenneth     Wong          GB   Kenneth        Wong          GB   paypal_standard   USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051048    5/7/2015   complete   Michael     Chan          US   Michael        Chan          US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051049    5/7/2015   complete   Eddie       Chan          US   Eddie          Chan          US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051050    5/7/2015   complete   PING        YEOH          AU   PING           YEOH          AU   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15051051    5/7/2015   complete   kang        hanzoo        KR   kang           hanzoo        KR   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15051052    5/7/2015   complete   Sen-Shiuan  Hsia          US   Sen-Shiuan     Hsia          US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15051053    5/7/2015   complete   Sen-Shiuan  Hsia          US   Sen-Shiuan     Hsia          US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15051054    5/7/2015   complete   Sen-Shiuan  Hsia          US   Sen-Shiuan     Hsia          US   braintree         USD   TP4-US                          299      20    1     279    TV Pad Website - TV Pad Store - English
TVP-15051055    5/8/2015   complete   Jason       Yee           GB   Jason          Yee           GB   braintree         GBP   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051056    5/8/2015   complete   jack        kim           US   jack           kim           US   braintree         USD   HGIFT2                         29.99      0    1    29.99   TV Pad Website - TV Pad Store - English
TVP-15051057    5/8/2015   complete   Warren      Jew           US   Warren         Jew           US   paypal_standard   USD   TP4-US                          289      10    2     568    TV Pad Website - TV Pad Store - English
TVP-15051058    5/8/2015   canceled   leona       lau           US   leona          lau           US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
TVP-15051059    5/8/2015   complete   Tommy       Lee           US   Tommy          Lee           US   braintree         USD   TP4-US                          299      10    1     289    TV Pad Website - TV Pad Store - English
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                                   #:20526
TVP-15051060    5/9/2015   complete   van         phung            US   van          phung            US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051061    5/9/2015   complete   Frederick   Hui              AU   Frederick    Hui              AU   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051062   5/11/2015   complete   Yuen        Yau              GB   Yuen         Yau              GB   braintree         GBP   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051063   5/11/2015   complete   Daniel      Liechty          CH   Daniel       Liechty          CH   paypal_standard   USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051064   5/11/2015   complete   Brandi      Co               AU   Brandi       Co               AU   paypal_standard   AUD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051065   5/11/2015   complete   tom         yang             ZA   tom          yang             ZA   paypal_standard   USD   TVPAD-VIRT-003                     1    0   25      25   TV Pad Website - TV Pad Store - English
TVP-15051066   5/11/2015   complete   Chenzhe     Zhang            IE   Chenzhe      Zhang            IE   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051067   5/11/2015   complete   hok         cheung           US   hok          cheung           US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-70011450   5/11/2015   complete   cancheng    chen             MX   cancheng     chen             MX   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - Chinese
TVP-15051069   5/11/2015   complete   alice       luu              AU   alice        luu              AU   paypal_standard   USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051070   5/11/2015   complete   TINA        YUAN             US   TINA         YUAN             US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051071   5/11/2015   complete   Lenni       Li               NZ   Lenni        Li               NZ   braintree         AUD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051074   5/11/2015   complete   Lee         Lam              US   Lee          Lam              US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051075   5/11/2015   complete   Stella      Chow             US   Stella       Chow             US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051076   5/11/2015   complete   Xuan        Huynh            AU   Xuan         Huynh            AU   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051077   5/11/2015   complete   Ho          Chow             US   Ho           Chow             US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051078   5/11/2015   complete   Wei         Li               CA   Wei          Li               CA   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051079   5/11/2015   complete   Ngoc        Hua              US   Ngoc         Hua              US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051080   5/11/2015   complete   Michael     Dowden           AU   Michael      Dowden           AU   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051081   5/11/2015   complete   XIAOPENG    GONG             AU   XIAOPENG     GONG             AU   paypal_standard   USD   TP4-US                          289    10    2    568    TV Pad Website - TV Pad Store - English
TVP-15051082   5/11/2015   complete   Samson      Wong             GB   Samson       Wong             GB   braintree         GBP   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051083   5/11/2015   complete   Calvin      Tran             CH   Calvin       Tran             CH   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051084   5/11/2015   complete   shang       wu               NZ   shang        wu               NZ   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051086   5/11/2015   complete   Flora       Lau              DE   Flora        Lau              DE   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-70011451   5/11/2015   complete   Haolian     Su               NZ   Haolian      Su               NZ   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - Chinese
TVP-15051088   5/12/2015   complete   Roger       Chu              US   Roger        Chu              US   braintree         USD   TVPAD-AC-001                   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15051072   5/12/2015   complete   Benziane    Bouziani         DZ   Benziane     Bouziani         DZ   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051089   5/12/2015   canceled   mohammed el amine
                                                  barka            DZ   mohammed     barka            DZ   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051091   5/12/2015   complete   Rebecca     Yuen             US   Rebecca      Yuen             US   paypal_standard   USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051093   5/12/2015   complete   Yung        lam              GB   Yung         lam              GB   paypal_standard   GBP   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051094   5/12/2015   complete   Carol       Lee              US   Carol        Lee              US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051095   5/12/2015   complete   Alice       Ali              GB   Yuk          Tsang            GB   paypal_standard   GBP   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051096   5/12/2015   complete   Kelly       Lim              US   Kelly        Lim              US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051097   5/12/2015   canceled   mohammed barka               DZ   mohammed     barka            DZ   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051098   5/12/2015   complete   Haowen      Huang            AU   Haowen       Huang            AU   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051100   5/12/2015   complete   SHELLY      WU               US   SHELLY       WU               US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051101   5/13/2015   complete   Robert      Yen              CA   Robert       Yen              CA   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-70011452   5/13/2015   complete   Yipan       wu               US   Yipan        wu               US   paypal_standard   USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - Chinese
TVP-15051102   5/13/2015   complete   Van         Lieu             GB   Van          Lieu             GB   paypal_standard   GBP   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051103   5/13/2015   complete   James       Lu               US   James        Lu               US   paypal_standard   USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051104   5/13/2015   canceled   Ginny       Leung            US   SuiKing      Wong             US   paypal_standard   USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051105   5/13/2015   complete   Lisa        Huang            AU   Lisa         Huang            AU   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051092   5/14/2015   complete   Xueying     Zhao             AN   Xueying      Zhao             AN   braintree         USD   TP4-US                          289    20    2    558    TV Pad Website - TV Pad Store - English
TVP-15051106   5/14/2015   complete   Chi         tchang           US   Chi          tchang           US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051107   5/14/2015   complete   Michael     Tso              US   Michael      Tso              US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051108   5/14/2015   complete   Zhong       Liu              AU   Zhong        Liu              AU   braintree         AUD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051109   5/14/2015   complete   Henry       Y                US   Henry        Y                US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051110   5/14/2015   complete   Linda       Ng               US   Linda        Ng               US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-70011453   5/14/2015   complete   Michael     Wu               NZ   Michael      Wu               NZ   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - Chinese
TVP-15051111   5/14/2015   complete   Helen       malcomess        AU   Helen        malcomess        AU   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051112   5/15/2015   complete   Xueying     Zhao             AN   Xueying      Zhao             AN   braintree         USD   TVPAD-VIRT-003                     1    0   25      25   TV Pad Website - TV Pad Store - English
TVP-15051113   5/15/2015   complete   Vay         Ha               GB   Vay          Ha               GB   braintree         GBP   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051114   5/15/2015   complete   YADA        GUAN             NO   YADA         GUAN             NO   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051115   5/16/2015   complete   Victor      Vuong            US   Victor       Vuong            US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051116   5/15/2015   complete   quyen       feng             US   quyen        feng             US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051117   5/16/2015   complete   Zhenyu      Wu               DE   Zhenyu       Wu               DE   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051118   5/17/2015   complete   Angela      Luh              US   Jeff         Luh              US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051119   5/16/2015   complete   Clement     Ho               US   Clement      Ho               US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051121   5/16/2015   complete   Michelle    phan             US   Michelle     phan             US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051122   5/16/2015   complete   Rachael     Forday           AU   Rachael      Forday           AU   braintree         USD   TVPAD-AC-001                   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15051123   5/17/2015   complete   Luis        Chen             US   Luis         Chen             US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051125   5/17/2015   closed     Su          Lee              US   Su           Lee              US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051126   5/17/2015   complete   Leong       Gan              GB   Leong        Gan              GB   braintree         GBP   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051127   5/18/2015   complete   Yunfan      Zhang            US   Yunfan       Zhang            US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051128   5/18/2015   complete   JunWei      Chin             AU   JunWei       Chin             AU   paypal_standard   AUD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051129   5/18/2015   complete   Choon       Hou              MY   Choon        Hou              MY   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051130   5/18/2015   complete   Jay         quan             US   Jay          quan             US   paypal_standard   USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051131   5/18/2015   complete   ka          hui              US   ka           hui              US   braintree         USD   TVPAD-AC-001                   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15051132   5/18/2015   complete   Lan         Kalla-Eng        DE   Lan          Kalla-Eng        DE   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051133   5/18/2015   complete   Dawei       Ye               CA   Dawei        Ye               CA   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051135   5/18/2015   complete   Kashin      Pang             US   Kashin       Pang             US   paypal_standard   USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051136   5/19/2015   complete   Luc         Long             US   Mingwa       Hui              US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051137   5/18/2015   complete   THOMAS      YUNG             US   THOMAS       YUNG             US   braintree         USD   TVPAD-AC-003-TVPAD-AC-003-US   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15051138   5/18/2015   complete   Hng         Ying             AU   Hng          Ying             AU   braintree         AUD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051139   5/18/2015   complete   How         Young            NZ   How          Young            NZ   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051140   5/18/2015   complete   Victor      Cheung           AU   Victor       Cheung           AU   paypal_standard   USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051141   5/19/2015   complete   YEUNG       EVELYNE          FR   YEUNG        EVELYNE          FR   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-70011454   5/19/2015   complete   Luong       Phung            US   Luong        Phung            US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - Chinese
TVP-15051143   5/19/2015   complete   Davy        Chen             US   Davy         Chen             US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051144   5/19/2015   complete   jacky       li               US   jacky        li               US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051148   5/19/2015   complete   jiansheng   li               NZ   jiansheng    li               NZ   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051149   5/19/2015   complete   Harry       Chong            MY   Harry        Chong            MY   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051150   5/20/2015   complete   Iris        Chen             AU   Iris         Chen             AU   braintree         USD   TVPAD-VIRT-001                    85    0    1      85   TV Pad Website - TV Pad Store - English
TVP-15051151   5/20/2015   complete   Peter       Jenkins          CA   Peter        Jenkins          CA   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051152   5/20/2015   complete   wei-wei     yang             BE   wei-wei      yang             BE   braintree         USD   TVPAD-VIRT-001                    85    0    1      85   TV Pad Website - TV Pad Store - English
TVP-15051153   5/20/2015   complete   Daniel      So               GB   Daniel       So               GB   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051154   5/20/2015   complete   Mohamed     Legouera         DZ   Mohamed      Legouera         DZ   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-70011455   5/28/2015   complete   Yunjiao     Zou              BE   Yunjiao      Zou              BE   braintree         EUR   TP4-US                          289    10    3    857    TV Pad Website - TV Pad Store - Chinese
TVP-15051155   5/20/2015   complete   yip         wong             US   yip          wong             US   braintree         USD   TVPAD-VIRT-001                    85    0    1      85   TV Pad Website - TV Pad Store - English
TVP-15051156   5/20/2015   complete   Ming        Li               US   Ming         Li               US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051157   5/20/2015   complete   Sam         Chung            GB   Sam          Chung            GB   braintree         GBP   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051159   5/20/2015   complete   phillip     truong           CA   phillip      truong           CA   braintree         USD   TVPAD-AC-001                   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15051160   5/20/2015   complete   Emm         phung            GB   Emma         phung            GB   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051161   5/21/2015   complete   YiingMin    Bogle            US   YiingMin     Bogle            US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051162   5/21/2015   complete   Zhen        Zheng            US   Zhen         Zheng            US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051163   5/21/2015   complete   anne        chang            US   anne         chang            US   braintree         USD   TVPAD-VIRT-001                    85    0    1      85   TV Pad Website - TV Pad Store - English
TVP-15051164   5/21/2015   complete   May         Lew              US   May          Lew              US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051165   5/21/2015   complete   Yet         Eng              US   Yet          Eng              US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051166   5/22/2015   complete   Suxin       chen             US   Suxin        chen             US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051167   5/21/2015   complete   Jingyi      Luo              US   Jingyi       Luo              US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051169   5/21/2015   complete   Wa          Lay              GB   Wa           Lay              GB   braintree         GBP   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-70011458   5/21/2015   complete   hong        li               NZ   hong         li               NZ   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - Chinese
TVP-15051172   5/22/2015   complete   Mohamed     Legouera         DZ   Mohamed      Legouera         DZ   braintree         USD   TVPAD-VIRT-003                     1    0   25      25   TV Pad Website - TV Pad Store - English
TVP-15051173   5/22/2015   complete   Chalven     Lu               US   Chalven      Lu               US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051174   5/22/2015   complete   Hwang       Younghyun        LK   Hwang        Younghyun        LK   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051175   5/22/2015   complete   Ricardo     Huerta-Andrade   US   Ricardo      Huerta-Andrade   US   braintree         USD   TVPAD-AC-002                   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15051176   5/24/2015   complete   Ling        Cui              US   Wai          Soe              US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051179   5/23/2015   complete   kwok        eng              US   kwok         eng              US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051180   5/24/2015   complete   Robert      Hedstrom         US   Robert       Hedstrom         US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051182    6/3/2015   canceled   NGOK        LI               CA   NGOK         LI               CA   paypal_standard   USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051183   5/24/2015   complete   Peng        Huang            US   Peng         Huang            US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051184   5/24/2015   complete   Yunfai      Pang             GB   Yunfai       Pang             GB   braintree         GBP   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051185   5/24/2015   complete   Timothy     Gough            NZ   Timothy      Gough            NZ   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051186   5/24/2015   complete   Hwang       Younghyun        LK   Hwang        Younghyun        LK   braintree         USD   TVPAD-VIRT-003                     1    0   25      25   TV Pad Website - TV Pad Store - English
TVP-15051187   5/24/2015   complete   Sam         Sena             US   Sam          Sena             US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051188   5/24/2015   complete   Kai         Chan             GB   Kai          Chan             GB   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051189   5/24/2015   complete   Peter       Lee              US   Peter        Lee              US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051190   5/24/2015   complete   Huang       Hongsheng        CA   Huang        Hongsheng        CA   paypal_standard   CAD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051192   5/25/2015   complete   Yi          Chen             US   Yi           Chen             US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051193   5/26/2015   complete   Paul        Wong             GB   Paul         Wong             GB   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051195   5/25/2015   complete   Xiu         li               US   Susanne      Li               US   paypal_standard   USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051196   5/25/2015   complete   ChangQing   Hu               SG   ChangQing    Hu               SG   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051197   5/25/2015   complete   Andrea      Lo               CA   Andrea       Lo               CA   braintree         USD   TP4-US                          289    20    3    847    TV Pad Website - TV Pad Store - English
TVP-15051198   5/25/2015   complete   Lily        Chew             CA   Lily         Chew             CA   paypal_standard   USD   TVPAD-AC-001                   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15051199   5/25/2015   complete   Xiaowen     Liu              US   Xiaowen      Liu              US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051200   5/25/2015   complete   Thomas      TSIEN            US   Thomas       TSIEN            US   paypal_standard   USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-70011459   5/25/2015   complete   Xinting     Mu               US   Xinting      Mu               US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - Chinese
TVP-15051201   5/25/2015   complete   Ann         Shiu             US   Ann          Shiu             US   paypal_standard   USD   TVPAD-AC-002                   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15051202   5/25/2015   complete   Abby        Li               AU   Abby         Li               AU   braintree         USD   TVPAD-AC-001                   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15051203   5/25/2015   complete   Vi          Luong            GB   Vi           Luong            GB   braintree         GBP   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051204   5/25/2015   complete   Eva         Kha              SE   Quang        Kha              SE   braintree         USD   TP4-US                          289    20    2    558    TV Pad Website - TV Pad Store - English
TVP-15051205   5/26/2015   complete   dung        dang             AU   dung         dang             AU   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051206   5/26/2015   complete   Kim         Hauser-Loh       CH   Kim          Hauser-Loh       CH   paypal_standard   USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051207   5/26/2015   complete   Brandon     Chi              US   Brandon      Chi              US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051208   5/26/2015   complete   vince       cheung           GB   vince        cheung           GB   braintree         GBP   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051209   5/26/2015   complete   monica      lai              US   monica       lai              US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051210   5/26/2015   complete   Richard     Wan              GB   Richard      Wan              GB   braintree         GBP   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051211   5/26/2015   complete   Marco       Oliveira         US   Marco        Oliveira         US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-70011460   5/26/2015   complete   Xi (Sid)    Chen             AU   Xi           Chen             AU   braintree         AUD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - Chinese
TVP-15051212   5/26/2015   complete   marion      lowe             US   marion       lowe             US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051213   5/26/2015   complete   Wei         Li               NL   Wei          Li               NL   paypal_standard   USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051215    6/3/2015   canceled   Samuel      Fung             AU   Samuel       Fung             AU   paypal_standard   USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051216   5/27/2015   complete   Kwok        Li               GB   Kwok         Li               GB   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051218   5/27/2015   complete   Po          Ho               GB   Po           Ho               GB   braintree         GBP   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051221   5/27/2015   complete   Peter       Huynh            US   Peter        Huynh            US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051220   5/27/2015   complete   Johnny      Lu               US   Johnny       Lu               US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051223   5/27/2015   complete   Lee         wong             AU   Lee          wong             AU   paypal_standard   USD   TVPAD-AC-001                   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15051224   5/27/2015   complete   Lai         Tai              US   Lai          Tai              US   paypal_standard   USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051225   5/28/2015   canceled   ismail      hazel            DZ   ismail       hazel            DZ   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051226   5/27/2015   complete   Eric        Lau              US   Eric         Lau              US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051227   5/27/2015   complete   Begonia     Wong             AU   Begonia      Wong             AU   braintree         AUD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051228   5/27/2015   complete   Nam         Loc              GB   Nam          Loc              GB   braintree         GBP   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051229   5/27/2015   complete   Eric        Choe             SG   Eric         Choe             SG   paypal_standard   USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051230   5/27/2015   complete   raymond     shum             US   raymond      shum             US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051194    6/5/2015   complete   okhui       shorter          US   okhui        shorter          US   braintree         USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051231   5/28/2015   complete   Siharath    Eddy             FR   Siharath     Eddy             FR   braintree         EUR   TP4-US                          289    10    2    568    TV Pad Website - TV Pad Store - English
TVP-15051233   5/28/2015   complete   Anna        Lu               US   Anna         Lu               US   paypal_standard   USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051234   5/28/2015   complete   Sen-Shiuan  Hsia             US   Sen-Shiuan   Hsia             US   braintree         USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051235   5/29/2015   complete   Amie        Leung            GB   Amie         Leung            GB   paypal_standard   USD   TP4-US                          299    10    1    289    TV Pad Website - TV Pad Store - English
TVP-15051236   5/29/2015   complete   Christine   Ho               GB   Christine    Ho               GB   braintree         GBP   TVPAD-AC-001                   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
TVP-15051237    6/1/2015   complete   Kashin      Pang             US   Yubin        Wu               US   paypal_standard   USD   TP4-US                          299    20    1    279    TV Pad Website - TV Pad Store - English
TVP-15051238   5/29/2015   complete   John        Chang            US   John         Chang            US   braintree         USD   TVPAD-AC-002                   29.99    0    1   29.99   TV Pad Website - TV Pad Store - English
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TVP-15051239   5/29/2015   complete   James     wong      GB   James     wong      GB   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15051240   5/29/2015   complete   Kwong     Wong      AU   Kwong     Wong      AU   braintree         USD   TVPAD-AC-001     29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15051241   5/29/2015   complete   Chunlei   Liao      US   Chunlei   Liao      US   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15051242   5/29/2015   complete   winter    yeung     US   winter    yeung     US   paypal_standard   USD   TP4-US            299      20   1     279    TV Pad Website - TV Pad Store - English
TVP-15051243   5/31/2015   complete   Steven    Lee       US   Steven    Lee       US   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15051244   5/31/2015   complete   Alan      Tam       US   Alan      Tam       US   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15051245    6/1/2015   complete   Brendan   Wong      AU   Brendan   Wong      AU   paypal_standard   AUD   TP4-US            299      20   1     279    TV Pad Website - TV Pad Store - English
TVP-15051246    6/1/2015   complete   Gabriel   Vong      NZ   Gabriel   Vong      NZ   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15051247    6/1/2015   complete   Bumjin    Park      AU   Bumjin    Park      AU   paypal_standard   USD   TVPAD-VIRT-001      85      0   1       85   TV Pad Website - TV Pad Store - English
TVP-15051248    6/1/2015   complete   huang     claudio   IT   huang     claudio   IT   paypal_standard   USD   TP4-US            299    9.09   1   289.91   TV Pad Website - TV Pad Store - English
TVP-15051248    6/1/2015   complete   huang     claudio   IT   huang     claudio   IT   paypal_standard   USD   TVPAD-AC-001     29.99   0.91   1    29.08   TV Pad Website - TV Pad Store - English
TVP-15051249    6/1/2015   closed     Guehaiz   Oussama   DZ   Guehaiz   Oussama   DZ   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15051251    6/1/2015   complete   Becky     Lee       GB   Becky     lee       GB   paypal_standard   GBP   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15051252    6/1/2015   canceled   sara      xie       GB   sara      xie       GB   paypal_standard   GBP   TP4-US            299      20   1     279    TV Pad Website - TV Pad Store - English
TVP-15051253    6/1/2015   complete   willy     lee       US   willy     lee       US   braintree         USD   TP4-US            289      10   2     568    TV Pad Website - TV Pad Store - English
TVP-70011461    6/1/2015   complete   Wen       Zhu       US   Yao       Hu        US   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - Chinese
TVP-15051254    6/1/2015   complete   Duc       Tran      US   Duc       Tran      US   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-70011462   6/10/2015   complete   Vivian    Wang      US   Vivian    Wang      US   braintree         USD   TVPAD-AC-001     29.99      0   1    29.99   TV Pad Website - TV Pad Store - Chinese
TVP-15061010    6/2/2015   canceled   kyubeom   choi      PE   kyubeom   choi      PE   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15061011    6/2/2015   complete   Richard   Yang      GB   Richard   Yang      GB   braintree         GBP   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15061012    6/2/2015   complete   Lily      Leung     GB   Lily      Leung     GB   braintree         GBP   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15061013    6/3/2015   complete   Nicky     duong     US   Nicky     duong     US   braintree         USD   TP4-US            289      10   2     568    TV Pad Website - TV Pad Store - English
TVP-15061014    6/3/2015   complete   KA        LAU       US   KA        LAU       US   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15061015    6/3/2015   complete   Wendy     Yam       AU   Wendy     Yam       AU   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-70011463    6/3/2015   complete   Yan       Fei       CN   Yan       Fei       CN   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - Chinese
TVP-15061017    6/3/2015   complete   Achraf    Boutrab   DZ   Achraf    Boutrab   DZ   braintree         USD   TVPAD-AC-001     29.99      0   1    29.99   TV Pad Website - TV Pad Store - English
TVP-15061018    6/3/2015   complete   Achraf    Boutrab   DZ   Achraf    Boutrab   US   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15061019    6/3/2015   complete   Jun       liu       US   Jun       liu       US   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15061022    6/3/2015   complete   David     Leo       AU   David     Leo       AU   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15061024    6/3/2015   complete   Yan       Jiao      NZ   Yan       Jiao      NZ   braintree         USD   TP4-US            289      10   2     568    TV Pad Website - TV Pad Store - English
TVP-15061027   6/15/2015   complete   Nhi       Ly        SE   Nhi       Ly        SE   paypal_standard   EUR   TP4-US            299      20   1     279    TV Pad Website - TV Pad Store - English
TVP-15061028    6/4/2015   complete   Mindy     Lim       US   Mindy     Lim       US   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15061029    6/4/2015   complete   Young     hwang     US   Young     hwang     US   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15061030   6/10/2015   complete   Chung     Hui       US   Chung     Hui       US   braintree         USD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
TVP-15061031    6/4/2015   complete   Cheng     To        CA   Cheng     To        CA   braintree         CAD   TP4-US            299      10   1     289    TV Pad Website - TV Pad Store - English
